Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 1 of 485




                    Exhibit 1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 2 of 485




      Exh. No.    Certifying     Source of          Document Identifiers         902
                   Entity        Records                                     Certification
                                                                               Attested
      2-11       Norman W.     Claxton              CLA_0000001 –           902(11) and
                 Fries, Inc.   Poultry Farms        CLA_0074691;            902(13)
                 d/b/a                              CLA_0074703 –
                 Claxton                            CLA_0085058;
                 Poultry                            CLA_0085060 –
                 Farms                              CLA_0103901;
                                                    CLA_0103903 –
                                                    CLA_0128849;
                                                    CLA_0128851 –
                                                    CLA_0149622;
                                                    CLA_0149624 –
                                                    CLA_0149778;
                                                    CLA_0149780 –
                                                    CLA_0151727;
                                                    CLA_0151730 –
                                                    CLA_0188662;
                                                    CLA_0188665 –
                                                    CLA_0190599;
                                                    CLA_0190601 –
                                                    CLA_0190923;
                                                    CLA_0190926 –
                                                    CLA_0191204;
                                                    CLA_0191206 –
                                                    CLA_0221163;
                                                    CLA_0221253 –
                                                    CLA_0297048
      2-2        Norman W.     Claxton              CLAXTON_0000001 –       902(11) and
                 Fries, Inc.   Poultry Farms        CLAXTON_081696;         902(13)
                 d/b/a         (Documents           CLAXTON_0181725 –
                 Claxton       received in          CLAXTON_0217897
                 Poultry       connection
                 Farms         with the In Re
                               Broiler
                               Chicken
                               Antitrust
                               Litigation,
                               Case No.


  1
   For ease of organization, chicken supplier certifications are noted with single digits
  and chicken purchaser certifications are numbered in the 10s.
                                                1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 3 of 485




    Exh. No.    Certifying     Source of          Document Identifiers        902
                 Entity        Records                                    Certification
                                                                           Attested
                             1:16-cv-08637
                             (N.D. Ill.))
   3-1         George’s,     George’s, Inc. GEODOJ_0000015 –             902(11) and
               Inc.                         GEODOJ_0100407;              902(13)
                                            GEODOJ_0100408 –
                                            GEODOJ_0160865;
                                            GEODOJ_0160866 –
                                            GEODOJ_0206473;
                                            GEODOJ_0206474 –
                                            GEODOJ_0219792;
                                            GEODOJ_0219793 –
                                            GEODOJ_0225705
   3-2         George’s,     George’s, Inc.       GEODOJ_0225748 –       902(11) and
               Inc.                               GEODOJ_0225751;        902(13)
                                                  GEODOJ_0225753 –
                                                  GEODOJ_0225784;
                                                  GEODOJ_0225961 –
                                                  GEODOJ_0225973;
                                                  GEODOJ_0225997 –
                                                  GEODOJ_0304784;
                                                  GEODOJ_0304785 –
                                                  GEODOJ_0333964;
                                                  GEODOJ_0333965 –
                                                  GEODOJ_0581768;
                                                  GEODOJ_0596332 –
                                                  GEODOJ_0600955;
                                                  GEODOJ_0602339 –
                                                  GEODOJ_0612308;
                                                  GEODOJ_0612309 –
                                                  GEODOJ_0636753;
                                                  GEODOJ_0636754 –
                                                  GEODOJ_0672788;
                                                  GEODOJ_0672789 –
                                                  GEODOJ_0672841
   3-3         George’s,     George’s, Inc.       GEO_0000000159 –       902(11) and
               Inc.          (Documents           GEO_0000847437;        902(13)
                             received in          GEO_000140749 –
                             connection           GEO_000142284;
                             with the In Re       GEO_0001424665 –
                             Broiler              GEO_0001436083;

                                              2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 4 of 485




    Exh. No.    Certifying     Source of          Document Identifiers             902
                 Entity        Records                                         Certification
                                                                                Attested
                             Chicken              GEO_0001436461 –
                             Antitrust            GEO_0001437321
                             Litigation,
                             Case No.
                             1:16-cv-08637
                             (N.D. Ill.))
   3-4         George’s,     George’s, Inc.       GEO_0000000159-             902(11) and
               Inc.          (Documents           GEO_0000847437;             902(13)
                             received in          GEO_0001404749-
                             connection           GEO_0001422467, with
                             with                 the exception of two
                             the In Re            powerpoint files and two
                             Broiler              files with filename
                             Chicken              “[Unnamed
                             Antitrust            Presentation]” produced
                             Litigation,          at GEO0001422366 -
                             Case                 GEO_0001422383,
                             No. 1:16-cv-         GEO_0001422385-
                             08637 (N.D.          GEO_0001424553 with
                             Ill.))               the exception of travel
                                                  and expense reports,
                                                  GEO_0001424554-
                                                  GEO_0001424664 with
                                                  the exception of
                                                  company financial
                                                  statements, and call
                                                  logs, contact files, text
                                                  message reports, and
                                                  text message
                                                  attachments collected
                                                  from mobile devices,
                                                  and GEO_0001424665-
                                                  GEO_0001436082.
   3-4         George’s,     George’s, Inc.       GEO_0000000159-             902(11) and
               Inc.          (Documents           GEO_0000847437;             902(13)
                             received in          GEO_0001404749-
                             connection           GEO_0001422467, with
                             with                 the exception of two
                             the In Re            powerpoint files and two
                             Broiler              files with filename
                                                  “[Unnamed

                                              3
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 5 of 485




      Exh. No.    Certifying    Source of         Document Identifiers        902
                   Entity       Records                                   Certification
                                                                           Attested
                               Chicken         Presentation]” produced
                               Antitrust       at GEO0001422366 -
                               Litigation,     GEO_0001422383,
                               Case            GEO_0001422385-
                               No. 1:16-cv-    GEO_0001424553 with
                               08637 (N.D.     the exception of travel
                               Ill.))          and expense reports,
                                               GEO_0001424554-
                                               GEO_0001424664 with
                                               the exception of
                                               company financial
                                               statements, and call
                                               logs, contact files, text
                                               message reports, and
                                               text message
                                               attachments collected
                                               from mobile devices,
                                               and GEO_0001424665-
                                               GEO_0001436082.
      4-1         JBS USA      Pilgrim’s Pride See chart containing      902(11) and
      (Revised)   Food         (documents      Bates range attached to 902(13)
      2
                  Company      received in     Pilgrim’s Certificate.
                               connection
                               with
                               the In Re
                               Broiler
                               Chicken
                               Antitrust
                               Litigation,
                               Case
                               No. 1:16-cv-
                               08637 (N.D.
                               Ill.))




  2
    On October 7, the government received an updated version of this certificate that
  included some documents in addition to the certificate attached to the government’s
  notice. This certificate was provided to the Defendants on October 8.
                                              4
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 6 of 485




      Exh. No.     Certifying     Source of        Document Identifiers         902
                    Entity        Records                                   Certification
                                                                              Attested
      4-2         JBS USA        Pilgrim’s Pride See chart containing      902(11) and
      (Revised)   Food                           Bates range attached to   902(13)
      3
                  Company                        Pilgrim’s Certificate.
      5-1         Koch Foods,    Koch Foods,     See Bates ranges          902(13)
                  Inc.           Inc. (including included in Koch Foods,
                                 Documents       Inc. Certificate.
                                 received in
                                 connection
                                 with the In Re
                                 Broiler
                                 Chicken
                                 Antitrust
                                 Litigation,
                                 Case No.
                                 1:16-cv-08637
                                 (N.D. Ill.)).
      6-1         Mar-Jac        Mar-Jac         MJPoultry-0000000009      902(13)
                  Poultry Inc.   Poultry Inc.    – MJPoultry-
                                                 0000545820
      6-2         Mar-Jac        Mar-Jac         MAR-JAC_0000000001        902(13)
                  Poultry Inc.   Poultry Inc.    – MAR-
                                 (Documents      JAC_0000866804;
                                 received in     MAR-
                                 connection      JAC_SD_00000000001
                                 with the In Re – MAR-
                                 Broiler         JAC_SD_00000000253
                                 Chicken         ; MJP-000001 – MJP-
                                 Antitrust       012738; MJP-
                                 Litigation,     0000012739 – MJP-
                                 Case No.        0000012749
                                 1:16-cv-08637
                                 (N.D. Ill.))
      7-1         Tyson          Tyson Foods, TY-000000100 – TY-           902(11) and
                  Foods, Inc.    Inc.            007000987                 902(13)
      7-2         Tyson          Tyson Foods, TF-0000000001 – TF-          902(11) and
                  Foods, Inc.    Inc.            0007971851; CV-           902(13)


  3
    The government inadvertently omitted Exhibit 4-2 (Revised) from its Notice, and
  instead included Exhibit 4-1 twice. The government sent Exhibit 4-2 (Revised) to
  defendants on September 13.
                                               5
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 7 of 485




    Exh. No.    Certifying    Source of           Document Identifiers        902
                 Entity       Records                                     Certification
                                                                           Attested
                             (Documents           0000000001 – CV-
                             received in          0000005242
                             connection
                             with the In Re
                             Broiler
                             Chicken
                             Antitrust
                             Litigation,
                             Case No.
                             1:16-cv-08637
                             (N.D. Ill.))
   7-3         Tyson         Tyson Foods, TY-009001646 – TY-             902(11) and
               Foods, Inc.   Inc.         007001747                      902(13)
   8-1         O.K. Foods,   O.K. Foods,  OKFoodsDOJ-                    902(13)
               Inc.          Inc.         00002580 –
                                          OKFoodsDOJ-
                                          00474212
   9-1         Case Farms, Case Farms,    CASEDOJ-AT-                    902(11) and
               LLC         LLC            0000031883;                    902(13)
                                          CASEDOJ-BR-
                                          0000028574;
                                          CASEDOJ-RD-
                                          0000081363.
   9-2         Case Farms, Case Farms     CASEDOJ-AT-                    902(11) and
               LLC         LLC (including 0000012450;                    902(13)
                           documents      CASEDOJ-AT-
                           received in    0000012451;
                           connection     CASEDOJ-RD-
                           with the In Re 0000018730;
                           Broiler        CASEDOJ-RD-
                           Chicken        0000018731;
                           Antitrust      CASEDOJ-RD-
                           Litigation,    0000018732;
                           Case No.       CASEFOODS00000937
                           1:16-cv-08637 96;
                           (N.D. Ill.)).  CASEFOODS00000937
                                          97.
   10-1        Chick-fil-A Chick-fil-A    CFA_0000001 –                  902(11) and
               Inc.        Inc.           CFA_0017756                    902(13)



                                              6
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 8 of 485




    Exh. No.    Certifying    Source of          Document Identifiers        902
                 Entity       Records                                    Certification
                                                                           Attested
   10-2        Chick-fil-A   Chick-fil-A         CFA_0017757 –          902(11) and
               Inc.          Inc.                CFA_0019198            902(13)
   11-1        Cajun         Church’s            CHURCH-ATR001-         902(11) and
               Operating     Chicken/Caju        00000001               902(13)
               Company       n Operating
                             Company
   11-2        Cajun         Church’s            CHURCHS0000093 –       902(11) and
               Operating     Chicken/Caju        CHURCHS0013558         902(13)
               Company       n Operating
                             Company
   12-1        Golden        Golden Corral       GC-ATR001-00000001     902(11) and
               Corral        Corporation         – GC-ATR001-           902(13)
               Corporation                       00000008
   12-2        Golden        Golden Corral       GC-0000001389—GC-      902(11) and
               Corral        Corporation         0000001395;            902(13)
               Corporation                       GC-0000337800—GC-
                                                 0000337806;
                                                 GC-0000000016—GC-
                                                 0000000025;
                                                 GC-0000336516;
                                                 GC-0000111255—GC-
                                                 0000111256;
                                                 GC-0000001689;
                                                 GC-0000084471—GC-
                                                 0000084476;
                                                 GC-0000279304—GC-
                                                 0000279308;
                                                 GC-0000070794—GC-
                                                 0000070795;
                                                 GC-0000002064—GC-
                                                 0000002065;
                                                 GC-0000012773—GC-
                                                 0000012774;
                                                 GC-0000291467—GC-
                                                 0000291470;
                                                 GC-0000290536—GC-
                                                 0000290538;
                                                 GC-0000291861;
                                                 GC-0000043478—GC-
                                                 0000043479;


                                             7
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 9 of 485




    Exh. No.    Certifying     Source of          Document Identifiers          902
                 Entity        Records                                      Certification
                                                                             Attested
                                                  GC-0000134932;
                                                  GC-0000043480—GC-
                                                  0000043481;
                                                  GC-0000013492—GC-
                                                  0000013494;
                                                  GC-0000043809-GC-
                                                  0000043811
   13-1        Restaurant    Restaurant           RSCS000001 –             902(11) and
               Supply        Supply Chain         RSCS030053               902(13)
               Chain         Solutions,
               Solutions,    LLC (RSCS)
               LLC
   14-1        Supply        Supply               SMS-0001-SMS0684;        902(11) and
               Managemen     Management           SMS-00000685 – SMS-      902(13)
               t Services,   Services, Inc.       00052142
               Inc.          (SMS)
   15-1        Sysco         Sysco                SYSCO-00000001 –         902(11) and
               Corporation   Corporation          SYSCO-00002024;          902(13)

   15-2        Sysco         Sysco                SYS-BR-0006237143 –      902(11) and
               Corporation   Corporation          SYS-BR-0006237144;       902(13)
                                                  SYS-BR-0006237147 –
                                                  SYS-BR-0006237148;
                                                  SYS-BR-0004856491 –
                                                  SYS-BR-0004856492;
                                                  SYSCO-00002025 -
                                                  SYSCO-00002030.
                                                  Exhibits pertaining to
                                                  Melissa’s Hoyt’s
                                                  30(b)(6) deposition
                                                  taken on December 3,
                                                  2020 (Exhibits 1-2,
                                                  2002-2017, 2019, and
                                                  2022-23).




                                              8
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 10 of
                                     485




              Exhibit 2-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 11 of
                                     485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 12 of
                                     485




              Exhibit 2-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 13 of
                                     485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 14 of
                                     485




              Exhibit 3-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 15 of
                                     485




             CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
           PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

          I, ________________________________ , attest, under penalties of perjury by the laws
                                 Name

 of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

 this certification is true and correct. I am employed by George’s, Inc. (hereinafter “George’s”),

 and my title is _______________. I am qualified to authenticate the records referenced herein

 because I am familiar with how the records were created, managed, stored, and retrieved. I state

 that the documents produced at Bates numbers GEODOJ_0000015 - GEODOJ_0100407,

 GEODOJ_0100408 - GEODOJ_0160865, GEODOJ_0160866 - GEODOJ_0206473,

 GEODOJ_0206474 - GEODOJ_0219792, and GEODOJ_0219793 - GEODOJ_0225705 were

 retrieved from an email server that George’s maintains in the ordinary course of business. To the

 best of my knowledge, each such document is a true and accurate representation of the original

 email or attachment that was created and stored in George’s email server. In some instances, the

 time zone indicated on the face of the document may reflect the time zone applied in processing

 the document for production rather than the time zone of the sender or recipient. I do not certify

 the accuracy of the contents of any email or attachment.




 Date                                   Signature




 CORE/3501109.0004/160519722.2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 16 of
                                     485




              Exhibit 3-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 17 of
                                     485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 18 of
                                     485




              Exhibit 3-3
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 19 of
                                     485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 20 of
                                     485




              Exhibit 3-4
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 21 of
                                     485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 22 of
                                     485




              Exhibit 4-1
              (Revised)
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 23 of
                                     485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 24 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0000000283            PILGRIMS-0000047229        15,012
Emails/Attachments   PILGRIMS-0000047789            PILGRIMS-0000048716         140
Emails/Attachments   PILGRIMS-0001270392            PILGRIMS-0001270563         171
Emails/Attachments   PILGRIMS-0001330390            PILGRIMS-0001330399          10
Emails/Attachments   PILGRIMS-0001330402            PILGRIMS-0001330403           2
Emails/Attachments   PILGRIMS-0001330406            PILGRIMS-0001330409           4
Emails/Attachments   PILGRIMS-0001330412            PILGRIMS-0001330413           2
Emails/Attachments   PILGRIMS-0001330416            PILGRIMS-0001330417           2
Emails/Attachments   PILGRIMS-0001330419            PILGRIMS-0001330421           3
Emails/Attachments   PILGRIMS-0001330445            PILGRIMS-0001330446           2
Emails/Attachments   PILGRIMS-0001330451            PILGRIMS-0001330452           2
Emails/Attachments   PILGRIMS-0001330456            PILGRIMS-0001330468          13
Emails/Attachments   PILGRIMS-0001330471            PILGRIMS-0001330472           2
Emails/Attachments   PILGRIMS-0001330475            PILGRIMS-0001330477           3
Emails/Attachments   PILGRIMS-0001330480            PILGRIMS-0001330490          11
Emails/Attachments   PILGRIMS-0001330495            PILGRIMS-0001330496           2
Emails/Attachments   PILGRIMS-0001330499            PILGRIMS-0001330504           6
Emails/Attachments   PILGRIMS-0001330507            PILGRIMS-0001330516           4
Emails/Attachments   PILGRIMS-0001330529            PILGRIMS-0001330530           2
Emails/Attachments   PILGRIMS-0001330533            PILGRIMS-0001330542          10
Emails/Attachments   PILGRIMS-0001330554            PILGRIMS-0001332936        1,845
Emails/Attachments   PILGRIMS-0001344766            PILGRIMS-0001345022         219
Emails/Attachments   PILGRIMS-0002459019            PILGRIMS-0002459189         171
Emails/Attachments   PILGRIMS-0002459207            PILGRIMS-0002459255          48
Emails/Attachments   PILGRIMS-0002459266            PILGRIMS-0002460417         317
Emails/Attachments   PILGRIMS-0002460426            PILGRIMS-0002460658         123
Emails/Attachments   PILGRIMS-0002460660            PILGRIMS-0002460754           3
Emails/Attachments   PILGRIMS-0002460756            PILGRIMS-0002461298          78
Emails/Attachments   PILGRIMS-0002461319            PILGRIMS-0002461324           6
Emails/Attachments   PILGRIMS-0002461326            PILGRIMS-0002461333           8
Emails/Attachments   PILGRIMS-0002461336            PILGRIMS-0002461337           2
Emails/Attachments   PILGRIMS-0002461341            PILGRIMS-0002461344           3
Emails/Attachments   PILGRIMS-0002461346            PILGRIMS-0002461376           9
Emails/Attachments   PILGRIMS-0002461382            PILGRIMS-0002461385           3
Emails/Attachments   PILGRIMS-0002461390            PILGRIMS-0002461399           8
Emails/Attachments   PILGRIMS-0002461402            PILGRIMS-0002461433          14
Emails/Attachments   PILGRIMS-0002461435            PILGRIMS-0002461462          22
Emails/Attachments   PILGRIMS-0002461464            PILGRIMS-0002461467           4
Emails/Attachments   PILGRIMS-0002461469            PILGRIMS-0002465333         396
Emails/Attachments   PILGRIMS-0002465433            PILGRIMS-0002470435         938
Emails/Attachments   PILGRIMS-0002470438            PILGRIMS-0002470439           2
Emails/Attachments   PILGRIMS-0002470444            PILGRIMS-0002470448           5
Emails/Attachments   PILGRIMS-0002470451            PILGRIMS-0002470452           2
Emails/Attachments   PILGRIMS-0002470456            PILGRIMS-0002470474          19
Emails/Attachments   PILGRIMS-0002470476            PILGRIMS-0002470477           2
Emails/Attachments   PILGRIMS-0002470480            PILGRIMS-0002470489          10


                                    Page 1 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 25 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002470492            PILGRIMS-0002470493           2
Emails/Attachments   PILGRIMS-0002470501            PILGRIMS-0002470502           2
Emails/Attachments   PILGRIMS-0002470504            PILGRIMS-0002470507           4
Emails/Attachments   PILGRIMS-0002470509            PILGRIMS-0002470513           5
Emails/Attachments   PILGRIMS-0002470515            PILGRIMS-0002470518           4
Emails/Attachments   PILGRIMS-0002470520            PILGRIMS-0002470521           2
Emails/Attachments   PILGRIMS-0002470523            PILGRIMS-0002470538          16
Emails/Attachments   PILGRIMS-0002470541            PILGRIMS-0002470556          16
Emails/Attachments   PILGRIMS-0002470558            PILGRIMS-0002470565           8
Emails/Attachments   PILGRIMS-0002470571            PILGRIMS-0002470572           2
Emails/Attachments   PILGRIMS-0002470574            PILGRIMS-0002470578           2
Emails/Attachments   PILGRIMS-0002470588            PILGRIMS-0002470589           2
Emails/Attachments   PILGRIMS-0002470592            PILGRIMS-0002470593           2
Emails/Attachments   PILGRIMS-0002470633            PILGRIMS-0002470638           6
Emails/Attachments   PILGRIMS-0002470640            PILGRIMS-0002470642           2
Emails/Attachments   PILGRIMS-0002470645            PILGRIMS-0002470646           2
Emails/Attachments   PILGRIMS-0002470648            PILGRIMS-0002470649           2
Emails/Attachments   PILGRIMS-0002470657            PILGRIMS-0002470658           2
Emails/Attachments   PILGRIMS-0002470663            PILGRIMS-0002470665           2
Emails/Attachments   PILGRIMS-0002470668            PILGRIMS-0002470669           2
Emails/Attachments   PILGRIMS-0002470672            PILGRIMS-0002470673           2
Emails/Attachments   PILGRIMS-0002470679            PILGRIMS-0002470681           2
Emails/Attachments   PILGRIMS-0002470683            PILGRIMS-0002470686           4
Emails/Attachments   PILGRIMS-0002470688            PILGRIMS-0002471060         371
Emails/Attachments   PILGRIMS-0002471062            PILGRIMS-0002471096          35
Emails/Attachments   PILGRIMS-0002471098            PILGRIMS-0002471102           5
Emails/Attachments   PILGRIMS-0002471104            PILGRIMS-0002471105           2
Emails/Attachments   PILGRIMS-0002471107            PILGRIMS-0002471114           8
Emails/Attachments   PILGRIMS-0002471116            PILGRIMS-0002471260         123
Emails/Attachments   PILGRIMS-0002471263            PILGRIMS-0002471264           2
Emails/Attachments   PILGRIMS-0002471266            PILGRIMS-0002471293          28
Emails/Attachments   PILGRIMS-0002471295            PILGRIMS-0002471306          12
Emails/Attachments   PILGRIMS-0002471309            PILGRIMS-0002471317           9
Emails/Attachments   PILGRIMS-0002471319            PILGRIMS-0002471838         487
Emails/Attachments   PILGRIMS-0002471856            PILGRIMS-0002471863           7
Emails/Attachments   PILGRIMS-0002471871            PILGRIMS-0002472511         248
Emails/Attachments   PILGRIMS-0002472513            PILGRIMS-0002472756         243
Emails/Attachments   PILGRIMS-0002472758            PILGRIMS-0002473213         429
Emails/Attachments   PILGRIMS-0002473215            PILGRIMS-0002473246          31
Emails/Attachments   PILGRIMS-0002473248            PILGRIMS-0002473293          42
Emails/Attachments   PILGRIMS-0002473296            PILGRIMS-0002473298           3
Emails/Attachments   PILGRIMS-0002473301            PILGRIMS-0002474578         854
Emails/Attachments   PILGRIMS-0002474596            PILGRIMS-0002479084        2,669
Emails/Attachments   PILGRIMS-0002479153            PILGRIMS-0002480996        1,179
Emails/Attachments   PILGRIMS-0002480998            PILGRIMS-0002481111          33
Emails/Attachments   PILGRIMS-0002481113            PILGRIMS-0002481251          15


                                    Page 2 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 26 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002481253            PILGRIMS-0002481257           5
Emails/Attachments   PILGRIMS-0002481259            PILGRIMS-0002484900        2,615
Emails/Attachments   PILGRIMS-0002484918            PILGRIMS-0002491000        3,768
Emails/Attachments   PILGRIMS-0002491002            PILGRIMS-0002494470        1,431
Emails/Attachments   PILGRIMS-0002494472            PILGRIMS-0002494801          58
Emails/Attachments   PILGRIMS-0002494803            PILGRIMS-0002494872          21
Emails/Attachments   PILGRIMS-0002494874            PILGRIMS-0002495628         174
Emails/Attachments   PILGRIMS-0002495702            PILGRIMS-0002497869         574
Emails/Attachments   PILGRIMS-0002497871            PILGRIMS-0002506391        1,087
Emails/Attachments   PILGRIMS-0002506393            PILGRIMS-0002506502          10
Emails/Attachments   PILGRIMS-0002506533            PILGRIMS-0002506613           9
Emails/Attachments   PILGRIMS-0002506615            PILGRIMS-0002506624           2
Emails/Attachments   PILGRIMS-0002506739            PILGRIMS-0002506784           4
Emails/Attachments   PILGRIMS-0002506803            PILGRIMS-0002506905          10
Emails/Attachments   PILGRIMS-0002506907            PILGRIMS-0002506939           2
Emails/Attachments   PILGRIMS-0002507010            PILGRIMS-0002507034           6
Emails/Attachments   PILGRIMS-0002507036            PILGRIMS-0002507104          10
Emails/Attachments   PILGRIMS-0002507127            PILGRIMS-0002507162           6
Emails/Attachments   PILGRIMS-0002507164            PILGRIMS-0002507168           2
Emails/Attachments   PILGRIMS-0002507207            PILGRIMS-0002507284          10
Emails/Attachments   PILGRIMS-0002507286            PILGRIMS-0002508190         842
Emails/Attachments   PILGRIMS-0002508207            PILGRIMS-0002508440          51
Emails/Attachments   PILGRIMS-0002508444            PILGRIMS-0002508519          13
Emails/Attachments   PILGRIMS-0002508534            PILGRIMS-0002510935         251
Emails/Attachments   PILGRIMS-0002512287            PILGRIMS-0002512296           9
Emails/Attachments   PILGRIMS-0002512303            PILGRIMS-0002512333           6
Emails/Attachments   PILGRIMS-0002512335            PILGRIMS-0002512337           3
Emails/Attachments   PILGRIMS-0002512340            PILGRIMS-0002512341           2
Emails/Attachments   PILGRIMS-0002533510            PILGRIMS-0002537296        1,558
Emails/Attachments   PILGRIMS-0002537299            PILGRIMS-0002538007         376
Emails/Attachments   PILGRIMS-0002538082            PILGRIMS-0002538089           8
Emails/Attachments   PILGRIMS-0002539644            PILGRIMS-0002539714          22
Emails/Attachments   PILGRIMS-0002539719            PILGRIMS-0002539825          25
Emails/Attachments   PILGRIMS-0002539828            PILGRIMS-0002539851           5
Emails/Attachments   PILGRIMS-0002539870            PILGRIMS-0002539871           2
Emails/Attachments   PILGRIMS-0002539873            PILGRIMS-0002540022          16
Emails/Attachments   PILGRIMS-0002540025            PILGRIMS-0002540152          21
Emails/Attachments   PILGRIMS-0002540155            PILGRIMS-0002540211          31
Emails/Attachments   PILGRIMS-0002540252            PILGRIMS-0002540370          25
Emails/Attachments   PILGRIMS-0002540372            PILGRIMS-0002540686         132
Emails/Attachments   PILGRIMS-0002540688            PILGRIMS-0002540691           3
Emails/Attachments   PILGRIMS-0002540727            PILGRIMS-0002540740           5
Emails/Attachments   PILGRIMS-0002540742            PILGRIMS-0002540759           9
Emails/Attachments   PILGRIMS-0002540761            PILGRIMS-0002540925          31
Emails/Attachments   PILGRIMS-0002540927            PILGRIMS-0002540959           7
Emails/Attachments   PILGRIMS-0002540984            PILGRIMS-0002541006           8


                                    Page 3 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 27 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002541009            PILGRIMS-0002541035          16
Emails/Attachments   PILGRIMS-0002541037            PILGRIMS-0002541082          30
Emails/Attachments   PILGRIMS-0002541084            PILGRIMS-0002541162          15
Emails/Attachments   PILGRIMS-0002541206            PILGRIMS-0002541217           7
Emails/Attachments   PILGRIMS-0002541219            PILGRIMS-0002541220           2
Emails/Attachments   PILGRIMS-0002541222            PILGRIMS-0002541229           5
Emails/Attachments   PILGRIMS-0002541231            PILGRIMS-0002541356          44
Emails/Attachments   PILGRIMS-0002541358            PILGRIMS-0002541432          46
Emails/Attachments   PILGRIMS-0002541434            PILGRIMS-0002541525          34
Emails/Attachments   PILGRIMS-0002541528            PILGRIMS-0002541623          35
Emails/Attachments   PILGRIMS-0002541627            PILGRIMS-0002541656          17
Emails/Attachments   PILGRIMS-0002541658            PILGRIMS-0002541742          36
Emails/Attachments   PILGRIMS-0002541744            PILGRIMS-0002541747           3
Emails/Attachments   PILGRIMS-0002541749            PILGRIMS-0002541811          39
Emails/Attachments   PILGRIMS-0002541813            PILGRIMS-0002541814           2
Emails/Attachments   PILGRIMS-0002541816            PILGRIMS-0002541992          83
Emails/Attachments   PILGRIMS-0002541998            PILGRIMS-0002542232          50
Emails/Attachments   PILGRIMS-0002542261            PILGRIMS-0002542344          31
Emails/Attachments   PILGRIMS-0002542389            PILGRIMS-0002542491          13
Emails/Attachments   PILGRIMS-0002542530            PILGRIMS-0002542587           8
Emails/Attachments   PILGRIMS-0002542633            PILGRIMS-0002542702          48
Emails/Attachments   PILGRIMS-0002542719            PILGRIMS-0002542751          11
Emails/Attachments   PILGRIMS-0002542770            PILGRIMS-0002542779           8
Emails/Attachments   PILGRIMS-0002542825            PILGRIMS-0002542849          10
Emails/Attachments   PILGRIMS-0002542860            PILGRIMS-0002551371        2,410
Emails/Attachments   PILGRIMS-0002551467            PILGRIMS-0002551493          18
Emails/Attachments   PILGRIMS-0002551495            PILGRIMS-0002566836        4,503
Emails/Attachments   PILGRIMS-0002566855            PILGRIMS-0002571148        1,256
Emails/Attachments   PILGRIMS-0002571151            PILGRIMS-0002571300          33
Emails/Attachments   PILGRIMS-0002571303            PILGRIMS-0002571481          49
Emails/Attachments   PILGRIMS-0002571484            PILGRIMS-0002571609          47
Emails/Attachments   PILGRIMS-0002571612            PILGRIMS-0002571694          38
Emails/Attachments   PILGRIMS-0002571697            PILGRIMS-0002571729          17
Emails/Attachments   PILGRIMS-0002571732            PILGRIMS-0002571825          35
Emails/Attachments   PILGRIMS-0002571828            PILGRIMS-0002571927          25
Emails/Attachments   PILGRIMS-0002571930            PILGRIMS-0002571997          28
Emails/Attachments   PILGRIMS-0002572000            PILGRIMS-0002572044          14
Emails/Attachments   PILGRIMS-0002572047            PILGRIMS-0002572070          18
Emails/Attachments   PILGRIMS-0002572073            PILGRIMS-0002572159          30
Emails/Attachments   PILGRIMS-0002572162            PILGRIMS-0002572297          38
Emails/Attachments   PILGRIMS-0002572300            PILGRIMS-0002572355          12
Emails/Attachments   PILGRIMS-0002572358            PILGRIMS-0002572395          19
Emails/Attachments   PILGRIMS-0002572398            PILGRIMS-0002572483          46
Emails/Attachments   PILGRIMS-0002572486            PILGRIMS-0002573845          25
Emails/Attachments   PILGRIMS-0002573848            PILGRIMS-0002573871          17
Emails/Attachments   PILGRIMS-0002573874            PILGRIMS-0002573939          29


                                    Page 4 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 28 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002573942            PILGRIMS-0002574061          63
Emails/Attachments   PILGRIMS-0002574064            PILGRIMS-0002574111          22
Emails/Attachments   PILGRIMS-0002574114            PILGRIMS-0002574230          26
Emails/Attachments   PILGRIMS-0002574233            PILGRIMS-0002574492          70
Emails/Attachments   PILGRIMS-0002574495            PILGRIMS-0002574581          41
Emails/Attachments   PILGRIMS-0002574584            PILGRIMS-0002574727          20
Emails/Attachments   PILGRIMS-0002574730            PILGRIMS-0002575175          50
Emails/Attachments   PILGRIMS-0002575178            PILGRIMS-0002575541          82
Emails/Attachments   PILGRIMS-0002575544            PILGRIMS-0002575647          38
Emails/Attachments   PILGRIMS-0002575650            PILGRIMS-0002575775          30
Emails/Attachments   PILGRIMS-0002575778            PILGRIMS-0002575822          24
Emails/Attachments   PILGRIMS-0002575825            PILGRIMS-0002575907          18
Emails/Attachments   PILGRIMS-0002575910            PILGRIMS-0002575985          14
Emails/Attachments   PILGRIMS-0002575988            PILGRIMS-0002576100          15
Emails/Attachments   PILGRIMS-0002576103            PILGRIMS-0002577338          59
Emails/Attachments   PILGRIMS-0002577341            PILGRIMS-0002577358          11
Emails/Attachments   PILGRIMS-0002577361            PILGRIMS-0002577412          19
Emails/Attachments   PILGRIMS-0002577415            PILGRIMS-0002577596          27
Emails/Attachments   PILGRIMS-0002577599            PILGRIMS-0002579564          39
Emails/Attachments   PILGRIMS-0002579567            PILGRIMS-0002579576           8
Emails/Attachments   PILGRIMS-0002579579            PILGRIMS-0002579587           8
Emails/Attachments   PILGRIMS-0002579590            PILGRIMS-0002579669          30
Emails/Attachments   PILGRIMS-0002579672            PILGRIMS-0002579685          10
Emails/Attachments   PILGRIMS-0002579688            PILGRIMS-0002579700          12
Emails/Attachments   PILGRIMS-0002579703            PILGRIMS-0002579718          15
Emails/Attachments   PILGRIMS-0002579721            PILGRIMS-0002579801          14
Emails/Attachments   PILGRIMS-0002579804            PILGRIMS-0002579919          25
Emails/Attachments   PILGRIMS-0002579922            PILGRIMS-0002579953          17
Emails/Attachments   PILGRIMS-0002579956            PILGRIMS-0002579998          16
Emails/Attachments   PILGRIMS-0002580162            PILGRIMS-0002580210          24
Emails/Attachments   PILGRIMS-0002580213            PILGRIMS-0002580354          21
Emails/Attachments   PILGRIMS-0002580363            PILGRIMS-0002580387           6
Emails/Attachments   PILGRIMS-0002580390            PILGRIMS-0002580422          14
Emails/Attachments   PILGRIMS-0002580425            PILGRIMS-0002580667          55
Emails/Attachments   PILGRIMS-0002580670            PILGRIMS-0002580727          22
Emails/Attachments   PILGRIMS-0002580730            PILGRIMS-0002580855          22
Emails/Attachments   PILGRIMS-0002580858            PILGRIMS-0002581071          21
Emails/Attachments   PILGRIMS-0002581074            PILGRIMS-0002587221        2,236
Emails/Attachments   PILGRIMS-0002587223            PILGRIMS-0002587309          22
Emails/Attachments   PILGRIMS-0002587311            PILGRIMS-0002587347          34
Emails/Attachments   PILGRIMS-0002587349            PILGRIMS-0002587462          59
Emails/Attachments   PILGRIMS-0002587464            PILGRIMS-0002587537          61
Emails/Attachments   PILGRIMS-0002587540            PILGRIMS-0002587550          10
Emails/Attachments   PILGRIMS-0002587552            PILGRIMS-0002587575          17
Emails/Attachments   PILGRIMS-0002587577            PILGRIMS-0002588464         160
Emails/Attachments   PILGRIMS-0002588466            PILGRIMS-0002589847          91


                                    Page 5 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 29 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002589849            PILGRIMS-0002589852          4
Emails/Attachments   PILGRIMS-0002589854            PILGRIMS-0002589867         14
Emails/Attachments   PILGRIMS-0002589869            PILGRIMS-0002591839         152
Emails/Attachments   PILGRIMS-0002591841            PILGRIMS-0002591846          6
Emails/Attachments   PILGRIMS-0002591848            PILGRIMS-0002591859         12
Emails/Attachments   PILGRIMS-0002591861            PILGRIMS-0002591914         50
Emails/Attachments   PILGRIMS-0002592057            PILGRIMS-0002592104         41
Emails/Attachments   PILGRIMS-0002592106            PILGRIMS-0002592172         51
Emails/Attachments   PILGRIMS-0002592174            PILGRIMS-0002592236         45
Emails/Attachments   PILGRIMS-0002592239            PILGRIMS-0002592295         38
Emails/Attachments   PILGRIMS-0002592297            PILGRIMS-0002592303          7
Emails/Attachments   PILGRIMS-0002592307            PILGRIMS-0002592461         103
Emails/Attachments   PILGRIMS-0002592463            PILGRIMS-0002592474         10
Emails/Attachments   PILGRIMS-0002592476            PILGRIMS-0002592487         12
Emails/Attachments   PILGRIMS-0002592489            PILGRIMS-0002592519         30
Emails/Attachments   PILGRIMS-0002592521            PILGRIMS-0002592601         35
Emails/Attachments   PILGRIMS-0002592603            PILGRIMS-0002592709         85
Emails/Attachments   PILGRIMS-0002592711            PILGRIMS-0002592720          9
Emails/Attachments   PILGRIMS-0002592722            PILGRIMS-0002592773         48
Emails/Attachments   PILGRIMS-0002592775            PILGRIMS-0002592784         10
Emails/Attachments   PILGRIMS-0002592786            PILGRIMS-0002592868         56
Emails/Attachments   PILGRIMS-0002592870            PILGRIMS-0002592979         87
Emails/Attachments   PILGRIMS-0002592981            PILGRIMS-0002592988          8
Emails/Attachments   PILGRIMS-0002592990            PILGRIMS-0002593134         132
Emails/Attachments   PILGRIMS-0002593136            PILGRIMS-0002593303         154
Emails/Attachments   PILGRIMS-0002593305            PILGRIMS-0002593409         102
Emails/Attachments   PILGRIMS-0002593411            PILGRIMS-0002593447         37
Emails/Attachments   PILGRIMS-0002593450            PILGRIMS-0002593611         154
Emails/Attachments   PILGRIMS-0002593639            PILGRIMS-0002593810         62
Emails/Attachments   PILGRIMS-0002593812            PILGRIMS-0002593887         72
Emails/Attachments   PILGRIMS-0002593889            PILGRIMS-0002593896          8
Emails/Attachments   PILGRIMS-0002593899            PILGRIMS-0002593933         35
Emails/Attachments   PILGRIMS-0002593935            PILGRIMS-0002594010         74
Emails/Attachments   PILGRIMS-0002594012            PILGRIMS-0002594042         29
Emails/Attachments   PILGRIMS-0002594044            PILGRIMS-0002594052          7
Emails/Attachments   PILGRIMS-0002594054            PILGRIMS-0002594055          2
Emails/Attachments   PILGRIMS-0002594057            PILGRIMS-0002594065          9
Emails/Attachments   PILGRIMS-0002594067            PILGRIMS-0002594070          4
Emails/Attachments   PILGRIMS-0002594072            PILGRIMS-0002594075          4
Emails/Attachments   PILGRIMS-0002594100            PILGRIMS-0002594274         107
Emails/Attachments   PILGRIMS-0002594276            PILGRIMS-0002594279          4
Emails/Attachments   PILGRIMS-0002594281            PILGRIMS-0002594294         14
Emails/Attachments   PILGRIMS-0002594296            PILGRIMS-0002594412         98
Emails/Attachments   PILGRIMS-0002594414            PILGRIMS-0002594439         26
Emails/Attachments   PILGRIMS-0002594445            PILGRIMS-0002594575         78
Emails/Attachments   PILGRIMS-0002594577            PILGRIMS-0002594623         39


                                    Page 6 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 30 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002594625            PILGRIMS-0002594668         39
Emails/Attachments   PILGRIMS-0002594670            PILGRIMS-0002594681         10
Emails/Attachments   PILGRIMS-0002594683            PILGRIMS-0002594880         137
Emails/Attachments   PILGRIMS-0002594882            PILGRIMS-0002594911         22
Emails/Attachments   PILGRIMS-0002594913            PILGRIMS-0002594972         22
Emails/Attachments   PILGRIMS-0002594974            PILGRIMS-0002594975          2
Emails/Attachments   PILGRIMS-0002594977            PILGRIMS-0002595143         88
Emails/Attachments   PILGRIMS-0002595145            PILGRIMS-0002595386         32
Emails/Attachments   PILGRIMS-0002595388            PILGRIMS-0002595524         65
Emails/Attachments   PILGRIMS-0002595548            PILGRIMS-0002595588         18
Emails/Attachments   PILGRIMS-0002595590            PILGRIMS-0002595595          6
Emails/Attachments   PILGRIMS-0002595597            PILGRIMS-0002595604          8
Emails/Attachments   PILGRIMS-0002595606            PILGRIMS-0002595665         28
Emails/Attachments   PILGRIMS-0002595667            PILGRIMS-0002595727         41
Emails/Attachments   PILGRIMS-0002595729            PILGRIMS-0002595740         10
Emails/Attachments   PILGRIMS-0002595742            PILGRIMS-0002595757         14
Emails/Attachments   PILGRIMS-0002595759            PILGRIMS-0002595760          2
Emails/Attachments   PILGRIMS-0002595762            PILGRIMS-0002595770          7
Emails/Attachments   PILGRIMS-0002595772            PILGRIMS-0002596472         457
Emails/Attachments   PILGRIMS-0002596474            PILGRIMS-0002596978         424
Emails/Attachments   PILGRIMS-0002596980            PILGRIMS-0002597124         110
Emails/Attachments   PILGRIMS-0002597126            PILGRIMS-0002597134          7
Emails/Attachments   PILGRIMS-0002597136            PILGRIMS-0002597164         21
Emails/Attachments   PILGRIMS-0002597166            PILGRIMS-0002598842         840
Emails/Attachments   PILGRIMS-0002598844            PILGRIMS-0002599443         396
Emails/Attachments   PILGRIMS-0002599451            PILGRIMS-0002599503         40
Emails/Attachments   PILGRIMS-0002599505            PILGRIMS-0002599574         46
Emails/Attachments   PILGRIMS-0002599576            PILGRIMS-0002599581          6
Emails/Attachments   PILGRIMS-0002599583            PILGRIMS-0002599657         75
Emails/Attachments   PILGRIMS-0002599659            PILGRIMS-0002599996         178
Emails/Attachments   PILGRIMS-0002599998            PILGRIMS-0002600252         83
Emails/Attachments   PILGRIMS-0002600270            PILGRIMS-0002600501         122
Emails/Attachments   PILGRIMS-0002600503            PILGRIMS-0002600507          4
Emails/Attachments   PILGRIMS-0002600514            PILGRIMS-0002600615         30
Emails/Attachments   PILGRIMS-0002600626            PILGRIMS-0002600863         51
Emails/Attachments   PILGRIMS-0002600865            PILGRIMS-0002601092         154
Emails/Attachments   PILGRIMS-0002601094            PILGRIMS-0002601256         115
Emails/Attachments   PILGRIMS-0002601258            PILGRIMS-0002601719         282
Emails/Attachments   PILGRIMS-0002601721            PILGRIMS-0002601759         36
Emails/Attachments   PILGRIMS-0002601761            PILGRIMS-0002602108         275
Emails/Attachments   PILGRIMS-0002602113            PILGRIMS-0002602128         16
Emails/Attachments   PILGRIMS-0002602131            PILGRIMS-0002602134          4
Emails/Attachments   PILGRIMS-0002602139            PILGRIMS-0002602141          2
Emails/Attachments   PILGRIMS-0002602159            PILGRIMS-0002602160          2
Emails/Attachments   PILGRIMS-0002602175            PILGRIMS-0002602176          2
Emails/Attachments   PILGRIMS-0002602190            PILGRIMS-0002602191          2


                                    Page 7 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 31 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002602194            PILGRIMS-0002602195           2
Emails/Attachments   PILGRIMS-0002602211            PILGRIMS-0002602218           3
Emails/Attachments   PILGRIMS-0002602293            PILGRIMS-0002602309          10
Emails/Attachments   PILGRIMS-0002602327            PILGRIMS-0002602331           1
Emails/Attachments   PILGRIMS-0002602389            PILGRIMS-0002602888         237
Emails/Attachments   PILGRIMS-0002602891            PILGRIMS-0002605052        1,341
Emails/Attachments   PILGRIMS-0002605054            PILGRIMS-0002606830        1,145
Emails/Attachments   PILGRIMS-0002606832            PILGRIMS-0002607079         143
Emails/Attachments   PILGRIMS-0002607081            PILGRIMS-0002617036        1,322
Emails/Attachments   PILGRIMS-0002617064            PILGRIMS-0002617432          67
Emails/Attachments   PILGRIMS-0002617448            PILGRIMS-0002617500          25
Emails/Attachments   PILGRIMS-0002617503            PILGRIMS-0002620049         892
Emails/Attachments   PILGRIMS-0002620051            PILGRIMS-0002620150          89
Emails/Attachments   PILGRIMS-0002620152            PILGRIMS-0002620890         186
Emails/Attachments   PILGRIMS-0002620892            PILGRIMS-0002634117        3,937
Emails/Attachments   PILGRIMS-0002634119            PILGRIMS-0002634318          82
Emails/Attachments   PILGRIMS-0002634780            PILGRIMS-0002635080          98
Emails/Attachments   PILGRIMS-0002635082            PILGRIMS-0002636944         787
Emails/Attachments   PILGRIMS-0002636946            PILGRIMS-0002639342        1,266
Emails/Attachments   PILGRIMS-0002639345            PILGRIMS-0002639437          86
Emails/Attachments   PILGRIMS-0002639439            PILGRIMS-0002639972         431
Emails/Attachments   PILGRIMS-0002639974            PILGRIMS-0002641455         706
Emails/Attachments   PILGRIMS-0002641460            PILGRIMS-0002642842         391
Emails/Attachments   PILGRIMS-0002642850            PILGRIMS-0002643490         355
Emails/Attachments   PILGRIMS-0002643555            PILGRIMS-0002646106        1,249
Emails/Attachments   PILGRIMS-0002646108            PILGRIMS-0002648100         621
Emails/Attachments   PILGRIMS-0002648149            PILGRIMS-0002648411          14
Emails/Attachments   PILGRIMS-0002648477            PILGRIMS-0002649835         537
Emails/Attachments   PILGRIMS-0002649946            PILGRIMS-0002649985          22
Emails/Attachments   PILGRIMS-0002649993            PILGRIMS-0002651176         495
Emails/Attachments   PILGRIMS-0002651201            PILGRIMS-0002651731         111
Emails/Attachments   PILGRIMS-0002651784            PILGRIMS-0002652019         132
Emails/Attachments   PILGRIMS-0002652021            PILGRIMS-0002652996         365
Emails/Attachments   PILGRIMS-0002652999            PILGRIMS-0002653000           2
Emails/Attachments   PILGRIMS-0002653004            PILGRIMS-0002655574         583
Emails/Attachments   PILGRIMS-0002655603            PILGRIMS-0002656383         312
Emails/Attachments   PILGRIMS-0002656385            PILGRIMS-0002657910         589
Emails/Attachments   PILGRIMS-0002657970            PILGRIMS-0002657971           2
Emails/Attachments   PILGRIMS-0002657973            PILGRIMS-0002661217        1,356
Emails/Attachments   PILGRIMS-0002661251            PILGRIMS-0002663082         868
Emails/Attachments   PILGRIMS-0002663170            PILGRIMS-0002663269          36
Emails/Attachments   PILGRIMS-0002663271            PILGRIMS-0002664775         675
Emails/Attachments   PILGRIMS-0002664786            PILGRIMS-0002665925         543
Emails/Attachments   PILGRIMS-0002665928            PILGRIMS-0002667082         614
Emails/Attachments   PILGRIMS-0002667084            PILGRIMS-0002668404         380
Emails/Attachments   PILGRIMS-0002668477            PILGRIMS-0002669269         205


                                    Page 8 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 32 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002669296            PILGRIMS-0002670464         527
Emails/Attachments   PILGRIMS-0002670491            PILGRIMS-0002671394         356
Emails/Attachments   PILGRIMS-0002671398            PILGRIMS-0002671918         263
Emails/Attachments   PILGRIMS-0002671951            PILGRIMS-0002672609         295
Emails/Attachments   PILGRIMS-0002672651            PILGRIMS-0002672967         165
Emails/Attachments   PILGRIMS-0002672969            PILGRIMS-0002672985           4
Emails/Attachments   PILGRIMS-0002672987            PILGRIMS-0002673619         321
Emails/Attachments   PILGRIMS-0002673622            PILGRIMS-0002673648          14
Emails/Attachments   PILGRIMS-0002673650            PILGRIMS-0002673665           8
Emails/Attachments   PILGRIMS-0002673667            PILGRIMS-0002674557         396
Emails/Attachments   PILGRIMS-0002674639            PILGRIMS-0002675197         264
Emails/Attachments   PILGRIMS-0002675199            PILGRIMS-0002675653         233
Emails/Attachments   PILGRIMS-0002675655            PILGRIMS-0002675818          72
Emails/Attachments   PILGRIMS-0002675820            PILGRIMS-0002675924          74
Emails/Attachments   PILGRIMS-0002675926            PILGRIMS-0002676134         128
Emails/Attachments   PILGRIMS-0002676136            PILGRIMS-0002678795        1,124
Emails/Attachments   PILGRIMS-0002678813            PILGRIMS-0002678873           8
Emails/Attachments   PILGRIMS-0002678898            PILGRIMS-0002683346        1,357
Emails/Attachments   PILGRIMS-0002683573            PILGRIMS-0002689417        2,014
Emails/Attachments   PILGRIMS-0002689434            PILGRIMS-0002698782        3,039
Emails/Attachments   PILGRIMS-0002698785            PILGRIMS-0002699877         223
Emails/Attachments   PILGRIMS-0002699880            PILGRIMS-0002701078         287
Emails/Attachments   PILGRIMS-0002701081            PILGRIMS-0002701508         187
Emails/Attachments   PILGRIMS-0002701511            PILGRIMS-0002702061         191
Emails/Attachments   PILGRIMS-0002702064            PILGRIMS-0002702329         151
Emails/Attachments   PILGRIMS-0002702331            PILGRIMS-0002702426          61
Emails/Attachments   PILGRIMS-0002702429            PILGRIMS-0002702979         183
Emails/Attachments   PILGRIMS-0002702982            PILGRIMS-0002703374         105
Emails/Attachments   PILGRIMS-0002703399            PILGRIMS-0002703622          83
Emails/Attachments   PILGRIMS-0002703625            PILGRIMS-0002704366         234
Emails/Attachments   PILGRIMS-0002704369            PILGRIMS-0002705057         212
Emails/Attachments   PILGRIMS-0002705060            PILGRIMS-0002705926         280
Emails/Attachments   PILGRIMS-0002705929            PILGRIMS-0002706460         201
Emails/Attachments   PILGRIMS-0002706463            PILGRIMS-0002707125         250
Emails/Attachments   PILGRIMS-0002707128            PILGRIMS-0002708083         224
Emails/Attachments   PILGRIMS-0002708086            PILGRIMS-0002708794         230
Emails/Attachments   PILGRIMS-0002708797            PILGRIMS-0002709646         257
Emails/Attachments   PILGRIMS-0002709649            PILGRIMS-0002710393         272
Emails/Attachments   PILGRIMS-0002710396            PILGRIMS-0002711584         278
Emails/Attachments   PILGRIMS-0002711587            PILGRIMS-0002712216         241
Emails/Attachments   PILGRIMS-0002712219            PILGRIMS-0002713411         297
Emails/Attachments   PILGRIMS-0002713414            PILGRIMS-0002713814         205
Emails/Attachments   PILGRIMS-0002713850            PILGRIMS-0002714126          38
Emails/Attachments   PILGRIMS-0002714129            PILGRIMS-0002715245         237
Emails/Attachments   PILGRIMS-0002715248            PILGRIMS-0002716091         220
Emails/Attachments   PILGRIMS-0002716094            PILGRIMS-0002716634         191


                                    Page 9 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 33 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002716637            PILGRIMS-0002717169         189
Emails/Attachments   PILGRIMS-0002717172            PILGRIMS-0002717914         201
Emails/Attachments   PILGRIMS-0002717917            PILGRIMS-0002718367         167
Emails/Attachments   PILGRIMS-0002718370            PILGRIMS-0002718893         175
Emails/Attachments   PILGRIMS-0002718896            PILGRIMS-0002719275         159
Emails/Attachments   PILGRIMS-0002719278            PILGRIMS-0002720227         222
Emails/Attachments   PILGRIMS-0002720230            PILGRIMS-0002720624         171
Emails/Attachments   PILGRIMS-0002720627            PILGRIMS-0002721291         239
Emails/Attachments   PILGRIMS-0002721294            PILGRIMS-0002722018         204
Emails/Attachments   PILGRIMS-0002722021            PILGRIMS-0002722393         183
Emails/Attachments   PILGRIMS-0002722396            PILGRIMS-0002722742         133
Emails/Attachments   PILGRIMS-0002722745            PILGRIMS-0002723896         189
Emails/Attachments   PILGRIMS-0002723899            PILGRIMS-0002724225         144
Emails/Attachments   PILGRIMS-0002724228            PILGRIMS-0002724812         199
Emails/Attachments   PILGRIMS-0002724815            PILGRIMS-0002728085         179
Emails/Attachments   PILGRIMS-0002728088            PILGRIMS-0002728733          89
Emails/Attachments   PILGRIMS-0002728736            PILGRIMS-0002728957          94
Emails/Attachments   PILGRIMS-0002728960            PILGRIMS-0002730582         214
Emails/Attachments   PILGRIMS-0002730585            PILGRIMS-0002732679         216
Emails/Attachments   PILGRIMS-0002732682            PILGRIMS-0002733017         140
Emails/Attachments   PILGRIMS-0002733060            PILGRIMS-0002733201          25
Emails/Attachments   PILGRIMS-0002733204            PILGRIMS-0002733444         146
Emails/Attachments   PILGRIMS-0002733447            PILGRIMS-0002734678         198
Emails/Attachments   PILGRIMS-0002734681            PILGRIMS-0002738167         252
Emails/Attachments   PILGRIMS-0002738170            PILGRIMS-0002738582         158
Emails/Attachments   PILGRIMS-0002738585            PILGRIMS-0002739167         201
Emails/Attachments   PILGRIMS-0002739170            PILGRIMS-0002739720         175
Emails/Attachments   PILGRIMS-0002739723            PILGRIMS-0002739961         154
Emails/Attachments   PILGRIMS-0002739966            PILGRIMS-0002740156          33
Emails/Attachments   PILGRIMS-0002740159            PILGRIMS-0002741172         342
Emails/Attachments   PILGRIMS-0002741175            PILGRIMS-0002742019         283
Emails/Attachments   PILGRIMS-0002742022            PILGRIMS-0002742101          24
Emails/Attachments   PILGRIMS-0002742120            PILGRIMS-0002742147          11
Emails/Attachments   PILGRIMS-0002742166            PILGRIMS-0002742545         161
Emails/Attachments   PILGRIMS-0002742548            PILGRIMS-0002743168         170
Emails/Attachments   PILGRIMS-0002743171            PILGRIMS-0002743588         199
Emails/Attachments   PILGRIMS-0002743591            PILGRIMS-0002744780         421
Emails/Attachments   PILGRIMS-0002744783            PILGRIMS-0002745623         210
Emails/Attachments   PILGRIMS-0002745626            PILGRIMS-0002749926        1,749
Emails/Attachments   PILGRIMS-0002749928            PILGRIMS-0002750366         203
Emails/Attachments   PILGRIMS-0002750434            PILGRIMS-0002760911        3,387
Emails/Attachments   PILGRIMS-0002760928            PILGRIMS-0002761339         108
Emails/Attachments   PILGRIMS-0002761351            PILGRIMS-0002773839        3,705
Emails/Attachments   PILGRIMS-0002773847            PILGRIMS-0002774158          29
Emails/Attachments   PILGRIMS-0002774215            PILGRIMS-0002795863        5,432
Emails/Attachments   PILGRIMS-0002795865            PILGRIMS-0002804649        1,963


                                   Page 10 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 34 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002804651            PILGRIMS-0002804652           2
Emails/Attachments   PILGRIMS-0002804654            PILGRIMS-0002816299        2,895
Emails/Attachments   PILGRIMS-0002816406            PILGRIMS-0002816431          12
Emails/Attachments   PILGRIMS-0002816527            PILGRIMS-0002816936         128
Emails/Attachments   PILGRIMS-0002817061            PILGRIMS-0002817540         105
Emails/Attachments   PILGRIMS-0002817594            PILGRIMS-0002818921         247
Emails/Attachments   PILGRIMS-0002818960            PILGRIMS-0002819905         166
Emails/Attachments   PILGRIMS-0002819917            PILGRIMS-0002820093          28
Emails/Attachments   PILGRIMS-0002820109            PILGRIMS-0002820261          27
Emails/Attachments   PILGRIMS-0002820329            PILGRIMS-0002820356           4
Emails/Attachments   PILGRIMS-0002820370            PILGRIMS-0002821694         182
Emails/Attachments   PILGRIMS-0002821696            PILGRIMS-0002821748          23
Emails/Attachments   PILGRIMS-0002821781            PILGRIMS-0002821862          13
Emails/Attachments   PILGRIMS-0002821896            PILGRIMS-0002822107          34
Emails/Attachments   PILGRIMS-0002822147            PILGRIMS-0002822317          33
Emails/Attachments   PILGRIMS-0002822379            PILGRIMS-0002822848          73
Emails/Attachments   PILGRIMS-0002822901            PILGRIMS-0002822953           2
Emails/Attachments   PILGRIMS-0002823073            PILGRIMS-0002823357          38
Emails/Attachments   PILGRIMS-0002823369            PILGRIMS-0002823594          64
Emails/Attachments   PILGRIMS-0002823596            PILGRIMS-0002824317         204
Emails/Attachments   PILGRIMS-0002824320            PILGRIMS-0002824628          46
Emails/Attachments   PILGRIMS-0002824694            PILGRIMS-0002825104          96
Emails/Attachments   PILGRIMS-0002825106            PILGRIMS-0002825312          57
Emails/Attachments   PILGRIMS-0002825353            PILGRIMS-0002826170         156
Emails/Attachments   PILGRIMS-0002826238            PILGRIMS-0002826878         123
Emails/Attachments   PILGRIMS-0002826883            PILGRIMS-0002826957          46
Emails/Attachments   PILGRIMS-0002827006            PILGRIMS-0002827020           2
Emails/Attachments   PILGRIMS-0002827022            PILGRIMS-0002827328         120
Emails/Attachments   PILGRIMS-0002827331            PILGRIMS-0002828396         207
Emails/Attachments   PILGRIMS-0002828471            PILGRIMS-0002828496           7
Emails/Attachments   PILGRIMS-0002828567            PILGRIMS-0002828580           3
Emails/Attachments   PILGRIMS-0002828607            PILGRIMS-0002828861          53
Emails/Attachments   PILGRIMS-0002828879            PILGRIMS-0002829056          53
Emails/Attachments   PILGRIMS-0002829058            PILGRIMS-0002829202          40
Emails/Attachments   PILGRIMS-0002829235            PILGRIMS-0002829553          52
Emails/Attachments   PILGRIMS-0002829598            PILGRIMS-0002829700          10
Emails/Attachments   PILGRIMS-0002829702            PILGRIMS-0002829830          36
Emails/Attachments   PILGRIMS-0002829904            PILGRIMS-0002830105          39
Emails/Attachments   PILGRIMS-0002830147            PILGRIMS-0002830153           3
Emails/Attachments   PILGRIMS-0002830183            PILGRIMS-0002830333           9
Emails/Attachments   PILGRIMS-0002830335            PILGRIMS-0002830385          18
Emails/Attachments   PILGRIMS-0002830456            PILGRIMS-0002830647          23
Emails/Attachments   PILGRIMS-0002830649            PILGRIMS-0002830764          38
Emails/Attachments   PILGRIMS-0002830766            PILGRIMS-0002830982          56
Emails/Attachments   PILGRIMS-0002830984            PILGRIMS-0002831440         128
Emails/Attachments   PILGRIMS-0002831452            PILGRIMS-0002831684         127


                                   Page 11 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 35 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002831686            PILGRIMS-0002831752         46
Emails/Attachments   PILGRIMS-0002831796            PILGRIMS-0002832295         163
Emails/Attachments   PILGRIMS-0002832379            PILGRIMS-0002832409          2
Emails/Attachments   PILGRIMS-0002832417            PILGRIMS-0002832524         55
Emails/Attachments   PILGRIMS-0002832731            PILGRIMS-0002833069         31
Emails/Attachments   PILGRIMS-0002833077            PILGRIMS-0002833201         32
Emails/Attachments   PILGRIMS-0002833316            PILGRIMS-0002833497         22
Emails/Attachments   PILGRIMS-0002833499            PILGRIMS-0002833930         69
Emails/Attachments   PILGRIMS-0002833932            PILGRIMS-0002835947         393
Emails/Attachments   PILGRIMS-0002835949            PILGRIMS-0002836000         13
Emails/Attachments   PILGRIMS-0002836129            PILGRIMS-0002836171         11
Emails/Attachments   PILGRIMS-0002836173            PILGRIMS-0002836604         105
Emails/Attachments   PILGRIMS-0002836610            PILGRIMS-0002836652         13
Emails/Attachments   PILGRIMS-0002836654            PILGRIMS-0002837454         197
Emails/Attachments   PILGRIMS-0002837567            PILGRIMS-0002837882         57
Emails/Attachments   PILGRIMS-0002837892            PILGRIMS-0002838395         100
Emails/Attachments   PILGRIMS-0002838397            PILGRIMS-0002838662         64
Emails/Attachments   PILGRIMS-0002838681            PILGRIMS-0002838849         40
Emails/Attachments   PILGRIMS-0002838937            PILGRIMS-0002839179         23
Emails/Attachments   PILGRIMS-0002839221            PILGRIMS-0002839314         16
Emails/Attachments   PILGRIMS-0002839316            PILGRIMS-0002839658         59
Emails/Attachments   PILGRIMS-0002839660            PILGRIMS-0002839759         18
Emails/Attachments   PILGRIMS-0002839888            PILGRIMS-0002840136         29
Emails/Attachments   PILGRIMS-0002840138            PILGRIMS-0002840513         84
Emails/Attachments   PILGRIMS-0002840702            PILGRIMS-0002840716          6
Emails/Attachments   PILGRIMS-0002840718            PILGRIMS-0002840902         28
Emails/Attachments   PILGRIMS-0002840921            PILGRIMS-0002840960          9
Emails/Attachments   PILGRIMS-0002840962            PILGRIMS-0002841114         28
Emails/Attachments   PILGRIMS-0002841119            PILGRIMS-0002841152          4
Emails/Attachments   PILGRIMS-0002841154            PILGRIMS-0002841302         47
Emails/Attachments   PILGRIMS-0002841305            PILGRIMS-0002841364          6
Emails/Attachments   PILGRIMS-0002841424            PILGRIMS-0002841532          9
Emails/Attachments   PILGRIMS-0002841599            PILGRIMS-0002841662         10
Emails/Attachments   PILGRIMS-0002841664            PILGRIMS-0002842460         93
Emails/Attachments   PILGRIMS-0002842462            PILGRIMS-0002842475          4
Emails/Attachments   PILGRIMS-0002842567            PILGRIMS-0002843061         76
Emails/Attachments   PILGRIMS-0002843163            PILGRIMS-0002843340         14
Emails/Attachments   PILGRIMS-0002843343            PILGRIMS-0002843359         10
Emails/Attachments   PILGRIMS-0002843361            PILGRIMS-0002843416         10
Emails/Attachments   PILGRIMS-0002843423            PILGRIMS-0002843451         25
Emails/Attachments   PILGRIMS-0002843453            PILGRIMS-0002843633         27
Emails/Attachments   PILGRIMS-0002843635            PILGRIMS-0002843639          4
Emails/Attachments   PILGRIMS-0002843641            PILGRIMS-0002843689         23
Emails/Attachments   PILGRIMS-0002843735            PILGRIMS-0002843956         63
Emails/Attachments   PILGRIMS-0002843958            PILGRIMS-0002844265         89
Emails/Attachments   PILGRIMS-0002844393            PILGRIMS-0002844554         10


                                   Page 12 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 36 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002844583            PILGRIMS-0002844916         66
Emails/Attachments   PILGRIMS-0002844921            PILGRIMS-0002845075         24
Emails/Attachments   PILGRIMS-0002845142            PILGRIMS-0002845185          7
Emails/Attachments   PILGRIMS-0002845187            PILGRIMS-0002845204          8
Emails/Attachments   PILGRIMS-0002845211            PILGRIMS-0002845314         24
Emails/Attachments   PILGRIMS-0002845458            PILGRIMS-0002845510          7
Emails/Attachments   PILGRIMS-0002845561            PILGRIMS-0002845916         64
Emails/Attachments   PILGRIMS-0002845918            PILGRIMS-0002846456         122
Emails/Attachments   PILGRIMS-0002846583            PILGRIMS-0002846599          4
Emails/Attachments   PILGRIMS-0002846601            PILGRIMS-0002846815         32
Emails/Attachments   PILGRIMS-0002846899            PILGRIMS-0002846935         10
Emails/Attachments   PILGRIMS-0002846991            PILGRIMS-0002847327         71
Emails/Attachments   PILGRIMS-0002847329            PILGRIMS-0002847342          6
Emails/Attachments   PILGRIMS-0002847349            PILGRIMS-0002847468          9
Emails/Attachments   PILGRIMS-0002847470            PILGRIMS-0002847605         38
Emails/Attachments   PILGRIMS-0002847607            PILGRIMS-0002847614          3
Emails/Attachments   PILGRIMS-0002847661            PILGRIMS-0002847973         47
Emails/Attachments   PILGRIMS-0002847975            PILGRIMS-0002847995          3
Emails/Attachments   PILGRIMS-0002847998            PILGRIMS-0002848104         18
Emails/Attachments   PILGRIMS-0002848110            PILGRIMS-0002848143          5
Emails/Attachments   PILGRIMS-0002848148            PILGRIMS-0002848195          6
Emails/Attachments   PILGRIMS-0002848197            PILGRIMS-0002848212          9
Emails/Attachments   PILGRIMS-0002848214            PILGRIMS-0002848263          7
Emails/Attachments   PILGRIMS-0002848296            PILGRIMS-0002848399          2
Emails/Attachments   PILGRIMS-0002848401            PILGRIMS-0002848469         10
Emails/Attachments   PILGRIMS-0002848573            PILGRIMS-0002848574          2
Emails/Attachments   PILGRIMS-0002848585            PILGRIMS-0002848684         14
Emails/Attachments   PILGRIMS-0002848694            PILGRIMS-0002848741          7
Emails/Attachments   PILGRIMS-0002848854            PILGRIMS-0002848922         25
Emails/Attachments   PILGRIMS-0002848924            PILGRIMS-0002849008         11
Emails/Attachments   PILGRIMS-0002849010            PILGRIMS-0002849031          5
Emails/Attachments   PILGRIMS-0002849038            PILGRIMS-0002849508         96
Emails/Attachments   PILGRIMS-0002849510            PILGRIMS-0002849514          1
Emails/Attachments   PILGRIMS-0002849516            PILGRIMS-0002849518          3
Emails/Attachments   PILGRIMS-0002849520            PILGRIMS-0002849621         27
Emails/Attachments   PILGRIMS-0002849730            PILGRIMS-0002849792          7
Emails/Attachments   PILGRIMS-0002849803            PILGRIMS-0002849901         13
Emails/Attachments   PILGRIMS-0002849903            PILGRIMS-0002850097         38
Emails/Attachments   PILGRIMS-0002850102            PILGRIMS-0002850343         55
Emails/Attachments   PILGRIMS-0002850362            PILGRIMS-0002850713         52
Emails/Attachments   PILGRIMS-0002850725            PILGRIMS-0002850893         33
Emails/Attachments   PILGRIMS-0002850895            PILGRIMS-0002850896          2
Emails/Attachments   PILGRIMS-0002850899            PILGRIMS-0002851083         27
Emails/Attachments   PILGRIMS-0002851190            PILGRIMS-0002851381         19
Emails/Attachments   PILGRIMS-0002851488            PILGRIMS-0002851654         19
Emails/Attachments   PILGRIMS-0002851665            PILGRIMS-0002851980         53


                                   Page 13 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 37 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002851982            PILGRIMS-0002852034         12
Emails/Attachments   PILGRIMS-0002852041            PILGRIMS-0002852097         12
Emails/Attachments   PILGRIMS-0002852199            PILGRIMS-0002852260         18
Emails/Attachments   PILGRIMS-0002852262            PILGRIMS-0002852874         78
Emails/Attachments   PILGRIMS-0002852876            PILGRIMS-0002852902         12
Emails/Attachments   PILGRIMS-0002852905            PILGRIMS-0002852962         11
Emails/Attachments   PILGRIMS-0002853167            PILGRIMS-0002853445         30
Emails/Attachments   PILGRIMS-0002853557            PILGRIMS-0002853576          2
Emails/Attachments   PILGRIMS-0002853688            PILGRIMS-0002853755         10
Emails/Attachments   PILGRIMS-0002853768            PILGRIMS-0002853878         15
Emails/Attachments   PILGRIMS-0002853880            PILGRIMS-0002853881          2
Emails/Attachments   PILGRIMS-0002853885            PILGRIMS-0002854148         46
Emails/Attachments   PILGRIMS-0002854150            PILGRIMS-0002854253         34
Emails/Attachments   PILGRIMS-0002854257            PILGRIMS-0002854300          5
Emails/Attachments   PILGRIMS-0002854309            PILGRIMS-0002854453         39
Emails/Attachments   PILGRIMS-0002854491            PILGRIMS-0002854492          2
Emails/Attachments   PILGRIMS-0002854658            PILGRIMS-0002854755         16
Emails/Attachments   PILGRIMS-0002854776            PILGRIMS-0002854912         13
Emails/Attachments   PILGRIMS-0002854921            PILGRIMS-0002855196         44
Emails/Attachments   PILGRIMS-0002855235            PILGRIMS-0002855283         10
Emails/Attachments   PILGRIMS-0002855285            PILGRIMS-0002855343         27
Emails/Attachments   PILGRIMS-0002855347            PILGRIMS-0002855351          1
Emails/Attachments   PILGRIMS-0002855353            PILGRIMS-0002855738         55
Emails/Attachments   PILGRIMS-0002855837            PILGRIMS-0002855845          1
Emails/Attachments   PILGRIMS-0002855847            PILGRIMS-0002855887          6
Emails/Attachments   PILGRIMS-0002855892            PILGRIMS-0002855967          9
Emails/Attachments   PILGRIMS-0002855969            PILGRIMS-0002856012          4
Emails/Attachments   PILGRIMS-0002856115            PILGRIMS-0002856526         71
Emails/Attachments   PILGRIMS-0002856528            PILGRIMS-0002856531          1
Emails/Attachments   PILGRIMS-0002856536            PILGRIMS-0002856617         20
Emails/Attachments   PILGRIMS-0002856619            PILGRIMS-0002857747         181
Emails/Attachments   PILGRIMS-0002857847            PILGRIMS-0002857968         26
Emails/Attachments   PILGRIMS-0002857980            PILGRIMS-0002858170         33
Emails/Attachments   PILGRIMS-0002858200            PILGRIMS-0002858223          5
Emails/Attachments   PILGRIMS-0002858225            PILGRIMS-0002858279          7
Emails/Attachments   PILGRIMS-0002858284            PILGRIMS-0002858757         52
Emails/Attachments   PILGRIMS-0002858759            PILGRIMS-0002858772          2
Emails/Attachments   PILGRIMS-0002858781            PILGRIMS-0002859739         130
Emails/Attachments   PILGRIMS-0002859805            PILGRIMS-0002860067         31
Emails/Attachments   PILGRIMS-0002860069            PILGRIMS-0002860104          7
Emails/Attachments   PILGRIMS-0002860118            PILGRIMS-0002860125          1
Emails/Attachments   PILGRIMS-0002860226            PILGRIMS-0002860243          2
Emails/Attachments   PILGRIMS-0002860289            PILGRIMS-0002860318         12
Emails/Attachments   PILGRIMS-0002860349            PILGRIMS-0002860491         17
Emails/Attachments   PILGRIMS-0002860493            PILGRIMS-0002860575         10
Emails/Attachments   PILGRIMS-0002860577            PILGRIMS-0002860775         27


                                   Page 14 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 38 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002860785            PILGRIMS-0002871735        2,832
Emails/Attachments   PILGRIMS-0002871849            PILGRIMS-0002871856           7
Emails/Attachments   PILGRIMS-0002872134            PILGRIMS-0002873251         215
Emails/Attachments   PILGRIMS-0002873256            PILGRIMS-0002873544         167
Emails/Attachments   PILGRIMS-0002873549            PILGRIMS-0002873579          23
Emails/Attachments   PILGRIMS-0002873585            PILGRIMS-0002874251          60
Emails/Attachments   PILGRIMS-0002874848            PILGRIMS-0002875610         228
Emails/Attachments   PILGRIMS-0002875613            PILGRIMS-0002875624          12
Emails/Attachments   PILGRIMS-0002875627            PILGRIMS-0002876093          11
Emails/Attachments   PILGRIMS-0002876096            PILGRIMS-0002876413          12
Emails/Attachments   PILGRIMS-0002876416            PILGRIMS-0002876654         168
Emails/Attachments   PILGRIMS-0002876786            PILGRIMS-0002876799          11
Emails/Attachments   PILGRIMS-0002876802            PILGRIMS-0002877036         170
Emails/Attachments   PILGRIMS-0002877053            PILGRIMS-0002877239         123
Emails/Attachments   PILGRIMS-0002877250            PILGRIMS-0002877596         193
Emails/Attachments   PILGRIMS-0002877604            PILGRIMS-0002877699          73
Emails/Attachments   PILGRIMS-0002877709            PILGRIMS-0002877861          20
Emails/Attachments   PILGRIMS-0002877866            PILGRIMS-0002877955          41
Emails/Attachments   PILGRIMS-0002877959            PILGRIMS-0002878307         171
Emails/Attachments   PILGRIMS-0002878310            PILGRIMS-0002878477          28
Emails/Attachments   PILGRIMS-0002878586            PILGRIMS-0002878812          40
Emails/Attachments   PILGRIMS-0002878822            PILGRIMS-0002879808         181
Emails/Attachments   PILGRIMS-0002879819            PILGRIMS-0002880365         127
Emails/Attachments   PILGRIMS-0002880369            PILGRIMS-0002881492         160
Emails/Attachments   PILGRIMS-0002881494            PILGRIMS-0002881516           5
Emails/Attachments   PILGRIMS-0002881518            PILGRIMS-0002881566          27
Emails/Attachments   PILGRIMS-0002881569            PILGRIMS-0002881583           5
Emails/Attachments   PILGRIMS-0002881585            PILGRIMS-0002881604          10
Emails/Attachments   PILGRIMS-0002881607            PILGRIMS-0002881610           1
Emails/Attachments   PILGRIMS-0002881612            PILGRIMS-0002881613           2
Emails/Attachments   PILGRIMS-0002881621            PILGRIMS-0002881626           4
Emails/Attachments   PILGRIMS-0002881637            PILGRIMS-0002881648           7
Emails/Attachments   PILGRIMS-0002881661            PILGRIMS-0002881676          13
Emails/Attachments   PILGRIMS-0002881680            PILGRIMS-0002881724          37
Emails/Attachments   PILGRIMS-0002881728            PILGRIMS-0002881861          79
Emails/Attachments   PILGRIMS-0002881864            PILGRIMS-0002882115          29
Emails/Attachments   PILGRIMS-0002882123            PILGRIMS-0002887769         689
Emails/Attachments   PILGRIMS-0002887774            PILGRIMS-0002887993          72
Emails/Attachments   PILGRIMS-0002887995            PILGRIMS-0002889685         394
Emails/Attachments   PILGRIMS-0002889687            PILGRIMS-0002892034         714
Emails/Attachments   PILGRIMS-0002892065            PILGRIMS-0002892406         225
Emails/Attachments   PILGRIMS-0002930375            PILGRIMS-0002930378           2
Emails/Attachments   PILGRIMS-0002930382            PILGRIMS-0002930385           2
Emails/Attachments   PILGRIMS-0002930387            PILGRIMS-0002930401          10
Emails/Attachments   PILGRIMS-0002930404            PILGRIMS-0002930405           2
Emails/Attachments   PILGRIMS-0002930407            PILGRIMS-0002930411           5


                                   Page 15 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 39 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002930413            PILGRIMS-0002930414          2
Emails/Attachments   PILGRIMS-0002930416            PILGRIMS-0002930420          4
Emails/Attachments   PILGRIMS-0002930424            PILGRIMS-0002930425          2
Emails/Attachments   PILGRIMS-0002930433            PILGRIMS-0002930493         23
Emails/Attachments   PILGRIMS-0002930495            PILGRIMS-0002930524          4
Emails/Attachments   PILGRIMS-0002930526            PILGRIMS-0002930572         36
Emails/Attachments   PILGRIMS-0002930575            PILGRIMS-0002930614         18
Emails/Attachments   PILGRIMS-0002930661            PILGRIMS-0002930681         18
Emails/Attachments   PILGRIMS-0002930684            PILGRIMS-0002930740         46
Emails/Attachments   PILGRIMS-0002930742            PILGRIMS-0002930746          4
Emails/Attachments   PILGRIMS-0002930765            PILGRIMS-0002930789         21
Emails/Attachments   PILGRIMS-0002930792            PILGRIMS-0002930820         16
Emails/Attachments   PILGRIMS-0002930823            PILGRIMS-0002930826          4
Emails/Attachments   PILGRIMS-0002930828            PILGRIMS-0002930882         40
Emails/Attachments   PILGRIMS-0002930884            PILGRIMS-0002930894         10
Emails/Attachments   PILGRIMS-0002930897            PILGRIMS-0002930906          8
Emails/Attachments   PILGRIMS-0002930908            PILGRIMS-0002930962         16
Emails/Attachments   PILGRIMS-0002930964            PILGRIMS-0002930967          4
Emails/Attachments   PILGRIMS-0002930969            PILGRIMS-0002930978          8
Emails/Attachments   PILGRIMS-0002930980            PILGRIMS-0002930989         10
Emails/Attachments   PILGRIMS-0002930991            PILGRIMS-0002931085         44
Emails/Attachments   PILGRIMS-0002931089            PILGRIMS-0002931145         16
Emails/Attachments   PILGRIMS-0002931147            PILGRIMS-0002931156         10
Emails/Attachments   PILGRIMS-0002931159            PILGRIMS-0002931181         20
Emails/Attachments   PILGRIMS-0002931183            PILGRIMS-0002931200         16
Emails/Attachments   PILGRIMS-0002931204            PILGRIMS-0002931233         26
Emails/Attachments   PILGRIMS-0002931235            PILGRIMS-0002931246         12
Emails/Attachments   PILGRIMS-0002931248            PILGRIMS-0002931271         20
Emails/Attachments   PILGRIMS-0002931273            PILGRIMS-0002931402         51
Emails/Attachments   PILGRIMS-0002931404            PILGRIMS-0002931474         20
Emails/Attachments   PILGRIMS-0002931478            PILGRIMS-0002931549         22
Emails/Attachments   PILGRIMS-0002931553            PILGRIMS-0002931608         12
Emails/Attachments   PILGRIMS-0002931610            PILGRIMS-0002931665         50
Emails/Attachments   PILGRIMS-0002931667            PILGRIMS-0002931744         17
Emails/Attachments   PILGRIMS-0002931746            PILGRIMS-0002931764          3
Emails/Attachments   PILGRIMS-0002931767            PILGRIMS-0002931778         12
Emails/Attachments   PILGRIMS-0002931782            PILGRIMS-0002931801         18
Emails/Attachments   PILGRIMS-0002931803            PILGRIMS-0002931812          8
Emails/Attachments   PILGRIMS-0002931815            PILGRIMS-0002931849         24
Emails/Attachments   PILGRIMS-0002931851            PILGRIMS-0002931852          2
Emails/Attachments   PILGRIMS-0002931855            PILGRIMS-0002931862          8
Emails/Attachments   PILGRIMS-0002931865            PILGRIMS-0002931870          4
Emails/Attachments   PILGRIMS-0002931880            PILGRIMS-0002931982         25
Emails/Attachments   PILGRIMS-0002931984            PILGRIMS-0002931995          2
Emails/Attachments   PILGRIMS-0002931997            PILGRIMS-0002932011         10
Emails/Attachments   PILGRIMS-0002932013            PILGRIMS-0002932017          4


                                   Page 16 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 40 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002932027            PILGRIMS-0002932037          7
Emails/Attachments   PILGRIMS-0002932039            PILGRIMS-0002932077         27
Emails/Attachments   PILGRIMS-0002932079            PILGRIMS-0002932080          2
Emails/Attachments   PILGRIMS-0002932082            PILGRIMS-0002932098         14
Emails/Attachments   PILGRIMS-0002932100            PILGRIMS-0002932101          2
Emails/Attachments   PILGRIMS-0002932103            PILGRIMS-0002932193         27
Emails/Attachments   PILGRIMS-0002932195            PILGRIMS-0002932197          2
Emails/Attachments   PILGRIMS-0002932199            PILGRIMS-0002932200          2
Emails/Attachments   PILGRIMS-0002932203            PILGRIMS-0002932208          4
Emails/Attachments   PILGRIMS-0002932210            PILGRIMS-0002932225         12
Emails/Attachments   PILGRIMS-0002932227            PILGRIMS-0002932230          4
Emails/Attachments   PILGRIMS-0002932233            PILGRIMS-0002932253          4
Emails/Attachments   PILGRIMS-0002932255            PILGRIMS-0002932273          2
Emails/Attachments   PILGRIMS-0002932291            PILGRIMS-0002932314          2
Emails/Attachments   PILGRIMS-0002932331            PILGRIMS-0002932368         16
Emails/Attachments   PILGRIMS-0002932387            PILGRIMS-0002932392          6
Emails/Attachments   PILGRIMS-0002932394            PILGRIMS-0002932395          2
Emails/Attachments   PILGRIMS-0002932397            PILGRIMS-0002932400          4
Emails/Attachments   PILGRIMS-0002932403            PILGRIMS-0002932415         11
Emails/Attachments   PILGRIMS-0002932419            PILGRIMS-0002932437         11
Emails/Attachments   PILGRIMS-0002932439            PILGRIMS-0002932454         13
Emails/Attachments   PILGRIMS-0002932458            PILGRIMS-0002932468         11
Emails/Attachments   PILGRIMS-0002932470            PILGRIMS-0002932485         11
Emails/Attachments   PILGRIMS-0002932487            PILGRIMS-0002932492          2
Emails/Attachments   PILGRIMS-0002932496            PILGRIMS-0002932525          5
Emails/Attachments   PILGRIMS-0002932537            PILGRIMS-0002932660         58
Emails/Attachments   PILGRIMS-0002932663            PILGRIMS-0002932682         17
Emails/Attachments   PILGRIMS-0002932684            PILGRIMS-0002932685          2
Emails/Attachments   PILGRIMS-0002932687            PILGRIMS-0002932700         13
Emails/Attachments   PILGRIMS-0002932704            PILGRIMS-0002932750         15
Emails/Attachments   PILGRIMS-0002932752            PILGRIMS-0002932763          7
Emails/Attachments   PILGRIMS-0002932765            PILGRIMS-0002932768          3
Emails/Attachments   PILGRIMS-0002932773            PILGRIMS-0002932779          6
Emails/Attachments   PILGRIMS-0002932782            PILGRIMS-0002932792         10
Emails/Attachments   PILGRIMS-0002932794            PILGRIMS-0002932800          5
Emails/Attachments   PILGRIMS-0002932802            PILGRIMS-0002932812         10
Emails/Attachments   PILGRIMS-0002932814            PILGRIMS-0002932817          4
Emails/Attachments   PILGRIMS-0002932819            PILGRIMS-0002932830         12
Emails/Attachments   PILGRIMS-0002932832            PILGRIMS-0002932851         17
Emails/Attachments   PILGRIMS-0002932853            PILGRIMS-0002932856          4
Emails/Attachments   PILGRIMS-0002932859            PILGRIMS-0002932872          6
Emails/Attachments   PILGRIMS-0002932874            PILGRIMS-0002932885          9
Emails/Attachments   PILGRIMS-0002932888            PILGRIMS-0002932930         21
Emails/Attachments   PILGRIMS-0002932932            PILGRIMS-0002932963         14
Emails/Attachments   PILGRIMS-0002932965            PILGRIMS-0002932980          9
Emails/Attachments   PILGRIMS-0002932982            PILGRIMS-0002933020         34


                                   Page 17 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 41 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002933022            PILGRIMS-0002933023          2
Emails/Attachments   PILGRIMS-0002933050            PILGRIMS-0002933053          4
Emails/Attachments   PILGRIMS-0002933055            PILGRIMS-0002933063          9
Emails/Attachments   PILGRIMS-0002933071            PILGRIMS-0002933073          2
Emails/Attachments   PILGRIMS-0002933075            PILGRIMS-0002933085          2
Emails/Attachments   PILGRIMS-0002933087            PILGRIMS-0002933119         17
Emails/Attachments   PILGRIMS-0002933121            PILGRIMS-0002933122          2
Emails/Attachments   PILGRIMS-0002933124            PILGRIMS-0002933135         12
Emails/Attachments   PILGRIMS-0002933139            PILGRIMS-0002933140          2
Emails/Attachments   PILGRIMS-0002933143            PILGRIMS-0002933160         14
Emails/Attachments   PILGRIMS-0002933162            PILGRIMS-0002933178          6
Emails/Attachments   PILGRIMS-0002933180            PILGRIMS-0002933195         10
Emails/Attachments   PILGRIMS-0002933197            PILGRIMS-0002933204          8
Emails/Attachments   PILGRIMS-0002933206            PILGRIMS-0002933226         18
Emails/Attachments   PILGRIMS-0002933228            PILGRIMS-0002933237          8
Emails/Attachments   PILGRIMS-0002933239            PILGRIMS-0002933346         15
Emails/Attachments   PILGRIMS-0002933364            PILGRIMS-0002933395         27
Emails/Attachments   PILGRIMS-0002933397            PILGRIMS-0002933398          2
Emails/Attachments   PILGRIMS-0002933400            PILGRIMS-0002933401          2
Emails/Attachments   PILGRIMS-0002933403            PILGRIMS-0002933419         16
Emails/Attachments   PILGRIMS-0002933421            PILGRIMS-0002933440         20
Emails/Attachments   PILGRIMS-0002933442            PILGRIMS-0002933445          4
Emails/Attachments   PILGRIMS-0002933447            PILGRIMS-0002933450          4
Emails/Attachments   PILGRIMS-0002933462            PILGRIMS-0002933475         14
Emails/Attachments   PILGRIMS-0002933478            PILGRIMS-0002933491         14
Emails/Attachments   PILGRIMS-0002933494            PILGRIMS-0002933522         26
Emails/Attachments   PILGRIMS-0002933524            PILGRIMS-0002933527          4
Emails/Attachments   PILGRIMS-0002933530            PILGRIMS-0002933533          4
Emails/Attachments   PILGRIMS-0002933535            PILGRIMS-0002933572         38
Emails/Attachments   PILGRIMS-0002933574            PILGRIMS-0002933607         34
Emails/Attachments   PILGRIMS-0002933609            PILGRIMS-0002933618         10
Emails/Attachments   PILGRIMS-0002933620            PILGRIMS-0002933630         11
Emails/Attachments   PILGRIMS-0002933632            PILGRIMS-0002933674         32
Emails/Attachments   PILGRIMS-0002933677            PILGRIMS-0002933684          8
Emails/Attachments   PILGRIMS-0002933687            PILGRIMS-0002933690          4
Emails/Attachments   PILGRIMS-0002933692            PILGRIMS-0002933744         33
Emails/Attachments   PILGRIMS-0002933746            PILGRIMS-0002933748          2
Emails/Attachments   PILGRIMS-0002933945            PILGRIMS-0002933965         14
Emails/Attachments   PILGRIMS-0002934046            PILGRIMS-0002934078         32
Emails/Attachments   PILGRIMS-0002934080            PILGRIMS-0002934081          2
Emails/Attachments   PILGRIMS-0002934083            PILGRIMS-0002934121         35
Emails/Attachments   PILGRIMS-0002934123            PILGRIMS-0002934145         14
Emails/Attachments   PILGRIMS-0002934147            PILGRIMS-0002934148          2
Emails/Attachments   PILGRIMS-0002934150            PILGRIMS-0002934152          3
Emails/Attachments   PILGRIMS-0002934155            PILGRIMS-0002934261         26
Emails/Attachments   PILGRIMS-0002934263            PILGRIMS-0002934296         34


                                   Page 18 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 42 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002934298            PILGRIMS-0002934299          2
Emails/Attachments   PILGRIMS-0002934301            PILGRIMS-0002934323         23
Emails/Attachments   PILGRIMS-0002934325            PILGRIMS-0002934336         12
Emails/Attachments   PILGRIMS-0002934338            PILGRIMS-0002934353         16
Emails/Attachments   PILGRIMS-0002934381            PILGRIMS-0002934383          3
Emails/Attachments   PILGRIMS-0002934385            PILGRIMS-0002934437         51
Emails/Attachments   PILGRIMS-0002934439            PILGRIMS-0002934444          6
Emails/Attachments   PILGRIMS-0002934447            PILGRIMS-0002934497         50
Emails/Attachments   PILGRIMS-0002934505            PILGRIMS-0002934542         26
Emails/Attachments   PILGRIMS-0002934546            PILGRIMS-0002934555         10
Emails/Attachments   PILGRIMS-0002934557            PILGRIMS-0002934560          4
Emails/Attachments   PILGRIMS-0002934562            PILGRIMS-0002934606         45
Emails/Attachments   PILGRIMS-0002934609            PILGRIMS-0002934617          9
Emails/Attachments   PILGRIMS-0002934620            PILGRIMS-0002934668         47
Emails/Attachments   PILGRIMS-0002934671            PILGRIMS-0002934695         25
Emails/Attachments   PILGRIMS-0002934697            PILGRIMS-0002934706         10
Emails/Attachments   PILGRIMS-0002934709            PILGRIMS-0002934754         10
Emails/Attachments   PILGRIMS-0002934756            PILGRIMS-0002934800         44
Emails/Attachments   PILGRIMS-0002934802            PILGRIMS-0002934818         15
Emails/Attachments   PILGRIMS-0002934821            PILGRIMS-0002934830         10
Emails/Attachments   PILGRIMS-0002934832            PILGRIMS-0002934856         24
Emails/Attachments   PILGRIMS-0002934913            PILGRIMS-0002934943         26
Emails/Attachments   PILGRIMS-0002934945            PILGRIMS-0002934950          6
Emails/Attachments   PILGRIMS-0002934952            PILGRIMS-0002935088         29
Emails/Attachments   PILGRIMS-0002935090            PILGRIMS-0002935141         11
Emails/Attachments   PILGRIMS-0002935187            PILGRIMS-0002935235         38
Emails/Attachments   PILGRIMS-0002935237            PILGRIMS-0002935253         15
Emails/Attachments   PILGRIMS-0002935257            PILGRIMS-0002935281         23
Emails/Attachments   PILGRIMS-0002935283            PILGRIMS-0002935292          9
Emails/Attachments   PILGRIMS-0002935294            PILGRIMS-0002935295          2
Emails/Attachments   PILGRIMS-0002935298            PILGRIMS-0002935307          7
Emails/Attachments   PILGRIMS-0002935309            PILGRIMS-0002935365         42
Emails/Attachments   PILGRIMS-0002935367            PILGRIMS-0002935417         42
Emails/Attachments   PILGRIMS-0002935422            PILGRIMS-0002935430          8
Emails/Attachments   PILGRIMS-0002935462            PILGRIMS-0002935465          4
Emails/Attachments   PILGRIMS-0002935467            PILGRIMS-0002935529         27
Emails/Attachments   PILGRIMS-0002935561            PILGRIMS-0002935564          4
Emails/Attachments   PILGRIMS-0002935567            PILGRIMS-0002935569          1
Emails/Attachments   PILGRIMS-0002935571            PILGRIMS-0002935582          9
Emails/Attachments   PILGRIMS-0002935588            PILGRIMS-0002935600          8
Emails/Attachments   PILGRIMS-0002935602            PILGRIMS-0002935675         56
Emails/Attachments   PILGRIMS-0002935677            PILGRIMS-0002935678          2
Emails/Attachments   PILGRIMS-0002935681            PILGRIMS-0002935701         18
Emails/Attachments   PILGRIMS-0002935703            PILGRIMS-0002935725         16
Emails/Attachments   PILGRIMS-0002935727            PILGRIMS-0002935730          4
Emails/Attachments   PILGRIMS-0002935732            PILGRIMS-0002935749         12


                                   Page 19 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 43 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002935751            PILGRIMS-0002935767         13
Emails/Attachments   PILGRIMS-0002935769            PILGRIMS-0002935772          4
Emails/Attachments   PILGRIMS-0002935774            PILGRIMS-0002935775          2
Emails/Attachments   PILGRIMS-0002935777            PILGRIMS-0002935784          6
Emails/Attachments   PILGRIMS-0002935786            PILGRIMS-0002935819         21
Emails/Attachments   PILGRIMS-0002935824            PILGRIMS-0002935835         11
Emails/Attachments   PILGRIMS-0002935837            PILGRIMS-0002935852         11
Emails/Attachments   PILGRIMS-0002935855            PILGRIMS-0002935879         12
Emails/Attachments   PILGRIMS-0002935885            PILGRIMS-0002935890          6
Emails/Attachments   PILGRIMS-0002935892            PILGRIMS-0002935893          2
Emails/Attachments   PILGRIMS-0002935895            PILGRIMS-0002935896          2
Emails/Attachments   PILGRIMS-0002935898            PILGRIMS-0002935901          4
Emails/Attachments   PILGRIMS-0002935903            PILGRIMS-0002935915         11
Emails/Attachments   PILGRIMS-0002935917            PILGRIMS-0002935921          2
Emails/Attachments   PILGRIMS-0002935923            PILGRIMS-0002938189         717
Emails/Attachments   PILGRIMS-0002938191            PILGRIMS-0002938922         333
Emails/Attachments   PILGRIMS-0002938924            PILGRIMS-0002939114         92
Emails/Attachments   PILGRIMS-0002939118            PILGRIMS-0002939130         13
Emails/Attachments   PILGRIMS-0002939132            PILGRIMS-0002939153         20
Emails/Attachments   PILGRIMS-0002939155            PILGRIMS-0002939235         67
Emails/Attachments   PILGRIMS-0002939237            PILGRIMS-0002939250         12
Emails/Attachments   PILGRIMS-0002939280            PILGRIMS-0002939309          2
Emails/Attachments   PILGRIMS-0002939311            PILGRIMS-0002939318          8
Emails/Attachments   PILGRIMS-0002939320            PILGRIMS-0002939367         28
Emails/Attachments   PILGRIMS-0002939370            PILGRIMS-0002939462         28
Emails/Attachments   PILGRIMS-0002939464            PILGRIMS-0002939829         60
Emails/Attachments   PILGRIMS-0002939832            PILGRIMS-0002939884          6
Emails/Attachments   PILGRIMS-0002939886            PILGRIMS-0002939892          6
Emails/Attachments   PILGRIMS-0002939894            PILGRIMS-0002939905          9
Emails/Attachments   PILGRIMS-0002939909            PILGRIMS-0002939926          4
Emails/Attachments   PILGRIMS-0002939931            PILGRIMS-0002939939          9
Emails/Attachments   PILGRIMS-0002939941            PILGRIMS-0002939965         25
Emails/Attachments   PILGRIMS-0002939968            PILGRIMS-0002939996         18
Emails/Attachments   PILGRIMS-0002939999            PILGRIMS-0002940008         10
Emails/Attachments   PILGRIMS-0002940010            PILGRIMS-0002940072         46
Emails/Attachments   PILGRIMS-0002940077            PILGRIMS-0002940313         70
Emails/Attachments   PILGRIMS-0002940315            PILGRIMS-0002940352         36
Emails/Attachments   PILGRIMS-0002940355            PILGRIMS-0002940467         31
Emails/Attachments   PILGRIMS-0002940471            PILGRIMS-0002940535         34
Emails/Attachments   PILGRIMS-0002940537            PILGRIMS-0002940554          4
Emails/Attachments   PILGRIMS-0002940558            PILGRIMS-0002940579          8
Emails/Attachments   PILGRIMS-0002940582            PILGRIMS-0002940592         10
Emails/Attachments   PILGRIMS-0002940597            PILGRIMS-0002940598          2
Emails/Attachments   PILGRIMS-0002940600            PILGRIMS-0002940641         17
Emails/Attachments   PILGRIMS-0002940644            PILGRIMS-0002940647          4
Emails/Attachments   PILGRIMS-0002940655            PILGRIMS-0002940663          8


                                   Page 20 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 44 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002940666            PILGRIMS-0002940694         26
Emails/Attachments   PILGRIMS-0002940697            PILGRIMS-0002940718         20
Emails/Attachments   PILGRIMS-0002940722            PILGRIMS-0002940726          4
Emails/Attachments   PILGRIMS-0002940730            PILGRIMS-0002940773         22
Emails/Attachments   PILGRIMS-0002940776            PILGRIMS-0002940833         20
Emails/Attachments   PILGRIMS-0002940835            PILGRIMS-0002940836          2
Emails/Attachments   PILGRIMS-0002940840            PILGRIMS-0002940850          5
Emails/Attachments   PILGRIMS-0002940857            PILGRIMS-0002940889         31
Emails/Attachments   PILGRIMS-0002940892            PILGRIMS-0002940922         26
Emails/Attachments   PILGRIMS-0002940925            PILGRIMS-0002940984         13
Emails/Attachments   PILGRIMS-0002940987            PILGRIMS-0002940988          2
Emails/Attachments   PILGRIMS-0002940992            PILGRIMS-0002941026         26
Emails/Attachments   PILGRIMS-0002941029            PILGRIMS-0002941147          8
Emails/Attachments   PILGRIMS-0002941150            PILGRIMS-0002941221         47
Emails/Attachments   PILGRIMS-0002941225            PILGRIMS-0002941357         67
Emails/Attachments   PILGRIMS-0002941361            PILGRIMS-0002941409         25
Emails/Attachments   PILGRIMS-0002941413            PILGRIMS-0002941776         228
Emails/Attachments   PILGRIMS-0002942253            PILGRIMS-0002943106         30
Emails/Attachments   PILGRIMS-0002943845            PILGRIMS-0002943884         21
Emails/Attachments   PILGRIMS-0002943886            PILGRIMS-0002943927         22
Emails/Attachments   PILGRIMS-0002943929            PILGRIMS-0002944038         48
Emails/Attachments   PILGRIMS-0002944040            PILGRIMS-0002944259         66
Emails/Attachments   PILGRIMS-0002944261            PILGRIMS-0002944310         32
Emails/Attachments   PILGRIMS-0002944312            PILGRIMS-0002944415         65
Emails/Attachments   PILGRIMS-0002944417            PILGRIMS-0002944698         87
Emails/Attachments   PILGRIMS-0002944700            PILGRIMS-0002944763         47
Emails/Attachments   PILGRIMS-0002944765            PILGRIMS-0002944849         55
Emails/Attachments   PILGRIMS-0002944851            PILGRIMS-0002944945         31
Emails/Attachments   PILGRIMS-0002944947            PILGRIMS-0002944998         35
Emails/Attachments   PILGRIMS-0002945000            PILGRIMS-0002945075         51
Emails/Attachments   PILGRIMS-0002945077            PILGRIMS-0002945143         48
Emails/Attachments   PILGRIMS-0002945145            PILGRIMS-0002945206         44
Emails/Attachments   PILGRIMS-0002945208            PILGRIMS-0002945336         44
Emails/Attachments   PILGRIMS-0002945338            PILGRIMS-0002945408         49
Emails/Attachments   PILGRIMS-0002945410            PILGRIMS-0002945483         41
Emails/Attachments   PILGRIMS-0002945485            PILGRIMS-0002946595         76
Emails/Attachments   PILGRIMS-0002946597            PILGRIMS-0002946637         25
Emails/Attachments   PILGRIMS-0002946639            PILGRIMS-0002946687         33
Emails/Attachments   PILGRIMS-0002946689            PILGRIMS-0002946707          6
Emails/Attachments   PILGRIMS-0002946709            PILGRIMS-0002946901         79
Emails/Attachments   PILGRIMS-0002946903            PILGRIMS-0002947008         45
Emails/Attachments   PILGRIMS-0002947010            PILGRIMS-0002947073         44
Emails/Attachments   PILGRIMS-0002947076            PILGRIMS-0002947607         98
Emails/Attachments   PILGRIMS-0002947609            PILGRIMS-0002948467         73
Emails/Attachments   PILGRIMS-0002948469            PILGRIMS-0002948571         47
Emails/Attachments   PILGRIMS-0002948573            PILGRIMS-0002948670         76


                                   Page 21 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 45 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002948672            PILGRIMS-0002949167         189
Emails/Attachments   PILGRIMS-0002949169            PILGRIMS-0002949215          39
Emails/Attachments   PILGRIMS-0002949217            PILGRIMS-0002949243          22
Emails/Attachments   PILGRIMS-0002949245            PILGRIMS-0002949312          29
Emails/Attachments   PILGRIMS-0002949314            PILGRIMS-0002949364          32
Emails/Attachments   PILGRIMS-0002949366            PILGRIMS-0002950058         184
Emails/Attachments   PILGRIMS-0002950060            PILGRIMS-0002950979         160
Emails/Attachments   PILGRIMS-0002950981            PILGRIMS-0002951074          67
Emails/Attachments   PILGRIMS-0002951076            PILGRIMS-0002951331         118
Emails/Attachments   PILGRIMS-0002951333            PILGRIMS-0002951472          45
Emails/Attachments   PILGRIMS-0002951474            PILGRIMS-0002951611         108
Emails/Attachments   PILGRIMS-0002951630            PILGRIMS-0002951671          36
Emails/Attachments   PILGRIMS-0002951673            PILGRIMS-0002952311         190
Emails/Attachments   PILGRIMS-0002952313            PILGRIMS-0002952425          89
Emails/Attachments   PILGRIMS-0002952427            PILGRIMS-0002952633         110
Emails/Attachments   PILGRIMS-0002952635            PILGRIMS-0002952636           2
Emails/Attachments   PILGRIMS-0002952638            PILGRIMS-0002952639           2
Emails/Attachments   PILGRIMS-0002952641            PILGRIMS-0002952676          35
Emails/Attachments   PILGRIMS-0002952678            PILGRIMS-0002953020         160
Emails/Attachments   PILGRIMS-0002953022            PILGRIMS-0002954213         346
Emails/Attachments   PILGRIMS-0002954230            PILGRIMS-0002954533          60
Emails/Attachments   PILGRIMS-0002954556            PILGRIMS-0002954868         115
Emails/Attachments   PILGRIMS-0002954871            PILGRIMS-0002955842         397
Emails/Attachments   PILGRIMS-0002955853            PILGRIMS-0002958840        1,359
Emails/Attachments   PILGRIMS-0002958842            PILGRIMS-0002958884          37
Emails/Attachments   PILGRIMS-0002958904            PILGRIMS-0002981545        6,780
Emails/Attachments   PILGRIMS-0002981547            PILGRIMS-0002987709        2,383
Emails/Attachments   PILGRIMS-0002987758            PILGRIMS-0002987924          37
Emails/Attachments   PILGRIMS-0002987943            PILGRIMS-0002988698         158
Emails/Attachments   PILGRIMS-0002988732            PILGRIMS-0002988747           2
Emails/Attachments   PILGRIMS-0002988762            PILGRIMS-0002988863           6
Emails/Attachments   PILGRIMS-0002988885            PILGRIMS-0002988906           2
Emails/Attachments   PILGRIMS-0002988940            PILGRIMS-0002988988           8
Emails/Attachments   PILGRIMS-0002988990            PILGRIMS-0002989417          40
Emails/Attachments   PILGRIMS-0002989460            PILGRIMS-0002989473           4
Emails/Attachments   PILGRIMS-0002989905            PILGRIMS-0002989933          15
Emails/Attachments   PILGRIMS-0002989937            PILGRIMS-0002989966           6
Emails/Attachments   PILGRIMS-0002989990            PILGRIMS-0002990054          11
Emails/Attachments   PILGRIMS-0002990102            PILGRIMS-0002990185          41
Emails/Attachments   PILGRIMS-0002990232            PILGRIMS-0002990404          63
Emails/Attachments   PILGRIMS-0002990468            PILGRIMS-0002990507           7
Emails/Attachments   PILGRIMS-0002990530            PILGRIMS-0002990561           6
Emails/Attachments   PILGRIMS-0002990629            PILGRIMS-0002990649          10
Emails/Attachments   PILGRIMS-0002990651            PILGRIMS-0002990659           8
Emails/Attachments   PILGRIMS-0002990678            PILGRIMS-0002990863         106
Emails/Attachments   PILGRIMS-0002990865            PILGRIMS-0002990974          41


                                   Page 22 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 46 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0002991007            PILGRIMS-0002991020          11
Emails/Attachments   PILGRIMS-0002991025            PILGRIMS-0002991033           7
Emails/Attachments   PILGRIMS-0002991040            PILGRIMS-0002991042           2
Emails/Attachments   PILGRIMS-0002991045            PILGRIMS-0002991047           2
Emails/Attachments   PILGRIMS-0002991050            PILGRIMS-0002991072           2
Emails/Attachments   PILGRIMS-0002991094            PILGRIMS-0002991113           4
Emails/Attachments   PILGRIMS-0002991116            PILGRIMS-0002991283          12
Emails/Attachments   PILGRIMS-0002991317            PILGRIMS-0002991319           2
Emails/Attachments   PILGRIMS-0002991345            PILGRIMS-0002991370           4
Emails/Attachments   PILGRIMS-0002991380            PILGRIMS-0002991383           2
Emails/Attachments   PILGRIMS-0002991390            PILGRIMS-0002991714          39
Emails/Attachments   PILGRIMS-0002991733            PILGRIMS-0002991742          10
Emails/Attachments   PILGRIMS-0002991748            PILGRIMS-0002991749           2
Emails/Attachments   PILGRIMS-0002991765            PILGRIMS-0003038780        7,022
Emails/Attachments   PILGRIMS-0003038783            PILGRIMS-0003038805          14
Emails/Attachments   PILGRIMS-0003038807            PILGRIMS-0003038839          29
Emails/Attachments   PILGRIMS-0003038841            PILGRIMS-0003038861          14
Emails/Attachments   PILGRIMS-0003038863            PILGRIMS-0003038899          24
Emails/Attachments   PILGRIMS-0003038901            PILGRIMS-0003038959          42
Emails/Attachments   PILGRIMS-0003038961            PILGRIMS-0003038983          19
Emails/Attachments   PILGRIMS-0003038985            PILGRIMS-0003038989           5
Emails/Attachments   PILGRIMS-0003038991            PILGRIMS-0003039848          58
Emails/Attachments   PILGRIMS-0003039850            PILGRIMS-0003040415          41
Emails/Attachments   PILGRIMS-0003040417            PILGRIMS-0003041409          68
Emails/Attachments   PILGRIMS-0003041411            PILGRIMS-0003041441          19
Emails/Attachments   PILGRIMS-0003041443            PILGRIMS-0003041589         108
Emails/Attachments   PILGRIMS-0003041591            PILGRIMS-0003041646          40
Emails/Attachments   PILGRIMS-0003041648            PILGRIMS-0003041680          15
Emails/Attachments   PILGRIMS-0003041682            PILGRIMS-0003041700          15
Emails/Attachments   PILGRIMS-0003041702            PILGRIMS-0003041752          42
Emails/Attachments   PILGRIMS-0003041762            PILGRIMS-0003041848          32
Emails/Attachments   PILGRIMS-0003041850            PILGRIMS-0003041913          23
Emails/Attachments   PILGRIMS-0003041931            PILGRIMS-0003041972          10
Emails/Attachments   PILGRIMS-0003041974            PILGRIMS-0003041997          17
Emails/Attachments   PILGRIMS-0003041999            PILGRIMS-0003042024          22
Emails/Attachments   PILGRIMS-0003042026            PILGRIMS-0003042158         100
Emails/Attachments   PILGRIMS-0003042160            PILGRIMS-0003042161           2
Emails/Attachments   PILGRIMS-0003042179            PILGRIMS-0003042219          20
Emails/Attachments   PILGRIMS-0003042221            PILGRIMS-0003042265          28
Emails/Attachments   PILGRIMS-0003042267            PILGRIMS-0003042287          18
Emails/Attachments   PILGRIMS-0003042289            PILGRIMS-0003042503          88
Emails/Attachments   PILGRIMS-0003042521            PILGRIMS-0003059781        7,101
Emails/Attachments   PILGRIMS-0003059784            PILGRIMS-0003059890          42
Emails/Attachments   PILGRIMS-0003059892            PILGRIMS-0003060490         213
Emails/Attachments   PILGRIMS-0003060492            PILGRIMS-0003060634          12
Emails/Attachments   PILGRIMS-0003060638            PILGRIMS-0003064089         713


                                   Page 23 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 47 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003064091            PILGRIMS-0003064103          11
Emails/Attachments   PILGRIMS-0003064105            PILGRIMS-0003064674         141
Emails/Attachments   PILGRIMS-0003064676            PILGRIMS-0003064969         169
Emails/Attachments   PILGRIMS-0003064972            PILGRIMS-0003066449         462
Emails/Attachments   PILGRIMS-0003066451            PILGRIMS-0003066710         114
Emails/Attachments   PILGRIMS-0003066712            PILGRIMS-0003073647        1,577
Emails/Attachments   PILGRIMS-0003073649            PILGRIMS-0003073966          82
Emails/Attachments   PILGRIMS-0003073968            PILGRIMS-0003074220          43
Emails/Attachments   PILGRIMS-0003074222            PILGRIMS-0003074400          48
Emails/Attachments   PILGRIMS-0003074403            PILGRIMS-0003075328         288
Emails/Attachments   PILGRIMS-0003075330            PILGRIMS-0003075738         246
Emails/Attachments   PILGRIMS-0003075744            PILGRIMS-0003075828          47
Emails/Attachments   PILGRIMS-0003075830            PILGRIMS-0003076049         174
Emails/Attachments   PILGRIMS-0003076051            PILGRIMS-0003076106          31
Emails/Attachments   PILGRIMS-0003076108            PILGRIMS-0003076843          78
Emails/Attachments   PILGRIMS-0003076845            PILGRIMS-0003076849           4
Emails/Attachments   PILGRIMS-0003076851            PILGRIMS-0003076853           3
Emails/Attachments   PILGRIMS-0003076855            PILGRIMS-0003077187          17
Emails/Attachments   PILGRIMS-0003077189            PILGRIMS-0003077190           2
Emails/Attachments   PILGRIMS-0003077192            PILGRIMS-0003077246          16
Emails/Attachments   PILGRIMS-0003077248            PILGRIMS-0003078096          19
Emails/Attachments   PILGRIMS-0003078098            PILGRIMS-0003078550          36
Emails/Attachments   PILGRIMS-0003078573            PILGRIMS-0003078577           5
Emails/Attachments   PILGRIMS-0003078580            PILGRIMS-0003078582           3
Emails/Attachments   PILGRIMS-0003078584            PILGRIMS-0003078585           2
Emails/Attachments   PILGRIMS-0003078587            PILGRIMS-0003078784          17
Emails/Attachments   PILGRIMS-0003078786            PILGRIMS-0003079170          16
Emails/Attachments   PILGRIMS-0003079172            PILGRIMS-0003079432          47
Emails/Attachments   PILGRIMS-0003079434            PILGRIMS-0003079503           6
Emails/Attachments   PILGRIMS-0003079545            PILGRIMS-0003079546           1
Emails/Attachments   PILGRIMS-0003079548            PILGRIMS-0003079552           4
Emails/Attachments   PILGRIMS-0003079554            PILGRIMS-0003079703          19
Emails/Attachments   PILGRIMS-0003079705            PILGRIMS-0003079708           4
Emails/Attachments   PILGRIMS-0003079711            PILGRIMS-0003080474          34
Emails/Attachments   PILGRIMS-0003080476            PILGRIMS-0003080906          18
Emails/Attachments   PILGRIMS-0003080909            PILGRIMS-0003081613          29
Emails/Attachments   PILGRIMS-0003081712            PILGRIMS-0003081714           1
Emails/Attachments   PILGRIMS-0003081716            PILGRIMS-0003082537          33
Emails/Attachments   PILGRIMS-0003082539            PILGRIMS-0003083701          45
Emails/Attachments   PILGRIMS-0003083724            PILGRIMS-0003084713          61
Emails/Attachments   PILGRIMS-0003084715            PILGRIMS-0003084932          20
Emails/Attachments   PILGRIMS-0003084934            PILGRIMS-0003085153          11
Emails/Attachments   PILGRIMS-0003085155            PILGRIMS-0003085856         286
Emails/Attachments   PILGRIMS-0003085872            PILGRIMS-0003088285         113
Emails/Attachments   PILGRIMS-0003088287            PILGRIMS-0003088784          25
Emails/Attachments   PILGRIMS-0003088788            PILGRIMS-0003089082          23


                                   Page 24 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 48 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003089084            PILGRIMS-0003089640         18
Emails/Attachments   PILGRIMS-0003089642            PILGRIMS-0003089651          2
Emails/Attachments   PILGRIMS-0003089653            PILGRIMS-0003089734          8
Emails/Attachments   PILGRIMS-0003089736            PILGRIMS-0003090200         67
Emails/Attachments   PILGRIMS-0003090202            PILGRIMS-0003090209          8
Emails/Attachments   PILGRIMS-0003090211            PILGRIMS-0003091832         60
Emails/Attachments   PILGRIMS-0003091834            PILGRIMS-0003091844          2
Emails/Attachments   PILGRIMS-0003091846            PILGRIMS-0003091956         11
Emails/Attachments   PILGRIMS-0003091958            PILGRIMS-0003092040         13
Emails/Attachments   PILGRIMS-0003093162            PILGRIMS-0003093192         13
Emails/Attachments   PILGRIMS-0003093194            PILGRIMS-0003093197          4
Emails/Attachments   PILGRIMS-0003093199            PILGRIMS-0003093227         27
Emails/Attachments   PILGRIMS-0003094056            PILGRIMS-0003094524         15
Emails/Attachments   PILGRIMS-0003094526            PILGRIMS-0003095787         849
Emails/Attachments   PILGRIMS-0003095789            PILGRIMS-0003096831         48
Emails/Attachments   PILGRIMS-0003096833            PILGRIMS-0003096834          2
Emails/Attachments   PILGRIMS-0003096840            PILGRIMS-0003097076         65
Emails/Attachments   PILGRIMS-0003097078            PILGRIMS-0003097332         10
Emails/Attachments   PILGRIMS-0003097335            PILGRIMS-0003100792         79
Emails/Attachments   PILGRIMS-0003100794            PILGRIMS-0003100798          4
Emails/Attachments   PILGRIMS-0003100800            PILGRIMS-0003106581         81
Emails/Attachments   PILGRIMS-0003106583            PILGRIMS-0003111931         69
Emails/Attachments   PILGRIMS-0003111979            PILGRIMS-0003114931         39
Emails/Attachments   PILGRIMS-0003114933            PILGRIMS-0003116139         26
Emails/Attachments   PILGRIMS-0003116141            PILGRIMS-0003116251          5
Emails/Attachments   PILGRIMS-0003116253            PILGRIMS-0003117410         27
Emails/Attachments   PILGRIMS-0003117412            PILGRIMS-0003118122         25
Emails/Attachments   PILGRIMS-0003118135            PILGRIMS-0003118373         21
Emails/Attachments   PILGRIMS-0003118560            PILGRIMS-0003122903         35
Emails/Attachments   PILGRIMS-0003122905            PILGRIMS-0003124114         41
Emails/Attachments   PILGRIMS-0003124128            PILGRIMS-0003124924         90
Emails/Attachments   PILGRIMS-0003124927            PILGRIMS-0003124936          8
Emails/Attachments   PILGRIMS-0003124939            PILGRIMS-0003124942          4
Emails/Attachments   PILGRIMS-0003124944            PILGRIMS-0003125054          6
Emails/Attachments   PILGRIMS-0003125056            PILGRIMS-0003125440         13
Emails/Attachments   PILGRIMS-0003125442            PILGRIMS-0003125445          4
Emails/Attachments   PILGRIMS-0003125447            PILGRIMS-0003125448          2
Emails/Attachments   PILGRIMS-0003125452            PILGRIMS-0003125532         14
Emails/Attachments   PILGRIMS-0003125536            PILGRIMS-0003125540          5
Emails/Attachments   PILGRIMS-0003125542            PILGRIMS-0003125543          1
Emails/Attachments   PILGRIMS-0003125545            PILGRIMS-0003125564         19
Emails/Attachments   PILGRIMS-0003125566            PILGRIMS-0003125731          9
Emails/Attachments   PILGRIMS-0003125733            PILGRIMS-0003125734          2
Emails/Attachments   PILGRIMS-0003125736            PILGRIMS-0003125737          2
Emails/Attachments   PILGRIMS-0003125742            PILGRIMS-0003125887          9
Emails/Attachments   PILGRIMS-0003125889            PILGRIMS-0003125896          8


                                   Page 25 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 49 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003125898            PILGRIMS-0003125921         24
Emails/Attachments   PILGRIMS-0003125923            PILGRIMS-0003125981          4
Emails/Attachments   PILGRIMS-0003126012            PILGRIMS-0003126073         25
Emails/Attachments   PILGRIMS-0003126075            PILGRIMS-0003126242         11
Emails/Attachments   PILGRIMS-0003126244            PILGRIMS-0003126359          7
Emails/Attachments   PILGRIMS-0003126361            PILGRIMS-0003126491         21
Emails/Attachments   PILGRIMS-0003127758            PILGRIMS-0003127861          8
Emails/Attachments   PILGRIMS-0003127863            PILGRIMS-0003127864          2
Emails/Attachments   PILGRIMS-0003131430            PILGRIMS-0003132825         16
Emails/Attachments   PILGRIMS-0003135523            PILGRIMS-0003135524          2
Emails/Attachments   PILGRIMS-0003135528            PILGRIMS-0003135595         43
Emails/Attachments   PILGRIMS-0003137498            PILGRIMS-0003137501          4
Emails/Attachments   PILGRIMS-0003137504            PILGRIMS-0003137515         11
Emails/Attachments   PILGRIMS-0003141566            PILGRIMS-0003141567          2
Emails/Attachments   PILGRIMS-0003141569            PILGRIMS-0003141597         13
Emails/Attachments   PILGRIMS-0003143905            PILGRIMS-0003143906          2
Emails/Attachments   PILGRIMS-0003143909            PILGRIMS-0003143914          3
Emails/Attachments   PILGRIMS-0003144255            PILGRIMS-0003144370         13
Emails/Attachments   PILGRIMS-0003145675            PILGRIMS-0003145865          3
Emails/Attachments   PILGRIMS-0003148763            PILGRIMS-0003148764          2
Emails/Attachments   PILGRIMS-0003152376            PILGRIMS-0003152378          2
Emails/Attachments   PILGRIMS-0003152380            PILGRIMS-0003152388          8
Emails/Attachments   PILGRIMS-0003153529            PILGRIMS-0003153545         12
Emails/Attachments   PILGRIMS-0003154892            PILGRIMS-0003154906          2
Emails/Attachments   PILGRIMS-0003154908            PILGRIMS-0003154909          2
Emails/Attachments   PILGRIMS-0003154940            PILGRIMS-0003154950          7
Emails/Attachments   PILGRIMS-0003157824            PILGRIMS-0003157878          6
Emails/Attachments   PILGRIMS-0003160228            PILGRIMS-0003160241          6
Emails/Attachments   PILGRIMS-0003160243            PILGRIMS-0003160351         15
Emails/Attachments   PILGRIMS-0003160353            PILGRIMS-0003160466          4
Emails/Attachments   PILGRIMS-0003161691            PILGRIMS-0003161695          4
Emails/Attachments   PILGRIMS-0003161698            PILGRIMS-0003161944         14
Emails/Attachments   PILGRIMS-0003164664            PILGRIMS-0003164669          5
Emails/Attachments   PILGRIMS-0003164673            PILGRIMS-0003164675          1
Emails/Attachments   PILGRIMS-0003164678            PILGRIMS-0003164679          2
Emails/Attachments   PILGRIMS-0003164682            PILGRIMS-0003164683          2
Emails/Attachments   PILGRIMS-0003166038            PILGRIMS-0003166197          3
Emails/Attachments   PILGRIMS-0003166359            PILGRIMS-0003166546         20
Emails/Attachments   PILGRIMS-0003167867            PILGRIMS-0003167996         24
Emails/Attachments   PILGRIMS-0003170803            PILGRIMS-0003170812          9
Emails/Attachments   PILGRIMS-0003170814            PILGRIMS-0003170819          6
Emails/Attachments   PILGRIMS-0003170821            PILGRIMS-0003170825          4
Emails/Attachments   PILGRIMS-0003173289            PILGRIMS-0003173298         10
Emails/Attachments   PILGRIMS-0003173300            PILGRIMS-0003173301          2
Emails/Attachments   PILGRIMS-0003173304            PILGRIMS-0003173319          9
Emails/Attachments   PILGRIMS-0003173321            PILGRIMS-0003173485         19


                                   Page 26 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 50 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003173559            PILGRIMS-0003173928         15
Emails/Attachments   PILGRIMS-0003174007            PILGRIMS-0003174015          2
Emails/Attachments   PILGRIMS-0003175421            PILGRIMS-0003175926         10
Emails/Attachments   PILGRIMS-0003178811            PILGRIMS-0003179030         25
Emails/Attachments   PILGRIMS-0003182572            PILGRIMS-0003182573          2
Emails/Attachments   PILGRIMS-0003182575            PILGRIMS-0003182576          2
Emails/Attachments   PILGRIMS-0003183894            PILGRIMS-0003183900          2
Emails/Attachments   PILGRIMS-0003183902            PILGRIMS-0003183969         10
Emails/Attachments   PILGRIMS-0003184021            PILGRIMS-0003184093          4
Emails/Attachments   PILGRIMS-0003184095            PILGRIMS-0003184096          2
Emails/Attachments   PILGRIMS-0003184322            PILGRIMS-0003184413         29
Emails/Attachments   PILGRIMS-0003185737            PILGRIMS-0003185740          4
Emails/Attachments   PILGRIMS-0003185742            PILGRIMS-0003186145          7
Emails/Attachments   PILGRIMS-0003188754            PILGRIMS-0003189288         34
Emails/Attachments   PILGRIMS-0003192579            PILGRIMS-0003192646         39
Emails/Attachments   PILGRIMS-0003192648            PILGRIMS-0003192958         13
Emails/Attachments   PILGRIMS-0003194500            PILGRIMS-0003194822         44
Emails/Attachments   PILGRIMS-0003194909            PILGRIMS-0003194971         27
Emails/Attachments   PILGRIMS-0003194973            PILGRIMS-0003195800         82
Emails/Attachments   PILGRIMS-0003199459            PILGRIMS-0003199586         14
Emails/Attachments   PILGRIMS-0003199607            PILGRIMS-0003199813          6
Emails/Attachments   PILGRIMS-0003199818            PILGRIMS-0003199819          2
Emails/Attachments   PILGRIMS-0003202696            PILGRIMS-0003202697          2
Emails/Attachments   PILGRIMS-0003202992            PILGRIMS-0003202995          2
Emails/Attachments   PILGRIMS-0003202997            PILGRIMS-0003203006         10
Emails/Attachments   PILGRIMS-0003203009            PILGRIMS-0003203106         10
Emails/Attachments   PILGRIMS-0003203189            PILGRIMS-0003203640         45
Emails/Attachments   PILGRIMS-0003205349            PILGRIMS-0003205350          2
Emails/Attachments   PILGRIMS-0003205352            PILGRIMS-0003205353          2
Emails/Attachments   PILGRIMS-0003208344            PILGRIMS-0003208352          2
Emails/Attachments   PILGRIMS-0003208358            PILGRIMS-0003208359          2
Emails/Attachments   PILGRIMS-0003208361            PILGRIMS-0003208362          2
Emails/Attachments   PILGRIMS-0003211714            PILGRIMS-0003211715          2
Emails/Attachments   PILGRIMS-0003213534            PILGRIMS-0003213685          5
Emails/Attachments   PILGRIMS-0003214880            PILGRIMS-0003215109          4
Emails/Attachments   PILGRIMS-0003216627            PILGRIMS-0003216700         32
Emails/Attachments   PILGRIMS-0003219570            PILGRIMS-0003219580          3
Emails/Attachments   PILGRIMS-0003219584            PILGRIMS-0003219589          6
Emails/Attachments   PILGRIMS-0003222321            PILGRIMS-0003222324          3
Emails/Attachments   PILGRIMS-0003223793            PILGRIMS-0003223873          4
Emails/Attachments   PILGRIMS-0003223953            PILGRIMS-0003223954          2
Emails/Attachments   PILGRIMS-0003224781            PILGRIMS-0003225216         17
Emails/Attachments   PILGRIMS-0003225218            PILGRIMS-0003225226          2
Emails/Attachments   PILGRIMS-0003226621            PILGRIMS-0003226844          6
Emails/Attachments   PILGRIMS-0003226870            PILGRIMS-0003226948         15
Emails/Attachments   PILGRIMS-0003229983            PILGRIMS-0003230012         15


                                   Page 27 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 51 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003233489            PILGRIMS-0003233626         26
Emails/Attachments   PILGRIMS-0003235083            PILGRIMS-0003235084          2
Emails/Attachments   PILGRIMS-0003235086            PILGRIMS-0003235091          6
Emails/Attachments   PILGRIMS-0003235207            PILGRIMS-0003235208          2
Emails/Attachments   PILGRIMS-0003236395            PILGRIMS-0003236399          2
Emails/Attachments   PILGRIMS-0003236456            PILGRIMS-0003236466         10
Emails/Attachments   PILGRIMS-0003236525            PILGRIMS-0003236533          2
Emails/Attachments   PILGRIMS-0003239513            PILGRIMS-0003239526          7
Emails/Attachments   PILGRIMS-0003244398            PILGRIMS-0003244402          5
Emails/Attachments   PILGRIMS-0003245426            PILGRIMS-0003245435          3
Emails/Attachments   PILGRIMS-0003245851            PILGRIMS-0003246219         17
Emails/Attachments   PILGRIMS-0003248329            PILGRIMS-0003248395          6
Emails/Attachments   PILGRIMS-0003251184            PILGRIMS-0003251196          6
Emails/Attachments   PILGRIMS-0003251202            PILGRIMS-0003251220          2
Emails/Attachments   PILGRIMS-0003254925            PILGRIMS-0003255003         27
Emails/Attachments   PILGRIMS-0003255141            PILGRIMS-0003255293          9
Emails/Attachments   PILGRIMS-0003255575            PILGRIMS-0003255589          8
Emails/Attachments   PILGRIMS-0003257238            PILGRIMS-0003257245          4
Emails/Attachments   PILGRIMS-0003260405            PILGRIMS-0003260543          8
Emails/Attachments   PILGRIMS-0003260563            PILGRIMS-0003260567          4
Emails/Attachments   PILGRIMS-0003260573            PILGRIMS-0003260675          7
Emails/Attachments   PILGRIMS-0003265149            PILGRIMS-0003265378         21
Emails/Attachments   PILGRIMS-0003266497            PILGRIMS-0003266631          4
Emails/Attachments   PILGRIMS-0003266633            PILGRIMS-0003266711          2
Emails/Attachments   PILGRIMS-0003266790            PILGRIMS-0003266803          7
Emails/Attachments   PILGRIMS-0003266806            PILGRIMS-0003266807          2
Emails/Attachments   PILGRIMS-0003266809            PILGRIMS-0003266998         16
Emails/Attachments   PILGRIMS-0003267665            PILGRIMS-0003267676          5
Emails/Attachments   PILGRIMS-0003270807            PILGRIMS-0003271010          3
Emails/Attachments   PILGRIMS-0003271016            PILGRIMS-0003271025          3
Emails/Attachments   PILGRIMS-0003274847            PILGRIMS-0003274909          7
Emails/Attachments   PILGRIMS-0003274911            PILGRIMS-0003274913          2
Emails/Attachments   PILGRIMS-0003274915            PILGRIMS-0003275213          9
Emails/Attachments   PILGRIMS-0003275297            PILGRIMS-0003275464         25
Emails/Attachments   PILGRIMS-0003276601            PILGRIMS-0003276910          7
Emails/Attachments   PILGRIMS-0003280066            PILGRIMS-0003280140         12
Emails/Attachments   PILGRIMS-0003280142            PILGRIMS-0003280157          9
Emails/Attachments   PILGRIMS-0003280159            PILGRIMS-0003280303          4
Emails/Attachments   PILGRIMS-0003280307            PILGRIMS-0003280326         13
Emails/Attachments   PILGRIMS-0003280328            PILGRIMS-0003280398          2
Emails/Attachments   PILGRIMS-0003282087            PILGRIMS-0003282166          9
Emails/Attachments   PILGRIMS-0003282168            PILGRIMS-0003282169          2
Emails/Attachments   PILGRIMS-0003282171            PILGRIMS-0003282175          5
Emails/Attachments   PILGRIMS-0003285521            PILGRIMS-0003285817          5
Emails/Attachments   PILGRIMS-0003285821            PILGRIMS-0003285843         14
Emails/Attachments   PILGRIMS-0003285845            PILGRIMS-0003285849          3


                                   Page 28 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 52 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003291044            PILGRIMS-0003291275         27
Emails/Attachments   PILGRIMS-0003291318            PILGRIMS-0003291327         10
Emails/Attachments   PILGRIMS-0003293472            PILGRIMS-0003293487          9
Emails/Attachments   PILGRIMS-0003296821            PILGRIMS-0003296822          2
Emails/Attachments   PILGRIMS-0003296826            PILGRIMS-0003296836          4
Emails/Attachments   PILGRIMS-0003296927            PILGRIMS-0003296962         32
Emails/Attachments   PILGRIMS-0003296966            PILGRIMS-0003296974          8
Emails/Attachments   PILGRIMS-0003296976            PILGRIMS-0003296979          4
Emails/Attachments   PILGRIMS-0003296985            PILGRIMS-0003296990          6
Emails/Attachments   PILGRIMS-0003296994            PILGRIMS-0003296997          4
Emails/Attachments   PILGRIMS-0003297120            PILGRIMS-0003297125          6
Emails/Attachments   PILGRIMS-0003297128            PILGRIMS-0003297130          2
Emails/Attachments   PILGRIMS-0003297135            PILGRIMS-0003297136          2
Emails/Attachments   PILGRIMS-0003297141            PILGRIMS-0003297144          4
Emails/Attachments   PILGRIMS-0003297149            PILGRIMS-0003297150          2
Emails/Attachments   PILGRIMS-0003297152            PILGRIMS-0003297155          4
Emails/Attachments   PILGRIMS-0003297157            PILGRIMS-0003297164          8
Emails/Attachments   PILGRIMS-0003297167            PILGRIMS-0003297186          2
Emails/Attachments   PILGRIMS-0003297190            PILGRIMS-0003297191          2
Emails/Attachments   PILGRIMS-0003297195            PILGRIMS-0003297198          4
Emails/Attachments   PILGRIMS-0003297202            PILGRIMS-0003297224          4
Emails/Attachments   PILGRIMS-0003297226            PILGRIMS-0003297240          4
Emails/Attachments   PILGRIMS-0003297242            PILGRIMS-0003297252         11
Emails/Attachments   PILGRIMS-0003297254            PILGRIMS-0003297259          5
Emails/Attachments   PILGRIMS-0003297261            PILGRIMS-0003297357         23
Emails/Attachments   PILGRIMS-0003297360            PILGRIMS-0003297398          4
Emails/Attachments   PILGRIMS-0003297444            PILGRIMS-0003297475          4
Emails/Attachments   PILGRIMS-0003297746            PILGRIMS-0003298480         163
Emails/Attachments   PILGRIMS-0003298499            PILGRIMS-0003298828         39
Emails/Attachments   PILGRIMS-0003298870            PILGRIMS-0003299200         39
Emails/Attachments   PILGRIMS-0003299209            PILGRIMS-0003299252         10
Emails/Attachments   PILGRIMS-0003299330            PILGRIMS-0003299480         33
Emails/Attachments   PILGRIMS-0003299495            PILGRIMS-0003299647         57
Emails/Attachments   PILGRIMS-0003299724            PILGRIMS-0003303205         866
Emails/Attachments   PILGRIMS-0003325344            PILGRIMS-0003325358          9
Emails/Attachments   PILGRIMS-0003325361            PILGRIMS-0003325367          7
Emails/Attachments   PILGRIMS-0003325768            PILGRIMS-0003325773          6
Emails/Attachments   PILGRIMS-0003326750            PILGRIMS-0003326763         14
Emails/Attachments   PILGRIMS-0003326765            PILGRIMS-0003326768          4
Emails/Attachments   PILGRIMS-0003326771            PILGRIMS-0003326774          4
Emails/Attachments   PILGRIMS-0003326776            PILGRIMS-0003326780          4
Emails/Attachments   PILGRIMS-0003326784            PILGRIMS-0003326794          8
Emails/Attachments   PILGRIMS-0003326804            PILGRIMS-0003326805          2
Emails/Attachments   PILGRIMS-0003326823            PILGRIMS-0003326837          9
Emails/Attachments   PILGRIMS-0003326840            PILGRIMS-0003326846          2
Emails/Attachments   PILGRIMS-0003326848            PILGRIMS-0003326852          3


                                   Page 29 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 53 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003326854            PILGRIMS-0003326862          9
Emails/Attachments   PILGRIMS-0003326865            PILGRIMS-0003326869          3
Emails/Attachments   PILGRIMS-0003326884            PILGRIMS-0003326886          2
Emails/Attachments   PILGRIMS-0003326890            PILGRIMS-0003326896          7
Emails/Attachments   PILGRIMS-0003326902            PILGRIMS-0003326904          3
Emails/Attachments   PILGRIMS-0003326986            PILGRIMS-0003326994          6
Emails/Attachments   PILGRIMS-0003326996            PILGRIMS-0003327002          7
Emails/Attachments   PILGRIMS-0003327004            PILGRIMS-0003327228          6
Emails/Attachments   PILGRIMS-0003327304            PILGRIMS-0003327372          8
Emails/Attachments   PILGRIMS-0003327375            PILGRIMS-0003327460         10
Emails/Attachments   PILGRIMS-0003327479            PILGRIMS-0003327541          2
Emails/Attachments   PILGRIMS-0003327544            PILGRIMS-0003327550          7
Emails/Attachments   PILGRIMS-0003327553            PILGRIMS-0003327562          3
Emails/Attachments   PILGRIMS-0003327776            PILGRIMS-0003327845          8
Emails/Attachments   PILGRIMS-0003327932            PILGRIMS-0003327937          6
Emails/Attachments   PILGRIMS-0003328151            PILGRIMS-0003328179          5
Emails/Attachments   PILGRIMS-0003328213            PILGRIMS-0003328218          6
Emails/Attachments   PILGRIMS-0003328222            PILGRIMS-0003328230          9
Emails/Attachments   PILGRIMS-0003328232            PILGRIMS-0003328243          3
Emails/Attachments   PILGRIMS-0003328272            PILGRIMS-0003328285          5
Emails/Attachments   PILGRIMS-0003328287            PILGRIMS-0003328301          9
Emails/Attachments   PILGRIMS-0003328306            PILGRIMS-0003328326          6
Emails/Attachments   PILGRIMS-0003328353            PILGRIMS-0003328364          3
Emails/Attachments   PILGRIMS-0003328370            PILGRIMS-0003328385         16
Emails/Attachments   PILGRIMS-0003328387            PILGRIMS-0003328398          3
Emails/Attachments   PILGRIMS-0003328407            PILGRIMS-0003328410          3
Emails/Attachments   PILGRIMS-0003328413            PILGRIMS-0003328418          6
Emails/Attachments   PILGRIMS-0003328423            PILGRIMS-0003328435          7
Emails/Attachments   PILGRIMS-0003328440            PILGRIMS-0003328451          3
Emails/Attachments   PILGRIMS-0003328455            PILGRIMS-0003328469          3
Emails/Attachments   PILGRIMS-0003328481            PILGRIMS-0003328492          3
Emails/Attachments   PILGRIMS-0003328500            PILGRIMS-0003328505          6
Emails/Attachments   PILGRIMS-0003328511            PILGRIMS-0003328516          6
Emails/Attachments   PILGRIMS-0003328518            PILGRIMS-0003328529          3
Emails/Attachments   PILGRIMS-0003328535            PILGRIMS-0003328546          3
Emails/Attachments   PILGRIMS-0003328551            PILGRIMS-0003328562          9
Emails/Attachments   PILGRIMS-0003328572            PILGRIMS-0003328589          9
Emails/Attachments   PILGRIMS-0003328591            PILGRIMS-0003328593          2
Emails/Attachments   PILGRIMS-0003328602            PILGRIMS-0003328607          6
Emails/Attachments   PILGRIMS-0003328614            PILGRIMS-0003328643         19
Emails/Attachments   PILGRIMS-0003328651            PILGRIMS-0003328663          8
Emails/Attachments   PILGRIMS-0003328667            PILGRIMS-0003328681         15
Emails/Attachments   PILGRIMS-0003328683            PILGRIMS-0003328691          6
Emails/Attachments   PILGRIMS-0003328695            PILGRIMS-0003328713         14
Emails/Attachments   PILGRIMS-0003328718            PILGRIMS-0003328739         13
Emails/Attachments   PILGRIMS-0003328744            PILGRIMS-0003328755          3


                                   Page 30 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 54 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003328759            PILGRIMS-0003328774          7
Emails/Attachments   PILGRIMS-0003328779            PILGRIMS-0003328790          3
Emails/Attachments   PILGRIMS-0003328792            PILGRIMS-0003328797          6
Emails/Attachments   PILGRIMS-0003328805            PILGRIMS-0003328806          2
Emails/Attachments   PILGRIMS-0003328813            PILGRIMS-0003328818          6
Emails/Attachments   PILGRIMS-0003328836            PILGRIMS-0003328847          3
Emails/Attachments   PILGRIMS-0003328852            PILGRIMS-0003328857          6
Emails/Attachments   PILGRIMS-0003328865            PILGRIMS-0003328870          6
Emails/Attachments   PILGRIMS-0003328877            PILGRIMS-0003328888          3
Emails/Attachments   PILGRIMS-0003328899            PILGRIMS-0003328907          9
Emails/Attachments   PILGRIMS-0003328923            PILGRIMS-0003328959          5
Emails/Attachments   PILGRIMS-0003328968            PILGRIMS-0003328973          6
Emails/Attachments   PILGRIMS-0003328990            PILGRIMS-0003329010         20
Emails/Attachments   PILGRIMS-0003329025            PILGRIMS-0003329026          2
Emails/Attachments   PILGRIMS-0003329031            PILGRIMS-0003329043          3
Emails/Attachments   PILGRIMS-0003329051            PILGRIMS-0003329065          3
Emails/Attachments   PILGRIMS-0003329067            PILGRIMS-0003329072          6
Emails/Attachments   PILGRIMS-0003329076            PILGRIMS-0003329087         12
Emails/Attachments   PILGRIMS-0003329117            PILGRIMS-0003329134          9
Emails/Attachments   PILGRIMS-0003329146            PILGRIMS-0003329247         20
Emails/Attachments   PILGRIMS-0003329261            PILGRIMS-0003329512          6
Emails/Attachments   PILGRIMS-0003329717            PILGRIMS-0003329728          3
Emails/Attachments   PILGRIMS-0003329757            PILGRIMS-0003329765          9
Emails/Attachments   PILGRIMS-0003329768            PILGRIMS-0003329794         15
Emails/Attachments   PILGRIMS-0003329800            PILGRIMS-0003329805          6
Emails/Attachments   PILGRIMS-0003329820            PILGRIMS-0003329831         12
Emails/Attachments   PILGRIMS-0003329849            PILGRIMS-0003329854          6
Emails/Attachments   PILGRIMS-0003329857            PILGRIMS-0003329862          6
Emails/Attachments   PILGRIMS-0003329878            PILGRIMS-0003329889          3
Emails/Attachments   PILGRIMS-0003329894            PILGRIMS-0003329899          6
Emails/Attachments   PILGRIMS-0003329970            PILGRIMS-0003329981          6
Emails/Attachments   PILGRIMS-0003329983            PILGRIMS-0003329987          1
Emails/Attachments   PILGRIMS-0003330227            PILGRIMS-0003330245         16
Emails/Attachments   PILGRIMS-0003330247            PILGRIMS-0003330261          3
Emails/Attachments   PILGRIMS-0003330269            PILGRIMS-0003330280          3
Emails/Attachments   PILGRIMS-0003330289            PILGRIMS-0003330290          2
Emails/Attachments   PILGRIMS-0003330292            PILGRIMS-0003330293          2
Emails/Attachments   PILGRIMS-0003330296            PILGRIMS-0003330297          2
Emails/Attachments   PILGRIMS-0003330316            PILGRIMS-0003330330          3
Emails/Attachments   PILGRIMS-0003330339            PILGRIMS-0003330350          3
Emails/Attachments   PILGRIMS-0003330355            PILGRIMS-0003330356          2
Emails/Attachments   PILGRIMS-0003330359            PILGRIMS-0003330379          9
Emails/Attachments   PILGRIMS-0003330390            PILGRIMS-0003330396          7
Emails/Attachments   PILGRIMS-0003330403            PILGRIMS-0003330417          3
Emails/Attachments   PILGRIMS-0003330421            PILGRIMS-0003330429          9
Emails/Attachments   PILGRIMS-0003330432            PILGRIMS-0003330437          6


                                   Page 31 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 55 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003330439            PILGRIMS-0003330453          3
Emails/Attachments   PILGRIMS-0003330457            PILGRIMS-0003330471          3
Emails/Attachments   PILGRIMS-0003330473            PILGRIMS-0003330490         18
Emails/Attachments   PILGRIMS-0003330494            PILGRIMS-0003330505          3
Emails/Attachments   PILGRIMS-0003330517            PILGRIMS-0003330531          3
Emails/Attachments   PILGRIMS-0003330537            PILGRIMS-0003330627          4
Emails/Attachments   PILGRIMS-0003330635            PILGRIMS-0003330652          9
Emails/Attachments   PILGRIMS-0003330660            PILGRIMS-0003330677         15
Emails/Attachments   PILGRIMS-0003330706            PILGRIMS-0003330707          2
Emails/Attachments   PILGRIMS-0003330733            PILGRIMS-0003330734          2
Emails/Attachments   PILGRIMS-0003330749            PILGRIMS-0003330766          9
Emails/Attachments   PILGRIMS-0003330769            PILGRIMS-0003330796         28
Emails/Attachments   PILGRIMS-0003330802            PILGRIMS-0003330808          7
Emails/Attachments   PILGRIMS-0003330810            PILGRIMS-0003330828          7
Emails/Attachments   PILGRIMS-0003330836            PILGRIMS-0003330850          3
Emails/Attachments   PILGRIMS-0003330872            PILGRIMS-0003330883          3
Emails/Attachments   PILGRIMS-0003330893            PILGRIMS-0003330898          6
Emails/Attachments   PILGRIMS-0003330909            PILGRIMS-0003330915          5
Emails/Attachments   PILGRIMS-0003330932            PILGRIMS-0003330943          3
Emails/Attachments   PILGRIMS-0003330945            PILGRIMS-0003330952          6
Emails/Attachments   PILGRIMS-0003330965            PILGRIMS-0003331033          2
Emails/Attachments   PILGRIMS-0003331037            PILGRIMS-0003331042          6
Emails/Attachments   PILGRIMS-0003331066            PILGRIMS-0003331089         24
Emails/Attachments   PILGRIMS-0003331093            PILGRIMS-0003331107          3
Emails/Attachments   PILGRIMS-0003331112            PILGRIMS-0003331190         11
Emails/Attachments   PILGRIMS-0003331192            PILGRIMS-0003331261          2
Emails/Attachments   PILGRIMS-0003331366            PILGRIMS-0003331374          9
Emails/Attachments   PILGRIMS-0003331377            PILGRIMS-0003331378          2
Emails/Attachments   PILGRIMS-0003331385            PILGRIMS-0003331525          3
Emails/Attachments   PILGRIMS-0003331638            PILGRIMS-0003331652          3
Emails/Attachments   PILGRIMS-0003331659            PILGRIMS-0003331665          7
Emails/Attachments   PILGRIMS-0003331696            PILGRIMS-0003331701          6
Emails/Attachments   PILGRIMS-0003331711            PILGRIMS-0003331716          6
Emails/Attachments   PILGRIMS-0003331720            PILGRIMS-0003331727          8
Emails/Attachments   PILGRIMS-0003331732            PILGRIMS-0003331737          6
Emails/Attachments   PILGRIMS-0003331739            PILGRIMS-0003331744          6
Emails/Attachments   PILGRIMS-0003331749            PILGRIMS-0003331750          2
Emails/Attachments   PILGRIMS-0003331765            PILGRIMS-0003331769          1
Emails/Attachments   PILGRIMS-0003331771            PILGRIMS-0003331776          6
Emails/Attachments   PILGRIMS-0003331778            PILGRIMS-0003331784          7
Emails/Attachments   PILGRIMS-0003331795            PILGRIMS-0003331796          2
Emails/Attachments   PILGRIMS-0003331801            PILGRIMS-0003331803          3
Emails/Attachments   PILGRIMS-0003331819            PILGRIMS-0003331822          1
Emails/Attachments   PILGRIMS-0003331844            PILGRIMS-0003331848          1
Emails/Attachments   PILGRIMS-0003331850            PILGRIMS-0003331854          1
Emails/Attachments   PILGRIMS-0003331865            PILGRIMS-0003331894          3


                                   Page 32 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 56 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003331902            PILGRIMS-0003331906          1
Emails/Attachments   PILGRIMS-0003331914            PILGRIMS-0003331918          1
Emails/Attachments   PILGRIMS-0003331921            PILGRIMS-0003331925          1
Emails/Attachments   PILGRIMS-0003331931            PILGRIMS-0003331935          1
Emails/Attachments   PILGRIMS-0003331938            PILGRIMS-0003331942          1
Emails/Attachments   PILGRIMS-0003331947            PILGRIMS-0003331951          3
Emails/Attachments   PILGRIMS-0003332002            PILGRIMS-0003332006          1
Emails/Attachments   PILGRIMS-0003332009            PILGRIMS-0003332013          1
Emails/Attachments   PILGRIMS-0003332031            PILGRIMS-0003332035          1
Emails/Attachments   PILGRIMS-0003332051            PILGRIMS-0003332052          2
Emails/Attachments   PILGRIMS-0003332177            PILGRIMS-0003332198          8
Emails/Attachments   PILGRIMS-0003332211            PILGRIMS-0003332219          5
Emails/Attachments   PILGRIMS-0003332239            PILGRIMS-0003332242          1
Emails/Attachments   PILGRIMS-0003332247            PILGRIMS-0003332298          8
Emails/Attachments   PILGRIMS-0003332491            PILGRIMS-0003332518          9
Emails/Attachments   PILGRIMS-0003332520            PILGRIMS-0003332531          5
Emails/Attachments   PILGRIMS-0003332537            PILGRIMS-0003332541          1
Emails/Attachments   PILGRIMS-0003332668            PILGRIMS-0003332669          2
Emails/Attachments   PILGRIMS-0003332673            PILGRIMS-0003332674          2
Emails/Attachments   PILGRIMS-0003332679            PILGRIMS-0003332756          3
Emails/Attachments   PILGRIMS-0003332780            PILGRIMS-0003332783          1
Emails/Attachments   PILGRIMS-0003332792            PILGRIMS-0003332793          2
Emails/Attachments   PILGRIMS-0003332795            PILGRIMS-0003332798          1
Emails/Attachments   PILGRIMS-0003332801            PILGRIMS-0003332804          1
Emails/Attachments   PILGRIMS-0003333123            PILGRIMS-0003333124          2
Emails/Attachments   PILGRIMS-0003333358            PILGRIMS-0003333362          1
Emails/Attachments   PILGRIMS-0003333375            PILGRIMS-0003333379          1
Emails/Attachments   PILGRIMS-0003333578            PILGRIMS-0003333582          1
Emails/Attachments   PILGRIMS-0003333645            PILGRIMS-0003333646          2
Emails/Attachments   PILGRIMS-0003333648            PILGRIMS-0003333652          4
Emails/Attachments   PILGRIMS-0003333656            PILGRIMS-0003333657          2
Emails/Attachments   PILGRIMS-0003333676            PILGRIMS-0003333679          4
Emails/Attachments   PILGRIMS-0003333697            PILGRIMS-0003333701          1
Emails/Attachments   PILGRIMS-0003333730            PILGRIMS-0003333731          2
Emails/Attachments   PILGRIMS-0003333898            PILGRIMS-0003333902          1
Emails/Attachments   PILGRIMS-0003333915            PILGRIMS-0003333919          1
Emails/Attachments   PILGRIMS-0003333922            PILGRIMS-0003333926          1
Emails/Attachments   PILGRIMS-0003333935            PILGRIMS-0003333948         11
Emails/Attachments   PILGRIMS-0003333967            PILGRIMS-0003333968          2
Emails/Attachments   PILGRIMS-0003333991            PILGRIMS-0003333992          2
Emails/Attachments   PILGRIMS-0003333998            PILGRIMS-0003334002          1
Emails/Attachments   PILGRIMS-0003334011            PILGRIMS-0003334012          2
Emails/Attachments   PILGRIMS-0003334034            PILGRIMS-0003334035          2
Emails/Attachments   PILGRIMS-0003334038            PILGRIMS-0003334039          2
Emails/Attachments   PILGRIMS-0003334042            PILGRIMS-0003334045          3
Emails/Attachments   PILGRIMS-0003334064            PILGRIMS-0003334065          2


                                   Page 33 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 57 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003334073            PILGRIMS-0003334075          2
Emails/Attachments   PILGRIMS-0003334081            PILGRIMS-0003334084          4
Emails/Attachments   PILGRIMS-0003334090            PILGRIMS-0003334095          6
Emails/Attachments   PILGRIMS-0003334124            PILGRIMS-0003334128          1
Emails/Attachments   PILGRIMS-0003334133            PILGRIMS-0003334139          3
Emails/Attachments   PILGRIMS-0003334184            PILGRIMS-0003334186          3
Emails/Attachments   PILGRIMS-0003334190            PILGRIMS-0003334191          2
Emails/Attachments   PILGRIMS-0003334258            PILGRIMS-0003334368          3
Emails/Attachments   PILGRIMS-0003334375            PILGRIMS-0003334392          2
Emails/Attachments   PILGRIMS-0003334400            PILGRIMS-0003334465          2
Emails/Attachments   PILGRIMS-0003334575            PILGRIMS-0003334584          4
Emails/Attachments   PILGRIMS-0003334744            PILGRIMS-0003334796          3
Emails/Attachments   PILGRIMS-0003334848            PILGRIMS-0003334979          3
Emails/Attachments   PILGRIMS-0003335131            PILGRIMS-0003335132          2
Emails/Attachments   PILGRIMS-0003335135            PILGRIMS-0003335136          2
Emails/Attachments   PILGRIMS-0003335149            PILGRIMS-0003335193         10
Emails/Attachments   PILGRIMS-0003335195            PILGRIMS-0003335208          7
Emails/Attachments   PILGRIMS-0003335236            PILGRIMS-0003335238          3
Emails/Attachments   PILGRIMS-0003335242            PILGRIMS-0003335249          3
Emails/Attachments   PILGRIMS-0003335264            PILGRIMS-0003335265          2
Emails/Attachments   PILGRIMS-0003335277            PILGRIMS-0003335278          2
Emails/Attachments   PILGRIMS-0003335346            PILGRIMS-0003335347          2
Emails/Attachments   PILGRIMS-0003335384            PILGRIMS-0003335385          2
Emails/Attachments   PILGRIMS-0003335473            PILGRIMS-0003335482          6
Emails/Attachments   PILGRIMS-0003335505            PILGRIMS-0003335506          2
Emails/Attachments   PILGRIMS-0003335586            PILGRIMS-0003335587          2
Emails/Attachments   PILGRIMS-0003335651            PILGRIMS-0003335655          4
Emails/Attachments   PILGRIMS-0003335719            PILGRIMS-0003335778          4
Emails/Attachments   PILGRIMS-0003335783            PILGRIMS-0003335784          2
Emails/Attachments   PILGRIMS-0003335844            PILGRIMS-0003335851          3
Emails/Attachments   PILGRIMS-0003335857            PILGRIMS-0003335927          2
Emails/Attachments   PILGRIMS-0003335985            PILGRIMS-0003335988          4
Emails/Attachments   PILGRIMS-0003336525            PILGRIMS-0003336666          3
Emails/Attachments   PILGRIMS-0003336670            PILGRIMS-0003336742          2
Emails/Attachments   PILGRIMS-0003336772            PILGRIMS-0003336773          2
Emails/Attachments   PILGRIMS-0003336776            PILGRIMS-0003336777          2
Emails/Attachments   PILGRIMS-0003336781            PILGRIMS-0003336782          2
Emails/Attachments   PILGRIMS-0003336832            PILGRIMS-0003336872          3
Emails/Attachments   PILGRIMS-0003336880            PILGRIMS-0003336947          2
Emails/Attachments   PILGRIMS-0003336967            PILGRIMS-0003336968          2
Emails/Attachments   PILGRIMS-0003337042            PILGRIMS-0003337043          2
Emails/Attachments   PILGRIMS-0003337047            PILGRIMS-0003337048          2
Emails/Attachments   PILGRIMS-0003337081            PILGRIMS-0003337082          2
Emails/Attachments   PILGRIMS-0003337159            PILGRIMS-0003337160          2
Emails/Attachments   PILGRIMS-0003337162            PILGRIMS-0003337164          3
Emails/Attachments   PILGRIMS-0003337253            PILGRIMS-0003337254          2


                                   Page 34 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 58 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003337264            PILGRIMS-0003337265          2
Emails/Attachments   PILGRIMS-0003337317            PILGRIMS-0003337324          8
Emails/Attachments   PILGRIMS-0003337359            PILGRIMS-0003337374         16
Emails/Attachments   PILGRIMS-0003337389            PILGRIMS-0003337392          4
Emails/Attachments   PILGRIMS-0003337414            PILGRIMS-0003337418          5
Emails/Attachments   PILGRIMS-0003337421            PILGRIMS-0003337424          4
Emails/Attachments   PILGRIMS-0003337428            PILGRIMS-0003337433          3
Emails/Attachments   PILGRIMS-0003337437            PILGRIMS-0003337438          2
Emails/Attachments   PILGRIMS-0003337626            PILGRIMS-0003337629          4
Emails/Attachments   PILGRIMS-0003337693            PILGRIMS-0003337752          2
Emails/Attachments   PILGRIMS-0003337782            PILGRIMS-0003337853          2
Emails/Attachments   PILGRIMS-0003338028            PILGRIMS-0003338111          4
Emails/Attachments   PILGRIMS-0003338411            PILGRIMS-0003338629          5
Emails/Attachments   PILGRIMS-0003338631            PILGRIMS-0003338780          4
Emails/Attachments   PILGRIMS-0003338851            PILGRIMS-0003338926          2
Emails/Attachments   PILGRIMS-0003338943            PILGRIMS-0003338944          2
Emails/Attachments   PILGRIMS-0003338987            PILGRIMS-0003338988          2
Emails/Attachments   PILGRIMS-0003339012            PILGRIMS-0003339014          2
Emails/Attachments   PILGRIMS-0003339044            PILGRIMS-0003339045          2
Emails/Attachments   PILGRIMS-0003339047            PILGRIMS-0003339052          5
Emails/Attachments   PILGRIMS-0003339079            PILGRIMS-0003339080          2
Emails/Attachments   PILGRIMS-0003339089            PILGRIMS-0003339098          3
Emails/Attachments   PILGRIMS-0003339103            PILGRIMS-0003339108          6
Emails/Attachments   PILGRIMS-0003339125            PILGRIMS-0003339166          3
Emails/Attachments   PILGRIMS-0003339181            PILGRIMS-0003339182          2
Emails/Attachments   PILGRIMS-0003339188            PILGRIMS-0003339191          2
Emails/Attachments   PILGRIMS-0003339209            PILGRIMS-0003339211          2
Emails/Attachments   PILGRIMS-0003339219            PILGRIMS-0003339220          2
Emails/Attachments   PILGRIMS-0003339223            PILGRIMS-0003339228          5
Emails/Attachments   PILGRIMS-0003342825            PILGRIMS-0003342826          2
Emails/Attachments   PILGRIMS-0003342833            PILGRIMS-0003342837          4
Emails/Attachments   PILGRIMS-0003342856            PILGRIMS-0003342857          2
Emails/Attachments   PILGRIMS-0003342872            PILGRIMS-0003342873          2
Emails/Attachments   PILGRIMS-0003342891            PILGRIMS-0003342894          4
Emails/Attachments   PILGRIMS-0003342993            PILGRIMS-0003342994          2
Emails/Attachments   PILGRIMS-0003343012            PILGRIMS-0003343013          2
Emails/Attachments   PILGRIMS-0003343077            PILGRIMS-0003343078          2
Emails/Attachments   PILGRIMS-0003343167            PILGRIMS-0003343254          3
Emails/Attachments   PILGRIMS-0003343533            PILGRIMS-0003343534          2
Emails/Attachments   PILGRIMS-0003343614            PILGRIMS-0003343615          2
Emails/Attachments   PILGRIMS-0003343649            PILGRIMS-0003343650          2
Emails/Attachments   PILGRIMS-0003343680            PILGRIMS-0003343794          5
Emails/Attachments   PILGRIMS-0003343822            PILGRIMS-0003343829          2
Emails/Attachments   PILGRIMS-0003343846            PILGRIMS-0003344221          9
Emails/Attachments   PILGRIMS-0003344223            PILGRIMS-0003344224          2
Emails/Attachments   PILGRIMS-0003344359            PILGRIMS-0003344360          2


                                   Page 35 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 59 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003344494            PILGRIMS-0003344495          2
Emails/Attachments   PILGRIMS-0003344589            PILGRIMS-0003344594          6
Emails/Attachments   PILGRIMS-0003344631            PILGRIMS-0003344635          4
Emails/Attachments   PILGRIMS-0003344663            PILGRIMS-0003344664          2
Emails/Attachments   PILGRIMS-0003344701            PILGRIMS-0003344724          5
Emails/Attachments   PILGRIMS-0003344772            PILGRIMS-0003344774          3
Emails/Attachments   PILGRIMS-0003344776            PILGRIMS-0003344779          4
Emails/Attachments   PILGRIMS-0003344781            PILGRIMS-0003344788          8
Emails/Attachments   PILGRIMS-0003344797            PILGRIMS-0003344800          2
Emails/Attachments   PILGRIMS-0003344905            PILGRIMS-0003344906          2
Emails/Attachments   PILGRIMS-0003345648            PILGRIMS-0003345700          2
Emails/Attachments   PILGRIMS-0003345864            PILGRIMS-0003345865          2
Emails/Attachments   PILGRIMS-0003345868            PILGRIMS-0003345870          2
Emails/Attachments   PILGRIMS-0003345879            PILGRIMS-0003345900          6
Emails/Attachments   PILGRIMS-0003345904            PILGRIMS-0003345924          5
Emails/Attachments   PILGRIMS-0003345926            PILGRIMS-0003345928          3
Emails/Attachments   PILGRIMS-0003345932            PILGRIMS-0003345933          2
Emails/Attachments   PILGRIMS-0003345961            PILGRIMS-0003345962          2
Emails/Attachments   PILGRIMS-0003346022            PILGRIMS-0003346023          2
Emails/Attachments   PILGRIMS-0003346067            PILGRIMS-0003346074          7
Emails/Attachments   PILGRIMS-0003346076            PILGRIMS-0003346081          5
Emails/Attachments   PILGRIMS-0003346085            PILGRIMS-0003346086          2
Emails/Attachments   PILGRIMS-0003346117            PILGRIMS-0003349525          5
Emails/Attachments   PILGRIMS-0003349577            PILGRIMS-0003349586          2
Emails/Attachments   PILGRIMS-0003349591            PILGRIMS-0003349593          3
Emails/Attachments   PILGRIMS-0003349602            PILGRIMS-0003349611          2
Emails/Attachments   PILGRIMS-0003349615            PILGRIMS-0003349717          2
Emails/Attachments   PILGRIMS-0003349747            PILGRIMS-0003349748          2
Emails/Attachments   PILGRIMS-0003349752            PILGRIMS-0003349753          2
Emails/Attachments   PILGRIMS-0003349757            PILGRIMS-0003349758          2
Emails/Attachments   PILGRIMS-0003349766            PILGRIMS-0003349769          4
Emails/Attachments   PILGRIMS-0003349775            PILGRIMS-0003349778          4
Emails/Attachments   PILGRIMS-0003349780            PILGRIMS-0003349781          2
Emails/Attachments   PILGRIMS-0003349838            PILGRIMS-0003353466          7
Emails/Attachments   PILGRIMS-0003353585            PILGRIMS-0003353586          2
Emails/Attachments   PILGRIMS-0003353610            PILGRIMS-0003353776          3
Emails/Attachments   PILGRIMS-0003354058            PILGRIMS-0003354060          3
Emails/Attachments   PILGRIMS-0003354063            PILGRIMS-0003354064          2
Emails/Attachments   PILGRIMS-0003354234            PILGRIMS-0003354347          3
Emails/Attachments   PILGRIMS-0003354607            PILGRIMS-0003354843          7
Emails/Attachments   PILGRIMS-0003354845            PILGRIMS-0003358214          9
Emails/Attachments   PILGRIMS-0003358275            PILGRIMS-0003358433          3
Emails/Attachments   PILGRIMS-0003358551            PILGRIMS-0003361920          9
Emails/Attachments   PILGRIMS-0003361980            PILGRIMS-0003361996          2
Emails/Attachments   PILGRIMS-0003362109            PILGRIMS-0003362466          9
Emails/Attachments   PILGRIMS-0003362546            PILGRIMS-0003362554          5


                                   Page 36 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 60 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003362636            PILGRIMS-0003362644          2
Emails/Attachments   PILGRIMS-0003362648            PILGRIMS-0003362656          2
Emails/Attachments   PILGRIMS-0003362699            PILGRIMS-0003362719          8
Emails/Attachments   PILGRIMS-0003362726            PILGRIMS-0003362727          2
Emails/Attachments   PILGRIMS-0003362746            PILGRIMS-0003362753          6
Emails/Attachments   PILGRIMS-0003362759            PILGRIMS-0003362762          2
Emails/Attachments   PILGRIMS-0003363021            PILGRIMS-0003363022          2
Emails/Attachments   PILGRIMS-0003363267            PILGRIMS-0003363269          2
Emails/Attachments   PILGRIMS-0003363395            PILGRIMS-0003363560          3
Emails/Attachments   PILGRIMS-0003363563            PILGRIMS-0003363625          2
Emails/Attachments   PILGRIMS-0003363982            PILGRIMS-0003364044          2
Emails/Attachments   PILGRIMS-0003364388            PILGRIMS-0003364550          3
Emails/Attachments   PILGRIMS-0003364933            PILGRIMS-0003364942          3
Emails/Attachments   PILGRIMS-0003365314            PILGRIMS-0003365315          2
Emails/Attachments   PILGRIMS-0003365343            PILGRIMS-0003365344          2
Emails/Attachments   PILGRIMS-0003365410            PILGRIMS-0003365414          5
Emails/Attachments   PILGRIMS-0003365417            PILGRIMS-0003365421          5
Emails/Attachments   PILGRIMS-0003365445            PILGRIMS-0003365446          2
Emails/Attachments   PILGRIMS-0003365495            PILGRIMS-0003365539         15
Emails/Attachments   PILGRIMS-0003365551            PILGRIMS-0003365552          2
Emails/Attachments   PILGRIMS-0003365556            PILGRIMS-0003365562          6
Emails/Attachments   PILGRIMS-0003365588            PILGRIMS-0003365593          2
Emails/Attachments   PILGRIMS-0003365611            PILGRIMS-0003365617          7
Emails/Attachments   PILGRIMS-0003365621            PILGRIMS-0003365624          4
Emails/Attachments   PILGRIMS-0003365630            PILGRIMS-0003365632          3
Emails/Attachments   PILGRIMS-0003365637            PILGRIMS-0003365640          3
Emails/Attachments   PILGRIMS-0003365648            PILGRIMS-0003365651          3
Emails/Attachments   PILGRIMS-0003365661            PILGRIMS-0003365663          3
Emails/Attachments   PILGRIMS-0003365678            PILGRIMS-0003365681          2
Emails/Attachments   PILGRIMS-0003365683            PILGRIMS-0003365789          2
Emails/Attachments   PILGRIMS-0003365796            PILGRIMS-0003365872          2
Emails/Attachments   PILGRIMS-0003365874            PILGRIMS-0003365879          6
Emails/Attachments   PILGRIMS-0003365897            PILGRIMS-0003366057          3
Emails/Attachments   PILGRIMS-0003366074            PILGRIMS-0003366237          7
Emails/Attachments   PILGRIMS-0003366244            PILGRIMS-0003366402          3
Emails/Attachments   PILGRIMS-0003366412            PILGRIMS-0003366414          3
Emails/Attachments   PILGRIMS-0003366416            PILGRIMS-0003366418          3
Emails/Attachments   PILGRIMS-0003366437            PILGRIMS-0003366594          3
Emails/Attachments   PILGRIMS-0003366596            PILGRIMS-0003366710          3
Emails/Attachments   PILGRIMS-0003366716            PILGRIMS-0003370059          5
Emails/Attachments   PILGRIMS-0003370061            PILGRIMS-0003378687         13
Emails/Attachments   PILGRIMS-0003378691            PILGRIMS-0003379165         19
Emails/Attachments   PILGRIMS-0003379299            PILGRIMS-0003379300          2
Emails/Attachments   PILGRIMS-0003379391            PILGRIMS-0003379394          4
Emails/Attachments   PILGRIMS-0003379397            PILGRIMS-0003379399          3
Emails/Attachments   PILGRIMS-0003379423            PILGRIMS-0003379428          6


                                   Page 37 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 61 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003379441            PILGRIMS-0003379449          8
Emails/Attachments   PILGRIMS-0003379463            PILGRIMS-0003379464          2
Emails/Attachments   PILGRIMS-0003379467            PILGRIMS-0003379470          4
Emails/Attachments   PILGRIMS-0003379476            PILGRIMS-0003379479          4
Emails/Attachments   PILGRIMS-0003379501            PILGRIMS-0003379593          3
Emails/Attachments   PILGRIMS-0003379597            PILGRIMS-0003379601          5
Emails/Attachments   PILGRIMS-0003379611            PILGRIMS-0003379627          3
Emails/Attachments   PILGRIMS-0003379658            PILGRIMS-0003379750          4
Emails/Attachments   PILGRIMS-0003379763            PILGRIMS-0003379763          1
Emails/Attachments   PILGRIMS-0003379768            PILGRIMS-0003379873          4
Emails/Attachments   PILGRIMS-0003379913            PILGRIMS-0003379914          2
Emails/Attachments   PILGRIMS-0003379944            PILGRIMS-0003379945          2
Emails/Attachments   PILGRIMS-0003379948            PILGRIMS-0003379951          3
Emails/Attachments   PILGRIMS-0003379975            PILGRIMS-0003379991          3
Emails/Attachments   PILGRIMS-0003379996            PILGRIMS-0003380026          4
Emails/Attachments   PILGRIMS-0003380029            PILGRIMS-0003380032          2
Emails/Attachments   PILGRIMS-0003380038            PILGRIMS-0003380043          4
Emails/Attachments   PILGRIMS-0003380080            PILGRIMS-0003380080          1
Emails/Attachments   PILGRIMS-0003380082            PILGRIMS-0003380085          4
Emails/Attachments   PILGRIMS-0003380176            PILGRIMS-0003380178          3
Emails/Attachments   PILGRIMS-0003380181            PILGRIMS-0003380184          3
Emails/Attachments   PILGRIMS-0003380228            PILGRIMS-0003380232          4
Emails/Attachments   PILGRIMS-0003380305            PILGRIMS-0003380306          2
Emails/Attachments   PILGRIMS-0003380308            PILGRIMS-0003380309          2
Emails/Attachments   PILGRIMS-0003380333            PILGRIMS-0003383886          5
Emails/Attachments   PILGRIMS-0003383902            PILGRIMS-0003383903          2
Emails/Attachments   PILGRIMS-0003383905            PILGRIMS-0003383911          5
Emails/Attachments   PILGRIMS-0003383921            PILGRIMS-0003383943          3
Emails/Attachments   PILGRIMS-0003383955            PILGRIMS-0003383956          2
Emails/Attachments   PILGRIMS-0003383975            PILGRIMS-0003383977          2
Emails/Attachments   PILGRIMS-0003384056            PILGRIMS-0003384156          3
Emails/Attachments   PILGRIMS-0003384227            PILGRIMS-0003384229          2
Emails/Attachments   PILGRIMS-0003384351            PILGRIMS-0003384354          3
Emails/Attachments   PILGRIMS-0003384455            PILGRIMS-0003384456          2
Emails/Attachments   PILGRIMS-0003384458            PILGRIMS-0003384461          3
Emails/Attachments   PILGRIMS-0003384538            PILGRIMS-0003384547          7
Emails/Attachments   PILGRIMS-0003384671            PILGRIMS-0003384723          3
Emails/Attachments   PILGRIMS-0003384770            PILGRIMS-0003384775          6
Emails/Attachments   PILGRIMS-0003384785            PILGRIMS-0003384789          4
Emails/Attachments   PILGRIMS-0003384793            PILGRIMS-0003384794          2
Emails/Attachments   PILGRIMS-0003384827            PILGRIMS-0003384831          3
Emails/Attachments   PILGRIMS-0003384861            PILGRIMS-0003384864          2
Emails/Attachments   PILGRIMS-0003384932            PILGRIMS-0003384933          2
Emails/Attachments   PILGRIMS-0003384974            PILGRIMS-0003384976          3
Emails/Attachments   PILGRIMS-0003384978            PILGRIMS-0003385144          3
Emails/Attachments   PILGRIMS-0003385176            PILGRIMS-0003385340          3


                                   Page 38 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 62 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003385357            PILGRIMS-0003385515          3
Emails/Attachments   PILGRIMS-0003385520            PILGRIMS-0003385542          2
Emails/Attachments   PILGRIMS-0003385802            PILGRIMS-0003385803          2
Emails/Attachments   PILGRIMS-0003385810            PILGRIMS-0003385881          4
Emails/Attachments   PILGRIMS-0003385884            PILGRIMS-0003385886          2
Emails/Attachments   PILGRIMS-0003385897            PILGRIMS-0003385898          2
Emails/Attachments   PILGRIMS-0003385962            PILGRIMS-0003385963          2
Emails/Attachments   PILGRIMS-0003385991            PILGRIMS-0003385994          4
Emails/Attachments   PILGRIMS-0003386032            PILGRIMS-0003386033          2
Emails/Attachments   PILGRIMS-0003386064            PILGRIMS-0003386069          4
Emails/Attachments   PILGRIMS-0003386106            PILGRIMS-0003386107          2
Emails/Attachments   PILGRIMS-0003386162            PILGRIMS-0003386163          2
Emails/Attachments   PILGRIMS-0003386166            PILGRIMS-0003386170          1
Emails/Attachments   PILGRIMS-0003386260            PILGRIMS-0003386261          2
Emails/Attachments   PILGRIMS-0003386289            PILGRIMS-0003386319          2
Emails/Attachments   PILGRIMS-0003386325            PILGRIMS-0003386325          1
Emails/Attachments   PILGRIMS-0003386343            PILGRIMS-0003386345          3
Emails/Attachments   PILGRIMS-0003386374            PILGRIMS-0003386540          3
Emails/Attachments   PILGRIMS-0003386556            PILGRIMS-0003386561          5
Emails/Attachments   PILGRIMS-0003386567            PILGRIMS-0003386726          3
Emails/Attachments   PILGRIMS-0003386732            PILGRIMS-0003386742          2
Emails/Attachments   PILGRIMS-0003386747            PILGRIMS-0003386903          3
Emails/Attachments   PILGRIMS-0003386909            PILGRIMS-0003387061          3
Emails/Attachments   PILGRIMS-0003387099            PILGRIMS-0003387100          2
Emails/Attachments   PILGRIMS-0003387115            PILGRIMS-0003387117          3
Emails/Attachments   PILGRIMS-0003387138            PILGRIMS-0003387142          5
Emails/Attachments   PILGRIMS-0003387212            PILGRIMS-0003387218          3
Emails/Attachments   PILGRIMS-0003387228            PILGRIMS-0003387229          2
Emails/Attachments   PILGRIMS-0003387275            PILGRIMS-0003387277          3
Emails/Attachments   PILGRIMS-0003387327            PILGRIMS-0003387335          9
Emails/Attachments   PILGRIMS-0003387352            PILGRIMS-0003387357          5
Emails/Attachments   PILGRIMS-0003387366            PILGRIMS-0003387369          4
Emails/Attachments   PILGRIMS-0003387373            PILGRIMS-0003387374          2
Emails/Attachments   PILGRIMS-0003387388            PILGRIMS-0003387389          2
Emails/Attachments   PILGRIMS-0003387394            PILGRIMS-0003387395          2
Emails/Attachments   PILGRIMS-0003387405            PILGRIMS-0003387407          3
Emails/Attachments   PILGRIMS-0003387417            PILGRIMS-0003387419          3
Emails/Attachments   PILGRIMS-0003387432            PILGRIMS-0003387433          2
Emails/Attachments   PILGRIMS-0003387462            PILGRIMS-0003387463          2
Emails/Attachments   PILGRIMS-0003387467            PILGRIMS-0003387468          2
Emails/Attachments   PILGRIMS-0003387472            PILGRIMS-0003387473          2
Emails/Attachments   PILGRIMS-0003387476            PILGRIMS-0003387477          2
Emails/Attachments   PILGRIMS-0003387596            PILGRIMS-0003387598          3
Emails/Attachments   PILGRIMS-0003387670            PILGRIMS-0003387672          2
Emails/Attachments   PILGRIMS-0003387680            PILGRIMS-0003387681          2
Emails/Attachments   PILGRIMS-0003387698            PILGRIMS-0003387699          2


                                   Page 39 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 63 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003387703            PILGRIMS-0003387704          1
Emails/Attachments   PILGRIMS-0003387735            PILGRIMS-0003387736          2
Emails/Attachments   PILGRIMS-0003387816            PILGRIMS-0003387853          2
Emails/Attachments   PILGRIMS-0003387862            PILGRIMS-0003387863          2
Emails/Attachments   PILGRIMS-0003387879            PILGRIMS-0003387883          5
Emails/Attachments   PILGRIMS-0003387893            PILGRIMS-0003387916          6
Emails/Attachments   PILGRIMS-0003387938            PILGRIMS-0003387941          3
Emails/Attachments   PILGRIMS-0003387943            PILGRIMS-0003387950          7
Emails/Attachments   PILGRIMS-0003387953            PILGRIMS-0003387975          3
Emails/Attachments   PILGRIMS-0003387987            PILGRIMS-0003387988          2
Emails/Attachments   PILGRIMS-0003388032            PILGRIMS-0003388100          2
Emails/Attachments   PILGRIMS-0003388111            PILGRIMS-0003388122          2
Emails/Attachments   PILGRIMS-0003388130            PILGRIMS-0003388261          6
Emails/Attachments   PILGRIMS-0003388273            PILGRIMS-0003388537          5
Emails/Attachments   PILGRIMS-0003388542            PILGRIMS-0003388553          2
Emails/Attachments   PILGRIMS-0003388607            PILGRIMS-0003388620          2
Emails/Attachments   PILGRIMS-0003388635            PILGRIMS-0003388636          2
Emails/Attachments   PILGRIMS-0003388676            PILGRIMS-0003388677          2
Emails/Attachments   PILGRIMS-0003388713            PILGRIMS-0003388714          2
Emails/Attachments   PILGRIMS-0003388716            PILGRIMS-0003388717          2
Emails/Attachments   PILGRIMS-0003388739            PILGRIMS-0003388740          2
Emails/Attachments   PILGRIMS-0003388748            PILGRIMS-0003388749          2
Emails/Attachments   PILGRIMS-0003388767            PILGRIMS-0003388768          2
Emails/Attachments   PILGRIMS-0003388773            PILGRIMS-0003388774          2
Emails/Attachments   PILGRIMS-0003388813            PILGRIMS-0003388814          2
Emails/Attachments   PILGRIMS-0003388818            PILGRIMS-0003388820          2
Emails/Attachments   PILGRIMS-0003388828            PILGRIMS-0003388829          2
Emails/Attachments   PILGRIMS-0003388833            PILGRIMS-0003388915          4
Emails/Attachments   PILGRIMS-0003388921            PILGRIMS-0003388922          2
Emails/Attachments   PILGRIMS-0003388973            PILGRIMS-0003389026          6
Emails/Attachments   PILGRIMS-0003389035            PILGRIMS-0003389036          2
Emails/Attachments   PILGRIMS-0003389040            PILGRIMS-0003389041          2
Emails/Attachments   PILGRIMS-0003389075            PILGRIMS-0003389076          2
Emails/Attachments   PILGRIMS-0003389084            PILGRIMS-0003389085          2
Emails/Attachments   PILGRIMS-0003389092            PILGRIMS-0003389097          6
Emails/Attachments   PILGRIMS-0003389129            PILGRIMS-0003389130          2
Emails/Attachments   PILGRIMS-0003389139            PILGRIMS-0003389144          4
Emails/Attachments   PILGRIMS-0003389147            PILGRIMS-0003389148          2
Emails/Attachments   PILGRIMS-0003389154            PILGRIMS-0003389155          2
Emails/Attachments   PILGRIMS-0003389165            PILGRIMS-0003389166          2
Emails/Attachments   PILGRIMS-0003389173            PILGRIMS-0003389254          2
Emails/Attachments   PILGRIMS-0003389256            PILGRIMS-0003389260          3
Emails/Attachments   PILGRIMS-0003389264            PILGRIMS-0003389444          5
Emails/Attachments   PILGRIMS-0003389462            PILGRIMS-0003389625          5
Emails/Attachments   PILGRIMS-0003389633            PILGRIMS-0003389663          3
Emails/Attachments   PILGRIMS-0003389713            PILGRIMS-0003389874          3


                                   Page 40 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 64 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003389876            PILGRIMS-0003390036          3
Emails/Attachments   PILGRIMS-0003390042            PILGRIMS-0003390043          2
Emails/Attachments   PILGRIMS-0003390137            PILGRIMS-0003390145          3
Emails/Attachments   PILGRIMS-0003390167            PILGRIMS-0003390168          2
Emails/Attachments   PILGRIMS-0003390209            PILGRIMS-0003390211          2
Emails/Attachments   PILGRIMS-0003390222            PILGRIMS-0003390227          6
Emails/Attachments   PILGRIMS-0003390292            PILGRIMS-0003390295          2
Emails/Attachments   PILGRIMS-0003390334            PILGRIMS-0003390335          2
Emails/Attachments   PILGRIMS-0003390350            PILGRIMS-0003390352          2
Emails/Attachments   PILGRIMS-0003390361            PILGRIMS-0003390362          2
Emails/Attachments   PILGRIMS-0003390372            PILGRIMS-0003390379          3
Emails/Attachments   PILGRIMS-0003390382            PILGRIMS-0003390383          2
Emails/Attachments   PILGRIMS-0003390416            PILGRIMS-0003390420          1
Emails/Attachments   PILGRIMS-0003390424            PILGRIMS-0003390425          2
Emails/Attachments   PILGRIMS-0003390434            PILGRIMS-0003390438          1
Emails/Attachments   PILGRIMS-0003390449            PILGRIMS-0003390530          2
Emails/Attachments   PILGRIMS-0003390533            PILGRIMS-0003390536          4
Emails/Attachments   PILGRIMS-0003390538            PILGRIMS-0003390539          2
Emails/Attachments   PILGRIMS-0003390550            PILGRIMS-0003390551          2
Emails/Attachments   PILGRIMS-0003390558            PILGRIMS-0003390559          2
Emails/Attachments   PILGRIMS-0003390863            PILGRIMS-0003391154          3
Emails/Attachments   PILGRIMS-0003391160            PILGRIMS-0003391161          2
Emails/Attachments   PILGRIMS-0003391220            PILGRIMS-0003391516          3
Emails/Attachments   PILGRIMS-0003391525            PILGRIMS-0003391532          3
Emails/Attachments   PILGRIMS-0003391535            PILGRIMS-0003391536          2
Emails/Attachments   PILGRIMS-0003391558            PILGRIMS-0003391564          5
Emails/Attachments   PILGRIMS-0003391589            PILGRIMS-0003391593          1
Emails/Attachments   PILGRIMS-0003391603            PILGRIMS-0003391607          1
Emails/Attachments   PILGRIMS-0003391612            PILGRIMS-0003391613          2
Emails/Attachments   PILGRIMS-0003391630            PILGRIMS-0003391631          2
Emails/Attachments   PILGRIMS-0003391644            PILGRIMS-0003391645          2
Emails/Attachments   PILGRIMS-0003391670            PILGRIMS-0003391671          2
Emails/Attachments   PILGRIMS-0003391689            PILGRIMS-0003391691          3
Emails/Attachments   PILGRIMS-0003391697            PILGRIMS-0003391700          2
Emails/Attachments   PILGRIMS-0003391734            PILGRIMS-0003391735          2
Emails/Attachments   PILGRIMS-0003391744            PILGRIMS-0003391840          2
Emails/Attachments   PILGRIMS-0003391863            PILGRIMS-0003391879         11
Emails/Attachments   PILGRIMS-0003391910            PILGRIMS-0003392007          2
Emails/Attachments   PILGRIMS-0003392025            PILGRIMS-0003392026          2
Emails/Attachments   PILGRIMS-0003392031            PILGRIMS-0003392036          4
Emails/Attachments   PILGRIMS-0003392065            PILGRIMS-0003392069          3
Emails/Attachments   PILGRIMS-0003392246            PILGRIMS-0003393123          6
Emails/Attachments   PILGRIMS-0003393164            PILGRIMS-0003393168          5
Emails/Attachments   PILGRIMS-0003393194            PILGRIMS-0003393195          2
Emails/Attachments   PILGRIMS-0003393339            PILGRIMS-0003393341          2
Emails/Attachments   PILGRIMS-0003393345            PILGRIMS-0003393352          2


                                   Page 41 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 65 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003393391            PILGRIMS-0003393392           2
Emails/Attachments   PILGRIMS-0003393408            PILGRIMS-0003393411           2
Emails/Attachments   PILGRIMS-0003393536            PILGRIMS-0003393546           2
Emails/Attachments   PILGRIMS-0003393577            PILGRIMS-0003393578           2
Emails/Attachments   PILGRIMS-0003393591            PILGRIMS-0003393600           2
Emails/Attachments   PILGRIMS-0003393604            PILGRIMS-0003393606           3
Emails/Attachments   PILGRIMS-0003393608            PILGRIMS-0003393619           2
Emails/Attachments   PILGRIMS-0003393621            PILGRIMS-0003393645           5
Emails/Attachments   PILGRIMS-0003393652            PILGRIMS-0003393660           6
Emails/Attachments   PILGRIMS-0003393664            PILGRIMS-0003393665           2
Emails/Attachments   PILGRIMS-0003393671            PILGRIMS-0003393672           2
Emails/Attachments   PILGRIMS-0003393677            PILGRIMS-0003393680           4
Emails/Attachments   PILGRIMS-0003393686            PILGRIMS-0003393693           6
Emails/Attachments   PILGRIMS-0003393696            PILGRIMS-0003393697           2
Emails/Attachments   PILGRIMS-0003393896            PILGRIMS-0003393917           7
Emails/Attachments   PILGRIMS-0003394096            PILGRIMS-0003394097           2
Emails/Attachments   PILGRIMS-0003394209            PILGRIMS-0003394230           4
Emails/Attachments   PILGRIMS-0003394281            PILGRIMS-0003394282           2
Emails/Attachments   PILGRIMS-0003394302            PILGRIMS-0003394303           1
Emails/Attachments   PILGRIMS-0003394317            PILGRIMS-0003394318           2
Emails/Attachments   PILGRIMS-0003394320            PILGRIMS-0003394322           2
Emails/Attachments   PILGRIMS-0003394324            PILGRIMS-0003394335           7
Emails/Attachments   PILGRIMS-0003394347            PILGRIMS-0003394354           2
Emails/Attachments   PILGRIMS-0003394360            PILGRIMS-0003394363           2
Emails/Attachments   PILGRIMS-0003394385            PILGRIMS-0003394390           2
Emails/Attachments   PILGRIMS-0003394392            PILGRIMS-0003394393           2
Emails/Attachments   PILGRIMS-0003394396            PILGRIMS-0003394397           2
Emails/Attachments   PILGRIMS-0003394441            PILGRIMS-0003422893        7,410
Emails/Attachments   PILGRIMS-0003422895            PILGRIMS-0003435253        3,972
Emails/Attachments   PILGRIMS-0003435256            PILGRIMS-0003440111        2,009
Emails/Attachments   PILGRIMS-0003440115            PILGRIMS-0003441601         144
Emails/Attachments   PILGRIMS-0003441603            PILGRIMS-0003442054         350
Emails/Attachments   PILGRIMS-0003442058            PILGRIMS-0003443155         560
Emails/Attachments   PILGRIMS-0003443157            PILGRIMS-0003443822         236
Emails/Attachments   PILGRIMS-0003443824            PILGRIMS-0003444144          53
Emails/Attachments   PILGRIMS-0003444146            PILGRIMS-0003444809         394
Emails/Attachments   PILGRIMS-0003444811            PILGRIMS-0003446438         916
Emails/Attachments   PILGRIMS-0003446440            PILGRIMS-0003446443           4
Emails/Attachments   PILGRIMS-0003446445            PILGRIMS-0003449373        1,284
Emails/Attachments   PILGRIMS-0003449375            PILGRIMS-0003450804         989
Emails/Attachments   PILGRIMS-0003450806            PILGRIMS-0003450817           6
Emails/Attachments   PILGRIMS-0003450821            PILGRIMS-0003450845          11
Emails/Attachments   PILGRIMS-0003450848            PILGRIMS-0003450896          12
Emails/Attachments   PILGRIMS-0003450900            PILGRIMS-0003450904           3
Emails/Attachments   PILGRIMS-0003450907            PILGRIMS-0003450958          16
Emails/Attachments   PILGRIMS-0003450962            PILGRIMS-0003450965           4


                                   Page 42 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 66 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003450968            PILGRIMS-0003450974          6
Emails/Attachments   PILGRIMS-0003450978            PILGRIMS-0003451002         11
Emails/Attachments   PILGRIMS-0003451005            PILGRIMS-0003451005          1
Emails/Attachments   PILGRIMS-0003451007            PILGRIMS-0003451019          9
Emails/Attachments   PILGRIMS-0003451021            PILGRIMS-0003451047         11
Emails/Attachments   PILGRIMS-0003451049            PILGRIMS-0003451056          7
Emails/Attachments   PILGRIMS-0003451068            PILGRIMS-0003451073          2
Emails/Attachments   PILGRIMS-0003451083            PILGRIMS-0003451086          2
Emails/Attachments   PILGRIMS-0003451092            PILGRIMS-0003451111          6
Emails/Attachments   PILGRIMS-0003451122            PILGRIMS-0003451126          2
Emails/Attachments   PILGRIMS-0003451129            PILGRIMS-0003451138          8
Emails/Attachments   PILGRIMS-0003451164            PILGRIMS-0003451176          5
Emails/Attachments   PILGRIMS-0003451180            PILGRIMS-0003451192          5
Emails/Attachments   PILGRIMS-0003451208            PILGRIMS-0003451220          5
Emails/Attachments   PILGRIMS-0003451229            PILGRIMS-0003451230          2
Emails/Attachments   PILGRIMS-0003451266            PILGRIMS-0003451269          4
Emails/Attachments   PILGRIMS-0003451283            PILGRIMS-0003451286          4
Emails/Attachments   PILGRIMS-0003451289            PILGRIMS-0003451295          6
Emails/Attachments   PILGRIMS-0003451298            PILGRIMS-0003451299          2
Emails/Attachments   PILGRIMS-0003451304            PILGRIMS-0003451559         149
Emails/Attachments   PILGRIMS-0003451563            PILGRIMS-0003451995         214
Emails/Attachments   PILGRIMS-0003451997            PILGRIMS-0003452476         242
Emails/Attachments   PILGRIMS-0003452478            PILGRIMS-0003452483          6
Emails/Attachments   PILGRIMS-0003452485            PILGRIMS-0003452713         114
Emails/Attachments   PILGRIMS-0003452731            PILGRIMS-0003452786         34
Emails/Attachments   PILGRIMS-0003452788            PILGRIMS-0003452843         16
Emails/Attachments   PILGRIMS-0003452863            PILGRIMS-0003453246         196
Emails/Attachments   PILGRIMS-0003453248            PILGRIMS-0003453492         125
Emails/Attachments   PILGRIMS-0003453494            PILGRIMS-0003453549         42
Emails/Attachments   PILGRIMS-0003453551            PILGRIMS-0003453608         38
Emails/Attachments   PILGRIMS-0003453610            PILGRIMS-0003453686         29
Emails/Attachments   PILGRIMS-0003453695            PILGRIMS-0003453700          4
Emails/Attachments   PILGRIMS-0003453709            PILGRIMS-0003453789         59
Emails/Attachments   PILGRIMS-0003453791            PILGRIMS-0003453809         17
Emails/Attachments   PILGRIMS-0003453811            PILGRIMS-0003454082         96
Emails/Attachments   PILGRIMS-0003454084            PILGRIMS-0003454087          4
Emails/Attachments   PILGRIMS-0003454089            PILGRIMS-0003454092          4
Emails/Attachments   PILGRIMS-0003454094            PILGRIMS-0003454120         20
Emails/Attachments   PILGRIMS-0003454122            PILGRIMS-0003454173         20
Emails/Attachments   PILGRIMS-0003454175            PILGRIMS-0003454180          6
Emails/Attachments   PILGRIMS-0003454182            PILGRIMS-0003454243         31
Emails/Attachments   PILGRIMS-0003454245            PILGRIMS-0003454323         46
Emails/Attachments   PILGRIMS-0003454325            PILGRIMS-0003454426         65
Emails/Attachments   PILGRIMS-0003454429            PILGRIMS-0003454462         27
Emails/Attachments   PILGRIMS-0003454464            PILGRIMS-0003455569         564
Emails/Attachments   PILGRIMS-0003455571            PILGRIMS-0003455612          6


                                   Page 43 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 67 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003455614            PILGRIMS-0003455715          80
Emails/Attachments   PILGRIMS-0003455717            PILGRIMS-0003455965         143
Emails/Attachments   PILGRIMS-0003455967            PILGRIMS-0003455977          10
Emails/Attachments   PILGRIMS-0003455979            PILGRIMS-0003456607         299
Emails/Attachments   PILGRIMS-0003456612            PILGRIMS-0003456614           3
Emails/Attachments   PILGRIMS-0003456631            PILGRIMS-0003457059         193
Emails/Attachments   PILGRIMS-0003457074            PILGRIMS-0003458037         533
Emails/Attachments   PILGRIMS-0003458039            PILGRIMS-0003458136          74
Emails/Attachments   PILGRIMS-0003458138            PILGRIMS-0003458139           2
Emails/Attachments   PILGRIMS-0003458141            PILGRIMS-0003459243         461
Emails/Attachments   PILGRIMS-0003459266            PILGRIMS-0003460491         379
Emails/Attachments   PILGRIMS-0003460493            PILGRIMS-0003460542          20
Emails/Attachments   PILGRIMS-0003460544            PILGRIMS-0003460654          39
Emails/Attachments   PILGRIMS-0003460709            PILGRIMS-0003460797          75
Emails/Attachments   PILGRIMS-0003460799            PILGRIMS-0003464007        1,601
Emails/Attachments   PILGRIMS-0003464010            PILGRIMS-0003464011           2
Emails/Attachments   PILGRIMS-0003464015            PILGRIMS-0003464016           1
Emails/Attachments   PILGRIMS-0003464033            PILGRIMS-0003464034           2
Emails/Attachments   PILGRIMS-0003464036            PILGRIMS-0003464037           2
Emails/Attachments   PILGRIMS-0003464125            PILGRIMS-0003464127           3
Emails/Attachments   PILGRIMS-0003464158            PILGRIMS-0003464160           2
Emails/Attachments   PILGRIMS-0003464195            PILGRIMS-0003464196           1
Emails/Attachments   PILGRIMS-0003468222            PILGRIMS-0003468231           9
Emails/Attachments   PILGRIMS-0003468233            PILGRIMS-0003469830          10
Emails/Attachments   PILGRIMS-0003469832            PILGRIMS-0003469836           5
Emails/Attachments   PILGRIMS-0003472176            PILGRIMS-0003472189          14
Emails/Attachments   PILGRIMS-0003472191            PILGRIMS-0003472193           3
Emails/Attachments   PILGRIMS-0003472196            PILGRIMS-0003472217          18
Emails/Attachments   PILGRIMS-0003472219            PILGRIMS-0003472292          50
Emails/Attachments   PILGRIMS-0003472294            PILGRIMS-0003472333          14
Emails/Attachments   PILGRIMS-0003472350            PILGRIMS-0003472371          22
Emails/Attachments   PILGRIMS-0003472386            PILGRIMS-0003472424          26
Emails/Attachments   PILGRIMS-0003472429            PILGRIMS-0003472561         103
Emails/Attachments   PILGRIMS-0003472563            PILGRIMS-0003472570           8
Emails/Attachments   PILGRIMS-0003472572            PILGRIMS-0003472596          25
Emails/Attachments   PILGRIMS-0003472598            PILGRIMS-0003472635          25
Emails/Attachments   PILGRIMS-0003472637            PILGRIMS-0003472652           5
Emails/Attachments   PILGRIMS-0003472656            PILGRIMS-0003472703          42
Emails/Attachments   PILGRIMS-0003472718            PILGRIMS-0003472732           2
Emails/Attachments   PILGRIMS-0003472734            PILGRIMS-0003472764          18
Emails/Attachments   PILGRIMS-0003472766            PILGRIMS-0003472958         141
Emails/Attachments   PILGRIMS-0003472960            PILGRIMS-0003472963           4
Emails/Attachments   PILGRIMS-0003472965            PILGRIMS-0003473029          65
Emails/Attachments   PILGRIMS-0003473031            PILGRIMS-0003473038           8
Emails/Attachments   PILGRIMS-0003473107            PILGRIMS-0003473151          34
Emails/Attachments   PILGRIMS-0003473230            PILGRIMS-0003473234           5


                                   Page 44 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 68 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003473236            PILGRIMS-0003473287         41
Emails/Attachments   PILGRIMS-0003473304            PILGRIMS-0003473455         130
Emails/Attachments   PILGRIMS-0003473457            PILGRIMS-0003473473         17
Emails/Attachments   PILGRIMS-0003473477            PILGRIMS-0003473515         39
Emails/Attachments   PILGRIMS-0003473518            PILGRIMS-0003473565         21
Emails/Attachments   PILGRIMS-0003473583            PILGRIMS-0003473626         44
Emails/Attachments   PILGRIMS-0003473629            PILGRIMS-0003473644         16
Emails/Attachments   PILGRIMS-0003473646            PILGRIMS-0003473653          8
Emails/Attachments   PILGRIMS-0003473655            PILGRIMS-0003473662          8
Emails/Attachments   PILGRIMS-0003473664            PILGRIMS-0003473665          2
Emails/Attachments   PILGRIMS-0003473669            PILGRIMS-0003473721         52
Emails/Attachments   PILGRIMS-0003473723            PILGRIMS-0003473744         22
Emails/Attachments   PILGRIMS-0003473747            PILGRIMS-0003473770         24
Emails/Attachments   PILGRIMS-0003473772            PILGRIMS-0003473787         10
Emails/Attachments   PILGRIMS-0003473789            PILGRIMS-0003473802         14
Emails/Attachments   PILGRIMS-0003473804            PILGRIMS-0003473892         52
Emails/Attachments   PILGRIMS-0003473894            PILGRIMS-0003473919         25
Emails/Attachments   PILGRIMS-0003473921            PILGRIMS-0003473926          6
Emails/Attachments   PILGRIMS-0003473945            PILGRIMS-0003473965          4
Emails/Attachments   PILGRIMS-0003473967            PILGRIMS-0003473980         14
Emails/Attachments   PILGRIMS-0003473982            PILGRIMS-0003473999         18
Emails/Attachments   PILGRIMS-0003474001            PILGRIMS-0003474086         86
Emails/Attachments   PILGRIMS-0003474088            PILGRIMS-0003474097         10
Emails/Attachments   PILGRIMS-0003474101            PILGRIMS-0003474112         12
Emails/Attachments   PILGRIMS-0003474114            PILGRIMS-0003474119          6
Emails/Attachments   PILGRIMS-0003474121            PILGRIMS-0003474122          2
Emails/Attachments   PILGRIMS-0003474124            PILGRIMS-0003474141         18
Emails/Attachments   PILGRIMS-0003474143            PILGRIMS-0003474176         22
Emails/Attachments   PILGRIMS-0003474191            PILGRIMS-0003474204         11
Emails/Attachments   PILGRIMS-0003474206            PILGRIMS-0003474354         131
Emails/Attachments   PILGRIMS-0003474356            PILGRIMS-0003474365         10
Emails/Attachments   PILGRIMS-0003474367            PILGRIMS-0003474370          4
Emails/Attachments   PILGRIMS-0003474372            PILGRIMS-0003474373          2
Emails/Attachments   PILGRIMS-0003474375            PILGRIMS-0003474376          2
Emails/Attachments   PILGRIMS-0003474378            PILGRIMS-0003474379          2
Emails/Attachments   PILGRIMS-0003474636            PILGRIMS-0003474648          8
Emails/Attachments   PILGRIMS-0003474657            PILGRIMS-0003474704         48
Emails/Attachments   PILGRIMS-0003474706            PILGRIMS-0003474709          4
Emails/Attachments   PILGRIMS-0003474714            PILGRIMS-0003474718          4
Emails/Attachments   PILGRIMS-0003474720            PILGRIMS-0003474723          4
Emails/Attachments   PILGRIMS-0003474725            PILGRIMS-0003474796         70
Emails/Attachments   PILGRIMS-0003474798            PILGRIMS-0003474801          4
Emails/Attachments   PILGRIMS-0003474805            PILGRIMS-0003474908         96
Emails/Attachments   PILGRIMS-0003474911            PILGRIMS-0003474914          4
Emails/Attachments   PILGRIMS-0003474916            PILGRIMS-0003474934         19
Emails/Attachments   PILGRIMS-0003474936            PILGRIMS-0003474937          2


                                   Page 45 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 69 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003474939            PILGRIMS-0003474955         16
Emails/Attachments   PILGRIMS-0003474957            PILGRIMS-0003474984         26
Emails/Attachments   PILGRIMS-0003474987            PILGRIMS-0003474988          2
Emails/Attachments   PILGRIMS-0003474990            PILGRIMS-0003474995          6
Emails/Attachments   PILGRIMS-0003474997            PILGRIMS-0003475002          6
Emails/Attachments   PILGRIMS-0003475004            PILGRIMS-0003475025         22
Emails/Attachments   PILGRIMS-0003475027            PILGRIMS-0003475059         32
Emails/Attachments   PILGRIMS-0003475061            PILGRIMS-0003475062          2
Emails/Attachments   PILGRIMS-0003475064            PILGRIMS-0003475099         31
Emails/Attachments   PILGRIMS-0003475101            PILGRIMS-0003475154         54
Emails/Attachments   PILGRIMS-0003475156            PILGRIMS-0003475157          2
Emails/Attachments   PILGRIMS-0003475159            PILGRIMS-0003475168          7
Emails/Attachments   PILGRIMS-0003475170            PILGRIMS-0003475229         58
Emails/Attachments   PILGRIMS-0003475232            PILGRIMS-0003475237          6
Emails/Attachments   PILGRIMS-0003475249            PILGRIMS-0003475266         12
Emails/Attachments   PILGRIMS-0003475268            PILGRIMS-0003475306         20
Emails/Attachments   PILGRIMS-0003475309            PILGRIMS-0003475392         59
Emails/Attachments   PILGRIMS-0003475398            PILGRIMS-0003475446         28
Emails/Attachments   PILGRIMS-0003475455            PILGRIMS-0003475458          4
Emails/Attachments   PILGRIMS-0003475460            PILGRIMS-0003475467          8
Emails/Attachments   PILGRIMS-0003475469            PILGRIMS-0003475478         10
Emails/Attachments   PILGRIMS-0003475480            PILGRIMS-0003475492          7
Emails/Attachments   PILGRIMS-0003475494            PILGRIMS-0003475524         31
Emails/Attachments   PILGRIMS-0003475526            PILGRIMS-0003475571         46
Emails/Attachments   PILGRIMS-0003475573            PILGRIMS-0003475614         38
Emails/Attachments   PILGRIMS-0003475616            PILGRIMS-0003475631         16
Emails/Attachments   PILGRIMS-0003475689            PILGRIMS-0003475712         21
Emails/Attachments   PILGRIMS-0003475717            PILGRIMS-0003475742         22
Emails/Attachments   PILGRIMS-0003475745            PILGRIMS-0003475754         10
Emails/Attachments   PILGRIMS-0003475757            PILGRIMS-0003475758          2
Emails/Attachments   PILGRIMS-0003475762            PILGRIMS-0003475775         14
Emails/Attachments   PILGRIMS-0003475777            PILGRIMS-0003475782          6
Emails/Attachments   PILGRIMS-0003475784            PILGRIMS-0003475875         92
Emails/Attachments   PILGRIMS-0003475877            PILGRIMS-0003475913         36
Emails/Attachments   PILGRIMS-0003475973            PILGRIMS-0003476062         30
Emails/Attachments   PILGRIMS-0003476119            PILGRIMS-0003476121          1
Emails/Attachments   PILGRIMS-0003476179            PILGRIMS-0003476188         10
Emails/Attachments   PILGRIMS-0003476190            PILGRIMS-0003476193          4
Emails/Attachments   PILGRIMS-0003476195            PILGRIMS-0003476205          9
Emails/Attachments   PILGRIMS-0003476207            PILGRIMS-0003476223         16
Emails/Attachments   PILGRIMS-0003476226            PILGRIMS-0003476233          8
Emails/Attachments   PILGRIMS-0003476237            PILGRIMS-0003476238          2
Emails/Attachments   PILGRIMS-0003476240            PILGRIMS-0003476249         10
Emails/Attachments   PILGRIMS-0003476268            PILGRIMS-0003476286         19
Emails/Attachments   PILGRIMS-0003476289            PILGRIMS-0003476294          6
Emails/Attachments   PILGRIMS-0003476297            PILGRIMS-0003476439         136


                                   Page 46 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 70 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003476441            PILGRIMS-0003476458         15
Emails/Attachments   PILGRIMS-0003476460            PILGRIMS-0003476498         24
Emails/Attachments   PILGRIMS-0003476500            PILGRIMS-0003476501          2
Emails/Attachments   PILGRIMS-0003476504            PILGRIMS-0003476515         12
Emails/Attachments   PILGRIMS-0003476518            PILGRIMS-0003476538         21
Emails/Attachments   PILGRIMS-0003476543            PILGRIMS-0003476586         44
Emails/Attachments   PILGRIMS-0003476588            PILGRIMS-0003476610         23
Emails/Attachments   PILGRIMS-0003476612            PILGRIMS-0003476682         54
Emails/Attachments   PILGRIMS-0003476684            PILGRIMS-0003476706         21
Emails/Attachments   PILGRIMS-0003476708            PILGRIMS-0003476731         24
Emails/Attachments   PILGRIMS-0003476733            PILGRIMS-0003476742          9
Emails/Attachments   PILGRIMS-0003476745            PILGRIMS-0003476754          6
Emails/Attachments   PILGRIMS-0003476756            PILGRIMS-0003476787         29
Emails/Attachments   PILGRIMS-0003476789            PILGRIMS-0003476800         12
Emails/Attachments   PILGRIMS-0003476802            PILGRIMS-0003476807          6
Emails/Attachments   PILGRIMS-0003476809            PILGRIMS-0003476838         30
Emails/Attachments   PILGRIMS-0003476840            PILGRIMS-0003476870         28
Emails/Attachments   PILGRIMS-0003476872            PILGRIMS-0003476911         38
Emails/Attachments   PILGRIMS-0003476914            PILGRIMS-0003476935         22
Emails/Attachments   PILGRIMS-0003476981            PILGRIMS-0003477046         21
Emails/Attachments   PILGRIMS-0003477052            PILGRIMS-0003477141         78
Emails/Attachments   PILGRIMS-0003477143            PILGRIMS-0003477146          3
Emails/Attachments   PILGRIMS-0003477148            PILGRIMS-0003477155          6
Emails/Attachments   PILGRIMS-0003477157            PILGRIMS-0003477182         22
Emails/Attachments   PILGRIMS-0003477184            PILGRIMS-0003477205         22
Emails/Attachments   PILGRIMS-0003477248            PILGRIMS-0003477313         25
Emails/Attachments   PILGRIMS-0003477383            PILGRIMS-0003477455         51
Emails/Attachments   PILGRIMS-0003477470            PILGRIMS-0003477563         82
Emails/Attachments   PILGRIMS-0003477591            PILGRIMS-0003477604         14
Emails/Attachments   PILGRIMS-0003477606            PILGRIMS-0003477612          7
Emails/Attachments   PILGRIMS-0003477614            PILGRIMS-0003477621          7
Emails/Attachments   PILGRIMS-0003477623            PILGRIMS-0003477624          2
Emails/Attachments   PILGRIMS-0003477626            PILGRIMS-0003477632          6
Emails/Attachments   PILGRIMS-0003477634            PILGRIMS-0003477639          6
Emails/Attachments   PILGRIMS-0003477642            PILGRIMS-0003477657         16
Emails/Attachments   PILGRIMS-0003477700            PILGRIMS-0003477707          8
Emails/Attachments   PILGRIMS-0003477709            PILGRIMS-0003477712          4
Emails/Attachments   PILGRIMS-0003477714            PILGRIMS-0003477749         32
Emails/Attachments   PILGRIMS-0003477751            PILGRIMS-0003477766         15
Emails/Attachments   PILGRIMS-0003477768            PILGRIMS-0003477815         44
Emails/Attachments   PILGRIMS-0003477817            PILGRIMS-0003477839         21
Emails/Attachments   PILGRIMS-0003477842            PILGRIMS-0003477843          2
Emails/Attachments   PILGRIMS-0003477846            PILGRIMS-0003477847          2
Emails/Attachments   PILGRIMS-0003477850            PILGRIMS-0003477851          2
Emails/Attachments   PILGRIMS-0003477856            PILGRIMS-0003477858          1
Emails/Attachments   PILGRIMS-0003477864            PILGRIMS-0003477865          2


                                   Page 47 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 71 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003477868            PILGRIMS-0003477869          2
Emails/Attachments   PILGRIMS-0003477872            PILGRIMS-0003477877          4
Emails/Attachments   PILGRIMS-0003477879            PILGRIMS-0003477891         12
Emails/Attachments   PILGRIMS-0003477893            PILGRIMS-0003477894          2
Emails/Attachments   PILGRIMS-0003477896            PILGRIMS-0003477901          6
Emails/Attachments   PILGRIMS-0003477904            PILGRIMS-0003477907          4
Emails/Attachments   PILGRIMS-0003477909            PILGRIMS-0003477910          2
Emails/Attachments   PILGRIMS-0003477912            PILGRIMS-0003477913          2
Emails/Attachments   PILGRIMS-0003477987            PILGRIMS-0003477988          2
Emails/Attachments   PILGRIMS-0003477990            PILGRIMS-0003477991          2
Emails/Attachments   PILGRIMS-0003477995            PILGRIMS-0003477996          2
Emails/Attachments   PILGRIMS-0003477999            PILGRIMS-0003478007          4
Emails/Attachments   PILGRIMS-0003478029            PILGRIMS-0003478030          2
Emails/Attachments   PILGRIMS-0003478032            PILGRIMS-0003478033          2
Emails/Attachments   PILGRIMS-0003478035            PILGRIMS-0003478036          2
Emails/Attachments   PILGRIMS-0003478038            PILGRIMS-0003478042          5
Emails/Attachments   PILGRIMS-0003478045            PILGRIMS-0003478046          2
Emails/Attachments   PILGRIMS-0003478049            PILGRIMS-0003478056          8
Emails/Attachments   PILGRIMS-0003478059            PILGRIMS-0003478062          4
Emails/Attachments   PILGRIMS-0003478065            PILGRIMS-0003478066          2
Emails/Attachments   PILGRIMS-0003478069            PILGRIMS-0003478072          4
Emails/Attachments   PILGRIMS-0003478074            PILGRIMS-0003478075          2
Emails/Attachments   PILGRIMS-0003478082            PILGRIMS-0003478083          2
Emails/Attachments   PILGRIMS-0003478100            PILGRIMS-0003478101          2
Emails/Attachments   PILGRIMS-0003478106            PILGRIMS-0003478110          5
Emails/Attachments   PILGRIMS-0003478112            PILGRIMS-0003478113          2
Emails/Attachments   PILGRIMS-0003478116            PILGRIMS-0003478121          6
Emails/Attachments   PILGRIMS-0003478125            PILGRIMS-0003478135          5
Emails/Attachments   PILGRIMS-0003478138            PILGRIMS-0003478146          8
Emails/Attachments   PILGRIMS-0003478148            PILGRIMS-0003478149          2
Emails/Attachments   PILGRIMS-0003478159            PILGRIMS-0003478161          1
Emails/Attachments   PILGRIMS-0003478164            PILGRIMS-0003478165          1
Emails/Attachments   PILGRIMS-0003478167            PILGRIMS-0003478175          4
Emails/Attachments   PILGRIMS-0003478178            PILGRIMS-0003478193         13
Emails/Attachments   PILGRIMS-0003478195            PILGRIMS-0003478202          4
Emails/Attachments   PILGRIMS-0003478207            PILGRIMS-0003478208          2
Emails/Attachments   PILGRIMS-0003478210            PILGRIMS-0003478211          2
Emails/Attachments   PILGRIMS-0003478229            PILGRIMS-0003478232          4
Emails/Attachments   PILGRIMS-0003478234            PILGRIMS-0003478235          2
Emails/Attachments   PILGRIMS-0003478240            PILGRIMS-0003478256         10
Emails/Attachments   PILGRIMS-0003478259            PILGRIMS-0003478278         14
Emails/Attachments   PILGRIMS-0003478283            PILGRIMS-0003478284          2
Emails/Attachments   PILGRIMS-0003478286            PILGRIMS-0003478287          2
Emails/Attachments   PILGRIMS-0003478290            PILGRIMS-0003478292          2
Emails/Attachments   PILGRIMS-0003478297            PILGRIMS-0003478300          4
Emails/Attachments   PILGRIMS-0003478303            PILGRIMS-0003478306          4


                                   Page 48 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 72 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003478310            PILGRIMS-0003478314          5
Emails/Attachments   PILGRIMS-0003478364            PILGRIMS-0003478365          2
Emails/Attachments   PILGRIMS-0003478373            PILGRIMS-0003478376          4
Emails/Attachments   PILGRIMS-0003478378            PILGRIMS-0003478379          2
Emails/Attachments   PILGRIMS-0003478381            PILGRIMS-0003478383          3
Emails/Attachments   PILGRIMS-0003478385            PILGRIMS-0003478386          2
Emails/Attachments   PILGRIMS-0003478388            PILGRIMS-0003478389          2
Emails/Attachments   PILGRIMS-0003478391            PILGRIMS-0003478392          2
Emails/Attachments   PILGRIMS-0003478396            PILGRIMS-0003478397          2
Emails/Attachments   PILGRIMS-0003478399            PILGRIMS-0003478401          2
Emails/Attachments   PILGRIMS-0003478404            PILGRIMS-0003478405          2
Emails/Attachments   PILGRIMS-0003478407            PILGRIMS-0003478410          4
Emails/Attachments   PILGRIMS-0003478414            PILGRIMS-0003478415          2
Emails/Attachments   PILGRIMS-0003478621            PILGRIMS-0003478625          5
Emails/Attachments   PILGRIMS-0003478644            PILGRIMS-0003478645          2
Emails/Attachments   PILGRIMS-0003478647            PILGRIMS-0003478648          2
Emails/Attachments   PILGRIMS-0003478653            PILGRIMS-0003478656          4
Emails/Attachments   PILGRIMS-0003478660            PILGRIMS-0003478663          4
Emails/Attachments   PILGRIMS-0003478665            PILGRIMS-0003478666          2
Emails/Attachments   PILGRIMS-0003478670            PILGRIMS-0003478673          4
Emails/Attachments   PILGRIMS-0003478675            PILGRIMS-0003478678          4
Emails/Attachments   PILGRIMS-0003478681            PILGRIMS-0003478682          2
Emails/Attachments   PILGRIMS-0003478684            PILGRIMS-0003478687          4
Emails/Attachments   PILGRIMS-0003478695            PILGRIMS-0003478696          2
Emails/Attachments   PILGRIMS-0003478698            PILGRIMS-0003478699          1
Emails/Attachments   PILGRIMS-0003478702            PILGRIMS-0003478703          2
Emails/Attachments   PILGRIMS-0003478705            PILGRIMS-0003478706          2
Emails/Attachments   PILGRIMS-0003478708            PILGRIMS-0003478710          3
Emails/Attachments   PILGRIMS-0003478714            PILGRIMS-0003478715          2
Emails/Attachments   PILGRIMS-0003478720            PILGRIMS-0003478731          9
Emails/Attachments   PILGRIMS-0003478733            PILGRIMS-0003478734          2
Emails/Attachments   PILGRIMS-0003478739            PILGRIMS-0003478744          6
Emails/Attachments   PILGRIMS-0003478751            PILGRIMS-0003478752          2
Emails/Attachments   PILGRIMS-0003478755            PILGRIMS-0003478756          2
Emails/Attachments   PILGRIMS-0003478758            PILGRIMS-0003478759          2
Emails/Attachments   PILGRIMS-0003478762            PILGRIMS-0003478765          4
Emails/Attachments   PILGRIMS-0003478772            PILGRIMS-0003478786         11
Emails/Attachments   PILGRIMS-0003478793            PILGRIMS-0003478797          5
Emails/Attachments   PILGRIMS-0003478799            PILGRIMS-0003478800          2
Emails/Attachments   PILGRIMS-0003478806            PILGRIMS-0003478807          2
Emails/Attachments   PILGRIMS-0003478811            PILGRIMS-0003478814          4
Emails/Attachments   PILGRIMS-0003478816            PILGRIMS-0003478818          2
Emails/Attachments   PILGRIMS-0003478820            PILGRIMS-0003478821          2
Emails/Attachments   PILGRIMS-0003478823            PILGRIMS-0003478824          1
Emails/Attachments   PILGRIMS-0003478826            PILGRIMS-0003478827          2
Emails/Attachments   PILGRIMS-0003478831            PILGRIMS-0003478834          4


                                   Page 49 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 73 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003478838            PILGRIMS-0003478839          2
Emails/Attachments   PILGRIMS-0003478841            PILGRIMS-0003478844          4
Emails/Attachments   PILGRIMS-0003478846            PILGRIMS-0003478851          6
Emails/Attachments   PILGRIMS-0003478856            PILGRIMS-0003478862          5
Emails/Attachments   PILGRIMS-0003479073            PILGRIMS-0003479082          9
Emails/Attachments   PILGRIMS-0003479086            PILGRIMS-0003479087          2
Emails/Attachments   PILGRIMS-0003479156            PILGRIMS-0003479160          5
Emails/Attachments   PILGRIMS-0003479163            PILGRIMS-0003479165          2
Emails/Attachments   PILGRIMS-0003479170            PILGRIMS-0003479173          4
Emails/Attachments   PILGRIMS-0003479175            PILGRIMS-0003479176          2
Emails/Attachments   PILGRIMS-0003479179            PILGRIMS-0003479182          4
Emails/Attachments   PILGRIMS-0003479184            PILGRIMS-0003479185          2
Emails/Attachments   PILGRIMS-0003479188            PILGRIMS-0003479189          2
Emails/Attachments   PILGRIMS-0003479191            PILGRIMS-0003479195          4
Emails/Attachments   PILGRIMS-0003479197            PILGRIMS-0003479202          6
Emails/Attachments   PILGRIMS-0003479204            PILGRIMS-0003479205          2
Emails/Attachments   PILGRIMS-0003479415            PILGRIMS-0003479417          3
Emails/Attachments   PILGRIMS-0003479422            PILGRIMS-0003479427          6
Emails/Attachments   PILGRIMS-0003479429            PILGRIMS-0003479431          3
Emails/Attachments   PILGRIMS-0003479434            PILGRIMS-0003479435          2
Emails/Attachments   PILGRIMS-0003479439            PILGRIMS-0003479446          7
Emails/Attachments   PILGRIMS-0003479460            PILGRIMS-0003479463          4
Emails/Attachments   PILGRIMS-0003479465            PILGRIMS-0003479466          2
Emails/Attachments   PILGRIMS-0003479470            PILGRIMS-0003479478          5
Emails/Attachments   PILGRIMS-0003479480            PILGRIMS-0003479654          6
Emails/Attachments   PILGRIMS-0003479825            PILGRIMS-0003479990         10
Emails/Attachments   PILGRIMS-0003479993            PILGRIMS-0003479994          2
Emails/Attachments   PILGRIMS-0003479996            PILGRIMS-0003479999          4
Emails/Attachments   PILGRIMS-0003480001            PILGRIMS-0003480005          2
Emails/Attachments   PILGRIMS-0003480008            PILGRIMS-0003480015          8
Emails/Attachments   PILGRIMS-0003480018            PILGRIMS-0003480021          4
Emails/Attachments   PILGRIMS-0003480023            PILGRIMS-0003480026          4
Emails/Attachments   PILGRIMS-0003480034            PILGRIMS-0003480035          2
Emails/Attachments   PILGRIMS-0003480037            PILGRIMS-0003480049         13
Emails/Attachments   PILGRIMS-0003480053            PILGRIMS-0003480054          2
Emails/Attachments   PILGRIMS-0003480056            PILGRIMS-0003480065          7
Emails/Attachments   PILGRIMS-0003480070            PILGRIMS-0003480071          2
Emails/Attachments   PILGRIMS-0003480073            PILGRIMS-0003480074          2
Emails/Attachments   PILGRIMS-0003480076            PILGRIMS-0003480079          4
Emails/Attachments   PILGRIMS-0003480083            PILGRIMS-0003480084          2
Emails/Attachments   PILGRIMS-0003480087            PILGRIMS-0003480088          2
Emails/Attachments   PILGRIMS-0003480091            PILGRIMS-0003480100         10
Emails/Attachments   PILGRIMS-0003480169            PILGRIMS-0003480173          4
Emails/Attachments   PILGRIMS-0003480175            PILGRIMS-0003480176          2
Emails/Attachments   PILGRIMS-0003480178            PILGRIMS-0003480186          8
Emails/Attachments   PILGRIMS-0003480189            PILGRIMS-0003480193          5


                                   Page 50 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 74 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003480195            PILGRIMS-0003480198          4
Emails/Attachments   PILGRIMS-0003480200            PILGRIMS-0003480208          8
Emails/Attachments   PILGRIMS-0003480211            PILGRIMS-0003480223         11
Emails/Attachments   PILGRIMS-0003480225            PILGRIMS-0003480226          2
Emails/Attachments   PILGRIMS-0003480228            PILGRIMS-0003480229          2
Emails/Attachments   PILGRIMS-0003480231            PILGRIMS-0003480232          2
Emails/Attachments   PILGRIMS-0003480236            PILGRIMS-0003480237          2
Emails/Attachments   PILGRIMS-0003480239            PILGRIMS-0003480258         18
Emails/Attachments   PILGRIMS-0003480261            PILGRIMS-0003480268          6
Emails/Attachments   PILGRIMS-0003480478            PILGRIMS-0003480486          9
Emails/Attachments   PILGRIMS-0003480488            PILGRIMS-0003480492          4
Emails/Attachments   PILGRIMS-0003480496            PILGRIMS-0003480497          2
Emails/Attachments   PILGRIMS-0003480499            PILGRIMS-0003480518          8
Emails/Attachments   PILGRIMS-0003480521            PILGRIMS-0003480526          2
Emails/Attachments   PILGRIMS-0003480528            PILGRIMS-0003480529          2
Emails/Attachments   PILGRIMS-0003480533            PILGRIMS-0003480538          6
Emails/Attachments   PILGRIMS-0003480541            PILGRIMS-0003480542          2
Emails/Attachments   PILGRIMS-0003480544            PILGRIMS-0003480548          2
Emails/Attachments   PILGRIMS-0003480551            PILGRIMS-0003480552          2
Emails/Attachments   PILGRIMS-0003480555            PILGRIMS-0003480556          2
Emails/Attachments   PILGRIMS-0003480559            PILGRIMS-0003480562          4
Emails/Attachments   PILGRIMS-0003480564            PILGRIMS-0003480570          6
Emails/Attachments   PILGRIMS-0003480572            PILGRIMS-0003480573          2
Emails/Attachments   PILGRIMS-0003480575            PILGRIMS-0003480577          3
Emails/Attachments   PILGRIMS-0003480582            PILGRIMS-0003480583          2
Emails/Attachments   PILGRIMS-0003480585            PILGRIMS-0003480586          2
Emails/Attachments   PILGRIMS-0003480589            PILGRIMS-0003480592          2
Emails/Attachments   PILGRIMS-0003480596            PILGRIMS-0003480602          4
Emails/Attachments   PILGRIMS-0003480604            PILGRIMS-0003480605          2
Emails/Attachments   PILGRIMS-0003480607            PILGRIMS-0003480608          2
Emails/Attachments   PILGRIMS-0003480612            PILGRIMS-0003480616          5
Emails/Attachments   PILGRIMS-0003480621            PILGRIMS-0003480651         15
Emails/Attachments   PILGRIMS-0003480653            PILGRIMS-0003480657          4
Emails/Attachments   PILGRIMS-0003480659            PILGRIMS-0003480660          2
Emails/Attachments   PILGRIMS-0003480662            PILGRIMS-0003480663          2
Emails/Attachments   PILGRIMS-0003480720            PILGRIMS-0003480726          6
Emails/Attachments   PILGRIMS-0003480746            PILGRIMS-0003480748          2
Emails/Attachments   PILGRIMS-0003480750            PILGRIMS-0003480755          6
Emails/Attachments   PILGRIMS-0003480761            PILGRIMS-0003480766          6
Emails/Attachments   PILGRIMS-0003480771            PILGRIMS-0003480772          2
Emails/Attachments   PILGRIMS-0003480774            PILGRIMS-0003480779          6
Emails/Attachments   PILGRIMS-0003480782            PILGRIMS-0003480785          4
Emails/Attachments   PILGRIMS-0003480787            PILGRIMS-0003480788          2
Emails/Attachments   PILGRIMS-0003480790            PILGRIMS-0003480798          8
Emails/Attachments   PILGRIMS-0003480801            PILGRIMS-0003480807          5
Emails/Attachments   PILGRIMS-0003480809            PILGRIMS-0003480813          4


                                   Page 51 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 75 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003480818            PILGRIMS-0003480821          4
Emails/Attachments   PILGRIMS-0003480827            PILGRIMS-0003480828          2
Emails/Attachments   PILGRIMS-0003480830            PILGRIMS-0003480832          2
Emails/Attachments   PILGRIMS-0003480835            PILGRIMS-0003480837          3
Emails/Attachments   PILGRIMS-0003480840            PILGRIMS-0003480841          2
Emails/Attachments   PILGRIMS-0003480844            PILGRIMS-0003480851          6
Emails/Attachments   PILGRIMS-0003480856            PILGRIMS-0003480857          2
Emails/Attachments   PILGRIMS-0003481065            PILGRIMS-0003481068          4
Emails/Attachments   PILGRIMS-0003481070            PILGRIMS-0003481071          2
Emails/Attachments   PILGRIMS-0003481074            PILGRIMS-0003481085          9
Emails/Attachments   PILGRIMS-0003481087            PILGRIMS-0003481095          8
Emails/Attachments   PILGRIMS-0003481098            PILGRIMS-0003481099          2
Emails/Attachments   PILGRIMS-0003481101            PILGRIMS-0003481102          2
Emails/Attachments   PILGRIMS-0003481106            PILGRIMS-0003481111          6
Emails/Attachments   PILGRIMS-0003481114            PILGRIMS-0003481115          2
Emails/Attachments   PILGRIMS-0003481320            PILGRIMS-0003481323          2
Emails/Attachments   PILGRIMS-0003481325            PILGRIMS-0003481326          2
Emails/Attachments   PILGRIMS-0003481328            PILGRIMS-0003481329          2
Emails/Attachments   PILGRIMS-0003481333            PILGRIMS-0003481334          2
Emails/Attachments   PILGRIMS-0003481337            PILGRIMS-0003481340          4
Emails/Attachments   PILGRIMS-0003481345            PILGRIMS-0003481351          6
Emails/Attachments   PILGRIMS-0003481369            PILGRIMS-0003481376          7
Emails/Attachments   PILGRIMS-0003481378            PILGRIMS-0003481379          2
Emails/Attachments   PILGRIMS-0003481382            PILGRIMS-0003481388          7
Emails/Attachments   PILGRIMS-0003481393            PILGRIMS-0003481403          8
Emails/Attachments   PILGRIMS-0003481502            PILGRIMS-0003481505          4
Emails/Attachments   PILGRIMS-0003481508            PILGRIMS-0003481511          4
Emails/Attachments   PILGRIMS-0003481514            PILGRIMS-0003481515          2
Emails/Attachments   PILGRIMS-0003481518            PILGRIMS-0003481529         11
Emails/Attachments   PILGRIMS-0003481531            PILGRIMS-0003481532          2
Emails/Attachments   PILGRIMS-0003481534            PILGRIMS-0003481535          2
Emails/Attachments   PILGRIMS-0003481537            PILGRIMS-0003481540          4
Emails/Attachments   PILGRIMS-0003481542            PILGRIMS-0003481544          2
Emails/Attachments   PILGRIMS-0003481546            PILGRIMS-0003481571         25
Emails/Attachments   PILGRIMS-0003481574            PILGRIMS-0003481583         10
Emails/Attachments   PILGRIMS-0003481585            PILGRIMS-0003481586          2
Emails/Attachments   PILGRIMS-0003481590            PILGRIMS-0003481594          5
Emails/Attachments   PILGRIMS-0003481596            PILGRIMS-0003481601          5
Emails/Attachments   PILGRIMS-0003481606            PILGRIMS-0003481607          2
Emails/Attachments   PILGRIMS-0003481609            PILGRIMS-0003481610          2
Emails/Attachments   PILGRIMS-0003481613            PILGRIMS-0003481631         15
Emails/Attachments   PILGRIMS-0003481634            PILGRIMS-0003481638          4
Emails/Attachments   PILGRIMS-0003481643            PILGRIMS-0003481644          2
Emails/Attachments   PILGRIMS-0003481646            PILGRIMS-0003481649          4
Emails/Attachments   PILGRIMS-0003481738            PILGRIMS-0003481741          4
Emails/Attachments   PILGRIMS-0003481746            PILGRIMS-0003481747          2


                                   Page 52 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 76 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003481750            PILGRIMS-0003481751          2
Emails/Attachments   PILGRIMS-0003481753            PILGRIMS-0003481758          6
Emails/Attachments   PILGRIMS-0003481761            PILGRIMS-0003481770          8
Emails/Attachments   PILGRIMS-0003481772            PILGRIMS-0003481783         12
Emails/Attachments   PILGRIMS-0003481788            PILGRIMS-0003481791          2
Emails/Attachments   PILGRIMS-0003481793            PILGRIMS-0003481796          2
Emails/Attachments   PILGRIMS-0003481799            PILGRIMS-0003481802          4
Emails/Attachments   PILGRIMS-0003481804            PILGRIMS-0003481805          2
Emails/Attachments   PILGRIMS-0003481807            PILGRIMS-0003481820          5
Emails/Attachments   PILGRIMS-0003482027            PILGRIMS-0003482029          2
Emails/Attachments   PILGRIMS-0003482032            PILGRIMS-0003482036          5
Emails/Attachments   PILGRIMS-0003482039            PILGRIMS-0003482049          9
Emails/Attachments   PILGRIMS-0003482051            PILGRIMS-0003482057          5
Emails/Attachments   PILGRIMS-0003482059            PILGRIMS-0003482070          8
Emails/Attachments   PILGRIMS-0003482072            PILGRIMS-0003482074          3
Emails/Attachments   PILGRIMS-0003482078            PILGRIMS-0003482084          4
Emails/Attachments   PILGRIMS-0003482086            PILGRIMS-0003482089          2
Emails/Attachments   PILGRIMS-0003482091            PILGRIMS-0003482093          2
Emails/Attachments   PILGRIMS-0003482299            PILGRIMS-0003482302          4
Emails/Attachments   PILGRIMS-0003482306            PILGRIMS-0003482307          2
Emails/Attachments   PILGRIMS-0003482310            PILGRIMS-0003482316          6
Emails/Attachments   PILGRIMS-0003482388            PILGRIMS-0003482394          6
Emails/Attachments   PILGRIMS-0003482396            PILGRIMS-0003482400          5
Emails/Attachments   PILGRIMS-0003482404            PILGRIMS-0003482408          4
Emails/Attachments   PILGRIMS-0003482411            PILGRIMS-0003482420          9
Emails/Attachments   PILGRIMS-0003482422            PILGRIMS-0003482423          2
Emails/Attachments   PILGRIMS-0003482425            PILGRIMS-0003482432          6
Emails/Attachments   PILGRIMS-0003482434            PILGRIMS-0003482452         11
Emails/Attachments   PILGRIMS-0003482658            PILGRIMS-0003482661          2
Emails/Attachments   PILGRIMS-0003482663            PILGRIMS-0003482667          5
Emails/Attachments   PILGRIMS-0003482669            PILGRIMS-0003482670          2
Emails/Attachments   PILGRIMS-0003482672            PILGRIMS-0003482676          4
Emails/Attachments   PILGRIMS-0003482681            PILGRIMS-0003482682          2
Emails/Attachments   PILGRIMS-0003482685            PILGRIMS-0003482686          2
Emails/Attachments   PILGRIMS-0003482690            PILGRIMS-0003482697          8
Emails/Attachments   PILGRIMS-0003482703            PILGRIMS-0003482704          2
Emails/Attachments   PILGRIMS-0003482707            PILGRIMS-0003482710          4
Emails/Attachments   PILGRIMS-0003482712            PILGRIMS-0003482719          6
Emails/Attachments   PILGRIMS-0003482721            PILGRIMS-0003482722          2
Emails/Attachments   PILGRIMS-0003482724            PILGRIMS-0003482725          2
Emails/Attachments   PILGRIMS-0003482729            PILGRIMS-0003482741          8
Emails/Attachments   PILGRIMS-0003482913            PILGRIMS-0003482916          3
Emails/Attachments   PILGRIMS-0003482921            PILGRIMS-0003482922          2
Emails/Attachments   PILGRIMS-0003482926            PILGRIMS-0003482929          4
Emails/Attachments   PILGRIMS-0003482931            PILGRIMS-0003482932          2
Emails/Attachments   PILGRIMS-0003482936            PILGRIMS-0003482942          6


                                   Page 53 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 77 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003482944            PILGRIMS-0003482945          2
Emails/Attachments   PILGRIMS-0003482947            PILGRIMS-0003482949          2
Emails/Attachments   PILGRIMS-0003482951            PILGRIMS-0003482961          9
Emails/Attachments   PILGRIMS-0003482967            PILGRIMS-0003482975          6
Emails/Attachments   PILGRIMS-0003482977            PILGRIMS-0003482993         12
Emails/Attachments   PILGRIMS-0003482995            PILGRIMS-0003483010         16
Emails/Attachments   PILGRIMS-0003483016            PILGRIMS-0003483017          2
Emails/Attachments   PILGRIMS-0003483020            PILGRIMS-0003483022          3
Emails/Attachments   PILGRIMS-0003483025            PILGRIMS-0003483026          2
Emails/Attachments   PILGRIMS-0003483029            PILGRIMS-0003483031          3
Emails/Attachments   PILGRIMS-0003483035            PILGRIMS-0003483039          3
Emails/Attachments   PILGRIMS-0003483041            PILGRIMS-0003483042          2
Emails/Attachments   PILGRIMS-0003483044            PILGRIMS-0003483045          2
Emails/Attachments   PILGRIMS-0003483048            PILGRIMS-0003483075          8
Emails/Attachments   PILGRIMS-0003483078            PILGRIMS-0003483115         16
Emails/Attachments   PILGRIMS-0003483119            PILGRIMS-0003483121          2
Emails/Attachments   PILGRIMS-0003483124            PILGRIMS-0003483153          8
Emails/Attachments   PILGRIMS-0003483155            PILGRIMS-0003483187         16
Emails/Attachments   PILGRIMS-0003483222            PILGRIMS-0003483238          4
Emails/Attachments   PILGRIMS-0003483276            PILGRIMS-0003483277          2
Emails/Attachments   PILGRIMS-0003483279            PILGRIMS-0003483280          2
Emails/Attachments   PILGRIMS-0003483282            PILGRIMS-0003483283          2
Emails/Attachments   PILGRIMS-0003483287            PILGRIMS-0003483293          6
Emails/Attachments   PILGRIMS-0003483296            PILGRIMS-0003483297          2
Emails/Attachments   PILGRIMS-0003483300            PILGRIMS-0003483305          6
Emails/Attachments   PILGRIMS-0003483308            PILGRIMS-0003483310          2
Emails/Attachments   PILGRIMS-0003483312            PILGRIMS-0003483315          4
Emails/Attachments   PILGRIMS-0003483318            PILGRIMS-0003483323          4
Emails/Attachments   PILGRIMS-0003483325            PILGRIMS-0003483329          4
Emails/Attachments   PILGRIMS-0003483331            PILGRIMS-0003483334          4
Emails/Attachments   PILGRIMS-0003483338            PILGRIMS-0003483343          4
Emails/Attachments   PILGRIMS-0003483345            PILGRIMS-0003483358         10
Emails/Attachments   PILGRIMS-0003483360            PILGRIMS-0003483360          1
Emails/Attachments   PILGRIMS-0003483362            PILGRIMS-0003483363          1
Emails/Attachments   PILGRIMS-0003483365            PILGRIMS-0003483372          6
Emails/Attachments   PILGRIMS-0003483374            PILGRIMS-0003483376          3
Emails/Attachments   PILGRIMS-0003483396            PILGRIMS-0003483407          8
Emails/Attachments   PILGRIMS-0003483409            PILGRIMS-0003483410          2
Emails/Attachments   PILGRIMS-0003483413            PILGRIMS-0003483415          3
Emails/Attachments   PILGRIMS-0003483417            PILGRIMS-0003483421          4
Emails/Attachments   PILGRIMS-0003483424            PILGRIMS-0003483427          4
Emails/Attachments   PILGRIMS-0003483431            PILGRIMS-0003483432          2
Emails/Attachments   PILGRIMS-0003483435            PILGRIMS-0003483436          2
Emails/Attachments   PILGRIMS-0003483438            PILGRIMS-0003483439          2
Emails/Attachments   PILGRIMS-0003483441            PILGRIMS-0003483442          2
Emails/Attachments   PILGRIMS-0003483445            PILGRIMS-0003483467         14


                                   Page 54 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 78 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003483470            PILGRIMS-0003483477           5
Emails/Attachments   PILGRIMS-0003483480            PILGRIMS-0003483484           4
Emails/Attachments   PILGRIMS-0003483486            PILGRIMS-0003483487           2
Emails/Attachments   PILGRIMS-0003483489            PILGRIMS-0003483574          39
Emails/Attachments   PILGRIMS-0003483577            PILGRIMS-0003483673          52
Emails/Attachments   PILGRIMS-0003483841            PILGRIMS-0003484228         198
Emails/Attachments   PILGRIMS-0003484231            PILGRIMS-0003484573         193
Emails/Attachments   PILGRIMS-0003484587            PILGRIMS-0003491651        1,928
Emails/Attachments   PILGRIMS-0003491653            PILGRIMS-0003492880         359
Emails/Attachments   PILGRIMS-0003492891            PILGRIMS-0003493274          98
Emails/Attachments   PILGRIMS-0003493310            PILGRIMS-0003493489          87
Emails/Attachments   PILGRIMS-0003493492            PILGRIMS-0003497641        1,085
Emails/Attachments   PILGRIMS-0003497653            PILGRIMS-0003497764          41
Emails/Attachments   PILGRIMS-0003497766            PILGRIMS-0003500586         875
Emails/Attachments   PILGRIMS-0003500588            PILGRIMS-0003502210         535
Emails/Attachments   PILGRIMS-0003502253            PILGRIMS-0003506181        1,237
Emails/Attachments   PILGRIMS-0003506275            PILGRIMS-0003506734         123
Emails/Attachments   PILGRIMS-0003506736            PILGRIMS-0003506851          30
Emails/Attachments   PILGRIMS-0003506871            PILGRIMS-0003508926         477
Emails/Attachments   PILGRIMS-0003508945            PILGRIMS-0003509550         296
Emails/Attachments   PILGRIMS-0003509552            PILGRIMS-0003510449         346
Emails/Attachments   PILGRIMS-0003510491            PILGRIMS-0003512941         813
Emails/Attachments   PILGRIMS-0003513083            PILGRIMS-0003520713        2,503
Emails/Attachments   PILGRIMS-0003520718            PILGRIMS-0003523880         968
Emails/Attachments   PILGRIMS-0003523952            PILGRIMS-0003523963           2
Emails/Attachments   PILGRIMS-0003524036            PILGRIMS-0003527027        1,117
Emails/Attachments   PILGRIMS-0003527070            PILGRIMS-0003527954         198
Emails/Attachments   PILGRIMS-0003527960            PILGRIMS-0003532870         603
Emails/Attachments   PILGRIMS-0003533014            PILGRIMS-0003533066           4
Emails/Attachments   PILGRIMS-0003533124            PILGRIMS-0003533181           4
Emails/Attachments   PILGRIMS-0003533239            PILGRIMS-0003533296           4
Emails/Attachments   PILGRIMS-0003533354            PILGRIMS-0003541767        2,647
Emails/Attachments   PILGRIMS-0003541780            PILGRIMS-0003542178         108
Emails/Attachments   PILGRIMS-0003542206            PILGRIMS-0003543884         513
Emails/Attachments   PILGRIMS-0003543897            PILGRIMS-0003544921         215
Emails/Attachments   PILGRIMS-0003544944            PILGRIMS-0003550341        1,456
Emails/Attachments   PILGRIMS-0003550352            PILGRIMS-0003552450         560
Emails/Attachments   PILGRIMS-0003552452            PILGRIMS-0003554839         571
Emails/Attachments   PILGRIMS-0003554860            PILGRIMS-0003557968        1,179
Emails/Attachments   PILGRIMS-0003557987            PILGRIMS-0003559304         252
Emails/Attachments   PILGRIMS-0003559337            PILGRIMS-0003560313         207
Emails/Attachments   PILGRIMS-0003560329            PILGRIMS-0003560834         110
Emails/Attachments   PILGRIMS-0003560850            PILGRIMS-0003561770         136
Emails/Attachments   PILGRIMS-0003561795            PILGRIMS-0003562550          92
Emails/Attachments   PILGRIMS-0003562552            PILGRIMS-0003566342        1,159
Emails/Attachments   PILGRIMS-0003566344            PILGRIMS-0003566918         312


                                   Page 55 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 79 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003566920            PILGRIMS-0003577782        4,845
Emails/Attachments   PILGRIMS-0003577784            PILGRIMS-0003580808        1,880
Emails/Attachments   PILGRIMS-0003580810            PILGRIMS-0003581516         190
Emails/Attachments   PILGRIMS-0003581518            PILGRIMS-0003581756         159
Emails/Attachments   PILGRIMS-0003581763            PILGRIMS-0003581893         103
Emails/Attachments   PILGRIMS-0003581896            PILGRIMS-0003581990          50
Emails/Attachments   PILGRIMS-0003581992            PILGRIMS-0003582064          41
Emails/Attachments   PILGRIMS-0003582066            PILGRIMS-0003582067           2
Emails/Attachments   PILGRIMS-0003582069            PILGRIMS-0003582079          10
Emails/Attachments   PILGRIMS-0003582082            PILGRIMS-0003582097          15
Emails/Attachments   PILGRIMS-0003582099            PILGRIMS-0003582266          60
Emails/Attachments   PILGRIMS-0003582268            PILGRIMS-0003582539          53
Emails/Attachments   PILGRIMS-0003582541            PILGRIMS-0003582584          17
Emails/Attachments   PILGRIMS-0003582586            PILGRIMS-0003582691          30
Emails/Attachments   PILGRIMS-0003582693            PILGRIMS-0003582919          72
Emails/Attachments   PILGRIMS-0003582943            PILGRIMS-0003582966           6
Emails/Attachments   PILGRIMS-0003582973            PILGRIMS-0003583228         124
Emails/Attachments   PILGRIMS-0003583244            PILGRIMS-0003584136         547
Emails/Attachments   PILGRIMS-0003584160            PILGRIMS-0003584314          77
Emails/Attachments   PILGRIMS-0003584350            PILGRIMS-0003585159         450
Emails/Attachments   PILGRIMS-0003585161            PILGRIMS-0003587721        1,014
Emails/Attachments   PILGRIMS-0003587736            PILGRIMS-0003588719          84
Emails/Attachments   PILGRIMS-0003588736            PILGRIMS-0003589914          55
Emails/Attachments   PILGRIMS-0003589923            PILGRIMS-0003590368          74
Emails/Attachments   PILGRIMS-0003590427            PILGRIMS-0003590765          38
Emails/Attachments   PILGRIMS-0003590807            PILGRIMS-0003591694         202
Emails/Attachments   PILGRIMS-0003591704            PILGRIMS-0003592137         115
Emails/Attachments   PILGRIMS-0003592179            PILGRIMS-0003592668         151
Emails/Attachments   PILGRIMS-0003592670            PILGRIMS-0003593246         254
Emails/Attachments   PILGRIMS-0003593257            PILGRIMS-0003593315          17
Emails/Attachments   PILGRIMS-0003593383            PILGRIMS-0003594065         254
Emails/Attachments   PILGRIMS-0003594088            PILGRIMS-0003594815         216
Emails/Attachments   PILGRIMS-0003594911            PILGRIMS-0003595167          48
Emails/Attachments   PILGRIMS-0003595265            PILGRIMS-0003596080         111
Emails/Attachments   PILGRIMS-0003596082            PILGRIMS-0003596124           8
Emails/Attachments   PILGRIMS-0003596219            PILGRIMS-0003596635         133
Emails/Attachments   PILGRIMS-0003596679            PILGRIMS-0003596684           6
Emails/Attachments   PILGRIMS-0003596726            PILGRIMS-0003597711         233
Emails/Attachments   PILGRIMS-0003597853            PILGRIMS-0003599138         376
Emails/Attachments   PILGRIMS-0003599168            PILGRIMS-0003599708         164
Emails/Attachments   PILGRIMS-0003599732            PILGRIMS-0003599828           6
Emails/Attachments   PILGRIMS-0003599935            PILGRIMS-0003600226          12
Emails/Attachments   PILGRIMS-0003600302            PILGRIMS-0003600304           2
Emails/Attachments   PILGRIMS-0003600315            PILGRIMS-0003600737          57
Emails/Attachments   PILGRIMS-0003600809            PILGRIMS-0003602009         221
Emails/Attachments   PILGRIMS-0003602109            PILGRIMS-0003602272           8


                                   Page 56 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 80 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003602277            PILGRIMS-0003602654         45
Emails/Attachments   PILGRIMS-0003602657            PILGRIMS-0003602722         14
Emails/Attachments   PILGRIMS-0003602748            PILGRIMS-0003603325         152
Emails/Attachments   PILGRIMS-0003603373            PILGRIMS-0003603643         35
Emails/Attachments   PILGRIMS-0003603651            PILGRIMS-0003603658          2
Emails/Attachments   PILGRIMS-0003603666            PILGRIMS-0003603773         51
Emails/Attachments   PILGRIMS-0003603860            PILGRIMS-0003604033          6
Emails/Attachments   PILGRIMS-0003604055            PILGRIMS-0003604374         38
Emails/Attachments   PILGRIMS-0003604379            PILGRIMS-0003604408          7
Emails/Attachments   PILGRIMS-0003604410            PILGRIMS-0003604452          6
Emails/Attachments   PILGRIMS-0003604507            PILGRIMS-0003604602          4
Emails/Attachments   PILGRIMS-0003604613            PILGRIMS-0003604641          6
Emails/Attachments   PILGRIMS-0003604694            PILGRIMS-0003604717          7
Emails/Attachments   PILGRIMS-0003604729            PILGRIMS-0003604736          4
Emails/Attachments   PILGRIMS-0003604882            PILGRIMS-0003605158         37
Emails/Attachments   PILGRIMS-0003605336            PILGRIMS-0003605350         10
Emails/Attachments   PILGRIMS-0003605354            PILGRIMS-0003605412         23
Emails/Attachments   PILGRIMS-0003605515            PILGRIMS-0003605626          9
Emails/Attachments   PILGRIMS-0003605673            PILGRIMS-0003606073         133
Emails/Attachments   PILGRIMS-0003606150            PILGRIMS-0003606528         146
Emails/Attachments   PILGRIMS-0003606593            PILGRIMS-0003606734         46
Emails/Attachments   PILGRIMS-0003606738            PILGRIMS-0003606789         14
Emails/Attachments   PILGRIMS-0003606885            PILGRIMS-0003607348         80
Emails/Attachments   PILGRIMS-0003607425            PILGRIMS-0003607791         45
Emails/Attachments   PILGRIMS-0003607793            PILGRIMS-0003607807          2
Emails/Attachments   PILGRIMS-0003607812            PILGRIMS-0003607888          8
Emails/Attachments   PILGRIMS-0003608069            PILGRIMS-0003608281          7
Emails/Attachments   PILGRIMS-0003608326            PILGRIMS-0003608637         29
Emails/Attachments   PILGRIMS-0003608670            PILGRIMS-0003608691          5
Emails/Attachments   PILGRIMS-0003608696            PILGRIMS-0003608812         20
Emails/Attachments   PILGRIMS-0003608891            PILGRIMS-0003608978         38
Emails/Attachments   PILGRIMS-0003608980            PILGRIMS-0003609160         15
Emails/Attachments   PILGRIMS-0003609218            PILGRIMS-0003609423         18
Emails/Attachments   PILGRIMS-0003609442            PILGRIMS-0003609462          3
Emails/Attachments   PILGRIMS-0003609637            PILGRIMS-0003609641          4
Emails/Attachments   PILGRIMS-0003609677            PILGRIMS-0003610015         56
Emails/Attachments   PILGRIMS-0003610116            PILGRIMS-0003610283         29
Emails/Attachments   PILGRIMS-0003610288            PILGRIMS-0003610299          9
Emails/Attachments   PILGRIMS-0003610390            PILGRIMS-0003610500         14
Emails/Attachments   PILGRIMS-0003610502            PILGRIMS-0003610619         33
Emails/Attachments   PILGRIMS-0003610622            PILGRIMS-0003610628          5
Emails/Attachments   PILGRIMS-0003610631            PILGRIMS-0003610663          9
Emails/Attachments   PILGRIMS-0003610670            PILGRIMS-0003610910         88
Emails/Attachments   PILGRIMS-0003610912            PILGRIMS-0003611121         44
Emails/Attachments   PILGRIMS-0003611281            PILGRIMS-0003611287          6
Emails/Attachments   PILGRIMS-0003611294            PILGRIMS-0003611297          1


                                   Page 57 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 81 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003611313            PILGRIMS-0003611380           5
Emails/Attachments   PILGRIMS-0003611389            PILGRIMS-0003611486          23
Emails/Attachments   PILGRIMS-0003611508            PILGRIMS-0003615087        1,265
Emails/Attachments   PILGRIMS-0003615122            PILGRIMS-0003616453         759
Emails/Attachments   PILGRIMS-0003616455            PILGRIMS-0003616591         131
Emails/Attachments   PILGRIMS-0003616595            PILGRIMS-0003616679          78
Emails/Attachments   PILGRIMS-0003616685            PILGRIMS-0003616696          11
Emails/Attachments   PILGRIMS-0003616699            PILGRIMS-0003616700           2
Emails/Attachments   PILGRIMS-0003616702            PILGRIMS-0003616932         139
Emails/Attachments   PILGRIMS-0003616934            PILGRIMS-0003616941           8
Emails/Attachments   PILGRIMS-0003616943            PILGRIMS-0003617023          28
Emails/Attachments   PILGRIMS-0003617026            PILGRIMS-0003617031           6
Emails/Attachments   PILGRIMS-0003617033            PILGRIMS-0003617098          63
Emails/Attachments   PILGRIMS-0003617100            PILGRIMS-0003617361         243
Emails/Attachments   PILGRIMS-0003617363            PILGRIMS-0003617370           8
Emails/Attachments   PILGRIMS-0003617372            PILGRIMS-0003617515         103
Emails/Attachments   PILGRIMS-0003617520            PILGRIMS-0003617591          21
Emails/Attachments   PILGRIMS-0003617593            PILGRIMS-0003617705          83
Emails/Attachments   PILGRIMS-0003617707            PILGRIMS-0003617727          20
Emails/Attachments   PILGRIMS-0003617729            PILGRIMS-0003618411          79
Emails/Attachments   PILGRIMS-0003618414            PILGRIMS-0003618423          10
Emails/Attachments   PILGRIMS-0003618426            PILGRIMS-0003618429           3
Emails/Attachments   PILGRIMS-0003618431            PILGRIMS-0003618542          27
Emails/Attachments   PILGRIMS-0003618560            PILGRIMS-0003618586          10
Emails/Attachments   PILGRIMS-0003618588            PILGRIMS-0003618638           6
Emails/Attachments   PILGRIMS-0003618640            PILGRIMS-0003618641           2
Emails/Attachments   PILGRIMS-0003618643            PILGRIMS-0003618657          11
Emails/Attachments   PILGRIMS-0003618660            PILGRIMS-0003618665           4
Emails/Attachments   PILGRIMS-0003618667            PILGRIMS-0003618668           2
Emails/Attachments   PILGRIMS-0003618670            PILGRIMS-0003618748          30
Emails/Attachments   PILGRIMS-0003618750            PILGRIMS-0003618757           8
Emails/Attachments   PILGRIMS-0003618759            PILGRIMS-0003618766           7
Emails/Attachments   PILGRIMS-0003618768            PILGRIMS-0003618795          28
Emails/Attachments   PILGRIMS-0003618797            PILGRIMS-0003618947         100
Emails/Attachments   PILGRIMS-0003618949            PILGRIMS-0003618955           7
Emails/Attachments   PILGRIMS-0003618957            PILGRIMS-0003618988          23
Emails/Attachments   PILGRIMS-0003618990            PILGRIMS-0003618995           6
Emails/Attachments   PILGRIMS-0003618997            PILGRIMS-0003619038          42
Emails/Attachments   PILGRIMS-0003619040            PILGRIMS-0003619046           7
Emails/Attachments   PILGRIMS-0003619048            PILGRIMS-0003619163          61
Emails/Attachments   PILGRIMS-0003619165            PILGRIMS-0003619189          11
Emails/Attachments   PILGRIMS-0003619191            PILGRIMS-0003619228          22
Emails/Attachments   PILGRIMS-0003619230            PILGRIMS-0003619264          27
Emails/Attachments   PILGRIMS-0003619266            PILGRIMS-0003619439          47
Emails/Attachments   PILGRIMS-0003619441            PILGRIMS-0003619705          11
Emails/Attachments   PILGRIMS-0003619707            PILGRIMS-0003619711           4


                                   Page 58 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 82 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003619713            PILGRIMS-0003619836         77
Emails/Attachments   PILGRIMS-0003619842            PILGRIMS-0003619932         76
Emails/Attachments   PILGRIMS-0003619934            PILGRIMS-0003620058         54
Emails/Attachments   PILGRIMS-0003620075            PILGRIMS-0003620201         97
Emails/Attachments   PILGRIMS-0003620203            PILGRIMS-0003620443         84
Emails/Attachments   PILGRIMS-0003620445            PILGRIMS-0003620551         62
Emails/Attachments   PILGRIMS-0003620553            PILGRIMS-0003620615         52
Emails/Attachments   PILGRIMS-0003620617            PILGRIMS-0003620823         135
Emails/Attachments   PILGRIMS-0003620825            PILGRIMS-0003620882         18
Emails/Attachments   PILGRIMS-0003620894            PILGRIMS-0003620962         44
Emails/Attachments   PILGRIMS-0003620966            PILGRIMS-0003621100         60
Emails/Attachments   PILGRIMS-0003621106            PILGRIMS-0003621150         37
Emails/Attachments   PILGRIMS-0003621154            PILGRIMS-0003621223         55
Emails/Attachments   PILGRIMS-0003621225            PILGRIMS-0003621656         211
Emails/Attachments   PILGRIMS-0003621659            PILGRIMS-0003621672         11
Emails/Attachments   PILGRIMS-0003621674            PILGRIMS-0003621714         35
Emails/Attachments   PILGRIMS-0003621720            PILGRIMS-0003621721          2
Emails/Attachments   PILGRIMS-0003621724            PILGRIMS-0003621729          6
Emails/Attachments   PILGRIMS-0003621732            PILGRIMS-0003621733          2
Emails/Attachments   PILGRIMS-0003621741            PILGRIMS-0003621744          4
Emails/Attachments   PILGRIMS-0003621750            PILGRIMS-0003621751          2
Emails/Attachments   PILGRIMS-0003621755            PILGRIMS-0003621770          9
Emails/Attachments   PILGRIMS-0003621776            PILGRIMS-0003621777          1
Emails/Attachments   PILGRIMS-0003621780            PILGRIMS-0003621793         12
Emails/Attachments   PILGRIMS-0003621798            PILGRIMS-0003621801          3
Emails/Attachments   PILGRIMS-0003621811            PILGRIMS-0003621821         11
Emails/Attachments   PILGRIMS-0003621824            PILGRIMS-0003621825          2
Emails/Attachments   PILGRIMS-0003621829            PILGRIMS-0003621857         17
Emails/Attachments   PILGRIMS-0003621859            PILGRIMS-0003621911         17
Emails/Attachments   PILGRIMS-0003621914            PILGRIMS-0003621980         58
Emails/Attachments   PILGRIMS-0003621987            PILGRIMS-0003622016         29
Emails/Attachments   PILGRIMS-0003622019            PILGRIMS-0003622137         99
Emails/Attachments   PILGRIMS-0003622142            PILGRIMS-0003622152         11
Emails/Attachments   PILGRIMS-0003622154            PILGRIMS-0003622214         22
Emails/Attachments   PILGRIMS-0003622217            PILGRIMS-0003622243         24
Emails/Attachments   PILGRIMS-0003622246            PILGRIMS-0003622265         16
Emails/Attachments   PILGRIMS-0003622268            PILGRIMS-0003622283         16
Emails/Attachments   PILGRIMS-0003622285            PILGRIMS-0003622290          4
Emails/Attachments   PILGRIMS-0003622295            PILGRIMS-0003622405         90
Emails/Attachments   PILGRIMS-0003622410            PILGRIMS-0003622419          8
Emails/Attachments   PILGRIMS-0003622422            PILGRIMS-0003622459          6
Emails/Attachments   PILGRIMS-0003622461            PILGRIMS-0003622462          2
Emails/Attachments   PILGRIMS-0003622464            PILGRIMS-0003622471          3
Emails/Attachments   PILGRIMS-0003622473            PILGRIMS-0003622474          2
Emails/Attachments   PILGRIMS-0003622477            PILGRIMS-0003622488          9
Emails/Attachments   PILGRIMS-0003622490            PILGRIMS-0003622575         52


                                   Page 59 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 83 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003622578            PILGRIMS-0003622581          4
Emails/Attachments   PILGRIMS-0003622636            PILGRIMS-0003622656         17
Emails/Attachments   PILGRIMS-0003622665            PILGRIMS-0003622666          2
Emails/Attachments   PILGRIMS-0003622670            PILGRIMS-0003622696         13
Emails/Attachments   PILGRIMS-0003622698            PILGRIMS-0003622700          2
Emails/Attachments   PILGRIMS-0003622703            PILGRIMS-0003622713         11
Emails/Attachments   PILGRIMS-0003622715            PILGRIMS-0003622744         29
Emails/Attachments   PILGRIMS-0003622747            PILGRIMS-0003622751          4
Emails/Attachments   PILGRIMS-0003622778            PILGRIMS-0003622799         19
Emails/Attachments   PILGRIMS-0003622802            PILGRIMS-0003622856         20
Emails/Attachments   PILGRIMS-0003622859            PILGRIMS-0003622909         17
Emails/Attachments   PILGRIMS-0003622925            PILGRIMS-0003622926          2
Emails/Attachments   PILGRIMS-0003622939            PILGRIMS-0003623029         43
Emails/Attachments   PILGRIMS-0003623034            PILGRIMS-0003623972         299
Emails/Attachments   PILGRIMS-0003623987            PILGRIMS-0003626540         817
Emails/Attachments   PILGRIMS-0003626854            PILGRIMS-0003626992         54
Emails/Attachments   PILGRIMS-0003626998            PILGRIMS-0003627241         172
Emails/Attachments   PILGRIMS-0003627243            PILGRIMS-0003627268         22
Emails/Attachments   PILGRIMS-0003627271            PILGRIMS-0003627292         18
Emails/Attachments   PILGRIMS-0003627295            PILGRIMS-0003627319         11
Emails/Attachments   PILGRIMS-0003627322            PILGRIMS-0003627462         94
Emails/Attachments   PILGRIMS-0003627466            PILGRIMS-0003628003         303
Emails/Attachments   PILGRIMS-0003628006            PILGRIMS-0003628108         68
Emails/Attachments   PILGRIMS-0003628118            PILGRIMS-0003628356         118
Emails/Attachments   PILGRIMS-0003628363            PILGRIMS-0003628367          4
Emails/Attachments   PILGRIMS-0003628369            PILGRIMS-0003628411         15
Emails/Attachments   PILGRIMS-0003628413            PILGRIMS-0003628435          8
Emails/Attachments   PILGRIMS-0003628441            PILGRIMS-0003628527         31
Emails/Attachments   PILGRIMS-0003628540            PILGRIMS-0003628707         65
Emails/Attachments   PILGRIMS-0003628718            PILGRIMS-0003628790         49
Emails/Attachments   PILGRIMS-0003628792            PILGRIMS-0003629272         179
Emails/Attachments   PILGRIMS-0003629292            PILGRIMS-0003629414         54
Emails/Attachments   PILGRIMS-0003629436            PILGRIMS-0003629475         30
Emails/Attachments   PILGRIMS-0003629479            PILGRIMS-0003629629         58
Emails/Attachments   PILGRIMS-0003629642            PILGRIMS-0003629707         22
Emails/Attachments   PILGRIMS-0003629710            PILGRIMS-0003629727         14
Emails/Attachments   PILGRIMS-0003629779            PILGRIMS-0003629833         35
Emails/Attachments   PILGRIMS-0003629835            PILGRIMS-0003629849         11
Emails/Attachments   PILGRIMS-0003629853            PILGRIMS-0003630439         233
Emails/Attachments   PILGRIMS-0003630441            PILGRIMS-0003630818         126
Emails/Attachments   PILGRIMS-0003630864            PILGRIMS-0003631253         103
Emails/Attachments   PILGRIMS-0003631255            PILGRIMS-0003631908         237
Emails/Attachments   PILGRIMS-0003631911            PILGRIMS-0003631912          2
Emails/Attachments   PILGRIMS-0003631921            PILGRIMS-0003631932          2
Emails/Attachments   PILGRIMS-0003631946            PILGRIMS-0003631959          2
Emails/Attachments   PILGRIMS-0003632196            PILGRIMS-0003632198          2


                                   Page 60 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 84 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003632252            PILGRIMS-0003632255          4
Emails/Attachments   PILGRIMS-0003632510            PILGRIMS-0003632511          2
Emails/Attachments   PILGRIMS-0003632717            PILGRIMS-0003632718          2
Emails/Attachments   PILGRIMS-0003632801            PILGRIMS-0003632803          3
Emails/Attachments   PILGRIMS-0003633015            PILGRIMS-0003634166         303
Emails/Attachments   PILGRIMS-0003646928            PILGRIMS-0003647690         41
Emails/Attachments   PILGRIMS-0003647692            PILGRIMS-0003650325         34
Emails/Attachments   PILGRIMS-0003650327            PILGRIMS-0003656159         65
Emails/Attachments   PILGRIMS-0003656161            PILGRIMS-0003656397         22
Emails/Attachments   PILGRIMS-0003656400            PILGRIMS-0003656754         58
Emails/Attachments   PILGRIMS-0003656783            PILGRIMS-0003656825         38
Emails/Attachments   PILGRIMS-0003656829            PILGRIMS-0003656852         21
Emails/Attachments   PILGRIMS-0003656854            PILGRIMS-0003656855          2
Emails/Attachments   PILGRIMS-0003656868            PILGRIMS-0003656878         10
Emails/Attachments   PILGRIMS-0003656880            PILGRIMS-0003656886          7
Emails/Attachments   PILGRIMS-0003656889            PILGRIMS-0003656892          4
Emails/Attachments   PILGRIMS-0003656895            PILGRIMS-0003656895          1
Emails/Attachments   PILGRIMS-0003656897            PILGRIMS-0003656902          6
Emails/Attachments   PILGRIMS-0003656907            PILGRIMS-0003656911          4
Emails/Attachments   PILGRIMS-0003656916            PILGRIMS-0003656917          2
Emails/Attachments   PILGRIMS-0003656919            PILGRIMS-0003657031          2
Emails/Attachments   PILGRIMS-0003657376            PILGRIMS-0003657382          6
Emails/Attachments   PILGRIMS-0003657386            PILGRIMS-0003657389          3
Emails/Attachments   PILGRIMS-0003657392            PILGRIMS-0003657395          4
Emails/Attachments   PILGRIMS-0003657405            PILGRIMS-0003657428          4
Emails/Attachments   PILGRIMS-0003657554            PILGRIMS-0003657557          4
Emails/Attachments   PILGRIMS-0003657560            PILGRIMS-0003657561          2
Emails/Attachments   PILGRIMS-0003657564            PILGRIMS-0003657565          2
Emails/Attachments   PILGRIMS-0003657567            PILGRIMS-0003657583          7
Emails/Attachments   PILGRIMS-0003657595            PILGRIMS-0003657597          2
Emails/Attachments   PILGRIMS-0003657603            PILGRIMS-0003657606          4
Emails/Attachments   PILGRIMS-0003657608            PILGRIMS-0003657610          2
Emails/Attachments   PILGRIMS-0003657612            PILGRIMS-0003657637          5
Emails/Attachments   PILGRIMS-0003657663            PILGRIMS-0003657664          2
Emails/Attachments   PILGRIMS-0003657680            PILGRIMS-0003657685          3
Emails/Attachments   PILGRIMS-0003657687            PILGRIMS-0003657688          2
Emails/Attachments   PILGRIMS-0003657698            PILGRIMS-0003657699          2
Emails/Attachments   PILGRIMS-0003657708            PILGRIMS-0003657714          5
Emails/Attachments   PILGRIMS-0003657717            PILGRIMS-0003657720          4
Emails/Attachments   PILGRIMS-0003657722            PILGRIMS-0003657727          6
Emails/Attachments   PILGRIMS-0003657729            PILGRIMS-0003657745         16
Emails/Attachments   PILGRIMS-0003657748            PILGRIMS-0003657750          3
Emails/Attachments   PILGRIMS-0003657753            PILGRIMS-0003657754          2
Emails/Attachments   PILGRIMS-0003657765            PILGRIMS-0003657767          3
Emails/Attachments   PILGRIMS-0003657775            PILGRIMS-0003657777          2
Emails/Attachments   PILGRIMS-0003657789            PILGRIMS-0003657792          3


                                   Page 61 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 85 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003657797            PILGRIMS-0003657798          2
Emails/Attachments   PILGRIMS-0003657840            PILGRIMS-0003657842          3
Emails/Attachments   PILGRIMS-0003657845            PILGRIMS-0003657846          2
Emails/Attachments   PILGRIMS-0003657849            PILGRIMS-0003657850          2
Emails/Attachments   PILGRIMS-0003657852            PILGRIMS-0003657855          4
Emails/Attachments   PILGRIMS-0003657858            PILGRIMS-0003657865          8
Emails/Attachments   PILGRIMS-0003657868            PILGRIMS-0003657877          9
Emails/Attachments   PILGRIMS-0003657879            PILGRIMS-0003657880          2
Emails/Attachments   PILGRIMS-0003657882            PILGRIMS-0003657886          3
Emails/Attachments   PILGRIMS-0003657889            PILGRIMS-0003657890          2
Emails/Attachments   PILGRIMS-0003657892            PILGRIMS-0003657894          3
Emails/Attachments   PILGRIMS-0003657899            PILGRIMS-0003657902          3
Emails/Attachments   PILGRIMS-0003657908            PILGRIMS-0003657909          2
Emails/Attachments   PILGRIMS-0003657917            PILGRIMS-0003657919          3
Emails/Attachments   PILGRIMS-0003657921            PILGRIMS-0003657924          4
Emails/Attachments   PILGRIMS-0003657927            PILGRIMS-0003657929          3
Emails/Attachments   PILGRIMS-0003657932            PILGRIMS-0003657933          2
Emails/Attachments   PILGRIMS-0003657938            PILGRIMS-0003657940          3
Emails/Attachments   PILGRIMS-0003657948            PILGRIMS-0003657950          3
Emails/Attachments   PILGRIMS-0003657954            PILGRIMS-0003657959          6
Emails/Attachments   PILGRIMS-0003657962            PILGRIMS-0003657966          5
Emails/Attachments   PILGRIMS-0003657968            PILGRIMS-0003657987         20
Emails/Attachments   PILGRIMS-0003657992            PILGRIMS-0003657997          6
Emails/Attachments   PILGRIMS-0003658000            PILGRIMS-0003658004          5
Emails/Attachments   PILGRIMS-0003658007            PILGRIMS-0003658009          2
Emails/Attachments   PILGRIMS-0003658013            PILGRIMS-0003658020          8
Emails/Attachments   PILGRIMS-0003658022            PILGRIMS-0003658024          1
Emails/Attachments   PILGRIMS-0003658027            PILGRIMS-0003658030          4
Emails/Attachments   PILGRIMS-0003658033            PILGRIMS-0003658053          3
Emails/Attachments   PILGRIMS-0003658056            PILGRIMS-0003658082          3
Emails/Attachments   PILGRIMS-0003658084            PILGRIMS-0003658090          7
Emails/Attachments   PILGRIMS-0003658098            PILGRIMS-0003658107          9
Emails/Attachments   PILGRIMS-0003658111            PILGRIMS-0003658112          2
Emails/Attachments   PILGRIMS-0003658115            PILGRIMS-0003658117          2
Emails/Attachments   PILGRIMS-0003658120            PILGRIMS-0003658146          4
Emails/Attachments   PILGRIMS-0003658151            PILGRIMS-0003658157          7
Emails/Attachments   PILGRIMS-0003658160            PILGRIMS-0003658163          4
Emails/Attachments   PILGRIMS-0003658191            PILGRIMS-0003658192          2
Emails/Attachments   PILGRIMS-0003658194            PILGRIMS-0003658196          3
Emails/Attachments   PILGRIMS-0003658199            PILGRIMS-0003658200          2
Emails/Attachments   PILGRIMS-0003658203            PILGRIMS-0003658204          2
Emails/Attachments   PILGRIMS-0003658206            PILGRIMS-0003658213          8
Emails/Attachments   PILGRIMS-0003658215            PILGRIMS-0003658222          8
Emails/Attachments   PILGRIMS-0003658224            PILGRIMS-0003658225          2
Emails/Attachments   PILGRIMS-0003658229            PILGRIMS-0003658245         17
Emails/Attachments   PILGRIMS-0003658249            PILGRIMS-0003658328         21


                                   Page 62 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 86 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003658332            PILGRIMS-0003658335          4
Emails/Attachments   PILGRIMS-0003658337            PILGRIMS-0003658349         13
Emails/Attachments   PILGRIMS-0003658353            PILGRIMS-0003658357          2
Emails/Attachments   PILGRIMS-0003658382            PILGRIMS-0003658383          2
Emails/Attachments   PILGRIMS-0003658385            PILGRIMS-0003658438         53
Emails/Attachments   PILGRIMS-0003658442            PILGRIMS-0003658512         34
Emails/Attachments   PILGRIMS-0003658538            PILGRIMS-0003658567          5
Emails/Attachments   PILGRIMS-0003658570            PILGRIMS-0003658573          4
Emails/Attachments   PILGRIMS-0003658576            PILGRIMS-0003658578          2
Emails/Attachments   PILGRIMS-0003658580            PILGRIMS-0003658581          2
Emails/Attachments   PILGRIMS-0003658584            PILGRIMS-0003658595         12
Emails/Attachments   PILGRIMS-0003658599            PILGRIMS-0003658602          4
Emails/Attachments   PILGRIMS-0003658605            PILGRIMS-0003658610          4
Emails/Attachments   PILGRIMS-0003658612            PILGRIMS-0003658615          4
Emails/Attachments   PILGRIMS-0003658618            PILGRIMS-0003658619          2
Emails/Attachments   PILGRIMS-0003658621            PILGRIMS-0003658622          2
Emails/Attachments   PILGRIMS-0003658625            PILGRIMS-0003658731          2
Emails/Attachments   PILGRIMS-0003658734            PILGRIMS-0003658765          4
Emails/Attachments   PILGRIMS-0003658768            PILGRIMS-0003658775          7
Emails/Attachments   PILGRIMS-0003658778            PILGRIMS-0003658779          2
Emails/Attachments   PILGRIMS-0003658781            PILGRIMS-0003658790          8
Emails/Attachments   PILGRIMS-0003658795            PILGRIMS-0003658796          2
Emails/Attachments   PILGRIMS-0003658799            PILGRIMS-0003658803          4
Emails/Attachments   PILGRIMS-0003658805            PILGRIMS-0003658809          5
Emails/Attachments   PILGRIMS-0003658811            PILGRIMS-0003658820          8
Emails/Attachments   PILGRIMS-0003658822            PILGRIMS-0003658825          4
Emails/Attachments   PILGRIMS-0003658829            PILGRIMS-0003658836          8
Emails/Attachments   PILGRIMS-0003658839            PILGRIMS-0003658843          5
Emails/Attachments   PILGRIMS-0003658847            PILGRIMS-0003658860         13
Emails/Attachments   PILGRIMS-0003658862            PILGRIMS-0003658863          2
Emails/Attachments   PILGRIMS-0003658867            PILGRIMS-0003658868          2
Emails/Attachments   PILGRIMS-0003658870            PILGRIMS-0003658887         18
Emails/Attachments   PILGRIMS-0003658889            PILGRIMS-0003658890          2
Emails/Attachments   PILGRIMS-0003658892            PILGRIMS-0003658902         10
Emails/Attachments   PILGRIMS-0003658905            PILGRIMS-0003658907          3
Emails/Attachments   PILGRIMS-0003658911            PILGRIMS-0003658913          2
Emails/Attachments   PILGRIMS-0003658916            PILGRIMS-0003658929         14
Emails/Attachments   PILGRIMS-0003658932            PILGRIMS-0003658935          4
Emails/Attachments   PILGRIMS-0003658937            PILGRIMS-0003658942          6
Emails/Attachments   PILGRIMS-0003658948            PILGRIMS-0003658952          5
Emails/Attachments   PILGRIMS-0003658955            PILGRIMS-0003658961          6
Emails/Attachments   PILGRIMS-0003658963            PILGRIMS-0003658966          4
Emails/Attachments   PILGRIMS-0003658968            PILGRIMS-0003658972          4
Emails/Attachments   PILGRIMS-0003658975            PILGRIMS-0003658982          8
Emails/Attachments   PILGRIMS-0003658984            PILGRIMS-0003658985          2
Emails/Attachments   PILGRIMS-0003658987            PILGRIMS-0003659490         14


                                   Page 63 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 87 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003659492            PILGRIMS-0003659493          2
Emails/Attachments   PILGRIMS-0003659495            PILGRIMS-0003659498          4
Emails/Attachments   PILGRIMS-0003659502            PILGRIMS-0003659532         10
Emails/Attachments   PILGRIMS-0003659535            PILGRIMS-0003659536          2
Emails/Attachments   PILGRIMS-0003659538            PILGRIMS-0003659539          2
Emails/Attachments   PILGRIMS-0003659541            PILGRIMS-0003659550         10
Emails/Attachments   PILGRIMS-0003659553            PILGRIMS-0003659567         15
Emails/Attachments   PILGRIMS-0003659570            PILGRIMS-0003659579         10
Emails/Attachments   PILGRIMS-0003659582            PILGRIMS-0003659583          2
Emails/Attachments   PILGRIMS-0003659585            PILGRIMS-0003659586          2
Emails/Attachments   PILGRIMS-0003659588            PILGRIMS-0003659591          4
Emails/Attachments   PILGRIMS-0003659594            PILGRIMS-0003659595          2
Emails/Attachments   PILGRIMS-0003659597            PILGRIMS-0003659604          8
Emails/Attachments   PILGRIMS-0003659606            PILGRIMS-0003659610          5
Emails/Attachments   PILGRIMS-0003659614            PILGRIMS-0003659632         18
Emails/Attachments   PILGRIMS-0003659636            PILGRIMS-0003659640          4
Emails/Attachments   PILGRIMS-0003659642            PILGRIMS-0003659643          2
Emails/Attachments   PILGRIMS-0003659646            PILGRIMS-0003659655         10
Emails/Attachments   PILGRIMS-0003659657            PILGRIMS-0003659659          3
Emails/Attachments   PILGRIMS-0003659662            PILGRIMS-0003659671          9
Emails/Attachments   PILGRIMS-0003659674            PILGRIMS-0003659678          4
Emails/Attachments   PILGRIMS-0003659680            PILGRIMS-0003659681          2
Emails/Attachments   PILGRIMS-0003659684            PILGRIMS-0003659687          4
Emails/Attachments   PILGRIMS-0003659690            PILGRIMS-0003659691          2
Emails/Attachments   PILGRIMS-0003659694            PILGRIMS-0003659702          2
Emails/Attachments   PILGRIMS-0003659713            PILGRIMS-0003661031         26
Emails/Attachments   PILGRIMS-0003661034            PILGRIMS-0003661035          2
Emails/Attachments   PILGRIMS-0003661037            PILGRIMS-0003661041          4
Emails/Attachments   PILGRIMS-0003661046            PILGRIMS-0003661162         12
Emails/Attachments   PILGRIMS-0003661164            PILGRIMS-0003661169          6
Emails/Attachments   PILGRIMS-0003661171            PILGRIMS-0003661172          2
Emails/Attachments   PILGRIMS-0003661175            PILGRIMS-0003661184         10
Emails/Attachments   PILGRIMS-0003661186            PILGRIMS-0003661191          6
Emails/Attachments   PILGRIMS-0003661194            PILGRIMS-0003661209         14
Emails/Attachments   PILGRIMS-0003661212            PILGRIMS-0003661215          4
Emails/Attachments   PILGRIMS-0003661220            PILGRIMS-0003661221          2
Emails/Attachments   PILGRIMS-0003661230            PILGRIMS-0003661242         10
Emails/Attachments   PILGRIMS-0003661245            PILGRIMS-0003661249          5
Emails/Attachments   PILGRIMS-0003661251            PILGRIMS-0003661279         16
Emails/Attachments   PILGRIMS-0003661285            PILGRIMS-0003661286          2
Emails/Attachments   PILGRIMS-0003661290            PILGRIMS-0003661314         25
Emails/Attachments   PILGRIMS-0003661318            PILGRIMS-0003661319          2
Emails/Attachments   PILGRIMS-0003661321            PILGRIMS-0003661322          2
Emails/Attachments   PILGRIMS-0003661325            PILGRIMS-0003661334          9
Emails/Attachments   PILGRIMS-0003661336            PILGRIMS-0003661339          4
Emails/Attachments   PILGRIMS-0003661342            PILGRIMS-0003661346          4


                                   Page 64 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 88 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003661351            PILGRIMS-0003661353          3
Emails/Attachments   PILGRIMS-0003661355            PILGRIMS-0003661356          2
Emails/Attachments   PILGRIMS-0003661359            PILGRIMS-0003661370         11
Emails/Attachments   PILGRIMS-0003661372            PILGRIMS-0003661383          8
Emails/Attachments   PILGRIMS-0003661388            PILGRIMS-0003661442          6
Emails/Attachments   PILGRIMS-0003661445            PILGRIMS-0003661447          2
Emails/Attachments   PILGRIMS-0003661449            PILGRIMS-0003661453          5
Emails/Attachments   PILGRIMS-0003661456            PILGRIMS-0003661460          4
Emails/Attachments   PILGRIMS-0003661463            PILGRIMS-0003661466          4
Emails/Attachments   PILGRIMS-0003661468            PILGRIMS-0003661471          4
Emails/Attachments   PILGRIMS-0003661474            PILGRIMS-0003661484         11
Emails/Attachments   PILGRIMS-0003661486            PILGRIMS-0003661487          2
Emails/Attachments   PILGRIMS-0003661490            PILGRIMS-0003661510         20
Emails/Attachments   PILGRIMS-0003661512            PILGRIMS-0003661520          9
Emails/Attachments   PILGRIMS-0003661522            PILGRIMS-0003661523          2
Emails/Attachments   PILGRIMS-0003661527            PILGRIMS-0003661528          2
Emails/Attachments   PILGRIMS-0003661533            PILGRIMS-0003661536          4
Emails/Attachments   PILGRIMS-0003661539            PILGRIMS-0003661548          9
Emails/Attachments   PILGRIMS-0003661550            PILGRIMS-0003661551          2
Emails/Attachments   PILGRIMS-0003661553            PILGRIMS-0003661586         32
Emails/Attachments   PILGRIMS-0003661589            PILGRIMS-0003661593          5
Emails/Attachments   PILGRIMS-0003661596            PILGRIMS-0003661607         12
Emails/Attachments   PILGRIMS-0003661610            PILGRIMS-0003661613          3
Emails/Attachments   PILGRIMS-0003661615            PILGRIMS-0003661620          6
Emails/Attachments   PILGRIMS-0003661622            PILGRIMS-0003661627          6
Emails/Attachments   PILGRIMS-0003661630            PILGRIMS-0003661633          4
Emails/Attachments   PILGRIMS-0003661636            PILGRIMS-0003661642          7
Emails/Attachments   PILGRIMS-0003661644            PILGRIMS-0003661645          2
Emails/Attachments   PILGRIMS-0003661647            PILGRIMS-0003661653          7
Emails/Attachments   PILGRIMS-0003661655            PILGRIMS-0003661663          8
Emails/Attachments   PILGRIMS-0003661667            PILGRIMS-0003661668          2
Emails/Attachments   PILGRIMS-0003661671            PILGRIMS-0003661672          2
Emails/Attachments   PILGRIMS-0003661674            PILGRIMS-0003661689          4
Emails/Attachments   PILGRIMS-0003661692            PILGRIMS-0003661706         15
Emails/Attachments   PILGRIMS-0003661708            PILGRIMS-0003661710          2
Emails/Attachments   PILGRIMS-0003661714            PILGRIMS-0003661717          4
Emails/Attachments   PILGRIMS-0003661719            PILGRIMS-0003661722          4
Emails/Attachments   PILGRIMS-0003661725            PILGRIMS-0003661736         12
Emails/Attachments   PILGRIMS-0003661739            PILGRIMS-0003661741          2
Emails/Attachments   PILGRIMS-0003661745            PILGRIMS-0003661746          2
Emails/Attachments   PILGRIMS-0003661748            PILGRIMS-0003661767         19
Emails/Attachments   PILGRIMS-0003661770            PILGRIMS-0003661793         23
Emails/Attachments   PILGRIMS-0003661796            PILGRIMS-0003661799          4
Emails/Attachments   PILGRIMS-0003661801            PILGRIMS-0003661819         18
Emails/Attachments   PILGRIMS-0003661821            PILGRIMS-0003661835         14
Emails/Attachments   PILGRIMS-0003661839            PILGRIMS-0003661848         10


                                   Page 65 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 89 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003661850            PILGRIMS-0003661851          2
Emails/Attachments   PILGRIMS-0003661853            PILGRIMS-0003661875         21
Emails/Attachments   PILGRIMS-0003661877            PILGRIMS-0003661880          4
Emails/Attachments   PILGRIMS-0003661882            PILGRIMS-0003661887          6
Emails/Attachments   PILGRIMS-0003661890            PILGRIMS-0003661898          9
Emails/Attachments   PILGRIMS-0003661900            PILGRIMS-0003661910          9
Emails/Attachments   PILGRIMS-0003661913            PILGRIMS-0003661918          6
Emails/Attachments   PILGRIMS-0003661922            PILGRIMS-0003661956         24
Emails/Attachments   PILGRIMS-0003661959            PILGRIMS-0003661982         16
Emails/Attachments   PILGRIMS-0003661985            PILGRIMS-0003662017         28
Emails/Attachments   PILGRIMS-0003662019            PILGRIMS-0003662031         13
Emails/Attachments   PILGRIMS-0003662033            PILGRIMS-0003662041          8
Emails/Attachments   PILGRIMS-0003662046            PILGRIMS-0003662049          2
Emails/Attachments   PILGRIMS-0003662054            PILGRIMS-0003662078         23
Emails/Attachments   PILGRIMS-0003662080            PILGRIMS-0003662103         23
Emails/Attachments   PILGRIMS-0003662107            PILGRIMS-0003662127         20
Emails/Attachments   PILGRIMS-0003662129            PILGRIMS-0003662130          2
Emails/Attachments   PILGRIMS-0003662132            PILGRIMS-0003662140          8
Emails/Attachments   PILGRIMS-0003662144            PILGRIMS-0003662145          2
Emails/Attachments   PILGRIMS-0003662147            PILGRIMS-0003662152          6
Emails/Attachments   PILGRIMS-0003662155            PILGRIMS-0003662164         10
Emails/Attachments   PILGRIMS-0003662166            PILGRIMS-0003662231         35
Emails/Attachments   PILGRIMS-0003662233            PILGRIMS-0003662236          4
Emails/Attachments   PILGRIMS-0003662238            PILGRIMS-0003662244          6
Emails/Attachments   PILGRIMS-0003662246            PILGRIMS-0003662256          9
Emails/Attachments   PILGRIMS-0003662258            PILGRIMS-0003662261          4
Emails/Attachments   PILGRIMS-0003662264            PILGRIMS-0003662277         13
Emails/Attachments   PILGRIMS-0003662279            PILGRIMS-0003662298         20
Emails/Attachments   PILGRIMS-0003662301            PILGRIMS-0003662318         17
Emails/Attachments   PILGRIMS-0003662322            PILGRIMS-0003662348         11
Emails/Attachments   PILGRIMS-0003662351            PILGRIMS-0003662352          2
Emails/Attachments   PILGRIMS-0003662354            PILGRIMS-0003662355          2
Emails/Attachments   PILGRIMS-0003662358            PILGRIMS-0003662367         10
Emails/Attachments   PILGRIMS-0003662370            PILGRIMS-0003662625         55
Emails/Attachments   PILGRIMS-0003662627            PILGRIMS-0003662664         34
Emails/Attachments   PILGRIMS-0003662666            PILGRIMS-0003662667          2
Emails/Attachments   PILGRIMS-0003662670            PILGRIMS-0003662673          4
Emails/Attachments   PILGRIMS-0003662676            PILGRIMS-0003662679          4
Emails/Attachments   PILGRIMS-0003662682            PILGRIMS-0003662689          8
Emails/Attachments   PILGRIMS-0003662691            PILGRIMS-0003662699          9
Emails/Attachments   PILGRIMS-0003662703            PILGRIMS-0003662715         12
Emails/Attachments   PILGRIMS-0003662717            PILGRIMS-0003662718          2
Emails/Attachments   PILGRIMS-0003662720            PILGRIMS-0003662930         10
Emails/Attachments   PILGRIMS-0003662937            PILGRIMS-0003662991          4
Emails/Attachments   PILGRIMS-0003662993            PILGRIMS-0003663005         13
Emails/Attachments   PILGRIMS-0003663007            PILGRIMS-0003663008          2


                                   Page 66 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 90 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003663010            PILGRIMS-0003663018          8
Emails/Attachments   PILGRIMS-0003663020            PILGRIMS-0003663029         10
Emails/Attachments   PILGRIMS-0003663034            PILGRIMS-0003663037          4
Emails/Attachments   PILGRIMS-0003663042            PILGRIMS-0003663071         28
Emails/Attachments   PILGRIMS-0003663076            PILGRIMS-0003663080          5
Emails/Attachments   PILGRIMS-0003663082            PILGRIMS-0003663089          8
Emails/Attachments   PILGRIMS-0003663091            PILGRIMS-0003663110         17
Emails/Attachments   PILGRIMS-0003663112            PILGRIMS-0003663115          4
Emails/Attachments   PILGRIMS-0003663118            PILGRIMS-0003663121          4
Emails/Attachments   PILGRIMS-0003663123            PILGRIMS-0003663128          6
Emails/Attachments   PILGRIMS-0003663131            PILGRIMS-0003663147         16
Emails/Attachments   PILGRIMS-0003663150            PILGRIMS-0003663156          6
Emails/Attachments   PILGRIMS-0003663158            PILGRIMS-0003663167         10
Emails/Attachments   PILGRIMS-0003663172            PILGRIMS-0003663178          6
Emails/Attachments   PILGRIMS-0003663180            PILGRIMS-0003663185          6
Emails/Attachments   PILGRIMS-0003663187            PILGRIMS-0003663201         13
Emails/Attachments   PILGRIMS-0003663207            PILGRIMS-0003663210          4
Emails/Attachments   PILGRIMS-0003663213            PILGRIMS-0003663226         14
Emails/Attachments   PILGRIMS-0003663228            PILGRIMS-0003663233          6
Emails/Attachments   PILGRIMS-0003663235            PILGRIMS-0003663238          4
Emails/Attachments   PILGRIMS-0003663240            PILGRIMS-0003663241          2
Emails/Attachments   PILGRIMS-0003663243            PILGRIMS-0003663250          8
Emails/Attachments   PILGRIMS-0003663252            PILGRIMS-0003663259          8
Emails/Attachments   PILGRIMS-0003663264            PILGRIMS-0003663361         14
Emails/Attachments   PILGRIMS-0003663365            PILGRIMS-0003663390         22
Emails/Attachments   PILGRIMS-0003663393            PILGRIMS-0003663401          8
Emails/Attachments   PILGRIMS-0003663403            PILGRIMS-0003663410          8
Emails/Attachments   PILGRIMS-0003663412            PILGRIMS-0003663418          6
Emails/Attachments   PILGRIMS-0003663421            PILGRIMS-0003663426          6
Emails/Attachments   PILGRIMS-0003663428            PILGRIMS-0003663434          6
Emails/Attachments   PILGRIMS-0003663439            PILGRIMS-0003663440          2
Emails/Attachments   PILGRIMS-0003663443            PILGRIMS-0003663453         10
Emails/Attachments   PILGRIMS-0003663456            PILGRIMS-0003663481         26
Emails/Attachments   PILGRIMS-0003663484            PILGRIMS-0003663487          4
Emails/Attachments   PILGRIMS-0003663489            PILGRIMS-0003663491          2
Emails/Attachments   PILGRIMS-0003663493            PILGRIMS-0003663498          5
Emails/Attachments   PILGRIMS-0003663500            PILGRIMS-0003663502          2
Emails/Attachments   PILGRIMS-0003663506            PILGRIMS-0003663507          2
Emails/Attachments   PILGRIMS-0003663510            PILGRIMS-0003663515          6
Emails/Attachments   PILGRIMS-0003663520            PILGRIMS-0003663537         18
Emails/Attachments   PILGRIMS-0003663540            PILGRIMS-0003663550         10
Emails/Attachments   PILGRIMS-0003663552            PILGRIMS-0003663581          8
Emails/Attachments   PILGRIMS-0003663587            PILGRIMS-0003663588          2
Emails/Attachments   PILGRIMS-0003663590            PILGRIMS-0003663591          2
Emails/Attachments   PILGRIMS-0003663593            PILGRIMS-0003663605         13
Emails/Attachments   PILGRIMS-0003663608            PILGRIMS-0003663612          4


                                   Page 67 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 91 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003663614            PILGRIMS-0003663630         16
Emails/Attachments   PILGRIMS-0003663632            PILGRIMS-0003663637          6
Emails/Attachments   PILGRIMS-0003663639            PILGRIMS-0003663651          4
Emails/Attachments   PILGRIMS-0003663653            PILGRIMS-0003663656          4
Emails/Attachments   PILGRIMS-0003663659            PILGRIMS-0003663660          2
Emails/Attachments   PILGRIMS-0003663662            PILGRIMS-0003663710         44
Emails/Attachments   PILGRIMS-0003663712            PILGRIMS-0003663715          4
Emails/Attachments   PILGRIMS-0003663718            PILGRIMS-0003663725          8
Emails/Attachments   PILGRIMS-0003663727            PILGRIMS-0003663729          2
Emails/Attachments   PILGRIMS-0003663731            PILGRIMS-0003663746         14
Emails/Attachments   PILGRIMS-0003663752            PILGRIMS-0003663753          2
Emails/Attachments   PILGRIMS-0003663756            PILGRIMS-0003663771         16
Emails/Attachments   PILGRIMS-0003663774            PILGRIMS-0003663795         20
Emails/Attachments   PILGRIMS-0003663797            PILGRIMS-0003663800          3
Emails/Attachments   PILGRIMS-0003663805            PILGRIMS-0003663808          4
Emails/Attachments   PILGRIMS-0003663811            PILGRIMS-0003663860         38
Emails/Attachments   PILGRIMS-0003663880            PILGRIMS-0003663883          4
Emails/Attachments   PILGRIMS-0003663885            PILGRIMS-0003663893          9
Emails/Attachments   PILGRIMS-0003663896            PILGRIMS-0003663902          6
Emails/Attachments   PILGRIMS-0003663905            PILGRIMS-0003663907          2
Emails/Attachments   PILGRIMS-0003663919            PILGRIMS-0003663922          3
Emails/Attachments   PILGRIMS-0003663926            PILGRIMS-0003663929          4
Emails/Attachments   PILGRIMS-0003663933            PILGRIMS-0003663946         14
Emails/Attachments   PILGRIMS-0003663949            PILGRIMS-0003663956          8
Emails/Attachments   PILGRIMS-0003663959            PILGRIMS-0003663963          4
Emails/Attachments   PILGRIMS-0003663965            PILGRIMS-0003663971          6
Emails/Attachments   PILGRIMS-0003663973            PILGRIMS-0003663974          2
Emails/Attachments   PILGRIMS-0003663978            PILGRIMS-0003663979          2
Emails/Attachments   PILGRIMS-0003663981            PILGRIMS-0003663989          8
Emails/Attachments   PILGRIMS-0003663991            PILGRIMS-0003664019         29
Emails/Attachments   PILGRIMS-0003664021            PILGRIMS-0003664022          2
Emails/Attachments   PILGRIMS-0003664025            PILGRIMS-0003664033          8
Emails/Attachments   PILGRIMS-0003664035            PILGRIMS-0003664058         20
Emails/Attachments   PILGRIMS-0003664060            PILGRIMS-0003664065          6
Emails/Attachments   PILGRIMS-0003664068            PILGRIMS-0003664073          6
Emails/Attachments   PILGRIMS-0003664075            PILGRIMS-0003664084         10
Emails/Attachments   PILGRIMS-0003664086            PILGRIMS-0003664087          2
Emails/Attachments   PILGRIMS-0003664089            PILGRIMS-0003664092          4
Emails/Attachments   PILGRIMS-0003664094            PILGRIMS-0003664105         12
Emails/Attachments   PILGRIMS-0003664109            PILGRIMS-0003664136         15
Emails/Attachments   PILGRIMS-0003664148            PILGRIMS-0003664159          2
Emails/Attachments   PILGRIMS-0003664162            PILGRIMS-0003664270          9
Emails/Attachments   PILGRIMS-0003664272            PILGRIMS-0003664282         10
Emails/Attachments   PILGRIMS-0003664284            PILGRIMS-0003664285          2
Emails/Attachments   PILGRIMS-0003664287            PILGRIMS-0003664407         21
Emails/Attachments   PILGRIMS-0003664410            PILGRIMS-0003664414          4


                                   Page 68 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 92 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003664417            PILGRIMS-0003664421          4
Emails/Attachments   PILGRIMS-0003664425            PILGRIMS-0003664432          6
Emails/Attachments   PILGRIMS-0003664463            PILGRIMS-0003664464          2
Emails/Attachments   PILGRIMS-0003664467            PILGRIMS-0003664508         17
Emails/Attachments   PILGRIMS-0003664511            PILGRIMS-0003664516          6
Emails/Attachments   PILGRIMS-0003664518            PILGRIMS-0003664528         11
Emails/Attachments   PILGRIMS-0003664530            PILGRIMS-0003664533          4
Emails/Attachments   PILGRIMS-0003664535            PILGRIMS-0003664542          6
Emails/Attachments   PILGRIMS-0003664544            PILGRIMS-0003664548          5
Emails/Attachments   PILGRIMS-0003664550            PILGRIMS-0003664564          4
Emails/Attachments   PILGRIMS-0003664566            PILGRIMS-0003664586         21
Emails/Attachments   PILGRIMS-0003664588            PILGRIMS-0003664589          2
Emails/Attachments   PILGRIMS-0003664591            PILGRIMS-0003664601         10
Emails/Attachments   PILGRIMS-0003664603            PILGRIMS-0003664612         10
Emails/Attachments   PILGRIMS-0003664614            PILGRIMS-0003664615          2
Emails/Attachments   PILGRIMS-0003664617            PILGRIMS-0003664623          7
Emails/Attachments   PILGRIMS-0003664628            PILGRIMS-0003664631          4
Emails/Attachments   PILGRIMS-0003664633            PILGRIMS-0003664640          8
Emails/Attachments   PILGRIMS-0003664648            PILGRIMS-0003664661         13
Emails/Attachments   PILGRIMS-0003664664            PILGRIMS-0003664774          2
Emails/Attachments   PILGRIMS-0003664777            PILGRIMS-0003665018         38
Emails/Attachments   PILGRIMS-0003665020            PILGRIMS-0003665021          2
Emails/Attachments   PILGRIMS-0003665023            PILGRIMS-0003665034         12
Emails/Attachments   PILGRIMS-0003665039            PILGRIMS-0003665046          8
Emails/Attachments   PILGRIMS-0003665048            PILGRIMS-0003665054          6
Emails/Attachments   PILGRIMS-0003665056            PILGRIMS-0003665067          2
Emails/Attachments   PILGRIMS-0003665070            PILGRIMS-0003665183          6
Emails/Attachments   PILGRIMS-0003665185            PILGRIMS-0003665218         20
Emails/Attachments   PILGRIMS-0003665221            PILGRIMS-0003665250         15
Emails/Attachments   PILGRIMS-0003665253            PILGRIMS-0003665261          8
Emails/Attachments   PILGRIMS-0003665265            PILGRIMS-0003665376          2
Emails/Attachments   PILGRIMS-0003665379            PILGRIMS-0003665391         12
Emails/Attachments   PILGRIMS-0003665393            PILGRIMS-0003665394          2
Emails/Attachments   PILGRIMS-0003665398            PILGRIMS-0003665424         23
Emails/Attachments   PILGRIMS-0003665426            PILGRIMS-0003665427          2
Emails/Attachments   PILGRIMS-0003665430            PILGRIMS-0003665432          2
Emails/Attachments   PILGRIMS-0003665434            PILGRIMS-0003665493          9
Emails/Attachments   PILGRIMS-0003665495            PILGRIMS-0003665618         14
Emails/Attachments   PILGRIMS-0003665621            PILGRIMS-0003665626          6
Emails/Attachments   PILGRIMS-0003665629            PILGRIMS-0003665630          2
Emails/Attachments   PILGRIMS-0003665632            PILGRIMS-0003665646         15
Emails/Attachments   PILGRIMS-0003665649            PILGRIMS-0003665660          8
Emails/Attachments   PILGRIMS-0003665662            PILGRIMS-0003665674          6
Emails/Attachments   PILGRIMS-0003665677            PILGRIMS-0003665680          4
Emails/Attachments   PILGRIMS-0003665683            PILGRIMS-0003665794          2
Emails/Attachments   PILGRIMS-0003665796            PILGRIMS-0003665799          4


                                   Page 69 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 93 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003665802            PILGRIMS-0003665811         10
Emails/Attachments   PILGRIMS-0003665813            PILGRIMS-0003665814          2
Emails/Attachments   PILGRIMS-0003665816            PILGRIMS-0003665828         11
Emails/Attachments   PILGRIMS-0003665831            PILGRIMS-0003666006         30
Emails/Attachments   PILGRIMS-0003666010            PILGRIMS-0003666013          4
Emails/Attachments   PILGRIMS-0003666015            PILGRIMS-0003666016          2
Emails/Attachments   PILGRIMS-0003666021            PILGRIMS-0003666041         21
Emails/Attachments   PILGRIMS-0003666043            PILGRIMS-0003666049          6
Emails/Attachments   PILGRIMS-0003666051            PILGRIMS-0003666168          7
Emails/Attachments   PILGRIMS-0003666170            PILGRIMS-0003666175          2
Emails/Attachments   PILGRIMS-0003666177            PILGRIMS-0003666180          4
Emails/Attachments   PILGRIMS-0003666182            PILGRIMS-0003666183          2
Emails/Attachments   PILGRIMS-0003666185            PILGRIMS-0003666202         18
Emails/Attachments   PILGRIMS-0003666205            PILGRIMS-0003666219         13
Emails/Attachments   PILGRIMS-0003666223            PILGRIMS-0003666347         12
Emails/Attachments   PILGRIMS-0003666349            PILGRIMS-0003666352          4
Emails/Attachments   PILGRIMS-0003666354            PILGRIMS-0003666359          6
Emails/Attachments   PILGRIMS-0003666362            PILGRIMS-0003666365          4
Emails/Attachments   PILGRIMS-0003666368            PILGRIMS-0003666379         12
Emails/Attachments   PILGRIMS-0003666381            PILGRIMS-0003666389          8
Emails/Attachments   PILGRIMS-0003666391            PILGRIMS-0003666398          8
Emails/Attachments   PILGRIMS-0003666403            PILGRIMS-0003666408          6
Emails/Attachments   PILGRIMS-0003666410            PILGRIMS-0003666412          2
Emails/Attachments   PILGRIMS-0003666414            PILGRIMS-0003666415          2
Emails/Attachments   PILGRIMS-0003666417            PILGRIMS-0003666420          4
Emails/Attachments   PILGRIMS-0003666422            PILGRIMS-0003666423          2
Emails/Attachments   PILGRIMS-0003666425            PILGRIMS-0003666435         11
Emails/Attachments   PILGRIMS-0003666437            PILGRIMS-0003666443          6
Emails/Attachments   PILGRIMS-0003666446            PILGRIMS-0003666451          5
Emails/Attachments   PILGRIMS-0003666455            PILGRIMS-0003666470         16
Emails/Attachments   PILGRIMS-0003666474            PILGRIMS-0003666590          7
Emails/Attachments   PILGRIMS-0003666592            PILGRIMS-0003666597          6
Emails/Attachments   PILGRIMS-0003666600            PILGRIMS-0003666625         26
Emails/Attachments   PILGRIMS-0003666627            PILGRIMS-0003666639         12
Emails/Attachments   PILGRIMS-0003666641            PILGRIMS-0003666642          2
Emails/Attachments   PILGRIMS-0003666644            PILGRIMS-0003666708         19
Emails/Attachments   PILGRIMS-0003666712            PILGRIMS-0003666713          2
Emails/Attachments   PILGRIMS-0003666718            PILGRIMS-0003666721          4
Emails/Attachments   PILGRIMS-0003666723            PILGRIMS-0003666726          3
Emails/Attachments   PILGRIMS-0003666730            PILGRIMS-0003666738          9
Emails/Attachments   PILGRIMS-0003666741            PILGRIMS-0003666742          2
Emails/Attachments   PILGRIMS-0003666744            PILGRIMS-0003666758         14
Emails/Attachments   PILGRIMS-0003666760            PILGRIMS-0003666768          9
Emails/Attachments   PILGRIMS-0003666771            PILGRIMS-0003666772          2
Emails/Attachments   PILGRIMS-0003666775            PILGRIMS-0003666783          8
Emails/Attachments   PILGRIMS-0003666786            PILGRIMS-0003666788          3


                                   Page 70 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 94 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003666791            PILGRIMS-0003666806         16
Emails/Attachments   PILGRIMS-0003666808            PILGRIMS-0003666838         11
Emails/Attachments   PILGRIMS-0003666852            PILGRIMS-0003666864         13
Emails/Attachments   PILGRIMS-0003666867            PILGRIMS-0003666879         12
Emails/Attachments   PILGRIMS-0003666881            PILGRIMS-0003666893         11
Emails/Attachments   PILGRIMS-0003666895            PILGRIMS-0003666898          4
Emails/Attachments   PILGRIMS-0003666901            PILGRIMS-0003666915         14
Emails/Attachments   PILGRIMS-0003666917            PILGRIMS-0003667029          2
Emails/Attachments   PILGRIMS-0003667031            PILGRIMS-0003667032          2
Emails/Attachments   PILGRIMS-0003667034            PILGRIMS-0003667042          9
Emails/Attachments   PILGRIMS-0003667045            PILGRIMS-0003667046          2
Emails/Attachments   PILGRIMS-0003667048            PILGRIMS-0003667059         11
Emails/Attachments   PILGRIMS-0003667063            PILGRIMS-0003667069          7
Emails/Attachments   PILGRIMS-0003667071            PILGRIMS-0003667086         12
Emails/Attachments   PILGRIMS-0003667088            PILGRIMS-0003667093          6
Emails/Attachments   PILGRIMS-0003667095            PILGRIMS-0003667098          4
Emails/Attachments   PILGRIMS-0003667104            PILGRIMS-0003667115         12
Emails/Attachments   PILGRIMS-0003667117            PILGRIMS-0003667133          7
Emails/Attachments   PILGRIMS-0003667136            PILGRIMS-0003667143          8
Emails/Attachments   PILGRIMS-0003667145            PILGRIMS-0003667153          8
Emails/Attachments   PILGRIMS-0003667155            PILGRIMS-0003667171         16
Emails/Attachments   PILGRIMS-0003667174            PILGRIMS-0003667181          8
Emails/Attachments   PILGRIMS-0003667183            PILGRIMS-0003667198         16
Emails/Attachments   PILGRIMS-0003667200            PILGRIMS-0003667205          6
Emails/Attachments   PILGRIMS-0003667207            PILGRIMS-0003667213          6
Emails/Attachments   PILGRIMS-0003667215            PILGRIMS-0003667228          2
Emails/Attachments   PILGRIMS-0003667242            PILGRIMS-0003667247          6
Emails/Attachments   PILGRIMS-0003667250            PILGRIMS-0003667265         16
Emails/Attachments   PILGRIMS-0003667267            PILGRIMS-0003667279         12
Emails/Attachments   PILGRIMS-0003667281            PILGRIMS-0003667295         15
Emails/Attachments   PILGRIMS-0003667297            PILGRIMS-0003667299          2
Emails/Attachments   PILGRIMS-0003667302            PILGRIMS-0003667428         45
Emails/Attachments   PILGRIMS-0003667430            PILGRIMS-0003667439         10
Emails/Attachments   PILGRIMS-0003667441            PILGRIMS-0003667442          2
Emails/Attachments   PILGRIMS-0003667444            PILGRIMS-0003667454         10
Emails/Attachments   PILGRIMS-0003667457            PILGRIMS-0003667460          4
Emails/Attachments   PILGRIMS-0003667462            PILGRIMS-0003667471         10
Emails/Attachments   PILGRIMS-0003667484            PILGRIMS-0003667498          4
Emails/Attachments   PILGRIMS-0003667501            PILGRIMS-0003667502          2
Emails/Attachments   PILGRIMS-0003667504            PILGRIMS-0003667533         25
Emails/Attachments   PILGRIMS-0003667535            PILGRIMS-0003667558         24
Emails/Attachments   PILGRIMS-0003667560            PILGRIMS-0003667562          2
Emails/Attachments   PILGRIMS-0003667564            PILGRIMS-0003667570          6
Emails/Attachments   PILGRIMS-0003667572            PILGRIMS-0003667576          5
Emails/Attachments   PILGRIMS-0003667578            PILGRIMS-0003667582          4
Emails/Attachments   PILGRIMS-0003667584            PILGRIMS-0003667591          8


                                   Page 71 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 95 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003667593            PILGRIMS-0003667596          4
Emails/Attachments   PILGRIMS-0003667598            PILGRIMS-0003667608         10
Emails/Attachments   PILGRIMS-0003667613            PILGRIMS-0003667620          8
Emails/Attachments   PILGRIMS-0003667623            PILGRIMS-0003667665         31
Emails/Attachments   PILGRIMS-0003667667            PILGRIMS-0003667672          6
Emails/Attachments   PILGRIMS-0003667674            PILGRIMS-0003667677          4
Emails/Attachments   PILGRIMS-0003667679            PILGRIMS-0003667707         29
Emails/Attachments   PILGRIMS-0003667709            PILGRIMS-0003667718         10
Emails/Attachments   PILGRIMS-0003667720            PILGRIMS-0003667723          4
Emails/Attachments   PILGRIMS-0003667725            PILGRIMS-0003667730          6
Emails/Attachments   PILGRIMS-0003667732            PILGRIMS-0003667748         17
Emails/Attachments   PILGRIMS-0003667750            PILGRIMS-0003667752          3
Emails/Attachments   PILGRIMS-0003667754            PILGRIMS-0003667755          2
Emails/Attachments   PILGRIMS-0003667757            PILGRIMS-0003667772         15
Emails/Attachments   PILGRIMS-0003667774            PILGRIMS-0003667802         27
Emails/Attachments   PILGRIMS-0003667811            PILGRIMS-0003667834          9
Emails/Attachments   PILGRIMS-0003667836            PILGRIMS-0003667874         21
Emails/Attachments   PILGRIMS-0003667876            PILGRIMS-0003667881          6
Emails/Attachments   PILGRIMS-0003667884            PILGRIMS-0003667915         29
Emails/Attachments   PILGRIMS-0003667917            PILGRIMS-0003667918          2
Emails/Attachments   PILGRIMS-0003667920            PILGRIMS-0003667931         11
Emails/Attachments   PILGRIMS-0003667933            PILGRIMS-0003667936          4
Emails/Attachments   PILGRIMS-0003667938            PILGRIMS-0003667959          8
Emails/Attachments   PILGRIMS-0003667961            PILGRIMS-0003667972         12
Emails/Attachments   PILGRIMS-0003667974            PILGRIMS-0003667975          2
Emails/Attachments   PILGRIMS-0003667977            PILGRIMS-0003667980          4
Emails/Attachments   PILGRIMS-0003667982            PILGRIMS-0003667997          5
Emails/Attachments   PILGRIMS-0003667999            PILGRIMS-0003668033         26
Emails/Attachments   PILGRIMS-0003668035            PILGRIMS-0003668042          8
Emails/Attachments   PILGRIMS-0003668044            PILGRIMS-0003668049          6
Emails/Attachments   PILGRIMS-0003668051            PILGRIMS-0003668054          4
Emails/Attachments   PILGRIMS-0003668056            PILGRIMS-0003668091         23
Emails/Attachments   PILGRIMS-0003668093            PILGRIMS-0003668103         10
Emails/Attachments   PILGRIMS-0003668105            PILGRIMS-0003668106          2
Emails/Attachments   PILGRIMS-0003668119            PILGRIMS-0003668196         25
Emails/Attachments   PILGRIMS-0003668198            PILGRIMS-0003668200          3
Emails/Attachments   PILGRIMS-0003668209            PILGRIMS-0003668212          4
Emails/Attachments   PILGRIMS-0003668215            PILGRIMS-0003668244         30
Emails/Attachments   PILGRIMS-0003668246            PILGRIMS-0003668264          9
Emails/Attachments   PILGRIMS-0003668276            PILGRIMS-0003668287         10
Emails/Attachments   PILGRIMS-0003668289            PILGRIMS-0003668317         29
Emails/Attachments   PILGRIMS-0003668319            PILGRIMS-0003668333         15
Emails/Attachments   PILGRIMS-0003668335            PILGRIMS-0003668350          6
Emails/Attachments   PILGRIMS-0003668352            PILGRIMS-0003668368         17
Emails/Attachments   PILGRIMS-0003668373            PILGRIMS-0003668374          2
Emails/Attachments   PILGRIMS-0003668378            PILGRIMS-0003668381          4


                                   Page 72 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 96 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003668383            PILGRIMS-0003668388          6
Emails/Attachments   PILGRIMS-0003668390            PILGRIMS-0003668393          4
Emails/Attachments   PILGRIMS-0003668395            PILGRIMS-0003668416         22
Emails/Attachments   PILGRIMS-0003668418            PILGRIMS-0003668419          2
Emails/Attachments   PILGRIMS-0003668421            PILGRIMS-0003668431          9
Emails/Attachments   PILGRIMS-0003668433            PILGRIMS-0003668446         10
Emails/Attachments   PILGRIMS-0003668448            PILGRIMS-0003668449          2
Emails/Attachments   PILGRIMS-0003668451            PILGRIMS-0003668456          6
Emails/Attachments   PILGRIMS-0003668458            PILGRIMS-0003668463          6
Emails/Attachments   PILGRIMS-0003668465            PILGRIMS-0003668466          2
Emails/Attachments   PILGRIMS-0003668468            PILGRIMS-0003668485         10
Emails/Attachments   PILGRIMS-0003668487            PILGRIMS-0003668492          6
Emails/Attachments   PILGRIMS-0003668494            PILGRIMS-0003668497          4
Emails/Attachments   PILGRIMS-0003668499            PILGRIMS-0003668535         34
Emails/Attachments   PILGRIMS-0003668538            PILGRIMS-0003668539          2
Emails/Attachments   PILGRIMS-0003668541            PILGRIMS-0003668548          8
Emails/Attachments   PILGRIMS-0003668550            PILGRIMS-0003668551          2
Emails/Attachments   PILGRIMS-0003668553            PILGRIMS-0003668562         10
Emails/Attachments   PILGRIMS-0003668564            PILGRIMS-0003668577         14
Emails/Attachments   PILGRIMS-0003668579            PILGRIMS-0003668605         26
Emails/Attachments   PILGRIMS-0003668608            PILGRIMS-0003668633         26
Emails/Attachments   PILGRIMS-0003668635            PILGRIMS-0003668652         16
Emails/Attachments   PILGRIMS-0003668655            PILGRIMS-0003668662          8
Emails/Attachments   PILGRIMS-0003668664            PILGRIMS-0003668665          2
Emails/Attachments   PILGRIMS-0003668667            PILGRIMS-0003668674          6
Emails/Attachments   PILGRIMS-0003668676            PILGRIMS-0003668681          6
Emails/Attachments   PILGRIMS-0003668684            PILGRIMS-0003668687          4
Emails/Attachments   PILGRIMS-0003668689            PILGRIMS-0003668694          6
Emails/Attachments   PILGRIMS-0003668697            PILGRIMS-0003668704          8
Emails/Attachments   PILGRIMS-0003668706            PILGRIMS-0003668707          2
Emails/Attachments   PILGRIMS-0003668710            PILGRIMS-0003668711          2
Emails/Attachments   PILGRIMS-0003668713            PILGRIMS-0003668722         10
Emails/Attachments   PILGRIMS-0003668724            PILGRIMS-0003668733         10
Emails/Attachments   PILGRIMS-0003668735            PILGRIMS-0003668740          6
Emails/Attachments   PILGRIMS-0003668743            PILGRIMS-0003668751          9
Emails/Attachments   PILGRIMS-0003668753            PILGRIMS-0003668756          4
Emails/Attachments   PILGRIMS-0003668760            PILGRIMS-0003668763          4
Emails/Attachments   PILGRIMS-0003668765            PILGRIMS-0003668768          4
Emails/Attachments   PILGRIMS-0003668770            PILGRIMS-0003668781         12
Emails/Attachments   PILGRIMS-0003668783            PILGRIMS-0003668792         10
Emails/Attachments   PILGRIMS-0003668794            PILGRIMS-0003668797          4
Emails/Attachments   PILGRIMS-0003668799            PILGRIMS-0003668800          2
Emails/Attachments   PILGRIMS-0003668802            PILGRIMS-0003668805          4
Emails/Attachments   PILGRIMS-0003668808            PILGRIMS-0003668823         16
Emails/Attachments   PILGRIMS-0003668825            PILGRIMS-0003668826          2
Emails/Attachments   PILGRIMS-0003668828            PILGRIMS-0003668841         13


                                   Page 73 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 97 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003668843            PILGRIMS-0003668845          2
Emails/Attachments   PILGRIMS-0003668848            PILGRIMS-0003668860         13
Emails/Attachments   PILGRIMS-0003668863            PILGRIMS-0003668864          2
Emails/Attachments   PILGRIMS-0003668866            PILGRIMS-0003668874          9
Emails/Attachments   PILGRIMS-0003668876            PILGRIMS-0003668931         55
Emails/Attachments   PILGRIMS-0003668935            PILGRIMS-0003668942          8
Emails/Attachments   PILGRIMS-0003668944            PILGRIMS-0003668948          4
Emails/Attachments   PILGRIMS-0003668951            PILGRIMS-0003668963         13
Emails/Attachments   PILGRIMS-0003668966            PILGRIMS-0003668969          4
Emails/Attachments   PILGRIMS-0003668971            PILGRIMS-0003669013          8
Emails/Attachments   PILGRIMS-0003669017            PILGRIMS-0003669018          2
Emails/Attachments   PILGRIMS-0003669021            PILGRIMS-0003669026          6
Emails/Attachments   PILGRIMS-0003669028            PILGRIMS-0003669154         31
Emails/Attachments   PILGRIMS-0003669156            PILGRIMS-0003669170          9
Emails/Attachments   PILGRIMS-0003669172            PILGRIMS-0003669209         38
Emails/Attachments   PILGRIMS-0003669211            PILGRIMS-0003669240         30
Emails/Attachments   PILGRIMS-0003669242            PILGRIMS-0003669253         12
Emails/Attachments   PILGRIMS-0003669255            PILGRIMS-0003669288          4
Emails/Attachments   PILGRIMS-0003669290            PILGRIMS-0003669293          4
Emails/Attachments   PILGRIMS-0003669295            PILGRIMS-0003669311         17
Emails/Attachments   PILGRIMS-0003669313            PILGRIMS-0003669338         26
Emails/Attachments   PILGRIMS-0003669340            PILGRIMS-0003669360         21
Emails/Attachments   PILGRIMS-0003669362            PILGRIMS-0003669371         10
Emails/Attachments   PILGRIMS-0003669374            PILGRIMS-0003669383         10
Emails/Attachments   PILGRIMS-0003669385            PILGRIMS-0003669392          8
Emails/Attachments   PILGRIMS-0003669394            PILGRIMS-0003669399          6
Emails/Attachments   PILGRIMS-0003669401            PILGRIMS-0003669409          8
Emails/Attachments   PILGRIMS-0003669411            PILGRIMS-0003669412          2
Emails/Attachments   PILGRIMS-0003669415            PILGRIMS-0003669432         18
Emails/Attachments   PILGRIMS-0003669434            PILGRIMS-0003669439          6
Emails/Attachments   PILGRIMS-0003669441            PILGRIMS-0003669445          4
Emails/Attachments   PILGRIMS-0003669447            PILGRIMS-0003669448          2
Emails/Attachments   PILGRIMS-0003669450            PILGRIMS-0003669453          4
Emails/Attachments   PILGRIMS-0003669455            PILGRIMS-0003669460          6
Emails/Attachments   PILGRIMS-0003669462            PILGRIMS-0003669463          2
Emails/Attachments   PILGRIMS-0003669465            PILGRIMS-0003669474         10
Emails/Attachments   PILGRIMS-0003669476            PILGRIMS-0003669477          2
Emails/Attachments   PILGRIMS-0003669479            PILGRIMS-0003669481          2
Emails/Attachments   PILGRIMS-0003669484            PILGRIMS-0003669489          5
Emails/Attachments   PILGRIMS-0003669491            PILGRIMS-0003669492          2
Emails/Attachments   PILGRIMS-0003669494            PILGRIMS-0003669499          6
Emails/Attachments   PILGRIMS-0003669501            PILGRIMS-0003669510         10
Emails/Attachments   PILGRIMS-0003669512            PILGRIMS-0003669516          5
Emails/Attachments   PILGRIMS-0003669518            PILGRIMS-0003669527         10
Emails/Attachments   PILGRIMS-0003669531            PILGRIMS-0003669533          2
Emails/Attachments   PILGRIMS-0003669536            PILGRIMS-0003669540          2


                                   Page 74 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 98 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003669543            PILGRIMS-0003669558         16
Emails/Attachments   PILGRIMS-0003669560            PILGRIMS-0003669561          2
Emails/Attachments   PILGRIMS-0003669842            PILGRIMS-0003669865         23
Emails/Attachments   PILGRIMS-0003669868            PILGRIMS-0003669883         16
Emails/Attachments   PILGRIMS-0003669885            PILGRIMS-0003669892          8
Emails/Attachments   PILGRIMS-0003670173            PILGRIMS-0003670188         14
Emails/Attachments   PILGRIMS-0003670190            PILGRIMS-0003670204         15
Emails/Attachments   PILGRIMS-0003670206            PILGRIMS-0003670220         14
Emails/Attachments   PILGRIMS-0003670222            PILGRIMS-0003670238         17
Emails/Attachments   PILGRIMS-0003670240            PILGRIMS-0003670264         18
Emails/Attachments   PILGRIMS-0003670266            PILGRIMS-0003670271          6
Emails/Attachments   PILGRIMS-0003670273            PILGRIMS-0003670291         18
Emails/Attachments   PILGRIMS-0003670294            PILGRIMS-0003670303         10
Emails/Attachments   PILGRIMS-0003670306            PILGRIMS-0003670330         24
Emails/Attachments   PILGRIMS-0003670332            PILGRIMS-0003670343         12
Emails/Attachments   PILGRIMS-0003670345            PILGRIMS-0003670348          4
Emails/Attachments   PILGRIMS-0003670350            PILGRIMS-0003670351          2
Emails/Attachments   PILGRIMS-0003670355            PILGRIMS-0003670358          4
Emails/Attachments   PILGRIMS-0003670360            PILGRIMS-0003670361          2
Emails/Attachments   PILGRIMS-0003670364            PILGRIMS-0003670371          8
Emails/Attachments   PILGRIMS-0003670373            PILGRIMS-0003670410         37
Emails/Attachments   PILGRIMS-0003670412            PILGRIMS-0003670414          2
Emails/Attachments   PILGRIMS-0003670416            PILGRIMS-0003670446         29
Emails/Attachments   PILGRIMS-0003670448            PILGRIMS-0003670472         25
Emails/Attachments   PILGRIMS-0003670474            PILGRIMS-0003670505         32
Emails/Attachments   PILGRIMS-0003670507            PILGRIMS-0003670512          6
Emails/Attachments   PILGRIMS-0003670515            PILGRIMS-0003670526         12
Emails/Attachments   PILGRIMS-0003670529            PILGRIMS-0003670530          2
Emails/Attachments   PILGRIMS-0003670532            PILGRIMS-0003670554         21
Emails/Attachments   PILGRIMS-0003670556            PILGRIMS-0003670578         22
Emails/Attachments   PILGRIMS-0003670581            PILGRIMS-0003670586          6
Emails/Attachments   PILGRIMS-0003670589            PILGRIMS-0003670590          2
Emails/Attachments   PILGRIMS-0003670593            PILGRIMS-0003670619         25
Emails/Attachments   PILGRIMS-0003670621            PILGRIMS-0003670622          2
Emails/Attachments   PILGRIMS-0003670624            PILGRIMS-0003670632          8
Emails/Attachments   PILGRIMS-0003670634            PILGRIMS-0003670637          4
Emails/Attachments   PILGRIMS-0003670639            PILGRIMS-0003670666         27
Emails/Attachments   PILGRIMS-0003670669            PILGRIMS-0003670674          6
Emails/Attachments   PILGRIMS-0003670678            PILGRIMS-0003670682          4
Emails/Attachments   PILGRIMS-0003670685            PILGRIMS-0003670702         15
Emails/Attachments   PILGRIMS-0003670704            PILGRIMS-0003670705          2
Emails/Attachments   PILGRIMS-0003670709            PILGRIMS-0003670749          6
Emails/Attachments   PILGRIMS-0003670751            PILGRIMS-0003670754          4
Emails/Attachments   PILGRIMS-0003670756            PILGRIMS-0003670777         22
Emails/Attachments   PILGRIMS-0003670779            PILGRIMS-0003670784          6
Emails/Attachments   PILGRIMS-0003670786            PILGRIMS-0003670789          4


                                   Page 75 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 99 of
                                     485
                                     EXHIBIT A

 Document Type            First Bates                    Last Bates       # of Documents
Emails/Attachments   PILGRIMS-0003670791            PILGRIMS-0003670808         15
Emails/Attachments   PILGRIMS-0003670810            PILGRIMS-0003670811          2
Emails/Attachments   PILGRIMS-0003670813            PILGRIMS-0003670814          2
Emails/Attachments   PILGRIMS-0003670816            PILGRIMS-0003670819          4
Emails/Attachments   PILGRIMS-0003670821            PILGRIMS-0003670824          4
Emails/Attachments   PILGRIMS-0003670826            PILGRIMS-0003670834          9
Emails/Attachments   PILGRIMS-0003670836            PILGRIMS-0003670853         15
Emails/Attachments   PILGRIMS-0003670855            PILGRIMS-0003670872         18
Emails/Attachments   PILGRIMS-0003670874            PILGRIMS-0003670882          8
Emails/Attachments   PILGRIMS-0003670885            PILGRIMS-0003670900         16
Emails/Attachments   PILGRIMS-0003670902            PILGRIMS-0003670917         15
Emails/Attachments   PILGRIMS-0003670922            PILGRIMS-0003670923          2
Emails/Attachments   PILGRIMS-0003671162            PILGRIMS-0003671217         10
Emails/Attachments   PILGRIMS-0003671227            PILGRIMS-0003671236          2
Emails/Attachments   PILGRIMS-0003671246            PILGRIMS-0003671267          2
Emails/Attachments   PILGRIMS-0003671349            PILGRIMS-0003671350          2
Emails/Attachments   PILGRIMS-0003671361            PILGRIMS-0003671371          2
Emails/Attachments   PILGRIMS-0003671399            PILGRIMS-0003671416          2
Emails/Attachments   PILGRIMS-0003671464            PILGRIMS-0003671473          2
Emails/Attachments   PILGRIMS-0003671475            PILGRIMS-0003671476          2
Emails/Attachments   PILGRIMS-0003671478            PILGRIMS-0003671479          2
Emails/Attachments   PILGRIMS-0003671495            PILGRIMS-0003671515          5
Emails/Attachments   PILGRIMS-0003671532            PILGRIMS-0003671534          3
Emails/Attachments   PILGRIMS-0003671561            PILGRIMS-0003671568          2
Emails/Attachments   PILGRIMS-0003671576            PILGRIMS-0003671606          2
Emails/Attachments   PILGRIMS-0003671609            PILGRIMS-0003671643          8
Emails/Attachments   PILGRIMS-0003671672            PILGRIMS-0003671673          2
Emails/Attachments   PILGRIMS-0003671754            PILGRIMS-0003671757          2
Emails/Attachments   PILGRIMS-0003671795            PILGRIMS-0003671832          2
Emails/Attachments   PILGRIMS-0003671843            PILGRIMS-0003671863          2
Emails/Attachments   PILGRIMS-0003671868            PILGRIMS-0003671870          2
Emails/Attachments   PILGRIMS-0003671935            PILGRIMS-0003671955          3
Emails/Attachments   PILGRIMS-0003671966            PILGRIMS-0003671979          2
Emails/Attachments   PILGRIMS-0003671981            PILGRIMS-0003671982          2
Emails/Attachments   PILGRIMS-0003672032            PILGRIMS-0003672054          8
Emails/Attachments   PILGRIMS-0003672101            PILGRIMS-0003672198          9
Emails/Attachments   PILGRIMS-0003672219            PILGRIMS-0003672232          7
Emails/Attachments   PILGRIMS-0003672234            PILGRIMS-0003672245          6
Emails/Attachments   PILGRIMS-0003672256            PILGRIMS-0003672258          1
Emails/Attachments   PILGRIMS-0003672300            PILGRIMS-0003672303          2
Emails/Attachments   PILGRIMS-0003672479            PILGRIMS-0003672490          2
Emails/Attachments   PILGRIMS-0003672506            PILGRIMS-0003672524          2
Emails/Attachments   PILGRIMS-0003672575            PILGRIMS-0003672577          2
Emails/Attachments   PILGRIMS-0003672670            PILGRIMS-0003672689          2
Emails/Attachments   PILGRIMS-0003672701            PILGRIMS-0003672720          2
Emails/Attachments   PILGRIMS-0003672732            PILGRIMS-0003672754          2


                                   Page 76 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 100 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0003672768            PILGRIMS-0003672789          3
 Emails/Attachments   PILGRIMS-0003672791            PILGRIMS-0003672793          2
 Emails/Attachments   PILGRIMS-0003672807            PILGRIMS-0003672824          5
 Emails/Attachments   PILGRIMS-0003672866            PILGRIMS-0003672923          3
 Emails/Attachments   PILGRIMS-0003672925            PILGRIMS-0003672927          2
 Emails/Attachments   PILGRIMS-0003672935            PILGRIMS-0003672941          2
 Emails/Attachments   PILGRIMS-0003672956            PILGRIMS-0003673123          9
 Emails/Attachments   PILGRIMS-0003673125            PILGRIMS-0003673128          4
 Emails/Attachments   PILGRIMS-0003673154            PILGRIMS-0003673238          7
 Emails/Attachments   PILGRIMS-0003673262            PILGRIMS-0003673263          2
 Emails/Attachments   PILGRIMS-0003673287            PILGRIMS-0003673289          1
 Emails/Attachments   PILGRIMS-0003673373            PILGRIMS-0003673375          2
 Emails/Attachments   PILGRIMS-0003673403            PILGRIMS-0003673405          2
 Emails/Attachments   PILGRIMS-0003673508            PILGRIMS-0003673527          2
 Emails/Attachments   PILGRIMS-0003673643            PILGRIMS-0003673702          6
 Emails/Attachments   PILGRIMS-0003673746            PILGRIMS-0003673755          2
 Emails/Attachments   PILGRIMS-0003673903            PILGRIMS-0003673938          3
 Emails/Attachments   PILGRIMS-0003673950            PILGRIMS-0003673952          2
 Emails/Attachments   PILGRIMS-0003673971            PILGRIMS-0003673973          2
 Emails/Attachments   PILGRIMS-0003674014            PILGRIMS-0003674030          5
 Emails/Attachments   PILGRIMS-0003674062            PILGRIMS-0003674119          3
 Emails/Attachments   PILGRIMS-0003674130            PILGRIMS-0003674143          4
 Emails/Attachments   PILGRIMS-0003674145            PILGRIMS-0003674153          3
 Emails/Attachments   PILGRIMS-0003674155            PILGRIMS-0003674186          7
 Emails/Attachments   PILGRIMS-0003674188            PILGRIMS-0003674195          5
 Emails/Attachments   PILGRIMS-0003674316            PILGRIMS-0003674317          2
 Emails/Attachments   PILGRIMS-0003674329            PILGRIMS-0003674331          1
 Emails/Attachments   PILGRIMS-0003674376            PILGRIMS-0003674387          2
 Emails/Attachments   PILGRIMS-0003674430            PILGRIMS-0003674434          2
 Emails/Attachments   PILGRIMS-0003674508            PILGRIMS-0003674539          2
 Emails/Attachments   PILGRIMS-0003674612            PILGRIMS-0003674614          1
 Emails/Attachments   PILGRIMS-0003674741            PILGRIMS-0003674762          2
 Emails/Attachments   PILGRIMS-0003674787            PILGRIMS-0003674801          5
 Emails/Attachments   PILGRIMS-0003674803            PILGRIMS-0003674804          2
 Emails/Attachments   PILGRIMS-0003674809            PILGRIMS-0003674812          3
 Emails/Attachments   PILGRIMS-0003674814            PILGRIMS-0003674831         13
 Emails/Attachments   PILGRIMS-0003674853            PILGRIMS-0003674864          3
 Emails/Attachments   PILGRIMS-0003674866            PILGRIMS-0003674875          6
 Emails/Attachments   PILGRIMS-0003674877            PILGRIMS-0003674896          5
 Emails/Attachments   PILGRIMS-0003674902            PILGRIMS-0003674914          4
 Emails/Attachments   PILGRIMS-0003674916            PILGRIMS-0003674937          2
 Emails/Attachments   PILGRIMS-0003675085            PILGRIMS-0003675109          4
 Emails/Attachments   PILGRIMS-0003675111            PILGRIMS-0003675112          1
 Emails/Attachments   PILGRIMS-0003675146            PILGRIMS-0003675167          2
 Emails/Attachments   PILGRIMS-0003675214            PILGRIMS-0003675220          3
 Emails/Attachments   PILGRIMS-0003675247            PILGRIMS-0003675251          4


                                    Page 77 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 101 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0003675253            PILGRIMS-0003675280          5
 Emails/Attachments   PILGRIMS-0003675353            PILGRIMS-0003675355          2
 Emails/Attachments   PILGRIMS-0003675368            PILGRIMS-0003675374          3
 Emails/Attachments   PILGRIMS-0003675425            PILGRIMS-0003675462          5
 Emails/Attachments   PILGRIMS-0003675464            PILGRIMS-0003675465          2
 Emails/Attachments   PILGRIMS-0003675518            PILGRIMS-0003675520          2
 Emails/Attachments   PILGRIMS-0003675643            PILGRIMS-0003675649          3
 Emails/Attachments   PILGRIMS-0003675657            PILGRIMS-0003675692          9
 Emails/Attachments   PILGRIMS-0003675710            PILGRIMS-0003675712          2
 Emails/Attachments   PILGRIMS-0003675714            PILGRIMS-0003675719          2
 Emails/Attachments   PILGRIMS-0003675733            PILGRIMS-0003675734          2
 Emails/Attachments   PILGRIMS-0003675761            PILGRIMS-0003675782          2
 Emails/Attachments   PILGRIMS-0003675796            PILGRIMS-0003675834          6
 Emails/Attachments   PILGRIMS-0003675842            PILGRIMS-0003675849          2
 Emails/Attachments   PILGRIMS-0003675852            PILGRIMS-0003675859          4
 Emails/Attachments   PILGRIMS-0003675871            PILGRIMS-0003675882          3
 Emails/Attachments   PILGRIMS-0003675884            PILGRIMS-0003675885          2
 Emails/Attachments   PILGRIMS-0003675941            PILGRIMS-0003676029          4
 Emails/Attachments   PILGRIMS-0003676049            PILGRIMS-0003676053          2
 Emails/Attachments   PILGRIMS-0005247949            PILGRIMS-0005247964          2
 Emails/Attachments   PILGRIMS-0005247977            PILGRIMS-0005247991          2
 Emails/Attachments   PILGRIMS-0005247999            PILGRIMS-0005248013          2
 Emails/Attachments   PILGRIMS-0005248044            PILGRIMS-0005248058          2
 Emails/Attachments   PILGRIMS-0005248073            PILGRIMS-0005248087          2
 Emails/Attachments   PILGRIMS-0005248313            PILGRIMS-0005248318          2
 Emails/Attachments   PILGRIMS-0005248348            PILGRIMS-0005248350          1
 Emails/Attachments   PILGRIMS-0005248353            PILGRIMS-0005248498         68
 Emails/Attachments   PILGRIMS-0005248500            PILGRIMS-0005248621         59
 Emails/Attachments   PILGRIMS-0005248623            PILGRIMS-0005248642         12
 Emails/Attachments   PILGRIMS-0005248645            PILGRIMS-0005248805         78
 Emails/Attachments   PILGRIMS-0005248810            PILGRIMS-0005248883         44
 Emails/Attachments   PILGRIMS-0005248888            PILGRIMS-0005249149         126
 Emails/Attachments   PILGRIMS-0005249151            PILGRIMS-0005249162          4
 Emails/Attachments   PILGRIMS-0005249164            PILGRIMS-0005249210         20
 Emails/Attachments   PILGRIMS-0005249212            PILGRIMS-0005249214          1
 Emails/Attachments   PILGRIMS-0005249218            PILGRIMS-0005249236         16
 Emails/Attachments   PILGRIMS-0005249240            PILGRIMS-0005249253         13
 Emails/Attachments   PILGRIMS-0005249292            PILGRIMS-0005249345         42
 Emails/Attachments   PILGRIMS-0005249350            PILGRIMS-0005249473         75
 Emails/Attachments   PILGRIMS-0005249476            PILGRIMS-0005249711         71
 Emails/Attachments   PILGRIMS-0005249716            PILGRIMS-0005250012         160
 Emails/Attachments   PILGRIMS-0005250014            PILGRIMS-0005250112         47
 Emails/Attachments   PILGRIMS-0005250114            PILGRIMS-0005250153         24
 Emails/Attachments   PILGRIMS-0005250157            PILGRIMS-0005250198         12
 Emails/Attachments   PILGRIMS-0005250200            PILGRIMS-0005250218         10
 Emails/Attachments   PILGRIMS-0005250220            PILGRIMS-0005250302         37


                                    Page 78 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 102 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005250306            PILGRIMS-0005250348         29
 Emails/Attachments   PILGRIMS-0005250353            PILGRIMS-0005250363          7
 Emails/Attachments   PILGRIMS-0005250365            PILGRIMS-0005250369          4
 Emails/Attachments   PILGRIMS-0005250372            PILGRIMS-0005250455         38
 Emails/Attachments   PILGRIMS-0005250457            PILGRIMS-0005250769         28
 Emails/Attachments   PILGRIMS-0005250771            PILGRIMS-0005250813         31
 Emails/Attachments   PILGRIMS-0005250815            PILGRIMS-0005250851         29
 Emails/Attachments   PILGRIMS-0005250853            PILGRIMS-0005250861          8
 Emails/Attachments   PILGRIMS-0005250863            PILGRIMS-0005251030         67
 Emails/Attachments   PILGRIMS-0005251032            PILGRIMS-0005251232         65
 Emails/Attachments   PILGRIMS-0005251234            PILGRIMS-0005251276         11
 Emails/Attachments   PILGRIMS-0005251286            PILGRIMS-0005251401         46
 Emails/Attachments   PILGRIMS-0005251425            PILGRIMS-0005251496         16
 Emails/Attachments   PILGRIMS-0005251501            PILGRIMS-0005251592         33
 Emails/Attachments   PILGRIMS-0005251594            PILGRIMS-0005251647         22
 Emails/Attachments   PILGRIMS-0005251649            PILGRIMS-0005251661         11
 Emails/Attachments   PILGRIMS-0005251663            PILGRIMS-0005251977         119
 Emails/Attachments   PILGRIMS-0005252104            PILGRIMS-0005252106          1
 Emails/Attachments   PILGRIMS-0005252113            PILGRIMS-0005252209         13
 Emails/Attachments   PILGRIMS-0005252236            PILGRIMS-0005252288         31
 Emails/Attachments   PILGRIMS-0005252344            PILGRIMS-0005252386         12
 Emails/Attachments   PILGRIMS-0005252388            PILGRIMS-0005252470         44
 Emails/Attachments   PILGRIMS-0005252472            PILGRIMS-0005252509         14
 Emails/Attachments   PILGRIMS-0005252511            PILGRIMS-0005252705         35
 Emails/Attachments   PILGRIMS-0005252741            PILGRIMS-0005252767         16
 Emails/Attachments   PILGRIMS-0005252769            PILGRIMS-0005252878         21
 Emails/Attachments   PILGRIMS-0005252880            PILGRIMS-0005252884          3
 Emails/Attachments   PILGRIMS-0005252962            PILGRIMS-0005252978          9
 Emails/Attachments   PILGRIMS-0005252980            PILGRIMS-0005253002         16
 Emails/Attachments   PILGRIMS-0005253004            PILGRIMS-0005253016         10
 Emails/Attachments   PILGRIMS-0005253018            PILGRIMS-0005253046         15
 Emails/Attachments   PILGRIMS-0005253056            PILGRIMS-0005253305         86
 Emails/Attachments   PILGRIMS-0005253307            PILGRIMS-0005253557         152
 Emails/Attachments   PILGRIMS-0005253559            PILGRIMS-0005253781         59
 Emails/Attachments   PILGRIMS-0005253783            PILGRIMS-0005253788          6
 Emails/Attachments   PILGRIMS-0005253790            PILGRIMS-0005253821         24
 Emails/Attachments   PILGRIMS-0005253823            PILGRIMS-0005253826          4
 Emails/Attachments   PILGRIMS-0005253830            PILGRIMS-0005253892         26
 Emails/Attachments   PILGRIMS-0005253894            PILGRIMS-0005253936         34
 Emails/Attachments   PILGRIMS-0005253938            PILGRIMS-0005253973         27
 Emails/Attachments   PILGRIMS-0005253975            PILGRIMS-0005254015         25
 Emails/Attachments   PILGRIMS-0005254017            PILGRIMS-0005254054         30
 Emails/Attachments   PILGRIMS-0005254056            PILGRIMS-0005254157         72
 Emails/Attachments   PILGRIMS-0005254159            PILGRIMS-0005254172         14
 Emails/Attachments   PILGRIMS-0005254175            PILGRIMS-0005254176          2
 Emails/Attachments   PILGRIMS-0005254178            PILGRIMS-0005254213         12


                                    Page 79 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 103 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005254223            PILGRIMS-0005254272         27
 Emails/Attachments   PILGRIMS-0005254274            PILGRIMS-0005254323         32
 Emails/Attachments   PILGRIMS-0005254325            PILGRIMS-0005254329          3
 Emails/Attachments   PILGRIMS-0005254332            PILGRIMS-0005254350         12
 Emails/Attachments   PILGRIMS-0005254352            PILGRIMS-0005254446         49
 Emails/Attachments   PILGRIMS-0005254448            PILGRIMS-0005254467         16
 Emails/Attachments   PILGRIMS-0005254469            PILGRIMS-0005254520         39
 Emails/Attachments   PILGRIMS-0005254522            PILGRIMS-0005254544         14
 Emails/Attachments   PILGRIMS-0005254548            PILGRIMS-0005254562         13
 Emails/Attachments   PILGRIMS-0005254564            PILGRIMS-0005254567          4
 Emails/Attachments   PILGRIMS-0005254569            PILGRIMS-0005254592         14
 Emails/Attachments   PILGRIMS-0005254594            PILGRIMS-0005254595          2
 Emails/Attachments   PILGRIMS-0005254597            PILGRIMS-0005254609          7
 Emails/Attachments   PILGRIMS-0005254611            PILGRIMS-0005254697         36
 Emails/Attachments   PILGRIMS-0005254699            PILGRIMS-0005254700          2
 Emails/Attachments   PILGRIMS-0005254703            PILGRIMS-0005254820         89
 Emails/Attachments   PILGRIMS-0005254822            PILGRIMS-0005254832         11
 Emails/Attachments   PILGRIMS-0005254834            PILGRIMS-0005254837          4
 Emails/Attachments   PILGRIMS-0005254839            PILGRIMS-0005254840          2
 Emails/Attachments   PILGRIMS-0005254851            PILGRIMS-0005254951         49
 Emails/Attachments   PILGRIMS-0005254953            PILGRIMS-0005255000         27
 Emails/Attachments   PILGRIMS-0005255005            PILGRIMS-0005255009          2
 Emails/Attachments   PILGRIMS-0005255011            PILGRIMS-0005255186         78
 Emails/Attachments   PILGRIMS-0005255254            PILGRIMS-0005255265          8
 Emails/Attachments   PILGRIMS-0005255291            PILGRIMS-0005255292          2
 Emails/Attachments   PILGRIMS-0005255294            PILGRIMS-0005255301          5
 Emails/Attachments   PILGRIMS-0005255303            PILGRIMS-0005255316          9
 Emails/Attachments   PILGRIMS-0005255318            PILGRIMS-0005255442         22
 Emails/Attachments   PILGRIMS-0005255444            PILGRIMS-0005255457         10
 Emails/Attachments   PILGRIMS-0005255459            PILGRIMS-0005255462          4
 Emails/Attachments   PILGRIMS-0005255464            PILGRIMS-0005255465          1
 Emails/Attachments   PILGRIMS-0005255467            PILGRIMS-0005255554         52
 Emails/Attachments   PILGRIMS-0005255557            PILGRIMS-0005255578         19
 Emails/Attachments   PILGRIMS-0005255580            PILGRIMS-0005255582          3
 Emails/Attachments   PILGRIMS-0005255584            PILGRIMS-0005255617         27
 Emails/Attachments   PILGRIMS-0005255619            PILGRIMS-0005255668         28
 Emails/Attachments   PILGRIMS-0005255670            PILGRIMS-0005255683          6
 Emails/Attachments   PILGRIMS-0005255685            PILGRIMS-0005255686          2
 Emails/Attachments   PILGRIMS-0005255688            PILGRIMS-0005255784         51
 Emails/Attachments   PILGRIMS-0005255788            PILGRIMS-0005255791          4
 Emails/Attachments   PILGRIMS-0005255793            PILGRIMS-0005255801          9
 Emails/Attachments   PILGRIMS-0005255803            PILGRIMS-0005255919         43
 Emails/Attachments   PILGRIMS-0005255921            PILGRIMS-0005255982         30
 Emails/Attachments   PILGRIMS-0005255989            PILGRIMS-0005255995          2
 Emails/Attachments   PILGRIMS-0005255997            PILGRIMS-0005256044         25
 Emails/Attachments   PILGRIMS-0005256046            PILGRIMS-0005256177         61


                                    Page 80 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 104 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005256181            PILGRIMS-0005256182          2
 Emails/Attachments   PILGRIMS-0005256185            PILGRIMS-0005256202          8
 Emails/Attachments   PILGRIMS-0005256204            PILGRIMS-0005256307         18
 Emails/Attachments   PILGRIMS-0005256329            PILGRIMS-0005256336          4
 Emails/Attachments   PILGRIMS-0005256358            PILGRIMS-0005256358          1
 Emails/Attachments   PILGRIMS-0005256360            PILGRIMS-0005256408         20
 Emails/Attachments   PILGRIMS-0005256411            PILGRIMS-0005256474         32
 Emails/Attachments   PILGRIMS-0005256480            PILGRIMS-0005256486          6
 Emails/Attachments   PILGRIMS-0005256488            PILGRIMS-0005256592         51
 Emails/Attachments   PILGRIMS-0005256594            PILGRIMS-0005256601          8
 Emails/Attachments   PILGRIMS-0005256607            PILGRIMS-0005256723         50
 Emails/Attachments   PILGRIMS-0005256726            PILGRIMS-0005256741         10
 Emails/Attachments   PILGRIMS-0005256745            PILGRIMS-0005256747          2
 Emails/Attachments   PILGRIMS-0005256751            PILGRIMS-0005256820         32
 Emails/Attachments   PILGRIMS-0005256827            PILGRIMS-0005257009          4
 Emails/Attachments   PILGRIMS-0005257011            PILGRIMS-0005257049         18
 Emails/Attachments   PILGRIMS-0005257051            PILGRIMS-0005257084         14
 Emails/Attachments   PILGRIMS-0005257086            PILGRIMS-0005257137         24
 Emails/Attachments   PILGRIMS-0005257139            PILGRIMS-0005257142          3
 Emails/Attachments   PILGRIMS-0005257144            PILGRIMS-0005257146          2
 Emails/Attachments   PILGRIMS-0005257148            PILGRIMS-0005257155          7
 Emails/Attachments   PILGRIMS-0005257158            PILGRIMS-0005257174          9
 Emails/Attachments   PILGRIMS-0005257177            PILGRIMS-0005257325         46
 Emails/Attachments   PILGRIMS-0005257327            PILGRIMS-0005257374         21
 Emails/Attachments   PILGRIMS-0005257376            PILGRIMS-0005257379          3
 Emails/Attachments   PILGRIMS-0005257384            PILGRIMS-0005257388          3
 Emails/Attachments   PILGRIMS-0005257390            PILGRIMS-0005257395          2
 Emails/Attachments   PILGRIMS-0005257397            PILGRIMS-0005257409          8
 Emails/Attachments   PILGRIMS-0005257411            PILGRIMS-0005257570         61
 Emails/Attachments   PILGRIMS-0005257575            PILGRIMS-0005257577          3
 Emails/Attachments   PILGRIMS-0005257579            PILGRIMS-0005257585          6
 Emails/Attachments   PILGRIMS-0005257587            PILGRIMS-0005257589          1
 Emails/Attachments   PILGRIMS-0005257591            PILGRIMS-0005257604          9
 Emails/Attachments   PILGRIMS-0005257607            PILGRIMS-0005257642         18
 Emails/Attachments   PILGRIMS-0005257644            PILGRIMS-0005257645          2
 Emails/Attachments   PILGRIMS-0005257650            PILGRIMS-0005257672         17
 Emails/Attachments   PILGRIMS-0005257678            PILGRIMS-0005257679          2
 Emails/Attachments   PILGRIMS-0005257681            PILGRIMS-0005257683          2
 Emails/Attachments   PILGRIMS-0005257685            PILGRIMS-0005257699         10
 Emails/Attachments   PILGRIMS-0005257701            PILGRIMS-0005257702          2
 Emails/Attachments   PILGRIMS-0005257704            PILGRIMS-0005257712          8
 Emails/Attachments   PILGRIMS-0005257720            PILGRIMS-0005257724          5
 Emails/Attachments   PILGRIMS-0005257726            PILGRIMS-0005257800         39
 Emails/Attachments   PILGRIMS-0005257803            PILGRIMS-0005257810          8
 Emails/Attachments   PILGRIMS-0005257812            PILGRIMS-0005257814          1
 Emails/Attachments   PILGRIMS-0005257819            PILGRIMS-0005257829          8


                                    Page 81 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 105 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005257831            PILGRIMS-0005257848         13
 Emails/Attachments   PILGRIMS-0005257873            PILGRIMS-0005257886         11
 Emails/Attachments   PILGRIMS-0005257888            PILGRIMS-0005257898          9
 Emails/Attachments   PILGRIMS-0005257900            PILGRIMS-0005257907          8
 Emails/Attachments   PILGRIMS-0005257913            PILGRIMS-0005257926         11
 Emails/Attachments   PILGRIMS-0005257928            PILGRIMS-0005257945         13
 Emails/Attachments   PILGRIMS-0005257947            PILGRIMS-0005257951          4
 Emails/Attachments   PILGRIMS-0005257953            PILGRIMS-0005257954          2
 Emails/Attachments   PILGRIMS-0005257956            PILGRIMS-0005257957          2
 Emails/Attachments   PILGRIMS-0005257960            PILGRIMS-0005257985         15
 Emails/Attachments   PILGRIMS-0005257987            PILGRIMS-0005257991          4
 Emails/Attachments   PILGRIMS-0005257993            PILGRIMS-0005257997          4
 Emails/Attachments   PILGRIMS-0005258001            PILGRIMS-0005258011          9
 Emails/Attachments   PILGRIMS-0005258014            PILGRIMS-0005258044         19
 Emails/Attachments   PILGRIMS-0005258048            PILGRIMS-0005258049          2
 Emails/Attachments   PILGRIMS-0005258052            PILGRIMS-0005258089         26
 Emails/Attachments   PILGRIMS-0005258091            PILGRIMS-0005258096          6
 Emails/Attachments   PILGRIMS-0005258101            PILGRIMS-0005258114         12
 Emails/Attachments   PILGRIMS-0005258116            PILGRIMS-0005258165         40
 Emails/Attachments   PILGRIMS-0005258171            PILGRIMS-0005258189         10
 Emails/Attachments   PILGRIMS-0005258200            PILGRIMS-0005258210          2
 Emails/Attachments   PILGRIMS-0005258221            PILGRIMS-0005258236         12
 Emails/Attachments   PILGRIMS-0005258238            PILGRIMS-0005258256         15
 Emails/Attachments   PILGRIMS-0005258258            PILGRIMS-0005258265          7
 Emails/Attachments   PILGRIMS-0005258269            PILGRIMS-0005258276          6
 Emails/Attachments   PILGRIMS-0005258278            PILGRIMS-0005258325         25
 Emails/Attachments   PILGRIMS-0005258327            PILGRIMS-0005258328          1
 Emails/Attachments   PILGRIMS-0005258332            PILGRIMS-0005258338          5
 Emails/Attachments   PILGRIMS-0005258340            PILGRIMS-0005258347          7
 Emails/Attachments   PILGRIMS-0005258349            PILGRIMS-0005258442         37
 Emails/Attachments   PILGRIMS-0005258444            PILGRIMS-0005258484         19
 Emails/Attachments   PILGRIMS-0005258492            PILGRIMS-0005258855         173
 Emails/Attachments   PILGRIMS-0005258857            PILGRIMS-0005258861          3
 Emails/Attachments   PILGRIMS-0005258863            PILGRIMS-0005258945         42
 Emails/Attachments   PILGRIMS-0005258947            PILGRIMS-0005258950          3
 Emails/Attachments   PILGRIMS-0005258953            PILGRIMS-0005259004         30
 Emails/Attachments   PILGRIMS-0005259006            PILGRIMS-0005259045         26
 Emails/Attachments   PILGRIMS-0005259048            PILGRIMS-0005259056          9
 Emails/Attachments   PILGRIMS-0005259058            PILGRIMS-0005259169         50
 Emails/Attachments   PILGRIMS-0005259171            PILGRIMS-0005259237         39
 Emails/Attachments   PILGRIMS-0005259240            PILGRIMS-0005259414         82
 Emails/Attachments   PILGRIMS-0005259416            PILGRIMS-0005259428          9
 Emails/Attachments   PILGRIMS-0005259430            PILGRIMS-0005259444          9
 Emails/Attachments   PILGRIMS-0005259446            PILGRIMS-0005259485         18
 Emails/Attachments   PILGRIMS-0005259487            PILGRIMS-0005259633         67
 Emails/Attachments   PILGRIMS-0005259635            PILGRIMS-0005260151         261


                                    Page 82 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 106 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005260153            PILGRIMS-0005260214         30
 Emails/Attachments   PILGRIMS-0005260216            PILGRIMS-0005261809         742
 Emails/Attachments   PILGRIMS-0005261811            PILGRIMS-0005261935         50
 Emails/Attachments   PILGRIMS-0005261937            PILGRIMS-0005262100         75
 Emails/Attachments   PILGRIMS-0005262102            PILGRIMS-0005262158         24
 Emails/Attachments   PILGRIMS-0005262160            PILGRIMS-0005262164          3
 Emails/Attachments   PILGRIMS-0005262166            PILGRIMS-0005262291         56
 Emails/Attachments   PILGRIMS-0005262293            PILGRIMS-0005262612         108
 Emails/Attachments   PILGRIMS-0005262616            PILGRIMS-0005262668         19
 Emails/Attachments   PILGRIMS-0005262670            PILGRIMS-0005264091         559
 Emails/Attachments   PILGRIMS-0005264093            PILGRIMS-0005264307         122
 Emails/Attachments   PILGRIMS-0005264309            PILGRIMS-0005264533         148
 Emails/Attachments   PILGRIMS-0005264535            PILGRIMS-0005264912         198
 Emails/Attachments   PILGRIMS-0005264916            PILGRIMS-0005264923          8
 Emails/Attachments   PILGRIMS-0005264925            PILGRIMS-0005264926          1
 Emails/Attachments   PILGRIMS-0005264928            PILGRIMS-0005265769         422
 Emails/Attachments   PILGRIMS-0005265771            PILGRIMS-0005265871         65
 Emails/Attachments   PILGRIMS-0005265874            PILGRIMS-0005265931         41
 Emails/Attachments   PILGRIMS-0005265933            PILGRIMS-0005265980         31
 Emails/Attachments   PILGRIMS-0005265982            PILGRIMS-0005266133         137
 Emails/Attachments   PILGRIMS-0005266135            PILGRIMS-0005266224         47
 Emails/Attachments   PILGRIMS-0005266226            PILGRIMS-0005266346         84
 Emails/Attachments   PILGRIMS-0005266348            PILGRIMS-0005266349          2
 Emails/Attachments   PILGRIMS-0005266351            PILGRIMS-0005266629         202
 Emails/Attachments   PILGRIMS-0005266631            PILGRIMS-0005266785         106
 Emails/Attachments   PILGRIMS-0005266788            PILGRIMS-0005266847         46
 Emails/Attachments   PILGRIMS-0005266849            PILGRIMS-0005267119         138
 Emails/Attachments   PILGRIMS-0005267121            PILGRIMS-0005267207         70
 Emails/Attachments   PILGRIMS-0005267209            PILGRIMS-0005267426         127
 Emails/Attachments   PILGRIMS-0005267429            PILGRIMS-0005267445         13
 Emails/Attachments   PILGRIMS-0005267447            PILGRIMS-0005267460         14
 Emails/Attachments   PILGRIMS-0005267463            PILGRIMS-0005267466          3
 Emails/Attachments   PILGRIMS-0005267470            PILGRIMS-0005267799         239
 Emails/Attachments   PILGRIMS-0005267802            PILGRIMS-0005267865         41
 Emails/Attachments   PILGRIMS-0005267867            PILGRIMS-0005267963         58
 Emails/Attachments   PILGRIMS-0005267967            PILGRIMS-0005268449         283
 Emails/Attachments   PILGRIMS-0005268452            PILGRIMS-0005268707         88
 Emails/Attachments   PILGRIMS-0005268711            PILGRIMS-0005268891         80
 Emails/Attachments   PILGRIMS-0005268893            PILGRIMS-0005269276         239
 Emails/Attachments   PILGRIMS-0005269279            PILGRIMS-0005269472         78
 Emails/Attachments   PILGRIMS-0005269475            PILGRIMS-0005270676         701
 Emails/Attachments   PILGRIMS-0005270697            PILGRIMS-0005270803         81
 Emails/Attachments   PILGRIMS-0005271948            PILGRIMS-0005271984         12
 Emails/Attachments   PILGRIMS-0005275987            PILGRIMS-0005276408         128
 Emails/Attachments   PILGRIMS-0005276410            PILGRIMS-0005277370         229
 Emails/Attachments   PILGRIMS-0005277372            PILGRIMS-0005278192         389


                                    Page 83 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 107 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005278194            PILGRIMS-0005278766         230
 Emails/Attachments   PILGRIMS-0005278919            PILGRIMS-0005279839         178
 Emails/Attachments   PILGRIMS-0005279872            PILGRIMS-0005280415         191
 Emails/Attachments   PILGRIMS-0005280417            PILGRIMS-0005281612         455
 Emails/Attachments   PILGRIMS-0005281619            PILGRIMS-0005282712         387
 Emails/Attachments   PILGRIMS-0005282714            PILGRIMS-0005282941         100
 Emails/Attachments   PILGRIMS-0005283062            PILGRIMS-0005284393         553
 Emails/Attachments   PILGRIMS-0005284395            PILGRIMS-0005284951         231
 Emails/Attachments   PILGRIMS-0005284953            PILGRIMS-0005285105          62
 Emails/Attachments   PILGRIMS-0005285120            PILGRIMS-0005287071         963
 Emails/Attachments   PILGRIMS-0005287073            PILGRIMS-0005287128          36
 Emails/Attachments   PILGRIMS-0005287130            PILGRIMS-0005287137           4
 Emails/Attachments   PILGRIMS-0005287139            PILGRIMS-0005287315         106
 Emails/Attachments   PILGRIMS-0005287414            PILGRIMS-0005288019         166
 Emails/Attachments   PILGRIMS-0005288021            PILGRIMS-0005288103          59
 Emails/Attachments   PILGRIMS-0005288181            PILGRIMS-0005314370        11,958
 Emails/Attachments   PILGRIMS-0005314441            PILGRIMS-0005315480         116
 Emails/Attachments   PILGRIMS-0005315482            PILGRIMS-0005316084          75
 Emails/Attachments   PILGRIMS-0005316086            PILGRIMS-0005317830         313
 Emails/Attachments   PILGRIMS-0005317907            PILGRIMS-0005318309         100
 Emails/Attachments   PILGRIMS-0005318318            PILGRIMS-0005318478          63
 Emails/Attachments   PILGRIMS-0005318481            PILGRIMS-0005318482           2
 Emails/Attachments   PILGRIMS-0005318484            PILGRIMS-0005318514           8
 Emails/Attachments   PILGRIMS-0005318516            PILGRIMS-0005318520           5
 Emails/Attachments   PILGRIMS-0005318536            PILGRIMS-0005319105          96
 Emails/Attachments   PILGRIMS-0005319107            PILGRIMS-0005319115           2
 Emails/Attachments   PILGRIMS-0005319117            PILGRIMS-0005319142          11
 Emails/Attachments   PILGRIMS-0005319145            PILGRIMS-0005319200           8
 Emails/Attachments   PILGRIMS-0005319230            PILGRIMS-0005319424          39
 Emails/Attachments   PILGRIMS-0005319426            PILGRIMS-0005319440           6
 Emails/Attachments   PILGRIMS-0005319443            PILGRIMS-0005319455           8
 Emails/Attachments   PILGRIMS-0005319458            PILGRIMS-0005319482          14
 Emails/Attachments   PILGRIMS-0005319484            PILGRIMS-0005319583          38
 Emails/Attachments   PILGRIMS-0005319607            PILGRIMS-0005319763          21
 Emails/Attachments   PILGRIMS-0005319782            PILGRIMS-0005319862           8
 Emails/Attachments   PILGRIMS-0005319894            PILGRIMS-0005320096          36
 Emails/Attachments   PILGRIMS-0005320109            PILGRIMS-0005320295          15
 Emails/Attachments   PILGRIMS-0005320298            PILGRIMS-0005320301           4
 Emails/Attachments   PILGRIMS-0005320355            PILGRIMS-0005320699          22
 Emails/Attachments   PILGRIMS-0005320740            PILGRIMS-0005320780           3
 Emails/Attachments   PILGRIMS-0005320797            PILGRIMS-0005320863          13
 Emails/Attachments   PILGRIMS-0005320866            PILGRIMS-0005321078          28
 Emails/Attachments   PILGRIMS-0005321094            PILGRIMS-0005321133           5
 Emails/Attachments   PILGRIMS-0005321135            PILGRIMS-0005321186          16
 Emails/Attachments   PILGRIMS-0005321192            PILGRIMS-0005321269          29
 Emails/Attachments   PILGRIMS-0005321350            PILGRIMS-0005321351           2


                                    Page 84 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 108 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005321366            PILGRIMS-0005321380          12
 Emails/Attachments   PILGRIMS-0005321398            PILGRIMS-0005321545          28
 Emails/Attachments   PILGRIMS-0005321563            PILGRIMS-0005321721         104
 Emails/Attachments   PILGRIMS-0005321798            PILGRIMS-0005322232          99
 Emails/Attachments   PILGRIMS-0005322246            PILGRIMS-0005322273           4
 Emails/Attachments   PILGRIMS-0005322287            PILGRIMS-0005322535         107
 Emails/Attachments   PILGRIMS-0005322538            PILGRIMS-0005322540           2
 Emails/Attachments   PILGRIMS-0005322556            PILGRIMS-0005322763          54
 Emails/Attachments   PILGRIMS-0005322768            PILGRIMS-0005322772           4
 Emails/Attachments   PILGRIMS-0005322786            PILGRIMS-0005322792           4
 Emails/Attachments   PILGRIMS-0005322796            PILGRIMS-0005322802           4
 Emails/Attachments   PILGRIMS-0005322807            PILGRIMS-0005322809           2
 Emails/Attachments   PILGRIMS-0005322812            PILGRIMS-0005322833          18
 Emails/Attachments   PILGRIMS-0005322837            PILGRIMS-0005322842           4
 Emails/Attachments   PILGRIMS-0005322850            PILGRIMS-0005322920          12
 Emails/Attachments   PILGRIMS-0005322923            PILGRIMS-0005322926           2
 Emails/Attachments   PILGRIMS-0005322933            PILGRIMS-0005322942           6
 Emails/Attachments   PILGRIMS-0005322945            PILGRIMS-0005322946           2
 Emails/Attachments   PILGRIMS-0005322953            PILGRIMS-0005322954           2
 Emails/Attachments   PILGRIMS-0005322958            PILGRIMS-0005322977          14
 Emails/Attachments   PILGRIMS-0005322987            PILGRIMS-0005323170          19
 Emails/Attachments   PILGRIMS-0005323178            PILGRIMS-0005323187           6
 Emails/Attachments   PILGRIMS-0005323219            PILGRIMS-0005323255           4
 Emails/Attachments   PILGRIMS-0005323277            PILGRIMS-0005323836         166
 Emails/Attachments   PILGRIMS-0005323844            PILGRIMS-0005364024        7,021
 Emails/Attachments   PILGRIMS-0005364026            PILGRIMS-0005364168          94
 Emails/Attachments   PILGRIMS-0005364171            PILGRIMS-0005364429         169
 Emails/Attachments   PILGRIMS-0005364431            PILGRIMS-0005364468          24
 Emails/Attachments   PILGRIMS-0005364470            PILGRIMS-0005364731         134
 Emails/Attachments   PILGRIMS-0005364733            PILGRIMS-0005364791          35
 Emails/Attachments   PILGRIMS-0005364793            PILGRIMS-0005364855          46
 Emails/Attachments   PILGRIMS-0005364859            PILGRIMS-0005377166        4,238
 Emails/Attachments   PILGRIMS-0005377168            PILGRIMS-0005377318         121
 Emails/Attachments   PILGRIMS-0005377324            PILGRIMS-0005381084        1,519
 Emails/Attachments   PILGRIMS-0005381086            PILGRIMS-0005383258         576
 Emails/Attachments   PILGRIMS-0005383260            PILGRIMS-0005384745         337
 Emails/Attachments   PILGRIMS-0005384748            PILGRIMS-0005385551         134
 Emails/Attachments   PILGRIMS-0005385553            PILGRIMS-0005386187         173
 Emails/Attachments   PILGRIMS-0005386189            PILGRIMS-0005386224          22
 Emails/Attachments   PILGRIMS-0005386226            PILGRIMS-0005388317         639
 Emails/Attachments   PILGRIMS-0005388319            PILGRIMS-0005388434          22
 Emails/Attachments   PILGRIMS-0005388436            PILGRIMS-0005390452        1,169
 Emails/Attachments   PILGRIMS-0005390454            PILGRIMS-0005391684         725
 Emails/Attachments   PILGRIMS-0005391686            PILGRIMS-0005392907         597
 Emails/Attachments   PILGRIMS-0005392909            PILGRIMS-0005392958          44
 Emails/Attachments   PILGRIMS-0005392960            PILGRIMS-0005393921         348


                                    Page 85 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 109 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005393923            PILGRIMS-0005394988          87
 Emails/Attachments   PILGRIMS-0005394990            PILGRIMS-0005395070          33
 Emails/Attachments   PILGRIMS-0005395072            PILGRIMS-0005395764         369
 Emails/Attachments   PILGRIMS-0005395766            PILGRIMS-0005398111         863
 Emails/Attachments   PILGRIMS-0005398113            PILGRIMS-0005403590        2,524
 Emails/Attachments   PILGRIMS-0005403592            PILGRIMS-0005409337        3,080
 Emails/Attachments   PILGRIMS-0005409339            PILGRIMS-0005409653         146
 Emails/Attachments   PILGRIMS-0005409655            PILGRIMS-0005410706          66
 Emails/Attachments   PILGRIMS-0005410708            PILGRIMS-0005411244          67
 Emails/Attachments   PILGRIMS-0005411246            PILGRIMS-0005417434         569
 Emails/Attachments   PILGRIMS-0005417474            PILGRIMS-0005417560          31
 Emails/Attachments   PILGRIMS-0005417562            PILGRIMS-0005418498         476
 Emails/Attachments   PILGRIMS-0005418500            PILGRIMS-0005423313         297
 Emails/Attachments   PILGRIMS-0005423412            PILGRIMS-0005430985         638
 Emails/Attachments   PILGRIMS-0005431682            PILGRIMS-0005432166          18
 Emails/Attachments   PILGRIMS-0005432168            PILGRIMS-0005435242         182
 Emails/Attachments   PILGRIMS-0005435244            PILGRIMS-0005437696         680
 Emails/Attachments   PILGRIMS-0005437698            PILGRIMS-0005438340          32
 Emails/Attachments   PILGRIMS-0005438364            PILGRIMS-0005444166         368
 Emails/Attachments   PILGRIMS-0005444168            PILGRIMS-0005444402          16
 Emails/Attachments   PILGRIMS-0005444404            PILGRIMS-0005445417         150
 Emails/Attachments   PILGRIMS-0005445420            PILGRIMS-0005446548         126
 Emails/Attachments   PILGRIMS-0005446550            PILGRIMS-0005451178         375
 Emails/Attachments   PILGRIMS-0005451208            PILGRIMS-0005452573         139
 Emails/Attachments   PILGRIMS-0005452675            PILGRIMS-0005453059          79
 Emails/Attachments   PILGRIMS-0005453061            PILGRIMS-0005453062           2
 Emails/Attachments   PILGRIMS-0005454087            PILGRIMS-0005454692          67
 Emails/Attachments   PILGRIMS-0005454694            PILGRIMS-0005454860          41
 Emails/Attachments   PILGRIMS-0005454862            PILGRIMS-0005456854         250
 Emails/Attachments   PILGRIMS-0005456856            PILGRIMS-0005457554         356
 Emails/Attachments   PILGRIMS-0005457556            PILGRIMS-0005458347          59
 Emails/Attachments   PILGRIMS-0005458429            PILGRIMS-0005458636           4
 Emails/Attachments   PILGRIMS-0005458638            PILGRIMS-0005461912         343
 Emails/Attachments   PILGRIMS-0005462455            PILGRIMS-0005462523          39
 Emails/Attachments   PILGRIMS-0005462526            PILGRIMS-0005466837         975
 Emails/Attachments   PILGRIMS-0005466884            PILGRIMS-0005470285         792
 Emails/Attachments   PILGRIMS-0005470288            PILGRIMS-0005470296           9
 Emails/Attachments   PILGRIMS-0005470298            PILGRIMS-0005476206          46
 Emails/Attachments   PILGRIMS-0005476208            PILGRIMS-0005480815          95
 Emails/Attachments   PILGRIMS-0005480817            PILGRIMS-0005481877         721
 Emails/Attachments   PILGRIMS-0005481879            PILGRIMS-0005483445           9
 Emails/Attachments   PILGRIMS-0005483449            PILGRIMS-0005483709          23
 Emails/Attachments   PILGRIMS-0005483711            PILGRIMS-0005485285          20
 Emails/Attachments   PILGRIMS-0005485287            PILGRIMS-0005503127         223
 Emails/Attachments   PILGRIMS-0005503131            PILGRIMS-0005503886          24
 Emails/Attachments   PILGRIMS-0005503888            PILGRIMS-0005519391         443


                                    Page 86 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 110 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005519393            PILGRIMS-0005519469         30
 Emails/Attachments   PILGRIMS-0005519471            PILGRIMS-0005520532         20
 Emails/Attachments   PILGRIMS-0005520534            PILGRIMS-0005527594         74
 Emails/Attachments   PILGRIMS-0005527596            PILGRIMS-0005534294         72
 Emails/Attachments   PILGRIMS-0005534296            PILGRIMS-0005535153         32
 Emails/Attachments   PILGRIMS-0005535167            PILGRIMS-0005536617         59
 Emails/Attachments   PILGRIMS-0005536667            PILGRIMS-0005544135         205
 Emails/Attachments   PILGRIMS-0005544139            PILGRIMS-0005544142          4
 Emails/Attachments   PILGRIMS-0005544144            PILGRIMS-0005548379         202
 Emails/Attachments   PILGRIMS-0005548410            PILGRIMS-0005548762         76
 Emails/Attachments   PILGRIMS-0005548765            PILGRIMS-0005548774          9
 Emails/Attachments   PILGRIMS-0005548776            PILGRIMS-0005549409         78
 Emails/Attachments   PILGRIMS-0005549429            PILGRIMS-0005550597         78
 Emails/Attachments   PILGRIMS-0005550599            PILGRIMS-0005558192         181
 Emails/Attachments   PILGRIMS-0005558280            PILGRIMS-0005562577         21
 Emails/Attachments   PILGRIMS-0005562582            PILGRIMS-0005563023         26
 Emails/Attachments   PILGRIMS-0005563025            PILGRIMS-0005565800         102
 Emails/Attachments   PILGRIMS-0005565802            PILGRIMS-0005565832         28
 Emails/Attachments   PILGRIMS-0005565835            PILGRIMS-0005566883         92
 Emails/Attachments   PILGRIMS-0005566885            PILGRIMS-0005567021         26
 Emails/Attachments   PILGRIMS-0005567026            PILGRIMS-0005567099          8
 Emails/Attachments   PILGRIMS-0005567101            PILGRIMS-0005577307         171
 Emails/Attachments   PILGRIMS-0005577311            PILGRIMS-0005577513         10
 Emails/Attachments   PILGRIMS-0005577538            PILGRIMS-0005580118         13
 Emails/Attachments   PILGRIMS-0005580120            PILGRIMS-0005580226          2
 Emails/Attachments   PILGRIMS-0005580228            PILGRIMS-0005580845         89
 Emails/Attachments   PILGRIMS-0005580965            PILGRIMS-0005582507         53
 Emails/Attachments   PILGRIMS-0005582537            PILGRIMS-0005582548          7
 Emails/Attachments   PILGRIMS-0005582580            PILGRIMS-0005582586          2
 Emails/Attachments   PILGRIMS-0005582589            PILGRIMS-0005582923         127
 Emails/Attachments   PILGRIMS-0005584360            PILGRIMS-0005584405         13
 Emails/Attachments   PILGRIMS-0005585265            PILGRIMS-0005585340         11
 Emails/Attachments   PILGRIMS-0005585342            PILGRIMS-0005585889         16
 Emails/Attachments   PILGRIMS-0005585947            PILGRIMS-0005586202         19
 Emails/Attachments   PILGRIMS-0005586204            PILGRIMS-0005586415         139
 Emails/Attachments   PILGRIMS-0005586491            PILGRIMS-0005587265         31
 Emails/Attachments   PILGRIMS-0005587267            PILGRIMS-0005587308          4
 Emails/Attachments   PILGRIMS-0005587430            PILGRIMS-0005587441          8
 Emails/Attachments   PILGRIMS-0005587443            PILGRIMS-0005587644         34
 Emails/Attachments   PILGRIMS-0005587822            PILGRIMS-0005588166         32
 Emails/Attachments   PILGRIMS-0005588192            PILGRIMS-0005588431         11
 Emails/Attachments   PILGRIMS-0005588434            PILGRIMS-0005588441          4
 Emails/Attachments   PILGRIMS-0005588443            PILGRIMS-0005590394         207
 Emails/Attachments   PILGRIMS-0005592089            PILGRIMS-0005592092          4
 Emails/Attachments   PILGRIMS-0005592094            PILGRIMS-0005592185         50
 Emails/Attachments   PILGRIMS-0005592188            PILGRIMS-0005592203         12


                                    Page 87 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 111 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005592205            PILGRIMS-0005592224         13
 Emails/Attachments   PILGRIMS-0005592346            PILGRIMS-0005593007         20
 Emails/Attachments   PILGRIMS-0005593009            PILGRIMS-0005593454         52
 Emails/Attachments   PILGRIMS-0005593456            PILGRIMS-0005593703         27
 Emails/Attachments   PILGRIMS-0005593789            PILGRIMS-0005593790          2
 Emails/Attachments   PILGRIMS-0005593794            PILGRIMS-0005593819         13
 Emails/Attachments   PILGRIMS-0005594275            PILGRIMS-0005594357         15
 Emails/Attachments   PILGRIMS-0005595370            PILGRIMS-0005595375          2
 Emails/Attachments   PILGRIMS-0005595377            PILGRIMS-0005595632         19
 Emails/Attachments   PILGRIMS-0005595635            PILGRIMS-0005596049         27
 Emails/Attachments   PILGRIMS-0005596169            PILGRIMS-0005596446         57
 Emails/Attachments   PILGRIMS-0005596531            PILGRIMS-0005596538          4
 Emails/Attachments   PILGRIMS-0005596561            PILGRIMS-0005596562          2
 Emails/Attachments   PILGRIMS-0005598279            PILGRIMS-0005598843         24
 Emails/Attachments   PILGRIMS-0005598845            PILGRIMS-0005599214         18
 Emails/Attachments   PILGRIMS-0005599216            PILGRIMS-0005599428         47
 Emails/Attachments   PILGRIMS-0005599595            PILGRIMS-0005599629          7
 Emails/Attachments   PILGRIMS-0005599632            PILGRIMS-0005599819          7
 Emails/Attachments   PILGRIMS-0005599821            PILGRIMS-0005600270         31
 Emails/Attachments   PILGRIMS-0005600506            PILGRIMS-0005600889         19
 Emails/Attachments   PILGRIMS-0005600893            PILGRIMS-0005600904          9
 Emails/Attachments   PILGRIMS-0005600907            PILGRIMS-0005601496          5
 Emails/Attachments   PILGRIMS-0005602147            PILGRIMS-0005602382         15
 Emails/Attachments   PILGRIMS-0005602499            PILGRIMS-0005602559         25
 Emails/Attachments   PILGRIMS-0005602561            PILGRIMS-0005602682         66
 Emails/Attachments   PILGRIMS-0005602767            PILGRIMS-0005602782          7
 Emails/Attachments   PILGRIMS-0005602784            PILGRIMS-0005603243         58
 Emails/Attachments   PILGRIMS-0005603316            PILGRIMS-0005603359         16
 Emails/Attachments   PILGRIMS-0005603388            PILGRIMS-0005603943         18
 Emails/Attachments   PILGRIMS-0005605610            PILGRIMS-0005605896         18
 Emails/Attachments   PILGRIMS-0005605898            PILGRIMS-0005606023         20
 Emails/Attachments   PILGRIMS-0005606025            PILGRIMS-0005606061          7
 Emails/Attachments   PILGRIMS-0005606063            PILGRIMS-0005606297         39
 Emails/Attachments   PILGRIMS-0005606339            PILGRIMS-0005606396         24
 Emails/Attachments   PILGRIMS-0005606563            PILGRIMS-0005606564          2
 Emails/Attachments   PILGRIMS-0005606568            PILGRIMS-0005606644         24
 Emails/Attachments   PILGRIMS-0005607309            PILGRIMS-0005607351         25
 Emails/Attachments   PILGRIMS-0005608200            PILGRIMS-0005608395         25
 Emails/Attachments   PILGRIMS-0005608397            PILGRIMS-0005608398          2
 Emails/Attachments   PILGRIMS-0005608512            PILGRIMS-0005608569          4
 Emails/Attachments   PILGRIMS-0005608571            PILGRIMS-0005608634         13
 Emails/Attachments   PILGRIMS-0005608718            PILGRIMS-0005611072         176
 Emails/Attachments   PILGRIMS-0005611290            PILGRIMS-0005611527         12
 Emails/Attachments   PILGRIMS-0005611531            PILGRIMS-0005612307         144
 Emails/Attachments   PILGRIMS-0005613224            PILGRIMS-0005613231          8
 Emails/Attachments   PILGRIMS-0005613233            PILGRIMS-0005614389         29


                                    Page 88 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 112 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005615018            PILGRIMS-0005615511         124
 Emails/Attachments   PILGRIMS-0005615513            PILGRIMS-0005615515          2
 Emails/Attachments   PILGRIMS-0005615517            PILGRIMS-0005616560         187
 Emails/Attachments   PILGRIMS-0005617005            PILGRIMS-0005617720         160
 Emails/Attachments   PILGRIMS-0005617772            PILGRIMS-0005617800         25
 Emails/Attachments   PILGRIMS-0005617803            PILGRIMS-0005618396         45
 Emails/Attachments   PILGRIMS-0005619136            PILGRIMS-0005619790         47
 Emails/Attachments   PILGRIMS-0005619792            PILGRIMS-0005620263         47
 Emails/Attachments   PILGRIMS-0005620307            PILGRIMS-0005620308          2
 Emails/Attachments   PILGRIMS-0005620351            PILGRIMS-0005620357          3
 Emails/Attachments   PILGRIMS-0005620359            PILGRIMS-0005620474         19
 Emails/Attachments   PILGRIMS-0005620560            PILGRIMS-0005620562          2
 Emails/Attachments   PILGRIMS-0005620566            PILGRIMS-0005620621          8
 Emails/Attachments   PILGRIMS-0005620768            PILGRIMS-0005620769          2
 Emails/Attachments   PILGRIMS-0005620909            PILGRIMS-0005621199         20
 Emails/Attachments   PILGRIMS-0005621316            PILGRIMS-0005621321          6
 Emails/Attachments   PILGRIMS-0005622537            PILGRIMS-0005622604         18
 Emails/Attachments   PILGRIMS-0005622687            PILGRIMS-0005622850         24
 Emails/Attachments   PILGRIMS-0005622870            PILGRIMS-0005623333         39
 Emails/Attachments   PILGRIMS-0005623561            PILGRIMS-0005623800         12
 Emails/Attachments   PILGRIMS-0005623802            PILGRIMS-0005623819         18
 Emails/Attachments   PILGRIMS-0005623821            PILGRIMS-0005623833          9
 Emails/Attachments   PILGRIMS-0005624623            PILGRIMS-0005625289         58
 Emails/Attachments   PILGRIMS-0005626051            PILGRIMS-0005626056          2
 Emails/Attachments   PILGRIMS-0005626058            PILGRIMS-0005626193         13
 Emails/Attachments   PILGRIMS-0005626215            PILGRIMS-0005626506         91
 Emails/Attachments   PILGRIMS-0005626593            PILGRIMS-0005626784         15
 Emails/Attachments   PILGRIMS-0005626830            PILGRIMS-0005626833          4
 Emails/Attachments   PILGRIMS-0005626899            PILGRIMS-0005626910         11
 Emails/Attachments   PILGRIMS-0005626932            PILGRIMS-0005627727         12
 Emails/Attachments   PILGRIMS-0005629167            PILGRIMS-0005629168          2
 Emails/Attachments   PILGRIMS-0005629170            PILGRIMS-0005629173          4
 Emails/Attachments   PILGRIMS-0005629175            PILGRIMS-0005635455         46
 Emails/Attachments   PILGRIMS-0005636285            PILGRIMS-0005636747         114
 Emails/Attachments   PILGRIMS-0005636879            PILGRIMS-0005636880          2
 Emails/Attachments   PILGRIMS-0005636912            PILGRIMS-0005637653         60
 Emails/Attachments   PILGRIMS-0005637687            PILGRIMS-0005637730         26
 Emails/Attachments   PILGRIMS-0005637871            PILGRIMS-0005638020         25
 Emails/Attachments   PILGRIMS-0005638058            PILGRIMS-0005638119          6
 Emails/Attachments   PILGRIMS-0005638765            PILGRIMS-0005638991         36
 Emails/Attachments   PILGRIMS-0005642534            PILGRIMS-0005642569         12
 Emails/Attachments   PILGRIMS-0005642625            PILGRIMS-0005642626          2
 Emails/Attachments   PILGRIMS-0005642658            PILGRIMS-0005642770          2
 Emails/Attachments   PILGRIMS-0005642805            PILGRIMS-0005642870          2
 Emails/Attachments   PILGRIMS-0005642976            PILGRIMS-0005642987         12
 Emails/Attachments   PILGRIMS-0005642989            PILGRIMS-0005643003          4


                                    Page 89 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 113 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005644249            PILGRIMS-0005644298         15
 Emails/Attachments   PILGRIMS-0005644353            PILGRIMS-0005644490          2
 Emails/Attachments   PILGRIMS-0005644492            PILGRIMS-0005645257         60
 Emails/Attachments   PILGRIMS-0005645260            PILGRIMS-0005645630         13
 Emails/Attachments   PILGRIMS-0005650125            PILGRIMS-0005650448         38
 Emails/Attachments   PILGRIMS-0005650542            PILGRIMS-0005650694         14
 Emails/Attachments   PILGRIMS-0005650698            PILGRIMS-0005651267         10
 Emails/Attachments   PILGRIMS-0005651269            PILGRIMS-0005651274          2
 Emails/Attachments   PILGRIMS-0005651764            PILGRIMS-0005651788         15
 Emails/Attachments   PILGRIMS-0005652374            PILGRIMS-0005652865         201
 Emails/Attachments   PILGRIMS-0005652867            PILGRIMS-0005653258         35
 Emails/Attachments   PILGRIMS-0005654025            PILGRIMS-0005654689         113
 Emails/Attachments   PILGRIMS-0005654692            PILGRIMS-0005654978         30
 Emails/Attachments   PILGRIMS-0005660286            PILGRIMS-0005660377         19
 Emails/Attachments   PILGRIMS-0005660495            PILGRIMS-0005660502          4
 Emails/Attachments   PILGRIMS-0005660506            PILGRIMS-0005660537         27
 Emails/Attachments   PILGRIMS-0005660539            PILGRIMS-0005660595         20
 Emails/Attachments   PILGRIMS-0005661897            PILGRIMS-0005662706         70
 Emails/Attachments   PILGRIMS-0005667863            PILGRIMS-0005667933         24
 Emails/Attachments   PILGRIMS-0005668029            PILGRIMS-0005668030          2
 Emails/Attachments   PILGRIMS-0005668047            PILGRIMS-0005668497         118
 Emails/Attachments   PILGRIMS-0005668499            PILGRIMS-0005668502          4
 Emails/Attachments   PILGRIMS-0005668504            PILGRIMS-0005668885         41
 Emails/Attachments   PILGRIMS-0005668887            PILGRIMS-0005669005          8
 Emails/Attachments   PILGRIMS-0005670601            PILGRIMS-0005670620         10
 Emails/Attachments   PILGRIMS-0005670622            PILGRIMS-0005670828         16
 Emails/Attachments   PILGRIMS-0005671148            PILGRIMS-0005671162          6
 Emails/Attachments   PILGRIMS-0005671164            PILGRIMS-0005671165          2
 Emails/Attachments   PILGRIMS-0005671167            PILGRIMS-0005671176          6
 Emails/Attachments   PILGRIMS-0005671198            PILGRIMS-0005671246         40
 Emails/Attachments   PILGRIMS-0005671312            PILGRIMS-0005672175         91
 Emails/Attachments   PILGRIMS-0005676160            PILGRIMS-0005676201         22
 Emails/Attachments   PILGRIMS-0005676203            PILGRIMS-0005676212          6
 Emails/Attachments   PILGRIMS-0005676216            PILGRIMS-0005676355          5
 Emails/Attachments   PILGRIMS-0005676359            PILGRIMS-0005676360          2
 Emails/Attachments   PILGRIMS-0005676394            PILGRIMS-0005676409          7
 Emails/Attachments   PILGRIMS-0005676432            PILGRIMS-0005676553          6
 Emails/Attachments   PILGRIMS-0005676555            PILGRIMS-0005676556          2
 Emails/Attachments   PILGRIMS-0005676558            PILGRIMS-0005676567          9
 Emails/Attachments   PILGRIMS-0005676569            PILGRIMS-0005676586         14
 Emails/Attachments   PILGRIMS-0005676588            PILGRIMS-0005676596          8
 Emails/Attachments   PILGRIMS-0005676598            PILGRIMS-0005676601          4
 Emails/Attachments   PILGRIMS-0005676618            PILGRIMS-0005676623          6
 Emails/Attachments   PILGRIMS-0005676625            PILGRIMS-0005676626          2
 Emails/Attachments   PILGRIMS-0005676628            PILGRIMS-0005676629          2
 Emails/Attachments   PILGRIMS-0005676631            PILGRIMS-0005676650         20


                                    Page 90 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 114 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005676652            PILGRIMS-0005676659          8
 Emails/Attachments   PILGRIMS-0005676661            PILGRIMS-0005676666          6
 Emails/Attachments   PILGRIMS-0005676724            PILGRIMS-0005676727          4
 Emails/Attachments   PILGRIMS-0005676729            PILGRIMS-0005676735          7
 Emails/Attachments   PILGRIMS-0005676738            PILGRIMS-0005676741          4
 Emails/Attachments   PILGRIMS-0005676743            PILGRIMS-0005676743          1
 Emails/Attachments   PILGRIMS-0005676745            PILGRIMS-0005676896         37
 Emails/Attachments   PILGRIMS-0005676899            PILGRIMS-0005676917         18
 Emails/Attachments   PILGRIMS-0005676920            PILGRIMS-0005676997         43
 Emails/Attachments   PILGRIMS-0005676999            PILGRIMS-0005677004          4
 Emails/Attachments   PILGRIMS-0005677007            PILGRIMS-0005677010          4
 Emails/Attachments   PILGRIMS-0005677012            PILGRIMS-0005677019          8
 Emails/Attachments   PILGRIMS-0005677021            PILGRIMS-0005677150         48
 Emails/Attachments   PILGRIMS-0005677152            PILGRIMS-0005677176         25
 Emails/Attachments   PILGRIMS-0005677438            PILGRIMS-0005677834         103
 Emails/Attachments   PILGRIMS-0005677840            PILGRIMS-0005677845          2
 Emails/Attachments   PILGRIMS-0005677859            PILGRIMS-0005677893          8
 Emails/Attachments   PILGRIMS-0005677895            PILGRIMS-0005677903          4
 Emails/Attachments   PILGRIMS-0005677905            PILGRIMS-0005677909          3
 Emails/Attachments   PILGRIMS-0005677913            PILGRIMS-0005677919          4
 Emails/Attachments   PILGRIMS-0005677938            PILGRIMS-0005677951          8
 Emails/Attachments   PILGRIMS-0005677953            PILGRIMS-0005677954          1
 Emails/Attachments   PILGRIMS-0005677969            PILGRIMS-0005677989         11
 Emails/Attachments   PILGRIMS-0005677992            PILGRIMS-0005677997          3
 Emails/Attachments   PILGRIMS-0005677999            PILGRIMS-0005678013         11
 Emails/Attachments   PILGRIMS-0005678016            PILGRIMS-0005678021          3
 Emails/Attachments   PILGRIMS-0005678024            PILGRIMS-0005678105          4
 Emails/Attachments   PILGRIMS-0005678183            PILGRIMS-0005678211         20
 Emails/Attachments   PILGRIMS-0005678213            PILGRIMS-0005678219          5
 Emails/Attachments   PILGRIMS-0005678221            PILGRIMS-0005681256         957
 Emails/Attachments   PILGRIMS-0005697793            PILGRIMS-0005697803          8
 Emails/Attachments   PILGRIMS-0005697836            PILGRIMS-0005697841          6
 Emails/Attachments   PILGRIMS-0005697846            PILGRIMS-0005697857         12
 Emails/Attachments   PILGRIMS-0005697865            PILGRIMS-0005697866          2
 Emails/Attachments   PILGRIMS-0005697868            PILGRIMS-0005697875          8
 Emails/Attachments   PILGRIMS-0005697877            PILGRIMS-0005697878          2
 Emails/Attachments   PILGRIMS-0005697882            PILGRIMS-0005697887          6
 Emails/Attachments   PILGRIMS-0005697897            PILGRIMS-0005697914          2
 Emails/Attachments   PILGRIMS-0005697917            PILGRIMS-0005697920          1
 Emails/Attachments   PILGRIMS-0005697922            PILGRIMS-0005697995          2
 Emails/Attachments   PILGRIMS-0005698106            PILGRIMS-0005698180          2
 Emails/Attachments   PILGRIMS-0005698182            PILGRIMS-0005698313         45
 Emails/Attachments   PILGRIMS-0005698388            PILGRIMS-0005698506         34
 Emails/Attachments   PILGRIMS-0005698508            PILGRIMS-0005698593          4
 Emails/Attachments   PILGRIMS-0005698600            PILGRIMS-0005698605          6
 Emails/Attachments   PILGRIMS-0005698607            PILGRIMS-0005698696          8


                                    Page 91 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 115 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005698698            PILGRIMS-0005698784          4
 Emails/Attachments   PILGRIMS-0005698871            PILGRIMS-0005698956          2
 Emails/Attachments   PILGRIMS-0005699040            PILGRIMS-0005699065         11
 Emails/Attachments   PILGRIMS-0005699070            PILGRIMS-0005699087         18
 Emails/Attachments   PILGRIMS-0005699089            PILGRIMS-0005699153         65
 Emails/Attachments   PILGRIMS-0005699156            PILGRIMS-0005699176         21
 Emails/Attachments   PILGRIMS-0005699187            PILGRIMS-0005699284          5
 Emails/Attachments   PILGRIMS-0005699289            PILGRIMS-0005699294          3
 Emails/Attachments   PILGRIMS-0005699296            PILGRIMS-0005699301          6
 Emails/Attachments   PILGRIMS-0005699304            PILGRIMS-0005699367         42
 Emails/Attachments   PILGRIMS-0005699376            PILGRIMS-0005699387          3
 Emails/Attachments   PILGRIMS-0005699391            PILGRIMS-0005699392          2
 Emails/Attachments   PILGRIMS-0005699394            PILGRIMS-0005699408          3
 Emails/Attachments   PILGRIMS-0005699421            PILGRIMS-0005699437         15
 Emails/Attachments   PILGRIMS-0005699440            PILGRIMS-0005699504         11
 Emails/Attachments   PILGRIMS-0005699513            PILGRIMS-0005699524          3
 Emails/Attachments   PILGRIMS-0005699536            PILGRIMS-0005699556          9
 Emails/Attachments   PILGRIMS-0005699559            PILGRIMS-0005699594          5
 Emails/Attachments   PILGRIMS-0005699596            PILGRIMS-0005699674         36
 Emails/Attachments   PILGRIMS-0005699678            PILGRIMS-0005699737         33
 Emails/Attachments   PILGRIMS-0005699740            PILGRIMS-0005699745          6
 Emails/Attachments   PILGRIMS-0005699750            PILGRIMS-0005699755          6
 Emails/Attachments   PILGRIMS-0005699757            PILGRIMS-0005699804         18
 Emails/Attachments   PILGRIMS-0005699812            PILGRIMS-0005699814          3
 Emails/Attachments   PILGRIMS-0005699823            PILGRIMS-0005699834          3
 Emails/Attachments   PILGRIMS-0005699837            PILGRIMS-0005699842          6
 Emails/Attachments   PILGRIMS-0005699847            PILGRIMS-0005699863         17
 Emails/Attachments   PILGRIMS-0005699867            PILGRIMS-0005699951         57
 Emails/Attachments   PILGRIMS-0005699954            PILGRIMS-0005699995         42
 Emails/Attachments   PILGRIMS-0005699998            PILGRIMS-0005700009          3
 Emails/Attachments   PILGRIMS-0005700017            PILGRIMS-0005700275         25
 Emails/Attachments   PILGRIMS-0005700285            PILGRIMS-0005700308         15
 Emails/Attachments   PILGRIMS-0005700310            PILGRIMS-0005700327          9
 Emails/Attachments   PILGRIMS-0005700335            PILGRIMS-0005700346          3
 Emails/Attachments   PILGRIMS-0005700357            PILGRIMS-0005700365          9
 Emails/Attachments   PILGRIMS-0005700367            PILGRIMS-0005700372          6
 Emails/Attachments   PILGRIMS-0005700374            PILGRIMS-0005700394          9
 Emails/Attachments   PILGRIMS-0005700396            PILGRIMS-0005700407          6
 Emails/Attachments   PILGRIMS-0005700410            PILGRIMS-0005700421          3
 Emails/Attachments   PILGRIMS-0005700425            PILGRIMS-0005700532          8
 Emails/Attachments   PILGRIMS-0005700535            PILGRIMS-0005700555          9
 Emails/Attachments   PILGRIMS-0005700571            PILGRIMS-0005700600          6
 Emails/Attachments   PILGRIMS-0005700602            PILGRIMS-0005700619          6
 Emails/Attachments   PILGRIMS-0005700625            PILGRIMS-0005700639          3
 Emails/Attachments   PILGRIMS-0005700641            PILGRIMS-0005700652          3
 Emails/Attachments   PILGRIMS-0005700664            PILGRIMS-0005700678          3


                                    Page 92 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 116 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005700683            PILGRIMS-0005700712         30
 Emails/Attachments   PILGRIMS-0005700716            PILGRIMS-0005700730          3
 Emails/Attachments   PILGRIMS-0005700734            PILGRIMS-0005700783         15
 Emails/Attachments   PILGRIMS-0005700785            PILGRIMS-0005700799          3
 Emails/Attachments   PILGRIMS-0005700809            PILGRIMS-0005700985          2
 Emails/Attachments   PILGRIMS-0005700990            PILGRIMS-0005701001          3
 Emails/Attachments   PILGRIMS-0005701003            PILGRIMS-0005701053         11
 Emails/Attachments   PILGRIMS-0005701056            PILGRIMS-0005701207         152
 Emails/Attachments   PILGRIMS-0005701217            PILGRIMS-0005701220          4
 Emails/Attachments   PILGRIMS-0005701230            PILGRIMS-0005701268         39
 Emails/Attachments   PILGRIMS-0005701270            PILGRIMS-0005701295         17
 Emails/Attachments   PILGRIMS-0005701298            PILGRIMS-0005701306          9
 Emails/Attachments   PILGRIMS-0005701308            PILGRIMS-0005701322          3
 Emails/Attachments   PILGRIMS-0005701324            PILGRIMS-0005701347         15
 Emails/Attachments   PILGRIMS-0005701360            PILGRIMS-0005701374          3
 Emails/Attachments   PILGRIMS-0005701380            PILGRIMS-0005701406         15
 Emails/Attachments   PILGRIMS-0005701408            PILGRIMS-0005701415          8
 Emails/Attachments   PILGRIMS-0005701417            PILGRIMS-0005701445         17
 Emails/Attachments   PILGRIMS-0005701449            PILGRIMS-0005701454          6
 Emails/Attachments   PILGRIMS-0005701480            PILGRIMS-0005701481          2
 Emails/Attachments   PILGRIMS-0005701483            PILGRIMS-0005701580          6
 Emails/Attachments   PILGRIMS-0005701583            PILGRIMS-0005701597          3
 Emails/Attachments   PILGRIMS-0005701599            PILGRIMS-0005701631          6
 Emails/Attachments   PILGRIMS-0005701639            PILGRIMS-0005701645          5
 Emails/Attachments   PILGRIMS-0005701656            PILGRIMS-0005701675          8
 Emails/Attachments   PILGRIMS-0005701677            PILGRIMS-0005701684          8
 Emails/Attachments   PILGRIMS-0005701686            PILGRIMS-0005701724         18
 Emails/Attachments   PILGRIMS-0005701726            PILGRIMS-0005701740          3
 Emails/Attachments   PILGRIMS-0005701742            PILGRIMS-0005701768         15
 Emails/Attachments   PILGRIMS-0005701770            PILGRIMS-0005701790          9
 Emails/Attachments   PILGRIMS-0005701797            PILGRIMS-0005701814          9
 Emails/Attachments   PILGRIMS-0005701817            PILGRIMS-0005701850         10
 Emails/Attachments   PILGRIMS-0005701852            PILGRIMS-0005701853          2
 Emails/Attachments   PILGRIMS-0005701860            PILGRIMS-0005701958          7
 Emails/Attachments   PILGRIMS-0005701961            PILGRIMS-0005701965          1
 Emails/Attachments   PILGRIMS-0005701969            PILGRIMS-0005701976          8
 Emails/Attachments   PILGRIMS-0005701979            PILGRIMS-0005701980          2
 Emails/Attachments   PILGRIMS-0005701983            PILGRIMS-0005701986          4
 Emails/Attachments   PILGRIMS-0005701991            PILGRIMS-0005701996          5
 Emails/Attachments   PILGRIMS-0005702001            PILGRIMS-0005702005          1
 Emails/Attachments   PILGRIMS-0005702007            PILGRIMS-0005702010          4
 Emails/Attachments   PILGRIMS-0005702012            PILGRIMS-0005702047          2
 Emails/Attachments   PILGRIMS-0005702054            PILGRIMS-0005702062          6
 Emails/Attachments   PILGRIMS-0005702066            PILGRIMS-0005702070          1
 Emails/Attachments   PILGRIMS-0005702306            PILGRIMS-0005702309          2
 Emails/Attachments   PILGRIMS-0005702349            PILGRIMS-0005702353          2


                                    Page 93 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 117 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005702375            PILGRIMS-0005702377          3
 Emails/Attachments   PILGRIMS-0005702380            PILGRIMS-0005702381          2
 Emails/Attachments   PILGRIMS-0005702488            PILGRIMS-0005702491          1
 Emails/Attachments   PILGRIMS-0005702493            PILGRIMS-0005702505          7
 Emails/Attachments   PILGRIMS-0005702521            PILGRIMS-0005702524          1
 Emails/Attachments   PILGRIMS-0005702526            PILGRIMS-0005702528          3
 Emails/Attachments   PILGRIMS-0005702531            PILGRIMS-0005702532          2
 Emails/Attachments   PILGRIMS-0005702534            PILGRIMS-0005702535          2
 Emails/Attachments   PILGRIMS-0005702651            PILGRIMS-0005702652          2
 Emails/Attachments   PILGRIMS-0005702714            PILGRIMS-0005702721          6
 Emails/Attachments   PILGRIMS-0005702734            PILGRIMS-0005702886         153
 Emails/Attachments   PILGRIMS-0005702890            PILGRIMS-0005702914         25
 Emails/Attachments   PILGRIMS-0005702955            PILGRIMS-0005702977          3
 Emails/Attachments   PILGRIMS-0005702982            PILGRIMS-0005702986          1
 Emails/Attachments   PILGRIMS-0005703030            PILGRIMS-0005703031          2
 Emails/Attachments   PILGRIMS-0005703034            PILGRIMS-0005703126         93
 Emails/Attachments   PILGRIMS-0005703128            PILGRIMS-0005703166         39
 Emails/Attachments   PILGRIMS-0005703171            PILGRIMS-0005703175          1
 Emails/Attachments   PILGRIMS-0005703189            PILGRIMS-0005703196          1
 Emails/Attachments   PILGRIMS-0005703198            PILGRIMS-0005703203          4
 Emails/Attachments   PILGRIMS-0005703207            PILGRIMS-0005703301         95
 Emails/Attachments   PILGRIMS-0005703311            PILGRIMS-0005703321          7
 Emails/Attachments   PILGRIMS-0005703329            PILGRIMS-0005703330          2
 Emails/Attachments   PILGRIMS-0005703337            PILGRIMS-0005703370         34
 Emails/Attachments   PILGRIMS-0005703372            PILGRIMS-0005703417          2
 Emails/Attachments   PILGRIMS-0005703420            PILGRIMS-0005703580         12
 Emails/Attachments   PILGRIMS-0005703582            PILGRIMS-0005703587          6
 Emails/Attachments   PILGRIMS-0005703597            PILGRIMS-0005703598          2
 Emails/Attachments   PILGRIMS-0005703600            PILGRIMS-0005703606          7
 Emails/Attachments   PILGRIMS-0005703609            PILGRIMS-0005703615          5
 Emails/Attachments   PILGRIMS-0005703640            PILGRIMS-0005703643          4
 Emails/Attachments   PILGRIMS-0005703647            PILGRIMS-0005703648          2
 Emails/Attachments   PILGRIMS-0005703650            PILGRIMS-0005703651          2
 Emails/Attachments   PILGRIMS-0005703666            PILGRIMS-0005703823          6
 Emails/Attachments   PILGRIMS-0005703825            PILGRIMS-0005703846         16
 Emails/Attachments   PILGRIMS-0005703849            PILGRIMS-0005703859          9
 Emails/Attachments   PILGRIMS-0005703872            PILGRIMS-0005703877          6
 Emails/Attachments   PILGRIMS-0005703880            PILGRIMS-0005703972         93
 Emails/Attachments   PILGRIMS-0005703976            PILGRIMS-0005704013         38
 Emails/Attachments   PILGRIMS-0005704017            PILGRIMS-0005704018          2
 Emails/Attachments   PILGRIMS-0005704024            PILGRIMS-0005704025          2
 Emails/Attachments   PILGRIMS-0005704039            PILGRIMS-0005704210         19
 Emails/Attachments   PILGRIMS-0005704212            PILGRIMS-0005704213          2
 Emails/Attachments   PILGRIMS-0005704215            PILGRIMS-0005704285          4
 Emails/Attachments   PILGRIMS-0005704288            PILGRIMS-0005704289          2
 Emails/Attachments   PILGRIMS-0005704305            PILGRIMS-0005704307          3


                                    Page 94 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 118 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005704384            PILGRIMS-0005704386          2
 Emails/Attachments   PILGRIMS-0005704391            PILGRIMS-0005704393          2
 Emails/Attachments   PILGRIMS-0005704445            PILGRIMS-0005704447          2
 Emails/Attachments   PILGRIMS-0005704449            PILGRIMS-0005704450          2
 Emails/Attachments   PILGRIMS-0005704456            PILGRIMS-0005704457          2
 Emails/Attachments   PILGRIMS-0005704488            PILGRIMS-0005704489          2
 Emails/Attachments   PILGRIMS-0005704496            PILGRIMS-0005704498          1
 Emails/Attachments   PILGRIMS-0005704523            PILGRIMS-0005704528          5
 Emails/Attachments   PILGRIMS-0005704586            PILGRIMS-0005704587          2
 Emails/Attachments   PILGRIMS-0005704593            PILGRIMS-0005704606         14
 Emails/Attachments   PILGRIMS-0005704608            PILGRIMS-0005704611          4
 Emails/Attachments   PILGRIMS-0005704613            PILGRIMS-0005704614          2
 Emails/Attachments   PILGRIMS-0005704617            PILGRIMS-0005704618          2
 Emails/Attachments   PILGRIMS-0005704632            PILGRIMS-0005704637          6
 Emails/Attachments   PILGRIMS-0005704645            PILGRIMS-0005704646          2
 Emails/Attachments   PILGRIMS-0005704649            PILGRIMS-0005704652          4
 Emails/Attachments   PILGRIMS-0005704656            PILGRIMS-0005704750         95
 Emails/Attachments   PILGRIMS-0005704752            PILGRIMS-0005704753          2
 Emails/Attachments   PILGRIMS-0005704803            PILGRIMS-0005704965         15
 Emails/Attachments   PILGRIMS-0005704967            PILGRIMS-0005705124         11
 Emails/Attachments   PILGRIMS-0005705130            PILGRIMS-0005705134          4
 Emails/Attachments   PILGRIMS-0005705138            PILGRIMS-0005705184          4
 Emails/Attachments   PILGRIMS-0005705186            PILGRIMS-0005705187          2
 Emails/Attachments   PILGRIMS-0005705208            PILGRIMS-0005705211          3
 Emails/Attachments   PILGRIMS-0005705213            PILGRIMS-0005705215          2
 Emails/Attachments   PILGRIMS-0005705218            PILGRIMS-0005705227         10
 Emails/Attachments   PILGRIMS-0005705235            PILGRIMS-0005705247          4
 Emails/Attachments   PILGRIMS-0005705249            PILGRIMS-0005705258          9
 Emails/Attachments   PILGRIMS-0005705266            PILGRIMS-0005705280          2
 Emails/Attachments   PILGRIMS-0005705359            PILGRIMS-0005705427          2
 Emails/Attachments   PILGRIMS-0005705430            PILGRIMS-0005705448         19
 Emails/Attachments   PILGRIMS-0005705450            PILGRIMS-0005705546          3
 Emails/Attachments   PILGRIMS-0005705548            PILGRIMS-0005705549          2
 Emails/Attachments   PILGRIMS-0005705557            PILGRIMS-0005705649         93
 Emails/Attachments   PILGRIMS-0005705655            PILGRIMS-0005705656          2
 Emails/Attachments   PILGRIMS-0005705659            PILGRIMS-0005705660          2
 Emails/Attachments   PILGRIMS-0005705662            PILGRIMS-0005705679         17
 Emails/Attachments   PILGRIMS-0005705681            PILGRIMS-0005705686          3
 Emails/Attachments   PILGRIMS-0005706723            PILGRIMS-0005706726          4
 Emails/Attachments   PILGRIMS-0005706741            PILGRIMS-0005706751          1
 Emails/Attachments   PILGRIMS-0005706754            PILGRIMS-0005706756          3
 Emails/Attachments   PILGRIMS-0005706765            PILGRIMS-0005706766          2
 Emails/Attachments   PILGRIMS-0005706768            PILGRIMS-0005706769          2
 Emails/Attachments   PILGRIMS-0005706772            PILGRIMS-0005706773          2
 Emails/Attachments   PILGRIMS-0005706776            PILGRIMS-0005706777          2
 Emails/Attachments   PILGRIMS-0005706781            PILGRIMS-0005706897          4


                                    Page 95 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 119 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005706905            PILGRIMS-0005706910          3
 Emails/Attachments   PILGRIMS-0005706912            PILGRIMS-0005706913          2
 Emails/Attachments   PILGRIMS-0005706915            PILGRIMS-0005706964         47
 Emails/Attachments   PILGRIMS-0005706971            PILGRIMS-0005706972          2
 Emails/Attachments   PILGRIMS-0005706983            PILGRIMS-0005706989          6
 Emails/Attachments   PILGRIMS-0005706991            PILGRIMS-0005706996          6
 Emails/Attachments   PILGRIMS-0005707101            PILGRIMS-0005707104          4
 Emails/Attachments   PILGRIMS-0005707112            PILGRIMS-0005707113          2
 Emails/Attachments   PILGRIMS-0005707117            PILGRIMS-0005707118          2
 Emails/Attachments   PILGRIMS-0005707125            PILGRIMS-0005707126          2
 Emails/Attachments   PILGRIMS-0005707129            PILGRIMS-0005707132          4
 Emails/Attachments   PILGRIMS-0005707242            PILGRIMS-0005708170          8
 Emails/Attachments   PILGRIMS-0005708174            PILGRIMS-0005708175          2
 Emails/Attachments   PILGRIMS-0005708191            PILGRIMS-0005708200          3
 Emails/Attachments   PILGRIMS-0005708209            PILGRIMS-0005708210          2
 Emails/Attachments   PILGRIMS-0005708213            PILGRIMS-0005708214          2
 Emails/Attachments   PILGRIMS-0005708320            PILGRIMS-0005708321          1
 Emails/Attachments   PILGRIMS-0005708327            PILGRIMS-0005708328          2
 Emails/Attachments   PILGRIMS-0005708332            PILGRIMS-0005708334          2
 Emails/Attachments   PILGRIMS-0005708348            PILGRIMS-0005708479         132
 Emails/Attachments   PILGRIMS-0005708490            PILGRIMS-0005708491          2
 Emails/Attachments   PILGRIMS-0005708496            PILGRIMS-0005708609          2
 Emails/Attachments   PILGRIMS-0005708611            PILGRIMS-0005708612          2
 Emails/Attachments   PILGRIMS-0005708614            PILGRIMS-0005708617          3
 Emails/Attachments   PILGRIMS-0005708621            PILGRIMS-0005708622          2
 Emails/Attachments   PILGRIMS-0005708626            PILGRIMS-0005708627          2
 Emails/Attachments   PILGRIMS-0005708631            PILGRIMS-0005708639          2
 Emails/Attachments   PILGRIMS-0005708642            PILGRIMS-0005712269          7
 Emails/Attachments   PILGRIMS-0005712273            PILGRIMS-0005712274          2
 Emails/Attachments   PILGRIMS-0005712282            PILGRIMS-0005712291          6
 Emails/Attachments   PILGRIMS-0005712293            PILGRIMS-0005712411          7
 Emails/Attachments   PILGRIMS-0005712476            PILGRIMS-0005712483          2
 Emails/Attachments   PILGRIMS-0005712490            PILGRIMS-0005712549          4
 Emails/Attachments   PILGRIMS-0005712552            PILGRIMS-0005712669          5
 Emails/Attachments   PILGRIMS-0005712672            PILGRIMS-0005712778          3
 Emails/Attachments   PILGRIMS-0005712780            PILGRIMS-0005712863          4
 Emails/Attachments   PILGRIMS-0005712868            PILGRIMS-0005712869          2
 Emails/Attachments   PILGRIMS-0005712873            PILGRIMS-0005712883         11
 Emails/Attachments   PILGRIMS-0005712885            PILGRIMS-0005713073         189
 Emails/Attachments   PILGRIMS-0005713075            PILGRIMS-0005713076          2
 Emails/Attachments   PILGRIMS-0005713186            PILGRIMS-0005713207          6
 Emails/Attachments   PILGRIMS-0005713210            PILGRIMS-0005713211          2
 Emails/Attachments   PILGRIMS-0005713216            PILGRIMS-0005713222          2
 Emails/Attachments   PILGRIMS-0005713225            PILGRIMS-0005713229          5
 Emails/Attachments   PILGRIMS-0005713240            PILGRIMS-0005713277         25
 Emails/Attachments   PILGRIMS-0005713367            PILGRIMS-0005713368          2


                                    Page 96 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 120 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005713378            PILGRIMS-0005713379          2
 Emails/Attachments   PILGRIMS-0005713493            PILGRIMS-0005713495          2
 Emails/Attachments   PILGRIMS-0005713497            PILGRIMS-0005713497          1
 Emails/Attachments   PILGRIMS-0005713499            PILGRIMS-0005715608          8
 Emails/Attachments   PILGRIMS-0005715613            PILGRIMS-0005715614          2
 Emails/Attachments   PILGRIMS-0005715651            PILGRIMS-0005715652          2
 Emails/Attachments   PILGRIMS-0005715710            PILGRIMS-0005715735          9
 Emails/Attachments   PILGRIMS-0005715738            PILGRIMS-0005715739          2
 Emails/Attachments   PILGRIMS-0005715757            PILGRIMS-0005715758          2
 Emails/Attachments   PILGRIMS-0005715761            PILGRIMS-0005715762          2
 Emails/Attachments   PILGRIMS-0005715764            PILGRIMS-0005715824         18
 Emails/Attachments   PILGRIMS-0005715831            PILGRIMS-0005715834          4
 Emails/Attachments   PILGRIMS-0005715885            PILGRIMS-0005715886          2
 Emails/Attachments   PILGRIMS-0005715963            PILGRIMS-0005715966          3
 Emails/Attachments   PILGRIMS-0005715969            PILGRIMS-0005715974          5
 Emails/Attachments   PILGRIMS-0005716009            PILGRIMS-0005716013          5
 Emails/Attachments   PILGRIMS-0005716024            PILGRIMS-0005716026          3
 Emails/Attachments   PILGRIMS-0005716045            PILGRIMS-0005716071         26
 Emails/Attachments   PILGRIMS-0005716074            PILGRIMS-0005716089         15
 Emails/Attachments   PILGRIMS-0005716095            PILGRIMS-0005716235         29
 Emails/Attachments   PILGRIMS-0005716237            PILGRIMS-0005716238          2
 Emails/Attachments   PILGRIMS-0005716254            PILGRIMS-0005716261          8
 Emails/Attachments   PILGRIMS-0005716266            PILGRIMS-0005716271          6
 Emails/Attachments   PILGRIMS-0005716274            PILGRIMS-0005716285          3
 Emails/Attachments   PILGRIMS-0005716289            PILGRIMS-0005716306         15
 Emails/Attachments   PILGRIMS-0005716308            PILGRIMS-0005716404         12
 Emails/Attachments   PILGRIMS-0005716412            PILGRIMS-0005716419          8
 Emails/Attachments   PILGRIMS-0005716422            PILGRIMS-0005716466          8
 Emails/Attachments   PILGRIMS-0005716472            PILGRIMS-0005716579          3
 Emails/Attachments   PILGRIMS-0005716581            PILGRIMS-0005716583          3
 Emails/Attachments   PILGRIMS-0005716588            PILGRIMS-0005716594          7
 Emails/Attachments   PILGRIMS-0005716607            PILGRIMS-0005716713          3
 Emails/Attachments   PILGRIMS-0005716776            PILGRIMS-0005716880          3
 Emails/Attachments   PILGRIMS-0005717086            PILGRIMS-0005717506         13
 Emails/Attachments   PILGRIMS-0005717508            PILGRIMS-0005717937         16
 Emails/Attachments   PILGRIMS-0005717953            PILGRIMS-0005717958          6
 Emails/Attachments   PILGRIMS-0005717962            PILGRIMS-0005718716         27
 Emails/Attachments   PILGRIMS-0005718732            PILGRIMS-0005719072         19
 Emails/Attachments   PILGRIMS-0005719080            PILGRIMS-0005719081          2
 Emails/Attachments   PILGRIMS-0005719089            PILGRIMS-0005719091          3
 Emails/Attachments   PILGRIMS-0005719096            PILGRIMS-0005719102          7
 Emails/Attachments   PILGRIMS-0005719106            PILGRIMS-0005719107          2
 Emails/Attachments   PILGRIMS-0005719109            PILGRIMS-0005719111          3
 Emails/Attachments   PILGRIMS-0005719113            PILGRIMS-0005719127         15
 Emails/Attachments   PILGRIMS-0005719136            PILGRIMS-0005719138          3
 Emails/Attachments   PILGRIMS-0005719192            PILGRIMS-0005719197          2


                                    Page 97 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 121 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005719219            PILGRIMS-0005719221          3
 Emails/Attachments   PILGRIMS-0005719223            PILGRIMS-0005719234         10
 Emails/Attachments   PILGRIMS-0005719248            PILGRIMS-0005719250          3
 Emails/Attachments   PILGRIMS-0005719253            PILGRIMS-0005719362         10
 Emails/Attachments   PILGRIMS-0005719364            PILGRIMS-0005719373         10
 Emails/Attachments   PILGRIMS-0005719381            PILGRIMS-0005719395         15
 Emails/Attachments   PILGRIMS-0005719458            PILGRIMS-0005719471          6
 Emails/Attachments   PILGRIMS-0005721235            PILGRIMS-0005724377         35
 Emails/Attachments   PILGRIMS-0005724379            PILGRIMS-0005727548         16
 Emails/Attachments   PILGRIMS-0005727551            PILGRIMS-0005727588          6
 Emails/Attachments   PILGRIMS-0005727591            PILGRIMS-0005727694          4
 Emails/Attachments   PILGRIMS-0005727697            PILGRIMS-0005727701          4
 Emails/Attachments   PILGRIMS-0005727704            PILGRIMS-0005727706          2
 Emails/Attachments   PILGRIMS-0005727709            PILGRIMS-0005727720          4
 Emails/Attachments   PILGRIMS-0005727771            PILGRIMS-0005727774          4
 Emails/Attachments   PILGRIMS-0005727794            PILGRIMS-0005727795          2
 Emails/Attachments   PILGRIMS-0005727797            PILGRIMS-0005727819         22
 Emails/Attachments   PILGRIMS-0005727957            PILGRIMS-0005727962          5
 Emails/Attachments   PILGRIMS-0005727969            PILGRIMS-0005727988          9
 Emails/Attachments   PILGRIMS-0005728002            PILGRIMS-0005728003          2
 Emails/Attachments   PILGRIMS-0005728009            PILGRIMS-0005728017          8
 Emails/Attachments   PILGRIMS-0005728020            PILGRIMS-0005728021          2
 Emails/Attachments   PILGRIMS-0005728028            PILGRIMS-0005728029          2
 Emails/Attachments   PILGRIMS-0005728047            PILGRIMS-0005728048          2
 Emails/Attachments   PILGRIMS-0005728111            PILGRIMS-0005728113          3
 Emails/Attachments   PILGRIMS-0005728118            PILGRIMS-0005728148          4
 Emails/Attachments   PILGRIMS-0005728151            PILGRIMS-0005728425          8
 Emails/Attachments   PILGRIMS-0005728430            PILGRIMS-0005728431          2
 Emails/Attachments   PILGRIMS-0005728434            PILGRIMS-0005728544          3
 Emails/Attachments   PILGRIMS-0005728546            PILGRIMS-0005728576         30
 Emails/Attachments   PILGRIMS-0005728598            PILGRIMS-0005728619         21
 Emails/Attachments   PILGRIMS-0005728622            PILGRIMS-0005728625          4
 Emails/Attachments   PILGRIMS-0005728638            PILGRIMS-0005728660         22
 Emails/Attachments   PILGRIMS-0005728663            PILGRIMS-0005728666          4
 Emails/Attachments   PILGRIMS-0005728731            PILGRIMS-0005728778         48
 Emails/Attachments   PILGRIMS-0005728783            PILGRIMS-0005728796          2
 Emails/Attachments   PILGRIMS-0005728798            PILGRIMS-0005728799          1
 Emails/Attachments   PILGRIMS-0005728812            PILGRIMS-0005728814          3
 Emails/Attachments   PILGRIMS-0005728816            PILGRIMS-0005728817          2
 Emails/Attachments   PILGRIMS-0005728820            PILGRIMS-0005728821          2
 Emails/Attachments   PILGRIMS-0005728859            PILGRIMS-0005728963          2
 Emails/Attachments   PILGRIMS-0005729098            PILGRIMS-0005729100          2
 Emails/Attachments   PILGRIMS-0005729117            PILGRIMS-0005729118          2
 Emails/Attachments   PILGRIMS-0005729126            PILGRIMS-0005729127          2
 Emails/Attachments   PILGRIMS-0005729145            PILGRIMS-0005729264          3
 Emails/Attachments   PILGRIMS-0005729274            PILGRIMS-0005729275          2


                                    Page 98 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 122 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                    Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005729278            PILGRIMS-0005729287          3
 Emails/Attachments   PILGRIMS-0005729290            PILGRIMS-0005729506          3
 Emails/Attachments   PILGRIMS-0005729568            PILGRIMS-0005729569          2
 Emails/Attachments   PILGRIMS-0005729608            PILGRIMS-0005729624          3
 Emails/Attachments   PILGRIMS-0005729726            PILGRIMS-0005729731          4
 Emails/Attachments   PILGRIMS-0005729739            PILGRIMS-0005729779          3
 Emails/Attachments   PILGRIMS-0005729797            PILGRIMS-0005729837          4
 Emails/Attachments   PILGRIMS-0005729853            PILGRIMS-0005729856          4
 Emails/Attachments   PILGRIMS-0005729862            PILGRIMS-0005729867          6
 Emails/Attachments   PILGRIMS-0005729891            PILGRIMS-0005729892          2
 Emails/Attachments   PILGRIMS-0005729901            PILGRIMS-0005729916          2
 Emails/Attachments   PILGRIMS-0005729919            PILGRIMS-0005729923          5
 Emails/Attachments   PILGRIMS-0005729929            PILGRIMS-0005729930          2
 Emails/Attachments   PILGRIMS-0005730019            PILGRIMS-0005730080         17
 Emails/Attachments   PILGRIMS-0005730084            PILGRIMS-0005730237         19
 Emails/Attachments   PILGRIMS-0005730270            PILGRIMS-0005730278          8
 Emails/Attachments   PILGRIMS-0005730285            PILGRIMS-0005730286          2
 Emails/Attachments   PILGRIMS-0005730292            PILGRIMS-0005730294          2
 Emails/Attachments   PILGRIMS-0005730342            PILGRIMS-0005730347          4
 Emails/Attachments   PILGRIMS-0005730351            PILGRIMS-0005730354          3
 Emails/Attachments   PILGRIMS-0005730360            PILGRIMS-0005730363          4
 Emails/Attachments   PILGRIMS-0005730386            PILGRIMS-0005730416          2
 Emails/Attachments   PILGRIMS-0005730418            PILGRIMS-0005730419          2
 Emails/Attachments   PILGRIMS-0005730422            PILGRIMS-0005730445          3
 Emails/Attachments   PILGRIMS-0005730448            PILGRIMS-0005730449          2
 Emails/Attachments   PILGRIMS-0005730451            PILGRIMS-0005730453          2
 Emails/Attachments   PILGRIMS-0005730478            PILGRIMS-0005730573          2
 Emails/Attachments   PILGRIMS-0005730578            PILGRIMS-0005730579          2
 Emails/Attachments   PILGRIMS-0005730604            PILGRIMS-0005730614          2
 Emails/Attachments   PILGRIMS-0005730630            PILGRIMS-0005730634          2
 Emails/Attachments   PILGRIMS-0005730712            PILGRIMS-0005730723          4
 Emails/Attachments   PILGRIMS-0005730760            PILGRIMS-0005730761          1
 Emails/Attachments   PILGRIMS-0005730778            PILGRIMS-0005730882          9
 Emails/Attachments   PILGRIMS-0005730892            PILGRIMS-0005730893          2
 Emails/Attachments   PILGRIMS-0005730896            PILGRIMS-0005730897          2
 Emails/Attachments   PILGRIMS-0005730899            PILGRIMS-0005730900          2
 Emails/Attachments   PILGRIMS-0005730905            PILGRIMS-0005730908          4
 Emails/Attachments   PILGRIMS-0005730920            PILGRIMS-0005731017          2
 Emails/Attachments   PILGRIMS-0005731100            PILGRIMS-0005731107          2
 Emails/Attachments   PILGRIMS-0005731113            PILGRIMS-0005731116          4
 Emails/Attachments   PILGRIMS-0005731118            PILGRIMS-0005731123          6
 Emails/Attachments   PILGRIMS-0005731125            PILGRIMS-0005731128          4
 Emails/Attachments   PILGRIMS-0005731130            PILGRIMS-0005731167          6
 Emails/Attachments   PILGRIMS-0005731171            PILGRIMS-0005731175          5
 Emails/Attachments   PILGRIMS-0005731177            PILGRIMS-0005731179          3
 Emails/Attachments   PILGRIMS-0005731259            PILGRIMS-0005731384         10


                                    Page 99 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 123 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005731389         PILGRIMS-0005731412          6
 Emails/Attachments   PILGRIMS-0005731416         PILGRIMS-0005731516          4
 Emails/Attachments   PILGRIMS-0005731522         PILGRIMS-0005731563          6
 Emails/Attachments   PILGRIMS-0005731589         PILGRIMS-0005731591          2
 Emails/Attachments   PILGRIMS-0005731594         PILGRIMS-0005731599          6
 Emails/Attachments   PILGRIMS-0005731603         PILGRIMS-0005731621          4
 Emails/Attachments   PILGRIMS-0005731626         PILGRIMS-0005731627          2
 Emails/Attachments   PILGRIMS-0005731631         PILGRIMS-0005731717          5
 Emails/Attachments   PILGRIMS-0005731721         PILGRIMS-0005732136         13
 Emails/Attachments   PILGRIMS-0005732140         PILGRIMS-0005732219          4
 Emails/Attachments   PILGRIMS-0005732224         PILGRIMS-0005732227          1
 Emails/Attachments   PILGRIMS-0005732231         PILGRIMS-0005732426          4
 Emails/Attachments   PILGRIMS-0005732433         PILGRIMS-0005732434          2
 Emails/Attachments   PILGRIMS-0005732451         PILGRIMS-0005732455          4
 Emails/Attachments   PILGRIMS-0005732457         PILGRIMS-0005732468          3
 Emails/Attachments   PILGRIMS-0005732486         PILGRIMS-0005732489          4
 Emails/Attachments   PILGRIMS-0005732492         PILGRIMS-0005732546          2
 Emails/Attachments   PILGRIMS-0005732548         PILGRIMS-0005732741          5
 Emails/Attachments   PILGRIMS-0005732746         PILGRIMS-0005733142         11
 Emails/Attachments   PILGRIMS-0005733144         PILGRIMS-0005733423          8
 Emails/Attachments   PILGRIMS-0005733429         PILGRIMS-0005733598          4
 Emails/Attachments   PILGRIMS-0005733601         PILGRIMS-0005733766          3
 Emails/Attachments   PILGRIMS-0005733768         PILGRIMS-0005733933          3
 Emails/Attachments   PILGRIMS-0005733935         PILGRIMS-0005734101          3
 Emails/Attachments   PILGRIMS-0005734107         PILGRIMS-0005734108          2
 Emails/Attachments   PILGRIMS-0005734153         PILGRIMS-0005734154          2
 Emails/Attachments   PILGRIMS-0005734158         PILGRIMS-0005734232         11
 Emails/Attachments   PILGRIMS-0005734237         PILGRIMS-0005734238          2
 Emails/Attachments   PILGRIMS-0005734250         PILGRIMS-0005734251          2
 Emails/Attachments   PILGRIMS-0005734253         PILGRIMS-0005734338          6
 Emails/Attachments   PILGRIMS-0005734340         PILGRIMS-0005734341          2
 Emails/Attachments   PILGRIMS-0005734343         PILGRIMS-0005734346          3
 Emails/Attachments   PILGRIMS-0005734349         PILGRIMS-0005734353          5
 Emails/Attachments   PILGRIMS-0005734356         PILGRIMS-0005734357          2
 Emails/Attachments   PILGRIMS-0005734360         PILGRIMS-0005734364          1
 Emails/Attachments   PILGRIMS-0005734366         PILGRIMS-0005734369          4
 Emails/Attachments   PILGRIMS-0005734410         PILGRIMS-0005734414          1
 Emails/Attachments   PILGRIMS-0005734418         PILGRIMS-0005734420          3
 Emails/Attachments   PILGRIMS-0005734425         PILGRIMS-0005734506          6
 Emails/Attachments   PILGRIMS-0005734625         PILGRIMS-0005734634          5
 Emails/Attachments   PILGRIMS-0005734636         PILGRIMS-0005734686          7
 Emails/Attachments   PILGRIMS-0005734688         PILGRIMS-0005734856          4
 Emails/Attachments   PILGRIMS-0005734859         PILGRIMS-0005735041         10
 Emails/Attachments   PILGRIMS-0005735044         PILGRIMS-0005735048          1
 Emails/Attachments   PILGRIMS-0005735052         PILGRIMS-0005735053          1
 Emails/Attachments   PILGRIMS-0005735058         PILGRIMS-0005735060          1


                                    Page 100 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 124 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005735117         PILGRIMS-0005735120           4
 Emails/Attachments   PILGRIMS-0005735140         PILGRIMS-0005735156          17
 Emails/Attachments   PILGRIMS-0005735363         PILGRIMS-0005735364           2
 Emails/Attachments   PILGRIMS-0005735366         PILGRIMS-0005735370           4
 Emails/Attachments   PILGRIMS-0005735378         PILGRIMS-0005735384           7
 Emails/Attachments   PILGRIMS-0005735391         PILGRIMS-0005735394           4
 Emails/Attachments   PILGRIMS-0005735401         PILGRIMS-0005735409           6
 Emails/Attachments   PILGRIMS-0005735411         PILGRIMS-0005735485           4
 Emails/Attachments   PILGRIMS-0005735493         PILGRIMS-0005735501           9
 Emails/Attachments   PILGRIMS-0005735503         PILGRIMS-0005735505           2
 Emails/Attachments   PILGRIMS-0005735513         PILGRIMS-0005735618           4
 Emails/Attachments   PILGRIMS-0005735665         PILGRIMS-0005735667           3
 Emails/Attachments   PILGRIMS-0005735681         PILGRIMS-0005735682           2
 Emails/Attachments   PILGRIMS-0005735685         PILGRIMS-0005735706           7
 Emails/Attachments   PILGRIMS-0005735709         PILGRIMS-0005735710           2
 Emails/Attachments   PILGRIMS-0005735718         PILGRIMS-0005735719           2
 Emails/Attachments   PILGRIMS-0005735721         PILGRIMS-0005735723           3
 Emails/Attachments   PILGRIMS-0005735725         PILGRIMS-0005735760          20
 Emails/Attachments   PILGRIMS-0005735766         PILGRIMS-0005735795          30
 Emails/Attachments   PILGRIMS-0005735807         PILGRIMS-0005735828           7
 Emails/Attachments   PILGRIMS-0005735855         PILGRIMS-0005735890           9
 Emails/Attachments   PILGRIMS-0005735892         PILGRIMS-0005735960           2
 Emails/Attachments   PILGRIMS-0005735967         PILGRIMS-0005736002           3
 Emails/Attachments   PILGRIMS-0005736005         PILGRIMS-0005736234           8
 Emails/Attachments   PILGRIMS-0005736244         PILGRIMS-0005736265           7
 Emails/Attachments   PILGRIMS-0005736315         PILGRIMS-0005736318           4
 Emails/Attachments   PILGRIMS-0005736325         PILGRIMS-0005736326           2
 Emails/Attachments   PILGRIMS-0005736328         PILGRIMS-0005764011        10,110
 Emails/Attachments   PILGRIMS-0005764020         PILGRIMS-0005780450        6,859
 Emails/Attachments   PILGRIMS-0005780471         PILGRIMS-0005781893         644
 Emails/Attachments   PILGRIMS-0005782011         PILGRIMS-0005782704         228
 Emails/Attachments   PILGRIMS-0005782715         PILGRIMS-0005783480         302
 Emails/Attachments   PILGRIMS-0005783501         PILGRIMS-0005783919         151
 Emails/Attachments   PILGRIMS-0005783921         PILGRIMS-0005784006          54
 Emails/Attachments   PILGRIMS-0005784008         PILGRIMS-0005784350         191
 Emails/Attachments   PILGRIMS-0005784352         PILGRIMS-0005788699        1,794
 Emails/Attachments   PILGRIMS-0005788702         PILGRIMS-0005788711           8
 Emails/Attachments   PILGRIMS-0005788719         PILGRIMS-0005788725           7
 Emails/Attachments   PILGRIMS-0005788728         PILGRIMS-0005788755          18
 Emails/Attachments   PILGRIMS-0005788757         PILGRIMS-0005788777          13
 Emails/Attachments   PILGRIMS-0005788784         PILGRIMS-0005788804          16
 Emails/Attachments   PILGRIMS-0005788812         PILGRIMS-0005788815           4
 Emails/Attachments   PILGRIMS-0005788818         PILGRIMS-0005788821           4
 Emails/Attachments   PILGRIMS-0005788827         PILGRIMS-0005788836           7
 Emails/Attachments   PILGRIMS-0005788841         PILGRIMS-0005788855           9
 Emails/Attachments   PILGRIMS-0005788858         PILGRIMS-0005788859           2


                                    Page 101 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 125 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005788862         PILGRIMS-0005788879         10
 Emails/Attachments   PILGRIMS-0005788884         PILGRIMS-0005788892          6
 Emails/Attachments   PILGRIMS-0005788897         PILGRIMS-0005788927         19
 Emails/Attachments   PILGRIMS-0005788930         PILGRIMS-0005788931          2
 Emails/Attachments   PILGRIMS-0005788934         PILGRIMS-0005788937          3
 Emails/Attachments   PILGRIMS-0005788939         PILGRIMS-0005788977         16
 Emails/Attachments   PILGRIMS-0005788982         PILGRIMS-0005789000          6
 Emails/Attachments   PILGRIMS-0005789005         PILGRIMS-0005789044         10
 Emails/Attachments   PILGRIMS-0005789047         PILGRIMS-0005789133         79
 Emails/Attachments   PILGRIMS-0005789138         PILGRIMS-0005789144          7
 Emails/Attachments   PILGRIMS-0005789148         PILGRIMS-0005789157          3
 Emails/Attachments   PILGRIMS-0005789160         PILGRIMS-0005789161          2
 Emails/Attachments   PILGRIMS-0005789164         PILGRIMS-0005789165          2
 Emails/Attachments   PILGRIMS-0005789169         PILGRIMS-0005789172          1
 Emails/Attachments   PILGRIMS-0005789178         PILGRIMS-0005789178          1
 Emails/Attachments   PILGRIMS-0005789181         PILGRIMS-0005789190          5
 Emails/Attachments   PILGRIMS-0005789193         PILGRIMS-0005789224         24
 Emails/Attachments   PILGRIMS-0005789227         PILGRIMS-0005789261         18
 Emails/Attachments   PILGRIMS-0005789264         PILGRIMS-0005789289         22
 Emails/Attachments   PILGRIMS-0005789296         PILGRIMS-0005789303          1
 Emails/Attachments   PILGRIMS-0005789312         PILGRIMS-0005789317          6
 Emails/Attachments   PILGRIMS-0005789320         PILGRIMS-0005789321          2
 Emails/Attachments   PILGRIMS-0005789327         PILGRIMS-0005789345          6
 Emails/Attachments   PILGRIMS-0005789348         PILGRIMS-0005789353          6
 Emails/Attachments   PILGRIMS-0005789355         PILGRIMS-0005789364          8
 Emails/Attachments   PILGRIMS-0005789378         PILGRIMS-0005789391          6
 Emails/Attachments   PILGRIMS-0005789394         PILGRIMS-0005789400          7
 Emails/Attachments   PILGRIMS-0005789403         PILGRIMS-0005789433         16
 Emails/Attachments   PILGRIMS-0005789438         PILGRIMS-0005789441          3
 Emails/Attachments   PILGRIMS-0005789445         PILGRIMS-0005789469         11
 Emails/Attachments   PILGRIMS-0005789472         PILGRIMS-0005789483          6
 Emails/Attachments   PILGRIMS-0005789486         PILGRIMS-0005789500          4
 Emails/Attachments   PILGRIMS-0005789510         PILGRIMS-0005789512          3
 Emails/Attachments   PILGRIMS-0005789514         PILGRIMS-0005789518          1
 Emails/Attachments   PILGRIMS-0005789523         PILGRIMS-0005789537          4
 Emails/Attachments   PILGRIMS-0005789540         PILGRIMS-0005789541          2
 Emails/Attachments   PILGRIMS-0005789545         PILGRIMS-0005789550          6
 Emails/Attachments   PILGRIMS-0005789553         PILGRIMS-0005789555          3
 Emails/Attachments   PILGRIMS-0005789558         PILGRIMS-0005789563          6
 Emails/Attachments   PILGRIMS-0005789568         PILGRIMS-0005789569          2
 Emails/Attachments   PILGRIMS-0005789574         PILGRIMS-0005789575          2
 Emails/Attachments   PILGRIMS-0005789578         PILGRIMS-0005789579          2
 Emails/Attachments   PILGRIMS-0005789582         PILGRIMS-0005789583          2
 Emails/Attachments   PILGRIMS-0005789588         PILGRIMS-0005789592          3
 Emails/Attachments   PILGRIMS-0005789597         PILGRIMS-0005789599          1
 Emails/Attachments   PILGRIMS-0005789604         PILGRIMS-0005789612          6


                                    Page 102 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 126 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005789617         PILGRIMS-0005789618          2
 Emails/Attachments   PILGRIMS-0005789623         PILGRIMS-0005789628          6
 Emails/Attachments   PILGRIMS-0005789634         PILGRIMS-0005789639          6
 Emails/Attachments   PILGRIMS-0005789643         PILGRIMS-0005789645          3
 Emails/Attachments   PILGRIMS-0005789648         PILGRIMS-0005789651          4
 Emails/Attachments   PILGRIMS-0005789665         PILGRIMS-0005789682          8
 Emails/Attachments   PILGRIMS-0005789685         PILGRIMS-0005789686          1
 Emails/Attachments   PILGRIMS-0005789696         PILGRIMS-0005789725         14
 Emails/Attachments   PILGRIMS-0005789750         PILGRIMS-0005789769          9
 Emails/Attachments   PILGRIMS-0005789789         PILGRIMS-0005789791          1
 Emails/Attachments   PILGRIMS-0005789806         PILGRIMS-0005789810          2
 Emails/Attachments   PILGRIMS-0005789825         PILGRIMS-0005789836          2
 Emails/Attachments   PILGRIMS-0005789851         PILGRIMS-0005789853          1
 Emails/Attachments   PILGRIMS-0005789879         PILGRIMS-0005789888          2
 Emails/Attachments   PILGRIMS-0005789923         PILGRIMS-0005789926          2
 Emails/Attachments   PILGRIMS-0005789939         PILGRIMS-0005789941          2
 Emails/Attachments   PILGRIMS-0005789944         PILGRIMS-0005789950          4
 Emails/Attachments   PILGRIMS-0005789965         PILGRIMS-0005789966          2
 Emails/Attachments   PILGRIMS-0005789982         PILGRIMS-0005789987          1
 Emails/Attachments   PILGRIMS-0005790004         PILGRIMS-0005790006          3
 Emails/Attachments   PILGRIMS-0005790013         PILGRIMS-0005790015          1
 Emails/Attachments   PILGRIMS-0005790035         PILGRIMS-0005790041          3
 Emails/Attachments   PILGRIMS-0005790069         PILGRIMS-0005790070          2
 Emails/Attachments   PILGRIMS-0005790075         PILGRIMS-0005790078          3
 Emails/Attachments   PILGRIMS-0005790083         PILGRIMS-0005790086          3
 Emails/Attachments   PILGRIMS-0005790093         PILGRIMS-0005790117          6
 Emails/Attachments   PILGRIMS-0005790128         PILGRIMS-0005790129          1
 Emails/Attachments   PILGRIMS-0005790142         PILGRIMS-0005790156          6
 Emails/Attachments   PILGRIMS-0005790183         PILGRIMS-0005790194          5
 Emails/Attachments   PILGRIMS-0005790201         PILGRIMS-0005790202          2
 Emails/Attachments   PILGRIMS-0005790209         PILGRIMS-0005790213          1
 Emails/Attachments   PILGRIMS-0005790261         PILGRIMS-0005790262          2
 Emails/Attachments   PILGRIMS-0005790326         PILGRIMS-0005790327          2
 Emails/Attachments   PILGRIMS-0005790370         PILGRIMS-0005790371          2
 Emails/Attachments   PILGRIMS-0005790389         PILGRIMS-0005790390          2
 Emails/Attachments   PILGRIMS-0005790496         PILGRIMS-0005790498          3
 Emails/Attachments   PILGRIMS-0005790549         PILGRIMS-0005790550          2
 Emails/Attachments   PILGRIMS-0005790588         PILGRIMS-0005790590          1
 Emails/Attachments   PILGRIMS-0005790599         PILGRIMS-0005790602          4
 Emails/Attachments   PILGRIMS-0005790631         PILGRIMS-0005790632          2
 Emails/Attachments   PILGRIMS-0005790644         PILGRIMS-0005790645          2
 Emails/Attachments   PILGRIMS-0005790676         PILGRIMS-0005790677          2
 Emails/Attachments   PILGRIMS-0005790720         PILGRIMS-0005790721          2
 Emails/Attachments   PILGRIMS-0005790740         PILGRIMS-0005791439         422
 Emails/Attachments   PILGRIMS-0005791441         PILGRIMS-0005792062         378
 Emails/Attachments   PILGRIMS-0005792064         PILGRIMS-0005792081         12


                                    Page 103 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 127 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005792083         PILGRIMS-0005792100         15
 Emails/Attachments   PILGRIMS-0005792102         PILGRIMS-0005792261         88
 Emails/Attachments   PILGRIMS-0005792263         PILGRIMS-0005792397         103
 Emails/Attachments   PILGRIMS-0005792399         PILGRIMS-0005792402          4
 Emails/Attachments   PILGRIMS-0005792404         PILGRIMS-0005792412          9
 Emails/Attachments   PILGRIMS-0005792414         PILGRIMS-0005792431         18
 Emails/Attachments   PILGRIMS-0005792433         PILGRIMS-0005792438          6
 Emails/Attachments   PILGRIMS-0005792440         PILGRIMS-0005792441          2
 Emails/Attachments   PILGRIMS-0005792443         PILGRIMS-0005792455         10
 Emails/Attachments   PILGRIMS-0005792457         PILGRIMS-0005792474         12
 Emails/Attachments   PILGRIMS-0005792485         PILGRIMS-0005792485          1
 Emails/Attachments   PILGRIMS-0005792487         PILGRIMS-0005792544         24
 Emails/Attachments   PILGRIMS-0005792553         PILGRIMS-0005792601         29
 Emails/Attachments   PILGRIMS-0005792603         PILGRIMS-0005792620         10
 Emails/Attachments   PILGRIMS-0005792622         PILGRIMS-0005792643         15
 Emails/Attachments   PILGRIMS-0005792645         PILGRIMS-0005792648          4
 Emails/Attachments   PILGRIMS-0005792650         PILGRIMS-0005792688         23
 Emails/Attachments   PILGRIMS-0005792690         PILGRIMS-0005792831         73
 Emails/Attachments   PILGRIMS-0005792833         PILGRIMS-0005792858         10
 Emails/Attachments   PILGRIMS-0005792860         PILGRIMS-0005792888         27
 Emails/Attachments   PILGRIMS-0005792890         PILGRIMS-0005792891          2
 Emails/Attachments   PILGRIMS-0005792893         PILGRIMS-0005793122         79
 Emails/Attachments   PILGRIMS-0005793124         PILGRIMS-0005793135         10
 Emails/Attachments   PILGRIMS-0005793138         PILGRIMS-0005793150         11
 Emails/Attachments   PILGRIMS-0005793152         PILGRIMS-0005793158          7
 Emails/Attachments   PILGRIMS-0005793160         PILGRIMS-0005793190         26
 Emails/Attachments   PILGRIMS-0005793193         PILGRIMS-0005793198          6
 Emails/Attachments   PILGRIMS-0005793202         PILGRIMS-0005793261         28
 Emails/Attachments   PILGRIMS-0005793263         PILGRIMS-0005793302         31
 Emails/Attachments   PILGRIMS-0005793305         PILGRIMS-0005793340         11
 Emails/Attachments   PILGRIMS-0005793342         PILGRIMS-0005793380         23
 Emails/Attachments   PILGRIMS-0005793382         PILGRIMS-0005793420         25
 Emails/Attachments   PILGRIMS-0005793422         PILGRIMS-0005793431          8
 Emails/Attachments   PILGRIMS-0005793433         PILGRIMS-0005793486         40
 Emails/Attachments   PILGRIMS-0005793489         PILGRIMS-0005793507         13
 Emails/Attachments   PILGRIMS-0005793509         PILGRIMS-0005793522         12
 Emails/Attachments   PILGRIMS-0005793524         PILGRIMS-0005793569         29
 Emails/Attachments   PILGRIMS-0005793571         PILGRIMS-0005793627         41
 Emails/Attachments   PILGRIMS-0005793629         PILGRIMS-0005793639          9
 Emails/Attachments   PILGRIMS-0005793643         PILGRIMS-0005793652          8
 Emails/Attachments   PILGRIMS-0005793654         PILGRIMS-0005793661          3
 Emails/Attachments   PILGRIMS-0005793664         PILGRIMS-0005793669          5
 Emails/Attachments   PILGRIMS-0005793678         PILGRIMS-0005794056         157
 Emails/Attachments   PILGRIMS-0005794058         PILGRIMS-0005794087         25
 Emails/Attachments   PILGRIMS-0005794092         PILGRIMS-0005794138         30
 Emails/Attachments   PILGRIMS-0005794140         PILGRIMS-0005794270         74


                                    Page 104 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 128 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005794272         PILGRIMS-0005794290         13
 Emails/Attachments   PILGRIMS-0005794292         PILGRIMS-0005794318         25
 Emails/Attachments   PILGRIMS-0005794320         PILGRIMS-0005794331         11
 Emails/Attachments   PILGRIMS-0005794333         PILGRIMS-0005794432         51
 Emails/Attachments   PILGRIMS-0005794434         PILGRIMS-0005794594         83
 Emails/Attachments   PILGRIMS-0005794596         PILGRIMS-0005794615         15
 Emails/Attachments   PILGRIMS-0005794617         PILGRIMS-0005794643         11
 Emails/Attachments   PILGRIMS-0005794645         PILGRIMS-0005794695         43
 Emails/Attachments   PILGRIMS-0005794697         PILGRIMS-0005794701          4
 Emails/Attachments   PILGRIMS-0005794703         PILGRIMS-0005794757         24
 Emails/Attachments   PILGRIMS-0005794759         PILGRIMS-0005794770         10
 Emails/Attachments   PILGRIMS-0005794772         PILGRIMS-0005794773          2
 Emails/Attachments   PILGRIMS-0005794775         PILGRIMS-0005794779          3
 Emails/Attachments   PILGRIMS-0005794781         PILGRIMS-0005794806         18
 Emails/Attachments   PILGRIMS-0005794808         PILGRIMS-0005794833         19
 Emails/Attachments   PILGRIMS-0005794835         PILGRIMS-0005794854         17
 Emails/Attachments   PILGRIMS-0005794856         PILGRIMS-0005794935         62
 Emails/Attachments   PILGRIMS-0005794937         PILGRIMS-0005794940          4
 Emails/Attachments   PILGRIMS-0005794942         PILGRIMS-0005794979         33
 Emails/Attachments   PILGRIMS-0005794981         PILGRIMS-0005794999         18
 Emails/Attachments   PILGRIMS-0005795001         PILGRIMS-0005795027         18
 Emails/Attachments   PILGRIMS-0005795029         PILGRIMS-0005795049         20
 Emails/Attachments   PILGRIMS-0005795051         PILGRIMS-0005795097         24
 Emails/Attachments   PILGRIMS-0005795099         PILGRIMS-0005795121         16
 Emails/Attachments   PILGRIMS-0005795148         PILGRIMS-0005795216         50
 Emails/Attachments   PILGRIMS-0005795218         PILGRIMS-0005795228          6
 Emails/Attachments   PILGRIMS-0005795230         PILGRIMS-0005795306         60
 Emails/Attachments   PILGRIMS-0005795308         PILGRIMS-0005795309          2
 Emails/Attachments   PILGRIMS-0005795314         PILGRIMS-0005795322          6
 Emails/Attachments   PILGRIMS-0005795324         PILGRIMS-0005795346         19
 Emails/Attachments   PILGRIMS-0005795352         PILGRIMS-0005795364          9
 Emails/Attachments   PILGRIMS-0005795366         PILGRIMS-0005795424         44
 Emails/Attachments   PILGRIMS-0005795426         PILGRIMS-0005795607         80
 Emails/Attachments   PILGRIMS-0005795609         PILGRIMS-0005795656         36
 Emails/Attachments   PILGRIMS-0005795663         PILGRIMS-0005795691         15
 Emails/Attachments   PILGRIMS-0005795695         PILGRIMS-0005795791         80
 Emails/Attachments   PILGRIMS-0005795794         PILGRIMS-0005795801          8
 Emails/Attachments   PILGRIMS-0005795803         PILGRIMS-0005797140         706
 Emails/Attachments   PILGRIMS-0005797143         PILGRIMS-0005797763         345
 Emails/Attachments   PILGRIMS-0005797769         PILGRIMS-0005798927         793
 Emails/Attachments   PILGRIMS-0005798935         PILGRIMS-0005798938          4
 Emails/Attachments   PILGRIMS-0005798976         PILGRIMS-0005798976          1
 Emails/Attachments   PILGRIMS-0005799011         PILGRIMS-0005799018          3
 Emails/Attachments   PILGRIMS-0005799025         PILGRIMS-0005799259         120
 Emails/Attachments   PILGRIMS-0005799261         PILGRIMS-0005800325         478
 Emails/Attachments   PILGRIMS-0005800327         PILGRIMS-0005800992         449


                                    Page 105 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 129 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005801077         PILGRIMS-0005802404         536
 Emails/Attachments   PILGRIMS-0005802406         PILGRIMS-0005802825         281
 Emails/Attachments   PILGRIMS-0005802827         PILGRIMS-0005803207         203
 Emails/Attachments   PILGRIMS-0005803209         PILGRIMS-0005803602         233
 Emails/Attachments   PILGRIMS-0005803604         PILGRIMS-0005803706          43
 Emails/Attachments   PILGRIMS-0005803712         PILGRIMS-0005803877          82
 Emails/Attachments   PILGRIMS-0005803894         PILGRIMS-0005809283        1,893
 Emails/Attachments   PILGRIMS-0005809328         PILGRIMS-0005809398           5
 Emails/Attachments   PILGRIMS-0005809407         PILGRIMS-0005809440          27
 Emails/Attachments   PILGRIMS-0005809442         PILGRIMS-0005809443           2
 Emails/Attachments   PILGRIMS-0005809446         PILGRIMS-0005809450           3
 Emails/Attachments   PILGRIMS-0005809484         PILGRIMS-0005809488           3
 Emails/Attachments   PILGRIMS-0005809500         PILGRIMS-0005809544           3
 Emails/Attachments   PILGRIMS-0005809558         PILGRIMS-0005809562           2
 Emails/Attachments   PILGRIMS-0005809783         PILGRIMS-0005809785           1
 Emails/Attachments   PILGRIMS-0005809787         PILGRIMS-0005809788           2
 Emails/Attachments   PILGRIMS-0005809801         PILGRIMS-0005809801           1
 Emails/Attachments   PILGRIMS-0005809838         PILGRIMS-0005809839           2
 Emails/Attachments   PILGRIMS-0005811100         PILGRIMS-0005811216          10
 Emails/Attachments   PILGRIMS-0005811546         PILGRIMS-0005811551           5
 Emails/Attachments   PILGRIMS-0005811559         PILGRIMS-0005811866          65
 Emails/Attachments   PILGRIMS-0005811868         PILGRIMS-0005812038          35
 Emails/Attachments   PILGRIMS-0005812040         PILGRIMS-0005812045           4
 Emails/Attachments   PILGRIMS-0005812053         PILGRIMS-0005812063          10
 Emails/Attachments   PILGRIMS-0005812083         PILGRIMS-0005812144          26
 Emails/Attachments   PILGRIMS-0005812146         PILGRIMS-0005812782          61
 Emails/Attachments   PILGRIMS-0005812784         PILGRIMS-0005812796           9
 Emails/Attachments   PILGRIMS-0005812857         PILGRIMS-0005812858           2
 Emails/Attachments   PILGRIMS-0005812869         PILGRIMS-0005812874           3
 Emails/Attachments   PILGRIMS-0005813027         PILGRIMS-0005813051          17
 Emails/Attachments   PILGRIMS-0005813073         PILGRIMS-0005813078           4
 Emails/Attachments   PILGRIMS-0005813080         PILGRIMS-0005813160          61
 Emails/Attachments   PILGRIMS-0005813168         PILGRIMS-0005813201          21
 Emails/Attachments   PILGRIMS-0005813204         PILGRIMS-0005813216          10
 Emails/Attachments   PILGRIMS-0005813218         PILGRIMS-0005813221           4
 Emails/Attachments   PILGRIMS-0005813224         PILGRIMS-0005813242           8
 Emails/Attachments   PILGRIMS-0005813244         PILGRIMS-0005813261          16
 Emails/Attachments   PILGRIMS-0005813263         PILGRIMS-0005813278           6
 Emails/Attachments   PILGRIMS-0005813280         PILGRIMS-0005813293          14
 Emails/Attachments   PILGRIMS-0005813295         PILGRIMS-0005813296           1
 Emails/Attachments   PILGRIMS-0005813298         PILGRIMS-0005813312          14
 Emails/Attachments   PILGRIMS-0005813320         PILGRIMS-0005813321           2
 Emails/Attachments   PILGRIMS-0005813323         PILGRIMS-0005813344          16
 Emails/Attachments   PILGRIMS-0005813346         PILGRIMS-0005813347           1
 Emails/Attachments   PILGRIMS-0005813349         PILGRIMS-0005813360          12
 Emails/Attachments   PILGRIMS-0005813362         PILGRIMS-0005813418          40


                                    Page 106 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 130 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005813420         PILGRIMS-0005813436         14
 Emails/Attachments   PILGRIMS-0005813438         PILGRIMS-0005813438          1
 Emails/Attachments   PILGRIMS-0005813441         PILGRIMS-0005813507         37
 Emails/Attachments   PILGRIMS-0005813522         PILGRIMS-0005813560         24
 Emails/Attachments   PILGRIMS-0005813563         PILGRIMS-0005813568          6
 Emails/Attachments   PILGRIMS-0005813570         PILGRIMS-0005813574          5
 Emails/Attachments   PILGRIMS-0005813705         PILGRIMS-0005813708          4
 Emails/Attachments   PILGRIMS-0005813711         PILGRIMS-0005813734         13
 Emails/Attachments   PILGRIMS-0005813736         PILGRIMS-0005813739          4
 Emails/Attachments   PILGRIMS-0005813741         PILGRIMS-0005813753         11
 Emails/Attachments   PILGRIMS-0005813755         PILGRIMS-0005813849         45
 Emails/Attachments   PILGRIMS-0005813851         PILGRIMS-0005813857          6
 Emails/Attachments   PILGRIMS-0005813860         PILGRIMS-0005813878          7
 Emails/Attachments   PILGRIMS-0005813881         PILGRIMS-0005813881          1
 Emails/Attachments   PILGRIMS-0005813883         PILGRIMS-0005813888          4
 Emails/Attachments   PILGRIMS-0005813894         PILGRIMS-0005813949         34
 Emails/Attachments   PILGRIMS-0005813951         PILGRIMS-0005813957          2
 Emails/Attachments   PILGRIMS-0005813964         PILGRIMS-0005814045         50
 Emails/Attachments   PILGRIMS-0005814047         PILGRIMS-0005814054          4
 Emails/Attachments   PILGRIMS-0005814056         PILGRIMS-0005814057          2
 Emails/Attachments   PILGRIMS-0005814059         PILGRIMS-0005814063          4
 Emails/Attachments   PILGRIMS-0005814066         PILGRIMS-0005814069          2
 Emails/Attachments   PILGRIMS-0005814099         PILGRIMS-0005814136          4
 Emails/Attachments   PILGRIMS-0005814148         PILGRIMS-0005814267         51
 Emails/Attachments   PILGRIMS-0005814281         PILGRIMS-0005814291          9
 Emails/Attachments   PILGRIMS-0005814293         PILGRIMS-0005814294          2
 Emails/Attachments   PILGRIMS-0005814296         PILGRIMS-0005814489         50
 Emails/Attachments   PILGRIMS-0005814491         PILGRIMS-0005814497          6
 Emails/Attachments   PILGRIMS-0005814511         PILGRIMS-0005814540         23
 Emails/Attachments   PILGRIMS-0005814542         PILGRIMS-0005814560         14
 Emails/Attachments   PILGRIMS-0005814562         PILGRIMS-0005814572          9
 Emails/Attachments   PILGRIMS-0005814580         PILGRIMS-0005814608         15
 Emails/Attachments   PILGRIMS-0005814612         PILGRIMS-0005814667         43
 Emails/Attachments   PILGRIMS-0005814681         PILGRIMS-0005814682          1
 Emails/Attachments   PILGRIMS-0005814688         PILGRIMS-0005814701         13
 Emails/Attachments   PILGRIMS-0005814704         PILGRIMS-0005814786         32
 Emails/Attachments   PILGRIMS-0005814789         PILGRIMS-0005814790          2
 Emails/Attachments   PILGRIMS-0005814820         PILGRIMS-0005815341         194
 Emails/Attachments   PILGRIMS-0005815357         PILGRIMS-0005815586         10
 Emails/Attachments   PILGRIMS-0005815616         PILGRIMS-0005815657         33
 Emails/Attachments   PILGRIMS-0005815689         PILGRIMS-0005815727         19
 Emails/Attachments   PILGRIMS-0005815729         PILGRIMS-0005815731          3
 Emails/Attachments   PILGRIMS-0005815758         PILGRIMS-0005815770         12
 Emails/Attachments   PILGRIMS-0005815789         PILGRIMS-0005815826         19
 Emails/Attachments   PILGRIMS-0005815840         PILGRIMS-0005815855         11
 Emails/Attachments   PILGRIMS-0005815875         PILGRIMS-0005815948         64


                                    Page 107 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 131 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005815950         PILGRIMS-0005815965         11
 Emails/Attachments   PILGRIMS-0005815980         PILGRIMS-0005815995         15
 Emails/Attachments   PILGRIMS-0005815997         PILGRIMS-0005816035         25
 Emails/Attachments   PILGRIMS-0005816037         PILGRIMS-0005816042          6
 Emails/Attachments   PILGRIMS-0005816044         PILGRIMS-0005816045          2
 Emails/Attachments   PILGRIMS-0005816047         PILGRIMS-0005816075         16
 Emails/Attachments   PILGRIMS-0005816077         PILGRIMS-0005816095         16
 Emails/Attachments   PILGRIMS-0005816097         PILGRIMS-0005816098          2
 Emails/Attachments   PILGRIMS-0005816101         PILGRIMS-0005816108          8
 Emails/Attachments   PILGRIMS-0005816111         PILGRIMS-0005816135         15
 Emails/Attachments   PILGRIMS-0005816137         PILGRIMS-0005816138          2
 Emails/Attachments   PILGRIMS-0005816140         PILGRIMS-0005816141          2
 Emails/Attachments   PILGRIMS-0005816143         PILGRIMS-0005816145          2
 Emails/Attachments   PILGRIMS-0005816175         PILGRIMS-0005816178          4
 Emails/Attachments   PILGRIMS-0005816181         PILGRIMS-0005816193         11
 Emails/Attachments   PILGRIMS-0005816211         PILGRIMS-0005816214          3
 Emails/Attachments   PILGRIMS-0005816216         PILGRIMS-0005816217          2
 Emails/Attachments   PILGRIMS-0005816219         PILGRIMS-0005816230         11
 Emails/Attachments   PILGRIMS-0005816232         PILGRIMS-0005816259         25
 Emails/Attachments   PILGRIMS-0005816261         PILGRIMS-0005816265          4
 Emails/Attachments   PILGRIMS-0005816267         PILGRIMS-0005816271          3
 Emails/Attachments   PILGRIMS-0005816273         PILGRIMS-0005816295         18
 Emails/Attachments   PILGRIMS-0005816297         PILGRIMS-0005816325         28
 Emails/Attachments   PILGRIMS-0005816341         PILGRIMS-0005816347          7
 Emails/Attachments   PILGRIMS-0005816349         PILGRIMS-0005816350          2
 Emails/Attachments   PILGRIMS-0005816352         PILGRIMS-0005816362          8
 Emails/Attachments   PILGRIMS-0005816364         PILGRIMS-0005816379         16
 Emails/Attachments   PILGRIMS-0005816381         PILGRIMS-0005816396         15
 Emails/Attachments   PILGRIMS-0005816398         PILGRIMS-0005816405          8
 Emails/Attachments   PILGRIMS-0005816407         PILGRIMS-0005816416         10
 Emails/Attachments   PILGRIMS-0005816469         PILGRIMS-0005816479         11
 Emails/Attachments   PILGRIMS-0005816498         PILGRIMS-0005816503          6
 Emails/Attachments   PILGRIMS-0005816505         PILGRIMS-0005816505          1
 Emails/Attachments   PILGRIMS-0005816527         PILGRIMS-0005816536          2
 Emails/Attachments   PILGRIMS-0005816539         PILGRIMS-0005816548          9
 Emails/Attachments   PILGRIMS-0005816550         PILGRIMS-0005816555          6
 Emails/Attachments   PILGRIMS-0005816557         PILGRIMS-0005816562          6
 Emails/Attachments   PILGRIMS-0005816564         PILGRIMS-0005816566          3
 Emails/Attachments   PILGRIMS-0005816581         PILGRIMS-0005816583          3
 Emails/Attachments   PILGRIMS-0005816585         PILGRIMS-0005816605         17
 Emails/Attachments   PILGRIMS-0005816608         PILGRIMS-0005816638         16
 Emails/Attachments   PILGRIMS-0005816643         PILGRIMS-0005816664          9
 Emails/Attachments   PILGRIMS-0005816666         PILGRIMS-0005816673          3
 Emails/Attachments   PILGRIMS-0005816686         PILGRIMS-0005816691          6
 Emails/Attachments   PILGRIMS-0005816702         PILGRIMS-0005816721          4
 Emails/Attachments   PILGRIMS-0005816731         PILGRIMS-0005816770         16


                                    Page 108 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 132 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005816772         PILGRIMS-0005816773          2
 Emails/Attachments   PILGRIMS-0005816775         PILGRIMS-0005816780          3
 Emails/Attachments   PILGRIMS-0005816789         PILGRIMS-0005816795          3
 Emails/Attachments   PILGRIMS-0005816797         PILGRIMS-0005816807          9
 Emails/Attachments   PILGRIMS-0005816809         PILGRIMS-0005816814          6
 Emails/Attachments   PILGRIMS-0005816817         PILGRIMS-0005816818          2
 Emails/Attachments   PILGRIMS-0005816820         PILGRIMS-0005816826          7
 Emails/Attachments   PILGRIMS-0005816840         PILGRIMS-0005816857         15
 Emails/Attachments   PILGRIMS-0005816867         PILGRIMS-0005816891         21
 Emails/Attachments   PILGRIMS-0005816893         PILGRIMS-0005816914         18
 Emails/Attachments   PILGRIMS-0005816916         PILGRIMS-0005816923          8
 Emails/Attachments   PILGRIMS-0005816937         PILGRIMS-0005816938          2
 Emails/Attachments   PILGRIMS-0005816940         PILGRIMS-0005816943          4
 Emails/Attachments   PILGRIMS-0005816945         PILGRIMS-0005816946          2
 Emails/Attachments   PILGRIMS-0005816948         PILGRIMS-0005816949          2
 Emails/Attachments   PILGRIMS-0005816951         PILGRIMS-0005816952          2
 Emails/Attachments   PILGRIMS-0005816954         PILGRIMS-0005816959          3
 Emails/Attachments   PILGRIMS-0005816961         PILGRIMS-0005816964          4
 Emails/Attachments   PILGRIMS-0005816966         PILGRIMS-0005816987          6
 Emails/Attachments   PILGRIMS-0005816990         PILGRIMS-0005816995          6
 Emails/Attachments   PILGRIMS-0005817016         PILGRIMS-0005817048         13
 Emails/Attachments   PILGRIMS-0005817050         PILGRIMS-0005817053          3
 Emails/Attachments   PILGRIMS-0005817055         PILGRIMS-0005817056          2
 Emails/Attachments   PILGRIMS-0005817058         PILGRIMS-0005817061          4
 Emails/Attachments   PILGRIMS-0005817063         PILGRIMS-0005817086         11
 Emails/Attachments   PILGRIMS-0005817091         PILGRIMS-0005817119         20
 Emails/Attachments   PILGRIMS-0005817121         PILGRIMS-0005817122          2
 Emails/Attachments   PILGRIMS-0005817124         PILGRIMS-0005817129          6
 Emails/Attachments   PILGRIMS-0005817131         PILGRIMS-0005817136          6
 Emails/Attachments   PILGRIMS-0005817144         PILGRIMS-0005817176         20
 Emails/Attachments   PILGRIMS-0005817178         PILGRIMS-0005817197         12
 Emails/Attachments   PILGRIMS-0005817199         PILGRIMS-0005817200          2
 Emails/Attachments   PILGRIMS-0005817203         PILGRIMS-0005817206          4
 Emails/Attachments   PILGRIMS-0005817214         PILGRIMS-0005817246         14
 Emails/Attachments   PILGRIMS-0005817254         PILGRIMS-0005817348         16
 Emails/Attachments   PILGRIMS-0005817415         PILGRIMS-0005817416          1
 Emails/Attachments   PILGRIMS-0005817418         PILGRIMS-0005817446         10
 Emails/Attachments   PILGRIMS-0005817448         PILGRIMS-0005817478         15
 Emails/Attachments   PILGRIMS-0005817485         PILGRIMS-0005817500          5
 Emails/Attachments   PILGRIMS-0005817503         PILGRIMS-0005817509          7
 Emails/Attachments   PILGRIMS-0005817522         PILGRIMS-0005817535         11
 Emails/Attachments   PILGRIMS-0005817547         PILGRIMS-0005817558         12
 Emails/Attachments   PILGRIMS-0005817560         PILGRIMS-0005817562          2
 Emails/Attachments   PILGRIMS-0005817566         PILGRIMS-0005817577         10
 Emails/Attachments   PILGRIMS-0005817580         PILGRIMS-0005817598         17
 Emails/Attachments   PILGRIMS-0005817612         PILGRIMS-0005817625         11


                                    Page 109 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 133 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005817627         PILGRIMS-0005817638         10
 Emails/Attachments   PILGRIMS-0005817640         PILGRIMS-0005817647          8
 Emails/Attachments   PILGRIMS-0005817649         PILGRIMS-0005817660         11
 Emails/Attachments   PILGRIMS-0005817668         PILGRIMS-0005817669          2
 Emails/Attachments   PILGRIMS-0005817677         PILGRIMS-0005817684          6
 Emails/Attachments   PILGRIMS-0005817687         PILGRIMS-0005817689          3
 Emails/Attachments   PILGRIMS-0005817729         PILGRIMS-0005817730          2
 Emails/Attachments   PILGRIMS-0005817733         PILGRIMS-0005817751         16
 Emails/Attachments   PILGRIMS-0005817795         PILGRIMS-0005817811          8
 Emails/Attachments   PILGRIMS-0005817813         PILGRIMS-0005817823          2
 Emails/Attachments   PILGRIMS-0005817825         PILGRIMS-0005817830          6
 Emails/Attachments   PILGRIMS-0005817832         PILGRIMS-0005817835          4
 Emails/Attachments   PILGRIMS-0005817837         PILGRIMS-0005817842          4
 Emails/Attachments   PILGRIMS-0005817844         PILGRIMS-0005817848          5
 Emails/Attachments   PILGRIMS-0005817850         PILGRIMS-0005817855          4
 Emails/Attachments   PILGRIMS-0005817857         PILGRIMS-0005817869         12
 Emails/Attachments   PILGRIMS-0005817871         PILGRIMS-0005817911         37
 Emails/Attachments   PILGRIMS-0005817913         PILGRIMS-0005817921          8
 Emails/Attachments   PILGRIMS-0005817923         PILGRIMS-0005817988          2
 Emails/Attachments   PILGRIMS-0005818054         PILGRIMS-0005818063          6
 Emails/Attachments   PILGRIMS-0005818075         PILGRIMS-0005818080          4
 Emails/Attachments   PILGRIMS-0005818082         PILGRIMS-0005818087          6
 Emails/Attachments   PILGRIMS-0005818094         PILGRIMS-0005818101          7
 Emails/Attachments   PILGRIMS-0005818103         PILGRIMS-0005818142         37
 Emails/Attachments   PILGRIMS-0005818146         PILGRIMS-0005818277          4
 Emails/Attachments   PILGRIMS-0005818343         PILGRIMS-0005818501          2
 Emails/Attachments   PILGRIMS-0005818660         PILGRIMS-0005818666          7
 Emails/Attachments   PILGRIMS-0005818668         PILGRIMS-0005818675          8
 Emails/Attachments   PILGRIMS-0005818677         PILGRIMS-0005818685          8
 Emails/Attachments   PILGRIMS-0005818699         PILGRIMS-0005818700          2
 Emails/Attachments   PILGRIMS-0005818711         PILGRIMS-0005818716          6
 Emails/Attachments   PILGRIMS-0005818718         PILGRIMS-0005818724          4
 Emails/Attachments   PILGRIMS-0005818735         PILGRIMS-0005818751          4
 Emails/Attachments   PILGRIMS-0005818753         PILGRIMS-0005818782          5
 Emails/Attachments   PILGRIMS-0005818795         PILGRIMS-0005818817         12
 Emails/Attachments   PILGRIMS-0005818819         PILGRIMS-0005818820          2
 Emails/Attachments   PILGRIMS-0005818822         PILGRIMS-0005818825          4
 Emails/Attachments   PILGRIMS-0005818827         PILGRIMS-0005818842         11
 Emails/Attachments   PILGRIMS-0005818849         PILGRIMS-0005818859          8
 Emails/Attachments   PILGRIMS-0005818862         PILGRIMS-0005818876         15
 Emails/Attachments   PILGRIMS-0005818878         PILGRIMS-0005818892         10
 Emails/Attachments   PILGRIMS-0005818894         PILGRIMS-0005818933         35
 Emails/Attachments   PILGRIMS-0005818935         PILGRIMS-0005818936          2
 Emails/Attachments   PILGRIMS-0005818948         PILGRIMS-0005818988         27
 Emails/Attachments   PILGRIMS-0005818992         PILGRIMS-0005819115         63
 Emails/Attachments   PILGRIMS-0005819193         PILGRIMS-0005820149         305


                                    Page 110 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 134 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005820151         PILGRIMS-0005820614         202
 Emails/Attachments   PILGRIMS-0005820616         PILGRIMS-0005820944         125
 Emails/Attachments   PILGRIMS-0005820951         PILGRIMS-0005821126          48
 Emails/Attachments   PILGRIMS-0005821128         PILGRIMS-0005824031        1,374
 Emails/Attachments   PILGRIMS-0005824039         PILGRIMS-0005824369         147
 Emails/Attachments   PILGRIMS-0005824371         PILGRIMS-0005825282         483
 Emails/Attachments   PILGRIMS-0005825284         PILGRIMS-0005826815         558
 Emails/Attachments   PILGRIMS-0005826818         PILGRIMS-0005827404         284
 Emails/Attachments   PILGRIMS-0005827406         PILGRIMS-0005829571         752
 Emails/Attachments   PILGRIMS-0005829612         PILGRIMS-0005829902         133
 Emails/Attachments   PILGRIMS-0005829910         PILGRIMS-0005830267         146
 Emails/Attachments   PILGRIMS-0005830276         PILGRIMS-0005830479          74
 Emails/Attachments   PILGRIMS-0005830481         PILGRIMS-0005831878         561
 Emails/Attachments   PILGRIMS-0005831908         PILGRIMS-0005834851        1,153
 Emails/Attachments   PILGRIMS-0005834872         PILGRIMS-0005834964          29
 Emails/Attachments   PILGRIMS-0005834978         PILGRIMS-0005835599         352
 Emails/Attachments   PILGRIMS-0005835609         PILGRIMS-0005836992         625
 Emails/Attachments   PILGRIMS-0005836994         PILGRIMS-0005837311          98
 Emails/Attachments   PILGRIMS-0005837318         PILGRIMS-0005837846         160
 Emails/Attachments   PILGRIMS-0005837857         PILGRIMS-0005845952        1,954
 Emails/Attachments   PILGRIMS-0005845969         PILGRIMS-0005847137         443
 Emails/Attachments   PILGRIMS-0005847139         PILGRIMS-0005847861         323
 Emails/Attachments   PILGRIMS-0005847863         PILGRIMS-0005848987         394
 Emails/Attachments   PILGRIMS-0005848995         PILGRIMS-0005855865        2,508
 Emails/Attachments   PILGRIMS-0005855879         PILGRIMS-0005856731         394
 Emails/Attachments   PILGRIMS-0005856734         PILGRIMS-0005859476        1,161
 Emails/Attachments   PILGRIMS-0005859478         PILGRIMS-0005863273        1,064
 Emails/Attachments   PILGRIMS-0005863275         PILGRIMS-0005863363          22
 Emails/Attachments   PILGRIMS-0005863385         PILGRIMS-0005866549         930
 Emails/Attachments   PILGRIMS-0005866551         PILGRIMS-0005866552           2
 Emails/Attachments   PILGRIMS-0005866554         PILGRIMS-0005866572          10
 Emails/Attachments   PILGRIMS-0005866598         PILGRIMS-0005867167         200
 Emails/Attachments   PILGRIMS-0005867196         PILGRIMS-0005869526         787
 Emails/Attachments   PILGRIMS-0005869529         PILGRIMS-0005869900          82
 Emails/Attachments   PILGRIMS-0005869902         PILGRIMS-0005869909           8
 Emails/Attachments   PILGRIMS-0005869911         PILGRIMS-0005870016          37
 Emails/Attachments   PILGRIMS-0005870019         PILGRIMS-0005871107         426
 Emails/Attachments   PILGRIMS-0005871110         PILGRIMS-0005872352         422
 Emails/Attachments   PILGRIMS-0005872354         PILGRIMS-0005872497          36
 Emails/Attachments   PILGRIMS-0005872503         PILGRIMS-0005875053         805
 Emails/Attachments   PILGRIMS-0005875056         PILGRIMS-0005875849         263
 Emails/Attachments   PILGRIMS-0005875851         PILGRIMS-0005881360        2,038
 Emails/Attachments   PILGRIMS-0005881363         PILGRIMS-0005883997        1,385
 Emails/Attachments   PILGRIMS-0005883999         PILGRIMS-0005887502         835
 Emails/Attachments   PILGRIMS-0005887504         PILGRIMS-0005887827         147
 Emails/Attachments   PILGRIMS-0005887830         PILGRIMS-0005893725        1,929


                                    Page 111 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 135 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005893727         PILGRIMS-0005893838          55
 Emails/Attachments   PILGRIMS-0005893840         PILGRIMS-0005893882          28
 Emails/Attachments   PILGRIMS-0005893911         PILGRIMS-0005893945          19
 Emails/Attachments   PILGRIMS-0005893980         PILGRIMS-0005894056          38
 Emails/Attachments   PILGRIMS-0005894062         PILGRIMS-0005894446         118
 Emails/Attachments   PILGRIMS-0005894448         PILGRIMS-0005894597          39
 Emails/Attachments   PILGRIMS-0005894599         PILGRIMS-0005894815         109
 Emails/Attachments   PILGRIMS-0005894817         PILGRIMS-0005894823           6
 Emails/Attachments   PILGRIMS-0005894825         PILGRIMS-0005894831           7
 Emails/Attachments   PILGRIMS-0005894842         PILGRIMS-0005895065         107
 Emails/Attachments   PILGRIMS-0005895196         PILGRIMS-0005896438         533
 Emails/Attachments   PILGRIMS-0005896495         PILGRIMS-0005896703          63
 Emails/Attachments   PILGRIMS-0005896718         PILGRIMS-0005896762          23
 Emails/Attachments   PILGRIMS-0005896771         PILGRIMS-0005896993         103
 Emails/Attachments   PILGRIMS-0005897015         PILGRIMS-0005897124          54
 Emails/Attachments   PILGRIMS-0005897159         PILGRIMS-0005899510        1,029
 Emails/Attachments   PILGRIMS-0005899518         PILGRIMS-0005901815         802
 Emails/Attachments   PILGRIMS-0005901875         PILGRIMS-0005902466         255
 Emails/Attachments   PILGRIMS-0005902475         PILGRIMS-0005903021         222
 Emails/Attachments   PILGRIMS-0005903023         PILGRIMS-0005903219          73
 Emails/Attachments   PILGRIMS-0005903221         PILGRIMS-0005903222           1
 Emails/Attachments   PILGRIMS-0005903226         PILGRIMS-0005903293          29
 Emails/Attachments   PILGRIMS-0005903295         PILGRIMS-0005903747         142
 Emails/Attachments   PILGRIMS-0005903873         PILGRIMS-0005904120          72
 Emails/Attachments   PILGRIMS-0005904122         PILGRIMS-0005904653         201
 Emails/Attachments   PILGRIMS-0005904655         PILGRIMS-0005905405         208
 Emails/Attachments   PILGRIMS-0005905407         PILGRIMS-0005906475         376
 Emails/Attachments   PILGRIMS-0005906480         PILGRIMS-0005906530          31
 Emails/Attachments   PILGRIMS-0005906533         PILGRIMS-0005907313         238
 Emails/Attachments   PILGRIMS-0005907320         PILGRIMS-0005907826         155
 Emails/Attachments   PILGRIMS-0005907837         PILGRIMS-0005907960          48
 Emails/Attachments   PILGRIMS-0005907967         PILGRIMS-0005908229          58
 Emails/Attachments   PILGRIMS-0005908239         PILGRIMS-0005909966         533
 Emails/Attachments   PILGRIMS-0005909975         PILGRIMS-0005910239          68
 Emails/Attachments   PILGRIMS-0005910507         PILGRIMS-0005910600          27
 Emails/Attachments   PILGRIMS-0005910602         PILGRIMS-0005910628          20
 Emails/Attachments   PILGRIMS-0005910634         PILGRIMS-0005911825         544
 Emails/Attachments   PILGRIMS-0005911827         PILGRIMS-0005912103          93
 Emails/Attachments   PILGRIMS-0005912106         PILGRIMS-0005913098         314
 Emails/Attachments   PILGRIMS-0005913101         PILGRIMS-0005914290         407
 Emails/Attachments   PILGRIMS-0005914322         PILGRIMS-0005914354          11
 Emails/Attachments   PILGRIMS-0005914356         PILGRIMS-0005914547          49
 Emails/Attachments   PILGRIMS-0005914549         PILGRIMS-0005914628          17
 Emails/Attachments   PILGRIMS-0005914762         PILGRIMS-0005914898          23
 Emails/Attachments   PILGRIMS-0005914916         PILGRIMS-0005914938           6
 Emails/Attachments   PILGRIMS-0005914955         PILGRIMS-0005915182          50


                                    Page 112 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 136 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005915193         PILGRIMS-0005915199           5
 Emails/Attachments   PILGRIMS-0005915201         PILGRIMS-0005915244          13
 Emails/Attachments   PILGRIMS-0005915246         PILGRIMS-0005915369          41
 Emails/Attachments   PILGRIMS-0005915371         PILGRIMS-0005915400           4
 Emails/Attachments   PILGRIMS-0005915415         PILGRIMS-0005915441           7
 Emails/Attachments   PILGRIMS-0005915456         PILGRIMS-0005915513           7
 Emails/Attachments   PILGRIMS-0005915515         PILGRIMS-0005915720          26
 Emails/Attachments   PILGRIMS-0005915725         PILGRIMS-0005916053          63
 Emails/Attachments   PILGRIMS-0005916056         PILGRIMS-0005916402          56
 Emails/Attachments   PILGRIMS-0005916404         PILGRIMS-0005916753          23
 Emails/Attachments   PILGRIMS-0005916760         PILGRIMS-0005917119          64
 Emails/Attachments   PILGRIMS-0005917122         PILGRIMS-0005917462          79
 Emails/Attachments   PILGRIMS-0005917466         PILGRIMS-0005917492           7
 Emails/Attachments   PILGRIMS-0005917494         PILGRIMS-0005917497           1
 Emails/Attachments   PILGRIMS-0005917500         PILGRIMS-0005917524           6
 Emails/Attachments   PILGRIMS-0005917547         PILGRIMS-0005917583          10
 Emails/Attachments   PILGRIMS-0005917585         PILGRIMS-0005917920          90
 Emails/Attachments   PILGRIMS-0005917926         PILGRIMS-0005917929           2
 Emails/Attachments   PILGRIMS-0005917933         PILGRIMS-0005918023          19
 Emails/Attachments   PILGRIMS-0005918038         PILGRIMS-0005918141          26
 Emails/Attachments   PILGRIMS-0005918184         PILGRIMS-0005918184           1
 Emails/Attachments   PILGRIMS-0005918347         PILGRIMS-0005918475          14
 Emails/Attachments   PILGRIMS-0005918483         PILGRIMS-0005918505           6
 Emails/Attachments   PILGRIMS-0005918523         PILGRIMS-0005918710          61
 Emails/Attachments   PILGRIMS-0005918716         PILGRIMS-0005918915          71
 Emails/Attachments   PILGRIMS-0005918926         PILGRIMS-0005918969          21
 Emails/Attachments   PILGRIMS-0005918973         PILGRIMS-0005918987           6
 Emails/Attachments   PILGRIMS-0005918989         PILGRIMS-0005919123          19
 Emails/Attachments   PILGRIMS-0005919125         PILGRIMS-0005919280          64
 Emails/Attachments   PILGRIMS-0005919286         PILGRIMS-0005919338          26
 Emails/Attachments   PILGRIMS-0005919344         PILGRIMS-0005919461          65
 Emails/Attachments   PILGRIMS-0005919488         PILGRIMS-0005919494           7
 Emails/Attachments   PILGRIMS-0005919501         PILGRIMS-0005919782         109
 Emails/Attachments   PILGRIMS-0005919821         PILGRIMS-0005926921        2,410
 Emails/Attachments   PILGRIMS-0005926929         PILGRIMS-0005927484         193
 Emails/Attachments   PILGRIMS-0005927486         PILGRIMS-0005928483         783
 Emails/Attachments   PILGRIMS-0005928485         PILGRIMS-0005928724         100
 Emails/Attachments   PILGRIMS-0005928726         PILGRIMS-0005929091         232
 Emails/Attachments   PILGRIMS-0005929093         PILGRIMS-0005929570         325
 Emails/Attachments   PILGRIMS-0005929572         PILGRIMS-0005929573           2
 Emails/Attachments   PILGRIMS-0005929575         PILGRIMS-0005930076         306
 Emails/Attachments   PILGRIMS-0005930078         PILGRIMS-0005930654         254
 Emails/Attachments   PILGRIMS-0005930657         PILGRIMS-0005931362         260
 Emails/Attachments   PILGRIMS-0005931364         PILGRIMS-0005931829         225
 Emails/Attachments   PILGRIMS-0005931836         PILGRIMS-0005932002         116
 Emails/Attachments   PILGRIMS-0005932004         PILGRIMS-0005932701         384


                                    Page 113 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 137 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005932703         PILGRIMS-0005932710          8
 Emails/Attachments   PILGRIMS-0005932712         PILGRIMS-0005933941         124
 Emails/Attachments   PILGRIMS-0005933971         PILGRIMS-0005934273         157
 Emails/Attachments   PILGRIMS-0005934275         PILGRIMS-0005934458         115
 Emails/Attachments   PILGRIMS-0005934488         PILGRIMS-0005934687         154
 Emails/Attachments   PILGRIMS-0005934689         PILGRIMS-0005934877         151
 Emails/Attachments   PILGRIMS-0005934881         PILGRIMS-0005935604         222
 Emails/Attachments   PILGRIMS-0005935677         PILGRIMS-0005935682          5
 Emails/Attachments   PILGRIMS-0005935684         PILGRIMS-0005935885         102
 Emails/Attachments   PILGRIMS-0005935894         PILGRIMS-0005936188         147
 Emails/Attachments   PILGRIMS-0005936190         PILGRIMS-0005936723         269
 Emails/Attachments   PILGRIMS-0005936725         PILGRIMS-0005936893         125
 Emails/Attachments   PILGRIMS-0005936895         PILGRIMS-0005937832         592
 Emails/Attachments   PILGRIMS-0005937834         PILGRIMS-0005937954         49
 Emails/Attachments   PILGRIMS-0005937971         PILGRIMS-0005938331         263
 Emails/Attachments   PILGRIMS-0005938333         PILGRIMS-0005938334          2
 Emails/Attachments   PILGRIMS-0005938336         PILGRIMS-0005938480         98
 Emails/Attachments   PILGRIMS-0005938482         PILGRIMS-0005938866         170
 Emails/Attachments   PILGRIMS-0005938868         PILGRIMS-0005940441         974
 Emails/Attachments   PILGRIMS-0005940507         PILGRIMS-0005941253         348
 Emails/Attachments   PILGRIMS-0005941289         PILGRIMS-0005941290          2
 Emails/Attachments   PILGRIMS-0005941306         PILGRIMS-0005942066         409
 Emails/Attachments   PILGRIMS-0005942068         PILGRIMS-0005942179         76
 Emails/Attachments   PILGRIMS-0005942181         PILGRIMS-0005942708         321
 Emails/Attachments   PILGRIMS-0005942711         PILGRIMS-0005942770         41
 Emails/Attachments   PILGRIMS-0005942773         PILGRIMS-0005943026         113
 Emails/Attachments   PILGRIMS-0005943031         PILGRIMS-0005943335         194
 Emails/Attachments   PILGRIMS-0005943338         PILGRIMS-0005943442         79
 Emails/Attachments   PILGRIMS-0005943444         PILGRIMS-0005943656         78
 Emails/Attachments   PILGRIMS-0005943685         PILGRIMS-0005943692          7
 Emails/Attachments   PILGRIMS-0005943695         PILGRIMS-0005943698          4
 Emails/Attachments   PILGRIMS-0005943701         PILGRIMS-0005943730          6
 Emails/Attachments   PILGRIMS-0005943830         PILGRIMS-0005943932          6
 Emails/Attachments   PILGRIMS-0005943935         PILGRIMS-0005943936          1
 Emails/Attachments   PILGRIMS-0005943948         PILGRIMS-0005943961          8
 Emails/Attachments   PILGRIMS-0005943965         PILGRIMS-0005943970          2
 Emails/Attachments   PILGRIMS-0005943973         PILGRIMS-0005943979          7
 Emails/Attachments   PILGRIMS-0005943982         PILGRIMS-0005943983          2
 Emails/Attachments   PILGRIMS-0005943988         PILGRIMS-0005944018         26
 Emails/Attachments   PILGRIMS-0005944021         PILGRIMS-0005944029          6
 Emails/Attachments   PILGRIMS-0005944032         PILGRIMS-0005944052          9
 Emails/Attachments   PILGRIMS-0005944055         PILGRIMS-0005944072         15
 Emails/Attachments   PILGRIMS-0005944080         PILGRIMS-0005944091         10
 Emails/Attachments   PILGRIMS-0005944094         PILGRIMS-0005944098          5
 Emails/Attachments   PILGRIMS-0005944104         PILGRIMS-0005944119         11
 Emails/Attachments   PILGRIMS-0005944124         PILGRIMS-0005944127          4


                                    Page 114 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 138 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005944132         PILGRIMS-0005944138          5
 Emails/Attachments   PILGRIMS-0005944142         PILGRIMS-0005944143          2
 Emails/Attachments   PILGRIMS-0005944152         PILGRIMS-0005944157          5
 Emails/Attachments   PILGRIMS-0005944178         PILGRIMS-0005944190          6
 Emails/Attachments   PILGRIMS-0005944194         PILGRIMS-0005944209         12
 Emails/Attachments   PILGRIMS-0005944216         PILGRIMS-0005944219          2
 Emails/Attachments   PILGRIMS-0005944224         PILGRIMS-0005944228          2
 Emails/Attachments   PILGRIMS-0005944235         PILGRIMS-0005944241          5
 Emails/Attachments   PILGRIMS-0005944244         PILGRIMS-0005944270         17
 Emails/Attachments   PILGRIMS-0005944277         PILGRIMS-0005944348         38
 Emails/Attachments   PILGRIMS-0005944351         PILGRIMS-0005944373         15
 Emails/Attachments   PILGRIMS-0005944380         PILGRIMS-0005944381          2
 Emails/Attachments   PILGRIMS-0005944386         PILGRIMS-0005944400          8
 Emails/Attachments   PILGRIMS-0005944403         PILGRIMS-0005944414         10
 Emails/Attachments   PILGRIMS-0005944417         PILGRIMS-0005944423          6
 Emails/Attachments   PILGRIMS-0005944427         PILGRIMS-0005944525          9
 Emails/Attachments   PILGRIMS-0005944547         PILGRIMS-0005944577         13
 Emails/Attachments   PILGRIMS-0005944579         PILGRIMS-0005944606         15
 Emails/Attachments   PILGRIMS-0005944609         PILGRIMS-0005944614          3
 Emails/Attachments   PILGRIMS-0005944619         PILGRIMS-0005944621          3
 Emails/Attachments   PILGRIMS-0005944625         PILGRIMS-0005944635         10
 Emails/Attachments   PILGRIMS-0005944638         PILGRIMS-0005944665         19
 Emails/Attachments   PILGRIMS-0005944667         PILGRIMS-0005944783         59
 Emails/Attachments   PILGRIMS-0005944788         PILGRIMS-0005944800          4
 Emails/Attachments   PILGRIMS-0005944803         PILGRIMS-0005944997         23
 Emails/Attachments   PILGRIMS-0005945002         PILGRIMS-0005945021         16
 Emails/Attachments   PILGRIMS-0005945024         PILGRIMS-0005945114         65
 Emails/Attachments   PILGRIMS-0005945118         PILGRIMS-0005945125          4
 Emails/Attachments   PILGRIMS-0005945128         PILGRIMS-0005945134          3
 Emails/Attachments   PILGRIMS-0005945144         PILGRIMS-0005945148          3
 Emails/Attachments   PILGRIMS-0005945151         PILGRIMS-0005945224         54
 Emails/Attachments   PILGRIMS-0005945229         PILGRIMS-0005945253         17
 Emails/Attachments   PILGRIMS-0005945258         PILGRIMS-0005945275         14
 Emails/Attachments   PILGRIMS-0005945278         PILGRIMS-0005945292         10
 Emails/Attachments   PILGRIMS-0005945294         PILGRIMS-0005945345         14
 Emails/Attachments   PILGRIMS-0005945348         PILGRIMS-0005945349          2
 Emails/Attachments   PILGRIMS-0005945353         PILGRIMS-0005945380         16
 Emails/Attachments   PILGRIMS-0005945386         PILGRIMS-0005945418         25
 Emails/Attachments   PILGRIMS-0005945421         PILGRIMS-0005945445         21
 Emails/Attachments   PILGRIMS-0005945448         PILGRIMS-0005945603         50
 Emails/Attachments   PILGRIMS-0005945606         PILGRIMS-0005945666         38
 Emails/Attachments   PILGRIMS-0005945670         PILGRIMS-0005945676          5
 Emails/Attachments   PILGRIMS-0005945692         PILGRIMS-0005945703          8
 Emails/Attachments   PILGRIMS-0005945706         PILGRIMS-0005945816         77
 Emails/Attachments   PILGRIMS-0005945819         PILGRIMS-0005945828          4
 Emails/Attachments   PILGRIMS-0005945831         PILGRIMS-0005945835          5


                                    Page 115 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 139 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005945838         PILGRIMS-0005945847          4
 Emails/Attachments   PILGRIMS-0005945851         PILGRIMS-0005945853          1
 Emails/Attachments   PILGRIMS-0005945858         PILGRIMS-0005946250         166
 Emails/Attachments   PILGRIMS-0005946253         PILGRIMS-0005946366         84
 Emails/Attachments   PILGRIMS-0005946374         PILGRIMS-0005946388         14
 Emails/Attachments   PILGRIMS-0005946393         PILGRIMS-0005946399          5
 Emails/Attachments   PILGRIMS-0005946405         PILGRIMS-0005946414         10
 Emails/Attachments   PILGRIMS-0005946417         PILGRIMS-0005946492         45
 Emails/Attachments   PILGRIMS-0005946495         PILGRIMS-0005946508         10
 Emails/Attachments   PILGRIMS-0005946510         PILGRIMS-0005946512          2
 Emails/Attachments   PILGRIMS-0005946515         PILGRIMS-0005946532         11
 Emails/Attachments   PILGRIMS-0005946538         PILGRIMS-0005946787         132
 Emails/Attachments   PILGRIMS-0005946790         PILGRIMS-0005947131         128
 Emails/Attachments   PILGRIMS-0005947135         PILGRIMS-0005947261         89
 Emails/Attachments   PILGRIMS-0005947266         PILGRIMS-0005947278          9
 Emails/Attachments   PILGRIMS-0005947281         PILGRIMS-0005947296         12
 Emails/Attachments   PILGRIMS-0005947302         PILGRIMS-0005947303          1
 Emails/Attachments   PILGRIMS-0005947308         PILGRIMS-0005947325         11
 Emails/Attachments   PILGRIMS-0005947328         PILGRIMS-0005947394         39
 Emails/Attachments   PILGRIMS-0005947414         PILGRIMS-0005947504         49
 Emails/Attachments   PILGRIMS-0005947507         PILGRIMS-0005947510          3
 Emails/Attachments   PILGRIMS-0005947513         PILGRIMS-0005947519          5
 Emails/Attachments   PILGRIMS-0005947522         PILGRIMS-0005947589         17
 Emails/Attachments   PILGRIMS-0005947621         PILGRIMS-0005947622          1
 Emails/Attachments   PILGRIMS-0005947625         PILGRIMS-0005947628          4
 Emails/Attachments   PILGRIMS-0005947631         PILGRIMS-0005947832         111
 Emails/Attachments   PILGRIMS-0005947835         PILGRIMS-0005947847          7
 Emails/Attachments   PILGRIMS-0005947850         PILGRIMS-0005947853          4
 Emails/Attachments   PILGRIMS-0005947856         PILGRIMS-0005947868          4
 Emails/Attachments   PILGRIMS-0005947871         PILGRIMS-0005947880          5
 Emails/Attachments   PILGRIMS-0005947883         PILGRIMS-0005947891          5
 Emails/Attachments   PILGRIMS-0005947896         PILGRIMS-0005947908         10
 Emails/Attachments   PILGRIMS-0005947917         PILGRIMS-0005947937         12
 Emails/Attachments   PILGRIMS-0005947940         PILGRIMS-0005948114         24
 Emails/Attachments   PILGRIMS-0005948120         PILGRIMS-0005948133          9
 Emails/Attachments   PILGRIMS-0005948136         PILGRIMS-0005948165         21
 Emails/Attachments   PILGRIMS-0005948170         PILGRIMS-0005948172          1
 Emails/Attachments   PILGRIMS-0005948175         PILGRIMS-0005948228         41
 Emails/Attachments   PILGRIMS-0005948231         PILGRIMS-0005948246         16
 Emails/Attachments   PILGRIMS-0005948260         PILGRIMS-0005948265          5
 Emails/Attachments   PILGRIMS-0005948270         PILGRIMS-0005948282          8
 Emails/Attachments   PILGRIMS-0005948289         PILGRIMS-0005948305          8
 Emails/Attachments   PILGRIMS-0005948313         PILGRIMS-0005948325         13
 Emails/Attachments   PILGRIMS-0005948328         PILGRIMS-0005948335          4
 Emails/Attachments   PILGRIMS-0005948345         PILGRIMS-0005948346          1
 Emails/Attachments   PILGRIMS-0005948349         PILGRIMS-0005948382         21


                                    Page 116 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 140 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005948385         PILGRIMS-0005948453         22
 Emails/Attachments   PILGRIMS-0005948456         PILGRIMS-0005948512         37
 Emails/Attachments   PILGRIMS-0005948515         PILGRIMS-0005948520          2
 Emails/Attachments   PILGRIMS-0005948530         PILGRIMS-0005948532          2
 Emails/Attachments   PILGRIMS-0005948535         PILGRIMS-0005948623         12
 Emails/Attachments   PILGRIMS-0005948700         PILGRIMS-0005948719         12
 Emails/Attachments   PILGRIMS-0005948723         PILGRIMS-0005948754         22
 Emails/Attachments   PILGRIMS-0005948757         PILGRIMS-0005948768          5
 Emails/Attachments   PILGRIMS-0005948771         PILGRIMS-0005948790         14
 Emails/Attachments   PILGRIMS-0005948796         PILGRIMS-0005948801          3
 Emails/Attachments   PILGRIMS-0005948805         PILGRIMS-0005948875         57
 Emails/Attachments   PILGRIMS-0005948893         PILGRIMS-0005948946         32
 Emails/Attachments   PILGRIMS-0005948951         PILGRIMS-0005949121         81
 Emails/Attachments   PILGRIMS-0005949142         PILGRIMS-0005949192         42
 Emails/Attachments   PILGRIMS-0005949211         PILGRIMS-0005949229         13
 Emails/Attachments   PILGRIMS-0005949232         PILGRIMS-0005949327         43
 Emails/Attachments   PILGRIMS-0005949330         PILGRIMS-0005949331          2
 Emails/Attachments   PILGRIMS-0005949334         PILGRIMS-0005949334          1
 Emails/Attachments   PILGRIMS-0005949337         PILGRIMS-0005949338          2
 Emails/Attachments   PILGRIMS-0005949343         PILGRIMS-0005949355          8
 Emails/Attachments   PILGRIMS-0005949357         PILGRIMS-0005949360          4
 Emails/Attachments   PILGRIMS-0005949365         PILGRIMS-0005949381         11
 Emails/Attachments   PILGRIMS-0005949389         PILGRIMS-0005949430         32
 Emails/Attachments   PILGRIMS-0005949433         PILGRIMS-0005950193         377
 Emails/Attachments   PILGRIMS-0005950195         PILGRIMS-0005951858         583
 Emails/Attachments   PILGRIMS-0005951860         PILGRIMS-0005954097         575
 Emails/Attachments   PILGRIMS-0005954142         PILGRIMS-0005954147          5
 Emails/Attachments   PILGRIMS-0005954415         PILGRIMS-0005954417          1
 Emails/Attachments   PILGRIMS-0005954425         PILGRIMS-0005954480         22
 Emails/Attachments   PILGRIMS-0005954483         PILGRIMS-0005954558         41
 Emails/Attachments   PILGRIMS-0005954569         PILGRIMS-0005954667         26
 Emails/Attachments   PILGRIMS-0005954672         PILGRIMS-0005954716         36
 Emails/Attachments   PILGRIMS-0005954719         PILGRIMS-0005954791         35
 Emails/Attachments   PILGRIMS-0005954797         PILGRIMS-0005954833         15
 Emails/Attachments   PILGRIMS-0005954838         PILGRIMS-0005954891         40
 Emails/Attachments   PILGRIMS-0005954894         PILGRIMS-0005954899          4
 Emails/Attachments   PILGRIMS-0005954902         PILGRIMS-0005954907          4
 Emails/Attachments   PILGRIMS-0005954919         PILGRIMS-0005954934         10
 Emails/Attachments   PILGRIMS-0005954940         PILGRIMS-0005954958         18
 Emails/Attachments   PILGRIMS-0005954964         PILGRIMS-0005954965          2
 Emails/Attachments   PILGRIMS-0005954968         PILGRIMS-0005954981          8
 Emails/Attachments   PILGRIMS-0005954989         PILGRIMS-0005954997          8
 Emails/Attachments   PILGRIMS-0005955001         PILGRIMS-0005955035         23
 Emails/Attachments   PILGRIMS-0005955042         PILGRIMS-0005955172         54
 Emails/Attachments   PILGRIMS-0005955201         PILGRIMS-0005955333         84
 Emails/Attachments   PILGRIMS-0005955336         PILGRIMS-0005955430         66


                                    Page 117 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 141 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005955435         PILGRIMS-0005955487         39
 Emails/Attachments   PILGRIMS-0005955490         PILGRIMS-0005955493          2
 Emails/Attachments   PILGRIMS-0005955498         PILGRIMS-0005955508          6
 Emails/Attachments   PILGRIMS-0005955511         PILGRIMS-0005955824         185
 Emails/Attachments   PILGRIMS-0005955835         PILGRIMS-0005955837          3
 Emails/Attachments   PILGRIMS-0005955840         PILGRIMS-0005955854          7
 Emails/Attachments   PILGRIMS-0005955866         PILGRIMS-0005956074         134
 Emails/Attachments   PILGRIMS-0005956078         PILGRIMS-0005956105         23
 Emails/Attachments   PILGRIMS-0005956115         PILGRIMS-0005956259         88
 Emails/Attachments   PILGRIMS-0005956262         PILGRIMS-0005956316         24
 Emails/Attachments   PILGRIMS-0005956319         PILGRIMS-0005956430         67
 Emails/Attachments   PILGRIMS-0005956434         PILGRIMS-0005956444          9
 Emails/Attachments   PILGRIMS-0005956449         PILGRIMS-0005956478         22
 Emails/Attachments   PILGRIMS-0005956490         PILGRIMS-0005956576         53
 Emails/Attachments   PILGRIMS-0005956580         PILGRIMS-0005956619         26
 Emails/Attachments   PILGRIMS-0005956623         PILGRIMS-0005956688         34
 Emails/Attachments   PILGRIMS-0005956701         PILGRIMS-0005956759         42
 Emails/Attachments   PILGRIMS-0005956762         PILGRIMS-0005956783         16
 Emails/Attachments   PILGRIMS-0005956787         PILGRIMS-0005956934         70
 Emails/Attachments   PILGRIMS-0005956936         PILGRIMS-0005956938          2
 Emails/Attachments   PILGRIMS-0005956940         PILGRIMS-0005956966          9
 Emails/Attachments   PILGRIMS-0005956968         PILGRIMS-0005956969          2
 Emails/Attachments   PILGRIMS-0005956971         PILGRIMS-0005957162         58
 Emails/Attachments   PILGRIMS-0005957178         PILGRIMS-0005957182          5
 Emails/Attachments   PILGRIMS-0005957185         PILGRIMS-0005957185          1
 Emails/Attachments   PILGRIMS-0005957187         PILGRIMS-0005957237         13
 Emails/Attachments   PILGRIMS-0005957240         PILGRIMS-0005957399         72
 Emails/Attachments   PILGRIMS-0005957405         PILGRIMS-0005957415          6
 Emails/Attachments   PILGRIMS-0005957422         PILGRIMS-0005957422          1
 Emails/Attachments   PILGRIMS-0005957425         PILGRIMS-0005957448          2
 Emails/Attachments   PILGRIMS-0005957454         PILGRIMS-0005957463          9
 Emails/Attachments   PILGRIMS-0005957465         PILGRIMS-0005957489          2
 Emails/Attachments   PILGRIMS-0005957495         PILGRIMS-0005957559         38
 Emails/Attachments   PILGRIMS-0005957564         PILGRIMS-0005957937         109
 Emails/Attachments   PILGRIMS-0005957972         PILGRIMS-0005958065         35
 Emails/Attachments   PILGRIMS-0005958069         PILGRIMS-0005958195         18
 Emails/Attachments   PILGRIMS-0005958199         PILGRIMS-0005958290         31
 Emails/Attachments   PILGRIMS-0005958294         PILGRIMS-0005958476         54
 Emails/Attachments   PILGRIMS-0005958482         PILGRIMS-0005958658         63
 Emails/Attachments   PILGRIMS-0005958663         PILGRIMS-0005958664          2
 Emails/Attachments   PILGRIMS-0005958671         PILGRIMS-0005958743         26
 Emails/Attachments   PILGRIMS-0005958745         PILGRIMS-0005958809         41
 Emails/Attachments   PILGRIMS-0005958847         PILGRIMS-0005958898         22
 Emails/Attachments   PILGRIMS-0005958923         PILGRIMS-0005959018          4
 Emails/Attachments   PILGRIMS-0005959027         PILGRIMS-0005959073         13
 Emails/Attachments   PILGRIMS-0005959076         PILGRIMS-0005959090          9


                                    Page 118 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 142 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005959095         PILGRIMS-0005959129         13
 Emails/Attachments   PILGRIMS-0005959138         PILGRIMS-0005959165          4
 Emails/Attachments   PILGRIMS-0005959178         PILGRIMS-0005959194          8
 Emails/Attachments   PILGRIMS-0005959199         PILGRIMS-0005959257         22
 Emails/Attachments   PILGRIMS-0005959274         PILGRIMS-0005959389         57
 Emails/Attachments   PILGRIMS-0005959399         PILGRIMS-0005959418          2
 Emails/Attachments   PILGRIMS-0005959420         PILGRIMS-0005959529         37
 Emails/Attachments   PILGRIMS-0005959538         PILGRIMS-0005960369         183
 Emails/Attachments   PILGRIMS-0005960371         PILGRIMS-0005961122         419
 Emails/Attachments   PILGRIMS-0005961124         PILGRIMS-0005961178         16
 Emails/Attachments   PILGRIMS-0005961181         PILGRIMS-0005961262         43
 Emails/Attachments   PILGRIMS-0005961264         PILGRIMS-0005961370         65
 Emails/Attachments   PILGRIMS-0005961375         PILGRIMS-0005961387          8
 Emails/Attachments   PILGRIMS-0005961389         PILGRIMS-0005961445         36
 Emails/Attachments   PILGRIMS-0005961447         PILGRIMS-0005961467         14
 Emails/Attachments   PILGRIMS-0005961471         PILGRIMS-0005961491         17
 Emails/Attachments   PILGRIMS-0005961493         PILGRIMS-0005961849         122
 Emails/Attachments   PILGRIMS-0005961862         PILGRIMS-0005962398         200
 Emails/Attachments   PILGRIMS-0005962400         PILGRIMS-0005962405          6
 Emails/Attachments   PILGRIMS-0005962407         PILGRIMS-0005962411          5
 Emails/Attachments   PILGRIMS-0005962413         PILGRIMS-0005963005         178
 Emails/Attachments   PILGRIMS-0005963007         PILGRIMS-0005963020          7
 Emails/Attachments   PILGRIMS-0005963022         PILGRIMS-0005963093         40
 Emails/Attachments   PILGRIMS-0005963095         PILGRIMS-0005963098          2
 Emails/Attachments   PILGRIMS-0005963102         PILGRIMS-0005963298         87
 Emails/Attachments   PILGRIMS-0005963328         PILGRIMS-0005963330          3
 Emails/Attachments   PILGRIMS-0005963335         PILGRIMS-0005963337          3
 Emails/Attachments   PILGRIMS-0005963352         PILGRIMS-0005963353          2
 Emails/Attachments   PILGRIMS-0005963394         PILGRIMS-0005963395          2
 Emails/Attachments   PILGRIMS-0005963473         PILGRIMS-0005963474          2
 Emails/Attachments   PILGRIMS-0005964073         PILGRIMS-0005964074          2
 Emails/Attachments   PILGRIMS-0005964307         PILGRIMS-0005964308          2
 Emails/Attachments   PILGRIMS-0005964311         PILGRIMS-0005964312          2
 Emails/Attachments   PILGRIMS-0005964315         PILGRIMS-0005964318          4
 Emails/Attachments   PILGRIMS-0005964511         PILGRIMS-0005964512          2
 Emails/Attachments   PILGRIMS-0005964863         PILGRIMS-0005965847         576
 Emails/Attachments   PILGRIMS-0005965963         PILGRIMS-0005965974         12
 Emails/Attachments   PILGRIMS-0005965976         PILGRIMS-0005968473         216
 Emails/Attachments   PILGRIMS-0005968487         PILGRIMS-0005968555         54
 Emails/Attachments   PILGRIMS-0005968561         PILGRIMS-0005968589         29
 Emails/Attachments   PILGRIMS-0005968660         PILGRIMS-0005968661          1
 Emails/Attachments   PILGRIMS-0005968664         PILGRIMS-0005968669          6
 Emails/Attachments   PILGRIMS-0005968671         PILGRIMS-0005968699         10
 Emails/Attachments   PILGRIMS-0005968709         PILGRIMS-0005968725         10
 Emails/Attachments   PILGRIMS-0005968727         PILGRIMS-0005968731          4
 Emails/Attachments   PILGRIMS-0005968733         PILGRIMS-0005968762         17


                                    Page 119 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 143 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005968766         PILGRIMS-0005968788         15
 Emails/Attachments   PILGRIMS-0005968791         PILGRIMS-0005968800          4
 Emails/Attachments   PILGRIMS-0005968803         PILGRIMS-0005968804          2
 Emails/Attachments   PILGRIMS-0005968807         PILGRIMS-0005968945         16
 Emails/Attachments   PILGRIMS-0005968949         PILGRIMS-0005968961          5
 Emails/Attachments   PILGRIMS-0005968976         PILGRIMS-0005968998          6
 Emails/Attachments   PILGRIMS-0005969002         PILGRIMS-0005969020          9
 Emails/Attachments   PILGRIMS-0005969022         PILGRIMS-0005969028          6
 Emails/Attachments   PILGRIMS-0005969030         PILGRIMS-0005969031          2
 Emails/Attachments   PILGRIMS-0005969033         PILGRIMS-0005969057         16
 Emails/Attachments   PILGRIMS-0005969059         PILGRIMS-0005969066          6
 Emails/Attachments   PILGRIMS-0005969070         PILGRIMS-0005969073          1
 Emails/Attachments   PILGRIMS-0005969076         PILGRIMS-0005969077          2
 Emails/Attachments   PILGRIMS-0005969081         PILGRIMS-0005969088          6
 Emails/Attachments   PILGRIMS-0005969091         PILGRIMS-0005969104         11
 Emails/Attachments   PILGRIMS-0005969106         PILGRIMS-0005969124         19
 Emails/Attachments   PILGRIMS-0005969126         PILGRIMS-0005969129          4
 Emails/Attachments   PILGRIMS-0005969131         PILGRIMS-0005969138          7
 Emails/Attachments   PILGRIMS-0005969140         PILGRIMS-0005969155         11
 Emails/Attachments   PILGRIMS-0005969157         PILGRIMS-0005969166         10
 Emails/Attachments   PILGRIMS-0005969168         PILGRIMS-0005969171          4
 Emails/Attachments   PILGRIMS-0005969173         PILGRIMS-0005969184         10
 Emails/Attachments   PILGRIMS-0005969188         PILGRIMS-0005969231          8
 Emails/Attachments   PILGRIMS-0005969247         PILGRIMS-0005969248          2
 Emails/Attachments   PILGRIMS-0005969250         PILGRIMS-0005969272         13
 Emails/Attachments   PILGRIMS-0005969274         PILGRIMS-0005969289         14
 Emails/Attachments   PILGRIMS-0005969291         PILGRIMS-0005969296          5
 Emails/Attachments   PILGRIMS-0005969299         PILGRIMS-0005969302          3
 Emails/Attachments   PILGRIMS-0005969304         PILGRIMS-0005969307          4
 Emails/Attachments   PILGRIMS-0005969311         PILGRIMS-0005969312          2
 Emails/Attachments   PILGRIMS-0005969317         PILGRIMS-0005969323          7
 Emails/Attachments   PILGRIMS-0005969327         PILGRIMS-0005969333          5
 Emails/Attachments   PILGRIMS-0005969337         PILGRIMS-0005969355         13
 Emails/Attachments   PILGRIMS-0005969360         PILGRIMS-0005969369         10
 Emails/Attachments   PILGRIMS-0005969376         PILGRIMS-0005969379          3
 Emails/Attachments   PILGRIMS-0005969381         PILGRIMS-0005969382          2
 Emails/Attachments   PILGRIMS-0005969389         PILGRIMS-0005969391          3
 Emails/Attachments   PILGRIMS-0005969394         PILGRIMS-0005969452         54
 Emails/Attachments   PILGRIMS-0005969455         PILGRIMS-0005969456          2
 Emails/Attachments   PILGRIMS-0005969461         PILGRIMS-0005969462          2
 Emails/Attachments   PILGRIMS-0005969464         PILGRIMS-0005969485         16
 Emails/Attachments   PILGRIMS-0005969487         PILGRIMS-0005969754         39
 Emails/Attachments   PILGRIMS-0005969756         PILGRIMS-0005969757          2
 Emails/Attachments   PILGRIMS-0005969759         PILGRIMS-0005969761          2
 Emails/Attachments   PILGRIMS-0005969763         PILGRIMS-0005969776         12
 Emails/Attachments   PILGRIMS-0005969778         PILGRIMS-0005969786          8


                                    Page 120 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 144 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005969788         PILGRIMS-0005969818         16
 Emails/Attachments   PILGRIMS-0005969847         PILGRIMS-0005969848          2
 Emails/Attachments   PILGRIMS-0005969851         PILGRIMS-0005969873         19
 Emails/Attachments   PILGRIMS-0005969878         PILGRIMS-0005969882          5
 Emails/Attachments   PILGRIMS-0005969884         PILGRIMS-0005969890          5
 Emails/Attachments   PILGRIMS-0005969895         PILGRIMS-0005969917         12
 Emails/Attachments   PILGRIMS-0005969919         PILGRIMS-0005969932         12
 Emails/Attachments   PILGRIMS-0005969950         PILGRIMS-0005970017         22
 Emails/Attachments   PILGRIMS-0005970019         PILGRIMS-0005970046         26
 Emails/Attachments   PILGRIMS-0005970048         PILGRIMS-0005970049          2
 Emails/Attachments   PILGRIMS-0005970051         PILGRIMS-0005970054          2
 Emails/Attachments   PILGRIMS-0005970083         PILGRIMS-0005970224         46
 Emails/Attachments   PILGRIMS-0005970228         PILGRIMS-0005970229          2
 Emails/Attachments   PILGRIMS-0005970231         PILGRIMS-0005970232          2
 Emails/Attachments   PILGRIMS-0005970234         PILGRIMS-0005970249         12
 Emails/Attachments   PILGRIMS-0005970251         PILGRIMS-0005970268          8
 Emails/Attachments   PILGRIMS-0005970270         PILGRIMS-0005970271          2
 Emails/Attachments   PILGRIMS-0005970277         PILGRIMS-0005970282          6
 Emails/Attachments   PILGRIMS-0005970285         PILGRIMS-0005970292          6
 Emails/Attachments   PILGRIMS-0005970298         PILGRIMS-0005970301          3
 Emails/Attachments   PILGRIMS-0005970303         PILGRIMS-0005970304          2
 Emails/Attachments   PILGRIMS-0005970306         PILGRIMS-0005970309          4
 Emails/Attachments   PILGRIMS-0005970311         PILGRIMS-0005970342          4
 Emails/Attachments   PILGRIMS-0005970344         PILGRIMS-0005970360         14
 Emails/Attachments   PILGRIMS-0005970362         PILGRIMS-0005970366          5
 Emails/Attachments   PILGRIMS-0005970372         PILGRIMS-0005970379          7
 Emails/Attachments   PILGRIMS-0005970381         PILGRIMS-0005970390          6
 Emails/Attachments   PILGRIMS-0005970395         PILGRIMS-0005970401          4
 Emails/Attachments   PILGRIMS-0005970403         PILGRIMS-0005970427          4
 Emails/Attachments   PILGRIMS-0005970429         PILGRIMS-0005970440          9
 Emails/Attachments   PILGRIMS-0005970442         PILGRIMS-0005970443          2
 Emails/Attachments   PILGRIMS-0005970445         PILGRIMS-0005970456          7
 Emails/Attachments   PILGRIMS-0005970458         PILGRIMS-0005970509         24
 Emails/Attachments   PILGRIMS-0005970511         PILGRIMS-0005970948         312
 Emails/Attachments   PILGRIMS-0005970957         PILGRIMS-0005970966         10
 Emails/Attachments   PILGRIMS-0005970968         PILGRIMS-0005970978          7
 Emails/Attachments   PILGRIMS-0005970981         PILGRIMS-0005971004         11
 Emails/Attachments   PILGRIMS-0005971007         PILGRIMS-0005971008          2
 Emails/Attachments   PILGRIMS-0005971010         PILGRIMS-0005971018          6
 Emails/Attachments   PILGRIMS-0005971020         PILGRIMS-0005971077         14
 Emails/Attachments   PILGRIMS-0005971094         PILGRIMS-0005971122         11
 Emails/Attachments   PILGRIMS-0005971124         PILGRIMS-0005971125          2
 Emails/Attachments   PILGRIMS-0005971127         PILGRIMS-0005971134          8
 Emails/Attachments   PILGRIMS-0005971139         PILGRIMS-0005971152          8
 Emails/Attachments   PILGRIMS-0005971154         PILGRIMS-0005971173          8
 Emails/Attachments   PILGRIMS-0005971175         PILGRIMS-0005971176          2


                                    Page 121 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 145 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005971178         PILGRIMS-0005971211         14
 Emails/Attachments   PILGRIMS-0005971237         PILGRIMS-0005971307         38
 Emails/Attachments   PILGRIMS-0005971309         PILGRIMS-0005971311          1
 Emails/Attachments   PILGRIMS-0005971316         PILGRIMS-0005971317          2
 Emails/Attachments   PILGRIMS-0005971319         PILGRIMS-0005971322          4
 Emails/Attachments   PILGRIMS-0005971325         PILGRIMS-0005971353         19
 Emails/Attachments   PILGRIMS-0005971358         PILGRIMS-0005971376          5
 Emails/Attachments   PILGRIMS-0005971378         PILGRIMS-0005971381          4
 Emails/Attachments   PILGRIMS-0005971383         PILGRIMS-0005971390          8
 Emails/Attachments   PILGRIMS-0005971392         PILGRIMS-0005971422         27
 Emails/Attachments   PILGRIMS-0005971424         PILGRIMS-0005971429          6
 Emails/Attachments   PILGRIMS-0005971431         PILGRIMS-0005971492         38
 Emails/Attachments   PILGRIMS-0005971494         PILGRIMS-0005971514         11
 Emails/Attachments   PILGRIMS-0005971520         PILGRIMS-0005971531         10
 Emails/Attachments   PILGRIMS-0005971533         PILGRIMS-0005971544         10
 Emails/Attachments   PILGRIMS-0005971548         PILGRIMS-0005971555          6
 Emails/Attachments   PILGRIMS-0005971557         PILGRIMS-0005971558          2
 Emails/Attachments   PILGRIMS-0005971562         PILGRIMS-0005971563          2
 Emails/Attachments   PILGRIMS-0005971565         PILGRIMS-0005971595         16
 Emails/Attachments   PILGRIMS-0005971597         PILGRIMS-0005971600          4
 Emails/Attachments   PILGRIMS-0005971604         PILGRIMS-0005971609          6
 Emails/Attachments   PILGRIMS-0005971611         PILGRIMS-0005971620          8
 Emails/Attachments   PILGRIMS-0005971622         PILGRIMS-0005971639         16
 Emails/Attachments   PILGRIMS-0005971641         PILGRIMS-0005971727         37
 Emails/Attachments   PILGRIMS-0005971729         PILGRIMS-0005971732          2
 Emails/Attachments   PILGRIMS-0005971738         PILGRIMS-0005972324         15
 Emails/Attachments   PILGRIMS-0005972332         PILGRIMS-0005972337          4
 Emails/Attachments   PILGRIMS-0005972339         PILGRIMS-0005972342          4
 Emails/Attachments   PILGRIMS-0005972344         PILGRIMS-0005972349          6
 Emails/Attachments   PILGRIMS-0005972352         PILGRIMS-0005972357          6
 Emails/Attachments   PILGRIMS-0005972359         PILGRIMS-0005972367          9
 Emails/Attachments   PILGRIMS-0005972371         PILGRIMS-0005972396         11
 Emails/Attachments   PILGRIMS-0005972398         PILGRIMS-0005972405          8
 Emails/Attachments   PILGRIMS-0005972407         PILGRIMS-0005972417         11
 Emails/Attachments   PILGRIMS-0005972419         PILGRIMS-0005972421          2
 Emails/Attachments   PILGRIMS-0005972425         PILGRIMS-0005972436         10
 Emails/Attachments   PILGRIMS-0005972439         PILGRIMS-0005972467         17
 Emails/Attachments   PILGRIMS-0005972471         PILGRIMS-0005972472          2
 Emails/Attachments   PILGRIMS-0005972476         PILGRIMS-0005972487          8
 Emails/Attachments   PILGRIMS-0005972489         PILGRIMS-0005972541         20
 Emails/Attachments   PILGRIMS-0005972544         PILGRIMS-0005972549          6
 Emails/Attachments   PILGRIMS-0005972551         PILGRIMS-0005972554          4
 Emails/Attachments   PILGRIMS-0005972558         PILGRIMS-0005972567          8
 Emails/Attachments   PILGRIMS-0005972569         PILGRIMS-0005972576          8
 Emails/Attachments   PILGRIMS-0005972578         PILGRIMS-0005972588         11
 Emails/Attachments   PILGRIMS-0005972591         PILGRIMS-0005972617          8


                                    Page 122 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 146 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005972619         PILGRIMS-0005972620          2
 Emails/Attachments   PILGRIMS-0005972622         PILGRIMS-0005972636         12
 Emails/Attachments   PILGRIMS-0005972638         PILGRIMS-0005972651         14
 Emails/Attachments   PILGRIMS-0005972655         PILGRIMS-0005972660          6
 Emails/Attachments   PILGRIMS-0005972662         PILGRIMS-0005972668          6
 Emails/Attachments   PILGRIMS-0005972670         PILGRIMS-0005972711         23
 Emails/Attachments   PILGRIMS-0005972713         PILGRIMS-0005972718          5
 Emails/Attachments   PILGRIMS-0005972720         PILGRIMS-0005972755         13
 Emails/Attachments   PILGRIMS-0005972757         PILGRIMS-0005972758          2
 Emails/Attachments   PILGRIMS-0005972761         PILGRIMS-0005972790         17
 Emails/Attachments   PILGRIMS-0005972793         PILGRIMS-0005972794          2
 Emails/Attachments   PILGRIMS-0005972800         PILGRIMS-0005972844         18
 Emails/Attachments   PILGRIMS-0005972846         PILGRIMS-0005972847          2
 Emails/Attachments   PILGRIMS-0005972849         PILGRIMS-0005972851          2
 Emails/Attachments   PILGRIMS-0005972855         PILGRIMS-0005972925         21
 Emails/Attachments   PILGRIMS-0005972927         PILGRIMS-0005973016         30
 Emails/Attachments   PILGRIMS-0005973018         PILGRIMS-0005973052         15
 Emails/Attachments   PILGRIMS-0005973054         PILGRIMS-0005973063          8
 Emails/Attachments   PILGRIMS-0005973065         PILGRIMS-0005973066          2
 Emails/Attachments   PILGRIMS-0005973068         PILGRIMS-0005973073          6
 Emails/Attachments   PILGRIMS-0005973075         PILGRIMS-0005973110         16
 Emails/Attachments   PILGRIMS-0005973113         PILGRIMS-0005973171         24
 Emails/Attachments   PILGRIMS-0005973173         PILGRIMS-0005973174          1
 Emails/Attachments   PILGRIMS-0005973176         PILGRIMS-0005973182          2
 Emails/Attachments   PILGRIMS-0005973195         PILGRIMS-0005973204          7
 Emails/Attachments   PILGRIMS-0005973206         PILGRIMS-0005973215         10
 Emails/Attachments   PILGRIMS-0005973220         PILGRIMS-0005973227          6
 Emails/Attachments   PILGRIMS-0005973229         PILGRIMS-0005973231          3
 Emails/Attachments   PILGRIMS-0005973234         PILGRIMS-0005973235          2
 Emails/Attachments   PILGRIMS-0005973237         PILGRIMS-0005973255          8
 Emails/Attachments   PILGRIMS-0005973257         PILGRIMS-0005973276          5
 Emails/Attachments   PILGRIMS-0005973280         PILGRIMS-0005973305         13
 Emails/Attachments   PILGRIMS-0005973307         PILGRIMS-0005973312          6
 Emails/Attachments   PILGRIMS-0005973314         PILGRIMS-0005973321          8
 Emails/Attachments   PILGRIMS-0005973323         PILGRIMS-0005973325          2
 Emails/Attachments   PILGRIMS-0005973328         PILGRIMS-0005973370         21
 Emails/Attachments   PILGRIMS-0005973372         PILGRIMS-0005973418         15
 Emails/Attachments   PILGRIMS-0005973421         PILGRIMS-0005973426          6
 Emails/Attachments   PILGRIMS-0005973428         PILGRIMS-0005973437          7
 Emails/Attachments   PILGRIMS-0005973440         PILGRIMS-0005973456         14
 Emails/Attachments   PILGRIMS-0005973460         PILGRIMS-0005973461          2
 Emails/Attachments   PILGRIMS-0005973463         PILGRIMS-0005973464          2
 Emails/Attachments   PILGRIMS-0005973467         PILGRIMS-0005973483         17
 Emails/Attachments   PILGRIMS-0005973488         PILGRIMS-0005973492          2
 Emails/Attachments   PILGRIMS-0005973494         PILGRIMS-0005973524          9
 Emails/Attachments   PILGRIMS-0005973526         PILGRIMS-0005973553         13


                                    Page 123 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 147 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005973555         PILGRIMS-0005973562          8
 Emails/Attachments   PILGRIMS-0005973564         PILGRIMS-0005973619          8
 Emails/Attachments   PILGRIMS-0005973621         PILGRIMS-0005973625          4
 Emails/Attachments   PILGRIMS-0005973630         PILGRIMS-0005973631          2
 Emails/Attachments   PILGRIMS-0005973633         PILGRIMS-0005973652         20
 Emails/Attachments   PILGRIMS-0005973654         PILGRIMS-0005973665         11
 Emails/Attachments   PILGRIMS-0005973670         PILGRIMS-0005973680          8
 Emails/Attachments   PILGRIMS-0005973682         PILGRIMS-0005973689          8
 Emails/Attachments   PILGRIMS-0005973691         PILGRIMS-0005973698          8
 Emails/Attachments   PILGRIMS-0005973700         PILGRIMS-0005973709         10
 Emails/Attachments   PILGRIMS-0005973712         PILGRIMS-0005973718          4
 Emails/Attachments   PILGRIMS-0005973722         PILGRIMS-0005973727          4
 Emails/Attachments   PILGRIMS-0005973729         PILGRIMS-0005973734          6
 Emails/Attachments   PILGRIMS-0005973737         PILGRIMS-0005973756         20
 Emails/Attachments   PILGRIMS-0005973758         PILGRIMS-0005973761          4
 Emails/Attachments   PILGRIMS-0005973765         PILGRIMS-0005973802         21
 Emails/Attachments   PILGRIMS-0005973804         PILGRIMS-0005973815         12
 Emails/Attachments   PILGRIMS-0005973817         PILGRIMS-0005973822          6
 Emails/Attachments   PILGRIMS-0005973829         PILGRIMS-0005973856         23
 Emails/Attachments   PILGRIMS-0005973858         PILGRIMS-0005973865          7
 Emails/Attachments   PILGRIMS-0005973867         PILGRIMS-0005973873          3
 Emails/Attachments   PILGRIMS-0005973875         PILGRIMS-0005973902         10
 Emails/Attachments   PILGRIMS-0005973907         PILGRIMS-0005973911          2
 Emails/Attachments   PILGRIMS-0005973913         PILGRIMS-0005973932         20
 Emails/Attachments   PILGRIMS-0005973935         PILGRIMS-0005973952         13
 Emails/Attachments   PILGRIMS-0005973954         PILGRIMS-0005973957          4
 Emails/Attachments   PILGRIMS-0005973962         PILGRIMS-0005973995         13
 Emails/Attachments   PILGRIMS-0005974011         PILGRIMS-0005974012          2
 Emails/Attachments   PILGRIMS-0005974014         PILGRIMS-0005974032         15
 Emails/Attachments   PILGRIMS-0005974035         PILGRIMS-0005974038          4
 Emails/Attachments   PILGRIMS-0005974041         PILGRIMS-0005974060          1
 Emails/Attachments   PILGRIMS-0005974062         PILGRIMS-0005974082         15
 Emails/Attachments   PILGRIMS-0005974084         PILGRIMS-0005974085          2
 Emails/Attachments   PILGRIMS-0005974087         PILGRIMS-0005974094          6
 Emails/Attachments   PILGRIMS-0005974104         PILGRIMS-0005974105          2
 Emails/Attachments   PILGRIMS-0005974110         PILGRIMS-0005974111          2
 Emails/Attachments   PILGRIMS-0005974113         PILGRIMS-0005974122          9
 Emails/Attachments   PILGRIMS-0005974127         PILGRIMS-0005974128          2
 Emails/Attachments   PILGRIMS-0005974130         PILGRIMS-0005974135          6
 Emails/Attachments   PILGRIMS-0005974139         PILGRIMS-0005974142          2
 Emails/Attachments   PILGRIMS-0005974144         PILGRIMS-0005974151          7
 Emails/Attachments   PILGRIMS-0005974159         PILGRIMS-0005974167          9
 Emails/Attachments   PILGRIMS-0005974169         PILGRIMS-0005974170          2
 Emails/Attachments   PILGRIMS-0005974172         PILGRIMS-0005974175          4
 Emails/Attachments   PILGRIMS-0005974177         PILGRIMS-0005974237         22
 Emails/Attachments   PILGRIMS-0005974246         PILGRIMS-0005974255         10


                                    Page 124 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 148 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005974258         PILGRIMS-0005974271         12
 Emails/Attachments   PILGRIMS-0005974273         PILGRIMS-0005974282         10
 Emails/Attachments   PILGRIMS-0005974285         PILGRIMS-0005974315         11
 Emails/Attachments   PILGRIMS-0005974326         PILGRIMS-0005974357          8
 Emails/Attachments   PILGRIMS-0005974381         PILGRIMS-0005974404          2
 Emails/Attachments   PILGRIMS-0005974410         PILGRIMS-0005974419          9
 Emails/Attachments   PILGRIMS-0005974421         PILGRIMS-0005974428          6
 Emails/Attachments   PILGRIMS-0005974432         PILGRIMS-0005974447         14
 Emails/Attachments   PILGRIMS-0005974450         PILGRIMS-0005974453          4
 Emails/Attachments   PILGRIMS-0005974455         PILGRIMS-0005974462          8
 Emails/Attachments   PILGRIMS-0005974464         PILGRIMS-0005974472          9
 Emails/Attachments   PILGRIMS-0005974477         PILGRIMS-0005974481          2
 Emails/Attachments   PILGRIMS-0005974483         PILGRIMS-0005974522         21
 Emails/Attachments   PILGRIMS-0005974524         PILGRIMS-0005974579         10
 Emails/Attachments   PILGRIMS-0005974605         PILGRIMS-0005974641         13
 Emails/Attachments   PILGRIMS-0005974645         PILGRIMS-0005974657          9
 Emails/Attachments   PILGRIMS-0005974659         PILGRIMS-0005974677         17
 Emails/Attachments   PILGRIMS-0005974680         PILGRIMS-0005974683          4
 Emails/Attachments   PILGRIMS-0005974685         PILGRIMS-0005974814         31
 Emails/Attachments   PILGRIMS-0005974816         PILGRIMS-0005974819          4
 Emails/Attachments   PILGRIMS-0005974821         PILGRIMS-0005974822          2
 Emails/Attachments   PILGRIMS-0005974824         PILGRIMS-0005974825          1
 Emails/Attachments   PILGRIMS-0005974827         PILGRIMS-0005974838         12
 Emails/Attachments   PILGRIMS-0005974846         PILGRIMS-0005974928         10
 Emails/Attachments   PILGRIMS-0005974930         PILGRIMS-0005974937          8
 Emails/Attachments   PILGRIMS-0005974939         PILGRIMS-0005974945          4
 Emails/Attachments   PILGRIMS-0005974950         PILGRIMS-0005974955          6
 Emails/Attachments   PILGRIMS-0005974957         PILGRIMS-0005974958          2
 Emails/Attachments   PILGRIMS-0005974960         PILGRIMS-0005974961          2
 Emails/Attachments   PILGRIMS-0005974963         PILGRIMS-0005975048         18
 Emails/Attachments   PILGRIMS-0005975128         PILGRIMS-0005975133          6
 Emails/Attachments   PILGRIMS-0005975135         PILGRIMS-0005975185         11
 Emails/Attachments   PILGRIMS-0005975189         PILGRIMS-0005975190          2
 Emails/Attachments   PILGRIMS-0005975192         PILGRIMS-0005975199          8
 Emails/Attachments   PILGRIMS-0005975201         PILGRIMS-0005975204          4
 Emails/Attachments   PILGRIMS-0005975206         PILGRIMS-0005975232          7
 Emails/Attachments   PILGRIMS-0005975235         PILGRIMS-0005975249          7
 Emails/Attachments   PILGRIMS-0005975260         PILGRIMS-0005975261          2
 Emails/Attachments   PILGRIMS-0005975269         PILGRIMS-0005975284         16
 Emails/Attachments   PILGRIMS-0005975286         PILGRIMS-0005975297         12
 Emails/Attachments   PILGRIMS-0005975299         PILGRIMS-0005975302          4
 Emails/Attachments   PILGRIMS-0005975329         PILGRIMS-0005975355          2
 Emails/Attachments   PILGRIMS-0005975384         PILGRIMS-0005975416          6
 Emails/Attachments   PILGRIMS-0005975418         PILGRIMS-0005975421          4
 Emails/Attachments   PILGRIMS-0005975423         PILGRIMS-0005975424          2
 Emails/Attachments   PILGRIMS-0005975427         PILGRIMS-0005975465         25


                                    Page 125 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 149 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005975468         PILGRIMS-0005975492          5
 Emails/Attachments   PILGRIMS-0005975514         PILGRIMS-0005975516          2
 Emails/Attachments   PILGRIMS-0005975518         PILGRIMS-0005975525          8
 Emails/Attachments   PILGRIMS-0005975527         PILGRIMS-0005975556         17
 Emails/Attachments   PILGRIMS-0005975576         PILGRIMS-0005975581          6
 Emails/Attachments   PILGRIMS-0005975583         PILGRIMS-0005975620         21
 Emails/Attachments   PILGRIMS-0005975622         PILGRIMS-0005975663         21
 Emails/Attachments   PILGRIMS-0005975665         PILGRIMS-0005975672          8
 Emails/Attachments   PILGRIMS-0005975674         PILGRIMS-0005975704          8
 Emails/Attachments   PILGRIMS-0005975707         PILGRIMS-0005975734          4
 Emails/Attachments   PILGRIMS-0005975754         PILGRIMS-0005975778         22
 Emails/Attachments   PILGRIMS-0005975780         PILGRIMS-0005975787          8
 Emails/Attachments   PILGRIMS-0005975789         PILGRIMS-0005975798          8
 Emails/Attachments   PILGRIMS-0005975800         PILGRIMS-0005975801          2
 Emails/Attachments   PILGRIMS-0005975803         PILGRIMS-0005975834          4
 Emails/Attachments   PILGRIMS-0005975836         PILGRIMS-0005975841          6
 Emails/Attachments   PILGRIMS-0005975888         PILGRIMS-0005975889          2
 Emails/Attachments   PILGRIMS-0005975891         PILGRIMS-0005975933         15
 Emails/Attachments   PILGRIMS-0005975940         PILGRIMS-0005975967          7
 Emails/Attachments   PILGRIMS-0005975969         PILGRIMS-0005975982         14
 Emails/Attachments   PILGRIMS-0005975984         PILGRIMS-0005976003         20
 Emails/Attachments   PILGRIMS-0005976005         PILGRIMS-0005976040         17
 Emails/Attachments   PILGRIMS-0005976042         PILGRIMS-0005976053         12
 Emails/Attachments   PILGRIMS-0005976055         PILGRIMS-0005976062          8
 Emails/Attachments   PILGRIMS-0005976064         PILGRIMS-0005976067          4
 Emails/Attachments   PILGRIMS-0005976069         PILGRIMS-0005976074          6
 Emails/Attachments   PILGRIMS-0005976076         PILGRIMS-0005976079          4
 Emails/Attachments   PILGRIMS-0005976081         PILGRIMS-0005976084          4
 Emails/Attachments   PILGRIMS-0005976086         PILGRIMS-0005976096         10
 Emails/Attachments   PILGRIMS-0005976099         PILGRIMS-0005976125          8
 Emails/Attachments   PILGRIMS-0005976147         PILGRIMS-0005976230         38
 Emails/Attachments   PILGRIMS-0005976250         PILGRIMS-0005976285         10
 Emails/Attachments   PILGRIMS-0005976287         PILGRIMS-0005976309         17
 Emails/Attachments   PILGRIMS-0005976311         PILGRIMS-0005976316          6
 Emails/Attachments   PILGRIMS-0005976318         PILGRIMS-0005976333          6
 Emails/Attachments   PILGRIMS-0005976335         PILGRIMS-0005976336          2
 Emails/Attachments   PILGRIMS-0005976339         PILGRIMS-0005976342          4
 Emails/Attachments   PILGRIMS-0005976344         PILGRIMS-0005976349          6
 Emails/Attachments   PILGRIMS-0005976351         PILGRIMS-0005976356          6
 Emails/Attachments   PILGRIMS-0005976358         PILGRIMS-0005976363          6
 Emails/Attachments   PILGRIMS-0005976367         PILGRIMS-0005976368          2
 Emails/Attachments   PILGRIMS-0005976372         PILGRIMS-0005976373          2
 Emails/Attachments   PILGRIMS-0005976379         PILGRIMS-0005976380          2
 Emails/Attachments   PILGRIMS-0005976383         PILGRIMS-0005976388          6
 Emails/Attachments   PILGRIMS-0005976399         PILGRIMS-0005976408         10
 Emails/Attachments   PILGRIMS-0005976411         PILGRIMS-0005976418          8


                                    Page 126 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 150 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005976421         PILGRIMS-0005976424          4
 Emails/Attachments   PILGRIMS-0005976430         PILGRIMS-0005976432          3
 Emails/Attachments   PILGRIMS-0005976434         PILGRIMS-0005976445          3
 Emails/Attachments   PILGRIMS-0005976448         PILGRIMS-0005976449          2
 Emails/Attachments   PILGRIMS-0005976451         PILGRIMS-0005976452          2
 Emails/Attachments   PILGRIMS-0005976457         PILGRIMS-0005976458          2
 Emails/Attachments   PILGRIMS-0005976462         PILGRIMS-0005976465          4
 Emails/Attachments   PILGRIMS-0005976467         PILGRIMS-0005976472          6
 Emails/Attachments   PILGRIMS-0005976477         PILGRIMS-0005976480          4
 Emails/Attachments   PILGRIMS-0005976483         PILGRIMS-0005976486          4
 Emails/Attachments   PILGRIMS-0005976489         PILGRIMS-0005976490          2
 Emails/Attachments   PILGRIMS-0005976493         PILGRIMS-0005976494          2
 Emails/Attachments   PILGRIMS-0005976496         PILGRIMS-0005976521          9
 Emails/Attachments   PILGRIMS-0005976524         PILGRIMS-0005976527          4
 Emails/Attachments   PILGRIMS-0005976530         PILGRIMS-0005976531          2
 Emails/Attachments   PILGRIMS-0005976535         PILGRIMS-0005976544          5
 Emails/Attachments   PILGRIMS-0005976547         PILGRIMS-0005976552          6
 Emails/Attachments   PILGRIMS-0005976555         PILGRIMS-0005976556          2
 Emails/Attachments   PILGRIMS-0005976559         PILGRIMS-0005976560          2
 Emails/Attachments   PILGRIMS-0005976563         PILGRIMS-0005976566          4
 Emails/Attachments   PILGRIMS-0005976570         PILGRIMS-0005976575          6
 Emails/Attachments   PILGRIMS-0005976578         PILGRIMS-0005976585          8
 Emails/Attachments   PILGRIMS-0005976589         PILGRIMS-0005976594          6
 Emails/Attachments   PILGRIMS-0005976596         PILGRIMS-0005976606          3
 Emails/Attachments   PILGRIMS-0005976608         PILGRIMS-0005976617         10
 Emails/Attachments   PILGRIMS-0005976620         PILGRIMS-0005976627          8
 Emails/Attachments   PILGRIMS-0005976631         PILGRIMS-0005976640         10
 Emails/Attachments   PILGRIMS-0005976643         PILGRIMS-0005976646          4
 Emails/Attachments   PILGRIMS-0005976649         PILGRIMS-0005976656          8
 Emails/Attachments   PILGRIMS-0005976659         PILGRIMS-0005976660          2
 Emails/Attachments   PILGRIMS-0005976663         PILGRIMS-0005976668          6
 Emails/Attachments   PILGRIMS-0005976672         PILGRIMS-0005976677          6
 Emails/Attachments   PILGRIMS-0005976684         PILGRIMS-0005976693         10
 Emails/Attachments   PILGRIMS-0005976695         PILGRIMS-0005976698          4
 Emails/Attachments   PILGRIMS-0005976700         PILGRIMS-0005976703          4
 Emails/Attachments   PILGRIMS-0005976706         PILGRIMS-0005976707          2
 Emails/Attachments   PILGRIMS-0005976711         PILGRIMS-0005976720         10
 Emails/Attachments   PILGRIMS-0005976724         PILGRIMS-0005976758          9
 Emails/Attachments   PILGRIMS-0005976761         PILGRIMS-0005976764          4
 Emails/Attachments   PILGRIMS-0005976771         PILGRIMS-0005976774          4
 Emails/Attachments   PILGRIMS-0005976776         PILGRIMS-0005976781          6
 Emails/Attachments   PILGRIMS-0005976783         PILGRIMS-0005976784          2
 Emails/Attachments   PILGRIMS-0005976787         PILGRIMS-0005976815          3
 Emails/Attachments   PILGRIMS-0005976818         PILGRIMS-0005976831          7
 Emails/Attachments   PILGRIMS-0005976833         PILGRIMS-0005976834          2
 Emails/Attachments   PILGRIMS-0005976836         PILGRIMS-0005976839          4


                                    Page 127 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 151 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005976841         PILGRIMS-0005976842          2
 Emails/Attachments   PILGRIMS-0005976844         PILGRIMS-0005976845          2
 Emails/Attachments   PILGRIMS-0005976847         PILGRIMS-0005976871         16
 Emails/Attachments   PILGRIMS-0005976874         PILGRIMS-0005976877          4
 Emails/Attachments   PILGRIMS-0005976880         PILGRIMS-0005976885          6
 Emails/Attachments   PILGRIMS-0005976889         PILGRIMS-0005976893          5
 Emails/Attachments   PILGRIMS-0005976895         PILGRIMS-0005976901          7
 Emails/Attachments   PILGRIMS-0005976904         PILGRIMS-0005976921          9
 Emails/Attachments   PILGRIMS-0005976926         PILGRIMS-0005976942         10
 Emails/Attachments   PILGRIMS-0005976944         PILGRIMS-0005976948          5
 Emails/Attachments   PILGRIMS-0005976950         PILGRIMS-0005976955          6
 Emails/Attachments   PILGRIMS-0005976958         PILGRIMS-0005976959          2
 Emails/Attachments   PILGRIMS-0005976962         PILGRIMS-0005976963          2
 Emails/Attachments   PILGRIMS-0005976965         PILGRIMS-0005976966          2
 Emails/Attachments   PILGRIMS-0005976968         PILGRIMS-0005976973          6
 Emails/Attachments   PILGRIMS-0005976975         PILGRIMS-0005976989          7
 Emails/Attachments   PILGRIMS-0005976992         PILGRIMS-0005976995          4
 Emails/Attachments   PILGRIMS-0005976997         PILGRIMS-0005977004          3
 Emails/Attachments   PILGRIMS-0005977007         PILGRIMS-0005977009          3
 Emails/Attachments   PILGRIMS-0005977012         PILGRIMS-0005977015          4
 Emails/Attachments   PILGRIMS-0005977018         PILGRIMS-0005977021          4
 Emails/Attachments   PILGRIMS-0005977025         PILGRIMS-0005977026          2
 Emails/Attachments   PILGRIMS-0005977029         PILGRIMS-0005977036          8
 Emails/Attachments   PILGRIMS-0005977039         PILGRIMS-0005977042          4
 Emails/Attachments   PILGRIMS-0005977045         PILGRIMS-0005977169          9
 Emails/Attachments   PILGRIMS-0005977172         PILGRIMS-0005977173          2
 Emails/Attachments   PILGRIMS-0005977176         PILGRIMS-0005977179          4
 Emails/Attachments   PILGRIMS-0005977181         PILGRIMS-0005977182          2
 Emails/Attachments   PILGRIMS-0005977185         PILGRIMS-0005977186          2
 Emails/Attachments   PILGRIMS-0005977190         PILGRIMS-0005977191          2
 Emails/Attachments   PILGRIMS-0005977196         PILGRIMS-0005977199          4
 Emails/Attachments   PILGRIMS-0005977201         PILGRIMS-0005977230          8
 Emails/Attachments   PILGRIMS-0005977233         PILGRIMS-0005977234          2
 Emails/Attachments   PILGRIMS-0005977237         PILGRIMS-0005977240          4
 Emails/Attachments   PILGRIMS-0005977243         PILGRIMS-0005977246          4
 Emails/Attachments   PILGRIMS-0005977248         PILGRIMS-0005977249          2
 Emails/Attachments   PILGRIMS-0005977251         PILGRIMS-0005977259          5
 Emails/Attachments   PILGRIMS-0005977262         PILGRIMS-0005977280          9
 Emails/Attachments   PILGRIMS-0005977283         PILGRIMS-0005977295          7
 Emails/Attachments   PILGRIMS-0005977298         PILGRIMS-0005977301          4
 Emails/Attachments   PILGRIMS-0005977303         PILGRIMS-0005977326         21
 Emails/Attachments   PILGRIMS-0005977331         PILGRIMS-0005977334          4
 Emails/Attachments   PILGRIMS-0005977337         PILGRIMS-0005977340          4
 Emails/Attachments   PILGRIMS-0005977344         PILGRIMS-0005977347          4
 Emails/Attachments   PILGRIMS-0005977350         PILGRIMS-0005977373         13
 Emails/Attachments   PILGRIMS-0005977376         PILGRIMS-0005977392          6


                                    Page 128 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 152 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005977395         PILGRIMS-0005977402          6
 Emails/Attachments   PILGRIMS-0005977404         PILGRIMS-0005977409          6
 Emails/Attachments   PILGRIMS-0005977411         PILGRIMS-0005977414          4
 Emails/Attachments   PILGRIMS-0005977417         PILGRIMS-0005977424          8
 Emails/Attachments   PILGRIMS-0005977427         PILGRIMS-0005977435          1
 Emails/Attachments   PILGRIMS-0005977438         PILGRIMS-0005977439          2
 Emails/Attachments   PILGRIMS-0005977443         PILGRIMS-0005977446          4
 Emails/Attachments   PILGRIMS-0005977449         PILGRIMS-0005977450          2
 Emails/Attachments   PILGRIMS-0005977452         PILGRIMS-0005977457          6
 Emails/Attachments   PILGRIMS-0005977462         PILGRIMS-0005977465          4
 Emails/Attachments   PILGRIMS-0005977469         PILGRIMS-0005977470          2
 Emails/Attachments   PILGRIMS-0005977473         PILGRIMS-0005977498         14
 Emails/Attachments   PILGRIMS-0005977503         PILGRIMS-0005977512          4
 Emails/Attachments   PILGRIMS-0005977515         PILGRIMS-0005977522          8
 Emails/Attachments   PILGRIMS-0005977528         PILGRIMS-0005977529          2
 Emails/Attachments   PILGRIMS-0005977531         PILGRIMS-0005977532          2
 Emails/Attachments   PILGRIMS-0005977534         PILGRIMS-0005977537          4
 Emails/Attachments   PILGRIMS-0005977540         PILGRIMS-0005977549          3
 Emails/Attachments   PILGRIMS-0005977552         PILGRIMS-0005977555          4
 Emails/Attachments   PILGRIMS-0005977558         PILGRIMS-0005977563          6
 Emails/Attachments   PILGRIMS-0005977566         PILGRIMS-0005977571          6
 Emails/Attachments   PILGRIMS-0005977573         PILGRIMS-0005977576          4
 Emails/Attachments   PILGRIMS-0005977579         PILGRIMS-0005977580          2
 Emails/Attachments   PILGRIMS-0005977582         PILGRIMS-0005977583          2
 Emails/Attachments   PILGRIMS-0005977586         PILGRIMS-0005977589          4
 Emails/Attachments   PILGRIMS-0005977592         PILGRIMS-0005977594          2
 Emails/Attachments   PILGRIMS-0005977596         PILGRIMS-0005977601          4
 Emails/Attachments   PILGRIMS-0005977603         PILGRIMS-0005977608          6
 Emails/Attachments   PILGRIMS-0005977611         PILGRIMS-0005977614          4
 Emails/Attachments   PILGRIMS-0005977617         PILGRIMS-0005977624          8
 Emails/Attachments   PILGRIMS-0005977628         PILGRIMS-0005977638          1
 Emails/Attachments   PILGRIMS-0005977641         PILGRIMS-0005977646          6
 Emails/Attachments   PILGRIMS-0005977649         PILGRIMS-0005977656          8
 Emails/Attachments   PILGRIMS-0005977659         PILGRIMS-0005977667          7
 Emails/Attachments   PILGRIMS-0005977670         PILGRIMS-0005977673          4
 Emails/Attachments   PILGRIMS-0005977677         PILGRIMS-0005977678          2
 Emails/Attachments   PILGRIMS-0005977680         PILGRIMS-0005977687          8
 Emails/Attachments   PILGRIMS-0005977690         PILGRIMS-0005977702          5
 Emails/Attachments   PILGRIMS-0005977704         PILGRIMS-0005977705          2
 Emails/Attachments   PILGRIMS-0005977707         PILGRIMS-0005977718         12
 Emails/Attachments   PILGRIMS-0005977721         PILGRIMS-0005977724          4
 Emails/Attachments   PILGRIMS-0005977726         PILGRIMS-0005977731          6
 Emails/Attachments   PILGRIMS-0005977734         PILGRIMS-0005977737          4
 Emails/Attachments   PILGRIMS-0005977739         PILGRIMS-0005977742          4
 Emails/Attachments   PILGRIMS-0005977744         PILGRIMS-0005977745          2
 Emails/Attachments   PILGRIMS-0005977747         PILGRIMS-0005977750          4


                                    Page 129 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 153 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005977754         PILGRIMS-0005977757          4
 Emails/Attachments   PILGRIMS-0005977760         PILGRIMS-0005977765          6
 Emails/Attachments   PILGRIMS-0005977768         PILGRIMS-0005977769          2
 Emails/Attachments   PILGRIMS-0005977772         PILGRIMS-0005977773          2
 Emails/Attachments   PILGRIMS-0005977775         PILGRIMS-0005977778          4
 Emails/Attachments   PILGRIMS-0005977780         PILGRIMS-0005977781          2
 Emails/Attachments   PILGRIMS-0005977785         PILGRIMS-0005977788          4
 Emails/Attachments   PILGRIMS-0005977790         PILGRIMS-0005977795          6
 Emails/Attachments   PILGRIMS-0005977798         PILGRIMS-0005977799          2
 Emails/Attachments   PILGRIMS-0005977801         PILGRIMS-0005977808          8
 Emails/Attachments   PILGRIMS-0005977810         PILGRIMS-0005977811          1
 Emails/Attachments   PILGRIMS-0005977816         PILGRIMS-0005977819          4
 Emails/Attachments   PILGRIMS-0005977822         PILGRIMS-0005977823          2
 Emails/Attachments   PILGRIMS-0005977826         PILGRIMS-0005977827          2
 Emails/Attachments   PILGRIMS-0005977831         PILGRIMS-0005977834          4
 Emails/Attachments   PILGRIMS-0005977839         PILGRIMS-0005977842          4
 Emails/Attachments   PILGRIMS-0005977844         PILGRIMS-0005977847          4
 Emails/Attachments   PILGRIMS-0005977849         PILGRIMS-0005977858         10
 Emails/Attachments   PILGRIMS-0005977861         PILGRIMS-0005977864          4
 Emails/Attachments   PILGRIMS-0005977866         PILGRIMS-0005977871          6
 Emails/Attachments   PILGRIMS-0005977873         PILGRIMS-0005977874          2
 Emails/Attachments   PILGRIMS-0005977876         PILGRIMS-0005977881          6
 Emails/Attachments   PILGRIMS-0005977883         PILGRIMS-0005977886          4
 Emails/Attachments   PILGRIMS-0005977889         PILGRIMS-0005977890          2
 Emails/Attachments   PILGRIMS-0005977892         PILGRIMS-0005977911          8
 Emails/Attachments   PILGRIMS-0005977913         PILGRIMS-0005977914          2
 Emails/Attachments   PILGRIMS-0005977917         PILGRIMS-0005977920          4
 Emails/Attachments   PILGRIMS-0005977922         PILGRIMS-0005977929          8
 Emails/Attachments   PILGRIMS-0005977932         PILGRIMS-0005977956         13
 Emails/Attachments   PILGRIMS-0005977958         PILGRIMS-0005977970          4
 Emails/Attachments   PILGRIMS-0005977972         PILGRIMS-0005977975          4
 Emails/Attachments   PILGRIMS-0005977977         PILGRIMS-0005977980          4
 Emails/Attachments   PILGRIMS-0005977983         PILGRIMS-0005977986          4
 Emails/Attachments   PILGRIMS-0005977988         PILGRIMS-0005977989          2
 Emails/Attachments   PILGRIMS-0005977991         PILGRIMS-0005977994          4
 Emails/Attachments   PILGRIMS-0005977998         PILGRIMS-0005978020          5
 Emails/Attachments   PILGRIMS-0005978029         PILGRIMS-0005978030          2
 Emails/Attachments   PILGRIMS-0005978032         PILGRIMS-0005978033          2
 Emails/Attachments   PILGRIMS-0005978035         PILGRIMS-0005978040          6
 Emails/Attachments   PILGRIMS-0005978045         PILGRIMS-0005978055          7
 Emails/Attachments   PILGRIMS-0005978057         PILGRIMS-0005978062          6
 Emails/Attachments   PILGRIMS-0005978065         PILGRIMS-0005978080         15
 Emails/Attachments   PILGRIMS-0005978082         PILGRIMS-0005978085          4
 Emails/Attachments   PILGRIMS-0005978087         PILGRIMS-0005978088          2
 Emails/Attachments   PILGRIMS-0005978090         PILGRIMS-0005978091          2
 Emails/Attachments   PILGRIMS-0005978093         PILGRIMS-0005978105         11


                                    Page 130 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 154 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005978109         PILGRIMS-0005978120         11
 Emails/Attachments   PILGRIMS-0005978123         PILGRIMS-0005978132         10
 Emails/Attachments   PILGRIMS-0005978135         PILGRIMS-0005978140          6
 Emails/Attachments   PILGRIMS-0005978142         PILGRIMS-0005978163         15
 Emails/Attachments   PILGRIMS-0005978166         PILGRIMS-0005978167          2
 Emails/Attachments   PILGRIMS-0005978169         PILGRIMS-0005978172          4
 Emails/Attachments   PILGRIMS-0005978175         PILGRIMS-0005978178          4
 Emails/Attachments   PILGRIMS-0005978182         PILGRIMS-0005978183          2
 Emails/Attachments   PILGRIMS-0005978187         PILGRIMS-0005978213          7
 Emails/Attachments   PILGRIMS-0005978215         PILGRIMS-0005978240          8
 Emails/Attachments   PILGRIMS-0005978243         PILGRIMS-0005978244          2
 Emails/Attachments   PILGRIMS-0005978246         PILGRIMS-0005978255         10
 Emails/Attachments   PILGRIMS-0005978258         PILGRIMS-0005978275         10
 Emails/Attachments   PILGRIMS-0005978279         PILGRIMS-0005978300         15
 Emails/Attachments   PILGRIMS-0005978304         PILGRIMS-0005978309          6
 Emails/Attachments   PILGRIMS-0005978312         PILGRIMS-0005978315          4
 Emails/Attachments   PILGRIMS-0005978317         PILGRIMS-0005978330         14
 Emails/Attachments   PILGRIMS-0005978333         PILGRIMS-0005978336          4
 Emails/Attachments   PILGRIMS-0005978339         PILGRIMS-0005978348         10
 Emails/Attachments   PILGRIMS-0005978350         PILGRIMS-0005978354          5
 Emails/Attachments   PILGRIMS-0005978357         PILGRIMS-0005978370         14
 Emails/Attachments   PILGRIMS-0005978373         PILGRIMS-0005978376          4
 Emails/Attachments   PILGRIMS-0005978379         PILGRIMS-0005978382          4
 Emails/Attachments   PILGRIMS-0005978385         PILGRIMS-0005978388          4
 Emails/Attachments   PILGRIMS-0005978390         PILGRIMS-0005978393          4
 Emails/Attachments   PILGRIMS-0005978397         PILGRIMS-0005978400          4
 Emails/Attachments   PILGRIMS-0005978402         PILGRIMS-0005978436          6
 Emails/Attachments   PILGRIMS-0005978439         PILGRIMS-0005978440          2
 Emails/Attachments   PILGRIMS-0005978442         PILGRIMS-0005978446          5
 Emails/Attachments   PILGRIMS-0005978448         PILGRIMS-0005978449          2
 Emails/Attachments   PILGRIMS-0005978457         PILGRIMS-0005978458          2
 Emails/Attachments   PILGRIMS-0005978465         PILGRIMS-0005978472          1
 Emails/Attachments   PILGRIMS-0005978474         PILGRIMS-0005978483         10
 Emails/Attachments   PILGRIMS-0005978485         PILGRIMS-0005978506         11
 Emails/Attachments   PILGRIMS-0005978509         PILGRIMS-0005978559         21
 Emails/Attachments   PILGRIMS-0005978564         PILGRIMS-0005978565          2
 Emails/Attachments   PILGRIMS-0005978568         PILGRIMS-0005978579         12
 Emails/Attachments   PILGRIMS-0005978581         PILGRIMS-0005978584          4
 Emails/Attachments   PILGRIMS-0005978587         PILGRIMS-0005978588          2
 Emails/Attachments   PILGRIMS-0005978590         PILGRIMS-0005978593          4
 Emails/Attachments   PILGRIMS-0005978596         PILGRIMS-0005978601          6
 Emails/Attachments   PILGRIMS-0005978604         PILGRIMS-0005978607          3
 Emails/Attachments   PILGRIMS-0005978610         PILGRIMS-0005978619         10
 Emails/Attachments   PILGRIMS-0005978622         PILGRIMS-0005978625          4
 Emails/Attachments   PILGRIMS-0005978628         PILGRIMS-0005978644          7
 Emails/Attachments   PILGRIMS-0005978648         PILGRIMS-0005978651          4


                                    Page 131 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 155 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005978657         PILGRIMS-0005978661          4
 Emails/Attachments   PILGRIMS-0005978665         PILGRIMS-0005978670          6
 Emails/Attachments   PILGRIMS-0005978672         PILGRIMS-0005978677          6
 Emails/Attachments   PILGRIMS-0005978680         PILGRIMS-0005978687          8
 Emails/Attachments   PILGRIMS-0005978690         PILGRIMS-0005978703          5
 Emails/Attachments   PILGRIMS-0005978708         PILGRIMS-0005978709          2
 Emails/Attachments   PILGRIMS-0005978711         PILGRIMS-0005978714          4
 Emails/Attachments   PILGRIMS-0005978717         PILGRIMS-0005978728          3
 Emails/Attachments   PILGRIMS-0005978731         PILGRIMS-0005978736          6
 Emails/Attachments   PILGRIMS-0005978739         PILGRIMS-0005978742          4
 Emails/Attachments   PILGRIMS-0005978744         PILGRIMS-0005978749          6
 Emails/Attachments   PILGRIMS-0005978753         PILGRIMS-0005978756          4
 Emails/Attachments   PILGRIMS-0005978759         PILGRIMS-0005978760          2
 Emails/Attachments   PILGRIMS-0005978763         PILGRIMS-0005978777          5
 Emails/Attachments   PILGRIMS-0005978782         PILGRIMS-0005978804         11
 Emails/Attachments   PILGRIMS-0005978807         PILGRIMS-0005978808          2
 Emails/Attachments   PILGRIMS-0005978810         PILGRIMS-0005978813          4
 Emails/Attachments   PILGRIMS-0005978816         PILGRIMS-0005978821          6
 Emails/Attachments   PILGRIMS-0005978824         PILGRIMS-0005978827          4
 Emails/Attachments   PILGRIMS-0005978829         PILGRIMS-0005978830          2
 Emails/Attachments   PILGRIMS-0005978833         PILGRIMS-0005979124         12
 Emails/Attachments   PILGRIMS-0005979128         PILGRIMS-0005979130          3
 Emails/Attachments   PILGRIMS-0005979132         PILGRIMS-0005979142          1
 Emails/Attachments   PILGRIMS-0005979144         PILGRIMS-0005979151          8
 Emails/Attachments   PILGRIMS-0005979154         PILGRIMS-0005979157          4
 Emails/Attachments   PILGRIMS-0005979161         PILGRIMS-0005979162          2
 Emails/Attachments   PILGRIMS-0005979165         PILGRIMS-0005979166          2
 Emails/Attachments   PILGRIMS-0005979168         PILGRIMS-0005979190         12
 Emails/Attachments   PILGRIMS-0005979193         PILGRIMS-0005979194          2
 Emails/Attachments   PILGRIMS-0005979197         PILGRIMS-0005979211          5
 Emails/Attachments   PILGRIMS-0005979214         PILGRIMS-0005979215          2
 Emails/Attachments   PILGRIMS-0005979220         PILGRIMS-0005979227          8
 Emails/Attachments   PILGRIMS-0005979230         PILGRIMS-0005979238          8
 Emails/Attachments   PILGRIMS-0005979240         PILGRIMS-0005979255          5
 Emails/Attachments   PILGRIMS-0005979259         PILGRIMS-0005979264          6
 Emails/Attachments   PILGRIMS-0005979267         PILGRIMS-0005979270          4
 Emails/Attachments   PILGRIMS-0005979273         PILGRIMS-0005979278          6
 Emails/Attachments   PILGRIMS-0005979282         PILGRIMS-0005979285          4
 Emails/Attachments   PILGRIMS-0005979287         PILGRIMS-0005979288          2
 Emails/Attachments   PILGRIMS-0005979290         PILGRIMS-0005979295          6
 Emails/Attachments   PILGRIMS-0005979297         PILGRIMS-0005979306          1
 Emails/Attachments   PILGRIMS-0005979308         PILGRIMS-0005979309          2
 Emails/Attachments   PILGRIMS-0005979314         PILGRIMS-0005979315          2
 Emails/Attachments   PILGRIMS-0005979317         PILGRIMS-0005979319          3
 Emails/Attachments   PILGRIMS-0005979321         PILGRIMS-0005979326          6
 Emails/Attachments   PILGRIMS-0005979328         PILGRIMS-0005979331          4


                                    Page 132 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 156 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005979334         PILGRIMS-0005979339          6
 Emails/Attachments   PILGRIMS-0005979342         PILGRIMS-0005979358         11
 Emails/Attachments   PILGRIMS-0005979361         PILGRIMS-0005979362          2
 Emails/Attachments   PILGRIMS-0005979365         PILGRIMS-0005979366          2
 Emails/Attachments   PILGRIMS-0005979369         PILGRIMS-0005979372          4
 Emails/Attachments   PILGRIMS-0005979374         PILGRIMS-0005979383         10
 Emails/Attachments   PILGRIMS-0005979386         PILGRIMS-0005979399         14
 Emails/Attachments   PILGRIMS-0005979402         PILGRIMS-0005979411          5
 Emails/Attachments   PILGRIMS-0005979414         PILGRIMS-0005979417          4
 Emails/Attachments   PILGRIMS-0005979422         PILGRIMS-0005979429          8
 Emails/Attachments   PILGRIMS-0005979432         PILGRIMS-0005979443          6
 Emails/Attachments   PILGRIMS-0005979445         PILGRIMS-0005979447          3
 Emails/Attachments   PILGRIMS-0005979449         PILGRIMS-0005979450          2
 Emails/Attachments   PILGRIMS-0005979455         PILGRIMS-0005979456          2
 Emails/Attachments   PILGRIMS-0005979458         PILGRIMS-0005979463          6
 Emails/Attachments   PILGRIMS-0005979466         PILGRIMS-0005979471          6
 Emails/Attachments   PILGRIMS-0005979474         PILGRIMS-0005979477          4
 Emails/Attachments   PILGRIMS-0005979480         PILGRIMS-0005979491         12
 Emails/Attachments   PILGRIMS-0005979494         PILGRIMS-0005979497          4
 Emails/Attachments   PILGRIMS-0005979501         PILGRIMS-0005979506          6
 Emails/Attachments   PILGRIMS-0005979511         PILGRIMS-0005979516          6
 Emails/Attachments   PILGRIMS-0005979520         PILGRIMS-0005979529         10
 Emails/Attachments   PILGRIMS-0005979531         PILGRIMS-0005979532          2
 Emails/Attachments   PILGRIMS-0005979534         PILGRIMS-0005979539          6
 Emails/Attachments   PILGRIMS-0005979541         PILGRIMS-0005979552          3
 Emails/Attachments   PILGRIMS-0005979555         PILGRIMS-0005979556          2
 Emails/Attachments   PILGRIMS-0005979558         PILGRIMS-0005979579          5
 Emails/Attachments   PILGRIMS-0005979585         PILGRIMS-0005979586          2
 Emails/Attachments   PILGRIMS-0005979589         PILGRIMS-0005979592          4
 Emails/Attachments   PILGRIMS-0005979594         PILGRIMS-0005979595          2
 Emails/Attachments   PILGRIMS-0005979597         PILGRIMS-0005979599          2
 Emails/Attachments   PILGRIMS-0005979601         PILGRIMS-0005979605          3
 Emails/Attachments   PILGRIMS-0005979608         PILGRIMS-0005979628          4
 Emails/Attachments   PILGRIMS-0005979632         PILGRIMS-0005979635          4
 Emails/Attachments   PILGRIMS-0005979637         PILGRIMS-0005979640          4
 Emails/Attachments   PILGRIMS-0005979643         PILGRIMS-0005979655          3
 Emails/Attachments   PILGRIMS-0005979657         PILGRIMS-0005979664          8
 Emails/Attachments   PILGRIMS-0005979667         PILGRIMS-0005979670          4
 Emails/Attachments   PILGRIMS-0005979673         PILGRIMS-0005979688          8
 Emails/Attachments   PILGRIMS-0005979690         PILGRIMS-0005979693          4
 Emails/Attachments   PILGRIMS-0005979697         PILGRIMS-0005979698          2
 Emails/Attachments   PILGRIMS-0005979700         PILGRIMS-0005979701          2
 Emails/Attachments   PILGRIMS-0005979705         PILGRIMS-0005979706          2
 Emails/Attachments   PILGRIMS-0005979709         PILGRIMS-0005979722          3
 Emails/Attachments   PILGRIMS-0005979748         PILGRIMS-0005979749          2
 Emails/Attachments   PILGRIMS-0005979753         PILGRIMS-0005979760          7


                                    Page 133 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 157 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005979763         PILGRIMS-0005979764          2
 Emails/Attachments   PILGRIMS-0005979767         PILGRIMS-0005979770          4
 Emails/Attachments   PILGRIMS-0005979773         PILGRIMS-0005979776          4
 Emails/Attachments   PILGRIMS-0005979779         PILGRIMS-0005979795          1
 Emails/Attachments   PILGRIMS-0005979798         PILGRIMS-0005979803          6
 Emails/Attachments   PILGRIMS-0005979805         PILGRIMS-0005979819          3
 Emails/Attachments   PILGRIMS-0005979824         PILGRIMS-0005979827          4
 Emails/Attachments   PILGRIMS-0005979831         PILGRIMS-0005979832          2
 Emails/Attachments   PILGRIMS-0005979835         PILGRIMS-0005979836          2
 Emails/Attachments   PILGRIMS-0005979839         PILGRIMS-0005979883          4
 Emails/Attachments   PILGRIMS-0005979886         PILGRIMS-0005979891          6
 Emails/Attachments   PILGRIMS-0005979894         PILGRIMS-0005979897          4
 Emails/Attachments   PILGRIMS-0005979900         PILGRIMS-0005979901          2
 Emails/Attachments   PILGRIMS-0005979904         PILGRIMS-0005979909          6
 Emails/Attachments   PILGRIMS-0005979917         PILGRIMS-0005979925          1
 Emails/Attachments   PILGRIMS-0005979952         PILGRIMS-0005979953          2
 Emails/Attachments   PILGRIMS-0005979956         PILGRIMS-0005979974          8
 Emails/Attachments   PILGRIMS-0005979983         PILGRIMS-0005979989          7
 Emails/Attachments   PILGRIMS-0005979994         PILGRIMS-0005979999          6
 Emails/Attachments   PILGRIMS-0005980002         PILGRIMS-0005980014          5
 Emails/Attachments   PILGRIMS-0005980017         PILGRIMS-0005980017          1
 Emails/Attachments   PILGRIMS-0005980020         PILGRIMS-0005980023          4
 Emails/Attachments   PILGRIMS-0005980026         PILGRIMS-0005980027          2
 Emails/Attachments   PILGRIMS-0005980029         PILGRIMS-0005980079          6
 Emails/Attachments   PILGRIMS-0005980082         PILGRIMS-0005980085          4
 Emails/Attachments   PILGRIMS-0005980088         PILGRIMS-0005980105          3
 Emails/Attachments   PILGRIMS-0005980108         PILGRIMS-0005980111          4
 Emails/Attachments   PILGRIMS-0005980114         PILGRIMS-0005980117          4
 Emails/Attachments   PILGRIMS-0005980120         PILGRIMS-0005980121          2
 Emails/Attachments   PILGRIMS-0005980130         PILGRIMS-0005980130          1
 Emails/Attachments   PILGRIMS-0005980133         PILGRIMS-0005980137          5
 Emails/Attachments   PILGRIMS-0005980148         PILGRIMS-0005980180         11
 Emails/Attachments   PILGRIMS-0005980183         PILGRIMS-0005980186          4
 Emails/Attachments   PILGRIMS-0005980190         PILGRIMS-0005980191          2
 Emails/Attachments   PILGRIMS-0005980196         PILGRIMS-0005980197          2
 Emails/Attachments   PILGRIMS-0005980202         PILGRIMS-0005980203          2
 Emails/Attachments   PILGRIMS-0005980205         PILGRIMS-0005980218          1
 Emails/Attachments   PILGRIMS-0005980288         PILGRIMS-0005980368         17
 Emails/Attachments   PILGRIMS-0005980370         PILGRIMS-0005980570         23
 Emails/Attachments   PILGRIMS-0005980584         PILGRIMS-0005980630         13
 Emails/Attachments   PILGRIMS-0005980726         PILGRIMS-0005980750          3
 Emails/Attachments   PILGRIMS-0005980757         PILGRIMS-0005981043         50
 Emails/Attachments   PILGRIMS-0005981052         PILGRIMS-0005981064          4
 Emails/Attachments   PILGRIMS-0005981067         PILGRIMS-0005981085          5
 Emails/Attachments   PILGRIMS-0005981102         PILGRIMS-0005981138          6
 Emails/Attachments   PILGRIMS-0005981244         PILGRIMS-0005981694         11


                                    Page 134 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 158 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005981706         PILGRIMS-0005981763          2
 Emails/Attachments   PILGRIMS-0005981771         PILGRIMS-0005981847         27
 Emails/Attachments   PILGRIMS-0005981860         PILGRIMS-0005981865          2
 Emails/Attachments   PILGRIMS-0005981870         PILGRIMS-0005981877          3
 Emails/Attachments   PILGRIMS-0005981882         PILGRIMS-0005981904          3
 Emails/Attachments   PILGRIMS-0005981927         PILGRIMS-0005981968          4
 Emails/Attachments   PILGRIMS-0005982027         PILGRIMS-0005982141         12
 Emails/Attachments   PILGRIMS-0005982148         PILGRIMS-0005982161          1
 Emails/Attachments   PILGRIMS-0005982224         PILGRIMS-0005982261         13
 Emails/Attachments   PILGRIMS-0005982276         PILGRIMS-0005982318          2
 Emails/Attachments   PILGRIMS-0005982326         PILGRIMS-0005982399         10
 Emails/Attachments   PILGRIMS-0005982470         PILGRIMS-0005982759         33
 Emails/Attachments   PILGRIMS-0005982809         PILGRIMS-0005982893          5
 Emails/Attachments   PILGRIMS-0005982943         PILGRIMS-0005982992         25
 Emails/Attachments   PILGRIMS-0005983031         PILGRIMS-0005983110          4
 Emails/Attachments   PILGRIMS-0005983160         PILGRIMS-0005983245         44
 Emails/Attachments   PILGRIMS-0005983247         PILGRIMS-0005983248          1
 Emails/Attachments   PILGRIMS-0005983298         PILGRIMS-0005983320          6
 Emails/Attachments   PILGRIMS-0005983322         PILGRIMS-0005983447         17
 Emails/Attachments   PILGRIMS-0005983458         PILGRIMS-0005983490          6
 Emails/Attachments   PILGRIMS-0005983493         PILGRIMS-0005983518          5
 Emails/Attachments   PILGRIMS-0005983530         PILGRIMS-0005983543          4
 Emails/Attachments   PILGRIMS-0005983563         PILGRIMS-0005983585          3
 Emails/Attachments   PILGRIMS-0005983628         PILGRIMS-0005983658         10
 Emails/Attachments   PILGRIMS-0005983678         PILGRIMS-0005983699          3
 Emails/Attachments   PILGRIMS-0005983738         PILGRIMS-0005983741          1
 Emails/Attachments   PILGRIMS-0005983761         PILGRIMS-0005983779          5
 Emails/Attachments   PILGRIMS-0005983799         PILGRIMS-0005983814          2
 Emails/Attachments   PILGRIMS-0005983834         PILGRIMS-0005983853          2
 Emails/Attachments   PILGRIMS-0005983873         PILGRIMS-0005983913          8
 Emails/Attachments   PILGRIMS-0005983917         PILGRIMS-0005983917          1
 Emails/Attachments   PILGRIMS-0005983919         PILGRIMS-0005983920          1
 Emails/Attachments   PILGRIMS-0005983939         PILGRIMS-0005984009         14
 Emails/Attachments   PILGRIMS-0005984087         PILGRIMS-0005984200         14
 Emails/Attachments   PILGRIMS-0005984287         PILGRIMS-0005984477          8
 Emails/Attachments   PILGRIMS-0005984633         PILGRIMS-0005984726          5
 Emails/Attachments   PILGRIMS-0005984807         PILGRIMS-0005984947         30
 Emails/Attachments   PILGRIMS-0005984955         PILGRIMS-0005984978          4
 Emails/Attachments   PILGRIMS-0005985027         PILGRIMS-0005985086         18
 Emails/Attachments   PILGRIMS-0005985110         PILGRIMS-0005985147          3
 Emails/Attachments   PILGRIMS-0005985159         PILGRIMS-0005985201          3
 Emails/Attachments   PILGRIMS-0005985297         PILGRIMS-0005985326          4
 Emails/Attachments   PILGRIMS-0005985348         PILGRIMS-0005985443          6
 Emails/Attachments   PILGRIMS-0005985482         PILGRIMS-0005985539          5
 Emails/Attachments   PILGRIMS-0005985597         PILGRIMS-0005985617          4
 Emails/Attachments   PILGRIMS-0005985656         PILGRIMS-0005985710          9


                                    Page 135 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 159 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005985715         PILGRIMS-0005985771          3
 Emails/Attachments   PILGRIMS-0005985773         PILGRIMS-0005985806          6
 Emails/Attachments   PILGRIMS-0005985809         PILGRIMS-0005985935         15
 Emails/Attachments   PILGRIMS-0005985937         PILGRIMS-0005986052         13
 Emails/Attachments   PILGRIMS-0005986067         PILGRIMS-0005986184         20
 Emails/Attachments   PILGRIMS-0005986188         PILGRIMS-0005986220         12
 Emails/Attachments   PILGRIMS-0005986244         PILGRIMS-0005986269          8
 Emails/Attachments   PILGRIMS-0005986271         PILGRIMS-0005986314          8
 Emails/Attachments   PILGRIMS-0005986335         PILGRIMS-0005986382          8
 Emails/Attachments   PILGRIMS-0005986391         PILGRIMS-0005986397          4
 Emails/Attachments   PILGRIMS-0005986403         PILGRIMS-0005986409          1
 Emails/Attachments   PILGRIMS-0005986467         PILGRIMS-0005986489          3
 Emails/Attachments   PILGRIMS-0005986511         PILGRIMS-0005986554          4
 Emails/Attachments   PILGRIMS-0005986576         PILGRIMS-0005986576          1
 Emails/Attachments   PILGRIMS-0005986598         PILGRIMS-0005986598          1
 Emails/Attachments   PILGRIMS-0005986704         PILGRIMS-0005986795         16
 Emails/Attachments   PILGRIMS-0005986800         PILGRIMS-0005986814          4
 Emails/Attachments   PILGRIMS-0005986950         PILGRIMS-0005986984          7
 Emails/Attachments   PILGRIMS-0005987026         PILGRIMS-0005987036          9
 Emails/Attachments   PILGRIMS-0005987078         PILGRIMS-0005987085          4
 Emails/Attachments   PILGRIMS-0005987128         PILGRIMS-0005987168         10
 Emails/Attachments   PILGRIMS-0005987174         PILGRIMS-0005987221         15
 Emails/Attachments   PILGRIMS-0005987223         PILGRIMS-0005987225          2
 Emails/Attachments   PILGRIMS-0005987227         PILGRIMS-0005987233          3
 Emails/Attachments   PILGRIMS-0005987244         PILGRIMS-0005987411          9
 Emails/Attachments   PILGRIMS-0005987423         PILGRIMS-0005987495          2
 Emails/Attachments   PILGRIMS-0005987568         PILGRIMS-0005987568          1
 Emails/Attachments   PILGRIMS-0005987659         PILGRIMS-0005987830          4
 Emails/Attachments   PILGRIMS-0005987842         PILGRIMS-0005987989          5
 Emails/Attachments   PILGRIMS-0005988125         PILGRIMS-0005988573         18
 Emails/Attachments   PILGRIMS-0005988590         PILGRIMS-0005988665          8
 Emails/Attachments   PILGRIMS-0005988672         PILGRIMS-0005988676          3
 Emails/Attachments   PILGRIMS-0005988685         PILGRIMS-0005988706          2
 Emails/Attachments   PILGRIMS-0005988728         PILGRIMS-0005988750          3
 Emails/Attachments   PILGRIMS-0005988826         PILGRIMS-0005988839          2
 Emails/Attachments   PILGRIMS-0005988860         PILGRIMS-0005988873          3
 Emails/Attachments   PILGRIMS-0005988877         PILGRIMS-0005988910          5
 Emails/Attachments   PILGRIMS-0005988931         PILGRIMS-0005988943          2
 Emails/Attachments   PILGRIMS-0005988965         PILGRIMS-0005988965          1
 Emails/Attachments   PILGRIMS-0005988986         PILGRIMS-0005989002          4
 Emails/Attachments   PILGRIMS-0005989045         PILGRIMS-0005989141          9
 Emails/Attachments   PILGRIMS-0005989182         PILGRIMS-0005989265         37
 Emails/Attachments   PILGRIMS-0005989346         PILGRIMS-0005989419          8
 Emails/Attachments   PILGRIMS-0005989495         PILGRIMS-0005989497          3
 Emails/Attachments   PILGRIMS-0005989669         PILGRIMS-0005989729         13
 Emails/Attachments   PILGRIMS-0005989739         PILGRIMS-0005989748          2


                                    Page 136 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 160 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005989789         PILGRIMS-0005989870         36
 Emails/Attachments   PILGRIMS-0005989911         PILGRIMS-0005989952         17
 Emails/Attachments   PILGRIMS-0005990033         PILGRIMS-0005990105         23
 Emails/Attachments   PILGRIMS-0005990115         PILGRIMS-0005990224         11
 Emails/Attachments   PILGRIMS-0005990292         PILGRIMS-0005990292          1
 Emails/Attachments   PILGRIMS-0005990294         PILGRIMS-0005990335         18
 Emails/Attachments   PILGRIMS-0005990419         PILGRIMS-0005990513         39
 Emails/Attachments   PILGRIMS-0005990522         PILGRIMS-0005990530          2
 Emails/Attachments   PILGRIMS-0005990537         PILGRIMS-0005990658          3
 Emails/Attachments   PILGRIMS-0005990667         PILGRIMS-0005990675          2
 Emails/Attachments   PILGRIMS-0005990718         PILGRIMS-0005990726          2
 Emails/Attachments   PILGRIMS-0005990735         PILGRIMS-0005990743          2
 Emails/Attachments   PILGRIMS-0005990760         PILGRIMS-0005990940         28
 Emails/Attachments   PILGRIMS-0005991025         PILGRIMS-0005991110         38
 Emails/Attachments   PILGRIMS-0005991153         PILGRIMS-0005991164          3
 Emails/Attachments   PILGRIMS-0005991175         PILGRIMS-0005991210          6
 Emails/Attachments   PILGRIMS-0005991295         PILGRIMS-0005991422         39
 Emails/Attachments   PILGRIMS-0005991424         PILGRIMS-0005991458         11
 Emails/Attachments   PILGRIMS-0005991460         PILGRIMS-0005991558         32
 Emails/Attachments   PILGRIMS-0005991573         PILGRIMS-0005991573          1
 Emails/Attachments   PILGRIMS-0005991587         PILGRIMS-0005991592          3
 Emails/Attachments   PILGRIMS-0005991610         PILGRIMS-0005991633          3
 Emails/Attachments   PILGRIMS-0005991698         PILGRIMS-0005991703          2
 Emails/Attachments   PILGRIMS-0005991850         PILGRIMS-0005991859          1
 Emails/Attachments   PILGRIMS-0005991895         PILGRIMS-0005991896          2
 Emails/Attachments   PILGRIMS-0005991941         PILGRIMS-0005991943          1
 Emails/Attachments   PILGRIMS-0005991948         PILGRIMS-0005992028          9
 Emails/Attachments   PILGRIMS-0005992031         PILGRIMS-0005992039          4
 Emails/Attachments   PILGRIMS-0005992052         PILGRIMS-0005992067          4
 Emails/Attachments   PILGRIMS-0005992134         PILGRIMS-0005992135          2
 Emails/Attachments   PILGRIMS-0005992144         PILGRIMS-0005992148          2
 Emails/Attachments   PILGRIMS-0005992157         PILGRIMS-0005992183          2
 Emails/Attachments   PILGRIMS-0005992193         PILGRIMS-0005992195          2
 Emails/Attachments   PILGRIMS-0005992204         PILGRIMS-0005992237          9
 Emails/Attachments   PILGRIMS-0005992247         PILGRIMS-0005992256          2
 Emails/Attachments   PILGRIMS-0005992266         PILGRIMS-0005992351         26
 Emails/Attachments   PILGRIMS-0005992361         PILGRIMS-0005992497          6
 Emails/Attachments   PILGRIMS-0005992507         PILGRIMS-0005992516          2
 Emails/Attachments   PILGRIMS-0005992547         PILGRIMS-0005992648          5
 Emails/Attachments   PILGRIMS-0005992659         PILGRIMS-0005992722         21
 Emails/Attachments   PILGRIMS-0005994030         PILGRIMS-0005994030          1
 Emails/Attachments   PILGRIMS-0005994038         PILGRIMS-0005994039          2
 Emails/Attachments   PILGRIMS-0005994042         PILGRIMS-0005994045          3
 Emails/Attachments   PILGRIMS-0005994047         PILGRIMS-0005994321         143
 Emails/Attachments   PILGRIMS-0005994324         PILGRIMS-0005994327          4
 Emails/Attachments   PILGRIMS-0005994329         PILGRIMS-0005994356         18


                                    Page 137 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 161 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005994358         PILGRIMS-0005994363          6
 Emails/Attachments   PILGRIMS-0005994366         PILGRIMS-0005994476         50
 Emails/Attachments   PILGRIMS-0005994478         PILGRIMS-0005994515         22
 Emails/Attachments   PILGRIMS-0005994518         PILGRIMS-0005994547         12
 Emails/Attachments   PILGRIMS-0005994549         PILGRIMS-0005994684         68
 Emails/Attachments   PILGRIMS-0005994686         PILGRIMS-0005994780         42
 Emails/Attachments   PILGRIMS-0005994782         PILGRIMS-0005994872         58
 Emails/Attachments   PILGRIMS-0005994874         PILGRIMS-0005994969         65
 Emails/Attachments   PILGRIMS-0005994971         PILGRIMS-0005995028         53
 Emails/Attachments   PILGRIMS-0005995030         PILGRIMS-0005995176         137
 Emails/Attachments   PILGRIMS-0005995178         PILGRIMS-0005995197         16
 Emails/Attachments   PILGRIMS-0005995200         PILGRIMS-0005995286         46
 Emails/Attachments   PILGRIMS-0005995288         PILGRIMS-0005995592         150
 Emails/Attachments   PILGRIMS-0005995595         PILGRIMS-0005995868         134
 Emails/Attachments   PILGRIMS-0005995870         PILGRIMS-0005995871          2
 Emails/Attachments   PILGRIMS-0005995873         PILGRIMS-0005995881          9
 Emails/Attachments   PILGRIMS-0005995884         PILGRIMS-0005995989         64
 Emails/Attachments   PILGRIMS-0005995992         PILGRIMS-0005996002          7
 Emails/Attachments   PILGRIMS-0005996004         PILGRIMS-0005996005          2
 Emails/Attachments   PILGRIMS-0005996007         PILGRIMS-0005996119         63
 Emails/Attachments   PILGRIMS-0005996121         PILGRIMS-0005996161         19
 Emails/Attachments   PILGRIMS-0005996164         PILGRIMS-0005996231         48
 Emails/Attachments   PILGRIMS-0005996233         PILGRIMS-0005996255         23
 Emails/Attachments   PILGRIMS-0005996257         PILGRIMS-0005996307         18
 Emails/Attachments   PILGRIMS-0005996310         PILGRIMS-0005996408         70
 Emails/Attachments   PILGRIMS-0005996410         PILGRIMS-0005996420          6
 Emails/Attachments   PILGRIMS-0005996422         PILGRIMS-0005996423          2
 Emails/Attachments   PILGRIMS-0005996425         PILGRIMS-0005996476         31
 Emails/Attachments   PILGRIMS-0005996478         PILGRIMS-0005996563         65
 Emails/Attachments   PILGRIMS-0005996565         PILGRIMS-0005996670         33
 Emails/Attachments   PILGRIMS-0005996673         PILGRIMS-0005996730         41
 Emails/Attachments   PILGRIMS-0005996732         PILGRIMS-0005996906         87
 Emails/Attachments   PILGRIMS-0005996908         PILGRIMS-0005997029         69
 Emails/Attachments   PILGRIMS-0005997031         PILGRIMS-0005997095         37
 Emails/Attachments   PILGRIMS-0005997097         PILGRIMS-0005997250         79
 Emails/Attachments   PILGRIMS-0005997252         PILGRIMS-0005997280         23
 Emails/Attachments   PILGRIMS-0005997282         PILGRIMS-0005997293         11
 Emails/Attachments   PILGRIMS-0005997296         PILGRIMS-0005997298          3
 Emails/Attachments   PILGRIMS-0005997300         PILGRIMS-0005997311          9
 Emails/Attachments   PILGRIMS-0005997313         PILGRIMS-0005997399         44
 Emails/Attachments   PILGRIMS-0005997401         PILGRIMS-0005997408          5
 Emails/Attachments   PILGRIMS-0005997410         PILGRIMS-0005997414          5
 Emails/Attachments   PILGRIMS-0005997416         PILGRIMS-0005997456         11
 Emails/Attachments   PILGRIMS-0005997458         PILGRIMS-0005997481         17
 Emails/Attachments   PILGRIMS-0005997483         PILGRIMS-0005997689         15
 Emails/Attachments   PILGRIMS-0005997691         PILGRIMS-0005997694          3


                                    Page 138 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 162 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0005997696         PILGRIMS-0005997709         14
 Emails/Attachments   PILGRIMS-0005997711         PILGRIMS-0005997712          2
 Emails/Attachments   PILGRIMS-0005997714         PILGRIMS-0005997847         76
 Emails/Attachments   PILGRIMS-0005997850         PILGRIMS-0005997881         25
 Emails/Attachments   PILGRIMS-0005997884         PILGRIMS-0005997950         28
 Emails/Attachments   PILGRIMS-0005998026         PILGRIMS-0005998037         11
 Emails/Attachments   PILGRIMS-0005998039         PILGRIMS-0005998231         124
 Emails/Attachments   PILGRIMS-0005998233         PILGRIMS-0005998375         82
 Emails/Attachments   PILGRIMS-0005998379         PILGRIMS-0005998405         22
 Emails/Attachments   PILGRIMS-0005998407         PILGRIMS-0005998569         126
 Emails/Attachments   PILGRIMS-0005998571         PILGRIMS-0005998674         60
 Emails/Attachments   PILGRIMS-0005998678         PILGRIMS-0005998685          6
 Emails/Attachments   PILGRIMS-0005998692         PILGRIMS-0005998785         74
 Emails/Attachments   PILGRIMS-0005998787         PILGRIMS-0005998921         117
 Emails/Attachments   PILGRIMS-0005998923         PILGRIMS-0005999050         87
 Emails/Attachments   PILGRIMS-0005999052         PILGRIMS-0005999114         51
 Emails/Attachments   PILGRIMS-0005999116         PILGRIMS-0005999210         60
 Emails/Attachments   PILGRIMS-0005999212         PILGRIMS-0005999267         27
 Emails/Attachments   PILGRIMS-0005999269         PILGRIMS-0005999356         51
 Emails/Attachments   PILGRIMS-0005999358         PILGRIMS-0005999379         19
 Emails/Attachments   PILGRIMS-0005999381         PILGRIMS-0005999396          6
 Emails/Attachments   PILGRIMS-0005999404         PILGRIMS-0005999423         10
 Emails/Attachments   PILGRIMS-0005999425         PILGRIMS-0005999482         37
 Emails/Attachments   PILGRIMS-0005999484         PILGRIMS-0005999620         87
 Emails/Attachments   PILGRIMS-0005999622         PILGRIMS-0005999670         41
 Emails/Attachments   PILGRIMS-0005999672         PILGRIMS-0005999691         18
 Emails/Attachments   PILGRIMS-0005999693         PILGRIMS-0005999706         13
 Emails/Attachments   PILGRIMS-0005999709         PILGRIMS-0005999757         40
 Emails/Attachments   PILGRIMS-0005999759         PILGRIMS-0005999790         21
 Emails/Attachments   PILGRIMS-0005999792         PILGRIMS-0005999825         25
 Emails/Attachments   PILGRIMS-0005999827         PILGRIMS-0005999828          2
 Emails/Attachments   PILGRIMS-0005999830         PILGRIMS-0005999897         43
 Emails/Attachments   PILGRIMS-0005999899         PILGRIMS-0005999970         41
 Emails/Attachments   PILGRIMS-0005999972         PILGRIMS-0005999975          4
 Emails/Attachments   PILGRIMS-0005999977         PILGRIMS-0006000022         36
 Emails/Attachments   PILGRIMS-0006000024         PILGRIMS-0006000042          4
 Emails/Attachments   PILGRIMS-0006000054         PILGRIMS-0006000105         30
 Emails/Attachments   PILGRIMS-0006000118         PILGRIMS-0006000126          8
 Emails/Attachments   PILGRIMS-0006000130         PILGRIMS-0006000210         48
 Emails/Attachments   PILGRIMS-0006000213         PILGRIMS-0006000854         79
 Emails/Attachments   PILGRIMS-0006000893         PILGRIMS-0006000906          6
 Emails/Attachments   PILGRIMS-0006000950         PILGRIMS-0006000952          2
 Emails/Attachments   PILGRIMS-0006000955         PILGRIMS-0006001052         57
 Emails/Attachments   PILGRIMS-0006001054         PILGRIMS-0006001072         15
 Emails/Attachments   PILGRIMS-0006001074         PILGRIMS-0006001104         14
 Emails/Attachments   PILGRIMS-0006001107         PILGRIMS-0006001147         25


                                    Page 139 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 163 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006001149         PILGRIMS-0006001243         49
 Emails/Attachments   PILGRIMS-0006001245         PILGRIMS-0006001260          6
 Emails/Attachments   PILGRIMS-0006001262         PILGRIMS-0006001305         25
 Emails/Attachments   PILGRIMS-0006001309         PILGRIMS-0006001310          2
 Emails/Attachments   PILGRIMS-0006001312         PILGRIMS-0006001418         44
 Emails/Attachments   PILGRIMS-0006001420         PILGRIMS-0006001477         31
 Emails/Attachments   PILGRIMS-0006001479         PILGRIMS-0006001503         17
 Emails/Attachments   PILGRIMS-0006001506         PILGRIMS-0006001546         21
 Emails/Attachments   PILGRIMS-0006001548         PILGRIMS-0006001602         18
 Emails/Attachments   PILGRIMS-0006001604         PILGRIMS-0006001678          8
 Emails/Attachments   PILGRIMS-0006001680         PILGRIMS-0006001690          5
 Emails/Attachments   PILGRIMS-0006001692         PILGRIMS-0006001716         17
 Emails/Attachments   PILGRIMS-0006001720         PILGRIMS-0006001721          1
 Emails/Attachments   PILGRIMS-0006001723         PILGRIMS-0006001878         75
 Emails/Attachments   PILGRIMS-0006001880         PILGRIMS-0006001932         22
 Emails/Attachments   PILGRIMS-0006001934         PILGRIMS-0006001953         14
 Emails/Attachments   PILGRIMS-0006001955         PILGRIMS-0006002009         32
 Emails/Attachments   PILGRIMS-0006002011         PILGRIMS-0006002020          2
 Emails/Attachments   PILGRIMS-0006002022         PILGRIMS-0006002129         47
 Emails/Attachments   PILGRIMS-0006002131         PILGRIMS-0006002132          2
 Emails/Attachments   PILGRIMS-0006002134         PILGRIMS-0006002161         17
 Emails/Attachments   PILGRIMS-0006002163         PILGRIMS-0006002168          2
 Emails/Attachments   PILGRIMS-0006002170         PILGRIMS-0006002243         38
 Emails/Attachments   PILGRIMS-0006002245         PILGRIMS-0006002282         22
 Emails/Attachments   PILGRIMS-0006002285         PILGRIMS-0006002355         25
 Emails/Attachments   PILGRIMS-0006002357         PILGRIMS-0006002529         41
 Emails/Attachments   PILGRIMS-0006002532         PILGRIMS-0006002657         23
 Emails/Attachments   PILGRIMS-0006002659         PILGRIMS-0006002780         28
 Emails/Attachments   PILGRIMS-0006002782         PILGRIMS-0006002802          8
 Emails/Attachments   PILGRIMS-0006002915         PILGRIMS-0006002963         27
 Emails/Attachments   PILGRIMS-0006002965         PILGRIMS-0006003006         25
 Emails/Attachments   PILGRIMS-0006003008         PILGRIMS-0006003013          2
 Emails/Attachments   PILGRIMS-0006003015         PILGRIMS-0006003016          2
 Emails/Attachments   PILGRIMS-0006003018         PILGRIMS-0006003057         25
 Emails/Attachments   PILGRIMS-0006003060         PILGRIMS-0006003203         56
 Emails/Attachments   PILGRIMS-0006003205         PILGRIMS-0006003275         19
 Emails/Attachments   PILGRIMS-0006003277         PILGRIMS-0006003278          1
 Emails/Attachments   PILGRIMS-0006003280         PILGRIMS-0006003345         33
 Emails/Attachments   PILGRIMS-0006003347         PILGRIMS-0006003354          5
 Emails/Attachments   PILGRIMS-0006003356         PILGRIMS-0006003367          9
 Emails/Attachments   PILGRIMS-0006003369         PILGRIMS-0006003374          5
 Emails/Attachments   PILGRIMS-0006003377         PILGRIMS-0006003391         11
 Emails/Attachments   PILGRIMS-0006003393         PILGRIMS-0006003398          6
 Emails/Attachments   PILGRIMS-0006003400         PILGRIMS-0006003413         12
 Emails/Attachments   PILGRIMS-0006003416         PILGRIMS-0006003454         25
 Emails/Attachments   PILGRIMS-0006003456         PILGRIMS-0006003463          8


                                    Page 140 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 164 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006003467         PILGRIMS-0006003474           7
 Emails/Attachments   PILGRIMS-0006003476         PILGRIMS-0006003477           2
 Emails/Attachments   PILGRIMS-0006003479         PILGRIMS-0006003490           6
 Emails/Attachments   PILGRIMS-0006003493         PILGRIMS-0006003494           2
 Emails/Attachments   PILGRIMS-0006003497         PILGRIMS-0006003503           6
 Emails/Attachments   PILGRIMS-0006003506         PILGRIMS-0006003517          12
 Emails/Attachments   PILGRIMS-0006003520         PILGRIMS-0006005577          67
 Emails/Attachments   PILGRIMS-0006005579         PILGRIMS-0006005597          17
 Emails/Attachments   PILGRIMS-0006005599         PILGRIMS-0006006454          27
 Emails/Attachments   PILGRIMS-0006006456         PILGRIMS-0006006468           9
 Emails/Attachments   PILGRIMS-0006006476         PILGRIMS-0006006493          15
 Emails/Attachments   PILGRIMS-0006006495         PILGRIMS-0006006547          42
 Emails/Attachments   PILGRIMS-0006006549         PILGRIMS-0006007025          25
 Emails/Attachments   PILGRIMS-0006007029         PILGRIMS-0006007037           8
 Emails/Attachments   PILGRIMS-0006007039         PILGRIMS-0006007071          27
 Emails/Attachments   PILGRIMS-0006007073         PILGRIMS-0006007076           4
 Emails/Attachments   PILGRIMS-0006007078         PILGRIMS-0006007125          39
 Emails/Attachments   PILGRIMS-0006007127         PILGRIMS-0006007190          55
 Emails/Attachments   PILGRIMS-0006007192         PILGRIMS-0006007226          25
 Emails/Attachments   PILGRIMS-0006007228         PILGRIMS-0006007242           8
 Emails/Attachments   PILGRIMS-0006007244         PILGRIMS-0006007252           7
 Emails/Attachments   PILGRIMS-0006007254         PILGRIMS-0006007391          64
 Emails/Attachments   PILGRIMS-0006007398         PILGRIMS-0006008363         379
 Emails/Attachments   PILGRIMS-0006008365         PILGRIMS-0006008687         140
 Emails/Attachments   PILGRIMS-0006008690         PILGRIMS-0006008898          62
 Emails/Attachments   PILGRIMS-0006008900         PILGRIMS-0006009464         240
 Emails/Attachments   PILGRIMS-0006009466         PILGRIMS-0006009891         126
 Emails/Attachments   PILGRIMS-0006009893         PILGRIMS-0006010178         114
 Emails/Attachments   PILGRIMS-0006010180         PILGRIMS-0006010221          16
 Emails/Attachments   PILGRIMS-0006010223         PILGRIMS-0006010234           6
 Emails/Attachments   PILGRIMS-0006010236         PILGRIMS-0006012402         824
 Emails/Attachments   PILGRIMS-0006012404         PILGRIMS-0006020631        3,084
 Emails/Attachments   PILGRIMS-0006020962         PILGRIMS-0006020991          24
 Emails/Attachments   PILGRIMS-0006020993         PILGRIMS-0006021057          42
 Emails/Attachments   PILGRIMS-0006021059         PILGRIMS-0006021145          64
 Emails/Attachments   PILGRIMS-0006021149         PILGRIMS-0006021201          44
 Emails/Attachments   PILGRIMS-0006021512         PILGRIMS-0006021611          79
 Emails/Attachments   PILGRIMS-0006021614         PILGRIMS-0006021778         107
 Emails/Attachments   PILGRIMS-0006021780         PILGRIMS-0006022015          98
 Emails/Attachments   PILGRIMS-0006022017         PILGRIMS-0006022287         202
 Emails/Attachments   PILGRIMS-0006022826         PILGRIMS-0006023149          13
 Emails/Attachments   PILGRIMS-0006023341         PILGRIMS-0006024201         166
 Emails/Attachments   PILGRIMS-0006024240         PILGRIMS-0006024273          30
 Emails/Attachments   PILGRIMS-0006024275         PILGRIMS-0006024591         188
 Emails/Attachments   PILGRIMS-0006024897         PILGRIMS-0006025651         466
 Emails/Attachments   PILGRIMS-0006025950         PILGRIMS-0006026215         149


                                    Page 141 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 165 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006026217         PILGRIMS-0006026282         28
 Emails/Attachments   PILGRIMS-0006026284         PILGRIMS-0006026927         85
 Emails/Attachments   PILGRIMS-0006026929         PILGRIMS-0006027124         169
 Emails/Attachments   PILGRIMS-0006027126         PILGRIMS-0006027220         53
 Emails/Attachments   PILGRIMS-0006027222         PILGRIMS-0006027351         65
 Emails/Attachments   PILGRIMS-0006027650         PILGRIMS-0006027652          1
 Emails/Attachments   PILGRIMS-0006028147         PILGRIMS-0006028889         71
 Emails/Attachments   PILGRIMS-0006028891         PILGRIMS-0006029048         100
 Emails/Attachments   PILGRIMS-0006029050         PILGRIMS-0006029302         156
 Emails/Attachments   PILGRIMS-0006029603         PILGRIMS-0006029972         241
 Emails/Attachments   PILGRIMS-0006029975         PILGRIMS-0006030126         127
 Emails/Attachments   PILGRIMS-0006030429         PILGRIMS-0006031161         448
 Emails/Attachments   PILGRIMS-0006031646         PILGRIMS-0006031902         14
 Emails/Attachments   PILGRIMS-0006032145         PILGRIMS-0006033448         434
 Emails/Attachments   PILGRIMS-0006033489         PILGRIMS-0006033530          2
 Emails/Attachments   PILGRIMS-0006033625         PILGRIMS-0006035467         289
 Emails/Attachments   PILGRIMS-0006035661         PILGRIMS-0006035684         13
 Emails/Attachments   PILGRIMS-0006035845         PILGRIMS-0006036058         122
 Emails/Attachments   PILGRIMS-0006036557         PILGRIMS-0006038810         21
 Emails/Attachments   PILGRIMS-0006038822         PILGRIMS-0006038957         77
 Emails/Attachments   PILGRIMS-0006038959         PILGRIMS-0006039630         177
 Emails/Attachments   PILGRIMS-0006040129         PILGRIMS-0006040475         209
 Emails/Attachments   PILGRIMS-0006041082         PILGRIMS-0006042011         158
 Emails/Attachments   PILGRIMS-0006042618         PILGRIMS-0006042625          6
 Emails/Attachments   PILGRIMS-0006043232         PILGRIMS-0006043477         154
 Emails/Attachments   PILGRIMS-0006044090         PILGRIMS-0006047328         472
 Emails/Attachments   PILGRIMS-0006047330         PILGRIMS-0006047596         120
 Emails/Attachments   PILGRIMS-0006047778         PILGRIMS-0006048454         181
 Emails/Attachments   PILGRIMS-0006048959         PILGRIMS-0006048960          2
 Emails/Attachments   PILGRIMS-0006049465         PILGRIMS-0006050054         265
 Emails/Attachments   PILGRIMS-0006050057         PILGRIMS-0006050096         16
 Emails/Attachments   PILGRIMS-0006050100         PILGRIMS-0006050892         75
 Emails/Attachments   PILGRIMS-0006050963         PILGRIMS-0006050968          2
 Emails/Attachments   PILGRIMS-0006050971         PILGRIMS-0006051190         87
 Emails/Attachments   PILGRIMS-0006051194         PILGRIMS-0006051386         99
 Emails/Attachments   PILGRIMS-0006051503         PILGRIMS-0006052244         60
 Emails/Attachments   PILGRIMS-0006052247         PILGRIMS-0006052314         28
 Emails/Attachments   PILGRIMS-0006052321         PILGRIMS-0006052432         48
 Emails/Attachments   PILGRIMS-0006052435         PILGRIMS-0006052548         39
 Emails/Attachments   PILGRIMS-0006052551         PILGRIMS-0006052591         18
 Emails/Attachments   PILGRIMS-0006052957         PILGRIMS-0006052999         36
 Emails/Attachments   PILGRIMS-0006053002         PILGRIMS-0006053013          5
 Emails/Attachments   PILGRIMS-0006054221         PILGRIMS-0006054242         16
 Emails/Attachments   PILGRIMS-0006054244         PILGRIMS-0006055992         12
 Emails/Attachments   PILGRIMS-0006055995         PILGRIMS-0006055997          3
 Emails/Attachments   PILGRIMS-0006056000         PILGRIMS-0006056013          6


                                    Page 142 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 166 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006056016         PILGRIMS-0006056119          70
 Emails/Attachments   PILGRIMS-0006056121         PILGRIMS-0006056172          30
 Emails/Attachments   PILGRIMS-0006056174         PILGRIMS-0006056216          15
 Emails/Attachments   PILGRIMS-0006056218         PILGRIMS-0006056259          19
 Emails/Attachments   PILGRIMS-0006056262         PILGRIMS-0006056376          51
 Emails/Attachments   PILGRIMS-0006056379         PILGRIMS-0006056470          31
 Emails/Attachments   PILGRIMS-0006056473         PILGRIMS-0006056560          47
 Emails/Attachments   PILGRIMS-0006056562         PILGRIMS-0006058834          57
 Emails/Attachments   PILGRIMS-0006058837         PILGRIMS-0006058895          17
 Emails/Attachments   PILGRIMS-0006060526         PILGRIMS-0006062303          47
 Emails/Attachments   PILGRIMS-0006062305         PILGRIMS-0006065112         161
 Emails/Attachments   PILGRIMS-0006065115         PILGRIMS-0006066169          77
 Emails/Attachments   PILGRIMS-0006066171         PILGRIMS-0006066561         217
 Emails/Attachments   PILGRIMS-0006067747         PILGRIMS-0006067795          22
 Emails/Attachments   PILGRIMS-0006067799         PILGRIMS-0006067802           4
 Emails/Attachments   PILGRIMS-0006067804         PILGRIMS-0006067813           7
 Emails/Attachments   PILGRIMS-0006071751         PILGRIMS-0006071823          39
 Emails/Attachments   PILGRIMS-0006071825         PILGRIMS-0006071931          27
 Emails/Attachments   PILGRIMS-0006071933         PILGRIMS-0006071955          17
 Emails/Attachments   PILGRIMS-0006071957         PILGRIMS-0006072007          32
 Emails/Attachments   PILGRIMS-0006072192         PILGRIMS-0006072223          25
 Emails/Attachments   PILGRIMS-0006074964         PILGRIMS-0006076820          76
 Emails/Attachments   PILGRIMS-0006076822         PILGRIMS-0006076927          68
 Emails/Attachments   PILGRIMS-0006080168         PILGRIMS-0006081205          52
 Emails/Attachments   PILGRIMS-0006081818         PILGRIMS-0006081906          60
 Emails/Attachments   PILGRIMS-0006081911         PILGRIMS-0006086744        2,394
 Emails/Attachments   PILGRIMS-0006086983         PILGRIMS-0006087223         145
 Emails/Attachments   PILGRIMS-0006087225         PILGRIMS-0006087226           2
 Emails/Attachments   PILGRIMS-0006087228         PILGRIMS-0006087419         112
 Emails/Attachments   PILGRIMS-0006087421         PILGRIMS-0006089319         105
 Emails/Attachments   PILGRIMS-0006089321         PILGRIMS-0006090472         152
 Emails/Attachments   PILGRIMS-0006090474         PILGRIMS-0006091337         409
 Emails/Attachments   PILGRIMS-0006091599         PILGRIMS-0006092332          29
 Emails/Attachments   PILGRIMS-0006092758         PILGRIMS-0006093070          70
 Emails/Attachments   PILGRIMS-0006093321         PILGRIMS-0006100243        1,648
 Emails/Attachments   PILGRIMS-0006102058         PILGRIMS-0006104338         143
 Emails/Attachments   PILGRIMS-0006104874         PILGRIMS-0006104875           1
 Emails/Attachments   PILGRIMS-0006105185         PILGRIMS-0006105516          20
 Emails/Attachments   PILGRIMS-0006105549         PILGRIMS-0006106103         225
 Emails/Attachments   PILGRIMS-0006106137         PILGRIMS-0006106141           5
 Emails/Attachments   PILGRIMS-0006106227         PILGRIMS-0006106325          65
 Emails/Attachments   PILGRIMS-0006106828         PILGRIMS-0006110916        1,387
 Emails/Attachments   PILGRIMS-0006110918         PILGRIMS-0006113043         567
 Emails/Attachments   PILGRIMS-0006113045         PILGRIMS-0006113638         254
 Emails/Attachments   PILGRIMS-0006113645         PILGRIMS-0006113697           6
 Emails/Attachments   PILGRIMS-0006113699         PILGRIMS-0006113870          84


                                    Page 143 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 167 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006113879         PILGRIMS-0006113890           9
 Emails/Attachments   PILGRIMS-0006113906         PILGRIMS-0006114108          86
 Emails/Attachments   PILGRIMS-0006114111         PILGRIMS-0006114232          55
 Emails/Attachments   PILGRIMS-0006114234         PILGRIMS-0006114696         181
 Emails/Attachments   PILGRIMS-0006114726         PILGRIMS-0006115897         146
 Emails/Attachments   PILGRIMS-0006115899         PILGRIMS-0006116167          46
 Emails/Attachments   PILGRIMS-0006116171         PILGRIMS-0006116379          90
 Emails/Attachments   PILGRIMS-0006116381         PILGRIMS-0006116449          33
 Emails/Attachments   PILGRIMS-0006116454         PILGRIMS-0006116517          23
 Emails/Attachments   PILGRIMS-0006116544         PILGRIMS-0006116660          41
 Emails/Attachments   PILGRIMS-0006116662         PILGRIMS-0006116669           8
 Emails/Attachments   PILGRIMS-0006116714         PILGRIMS-0006116717           4
 Emails/Attachments   PILGRIMS-0006116719         PILGRIMS-0006116787          16
 Emails/Attachments   PILGRIMS-0006116791         PILGRIMS-0006116845          30
 Emails/Attachments   PILGRIMS-0006116851         PILGRIMS-0006116857           2
 Emails/Attachments   PILGRIMS-0006116860         PILGRIMS-0006116869           6
 Emails/Attachments   PILGRIMS-0006116874         PILGRIMS-0006116879           4
 Emails/Attachments   PILGRIMS-0006116882         PILGRIMS-0006116896           5
 Emails/Attachments   PILGRIMS-0006116900         PILGRIMS-0006116907           4
 Emails/Attachments   PILGRIMS-0006116910         PILGRIMS-0006116919           3
 Emails/Attachments   PILGRIMS-0006116922         PILGRIMS-0006130966        2,934
 Emails/Attachments   PILGRIMS-0006130968         PILGRIMS-0006131196         131
 Emails/Attachments   PILGRIMS-0006131199         PILGRIMS-0006131219          13
 Emails/Attachments   PILGRIMS-0006131223         PILGRIMS-0006131261          21
 Emails/Attachments   PILGRIMS-0006131270         PILGRIMS-0006131365          64
 Emails/Attachments   PILGRIMS-0006131368         PILGRIMS-0006131431          34
 Emails/Attachments   PILGRIMS-0006131440         PILGRIMS-0006131451           7
 Emails/Attachments   PILGRIMS-0006131453         PILGRIMS-0006131485          20
 Emails/Attachments   PILGRIMS-0006131505         PILGRIMS-0006131619          61
 Emails/Attachments   PILGRIMS-0006131622         PILGRIMS-0006131690          42
 Emails/Attachments   PILGRIMS-0006131782         PILGRIMS-0006131913          72
 Emails/Attachments   PILGRIMS-0006131915         PILGRIMS-0006132028          45
 Emails/Attachments   PILGRIMS-0006132030         PILGRIMS-0006132251         104
 Emails/Attachments   PILGRIMS-0006132253         PILGRIMS-0006132285          13
 Emails/Attachments   PILGRIMS-0006132287         PILGRIMS-0006132356          36
 Emails/Attachments   PILGRIMS-0006132358         PILGRIMS-0006132626         133
 Emails/Attachments   PILGRIMS-0006132628         PILGRIMS-0006132662          20
 Emails/Attachments   PILGRIMS-0006132664         PILGRIMS-0006132692          17
 Emails/Attachments   PILGRIMS-0006132694         PILGRIMS-0006133084         195
 Emails/Attachments   PILGRIMS-0006133086         PILGRIMS-0006133175          40
 Emails/Attachments   PILGRIMS-0006133177         PILGRIMS-0006133362          96
 Emails/Attachments   PILGRIMS-0006133364         PILGRIMS-0006133397          19
 Emails/Attachments   PILGRIMS-0006133399         PILGRIMS-0006133425          15
 Emails/Attachments   PILGRIMS-0006133427         PILGRIMS-0006133657         126
 Emails/Attachments   PILGRIMS-0006133659         PILGRIMS-0006133665           6
 Emails/Attachments   PILGRIMS-0006133667         PILGRIMS-0006133703          16


                                    Page 144 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 168 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006133705         PILGRIMS-0006133732          16
 Emails/Attachments   PILGRIMS-0006133734         PILGRIMS-0006133768          24
 Emails/Attachments   PILGRIMS-0006133770         PILGRIMS-0006133813          24
 Emails/Attachments   PILGRIMS-0006133815         PILGRIMS-0006135304         453
 Emails/Attachments   PILGRIMS-0006136309         PILGRIMS-0006136358          26
 Emails/Attachments   PILGRIMS-0006136445         PILGRIMS-0006149198        2,981
 Emails/Attachments   PILGRIMS-0006149200         PILGRIMS-0006151222         534
 Emails/Attachments   PILGRIMS-0006151573         PILGRIMS-0006164764        2,270
 Emails/Attachments   PILGRIMS-0006165200         PILGRIMS-0006169055         397
 Emails/Attachments   PILGRIMS-0006169718         PILGRIMS-0006169856          76
 Emails/Attachments   PILGRIMS-0006170204         PILGRIMS-0006170441          73
 Emails/Attachments   PILGRIMS-0006170477         PILGRIMS-0006188178        2,910
 Emails/Attachments   PILGRIMS-0006188805         PILGRIMS-0006188810           5
 Emails/Attachments   PILGRIMS-0006189212         PILGRIMS-0006192725          31
 Emails/Attachments   PILGRIMS-0006193369         PILGRIMS-0006193772           4
 Emails/Attachments   PILGRIMS-0006193804         PILGRIMS-0006200049          47
 Emails/Attachments   PILGRIMS-0006200502         PILGRIMS-0006206593          94
 Emails/Attachments   PILGRIMS-0006206731         PILGRIMS-0006214222         134
 Emails/Attachments   PILGRIMS-0006216529         PILGRIMS-0006226859          73
 Emails/Attachments   PILGRIMS-0006226877         PILGRIMS-0006231909         114
 Emails/Attachments   PILGRIMS-0006232017         PILGRIMS-0006232019           3
 Emails/Attachments   PILGRIMS-0006232330         PILGRIMS-0006233772          26
 Emails/Attachments   PILGRIMS-0006233920         PILGRIMS-0006235196          10
 Emails/Attachments   PILGRIMS-0006235233         PILGRIMS-0006235301           4
 Emails/Attachments   PILGRIMS-0006235344         PILGRIMS-0006235803           6
 Emails/Attachments   PILGRIMS-0006236818         PILGRIMS-0006238341          31
 Emails/Attachments   PILGRIMS-0006238345         PILGRIMS-0006241091          10
 Emails/Attachments   PILGRIMS-0006241401         PILGRIMS-0006241718           7
 Emails/Attachments   PILGRIMS-0006241720         PILGRIMS-0006259788         211
 Emails/Attachments   PILGRIMS-0006260422         PILGRIMS-0006264548          42
 Emails/Attachments   PILGRIMS-0006264686         PILGRIMS-0006268582          23
 Emails/Attachments   PILGRIMS-0006268720         PILGRIMS-0006278610         122
 Emails/Attachments   PILGRIMS-0006279635         PILGRIMS-0006303659         125
 Emails/Attachments   PILGRIMS-0006303684         PILGRIMS-0006303725          20
 Emails/Attachments   PILGRIMS-0006310380         PILGRIMS-0006312194           2
 Emails/Attachments   PILGRIMS-0006314009         PILGRIMS-0006314012           4
 Emails/Attachments   PILGRIMS-0006316314         PILGRIMS-0006316479           2
 Emails/Attachments   PILGRIMS-0006319273         PILGRIMS-0006319753           2
 Emails/Attachments   PILGRIMS-0006321348         PILGRIMS-0006323447          11
 Emails/Attachments   PILGRIMS-0006324507         PILGRIMS-0006334632          73
 Emails/Attachments   PILGRIMS-0006335448         PILGRIMS-0006336293           8
 Emails/Attachments   PILGRIMS-0006343511         PILGRIMS-0006350637          30
 Emails/Attachments   PILGRIMS-0006352099         PILGRIMS-0006352648           5
 Emails/Attachments   PILGRIMS-0006353699         PILGRIMS-0006372699          50
 Emails/Attachments   PILGRIMS-0006373226         PILGRIMS-0006380948          82
 Emails/Attachments   PILGRIMS-0006381775         PILGRIMS-0006381860           4


                                    Page 145 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 169 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006382585         PILGRIMS-0006413452         238
 Emails/Attachments   PILGRIMS-0006414206         PILGRIMS-0006415974         10
 Emails/Attachments   PILGRIMS-0006415976         PILGRIMS-0006418808         40
 Emails/Attachments   PILGRIMS-0006419342         PILGRIMS-0006423268         25
 Emails/Attachments   PILGRIMS-0006423773         PILGRIMS-0006423807         17
 Emails/Attachments   PILGRIMS-0006423809         PILGRIMS-0006423835          6
 Emails/Attachments   PILGRIMS-0006423837         PILGRIMS-0006424129         61
 Emails/Attachments   PILGRIMS-0006424132         PILGRIMS-0006424170         17
 Emails/Attachments   PILGRIMS-0006424172         PILGRIMS-0006424177          2
 Emails/Attachments   PILGRIMS-0006424179         PILGRIMS-0006426275         30
 Emails/Attachments   PILGRIMS-0006427780         PILGRIMS-0006427838         17
 Emails/Attachments   PILGRIMS-0006427931         PILGRIMS-0006427996         32
 Emails/Attachments   PILGRIMS-0006428507         PILGRIMS-0006431293         149
 Emails/Attachments   PILGRIMS-0006434269         PILGRIMS-0006446852         223
 Emails/Attachments   PILGRIMS-0006447308         PILGRIMS-0006447806          2
 Emails/Attachments   PILGRIMS-0006448305         PILGRIMS-0006478342         315
 Emails/Attachments   PILGRIMS-0006478344         PILGRIMS-0006478919         12
 Emails/Attachments   PILGRIMS-0006479351         PILGRIMS-0006486288         75
 Emails/Attachments   PILGRIMS-0006486290         PILGRIMS-0006486291          2
 Emails/Attachments   PILGRIMS-0006486293         PILGRIMS-0006491059         27
 Emails/Attachments   PILGRIMS-0006491062         PILGRIMS-0006492662         20
 Emails/Attachments   PILGRIMS-0006492754         PILGRIMS-0006498318         82
 Emails/Attachments   PILGRIMS-0006498733         PILGRIMS-0006499290          4
 Emails/Attachments   PILGRIMS-0006500447         PILGRIMS-0006503415         30
 Emails/Attachments   PILGRIMS-0006503504         PILGRIMS-0006505489         10
 Emails/Attachments   PILGRIMS-0006505501         PILGRIMS-0006507957         27
 Emails/Attachments   PILGRIMS-0006508093         PILGRIMS-0006509851         22
 Emails/Attachments   PILGRIMS-0006511817         PILGRIMS-0006513909         32
 Emails/Attachments   PILGRIMS-0006514001         PILGRIMS-0006515603         16
 Emails/Attachments   PILGRIMS-0006515605         PILGRIMS-0006517660         30
 Emails/Attachments   PILGRIMS-0006517662         PILGRIMS-0006518186         21
 Emails/Attachments   PILGRIMS-0006518257         PILGRIMS-0006521916         15
 Emails/Attachments   PILGRIMS-0006521918         PILGRIMS-0006522283          9
 Emails/Attachments   PILGRIMS-0006522286         PILGRIMS-0006522303         13
 Emails/Attachments   PILGRIMS-0006522802         PILGRIMS-0006526067         35
 Emails/Attachments   PILGRIMS-0006526160         PILGRIMS-0006530528         66
 Emails/Attachments   PILGRIMS-0006530599         PILGRIMS-0006539624         91
 Emails/Attachments   PILGRIMS-0006539695         PILGRIMS-0006542280         17
 Emails/Attachments   PILGRIMS-0006542632         PILGRIMS-0006543147          2
 Emails/Attachments   PILGRIMS-0006544304         PILGRIMS-0006544315          4
 Emails/Attachments   PILGRIMS-0006544317         PILGRIMS-0006552962         65
 Emails/Attachments   PILGRIMS-0006553061         PILGRIMS-0006560253         32
 Emails/Attachments   PILGRIMS-0006560319         PILGRIMS-0006576834         118
 Emails/Attachments   PILGRIMS-0006576905         PILGRIMS-0006579748         71
 Emails/Attachments   PILGRIMS-0006580047         PILGRIMS-0006583379         56
 Emails/Attachments   PILGRIMS-0006583381         PILGRIMS-0006587512         58


                                    Page 146 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 170 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006587657         PILGRIMS-0006591741         84
 Emails/Attachments   PILGRIMS-0006591743         PILGRIMS-0006597566         59
 Emails/Attachments   PILGRIMS-0006597568         PILGRIMS-0006598494         20
 Emails/Attachments   PILGRIMS-0006598496         PILGRIMS-0006603738         65
 Emails/Attachments   PILGRIMS-0006604403         PILGRIMS-0006613297         80
 Emails/Attachments   PILGRIMS-0006613463         PILGRIMS-0006613483          7
 Emails/Attachments   PILGRIMS-0006613492         PILGRIMS-0006625410         124
 Emails/Attachments   PILGRIMS-0006625555         PILGRIMS-0006644199         122
 Emails/Attachments   PILGRIMS-0006644332         PILGRIMS-0006647203         27
 Emails/Attachments   PILGRIMS-0006647205         PILGRIMS-0006652137         17
 Emails/Attachments   PILGRIMS-0006652139         PILGRIMS-0006653138          5
 Emails/Attachments   PILGRIMS-0006653184         PILGRIMS-0006659940         123
 Emails/Attachments   PILGRIMS-0006660411         PILGRIMS-0006666925         48
 Emails/Attachments   PILGRIMS-0006666958         PILGRIMS-0006670257         32
 Emails/Attachments   PILGRIMS-0006671888         PILGRIMS-0006677568         31
 Emails/Attachments   PILGRIMS-0006677570         PILGRIMS-0006677578          4
 Emails/Attachments   PILGRIMS-0006677921         PILGRIMS-0006686950         83
 Emails/Attachments   PILGRIMS-0006687159         PILGRIMS-0006696931         141
 Emails/Attachments   PILGRIMS-0006696934         PILGRIMS-0006697268         11
 Emails/Attachments   PILGRIMS-0006698275         PILGRIMS-0006699444         15
 Emails/Attachments   PILGRIMS-0006699493         PILGRIMS-0006701796         36
 Emails/Attachments   PILGRIMS-0006701798         PILGRIMS-0006701800          3
 Emails/Attachments   PILGRIMS-0006701815         PILGRIMS-0006701887         11
 Emails/Attachments   PILGRIMS-0006701890         PILGRIMS-0006701895          4
 Emails/Attachments   PILGRIMS-0006702055         PILGRIMS-0006709436         73
 Emails/Attachments   PILGRIMS-0006709464         PILGRIMS-0006709466          1
 Emails/Attachments   PILGRIMS-0006709493         PILGRIMS-0006709504         12
 Emails/Attachments   PILGRIMS-0006709508         PILGRIMS-0006709509          2
 Emails/Attachments   PILGRIMS-0006709513         PILGRIMS-0006709515          2
 Emails/Attachments   PILGRIMS-0006709517         PILGRIMS-0006709523          6
 Emails/Attachments   PILGRIMS-0006709525         PILGRIMS-0006709529          5
 Emails/Attachments   PILGRIMS-0006709532         PILGRIMS-0006709533          2
 Emails/Attachments   PILGRIMS-0006709535         PILGRIMS-0006709536          2
 Emails/Attachments   PILGRIMS-0006709539         PILGRIMS-0006709544          6
 Emails/Attachments   PILGRIMS-0006709547         PILGRIMS-0006709548          2
 Emails/Attachments   PILGRIMS-0006709550         PILGRIMS-0006709551          2
 Emails/Attachments   PILGRIMS-0006709553         PILGRIMS-0006709562          6
 Emails/Attachments   PILGRIMS-0006709564         PILGRIMS-0006709577         12
 Emails/Attachments   PILGRIMS-0006709580         PILGRIMS-0006709587          8
 Emails/Attachments   PILGRIMS-0006709589         PILGRIMS-0006709633          5
 Emails/Attachments   PILGRIMS-0006709676         PILGRIMS-0006709681          5
 Emails/Attachments   PILGRIMS-0006709683         PILGRIMS-0006709684          2
 Emails/Attachments   PILGRIMS-0006709686         PILGRIMS-0006709687          2
 Emails/Attachments   PILGRIMS-0006709689         PILGRIMS-0006709698         10
 Emails/Attachments   PILGRIMS-0006709700         PILGRIMS-0006709707          8
 Emails/Attachments   PILGRIMS-0006709710         PILGRIMS-0006709712          3


                                    Page 147 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 171 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006709714         PILGRIMS-0006709715           2
 Emails/Attachments   PILGRIMS-0006709717         PILGRIMS-0006709721           3
 Emails/Attachments   PILGRIMS-0006709723         PILGRIMS-0006709725           3
 Emails/Attachments   PILGRIMS-0006709727         PILGRIMS-0006709740          11
 Emails/Attachments   PILGRIMS-0006709742         PILGRIMS-0006709743           2
 Emails/Attachments   PILGRIMS-0006709827         PILGRIMS-0006709856          11
 Emails/Attachments   PILGRIMS-0006709858         PILGRIMS-0006710647          60
 Emails/Attachments   PILGRIMS-0006710649         PILGRIMS-0006710665          13
 Emails/Attachments   PILGRIMS-0006710667         PILGRIMS-0006710675           8
 Emails/Attachments   PILGRIMS-0006710680         PILGRIMS-0006710698          11
 Emails/Attachments   PILGRIMS-0006710701         PILGRIMS-0006710721          17
 Emails/Attachments   PILGRIMS-0006710727         PILGRIMS-0006710734           6
 Emails/Attachments   PILGRIMS-0006710740         PILGRIMS-0006710741           1
 Emails/Attachments   PILGRIMS-0006710747         PILGRIMS-0006710751           3
 Emails/Attachments   PILGRIMS-0006710753         PILGRIMS-0006710789          17
 Emails/Attachments   PILGRIMS-0006710791         PILGRIMS-0006710799           6
 Emails/Attachments   PILGRIMS-0006710801         PILGRIMS-0006710802           1
 Emails/Attachments   PILGRIMS-0006710805         PILGRIMS-0006710813           2
 Emails/Attachments   PILGRIMS-0006710822         PILGRIMS-0006710823           1
 Emails/Attachments   PILGRIMS-0006710825         PILGRIMS-0006710862           7
 Emails/Attachments   PILGRIMS-0006710864         PILGRIMS-0006710926          31
 Emails/Attachments   PILGRIMS-0006710928         PILGRIMS-0006710940           5
 Emails/Attachments   PILGRIMS-0006710944         PILGRIMS-0006710963          11
 Emails/Attachments   PILGRIMS-0006710965         PILGRIMS-0006711007           7
 Emails/Attachments   PILGRIMS-0006711042         PILGRIMS-0006711050           6
 Emails/Attachments   PILGRIMS-0006711054         PILGRIMS-0006711101           2
 Emails/Attachments   PILGRIMS-0006711103         PILGRIMS-0006711106           3
 Emails/Attachments   PILGRIMS-0006711110         PILGRIMS-0006711325          53
 Emails/Attachments   PILGRIMS-0006711327         PILGRIMS-0006713923        1,080
 Emails/Attachments   PILGRIMS-0006720189         PILGRIMS-0006720194           6
 Emails/Attachments   PILGRIMS-0006720198         PILGRIMS-0006720199           2
 Emails/Attachments   PILGRIMS-0006720201         PILGRIMS-0006720206           6
 Emails/Attachments   PILGRIMS-0006720292         PILGRIMS-0006720336           6
 Emails/Attachments   PILGRIMS-0006720344         PILGRIMS-0006720348           5
 Emails/Attachments   PILGRIMS-0006720353         PILGRIMS-0006720415          33
 Emails/Attachments   PILGRIMS-0006720419         PILGRIMS-0006720483          65
 Emails/Attachments   PILGRIMS-0006720488         PILGRIMS-0006720496           6
 Emails/Attachments   PILGRIMS-0006720505         PILGRIMS-0006720513           3
 Emails/Attachments   PILGRIMS-0006720866         PILGRIMS-0006720890           2
 Emails/Attachments   PILGRIMS-0006720909         PILGRIMS-0006720912           4
 Emails/Attachments   PILGRIMS-0006720919         PILGRIMS-0006720930          12
 Emails/Attachments   PILGRIMS-0006720933         PILGRIMS-0006720947          12
 Emails/Attachments   PILGRIMS-0006720971         PILGRIMS-0006721018          15
 Emails/Attachments   PILGRIMS-0006721035         PILGRIMS-0006721036           2
 Emails/Attachments   PILGRIMS-0006721062         PILGRIMS-0006721082          12
 Emails/Attachments   PILGRIMS-0006721088         PILGRIMS-0006721100           9


                                    Page 148 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 172 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006721111         PILGRIMS-0006721122          6
 Emails/Attachments   PILGRIMS-0006721126         PILGRIMS-0006721131          6
 Emails/Attachments   PILGRIMS-0006721145         PILGRIMS-0006721181          2
 Emails/Attachments   PILGRIMS-0006721448         PILGRIMS-0006721456          6
 Emails/Attachments   PILGRIMS-0006721462         PILGRIMS-0006721467          6
 Emails/Attachments   PILGRIMS-0006721473         PILGRIMS-0006721478          6
 Emails/Attachments   PILGRIMS-0006721481         PILGRIMS-0006721486          6
 Emails/Attachments   PILGRIMS-0006721528         PILGRIMS-0006721545          3
 Emails/Attachments   PILGRIMS-0006721661         PILGRIMS-0006721690          6
 Emails/Attachments   PILGRIMS-0006721803         PILGRIMS-0006721808          3
 Emails/Attachments   PILGRIMS-0006721827         PILGRIMS-0006721828          2
 Emails/Attachments   PILGRIMS-0006721831         PILGRIMS-0006721832          2
 Emails/Attachments   PILGRIMS-0006721840         PILGRIMS-0006721844          4
 Emails/Attachments   PILGRIMS-0006721863         PILGRIMS-0006721874         12
 Emails/Attachments   PILGRIMS-0006721877         PILGRIMS-0006721935         11
 Emails/Attachments   PILGRIMS-0006721939         PILGRIMS-0006721944          6
 Emails/Attachments   PILGRIMS-0006721949         PILGRIMS-0006721951          3
 Emails/Attachments   PILGRIMS-0006721973         PILGRIMS-0006721974          2
 Emails/Attachments   PILGRIMS-0006721981         PILGRIMS-0006721986          6
 Emails/Attachments   PILGRIMS-0006721992         PILGRIMS-0006721993          2
 Emails/Attachments   PILGRIMS-0006722001         PILGRIMS-0006722024         24
 Emails/Attachments   PILGRIMS-0006722199         PILGRIMS-0006722238          2
 Emails/Attachments   PILGRIMS-0006722240         PILGRIMS-0006722286          4
 Emails/Attachments   PILGRIMS-0006722290         PILGRIMS-0006722291          2
 Emails/Attachments   PILGRIMS-0006722297         PILGRIMS-0006722301          2
 Emails/Attachments   PILGRIMS-0006722308         PILGRIMS-0006722318          3
 Emails/Attachments   PILGRIMS-0006722331         PILGRIMS-0006722335          2
 Emails/Attachments   PILGRIMS-0006722964         PILGRIMS-0006722968          2
 Emails/Attachments   PILGRIMS-0006722970         PILGRIMS-0006722974          2
 Emails/Attachments   PILGRIMS-0006722977         PILGRIMS-0006722978          2
 Emails/Attachments   PILGRIMS-0006723010         PILGRIMS-0006723027          4
 Emails/Attachments   PILGRIMS-0006723051         PILGRIMS-0006723054          3
 Emails/Attachments   PILGRIMS-0006723173         PILGRIMS-0006723179          2
 Emails/Attachments   PILGRIMS-0006723468         PILGRIMS-0006723477          8
 Emails/Attachments   PILGRIMS-0006723503         PILGRIMS-0006723507          2
 Emails/Attachments   PILGRIMS-0006724134         PILGRIMS-0006724149          6
 Emails/Attachments   PILGRIMS-0006724153         PILGRIMS-0006724154          2
 Emails/Attachments   PILGRIMS-0006724165         PILGRIMS-0006724165          1
 Emails/Attachments   PILGRIMS-0006724180         PILGRIMS-0006724196          4
 Emails/Attachments   PILGRIMS-0006724198         PILGRIMS-0006724212          2
 Emails/Attachments   PILGRIMS-0006724219         PILGRIMS-0006724235          2
 Emails/Attachments   PILGRIMS-0006724245         PILGRIMS-0006724246          2
 Emails/Attachments   PILGRIMS-0006724255         PILGRIMS-0006724269          6
 Emails/Attachments   PILGRIMS-0006724275         PILGRIMS-0006724279          2
 Emails/Attachments   PILGRIMS-0006724281         PILGRIMS-0006724282          2
 Emails/Attachments   PILGRIMS-0006724284         PILGRIMS-0006724299          2


                                    Page 149 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 173 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006724307         PILGRIMS-0006724322          4
 Emails/Attachments   PILGRIMS-0006724326         PILGRIMS-0006724327          1
 Emails/Attachments   PILGRIMS-0006724329         PILGRIMS-0006724330          2
 Emails/Attachments   PILGRIMS-0006724332         PILGRIMS-0006724333          1
 Emails/Attachments   PILGRIMS-0006724459         PILGRIMS-0006724460          2
 Emails/Attachments   PILGRIMS-0006724463         PILGRIMS-0006724464          2
 Emails/Attachments   PILGRIMS-0006724473         PILGRIMS-0006724474          2
 Emails/Attachments   PILGRIMS-0006724478         PILGRIMS-0006724494          7
 Emails/Attachments   PILGRIMS-0006724507         PILGRIMS-0006724508          2
 Emails/Attachments   PILGRIMS-0006724513         PILGRIMS-0006724531          3
 Emails/Attachments   PILGRIMS-0006724544         PILGRIMS-0006724545          2
 Emails/Attachments   PILGRIMS-0006724560         PILGRIMS-0006724562          1
 Emails/Attachments   PILGRIMS-0006724565         PILGRIMS-0006724565          1
 Emails/Attachments   PILGRIMS-0006724571         PILGRIMS-0006724572          2
 Emails/Attachments   PILGRIMS-0006724596         PILGRIMS-0006724600          4
 Emails/Attachments   PILGRIMS-0006724610         PILGRIMS-0006724635          6
 Emails/Attachments   PILGRIMS-0006724658         PILGRIMS-0006724659          2
 Emails/Attachments   PILGRIMS-0006724661         PILGRIMS-0006724664          4
 Emails/Attachments   PILGRIMS-0006724676         PILGRIMS-0006724676          1
 Emails/Attachments   PILGRIMS-0006724681         PILGRIMS-0006724703         12
 Emails/Attachments   PILGRIMS-0006724706         PILGRIMS-0006724707          2
 Emails/Attachments   PILGRIMS-0006724709         PILGRIMS-0006724710          1
 Emails/Attachments   PILGRIMS-0006724713         PILGRIMS-0006724745         20
 Emails/Attachments   PILGRIMS-0006724748         PILGRIMS-0006724750          2
 Emails/Attachments   PILGRIMS-0006724755         PILGRIMS-0006724757          2
 Emails/Attachments   PILGRIMS-0006724767         PILGRIMS-0006724769          2
 Emails/Attachments   PILGRIMS-0006724806         PILGRIMS-0006724819          4
 Emails/Attachments   PILGRIMS-0006724927         PILGRIMS-0006724936          2
 Emails/Attachments   PILGRIMS-0006724941         PILGRIMS-0006724943          2
 Emails/Attachments   PILGRIMS-0006724955         PILGRIMS-0006724957          2
 Emails/Attachments   PILGRIMS-0006724985         PILGRIMS-0006724992          2
 Emails/Attachments   PILGRIMS-0006725099         PILGRIMS-0006725099          1
 Emails/Attachments   PILGRIMS-0006725101         PILGRIMS-0006725109          1
 Emails/Attachments   PILGRIMS-0006725681         PILGRIMS-0006725689          5
 Emails/Attachments   PILGRIMS-0006725873         PILGRIMS-0006725878          5
 Emails/Attachments   PILGRIMS-0006725880         PILGRIMS-0006725893          9
 Emails/Attachments   PILGRIMS-0006725920         PILGRIMS-0006725922          1
 Emails/Attachments   PILGRIMS-0006725924         PILGRIMS-0006725925          2
 Emails/Attachments   PILGRIMS-0006725933         PILGRIMS-0006725937          4
 Emails/Attachments   PILGRIMS-0006725949         PILGRIMS-0006725950          2
 Emails/Attachments   PILGRIMS-0006725958         PILGRIMS-0006725960          1
 Emails/Attachments   PILGRIMS-0006725971         PILGRIMS-0006725972          2
 Emails/Attachments   PILGRIMS-0006725982         PILGRIMS-0006725984          1
 Emails/Attachments   PILGRIMS-0006725995         PILGRIMS-0006726006          4
 Emails/Attachments   PILGRIMS-0006726014         PILGRIMS-0006726014          1
 Emails/Attachments   PILGRIMS-0006726017         PILGRIMS-0006726018          1


                                    Page 150 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 174 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006726036         PILGRIMS-0006726037          1
 Emails/Attachments   PILGRIMS-0006726042         PILGRIMS-0006726043          2
 Emails/Attachments   PILGRIMS-0006726050         PILGRIMS-0006726052          1
 Emails/Attachments   PILGRIMS-0006726059         PILGRIMS-0006726066          3
 Emails/Attachments   PILGRIMS-0006726070         PILGRIMS-0006726073          4
 Emails/Attachments   PILGRIMS-0006726075         PILGRIMS-0006726076          2
 Emails/Attachments   PILGRIMS-0006726083         PILGRIMS-0006726088          6
 Emails/Attachments   PILGRIMS-0006726129         PILGRIMS-0006726130          2
 Emails/Attachments   PILGRIMS-0006726199         PILGRIMS-0006726216         18
 Emails/Attachments   PILGRIMS-0006726251         PILGRIMS-0006726252          2
 Emails/Attachments   PILGRIMS-0006726255         PILGRIMS-0006726256          2
 Emails/Attachments   PILGRIMS-0006726261         PILGRIMS-0006726265          2
 Emails/Attachments   PILGRIMS-0006726273         PILGRIMS-0006726278          6
 Emails/Attachments   PILGRIMS-0006726296         PILGRIMS-0006726306          3
 Emails/Attachments   PILGRIMS-0006726393         PILGRIMS-0006726396          4
 Emails/Attachments   PILGRIMS-0006726406         PILGRIMS-0006726407          2
 Emails/Attachments   PILGRIMS-0006726411         PILGRIMS-0006726414          4
 Emails/Attachments   PILGRIMS-0006726416         PILGRIMS-0006726419          4
 Emails/Attachments   PILGRIMS-0006726434         PILGRIMS-0006726437          4
 Emails/Attachments   PILGRIMS-0006726439         PILGRIMS-0006726440          2
 Emails/Attachments   PILGRIMS-0006726445         PILGRIMS-0006726446          2
 Emails/Attachments   PILGRIMS-0006726490         PILGRIMS-0006726497          8
 Emails/Attachments   PILGRIMS-0006726676         PILGRIMS-0006727851          3
 Emails/Attachments   PILGRIMS-0006728042         PILGRIMS-0006728046          2
 Emails/Attachments   PILGRIMS-0006728060         PILGRIMS-0006728065          2
 Emails/Attachments   PILGRIMS-0006728085         PILGRIMS-0006728089          5
 Emails/Attachments   PILGRIMS-0006728222         PILGRIMS-0006728223          2
 Emails/Attachments   PILGRIMS-0006728273         PILGRIMS-0006728274          2
 Emails/Attachments   PILGRIMS-0006728297         PILGRIMS-0006728298          2
 Emails/Attachments   PILGRIMS-0006728340         PILGRIMS-0006728341          2
 Emails/Attachments   PILGRIMS-0006728362         PILGRIMS-0006728450         12
 Emails/Attachments   PILGRIMS-0006728453         PILGRIMS-0006728456          4
 Emails/Attachments   PILGRIMS-0006728458         PILGRIMS-0006728458          1
 Emails/Attachments   PILGRIMS-0006728478         PILGRIMS-0006728481          4
 Emails/Attachments   PILGRIMS-0006728518         PILGRIMS-0006728524          4
 Emails/Attachments   PILGRIMS-0006728564         PILGRIMS-0006728565          2
 Emails/Attachments   PILGRIMS-0006728568         PILGRIMS-0006728569          1
 Emails/Attachments   PILGRIMS-0006728910         PILGRIMS-0006728911          2
 Emails/Attachments   PILGRIMS-0006728970         PILGRIMS-0006728972          3
 Emails/Attachments   PILGRIMS-0006728974         PILGRIMS-0006728994          3
 Emails/Attachments   PILGRIMS-0006729015         PILGRIMS-0006729017          2
 Emails/Attachments   PILGRIMS-0006729019         PILGRIMS-0006729021          2
 Emails/Attachments   PILGRIMS-0006729023         PILGRIMS-0006729025          2
 Emails/Attachments   PILGRIMS-0006729125         PILGRIMS-0006729127          2
 Emails/Attachments   PILGRIMS-0006729287         PILGRIMS-0006729290          1
 Emails/Attachments   PILGRIMS-0006729332         PILGRIMS-0006729337          6


                                    Page 151 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 175 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006729340         PILGRIMS-0006730409          3
 Emails/Attachments   PILGRIMS-0006730436         PILGRIMS-0006730437          2
 Emails/Attachments   PILGRIMS-0006730462         PILGRIMS-0006730463          2
 Emails/Attachments   PILGRIMS-0006730466         PILGRIMS-0006730470          4
 Emails/Attachments   PILGRIMS-0006730494         PILGRIMS-0006730495          2
 Emails/Attachments   PILGRIMS-0006730553         PILGRIMS-0006730554          1
 Emails/Attachments   PILGRIMS-0006731108         PILGRIMS-0006731112          5
 Emails/Attachments   PILGRIMS-0006731138         PILGRIMS-0006731139          2
 Emails/Attachments   PILGRIMS-0006731175         PILGRIMS-0006731176          2
 Emails/Attachments   PILGRIMS-0006731239         PILGRIMS-0006731240          2
 Emails/Attachments   PILGRIMS-0006731283         PILGRIMS-0006731284          2
 Emails/Attachments   PILGRIMS-0006731286         PILGRIMS-0006731287          2
 Emails/Attachments   PILGRIMS-0006731383         PILGRIMS-0006731392          1
 Emails/Attachments   PILGRIMS-0006731739         PILGRIMS-0006731742          2
 Emails/Attachments   PILGRIMS-0006731775         PILGRIMS-0006731778          1
 Emails/Attachments   PILGRIMS-0006731782         PILGRIMS-0006731784          3
 Emails/Attachments   PILGRIMS-0006731789         PILGRIMS-0006731790          1
 Emails/Attachments   PILGRIMS-0006731799         PILGRIMS-0006731801          2
 Emails/Attachments   PILGRIMS-0006731820         PILGRIMS-0006731825          3
 Emails/Attachments   PILGRIMS-0006731830         PILGRIMS-0006731836          4
 Emails/Attachments   PILGRIMS-0006731838         PILGRIMS-0006731841          1
 Emails/Attachments   PILGRIMS-0006731864         PILGRIMS-0006731865          2
 Emails/Attachments   PILGRIMS-0006731875         PILGRIMS-0006731876          2
 Emails/Attachments   PILGRIMS-0006731885         PILGRIMS-0006731886          2
 Emails/Attachments   PILGRIMS-0006731891         PILGRIMS-0006731892          2
 Emails/Attachments   PILGRIMS-0006731903         PILGRIMS-0006731905          3
 Emails/Attachments   PILGRIMS-0006731913         PILGRIMS-0006731914          2
 Emails/Attachments   PILGRIMS-0006731927         PILGRIMS-0006731939          4
 Emails/Attachments   PILGRIMS-0006731941         PILGRIMS-0006731951          4
 Emails/Attachments   PILGRIMS-0006732050         PILGRIMS-0006732051          2
 Emails/Attachments   PILGRIMS-0006732057         PILGRIMS-0006732061          4
 Emails/Attachments   PILGRIMS-0006732097         PILGRIMS-0006732098          2
 Emails/Attachments   PILGRIMS-0006732136         PILGRIMS-0006732137          2
 Emails/Attachments   PILGRIMS-0006732145         PILGRIMS-0006732151          4
 Emails/Attachments   PILGRIMS-0006732183         PILGRIMS-0006732185          2
 Emails/Attachments   PILGRIMS-0006732270         PILGRIMS-0006732271          1
 Emails/Attachments   PILGRIMS-0006732331         PILGRIMS-0006732332          2
 Emails/Attachments   PILGRIMS-0006732347         PILGRIMS-0006732361          2
 Emails/Attachments   PILGRIMS-0006732369         PILGRIMS-0006732370          2
 Emails/Attachments   PILGRIMS-0006732372         PILGRIMS-0006732372          1
 Emails/Attachments   PILGRIMS-0006732401         PILGRIMS-0006732402          2
 Emails/Attachments   PILGRIMS-0006732405         PILGRIMS-0006732412          5
 Emails/Attachments   PILGRIMS-0006732417         PILGRIMS-0006732421          2
 Emails/Attachments   PILGRIMS-0006732443         PILGRIMS-0006732444          1
 Emails/Attachments   PILGRIMS-0006732447         PILGRIMS-0006732456          8
 Emails/Attachments   PILGRIMS-0006732494         PILGRIMS-0006732498          1


                                    Page 152 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 176 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006732517         PILGRIMS-0006732522          4
 Emails/Attachments   PILGRIMS-0006732535         PILGRIMS-0006732537          3
 Emails/Attachments   PILGRIMS-0006732541         PILGRIMS-0006732550          4
 Emails/Attachments   PILGRIMS-0006732564         PILGRIMS-0006732565          2
 Emails/Attachments   PILGRIMS-0006732615         PILGRIMS-0006732616          2
 Emails/Attachments   PILGRIMS-0006732622         PILGRIMS-0006732623          2
 Emails/Attachments   PILGRIMS-0006732625         PILGRIMS-0006732626          2
 Emails/Attachments   PILGRIMS-0006732629         PILGRIMS-0006732630          2
 Emails/Attachments   PILGRIMS-0006732656         PILGRIMS-0006732663          5
 Emails/Attachments   PILGRIMS-0006732678         PILGRIMS-0006732680          3
 Emails/Attachments   PILGRIMS-0006732706         PILGRIMS-0006732710          1
 Emails/Attachments   PILGRIMS-0006732715         PILGRIMS-0006732717          2
 Emails/Attachments   PILGRIMS-0006732747         PILGRIMS-0006732748          2
 Emails/Attachments   PILGRIMS-0006732773         PILGRIMS-0006732785          5
 Emails/Attachments   PILGRIMS-0006732897         PILGRIMS-0006732904          7
 Emails/Attachments   PILGRIMS-0006732908         PILGRIMS-0006732911          2
 Emails/Attachments   PILGRIMS-0006732916         PILGRIMS-0006732917          2
 Emails/Attachments   PILGRIMS-0006732926         PILGRIMS-0006732929          3
 Emails/Attachments   PILGRIMS-0006732931         PILGRIMS-0006732936          3
 Emails/Attachments   PILGRIMS-0006732941         PILGRIMS-0006732942          2
 Emails/Attachments   PILGRIMS-0006732948         PILGRIMS-0006732949          1
 Emails/Attachments   PILGRIMS-0006732952         PILGRIMS-0006732954          1
 Emails/Attachments   PILGRIMS-0006732956         PILGRIMS-0006732960          1
 Emails/Attachments   PILGRIMS-0006732967         PILGRIMS-0006732990          5
 Emails/Attachments   PILGRIMS-0006733000         PILGRIMS-0006733000          1
 Emails/Attachments   PILGRIMS-0006733002         PILGRIMS-0006733006          3
 Emails/Attachments   PILGRIMS-0006733008         PILGRIMS-0006733015          5
 Emails/Attachments   PILGRIMS-0006733017         PILGRIMS-0006733018          2
 Emails/Attachments   PILGRIMS-0006733035         PILGRIMS-0006733036          1
 Emails/Attachments   PILGRIMS-0006733042         PILGRIMS-0006733043          2
 Emails/Attachments   PILGRIMS-0006733098         PILGRIMS-0006733104          7
 Emails/Attachments   PILGRIMS-0006733109         PILGRIMS-0006733111          3
 Emails/Attachments   PILGRIMS-0006733115         PILGRIMS-0006733119          4
 Emails/Attachments   PILGRIMS-0006733302         PILGRIMS-0006733303          2
 Emails/Attachments   PILGRIMS-0006733309         PILGRIMS-0006733310          1
 Emails/Attachments   PILGRIMS-0006733318         PILGRIMS-0006733321          4
 Emails/Attachments   PILGRIMS-0006733324         PILGRIMS-0006733324          1
 Emails/Attachments   PILGRIMS-0006733357         PILGRIMS-0006733365          6
 Emails/Attachments   PILGRIMS-0006733385         PILGRIMS-0006733390          3
 Emails/Attachments   PILGRIMS-0006733409         PILGRIMS-0006733418         10
 Emails/Attachments   PILGRIMS-0006733420         PILGRIMS-0006733421          2
 Emails/Attachments   PILGRIMS-0006733424         PILGRIMS-0006733432          2
 Emails/Attachments   PILGRIMS-0006733456         PILGRIMS-0006733462          5
 Emails/Attachments   PILGRIMS-0006733468         PILGRIMS-0006733474          6
 Emails/Attachments   PILGRIMS-0006733484         PILGRIMS-0006733486          2
 Emails/Attachments   PILGRIMS-0006733489         PILGRIMS-0006733493          3


                                    Page 153 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 177 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006733499         PILGRIMS-0006733504           6
 Emails/Attachments   PILGRIMS-0006733506         PILGRIMS-0006733513           8
 Emails/Attachments   PILGRIMS-0006733517         PILGRIMS-0006733521           5
 Emails/Attachments   PILGRIMS-0006733523         PILGRIMS-0006733524           2
 Emails/Attachments   PILGRIMS-0006733584         PILGRIMS-0006733592           6
 Emails/Attachments   PILGRIMS-0006733594         PILGRIMS-0006733596           2
 Emails/Attachments   PILGRIMS-0006733603         PILGRIMS-0006733604           2
 Emails/Attachments   PILGRIMS-0006733613         PILGRIMS-0006737826        2,015
 Emails/Attachments   PILGRIMS-0006737828         PILGRIMS-0006737916          47
 Emails/Attachments   PILGRIMS-0006737919         PILGRIMS-0006737991          19
 Emails/Attachments   PILGRIMS-0006737993         PILGRIMS-0006738299         169
 Emails/Attachments   PILGRIMS-0006738301         PILGRIMS-0006738313           7
 Emails/Attachments   PILGRIMS-0006738316         PILGRIMS-0006738395          17
 Emails/Attachments   PILGRIMS-0006738398         PILGRIMS-0006738512          54
 Emails/Attachments   PILGRIMS-0006738518         PILGRIMS-0006738645          67
 Emails/Attachments   PILGRIMS-0006738648         PILGRIMS-0006738715          27
 Emails/Attachments   PILGRIMS-0006738718         PILGRIMS-0006740203         690
 Emails/Attachments   PILGRIMS-0006740225         PILGRIMS-0006742267         759
 Emails/Attachments   PILGRIMS-0006742269         PILGRIMS-0006742642         120
 Emails/Attachments   PILGRIMS-0006742644         PILGRIMS-0006742677          10
 Emails/Attachments   PILGRIMS-0006742681         PILGRIMS-0006742916          71
 Emails/Attachments   PILGRIMS-0006742918         PILGRIMS-0006742988          33
 Emails/Attachments   PILGRIMS-0006742993         PILGRIMS-0006743203          62
 Emails/Attachments   PILGRIMS-0006743205         PILGRIMS-0006743627         101
 Emails/Attachments   PILGRIMS-0006743631         PILGRIMS-0006743632           1
 Emails/Attachments   PILGRIMS-0006743634         PILGRIMS-0006743665           6
 Emails/Attachments   PILGRIMS-0006743667         PILGRIMS-0006743892          63
 Emails/Attachments   PILGRIMS-0006743894         PILGRIMS-0006743897           4
 Emails/Attachments   PILGRIMS-0006743901         PILGRIMS-0006744021          28
 Emails/Attachments   PILGRIMS-0006744023         PILGRIMS-0006744041          15
 Emails/Attachments   PILGRIMS-0006744043         PILGRIMS-0006760003        1,478
 Emails/Attachments   PILGRIMS-0006761215         PILGRIMS-0006761435          95
 Emails/Attachments   PILGRIMS-0006761980         PILGRIMS-0006762558          19
 Emails/Attachments   PILGRIMS-0006765015         PILGRIMS-0006766392          64
 Emails/Attachments   PILGRIMS-0006766912         PILGRIMS-0006768440          72
 Emails/Attachments   PILGRIMS-0006769400         PILGRIMS-0006770359           4
 Emails/Attachments   PILGRIMS-0006772531         PILGRIMS-0006774952          79
 Emails/Attachments   PILGRIMS-0006775941         PILGRIMS-0006776983          31
 Emails/Attachments   PILGRIMS-0006776988         PILGRIMS-0006779259         121
 Emails/Attachments   PILGRIMS-0006780801         PILGRIMS-0006782342          19
 Emails/Attachments   PILGRIMS-0006783333         PILGRIMS-0006784658          97
 Emails/Attachments   PILGRIMS-0006784661         PILGRIMS-0006784828          93
 Emails/Attachments   PILGRIMS-0006784831         PILGRIMS-0006784852          14
 Emails/Attachments   PILGRIMS-0006784855         PILGRIMS-0006784981          69
 Emails/Attachments   PILGRIMS-0006786230         PILGRIMS-0006789891         952
 Emails/Attachments   PILGRIMS-0006789893         PILGRIMS-0006790304         165


                                    Page 154 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 178 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006790336         PILGRIMS-0006795753        1,810
 Emails/Attachments   PILGRIMS-0006795758         PILGRIMS-0006795834          22
 Emails/Attachments   PILGRIMS-0006795845         PILGRIMS-0006795992          55
 Emails/Attachments   PILGRIMS-0006796003         PILGRIMS-0006796014           4
 Emails/Attachments   PILGRIMS-0006796017         PILGRIMS-0006796066          17
 Emails/Attachments   PILGRIMS-0006797716         PILGRIMS-0006797939         110
 Emails/Attachments   PILGRIMS-0006799575         PILGRIMS-0006799842         106
 Emails/Attachments   PILGRIMS-0006801149         PILGRIMS-0006801210          21
 Emails/Attachments   PILGRIMS-0006801213         PILGRIMS-0006801214           1
 Emails/Attachments   PILGRIMS-0006801217         PILGRIMS-0006801235          11
 Emails/Attachments   PILGRIMS-0006801237         PILGRIMS-0006802564          38
 Emails/Attachments   PILGRIMS-0006802566         PILGRIMS-0006808977         318
 Emails/Attachments   PILGRIMS-0006808980         PILGRIMS-0006812521         399
 Emails/Attachments   PILGRIMS-0006812523         PILGRIMS-0006813764         125
 Emails/Attachments   PILGRIMS-0006813766         PILGRIMS-0006814567         214
 Emails/Attachments   PILGRIMS-0006814598         PILGRIMS-0006814674          36
 Emails/Attachments   PILGRIMS-0006814677         PILGRIMS-0006814733          26
 Emails/Attachments   PILGRIMS-0006814735         PILGRIMS-0006815475         478
 Emails/Attachments   PILGRIMS-0006815477         PILGRIMS-0006815980         322
 Emails/Attachments   PILGRIMS-0006815982         PILGRIMS-0006816060          65
 Emails/Attachments   PILGRIMS-0006816062         PILGRIMS-0006816079          15
 Emails/Attachments   PILGRIMS-0006816081         PILGRIMS-0006816600         287
 Emails/Attachments   PILGRIMS-0006816603         PILGRIMS-0006816617          10
 Emails/Attachments   PILGRIMS-0006816620         PILGRIMS-0006816623           4
 Emails/Attachments   PILGRIMS-0006816626         PILGRIMS-0006816627           2
 Emails/Attachments   PILGRIMS-0006816630         PILGRIMS-0006816634           1
 Emails/Attachments   PILGRIMS-0006816637         PILGRIMS-0006816638           2
 Emails/Attachments   PILGRIMS-0006816643         PILGRIMS-0006816649           7
 Emails/Attachments   PILGRIMS-0006816659         PILGRIMS-0006816676           7
 Emails/Attachments   PILGRIMS-0006816679         PILGRIMS-0006816682           4
 Emails/Attachments   PILGRIMS-0006816685         PILGRIMS-0006816691           5
 Emails/Attachments   PILGRIMS-0006816698         PILGRIMS-0006816701           3
 Emails/Attachments   PILGRIMS-0006816704         PILGRIMS-0006816718          11
 Emails/Attachments   PILGRIMS-0006816725         PILGRIMS-0006816749          19
 Emails/Attachments   PILGRIMS-0006816755         PILGRIMS-0006816756           1
 Emails/Attachments   PILGRIMS-0006816758         PILGRIMS-0006816759           1
 Emails/Attachments   PILGRIMS-0006816762         PILGRIMS-0006816782           9
 Emails/Attachments   PILGRIMS-0006816794         PILGRIMS-0006816811           6
 Emails/Attachments   PILGRIMS-0006816814         PILGRIMS-0006816821           4
 Emails/Attachments   PILGRIMS-0006816824         PILGRIMS-0006816825           1
 Emails/Attachments   PILGRIMS-0006816831         PILGRIMS-0006816847           8
 Emails/Attachments   PILGRIMS-0006816850         PILGRIMS-0006816853           4
 Emails/Attachments   PILGRIMS-0006816856         PILGRIMS-0006816857           2
 Emails/Attachments   PILGRIMS-0006816862         PILGRIMS-0006816871           7
 Emails/Attachments   PILGRIMS-0006816874         PILGRIMS-0006816875           2
 Emails/Attachments   PILGRIMS-0006816878         PILGRIMS-0006816886           8


                                    Page 155 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 179 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006816891         PILGRIMS-0006816892          2
 Emails/Attachments   PILGRIMS-0006816897         PILGRIMS-0006816900          2
 Emails/Attachments   PILGRIMS-0006816905         PILGRIMS-0006816928          3
 Emails/Attachments   PILGRIMS-0006816933         PILGRIMS-0006816940          8
 Emails/Attachments   PILGRIMS-0006816943         PILGRIMS-0006816951          3
 Emails/Attachments   PILGRIMS-0006816954         PILGRIMS-0006816970          8
 Emails/Attachments   PILGRIMS-0006816974         PILGRIMS-0006816996         16
 Emails/Attachments   PILGRIMS-0006816999         PILGRIMS-0006817002          1
 Emails/Attachments   PILGRIMS-0006817005         PILGRIMS-0006817007          1
 Emails/Attachments   PILGRIMS-0006817010         PILGRIMS-0006817011          1
 Emails/Attachments   PILGRIMS-0006817015         PILGRIMS-0006817025          2
 Emails/Attachments   PILGRIMS-0006817032         PILGRIMS-0006817037          4
 Emails/Attachments   PILGRIMS-0006817053         PILGRIMS-0006817053          1
 Emails/Attachments   PILGRIMS-0006817057         PILGRIMS-0006817058          2
 Emails/Attachments   PILGRIMS-0006817061         PILGRIMS-0006817086          9
 Emails/Attachments   PILGRIMS-0006817107         PILGRIMS-0006817114          8
 Emails/Attachments   PILGRIMS-0006817121         PILGRIMS-0006817124          2
 Emails/Attachments   PILGRIMS-0006817129         PILGRIMS-0006817130          2
 Emails/Attachments   PILGRIMS-0006817133         PILGRIMS-0006817133          1
 Emails/Attachments   PILGRIMS-0006817136         PILGRIMS-0006817137          2
 Emails/Attachments   PILGRIMS-0006817139         PILGRIMS-0006817186         16
 Emails/Attachments   PILGRIMS-0006817200         PILGRIMS-0006817213          3
 Emails/Attachments   PILGRIMS-0006817216         PILGRIMS-0006817236          7
 Emails/Attachments   PILGRIMS-0006817239         PILGRIMS-0006817242          1
 Emails/Attachments   PILGRIMS-0006817244         PILGRIMS-0006817271          9
 Emails/Attachments   PILGRIMS-0006817273         PILGRIMS-0006817277          4
 Emails/Attachments   PILGRIMS-0006817280         PILGRIMS-0006817283          2
 Emails/Attachments   PILGRIMS-0006817289         PILGRIMS-0006817308          7
 Emails/Attachments   PILGRIMS-0006817316         PILGRIMS-0006817320          1
 Emails/Attachments   PILGRIMS-0006817323         PILGRIMS-0006817360          8
 Emails/Attachments   PILGRIMS-0006817366         PILGRIMS-0006817370          3
 Emails/Attachments   PILGRIMS-0006817373         PILGRIMS-0006817375          3
 Emails/Attachments   PILGRIMS-0006817378         PILGRIMS-0006817379          2
 Emails/Attachments   PILGRIMS-0006817384         PILGRIMS-0006817388          4
 Emails/Attachments   PILGRIMS-0006817392         PILGRIMS-0006817393          1
 Emails/Attachments   PILGRIMS-0006817398         PILGRIMS-0006817400          1
 Emails/Attachments   PILGRIMS-0006817412         PILGRIMS-0006817412          1
 Emails/Attachments   PILGRIMS-0006817428         PILGRIMS-0006817429          2
 Emails/Attachments   PILGRIMS-0006817431         PILGRIMS-0006817432          2
 Emails/Attachments   PILGRIMS-0006817437         PILGRIMS-0006817452          4
 Emails/Attachments   PILGRIMS-0006817459         PILGRIMS-0006817460          2
 Emails/Attachments   PILGRIMS-0006817475         PILGRIMS-0006817480          3
 Emails/Attachments   PILGRIMS-0006817483         PILGRIMS-0006817528          9
 Emails/Attachments   PILGRIMS-0006817534         PILGRIMS-0006817535          1
 Emails/Attachments   PILGRIMS-0006817540         PILGRIMS-0006817542          1
 Emails/Attachments   PILGRIMS-0006817550         PILGRIMS-0006817551          1


                                    Page 156 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 180 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006817554         PILGRIMS-0006817561          5
 Emails/Attachments   PILGRIMS-0006817570         PILGRIMS-0006817571          1
 Emails/Attachments   PILGRIMS-0006817575         PILGRIMS-0006817577          1
 Emails/Attachments   PILGRIMS-0006817581         PILGRIMS-0006817582          1
 Emails/Attachments   PILGRIMS-0006817591         PILGRIMS-0006817592          1
 Emails/Attachments   PILGRIMS-0006817596         PILGRIMS-0006817602          1
 Emails/Attachments   PILGRIMS-0006817608         PILGRIMS-0006817608          1
 Emails/Attachments   PILGRIMS-0006817637         PILGRIMS-0006817638          1
 Emails/Attachments   PILGRIMS-0006817652         PILGRIMS-0006817665          5
 Emails/Attachments   PILGRIMS-0006817670         PILGRIMS-0006817675          1
 Emails/Attachments   PILGRIMS-0006817685         PILGRIMS-0006817685          1
 Emails/Attachments   PILGRIMS-0006817697         PILGRIMS-0006817697          1
 Emails/Attachments   PILGRIMS-0006817717         PILGRIMS-0006817733          3
 Emails/Attachments   PILGRIMS-0006817736         PILGRIMS-0006817739          2
 Emails/Attachments   PILGRIMS-0006817750         PILGRIMS-0006817751          2
 Emails/Attachments   PILGRIMS-0006817755         PILGRIMS-0006817759          5
 Emails/Attachments   PILGRIMS-0006817761         PILGRIMS-0006817762          2
 Emails/Attachments   PILGRIMS-0006817770         PILGRIMS-0006817771          1
 Emails/Attachments   PILGRIMS-0006817800         PILGRIMS-0006817800          1
 Emails/Attachments   PILGRIMS-0006817810         PILGRIMS-0006817830         10
 Emails/Attachments   PILGRIMS-0006817836         PILGRIMS-0006817840          1
 Emails/Attachments   PILGRIMS-0006817843         PILGRIMS-0006817849          1
 Emails/Attachments   PILGRIMS-0006817853         PILGRIMS-0006817854          1
 Emails/Attachments   PILGRIMS-0006817861         PILGRIMS-0006817862          2
 Emails/Attachments   PILGRIMS-0006817866         PILGRIMS-0006817877          2
 Emails/Attachments   PILGRIMS-0006817947         PILGRIMS-0006817948          2
 Emails/Attachments   PILGRIMS-0006817961         PILGRIMS-0006817977         16
 Emails/Attachments   PILGRIMS-0006818003         PILGRIMS-0006818004          1
 Emails/Attachments   PILGRIMS-0006818011         PILGRIMS-0006818023          4
 Emails/Attachments   PILGRIMS-0006818028         PILGRIMS-0006818032          1
 Emails/Attachments   PILGRIMS-0006818037         PILGRIMS-0006818038          2
 Emails/Attachments   PILGRIMS-0006818055         PILGRIMS-0006818060          2
 Emails/Attachments   PILGRIMS-0006818098         PILGRIMS-0006818104          3
 Emails/Attachments   PILGRIMS-0006818111         PILGRIMS-0006818114          1
 Emails/Attachments   PILGRIMS-0006818131         PILGRIMS-0006818138          3
 Emails/Attachments   PILGRIMS-0006818145         PILGRIMS-0006818146          1
 Emails/Attachments   PILGRIMS-0006818166         PILGRIMS-0006818168          2
 Emails/Attachments   PILGRIMS-0006818172         PILGRIMS-0006818174          1
 Emails/Attachments   PILGRIMS-0006818182         PILGRIMS-0006818186          2
 Emails/Attachments   PILGRIMS-0006818197         PILGRIMS-0006818204          2
 Emails/Attachments   PILGRIMS-0006818226         PILGRIMS-0006818231          2
 Emails/Attachments   PILGRIMS-0006818250         PILGRIMS-0006818251          1
 Emails/Attachments   PILGRIMS-0006818253         PILGRIMS-0006818255          1
 Emails/Attachments   PILGRIMS-0006818301         PILGRIMS-0006818304          1
 Emails/Attachments   PILGRIMS-0006818308         PILGRIMS-0006818315          2
 Emails/Attachments   PILGRIMS-0006818351         PILGRIMS-0006818413         10


                                    Page 157 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 181 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006818417         PILGRIMS-0006818418          1
 Emails/Attachments   PILGRIMS-0006818421         PILGRIMS-0006818424          1
 Emails/Attachments   PILGRIMS-0006818430         PILGRIMS-0006818450          7
 Emails/Attachments   PILGRIMS-0006818470         PILGRIMS-0006818470          1
 Emails/Attachments   PILGRIMS-0006818474         PILGRIMS-0006818476          1
 Emails/Attachments   PILGRIMS-0006818491         PILGRIMS-0006818495          2
 Emails/Attachments   PILGRIMS-0006818521         PILGRIMS-0006818524          1
 Emails/Attachments   PILGRIMS-0006818532         PILGRIMS-0006818535          3
 Emails/Attachments   PILGRIMS-0006818553         PILGRIMS-0006818554          2
 Emails/Attachments   PILGRIMS-0006818565         PILGRIMS-0006818566          1
 Emails/Attachments   PILGRIMS-0006818569         PILGRIMS-0006818572          2
 Emails/Attachments   PILGRIMS-0006818607         PILGRIMS-0006818609          2
 Emails/Attachments   PILGRIMS-0006818614         PILGRIMS-0006818615          2
 Emails/Attachments   PILGRIMS-0006818630         PILGRIMS-0006818635          2
 Emails/Attachments   PILGRIMS-0006818647         PILGRIMS-0006818657          6
 Emails/Attachments   PILGRIMS-0006818668         PILGRIMS-0006818674          1
 Emails/Attachments   PILGRIMS-0006818686         PILGRIMS-0006818686          1
 Emails/Attachments   PILGRIMS-0006818697         PILGRIMS-0006818699          1
 Emails/Attachments   PILGRIMS-0006818716         PILGRIMS-0006818717          1
 Emails/Attachments   PILGRIMS-0006818732         PILGRIMS-0006818735          2
 Emails/Attachments   PILGRIMS-0006818737         PILGRIMS-0006818739          1
 Emails/Attachments   PILGRIMS-0006818744         PILGRIMS-0006818746          2
 Emails/Attachments   PILGRIMS-0006818757         PILGRIMS-0006818760          1
 Emails/Attachments   PILGRIMS-0006818764         PILGRIMS-0006818769          4
 Emails/Attachments   PILGRIMS-0006818774         PILGRIMS-0006818775          2
 Emails/Attachments   PILGRIMS-0006818792         PILGRIMS-0006818793          1
 Emails/Attachments   PILGRIMS-0006818795         PILGRIMS-0006818795          1
 Emails/Attachments   PILGRIMS-0006818798         PILGRIMS-0006818814         16
 Emails/Attachments   PILGRIMS-0006818817         PILGRIMS-0006818819          3
 Emails/Attachments   PILGRIMS-0006818825         PILGRIMS-0006818826          2
 Emails/Attachments   PILGRIMS-0006818828         PILGRIMS-0006818829          1
 Emails/Attachments   PILGRIMS-0006818843         PILGRIMS-0006818845          2
 Emails/Attachments   PILGRIMS-0006818848         PILGRIMS-0006818852          3
 Emails/Attachments   PILGRIMS-0006818866         PILGRIMS-0006818881         14
 Emails/Attachments   PILGRIMS-0006818888         PILGRIMS-0006818889          2
 Emails/Attachments   PILGRIMS-0006818963         PILGRIMS-0006818965          1
 Emails/Attachments   PILGRIMS-0006818967         PILGRIMS-0006818974          4
 Emails/Attachments   PILGRIMS-0006818977         PILGRIMS-0006818978          2
 Emails/Attachments   PILGRIMS-0006818986         PILGRIMS-0006818992          2
 Emails/Attachments   PILGRIMS-0006819023         PILGRIMS-0006819030          1
 Emails/Attachments   PILGRIMS-0006819121         PILGRIMS-0006819130          1
 Emails/Attachments   PILGRIMS-0006819211         PILGRIMS-0006819214          4
 Emails/Attachments   PILGRIMS-0006819222         PILGRIMS-0006819229          8
 Emails/Attachments   PILGRIMS-0006819240         PILGRIMS-0006819241          2
 Emails/Attachments   PILGRIMS-0006819253         PILGRIMS-0006819254          2
 Emails/Attachments   PILGRIMS-0006819260         PILGRIMS-0006819261          2


                                    Page 158 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 182 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006819265         PILGRIMS-0006819269          2
 Emails/Attachments   PILGRIMS-0006819304         PILGRIMS-0006819305          2
 Emails/Attachments   PILGRIMS-0006819308         PILGRIMS-0006819309          2
 Emails/Attachments   PILGRIMS-0006819326         PILGRIMS-0006819327          2
 Emails/Attachments   PILGRIMS-0006819336         PILGRIMS-0006819336          1
 Emails/Attachments   PILGRIMS-0006819373         PILGRIMS-0006819375          1
 Emails/Attachments   PILGRIMS-0006819397         PILGRIMS-0006819411          5
 Emails/Attachments   PILGRIMS-0006819416         PILGRIMS-0006819417          2
 Emails/Attachments   PILGRIMS-0006819422         PILGRIMS-0006819431         10
 Emails/Attachments   PILGRIMS-0006819434         PILGRIMS-0006819435          2
 Emails/Attachments   PILGRIMS-0006819453         PILGRIMS-0006819454          2
 Emails/Attachments   PILGRIMS-0006819467         PILGRIMS-0006819468          2
 Emails/Attachments   PILGRIMS-0006819479         PILGRIMS-0006819493         10
 Emails/Attachments   PILGRIMS-0006819534         PILGRIMS-0006819535          2
 Emails/Attachments   PILGRIMS-0006819543         PILGRIMS-0006819548          5
 Emails/Attachments   PILGRIMS-0006819550         PILGRIMS-0006819553          3
 Emails/Attachments   PILGRIMS-0006819556         PILGRIMS-0006819558          1
 Emails/Attachments   PILGRIMS-0006819567         PILGRIMS-0006819568          2
 Emails/Attachments   PILGRIMS-0006819570         PILGRIMS-0006819571          2
 Emails/Attachments   PILGRIMS-0006819578         PILGRIMS-0006819579          2
 Emails/Attachments   PILGRIMS-0006819583         PILGRIMS-0006819588          4
 Emails/Attachments   PILGRIMS-0006819599         PILGRIMS-0006819602          4
 Emails/Attachments   PILGRIMS-0006819605         PILGRIMS-0006819606          2
 Emails/Attachments   PILGRIMS-0006819615         PILGRIMS-0006819622          8
 Emails/Attachments   PILGRIMS-0006819626         PILGRIMS-0006819627          2
 Emails/Attachments   PILGRIMS-0006819641         PILGRIMS-0006819642          2
 Emails/Attachments   PILGRIMS-0006819662         PILGRIMS-0006819664          1
 Emails/Attachments   PILGRIMS-0006819675         PILGRIMS-0006819682          7
 Emails/Attachments   PILGRIMS-0006819696         PILGRIMS-0006819699          4
 Emails/Attachments   PILGRIMS-0006819703         PILGRIMS-0006819704          2
 Emails/Attachments   PILGRIMS-0006819707         PILGRIMS-0006819711          1
 Emails/Attachments   PILGRIMS-0006819744         PILGRIMS-0006819745          2
 Emails/Attachments   PILGRIMS-0006819748         PILGRIMS-0006819749          2
 Emails/Attachments   PILGRIMS-0006819774         PILGRIMS-0006819777          4
 Emails/Attachments   PILGRIMS-0006819816         PILGRIMS-0006819817          2
 Emails/Attachments   PILGRIMS-0006819874         PILGRIMS-0006820339         329
 Emails/Attachments   PILGRIMS-0006820342         PILGRIMS-0006822067         419
 Emails/Attachments   PILGRIMS-0006822070         PILGRIMS-0006822072          3
 Emails/Attachments   PILGRIMS-0006822074         PILGRIMS-0006822609         368
 Emails/Attachments   PILGRIMS-0006822611         PILGRIMS-0006822950         224
 Emails/Attachments   PILGRIMS-0006822952         PILGRIMS-0006822996         25
 Emails/Attachments   PILGRIMS-0006822998         PILGRIMS-0006823041         34
 Emails/Attachments   PILGRIMS-0006823043         PILGRIMS-0006823159         66
 Emails/Attachments   PILGRIMS-0006823161         PILGRIMS-0006823430         106
 Emails/Attachments   PILGRIMS-0006823432         PILGRIMS-0006823551         70
 Emails/Attachments   PILGRIMS-0006823553         PILGRIMS-0006823565          1


                                    Page 159 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 183 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006823567         PILGRIMS-0006823683         63
 Emails/Attachments   PILGRIMS-0006823685         PILGRIMS-0006823930         136
 Emails/Attachments   PILGRIMS-0006823932         PILGRIMS-0006823936          5
 Emails/Attachments   PILGRIMS-0006823938         PILGRIMS-0006824904         266
 Emails/Attachments   PILGRIMS-0006824906         PILGRIMS-0006824917         10
 Emails/Attachments   PILGRIMS-0006824919         PILGRIMS-0006824992         48
 Emails/Attachments   PILGRIMS-0006824995         PILGRIMS-0006825495         351
 Emails/Attachments   PILGRIMS-0006825498         PILGRIMS-0006825506          7
 Emails/Attachments   PILGRIMS-0006825508         PILGRIMS-0006825516          9
 Emails/Attachments   PILGRIMS-0006825518         PILGRIMS-0006825658         82
 Emails/Attachments   PILGRIMS-0006825660         PILGRIMS-0006825663          4
 Emails/Attachments   PILGRIMS-0006825665         PILGRIMS-0006825707         32
 Emails/Attachments   PILGRIMS-0006825709         PILGRIMS-0006825722          6
 Emails/Attachments   PILGRIMS-0006825724         PILGRIMS-0006825731          2
 Emails/Attachments   PILGRIMS-0006825733         PILGRIMS-0006825759         20
 Emails/Attachments   PILGRIMS-0006825761         PILGRIMS-0006825860         43
 Emails/Attachments   PILGRIMS-0006825862         PILGRIMS-0006826891         207
 Emails/Attachments   PILGRIMS-0006826895         PILGRIMS-0006827398         217
 Emails/Attachments   PILGRIMS-0006827400         PILGRIMS-0006827653         163
 Emails/Attachments   PILGRIMS-0006827655         PILGRIMS-0006827671         14
 Emails/Attachments   PILGRIMS-0006827673         PILGRIMS-0006827706         21
 Emails/Attachments   PILGRIMS-0006827708         PILGRIMS-0006827735         17
 Emails/Attachments   PILGRIMS-0006827737         PILGRIMS-0006828940         204
 Emails/Attachments   PILGRIMS-0006828942         PILGRIMS-0006829289         69
 Emails/Attachments   PILGRIMS-0006829291         PILGRIMS-0006829504         111
 Emails/Attachments   PILGRIMS-0006829506         PILGRIMS-0006832900         656
 Emails/Attachments   PILGRIMS-0006832902         PILGRIMS-0006832963         29
 Emails/Attachments   PILGRIMS-0006832968         PILGRIMS-0006833003         29
 Emails/Attachments   PILGRIMS-0006833005         PILGRIMS-0006833128         98
 Emails/Attachments   PILGRIMS-0006833130         PILGRIMS-0006833190         46
 Emails/Attachments   PILGRIMS-0006833193         PILGRIMS-0006833211         15
 Emails/Attachments   PILGRIMS-0006833214         PILGRIMS-0006833750         54
 Emails/Attachments   PILGRIMS-0006833753         PILGRIMS-0006833831         62
 Emails/Attachments   PILGRIMS-0006833833         PILGRIMS-0006833998         104
 Emails/Attachments   PILGRIMS-0006834000         PILGRIMS-0006834026         14
 Emails/Attachments   PILGRIMS-0006834028         PILGRIMS-0006834098         48
 Emails/Attachments   PILGRIMS-0006834105         PILGRIMS-0006834118          4
 Emails/Attachments   PILGRIMS-0006834122         PILGRIMS-0006834241         83
 Emails/Attachments   PILGRIMS-0006834250         PILGRIMS-0006834897         411
 Emails/Attachments   PILGRIMS-0006834973         PILGRIMS-0006836221         648
 Emails/Attachments   PILGRIMS-0006836224         PILGRIMS-0006836300         44
 Emails/Attachments   PILGRIMS-0006836359         PILGRIMS-0006836572         166
 Emails/Attachments   PILGRIMS-0006836574         PILGRIMS-0006836630         35
 Emails/Attachments   PILGRIMS-0006836633         PILGRIMS-0006836682         37
 Emails/Attachments   PILGRIMS-0006836688         PILGRIMS-0006836689          2
 Emails/Attachments   PILGRIMS-0006836692         PILGRIMS-0006836693          2


                                    Page 160 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 184 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006836698         PILGRIMS-0006836702          4
 Emails/Attachments   PILGRIMS-0006836705         PILGRIMS-0006836709          4
 Emails/Attachments   PILGRIMS-0006836721         PILGRIMS-0006836722          2
 Emails/Attachments   PILGRIMS-0006836739         PILGRIMS-0006836742          4
 Emails/Attachments   PILGRIMS-0006836744         PILGRIMS-0006836745          2
 Emails/Attachments   PILGRIMS-0006836768         PILGRIMS-0006836770          2
 Emails/Attachments   PILGRIMS-0006836787         PILGRIMS-0006836788          2
 Emails/Attachments   PILGRIMS-0006836806         PILGRIMS-0006841299         917
 Emails/Attachments   PILGRIMS-0006841301         PILGRIMS-0006846420         974
 Emails/Attachments   PILGRIMS-0006846422         PILGRIMS-0006847864         390
 Emails/Attachments   PILGRIMS-0006847876         PILGRIMS-0006849013         418
 Emails/Attachments   PILGRIMS-0006850908         PILGRIMS-0006850913          1
 Emails/Attachments   PILGRIMS-0006851616         PILGRIMS-0006852810         163
 Emails/Attachments   PILGRIMS-0006853162         PILGRIMS-0006854114         32
 Emails/Attachments   PILGRIMS-0006854613         PILGRIMS-0006855111          2
 Emails/Attachments   PILGRIMS-0006855610         PILGRIMS-0006858312         263
 Emails/Attachments   PILGRIMS-0006858314         PILGRIMS-0006858328          8
 Emails/Attachments   PILGRIMS-0006858680         PILGRIMS-0006859033          6
 Emails/Attachments   PILGRIMS-0006859385         PILGRIMS-0006859386          2
 Emails/Attachments   PILGRIMS-0006859738         PILGRIMS-0006861629         148
 Emails/Attachments   PILGRIMS-0006862283         PILGRIMS-0006864616         35
 Emails/Attachments   PILGRIMS-0006865229         PILGRIMS-0006867682         364
 Emails/Attachments   PILGRIMS-0006867733         PILGRIMS-0006869032         282
 Emails/Attachments   PILGRIMS-0006869382         PILGRIMS-0006869522         63
 Emails/Attachments   PILGRIMS-0006869532         PILGRIMS-0006869533          2
 Emails/Attachments   PILGRIMS-0006869535         PILGRIMS-0006869536          2
 Emails/Attachments   PILGRIMS-0006869546         PILGRIMS-0006869550          1
 Emails/Attachments   PILGRIMS-0006869554         PILGRIMS-0006869555          1
 Emails/Attachments   PILGRIMS-0006869560         PILGRIMS-0006869561          2
 Emails/Attachments   PILGRIMS-0006869566         PILGRIMS-0006869566          1
 Emails/Attachments   PILGRIMS-0006869707         PILGRIMS-0006869708          1
 Emails/Attachments   PILGRIMS-0006869773         PILGRIMS-0006869775          1
 Emails/Attachments   PILGRIMS-0006869877         PILGRIMS-0006869883          5
 Emails/Attachments   PILGRIMS-0006869885         PILGRIMS-0006870013         60
 Emails/Attachments   PILGRIMS-0006870016         PILGRIMS-0006870121         49
 Emails/Attachments   PILGRIMS-0006870124         PILGRIMS-0006870162         23
 Emails/Attachments   PILGRIMS-0006870164         PILGRIMS-0006870167          2
 Emails/Attachments   PILGRIMS-0006870169         PILGRIMS-0006870179         10
 Emails/Attachments   PILGRIMS-0006870181         PILGRIMS-0006870306         49
 Emails/Attachments   PILGRIMS-0006870754         PILGRIMS-0006870832         50
 Emails/Attachments   PILGRIMS-0006870834         PILGRIMS-0006871362         24
 Emails/Attachments   PILGRIMS-0006871428         PILGRIMS-0006871443         11
 Emails/Attachments   PILGRIMS-0006871445         PILGRIMS-0006871779         122
 Emails/Attachments   PILGRIMS-0006871781         PILGRIMS-0006871788          4
 Emails/Attachments   PILGRIMS-0006871810         PILGRIMS-0006874233         20
 Emails/Attachments   PILGRIMS-0006874235         PILGRIMS-0006874891         78


                                    Page 161 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 185 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006874893         PILGRIMS-0006874901          5
 Emails/Attachments   PILGRIMS-0006874926         PILGRIMS-0006874939          7
 Emails/Attachments   PILGRIMS-0006874941         PILGRIMS-0006874985         30
 Emails/Attachments   PILGRIMS-0006874987         PILGRIMS-0006875036         13
 Emails/Attachments   PILGRIMS-0006875038         PILGRIMS-0006875097         35
 Emails/Attachments   PILGRIMS-0006875099         PILGRIMS-0006875109          9
 Emails/Attachments   PILGRIMS-0006875111         PILGRIMS-0006875141          6
 Emails/Attachments   PILGRIMS-0006875143         PILGRIMS-0006875280         49
 Emails/Attachments   PILGRIMS-0006875282         PILGRIMS-0006875283          1
 Emails/Attachments   PILGRIMS-0006875286         PILGRIMS-0006875291          6
 Emails/Attachments   PILGRIMS-0006875294         PILGRIMS-0006875295          2
 Emails/Attachments   PILGRIMS-0006875297         PILGRIMS-0006875300          3
 Emails/Attachments   PILGRIMS-0006875318         PILGRIMS-0006875342         11
 Emails/Attachments   PILGRIMS-0006875344         PILGRIMS-0006875351          5
 Emails/Attachments   PILGRIMS-0006875358         PILGRIMS-0006875371          4
 Emails/Attachments   PILGRIMS-0006875378         PILGRIMS-0006875490         71
 Emails/Attachments   PILGRIMS-0006875492         PILGRIMS-0006875537         26
 Emails/Attachments   PILGRIMS-0006875539         PILGRIMS-0006875540          2
 Emails/Attachments   PILGRIMS-0006875542         PILGRIMS-0006875580         31
 Emails/Attachments   PILGRIMS-0006875582         PILGRIMS-0006875688         68
 Emails/Attachments   PILGRIMS-0006875708         PILGRIMS-0006875714          3
 Emails/Attachments   PILGRIMS-0006875716         PILGRIMS-0006875721          5
 Emails/Attachments   PILGRIMS-0006875723         PILGRIMS-0006875750         10
 Emails/Attachments   PILGRIMS-0006875758         PILGRIMS-0006875778          9
 Emails/Attachments   PILGRIMS-0006875780         PILGRIMS-0006875801         13
 Emails/Attachments   PILGRIMS-0006875803         PILGRIMS-0006875835         23
 Emails/Attachments   PILGRIMS-0006875838         PILGRIMS-0006876648          7
 Emails/Attachments   PILGRIMS-0006877443         PILGRIMS-0006877455         10
 Emails/Attachments   PILGRIMS-0006877457         PILGRIMS-0006877524         41
 Emails/Attachments   PILGRIMS-0006877543         PILGRIMS-0006877565         14
 Emails/Attachments   PILGRIMS-0006877567         PILGRIMS-0006877589          6
 Emails/Attachments   PILGRIMS-0006877599         PILGRIMS-0006877611          3
 Emails/Attachments   PILGRIMS-0006877619         PILGRIMS-0006877719         66
 Emails/Attachments   PILGRIMS-0006877721         PILGRIMS-0006877741          6
 Emails/Attachments   PILGRIMS-0006877743         PILGRIMS-0006877745          2
 Emails/Attachments   PILGRIMS-0006877762         PILGRIMS-0006877780          7
 Emails/Attachments   PILGRIMS-0006877793         PILGRIMS-0006877817         14
 Emails/Attachments   PILGRIMS-0006877819         PILGRIMS-0006877831          7
 Emails/Attachments   PILGRIMS-0006877833         PILGRIMS-0006877867         22
 Emails/Attachments   PILGRIMS-0006877887         PILGRIMS-0006877920         17
 Emails/Attachments   PILGRIMS-0006877922         PILGRIMS-0006877998         44
 Emails/Attachments   PILGRIMS-0006878001         PILGRIMS-0006878004          3
 Emails/Attachments   PILGRIMS-0006878006         PILGRIMS-0006878007          2
 Emails/Attachments   PILGRIMS-0006878009         PILGRIMS-0006878033         15
 Emails/Attachments   PILGRIMS-0006878054         PILGRIMS-0006878096         13
 Emails/Attachments   PILGRIMS-0006878290         PILGRIMS-0006878405         56


                                    Page 162 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 186 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006878432         PILGRIMS-0006878463         29
 Emails/Attachments   PILGRIMS-0006878478         PILGRIMS-0006878504         17
 Emails/Attachments   PILGRIMS-0006878522         PILGRIMS-0006878575         35
 Emails/Attachments   PILGRIMS-0006878584         PILGRIMS-0006878654         36
 Emails/Attachments   PILGRIMS-0006878667         PILGRIMS-0006878686         12
 Emails/Attachments   PILGRIMS-0006878688         PILGRIMS-0006878729         23
 Emails/Attachments   PILGRIMS-0006878732         PILGRIMS-0006878743          9
 Emails/Attachments   PILGRIMS-0006878745         PILGRIMS-0006878950          4
 Emails/Attachments   PILGRIMS-0006878952         PILGRIMS-0006879542          7
 Emails/Attachments   PILGRIMS-0006879544         PILGRIMS-0006879547          4
 Emails/Attachments   PILGRIMS-0006879903         PILGRIMS-0006880258          2
 Emails/Attachments   PILGRIMS-0006880260         PILGRIMS-0006880265          6
 Emails/Attachments   PILGRIMS-0006880267         PILGRIMS-0006880269          3
 Emails/Attachments   PILGRIMS-0006880271         PILGRIMS-0006880283          9
 Emails/Attachments   PILGRIMS-0006880285         PILGRIMS-0006880289          3
 Emails/Attachments   PILGRIMS-0006880293         PILGRIMS-0006880294          2
 Emails/Attachments   PILGRIMS-0006880296         PILGRIMS-0006880297          1
 Emails/Attachments   PILGRIMS-0006880304         PILGRIMS-0006880304          1
 Emails/Attachments   PILGRIMS-0006880306         PILGRIMS-0006880318          8
 Emails/Attachments   PILGRIMS-0006880320         PILGRIMS-0006880324          4
 Emails/Attachments   PILGRIMS-0006880330         PILGRIMS-0006880360          7
 Emails/Attachments   PILGRIMS-0006880362         PILGRIMS-0006880368          5
 Emails/Attachments   PILGRIMS-0006880379         PILGRIMS-0006880388          2
 Emails/Attachments   PILGRIMS-0006880391         PILGRIMS-0006880401          9
 Emails/Attachments   PILGRIMS-0006880403         PILGRIMS-0006880405          3
 Emails/Attachments   PILGRIMS-0006880408         PILGRIMS-0006880433         12
 Emails/Attachments   PILGRIMS-0006880436         PILGRIMS-0006880439          4
 Emails/Attachments   PILGRIMS-0006880442         PILGRIMS-0006880446          4
 Emails/Attachments   PILGRIMS-0006880448         PILGRIMS-0006880449          2
 Emails/Attachments   PILGRIMS-0006880452         PILGRIMS-0006880464          7
 Emails/Attachments   PILGRIMS-0006880469         PILGRIMS-0006880483          5
 Emails/Attachments   PILGRIMS-0006880485         PILGRIMS-0006880502         11
 Emails/Attachments   PILGRIMS-0006880504         PILGRIMS-0006880511          4
 Emails/Attachments   PILGRIMS-0006880527         PILGRIMS-0006880538         10
 Emails/Attachments   PILGRIMS-0006880540         PILGRIMS-0006880541          2
 Emails/Attachments   PILGRIMS-0006880543         PILGRIMS-0006880545          3
 Emails/Attachments   PILGRIMS-0006880547         PILGRIMS-0006880581         16
 Emails/Attachments   PILGRIMS-0006880583         PILGRIMS-0006880588          5
 Emails/Attachments   PILGRIMS-0006880593         PILGRIMS-0006880605          8
 Emails/Attachments   PILGRIMS-0006880607         PILGRIMS-0006880609          3
 Emails/Attachments   PILGRIMS-0006880611         PILGRIMS-0006880647         24
 Emails/Attachments   PILGRIMS-0006880649         PILGRIMS-0006880650          1
 Emails/Attachments   PILGRIMS-0006880652         PILGRIMS-0006880658          5
 Emails/Attachments   PILGRIMS-0006880661         PILGRIMS-0006880675          6
 Emails/Attachments   PILGRIMS-0006880677         PILGRIMS-0006880678          2
 Emails/Attachments   PILGRIMS-0006880681         PILGRIMS-0006880712         17


                                    Page 163 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 187 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006880714         PILGRIMS-0006880740          17
 Emails/Attachments   PILGRIMS-0006880742         PILGRIMS-0006880745           3
 Emails/Attachments   PILGRIMS-0006880747         PILGRIMS-0006880765          13
 Emails/Attachments   PILGRIMS-0006880767         PILGRIMS-0006880770           2
 Emails/Attachments   PILGRIMS-0006880772         PILGRIMS-0006880779           6
 Emails/Attachments   PILGRIMS-0006880781         PILGRIMS-0006880800           5
 Emails/Attachments   PILGRIMS-0006880802         PILGRIMS-0006880815           5
 Emails/Attachments   PILGRIMS-0006880828         PILGRIMS-0006880840           3
 Emails/Attachments   PILGRIMS-0006880842         PILGRIMS-0006880843           2
 Emails/Attachments   PILGRIMS-0006880846         PILGRIMS-0006880922          34
 Emails/Attachments   PILGRIMS-0006880925         PILGRIMS-0006880934           6
 Emails/Attachments   PILGRIMS-0006881048         PILGRIMS-0006881066           9
 Emails/Attachments   PILGRIMS-0006881068         PILGRIMS-0006881075           3
 Emails/Attachments   PILGRIMS-0006881084         PILGRIMS-0006881085           2
 Emails/Attachments   PILGRIMS-0006881100         PILGRIMS-0006881103           4
 Emails/Attachments   PILGRIMS-0006881105         PILGRIMS-0006881106           2
 Emails/Attachments   PILGRIMS-0006881108         PILGRIMS-0006881121           5
 Emails/Attachments   PILGRIMS-0006881123         PILGRIMS-0006881135           4
 Emails/Attachments   PILGRIMS-0006881138         PILGRIMS-0006881153           4
 Emails/Attachments   PILGRIMS-0006881155         PILGRIMS-0006881161           5
 Emails/Attachments   PILGRIMS-0006881164         PILGRIMS-0006881176           7
 Emails/Attachments   PILGRIMS-0006881178         PILGRIMS-0006881180           3
 Emails/Attachments   PILGRIMS-0006881182         PILGRIMS-0006881192           8
 Emails/Attachments   PILGRIMS-0006881194         PILGRIMS-0006881199           3
 Emails/Attachments   PILGRIMS-0006881201         PILGRIMS-0006881230          25
 Emails/Attachments   PILGRIMS-0006881244         PILGRIMS-0006882032           7
 Emails/Attachments   PILGRIMS-0006882040         PILGRIMS-0006882047           8
 Emails/Attachments   PILGRIMS-0006882060         PILGRIMS-0006882070           4
 Emails/Attachments   PILGRIMS-0006882073         PILGRIMS-0006882083           6
 Emails/Attachments   PILGRIMS-0006882085         PILGRIMS-0006882089           5
 Emails/Attachments   PILGRIMS-0006882091         PILGRIMS-0006882107          10
 Emails/Attachments   PILGRIMS-0006882109         PILGRIMS-0006882122           8
 Emails/Attachments   PILGRIMS-0006882130         PILGRIMS-0006882179          22
 Emails/Attachments   PILGRIMS-0006882181         PILGRIMS-0006882182           2
 Emails/Attachments   PILGRIMS-0006882184         PILGRIMS-0006882255          47
 Emails/Attachments   PILGRIMS-0006882257         PILGRIMS-0006882386          60
 Emails/Attachments   PILGRIMS-0006882391         PILGRIMS-0006883242         498
 Emails/Attachments   PILGRIMS-0006883246         PILGRIMS-0006884277         562
 Emails/Attachments   PILGRIMS-0006884279         PILGRIMS-0006884294          14
 Emails/Attachments   PILGRIMS-0006884296         PILGRIMS-0006886616         877
 Emails/Attachments   PILGRIMS-0006886619         PILGRIMS-0006890109        1,169
 Emails/Attachments   PILGRIMS-0006890144         PILGRIMS-0006890710         261
 Emails/Attachments   PILGRIMS-0006890767         PILGRIMS-0006891710         415
 Emails/Attachments   PILGRIMS-0006891716         PILGRIMS-0006893447         597
 Emails/Attachments   PILGRIMS-0006893480         PILGRIMS-0006894874         561
 Emails/Attachments   PILGRIMS-0006894904         PILGRIMS-0006899597        1,687


                                    Page 164 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 188 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0006899599         PILGRIMS-0006902033         500
 Emails/Attachments   PILGRIMS-0006902109         PILGRIMS-0006902983         233
 Emails/Attachments   PILGRIMS-0006902993         PILGRIMS-0006903075          46
 Emails/Attachments   PILGRIMS-0006903084         PILGRIMS-0006903331         129
 Emails/Attachments   PILGRIMS-0006903338         PILGRIMS-0006924583        1,947
 Emails/Attachments   PILGRIMS-0006924585         PILGRIMS-0006933213        1,318
 Emails/Attachments   PILGRIMS-0006933215         PILGRIMS-0006944072        1,478
 Emails/Attachments   PILGRIMS-0006944076         PILGRIMS-0006944539         129
 Emails/Attachments   PILGRIMS-0006944571         PILGRIMS-0006944634          47
 Emails/Attachments   PILGRIMS-0006944636         PILGRIMS-0006945187         241
 Emails/Attachments   PILGRIMS-0006945199         PILGRIMS-0006945236          13
 Emails/Attachments   PILGRIMS-0006945238         PILGRIMS-0006946587         148
 Emails/Attachments   PILGRIMS-0006946591         PILGRIMS-0006946604          14
 Emails/Attachments   PILGRIMS-0006946607         PILGRIMS-0006950664         807
 Emails/Attachments   PILGRIMS-0006950671         PILGRIMS-0006950677           3
 Emails/Attachments   PILGRIMS-0006950681         PILGRIMS-0006950697           8
 Emails/Attachments   PILGRIMS-0006950704         PILGRIMS-0006953702         771
 Emails/Attachments   PILGRIMS-0006953706         PILGRIMS-0006956432         618
 Emails/Attachments   PILGRIMS-0006956434         PILGRIMS-0006961996         557
 Emails/Attachments   PILGRIMS-0006962007         PILGRIMS-0006969783        1,068
 Emails/Attachments   PILGRIMS-0006969845         PILGRIMS-0006972444         466
 Emails/Attachments   PILGRIMS-0006972453         PILGRIMS-0006972928         111
 Emails/Attachments   PILGRIMS-0006972966         PILGRIMS-0006974515         317
 Emails/Attachments   PILGRIMS-0006974517         PILGRIMS-0006981442         963
 Emails/Attachments   PILGRIMS-0006981802         PILGRIMS-0006981952          71
 Emails/Attachments   PILGRIMS-0006981957         PILGRIMS-0006983060         177
 Emails/Attachments   PILGRIMS-0006983175         PILGRIMS-0006983248          37
 Emails/Attachments   PILGRIMS-0006983251         PILGRIMS-0006983723         193
 Emails/Attachments   PILGRIMS-0006983726         PILGRIMS-0006986589         220
 Emails/Attachments   PILGRIMS-0006986591         PILGRIMS-0006986661          32
 Emails/Attachments   PILGRIMS-0006986663         PILGRIMS-0006986670           7
 Emails/Attachments   PILGRIMS-0006986672         PILGRIMS-0006986673           2
 Emails/Attachments   PILGRIMS-0006986675         PILGRIMS-0006986722          20
 Emails/Attachments   PILGRIMS-0006986724         PILGRIMS-0006986825          34
 Emails/Attachments   PILGRIMS-0006986828         PILGRIMS-0006988423         114
 Emails/Attachments   PILGRIMS-0006988426         PILGRIMS-0006989381         253
 Emails/Attachments   PILGRIMS-0006989383         PILGRIMS-0006992958         653
 Emails/Attachments   PILGRIMS-0006992963         PILGRIMS-0006992976           9
 Emails/Attachments   PILGRIMS-0006992981         PILGRIMS-0006994643         169
 Emails/Attachments   PILGRIMS-0006995226         PILGRIMS-0006997154         117
 Emails/Attachments   PILGRIMS-0006997310         PILGRIMS-0006997455          46
 Emails/Attachments   PILGRIMS-0006998044         PILGRIMS-0006999283         216
 Emails/Attachments   PILGRIMS-0006999294         PILGRIMS-0007001089         213
 Emails/Attachments   PILGRIMS-0007001091         PILGRIMS-0007001118          18
 Emails/Attachments   PILGRIMS-0007001120         PILGRIMS-0007001400          95
 Emails/Attachments   PILGRIMS-0007001403         PILGRIMS-0007001491           5


                                    Page 165 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 189 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007001493         PILGRIMS-0007001494           2
 Emails/Attachments   PILGRIMS-0007001498         PILGRIMS-0007001503           5
 Emails/Attachments   PILGRIMS-0007001505         PILGRIMS-0007001556          35
 Emails/Attachments   PILGRIMS-0007001558         PILGRIMS-0007001560           3
 Emails/Attachments   PILGRIMS-0007001562         PILGRIMS-0007001616          36
 Emails/Attachments   PILGRIMS-0007001619         PILGRIMS-0007001625           4
 Emails/Attachments   PILGRIMS-0007001631         PILGRIMS-0007001679          38
 Emails/Attachments   PILGRIMS-0007001682         PILGRIMS-0007001750           5
 Emails/Attachments   PILGRIMS-0007001752         PILGRIMS-0007001794          25
 Emails/Attachments   PILGRIMS-0007001796         PILGRIMS-0007001828          11
 Emails/Attachments   PILGRIMS-0007001830         PILGRIMS-0007001885          27
 Emails/Attachments   PILGRIMS-0007001896         PILGRIMS-0007002074          81
 Emails/Attachments   PILGRIMS-0007002103         PILGRIMS-0007002264          34
 Emails/Attachments   PILGRIMS-0007002267         PILGRIMS-0007002270           3
 Emails/Attachments   PILGRIMS-0007002273         PILGRIMS-0007002273           1
 Emails/Attachments   PILGRIMS-0007002275         PILGRIMS-0007002279           3
 Emails/Attachments   PILGRIMS-0007002282         PILGRIMS-0007002442          90
 Emails/Attachments   PILGRIMS-0007002444         PILGRIMS-0007002544          67
 Emails/Attachments   PILGRIMS-0007002546         PILGRIMS-0007005495         439
 Emails/Attachments   PILGRIMS-0007005528         PILGRIMS-0007005569          10
 Emails/Attachments   PILGRIMS-0007005595         PILGRIMS-0007006308          30
 Emails/Attachments   PILGRIMS-0007006347         PILGRIMS-0007010648         261
 Emails/Attachments   PILGRIMS-0007010687         PILGRIMS-0007011430          23
 Emails/Attachments   PILGRIMS-0007011432         PILGRIMS-0007016028          98
 Emails/Attachments   PILGRIMS-0007016066         PILGRIMS-0007017115          45
 Emails/Attachments   PILGRIMS-0007017153         PILGRIMS-0007018030         247
 Emails/Attachments   PILGRIMS-0007018033         PILGRIMS-0007018357         173
 Emails/Attachments   PILGRIMS-0007018359         PILGRIMS-0007025991         458
 Emails/Attachments   PILGRIMS-0007026343         PILGRIMS-0007037762        1,006
 Emails/Attachments   PILGRIMS-0007037764         PILGRIMS-0007039055         120
 Emails/Attachments   PILGRIMS-0007039601         PILGRIMS-0007044003         627
 Emails/Attachments   PILGRIMS-0007044008         PILGRIMS-0007044329         177
 Emails/Attachments   PILGRIMS-0007044333         PILGRIMS-0007044496          65
 Emails/Attachments   PILGRIMS-0007044499         PILGRIMS-0007044545          25
 Emails/Attachments   PILGRIMS-0007044547         PILGRIMS-0007044654          72
 Emails/Attachments   PILGRIMS-0007044656         PILGRIMS-0007046783         386
 Emails/Attachments   PILGRIMS-0007046785         PILGRIMS-0007047243         248
 Emails/Attachments   PILGRIMS-0007047245         PILGRIMS-0007051470         754
 Emails/Attachments   PILGRIMS-0007052389         PILGRIMS-0007052527          97
 Emails/Attachments   PILGRIMS-0007052532         PILGRIMS-0007053114         307
 Emails/Attachments   PILGRIMS-0007053116         PILGRIMS-0007053788         284
 Emails/Attachments   PILGRIMS-0007053792         PILGRIMS-0007054209         160
 Emails/Attachments   PILGRIMS-0007054219         PILGRIMS-0007054420         112
 Emails/Attachments   PILGRIMS-0007054422         PILGRIMS-0007054675         109
 Emails/Attachments   PILGRIMS-0007054677         PILGRIMS-0007054987          98
 Emails/Attachments   PILGRIMS-0007054989         PILGRIMS-0007055003           6


                                    Page 166 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 190 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007055005         PILGRIMS-0007055043         12
 Emails/Attachments   PILGRIMS-0007055045         PILGRIMS-0007055258         55
 Emails/Attachments   PILGRIMS-0007055472         PILGRIMS-0007057296         294
 Emails/Attachments   PILGRIMS-0007057298         PILGRIMS-0007057602         118
 Emails/Attachments   PILGRIMS-0007057611         PILGRIMS-0007059701         545
 Emails/Attachments   PILGRIMS-0007059703         PILGRIMS-0007059841         44
 Emails/Attachments   PILGRIMS-0007059849         PILGRIMS-0007060249         116
 Emails/Attachments   PILGRIMS-0007060251         PILGRIMS-0007061163         298
 Emails/Attachments   PILGRIMS-0007061165         PILGRIMS-0007062655         388
 Emails/Attachments   PILGRIMS-0007062657         PILGRIMS-0007063143         110
 Emails/Attachments   PILGRIMS-0007063176         PILGRIMS-0007063183          7
 Emails/Attachments   PILGRIMS-0007063187         PILGRIMS-0007063534         104
 Emails/Attachments   PILGRIMS-0007063536         PILGRIMS-0007063651         24
 Emails/Attachments   PILGRIMS-0007063653         PILGRIMS-0007063770         44
 Emails/Attachments   PILGRIMS-0007063791         PILGRIMS-0007063860         18
 Emails/Attachments   PILGRIMS-0007064037         PILGRIMS-0007064219          7
 Emails/Attachments   PILGRIMS-0007064221         PILGRIMS-0007064288         25
 Emails/Attachments   PILGRIMS-0007064290         PILGRIMS-0007064356         32
 Emails/Attachments   PILGRIMS-0007064388         PILGRIMS-0007064480         12
 Emails/Attachments   PILGRIMS-0007064555         PILGRIMS-0007064772         80
 Emails/Attachments   PILGRIMS-0007064774         PILGRIMS-0007064976         87
 Emails/Attachments   PILGRIMS-0007064978         PILGRIMS-0007065077         24
 Emails/Attachments   PILGRIMS-0007065082         PILGRIMS-0007065439         164
 Emails/Attachments   PILGRIMS-0007065444         PILGRIMS-0007065535         18
 Emails/Attachments   PILGRIMS-0007065540         PILGRIMS-0007065622         26
 Emails/Attachments   PILGRIMS-0007065628         PILGRIMS-0007065711         36
 Emails/Attachments   PILGRIMS-0007065713         PILGRIMS-0007066114         191
 Emails/Attachments   PILGRIMS-0007066127         PILGRIMS-0007066159         23
 Emails/Attachments   PILGRIMS-0007067190         PILGRIMS-0007068768         396
 Emails/Attachments   PILGRIMS-0007068778         PILGRIMS-0007068860         42
 Emails/Attachments   PILGRIMS-0007069228         PILGRIMS-0007070373         37
 Emails/Attachments   PILGRIMS-0007070383         PILGRIMS-0007070387          2
 Emails/Attachments   PILGRIMS-0007070398         PILGRIMS-0007070435         28
 Emails/Attachments   PILGRIMS-0007070975         PILGRIMS-0007071087         66
 Emails/Attachments   PILGRIMS-0007071097         PILGRIMS-0007071104          4
 Emails/Attachments   PILGRIMS-0007071114         PILGRIMS-0007071947         93
 Emails/Attachments   PILGRIMS-0007071957         PILGRIMS-0007071959          3
 Emails/Attachments   PILGRIMS-0007071969         PILGRIMS-0007072055         58
 Emails/Attachments   PILGRIMS-0007072057         PILGRIMS-0007072848         353
 Emails/Attachments   PILGRIMS-0007072850         PILGRIMS-0007072956         74
 Emails/Attachments   PILGRIMS-0007072959         PILGRIMS-0007073077         96
 Emails/Attachments   PILGRIMS-0007073079         PILGRIMS-0007073724         410
 Emails/Attachments   PILGRIMS-0007073726         PILGRIMS-0007073912         124
 Emails/Attachments   PILGRIMS-0007073914         PILGRIMS-0007074175         162
 Emails/Attachments   PILGRIMS-0007074182         PILGRIMS-0007075203         560
 Emails/Attachments   PILGRIMS-0007075213         PILGRIMS-0007075233         11


                                    Page 167 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 191 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007075235         PILGRIMS-0007075582         225
 Emails/Attachments   PILGRIMS-0007075584         PILGRIMS-0007075768         104
 Emails/Attachments   PILGRIMS-0007075770         PILGRIMS-0007076006         117
 Emails/Attachments   PILGRIMS-0007076008         PILGRIMS-0007076367         190
 Emails/Attachments   PILGRIMS-0007076369         PILGRIMS-0007076788         279
 Emails/Attachments   PILGRIMS-0007076790         PILGRIMS-0007076813         15
 Emails/Attachments   PILGRIMS-0007076815         PILGRIMS-0007076889         54
 Emails/Attachments   PILGRIMS-0007077388         PILGRIMS-0007077491         62
 Emails/Attachments   PILGRIMS-0007077493         PILGRIMS-0007077967         104
 Emails/Attachments   PILGRIMS-0007077969         PILGRIMS-0007078152         111
 Emails/Attachments   PILGRIMS-0007078154         PILGRIMS-0007078193         24
 Emails/Attachments   PILGRIMS-0007078800         PILGRIMS-0007078948         102
 Emails/Attachments   PILGRIMS-0007079181         PILGRIMS-0007079307         66
 Emails/Attachments   PILGRIMS-0007079309         PILGRIMS-0007079463         96
 Emails/Attachments   PILGRIMS-0007080076         PILGRIMS-0007080077          1
 Emails/Attachments   PILGRIMS-0007080690         PILGRIMS-0007080893         143
 Emails/Attachments   PILGRIMS-0007080895         PILGRIMS-0007080926         27
 Emails/Attachments   PILGRIMS-0007080928         PILGRIMS-0007081292         30
 Emails/Attachments   PILGRIMS-0007081389         PILGRIMS-0007082101         101
 Emails/Attachments   PILGRIMS-0007082107         PILGRIMS-0007083242         421
 Emails/Attachments   PILGRIMS-0007083244         PILGRIMS-0007083342         63
 Emails/Attachments   PILGRIMS-0007083344         PILGRIMS-0007083353          6
 Emails/Attachments   PILGRIMS-0007083355         PILGRIMS-0007083451         52
 Emails/Attachments   PILGRIMS-0007083454         PILGRIMS-0007083513         35
 Emails/Attachments   PILGRIMS-0007083515         PILGRIMS-0007083898         156
 Emails/Attachments   PILGRIMS-0007083900         PILGRIMS-0007084219         143
 Emails/Attachments   PILGRIMS-0007084221         PILGRIMS-0007084280         34
 Emails/Attachments   PILGRIMS-0007084283         PILGRIMS-0007084443         86
 Emails/Attachments   PILGRIMS-0007085072         PILGRIMS-0007085075          3
 Emails/Attachments   PILGRIMS-0007085078         PILGRIMS-0007085086          4
 Emails/Attachments   PILGRIMS-0007085092         PILGRIMS-0007085094          2
 Emails/Attachments   PILGRIMS-0007085097         PILGRIMS-0007085114          7
 Emails/Attachments   PILGRIMS-0007085123         PILGRIMS-0007085153         12
 Emails/Attachments   PILGRIMS-0007085159         PILGRIMS-0007085173          6
 Emails/Attachments   PILGRIMS-0007085178         PILGRIMS-0007085197          9
 Emails/Attachments   PILGRIMS-0007085202         PILGRIMS-0007085213          5
 Emails/Attachments   PILGRIMS-0007085216         PILGRIMS-0007085245         20
 Emails/Attachments   PILGRIMS-0007085248         PILGRIMS-0007085270         11
 Emails/Attachments   PILGRIMS-0007085272         PILGRIMS-0007085287          7
 Emails/Attachments   PILGRIMS-0007085290         PILGRIMS-0007085293          3
 Emails/Attachments   PILGRIMS-0007085296         PILGRIMS-0007085303          4
 Emails/Attachments   PILGRIMS-0007085311         PILGRIMS-0007085311          1
 Emails/Attachments   PILGRIMS-0007085315         PILGRIMS-0007085319          5
 Emails/Attachments   PILGRIMS-0007085323         PILGRIMS-0007085328          2
 Emails/Attachments   PILGRIMS-0007085331         PILGRIMS-0007085337          3
 Emails/Attachments   PILGRIMS-0007085341         PILGRIMS-0007085348          4


                                    Page 168 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 192 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007085350         PILGRIMS-0007085350          1
 Emails/Attachments   PILGRIMS-0007085353         PILGRIMS-0007085353          1
 Emails/Attachments   PILGRIMS-0007085367         PILGRIMS-0007085367          1
 Emails/Attachments   PILGRIMS-0007085369         PILGRIMS-0007085382          7
 Emails/Attachments   PILGRIMS-0007085385         PILGRIMS-0007085393          4
 Emails/Attachments   PILGRIMS-0007085397         PILGRIMS-0007085429         17
 Emails/Attachments   PILGRIMS-0007085439         PILGRIMS-0007085446          4
 Emails/Attachments   PILGRIMS-0007085454         PILGRIMS-0007085522         35
 Emails/Attachments   PILGRIMS-0007085527         PILGRIMS-0007085534          4
 Emails/Attachments   PILGRIMS-0007085537         PILGRIMS-0007085570         18
 Emails/Attachments   PILGRIMS-0007085573         PILGRIMS-0007085608         23
 Emails/Attachments   PILGRIMS-0007085610         PILGRIMS-0007085630         12
 Emails/Attachments   PILGRIMS-0007085633         PILGRIMS-0007085680         26
 Emails/Attachments   PILGRIMS-0007085682         PILGRIMS-0007085754         17
 Emails/Attachments   PILGRIMS-0007085757         PILGRIMS-0007085766          4
 Emails/Attachments   PILGRIMS-0007085776         PILGRIMS-0007085779          2
 Emails/Attachments   PILGRIMS-0007085784         PILGRIMS-0007085785          2
 Emails/Attachments   PILGRIMS-0007085790         PILGRIMS-0007085796          5
 Emails/Attachments   PILGRIMS-0007085798         PILGRIMS-0007085806          6
 Emails/Attachments   PILGRIMS-0007085808         PILGRIMS-0007085811          2
 Emails/Attachments   PILGRIMS-0007085816         PILGRIMS-0007085827          7
 Emails/Attachments   PILGRIMS-0007085830         PILGRIMS-0007086476         48
 Emails/Attachments   PILGRIMS-0007086478         PILGRIMS-0007086524          8
 Emails/Attachments   PILGRIMS-0007086527         PILGRIMS-0007086528          1
 Emails/Attachments   PILGRIMS-0007086532         PILGRIMS-0007086534          1
 Emails/Attachments   PILGRIMS-0007086538         PILGRIMS-0007086736         49
 Emails/Attachments   PILGRIMS-0007086740         PILGRIMS-0007086764         16
 Emails/Attachments   PILGRIMS-0007086768         PILGRIMS-0007087334         20
 Emails/Attachments   PILGRIMS-0007087337         PILGRIMS-0007087349          7
 Emails/Attachments   PILGRIMS-0007087352         PILGRIMS-0007087364          9
 Emails/Attachments   PILGRIMS-0007087369         PILGRIMS-0007087375          7
 Emails/Attachments   PILGRIMS-0007087377         PILGRIMS-0007087410         24
 Emails/Attachments   PILGRIMS-0007087415         PILGRIMS-0007087950         37
 Emails/Attachments   PILGRIMS-0007087955         PILGRIMS-0007088026         51
 Emails/Attachments   PILGRIMS-0007088033         PILGRIMS-0007088033          1
 Emails/Attachments   PILGRIMS-0007088036         PILGRIMS-0007088057         14
 Emails/Attachments   PILGRIMS-0007088063         PILGRIMS-0007088065          2
 Emails/Attachments   PILGRIMS-0007088070         PILGRIMS-0007088081          8
 Emails/Attachments   PILGRIMS-0007088083         PILGRIMS-0007088091          7
 Emails/Attachments   PILGRIMS-0007088094         PILGRIMS-0007088112         13
 Emails/Attachments   PILGRIMS-0007088118         PILGRIMS-0007088127          7
 Emails/Attachments   PILGRIMS-0007088130         PILGRIMS-0007088131          1
 Emails/Attachments   PILGRIMS-0007088136         PILGRIMS-0007088315         96
 Emails/Attachments   PILGRIMS-0007088318         PILGRIMS-0007088360         31
 Emails/Attachments   PILGRIMS-0007088364         PILGRIMS-0007088399         22
 Emails/Attachments   PILGRIMS-0007088402         PILGRIMS-0007088475         48


                                    Page 169 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 193 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007088478         PILGRIMS-0007088494         11
 Emails/Attachments   PILGRIMS-0007088498         PILGRIMS-0007088510          6
 Emails/Attachments   PILGRIMS-0007088513         PILGRIMS-0007088529         11
 Emails/Attachments   PILGRIMS-0007088532         PILGRIMS-0007088573         24
 Emails/Attachments   PILGRIMS-0007088578         PILGRIMS-0007088578          1
 Emails/Attachments   PILGRIMS-0007088581         PILGRIMS-0007088610         26
 Emails/Attachments   PILGRIMS-0007088614         PILGRIMS-0007088618          5
 Emails/Attachments   PILGRIMS-0007088621         PILGRIMS-0007088622          2
 Emails/Attachments   PILGRIMS-0007088625         PILGRIMS-0007088626          2
 Emails/Attachments   PILGRIMS-0007088631         PILGRIMS-0007088632          2
 Emails/Attachments   PILGRIMS-0007088645         PILGRIMS-0007088646          1
 Emails/Attachments   PILGRIMS-0007088651         PILGRIMS-0007088652          2
 Emails/Attachments   PILGRIMS-0007088655         PILGRIMS-0007088656          2
 Emails/Attachments   PILGRIMS-0007088659         PILGRIMS-0007088665          3
 Emails/Attachments   PILGRIMS-0007088670         PILGRIMS-0007088675          2
 Emails/Attachments   PILGRIMS-0007088678         PILGRIMS-0007088679          1
 Emails/Attachments   PILGRIMS-0007088684         PILGRIMS-0007088689          3
 Emails/Attachments   PILGRIMS-0007088693         PILGRIMS-0007088712         16
 Emails/Attachments   PILGRIMS-0007088714         PILGRIMS-0007088731         12
 Emails/Attachments   PILGRIMS-0007088733         PILGRIMS-0007088787         43
 Emails/Attachments   PILGRIMS-0007088816         PILGRIMS-0007088816          1
 Emails/Attachments   PILGRIMS-0007088820         PILGRIMS-0007088823          2
 Emails/Attachments   PILGRIMS-0007088826         PILGRIMS-0007088829          2
 Emails/Attachments   PILGRIMS-0007088832         PILGRIMS-0007088843          8
 Emails/Attachments   PILGRIMS-0007088847         PILGRIMS-0007088847          1
 Emails/Attachments   PILGRIMS-0007088850         PILGRIMS-0007088880         28
 Emails/Attachments   PILGRIMS-0007088883         PILGRIMS-0007088902         16
 Emails/Attachments   PILGRIMS-0007088905         PILGRIMS-0007088948         28
 Emails/Attachments   PILGRIMS-0007088952         PILGRIMS-0007088957          6
 Emails/Attachments   PILGRIMS-0007088962         PILGRIMS-0007088970          9
 Emails/Attachments   PILGRIMS-0007088975         PILGRIMS-0007088990         10
 Emails/Attachments   PILGRIMS-0007088994         PILGRIMS-0007089221         134
 Emails/Attachments   PILGRIMS-0007089224         PILGRIMS-0007089229          6
 Emails/Attachments   PILGRIMS-0007089236         PILGRIMS-0007089243          8
 Emails/Attachments   PILGRIMS-0007089246         PILGRIMS-0007092149         248
 Emails/Attachments   PILGRIMS-0007092154         PILGRIMS-0007092598         90
 Emails/Attachments   PILGRIMS-0007092605         PILGRIMS-0007100743         189
 Emails/Attachments   PILGRIMS-0007100758         PILGRIMS-0007100792          9
 Emails/Attachments   PILGRIMS-0007100794         PILGRIMS-0007105004         306
 Emails/Attachments   PILGRIMS-0007107970         PILGRIMS-0007108647         20
 Emails/Attachments   PILGRIMS-0007108720         PILGRIMS-0007108725          6
 Emails/Attachments   PILGRIMS-0007109235         PILGRIMS-0007109872         211
 Emails/Attachments   PILGRIMS-0007109877         PILGRIMS-0007109915         33
 Emails/Attachments   PILGRIMS-0007109917         PILGRIMS-0007109979         51
 Emails/Attachments   PILGRIMS-0007109982         PILGRIMS-0007110007         10
 Emails/Attachments   PILGRIMS-0007110015         PILGRIMS-0007110201         111


                                    Page 170 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 194 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007110207         PILGRIMS-0007110351         59
 Emails/Attachments   PILGRIMS-0007110354         PILGRIMS-0007110431         10
 Emails/Attachments   PILGRIMS-0007110434         PILGRIMS-0007110446         13
 Emails/Attachments   PILGRIMS-0007110451         PILGRIMS-0007110773         205
 Emails/Attachments   PILGRIMS-0007110775         PILGRIMS-0007110994         138
 Emails/Attachments   PILGRIMS-0007110997         PILGRIMS-0007111299         193
 Emails/Attachments   PILGRIMS-0007111302         PILGRIMS-0007111332         25
 Emails/Attachments   PILGRIMS-0007111367         PILGRIMS-0007111686         107
 Emails/Attachments   PILGRIMS-0007111689         PILGRIMS-0007112007         36
 Emails/Attachments   PILGRIMS-0007112010         PILGRIMS-0007112062         29
 Emails/Attachments   PILGRIMS-0007112065         PILGRIMS-0007113125         69
 Emails/Attachments   PILGRIMS-0007113151         PILGRIMS-0007113797         238
 Emails/Attachments   PILGRIMS-0007113835         PILGRIMS-0007114092         106
 Emails/Attachments   PILGRIMS-0007114095         PILGRIMS-0007114097          1
 Emails/Attachments   PILGRIMS-0007114106         PILGRIMS-0007114107          2
 Emails/Attachments   PILGRIMS-0007114110         PILGRIMS-0007114118          4
 Emails/Attachments   PILGRIMS-0007114125         PILGRIMS-0007114165         24
 Emails/Attachments   PILGRIMS-0007114168         PILGRIMS-0007114214         15
 Emails/Attachments   PILGRIMS-0007114263         PILGRIMS-0007114301         19
 Emails/Attachments   PILGRIMS-0007114313         PILGRIMS-0007114725         141
 Emails/Attachments   PILGRIMS-0007114728         PILGRIMS-0007114732          4
 Emails/Attachments   PILGRIMS-0007114735         PILGRIMS-0007114752         17
 Emails/Attachments   PILGRIMS-0007114755         PILGRIMS-0007114835         35
 Emails/Attachments   PILGRIMS-0007114914         PILGRIMS-0007114920          4
 Emails/Attachments   PILGRIMS-0007114925         PILGRIMS-0007115102         90
 Emails/Attachments   PILGRIMS-0007115107         PILGRIMS-0007115113          5
 Emails/Attachments   PILGRIMS-0007115117         PILGRIMS-0007115135          9
 Emails/Attachments   PILGRIMS-0007115138         PILGRIMS-0007115139          2
 Emails/Attachments   PILGRIMS-0007115142         PILGRIMS-0007115331         33
 Emails/Attachments   PILGRIMS-0007115334         PILGRIMS-0007115524         34
 Emails/Attachments   PILGRIMS-0007115531         PILGRIMS-0007115746         21
 Emails/Attachments   PILGRIMS-0007115748         PILGRIMS-0007115786         12
 Emails/Attachments   PILGRIMS-0007115790         PILGRIMS-0007115808          8
 Emails/Attachments   PILGRIMS-0007115822         PILGRIMS-0007115969         51
 Emails/Attachments   PILGRIMS-0007115971         PILGRIMS-0007116069         32
 Emails/Attachments   PILGRIMS-0007116072         PILGRIMS-0007116185         47
 Emails/Attachments   PILGRIMS-0007116188         PILGRIMS-0007116268         23
 Emails/Attachments   PILGRIMS-0007116271         PILGRIMS-0007116411         40
 Emails/Attachments   PILGRIMS-0007116451         PILGRIMS-0007116460          8
 Emails/Attachments   PILGRIMS-0007116463         PILGRIMS-0007117209         159
 Emails/Attachments   PILGRIMS-0007117211         PILGRIMS-0007117211          1
 Emails/Attachments   PILGRIMS-0007117213         PILGRIMS-0007117304         45
 Emails/Attachments   PILGRIMS-0007117308         PILGRIMS-0007117967         63
 Emails/Attachments   PILGRIMS-0007117971         PILGRIMS-0007118218         50
 Emails/Attachments   PILGRIMS-0007118220         PILGRIMS-0007118234         12
 Emails/Attachments   PILGRIMS-0007118267         PILGRIMS-0007118456         74


                                    Page 171 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 195 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007118458         PILGRIMS-0007118463          4
 Emails/Attachments   PILGRIMS-0007118537         PILGRIMS-0007118552          4
 Emails/Attachments   PILGRIMS-0007118555         PILGRIMS-0007118591         15
 Emails/Attachments   PILGRIMS-0007118606         PILGRIMS-0007118637         18
 Emails/Attachments   PILGRIMS-0007118640         PILGRIMS-0007118649          1
 Emails/Attachments   PILGRIMS-0007118652         PILGRIMS-0007118896         70
 Emails/Attachments   PILGRIMS-0007119405         PILGRIMS-0007119901          2
 Emails/Attachments   PILGRIMS-0007120399         PILGRIMS-0007120913          6
 Emails/Attachments   PILGRIMS-0007120920         PILGRIMS-0007120940         18
 Emails/Attachments   PILGRIMS-0007120945         PILGRIMS-0007120946          2
 Emails/Attachments   PILGRIMS-0007120957         PILGRIMS-0007120965          7
 Emails/Attachments   PILGRIMS-0007120968         PILGRIMS-0007122851         79
 Emails/Attachments   PILGRIMS-0007122858         PILGRIMS-0007123898         166
 Emails/Attachments   PILGRIMS-0007124026         PILGRIMS-0007124427         194
 Emails/Attachments   PILGRIMS-0007124438         PILGRIMS-0007124455         12
 Emails/Attachments   PILGRIMS-0007125131         PILGRIMS-0007125502         141
 Emails/Attachments   PILGRIMS-0007125504         PILGRIMS-0007125772         67
 Emails/Attachments   PILGRIMS-0007125774         PILGRIMS-0007125778          4
 Emails/Attachments   PILGRIMS-0007125780         PILGRIMS-0007125786          4
 Emails/Attachments   PILGRIMS-0007125788         PILGRIMS-0007125819         16
 Emails/Attachments   PILGRIMS-0007125822         PILGRIMS-0007126981         63
 Emails/Attachments   PILGRIMS-0007127009         PILGRIMS-0007127028         11
 Emails/Attachments   PILGRIMS-0007127031         PILGRIMS-0007127040          3
 Emails/Attachments   PILGRIMS-0007127043         PILGRIMS-0007130755         427
 Emails/Attachments   PILGRIMS-0007130757         PILGRIMS-0007132777         505
 Emails/Attachments   PILGRIMS-0007132827         PILGRIMS-0007132910         30
 Emails/Attachments   PILGRIMS-0007132922         PILGRIMS-0007132937         16
 Emails/Attachments   PILGRIMS-0007132992         PILGRIMS-0007132993          2
 Emails/Attachments   PILGRIMS-0007132996         PILGRIMS-0007132997          1
 Emails/Attachments   PILGRIMS-0007133015         PILGRIMS-0007133016          2
 Emails/Attachments   PILGRIMS-0007133019         PILGRIMS-0007133024          6
 Emails/Attachments   PILGRIMS-0007133027         PILGRIMS-0007133030          3
 Emails/Attachments   PILGRIMS-0007133044         PILGRIMS-0007133047          4
 Emails/Attachments   PILGRIMS-0007133053         PILGRIMS-0007133057          4
 Emails/Attachments   PILGRIMS-0007133060         PILGRIMS-0007133068          9
 Emails/Attachments   PILGRIMS-0007133070         PILGRIMS-0007133071          2
 Emails/Attachments   PILGRIMS-0007133075         PILGRIMS-0007133076          2
 Emails/Attachments   PILGRIMS-0007133079         PILGRIMS-0007133080          2
 Emails/Attachments   PILGRIMS-0007133082         PILGRIMS-0007133083          2
 Emails/Attachments   PILGRIMS-0007133108         PILGRIMS-0007133136         27
 Emails/Attachments   PILGRIMS-0007133140         PILGRIMS-0007133149         10
 Emails/Attachments   PILGRIMS-0007133152         PILGRIMS-0007133159          8
 Emails/Attachments   PILGRIMS-0007133161         PILGRIMS-0007133162          2
 Emails/Attachments   PILGRIMS-0007133167         PILGRIMS-0007133182         14
 Emails/Attachments   PILGRIMS-0007133185         PILGRIMS-0007133186          2
 Emails/Attachments   PILGRIMS-0007133188         PILGRIMS-0007133199         12


                                    Page 172 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 196 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007133210         PILGRIMS-0007133211          2
 Emails/Attachments   PILGRIMS-0007133214         PILGRIMS-0007133217          4
 Emails/Attachments   PILGRIMS-0007133236         PILGRIMS-0007133253         18
 Emails/Attachments   PILGRIMS-0007133255         PILGRIMS-0007133256          2
 Emails/Attachments   PILGRIMS-0007133261         PILGRIMS-0007133267          7
 Emails/Attachments   PILGRIMS-0007133269         PILGRIMS-0007133270          1
 Emails/Attachments   PILGRIMS-0007133312         PILGRIMS-0007133313          2
 Emails/Attachments   PILGRIMS-0007133320         PILGRIMS-0007133321          2
 Emails/Attachments   PILGRIMS-0007134078         PILGRIMS-0007134079          1
 Emails/Attachments   PILGRIMS-0007134124         PILGRIMS-0007135645         707
 Emails/Attachments   PILGRIMS-0007135651         PILGRIMS-0007135652          2
 Emails/Attachments   PILGRIMS-0007135655         PILGRIMS-0007136082         76
 Emails/Attachments   PILGRIMS-0007136114         PILGRIMS-0007136388         31
 Emails/Attachments   PILGRIMS-0007136390         PILGRIMS-0007136502         81
 Emails/Attachments   PILGRIMS-0007136504         PILGRIMS-0007136544         18
 Emails/Attachments   PILGRIMS-0007136546         PILGRIMS-0007136551          6
 Emails/Attachments   PILGRIMS-0007136553         PILGRIMS-0007136554          2
 Emails/Attachments   PILGRIMS-0007136556         PILGRIMS-0007136559          4
 Emails/Attachments   PILGRIMS-0007136637         PILGRIMS-0007136638          2
 Emails/Attachments   PILGRIMS-0007136640         PILGRIMS-0007136643          4
 Emails/Attachments   PILGRIMS-0007136645         PILGRIMS-0007136646          2
 Emails/Attachments   PILGRIMS-0007136648         PILGRIMS-0007136655          4
 Emails/Attachments   PILGRIMS-0007136657         PILGRIMS-0007136658          2
 Emails/Attachments   PILGRIMS-0007136660         PILGRIMS-0007136663          2
 Emails/Attachments   PILGRIMS-0007136667         PILGRIMS-0007136673          6
 Emails/Attachments   PILGRIMS-0007136675         PILGRIMS-0007136681          5
 Emails/Attachments   PILGRIMS-0007136683         PILGRIMS-0007136690          6
 Emails/Attachments   PILGRIMS-0007136693         PILGRIMS-0007136694          2
 Emails/Attachments   PILGRIMS-0007136696         PILGRIMS-0007136697          2
 Emails/Attachments   PILGRIMS-0007136699         PILGRIMS-0007136704          5
 Emails/Attachments   PILGRIMS-0007136708         PILGRIMS-0007136711          2
 Emails/Attachments   PILGRIMS-0007136713         PILGRIMS-0007136715          2
 Emails/Attachments   PILGRIMS-0007136718         PILGRIMS-0007136746          5
 Emails/Attachments   PILGRIMS-0007136748         PILGRIMS-0007136754          3
 Emails/Attachments   PILGRIMS-0007136756         PILGRIMS-0007136757          2
 Emails/Attachments   PILGRIMS-0007136760         PILGRIMS-0007136763          3
 Emails/Attachments   PILGRIMS-0007136790         PILGRIMS-0007136800          6
 Emails/Attachments   PILGRIMS-0007136804         PILGRIMS-0007136805          2
 Emails/Attachments   PILGRIMS-0007136807         PILGRIMS-0007136810          3
 Emails/Attachments   PILGRIMS-0007136812         PILGRIMS-0007136820          6
 Emails/Attachments   PILGRIMS-0007136822         PILGRIMS-0007136831          7
 Emails/Attachments   PILGRIMS-0007136833         PILGRIMS-0007136848          9
 Emails/Attachments   PILGRIMS-0007136852         PILGRIMS-0007136892         10
 Emails/Attachments   PILGRIMS-0007136894         PILGRIMS-0007136895          2
 Emails/Attachments   PILGRIMS-0007136897         PILGRIMS-0007136903          4
 Emails/Attachments   PILGRIMS-0007136912         PILGRIMS-0007136917          4


                                    Page 173 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 197 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007136936         PILGRIMS-0007136937          2
 Emails/Attachments   PILGRIMS-0007136940         PILGRIMS-0007136955         10
 Emails/Attachments   PILGRIMS-0007136957         PILGRIMS-0007136962          4
 Emails/Attachments   PILGRIMS-0007136965         PILGRIMS-0007136969          3
 Emails/Attachments   PILGRIMS-0007136972         PILGRIMS-0007136976          3
 Emails/Attachments   PILGRIMS-0007136978         PILGRIMS-0007136979          2
 Emails/Attachments   PILGRIMS-0007136981         PILGRIMS-0007136984          2
 Emails/Attachments   PILGRIMS-0007136986         PILGRIMS-0007136987          1
 Emails/Attachments   PILGRIMS-0007138041         PILGRIMS-0007138047          5
 Emails/Attachments   PILGRIMS-0007138049         PILGRIMS-0007138055          3
 Emails/Attachments   PILGRIMS-0007138057         PILGRIMS-0007138075          6
 Emails/Attachments   PILGRIMS-0007138077         PILGRIMS-0007138078          1
 Emails/Attachments   PILGRIMS-0007138606         PILGRIMS-0007138607          2
 Emails/Attachments   PILGRIMS-0007139145         PILGRIMS-0007139146          1
 Emails/Attachments   PILGRIMS-0007139155         PILGRIMS-0007139157          1
 Emails/Attachments   PILGRIMS-0007139684         PILGRIMS-0007139690          3
 Emails/Attachments   PILGRIMS-0007139692         PILGRIMS-0007139707          2
 Emails/Attachments   PILGRIMS-0007139724         PILGRIMS-0007139735          5
 Emails/Attachments   PILGRIMS-0007139737         PILGRIMS-0007139738          2
 Emails/Attachments   PILGRIMS-0007139740         PILGRIMS-0007139775         22
 Emails/Attachments   PILGRIMS-0007139778         PILGRIMS-0007139783          5
 Emails/Attachments   PILGRIMS-0007139785         PILGRIMS-0007139788          3
 Emails/Attachments   PILGRIMS-0007139790         PILGRIMS-0007139827          6
 Emails/Attachments   PILGRIMS-0007139830         PILGRIMS-0007139845          7
 Emails/Attachments   PILGRIMS-0007139895         PILGRIMS-0007139897          3
 Emails/Attachments   PILGRIMS-0007139899         PILGRIMS-0007139901          1
 Emails/Attachments   PILGRIMS-0007139903         PILGRIMS-0007139908          6
 Emails/Attachments   PILGRIMS-0007139911         PILGRIMS-0007139931         14
 Emails/Attachments   PILGRIMS-0007139933         PILGRIMS-0007139942          6
 Emails/Attachments   PILGRIMS-0007139946         PILGRIMS-0007139952          5
 Emails/Attachments   PILGRIMS-0007139955         PILGRIMS-0007139956          2
 Emails/Attachments   PILGRIMS-0007139958         PILGRIMS-0007139959          2
 Emails/Attachments   PILGRIMS-0007139961         PILGRIMS-0007139983         15
 Emails/Attachments   PILGRIMS-0007139985         PILGRIMS-0007140015         18
 Emails/Attachments   PILGRIMS-0007140017         PILGRIMS-0007140017          1
 Emails/Attachments   PILGRIMS-0007140019         PILGRIMS-0007140022          4
 Emails/Attachments   PILGRIMS-0007140024         PILGRIMS-0007140029          4
 Emails/Attachments   PILGRIMS-0007140052         PILGRIMS-0007140058          6
 Emails/Attachments   PILGRIMS-0007140061         PILGRIMS-0007140064          2
 Emails/Attachments   PILGRIMS-0007140074         PILGRIMS-0007140080          3
 Emails/Attachments   PILGRIMS-0007140082         PILGRIMS-0007140091          7
 Emails/Attachments   PILGRIMS-0007140121         PILGRIMS-0007140128          5
 Emails/Attachments   PILGRIMS-0007140130         PILGRIMS-0007140131          2
 Emails/Attachments   PILGRIMS-0007140134         PILGRIMS-0007140134          1
 Emails/Attachments   PILGRIMS-0007140136         PILGRIMS-0007140142          4
 Emails/Attachments   PILGRIMS-0007140145         PILGRIMS-0007140153          7


                                    Page 174 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 198 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007140155         PILGRIMS-0007140165          6
 Emails/Attachments   PILGRIMS-0007140167         PILGRIMS-0007140180          7
 Emails/Attachments   PILGRIMS-0007140183         PILGRIMS-0007140183          1
 Emails/Attachments   PILGRIMS-0007140185         PILGRIMS-0007140194          8
 Emails/Attachments   PILGRIMS-0007140196         PILGRIMS-0007140234         20
 Emails/Attachments   PILGRIMS-0007140236         PILGRIMS-0007140239          4
 Emails/Attachments   PILGRIMS-0007140242         PILGRIMS-0007140248          4
 Emails/Attachments   PILGRIMS-0007140251         PILGRIMS-0007140274          6
 Emails/Attachments   PILGRIMS-0007140291         PILGRIMS-0007140296          6
 Emails/Attachments   PILGRIMS-0007140298         PILGRIMS-0007140303          6
 Emails/Attachments   PILGRIMS-0007140306         PILGRIMS-0007140307          2
 Emails/Attachments   PILGRIMS-0007140309         PILGRIMS-0007140321          9
 Emails/Attachments   PILGRIMS-0007140324         PILGRIMS-0007140344         16
 Emails/Attachments   PILGRIMS-0007140347         PILGRIMS-0007140348          2
 Emails/Attachments   PILGRIMS-0007140361         PILGRIMS-0007140366          6
 Emails/Attachments   PILGRIMS-0007140368         PILGRIMS-0007140384         10
 Emails/Attachments   PILGRIMS-0007140387         PILGRIMS-0007140424         29
 Emails/Attachments   PILGRIMS-0007140426         PILGRIMS-0007140445         11
 Emails/Attachments   PILGRIMS-0007140447         PILGRIMS-0007140463         12
 Emails/Attachments   PILGRIMS-0007140465         PILGRIMS-0007140489         10
 Emails/Attachments   PILGRIMS-0007140491         PILGRIMS-0007140494          4
 Emails/Attachments   PILGRIMS-0007140496         PILGRIMS-0007140497          2
 Emails/Attachments   PILGRIMS-0007140499         PILGRIMS-0007140500          2
 Emails/Attachments   PILGRIMS-0007140503         PILGRIMS-0007140515          8
 Emails/Attachments   PILGRIMS-0007140517         PILGRIMS-0007140518          1
 Emails/Attachments   PILGRIMS-0007140525         PILGRIMS-0007140538         12
 Emails/Attachments   PILGRIMS-0007140540         PILGRIMS-0007140541          2
 Emails/Attachments   PILGRIMS-0007140544         PILGRIMS-0007140565          9
 Emails/Attachments   PILGRIMS-0007140567         PILGRIMS-0007140568          2
 Emails/Attachments   PILGRIMS-0007140571         PILGRIMS-0007140577          7
 Emails/Attachments   PILGRIMS-0007140579         PILGRIMS-0007140586          6
 Emails/Attachments   PILGRIMS-0007140589         PILGRIMS-0007140603         14
 Emails/Attachments   PILGRIMS-0007140605         PILGRIMS-0007140605          1
 Emails/Attachments   PILGRIMS-0007140616         PILGRIMS-0007140619          4
 Emails/Attachments   PILGRIMS-0007140640         PILGRIMS-0007140650         11
 Emails/Attachments   PILGRIMS-0007140671         PILGRIMS-0007140678          8
 Emails/Attachments   PILGRIMS-0007140682         PILGRIMS-0007140692         10
 Emails/Attachments   PILGRIMS-0007140706         PILGRIMS-0007140720          5
 Emails/Attachments   PILGRIMS-0007140722         PILGRIMS-0007140739          7
 Emails/Attachments   PILGRIMS-0007140741         PILGRIMS-0007140742          2
 Emails/Attachments   PILGRIMS-0007140744         PILGRIMS-0007140749          6
 Emails/Attachments   PILGRIMS-0007140751         PILGRIMS-0007140795          6
 Emails/Attachments   PILGRIMS-0007140797         PILGRIMS-0007140806          6
 Emails/Attachments   PILGRIMS-0007140888         PILGRIMS-0007140894          6
 Emails/Attachments   PILGRIMS-0007140897         PILGRIMS-0007140902          6
 Emails/Attachments   PILGRIMS-0007140906         PILGRIMS-0007140907          1


                                    Page 175 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 199 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007140915         PILGRIMS-0007140921          6
 Emails/Attachments   PILGRIMS-0007140925         PILGRIMS-0007140926          2
 Emails/Attachments   PILGRIMS-0007140928         PILGRIMS-0007140935          7
 Emails/Attachments   PILGRIMS-0007140937         PILGRIMS-0007140938          2
 Emails/Attachments   PILGRIMS-0007140940         PILGRIMS-0007140940          1
 Emails/Attachments   PILGRIMS-0007140943         PILGRIMS-0007140949          4
 Emails/Attachments   PILGRIMS-0007140953         PILGRIMS-0007140958          6
 Emails/Attachments   PILGRIMS-0007140961         PILGRIMS-0007140978         15
 Emails/Attachments   PILGRIMS-0007140980         PILGRIMS-0007141056         28
 Emails/Attachments   PILGRIMS-0007141059         PILGRIMS-0007141063          4
 Emails/Attachments   PILGRIMS-0007141066         PILGRIMS-0007141069          4
 Emails/Attachments   PILGRIMS-0007141132         PILGRIMS-0007141133          2
 Emails/Attachments   PILGRIMS-0007141135         PILGRIMS-0007141142          8
 Emails/Attachments   PILGRIMS-0007141144         PILGRIMS-0007141166          8
 Emails/Attachments   PILGRIMS-0007141199         PILGRIMS-0007141221          9
 Emails/Attachments   PILGRIMS-0007141223         PILGRIMS-0007141224          2
 Emails/Attachments   PILGRIMS-0007141226         PILGRIMS-0007141228          2
 Emails/Attachments   PILGRIMS-0007141231         PILGRIMS-0007141232          2
 Emails/Attachments   PILGRIMS-0007141234         PILGRIMS-0007141235          2
 Emails/Attachments   PILGRIMS-0007141239         PILGRIMS-0007141240          2
 Emails/Attachments   PILGRIMS-0007141242         PILGRIMS-0007141243          2
 Emails/Attachments   PILGRIMS-0007141245         PILGRIMS-0007141248          4
 Emails/Attachments   PILGRIMS-0007141250         PILGRIMS-0007141251          2
 Emails/Attachments   PILGRIMS-0007141253         PILGRIMS-0007141255          2
 Emails/Attachments   PILGRIMS-0007141258         PILGRIMS-0007141259          2
 Emails/Attachments   PILGRIMS-0007141263         PILGRIMS-0007141268          6
 Emails/Attachments   PILGRIMS-0007141270         PILGRIMS-0007141271          2
 Emails/Attachments   PILGRIMS-0007141275         PILGRIMS-0007141276          2
 Emails/Attachments   PILGRIMS-0007141280         PILGRIMS-0007141322         18
 Emails/Attachments   PILGRIMS-0007141324         PILGRIMS-0007141328          4
 Emails/Attachments   PILGRIMS-0007141331         PILGRIMS-0007141332          2
 Emails/Attachments   PILGRIMS-0007141355         PILGRIMS-0007141364          9
 Emails/Attachments   PILGRIMS-0007141367         PILGRIMS-0007141371          4
 Emails/Attachments   PILGRIMS-0007141375         PILGRIMS-0007141376          2
 Emails/Attachments   PILGRIMS-0007141378         PILGRIMS-0007141379          2
 Emails/Attachments   PILGRIMS-0007141381         PILGRIMS-0007141382          2
 Emails/Attachments   PILGRIMS-0007141384         PILGRIMS-0007141389          6
 Emails/Attachments   PILGRIMS-0007141391         PILGRIMS-0007141393          2
 Emails/Attachments   PILGRIMS-0007141396         PILGRIMS-0007141401          5
 Emails/Attachments   PILGRIMS-0007141403         PILGRIMS-0007141409          5
 Emails/Attachments   PILGRIMS-0007141411         PILGRIMS-0007141412          2
 Emails/Attachments   PILGRIMS-0007141414         PILGRIMS-0007141439          9
 Emails/Attachments   PILGRIMS-0007141441         PILGRIMS-0007141454         13
 Emails/Attachments   PILGRIMS-0007141456         PILGRIMS-0007141506         11
 Emails/Attachments   PILGRIMS-0007141548         PILGRIMS-0007141551          2
 Emails/Attachments   PILGRIMS-0007141554         PILGRIMS-0007141560          5


                                    Page 176 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 200 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007141562         PILGRIMS-0007141569          8
 Emails/Attachments   PILGRIMS-0007141571         PILGRIMS-0007141574          4
 Emails/Attachments   PILGRIMS-0007141578         PILGRIMS-0007141595         18
 Emails/Attachments   PILGRIMS-0007141598         PILGRIMS-0007141606          8
 Emails/Attachments   PILGRIMS-0007141609         PILGRIMS-0007141610          2
 Emails/Attachments   PILGRIMS-0007141613         PILGRIMS-0007141655         11
 Emails/Attachments   PILGRIMS-0007141657         PILGRIMS-0007141680         21
 Emails/Attachments   PILGRIMS-0007141688         PILGRIMS-0007141689          2
 Emails/Attachments   PILGRIMS-0007141691         PILGRIMS-0007141698          4
 Emails/Attachments   PILGRIMS-0007141747         PILGRIMS-0007141774         18
 Emails/Attachments   PILGRIMS-0007141776         PILGRIMS-0007141783          8
 Emails/Attachments   PILGRIMS-0007141787         PILGRIMS-0007141791          4
 Emails/Attachments   PILGRIMS-0007141794         PILGRIMS-0007141795          2
 Emails/Attachments   PILGRIMS-0007141797         PILGRIMS-0007141798          2
 Emails/Attachments   PILGRIMS-0007141800         PILGRIMS-0007141801          1
 Emails/Attachments   PILGRIMS-0007141803         PILGRIMS-0007141818         14
 Emails/Attachments   PILGRIMS-0007141820         PILGRIMS-0007141823          3
 Emails/Attachments   PILGRIMS-0007141825         PILGRIMS-0007141834          9
 Emails/Attachments   PILGRIMS-0007141836         PILGRIMS-0007141841          6
 Emails/Attachments   PILGRIMS-0007141843         PILGRIMS-0007141848          4
 Emails/Attachments   PILGRIMS-0007141851         PILGRIMS-0007141852          2
 Emails/Attachments   PILGRIMS-0007141854         PILGRIMS-0007141855          2
 Emails/Attachments   PILGRIMS-0007141908         PILGRIMS-0007141915          5
 Emails/Attachments   PILGRIMS-0007141918         PILGRIMS-0007141934         13
 Emails/Attachments   PILGRIMS-0007141939         PILGRIMS-0007141943          5
 Emails/Attachments   PILGRIMS-0007141945         PILGRIMS-0007141980         29
 Emails/Attachments   PILGRIMS-0007141986         PILGRIMS-0007141987          2
 Emails/Attachments   PILGRIMS-0007141990         PILGRIMS-0007142000          7
 Emails/Attachments   PILGRIMS-0007142002         PILGRIMS-0007142014         10
 Emails/Attachments   PILGRIMS-0007142016         PILGRIMS-0007142017          2
 Emails/Attachments   PILGRIMS-0007142019         PILGRIMS-0007142020          2
 Emails/Attachments   PILGRIMS-0007142022         PILGRIMS-0007142025          4
 Emails/Attachments   PILGRIMS-0007142027         PILGRIMS-0007142048         19
 Emails/Attachments   PILGRIMS-0007142051         PILGRIMS-0007142052          2
 Emails/Attachments   PILGRIMS-0007142055         PILGRIMS-0007142056          2
 Emails/Attachments   PILGRIMS-0007142059         PILGRIMS-0007142064          4
 Emails/Attachments   PILGRIMS-0007142066         PILGRIMS-0007142082         13
 Emails/Attachments   PILGRIMS-0007142087         PILGRIMS-0007142090          4
 Emails/Attachments   PILGRIMS-0007142092         PILGRIMS-0007142094          2
 Emails/Attachments   PILGRIMS-0007142147         PILGRIMS-0007142148          2
 Emails/Attachments   PILGRIMS-0007142150         PILGRIMS-0007142167          4
 Emails/Attachments   PILGRIMS-0007142169         PILGRIMS-0007142170          2
 Emails/Attachments   PILGRIMS-0007142172         PILGRIMS-0007142193          9
 Emails/Attachments   PILGRIMS-0007142202         PILGRIMS-0007142203          2
 Emails/Attachments   PILGRIMS-0007142205         PILGRIMS-0007142209          5
 Emails/Attachments   PILGRIMS-0007142211         PILGRIMS-0007142214          4


                                    Page 177 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 201 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007142216         PILGRIMS-0007142225         10
 Emails/Attachments   PILGRIMS-0007142227         PILGRIMS-0007142228          2
 Emails/Attachments   PILGRIMS-0007142230         PILGRIMS-0007142231          2
 Emails/Attachments   PILGRIMS-0007142234         PILGRIMS-0007142235          2
 Emails/Attachments   PILGRIMS-0007142237         PILGRIMS-0007142241          4
 Emails/Attachments   PILGRIMS-0007142243         PILGRIMS-0007142250          6
 Emails/Attachments   PILGRIMS-0007142260         PILGRIMS-0007142284          3
 Emails/Attachments   PILGRIMS-0007142286         PILGRIMS-0007142291          5
 Emails/Attachments   PILGRIMS-0007142293         PILGRIMS-0007142294          2
 Emails/Attachments   PILGRIMS-0007142296         PILGRIMS-0007142297          2
 Emails/Attachments   PILGRIMS-0007142299         PILGRIMS-0007142336          7
 Emails/Attachments   PILGRIMS-0007142338         PILGRIMS-0007142341          4
 Emails/Attachments   PILGRIMS-0007142343         PILGRIMS-0007142349          6
 Emails/Attachments   PILGRIMS-0007142352         PILGRIMS-0007142353          2
 Emails/Attachments   PILGRIMS-0007142355         PILGRIMS-0007142373          7
 Emails/Attachments   PILGRIMS-0007142376         PILGRIMS-0007142377          2
 Emails/Attachments   PILGRIMS-0007142379         PILGRIMS-0007142384          6
 Emails/Attachments   PILGRIMS-0007142386         PILGRIMS-0007142387          2
 Emails/Attachments   PILGRIMS-0007142389         PILGRIMS-0007142394          4
 Emails/Attachments   PILGRIMS-0007142396         PILGRIMS-0007142397          2
 Emails/Attachments   PILGRIMS-0007142399         PILGRIMS-0007142400          2
 Emails/Attachments   PILGRIMS-0007143069         PILGRIMS-0007143072          3
 Emails/Attachments   PILGRIMS-0007143074         PILGRIMS-0007143081          8
 Emails/Attachments   PILGRIMS-0007143084         PILGRIMS-0007143085          2
 Emails/Attachments   PILGRIMS-0007143089         PILGRIMS-0007143090          2
 Emails/Attachments   PILGRIMS-0007143092         PILGRIMS-0007143095          4
 Emails/Attachments   PILGRIMS-0007143097         PILGRIMS-0007143102          4
 Emails/Attachments   PILGRIMS-0007143104         PILGRIMS-0007143105          2
 Emails/Attachments   PILGRIMS-0007143107         PILGRIMS-0007143153         23
 Emails/Attachments   PILGRIMS-0007143159         PILGRIMS-0007143160          2
 Emails/Attachments   PILGRIMS-0007143164         PILGRIMS-0007143172          6
 Emails/Attachments   PILGRIMS-0007143177         PILGRIMS-0007143194         10
 Emails/Attachments   PILGRIMS-0007143200         PILGRIMS-0007143205          6
 Emails/Attachments   PILGRIMS-0007143215         PILGRIMS-0007143216          2
 Emails/Attachments   PILGRIMS-0007143220         PILGRIMS-0007143235         12
 Emails/Attachments   PILGRIMS-0007143237         PILGRIMS-0007143252         16
 Emails/Attachments   PILGRIMS-0007143255         PILGRIMS-0007143256          2
 Emails/Attachments   PILGRIMS-0007143258         PILGRIMS-0007143259          2
 Emails/Attachments   PILGRIMS-0007143923         PILGRIMS-0007143924          2
 Emails/Attachments   PILGRIMS-0007143927         PILGRIMS-0007143947          1
 Emails/Attachments   PILGRIMS-0007143952         PILGRIMS-0007143966         10
 Emails/Attachments   PILGRIMS-0007143969         PILGRIMS-0007143970          2
 Emails/Attachments   PILGRIMS-0007143974         PILGRIMS-0007143977          4
 Emails/Attachments   PILGRIMS-0007143979         PILGRIMS-0007143980          2
 Emails/Attachments   PILGRIMS-0007143982         PILGRIMS-0007143983          2
 Emails/Attachments   PILGRIMS-0007143985         PILGRIMS-0007144005          8


                                    Page 178 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 202 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007144017         PILGRIMS-0007144036          4
 Emails/Attachments   PILGRIMS-0007144054         PILGRIMS-0007144055          2
 Emails/Attachments   PILGRIMS-0007144058         PILGRIMS-0007144074         15
 Emails/Attachments   PILGRIMS-0007144077         PILGRIMS-0007144090         14
 Emails/Attachments   PILGRIMS-0007144097         PILGRIMS-0007144098          2
 Emails/Attachments   PILGRIMS-0007144100         PILGRIMS-0007144113          2
 Emails/Attachments   PILGRIMS-0007144117         PILGRIMS-0007144151          9
 Emails/Attachments   PILGRIMS-0007144153         PILGRIMS-0007144154          2
 Emails/Attachments   PILGRIMS-0007144188         PILGRIMS-0007144214          7
 Emails/Attachments   PILGRIMS-0007144216         PILGRIMS-0007144223          8
 Emails/Attachments   PILGRIMS-0007144225         PILGRIMS-0007144226          2
 Emails/Attachments   PILGRIMS-0007144228         PILGRIMS-0007144243          2
 Emails/Attachments   PILGRIMS-0007144259         PILGRIMS-0007144265          6
 Emails/Attachments   PILGRIMS-0007144267         PILGRIMS-0007144273          4
 Emails/Attachments   PILGRIMS-0007144278         PILGRIMS-0007144279          2
 Emails/Attachments   PILGRIMS-0007144281         PILGRIMS-0007144283          3
 Emails/Attachments   PILGRIMS-0007144285         PILGRIMS-0007144286          2
 Emails/Attachments   PILGRIMS-0007144288         PILGRIMS-0007144289          2
 Emails/Attachments   PILGRIMS-0007144291         PILGRIMS-0007144292          2
 Emails/Attachments   PILGRIMS-0007144294         PILGRIMS-0007144302          9
 Emails/Attachments   PILGRIMS-0007145743         PILGRIMS-0007145759          4
 Emails/Attachments   PILGRIMS-0007146072         PILGRIMS-0007146384          4
 Emails/Attachments   PILGRIMS-0007146396         PILGRIMS-0007146419          6
 Emails/Attachments   PILGRIMS-0007146421         PILGRIMS-0007146422          2
 Emails/Attachments   PILGRIMS-0007146424         PILGRIMS-0007146427          4
 Emails/Attachments   PILGRIMS-0007146430         PILGRIMS-0007146433          4
 Emails/Attachments   PILGRIMS-0007146435         PILGRIMS-0007146457          4
 Emails/Attachments   PILGRIMS-0007146459         PILGRIMS-0007146485          2
 Emails/Attachments   PILGRIMS-0007146594         PILGRIMS-0007146599          6
 Emails/Attachments   PILGRIMS-0007146602         PILGRIMS-0007146622         10
 Emails/Attachments   PILGRIMS-0007146635         PILGRIMS-0007146636          2
 Emails/Attachments   PILGRIMS-0007146639         PILGRIMS-0007146652         14
 Emails/Attachments   PILGRIMS-0007146656         PILGRIMS-0007146657          1
 Emails/Attachments   PILGRIMS-0007146659         PILGRIMS-0007146660          2
 Emails/Attachments   PILGRIMS-0007146663         PILGRIMS-0007146667          3
 Emails/Attachments   PILGRIMS-0007146670         PILGRIMS-0007146712          4
 Emails/Attachments   PILGRIMS-0007146714         PILGRIMS-0007146715          2
 Emails/Attachments   PILGRIMS-0007146717         PILGRIMS-0007146727         11
 Emails/Attachments   PILGRIMS-0007146740         PILGRIMS-0007146751          6
 Emails/Attachments   PILGRIMS-0007146754         PILGRIMS-0007146757          4
 Emails/Attachments   PILGRIMS-0007146759         PILGRIMS-0007146764          6
 Emails/Attachments   PILGRIMS-0007146766         PILGRIMS-0007146769          4
 Emails/Attachments   PILGRIMS-0007146773         PILGRIMS-0007146774          2
 Emails/Attachments   PILGRIMS-0007146776         PILGRIMS-0007146777          2
 Emails/Attachments   PILGRIMS-0007146799         PILGRIMS-0007146804          6
 Emails/Attachments   PILGRIMS-0007146806         PILGRIMS-0007146812          6


                                    Page 179 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 203 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007146814         PILGRIMS-0007146819          6
 Emails/Attachments   PILGRIMS-0007146821         PILGRIMS-0007146826          6
 Emails/Attachments   PILGRIMS-0007146828         PILGRIMS-0007146850          3
 Emails/Attachments   PILGRIMS-0007146853         PILGRIMS-0007146927          3
 Emails/Attachments   PILGRIMS-0007146929         PILGRIMS-0007146931          2
 Emails/Attachments   PILGRIMS-0007146934         PILGRIMS-0007146945          4
 Emails/Attachments   PILGRIMS-0007146956         PILGRIMS-0007146957          1
 Emails/Attachments   PILGRIMS-0007147939         PILGRIMS-0007147940          2
 Emails/Attachments   PILGRIMS-0007147942         PILGRIMS-0007147943          2
 Emails/Attachments   PILGRIMS-0007147945         PILGRIMS-0007147948          4
 Emails/Attachments   PILGRIMS-0007147950         PILGRIMS-0007147959         10
 Emails/Attachments   PILGRIMS-0007147961         PILGRIMS-0007147963          1
 Emails/Attachments   PILGRIMS-0007147965         PILGRIMS-0007147991          5
 Emails/Attachments   PILGRIMS-0007147993         PILGRIMS-0007148000          8
 Emails/Attachments   PILGRIMS-0007148002         PILGRIMS-0007148004          3
 Emails/Attachments   PILGRIMS-0007148006         PILGRIMS-0007148007          2
 Emails/Attachments   PILGRIMS-0007148010         PILGRIMS-0007148011          2
 Emails/Attachments   PILGRIMS-0007148013         PILGRIMS-0007148020          8
 Emails/Attachments   PILGRIMS-0007148718         PILGRIMS-0007148804          4
 Emails/Attachments   PILGRIMS-0007148806         PILGRIMS-0007148811          6
 Emails/Attachments   PILGRIMS-0007148813         PILGRIMS-0007148820          8
 Emails/Attachments   PILGRIMS-0007148823         PILGRIMS-0007148826          4
 Emails/Attachments   PILGRIMS-0007148828         PILGRIMS-0007148837         10
 Emails/Attachments   PILGRIMS-0007148839         PILGRIMS-0007148843          5
 Emails/Attachments   PILGRIMS-0007148845         PILGRIMS-0007148848          4
 Emails/Attachments   PILGRIMS-0007148862         PILGRIMS-0007148863          2
 Emails/Attachments   PILGRIMS-0007148865         PILGRIMS-0007148866          2
 Emails/Attachments   PILGRIMS-0007148869         PILGRIMS-0007148874          6
 Emails/Attachments   PILGRIMS-0007148876         PILGRIMS-0007148902         22
 Emails/Attachments   PILGRIMS-0007148905         PILGRIMS-0007148912          8
 Emails/Attachments   PILGRIMS-0007148915         PILGRIMS-0007148926          2
 Emails/Attachments   PILGRIMS-0007148938         PILGRIMS-0007148941          4
 Emails/Attachments   PILGRIMS-0007148944         PILGRIMS-0007148947          4
 Emails/Attachments   PILGRIMS-0007148949         PILGRIMS-0007148975         17
 Emails/Attachments   PILGRIMS-0007149042         PILGRIMS-0007149043          2
 Emails/Attachments   PILGRIMS-0007149045         PILGRIMS-0007149048          4
 Emails/Attachments   PILGRIMS-0007149051         PILGRIMS-0007149052          2
 Emails/Attachments   PILGRIMS-0007149055         PILGRIMS-0007149065         10
 Emails/Attachments   PILGRIMS-0007149067         PILGRIMS-0007149074          8
 Emails/Attachments   PILGRIMS-0007149077         PILGRIMS-0007149086         10
 Emails/Attachments   PILGRIMS-0007149088         PILGRIMS-0007149089          2
 Emails/Attachments   PILGRIMS-0007149091         PILGRIMS-0007149092          2
 Emails/Attachments   PILGRIMS-0007149094         PILGRIMS-0007149097          4
 Emails/Attachments   PILGRIMS-0007150330         PILGRIMS-0007150339         10
 Emails/Attachments   PILGRIMS-0007150345         PILGRIMS-0007150346          2
 Emails/Attachments   PILGRIMS-0007150348         PILGRIMS-0007150359         12


                                    Page 180 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 204 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007150362         PILGRIMS-0007150363          2
 Emails/Attachments   PILGRIMS-0007150366         PILGRIMS-0007150367          2
 Emails/Attachments   PILGRIMS-0007150369         PILGRIMS-0007150375          6
 Emails/Attachments   PILGRIMS-0007150377         PILGRIMS-0007150378          2
 Emails/Attachments   PILGRIMS-0007150737         PILGRIMS-0007150767         14
 Emails/Attachments   PILGRIMS-0007150770         PILGRIMS-0007150773          4
 Emails/Attachments   PILGRIMS-0007150776         PILGRIMS-0007150781          6
 Emails/Attachments   PILGRIMS-0007150783         PILGRIMS-0007150796         11
 Emails/Attachments   PILGRIMS-0007150798         PILGRIMS-0007150802          3
 Emails/Attachments   PILGRIMS-0007150804         PILGRIMS-0007150819         10
 Emails/Attachments   PILGRIMS-0007150831         PILGRIMS-0007150844          6
 Emails/Attachments   PILGRIMS-0007150846         PILGRIMS-0007150861         16
 Emails/Attachments   PILGRIMS-0007150865         PILGRIMS-0007150866          2
 Emails/Attachments   PILGRIMS-0007150868         PILGRIMS-0007150880          6
 Emails/Attachments   PILGRIMS-0007150889         PILGRIMS-0007150892          4
 Emails/Attachments   PILGRIMS-0007150894         PILGRIMS-0007150931         14
 Emails/Attachments   PILGRIMS-0007150934         PILGRIMS-0007150937          3
 Emails/Attachments   PILGRIMS-0007150941         PILGRIMS-0007150957          8
 Emails/Attachments   PILGRIMS-0007150978         PILGRIMS-0007150981          4
 Emails/Attachments   PILGRIMS-0007152216         PILGRIMS-0007152217          2
 Emails/Attachments   PILGRIMS-0007152219         PILGRIMS-0007152228          6
 Emails/Attachments   PILGRIMS-0007152230         PILGRIMS-0007152242         13
 Emails/Attachments   PILGRIMS-0007152244         PILGRIMS-0007152245          2
 Emails/Attachments   PILGRIMS-0007152247         PILGRIMS-0007152250          3
 Emails/Attachments   PILGRIMS-0007152252         PILGRIMS-0007152266          4
 Emails/Attachments   PILGRIMS-0007152279         PILGRIMS-0007152282          4
 Emails/Attachments   PILGRIMS-0007152284         PILGRIMS-0007152293          7
 Emails/Attachments   PILGRIMS-0007152295         PILGRIMS-0007152304         10
 Emails/Attachments   PILGRIMS-0007152307         PILGRIMS-0007152328         12
 Emails/Attachments   PILGRIMS-0007152340         PILGRIMS-0007152341          2
 Emails/Attachments   PILGRIMS-0007152343         PILGRIMS-0007152360         18
 Emails/Attachments   PILGRIMS-0007152362         PILGRIMS-0007152363          2
 Emails/Attachments   PILGRIMS-0007152365         PILGRIMS-0007152366          2
 Emails/Attachments   PILGRIMS-0007152369         PILGRIMS-0007152370          2
 Emails/Attachments   PILGRIMS-0007152372         PILGRIMS-0007152376          5
 Emails/Attachments   PILGRIMS-0007152378         PILGRIMS-0007152379          2
 Emails/Attachments   PILGRIMS-0007152381         PILGRIMS-0007152401         14
 Emails/Attachments   PILGRIMS-0007152410         PILGRIMS-0007152422         13
 Emails/Attachments   PILGRIMS-0007152424         PILGRIMS-0007152441         13
 Emails/Attachments   PILGRIMS-0007152444         PILGRIMS-0007152456         13
 Emails/Attachments   PILGRIMS-0007152459         PILGRIMS-0007152473          6
 Emails/Attachments   PILGRIMS-0007152483         PILGRIMS-0007152484          2
 Emails/Attachments   PILGRIMS-0007152486         PILGRIMS-0007152492          4
 Emails/Attachments   PILGRIMS-0007152494         PILGRIMS-0007152501          8
 Emails/Attachments   PILGRIMS-0007152816         PILGRIMS-0007152832          4
 Emails/Attachments   PILGRIMS-0007152847         PILGRIMS-0007152848          2


                                    Page 181 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 205 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007152850         PILGRIMS-0007152859          7
 Emails/Attachments   PILGRIMS-0007152861         PILGRIMS-0007152862          2
 Emails/Attachments   PILGRIMS-0007152864         PILGRIMS-0007152869          6
 Emails/Attachments   PILGRIMS-0007152871         PILGRIMS-0007152880         10
 Emails/Attachments   PILGRIMS-0007152882         PILGRIMS-0007152883          2
 Emails/Attachments   PILGRIMS-0007152905         PILGRIMS-0007152906          2
 Emails/Attachments   PILGRIMS-0007152909         PILGRIMS-0007152910          2
 Emails/Attachments   PILGRIMS-0007152914         PILGRIMS-0007152917          2
 Emails/Attachments   PILGRIMS-0007152937         PILGRIMS-0007152957          3
 Emails/Attachments   PILGRIMS-0007152959         PILGRIMS-0007152960          2
 Emails/Attachments   PILGRIMS-0007152972         PILGRIMS-0007152973          1
 Emails/Attachments   PILGRIMS-0007153050         PILGRIMS-0007153053          2
 Emails/Attachments   PILGRIMS-0007153056         PILGRIMS-0007153058          3
 Emails/Attachments   PILGRIMS-0007153066         PILGRIMS-0007153071          4
 Emails/Attachments   PILGRIMS-0007153752         PILGRIMS-0007154753         12
 Emails/Attachments   PILGRIMS-0007154757         PILGRIMS-0007154760          3
 Emails/Attachments   PILGRIMS-0007154763         PILGRIMS-0007154764          2
 Emails/Attachments   PILGRIMS-0007154770         PILGRIMS-0007154773          4
 Emails/Attachments   PILGRIMS-0007156286         PILGRIMS-0007156791          2
 Emails/Attachments   PILGRIMS-0007156793         PILGRIMS-0007156795          2
 Emails/Attachments   PILGRIMS-0007156800         PILGRIMS-0007156814          4
 Emails/Attachments   PILGRIMS-0007156826         PILGRIMS-0007156829          4
 Emails/Attachments   PILGRIMS-0007156831         PILGRIMS-0007156835          5
 Emails/Attachments   PILGRIMS-0007156837         PILGRIMS-0007156850         14
 Emails/Attachments   PILGRIMS-0007156855         PILGRIMS-0007156860          6
 Emails/Attachments   PILGRIMS-0007156862         PILGRIMS-0007156885         11
 Emails/Attachments   PILGRIMS-0007156890         PILGRIMS-0007156893          4
 Emails/Attachments   PILGRIMS-0007156895         PILGRIMS-0007156905          6
 Emails/Attachments   PILGRIMS-0007156907         PILGRIMS-0007156908          2
 Emails/Attachments   PILGRIMS-0007156910         PILGRIMS-0007156913          4
 Emails/Attachments   PILGRIMS-0007156915         PILGRIMS-0007156916          2
 Emails/Attachments   PILGRIMS-0007156927         PILGRIMS-0007156934          6
 Emails/Attachments   PILGRIMS-0007156936         PILGRIMS-0007156939          4
 Emails/Attachments   PILGRIMS-0007156941         PILGRIMS-0007156944          4
 Emails/Attachments   PILGRIMS-0007156947         PILGRIMS-0007156950          4
 Emails/Attachments   PILGRIMS-0007157304         PILGRIMS-0007157655          4
 Emails/Attachments   PILGRIMS-0007157969         PILGRIMS-0007158282          4
 Emails/Attachments   PILGRIMS-0007158334         PILGRIMS-0007158335          2
 Emails/Attachments   PILGRIMS-0007158337         PILGRIMS-0007158342          6
 Emails/Attachments   PILGRIMS-0007158345         PILGRIMS-0007158348          3
 Emails/Attachments   PILGRIMS-0007158350         PILGRIMS-0007158357          8
 Emails/Attachments   PILGRIMS-0007158395         PILGRIMS-0007158396          2
 Emails/Attachments   PILGRIMS-0007158399         PILGRIMS-0007158420         15
 Emails/Attachments   PILGRIMS-0007158422         PILGRIMS-0007158443          4
 Emails/Attachments   PILGRIMS-0007158446         PILGRIMS-0007158450          2
 Emails/Attachments   PILGRIMS-0007158452         PILGRIMS-0007158458          5


                                    Page 182 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 206 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007158460         PILGRIMS-0007158463          4
 Emails/Attachments   PILGRIMS-0007158465         PILGRIMS-0007158470          3
 Emails/Attachments   PILGRIMS-0007158472         PILGRIMS-0007158473          2
 Emails/Attachments   PILGRIMS-0007158476         PILGRIMS-0007158501         12
 Emails/Attachments   PILGRIMS-0007158503         PILGRIMS-0007158504          2
 Emails/Attachments   PILGRIMS-0007158506         PILGRIMS-0007158507          2
 Emails/Attachments   PILGRIMS-0007158509         PILGRIMS-0007158527         17
 Emails/Attachments   PILGRIMS-0007158529         PILGRIMS-0007158532          4
 Emails/Attachments   PILGRIMS-0007158534         PILGRIMS-0007158535          2
 Emails/Attachments   PILGRIMS-0007158537         PILGRIMS-0007158546         10
 Emails/Attachments   PILGRIMS-0007158898         PILGRIMS-0007159249          4
 Emails/Attachments   PILGRIMS-0007159916         PILGRIMS-0007160582          7
 Emails/Attachments   PILGRIMS-0007161634         PILGRIMS-0007161991          9
 Emails/Attachments   PILGRIMS-0007161993         PILGRIMS-0007162000          8
 Emails/Attachments   PILGRIMS-0007162002         PILGRIMS-0007162033         18
 Emails/Attachments   PILGRIMS-0007162050         PILGRIMS-0007162051          2
 Emails/Attachments   PILGRIMS-0007162053         PILGRIMS-0007162097          6
 Emails/Attachments   PILGRIMS-0007162099         PILGRIMS-0007162116          6
 Emails/Attachments   PILGRIMS-0007162128         PILGRIMS-0007162140          8
 Emails/Attachments   PILGRIMS-0007162142         PILGRIMS-0007162152          9
 Emails/Attachments   PILGRIMS-0007162154         PILGRIMS-0007162160          7
 Emails/Attachments   PILGRIMS-0007162173         PILGRIMS-0007162180          6
 Emails/Attachments   PILGRIMS-0007162182         PILGRIMS-0007162192          9
 Emails/Attachments   PILGRIMS-0007162545         PILGRIMS-0007162896          4
 Emails/Attachments   PILGRIMS-0007163559         PILGRIMS-0007164262         14
 Emails/Attachments   PILGRIMS-0007164264         PILGRIMS-0007164285         18
 Emails/Attachments   PILGRIMS-0007164287         PILGRIMS-0007164287          1
 Emails/Attachments   PILGRIMS-0007164290         PILGRIMS-0007164291          1
 Emails/Attachments   PILGRIMS-0007164327         PILGRIMS-0007164341         11
 Emails/Attachments   PILGRIMS-0007164343         PILGRIMS-0007164346          4
 Emails/Attachments   PILGRIMS-0007164348         PILGRIMS-0007164362         13
 Emails/Attachments   PILGRIMS-0007164364         PILGRIMS-0007164365          2
 Emails/Attachments   PILGRIMS-0007164367         PILGRIMS-0007164369          3
 Emails/Attachments   PILGRIMS-0007164371         PILGRIMS-0007164386         16
 Emails/Attachments   PILGRIMS-0007164389         PILGRIMS-0007164400          9
 Emails/Attachments   PILGRIMS-0007164402         PILGRIMS-0007164415         11
 Emails/Attachments   PILGRIMS-0007164419         PILGRIMS-0007164428          8
 Emails/Attachments   PILGRIMS-0007164431         PILGRIMS-0007164441          2
 Emails/Attachments   PILGRIMS-0007164443         PILGRIMS-0007164462         12
 Emails/Attachments   PILGRIMS-0007164464         PILGRIMS-0007164471          5
 Emails/Attachments   PILGRIMS-0007164473         PILGRIMS-0007164485          7
 Emails/Attachments   PILGRIMS-0007164490         PILGRIMS-0007164501         10
 Emails/Attachments   PILGRIMS-0007164503         PILGRIMS-0007164506          4
 Emails/Attachments   PILGRIMS-0007164509         PILGRIMS-0007164510          2
 Emails/Attachments   PILGRIMS-0007164512         PILGRIMS-0007164513          2
 Emails/Attachments   PILGRIMS-0007164515         PILGRIMS-0007164521          6


                                    Page 183 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 207 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007164523         PILGRIMS-0007164535          7
 Emails/Attachments   PILGRIMS-0007164538         PILGRIMS-0007164543          6
 Emails/Attachments   PILGRIMS-0007164545         PILGRIMS-0007164548          4
 Emails/Attachments   PILGRIMS-0007164550         PILGRIMS-0007164551          2
 Emails/Attachments   PILGRIMS-0007164553         PILGRIMS-0007164554          2
 Emails/Attachments   PILGRIMS-0007164556         PILGRIMS-0007164571         13
 Emails/Attachments   PILGRIMS-0007164573         PILGRIMS-0007164594         13
 Emails/Attachments   PILGRIMS-0007164596         PILGRIMS-0007164597          2
 Emails/Attachments   PILGRIMS-0007164604         PILGRIMS-0007164621         13
 Emails/Attachments   PILGRIMS-0007164623         PILGRIMS-0007164626          4
 Emails/Attachments   PILGRIMS-0007164628         PILGRIMS-0007164631          4
 Emails/Attachments   PILGRIMS-0007164633         PILGRIMS-0007164634          2
 Emails/Attachments   PILGRIMS-0007164636         PILGRIMS-0007164677         24
 Emails/Attachments   PILGRIMS-0007164679         PILGRIMS-0007164682          4
 Emails/Attachments   PILGRIMS-0007164684         PILGRIMS-0007164694         10
 Emails/Attachments   PILGRIMS-0007164696         PILGRIMS-0007164707         12
 Emails/Attachments   PILGRIMS-0007164709         PILGRIMS-0007164721         11
 Emails/Attachments   PILGRIMS-0007164724         PILGRIMS-0007164730          6
 Emails/Attachments   PILGRIMS-0007164732         PILGRIMS-0007164742          2
 Emails/Attachments   PILGRIMS-0007165319         PILGRIMS-0007166485         18
 Emails/Attachments   PILGRIMS-0007166497         PILGRIMS-0007166506         10
 Emails/Attachments   PILGRIMS-0007166509         PILGRIMS-0007166512          4
 Emails/Attachments   PILGRIMS-0007166514         PILGRIMS-0007166519          6
 Emails/Attachments   PILGRIMS-0007166521         PILGRIMS-0007167067          4
 Emails/Attachments   PILGRIMS-0007167069         PILGRIMS-0007167089         19
 Emails/Attachments   PILGRIMS-0007167101         PILGRIMS-0007167112          8
 Emails/Attachments   PILGRIMS-0007167115         PILGRIMS-0007167126         11
 Emails/Attachments   PILGRIMS-0007167225         PILGRIMS-0007167248         21
 Emails/Attachments   PILGRIMS-0007167250         PILGRIMS-0007167257          8
 Emails/Attachments   PILGRIMS-0007167259         PILGRIMS-0007167263          5
 Emails/Attachments   PILGRIMS-0007167266         PILGRIMS-0007167282          5
 Emails/Attachments   PILGRIMS-0007167284         PILGRIMS-0007167380         21
 Emails/Attachments   PILGRIMS-0007167382         PILGRIMS-0007167383          2
 Emails/Attachments   PILGRIMS-0007167385         PILGRIMS-0007167388          4
 Emails/Attachments   PILGRIMS-0007167392         PILGRIMS-0007167407         16
 Emails/Attachments   PILGRIMS-0007167411         PILGRIMS-0007167420         10
 Emails/Attachments   PILGRIMS-0007167423         PILGRIMS-0007167428          5
 Emails/Attachments   PILGRIMS-0007167430         PILGRIMS-0007167452         19
 Emails/Attachments   PILGRIMS-0007167454         PILGRIMS-0007167464          8
 Emails/Attachments   PILGRIMS-0007167466         PILGRIMS-0007167473          8
 Emails/Attachments   PILGRIMS-0007167475         PILGRIMS-0007167490         15
 Emails/Attachments   PILGRIMS-0007167492         PILGRIMS-0007167503         10
 Emails/Attachments   PILGRIMS-0007167505         PILGRIMS-0007167508          4
 Emails/Attachments   PILGRIMS-0007169587         PILGRIMS-0007170634         15
 Emails/Attachments   PILGRIMS-0007170648         PILGRIMS-0007170651          3
 Emails/Attachments   PILGRIMS-0007170653         PILGRIMS-0007170661          9


                                    Page 184 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 208 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007170663         PILGRIMS-0007170664          2
 Emails/Attachments   PILGRIMS-0007170666         PILGRIMS-0007170675          9
 Emails/Attachments   PILGRIMS-0007170681         PILGRIMS-0007170693         13
 Emails/Attachments   PILGRIMS-0007170695         PILGRIMS-0007170720         13
 Emails/Attachments   PILGRIMS-0007170771         PILGRIMS-0007170779          2
 Emails/Attachments   PILGRIMS-0007170788         PILGRIMS-0007170792          5
 Emails/Attachments   PILGRIMS-0007170794         PILGRIMS-0007170799          6
 Emails/Attachments   PILGRIMS-0007171948         PILGRIMS-0007171957          2
 Emails/Attachments   PILGRIMS-0007171967         PILGRIMS-0007171972          5
 Emails/Attachments   PILGRIMS-0007171974         PILGRIMS-0007171985         12
 Emails/Attachments   PILGRIMS-0007171988         PILGRIMS-0007172010         12
 Emails/Attachments   PILGRIMS-0007172012         PILGRIMS-0007172027         16
 Emails/Attachments   PILGRIMS-0007172029         PILGRIMS-0007172049          8
 Emails/Attachments   PILGRIMS-0007172051         PILGRIMS-0007172066          4
 Emails/Attachments   PILGRIMS-0007172080         PILGRIMS-0007172127          6
 Emails/Attachments   PILGRIMS-0007172150         PILGRIMS-0007172151          2
 Emails/Attachments   PILGRIMS-0007172174         PILGRIMS-0007172175          2
 Emails/Attachments   PILGRIMS-0007172178         PILGRIMS-0007172218         17
 Emails/Attachments   PILGRIMS-0007172235         PILGRIMS-0007172238          4
 Emails/Attachments   PILGRIMS-0007172240         PILGRIMS-0007172284         21
 Emails/Attachments   PILGRIMS-0007172298         PILGRIMS-0007172301          2
 Emails/Attachments   PILGRIMS-0007172305         PILGRIMS-0007172315          1
 Emails/Attachments   PILGRIMS-0007172328         PILGRIMS-0007172338         11
 Emails/Attachments   PILGRIMS-0007172340         PILGRIMS-0007172341          2
 Emails/Attachments   PILGRIMS-0007172345         PILGRIMS-0007172349          5
 Emails/Attachments   PILGRIMS-0007172351         PILGRIMS-0007172356          5
 Emails/Attachments   PILGRIMS-0007172379         PILGRIMS-0007172388          9
 Emails/Attachments   PILGRIMS-0007172390         PILGRIMS-0007172393          3
 Emails/Attachments   PILGRIMS-0007172395         PILGRIMS-0007172404          9
 Emails/Attachments   PILGRIMS-0007172406         PILGRIMS-0007172430          9
 Emails/Attachments   PILGRIMS-0007172448         PILGRIMS-0007172459          2
 Emails/Attachments   PILGRIMS-0007172471         PILGRIMS-0007172476          6
 Emails/Attachments   PILGRIMS-0007172480         PILGRIMS-0007172507         18
 Emails/Attachments   PILGRIMS-0007172529         PILGRIMS-0007172534          6
 Emails/Attachments   PILGRIMS-0007172536         PILGRIMS-0007172537          2
 Emails/Attachments   PILGRIMS-0007172539         PILGRIMS-0007172572         17
 Emails/Attachments   PILGRIMS-0007172574         PILGRIMS-0007172577          4
 Emails/Attachments   PILGRIMS-0007172579         PILGRIMS-0007172584          6
 Emails/Attachments   PILGRIMS-0007172631         PILGRIMS-0007172638          5
 Emails/Attachments   PILGRIMS-0007172641         PILGRIMS-0007172686          4
 Emails/Attachments   PILGRIMS-0007172688         PILGRIMS-0007172691          4
 Emails/Attachments   PILGRIMS-0007172693         PILGRIMS-0007172699          5
 Emails/Attachments   PILGRIMS-0007172701         PILGRIMS-0007172703          1
 Emails/Attachments   PILGRIMS-0007172705         PILGRIMS-0007172751         11
 Emails/Attachments   PILGRIMS-0007172753         PILGRIMS-0007172756          4
 Emails/Attachments   PILGRIMS-0007172758         PILGRIMS-0007172774          3


                                    Page 185 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 209 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007172781         PILGRIMS-0007172783          1
 Emails/Attachments   PILGRIMS-0007172790         PILGRIMS-0007172861         39
 Emails/Attachments   PILGRIMS-0007172863         PILGRIMS-0007172928         33
 Emails/Attachments   PILGRIMS-0007172931         PILGRIMS-0007173088         58
 Emails/Attachments   PILGRIMS-0007173090         PILGRIMS-0007173157         15
 Emails/Attachments   PILGRIMS-0007173166         PILGRIMS-0007173269         29
 Emails/Attachments   PILGRIMS-0007173274         PILGRIMS-0007173290          6
 Emails/Attachments   PILGRIMS-0007173292         PILGRIMS-0007173523         22
 Emails/Attachments   PILGRIMS-0007173526         PILGRIMS-0007173531          2
 Emails/Attachments   PILGRIMS-0007173535         PILGRIMS-0007173689         42
 Emails/Attachments   PILGRIMS-0007173694         PILGRIMS-0007173694          1
 Emails/Attachments   PILGRIMS-0007173696         PILGRIMS-0007173701          4
 Emails/Attachments   PILGRIMS-0007173703         PILGRIMS-0007173740          8
 Emails/Attachments   PILGRIMS-0007173745         PILGRIMS-0007173749          4
 Emails/Attachments   PILGRIMS-0007173754         PILGRIMS-0007173771         10
 Emails/Attachments   PILGRIMS-0007173777         PILGRIMS-0007173872         36
 Emails/Attachments   PILGRIMS-0007173880         PILGRIMS-0007173900         12
 Emails/Attachments   PILGRIMS-0007173907         PILGRIMS-0007173908          2
 Emails/Attachments   PILGRIMS-0007173910         PILGRIMS-0007173910          1
 Emails/Attachments   PILGRIMS-0007173912         PILGRIMS-0007173938          3
 Emails/Attachments   PILGRIMS-0007173944         PILGRIMS-0007173983         16
 Emails/Attachments   PILGRIMS-0007173990         PILGRIMS-0007173992          2
 Emails/Attachments   PILGRIMS-0007173996         PILGRIMS-0007173997          1
 Emails/Attachments   PILGRIMS-0007174000         PILGRIMS-0007174047         11
 Emails/Attachments   PILGRIMS-0007174049         PILGRIMS-0007174130         22
 Emails/Attachments   PILGRIMS-0007174138         PILGRIMS-0007174149          3
 Emails/Attachments   PILGRIMS-0007174151         PILGRIMS-0007174191         11
 Emails/Attachments   PILGRIMS-0007174196         PILGRIMS-0007174198          3
 Emails/Attachments   PILGRIMS-0007174201         PILGRIMS-0007174222         10
 Emails/Attachments   PILGRIMS-0007174225         PILGRIMS-0007174229          4
 Emails/Attachments   PILGRIMS-0007174234         PILGRIMS-0007174242          5
 Emails/Attachments   PILGRIMS-0007174254         PILGRIMS-0007174300         17
 Emails/Attachments   PILGRIMS-0007174305         PILGRIMS-0007174311          6
 Emails/Attachments   PILGRIMS-0007174320         PILGRIMS-0007174361         15
 Emails/Attachments   PILGRIMS-0007174368         PILGRIMS-0007174371          2
 Emails/Attachments   PILGRIMS-0007174375         PILGRIMS-0007174376          2
 Emails/Attachments   PILGRIMS-0007174378         PILGRIMS-0007174391          9
 Emails/Attachments   PILGRIMS-0007174396         PILGRIMS-0007174444         24
 Emails/Attachments   PILGRIMS-0007538228         PILGRIMS-0007538228          1
 Emails/Attachments   PILGRIMS-0007581881         PILGRIMS-0007581882          1
 Emails/Attachments   PILGRIMS-0007586694         PILGRIMS-0007586714          7
 Emails/Attachments   PILGRIMS-0007586718         PILGRIMS-0007587262         123
 Emails/Attachments   PILGRIMS-0007587266         PILGRIMS-0007587321         14
 Emails/Attachments   PILGRIMS-0007587351         PILGRIMS-0007587546         38
 Emails/Attachments   PILGRIMS-0007587548         PILGRIMS-0007588022         302
 Emails/Attachments   PILGRIMS-0007588024         PILGRIMS-0007588109         48


                                    Page 186 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 210 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007588111         PILGRIMS-0007588327          99
 Emails/Attachments   PILGRIMS-0007588329         PILGRIMS-0007588486          94
 Emails/Attachments   PILGRIMS-0007588488         PILGRIMS-0007588644          79
 Emails/Attachments   PILGRIMS-0007588646         PILGRIMS-0007588981          91
 Emails/Attachments   PILGRIMS-0007588983         PILGRIMS-0007589207          83
 Emails/Attachments   PILGRIMS-0007589209         PILGRIMS-0007589510          76
 Emails/Attachments   PILGRIMS-0007589538         PILGRIMS-0007589625          44
 Emails/Attachments   PILGRIMS-0007589627         PILGRIMS-0007589696          31
 Emails/Attachments   PILGRIMS-0007589698         PILGRIMS-0007590307         216
 Emails/Attachments   PILGRIMS-0007590309         PILGRIMS-0007590427          56
 Emails/Attachments   PILGRIMS-0007590434         PILGRIMS-0007590436           1
 Emails/Attachments   PILGRIMS-0007590440         PILGRIMS-0007590481          18
 Emails/Attachments   PILGRIMS-0007590496         PILGRIMS-0007590529          12
 Emails/Attachments   PILGRIMS-0007590531         PILGRIMS-0007591607         493
 Emails/Attachments   PILGRIMS-0007591611         PILGRIMS-0007591940         160
 Emails/Attachments   PILGRIMS-0007591943         PILGRIMS-0007594192         348
 Emails/Attachments   PILGRIMS-0007594247         PILGRIMS-0007594259           8
 Emails/Attachments   PILGRIMS-0007594374         PILGRIMS-0007594550          83
 Emails/Attachments   PILGRIMS-0007594552         PILGRIMS-0007594864          91
 Emails/Attachments   PILGRIMS-0007594866         PILGRIMS-0007595406         196
 Emails/Attachments   PILGRIMS-0007595459         PILGRIMS-0007595499           2
 Emails/Attachments   PILGRIMS-0007595518         PILGRIMS-0007595635          38
 Emails/Attachments   PILGRIMS-0007595694         PILGRIMS-0007596193         219
 Emails/Attachments   PILGRIMS-0007596195         PILGRIMS-0007596375          17
 Emails/Attachments   PILGRIMS-0007596377         PILGRIMS-0007596463          23
 Emails/Attachments   PILGRIMS-0007596466         PILGRIMS-0007596521          23
 Emails/Attachments   PILGRIMS-0007596546         PILGRIMS-0007597062          49
 Emails/Attachments   PILGRIMS-0007597064         PILGRIMS-0007597104          29
 Emails/Attachments   PILGRIMS-0007597119         PILGRIMS-0007597213          66
 Emails/Attachments   PILGRIMS-0007597225         PILGRIMS-0007597241          12
 Emails/Attachments   PILGRIMS-0007597243         PILGRIMS-0007597341          54
 Emails/Attachments   PILGRIMS-0007597356         PILGRIMS-0007597479          31
 Emails/Attachments   PILGRIMS-0007598086         PILGRIMS-0007598542         187
 Emails/Attachments   PILGRIMS-0007598547         PILGRIMS-0007599292         264
 Emails/Attachments   PILGRIMS-0007599294         PILGRIMS-0007603165        1,370
 Emails/Attachments   PILGRIMS-0007603167         PILGRIMS-0007604915         680
 Emails/Attachments   PILGRIMS-0007604917         PILGRIMS-0007605023          81
 Emails/Attachments   PILGRIMS-0007605025         PILGRIMS-0007605031           5
 Emails/Attachments   PILGRIMS-0007605035         PILGRIMS-0007605895         517
 Emails/Attachments   PILGRIMS-0007605897         PILGRIMS-0007608542        1,238
 Emails/Attachments   PILGRIMS-0007608646         PILGRIMS-0007608650           4
 Emails/Attachments   PILGRIMS-0007608728         PILGRIMS-0007609073         158
 Emails/Attachments   PILGRIMS-0007609080         PILGRIMS-0007609265          46
 Emails/Attachments   PILGRIMS-0007609271         PILGRIMS-0007609468          78
 Emails/Attachments   PILGRIMS-0007609472         PILGRIMS-0007612458         274
 Emails/Attachments   PILGRIMS-0007612461         PILGRIMS-0007615096         260


                                    Page 187 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 211 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007615111         PILGRIMS-0007616254         287
 Emails/Attachments   PILGRIMS-0007616377         PILGRIMS-0007617123         221
 Emails/Attachments   PILGRIMS-0007617126         PILGRIMS-0007618207         201
 Emails/Attachments   PILGRIMS-0007619386         PILGRIMS-0007620159         148
 Emails/Attachments   PILGRIMS-0007620163         PILGRIMS-0007621234         220
 Emails/Attachments   PILGRIMS-0007621236         PILGRIMS-0007621236           1
 Emails/Attachments   PILGRIMS-0007621238         PILGRIMS-0007621611         182
 Emails/Attachments   PILGRIMS-0007622798         PILGRIMS-0007625146          91
 Emails/Attachments   PILGRIMS-0007629380         PILGRIMS-0007647448        3,886
 Emails/Attachments   PILGRIMS-0007647452         PILGRIMS-0007652142         951
 Emails/Attachments   PILGRIMS-0007652144         PILGRIMS-0007652183          22
 Emails/Attachments   PILGRIMS-0007652194         PILGRIMS-0007652405          79
 Emails/Attachments   PILGRIMS-0007652408         PILGRIMS-0007653167         269
 Emails/Attachments   PILGRIMS-0007653172         PILGRIMS-0007653976         255
 Emails/Attachments   PILGRIMS-0007653979         PILGRIMS-0007654003           8
 Emails/Attachments   PILGRIMS-0007654038         PILGRIMS-0007654194          65
 Emails/Attachments   PILGRIMS-0007654246         PILGRIMS-0007654919          83
 Emails/Attachments   PILGRIMS-0007654951         PILGRIMS-0007655016          22
 Emails/Attachments   PILGRIMS-0007655021         PILGRIMS-0007655034           9
 Emails/Attachments   PILGRIMS-0007655110         PILGRIMS-0007655684         154
 Emails/Attachments   PILGRIMS-0007655688         PILGRIMS-0007655877         121
 Emails/Attachments   PILGRIMS-0007655899         PILGRIMS-0007656024          69
 Emails/Attachments   PILGRIMS-0007656046         PILGRIMS-0007656200          87
 Emails/Attachments   PILGRIMS-0007656217         PILGRIMS-0007656234           4
 Emails/Attachments   PILGRIMS-0007656236         PILGRIMS-0007656313          48
 Emails/Attachments   PILGRIMS-0007656363         PILGRIMS-0007656447          17
 Emails/Attachments   PILGRIMS-0007656521         PILGRIMS-0007656637          39
 Emails/Attachments   PILGRIMS-0007656660         PILGRIMS-0007656685           7
 Emails/Attachments   PILGRIMS-0007656708         PILGRIMS-0007656842          48
 Emails/Attachments   PILGRIMS-0007656863         PILGRIMS-0007657321         116
 Emails/Attachments   PILGRIMS-0007657325         PILGRIMS-0007657331           4
 Emails/Attachments   PILGRIMS-0007657353         PILGRIMS-0007657610          19
 Emails/Attachments   PILGRIMS-0007657614         PILGRIMS-0007657633          11
 Emails/Attachments   PILGRIMS-0007657637         PILGRIMS-0007657747          59
 Emails/Attachments   PILGRIMS-0007657754         PILGRIMS-0007694504        5,381
 Emails/Attachments   PILGRIMS-0007694571         PILGRIMS-0007694967         218
 Emails/Attachments   PILGRIMS-0007694969         PILGRIMS-0007708763        2,237
 Emails/Attachments   PILGRIMS-0007708765         PILGRIMS-0007727377        2,888
 Emails/Attachments   PILGRIMS-0007727379         PILGRIMS-0007780843        2,135
 Emails/Attachments   PILGRIMS-0007782651         PILGRIMS-0007782662           9
 Emails/Attachments   PILGRIMS-0007783480         PILGRIMS-0007783493           7
 Emails/Attachments   PILGRIMS-0007784017         PILGRIMS-0007784018           1
 Emails/Attachments   PILGRIMS-0007784193         PILGRIMS-0007784193           1
 Emails/Attachments   PILGRIMS-0007787296         PILGRIMS-0007787309          10
 Emails/Attachments   PILGRIMS-0007787322         PILGRIMS-0007787653           3
 Emails/Attachments   PILGRIMS-0007789337         PILGRIMS-0007790626          13


                                    Page 188 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 212 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007791198         PILGRIMS-0007795361         45
 Emails/Attachments   PILGRIMS-0007796073         PILGRIMS-0007800235         87
 Emails/Attachments   PILGRIMS-0007801166         PILGRIMS-0007803213          9
 Emails/Attachments   PILGRIMS-0007803911         PILGRIMS-0007805857         28
 Emails/Attachments   PILGRIMS-0007818384         PILGRIMS-0007818955          4
 Emails/Attachments   PILGRIMS-0007819083         PILGRIMS-0007819083          1
 Emails/Attachments   PILGRIMS-0007819085         PILGRIMS-0007820522          8
 Emails/Attachments   PILGRIMS-0007820939         PILGRIMS-0007821979         31
 Emails/Attachments   PILGRIMS-0007822288         PILGRIMS-0007822290          2
 Emails/Attachments   PILGRIMS-0007830358         PILGRIMS-0007831495          4
 Emails/Attachments   PILGRIMS-0007831643         PILGRIMS-0007831643          1
 Emails/Attachments   PILGRIMS-0007831674         PILGRIMS-0007834932         18
 Emails/Attachments   PILGRIMS-0007838358         PILGRIMS-0007838464         77
 Emails/Attachments   PILGRIMS-0007838507         PILGRIMS-0007838516          8
 Emails/Attachments   PILGRIMS-0007842244         PILGRIMS-0007842249          6
 Emails/Attachments   PILGRIMS-0007842782         PILGRIMS-0007843477          6
 Emails/Attachments   PILGRIMS-0007843479         PILGRIMS-0007843480          2
 Emails/Attachments   PILGRIMS-0007843482         PILGRIMS-0007843507         23
 Emails/Attachments   PILGRIMS-0007843509         PILGRIMS-0007844721         15
 Emails/Attachments   PILGRIMS-0007853948         PILGRIMS-0007854385          8
 Emails/Attachments   PILGRIMS-0007858804         PILGRIMS-0007859816         15
 Emails/Attachments   PILGRIMS-0007867964         PILGRIMS-0007867973          2
 Emails/Attachments   PILGRIMS-0007868372         PILGRIMS-0007869007         18
 Emails/Attachments   PILGRIMS-0007869182         PILGRIMS-0007869186          3
 Emails/Attachments   PILGRIMS-0007872518         PILGRIMS-0007874895         57
 Emails/Attachments   PILGRIMS-0007874906         PILGRIMS-0007874907          1
 Emails/Attachments   PILGRIMS-0007879199         PILGRIMS-0007879892          2
 Emails/Attachments   PILGRIMS-0007880425         PILGRIMS-0007886119         42
 Emails/Attachments   PILGRIMS-0007886126         PILGRIMS-0007889725         42
 Emails/Attachments   PILGRIMS-0007896425         PILGRIMS-0007902986         30
 Emails/Attachments   PILGRIMS-0007906448         PILGRIMS-0007906470         17
 Emails/Attachments   PILGRIMS-0007906487         PILGRIMS-0007906488          2
 Emails/Attachments   PILGRIMS-0007910770         PILGRIMS-0007919365         60
 Emails/Attachments   PILGRIMS-0007919367         PILGRIMS-0007919954         145
 Emails/Attachments   PILGRIMS-0007920043         PILGRIMS-0007920061          6
 Emails/Attachments   PILGRIMS-0007926403         PILGRIMS-0007928377         34
 Emails/Attachments   PILGRIMS-0007931653         PILGRIMS-0007933132         62
 Emails/Attachments   PILGRIMS-0007937378         PILGRIMS-0007941648         15
 Emails/Attachments   PILGRIMS-0007941650         PILGRIMS-0007942087         35
 Emails/Attachments   PILGRIMS-0007948886         PILGRIMS-0007948902         15
 Emails/Attachments   PILGRIMS-0007949071         PILGRIMS-0007949074          3
 Emails/Attachments   PILGRIMS-0007952370         PILGRIMS-0007952925         16
 Emails/Attachments   PILGRIMS-0007953052         PILGRIMS-0007953058          4
 Emails/Attachments   PILGRIMS-0007957311         PILGRIMS-0007958382         35
 Emails/Attachments   PILGRIMS-0007963202         PILGRIMS-0007963710          9
 Emails/Attachments   PILGRIMS-0007966833         PILGRIMS-0007966835          2


                                    Page 189 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 213 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0007966984         PILGRIMS-0007966984          1
 Emails/Attachments   PILGRIMS-0007969944         PILGRIMS-0007969947          1
 Emails/Attachments   PILGRIMS-0007969958         PILGRIMS-0007969961          3
 Emails/Attachments   PILGRIMS-0007973530         PILGRIMS-0007985357         72
 Emails/Attachments   PILGRIMS-0007986036         PILGRIMS-0007988342         30
 Emails/Attachments   PILGRIMS-0007988346         PILGRIMS-0007988397          8
 Emails/Attachments   PILGRIMS-0007988442         PILGRIMS-0007988598          9
 Emails/Attachments   PILGRIMS-0007988600         PILGRIMS-0007988606          6
 Emails/Attachments   PILGRIMS-0007989102         PILGRIMS-0007990362         70
 Emails/Attachments   PILGRIMS-0007992912         PILGRIMS-0007992913          1
 Emails/Attachments   PILGRIMS-0007995828         PILGRIMS-0008000603         17
 Emails/Attachments   PILGRIMS-0008003949         PILGRIMS-0008010180         26
 Emails/Attachments   PILGRIMS-0008011542         PILGRIMS-0008015643         37
 Emails/Attachments   PILGRIMS-0008016070         PILGRIMS-0008019071         31
 Emails/Attachments   PILGRIMS-0008019596         PILGRIMS-0008019601          4
 Emails/Attachments   PILGRIMS-0008020211         PILGRIMS-0008020213          3
 Emails/Attachments   PILGRIMS-0008028479         PILGRIMS-0008030014          5
 Emails/Attachments   PILGRIMS-0008030324         PILGRIMS-0008032003         15
 Emails/Attachments   PILGRIMS-0008032557         PILGRIMS-0008032560          3
 Emails/Attachments   PILGRIMS-0008032612         PILGRIMS-0008032629          5
 Emails/Attachments   PILGRIMS-0008033650         PILGRIMS-0008033655          2
 Emails/Attachments   PILGRIMS-0008034174         PILGRIMS-0008034175          2
 Emails/Attachments   PILGRIMS-0008034302         PILGRIMS-0008035170          9
 Emails/Attachments   PILGRIMS-0008035574         PILGRIMS-0008035574          1
 Emails/Attachments   PILGRIMS-0008039177         PILGRIMS-0008048467         739
 Emails/Attachments   PILGRIMS-0008049802         PILGRIMS-0008067561         60
 Emails/Attachments   PILGRIMS-0008067706         PILGRIMS-0008067706          1
 Emails/Attachments   PILGRIMS-0008067731         PILGRIMS-0008067732          1
 Emails/Attachments   PILGRIMS-0008070640         PILGRIMS-0008073230         17
 Emails/Attachments   PILGRIMS-0008073357         PILGRIMS-0008073371         10
 Emails/Attachments   PILGRIMS-0008076796         PILGRIMS-0008077513         128
 Emails/Attachments   PILGRIMS-0008078040         PILGRIMS-0008088405         205
 Emails/Attachments   PILGRIMS-0008088419         PILGRIMS-0008090127         40
 Emails/Attachments   PILGRIMS-0008093019         PILGRIMS-0008105535         95
 Emails/Attachments   PILGRIMS-0008105605         PILGRIMS-0008119801         169
 Emails/Attachments   PILGRIMS-0008120152         PILGRIMS-0008129160         485
 Emails/Attachments   PILGRIMS-0008129177         PILGRIMS-0008129221         11
 Emails/Attachments   PILGRIMS-0008129223         PILGRIMS-0008129224          2
 Emails/Attachments   PILGRIMS-0008129226         PILGRIMS-0008129248         15
 Emails/Attachments   PILGRIMS-0008129250         PILGRIMS-0008129258          7
 Emails/Attachments   PILGRIMS-0008129260         PILGRIMS-0008129265          4
 Emails/Attachments   PILGRIMS-0008129267         PILGRIMS-0008129270          2
 Emails/Attachments   PILGRIMS-0008129272         PILGRIMS-0008130112         38
 Emails/Attachments   PILGRIMS-0008130114         PILGRIMS-0008130125          7
 Emails/Attachments   PILGRIMS-0008130127         PILGRIMS-0008131199         637
 Emails/Attachments   PILGRIMS-0008131201         PILGRIMS-0008171270         877


                                    Page 190 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 214 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008171524         PILGRIMS-0008198739         262
 Emails/Attachments   PILGRIMS-0008198741         PILGRIMS-0008207904         117
 Emails/Attachments   PILGRIMS-0008207906         PILGRIMS-0008220759         113
 Emails/Attachments   PILGRIMS-0008220769         PILGRIMS-0008230072         59
 Emails/Attachments   PILGRIMS-0008230074         PILGRIMS-0008237485         100
 Emails/Attachments   PILGRIMS-0008249110         PILGRIMS-0008249193          6
 Emails/Attachments   PILGRIMS-0008250595         PILGRIMS-0008251365         18
 Emails/Attachments   PILGRIMS-0008255258         PILGRIMS-0008255274         10
 Emails/Attachments   PILGRIMS-0008258819         PILGRIMS-0008260426         36
 Emails/Attachments   PILGRIMS-0008262711         PILGRIMS-0008264731         25
 Emails/Attachments   PILGRIMS-0008267088         PILGRIMS-0008269693         36
 Emails/Attachments   PILGRIMS-0008269785         PILGRIMS-0008272766         22
 Emails/Attachments   PILGRIMS-0008285083         PILGRIMS-0008285170         31
 Emails/Attachments   PILGRIMS-0008286408         PILGRIMS-0008286413          3
 Emails/Attachments   PILGRIMS-0008290307         PILGRIMS-0008290844         27
 Emails/Attachments   PILGRIMS-0008300909         PILGRIMS-0008302377         120
 Emails/Attachments   PILGRIMS-0008312336         PILGRIMS-0008316197          5
 Emails/Attachments   PILGRIMS-0008319571         PILGRIMS-0008324404         36
 Emails/Attachments   PILGRIMS-0008324406         PILGRIMS-0008324411          5
 Emails/Attachments   PILGRIMS-0008328280         PILGRIMS-0008329943         18
 Emails/Attachments   PILGRIMS-0008329945         PILGRIMS-0008329946          2
 Emails/Attachments   PILGRIMS-0008334582         PILGRIMS-0008334594         12
 Emails/Attachments   PILGRIMS-0008339760         PILGRIMS-0008342786         10
 Emails/Attachments   PILGRIMS-0008342788         PILGRIMS-0008346188         34
 Emails/Attachments   PILGRIMS-0008358658         PILGRIMS-0008359535          7
 Emails/Attachments   PILGRIMS-0008363407         PILGRIMS-0008366120         34
 Emails/Attachments   PILGRIMS-0008370659         PILGRIMS-0008371081          2
 Emails/Attachments   PILGRIMS-0008371586         PILGRIMS-0008374477         22
 Emails/Attachments   PILGRIMS-0008374480         PILGRIMS-0008375729         49
 Emails/Attachments   PILGRIMS-0008386643         PILGRIMS-0008388822         17
 Emails/Attachments   PILGRIMS-0008391020         PILGRIMS-0008391020          1
 Emails/Attachments   PILGRIMS-0008393624         PILGRIMS-0008394255         10
 Emails/Attachments   PILGRIMS-0008398910         PILGRIMS-0008402019         28
 Emails/Attachments   PILGRIMS-0008402021         PILGRIMS-0008402365         23
 Emails/Attachments   PILGRIMS-0008404052         PILGRIMS-0008404314         28
 Emails/Attachments   PILGRIMS-0008410016         PILGRIMS-0008410018          1
 Emails/Attachments   PILGRIMS-0008416260         PILGRIMS-0008416280         14
 Emails/Attachments   PILGRIMS-0008419860         PILGRIMS-0008420674         31
 Emails/Attachments   PILGRIMS-0008425297         PILGRIMS-0008425298          1
 Emails/Attachments   PILGRIMS-0008425302         PILGRIMS-0008425347         24
 Emails/Attachments   PILGRIMS-0008427725         PILGRIMS-0008428941         45
 Emails/Attachments   PILGRIMS-0008429856         PILGRIMS-0008429868          7
 Emails/Attachments   PILGRIMS-0008435239         PILGRIMS-0008435246          7
 Emails/Attachments   PILGRIMS-0008443013         PILGRIMS-0008446651         43
 Emails/Attachments   PILGRIMS-0008450535         PILGRIMS-0008451601         16
 Emails/Attachments   PILGRIMS-0008456218         PILGRIMS-0008462669         50


                                    Page 191 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 215 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008465533         PILGRIMS-0008465540          6
 Emails/Attachments   PILGRIMS-0008467824         PILGRIMS-0008468673         20
 Emails/Attachments   PILGRIMS-0008481029         PILGRIMS-0008487303         128
 Emails/Attachments   PILGRIMS-0008491126         PILGRIMS-0008494635         85
 Emails/Attachments   PILGRIMS-0008494658         PILGRIMS-0008494658          1
 Emails/Attachments   PILGRIMS-0008499283         PILGRIMS-0008503861         16
 Emails/Attachments   PILGRIMS-0008503863         PILGRIMS-0008506917         56
 Emails/Attachments   PILGRIMS-0008509568         PILGRIMS-0008511039         91
 Emails/Attachments   PILGRIMS-0008511041         PILGRIMS-0008511041          1
 Emails/Attachments   PILGRIMS-0008511091         PILGRIMS-0008511091          1
 Emails/Attachments   PILGRIMS-0008513534         PILGRIMS-0008513806         77
 Emails/Attachments   PILGRIMS-0008523814         PILGRIMS-0008528710         25
 Emails/Attachments   PILGRIMS-0008532588         PILGRIMS-0008547114         33
 Emails/Attachments   PILGRIMS-0008551743         PILGRIMS-0008551779         34
 Emails/Attachments   PILGRIMS-0008551781         PILGRIMS-0008552630         29
 Emails/Attachments   PILGRIMS-0008553139         PILGRIMS-0008553145          1
 Emails/Attachments   PILGRIMS-0008565626         PILGRIMS-0008565627          1
 Emails/Attachments   PILGRIMS-0008565924         PILGRIMS-0008567615         12
 Emails/Attachments   PILGRIMS-0008571752         PILGRIMS-0008573408         31
 Emails/Attachments   PILGRIMS-0008573425         PILGRIMS-0008573908          6
 Emails/Attachments   PILGRIMS-0008578577         PILGRIMS-0008578595         15
 Emails/Attachments   PILGRIMS-0008578598         PILGRIMS-0008578739         22
 Emails/Attachments   PILGRIMS-0008584040         PILGRIMS-0008584469         20
 Emails/Attachments   PILGRIMS-0008597863         PILGRIMS-0008598906         28
 Emails/Attachments   PILGRIMS-0008603063         PILGRIMS-0008603589         19
 Emails/Attachments   PILGRIMS-0008607834         PILGRIMS-0008607848         13
 Emails/Attachments   PILGRIMS-0008610788         PILGRIMS-0008612645         22
 Emails/Attachments   PILGRIMS-0008624023         PILGRIMS-0008624028          3
 Emails/Attachments   PILGRIMS-0008633514         PILGRIMS-0008633545         23
 Emails/Attachments   PILGRIMS-0008637639         PILGRIMS-0008637879         10
 Emails/Attachments   PILGRIMS-0008642114         PILGRIMS-0008642115          1
 Emails/Attachments   PILGRIMS-0008642117         PILGRIMS-0008647313         30
 Emails/Attachments   PILGRIMS-0008654039         PILGRIMS-0008654040          2
 Emails/Attachments   PILGRIMS-0008656474         PILGRIMS-0008656521         44
 Emails/Attachments   PILGRIMS-0008656556         PILGRIMS-0008657189         13
 Emails/Attachments   PILGRIMS-0008657198         PILGRIMS-0008657211          6
 Emails/Attachments   PILGRIMS-0008657223         PILGRIMS-0008657543         11
 Emails/Attachments   PILGRIMS-0008661861         PILGRIMS-0008663484         22
 Emails/Attachments   PILGRIMS-0008667771         PILGRIMS-0008672373         16
 Emails/Attachments   PILGRIMS-0008673643         PILGRIMS-0008673657          9
 Emails/Attachments   PILGRIMS-0008674132         PILGRIMS-0008674137          2
 Emails/Attachments   PILGRIMS-0008676628         PILGRIMS-0008676826          4
 Emails/Attachments   PILGRIMS-0008676833         PILGRIMS-0008676930         29
 Emails/Attachments   PILGRIMS-0008678150         PILGRIMS-0008678705          6
 Emails/Attachments   PILGRIMS-0008688790         PILGRIMS-0008690400          9
 Emails/Attachments   PILGRIMS-0008694964         PILGRIMS-0008694966          1


                                    Page 192 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 216 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008694972         PILGRIMS-0008694978          3
 Emails/Attachments   PILGRIMS-0008697000         PILGRIMS-0008699757          8
 Emails/Attachments   PILGRIMS-0008700403         PILGRIMS-0008700409          7
 Emails/Attachments   PILGRIMS-0008702040         PILGRIMS-0008704134         20
 Emails/Attachments   PILGRIMS-0008707265         PILGRIMS-0008707266          2
 Emails/Attachments   PILGRIMS-0008707268         PILGRIMS-0008707454          4
 Emails/Attachments   PILGRIMS-0008719454         PILGRIMS-0008720452         17
 Emails/Attachments   PILGRIMS-0008720462         PILGRIMS-0008720462          1
 Emails/Attachments   PILGRIMS-0008724791         PILGRIMS-0008724792          2
 Emails/Attachments   PILGRIMS-0008724859         PILGRIMS-0008725915         18
 Emails/Attachments   PILGRIMS-0008730200         PILGRIMS-0008730206          4
 Emails/Attachments   PILGRIMS-0008730210         PILGRIMS-0008730212          3
 Emails/Attachments   PILGRIMS-0008732586         PILGRIMS-0008732587          1
 Emails/Attachments   PILGRIMS-0008733200         PILGRIMS-0008734522         31
 Emails/Attachments   PILGRIMS-0008738303         PILGRIMS-0008738306          2
 Emails/Attachments   PILGRIMS-0008738310         PILGRIMS-0008738696         16
 Emails/Attachments   PILGRIMS-0008750481         PILGRIMS-0008750492          7
 Emails/Attachments   PILGRIMS-0008750495         PILGRIMS-0008750501          6
 Emails/Attachments   PILGRIMS-0008754876         PILGRIMS-0008754955         10
 Emails/Attachments   PILGRIMS-0008754965         PILGRIMS-0008755032          6
 Emails/Attachments   PILGRIMS-0008755087         PILGRIMS-0008755589         206
 Emails/Attachments   PILGRIMS-0008759978         PILGRIMS-0008759981          2
 Emails/Attachments   PILGRIMS-0008759983         PILGRIMS-0008760261         23
 Emails/Attachments   PILGRIMS-0008760357         PILGRIMS-0008760580          8
 Emails/Attachments   PILGRIMS-0008770467         PILGRIMS-0008770539          8
 Emails/Attachments   PILGRIMS-0008770549         PILGRIMS-0008770555          5
 Emails/Attachments   PILGRIMS-0008774975         PILGRIMS-0008775255         10
 Emails/Attachments   PILGRIMS-0008779668         PILGRIMS-0008780259          5
 Emails/Attachments   PILGRIMS-0008783919         PILGRIMS-0008787825         42
 Emails/Attachments   PILGRIMS-0008787827         PILGRIMS-0008787829          2
 Emails/Attachments   PILGRIMS-0008797527         PILGRIMS-0008797529          2
 Emails/Attachments   PILGRIMS-0008797541         PILGRIMS-0008797547          3
 Emails/Attachments   PILGRIMS-0008807578         PILGRIMS-0008808134          2
 Emails/Attachments   PILGRIMS-0008808146         PILGRIMS-0008808147          2
 Emails/Attachments   PILGRIMS-0008812566         PILGRIMS-0008812594          8
 Emails/Attachments   PILGRIMS-0008817127         PILGRIMS-0008817262         15
 Emails/Attachments   PILGRIMS-0008821713         PILGRIMS-0008822296         22
 Emails/Attachments   PILGRIMS-0008822972         PILGRIMS-0008824043          4
 Emails/Attachments   PILGRIMS-0008825820         PILGRIMS-0008825827          6
 Emails/Attachments   PILGRIMS-0008825830         PILGRIMS-0008825846         13
 Emails/Attachments   PILGRIMS-0008826610         PILGRIMS-0008826629          7
 Emails/Attachments   PILGRIMS-0008838705         PILGRIMS-0008838713          4
 Emails/Attachments   PILGRIMS-0008838725         PILGRIMS-0008838732          3
 Emails/Attachments   PILGRIMS-0008843132         PILGRIMS-0008843713          8
 Emails/Attachments   PILGRIMS-0008848099         PILGRIMS-0008848103          3
 Emails/Attachments   PILGRIMS-0008848130         PILGRIMS-0008848131          2


                                    Page 193 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 217 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008848235         PILGRIMS-0008848237          1
 Emails/Attachments   PILGRIMS-0008848679         PILGRIMS-0008848712         16
 Emails/Attachments   PILGRIMS-0008848718         PILGRIMS-0008848860         70
 Emails/Attachments   PILGRIMS-0008848863         PILGRIMS-0008848891         12
 Emails/Attachments   PILGRIMS-0008848893         PILGRIMS-0008848905         11
 Emails/Attachments   PILGRIMS-0008849048         PILGRIMS-0008849191         31
 Emails/Attachments   PILGRIMS-0008849193         PILGRIMS-0008849231         11
 Emails/Attachments   PILGRIMS-0008849303         PILGRIMS-0008849311          5
 Emails/Attachments   PILGRIMS-0008849313         PILGRIMS-0008849449         11
 Emails/Attachments   PILGRIMS-0008849510         PILGRIMS-0008849546          6
 Emails/Attachments   PILGRIMS-0008849561         PILGRIMS-0008849576          7
 Emails/Attachments   PILGRIMS-0008849646         PILGRIMS-0008849651          2
 Emails/Attachments   PILGRIMS-0008849653         PILGRIMS-0008849666          6
 Emails/Attachments   PILGRIMS-0008849669         PILGRIMS-0008849776         66
 Emails/Attachments   PILGRIMS-0008849788         PILGRIMS-0008849797          7
 Emails/Attachments   PILGRIMS-0008849799         PILGRIMS-0008849812          7
 Emails/Attachments   PILGRIMS-0008849814         PILGRIMS-0008849815          1
 Emails/Attachments   PILGRIMS-0008849835         PILGRIMS-0008849863          4
 Emails/Attachments   PILGRIMS-0008849866         PILGRIMS-0008849872          3
 Emails/Attachments   PILGRIMS-0008849907         PILGRIMS-0008849912          5
 Emails/Attachments   PILGRIMS-0008849915         PILGRIMS-0008849948          3
 Emails/Attachments   PILGRIMS-0008849950         PILGRIMS-0008851034         447
 Emails/Attachments   PILGRIMS-0008858385         PILGRIMS-0008858391          7
 Emails/Attachments   PILGRIMS-0008858468         PILGRIMS-0008858485         18
 Emails/Attachments   PILGRIMS-0008858487         PILGRIMS-0008858531         45
 Emails/Attachments   PILGRIMS-0008858607         PILGRIMS-0008859256         24
 Emails/Attachments   PILGRIMS-0008859359         PILGRIMS-0008859412         12
 Emails/Attachments   PILGRIMS-0008859582         PILGRIMS-0008859588          7
 Emails/Attachments   PILGRIMS-0008859592         PILGRIMS-0008859598          4
 Emails/Attachments   PILGRIMS-0008859600         PILGRIMS-0008859705         106
 Emails/Attachments   PILGRIMS-0008859711         PILGRIMS-0008859735         20
 Emails/Attachments   PILGRIMS-0008859761         PILGRIMS-0008859856         81
 Emails/Attachments   PILGRIMS-0008859891         PILGRIMS-0008859893          3
 Emails/Attachments   PILGRIMS-0008859900         PILGRIMS-0008859911         12
 Emails/Attachments   PILGRIMS-0008859935         PILGRIMS-0008861094         112
 Emails/Attachments   PILGRIMS-0008861096         PILGRIMS-0008861107          9
 Emails/Attachments   PILGRIMS-0008861109         PILGRIMS-0008861128         12
 Emails/Attachments   PILGRIMS-0008861134         PILGRIMS-0008861188         55
 Emails/Attachments   PILGRIMS-0008861353         PILGRIMS-0008861368         13
 Emails/Attachments   PILGRIMS-0008861371         PILGRIMS-0008861388          6
 Emails/Attachments   PILGRIMS-0008861543         PILGRIMS-0008861585          9
 Emails/Attachments   PILGRIMS-0008861588         PILGRIMS-0008861679         62
 Emails/Attachments   PILGRIMS-0008861769         PILGRIMS-0008861931         160
 Emails/Attachments   PILGRIMS-0008862059         PILGRIMS-0008862112          2
 Emails/Attachments   PILGRIMS-0008862313         PILGRIMS-0008862318          3
 Emails/Attachments   PILGRIMS-0008862429         PILGRIMS-0008866005          3


                                    Page 194 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 218 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008866008         PILGRIMS-0008866015          8
 Emails/Attachments   PILGRIMS-0008866017         PILGRIMS-0008866025          9
 Emails/Attachments   PILGRIMS-0008866027         PILGRIMS-0008866037         11
 Emails/Attachments   PILGRIMS-0008866039         PILGRIMS-0008866050         12
 Emails/Attachments   PILGRIMS-0008866337         PILGRIMS-0008866477         141
 Emails/Attachments   PILGRIMS-0008866557         PILGRIMS-0008866577         15
 Emails/Attachments   PILGRIMS-0008866943         PILGRIMS-0008866954          4
 Emails/Attachments   PILGRIMS-0008867092         PILGRIMS-0008867163         12
 Emails/Attachments   PILGRIMS-0008867204         PILGRIMS-0008867263          8
 Emails/Attachments   PILGRIMS-0008867339         PILGRIMS-0008867358          6
 Emails/Attachments   PILGRIMS-0008867397         PILGRIMS-0008867549         153
 Emails/Attachments   PILGRIMS-0008867567         PILGRIMS-0008867661          5
 Emails/Attachments   PILGRIMS-0008867663         PILGRIMS-0008867853         13
 Emails/Attachments   PILGRIMS-0008867855         PILGRIMS-0008867909          2
 Emails/Attachments   PILGRIMS-0008867974         PILGRIMS-0008868098          7
 Emails/Attachments   PILGRIMS-0008868428         PILGRIMS-0008868433          2
 Emails/Attachments   PILGRIMS-0008868481         PILGRIMS-0008868485          5
 Emails/Attachments   PILGRIMS-0008868491         PILGRIMS-0008868494          1
 Emails/Attachments   PILGRIMS-0008868498         PILGRIMS-0008868596         46
 Emails/Attachments   PILGRIMS-0008868598         PILGRIMS-0008868609         12
 Emails/Attachments   PILGRIMS-0008868634         PILGRIMS-0008868712         26
 Emails/Attachments   PILGRIMS-0008869124         PILGRIMS-0008869309         41
 Emails/Attachments   PILGRIMS-0008874102         PILGRIMS-0008874129          6
 Emails/Attachments   PILGRIMS-0008874224         PILGRIMS-0008874252          7
 Emails/Attachments   PILGRIMS-0008874254         PILGRIMS-0008874256          2
 Emails/Attachments   PILGRIMS-0008874283         PILGRIMS-0008874292          7
 Emails/Attachments   PILGRIMS-0008874295         PILGRIMS-0008874347         11
 Emails/Attachments   PILGRIMS-0008874395         PILGRIMS-0008874539         16
 Emails/Attachments   PILGRIMS-0008874541         PILGRIMS-0008874643         13
 Emails/Attachments   PILGRIMS-0008874746         PILGRIMS-0008874748          2
 Emails/Attachments   PILGRIMS-0008874763         PILGRIMS-0008874769          7
 Emails/Attachments   PILGRIMS-0008874776         PILGRIMS-0008874779          4
 Emails/Attachments   PILGRIMS-0008874814         PILGRIMS-0008874823          6
 Emails/Attachments   PILGRIMS-0008874927         PILGRIMS-0008875026          6
 Emails/Attachments   PILGRIMS-0008875029         PILGRIMS-0008875035          7
 Emails/Attachments   PILGRIMS-0008875439         PILGRIMS-0008875586         31
 Emails/Attachments   PILGRIMS-0008875600         PILGRIMS-0008875601          2
 Emails/Attachments   PILGRIMS-0008875630         PILGRIMS-0008875657          2
 Emails/Attachments   PILGRIMS-0008875715         PILGRIMS-0008875767          2
 Emails/Attachments   PILGRIMS-0008875771         PILGRIMS-0008875872         17
 Emails/Attachments   PILGRIMS-0008875877         PILGRIMS-0008875919         18
 Emails/Attachments   PILGRIMS-0008875923         PILGRIMS-0008875928          4
 Emails/Attachments   PILGRIMS-0008875931         PILGRIMS-0008876304         27
 Emails/Attachments   PILGRIMS-0008876478         PILGRIMS-0008876496         14
 Emails/Attachments   PILGRIMS-0008877299         PILGRIMS-0008877300          2
 Emails/Attachments   PILGRIMS-0008877303         PILGRIMS-0008877318         11


                                    Page 195 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 219 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008877320         PILGRIMS-0008877369         11
 Emails/Attachments   PILGRIMS-0008877371         PILGRIMS-0008877373          3
 Emails/Attachments   PILGRIMS-0008877375         PILGRIMS-0008877448         13
 Emails/Attachments   PILGRIMS-0008877450         PILGRIMS-0008877473         12
 Emails/Attachments   PILGRIMS-0008877476         PILGRIMS-0008877479          4
 Emails/Attachments   PILGRIMS-0008877484         PILGRIMS-0008877485          2
 Emails/Attachments   PILGRIMS-0008877593         PILGRIMS-0008877709         45
 Emails/Attachments   PILGRIMS-0008877816         PILGRIMS-0008877855         24
 Emails/Attachments   PILGRIMS-0008877860         PILGRIMS-0008877861          2
 Emails/Attachments   PILGRIMS-0008877967         PILGRIMS-0008878036          3
 Emails/Attachments   PILGRIMS-0008878039         PILGRIMS-0008878040          2
 Emails/Attachments   PILGRIMS-0008878070         PILGRIMS-0008878071          2
 Emails/Attachments   PILGRIMS-0008878098         PILGRIMS-0008878126          3
 Emails/Attachments   PILGRIMS-0008878161         PILGRIMS-0008878318         18
 Emails/Attachments   PILGRIMS-0008878322         PILGRIMS-0008878333         12
 Emails/Attachments   PILGRIMS-0008878335         PILGRIMS-0008878379         32
 Emails/Attachments   PILGRIMS-0008878489         PILGRIMS-0008878650         162
 Emails/Attachments   PILGRIMS-0008878757         PILGRIMS-0008878759          2
 Emails/Attachments   PILGRIMS-0008878881         PILGRIMS-0008879003          8
 Emails/Attachments   PILGRIMS-0008879095         PILGRIMS-0008879103          2
 Emails/Attachments   PILGRIMS-0008879125         PILGRIMS-0008879129          4
 Emails/Attachments   PILGRIMS-0008879233         PILGRIMS-0008879235          3
 Emails/Attachments   PILGRIMS-0008879241         PILGRIMS-0008879346         51
 Emails/Attachments   PILGRIMS-0008879349         PILGRIMS-0008879374         20
 Emails/Attachments   PILGRIMS-0008879646         PILGRIMS-0008879662         13
 Emails/Attachments   PILGRIMS-0008879669         PILGRIMS-0008879679          2
 Emails/Attachments   PILGRIMS-0008879682         PILGRIMS-0008879878         22
 Emails/Attachments   PILGRIMS-0008879882         PILGRIMS-0008879998         54
 Emails/Attachments   PILGRIMS-0008880009         PILGRIMS-0008880065          6
 Emails/Attachments   PILGRIMS-0008880067         PILGRIMS-0008880174          3
 Emails/Attachments   PILGRIMS-0008881697         PILGRIMS-0008881715          6
 Emails/Attachments   PILGRIMS-0008884940         PILGRIMS-0008890418         33
 Emails/Attachments   PILGRIMS-0008890420         PILGRIMS-0008890425          4
 Emails/Attachments   PILGRIMS-0008890527         PILGRIMS-0008890539         11
 Emails/Attachments   PILGRIMS-0008890885         PILGRIMS-0008890899          5
 Emails/Attachments   PILGRIMS-0008890987         PILGRIMS-0008891022          8
 Emails/Attachments   PILGRIMS-0008891179         PILGRIMS-0008891189          2
 Emails/Attachments   PILGRIMS-0008891779         PILGRIMS-0008891813         15
 Emails/Attachments   PILGRIMS-0008891905         PILGRIMS-0008891908          3
 Emails/Attachments   PILGRIMS-0008891910         PILGRIMS-0008901698         44
 Emails/Attachments   PILGRIMS-0008902295         PILGRIMS-0008902378          5
 Emails/Attachments   PILGRIMS-0008903184         PILGRIMS-0008903187          4
 Emails/Attachments   PILGRIMS-0008903189         PILGRIMS-0008903206          3
 Emails/Attachments   PILGRIMS-0008903208         PILGRIMS-0008903209          2
 Emails/Attachments   PILGRIMS-0008903248         PILGRIMS-0008903249          2
 Emails/Attachments   PILGRIMS-0008903252         PILGRIMS-0008903598         11


                                    Page 196 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 220 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008903613         PILGRIMS-0008903628          3
 Emails/Attachments   PILGRIMS-0008903736         PILGRIMS-0008903773         27
 Emails/Attachments   PILGRIMS-0008904604         PILGRIMS-0008904625          6
 Emails/Attachments   PILGRIMS-0008904629         PILGRIMS-0008904757          5
 Emails/Attachments   PILGRIMS-0008904759         PILGRIMS-0008904882          3
 Emails/Attachments   PILGRIMS-0008904975         PILGRIMS-0008905121          7
 Emails/Attachments   PILGRIMS-0008905136         PILGRIMS-0008905163          6
 Emails/Attachments   PILGRIMS-0008905165         PILGRIMS-0008905168          4
 Emails/Attachments   PILGRIMS-0008905391         PILGRIMS-0008905393          2
 Emails/Attachments   PILGRIMS-0008905396         PILGRIMS-0008905399          3
 Emails/Attachments   PILGRIMS-0008905403         PILGRIMS-0008905406          2
 Emails/Attachments   PILGRIMS-0008905408         PILGRIMS-0008905418          4
 Emails/Attachments   PILGRIMS-0008905420         PILGRIMS-0008905442          9
 Emails/Attachments   PILGRIMS-0008905453         PILGRIMS-0008905463          2
 Emails/Attachments   PILGRIMS-0008905465         PILGRIMS-0008905578          3
 Emails/Attachments   PILGRIMS-0008905901         PILGRIMS-0008906141         12
 Emails/Attachments   PILGRIMS-0008906331         PILGRIMS-0008906354         24
 Emails/Attachments   PILGRIMS-0008906421         PILGRIMS-0008906438          4
 Emails/Attachments   PILGRIMS-0008906495         PILGRIMS-0008906498          1
 Emails/Attachments   PILGRIMS-0008906737         PILGRIMS-0008906984         22
 Emails/Attachments   PILGRIMS-0008906986         PILGRIMS-0008910175          5
 Emails/Attachments   PILGRIMS-0008910198         PILGRIMS-0008910202          1
 Emails/Attachments   PILGRIMS-0008910260         PILGRIMS-0008910341          7
 Emails/Attachments   PILGRIMS-0008910386         PILGRIMS-0008913617          7
 Emails/Attachments   PILGRIMS-0008913619         PILGRIMS-0008913631         12
 Emails/Attachments   PILGRIMS-0008913633         PILGRIMS-0008913634          1
 Emails/Attachments   PILGRIMS-0008913644         PILGRIMS-0008913663         15
 Emails/Attachments   PILGRIMS-0008913668         PILGRIMS-0008913674          4
 Emails/Attachments   PILGRIMS-0008913676         PILGRIMS-0008913747          4
 Emails/Attachments   PILGRIMS-0008913749         PILGRIMS-0008913755          6
 Emails/Attachments   PILGRIMS-0008913757         PILGRIMS-0008914154         24
 Emails/Attachments   PILGRIMS-0008914157         PILGRIMS-0008914186         17
 Emails/Attachments   PILGRIMS-0008914188         PILGRIMS-0008914190          3
 Emails/Attachments   PILGRIMS-0008914192         PILGRIMS-0008914198          4
 Emails/Attachments   PILGRIMS-0008914229         PILGRIMS-0008914230          2
 Emails/Attachments   PILGRIMS-0008914232         PILGRIMS-0008914235          4
 Emails/Attachments   PILGRIMS-0008914264         PILGRIMS-0008914265          2
 Emails/Attachments   PILGRIMS-0008914296         PILGRIMS-0008914301          2
 Emails/Attachments   PILGRIMS-0008914352         PILGRIMS-0008914361          9
 Emails/Attachments   PILGRIMS-0008914423         PILGRIMS-0008914431          7
 Emails/Attachments   PILGRIMS-0008914433         PILGRIMS-0008914454          6
 Emails/Attachments   PILGRIMS-0008914456         PILGRIMS-0008914458          1
 Emails/Attachments   PILGRIMS-0008914461         PILGRIMS-0008914462          2
 Emails/Attachments   PILGRIMS-0008914469         PILGRIMS-0008914481         11
 Emails/Attachments   PILGRIMS-0008914485         PILGRIMS-0008914497          6
 Emails/Attachments   PILGRIMS-0008914501         PILGRIMS-0008914503          2


                                    Page 197 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 221 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008915135         PILGRIMS-0008915137           3
 Emails/Attachments   PILGRIMS-0008915139         PILGRIMS-0008915140           2
 Emails/Attachments   PILGRIMS-0008917214         PILGRIMS-0008917215           2
 Emails/Attachments   PILGRIMS-0008917217         PILGRIMS-0008917218           2
 Emails/Attachments   PILGRIMS-0008917267         PILGRIMS-0008917268           2
 Emails/Attachments   PILGRIMS-0008917270         PILGRIMS-0008917275           6
 Emails/Attachments   PILGRIMS-0008917277         PILGRIMS-0008917280           3
 Emails/Attachments   PILGRIMS-0008917297         PILGRIMS-0008917596           2
 Emails/Attachments   PILGRIMS-0008917598         PILGRIMS-0008917630          11
 Emails/Attachments   PILGRIMS-0008917633         PILGRIMS-0008917676           2
 Emails/Attachments   PILGRIMS-0008918360         PILGRIMS-0008918367           8
 Emails/Attachments   PILGRIMS-0008918378         PILGRIMS-0008918379           2
 Emails/Attachments   PILGRIMS-0008920095         PILGRIMS-0008938333        4,391
 Emails/Attachments   PILGRIMS-0008938348         PILGRIMS-0008957532        1,634
 Emails/Attachments   PILGRIMS-0008957629         PILGRIMS-0008958092         141
 Emails/Attachments   PILGRIMS-0008958106         PILGRIMS-0008958129          10
 Emails/Attachments   PILGRIMS-0008958149         PILGRIMS-0008959800          37
 Emails/Attachments   PILGRIMS-0008959825         PILGRIMS-0008960184          62
 Emails/Attachments   PILGRIMS-0008960227         PILGRIMS-0008964279         111
 Emails/Attachments   PILGRIMS-0008964287         PILGRIMS-0008964340          26
 Emails/Attachments   PILGRIMS-0008964382         PILGRIMS-0008965379          27
 Emails/Attachments   PILGRIMS-0008965381         PILGRIMS-0008966716         476
 Emails/Attachments   PILGRIMS-0008966718         PILGRIMS-0008967342         355
 Emails/Attachments   PILGRIMS-0008967344         PILGRIMS-0008967634         207
 Emails/Attachments   PILGRIMS-0008967636         PILGRIMS-0008967669          21
 Emails/Attachments   PILGRIMS-0008967672         PILGRIMS-0008967681           1
 Emails/Attachments   PILGRIMS-0008967693         PILGRIMS-0008967747           9
 Emails/Attachments   PILGRIMS-0008967749         PILGRIMS-0008967773          15
 Emails/Attachments   PILGRIMS-0008967775         PILGRIMS-0008967775           1
 Emails/Attachments   PILGRIMS-0008967778         PILGRIMS-0008967779           1
 Emails/Attachments   PILGRIMS-0008967791         PILGRIMS-0008967798           3
 Emails/Attachments   PILGRIMS-0008967815         PILGRIMS-0008967823           7
 Emails/Attachments   PILGRIMS-0008967826         PILGRIMS-0008967860          22
 Emails/Attachments   PILGRIMS-0008967865         PILGRIMS-0008967868           1
 Emails/Attachments   PILGRIMS-0008967870         PILGRIMS-0008967881           3
 Emails/Attachments   PILGRIMS-0008967904         PILGRIMS-0008967910           3
 Emails/Attachments   PILGRIMS-0008967913         PILGRIMS-0008967915           3
 Emails/Attachments   PILGRIMS-0008967940         PILGRIMS-0008967940           1
 Emails/Attachments   PILGRIMS-0008967943         PILGRIMS-0008967945           1
 Emails/Attachments   PILGRIMS-0008967955         PILGRIMS-0008967957           1
 Emails/Attachments   PILGRIMS-0008967960         PILGRIMS-0008967963           4
 Emails/Attachments   PILGRIMS-0008967969         PILGRIMS-0008967970           2
 Emails/Attachments   PILGRIMS-0008967973         PILGRIMS-0008967974           2
 Emails/Attachments   PILGRIMS-0008967977         PILGRIMS-0008967998          16
 Emails/Attachments   PILGRIMS-0008968005         PILGRIMS-0008968006           1
 Emails/Attachments   PILGRIMS-0008968020         PILGRIMS-0008968023           1


                                    Page 198 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 222 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008968027         PILGRIMS-0008968029          2
 Emails/Attachments   PILGRIMS-0008968043         PILGRIMS-0008968044          2
 Emails/Attachments   PILGRIMS-0008968069         PILGRIMS-0008968069          1
 Emails/Attachments   PILGRIMS-0008968084         PILGRIMS-0008968089          6
 Emails/Attachments   PILGRIMS-0008968106         PILGRIMS-0008968111          1
 Emails/Attachments   PILGRIMS-0008968118         PILGRIMS-0008968121          1
 Emails/Attachments   PILGRIMS-0008968125         PILGRIMS-0008968140          6
 Emails/Attachments   PILGRIMS-0008968146         PILGRIMS-0008968150          2
 Emails/Attachments   PILGRIMS-0008968164         PILGRIMS-0008968174          4
 Emails/Attachments   PILGRIMS-0008968284         PILGRIMS-0008968301         15
 Emails/Attachments   PILGRIMS-0008968330         PILGRIMS-0008968331          1
 Emails/Attachments   PILGRIMS-0008968334         PILGRIMS-0008968335          2
 Emails/Attachments   PILGRIMS-0008968353         PILGRIMS-0008968355          3
 Emails/Attachments   PILGRIMS-0008968360         PILGRIMS-0008968361          1
 Emails/Attachments   PILGRIMS-0008968381         PILGRIMS-0008968385          1
 Emails/Attachments   PILGRIMS-0008968388         PILGRIMS-0008968391          1
 Emails/Attachments   PILGRIMS-0008968401         PILGRIMS-0008968402          1
 Emails/Attachments   PILGRIMS-0008968428         PILGRIMS-0008968430          1
 Emails/Attachments   PILGRIMS-0008968459         PILGRIMS-0008968460          2
 Emails/Attachments   PILGRIMS-0008968482         PILGRIMS-0008968485          3
 Emails/Attachments   PILGRIMS-0008968503         PILGRIMS-0008968564         58
 Emails/Attachments   PILGRIMS-0008968567         PILGRIMS-0008968568          2
 Emails/Attachments   PILGRIMS-0008968572         PILGRIMS-0008968573          1
 Emails/Attachments   PILGRIMS-0008968582         PILGRIMS-0008968583          2
 Emails/Attachments   PILGRIMS-0008968600         PILGRIMS-0008968604          2
 Emails/Attachments   PILGRIMS-0008968728         PILGRIMS-0008968729          2
 Emails/Attachments   PILGRIMS-0008968763         PILGRIMS-0008968764          1
 Emails/Attachments   PILGRIMS-0008968792         PILGRIMS-0008968793          1
 Emails/Attachments   PILGRIMS-0008968816         PILGRIMS-0008968818          2
 Emails/Attachments   PILGRIMS-0008968962         PILGRIMS-0008968963          1
 Emails/Attachments   PILGRIMS-0008969004         PILGRIMS-0008969014         10
 Emails/Attachments   PILGRIMS-0008969068         PILGRIMS-0008970723         560
 Emails/Attachments   PILGRIMS-0008970725         PILGRIMS-0008970729          5
 Emails/Attachments   PILGRIMS-0008970818         PILGRIMS-0008970882         30
 Emails/Attachments   PILGRIMS-0008971027         PILGRIMS-0008971888         266
 Emails/Attachments   PILGRIMS-0008971890         PILGRIMS-0008972308         157
 Emails/Attachments   PILGRIMS-0008972311         PILGRIMS-0008972595         66
 Emails/Attachments   PILGRIMS-0008972636         PILGRIMS-0008972867         71
 Emails/Attachments   PILGRIMS-0008972876         PILGRIMS-0008972962         20
 Emails/Attachments   PILGRIMS-0008972970         PILGRIMS-0008972998          7
 Emails/Attachments   PILGRIMS-0008973006         PILGRIMS-0008973021         13
 Emails/Attachments   PILGRIMS-0008973143         PILGRIMS-0008973295         50
 Emails/Attachments   PILGRIMS-0008973303         PILGRIMS-0008973461         56
 Emails/Attachments   PILGRIMS-0008973488         PILGRIMS-0008973566         41
 Emails/Attachments   PILGRIMS-0008973568         PILGRIMS-0008973593         10
 Emails/Attachments   PILGRIMS-0008973595         PILGRIMS-0008973846         114


                                    Page 199 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 223 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0008973848         PILGRIMS-0008976460         460
 Emails/Attachments   PILGRIMS-0008976803         PILGRIMS-0008977628         161
 Emails/Attachments   PILGRIMS-0008977630         PILGRIMS-0008978445         165
 Emails/Attachments   PILGRIMS-0008978449         PILGRIMS-0008978757         123
 Emails/Attachments   PILGRIMS-0008978760         PILGRIMS-0008981080         245
 Emails/Attachments   PILGRIMS-0008981082         PILGRIMS-0008983933         265
 Emails/Attachments   PILGRIMS-0008983989         PILGRIMS-0008983994           3
 Emails/Attachments   PILGRIMS-0008984120         PILGRIMS-0009008055        2,374
 Emails/Attachments   PILGRIMS-0009008062         PILGRIMS-0009008062           1
 Emails/Attachments   PILGRIMS-0009008080         PILGRIMS-0009008081           1
 Emails/Attachments   PILGRIMS-0009008762         PILGRIMS-0009008767           5
 Emails/Attachments   PILGRIMS-0009009080         PILGRIMS-0009009101          15
 Emails/Attachments   PILGRIMS-0009009103         PILGRIMS-0009009106           3
 Emails/Attachments   PILGRIMS-0009009126         PILGRIMS-0009009139           8
 Emails/Attachments   PILGRIMS-0009009163         PILGRIMS-0009009230          27
 Emails/Attachments   PILGRIMS-0009010718         PILGRIMS-0009010788          29
 Emails/Attachments   PILGRIMS-0009011369         PILGRIMS-0009011394          15
 Emails/Attachments   PILGRIMS-0009012197         PILGRIMS-0009012201           5
 Emails/Attachments   PILGRIMS-0009012808         PILGRIMS-0009012848          20
 Emails/Attachments   PILGRIMS-0009013282         PILGRIMS-0009013745          20
 Emails/Attachments   PILGRIMS-0009013771         PILGRIMS-0009013778           2
 Emails/Attachments   PILGRIMS-0009013780         PILGRIMS-0009013793           7
 Emails/Attachments   PILGRIMS-0009013817         PILGRIMS-0009013831           5
 Emails/Attachments   PILGRIMS-0009014692         PILGRIMS-0009014745          35
 Emails/Attachments   PILGRIMS-0009014747         PILGRIMS-0009014762          12
 Emails/Attachments   PILGRIMS-0009014809         PILGRIMS-0009014949          36
 Emails/Attachments   PILGRIMS-0009014951         PILGRIMS-0009015002          23
 Emails/Attachments   PILGRIMS-0009015004         PILGRIMS-0009015020           6
 Emails/Attachments   PILGRIMS-0009016516         PILGRIMS-0009017125          29
 Emails/Attachments   PILGRIMS-0009017127         PILGRIMS-0009017291          26
 Emails/Attachments   PILGRIMS-0009017329         PILGRIMS-0009018146           9
 Emails/Attachments   PILGRIMS-0009018166         PILGRIMS-0009018194          14
 Emails/Attachments   PILGRIMS-0009018196         PILGRIMS-0009018401          53
 Emails/Attachments   PILGRIMS-0009018403         PILGRIMS-0009018511          28
 Emails/Attachments   PILGRIMS-0009018523         PILGRIMS-0009018675          70
 Emails/Attachments   PILGRIMS-0009018689         PILGRIMS-0009018715           9
 Emails/Attachments   PILGRIMS-0009018743         PILGRIMS-0009018750           4
 Emails/Attachments   PILGRIMS-0009018771         PILGRIMS-0009018949          98
 Emails/Attachments   PILGRIMS-0009018989         PILGRIMS-0009018989           1
 Emails/Attachments   PILGRIMS-0009018991         PILGRIMS-0009019003           7
 Emails/Attachments   PILGRIMS-0009019208         PILGRIMS-0009019208           1
 Emails/Attachments   PILGRIMS-0009019210         PILGRIMS-0009019217           8
 Emails/Attachments   PILGRIMS-0009019232         PILGRIMS-0009019263          14
 Emails/Attachments   PILGRIMS-0009019265         PILGRIMS-0009019304          32
 Emails/Attachments   PILGRIMS-0009019306         PILGRIMS-0009019334          17
 Emails/Attachments   PILGRIMS-0009019336         PILGRIMS-0009019337           2


                                    Page 200 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 224 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009019340         PILGRIMS-0009019368          19
 Emails/Attachments   PILGRIMS-0009019370         PILGRIMS-0009019384           9
 Emails/Attachments   PILGRIMS-0009019386         PILGRIMS-0009019388           1
 Emails/Attachments   PILGRIMS-0009019404         PILGRIMS-0009019451          31
 Emails/Attachments   PILGRIMS-0009019454         PILGRIMS-0009019466           8
 Emails/Attachments   PILGRIMS-0009019469         PILGRIMS-0009019475           3
 Emails/Attachments   PILGRIMS-0009019500         PILGRIMS-0009019502           1
 Emails/Attachments   PILGRIMS-0009019504         PILGRIMS-0009019505           2
 Emails/Attachments   PILGRIMS-0009019507         PILGRIMS-0009019510           1
 Emails/Attachments   PILGRIMS-0009019513         PILGRIMS-0009019516           4
 Emails/Attachments   PILGRIMS-0009019519         PILGRIMS-0009020260          24
 Emails/Attachments   PILGRIMS-0009020262         PILGRIMS-0009020395           4
 Emails/Attachments   PILGRIMS-0009020397         PILGRIMS-0009020462          31
 Emails/Attachments   PILGRIMS-0009020473         PILGRIMS-0009020473           1
 Emails/Attachments   PILGRIMS-0009020477         PILGRIMS-0009033269        4,075
 Emails/Attachments   PILGRIMS-0009033271         PILGRIMS-0009034232         116
 Emails/Attachments   PILGRIMS-0009034235         PILGRIMS-0009034583         141
 Emails/Attachments   PILGRIMS-0009034585         PILGRIMS-0009035234         168
 Emails/Attachments   PILGRIMS-0009035237         PILGRIMS-0009038571        1,018
 Emails/Attachments   PILGRIMS-0009038582         PILGRIMS-0009042978         625
 Emails/Attachments   PILGRIMS-0009043074         PILGRIMS-0009044149         221
 Emails/Attachments   PILGRIMS-0009044152         PILGRIMS-0009053331        1,145
 Emails/Attachments   PILGRIMS-0009053352         PILGRIMS-0009077633        2,097
 Emails/Attachments   PILGRIMS-0009077638         PILGRIMS-0009084221         801
 Emails/Attachments   PILGRIMS-0009084261         PILGRIMS-0009085721         173
 Emails/Attachments   PILGRIMS-0009085731         PILGRIMS-0009089314         437
 Emails/Attachments   PILGRIMS-0009089316         PILGRIMS-0009097343        1,181
 Emails/Attachments   PILGRIMS-0009097479         PILGRIMS-0009104207         321
 Emails/Attachments   PILGRIMS-0009104228         PILGRIMS-0009105098          71
 Emails/Attachments   PILGRIMS-0009105116         PILGRIMS-0009135448        4,104
 Emails/Attachments   PILGRIMS-0009135452         PILGRIMS-0009136839         572
 Emails/Attachments   PILGRIMS-0009136875         PILGRIMS-0009137840         338
 Emails/Attachments   PILGRIMS-0009137853         PILGRIMS-0009146507        1,374
 Emails/Attachments   PILGRIMS-0009146510         PILGRIMS-0009147380         405
 Emails/Attachments   PILGRIMS-0009147413         PILGRIMS-0009147510          37
 Emails/Attachments   PILGRIMS-0009147550         PILGRIMS-0009147761          72
 Emails/Attachments   PILGRIMS-0009147800         PILGRIMS-0009148168          86
 Emails/Attachments   PILGRIMS-0009148170         PILGRIMS-0009149135         300
 Emails/Attachments   PILGRIMS-0009149169         PILGRIMS-0009153741        1,226
 Emails/Attachments   PILGRIMS-0009153744         PILGRIMS-0009157521         948
 Emails/Attachments   PILGRIMS-0009157531         PILGRIMS-0009157702          67
 Emails/Attachments   PILGRIMS-0009157704         PILGRIMS-0009157751          23
 Emails/Attachments   PILGRIMS-0009157757         PILGRIMS-0009158924         379
 Emails/Attachments   PILGRIMS-0009158926         PILGRIMS-0009160966         435
 Emails/Attachments   PILGRIMS-0009160988         PILGRIMS-0009161222          37
 Emails/Attachments   PILGRIMS-0009161234         PILGRIMS-0009162102         273


                                    Page 201 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 225 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009162114         PILGRIMS-0009163132         369
 Emails/Attachments   PILGRIMS-0009163169         PILGRIMS-0009164105         218
 Emails/Attachments   PILGRIMS-0009164135         PILGRIMS-0009164627         172
 Emails/Attachments   PILGRIMS-0009165130         PILGRIMS-0009165169           3
 Emails/Attachments   PILGRIMS-0009165183         PILGRIMS-0009165312          20
 Emails/Attachments   PILGRIMS-0009165358         PILGRIMS-0009165539          20
 Emails/Attachments   PILGRIMS-0009165545         PILGRIMS-0009166192         120
 Emails/Attachments   PILGRIMS-0009166210         PILGRIMS-0009166589          71
 Emails/Attachments   PILGRIMS-0009166596         PILGRIMS-0009166873          83
 Emails/Attachments   PILGRIMS-0009166875         PILGRIMS-0009166951          30
 Emails/Attachments   PILGRIMS-0009166954         PILGRIMS-0009167087          32
 Emails/Attachments   PILGRIMS-0009167134         PILGRIMS-0009167392          33
 Emails/Attachments   PILGRIMS-0009167564         PILGRIMS-0009167653          10
 Emails/Attachments   PILGRIMS-0009167656         PILGRIMS-0009167684           8
 Emails/Attachments   PILGRIMS-0009167686         PILGRIMS-0009167919          53
 Emails/Attachments   PILGRIMS-0009167952         PILGRIMS-0009168050          13
 Emails/Attachments   PILGRIMS-0009168059         PILGRIMS-0009168220          36
 Emails/Attachments   PILGRIMS-0009168353         PILGRIMS-0009168851          83
 Emails/Attachments   PILGRIMS-0009168853         PILGRIMS-0009168962          28
 Emails/Attachments   PILGRIMS-0009169252         PILGRIMS-0009169263           9
 Emails/Attachments   PILGRIMS-0009169265         PILGRIMS-0009169268           2
 Emails/Attachments   PILGRIMS-0009169275         PILGRIMS-0009169276           2
 Emails/Attachments   PILGRIMS-0009169278         PILGRIMS-0009169423          23
 Emails/Attachments   PILGRIMS-0009169427         PILGRIMS-0009169481           8
 Emails/Attachments   PILGRIMS-0009169523         PILGRIMS-0009169714          15
 Emails/Attachments   PILGRIMS-0009169724         PILGRIMS-0009169781           5
 Emails/Attachments   PILGRIMS-0009169794         PILGRIMS-0009173311        1,126
 Emails/Attachments   PILGRIMS-0009173633         PILGRIMS-0009173654           6
 Emails/Attachments   PILGRIMS-0009176511         PILGRIMS-0009176637          36
 Emails/Attachments   PILGRIMS-0009176640         PILGRIMS-0009176641           2
 Emails/Attachments   PILGRIMS-0009176644         PILGRIMS-0009176648           3
 Emails/Attachments   PILGRIMS-0009176653         PILGRIMS-0009176729          49
 Emails/Attachments   PILGRIMS-0009176734         PILGRIMS-0009176830          42
 Emails/Attachments   PILGRIMS-0009176833         PILGRIMS-0009176927          43
 Emails/Attachments   PILGRIMS-0009176930         PILGRIMS-0009177113          86
 Emails/Attachments   PILGRIMS-0009177115         PILGRIMS-0009177190          12
 Emails/Attachments   PILGRIMS-0009177192         PILGRIMS-0009177209          15
 Emails/Attachments   PILGRIMS-0009177212         PILGRIMS-0009177223           7
 Emails/Attachments   PILGRIMS-0009177225         PILGRIMS-0009177245          18
 Emails/Attachments   PILGRIMS-0009177247         PILGRIMS-0009177249           1
 Emails/Attachments   PILGRIMS-0009177252         PILGRIMS-0009177281          15
 Emails/Attachments   PILGRIMS-0009177283         PILGRIMS-0009177303          15
 Emails/Attachments   PILGRIMS-0009177306         PILGRIMS-0009177320          11
 Emails/Attachments   PILGRIMS-0009177322         PILGRIMS-0009177689         169
 Emails/Attachments   PILGRIMS-0009177691         PILGRIMS-0009177702           7
 Emails/Attachments   PILGRIMS-0009177711         PILGRIMS-0009177805          53


                                    Page 202 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 226 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009177807         PILGRIMS-0009178557         347
 Emails/Attachments   PILGRIMS-0009178559         PILGRIMS-0009178658         69
 Emails/Attachments   PILGRIMS-0009179577         PILGRIMS-0009180216         311
 Emails/Attachments   PILGRIMS-0009180824         PILGRIMS-0009181186         114
 Emails/Attachments   PILGRIMS-0009181190         PILGRIMS-0009181493         67
 Emails/Attachments   PILGRIMS-0009181495         PILGRIMS-0009181631         27
 Emails/Attachments   PILGRIMS-0009181673         PILGRIMS-0009181892         53
 Emails/Attachments   PILGRIMS-0009181894         PILGRIMS-0009181910          8
 Emails/Attachments   PILGRIMS-0009181912         PILGRIMS-0009182038         68
 Emails/Attachments   PILGRIMS-0009182043         PILGRIMS-0009183154         426
 Emails/Attachments   PILGRIMS-0009183660         PILGRIMS-0009185934         548
 Emails/Attachments   PILGRIMS-0009186559         PILGRIMS-0009186562          4
 Emails/Attachments   PILGRIMS-0009186575         PILGRIMS-0009186600         14
 Emails/Attachments   PILGRIMS-0009186603         PILGRIMS-0009186611          5
 Emails/Attachments   PILGRIMS-0009186616         PILGRIMS-0009186633         18
 Emails/Attachments   PILGRIMS-0009186639         PILGRIMS-0009186650          7
 Emails/Attachments   PILGRIMS-0009186659         PILGRIMS-0009186664          3
 Emails/Attachments   PILGRIMS-0009186674         PILGRIMS-0009186677          2
 Emails/Attachments   PILGRIMS-0009186683         PILGRIMS-0009186997         39
 Emails/Attachments   PILGRIMS-0009187012         PILGRIMS-0009187086          8
 Emails/Attachments   PILGRIMS-0009187133         PILGRIMS-0009187238         20
 Emails/Attachments   PILGRIMS-0009187261         PILGRIMS-0009187263          2
 Emails/Attachments   PILGRIMS-0009187280         PILGRIMS-0009187983         49
 Emails/Attachments   PILGRIMS-0009187985         PILGRIMS-0009188250         28
 Emails/Attachments   PILGRIMS-0009188254         PILGRIMS-0009188405         42
 Emails/Attachments   PILGRIMS-0009188411         PILGRIMS-0009188476         31
 Emails/Attachments   PILGRIMS-0009188479         PILGRIMS-0009188543         18
 Emails/Attachments   PILGRIMS-0009188552         PILGRIMS-0009188864         58
 Emails/Attachments   PILGRIMS-0009188867         PILGRIMS-0009188908         29
 Emails/Attachments   PILGRIMS-0009188910         PILGRIMS-0009189355         174
 Emails/Attachments   PILGRIMS-0009189358         PILGRIMS-0009189376         13
 Emails/Attachments   PILGRIMS-0009189385         PILGRIMS-0009189388          2
 Emails/Attachments   PILGRIMS-0009189395         PILGRIMS-0009189397          1
 Emails/Attachments   PILGRIMS-0009189404         PILGRIMS-0009189408          1
 Emails/Attachments   PILGRIMS-0009189412         PILGRIMS-0009189420          6
 Emails/Attachments   PILGRIMS-0009189424         PILGRIMS-0009189434          5
 Emails/Attachments   PILGRIMS-0009189441         PILGRIMS-0009189724         20
 Emails/Attachments   PILGRIMS-0009189731         PILGRIMS-0009189753         15
 Emails/Attachments   PILGRIMS-0009189756         PILGRIMS-0009189775         14
 Emails/Attachments   PILGRIMS-0009189778         PILGRIMS-0009190078         40
 Emails/Attachments   PILGRIMS-0009190083         PILGRIMS-0009190149         40
 Emails/Attachments   PILGRIMS-0009190153         PILGRIMS-0009191529         137
 Emails/Attachments   PILGRIMS-0009191534         PILGRIMS-0009191706         106
 Emails/Attachments   PILGRIMS-0009191715         PILGRIMS-0009194690         31
 Emails/Attachments   PILGRIMS-0009194707         PILGRIMS-0009194721          3
 Emails/Attachments   PILGRIMS-0009194860         PILGRIMS-0009194871          2


                                    Page 203 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 227 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009194873         PILGRIMS-0009194885          2
 Emails/Attachments   PILGRIMS-0009195059         PILGRIMS-0009195061          1
 Emails/Attachments   PILGRIMS-0009195066         PILGRIMS-0009195751         112
 Emails/Attachments   PILGRIMS-0009195757         PILGRIMS-0009196660         131
 Emails/Attachments   PILGRIMS-0009196665         PILGRIMS-0009197716         273
 Emails/Attachments   PILGRIMS-0009197724         PILGRIMS-0009197726          1
 Emails/Attachments   PILGRIMS-0009197734         PILGRIMS-0009197954         47
 Emails/Attachments   PILGRIMS-0009198060         PILGRIMS-0009198169         46
 Emails/Attachments   PILGRIMS-0009198171         PILGRIMS-0009198252         20
 Emails/Attachments   PILGRIMS-0009198255         PILGRIMS-0009200284         637
 Emails/Attachments   PILGRIMS-0009200792         PILGRIMS-0009200843         28
 Emails/Attachments   PILGRIMS-0009200846         PILGRIMS-0009200876         10
 Emails/Attachments   PILGRIMS-0009200879         PILGRIMS-0009201060         104
 Emails/Attachments   PILGRIMS-0009201072         PILGRIMS-0009201086          6
 Emails/Attachments   PILGRIMS-0009201102         PILGRIMS-0009201187         52
 Emails/Attachments   PILGRIMS-0009201189         PILGRIMS-0009201378         111
 Emails/Attachments   PILGRIMS-0009201382         PILGRIMS-0009201562         81
 Emails/Attachments   PILGRIMS-0009201575         PILGRIMS-0009202373         107
 Emails/Attachments   PILGRIMS-0009202375         PILGRIMS-0009202557         129
 Emails/Attachments   PILGRIMS-0009202575         PILGRIMS-0009202876         85
 Emails/Attachments   PILGRIMS-0009202881         PILGRIMS-0009203079         77
 Emails/Attachments   PILGRIMS-0009203083         PILGRIMS-0009203109          2
 Emails/Attachments   PILGRIMS-0009203113         PILGRIMS-0009203168         24
 Emails/Attachments   PILGRIMS-0009203172         PILGRIMS-0009203275         41
 Emails/Attachments   PILGRIMS-0009203277         PILGRIMS-0009203305         13
 Emails/Attachments   PILGRIMS-0009203307         PILGRIMS-0009203327          4
 Emails/Attachments   PILGRIMS-0009203336         PILGRIMS-0009203345          6
 Emails/Attachments   PILGRIMS-0009203350         PILGRIMS-0009203379         10
 Emails/Attachments   PILGRIMS-0009203400         PILGRIMS-0009203423          9
 Emails/Attachments   PILGRIMS-0009203433         PILGRIMS-0009203704         28
 Emails/Attachments   PILGRIMS-0009203708         PILGRIMS-0009203722         11
 Emails/Attachments   PILGRIMS-0009203727         PILGRIMS-0009203800         25
 Emails/Attachments   PILGRIMS-0009203807         PILGRIMS-0009203892         17
 Emails/Attachments   PILGRIMS-0009203895         PILGRIMS-0009203896          2
 Emails/Attachments   PILGRIMS-0009203915         PILGRIMS-0009203917          1
 Emails/Attachments   PILGRIMS-0009203946         PILGRIMS-0009203946          1
 Emails/Attachments   PILGRIMS-0009204001         PILGRIMS-0009204080         32
 Emails/Attachments   PILGRIMS-0009204082         PILGRIMS-0009204404         140
 Emails/Attachments   PILGRIMS-0009204406         PILGRIMS-0009204426          4
 Emails/Attachments   PILGRIMS-0009204428         PILGRIMS-0009204514         22
 Emails/Attachments   PILGRIMS-0009204522         PILGRIMS-0009205112         45
 Emails/Attachments   PILGRIMS-0009205118         PILGRIMS-0009205123          5
 Emails/Attachments   PILGRIMS-0009205222         PILGRIMS-0009205225          2
 Emails/Attachments   PILGRIMS-0009205231         PILGRIMS-0009205246          8
 Emails/Attachments   PILGRIMS-0009205332         PILGRIMS-0009205332          1
 Emails/Attachments   PILGRIMS-0009205340         PILGRIMS-0009205381         32


                                    Page 204 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 228 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009205396         PILGRIMS-0009205408         10
 Emails/Attachments   PILGRIMS-0009205413         PILGRIMS-0009206025         55
 Emails/Attachments   PILGRIMS-0009206051         PILGRIMS-0009206053          2
 Emails/Attachments   PILGRIMS-0009206055         PILGRIMS-0009209033         33
 Emails/Attachments   PILGRIMS-0009209035         PILGRIMS-0009209036          1
 Emails/Attachments   PILGRIMS-0009209039         PILGRIMS-0009209061         21
 Emails/Attachments   PILGRIMS-0009209112         PILGRIMS-0009211317         32
 Emails/Attachments   PILGRIMS-0009211326         PILGRIMS-0009212794         36
 Emails/Attachments   PILGRIMS-0009212809         PILGRIMS-0009214799         195
 Emails/Attachments   PILGRIMS-0009214801         PILGRIMS-0009215095         137
 Emails/Attachments   PILGRIMS-0009216400         PILGRIMS-0009216445         19
 Emails/Attachments   PILGRIMS-0009217621         PILGRIMS-0009217622          2
 Emails/Attachments   PILGRIMS-0009217624         PILGRIMS-0009217799         42
 Emails/Attachments   PILGRIMS-0009219042         PILGRIMS-0009219661         93
 Emails/Attachments   PILGRIMS-0009219664         PILGRIMS-0009221703         160
 Emails/Attachments   PILGRIMS-0009221713         PILGRIMS-0009225727         250
 Emails/Attachments   PILGRIMS-0009225752         PILGRIMS-0009225826          7
 Emails/Attachments   PILGRIMS-0009225828         PILGRIMS-0009227440         274
 Emails/Attachments   PILGRIMS-0009227463         PILGRIMS-0009227464          1
 Emails/Attachments   PILGRIMS-0009227483         PILGRIMS-0009227486          2
 Emails/Attachments   PILGRIMS-0009227515         PILGRIMS-0009227526          6
 Emails/Attachments   PILGRIMS-0009227529         PILGRIMS-0009227529          1
 Emails/Attachments   PILGRIMS-0009227536         PILGRIMS-0009227537          1
 Emails/Attachments   PILGRIMS-0009227543         PILGRIMS-0009227553          6
 Emails/Attachments   PILGRIMS-0009227573         PILGRIMS-0009227574          1
 Emails/Attachments   PILGRIMS-0009227587         PILGRIMS-0009227587          1
 Emails/Attachments   PILGRIMS-0009227601         PILGRIMS-0009227604          2
 Emails/Attachments   PILGRIMS-0009227679         PILGRIMS-0009227684          3
 Emails/Attachments   PILGRIMS-0009227692         PILGRIMS-0009227693          1
 Emails/Attachments   PILGRIMS-0009227701         PILGRIMS-0009227714          6
 Emails/Attachments   PILGRIMS-0009227729         PILGRIMS-0009227729          1
 Emails/Attachments   PILGRIMS-0009227732         PILGRIMS-0009227737          3
 Emails/Attachments   PILGRIMS-0009227739         PILGRIMS-0009227739          1
 Emails/Attachments   PILGRIMS-0009227742         PILGRIMS-0009227747          3
 Emails/Attachments   PILGRIMS-0009227751         PILGRIMS-0009227752          1
 Emails/Attachments   PILGRIMS-0009227756         PILGRIMS-0009227761          3
 Emails/Attachments   PILGRIMS-0009227763         PILGRIMS-0009227765          2
 Emails/Attachments   PILGRIMS-0009228004         PILGRIMS-0009228004          1
 Emails/Attachments   PILGRIMS-0009228019         PILGRIMS-0009228020          1
 Emails/Attachments   PILGRIMS-0009228087         PILGRIMS-0009228090          2
 Emails/Attachments   PILGRIMS-0009228160         PILGRIMS-0009228161          1
 Emails/Attachments   PILGRIMS-0009229099         PILGRIMS-0009229101          1
 Emails/Attachments   PILGRIMS-0009229210         PILGRIMS-0009229219          2
 Emails/Attachments   PILGRIMS-0009229230         PILGRIMS-0009229726         198
 Emails/Attachments   PILGRIMS-0009230165         PILGRIMS-0009230299         28
 Emails/Attachments   PILGRIMS-0009230326         PILGRIMS-0009232366         81


                                    Page 205 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 229 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009232703         PILGRIMS-0009232895         31
 Emails/Attachments   PILGRIMS-0009232898         PILGRIMS-0009232943         15
 Emails/Attachments   PILGRIMS-0009232970         PILGRIMS-0009233003         20
 Emails/Attachments   PILGRIMS-0009233025         PILGRIMS-0009233055         20
 Emails/Attachments   PILGRIMS-0009233082         PILGRIMS-0009233213         32
 Emails/Attachments   PILGRIMS-0009233218         PILGRIMS-0009233359         10
 Emails/Attachments   PILGRIMS-0009233361         PILGRIMS-0009234293         279
 Emails/Attachments   PILGRIMS-0009234407         PILGRIMS-0009234958         19
 Emails/Attachments   PILGRIMS-0009234962         PILGRIMS-0009234978          4
 Emails/Attachments   PILGRIMS-0009234986         PILGRIMS-0009234988          3
 Emails/Attachments   PILGRIMS-0009234992         PILGRIMS-0009235004         13
 Emails/Attachments   PILGRIMS-0009235006         PILGRIMS-0009235029         11
 Emails/Attachments   PILGRIMS-0009235033         PILGRIMS-0009235064         12
 Emails/Attachments   PILGRIMS-0009235067         PILGRIMS-0009235087          4
 Emails/Attachments   PILGRIMS-0009235091         PILGRIMS-0009235121         24
 Emails/Attachments   PILGRIMS-0009235123         PILGRIMS-0009235125          2
 Emails/Attachments   PILGRIMS-0009235127         PILGRIMS-0009235202         28
 Emails/Attachments   PILGRIMS-0009235240         PILGRIMS-0009235310         16
 Emails/Attachments   PILGRIMS-0009235312         PILGRIMS-0009235320          5
 Emails/Attachments   PILGRIMS-0009235325         PILGRIMS-0009235342         11
 Emails/Attachments   PILGRIMS-0009235345         PILGRIMS-0009235348          3
 Emails/Attachments   PILGRIMS-0009235351         PILGRIMS-0009235356          5
 Emails/Attachments   PILGRIMS-0009235358         PILGRIMS-0009235457         41
 Emails/Attachments   PILGRIMS-0009235463         PILGRIMS-0009235496         24
 Emails/Attachments   PILGRIMS-0009235498         PILGRIMS-0009235520          5
 Emails/Attachments   PILGRIMS-0009235525         PILGRIMS-0009235589         38
 Emails/Attachments   PILGRIMS-0009235976         PILGRIMS-0009236552          7
 Emails/Attachments   PILGRIMS-0009236736         PILGRIMS-0009236818         58
 Emails/Attachments   PILGRIMS-0009236820         PILGRIMS-0009237948         44
 Emails/Attachments   PILGRIMS-0009237950         PILGRIMS-0009238340         11
 Emails/Attachments   PILGRIMS-0009238342         PILGRIMS-0009238721         11
 Emails/Attachments   PILGRIMS-0009238726         PILGRIMS-0009238824         44
 Emails/Attachments   PILGRIMS-0009238837         PILGRIMS-0009238840          4
 Emails/Attachments   PILGRIMS-0009238842         PILGRIMS-0009238860          3
 Emails/Attachments   PILGRIMS-0009238881         PILGRIMS-0009238884          2
 Emails/Attachments   PILGRIMS-0009238924         PILGRIMS-0009238949          6
 Emails/Attachments   PILGRIMS-0009238954         PILGRIMS-0009238996         12
 Emails/Attachments   PILGRIMS-0009238999         PILGRIMS-0009240350         130
 Emails/Attachments   PILGRIMS-0009240372         PILGRIMS-0009240443          8
 Emails/Attachments   PILGRIMS-0009240445         PILGRIMS-0009241030         77
 Emails/Attachments   PILGRIMS-0009241032         PILGRIMS-0009241186         53
 Emails/Attachments   PILGRIMS-0009241190         PILGRIMS-0009241211         14
 Emails/Attachments   PILGRIMS-0009241213         PILGRIMS-0009242745         98
 Emails/Attachments   PILGRIMS-0009242747         PILGRIMS-0009242853         39
 Emails/Attachments   PILGRIMS-0009242856         PILGRIMS-0009243333          9
 Emails/Attachments   PILGRIMS-0009243336         PILGRIMS-0009243389         30


                                    Page 206 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 230 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009243391         PILGRIMS-0009243392          2
 Emails/Attachments   PILGRIMS-0009243395         PILGRIMS-0009243445         22
 Emails/Attachments   PILGRIMS-0009243464         PILGRIMS-0009243494         11
 Emails/Attachments   PILGRIMS-0009243501         PILGRIMS-0009243583         50
 Emails/Attachments   PILGRIMS-0009243585         PILGRIMS-0009243592          7
 Emails/Attachments   PILGRIMS-0009243594         PILGRIMS-0009243655         25
 Emails/Attachments   PILGRIMS-0009243657         PILGRIMS-0009243669          7
 Emails/Attachments   PILGRIMS-0009243678         PILGRIMS-0009243747         40
 Emails/Attachments   PILGRIMS-0009243749         PILGRIMS-0009243778         11
 Emails/Attachments   PILGRIMS-0009243783         PILGRIMS-0009243819         11
 Emails/Attachments   PILGRIMS-0009243821         PILGRIMS-0009243884         41
 Emails/Attachments   PILGRIMS-0009243886         PILGRIMS-0009243890          5
 Emails/Attachments   PILGRIMS-0009243894         PILGRIMS-0009243927         12
 Emails/Attachments   PILGRIMS-0009243930         PILGRIMS-0009244106         13
 Emails/Attachments   PILGRIMS-0009244113         PILGRIMS-0009244114          2
 Emails/Attachments   PILGRIMS-0009244116         PILGRIMS-0009244131          5
 Emails/Attachments   PILGRIMS-0009244133         PILGRIMS-0009244140          7
 Emails/Attachments   PILGRIMS-0009244142         PILGRIMS-0009244151         10
 Emails/Attachments   PILGRIMS-0009244155         PILGRIMS-0009244237         22
 Emails/Attachments   PILGRIMS-0009244241         PILGRIMS-0009244255          9
 Emails/Attachments   PILGRIMS-0009244258         PILGRIMS-0009244302          9
 Emails/Attachments   PILGRIMS-0009244306         PILGRIMS-0009244738         11
 Emails/Attachments   PILGRIMS-0009246115         PILGRIMS-0009246228         11
 Emails/Attachments   PILGRIMS-0009246232         PILGRIMS-0009246236          2
 Emails/Attachments   PILGRIMS-0009246257         PILGRIMS-0009246305          9
 Emails/Attachments   PILGRIMS-0009246492         PILGRIMS-0009246523         11
 Emails/Attachments   PILGRIMS-0009246525         PILGRIMS-0009246561         15
 Emails/Attachments   PILGRIMS-0009246572         PILGRIMS-0009246588          4
 Emails/Attachments   PILGRIMS-0009246593         PILGRIMS-0009246606          5
 Emails/Attachments   PILGRIMS-0009246615         PILGRIMS-0009246678          3
 Emails/Attachments   PILGRIMS-0009246687         PILGRIMS-0009246878         10
 Emails/Attachments   PILGRIMS-0009246892         PILGRIMS-0009246908          4
 Emails/Attachments   PILGRIMS-0009246962         PILGRIMS-0009246987          5
 Emails/Attachments   PILGRIMS-0009247005         PILGRIMS-0009247025          8
 Emails/Attachments   PILGRIMS-0009247186         PILGRIMS-0009247187          2
 Emails/Attachments   PILGRIMS-0009247189         PILGRIMS-0009247233          9
 Emails/Attachments   PILGRIMS-0009247254         PILGRIMS-0009247258          1
 Emails/Attachments   PILGRIMS-0009247280         PILGRIMS-0009247350         25
 Emails/Attachments   PILGRIMS-0009247402         PILGRIMS-0009247449          8
 Emails/Attachments   PILGRIMS-0009247454         PILGRIMS-0009247620         59
 Emails/Attachments   PILGRIMS-0009247691         PILGRIMS-0009247715         10
 Emails/Attachments   PILGRIMS-0009247722         PILGRIMS-0009247743          3
 Emails/Attachments   PILGRIMS-0009247746         PILGRIMS-0009247746          1
 Emails/Attachments   PILGRIMS-0009247805         PILGRIMS-0009247827         10
 Emails/Attachments   PILGRIMS-0009247835         PILGRIMS-0009247898         25
 Emails/Attachments   PILGRIMS-0009247979         PILGRIMS-0009248039         22


                                    Page 207 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 231 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009248071         PILGRIMS-0009248424           6
 Emails/Attachments   PILGRIMS-0009248539         PILGRIMS-0009248608          18
 Emails/Attachments   PILGRIMS-0009248666         PILGRIMS-0009248782          19
 Emails/Attachments   PILGRIMS-0009248784         PILGRIMS-0009248809          10
 Emails/Attachments   PILGRIMS-0009248870         PILGRIMS-0009249158          18
 Emails/Attachments   PILGRIMS-0009249199         PILGRIMS-0009250284          46
 Emails/Attachments   PILGRIMS-0009250286         PILGRIMS-0009250307           3
 Emails/Attachments   PILGRIMS-0009250312         PILGRIMS-0009250340           8
 Emails/Attachments   PILGRIMS-0009250342         PILGRIMS-0009250343           1
 Emails/Attachments   PILGRIMS-0009250385         PILGRIMS-0009250404          17
 Emails/Attachments   PILGRIMS-0009250406         PILGRIMS-0009250513           4
 Emails/Attachments   PILGRIMS-0009250544         PILGRIMS-0009250759          28
 Emails/Attachments   PILGRIMS-0009250913         PILGRIMS-0009250924           3
 Emails/Attachments   PILGRIMS-0009250947         PILGRIMS-0009251078           5
 Emails/Attachments   PILGRIMS-0009251081         PILGRIMS-0009251144          18
 Emails/Attachments   PILGRIMS-0009251199         PILGRIMS-0009251344          61
 Emails/Attachments   PILGRIMS-0009251353         PILGRIMS-0009251392           8
 Emails/Attachments   PILGRIMS-0009251406         PILGRIMS-0009251444          11
 Emails/Attachments   PILGRIMS-0009251529         PILGRIMS-0009251560           6
 Emails/Attachments   PILGRIMS-0009251567         PILGRIMS-0009251595           3
 Emails/Attachments   PILGRIMS-0009251618         PILGRIMS-0009251619           2
 Emails/Attachments   PILGRIMS-0009251621         PILGRIMS-0009251621           1
 Emails/Attachments   PILGRIMS-0009251707         PILGRIMS-0009251708           1
 Emails/Attachments   PILGRIMS-0009251728         PILGRIMS-0009251736           2
 Emails/Attachments   PILGRIMS-0009251746         PILGRIMS-0009251803           8
 Emails/Attachments   PILGRIMS-0009251813         PILGRIMS-0009251822           2
 Emails/Attachments   PILGRIMS-0009251908         PILGRIMS-0009252196         186
 Emails/Attachments   PILGRIMS-0009252216         PILGRIMS-0009252232          14
 Emails/Attachments   PILGRIMS-0009252243         PILGRIMS-0009256379        2,977
 Emails/Attachments   PILGRIMS-0009256384         PILGRIMS-0009256388           3
 Emails/Attachments   PILGRIMS-0009256393         PILGRIMS-0009256646         230
 Emails/Attachments   PILGRIMS-0009256648         PILGRIMS-0009256682          32
 Emails/Attachments   PILGRIMS-0009256684         PILGRIMS-0009256684           1
 Emails/Attachments   PILGRIMS-0009256686         PILGRIMS-0009256687           2
 Emails/Attachments   PILGRIMS-0009256689         PILGRIMS-0009256690           2
 Emails/Attachments   PILGRIMS-0009256694         PILGRIMS-0009256694           1
 Emails/Attachments   PILGRIMS-0009256699         PILGRIMS-0009256700           2
 Emails/Attachments   PILGRIMS-0009256702         PILGRIMS-0009256702           1
 Emails/Attachments   PILGRIMS-0009256706         PILGRIMS-0009256706           1
 Emails/Attachments   PILGRIMS-0009256712         PILGRIMS-0009256715           3
 Emails/Attachments   PILGRIMS-0009256719         PILGRIMS-0009256719           1
 Emails/Attachments   PILGRIMS-0009256721         PILGRIMS-0009256721           1
 Emails/Attachments   PILGRIMS-0009256733         PILGRIMS-0009256733           1
 Emails/Attachments   PILGRIMS-0009256735         PILGRIMS-0009256735           1
 Emails/Attachments   PILGRIMS-0009256744         PILGRIMS-0009256744           1
 Emails/Attachments   PILGRIMS-0009256748         PILGRIMS-0009256748           1


                                    Page 208 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 232 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009256757         PILGRIMS-0009256759          3
 Emails/Attachments   PILGRIMS-0009256784         PILGRIMS-0009256785          2
 Emails/Attachments   PILGRIMS-0009256788         PILGRIMS-0009256788          1
 Emails/Attachments   PILGRIMS-0009256791         PILGRIMS-0009256791          1
 Emails/Attachments   PILGRIMS-0009256799         PILGRIMS-0009256799          1
 Emails/Attachments   PILGRIMS-0009256801         PILGRIMS-0009256809          8
 Emails/Attachments   PILGRIMS-0009256814         PILGRIMS-0009256814          1
 Emails/Attachments   PILGRIMS-0009256818         PILGRIMS-0009256818          1
 Emails/Attachments   PILGRIMS-0009256821         PILGRIMS-0009256821          1
 Emails/Attachments   PILGRIMS-0009256823         PILGRIMS-0009256823          1
 Emails/Attachments   PILGRIMS-0009256831         PILGRIMS-0009256832          2
 Emails/Attachments   PILGRIMS-0009256836         PILGRIMS-0009256836          1
 Emails/Attachments   PILGRIMS-0009256841         PILGRIMS-0009256842          2
 Emails/Attachments   PILGRIMS-0009256846         PILGRIMS-0009256849          2
 Emails/Attachments   PILGRIMS-0009256852         PILGRIMS-0009256852          1
 Emails/Attachments   PILGRIMS-0009256855         PILGRIMS-0009256855          1
 Emails/Attachments   PILGRIMS-0009256857         PILGRIMS-0009256859          3
 Emails/Attachments   PILGRIMS-0009256862         PILGRIMS-0009256862          1
 Emails/Attachments   PILGRIMS-0009256869         PILGRIMS-0009256870          2
 Emails/Attachments   PILGRIMS-0009256873         PILGRIMS-0009256873          1
 Emails/Attachments   PILGRIMS-0009256876         PILGRIMS-0009256876          1
 Emails/Attachments   PILGRIMS-0009256878         PILGRIMS-0009256913          4
 Emails/Attachments   PILGRIMS-0009256916         PILGRIMS-0009256917          2
 Emails/Attachments   PILGRIMS-0009256919         PILGRIMS-0009256919          1
 Emails/Attachments   PILGRIMS-0009256921         PILGRIMS-0009256922          2
 Emails/Attachments   PILGRIMS-0009256924         PILGRIMS-0009256926          3
 Emails/Attachments   PILGRIMS-0009256931         PILGRIMS-0009256934          3
 Emails/Attachments   PILGRIMS-0009256937         PILGRIMS-0009256937          1
 Emails/Attachments   PILGRIMS-0009256939         PILGRIMS-0009256939          1
 Emails/Attachments   PILGRIMS-0009256941         PILGRIMS-0009256941          1
 Emails/Attachments   PILGRIMS-0009256944         PILGRIMS-0009256944          1
 Emails/Attachments   PILGRIMS-0009256949         PILGRIMS-0009256949          1
 Emails/Attachments   PILGRIMS-0009256951         PILGRIMS-0009256951          1
 Emails/Attachments   PILGRIMS-0009256959         PILGRIMS-0009256959          1
 Emails/Attachments   PILGRIMS-0009256966         PILGRIMS-0009256967          1
 Emails/Attachments   PILGRIMS-0009256970         PILGRIMS-0009256971          2
 Emails/Attachments   PILGRIMS-0009256978         PILGRIMS-0009256978          1
 Emails/Attachments   PILGRIMS-0009256982         PILGRIMS-0009256982          1
 Emails/Attachments   PILGRIMS-0009256986         PILGRIMS-0009256986          1
 Emails/Attachments   PILGRIMS-0009256990         PILGRIMS-0009256990          1
 Emails/Attachments   PILGRIMS-0009256996         PILGRIMS-0009256996          1
 Emails/Attachments   PILGRIMS-0009257010         PILGRIMS-0009257010          1
 Emails/Attachments   PILGRIMS-0009257014         PILGRIMS-0009257015          1
 Emails/Attachments   PILGRIMS-0009257017         PILGRIMS-0009257019          3
 Emails/Attachments   PILGRIMS-0009257023         PILGRIMS-0009257025          2
 Emails/Attachments   PILGRIMS-0009257028         PILGRIMS-0009257028          1


                                    Page 209 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 233 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009257030         PILGRIMS-0009257030          1
 Emails/Attachments   PILGRIMS-0009257033         PILGRIMS-0009257033          1
 Emails/Attachments   PILGRIMS-0009257036         PILGRIMS-0009257036          1
 Emails/Attachments   PILGRIMS-0009257038         PILGRIMS-0009257039          2
 Emails/Attachments   PILGRIMS-0009257041         PILGRIMS-0009257041          1
 Emails/Attachments   PILGRIMS-0009257043         PILGRIMS-0009257043          1
 Emails/Attachments   PILGRIMS-0009257052         PILGRIMS-0009257052          1
 Emails/Attachments   PILGRIMS-0009257055         PILGRIMS-0009257061          5
 Emails/Attachments   PILGRIMS-0009257067         PILGRIMS-0009257067          1
 Emails/Attachments   PILGRIMS-0009257069         PILGRIMS-0009257069          1
 Emails/Attachments   PILGRIMS-0009257072         PILGRIMS-0009257076          3
 Emails/Attachments   PILGRIMS-0009257083         PILGRIMS-0009257083          1
 Emails/Attachments   PILGRIMS-0009257089         PILGRIMS-0009257089          1
 Emails/Attachments   PILGRIMS-0009257100         PILGRIMS-0009257101          2
 Emails/Attachments   PILGRIMS-0009257103         PILGRIMS-0009257103          1
 Emails/Attachments   PILGRIMS-0009257111         PILGRIMS-0009257112          1
 Emails/Attachments   PILGRIMS-0009257115         PILGRIMS-0009257115          1
 Emails/Attachments   PILGRIMS-0009257119         PILGRIMS-0009257119          1
 Emails/Attachments   PILGRIMS-0009257125         PILGRIMS-0009257126          2
 Emails/Attachments   PILGRIMS-0009257129         PILGRIMS-0009257129          1
 Emails/Attachments   PILGRIMS-0009257131         PILGRIMS-0009257132          2
 Emails/Attachments   PILGRIMS-0009257139         PILGRIMS-0009257139          1
 Emails/Attachments   PILGRIMS-0009257142         PILGRIMS-0009257143          2
 Emails/Attachments   PILGRIMS-0009257147         PILGRIMS-0009257147          1
 Emails/Attachments   PILGRIMS-0009257150         PILGRIMS-0009257151          2
 Emails/Attachments   PILGRIMS-0009257153         PILGRIMS-0009257159          7
 Emails/Attachments   PILGRIMS-0009257162         PILGRIMS-0009257178         17
 Emails/Attachments   PILGRIMS-0009257180         PILGRIMS-0009257181          2
 Emails/Attachments   PILGRIMS-0009257183         PILGRIMS-0009257183          1
 Emails/Attachments   PILGRIMS-0009257192         PILGRIMS-0009257192          1
 Emails/Attachments   PILGRIMS-0009257196         PILGRIMS-0009257213         17
 Emails/Attachments   PILGRIMS-0009257217         PILGRIMS-0009257257         16
 Emails/Attachments   PILGRIMS-0009257259         PILGRIMS-0009257269         11
 Emails/Attachments   PILGRIMS-0009257272         PILGRIMS-0009257277          6
 Emails/Attachments   PILGRIMS-0009257279         PILGRIMS-0009257284          6
 Emails/Attachments   PILGRIMS-0009257286         PILGRIMS-0009257286          1
 Emails/Attachments   PILGRIMS-0009257318         PILGRIMS-0009257318          1
 Emails/Attachments   PILGRIMS-0009257322         PILGRIMS-0009257325          4
 Emails/Attachments   PILGRIMS-0009257328         PILGRIMS-0009257328          1
 Emails/Attachments   PILGRIMS-0009257331         PILGRIMS-0009257332          2
 Emails/Attachments   PILGRIMS-0009257334         PILGRIMS-0009257337          4
 Emails/Attachments   PILGRIMS-0009257340         PILGRIMS-0009257342          3
 Emails/Attachments   PILGRIMS-0009257345         PILGRIMS-0009257348          4
 Emails/Attachments   PILGRIMS-0009257352         PILGRIMS-0009257364         13
 Emails/Attachments   PILGRIMS-0009257366         PILGRIMS-0009257377         12
 Emails/Attachments   PILGRIMS-0009257379         PILGRIMS-0009257381          3


                                    Page 210 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 234 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009257384         PILGRIMS-0009257403          9
 Emails/Attachments   PILGRIMS-0009257405         PILGRIMS-0009257431         27
 Emails/Attachments   PILGRIMS-0009257434         PILGRIMS-0009257435          2
 Emails/Attachments   PILGRIMS-0009257437         PILGRIMS-0009257437          1
 Emails/Attachments   PILGRIMS-0009257439         PILGRIMS-0009257461         13
 Emails/Attachments   PILGRIMS-0009257463         PILGRIMS-0009257463          1
 Emails/Attachments   PILGRIMS-0009257465         PILGRIMS-0009257466          2
 Emails/Attachments   PILGRIMS-0009257468         PILGRIMS-0009257468          1
 Emails/Attachments   PILGRIMS-0009257470         PILGRIMS-0009257474          5
 Emails/Attachments   PILGRIMS-0009257478         PILGRIMS-0009257480          3
 Emails/Attachments   PILGRIMS-0009257482         PILGRIMS-0009257488          7
 Emails/Attachments   PILGRIMS-0009257491         PILGRIMS-0009257492          2
 Emails/Attachments   PILGRIMS-0009257494         PILGRIMS-0009257497          4
 Emails/Attachments   PILGRIMS-0009257500         PILGRIMS-0009257500          1
 Emails/Attachments   PILGRIMS-0009257502         PILGRIMS-0009257516         15
 Emails/Attachments   PILGRIMS-0009257520         PILGRIMS-0009257526          5
 Emails/Attachments   PILGRIMS-0009257529         PILGRIMS-0009257531          3
 Emails/Attachments   PILGRIMS-0009257533         PILGRIMS-0009257537          5
 Emails/Attachments   PILGRIMS-0009257539         PILGRIMS-0009257545          7
 Emails/Attachments   PILGRIMS-0009257547         PILGRIMS-0009257596          2
 Emails/Attachments   PILGRIMS-0009257599         PILGRIMS-0009257600          2
 Emails/Attachments   PILGRIMS-0009257602         PILGRIMS-0009257603          2
 Emails/Attachments   PILGRIMS-0009257606         PILGRIMS-0009257606          1
 Emails/Attachments   PILGRIMS-0009257608         PILGRIMS-0009257611          4
 Emails/Attachments   PILGRIMS-0009257613         PILGRIMS-0009257614          2
 Emails/Attachments   PILGRIMS-0009257616         PILGRIMS-0009257620          5
 Emails/Attachments   PILGRIMS-0009257623         PILGRIMS-0009257624          2
 Emails/Attachments   PILGRIMS-0009257626         PILGRIMS-0009257626          1
 Emails/Attachments   PILGRIMS-0009257632         PILGRIMS-0009257668         37
 Emails/Attachments   PILGRIMS-0009257683         PILGRIMS-0009257723         40
 Emails/Attachments   PILGRIMS-0009257742         PILGRIMS-0009257742          1
 Emails/Attachments   PILGRIMS-0009257744         PILGRIMS-0009257757         14
 Emails/Attachments   PILGRIMS-0009257760         PILGRIMS-0009257761          2
 Emails/Attachments   PILGRIMS-0009257763         PILGRIMS-0009257773         11
 Emails/Attachments   PILGRIMS-0009257775         PILGRIMS-0009257781          7
 Emails/Attachments   PILGRIMS-0009257786         PILGRIMS-0009257788          3
 Emails/Attachments   PILGRIMS-0009257790         PILGRIMS-0009257790          1
 Emails/Attachments   PILGRIMS-0009257793         PILGRIMS-0009257803          9
 Emails/Attachments   PILGRIMS-0009257805         PILGRIMS-0009257815         11
 Emails/Attachments   PILGRIMS-0009257818         PILGRIMS-0009257823          3
 Emails/Attachments   PILGRIMS-0009257825         PILGRIMS-0009257832          7
 Emails/Attachments   PILGRIMS-0009257837         PILGRIMS-0009257837          1
 Emails/Attachments   PILGRIMS-0009257839         PILGRIMS-0009257842          2
 Emails/Attachments   PILGRIMS-0009257844         PILGRIMS-0009257847          4
 Emails/Attachments   PILGRIMS-0009257849         PILGRIMS-0009257851          3
 Emails/Attachments   PILGRIMS-0009257853         PILGRIMS-0009257855          3


                                    Page 211 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 235 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009257858         PILGRIMS-0009257858          1
 Emails/Attachments   PILGRIMS-0009257863         PILGRIMS-0009257863          1
 Emails/Attachments   PILGRIMS-0009257867         PILGRIMS-0009257868          2
 Emails/Attachments   PILGRIMS-0009257870         PILGRIMS-0009257870          1
 Emails/Attachments   PILGRIMS-0009257872         PILGRIMS-0009257872          1
 Emails/Attachments   PILGRIMS-0009257875         PILGRIMS-0009257875          1
 Emails/Attachments   PILGRIMS-0009257877         PILGRIMS-0009257892         16
 Emails/Attachments   PILGRIMS-0009257894         PILGRIMS-0009257900          7
 Emails/Attachments   PILGRIMS-0009257904         PILGRIMS-0009257908          5
 Emails/Attachments   PILGRIMS-0009257910         PILGRIMS-0009257910          1
 Emails/Attachments   PILGRIMS-0009257912         PILGRIMS-0009257912          1
 Emails/Attachments   PILGRIMS-0009257915         PILGRIMS-0009257917          3
 Emails/Attachments   PILGRIMS-0009257919         PILGRIMS-0009257922          4
 Emails/Attachments   PILGRIMS-0009257924         PILGRIMS-0009257927          4
 Emails/Attachments   PILGRIMS-0009257929         PILGRIMS-0009257929          1
 Emails/Attachments   PILGRIMS-0009257931         PILGRIMS-0009257932          2
 Emails/Attachments   PILGRIMS-0009257934         PILGRIMS-0009257935          2
 Emails/Attachments   PILGRIMS-0009257948         PILGRIMS-0009257948          1
 Emails/Attachments   PILGRIMS-0009257955         PILGRIMS-0009257958          2
 Emails/Attachments   PILGRIMS-0009257961         PILGRIMS-0009257981         21
 Emails/Attachments   PILGRIMS-0009257983         PILGRIMS-0009257986          4
 Emails/Attachments   PILGRIMS-0009257990         PILGRIMS-0009257992          3
 Emails/Attachments   PILGRIMS-0009257994         PILGRIMS-0009257994          1
 Emails/Attachments   PILGRIMS-0009257998         PILGRIMS-0009257998          1
 Emails/Attachments   PILGRIMS-0009258003         PILGRIMS-0009258013         11
 Emails/Attachments   PILGRIMS-0009258015         PILGRIMS-0009258015          1
 Emails/Attachments   PILGRIMS-0009258018         PILGRIMS-0009258018          1
 Emails/Attachments   PILGRIMS-0009258020         PILGRIMS-0009258028          9
 Emails/Attachments   PILGRIMS-0009258030         PILGRIMS-0009258031          2
 Emails/Attachments   PILGRIMS-0009258033         PILGRIMS-0009258052         18
 Emails/Attachments   PILGRIMS-0009258054         PILGRIMS-0009258081         22
 Emails/Attachments   PILGRIMS-0009258098         PILGRIMS-0009258111         11
 Emails/Attachments   PILGRIMS-0009258114         PILGRIMS-0009258116          3
 Emails/Attachments   PILGRIMS-0009258121         PILGRIMS-0009258121          1
 Emails/Attachments   PILGRIMS-0009258123         PILGRIMS-0009258131          9
 Emails/Attachments   PILGRIMS-0009258136         PILGRIMS-0009258137          2
 Emails/Attachments   PILGRIMS-0009258139         PILGRIMS-0009258139          1
 Emails/Attachments   PILGRIMS-0009258142         PILGRIMS-0009258157         16
 Emails/Attachments   PILGRIMS-0009258159         PILGRIMS-0009258161          3
 Emails/Attachments   PILGRIMS-0009258165         PILGRIMS-0009258175         11
 Emails/Attachments   PILGRIMS-0009258177         PILGRIMS-0009258179          3
 Emails/Attachments   PILGRIMS-0009258181         PILGRIMS-0009258184          4
 Emails/Attachments   PILGRIMS-0009258186         PILGRIMS-0009258200         13
 Emails/Attachments   PILGRIMS-0009258202         PILGRIMS-0009258205          4
 Emails/Attachments   PILGRIMS-0009258213         PILGRIMS-0009258236         24
 Emails/Attachments   PILGRIMS-0009258238         PILGRIMS-0009258238          1


                                    Page 212 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 236 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009258240         PILGRIMS-0009258243          4
 Emails/Attachments   PILGRIMS-0009258245         PILGRIMS-0009258247          3
 Emails/Attachments   PILGRIMS-0009258251         PILGRIMS-0009258251          1
 Emails/Attachments   PILGRIMS-0009258253         PILGRIMS-0009258256          4
 Emails/Attachments   PILGRIMS-0009258259         PILGRIMS-0009258259          1
 Emails/Attachments   PILGRIMS-0009258262         PILGRIMS-0009258268          7
 Emails/Attachments   PILGRIMS-0009258271         PILGRIMS-0009258274          4
 Emails/Attachments   PILGRIMS-0009258278         PILGRIMS-0009258284          7
 Emails/Attachments   PILGRIMS-0009258288         PILGRIMS-0009258288          1
 Emails/Attachments   PILGRIMS-0009258292         PILGRIMS-0009258293          2
 Emails/Attachments   PILGRIMS-0009258299         PILGRIMS-0009258300          2
 Emails/Attachments   PILGRIMS-0009258304         PILGRIMS-0009258305          2
 Emails/Attachments   PILGRIMS-0009258314         PILGRIMS-0009258323         10
 Emails/Attachments   PILGRIMS-0009258325         PILGRIMS-0009258327          3
 Emails/Attachments   PILGRIMS-0009258329         PILGRIMS-0009258331          3
 Emails/Attachments   PILGRIMS-0009258333         PILGRIMS-0009258341          9
 Emails/Attachments   PILGRIMS-0009258343         PILGRIMS-0009258344          2
 Emails/Attachments   PILGRIMS-0009258349         PILGRIMS-0009258350          2
 Emails/Attachments   PILGRIMS-0009258354         PILGRIMS-0009258358          5
 Emails/Attachments   PILGRIMS-0009258361         PILGRIMS-0009258380         16
 Emails/Attachments   PILGRIMS-0009258382         PILGRIMS-0009258386          3
 Emails/Attachments   PILGRIMS-0009258388         PILGRIMS-0009258393          6
 Emails/Attachments   PILGRIMS-0009258396         PILGRIMS-0009258396          1
 Emails/Attachments   PILGRIMS-0009258398         PILGRIMS-0009258398          1
 Emails/Attachments   PILGRIMS-0009258400         PILGRIMS-0009258400          1
 Emails/Attachments   PILGRIMS-0009258404         PILGRIMS-0009258410          6
 Emails/Attachments   PILGRIMS-0009258412         PILGRIMS-0009258414          3
 Emails/Attachments   PILGRIMS-0009258417         PILGRIMS-0009258417          1
 Emails/Attachments   PILGRIMS-0009258420         PILGRIMS-0009258425          4
 Emails/Attachments   PILGRIMS-0009258427         PILGRIMS-0009258437          9
 Emails/Attachments   PILGRIMS-0009258439         PILGRIMS-0009258442          4
 Emails/Attachments   PILGRIMS-0009258444         PILGRIMS-0009258446          3
 Emails/Attachments   PILGRIMS-0009258449         PILGRIMS-0009258451          3
 Emails/Attachments   PILGRIMS-0009258454         PILGRIMS-0009258454          1
 Emails/Attachments   PILGRIMS-0009258465         PILGRIMS-0009258470          6
 Emails/Attachments   PILGRIMS-0009258472         PILGRIMS-0009258473          2
 Emails/Attachments   PILGRIMS-0009258475         PILGRIMS-0009258490         15
 Emails/Attachments   PILGRIMS-0009258492         PILGRIMS-0009258494          3
 Emails/Attachments   PILGRIMS-0009258496         PILGRIMS-0009258497          2
 Emails/Attachments   PILGRIMS-0009258501         PILGRIMS-0009258508          8
 Emails/Attachments   PILGRIMS-0009258514         PILGRIMS-0009258514          1
 Emails/Attachments   PILGRIMS-0009258516         PILGRIMS-0009258531         16
 Emails/Attachments   PILGRIMS-0009258533         PILGRIMS-0009258533          1
 Emails/Attachments   PILGRIMS-0009258539         PILGRIMS-0009258541          1
 Emails/Attachments   PILGRIMS-0009258543         PILGRIMS-0009258552         10
 Emails/Attachments   PILGRIMS-0009258554         PILGRIMS-0009258566         10


                                    Page 213 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 237 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009258570         PILGRIMS-0009258570          1
 Emails/Attachments   PILGRIMS-0009258574         PILGRIMS-0009258577          4
 Emails/Attachments   PILGRIMS-0009258582         PILGRIMS-0009258586          5
 Emails/Attachments   PILGRIMS-0009258593         PILGRIMS-0009258593          1
 Emails/Attachments   PILGRIMS-0009258596         PILGRIMS-0009258596          1
 Emails/Attachments   PILGRIMS-0009258598         PILGRIMS-0009258602          2
 Emails/Attachments   PILGRIMS-0009258606         PILGRIMS-0009258616         11
 Emails/Attachments   PILGRIMS-0009258620         PILGRIMS-0009258633         14
 Emails/Attachments   PILGRIMS-0009258637         PILGRIMS-0009258644          8
 Emails/Attachments   PILGRIMS-0009258647         PILGRIMS-0009258647          1
 Emails/Attachments   PILGRIMS-0009258649         PILGRIMS-0009258653          5
 Emails/Attachments   PILGRIMS-0009258658         PILGRIMS-0009258658          1
 Emails/Attachments   PILGRIMS-0009258661         PILGRIMS-0009258667          6
 Emails/Attachments   PILGRIMS-0009258669         PILGRIMS-0009258674          6
 Emails/Attachments   PILGRIMS-0009258676         PILGRIMS-0009258694         19
 Emails/Attachments   PILGRIMS-0009258696         PILGRIMS-0009258696          1
 Emails/Attachments   PILGRIMS-0009258699         PILGRIMS-0009258700          2
 Emails/Attachments   PILGRIMS-0009258704         PILGRIMS-0009258707          4
 Emails/Attachments   PILGRIMS-0009258710         PILGRIMS-0009258714          5
 Emails/Attachments   PILGRIMS-0009258716         PILGRIMS-0009258729         13
 Emails/Attachments   PILGRIMS-0009258732         PILGRIMS-0009258734          3
 Emails/Attachments   PILGRIMS-0009258740         PILGRIMS-0009258741          2
 Emails/Attachments   PILGRIMS-0009258747         PILGRIMS-0009258749          3
 Emails/Attachments   PILGRIMS-0009258753         PILGRIMS-0009258754          2
 Emails/Attachments   PILGRIMS-0009258757         PILGRIMS-0009258760          4
 Emails/Attachments   PILGRIMS-0009258762         PILGRIMS-0009258762          1
 Emails/Attachments   PILGRIMS-0009258764         PILGRIMS-0009258765          2
 Emails/Attachments   PILGRIMS-0009258768         PILGRIMS-0009258769          2
 Emails/Attachments   PILGRIMS-0009258773         PILGRIMS-0009258773          1
 Emails/Attachments   PILGRIMS-0009258775         PILGRIMS-0009258798         18
 Emails/Attachments   PILGRIMS-0009258800         PILGRIMS-0009258800          1
 Emails/Attachments   PILGRIMS-0009258803         PILGRIMS-0009258813          8
 Emails/Attachments   PILGRIMS-0009258815         PILGRIMS-0009258815          1
 Emails/Attachments   PILGRIMS-0009258817         PILGRIMS-0009258826         10
 Emails/Attachments   PILGRIMS-0009258829         PILGRIMS-0009258829          1
 Emails/Attachments   PILGRIMS-0009258831         PILGRIMS-0009258843          9
 Emails/Attachments   PILGRIMS-0009258846         PILGRIMS-0009258847          2
 Emails/Attachments   PILGRIMS-0009258849         PILGRIMS-0009258856          6
 Emails/Attachments   PILGRIMS-0009258864         PILGRIMS-0009258869          4
 Emails/Attachments   PILGRIMS-0009258871         PILGRIMS-0009258871          1
 Emails/Attachments   PILGRIMS-0009258873         PILGRIMS-0009258896         22
 Emails/Attachments   PILGRIMS-0009258898         PILGRIMS-0009258899          2
 Emails/Attachments   PILGRIMS-0009258903         PILGRIMS-0009258907          5
 Emails/Attachments   PILGRIMS-0009258910         PILGRIMS-0009258920          7
 Emails/Attachments   PILGRIMS-0009258922         PILGRIMS-0009258922          1
 Emails/Attachments   PILGRIMS-0009258924         PILGRIMS-0009258930          7


                                    Page 214 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 238 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009258933         PILGRIMS-0009258934          2
 Emails/Attachments   PILGRIMS-0009258937         PILGRIMS-0009258939          3
 Emails/Attachments   PILGRIMS-0009258943         PILGRIMS-0009258943          1
 Emails/Attachments   PILGRIMS-0009258945         PILGRIMS-0009258945          1
 Emails/Attachments   PILGRIMS-0009258951         PILGRIMS-0009258955          3
 Emails/Attachments   PILGRIMS-0009258957         PILGRIMS-0009258957          1
 Emails/Attachments   PILGRIMS-0009258959         PILGRIMS-0009258959          1
 Emails/Attachments   PILGRIMS-0009258961         PILGRIMS-0009258967          5
 Emails/Attachments   PILGRIMS-0009258969         PILGRIMS-0009258973          5
 Emails/Attachments   PILGRIMS-0009258975         PILGRIMS-0009258976          2
 Emails/Attachments   PILGRIMS-0009258982         PILGRIMS-0009258983          2
 Emails/Attachments   PILGRIMS-0009259047         PILGRIMS-0009259059         13
 Emails/Attachments   PILGRIMS-0009259064         PILGRIMS-0009259069          6
 Emails/Attachments   PILGRIMS-0009259072         PILGRIMS-0009259072          1
 Emails/Attachments   PILGRIMS-0009259074         PILGRIMS-0009259074          1
 Emails/Attachments   PILGRIMS-0009259076         PILGRIMS-0009259081          5
 Emails/Attachments   PILGRIMS-0009259083         PILGRIMS-0009259088          6
 Emails/Attachments   PILGRIMS-0009259092         PILGRIMS-0009259092          1
 Emails/Attachments   PILGRIMS-0009259096         PILGRIMS-0009259096          1
 Emails/Attachments   PILGRIMS-0009259099         PILGRIMS-0009259100          2
 Emails/Attachments   PILGRIMS-0009259103         PILGRIMS-0009259119         17
 Emails/Attachments   PILGRIMS-0009259121         PILGRIMS-0009259132         12
 Emails/Attachments   PILGRIMS-0009259136         PILGRIMS-0009259144          9
 Emails/Attachments   PILGRIMS-0009259149         PILGRIMS-0009259180         32
 Emails/Attachments   PILGRIMS-0009259182         PILGRIMS-0009259182          1
 Emails/Attachments   PILGRIMS-0009259186         PILGRIMS-0009259197         12
 Emails/Attachments   PILGRIMS-0009259200         PILGRIMS-0009259203          4
 Emails/Attachments   PILGRIMS-0009259209         PILGRIMS-0009259209          1
 Emails/Attachments   PILGRIMS-0009259225         PILGRIMS-0009259226          2
 Emails/Attachments   PILGRIMS-0009259229         PILGRIMS-0009259230          2
 Emails/Attachments   PILGRIMS-0009259232         PILGRIMS-0009259233          2
 Emails/Attachments   PILGRIMS-0009259236         PILGRIMS-0009259237          2
 Emails/Attachments   PILGRIMS-0009259240         PILGRIMS-0009259248          9
 Emails/Attachments   PILGRIMS-0009259250         PILGRIMS-0009259268         19
 Emails/Attachments   PILGRIMS-0009259271         PILGRIMS-0009259280         10
 Emails/Attachments   PILGRIMS-0009259282         PILGRIMS-0009259284          3
 Emails/Attachments   PILGRIMS-0009259286         PILGRIMS-0009259289          4
 Emails/Attachments   PILGRIMS-0009259292         PILGRIMS-0009259296          5
 Emails/Attachments   PILGRIMS-0009259298         PILGRIMS-0009259299          2
 Emails/Attachments   PILGRIMS-0009259301         PILGRIMS-0009259302          2
 Emails/Attachments   PILGRIMS-0009259305         PILGRIMS-0009259307          3
 Emails/Attachments   PILGRIMS-0009259309         PILGRIMS-0009259313          5
 Emails/Attachments   PILGRIMS-0009259315         PILGRIMS-0009259315          1
 Emails/Attachments   PILGRIMS-0009259320         PILGRIMS-0009259320          1
 Emails/Attachments   PILGRIMS-0009259322         PILGRIMS-0009259352         31
 Emails/Attachments   PILGRIMS-0009259354         PILGRIMS-0009259358          5


                                    Page 215 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 239 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009259360         PILGRIMS-0009259365          3
 Emails/Attachments   PILGRIMS-0009259367         PILGRIMS-0009259368          1
 Emails/Attachments   PILGRIMS-0009259370         PILGRIMS-0009259371          1
 Emails/Attachments   PILGRIMS-0009259373         PILGRIMS-0009259374          2
 Emails/Attachments   PILGRIMS-0009259381         PILGRIMS-0009259389          9
 Emails/Attachments   PILGRIMS-0009259393         PILGRIMS-0009259393          1
 Emails/Attachments   PILGRIMS-0009259395         PILGRIMS-0009259396          2
 Emails/Attachments   PILGRIMS-0009259398         PILGRIMS-0009259400          3
 Emails/Attachments   PILGRIMS-0009259402         PILGRIMS-0009259406          5
 Emails/Attachments   PILGRIMS-0009259408         PILGRIMS-0009259409          2
 Emails/Attachments   PILGRIMS-0009259411         PILGRIMS-0009259415          5
 Emails/Attachments   PILGRIMS-0009259417         PILGRIMS-0009259417          1
 Emails/Attachments   PILGRIMS-0009259419         PILGRIMS-0009259423          5
 Emails/Attachments   PILGRIMS-0009259438         PILGRIMS-0009259439          1
 Emails/Attachments   PILGRIMS-0009259444         PILGRIMS-0009259453         10
 Emails/Attachments   PILGRIMS-0009259455         PILGRIMS-0009259459          5
 Emails/Attachments   PILGRIMS-0009259461         PILGRIMS-0009259462          2
 Emails/Attachments   PILGRIMS-0009259464         PILGRIMS-0009259474         11
 Emails/Attachments   PILGRIMS-0009259477         PILGRIMS-0009259478          2
 Emails/Attachments   PILGRIMS-0009259480         PILGRIMS-0009259488          9
 Emails/Attachments   PILGRIMS-0009259490         PILGRIMS-0009259492          3
 Emails/Attachments   PILGRIMS-0009259496         PILGRIMS-0009259496          1
 Emails/Attachments   PILGRIMS-0009259498         PILGRIMS-0009259504          7
 Emails/Attachments   PILGRIMS-0009259508         PILGRIMS-0009259534         22
 Emails/Attachments   PILGRIMS-0009259541         PILGRIMS-0009259554         10
 Emails/Attachments   PILGRIMS-0009259558         PILGRIMS-0009259561          4
 Emails/Attachments   PILGRIMS-0009259563         PILGRIMS-0009259563          1
 Emails/Attachments   PILGRIMS-0009259567         PILGRIMS-0009259599         29
 Emails/Attachments   PILGRIMS-0009259602         PILGRIMS-0009259627         26
 Emails/Attachments   PILGRIMS-0009259631         PILGRIMS-0009259631          1
 Emails/Attachments   PILGRIMS-0009259636         PILGRIMS-0009259638          3
 Emails/Attachments   PILGRIMS-0009259644         PILGRIMS-0009259655         12
 Emails/Attachments   PILGRIMS-0009259659         PILGRIMS-0009259659          1
 Emails/Attachments   PILGRIMS-0009259662         PILGRIMS-0009259662          1
 Emails/Attachments   PILGRIMS-0009259665         PILGRIMS-0009259670          6
 Emails/Attachments   PILGRIMS-0009259674         PILGRIMS-0009259681          8
 Emails/Attachments   PILGRIMS-0009259683         PILGRIMS-0009259693         11
 Emails/Attachments   PILGRIMS-0009259695         PILGRIMS-0009259696          2
 Emails/Attachments   PILGRIMS-0009259698         PILGRIMS-0009259708         11
 Emails/Attachments   PILGRIMS-0009259710         PILGRIMS-0009259738         29
 Emails/Attachments   PILGRIMS-0009259740         PILGRIMS-0009259748          9
 Emails/Attachments   PILGRIMS-0009259750         PILGRIMS-0009259753          4
 Emails/Attachments   PILGRIMS-0009259760         PILGRIMS-0009259766          7
 Emails/Attachments   PILGRIMS-0009259769         PILGRIMS-0009259781         13
 Emails/Attachments   PILGRIMS-0009259784         PILGRIMS-0009259785          2
 Emails/Attachments   PILGRIMS-0009259788         PILGRIMS-0009259788          1


                                    Page 216 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 240 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009259790         PILGRIMS-0009259792          1
 Emails/Attachments   PILGRIMS-0009259794         PILGRIMS-0009259794          1
 Emails/Attachments   PILGRIMS-0009259796         PILGRIMS-0009259796          1
 Emails/Attachments   PILGRIMS-0009259798         PILGRIMS-0009259802          5
 Emails/Attachments   PILGRIMS-0009259804         PILGRIMS-0009259805          2
 Emails/Attachments   PILGRIMS-0009259807         PILGRIMS-0009259808          2
 Emails/Attachments   PILGRIMS-0009259810         PILGRIMS-0009259811          2
 Emails/Attachments   PILGRIMS-0009259814         PILGRIMS-0009259823         10
 Emails/Attachments   PILGRIMS-0009259825         PILGRIMS-0009259827          3
 Emails/Attachments   PILGRIMS-0009259829         PILGRIMS-0009259835          7
 Emails/Attachments   PILGRIMS-0009259837         PILGRIMS-0009259841          5
 Emails/Attachments   PILGRIMS-0009259844         PILGRIMS-0009259848          5
 Emails/Attachments   PILGRIMS-0009259851         PILGRIMS-0009259854          4
 Emails/Attachments   PILGRIMS-0009259856         PILGRIMS-0009259856          1
 Emails/Attachments   PILGRIMS-0009259859         PILGRIMS-0009259859          1
 Emails/Attachments   PILGRIMS-0009259863         PILGRIMS-0009259863          1
 Emails/Attachments   PILGRIMS-0009259866         PILGRIMS-0009259866          1
 Emails/Attachments   PILGRIMS-0009259872         PILGRIMS-0009259873          2
 Emails/Attachments   PILGRIMS-0009259876         PILGRIMS-0009259892         14
 Emails/Attachments   PILGRIMS-0009259896         PILGRIMS-0009259896          1
 Emails/Attachments   PILGRIMS-0009259898         PILGRIMS-0009259914         17
 Emails/Attachments   PILGRIMS-0009259916         PILGRIMS-0009259927          8
 Emails/Attachments   PILGRIMS-0009259929         PILGRIMS-0009259929          1
 Emails/Attachments   PILGRIMS-0009259933         PILGRIMS-0009259935          3
 Emails/Attachments   PILGRIMS-0009259937         PILGRIMS-0009259941          5
 Emails/Attachments   PILGRIMS-0009259943         PILGRIMS-0009259949          5
 Emails/Attachments   PILGRIMS-0009259953         PILGRIMS-0009259953          1
 Emails/Attachments   PILGRIMS-0009259956         PILGRIMS-0009259960          5
 Emails/Attachments   PILGRIMS-0009259962         PILGRIMS-0009259972         11
 Emails/Attachments   PILGRIMS-0009259974         PILGRIMS-0009259974          1
 Emails/Attachments   PILGRIMS-0009259976         PILGRIMS-0009259977          1
 Emails/Attachments   PILGRIMS-0009259979         PILGRIMS-0009259982          4
 Emails/Attachments   PILGRIMS-0009259987         PILGRIMS-0009259987          1
 Emails/Attachments   PILGRIMS-0009259989         PILGRIMS-0009259991          1
 Emails/Attachments   PILGRIMS-0009259993         PILGRIMS-0009259993          1
 Emails/Attachments   PILGRIMS-0009259995         PILGRIMS-0009260009         15
 Emails/Attachments   PILGRIMS-0009260019         PILGRIMS-0009260019          1
 Emails/Attachments   PILGRIMS-0009260022         PILGRIMS-0009260022          1
 Emails/Attachments   PILGRIMS-0009260025         PILGRIMS-0009260029          5
 Emails/Attachments   PILGRIMS-0009260031         PILGRIMS-0009260036          5
 Emails/Attachments   PILGRIMS-0009260038         PILGRIMS-0009260043          6
 Emails/Attachments   PILGRIMS-0009260045         PILGRIMS-0009260046          2
 Emails/Attachments   PILGRIMS-0009260048         PILGRIMS-0009260048          1
 Emails/Attachments   PILGRIMS-0009260050         PILGRIMS-0009260050          1
 Emails/Attachments   PILGRIMS-0009260052         PILGRIMS-0009260054          3
 Emails/Attachments   PILGRIMS-0009260056         PILGRIMS-0009260069         14


                                    Page 217 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 241 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009260072         PILGRIMS-0009260072          1
 Emails/Attachments   PILGRIMS-0009260076         PILGRIMS-0009260083          8
 Emails/Attachments   PILGRIMS-0009260085         PILGRIMS-0009260087          3
 Emails/Attachments   PILGRIMS-0009260090         PILGRIMS-0009260091          2
 Emails/Attachments   PILGRIMS-0009260095         PILGRIMS-0009260095          1
 Emails/Attachments   PILGRIMS-0009260101         PILGRIMS-0009260101          1
 Emails/Attachments   PILGRIMS-0009260104         PILGRIMS-0009260104          1
 Emails/Attachments   PILGRIMS-0009260106         PILGRIMS-0009260108          2
 Emails/Attachments   PILGRIMS-0009260111         PILGRIMS-0009260127         13
 Emails/Attachments   PILGRIMS-0009260129         PILGRIMS-0009260134          6
 Emails/Attachments   PILGRIMS-0009260136         PILGRIMS-0009260141          6
 Emails/Attachments   PILGRIMS-0009260143         PILGRIMS-0009260149          7
 Emails/Attachments   PILGRIMS-0009260151         PILGRIMS-0009260156          6
 Emails/Attachments   PILGRIMS-0009260158         PILGRIMS-0009260166          7
 Emails/Attachments   PILGRIMS-0009260169         PILGRIMS-0009260171          3
 Emails/Attachments   PILGRIMS-0009260173         PILGRIMS-0009260175          2
 Emails/Attachments   PILGRIMS-0009260179         PILGRIMS-0009260179          1
 Emails/Attachments   PILGRIMS-0009260183         PILGRIMS-0009260192          9
 Emails/Attachments   PILGRIMS-0009260194         PILGRIMS-0009260197          4
 Emails/Attachments   PILGRIMS-0009260199         PILGRIMS-0009260199          1
 Emails/Attachments   PILGRIMS-0009260201         PILGRIMS-0009260201          1
 Emails/Attachments   PILGRIMS-0009260203         PILGRIMS-0009260206          3
 Emails/Attachments   PILGRIMS-0009260209         PILGRIMS-0009260211          3
 Emails/Attachments   PILGRIMS-0009260213         PILGRIMS-0009260213          1
 Emails/Attachments   PILGRIMS-0009260215         PILGRIMS-0009260236         22
 Emails/Attachments   PILGRIMS-0009260238         PILGRIMS-0009260244          7
 Emails/Attachments   PILGRIMS-0009260246         PILGRIMS-0009260249          4
 Emails/Attachments   PILGRIMS-0009260251         PILGRIMS-0009260253          2
 Emails/Attachments   PILGRIMS-0009260255         PILGRIMS-0009260259          5
 Emails/Attachments   PILGRIMS-0009260262         PILGRIMS-0009260262          1
 Emails/Attachments   PILGRIMS-0009260264         PILGRIMS-0009260270          7
 Emails/Attachments   PILGRIMS-0009260272         PILGRIMS-0009260273          2
 Emails/Attachments   PILGRIMS-0009260275         PILGRIMS-0009260277          3
 Emails/Attachments   PILGRIMS-0009260279         PILGRIMS-0009260279          1
 Emails/Attachments   PILGRIMS-0009260281         PILGRIMS-0009260286          6
 Emails/Attachments   PILGRIMS-0009260289         PILGRIMS-0009260290          2
 Emails/Attachments   PILGRIMS-0009260295         PILGRIMS-0009260295          1
 Emails/Attachments   PILGRIMS-0009260298         PILGRIMS-0009260302          5
 Emails/Attachments   PILGRIMS-0009260304         PILGRIMS-0009260309          6
 Emails/Attachments   PILGRIMS-0009260311         PILGRIMS-0009260314          4
 Emails/Attachments   PILGRIMS-0009260316         PILGRIMS-0009260325         10
 Emails/Attachments   PILGRIMS-0009260327         PILGRIMS-0009260327          1
 Emails/Attachments   PILGRIMS-0009260329         PILGRIMS-0009260350         20
 Emails/Attachments   PILGRIMS-0009260352         PILGRIMS-0009260352          1
 Emails/Attachments   PILGRIMS-0009260355         PILGRIMS-0009260356          2
 Emails/Attachments   PILGRIMS-0009260359         PILGRIMS-0009260370         11


                                    Page 218 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 242 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009260372         PILGRIMS-0009260373          2
 Emails/Attachments   PILGRIMS-0009260378         PILGRIMS-0009260379          2
 Emails/Attachments   PILGRIMS-0009260381         PILGRIMS-0009260387          7
 Emails/Attachments   PILGRIMS-0009260389         PILGRIMS-0009260389          1
 Emails/Attachments   PILGRIMS-0009260391         PILGRIMS-0009260392          2
 Emails/Attachments   PILGRIMS-0009260394         PILGRIMS-0009260398          5
 Emails/Attachments   PILGRIMS-0009260400         PILGRIMS-0009260401          2
 Emails/Attachments   PILGRIMS-0009260404         PILGRIMS-0009260404          1
 Emails/Attachments   PILGRIMS-0009260406         PILGRIMS-0009260409          4
 Emails/Attachments   PILGRIMS-0009260415         PILGRIMS-0009260438         20
 Emails/Attachments   PILGRIMS-0009260440         PILGRIMS-0009260445          6
 Emails/Attachments   PILGRIMS-0009260447         PILGRIMS-0009260447          1
 Emails/Attachments   PILGRIMS-0009260449         PILGRIMS-0009260451          3
 Emails/Attachments   PILGRIMS-0009260454         PILGRIMS-0009260455          2
 Emails/Attachments   PILGRIMS-0009260461         PILGRIMS-0009260462          2
 Emails/Attachments   PILGRIMS-0009260464         PILGRIMS-0009260467          4
 Emails/Attachments   PILGRIMS-0009260469         PILGRIMS-0009260493         25
 Emails/Attachments   PILGRIMS-0009260495         PILGRIMS-0009260511         15
 Emails/Attachments   PILGRIMS-0009260513         PILGRIMS-0009260524         12
 Emails/Attachments   PILGRIMS-0009260527         PILGRIMS-0009260527          1
 Emails/Attachments   PILGRIMS-0009260529         PILGRIMS-0009260532          4
 Emails/Attachments   PILGRIMS-0009260534         PILGRIMS-0009260549         15
 Emails/Attachments   PILGRIMS-0009260552         PILGRIMS-0009260570         14
 Emails/Attachments   PILGRIMS-0009260572         PILGRIMS-0009260592         18
 Emails/Attachments   PILGRIMS-0009260599         PILGRIMS-0009260600          1
 Emails/Attachments   PILGRIMS-0009260602         PILGRIMS-0009260603          2
 Emails/Attachments   PILGRIMS-0009260605         PILGRIMS-0009260619          4
 Emails/Attachments   PILGRIMS-0009260710         PILGRIMS-0009260713          4
 Emails/Attachments   PILGRIMS-0009260716         PILGRIMS-0009260717          2
 Emails/Attachments   PILGRIMS-0009260720         PILGRIMS-0009260724          5
 Emails/Attachments   PILGRIMS-0009260726         PILGRIMS-0009260742         16
 Emails/Attachments   PILGRIMS-0009260751         PILGRIMS-0009260752          1
 Emails/Attachments   PILGRIMS-0009260758         PILGRIMS-0009260764          7
 Emails/Attachments   PILGRIMS-0009260766         PILGRIMS-0009260766          1
 Emails/Attachments   PILGRIMS-0009260769         PILGRIMS-0009260771          3
 Emails/Attachments   PILGRIMS-0009260777         PILGRIMS-0009260778          2
 Emails/Attachments   PILGRIMS-0009260780         PILGRIMS-0009260788          9
 Emails/Attachments   PILGRIMS-0009260792         PILGRIMS-0009260793          2
 Emails/Attachments   PILGRIMS-0009260795         PILGRIMS-0009260795          1
 Emails/Attachments   PILGRIMS-0009260797         PILGRIMS-0009260800          4
 Emails/Attachments   PILGRIMS-0009260802         PILGRIMS-0009260805          4
 Emails/Attachments   PILGRIMS-0009260807         PILGRIMS-0009260807          1
 Emails/Attachments   PILGRIMS-0009260810         PILGRIMS-0009260832         19
 Emails/Attachments   PILGRIMS-0009260834         PILGRIMS-0009260836          3
 Emails/Attachments   PILGRIMS-0009260838         PILGRIMS-0009260839          2
 Emails/Attachments   PILGRIMS-0009260841         PILGRIMS-0009260845          5


                                    Page 219 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 243 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009260848         PILGRIMS-0009260849          2
 Emails/Attachments   PILGRIMS-0009260852         PILGRIMS-0009260853          2
 Emails/Attachments   PILGRIMS-0009260860         PILGRIMS-0009260860          1
 Emails/Attachments   PILGRIMS-0009260864         PILGRIMS-0009260864          1
 Emails/Attachments   PILGRIMS-0009260866         PILGRIMS-0009260875         10
 Emails/Attachments   PILGRIMS-0009260877         PILGRIMS-0009260879          3
 Emails/Attachments   PILGRIMS-0009260882         PILGRIMS-0009260885          4
 Emails/Attachments   PILGRIMS-0009260887         PILGRIMS-0009260887          1
 Emails/Attachments   PILGRIMS-0009260889         PILGRIMS-0009260904         15
 Emails/Attachments   PILGRIMS-0009260906         PILGRIMS-0009260914          9
 Emails/Attachments   PILGRIMS-0009260916         PILGRIMS-0009260918          3
 Emails/Attachments   PILGRIMS-0009260920         PILGRIMS-0009260920          1
 Emails/Attachments   PILGRIMS-0009260922         PILGRIMS-0009260928          7
 Emails/Attachments   PILGRIMS-0009260930         PILGRIMS-0009260935          4
 Emails/Attachments   PILGRIMS-0009260950         PILGRIMS-0009260953          3
 Emails/Attachments   PILGRIMS-0009260956         PILGRIMS-0009260961          6
 Emails/Attachments   PILGRIMS-0009260963         PILGRIMS-0009260976         12
 Emails/Attachments   PILGRIMS-0009260980         PILGRIMS-0009260980          1
 Emails/Attachments   PILGRIMS-0009260982         PILGRIMS-0009260984          3
 Emails/Attachments   PILGRIMS-0009260986         PILGRIMS-0009260988          3
 Emails/Attachments   PILGRIMS-0009260991         PILGRIMS-0009261008         18
 Emails/Attachments   PILGRIMS-0009261011         PILGRIMS-0009261012          2
 Emails/Attachments   PILGRIMS-0009261015         PILGRIMS-0009261019          5
 Emails/Attachments   PILGRIMS-0009261021         PILGRIMS-0009261032         10
 Emails/Attachments   PILGRIMS-0009261040         PILGRIMS-0009261050          9
 Emails/Attachments   PILGRIMS-0009261052         PILGRIMS-0009261062          9
 Emails/Attachments   PILGRIMS-0009261064         PILGRIMS-0009261065          1
 Emails/Attachments   PILGRIMS-0009261070         PILGRIMS-0009261091         18
 Emails/Attachments   PILGRIMS-0009261099         PILGRIMS-0009261105          5
 Emails/Attachments   PILGRIMS-0009261107         PILGRIMS-0009261110          2
 Emails/Attachments   PILGRIMS-0009261112         PILGRIMS-0009261115          2
 Emails/Attachments   PILGRIMS-0009261118         PILGRIMS-0009261128         11
 Emails/Attachments   PILGRIMS-0009261134         PILGRIMS-0009261141          8
 Emails/Attachments   PILGRIMS-0009261143         PILGRIMS-0009261143          1
 Emails/Attachments   PILGRIMS-0009261145         PILGRIMS-0009261148          4
 Emails/Attachments   PILGRIMS-0009261150         PILGRIMS-0009261150          1
 Emails/Attachments   PILGRIMS-0009261152         PILGRIMS-0009261152          1
 Emails/Attachments   PILGRIMS-0009261154         PILGRIMS-0009261159          6
 Emails/Attachments   PILGRIMS-0009261161         PILGRIMS-0009261167          7
 Emails/Attachments   PILGRIMS-0009261169         PILGRIMS-0009261169          1
 Emails/Attachments   PILGRIMS-0009261171         PILGRIMS-0009261174          4
 Emails/Attachments   PILGRIMS-0009261177         PILGRIMS-0009261181          5
 Emails/Attachments   PILGRIMS-0009261183         PILGRIMS-0009261186          4
 Emails/Attachments   PILGRIMS-0009261188         PILGRIMS-0009261188          1
 Emails/Attachments   PILGRIMS-0009261190         PILGRIMS-0009261225         33
 Emails/Attachments   PILGRIMS-0009261236         PILGRIMS-0009261240          4


                                    Page 220 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 244 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009261248         PILGRIMS-0009261248          1
 Emails/Attachments   PILGRIMS-0009261250         PILGRIMS-0009261254          5
 Emails/Attachments   PILGRIMS-0009261256         PILGRIMS-0009261256          1
 Emails/Attachments   PILGRIMS-0009261258         PILGRIMS-0009261270         12
 Emails/Attachments   PILGRIMS-0009261274         PILGRIMS-0009261275          2
 Emails/Attachments   PILGRIMS-0009261277         PILGRIMS-0009261280          4
 Emails/Attachments   PILGRIMS-0009261283         PILGRIMS-0009261285          1
 Emails/Attachments   PILGRIMS-0009261287         PILGRIMS-0009261287          1
 Emails/Attachments   PILGRIMS-0009261289         PILGRIMS-0009261301          5
 Emails/Attachments   PILGRIMS-0009261303         PILGRIMS-0009261303          1
 Emails/Attachments   PILGRIMS-0009261305         PILGRIMS-0009261305          1
 Emails/Attachments   PILGRIMS-0009261308         PILGRIMS-0009261316          9
 Emails/Attachments   PILGRIMS-0009261319         PILGRIMS-0009261334         13
 Emails/Attachments   PILGRIMS-0009261336         PILGRIMS-0009261347         11
 Emails/Attachments   PILGRIMS-0009261349         PILGRIMS-0009261349          1
 Emails/Attachments   PILGRIMS-0009261351         PILGRIMS-0009261351          1
 Emails/Attachments   PILGRIMS-0009261353         PILGRIMS-0009261359          7
 Emails/Attachments   PILGRIMS-0009261361         PILGRIMS-0009261361          1
 Emails/Attachments   PILGRIMS-0009261364         PILGRIMS-0009261385         20
 Emails/Attachments   PILGRIMS-0009261387         PILGRIMS-0009261393          6
 Emails/Attachments   PILGRIMS-0009261396         PILGRIMS-0009261396          1
 Emails/Attachments   PILGRIMS-0009261399         PILGRIMS-0009261400          1
 Emails/Attachments   PILGRIMS-0009261402         PILGRIMS-0009261408          7
 Emails/Attachments   PILGRIMS-0009261410         PILGRIMS-0009261422         12
 Emails/Attachments   PILGRIMS-0009261438         PILGRIMS-0009261443          4
 Emails/Attachments   PILGRIMS-0009261449         PILGRIMS-0009261449          1
 Emails/Attachments   PILGRIMS-0009261452         PILGRIMS-0009261461          9
 Emails/Attachments   PILGRIMS-0009261463         PILGRIMS-0009261467          4
 Emails/Attachments   PILGRIMS-0009261472         PILGRIMS-0009261473          2
 Emails/Attachments   PILGRIMS-0009261475         PILGRIMS-0009261494         16
 Emails/Attachments   PILGRIMS-0009261505         PILGRIMS-0009261508          3
 Emails/Attachments   PILGRIMS-0009261510         PILGRIMS-0009261514          4
 Emails/Attachments   PILGRIMS-0009261517         PILGRIMS-0009261537         19
 Emails/Attachments   PILGRIMS-0009261540         PILGRIMS-0009261543          3
 Emails/Attachments   PILGRIMS-0009261545         PILGRIMS-0009261545          1
 Emails/Attachments   PILGRIMS-0009261547         PILGRIMS-0009261547          1
 Emails/Attachments   PILGRIMS-0009261550         PILGRIMS-0009261554          5
 Emails/Attachments   PILGRIMS-0009261556         PILGRIMS-0009261556          1
 Emails/Attachments   PILGRIMS-0009261559         PILGRIMS-0009261559          1
 Emails/Attachments   PILGRIMS-0009261562         PILGRIMS-0009261590         27
 Emails/Attachments   PILGRIMS-0009261594         PILGRIMS-0009261594          1
 Emails/Attachments   PILGRIMS-0009261596         PILGRIMS-0009261601          5
 Emails/Attachments   PILGRIMS-0009261603         PILGRIMS-0009261614         12
 Emails/Attachments   PILGRIMS-0009261616         PILGRIMS-0009261627         10
 Emails/Attachments   PILGRIMS-0009261639         PILGRIMS-0009261640          1
 Emails/Attachments   PILGRIMS-0009261644         PILGRIMS-0009261656         12


                                    Page 221 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 245 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009261658         PILGRIMS-0009261661          2
 Emails/Attachments   PILGRIMS-0009261664         PILGRIMS-0009261668          5
 Emails/Attachments   PILGRIMS-0009261670         PILGRIMS-0009261673          4
 Emails/Attachments   PILGRIMS-0009261676         PILGRIMS-0009261685         10
 Emails/Attachments   PILGRIMS-0009261689         PILGRIMS-0009261704         13
 Emails/Attachments   PILGRIMS-0009261707         PILGRIMS-0009261707          1
 Emails/Attachments   PILGRIMS-0009261714         PILGRIMS-0009261715          1
 Emails/Attachments   PILGRIMS-0009261717         PILGRIMS-0009261718          2
 Emails/Attachments   PILGRIMS-0009261721         PILGRIMS-0009261721          1
 Emails/Attachments   PILGRIMS-0009261724         PILGRIMS-0009261724          1
 Emails/Attachments   PILGRIMS-0009261727         PILGRIMS-0009261728          2
 Emails/Attachments   PILGRIMS-0009261731         PILGRIMS-0009261734          4
 Emails/Attachments   PILGRIMS-0009261736         PILGRIMS-0009261737          2
 Emails/Attachments   PILGRIMS-0009261739         PILGRIMS-0009261746          7
 Emails/Attachments   PILGRIMS-0009261748         PILGRIMS-0009261756          8
 Emails/Attachments   PILGRIMS-0009261759         PILGRIMS-0009261760          1
 Emails/Attachments   PILGRIMS-0009261763         PILGRIMS-0009261767          5
 Emails/Attachments   PILGRIMS-0009261777         PILGRIMS-0009261779          2
 Emails/Attachments   PILGRIMS-0009261789         PILGRIMS-0009261790          2
 Emails/Attachments   PILGRIMS-0009261793         PILGRIMS-0009261797          5
 Emails/Attachments   PILGRIMS-0009261799         PILGRIMS-0009261800          2
 Emails/Attachments   PILGRIMS-0009261802         PILGRIMS-0009261804          3
 Emails/Attachments   PILGRIMS-0009261806         PILGRIMS-0009261810          3
 Emails/Attachments   PILGRIMS-0009261822         PILGRIMS-0009261823          1
 Emails/Attachments   PILGRIMS-0009261825         PILGRIMS-0009261843         17
 Emails/Attachments   PILGRIMS-0009261847         PILGRIMS-0009261847          1
 Emails/Attachments   PILGRIMS-0009261854         PILGRIMS-0009261854          1
 Emails/Attachments   PILGRIMS-0009261856         PILGRIMS-0009261856          1
 Emails/Attachments   PILGRIMS-0009261858         PILGRIMS-0009261866          9
 Emails/Attachments   PILGRIMS-0009261868         PILGRIMS-0009261868          1
 Emails/Attachments   PILGRIMS-0009261870         PILGRIMS-0009261874          4
 Emails/Attachments   PILGRIMS-0009261876         PILGRIMS-0009261880          4
 Emails/Attachments   PILGRIMS-0009261882         PILGRIMS-0009261889          7
 Emails/Attachments   PILGRIMS-0009261893         PILGRIMS-0009261926         29
 Emails/Attachments   PILGRIMS-0009261929         PILGRIMS-0009261930          2
 Emails/Attachments   PILGRIMS-0009261932         PILGRIMS-0009261950         18
 Emails/Attachments   PILGRIMS-0009261952         PILGRIMS-0009261955          3
 Emails/Attachments   PILGRIMS-0009261957         PILGRIMS-0009261957          1
 Emails/Attachments   PILGRIMS-0009261959         PILGRIMS-0009261967          8
 Emails/Attachments   PILGRIMS-0009261970         PILGRIMS-0009261970          1
 Emails/Attachments   PILGRIMS-0009261978         PILGRIMS-0009261979          1
 Emails/Attachments   PILGRIMS-0009261983         PILGRIMS-0009261994         12
 Emails/Attachments   PILGRIMS-0009261997         PILGRIMS-0009261997          1
 Emails/Attachments   PILGRIMS-0009261999         PILGRIMS-0009262006          7
 Emails/Attachments   PILGRIMS-0009262008         PILGRIMS-0009262010          2
 Emails/Attachments   PILGRIMS-0009262013         PILGRIMS-0009262045         31


                                    Page 222 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 246 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009262047         PILGRIMS-0009262059         12
 Emails/Attachments   PILGRIMS-0009262061         PILGRIMS-0009262063          3
 Emails/Attachments   PILGRIMS-0009262065         PILGRIMS-0009262079         11
 Emails/Attachments   PILGRIMS-0009262102         PILGRIMS-0009262103          1
 Emails/Attachments   PILGRIMS-0009262106         PILGRIMS-0009262106          1
 Emails/Attachments   PILGRIMS-0009262108         PILGRIMS-0009262122         13
 Emails/Attachments   PILGRIMS-0009262124         PILGRIMS-0009262125          2
 Emails/Attachments   PILGRIMS-0009262128         PILGRIMS-0009262128          1
 Emails/Attachments   PILGRIMS-0009262131         PILGRIMS-0009262132          2
 Emails/Attachments   PILGRIMS-0009262134         PILGRIMS-0009262139          6
 Emails/Attachments   PILGRIMS-0009262141         PILGRIMS-0009262146          5
 Emails/Attachments   PILGRIMS-0009262151         PILGRIMS-0009262151          1
 Emails/Attachments   PILGRIMS-0009262153         PILGRIMS-0009262162          7
 Emails/Attachments   PILGRIMS-0009262182         PILGRIMS-0009262190          7
 Emails/Attachments   PILGRIMS-0009262192         PILGRIMS-0009262194          3
 Emails/Attachments   PILGRIMS-0009262197         PILGRIMS-0009262200          4
 Emails/Attachments   PILGRIMS-0009262202         PILGRIMS-0009262211         10
 Emails/Attachments   PILGRIMS-0009262213         PILGRIMS-0009262226         13
 Emails/Attachments   PILGRIMS-0009262228         PILGRIMS-0009262231          3
 Emails/Attachments   PILGRIMS-0009262236         PILGRIMS-0009262388         71
 Emails/Attachments   PILGRIMS-0009262392         PILGRIMS-0009262420         27
 Emails/Attachments   PILGRIMS-0009262422         PILGRIMS-0009262437         13
 Emails/Attachments   PILGRIMS-0009262453         PILGRIMS-0009262454          1
 Emails/Attachments   PILGRIMS-0009262462         PILGRIMS-0009262473         10
 Emails/Attachments   PILGRIMS-0009262475         PILGRIMS-0009262477          2
 Emails/Attachments   PILGRIMS-0009262481         PILGRIMS-0009262484          4
 Emails/Attachments   PILGRIMS-0009262486         PILGRIMS-0009262489          3
 Emails/Attachments   PILGRIMS-0009262491         PILGRIMS-0009262491          1
 Emails/Attachments   PILGRIMS-0009262499         PILGRIMS-0009262499          1
 Emails/Attachments   PILGRIMS-0009262506         PILGRIMS-0009262512          7
 Emails/Attachments   PILGRIMS-0009262518         PILGRIMS-0009262524          5
 Emails/Attachments   PILGRIMS-0009262526         PILGRIMS-0009262529          4
 Emails/Attachments   PILGRIMS-0009262531         PILGRIMS-0009262538          6
 Emails/Attachments   PILGRIMS-0009262543         PILGRIMS-0009262545          2
 Emails/Attachments   PILGRIMS-0009262549         PILGRIMS-0009262550          1
 Emails/Attachments   PILGRIMS-0009262555         PILGRIMS-0009262569         13
 Emails/Attachments   PILGRIMS-0009262571         PILGRIMS-0009262571          1
 Emails/Attachments   PILGRIMS-0009262573         PILGRIMS-0009262580          8
 Emails/Attachments   PILGRIMS-0009262590         PILGRIMS-0009262601         10
 Emails/Attachments   PILGRIMS-0009262605         PILGRIMS-0009262607          2
 Emails/Attachments   PILGRIMS-0009262629         PILGRIMS-0009262630          1
 Emails/Attachments   PILGRIMS-0009262632         PILGRIMS-0009262645         11
 Emails/Attachments   PILGRIMS-0009262647         PILGRIMS-0009262647          1
 Emails/Attachments   PILGRIMS-0009262650         PILGRIMS-0009262652          3
 Emails/Attachments   PILGRIMS-0009262654         PILGRIMS-0009262683         19
 Emails/Attachments   PILGRIMS-0009262685         PILGRIMS-0009262688          2


                                    Page 223 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 247 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009262690         PILGRIMS-0009262692          3
 Emails/Attachments   PILGRIMS-0009262695         PILGRIMS-0009262696          1
 Emails/Attachments   PILGRIMS-0009262700         PILGRIMS-0009262705          5
 Emails/Attachments   PILGRIMS-0009262719         PILGRIMS-0009262720          1
 Emails/Attachments   PILGRIMS-0009262734         PILGRIMS-0009262734          1
 Emails/Attachments   PILGRIMS-0009262736         PILGRIMS-0009262737          2
 Emails/Attachments   PILGRIMS-0009262739         PILGRIMS-0009262739          1
 Emails/Attachments   PILGRIMS-0009262750         PILGRIMS-0009262756          6
 Emails/Attachments   PILGRIMS-0009262759         PILGRIMS-0009262770          9
 Emails/Attachments   PILGRIMS-0009262773         PILGRIMS-0009262779          5
 Emails/Attachments   PILGRIMS-0009262781         PILGRIMS-0009262813         29
 Emails/Attachments   PILGRIMS-0009262816         PILGRIMS-0009262821          4
 Emails/Attachments   PILGRIMS-0009262823         PILGRIMS-0009262827          4
 Emails/Attachments   PILGRIMS-0009262831         PILGRIMS-0009262832          1
 Emails/Attachments   PILGRIMS-0009262835         PILGRIMS-0009262835          1
 Emails/Attachments   PILGRIMS-0009262837         PILGRIMS-0009262838          2
 Emails/Attachments   PILGRIMS-0009262840         PILGRIMS-0009262841          2
 Emails/Attachments   PILGRIMS-0009262843         PILGRIMS-0009262849          7
 Emails/Attachments   PILGRIMS-0009262855         PILGRIMS-0009262857          3
 Emails/Attachments   PILGRIMS-0009262859         PILGRIMS-0009262864          4
 Emails/Attachments   PILGRIMS-0009262866         PILGRIMS-0009262866          1
 Emails/Attachments   PILGRIMS-0009262868         PILGRIMS-0009262881         11
 Emails/Attachments   PILGRIMS-0009262883         PILGRIMS-0009262892          6
 Emails/Attachments   PILGRIMS-0009262898         PILGRIMS-0009262912         10
 Emails/Attachments   PILGRIMS-0009262914         PILGRIMS-0009262914          1
 Emails/Attachments   PILGRIMS-0009262920         PILGRIMS-0009262920          1
 Emails/Attachments   PILGRIMS-0009262922         PILGRIMS-0009262936         12
 Emails/Attachments   PILGRIMS-0009262938         PILGRIMS-0009262949          9
 Emails/Attachments   PILGRIMS-0009262952         PILGRIMS-0009262953          1
 Emails/Attachments   PILGRIMS-0009262955         PILGRIMS-0009262967         12
 Emails/Attachments   PILGRIMS-0009262969         PILGRIMS-0009262975          7
 Emails/Attachments   PILGRIMS-0009262979         PILGRIMS-0009262982          3
 Emails/Attachments   PILGRIMS-0009262984         PILGRIMS-0009262986          3
 Emails/Attachments   PILGRIMS-0009262989         PILGRIMS-0009262991          2
 Emails/Attachments   PILGRIMS-0009262994         PILGRIMS-0009263008         15
 Emails/Attachments   PILGRIMS-0009263013         PILGRIMS-0009263019          6
 Emails/Attachments   PILGRIMS-0009263023         PILGRIMS-0009263028          4
 Emails/Attachments   PILGRIMS-0009263030         PILGRIMS-0009263032          2
 Emails/Attachments   PILGRIMS-0009263037         PILGRIMS-0009263040          4
 Emails/Attachments   PILGRIMS-0009263042         PILGRIMS-0009263046          3
 Emails/Attachments   PILGRIMS-0009263048         PILGRIMS-0009263049          1
 Emails/Attachments   PILGRIMS-0009263051         PILGRIMS-0009263051          1
 Emails/Attachments   PILGRIMS-0009263053         PILGRIMS-0009263053          1
 Emails/Attachments   PILGRIMS-0009263055         PILGRIMS-0009263056          2
 Emails/Attachments   PILGRIMS-0009263058         PILGRIMS-0009263064          7
 Emails/Attachments   PILGRIMS-0009263066         PILGRIMS-0009263072          5


                                    Page 224 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 248 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009263077         PILGRIMS-0009263089         12
 Emails/Attachments   PILGRIMS-0009263092         PILGRIMS-0009263092          1
 Emails/Attachments   PILGRIMS-0009263094         PILGRIMS-0009263101          6
 Emails/Attachments   PILGRIMS-0009263103         PILGRIMS-0009263103          1
 Emails/Attachments   PILGRIMS-0009263105         PILGRIMS-0009263105          1
 Emails/Attachments   PILGRIMS-0009263107         PILGRIMS-0009263189         11
 Emails/Attachments   PILGRIMS-0009263192         PILGRIMS-0009263273         10
 Emails/Attachments   PILGRIMS-0009263282         PILGRIMS-0009263283          1
 Emails/Attachments   PILGRIMS-0009263286         PILGRIMS-0009263287          1
 Emails/Attachments   PILGRIMS-0009263289         PILGRIMS-0009263303         13
 Emails/Attachments   PILGRIMS-0009263305         PILGRIMS-0009263309          4
 Emails/Attachments   PILGRIMS-0009263313         PILGRIMS-0009263313          1
 Emails/Attachments   PILGRIMS-0009263317         PILGRIMS-0009263319          2
 Emails/Attachments   PILGRIMS-0009263322         PILGRIMS-0009263322          1
 Emails/Attachments   PILGRIMS-0009263324         PILGRIMS-0009263342         17
 Emails/Attachments   PILGRIMS-0009263345         PILGRIMS-0009263346          2
 Emails/Attachments   PILGRIMS-0009263348         PILGRIMS-0009263350          2
 Emails/Attachments   PILGRIMS-0009263352         PILGRIMS-0009263355          3
 Emails/Attachments   PILGRIMS-0009263357         PILGRIMS-0009263363          6
 Emails/Attachments   PILGRIMS-0009263365         PILGRIMS-0009263373          8
 Emails/Attachments   PILGRIMS-0009263375         PILGRIMS-0009263377          2
 Emails/Attachments   PILGRIMS-0009263380         PILGRIMS-0009263383          2
 Emails/Attachments   PILGRIMS-0009263386         PILGRIMS-0009263386          1
 Emails/Attachments   PILGRIMS-0009263388         PILGRIMS-0009263390          2
 Emails/Attachments   PILGRIMS-0009263394         PILGRIMS-0009263395          2
 Emails/Attachments   PILGRIMS-0009263397         PILGRIMS-0009263398          2
 Emails/Attachments   PILGRIMS-0009263400         PILGRIMS-0009263402          3
 Emails/Attachments   PILGRIMS-0009263404         PILGRIMS-0009263413          9
 Emails/Attachments   PILGRIMS-0009263415         PILGRIMS-0009263416          2
 Emails/Attachments   PILGRIMS-0009263418         PILGRIMS-0009263419          2
 Emails/Attachments   PILGRIMS-0009263422         PILGRIMS-0009263425          4
 Emails/Attachments   PILGRIMS-0009263427         PILGRIMS-0009263435          9
 Emails/Attachments   PILGRIMS-0009263437         PILGRIMS-0009263442          5
 Emails/Attachments   PILGRIMS-0009263445         PILGRIMS-0009263450          5
 Emails/Attachments   PILGRIMS-0009263452         PILGRIMS-0009263453          2
 Emails/Attachments   PILGRIMS-0009263483         PILGRIMS-0009263508         18
 Emails/Attachments   PILGRIMS-0009263513         PILGRIMS-0009263513          1
 Emails/Attachments   PILGRIMS-0009263515         PILGRIMS-0009263516          2
 Emails/Attachments   PILGRIMS-0009263518         PILGRIMS-0009263528         11
 Emails/Attachments   PILGRIMS-0009263531         PILGRIMS-0009263531          1
 Emails/Attachments   PILGRIMS-0009263533         PILGRIMS-0009263533          1
 Emails/Attachments   PILGRIMS-0009263535         PILGRIMS-0009263539          5
 Emails/Attachments   PILGRIMS-0009263541         PILGRIMS-0009263552         11
 Emails/Attachments   PILGRIMS-0009263557         PILGRIMS-0009263558          1
 Emails/Attachments   PILGRIMS-0009263560         PILGRIMS-0009263567          7
 Emails/Attachments   PILGRIMS-0009263569         PILGRIMS-0009263570          2


                                    Page 225 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 249 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009263572         PILGRIMS-0009263573          1
 Emails/Attachments   PILGRIMS-0009263577         PILGRIMS-0009263580          3
 Emails/Attachments   PILGRIMS-0009263583         PILGRIMS-0009263584          1
 Emails/Attachments   PILGRIMS-0009263587         PILGRIMS-0009263602         14
 Emails/Attachments   PILGRIMS-0009263604         PILGRIMS-0009263607          4
 Emails/Attachments   PILGRIMS-0009263609         PILGRIMS-0009263629         19
 Emails/Attachments   PILGRIMS-0009263631         PILGRIMS-0009263644         11
 Emails/Attachments   PILGRIMS-0009263646         PILGRIMS-0009263653          8
 Emails/Attachments   PILGRIMS-0009263656         PILGRIMS-0009263656          1
 Emails/Attachments   PILGRIMS-0009263658         PILGRIMS-0009263658          1
 Emails/Attachments   PILGRIMS-0009263660         PILGRIMS-0009263667          8
 Emails/Attachments   PILGRIMS-0009263671         PILGRIMS-0009263671          1
 Emails/Attachments   PILGRIMS-0009263674         PILGRIMS-0009263685         11
 Emails/Attachments   PILGRIMS-0009263689         PILGRIMS-0009263690          1
 Emails/Attachments   PILGRIMS-0009263700         PILGRIMS-0009263701          1
 Emails/Attachments   PILGRIMS-0009263711         PILGRIMS-0009263713          3
 Emails/Attachments   PILGRIMS-0009263717         PILGRIMS-0009263726          8
 Emails/Attachments   PILGRIMS-0009263728         PILGRIMS-0009263731          4
 Emails/Attachments   PILGRIMS-0009263733         PILGRIMS-0009263747         11
 Emails/Attachments   PILGRIMS-0009263754         PILGRIMS-0009263755          2
 Emails/Attachments   PILGRIMS-0009263757         PILGRIMS-0009263760          3
 Emails/Attachments   PILGRIMS-0009263763         PILGRIMS-0009263768          5
 Emails/Attachments   PILGRIMS-0009263770         PILGRIMS-0009263774          4
 Emails/Attachments   PILGRIMS-0009263777         PILGRIMS-0009263777          1
 Emails/Attachments   PILGRIMS-0009263779         PILGRIMS-0009263809         27
 Emails/Attachments   PILGRIMS-0009263811         PILGRIMS-0009263838         19
 Emails/Attachments   PILGRIMS-0009263846         PILGRIMS-0009263846          1
 Emails/Attachments   PILGRIMS-0009263848         PILGRIMS-0009263859         10
 Emails/Attachments   PILGRIMS-0009263861         PILGRIMS-0009263882         21
 Emails/Attachments   PILGRIMS-0009263885         PILGRIMS-0009263892          5
 Emails/Attachments   PILGRIMS-0009263894         PILGRIMS-0009263910         17
 Emails/Attachments   PILGRIMS-0009263913         PILGRIMS-0009263919          7
 Emails/Attachments   PILGRIMS-0009263921         PILGRIMS-0009263921          1
 Emails/Attachments   PILGRIMS-0009263923         PILGRIMS-0009263927          3
 Emails/Attachments   PILGRIMS-0009263929         PILGRIMS-0009263929          1
 Emails/Attachments   PILGRIMS-0009263931         PILGRIMS-0009263939          8
 Emails/Attachments   PILGRIMS-0009263941         PILGRIMS-0009263941          1
 Emails/Attachments   PILGRIMS-0009263944         PILGRIMS-0009263944          1
 Emails/Attachments   PILGRIMS-0009263951         PILGRIMS-0009263965         11
 Emails/Attachments   PILGRIMS-0009263969         PILGRIMS-0009264014         39
 Emails/Attachments   PILGRIMS-0009264016         PILGRIMS-0009264023          8
 Emails/Attachments   PILGRIMS-0009264026         PILGRIMS-0009264036         11
 Emails/Attachments   PILGRIMS-0009264038         PILGRIMS-0009264045          8
 Emails/Attachments   PILGRIMS-0009264047         PILGRIMS-0009264048          2
 Emails/Attachments   PILGRIMS-0009264051         PILGRIMS-0009264053          2
 Emails/Attachments   PILGRIMS-0009264055         PILGRIMS-0009264055          1


                                    Page 226 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 250 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009264057         PILGRIMS-0009264082         19
 Emails/Attachments   PILGRIMS-0009264084         PILGRIMS-0009264086          1
 Emails/Attachments   PILGRIMS-0009264089         PILGRIMS-0009264094          4
 Emails/Attachments   PILGRIMS-0009264096         PILGRIMS-0009264096          1
 Emails/Attachments   PILGRIMS-0009264098         PILGRIMS-0009264098          1
 Emails/Attachments   PILGRIMS-0009264100         PILGRIMS-0009264116         16
 Emails/Attachments   PILGRIMS-0009264118         PILGRIMS-0009264127          8
 Emails/Attachments   PILGRIMS-0009264129         PILGRIMS-0009264130          2
 Emails/Attachments   PILGRIMS-0009264135         PILGRIMS-0009264136          2
 Emails/Attachments   PILGRIMS-0009264138         PILGRIMS-0009264158         19
 Emails/Attachments   PILGRIMS-0009264162         PILGRIMS-0009264163          1
 Emails/Attachments   PILGRIMS-0009264170         PILGRIMS-0009264172          3
 Emails/Attachments   PILGRIMS-0009264174         PILGRIMS-0009264177          4
 Emails/Attachments   PILGRIMS-0009264181         PILGRIMS-0009264188          8
 Emails/Attachments   PILGRIMS-0009264190         PILGRIMS-0009264206         10
 Emails/Attachments   PILGRIMS-0009264210         PILGRIMS-0009264211          2
 Emails/Attachments   PILGRIMS-0009264242         PILGRIMS-0009264244          3
 Emails/Attachments   PILGRIMS-0009264246         PILGRIMS-0009264250          5
 Emails/Attachments   PILGRIMS-0009264253         PILGRIMS-0009264253          1
 Emails/Attachments   PILGRIMS-0009264256         PILGRIMS-0009264259          4
 Emails/Attachments   PILGRIMS-0009264261         PILGRIMS-0009264279         12
 Emails/Attachments   PILGRIMS-0009264284         PILGRIMS-0009264311         22
 Emails/Attachments   PILGRIMS-0009264313         PILGRIMS-0009264359         35
 Emails/Attachments   PILGRIMS-0009264361         PILGRIMS-0009264369          6
 Emails/Attachments   PILGRIMS-0009264371         PILGRIMS-0009264384         10
 Emails/Attachments   PILGRIMS-0009264386         PILGRIMS-0009264386          1
 Emails/Attachments   PILGRIMS-0009264389         PILGRIMS-0009264389          1
 Emails/Attachments   PILGRIMS-0009264392         PILGRIMS-0009264400          7
 Emails/Attachments   PILGRIMS-0009264402         PILGRIMS-0009264407          5
 Emails/Attachments   PILGRIMS-0009264410         PILGRIMS-0009264418          5
 Emails/Attachments   PILGRIMS-0009264420         PILGRIMS-0009264421          2
 Emails/Attachments   PILGRIMS-0009264423         PILGRIMS-0009264424          1
 Emails/Attachments   PILGRIMS-0009264429         PILGRIMS-0009264432          3
 Emails/Attachments   PILGRIMS-0009264434         PILGRIMS-0009264449         13
 Emails/Attachments   PILGRIMS-0009264454         PILGRIMS-0009264454          1
 Emails/Attachments   PILGRIMS-0009264457         PILGRIMS-0009264457          1
 Emails/Attachments   PILGRIMS-0009264461         PILGRIMS-0009264464          4
 Emails/Attachments   PILGRIMS-0009264466         PILGRIMS-0009264474          7
 Emails/Attachments   PILGRIMS-0009264481         PILGRIMS-0009264482          2
 Emails/Attachments   PILGRIMS-0009264484         PILGRIMS-0009264485          2
 Emails/Attachments   PILGRIMS-0009264516         PILGRIMS-0009264517          1
 Emails/Attachments   PILGRIMS-0009264554         PILGRIMS-0009264589         32
 Emails/Attachments   PILGRIMS-0009264593         PILGRIMS-0009264597          5
 Emails/Attachments   PILGRIMS-0009264599         PILGRIMS-0009264599          1
 Emails/Attachments   PILGRIMS-0009264601         PILGRIMS-0009264614         14
 Emails/Attachments   PILGRIMS-0009264616         PILGRIMS-0009264616          1


                                    Page 227 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 251 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009264621         PILGRIMS-0009264621          1
 Emails/Attachments   PILGRIMS-0009264623         PILGRIMS-0009264624          2
 Emails/Attachments   PILGRIMS-0009264626         PILGRIMS-0009264644         13
 Emails/Attachments   PILGRIMS-0009264648         PILGRIMS-0009264655          7
 Emails/Attachments   PILGRIMS-0009264657         PILGRIMS-0009264657          1
 Emails/Attachments   PILGRIMS-0009264659         PILGRIMS-0009264662          3
 Emails/Attachments   PILGRIMS-0009264664         PILGRIMS-0009264671          6
 Emails/Attachments   PILGRIMS-0009264674         PILGRIMS-0009264678          3
 Emails/Attachments   PILGRIMS-0009264680         PILGRIMS-0009264684          3
 Emails/Attachments   PILGRIMS-0009264686         PILGRIMS-0009264690          4
 Emails/Attachments   PILGRIMS-0009264699         PILGRIMS-0009264699          1
 Emails/Attachments   PILGRIMS-0009264705         PILGRIMS-0009264707          3
 Emails/Attachments   PILGRIMS-0009264711         PILGRIMS-0009264714          4
 Emails/Attachments   PILGRIMS-0009264717         PILGRIMS-0009264728         11
 Emails/Attachments   PILGRIMS-0009264730         PILGRIMS-0009264738          9
 Emails/Attachments   PILGRIMS-0009264743         PILGRIMS-0009264751          8
 Emails/Attachments   PILGRIMS-0009264754         PILGRIMS-0009264755          2
 Emails/Attachments   PILGRIMS-0009264761         PILGRIMS-0009264773         13
 Emails/Attachments   PILGRIMS-0009264776         PILGRIMS-0009264781          6
 Emails/Attachments   PILGRIMS-0009264784         PILGRIMS-0009264799         12
 Emails/Attachments   PILGRIMS-0009264801         PILGRIMS-0009264813         11
 Emails/Attachments   PILGRIMS-0009264815         PILGRIMS-0009264817          2
 Emails/Attachments   PILGRIMS-0009264820         PILGRIMS-0009264820          1
 Emails/Attachments   PILGRIMS-0009264822         PILGRIMS-0009264827          5
 Emails/Attachments   PILGRIMS-0009264830         PILGRIMS-0009264856         20
 Emails/Attachments   PILGRIMS-0009264859         PILGRIMS-0009264872         11
 Emails/Attachments   PILGRIMS-0009264875         PILGRIMS-0009264884         10
 Emails/Attachments   PILGRIMS-0009264891         PILGRIMS-0009264893          3
 Emails/Attachments   PILGRIMS-0009264895         PILGRIMS-0009264902          7
 Emails/Attachments   PILGRIMS-0009264904         PILGRIMS-0009264910          7
 Emails/Attachments   PILGRIMS-0009264912         PILGRIMS-0009264918          7
 Emails/Attachments   PILGRIMS-0009264920         PILGRIMS-0009264923          3
 Emails/Attachments   PILGRIMS-0009264925         PILGRIMS-0009264927          3
 Emails/Attachments   PILGRIMS-0009264929         PILGRIMS-0009264929          1
 Emails/Attachments   PILGRIMS-0009264931         PILGRIMS-0009264932          2
 Emails/Attachments   PILGRIMS-0009264934         PILGRIMS-0009264940          4
 Emails/Attachments   PILGRIMS-0009264942         PILGRIMS-0009264948          5
 Emails/Attachments   PILGRIMS-0009264950         PILGRIMS-0009264959          3
 Emails/Attachments   PILGRIMS-0009264961         PILGRIMS-0009264963          3
 Emails/Attachments   PILGRIMS-0009264968         PILGRIMS-0009264969          1
 Emails/Attachments   PILGRIMS-0009264974         PILGRIMS-0009264982          2
 Emails/Attachments   PILGRIMS-0009264987         PILGRIMS-0009264998          4
 Emails/Attachments   PILGRIMS-0009265000         PILGRIMS-0009265001          2
 Emails/Attachments   PILGRIMS-0009265003         PILGRIMS-0009265009          7
 Emails/Attachments   PILGRIMS-0009265011         PILGRIMS-0009265011          1
 Emails/Attachments   PILGRIMS-0009265013         PILGRIMS-0009265022          8


                                    Page 228 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 252 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009265024         PILGRIMS-0009265025          2
 Emails/Attachments   PILGRIMS-0009265029         PILGRIMS-0009265031          3
 Emails/Attachments   PILGRIMS-0009265035         PILGRIMS-0009265035          1
 Emails/Attachments   PILGRIMS-0009265037         PILGRIMS-0009265043          7
 Emails/Attachments   PILGRIMS-0009265045         PILGRIMS-0009265048          4
 Emails/Attachments   PILGRIMS-0009265050         PILGRIMS-0009265051          2
 Emails/Attachments   PILGRIMS-0009265054         PILGRIMS-0009265054          1
 Emails/Attachments   PILGRIMS-0009265058         PILGRIMS-0009265059          1
 Emails/Attachments   PILGRIMS-0009265061         PILGRIMS-0009265065          3
 Emails/Attachments   PILGRIMS-0009265070         PILGRIMS-0009265071          1
 Emails/Attachments   PILGRIMS-0009265073         PILGRIMS-0009265073          1
 Emails/Attachments   PILGRIMS-0009265075         PILGRIMS-0009265084         10
 Emails/Attachments   PILGRIMS-0009265086         PILGRIMS-0009265098          5
 Emails/Attachments   PILGRIMS-0009265100         PILGRIMS-0009265100          1
 Emails/Attachments   PILGRIMS-0009265102         PILGRIMS-0009265111          3
 Emails/Attachments   PILGRIMS-0009265115         PILGRIMS-0009265116          1
 Emails/Attachments   PILGRIMS-0009265118         PILGRIMS-0009265118          1
 Emails/Attachments   PILGRIMS-0009265126         PILGRIMS-0009265126          1
 Emails/Attachments   PILGRIMS-0009265131         PILGRIMS-0009265141          8
 Emails/Attachments   PILGRIMS-0009265143         PILGRIMS-0009265146          4
 Emails/Attachments   PILGRIMS-0009265149         PILGRIMS-0009265158          9
 Emails/Attachments   PILGRIMS-0009265161         PILGRIMS-0009265164          4
 Emails/Attachments   PILGRIMS-0009265166         PILGRIMS-0009265197         27
 Emails/Attachments   PILGRIMS-0009265199         PILGRIMS-0009265199          1
 Emails/Attachments   PILGRIMS-0009265202         PILGRIMS-0009265202          1
 Emails/Attachments   PILGRIMS-0009265205         PILGRIMS-0009265211          6
 Emails/Attachments   PILGRIMS-0009265213         PILGRIMS-0009265222          8
 Emails/Attachments   PILGRIMS-0009265224         PILGRIMS-0009265224          1
 Emails/Attachments   PILGRIMS-0009265226         PILGRIMS-0009265229          4
 Emails/Attachments   PILGRIMS-0009265231         PILGRIMS-0009265233          3
 Emails/Attachments   PILGRIMS-0009265235         PILGRIMS-0009265238          4
 Emails/Attachments   PILGRIMS-0009265240         PILGRIMS-0009265240          1
 Emails/Attachments   PILGRIMS-0009265242         PILGRIMS-0009265248          5
 Emails/Attachments   PILGRIMS-0009265255         PILGRIMS-0009265281         23
 Emails/Attachments   PILGRIMS-0009265289         PILGRIMS-0009265290          1
 Emails/Attachments   PILGRIMS-0009265295         PILGRIMS-0009265313         18
 Emails/Attachments   PILGRIMS-0009265315         PILGRIMS-0009265329         13
 Emails/Attachments   PILGRIMS-0009265333         PILGRIMS-0009265333          1
 Emails/Attachments   PILGRIMS-0009265335         PILGRIMS-0009265337          3
 Emails/Attachments   PILGRIMS-0009265340         PILGRIMS-0009265342          3
 Emails/Attachments   PILGRIMS-0009265346         PILGRIMS-0009265346          1
 Emails/Attachments   PILGRIMS-0009265348         PILGRIMS-0009265351          3
 Emails/Attachments   PILGRIMS-0009265353         PILGRIMS-0009265353          1
 Emails/Attachments   PILGRIMS-0009265355         PILGRIMS-0009265364          9
 Emails/Attachments   PILGRIMS-0009265366         PILGRIMS-0009265369          4
 Emails/Attachments   PILGRIMS-0009265371         PILGRIMS-0009265372          2


                                    Page 229 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 253 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009265374         PILGRIMS-0009265378          5
 Emails/Attachments   PILGRIMS-0009265380         PILGRIMS-0009265384          5
 Emails/Attachments   PILGRIMS-0009265399         PILGRIMS-0009265399          1
 Emails/Attachments   PILGRIMS-0009265401         PILGRIMS-0009265402          1
 Emails/Attachments   PILGRIMS-0009265409         PILGRIMS-0009265411          2
 Emails/Attachments   PILGRIMS-0009265413         PILGRIMS-0009265413          1
 Emails/Attachments   PILGRIMS-0009265415         PILGRIMS-0009265415          1
 Emails/Attachments   PILGRIMS-0009265417         PILGRIMS-0009265417          1
 Emails/Attachments   PILGRIMS-0009265419         PILGRIMS-0009265426          8
 Emails/Attachments   PILGRIMS-0009265428         PILGRIMS-0009265428          1
 Emails/Attachments   PILGRIMS-0009265430         PILGRIMS-0009265439         10
 Emails/Attachments   PILGRIMS-0009265442         PILGRIMS-0009265445          3
 Emails/Attachments   PILGRIMS-0009265448         PILGRIMS-0009265466         18
 Emails/Attachments   PILGRIMS-0009265468         PILGRIMS-0009265468          1
 Emails/Attachments   PILGRIMS-0009265470         PILGRIMS-0009265471          1
 Emails/Attachments   PILGRIMS-0009265473         PILGRIMS-0009265487         14
 Emails/Attachments   PILGRIMS-0009265490         PILGRIMS-0009265491          1
 Emails/Attachments   PILGRIMS-0009265494         PILGRIMS-0009265497          4
 Emails/Attachments   PILGRIMS-0009265502         PILGRIMS-0009265508          6
 Emails/Attachments   PILGRIMS-0009265510         PILGRIMS-0009265510          1
 Emails/Attachments   PILGRIMS-0009265512         PILGRIMS-0009265512          1
 Emails/Attachments   PILGRIMS-0009265514         PILGRIMS-0009265519          6
 Emails/Attachments   PILGRIMS-0009265521         PILGRIMS-0009265523          3
 Emails/Attachments   PILGRIMS-0009265526         PILGRIMS-0009265528          3
 Emails/Attachments   PILGRIMS-0009265530         PILGRIMS-0009265535          6
 Emails/Attachments   PILGRIMS-0009265537         PILGRIMS-0009265542          5
 Emails/Attachments   PILGRIMS-0009265544         PILGRIMS-0009265547          4
 Emails/Attachments   PILGRIMS-0009265549         PILGRIMS-0009265560         10
 Emails/Attachments   PILGRIMS-0009265562         PILGRIMS-0009265567          6
 Emails/Attachments   PILGRIMS-0009265571         PILGRIMS-0009265584         14
 Emails/Attachments   PILGRIMS-0009265587         PILGRIMS-0009265593          7
 Emails/Attachments   PILGRIMS-0009265596         PILGRIMS-0009265597          2
 Emails/Attachments   PILGRIMS-0009265601         PILGRIMS-0009265611          9
 Emails/Attachments   PILGRIMS-0009265613         PILGRIMS-0009265614          2
 Emails/Attachments   PILGRIMS-0009265618         PILGRIMS-0009265618          1
 Emails/Attachments   PILGRIMS-0009265620         PILGRIMS-0009265624          5
 Emails/Attachments   PILGRIMS-0009265628         PILGRIMS-0009265628          1
 Emails/Attachments   PILGRIMS-0009265630         PILGRIMS-0009265632          2
 Emails/Attachments   PILGRIMS-0009265635         PILGRIMS-0009265639          4
 Emails/Attachments   PILGRIMS-0009265641         PILGRIMS-0009265641          1
 Emails/Attachments   PILGRIMS-0009265645         PILGRIMS-0009265648          3
 Emails/Attachments   PILGRIMS-0009265650         PILGRIMS-0009265663         14
 Emails/Attachments   PILGRIMS-0009265665         PILGRIMS-0009265665          1
 Emails/Attachments   PILGRIMS-0009265669         PILGRIMS-0009265676          8
 Emails/Attachments   PILGRIMS-0009265679         PILGRIMS-0009265702         18
 Emails/Attachments   PILGRIMS-0009265707         PILGRIMS-0009265717          7


                                    Page 230 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 254 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009265723         PILGRIMS-0009265729          4
 Emails/Attachments   PILGRIMS-0009265731         PILGRIMS-0009265749         17
 Emails/Attachments   PILGRIMS-0009265752         PILGRIMS-0009265768         11
 Emails/Attachments   PILGRIMS-0009265770         PILGRIMS-0009265770          1
 Emails/Attachments   PILGRIMS-0009265772         PILGRIMS-0009265777          6
 Emails/Attachments   PILGRIMS-0009265779         PILGRIMS-0009265779          1
 Emails/Attachments   PILGRIMS-0009265782         PILGRIMS-0009265782          1
 Emails/Attachments   PILGRIMS-0009265784         PILGRIMS-0009265785          2
 Emails/Attachments   PILGRIMS-0009265789         PILGRIMS-0009265789          1
 Emails/Attachments   PILGRIMS-0009265791         PILGRIMS-0009265795          4
 Emails/Attachments   PILGRIMS-0009265797         PILGRIMS-0009265811          8
 Emails/Attachments   PILGRIMS-0009265813         PILGRIMS-0009265816          3
 Emails/Attachments   PILGRIMS-0009265825         PILGRIMS-0009265833          8
 Emails/Attachments   PILGRIMS-0009265835         PILGRIMS-0009265835          1
 Emails/Attachments   PILGRIMS-0009265837         PILGRIMS-0009265841          4
 Emails/Attachments   PILGRIMS-0009265843         PILGRIMS-0009265843          1
 Emails/Attachments   PILGRIMS-0009265845         PILGRIMS-0009265850          3
 Emails/Attachments   PILGRIMS-0009265852         PILGRIMS-0009265864         12
 Emails/Attachments   PILGRIMS-0009265866         PILGRIMS-0009265867          1
 Emails/Attachments   PILGRIMS-0009265869         PILGRIMS-0009265878          8
 Emails/Attachments   PILGRIMS-0009265881         PILGRIMS-0009265885          4
 Emails/Attachments   PILGRIMS-0009265887         PILGRIMS-0009265893          5
 Emails/Attachments   PILGRIMS-0009265895         PILGRIMS-0009265898          2
 Emails/Attachments   PILGRIMS-0009265904         PILGRIMS-0009265915          6
 Emails/Attachments   PILGRIMS-0009265917         PILGRIMS-0009265925          9
 Emails/Attachments   PILGRIMS-0009265928         PILGRIMS-0009265968         11
 Emails/Attachments   PILGRIMS-0009265970         PILGRIMS-0009265972          2
 Emails/Attachments   PILGRIMS-0009265976         PILGRIMS-0009265982          6
 Emails/Attachments   PILGRIMS-0009265984         PILGRIMS-0009265986          3
 Emails/Attachments   PILGRIMS-0009265989         PILGRIMS-0009265993          5
 Emails/Attachments   PILGRIMS-0009265995         PILGRIMS-0009265997          3
 Emails/Attachments   PILGRIMS-0009265999         PILGRIMS-0009265999          1
 Emails/Attachments   PILGRIMS-0009266002         PILGRIMS-0009266022         18
 Emails/Attachments   PILGRIMS-0009266024         PILGRIMS-0009266031          7
 Emails/Attachments   PILGRIMS-0009266033         PILGRIMS-0009266034          1
 Emails/Attachments   PILGRIMS-0009266037         PILGRIMS-0009266037          1
 Emails/Attachments   PILGRIMS-0009266039         PILGRIMS-0009266039          1
 Emails/Attachments   PILGRIMS-0009266041         PILGRIMS-0009266042          2
 Emails/Attachments   PILGRIMS-0009266045         PILGRIMS-0009266048          4
 Emails/Attachments   PILGRIMS-0009266050         PILGRIMS-0009266052          3
 Emails/Attachments   PILGRIMS-0009266058         PILGRIMS-0009266066          8
 Emails/Attachments   PILGRIMS-0009266069         PILGRIMS-0009266071          3
 Emails/Attachments   PILGRIMS-0009266077         PILGRIMS-0009266078          2
 Emails/Attachments   PILGRIMS-0009266080         PILGRIMS-0009266080          1
 Emails/Attachments   PILGRIMS-0009266083         PILGRIMS-0009266095         13
 Emails/Attachments   PILGRIMS-0009266097         PILGRIMS-0009266112         15


                                    Page 231 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 255 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009266114         PILGRIMS-0009266114          1
 Emails/Attachments   PILGRIMS-0009266117         PILGRIMS-0009266141         23
 Emails/Attachments   PILGRIMS-0009266143         PILGRIMS-0009266154         10
 Emails/Attachments   PILGRIMS-0009266157         PILGRIMS-0009266161          4
 Emails/Attachments   PILGRIMS-0009266166         PILGRIMS-0009266166          1
 Emails/Attachments   PILGRIMS-0009266168         PILGRIMS-0009266168          1
 Emails/Attachments   PILGRIMS-0009266174         PILGRIMS-0009266177          4
 Emails/Attachments   PILGRIMS-0009266179         PILGRIMS-0009266180          1
 Emails/Attachments   PILGRIMS-0009266182         PILGRIMS-0009266184          2
 Emails/Attachments   PILGRIMS-0009266186         PILGRIMS-0009266186          1
 Emails/Attachments   PILGRIMS-0009266190         PILGRIMS-0009266191          2
 Emails/Attachments   PILGRIMS-0009266193         PILGRIMS-0009266201          3
 Emails/Attachments   PILGRIMS-0009266204         PILGRIMS-0009266204          1
 Emails/Attachments   PILGRIMS-0009266206         PILGRIMS-0009266221         14
 Emails/Attachments   PILGRIMS-0009266223         PILGRIMS-0009266225          2
 Emails/Attachments   PILGRIMS-0009266231         PILGRIMS-0009266232          1
 Emails/Attachments   PILGRIMS-0009266251         PILGRIMS-0009266257          6
 Emails/Attachments   PILGRIMS-0009266259         PILGRIMS-0009266279         20
 Emails/Attachments   PILGRIMS-0009266281         PILGRIMS-0009266299         15
 Emails/Attachments   PILGRIMS-0009266306         PILGRIMS-0009266306          1
 Emails/Attachments   PILGRIMS-0009266312         PILGRIMS-0009266312          1
 Emails/Attachments   PILGRIMS-0009266314         PILGRIMS-0009266316          2
 Emails/Attachments   PILGRIMS-0009266318         PILGRIMS-0009266320          3
 Emails/Attachments   PILGRIMS-0009266323         PILGRIMS-0009266323          1
 Emails/Attachments   PILGRIMS-0009266325         PILGRIMS-0009266338         12
 Emails/Attachments   PILGRIMS-0009266343         PILGRIMS-0009266345          3
 Emails/Attachments   PILGRIMS-0009266347         PILGRIMS-0009266347          1
 Emails/Attachments   PILGRIMS-0009266349         PILGRIMS-0009266349          1
 Emails/Attachments   PILGRIMS-0009266351         PILGRIMS-0009266354          4
 Emails/Attachments   PILGRIMS-0009266356         PILGRIMS-0009266358          2
 Emails/Attachments   PILGRIMS-0009266362         PILGRIMS-0009266362          1
 Emails/Attachments   PILGRIMS-0009266364         PILGRIMS-0009266364          1
 Emails/Attachments   PILGRIMS-0009266366         PILGRIMS-0009266372          7
 Emails/Attachments   PILGRIMS-0009266383         PILGRIMS-0009266385          3
 Emails/Attachments   PILGRIMS-0009266387         PILGRIMS-0009266390          4
 Emails/Attachments   PILGRIMS-0009266392         PILGRIMS-0009266392          1
 Emails/Attachments   PILGRIMS-0009266394         PILGRIMS-0009266413         20
 Emails/Attachments   PILGRIMS-0009266415         PILGRIMS-0009266416          2
 Emails/Attachments   PILGRIMS-0009266419         PILGRIMS-0009266419          1
 Emails/Attachments   PILGRIMS-0009266421         PILGRIMS-0009266421          1
 Emails/Attachments   PILGRIMS-0009266429         PILGRIMS-0009266429          1
 Emails/Attachments   PILGRIMS-0009266431         PILGRIMS-0009266437          5
 Emails/Attachments   PILGRIMS-0009266441         PILGRIMS-0009266441          1
 Emails/Attachments   PILGRIMS-0009266443         PILGRIMS-0009266449          6
 Emails/Attachments   PILGRIMS-0009266451         PILGRIMS-0009266452          1
 Emails/Attachments   PILGRIMS-0009266455         PILGRIMS-0009266460          5


                                    Page 232 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 256 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009266465         PILGRIMS-0009266466           1
 Emails/Attachments   PILGRIMS-0009266475         PILGRIMS-0009266475           1
 Emails/Attachments   PILGRIMS-0009266477         PILGRIMS-0009266495          16
 Emails/Attachments   PILGRIMS-0009266497         PILGRIMS-0009266550          39
 Emails/Attachments   PILGRIMS-0009266557         PILGRIMS-0009266568          11
 Emails/Attachments   PILGRIMS-0009266570         PILGRIMS-0009266575           5
 Emails/Attachments   PILGRIMS-0009266577         PILGRIMS-0009266578           2
 Emails/Attachments   PILGRIMS-0009266581         PILGRIMS-0009266584           4
 Emails/Attachments   PILGRIMS-0009266600         PILGRIMS-0009266602           2
 Emails/Attachments   PILGRIMS-0009266608         PILGRIMS-0009266610           2
 Emails/Attachments   PILGRIMS-0009266615         PILGRIMS-0009266616           1
 Emails/Attachments   PILGRIMS-0009266627         PILGRIMS-0009266629           2
 Emails/Attachments   PILGRIMS-0009266632         PILGRIMS-0009266642           8
 Emails/Attachments   PILGRIMS-0009266644         PILGRIMS-0009266649           6
 Emails/Attachments   PILGRIMS-0009266652         PILGRIMS-0009266658           5
 Emails/Attachments   PILGRIMS-0009266667         PILGRIMS-0009266675           7
 Emails/Attachments   PILGRIMS-0009266677         PILGRIMS-0009266678           2
 Emails/Attachments   PILGRIMS-0009266680         PILGRIMS-0009266681           2
 Emails/Attachments   PILGRIMS-0009266686         PILGRIMS-0009273093        3,880
 Emails/Attachments   PILGRIMS-0009273096         PILGRIMS-0009298793        20,063
 Emails/Attachments   PILGRIMS-0009298795         PILGRIMS-0009298848          49
 Emails/Attachments   PILGRIMS-0009298860         PILGRIMS-0009298862           3
 Emails/Attachments   PILGRIMS-0009298875         PILGRIMS-0009298880           4
 Emails/Attachments   PILGRIMS-0009298882         PILGRIMS-0009298888           6
 Emails/Attachments   PILGRIMS-0009298891         PILGRIMS-0009298900           6
 Emails/Attachments   PILGRIMS-0009298902         PILGRIMS-0009298912          10
 Emails/Attachments   PILGRIMS-0009298914         PILGRIMS-0009298915           2
 Emails/Attachments   PILGRIMS-0009298917         PILGRIMS-0009298918           2
 Emails/Attachments   PILGRIMS-0009298920         PILGRIMS-0009298987          43
 Emails/Attachments   PILGRIMS-0009298989         PILGRIMS-0009299011          15
 Emails/Attachments   PILGRIMS-0009299014         PILGRIMS-0009299041          19
 Emails/Attachments   PILGRIMS-0009299044         PILGRIMS-0009299056           9
 Emails/Attachments   PILGRIMS-0009299060         PILGRIMS-0009299086          14
 Emails/Attachments   PILGRIMS-0009299088         PILGRIMS-0009299092           3
 Emails/Attachments   PILGRIMS-0009299096         PILGRIMS-0009299103           5
 Emails/Attachments   PILGRIMS-0009299106         PILGRIMS-0009299126          14
 Emails/Attachments   PILGRIMS-0009299129         PILGRIMS-0009299131           3
 Emails/Attachments   PILGRIMS-0009299133         PILGRIMS-0009299142           6
 Emails/Attachments   PILGRIMS-0009299146         PILGRIMS-0009299153           5
 Emails/Attachments   PILGRIMS-0009299156         PILGRIMS-0009299160           4
 Emails/Attachments   PILGRIMS-0009299162         PILGRIMS-0009299175          11
 Emails/Attachments   PILGRIMS-0009299187         PILGRIMS-0009299210          15
 Emails/Attachments   PILGRIMS-0009299213         PILGRIMS-0009299222          10
 Emails/Attachments   PILGRIMS-0009299224         PILGRIMS-0009299224           1
 Emails/Attachments   PILGRIMS-0009299229         PILGRIMS-0009299229           1
 Emails/Attachments   PILGRIMS-0009299231         PILGRIMS-0009299236           5


                                    Page 233 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 257 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009299238         PILGRIMS-0009299241           3
 Emails/Attachments   PILGRIMS-0009299243         PILGRIMS-0009307497        5,751
 Emails/Attachments   PILGRIMS-0009307499         PILGRIMS-0009307499           1
 Emails/Attachments   PILGRIMS-0009307511         PILGRIMS-0009307511           1
 Emails/Attachments   PILGRIMS-0009307514         PILGRIMS-0009307514           1
 Emails/Attachments   PILGRIMS-0009307516         PILGRIMS-0009307927         402
 Emails/Attachments   PILGRIMS-0009307931         PILGRIMS-0009310227        2,047
 Emails/Attachments   PILGRIMS-0009310234         PILGRIMS-0009310237           4
 Emails/Attachments   PILGRIMS-0009310241         PILGRIMS-0009310270          30
 Emails/Attachments   PILGRIMS-0009310273         PILGRIMS-0009310292          15
 Emails/Attachments   PILGRIMS-0009310295         PILGRIMS-0009310301           7
 Emails/Attachments   PILGRIMS-0009310304         PILGRIMS-0009310335          18
 Emails/Attachments   PILGRIMS-0009310338         PILGRIMS-0009310354          15
 Emails/Attachments   PILGRIMS-0009310356         PILGRIMS-0009310382          15
 Emails/Attachments   PILGRIMS-0009310384         PILGRIMS-0009310413          20
 Emails/Attachments   PILGRIMS-0009310415         PILGRIMS-0009310471          27
 Emails/Attachments   PILGRIMS-0009310473         PILGRIMS-0009310476           4
 Emails/Attachments   PILGRIMS-0009310486         PILGRIMS-0009310503           8
 Emails/Attachments   PILGRIMS-0009310506         PILGRIMS-0009310568          43
 Emails/Attachments   PILGRIMS-0009310573         PILGRIMS-0009310610          31
 Emails/Attachments   PILGRIMS-0009310612         PILGRIMS-0009310622          11
 Emails/Attachments   PILGRIMS-0009310624         PILGRIMS-0009310627           4
 Emails/Attachments   PILGRIMS-0009310629         PILGRIMS-0009310636           8
 Emails/Attachments   PILGRIMS-0009310638         PILGRIMS-0009310717          40
 Emails/Attachments   PILGRIMS-0009310719         PILGRIMS-0009310720           2
 Emails/Attachments   PILGRIMS-0009310722         PILGRIMS-0009310760          17
 Emails/Attachments   PILGRIMS-0009310762         PILGRIMS-0009310789           6
 Emails/Attachments   PILGRIMS-0009310804         PILGRIMS-0009310814          11
 Emails/Attachments   PILGRIMS-0009310819         PILGRIMS-0009310845          14
 Emails/Attachments   PILGRIMS-0009310852         PILGRIMS-0009310896          29
 Emails/Attachments   PILGRIMS-0009310898         PILGRIMS-0009310921          24
 Emails/Attachments   PILGRIMS-0009310923         PILGRIMS-0009310976          38
 Emails/Attachments   PILGRIMS-0009310978         PILGRIMS-0009310984           7
 Emails/Attachments   PILGRIMS-0009310991         PILGRIMS-0009310996           5
 Emails/Attachments   PILGRIMS-0009310998         PILGRIMS-0009311017          20
 Emails/Attachments   PILGRIMS-0009311021         PILGRIMS-0009311210          78
 Emails/Attachments   PILGRIMS-0009311212         PILGRIMS-0009311216           5
 Emails/Attachments   PILGRIMS-0009311218         PILGRIMS-0009311219           2
 Emails/Attachments   PILGRIMS-0009311221         PILGRIMS-0009311399          68
 Emails/Attachments   PILGRIMS-0009311401         PILGRIMS-0009311451          50
 Emails/Attachments   PILGRIMS-0009311453         PILGRIMS-0009311478          16
 Emails/Attachments   PILGRIMS-0009311480         PILGRIMS-0009311486           7
 Emails/Attachments   PILGRIMS-0009311488         PILGRIMS-0009311491           4
 Emails/Attachments   PILGRIMS-0009311493         PILGRIMS-0009311669          66
 Emails/Attachments   PILGRIMS-0009311671         PILGRIMS-0009311701          13
 Emails/Attachments   PILGRIMS-0009311706         PILGRIMS-0009311721          16


                                    Page 234 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 258 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009311723         PILGRIMS-0009311726           4
 Emails/Attachments   PILGRIMS-0009311729         PILGRIMS-0009311741          13
 Emails/Attachments   PILGRIMS-0009311748         PILGRIMS-0009311756           9
 Emails/Attachments   PILGRIMS-0009311758         PILGRIMS-0009311773          13
 Emails/Attachments   PILGRIMS-0009311775         PILGRIMS-0009311809          30
 Emails/Attachments   PILGRIMS-0009311812         PILGRIMS-0009311834          21
 Emails/Attachments   PILGRIMS-0009311846         PILGRIMS-0009311847           2
 Emails/Attachments   PILGRIMS-0009311849         PILGRIMS-0009311890          42
 Emails/Attachments   PILGRIMS-0009311893         PILGRIMS-0009311894           2
 Emails/Attachments   PILGRIMS-0009311896         PILGRIMS-0009311901           6
 Emails/Attachments   PILGRIMS-0009311916         PILGRIMS-0009311930          15
 Emails/Attachments   PILGRIMS-0009311933         PILGRIMS-0009311960          24
 Emails/Attachments   PILGRIMS-0009311962         PILGRIMS-0009311974           7
 Emails/Attachments   PILGRIMS-0009311977         PILGRIMS-0009311980           3
 Emails/Attachments   PILGRIMS-0009311982         PILGRIMS-0009311988           7
 Emails/Attachments   PILGRIMS-0009311990         PILGRIMS-0009311999          10
 Emails/Attachments   PILGRIMS-0009312005         PILGRIMS-0009312005           1
 Emails/Attachments   PILGRIMS-0009312008         PILGRIMS-0009312045          35
 Emails/Attachments   PILGRIMS-0009312047         PILGRIMS-0009312061           9
 Emails/Attachments   PILGRIMS-0009312064         PILGRIMS-0009312069           5
 Emails/Attachments   PILGRIMS-0009312071         PILGRIMS-0009312088          17
 Emails/Attachments   PILGRIMS-0009312091         PILGRIMS-0009312091           1
 Emails/Attachments   PILGRIMS-0009312093         PILGRIMS-0009312093           1
 Emails/Attachments   PILGRIMS-0009312095         PILGRIMS-0009312112          18
 Emails/Attachments   PILGRIMS-0009312114         PILGRIMS-0009312176          57
 Emails/Attachments   PILGRIMS-0009312178         PILGRIMS-0009312178           1
 Emails/Attachments   PILGRIMS-0009312181         PILGRIMS-0009312444         199
 Emails/Attachments   PILGRIMS-0009312446         PILGRIMS-0009312564          66
 Emails/Attachments   PILGRIMS-0009312566         PILGRIMS-0009312569           3
 Emails/Attachments   PILGRIMS-0009312571         PILGRIMS-0009313275         489
 Emails/Attachments   PILGRIMS-0009313277         PILGRIMS-0009313359          78
 Emails/Attachments   PILGRIMS-0009313361         PILGRIMS-0009331146        13,844
 Emails/Attachments   PILGRIMS-0009332117         PILGRIMS-0009332117           1
 Emails/Attachments   PILGRIMS-0009332140         PILGRIMS-0009332140           1
 Emails/Attachments   PILGRIMS-0009332145         PILGRIMS-0009332145           1
 Emails/Attachments   PILGRIMS-0009332150         PILGRIMS-0009332150           1
 Emails/Attachments   PILGRIMS-0009332156         PILGRIMS-0009332156           1
 Emails/Attachments   PILGRIMS-0009332189         PILGRIMS-0009332189           1
 Emails/Attachments   PILGRIMS-0009332202         PILGRIMS-0009332206           2
 Emails/Attachments   PILGRIMS-0009332216         PILGRIMS-0009332217           2
 Emails/Attachments   PILGRIMS-0009332229         PILGRIMS-0009332231           3
 Emails/Attachments   PILGRIMS-0009332243         PILGRIMS-0009332244           1
 Emails/Attachments   PILGRIMS-0009332251         PILGRIMS-0009332252           2
 Emails/Attachments   PILGRIMS-0009332257         PILGRIMS-0009332259           2
 Emails/Attachments   PILGRIMS-0009332273         PILGRIMS-0009332279           5
 Emails/Attachments   PILGRIMS-0009332283         PILGRIMS-0009332286           2


                                    Page 235 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 259 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009332296         PILGRIMS-0009332298          3
 Emails/Attachments   PILGRIMS-0009332311         PILGRIMS-0009332311          1
 Emails/Attachments   PILGRIMS-0009332316         PILGRIMS-0009332316          1
 Emails/Attachments   PILGRIMS-0009332318         PILGRIMS-0009332318          1
 Emails/Attachments   PILGRIMS-0009332321         PILGRIMS-0009332322          2
 Emails/Attachments   PILGRIMS-0009332325         PILGRIMS-0009332326          2
 Emails/Attachments   PILGRIMS-0009332328         PILGRIMS-0009332328          1
 Emails/Attachments   PILGRIMS-0009332331         PILGRIMS-0009332331          1
 Emails/Attachments   PILGRIMS-0009332336         PILGRIMS-0009332338          3
 Emails/Attachments   PILGRIMS-0009332345         PILGRIMS-0009332346          2
 Emails/Attachments   PILGRIMS-0009332353         PILGRIMS-0009332353          1
 Emails/Attachments   PILGRIMS-0009332355         PILGRIMS-0009332473         32
 Emails/Attachments   PILGRIMS-0009332507         PILGRIMS-0009332511          5
 Emails/Attachments   PILGRIMS-0009332513         PILGRIMS-0009332517          5
 Emails/Attachments   PILGRIMS-0009332519         PILGRIMS-0009332540         22
 Emails/Attachments   PILGRIMS-0009332542         PILGRIMS-0009332559         18
 Emails/Attachments   PILGRIMS-0009332561         PILGRIMS-0009332564          4
 Emails/Attachments   PILGRIMS-0009332566         PILGRIMS-0009332569          4
 Emails/Attachments   PILGRIMS-0009332571         PILGRIMS-0009332580          8
 Emails/Attachments   PILGRIMS-0009332583         PILGRIMS-0009332587          4
 Emails/Attachments   PILGRIMS-0009332592         PILGRIMS-0009332596          5
 Emails/Attachments   PILGRIMS-0009332599         PILGRIMS-0009332599          1
 Emails/Attachments   PILGRIMS-0009332601         PILGRIMS-0009332601          1
 Emails/Attachments   PILGRIMS-0009332603         PILGRIMS-0009332605          3
 Emails/Attachments   PILGRIMS-0009332607         PILGRIMS-0009332626         16
 Emails/Attachments   PILGRIMS-0009332629         PILGRIMS-0009332639         10
 Emails/Attachments   PILGRIMS-0009332642         PILGRIMS-0009332644          2
 Emails/Attachments   PILGRIMS-0009332646         PILGRIMS-0009332647          1
 Emails/Attachments   PILGRIMS-0009332649         PILGRIMS-0009332653          3
 Emails/Attachments   PILGRIMS-0009332656         PILGRIMS-0009332657          2
 Emails/Attachments   PILGRIMS-0009332659         PILGRIMS-0009332708         35
 Emails/Attachments   PILGRIMS-0009332710         PILGRIMS-0009332711          2
 Emails/Attachments   PILGRIMS-0009332714         PILGRIMS-0009332752         37
 Emails/Attachments   PILGRIMS-0009332756         PILGRIMS-0009332758          3
 Emails/Attachments   PILGRIMS-0009332760         PILGRIMS-0009332760          1
 Emails/Attachments   PILGRIMS-0009332763         PILGRIMS-0009332764          2
 Emails/Attachments   PILGRIMS-0009332766         PILGRIMS-0009332793         18
 Emails/Attachments   PILGRIMS-0009332797         PILGRIMS-0009332797          1
 Emails/Attachments   PILGRIMS-0009332808         PILGRIMS-0009332810          3
 Emails/Attachments   PILGRIMS-0009332812         PILGRIMS-0009332830         19
 Emails/Attachments   PILGRIMS-0009332834         PILGRIMS-0009332844          9
 Emails/Attachments   PILGRIMS-0009332846         PILGRIMS-0009332848          3
 Emails/Attachments   PILGRIMS-0009332850         PILGRIMS-0009332953          7
 Emails/Attachments   PILGRIMS-0009333005         PILGRIMS-0009333006          2
 Emails/Attachments   PILGRIMS-0009333008         PILGRIMS-0009333025         18
 Emails/Attachments   PILGRIMS-0009333028         PILGRIMS-0009333045         16


                                    Page 236 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 260 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009333047         PILGRIMS-0009333052          5
 Emails/Attachments   PILGRIMS-0009333054         PILGRIMS-0009333104         43
 Emails/Attachments   PILGRIMS-0009333106         PILGRIMS-0009333116         11
 Emails/Attachments   PILGRIMS-0009333119         PILGRIMS-0009333122          3
 Emails/Attachments   PILGRIMS-0009333124         PILGRIMS-0009333229         10
 Emails/Attachments   PILGRIMS-0009333231         PILGRIMS-0009333248         17
 Emails/Attachments   PILGRIMS-0009333250         PILGRIMS-0009333254          5
 Emails/Attachments   PILGRIMS-0009333263         PILGRIMS-0009333291         29
 Emails/Attachments   PILGRIMS-0009333293         PILGRIMS-0009333330         38
 Emails/Attachments   PILGRIMS-0009333332         PILGRIMS-0009333334          3
 Emails/Attachments   PILGRIMS-0009333338         PILGRIMS-0009333338          1
 Emails/Attachments   PILGRIMS-0009333340         PILGRIMS-0009333348          9
 Emails/Attachments   PILGRIMS-0009333350         PILGRIMS-0009333358          9
 Emails/Attachments   PILGRIMS-0009333360         PILGRIMS-0009333369         10
 Emails/Attachments   PILGRIMS-0009333371         PILGRIMS-0009333372          2
 Emails/Attachments   PILGRIMS-0009333379         PILGRIMS-0009333398         20
 Emails/Attachments   PILGRIMS-0009333400         PILGRIMS-0009333406          7
 Emails/Attachments   PILGRIMS-0009333416         PILGRIMS-0009333434         19
 Emails/Attachments   PILGRIMS-0009333437         PILGRIMS-0009333443          6
 Emails/Attachments   PILGRIMS-0009333445         PILGRIMS-0009333451          7
 Emails/Attachments   PILGRIMS-0009333453         PILGRIMS-0009333454          2
 Emails/Attachments   PILGRIMS-0009333456         PILGRIMS-0009333457          2
 Emails/Attachments   PILGRIMS-0009333461         PILGRIMS-0009333488         25
 Emails/Attachments   PILGRIMS-0009333492         PILGRIMS-0009333516         25
 Emails/Attachments   PILGRIMS-0009333518         PILGRIMS-0009333525          7
 Emails/Attachments   PILGRIMS-0009333530         PILGRIMS-0009333534          5
 Emails/Attachments   PILGRIMS-0009333536         PILGRIMS-0009333537          2
 Emails/Attachments   PILGRIMS-0009333539         PILGRIMS-0009333549         11
 Emails/Attachments   PILGRIMS-0009333551         PILGRIMS-0009333556          6
 Emails/Attachments   PILGRIMS-0009333565         PILGRIMS-0009333631          8
 Emails/Attachments   PILGRIMS-0009333695         PILGRIMS-0009333698          4
 Emails/Attachments   PILGRIMS-0009333700         PILGRIMS-0009333719         20
 Emails/Attachments   PILGRIMS-0009333724         PILGRIMS-0009333739         16
 Emails/Attachments   PILGRIMS-0009333742         PILGRIMS-0009333745          4
 Emails/Attachments   PILGRIMS-0009333747         PILGRIMS-0009333756         10
 Emails/Attachments   PILGRIMS-0009333760         PILGRIMS-0009333761          2
 Emails/Attachments   PILGRIMS-0009333763         PILGRIMS-0009333764          2
 Emails/Attachments   PILGRIMS-0009333766         PILGRIMS-0009333766          1
 Emails/Attachments   PILGRIMS-0009333768         PILGRIMS-0009333806         39
 Emails/Attachments   PILGRIMS-0009333809         PILGRIMS-0009333819         11
 Emails/Attachments   PILGRIMS-0009333821         PILGRIMS-0009333821          1
 Emails/Attachments   PILGRIMS-0009333825         PILGRIMS-0009333827          3
 Emails/Attachments   PILGRIMS-0009333829         PILGRIMS-0009333829          1
 Emails/Attachments   PILGRIMS-0009333832         PILGRIMS-0009333854         20
 Emails/Attachments   PILGRIMS-0009333856         PILGRIMS-0009333856          1
 Emails/Attachments   PILGRIMS-0009333859         PILGRIMS-0009333862          3


                                    Page 237 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 261 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009333866         PILGRIMS-0009333868          3
 Emails/Attachments   PILGRIMS-0009333871         PILGRIMS-0009333926         50
 Emails/Attachments   PILGRIMS-0009333951         PILGRIMS-0009333959          2
 Emails/Attachments   PILGRIMS-0009333961         PILGRIMS-0009333967          7
 Emails/Attachments   PILGRIMS-0009333969         PILGRIMS-0009333970          2
 Emails/Attachments   PILGRIMS-0009333972         PILGRIMS-0009333994         22
 Emails/Attachments   PILGRIMS-0009333997         PILGRIMS-0009333999          2
 Emails/Attachments   PILGRIMS-0009334001         PILGRIMS-0009334003          3
 Emails/Attachments   PILGRIMS-0009334005         PILGRIMS-0009334041         21
 Emails/Attachments   PILGRIMS-0009334046         PILGRIMS-0009334061          9
 Emails/Attachments   PILGRIMS-0009334063         PILGRIMS-0009334064          2
 Emails/Attachments   PILGRIMS-0009334066         PILGRIMS-0009334070          5
 Emails/Attachments   PILGRIMS-0009334081         PILGRIMS-0009334084          4
 Emails/Attachments   PILGRIMS-0009334089         PILGRIMS-0009334094          6
 Emails/Attachments   PILGRIMS-0009334096         PILGRIMS-0009334112         17
 Emails/Attachments   PILGRIMS-0009334114         PILGRIMS-0009334123         10
 Emails/Attachments   PILGRIMS-0009334128         PILGRIMS-0009334153         26
 Emails/Attachments   PILGRIMS-0009334155         PILGRIMS-0009334157          3
 Emails/Attachments   PILGRIMS-0009334160         PILGRIMS-0009334162          3
 Emails/Attachments   PILGRIMS-0009334165         PILGRIMS-0009334167          3
 Emails/Attachments   PILGRIMS-0009334170         PILGRIMS-0009334187         18
 Emails/Attachments   PILGRIMS-0009334192         PILGRIMS-0009334192          1
 Emails/Attachments   PILGRIMS-0009334194         PILGRIMS-0009334197          4
 Emails/Attachments   PILGRIMS-0009334199         PILGRIMS-0009334206          8
 Emails/Attachments   PILGRIMS-0009334208         PILGRIMS-0009334213          6
 Emails/Attachments   PILGRIMS-0009334215         PILGRIMS-0009334216          2
 Emails/Attachments   PILGRIMS-0009334218         PILGRIMS-0009334223          6
 Emails/Attachments   PILGRIMS-0009334225         PILGRIMS-0009334225          1
 Emails/Attachments   PILGRIMS-0009334228         PILGRIMS-0009334232          5
 Emails/Attachments   PILGRIMS-0009334236         PILGRIMS-0009334239          4
 Emails/Attachments   PILGRIMS-0009334242         PILGRIMS-0009334244          3
 Emails/Attachments   PILGRIMS-0009334247         PILGRIMS-0009334247          1
 Emails/Attachments   PILGRIMS-0009334249         PILGRIMS-0009334252          4
 Emails/Attachments   PILGRIMS-0009334256         PILGRIMS-0009334259          4
 Emails/Attachments   PILGRIMS-0009334261         PILGRIMS-0009334271         11
 Emails/Attachments   PILGRIMS-0009334273         PILGRIMS-0009334278          6
 Emails/Attachments   PILGRIMS-0009334280         PILGRIMS-0009334298         18
 Emails/Attachments   PILGRIMS-0009334300         PILGRIMS-0009334303          4
 Emails/Attachments   PILGRIMS-0009334306         PILGRIMS-0009334306          1
 Emails/Attachments   PILGRIMS-0009334308         PILGRIMS-0009334310          3
 Emails/Attachments   PILGRIMS-0009334312         PILGRIMS-0009334322         11
 Emails/Attachments   PILGRIMS-0009334324         PILGRIMS-0009334327          4
 Emails/Attachments   PILGRIMS-0009334330         PILGRIMS-0009334332          3
 Emails/Attachments   PILGRIMS-0009334338         PILGRIMS-0009334339          2
 Emails/Attachments   PILGRIMS-0009334341         PILGRIMS-0009334342          2
 Emails/Attachments   PILGRIMS-0009334344         PILGRIMS-0009334344          1


                                    Page 238 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 262 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009334346         PILGRIMS-0009334360          15
 Emails/Attachments   PILGRIMS-0009334363         PILGRIMS-0009334373          11
 Emails/Attachments   PILGRIMS-0009334375         PILGRIMS-0009334381           7
 Emails/Attachments   PILGRIMS-0009334384         PILGRIMS-0009334394          11
 Emails/Attachments   PILGRIMS-0009334396         PILGRIMS-0009334405          10
 Emails/Attachments   PILGRIMS-0009334407         PILGRIMS-0009334409           3
 Emails/Attachments   PILGRIMS-0009334411         PILGRIMS-0009334428          17
 Emails/Attachments   PILGRIMS-0009334430         PILGRIMS-0009334430           1
 Emails/Attachments   PILGRIMS-0009334432         PILGRIMS-0009334446          15
 Emails/Attachments   PILGRIMS-0009334448         PILGRIMS-0009334454           7
 Emails/Attachments   PILGRIMS-0009334456         PILGRIMS-0009334456           1
 Emails/Attachments   PILGRIMS-0009334458         PILGRIMS-0009334470          13
 Emails/Attachments   PILGRIMS-0009334480         PILGRIMS-0009334485           3
 Emails/Attachments   PILGRIMS-0009334487         PILGRIMS-0009334498          10
 Emails/Attachments   PILGRIMS-0009334500         PILGRIMS-0009334515          10
 Emails/Attachments   PILGRIMS-0009334521         PILGRIMS-0009334523           3
 Emails/Attachments   PILGRIMS-0009334525         PILGRIMS-0009334525           1
 Emails/Attachments   PILGRIMS-0009334527         PILGRIMS-0009334529           3
 Emails/Attachments   PILGRIMS-0009334531         PILGRIMS-0009334535           5
 Emails/Attachments   PILGRIMS-0009334537         PILGRIMS-0009334540           4
 Emails/Attachments   PILGRIMS-0009334542         PILGRIMS-0009334544           3
 Emails/Attachments   PILGRIMS-0009334548         PILGRIMS-0009334549           2
 Emails/Attachments   PILGRIMS-0009334552         PILGRIMS-0009334558           7
 Emails/Attachments   PILGRIMS-0009334560         PILGRIMS-0009334560           1
 Emails/Attachments   PILGRIMS-0009334562         PILGRIMS-0009334577          16
 Emails/Attachments   PILGRIMS-0009334579         PILGRIMS-0009334597          19
 Emails/Attachments   PILGRIMS-0009334601         PILGRIMS-0009334611          11
 Emails/Attachments   PILGRIMS-0009334613         PILGRIMS-0009334616           4
 Emails/Attachments   PILGRIMS-0009334619         PILGRIMS-0009334626           4
 Emails/Attachments   PILGRIMS-0009334628         PILGRIMS-0009334651          12
 Emails/Attachments   PILGRIMS-0009334654         PILGRIMS-0009334656           1
 Emails/Attachments   PILGRIMS-0009334659         PILGRIMS-0009334664           6
 Emails/Attachments   PILGRIMS-0009334666         PILGRIMS-0009334675           9
 Emails/Attachments   PILGRIMS-0009334677         PILGRIMS-0009334682           6
 Emails/Attachments   PILGRIMS-0009334684         PILGRIMS-0009334686           3
 Emails/Attachments   PILGRIMS-0009334688         PILGRIMS-0009334692           5
 Emails/Attachments   PILGRIMS-0009334694         PILGRIMS-0009334702           9
 Emails/Attachments   PILGRIMS-0009334708         PILGRIMS-0009334714           7
 Emails/Attachments   PILGRIMS-0009334718         PILGRIMS-0009341031        4,805
 Emails/Attachments   PILGRIMS-0009341033         PILGRIMS-0009341033           1
 Emails/Attachments   PILGRIMS-0009341035         PILGRIMS-0009341037           3
 Emails/Attachments   PILGRIMS-0009341044         PILGRIMS-0009341111          68
 Emails/Attachments   PILGRIMS-0009341113         PILGRIMS-0009341136          24
 Emails/Attachments   PILGRIMS-0009341143         PILGRIMS-0009341165          23
 Emails/Attachments   PILGRIMS-0009341167         PILGRIMS-0009341240          74
 Emails/Attachments   PILGRIMS-0009341242         PILGRIMS-0009341253          12


                                    Page 239 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 263 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009341255         PILGRIMS-0009341260          6
 Emails/Attachments   PILGRIMS-0009341264         PILGRIMS-0009341266          1
 Emails/Attachments   PILGRIMS-0009341268         PILGRIMS-0009341273          6
 Emails/Attachments   PILGRIMS-0009341275         PILGRIMS-0009341298         24
 Emails/Attachments   PILGRIMS-0009341301         PILGRIMS-0009341302          2
 Emails/Attachments   PILGRIMS-0009341304         PILGRIMS-0009341322         19
 Emails/Attachments   PILGRIMS-0009341324         PILGRIMS-0009341338         15
 Emails/Attachments   PILGRIMS-0009341342         PILGRIMS-0009341345          4
 Emails/Attachments   PILGRIMS-0009341348         PILGRIMS-0009341351          4
 Emails/Attachments   PILGRIMS-0009341356         PILGRIMS-0009341357          2
 Emails/Attachments   PILGRIMS-0009341359         PILGRIMS-0009341384         26
 Emails/Attachments   PILGRIMS-0009341388         PILGRIMS-0009341388          1
 Emails/Attachments   PILGRIMS-0009341391         PILGRIMS-0009341392          2
 Emails/Attachments   PILGRIMS-0009341394         PILGRIMS-0009341394          1
 Emails/Attachments   PILGRIMS-0009341396         PILGRIMS-0009341399          4
 Emails/Attachments   PILGRIMS-0009341402         PILGRIMS-0009341416         15
 Emails/Attachments   PILGRIMS-0009341418         PILGRIMS-0009341421          3
 Emails/Attachments   PILGRIMS-0009341427         PILGRIMS-0009341428          2
 Emails/Attachments   PILGRIMS-0009341435         PILGRIMS-0009341438          4
 Emails/Attachments   PILGRIMS-0009341441         PILGRIMS-0009341444          4
 Emails/Attachments   PILGRIMS-0009341446         PILGRIMS-0009341448          3
 Emails/Attachments   PILGRIMS-0009341456         PILGRIMS-0009341466         10
 Emails/Attachments   PILGRIMS-0009341468         PILGRIMS-0009341468          1
 Emails/Attachments   PILGRIMS-0009341471         PILGRIMS-0009341471          1
 Emails/Attachments   PILGRIMS-0009341473         PILGRIMS-0009341483          9
 Emails/Attachments   PILGRIMS-0009341485         PILGRIMS-0009341488          4
 Emails/Attachments   PILGRIMS-0009341491         PILGRIMS-0009341501         11
 Emails/Attachments   PILGRIMS-0009341508         PILGRIMS-0009341512          5
 Emails/Attachments   PILGRIMS-0009341515         PILGRIMS-0009341517          3
 Emails/Attachments   PILGRIMS-0009341520         PILGRIMS-0009341540         12
 Emails/Attachments   PILGRIMS-0009341545         PILGRIMS-0009341554         10
 Emails/Attachments   PILGRIMS-0009341557         PILGRIMS-0009341558          2
 Emails/Attachments   PILGRIMS-0009341561         PILGRIMS-0009341562          2
 Emails/Attachments   PILGRIMS-0009341564         PILGRIMS-0009341568          5
 Emails/Attachments   PILGRIMS-0009341570         PILGRIMS-0009341574          5
 Emails/Attachments   PILGRIMS-0009341580         PILGRIMS-0009341580          1
 Emails/Attachments   PILGRIMS-0009341587         PILGRIMS-0009341587          1
 Emails/Attachments   PILGRIMS-0009341594         PILGRIMS-0009341594          1
 Emails/Attachments   PILGRIMS-0009341596         PILGRIMS-0009341596          1
 Emails/Attachments   PILGRIMS-0009341598         PILGRIMS-0009341599          2
 Emails/Attachments   PILGRIMS-0009341604         PILGRIMS-0009341605          2
 Emails/Attachments   PILGRIMS-0009341610         PILGRIMS-0009341610          1
 Emails/Attachments   PILGRIMS-0009341614         PILGRIMS-0009341614          1
 Emails/Attachments   PILGRIMS-0009341620         PILGRIMS-0009341620          1
 Emails/Attachments   PILGRIMS-0009341622         PILGRIMS-0009341624          3
 Emails/Attachments   PILGRIMS-0009341642         PILGRIMS-0009341642          1


                                    Page 240 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 264 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009341646         PILGRIMS-0009341647          2
 Emails/Attachments   PILGRIMS-0009341650         PILGRIMS-0009341651          1
 Emails/Attachments   PILGRIMS-0009341656         PILGRIMS-0009346486        3,805
 Emails/Attachments   PILGRIMS-0009346523         PILGRIMS-0009346523          1
 Emails/Attachments   PILGRIMS-0009346526         PILGRIMS-0009346526          1
 Emails/Attachments   PILGRIMS-0009346532         PILGRIMS-0009346532          1
 Emails/Attachments   PILGRIMS-0009346538         PILGRIMS-0009346538          1
 Emails/Attachments   PILGRIMS-0009346546         PILGRIMS-0009346546          1
 Emails/Attachments   PILGRIMS-0009346582         PILGRIMS-0009346582          1
 Emails/Attachments   PILGRIMS-0009346599         PILGRIMS-0009346601          2
 Emails/Attachments   PILGRIMS-0009346605         PILGRIMS-0009346606          2
 Emails/Attachments   PILGRIMS-0009346611         PILGRIMS-0009346611          1
 Emails/Attachments   PILGRIMS-0009346617         PILGRIMS-0009346617          1
 Emails/Attachments   PILGRIMS-0009346625         PILGRIMS-0009346625          1
 Emails/Attachments   PILGRIMS-0009346634         PILGRIMS-0009346634          1
 Emails/Attachments   PILGRIMS-0009346636         PILGRIMS-0009346637          2
 Emails/Attachments   PILGRIMS-0009346703         PILGRIMS-0009352669        4,542
 Emails/Attachments   PILGRIMS-0009352671         PILGRIMS-0009352671          1
 Emails/Attachments   PILGRIMS-0009352673         PILGRIMS-0009352674          2
 Emails/Attachments   PILGRIMS-0009352678         PILGRIMS-0009352681          4
 Emails/Attachments   PILGRIMS-0009352686         PILGRIMS-0009352691          4
 Emails/Attachments   PILGRIMS-0009352694         PILGRIMS-0009352694          1
 Emails/Attachments   PILGRIMS-0009352696         PILGRIMS-0009352701          6
 Emails/Attachments   PILGRIMS-0009352705         PILGRIMS-0009352707          3
 Emails/Attachments   PILGRIMS-0009352711         PILGRIMS-0009352711          1
 Emails/Attachments   PILGRIMS-0009352717         PILGRIMS-0009352719          2
 Emails/Attachments   PILGRIMS-0009352721         PILGRIMS-0009352726          6
 Emails/Attachments   PILGRIMS-0009352728         PILGRIMS-0009352728          1
 Emails/Attachments   PILGRIMS-0009352730         PILGRIMS-0009352730          1
 Emails/Attachments   PILGRIMS-0009352735         PILGRIMS-0009352735          1
 Emails/Attachments   PILGRIMS-0009352738         PILGRIMS-0009352739          2
 Emails/Attachments   PILGRIMS-0009352743         PILGRIMS-0009352745          3
 Emails/Attachments   PILGRIMS-0009352750         PILGRIMS-0009352750          1
 Emails/Attachments   PILGRIMS-0009352752         PILGRIMS-0009352753          1
 Emails/Attachments   PILGRIMS-0009352755         PILGRIMS-0009352757          1
 Emails/Attachments   PILGRIMS-0009352763         PILGRIMS-0009352763          1
 Emails/Attachments   PILGRIMS-0009352766         PILGRIMS-0009352766          1
 Emails/Attachments   PILGRIMS-0009352768         PILGRIMS-0009352768          1
 Emails/Attachments   PILGRIMS-0009352770         PILGRIMS-0009352776          7
 Emails/Attachments   PILGRIMS-0009352778         PILGRIMS-0009352778          1
 Emails/Attachments   PILGRIMS-0009352780         PILGRIMS-0009352780          1
 Emails/Attachments   PILGRIMS-0009352782         PILGRIMS-0009352783          2
 Emails/Attachments   PILGRIMS-0009352785         PILGRIMS-0009352785          1
 Emails/Attachments   PILGRIMS-0009352787         PILGRIMS-0009352787          1
 Emails/Attachments   PILGRIMS-0009352789         PILGRIMS-0009352790          2
 Emails/Attachments   PILGRIMS-0009352792         PILGRIMS-0009352793          2


                                    Page 241 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 265 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009352797         PILGRIMS-0009352798          2
 Emails/Attachments   PILGRIMS-0009352801         PILGRIMS-0009352802          2
 Emails/Attachments   PILGRIMS-0009352804         PILGRIMS-0009352806          3
 Emails/Attachments   PILGRIMS-0009352808         PILGRIMS-0009352811          4
 Emails/Attachments   PILGRIMS-0009352813         PILGRIMS-0009352813          1
 Emails/Attachments   PILGRIMS-0009352815         PILGRIMS-0009352815          1
 Emails/Attachments   PILGRIMS-0009352818         PILGRIMS-0009352818          1
 Emails/Attachments   PILGRIMS-0009352820         PILGRIMS-0009352820          1
 Emails/Attachments   PILGRIMS-0009352822         PILGRIMS-0009352823          2
 Emails/Attachments   PILGRIMS-0009352826         PILGRIMS-0009352829          4
 Emails/Attachments   PILGRIMS-0009352832         PILGRIMS-0009352832          1
 Emails/Attachments   PILGRIMS-0009352835         PILGRIMS-0009352835          1
 Emails/Attachments   PILGRIMS-0009352837         PILGRIMS-0009352838          2
 Emails/Attachments   PILGRIMS-0009352840         PILGRIMS-0009352840          1
 Emails/Attachments   PILGRIMS-0009352845         PILGRIMS-0009352845          1
 Emails/Attachments   PILGRIMS-0009352847         PILGRIMS-0009352847          1
 Emails/Attachments   PILGRIMS-0009352849         PILGRIMS-0009352849          1
 Emails/Attachments   PILGRIMS-0009352851         PILGRIMS-0009352854          4
 Emails/Attachments   PILGRIMS-0009352858         PILGRIMS-0009352858          1
 Emails/Attachments   PILGRIMS-0009352861         PILGRIMS-0009352861          1
 Emails/Attachments   PILGRIMS-0009352863         PILGRIMS-0009352863          1
 Emails/Attachments   PILGRIMS-0009352865         PILGRIMS-0009352865          1
 Emails/Attachments   PILGRIMS-0009352867         PILGRIMS-0009352867          1
 Emails/Attachments   PILGRIMS-0009352870         PILGRIMS-0009352871          2
 Emails/Attachments   PILGRIMS-0009352875         PILGRIMS-0009352876          2
 Emails/Attachments   PILGRIMS-0009352879         PILGRIMS-0009352942         22
 Emails/Attachments   PILGRIMS-0009352966         PILGRIMS-0009352974          9
 Emails/Attachments   PILGRIMS-0009352976         PILGRIMS-0009352976          1
 Emails/Attachments   PILGRIMS-0009352979         PILGRIMS-0009352981          2
 Emails/Attachments   PILGRIMS-0009352985         PILGRIMS-0009352986          2
 Emails/Attachments   PILGRIMS-0009352990         PILGRIMS-0009352991          2
 Emails/Attachments   PILGRIMS-0009352997         PILGRIMS-0009352997          1
 Emails/Attachments   PILGRIMS-0009353022         PILGRIMS-0009353022          1
 Emails/Attachments   PILGRIMS-0009353027         PILGRIMS-0009353027          1
 Emails/Attachments   PILGRIMS-0009353029         PILGRIMS-0009353030          2
 Emails/Attachments   PILGRIMS-0009353034         PILGRIMS-0009353034          1
 Emails/Attachments   PILGRIMS-0009353036         PILGRIMS-0009353036          1
 Emails/Attachments   PILGRIMS-0009353038         PILGRIMS-0009353053          2
 Emails/Attachments   PILGRIMS-0009353056         PILGRIMS-0009353056          1
 Emails/Attachments   PILGRIMS-0009353058         PILGRIMS-0009353058          1
 Emails/Attachments   PILGRIMS-0009353061         PILGRIMS-0009353061          1
 Emails/Attachments   PILGRIMS-0009353064         PILGRIMS-0009353074          9
 Emails/Attachments   PILGRIMS-0009353076         PILGRIMS-0009353079          4
 Emails/Attachments   PILGRIMS-0009353082         PILGRIMS-0009353084          3
 Emails/Attachments   PILGRIMS-0009353086         PILGRIMS-0009353089          4
 Emails/Attachments   PILGRIMS-0009353091         PILGRIMS-0009353091          1


                                    Page 242 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 266 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009353093         PILGRIMS-0009353096          4
 Emails/Attachments   PILGRIMS-0009353099         PILGRIMS-0009353099          1
 Emails/Attachments   PILGRIMS-0009353103         PILGRIMS-0009353104          1
 Emails/Attachments   PILGRIMS-0009353106         PILGRIMS-0009353107          2
 Emails/Attachments   PILGRIMS-0009353109         PILGRIMS-0009353109          1
 Emails/Attachments   PILGRIMS-0009353112         PILGRIMS-0009353113          2
 Emails/Attachments   PILGRIMS-0009353118         PILGRIMS-0009353118          1
 Emails/Attachments   PILGRIMS-0009353120         PILGRIMS-0009353122          3
 Emails/Attachments   PILGRIMS-0009353124         PILGRIMS-0009353126          3
 Emails/Attachments   PILGRIMS-0009353128         PILGRIMS-0009353129          2
 Emails/Attachments   PILGRIMS-0009353131         PILGRIMS-0009353134          4
 Emails/Attachments   PILGRIMS-0009353136         PILGRIMS-0009353136          1
 Emails/Attachments   PILGRIMS-0009353138         PILGRIMS-0009353145          4
 Emails/Attachments   PILGRIMS-0009353147         PILGRIMS-0009353147          1
 Emails/Attachments   PILGRIMS-0009353149         PILGRIMS-0009353150          2
 Emails/Attachments   PILGRIMS-0009353152         PILGRIMS-0009353156          5
 Emails/Attachments   PILGRIMS-0009353158         PILGRIMS-0009353161          4
 Emails/Attachments   PILGRIMS-0009353165         PILGRIMS-0009353165          1
 Emails/Attachments   PILGRIMS-0009353168         PILGRIMS-0009353168          1
 Emails/Attachments   PILGRIMS-0009353170         PILGRIMS-0009353173          4
 Emails/Attachments   PILGRIMS-0009353175         PILGRIMS-0009353177          3
 Emails/Attachments   PILGRIMS-0009353180         PILGRIMS-0009353180          1
 Emails/Attachments   PILGRIMS-0009353187         PILGRIMS-0009353187          1
 Emails/Attachments   PILGRIMS-0009353190         PILGRIMS-0009353193          4
 Emails/Attachments   PILGRIMS-0009353197         PILGRIMS-0009353197          1
 Emails/Attachments   PILGRIMS-0009353200         PILGRIMS-0009353211         12
 Emails/Attachments   PILGRIMS-0009353213         PILGRIMS-0009353218          6
 Emails/Attachments   PILGRIMS-0009353220         PILGRIMS-0009353231         12
 Emails/Attachments   PILGRIMS-0009353233         PILGRIMS-0009353233          1
 Emails/Attachments   PILGRIMS-0009353235         PILGRIMS-0009353235          1
 Emails/Attachments   PILGRIMS-0009353237         PILGRIMS-0009353259         23
 Emails/Attachments   PILGRIMS-0009353261         PILGRIMS-0009353262          2
 Emails/Attachments   PILGRIMS-0009353266         PILGRIMS-0009353268          3
 Emails/Attachments   PILGRIMS-0009353271         PILGRIMS-0009353272          2
 Emails/Attachments   PILGRIMS-0009353274         PILGRIMS-0009353286         13
 Emails/Attachments   PILGRIMS-0009353291         PILGRIMS-0009353291          1
 Emails/Attachments   PILGRIMS-0009353293         PILGRIMS-0009353296          4
 Emails/Attachments   PILGRIMS-0009353299         PILGRIMS-0009353299          1
 Emails/Attachments   PILGRIMS-0009353301         PILGRIMS-0009353301          1
 Emails/Attachments   PILGRIMS-0009353303         PILGRIMS-0009353323         21
 Emails/Attachments   PILGRIMS-0009353325         PILGRIMS-0009353325          1
 Emails/Attachments   PILGRIMS-0009353327         PILGRIMS-0009353329          3
 Emails/Attachments   PILGRIMS-0009353331         PILGRIMS-0009353359         27
 Emails/Attachments   PILGRIMS-0009353361         PILGRIMS-0009353385         17
 Emails/Attachments   PILGRIMS-0009353388         PILGRIMS-0009353389          2
 Emails/Attachments   PILGRIMS-0009353392         PILGRIMS-0009353397          6


                                    Page 243 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 267 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009353400         PILGRIMS-0009353400          1
 Emails/Attachments   PILGRIMS-0009353402         PILGRIMS-0009353409          8
 Emails/Attachments   PILGRIMS-0009353413         PILGRIMS-0009353415          3
 Emails/Attachments   PILGRIMS-0009353417         PILGRIMS-0009353429         12
 Emails/Attachments   PILGRIMS-0009353431         PILGRIMS-0009353431          1
 Emails/Attachments   PILGRIMS-0009353434         PILGRIMS-0009353450         17
 Emails/Attachments   PILGRIMS-0009353455         PILGRIMS-0009353459          5
 Emails/Attachments   PILGRIMS-0009353461         PILGRIMS-0009353464          4
 Emails/Attachments   PILGRIMS-0009353466         PILGRIMS-0009353473          8
 Emails/Attachments   PILGRIMS-0009353475         PILGRIMS-0009353481          7
 Emails/Attachments   PILGRIMS-0009353483         PILGRIMS-0009353486          2
 Emails/Attachments   PILGRIMS-0009353488         PILGRIMS-0009353494          7
 Emails/Attachments   PILGRIMS-0009353501         PILGRIMS-0009353510         10
 Emails/Attachments   PILGRIMS-0009353514         PILGRIMS-0009353515          2
 Emails/Attachments   PILGRIMS-0009353517         PILGRIMS-0009353517          1
 Emails/Attachments   PILGRIMS-0009353519         PILGRIMS-0009353519          1
 Emails/Attachments   PILGRIMS-0009353521         PILGRIMS-0009353528          8
 Emails/Attachments   PILGRIMS-0009353531         PILGRIMS-0009353532          2
 Emails/Attachments   PILGRIMS-0009353538         PILGRIMS-0009353538          1
 Emails/Attachments   PILGRIMS-0009353540         PILGRIMS-0009353541          1
 Emails/Attachments   PILGRIMS-0009353547         PILGRIMS-0009353553          7
 Emails/Attachments   PILGRIMS-0009353555         PILGRIMS-0009353556          2
 Emails/Attachments   PILGRIMS-0009353558         PILGRIMS-0009353558          1
 Emails/Attachments   PILGRIMS-0009353564         PILGRIMS-0009353567          4
 Emails/Attachments   PILGRIMS-0009353570         PILGRIMS-0009353575          5
 Emails/Attachments   PILGRIMS-0009353577         PILGRIMS-0009353583          7
 Emails/Attachments   PILGRIMS-0009353585         PILGRIMS-0009353595         10
 Emails/Attachments   PILGRIMS-0009353599         PILGRIMS-0009353602          4
 Emails/Attachments   PILGRIMS-0009353604         PILGRIMS-0009353618         15
 Emails/Attachments   PILGRIMS-0009353620         PILGRIMS-0009353621          2
 Emails/Attachments   PILGRIMS-0009353627         PILGRIMS-0009353628          2
 Emails/Attachments   PILGRIMS-0009353630         PILGRIMS-0009353642         13
 Emails/Attachments   PILGRIMS-0009353644         PILGRIMS-0009353646          3
 Emails/Attachments   PILGRIMS-0009353648         PILGRIMS-0009353652          5
 Emails/Attachments   PILGRIMS-0009353654         PILGRIMS-0009353656          3
 Emails/Attachments   PILGRIMS-0009353658         PILGRIMS-0009353658          1
 Emails/Attachments   PILGRIMS-0009353661         PILGRIMS-0009353666          6
 Emails/Attachments   PILGRIMS-0009353668         PILGRIMS-0009353669          1
 Emails/Attachments   PILGRIMS-0009353671         PILGRIMS-0009353699         29
 Emails/Attachments   PILGRIMS-0009353701         PILGRIMS-0009353730         30
 Emails/Attachments   PILGRIMS-0009353733         PILGRIMS-0009353734          2
 Emails/Attachments   PILGRIMS-0009353736         PILGRIMS-0009353775         28
 Emails/Attachments   PILGRIMS-0009353788         PILGRIMS-0009353866         70
 Emails/Attachments   PILGRIMS-0009353868         PILGRIMS-0009353911         44
 Emails/Attachments   PILGRIMS-0009353913         PILGRIMS-0009353922         10
 Emails/Attachments   PILGRIMS-0009353924         PILGRIMS-0009353925          1


                                    Page 244 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 268 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009353928         PILGRIMS-0009353959         32
 Emails/Attachments   PILGRIMS-0009353961         PILGRIMS-0009354010         48
 Emails/Attachments   PILGRIMS-0009354012         PILGRIMS-0009354029         18
 Emails/Attachments   PILGRIMS-0009354031         PILGRIMS-0009354152         122
 Emails/Attachments   PILGRIMS-0009354154         PILGRIMS-0009354183         30
 Emails/Attachments   PILGRIMS-0009354185         PILGRIMS-0009354212         27
 Emails/Attachments   PILGRIMS-0009354214         PILGRIMS-0009354222          9
 Emails/Attachments   PILGRIMS-0009354224         PILGRIMS-0009354225          2
 Emails/Attachments   PILGRIMS-0009354227         PILGRIMS-0009354232          6
 Emails/Attachments   PILGRIMS-0009354234         PILGRIMS-0009354235          2
 Emails/Attachments   PILGRIMS-0009354237         PILGRIMS-0009354242          6
 Emails/Attachments   PILGRIMS-0009354244         PILGRIMS-0009354244          1
 Emails/Attachments   PILGRIMS-0009354246         PILGRIMS-0009354300         55
 Emails/Attachments   PILGRIMS-0009354302         PILGRIMS-0009354302          1
 Emails/Attachments   PILGRIMS-0009354304         PILGRIMS-0009354306          3
 Emails/Attachments   PILGRIMS-0009354308         PILGRIMS-0009354324         12
 Emails/Attachments   PILGRIMS-0009354326         PILGRIMS-0009354334          5
 Emails/Attachments   PILGRIMS-0009354336         PILGRIMS-0009354336          1
 Emails/Attachments   PILGRIMS-0009354338         PILGRIMS-0009354359         22
 Emails/Attachments   PILGRIMS-0009354361         PILGRIMS-0009354368          8
 Emails/Attachments   PILGRIMS-0009354370         PILGRIMS-0009354375          5
 Emails/Attachments   PILGRIMS-0009354379         PILGRIMS-0009354388          8
 Emails/Attachments   PILGRIMS-0009354390         PILGRIMS-0009354391          2
 Emails/Attachments   PILGRIMS-0009354393         PILGRIMS-0009354396          4
 Emails/Attachments   PILGRIMS-0009354398         PILGRIMS-0009354398          1
 Emails/Attachments   PILGRIMS-0009354402         PILGRIMS-0009354430         29
 Emails/Attachments   PILGRIMS-0009354432         PILGRIMS-0009354436          5
 Emails/Attachments   PILGRIMS-0009354438         PILGRIMS-0009354441          4
 Emails/Attachments   PILGRIMS-0009354443         PILGRIMS-0009354446          4
 Emails/Attachments   PILGRIMS-0009354448         PILGRIMS-0009354455          8
 Emails/Attachments   PILGRIMS-0009354457         PILGRIMS-0009354457          1
 Emails/Attachments   PILGRIMS-0009354461         PILGRIMS-0009354466          6
 Emails/Attachments   PILGRIMS-0009354468         PILGRIMS-0009354468          1
 Emails/Attachments   PILGRIMS-0009354470         PILGRIMS-0009354473          4
 Emails/Attachments   PILGRIMS-0009354475         PILGRIMS-0009354478          4
 Emails/Attachments   PILGRIMS-0009354480         PILGRIMS-0009354484          5
 Emails/Attachments   PILGRIMS-0009354486         PILGRIMS-0009354495         10
 Emails/Attachments   PILGRIMS-0009354497         PILGRIMS-0009354515         19
 Emails/Attachments   PILGRIMS-0009354518         PILGRIMS-0009354518          1
 Emails/Attachments   PILGRIMS-0009354520         PILGRIMS-0009354523          3
 Emails/Attachments   PILGRIMS-0009354528         PILGRIMS-0009354529          2
 Emails/Attachments   PILGRIMS-0009354532         PILGRIMS-0009354534          3
 Emails/Attachments   PILGRIMS-0009354536         PILGRIMS-0009354536          1
 Emails/Attachments   PILGRIMS-0009354538         PILGRIMS-0009354551          6
 Emails/Attachments   PILGRIMS-0009354555         PILGRIMS-0009354574         20
 Emails/Attachments   PILGRIMS-0009354578         PILGRIMS-0009354580          3


                                    Page 245 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 269 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009354585         PILGRIMS-0009354592          8
 Emails/Attachments   PILGRIMS-0009354596         PILGRIMS-0009354596          1
 Emails/Attachments   PILGRIMS-0009354599         PILGRIMS-0009354603          5
 Emails/Attachments   PILGRIMS-0009354606         PILGRIMS-0009354608          2
 Emails/Attachments   PILGRIMS-0009354610         PILGRIMS-0009354613          4
 Emails/Attachments   PILGRIMS-0009354615         PILGRIMS-0009354619          5
 Emails/Attachments   PILGRIMS-0009354621         PILGRIMS-0009354623          3
 Emails/Attachments   PILGRIMS-0009354625         PILGRIMS-0009354628          4
 Emails/Attachments   PILGRIMS-0009354630         PILGRIMS-0009354640         11
 Emails/Attachments   PILGRIMS-0009354643         PILGRIMS-0009354646          4
 Emails/Attachments   PILGRIMS-0009354648         PILGRIMS-0009354648          1
 Emails/Attachments   PILGRIMS-0009354697         PILGRIMS-0009354700          4
 Emails/Attachments   PILGRIMS-0009354702         PILGRIMS-0009354714         13
 Emails/Attachments   PILGRIMS-0009354716         PILGRIMS-0009354722          7
 Emails/Attachments   PILGRIMS-0009354724         PILGRIMS-0009354728          5
 Emails/Attachments   PILGRIMS-0009354730         PILGRIMS-0009354730          1
 Emails/Attachments   PILGRIMS-0009354732         PILGRIMS-0009354736          5
 Emails/Attachments   PILGRIMS-0009354738         PILGRIMS-0009354738          1
 Emails/Attachments   PILGRIMS-0009354740         PILGRIMS-0009354745          5
 Emails/Attachments   PILGRIMS-0009354748         PILGRIMS-0009354748          1
 Emails/Attachments   PILGRIMS-0009354750         PILGRIMS-0009354755          6
 Emails/Attachments   PILGRIMS-0009354758         PILGRIMS-0009354761          2
 Emails/Attachments   PILGRIMS-0009354764         PILGRIMS-0009354769          5
 Emails/Attachments   PILGRIMS-0009354771         PILGRIMS-0009354784         13
 Emails/Attachments   PILGRIMS-0009354786         PILGRIMS-0009354787          1
 Emails/Attachments   PILGRIMS-0009354791         PILGRIMS-0009354802         12
 Emails/Attachments   PILGRIMS-0009354805         PILGRIMS-0009354808          4
 Emails/Attachments   PILGRIMS-0009354810         PILGRIMS-0009354810          1
 Emails/Attachments   PILGRIMS-0009354812         PILGRIMS-0009354813          2
 Emails/Attachments   PILGRIMS-0009354815         PILGRIMS-0009354816          2
 Emails/Attachments   PILGRIMS-0009354818         PILGRIMS-0009354818          1
 Emails/Attachments   PILGRIMS-0009354820         PILGRIMS-0009354822          2
 Emails/Attachments   PILGRIMS-0009354824         PILGRIMS-0009354836         13
 Emails/Attachments   PILGRIMS-0009354839         PILGRIMS-0009354854         16
 Emails/Attachments   PILGRIMS-0009354857         PILGRIMS-0009354860          3
 Emails/Attachments   PILGRIMS-0009354862         PILGRIMS-0009354862          1
 Emails/Attachments   PILGRIMS-0009354864         PILGRIMS-0009354865          2
 Emails/Attachments   PILGRIMS-0009354868         PILGRIMS-0009354868          1
 Emails/Attachments   PILGRIMS-0009354870         PILGRIMS-0009354906         32
 Emails/Attachments   PILGRIMS-0009354908         PILGRIMS-0009354915          8
 Emails/Attachments   PILGRIMS-0009354918         PILGRIMS-0009354919          2
 Emails/Attachments   PILGRIMS-0009354922         PILGRIMS-0009354923          2
 Emails/Attachments   PILGRIMS-0009354925         PILGRIMS-0009354927          3
 Emails/Attachments   PILGRIMS-0009354929         PILGRIMS-0009354937          7
 Emails/Attachments   PILGRIMS-0009354939         PILGRIMS-0009354943          5
 Emails/Attachments   PILGRIMS-0009354945         PILGRIMS-0009354956         12


                                    Page 246 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 270 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009354960         PILGRIMS-0009354961          1
 Emails/Attachments   PILGRIMS-0009354963         PILGRIMS-0009354970          8
 Emails/Attachments   PILGRIMS-0009354972         PILGRIMS-0009354972          1
 Emails/Attachments   PILGRIMS-0009354974         PILGRIMS-0009354979          6
 Emails/Attachments   PILGRIMS-0009354981         PILGRIMS-0009354989          9
 Emails/Attachments   PILGRIMS-0009354991         PILGRIMS-0009354992          2
 Emails/Attachments   PILGRIMS-0009354994         PILGRIMS-0009354995          2
 Emails/Attachments   PILGRIMS-0009354997         PILGRIMS-0009355006         10
 Emails/Attachments   PILGRIMS-0009355008         PILGRIMS-0009355017         10
 Emails/Attachments   PILGRIMS-0009355019         PILGRIMS-0009355021          3
 Emails/Attachments   PILGRIMS-0009355023         PILGRIMS-0009355030          8
 Emails/Attachments   PILGRIMS-0009355032         PILGRIMS-0009355033          2
 Emails/Attachments   PILGRIMS-0009355035         PILGRIMS-0009355038          4
 Emails/Attachments   PILGRIMS-0009355040         PILGRIMS-0009355043          4
 Emails/Attachments   PILGRIMS-0009355045         PILGRIMS-0009355050          5
 Emails/Attachments   PILGRIMS-0009355052         PILGRIMS-0009355052          1
 Emails/Attachments   PILGRIMS-0009355054         PILGRIMS-0009355083         29
 Emails/Attachments   PILGRIMS-0009355085         PILGRIMS-0009355085          1
 Emails/Attachments   PILGRIMS-0009355088         PILGRIMS-0009355092          5
 Emails/Attachments   PILGRIMS-0009355095         PILGRIMS-0009355096          2
 Emails/Attachments   PILGRIMS-0009355098         PILGRIMS-0009355100          3
 Emails/Attachments   PILGRIMS-0009355102         PILGRIMS-0009355103          2
 Emails/Attachments   PILGRIMS-0009355105         PILGRIMS-0009355106          2
 Emails/Attachments   PILGRIMS-0009355108         PILGRIMS-0009355122         15
 Emails/Attachments   PILGRIMS-0009355124         PILGRIMS-0009355128          5
 Emails/Attachments   PILGRIMS-0009355130         PILGRIMS-0009355132          3
 Emails/Attachments   PILGRIMS-0009355134         PILGRIMS-0009355134          1
 Emails/Attachments   PILGRIMS-0009355136         PILGRIMS-0009355139          4
 Emails/Attachments   PILGRIMS-0009355141         PILGRIMS-0009355143          3
 Emails/Attachments   PILGRIMS-0009355145         PILGRIMS-0009355154         10
 Emails/Attachments   PILGRIMS-0009355156         PILGRIMS-0009355160          3
 Emails/Attachments   PILGRIMS-0009355163         PILGRIMS-0009355177         14
 Emails/Attachments   PILGRIMS-0009355179         PILGRIMS-0009355179          1
 Emails/Attachments   PILGRIMS-0009355183         PILGRIMS-0009355201         18
 Emails/Attachments   PILGRIMS-0009355203         PILGRIMS-0009355206          4
 Emails/Attachments   PILGRIMS-0009355208         PILGRIMS-0009355217          9
 Emails/Attachments   PILGRIMS-0009355220         PILGRIMS-0009355232         10
 Emails/Attachments   PILGRIMS-0009355234         PILGRIMS-0009355238          4
 Emails/Attachments   PILGRIMS-0009355241         PILGRIMS-0009355241          1
 Emails/Attachments   PILGRIMS-0009355244         PILGRIMS-0009355305         59
 Emails/Attachments   PILGRIMS-0009355307         PILGRIMS-0009355330         23
 Emails/Attachments   PILGRIMS-0009355335         PILGRIMS-0009355337          2
 Emails/Attachments   PILGRIMS-0009355339         PILGRIMS-0009355376         37
 Emails/Attachments   PILGRIMS-0009355379         PILGRIMS-0009355383          5
 Emails/Attachments   PILGRIMS-0009355385         PILGRIMS-0009355386          2
 Emails/Attachments   PILGRIMS-0009355388         PILGRIMS-0009355389          2


                                    Page 247 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 271 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009355392         PILGRIMS-0009355396          4
 Emails/Attachments   PILGRIMS-0009355398         PILGRIMS-0009355404          6
 Emails/Attachments   PILGRIMS-0009355407         PILGRIMS-0009355408          2
 Emails/Attachments   PILGRIMS-0009355410         PILGRIMS-0009355410          1
 Emails/Attachments   PILGRIMS-0009355413         PILGRIMS-0009355493         81
 Emails/Attachments   PILGRIMS-0009355495         PILGRIMS-0009355506         11
 Emails/Attachments   PILGRIMS-0009355509         PILGRIMS-0009355521         12
 Emails/Attachments   PILGRIMS-0009355523         PILGRIMS-0009355523          1
 Emails/Attachments   PILGRIMS-0009355525         PILGRIMS-0009355525          1
 Emails/Attachments   PILGRIMS-0009355528         PILGRIMS-0009355530          2
 Emails/Attachments   PILGRIMS-0009355532         PILGRIMS-0009355532          1
 Emails/Attachments   PILGRIMS-0009355534         PILGRIMS-0009355536          3
 Emails/Attachments   PILGRIMS-0009355538         PILGRIMS-0009355540          3
 Emails/Attachments   PILGRIMS-0009355542         PILGRIMS-0009355551         10
 Emails/Attachments   PILGRIMS-0009355553         PILGRIMS-0009355555          3
 Emails/Attachments   PILGRIMS-0009355557         PILGRIMS-0009355592         36
 Emails/Attachments   PILGRIMS-0009355594         PILGRIMS-0009355594          1
 Emails/Attachments   PILGRIMS-0009355596         PILGRIMS-0009355605         10
 Emails/Attachments   PILGRIMS-0009355607         PILGRIMS-0009355607          1
 Emails/Attachments   PILGRIMS-0009355609         PILGRIMS-0009355609          1
 Emails/Attachments   PILGRIMS-0009355611         PILGRIMS-0009355611          1
 Emails/Attachments   PILGRIMS-0009355613         PILGRIMS-0009355616          3
 Emails/Attachments   PILGRIMS-0009355618         PILGRIMS-0009355618          1
 Emails/Attachments   PILGRIMS-0009355621         PILGRIMS-0009355621          1
 Emails/Attachments   PILGRIMS-0009355625         PILGRIMS-0009355626          2
 Emails/Attachments   PILGRIMS-0009355628         PILGRIMS-0009355629          2
 Emails/Attachments   PILGRIMS-0009355631         PILGRIMS-0009355634          4
 Emails/Attachments   PILGRIMS-0009355637         PILGRIMS-0009355638          2
 Emails/Attachments   PILGRIMS-0009355640         PILGRIMS-0009355642          3
 Emails/Attachments   PILGRIMS-0009355644         PILGRIMS-0009355647          4
 Emails/Attachments   PILGRIMS-0009355649         PILGRIMS-0009355650          2
 Emails/Attachments   PILGRIMS-0009355652         PILGRIMS-0009355654          3
 Emails/Attachments   PILGRIMS-0009355656         PILGRIMS-0009355667         12
 Emails/Attachments   PILGRIMS-0009355670         PILGRIMS-0009355671          2
 Emails/Attachments   PILGRIMS-0009355676         PILGRIMS-0009355676          1
 Emails/Attachments   PILGRIMS-0009355679         PILGRIMS-0009355681          2
 Emails/Attachments   PILGRIMS-0009355684         PILGRIMS-0009355711         28
 Emails/Attachments   PILGRIMS-0009355713         PILGRIMS-0009355718          6
 Emails/Attachments   PILGRIMS-0009355720         PILGRIMS-0009355724          4
 Emails/Attachments   PILGRIMS-0009355726         PILGRIMS-0009355751         25
 Emails/Attachments   PILGRIMS-0009355753         PILGRIMS-0009355757          5
 Emails/Attachments   PILGRIMS-0009355760         PILGRIMS-0009355843         37
 Emails/Attachments   PILGRIMS-0009355848         PILGRIMS-0009355849          1
 Emails/Attachments   PILGRIMS-0009355851         PILGRIMS-0009355854          4
 Emails/Attachments   PILGRIMS-0009355856         PILGRIMS-0009355857          2
 Emails/Attachments   PILGRIMS-0009355863         PILGRIMS-0009355863          1


                                    Page 248 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 272 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009355865         PILGRIMS-0009355865          1
 Emails/Attachments   PILGRIMS-0009355869         PILGRIMS-0009355869          1
 Emails/Attachments   PILGRIMS-0009355873         PILGRIMS-0009355873          1
 Emails/Attachments   PILGRIMS-0009355876         PILGRIMS-0009355876          1
 Emails/Attachments   PILGRIMS-0009355879         PILGRIMS-0009355885          7
 Emails/Attachments   PILGRIMS-0009355887         PILGRIMS-0009355892          6
 Emails/Attachments   PILGRIMS-0009355894         PILGRIMS-0009355897          4
 Emails/Attachments   PILGRIMS-0009355900         PILGRIMS-0009355900          1
 Emails/Attachments   PILGRIMS-0009355902         PILGRIMS-0009355917         14
 Emails/Attachments   PILGRIMS-0009355920         PILGRIMS-0009355921          2
 Emails/Attachments   PILGRIMS-0009355924         PILGRIMS-0009355925          1
 Emails/Attachments   PILGRIMS-0009355927         PILGRIMS-0009355940         14
 Emails/Attachments   PILGRIMS-0009355942         PILGRIMS-0009355954         13
 Emails/Attachments   PILGRIMS-0009355957         PILGRIMS-0009355957          1
 Emails/Attachments   PILGRIMS-0009355962         PILGRIMS-0009355989         28
 Emails/Attachments   PILGRIMS-0009355992         PILGRIMS-0009355998          7
 Emails/Attachments   PILGRIMS-0009356003         PILGRIMS-0009356005          3
 Emails/Attachments   PILGRIMS-0009356007         PILGRIMS-0009356014          8
 Emails/Attachments   PILGRIMS-0009356017         PILGRIMS-0009356017          1
 Emails/Attachments   PILGRIMS-0009356019         PILGRIMS-0009356019          1
 Emails/Attachments   PILGRIMS-0009356021         PILGRIMS-0009356023          3
 Emails/Attachments   PILGRIMS-0009356025         PILGRIMS-0009356027          3
 Emails/Attachments   PILGRIMS-0009356029         PILGRIMS-0009356030          2
 Emails/Attachments   PILGRIMS-0009356033         PILGRIMS-0009356034          2
 Emails/Attachments   PILGRIMS-0009356036         PILGRIMS-0009356037          2
 Emails/Attachments   PILGRIMS-0009356039         PILGRIMS-0009356039          1
 Emails/Attachments   PILGRIMS-0009356043         PILGRIMS-0009356056         14
 Emails/Attachments   PILGRIMS-0009356058         PILGRIMS-0009356070         11
 Emails/Attachments   PILGRIMS-0009356075         PILGRIMS-0009356075          1
 Emails/Attachments   PILGRIMS-0009356080         PILGRIMS-0009356090         10
 Emails/Attachments   PILGRIMS-0009356092         PILGRIMS-0009356092          1
 Emails/Attachments   PILGRIMS-0009356094         PILGRIMS-0009356105         11
 Emails/Attachments   PILGRIMS-0009356107         PILGRIMS-0009356109          3
 Emails/Attachments   PILGRIMS-0009356115         PILGRIMS-0009356117          3
 Emails/Attachments   PILGRIMS-0009356125         PILGRIMS-0009356125          1
 Emails/Attachments   PILGRIMS-0009356127         PILGRIMS-0009356132          5
 Emails/Attachments   PILGRIMS-0009356135         PILGRIMS-0009356136          2
 Emails/Attachments   PILGRIMS-0009356138         PILGRIMS-0009356145          8
 Emails/Attachments   PILGRIMS-0009356147         PILGRIMS-0009356148          1
 Emails/Attachments   PILGRIMS-0009356150         PILGRIMS-0009356152          3
 Emails/Attachments   PILGRIMS-0009356154         PILGRIMS-0009356154          1
 Emails/Attachments   PILGRIMS-0009356156         PILGRIMS-0009356161          5
 Emails/Attachments   PILGRIMS-0009356166         PILGRIMS-0009356168          2
 Emails/Attachments   PILGRIMS-0009356171         PILGRIMS-0009356191         18
 Emails/Attachments   PILGRIMS-0009356193         PILGRIMS-0009356193          1
 Emails/Attachments   PILGRIMS-0009356195         PILGRIMS-0009356195          1


                                    Page 249 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 273 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009356197         PILGRIMS-0009356203           6
 Emails/Attachments   PILGRIMS-0009356205         PILGRIMS-0009356205           1
 Emails/Attachments   PILGRIMS-0009356207         PILGRIMS-0009356227          18
 Emails/Attachments   PILGRIMS-0009356237         PILGRIMS-0009356237           1
 Emails/Attachments   PILGRIMS-0009356246         PILGRIMS-0009356254           7
 Emails/Attachments   PILGRIMS-0009356256         PILGRIMS-0009356256           1
 Emails/Attachments   PILGRIMS-0009356259         PILGRIMS-0009356272          13
 Emails/Attachments   PILGRIMS-0009356279         PILGRIMS-0009356279           1
 Emails/Attachments   PILGRIMS-0009356283         PILGRIMS-0009356290           7
 Emails/Attachments   PILGRIMS-0009356294         PILGRIMS-0009356297           3
 Emails/Attachments   PILGRIMS-0009356300         PILGRIMS-0009356357          54
 Emails/Attachments   PILGRIMS-0009356359         PILGRIMS-0009356362           4
 Emails/Attachments   PILGRIMS-0009356366         PILGRIMS-0009356370           5
 Emails/Attachments   PILGRIMS-0009356372         PILGRIMS-0009356382          10
 Emails/Attachments   PILGRIMS-0009356384         PILGRIMS-0009356384           1
 Emails/Attachments   PILGRIMS-0009356386         PILGRIMS-0009356390           5
 Emails/Attachments   PILGRIMS-0009356392         PILGRIMS-0009356392           1
 Emails/Attachments   PILGRIMS-0009356394         PILGRIMS-0009356395           2
 Emails/Attachments   PILGRIMS-0009356397         PILGRIMS-0009356399           2
 Emails/Attachments   PILGRIMS-0009356401         PILGRIMS-0009356404           3
 Emails/Attachments   PILGRIMS-0009356408         PILGRIMS-0009356430          20
 Emails/Attachments   PILGRIMS-0009356432         PILGRIMS-0009356432           1
 Emails/Attachments   PILGRIMS-0009356435         PILGRIMS-0009356435           1
 Emails/Attachments   PILGRIMS-0009356437         PILGRIMS-0009356447          11
 Emails/Attachments   PILGRIMS-0009356451         PILGRIMS-0009356455           5
 Emails/Attachments   PILGRIMS-0009356457         PILGRIMS-0009356463           6
 Emails/Attachments   PILGRIMS-0009356465         PILGRIMS-0009356467           3
 Emails/Attachments   PILGRIMS-0009356469         PILGRIMS-0009356494          25
 Emails/Attachments   PILGRIMS-0009356504         PILGRIMS-0009356516          12
 Emails/Attachments   PILGRIMS-0009356518         PILGRIMS-0009356520           3
 Emails/Attachments   PILGRIMS-0009356523         PILGRIMS-0009356523           1
 Emails/Attachments   PILGRIMS-0009356525         PILGRIMS-0009356526           2
 Emails/Attachments   PILGRIMS-0009356529         PILGRIMS-0009356531           2
 Emails/Attachments   PILGRIMS-0009356533         PILGRIMS-0009356538           6
 Emails/Attachments   PILGRIMS-0009356540         PILGRIMS-0009356545           6
 Emails/Attachments   PILGRIMS-0009356547         PILGRIMS-0009356556          10
 Emails/Attachments   PILGRIMS-0009356558         PILGRIMS-0009356565           8
 Emails/Attachments   PILGRIMS-0009356567         PILGRIMS-0009356573           7
 Emails/Attachments   PILGRIMS-0009356575         PILGRIMS-0009356593          15
 Emails/Attachments   PILGRIMS-0009356595         PILGRIMS-0009356595           1
 Emails/Attachments   PILGRIMS-0009356597         PILGRIMS-0009356597           1
 Emails/Attachments   PILGRIMS-0009356599         PILGRIMS-0009356615          16
 Emails/Attachments   PILGRIMS-0009356617         PILGRIMS-0009356619           3
 Emails/Attachments   PILGRIMS-0009356623         PILGRIMS-0009356637          14
 Emails/Attachments   PILGRIMS-0009356639         PILGRIMS-0009377804        15,932
 Emails/Attachments   PILGRIMS-0009377807         PILGRIMS-0009378368         503


                                    Page 250 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 274 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009378370         PILGRIMS-0009378818         341
 Emails/Attachments   PILGRIMS-0009378820         PILGRIMS-0009379683         700
 Emails/Attachments   PILGRIMS-0009379685         PILGRIMS-0009379779          84
 Emails/Attachments   PILGRIMS-0009379784         PILGRIMS-0009379845          61
 Emails/Attachments   PILGRIMS-0009379847         PILGRIMS-0009379996         148
 Emails/Attachments   PILGRIMS-0009379998         PILGRIMS-0009380012          12
 Emails/Attachments   PILGRIMS-0009380014         PILGRIMS-0009380275         209
 Emails/Attachments   PILGRIMS-0009380279         PILGRIMS-0009381275         489
 Emails/Attachments   PILGRIMS-0009381277         PILGRIMS-0009381373          88
 Emails/Attachments   PILGRIMS-0009381375         PILGRIMS-0009381675         200
 Emails/Attachments   PILGRIMS-0009381677         PILGRIMS-0009395052        10,625
 Emails/Attachments   PILGRIMS-0009395056         PILGRIMS-0009395057           2
 Emails/Attachments   PILGRIMS-0009395067         PILGRIMS-0009395067           1
 Emails/Attachments   PILGRIMS-0009395070         PILGRIMS-0009395070           1
 Emails/Attachments   PILGRIMS-0009395079         PILGRIMS-0009395090          12
 Emails/Attachments   PILGRIMS-0009395092         PILGRIMS-0009395096           5
 Emails/Attachments   PILGRIMS-0009395098         PILGRIMS-0009395101           4
 Emails/Attachments   PILGRIMS-0009395104         PILGRIMS-0009395121          18
 Emails/Attachments   PILGRIMS-0009395123         PILGRIMS-0009395128           6
 Emails/Attachments   PILGRIMS-0009395133         PILGRIMS-0009395135           3
 Emails/Attachments   PILGRIMS-0009395137         PILGRIMS-0009395139           3
 Emails/Attachments   PILGRIMS-0009395141         PILGRIMS-0009395221          49
 Emails/Attachments   PILGRIMS-0009395223         PILGRIMS-0009395223           1
 Emails/Attachments   PILGRIMS-0009395226         PILGRIMS-0009395259          34
 Emails/Attachments   PILGRIMS-0009395262         PILGRIMS-0009395272          10
 Emails/Attachments   PILGRIMS-0009395276         PILGRIMS-0009395280           5
 Emails/Attachments   PILGRIMS-0009395282         PILGRIMS-0009395287           6
 Emails/Attachments   PILGRIMS-0009395289         PILGRIMS-0009395290           2
 Emails/Attachments   PILGRIMS-0009395292         PILGRIMS-0009395298           7
 Emails/Attachments   PILGRIMS-0009395301         PILGRIMS-0009395303           3
 Emails/Attachments   PILGRIMS-0009395305         PILGRIMS-0009395323          14
 Emails/Attachments   PILGRIMS-0009395325         PILGRIMS-0009395354          28
 Emails/Attachments   PILGRIMS-0009395357         PILGRIMS-0009395363           7
 Emails/Attachments   PILGRIMS-0009395369         PILGRIMS-0009395371           3
 Emails/Attachments   PILGRIMS-0009395375         PILGRIMS-0009395378           4
 Emails/Attachments   PILGRIMS-0009395381         PILGRIMS-0009395385           5
 Emails/Attachments   PILGRIMS-0009395387         PILGRIMS-0009395387           1
 Emails/Attachments   PILGRIMS-0009395389         PILGRIMS-0009395393           5
 Emails/Attachments   PILGRIMS-0009395397         PILGRIMS-0009395407          11
 Emails/Attachments   PILGRIMS-0009395409         PILGRIMS-0009395409           1
 Emails/Attachments   PILGRIMS-0009395411         PILGRIMS-0009395425          15
 Emails/Attachments   PILGRIMS-0009395427         PILGRIMS-0009395432           6
 Emails/Attachments   PILGRIMS-0009395434         PILGRIMS-0009395440           7
 Emails/Attachments   PILGRIMS-0009395442         PILGRIMS-0009395495          50
 Emails/Attachments   PILGRIMS-0009395498         PILGRIMS-0009395520          23
 Emails/Attachments   PILGRIMS-0009395522         PILGRIMS-0009395551          27


                                    Page 251 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 275 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009395553         PILGRIMS-0009395592         39
 Emails/Attachments   PILGRIMS-0009395597         PILGRIMS-0009395597          1
 Emails/Attachments   PILGRIMS-0009395599         PILGRIMS-0009395599          1
 Emails/Attachments   PILGRIMS-0009395601         PILGRIMS-0009395612         12
 Emails/Attachments   PILGRIMS-0009395614         PILGRIMS-0009395614          1
 Emails/Attachments   PILGRIMS-0009395616         PILGRIMS-0009395620          5
 Emails/Attachments   PILGRIMS-0009395623         PILGRIMS-0009395623          1
 Emails/Attachments   PILGRIMS-0009395626         PILGRIMS-0009395636         11
 Emails/Attachments   PILGRIMS-0009395638         PILGRIMS-0009395647         10
 Emails/Attachments   PILGRIMS-0009395649         PILGRIMS-0009395656          8
 Emails/Attachments   PILGRIMS-0009395658         PILGRIMS-0009395661          4
 Emails/Attachments   PILGRIMS-0009395664         PILGRIMS-0009395693         30
 Emails/Attachments   PILGRIMS-0009395695         PILGRIMS-0009395760         10
 Emails/Attachments   PILGRIMS-0009395826         PILGRIMS-0009395841         16
 Emails/Attachments   PILGRIMS-0009395844         PILGRIMS-0009395926         36
 Emails/Attachments   PILGRIMS-0009395961         PILGRIMS-0009395978         14
 Emails/Attachments   PILGRIMS-0009395983         PILGRIMS-0009395991          9
 Emails/Attachments   PILGRIMS-0009395993         PILGRIMS-0009396000          8
 Emails/Attachments   PILGRIMS-0009396006         PILGRIMS-0009396021         16
 Emails/Attachments   PILGRIMS-0009396023         PILGRIMS-0009396048         26
 Emails/Attachments   PILGRIMS-0009396051         PILGRIMS-0009396053          3
 Emails/Attachments   PILGRIMS-0009396056         PILGRIMS-0009396057          2
 Emails/Attachments   PILGRIMS-0009396059         PILGRIMS-0009396123         57
 Emails/Attachments   PILGRIMS-0009396128         PILGRIMS-0009396128          1
 Emails/Attachments   PILGRIMS-0009396130         PILGRIMS-0009396137          8
 Emails/Attachments   PILGRIMS-0009396139         PILGRIMS-0009396143          5
 Emails/Attachments   PILGRIMS-0009396146         PILGRIMS-0009396160         15
 Emails/Attachments   PILGRIMS-0009396172         PILGRIMS-0009396199         28
 Emails/Attachments   PILGRIMS-0009396203         PILGRIMS-0009396277         58
 Emails/Attachments   PILGRIMS-0009396287         PILGRIMS-0009396328         39
 Emails/Attachments   PILGRIMS-0009396331         PILGRIMS-0009396332          2
 Emails/Attachments   PILGRIMS-0009396335         PILGRIMS-0009396339          5
 Emails/Attachments   PILGRIMS-0009396341         PILGRIMS-0009396364         24
 Emails/Attachments   PILGRIMS-0009396366         PILGRIMS-0009396367          1
 Emails/Attachments   PILGRIMS-0009396370         PILGRIMS-0009396398         26
 Emails/Attachments   PILGRIMS-0009396400         PILGRIMS-0009396402          3
 Emails/Attachments   PILGRIMS-0009396404         PILGRIMS-0009396417         13
 Emails/Attachments   PILGRIMS-0009396419         PILGRIMS-0009396423          5
 Emails/Attachments   PILGRIMS-0009396425         PILGRIMS-0009396434         10
 Emails/Attachments   PILGRIMS-0009396436         PILGRIMS-0009396438          3
 Emails/Attachments   PILGRIMS-0009396440         PILGRIMS-0009396447          8
 Emails/Attachments   PILGRIMS-0009396449         PILGRIMS-0009396453          5
 Emails/Attachments   PILGRIMS-0009396455         PILGRIMS-0009396460          5
 Emails/Attachments   PILGRIMS-0009396462         PILGRIMS-0009396465          4
 Emails/Attachments   PILGRIMS-0009396467         PILGRIMS-0009396477         11
 Emails/Attachments   PILGRIMS-0009396479         PILGRIMS-0009396487          9


                                    Page 252 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 276 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009396489         PILGRIMS-0009396489          1
 Emails/Attachments   PILGRIMS-0009396492         PILGRIMS-0009396495          4
 Emails/Attachments   PILGRIMS-0009396497         PILGRIMS-0009396497          1
 Emails/Attachments   PILGRIMS-0009396500         PILGRIMS-0009396500          1
 Emails/Attachments   PILGRIMS-0009396505         PILGRIMS-0009396540         34
 Emails/Attachments   PILGRIMS-0009396543         PILGRIMS-0009396551          9
 Emails/Attachments   PILGRIMS-0009396556         PILGRIMS-0009396559          3
 Emails/Attachments   PILGRIMS-0009396564         PILGRIMS-0009396662         97
 Emails/Attachments   PILGRIMS-0009396664         PILGRIMS-0009396707         42
 Emails/Attachments   PILGRIMS-0009396712         PILGRIMS-0009396750         39
 Emails/Attachments   PILGRIMS-0009396752         PILGRIMS-0009396811         60
 Emails/Attachments   PILGRIMS-0009396813         PILGRIMS-0009396818          6
 Emails/Attachments   PILGRIMS-0009396820         PILGRIMS-0009396896         69
 Emails/Attachments   PILGRIMS-0009396899         PILGRIMS-0009396910         11
 Emails/Attachments   PILGRIMS-0009396912         PILGRIMS-0009396919          5
 Emails/Attachments   PILGRIMS-0009396924         PILGRIMS-0009396928          4
 Emails/Attachments   PILGRIMS-0009396930         PILGRIMS-0009396942         13
 Emails/Attachments   PILGRIMS-0009396944         PILGRIMS-0009396945          2
 Emails/Attachments   PILGRIMS-0009396947         PILGRIMS-0009396960         14
 Emails/Attachments   PILGRIMS-0009396962         PILGRIMS-0009397022         55
 Emails/Attachments   PILGRIMS-0009397024         PILGRIMS-0009397042         11
 Emails/Attachments   PILGRIMS-0009397044         PILGRIMS-0009397056          5
 Emails/Attachments   PILGRIMS-0009397059         PILGRIMS-0009397064          6
 Emails/Attachments   PILGRIMS-0009397070         PILGRIMS-0009397084         12
 Emails/Attachments   PILGRIMS-0009397087         PILGRIMS-0009397089          2
 Emails/Attachments   PILGRIMS-0009397091         PILGRIMS-0009397178         45
 Emails/Attachments   PILGRIMS-0009397191         PILGRIMS-0009397201          3
 Emails/Attachments   PILGRIMS-0009397219         PILGRIMS-0009397227          9
 Emails/Attachments   PILGRIMS-0009397229         PILGRIMS-0009397232          2
 Emails/Attachments   PILGRIMS-0009397237         PILGRIMS-0009397292         39
 Emails/Attachments   PILGRIMS-0009397294         PILGRIMS-0009397313         17
 Emails/Attachments   PILGRIMS-0009397315         PILGRIMS-0009397353         38
 Emails/Attachments   PILGRIMS-0009397379         PILGRIMS-0009397396         17
 Emails/Attachments   PILGRIMS-0009397398         PILGRIMS-0009397420          5
 Emails/Attachments   PILGRIMS-0009397442         PILGRIMS-0009397454         10
 Emails/Attachments   PILGRIMS-0009397456         PILGRIMS-0009397468         13
 Emails/Attachments   PILGRIMS-0009397470         PILGRIMS-0009397477          8
 Emails/Attachments   PILGRIMS-0009397480         PILGRIMS-0009397488          5
 Emails/Attachments   PILGRIMS-0009397490         PILGRIMS-0009397504         11
 Emails/Attachments   PILGRIMS-0009397506         PILGRIMS-0009397506          1
 Emails/Attachments   PILGRIMS-0009397508         PILGRIMS-0009397511          4
 Emails/Attachments   PILGRIMS-0009397513         PILGRIMS-0009397548         29
 Emails/Attachments   PILGRIMS-0009397552         PILGRIMS-0009397559          6
 Emails/Attachments   PILGRIMS-0009397563         PILGRIMS-0009397575          9
 Emails/Attachments   PILGRIMS-0009397577         PILGRIMS-0009397647         70
 Emails/Attachments   PILGRIMS-0009397649         PILGRIMS-0009397702         44


                                    Page 253 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 277 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009397705         PILGRIMS-0009397707          3
 Emails/Attachments   PILGRIMS-0009397709         PILGRIMS-0009397721          6
 Emails/Attachments   PILGRIMS-0009397724         PILGRIMS-0009397735         11
 Emails/Attachments   PILGRIMS-0009397737         PILGRIMS-0009397770         31
 Emails/Attachments   PILGRIMS-0009397772         PILGRIMS-0009397772          1
 Emails/Attachments   PILGRIMS-0009397776         PILGRIMS-0009397797         21
 Emails/Attachments   PILGRIMS-0009397799         PILGRIMS-0009397807          9
 Emails/Attachments   PILGRIMS-0009397809         PILGRIMS-0009397810          2
 Emails/Attachments   PILGRIMS-0009397812         PILGRIMS-0009397816          5
 Emails/Attachments   PILGRIMS-0009397818         PILGRIMS-0009397838         21
 Emails/Attachments   PILGRIMS-0009397844         PILGRIMS-0009397949         103
 Emails/Attachments   PILGRIMS-0009397953         PILGRIMS-0009397962         10
 Emails/Attachments   PILGRIMS-0009397964         PILGRIMS-0009398066         69
 Emails/Attachments   PILGRIMS-0009398068         PILGRIMS-0009398071          4
 Emails/Attachments   PILGRIMS-0009398073         PILGRIMS-0009398133         38
 Emails/Attachments   PILGRIMS-0009398135         PILGRIMS-0009398139          2
 Emails/Attachments   PILGRIMS-0009398146         PILGRIMS-0009398160          7
 Emails/Attachments   PILGRIMS-0009398191         PILGRIMS-0009398246         49
 Emails/Attachments   PILGRIMS-0009398248         PILGRIMS-0009398276         21
 Emails/Attachments   PILGRIMS-0009398278         PILGRIMS-0009398278          1
 Emails/Attachments   PILGRIMS-0009398280         PILGRIMS-0009398281          2
 Emails/Attachments   PILGRIMS-0009398283         PILGRIMS-0009398296         14
 Emails/Attachments   PILGRIMS-0009398298         PILGRIMS-0009398380         22
 Emails/Attachments   PILGRIMS-0009398382         PILGRIMS-0009398385          4
 Emails/Attachments   PILGRIMS-0009398436         PILGRIMS-0009398591         12
 Emails/Attachments   PILGRIMS-0009398642         PILGRIMS-0009398661         19
 Emails/Attachments   PILGRIMS-0009398688         PILGRIMS-0009398691          4
 Emails/Attachments   PILGRIMS-0009398693         PILGRIMS-0009398693          1
 Emails/Attachments   PILGRIMS-0009398695         PILGRIMS-0009398695          1
 Emails/Attachments   PILGRIMS-0009398697         PILGRIMS-0009398704          6
 Emails/Attachments   PILGRIMS-0009398707         PILGRIMS-0009398780         25
 Emails/Attachments   PILGRIMS-0009398782         PILGRIMS-0009398786          5
 Emails/Attachments   PILGRIMS-0009398790         PILGRIMS-0009398797          8
 Emails/Attachments   PILGRIMS-0009398799         PILGRIMS-0009398810          8
 Emails/Attachments   PILGRIMS-0009398813         PILGRIMS-0009398816          2
 Emails/Attachments   PILGRIMS-0009398819         PILGRIMS-0009398832         14
 Emails/Attachments   PILGRIMS-0009398834         PILGRIMS-0009398838          5
 Emails/Attachments   PILGRIMS-0009398840         PILGRIMS-0009398840          1
 Emails/Attachments   PILGRIMS-0009398842         PILGRIMS-0009398866         22
 Emails/Attachments   PILGRIMS-0009398871         PILGRIMS-0009398893         21
 Emails/Attachments   PILGRIMS-0009398895         PILGRIMS-0009398898          3
 Emails/Attachments   PILGRIMS-0009398900         PILGRIMS-0009398917         18
 Emails/Attachments   PILGRIMS-0009398919         PILGRIMS-0009398921          3
 Emails/Attachments   PILGRIMS-0009398923         PILGRIMS-0009398927          4
 Emails/Attachments   PILGRIMS-0009398930         PILGRIMS-0009398954         22
 Emails/Attachments   PILGRIMS-0009398958         PILGRIMS-0009398977         15


                                    Page 254 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 278 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009398979         PILGRIMS-0009398992         14
 Emails/Attachments   PILGRIMS-0009398994         PILGRIMS-0009399000          6
 Emails/Attachments   PILGRIMS-0009399002         PILGRIMS-0009399011         10
 Emails/Attachments   PILGRIMS-0009399014         PILGRIMS-0009399042         25
 Emails/Attachments   PILGRIMS-0009399044         PILGRIMS-0009399052          9
 Emails/Attachments   PILGRIMS-0009399056         PILGRIMS-0009399056          1
 Emails/Attachments   PILGRIMS-0009399059         PILGRIMS-0009399060          2
 Emails/Attachments   PILGRIMS-0009399062         PILGRIMS-0009399068          4
 Emails/Attachments   PILGRIMS-0009399070         PILGRIMS-0009399074          3
 Emails/Attachments   PILGRIMS-0009399076         PILGRIMS-0009399123         39
 Emails/Attachments   PILGRIMS-0009399125         PILGRIMS-0009399163         32
 Emails/Attachments   PILGRIMS-0009399165         PILGRIMS-0009399186         19
 Emails/Attachments   PILGRIMS-0009399189         PILGRIMS-0009399562         52
 Emails/Attachments   PILGRIMS-0009399564         PILGRIMS-0009399571          8
 Emails/Attachments   PILGRIMS-0009399573         PILGRIMS-0009399603         27
 Emails/Attachments   PILGRIMS-0009399605         PILGRIMS-0009399799         33
 Emails/Attachments   PILGRIMS-0009399885         PILGRIMS-0009399888          4
 Emails/Attachments   PILGRIMS-0009399974         PILGRIMS-0009399982          9
 Emails/Attachments   PILGRIMS-0009399984         PILGRIMS-0009399984          1
 Emails/Attachments   PILGRIMS-0009399988         PILGRIMS-0009400008         15
 Emails/Attachments   PILGRIMS-0009400010         PILGRIMS-0009400060         46
 Emails/Attachments   PILGRIMS-0009400063         PILGRIMS-0009400065          2
 Emails/Attachments   PILGRIMS-0009400068         PILGRIMS-0009400099         29
 Emails/Attachments   PILGRIMS-0009400101         PILGRIMS-0009400172         50
 Emails/Attachments   PILGRIMS-0009400174         PILGRIMS-0009400209         29
 Emails/Attachments   PILGRIMS-0009400218         PILGRIMS-0009400224          7
 Emails/Attachments   PILGRIMS-0009400226         PILGRIMS-0009400247         21
 Emails/Attachments   PILGRIMS-0009400249         PILGRIMS-0009400279         25
 Emails/Attachments   PILGRIMS-0009400283         PILGRIMS-0009400284          2
 Emails/Attachments   PILGRIMS-0009400287         PILGRIMS-0009400396         77
 Emails/Attachments   PILGRIMS-0009400400         PILGRIMS-0009400474         65
 Emails/Attachments   PILGRIMS-0009400478         PILGRIMS-0009400478          1
 Emails/Attachments   PILGRIMS-0009400481         PILGRIMS-0009400523         22
 Emails/Attachments   PILGRIMS-0009400527         PILGRIMS-0009400551         18
 Emails/Attachments   PILGRIMS-0009400553         PILGRIMS-0009400560          5
 Emails/Attachments   PILGRIMS-0009400563         PILGRIMS-0009400564          1
 Emails/Attachments   PILGRIMS-0009400567         PILGRIMS-0009400610         37
 Emails/Attachments   PILGRIMS-0009400614         PILGRIMS-0009400728         72
 Emails/Attachments   PILGRIMS-0009400736         PILGRIMS-0009400741          4
 Emails/Attachments   PILGRIMS-0009400743         PILGRIMS-0009400752         10
 Emails/Attachments   PILGRIMS-0009400759         PILGRIMS-0009400805         30
 Emails/Attachments   PILGRIMS-0009400810         PILGRIMS-0009400810          1
 Emails/Attachments   PILGRIMS-0009400817         PILGRIMS-0009400867         36
 Emails/Attachments   PILGRIMS-0009400874         PILGRIMS-0009400915         35
 Emails/Attachments   PILGRIMS-0009400917         PILGRIMS-0009400964         34
 Emails/Attachments   PILGRIMS-0009400969         PILGRIMS-0009401052         67


                                    Page 255 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 279 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009401054         PILGRIMS-0009401056          2
 Emails/Attachments   PILGRIMS-0009401058         PILGRIMS-0009401097         24
 Emails/Attachments   PILGRIMS-0009401104         PILGRIMS-0009401109          3
 Emails/Attachments   PILGRIMS-0009401114         PILGRIMS-0009401133         15
 Emails/Attachments   PILGRIMS-0009401135         PILGRIMS-0009401137          2
 Emails/Attachments   PILGRIMS-0009401140         PILGRIMS-0009401178         19
 Emails/Attachments   PILGRIMS-0009401180         PILGRIMS-0009401352         87
 Emails/Attachments   PILGRIMS-0009401354         PILGRIMS-0009401355          1
 Emails/Attachments   PILGRIMS-0009401358         PILGRIMS-0009401370          9
 Emails/Attachments   PILGRIMS-0009401373         PILGRIMS-0009401374          1
 Emails/Attachments   PILGRIMS-0009401383         PILGRIMS-0009401453         60
 Emails/Attachments   PILGRIMS-0009401456         PILGRIMS-0009401482         19
 Emails/Attachments   PILGRIMS-0009401488         PILGRIMS-0009401524         28
 Emails/Attachments   PILGRIMS-0009401526         PILGRIMS-0009401528          2
 Emails/Attachments   PILGRIMS-0009401532         PILGRIMS-0009401533          1
 Emails/Attachments   PILGRIMS-0009401538         PILGRIMS-0009401551          9
 Emails/Attachments   PILGRIMS-0009401557         PILGRIMS-0009401557          1
 Emails/Attachments   PILGRIMS-0009401559         PILGRIMS-0009401567          8
 Emails/Attachments   PILGRIMS-0009401572         PILGRIMS-0009401574          3
 Emails/Attachments   PILGRIMS-0009401579         PILGRIMS-0009401581          3
 Emails/Attachments   PILGRIMS-0009401583         PILGRIMS-0009401595         11
 Emails/Attachments   PILGRIMS-0009401598         PILGRIMS-0009401603          6
 Emails/Attachments   PILGRIMS-0009401605         PILGRIMS-0009401648         37
 Emails/Attachments   PILGRIMS-0009401650         PILGRIMS-0009401733         62
 Emails/Attachments   PILGRIMS-0009401736         PILGRIMS-0009401807         47
 Emails/Attachments   PILGRIMS-0009401809         PILGRIMS-0009401827         16
 Emails/Attachments   PILGRIMS-0009401830         PILGRIMS-0009401831          1
 Emails/Attachments   PILGRIMS-0009401833         PILGRIMS-0009401846         14
 Emails/Attachments   PILGRIMS-0009401850         PILGRIMS-0009401868         15
 Emails/Attachments   PILGRIMS-0009401870         PILGRIMS-0009401872          3
 Emails/Attachments   PILGRIMS-0009401874         PILGRIMS-0009401893         12
 Emails/Attachments   PILGRIMS-0009401895         PILGRIMS-0009401935         28
 Emails/Attachments   PILGRIMS-0009401938         PILGRIMS-0009401961         17
 Emails/Attachments   PILGRIMS-0009401965         PILGRIMS-0009402146         133
 Emails/Attachments   PILGRIMS-0009402149         PILGRIMS-0009402207         43
 Emails/Attachments   PILGRIMS-0009402209         PILGRIMS-0009402383         71
 Emails/Attachments   PILGRIMS-0009402385         PILGRIMS-0009402473         65
 Emails/Attachments   PILGRIMS-0009402479         PILGRIMS-0009402492          8
 Emails/Attachments   PILGRIMS-0009402495         PILGRIMS-0009402590         75
 Emails/Attachments   PILGRIMS-0009402592         PILGRIMS-0009402593          2
 Emails/Attachments   PILGRIMS-0009402595         PILGRIMS-0009402641         43
 Emails/Attachments   PILGRIMS-0009402643         PILGRIMS-0009402721         62
 Emails/Attachments   PILGRIMS-0009402723         PILGRIMS-0009402730          8
 Emails/Attachments   PILGRIMS-0009402732         PILGRIMS-0009402749         10
 Emails/Attachments   PILGRIMS-0009402751         PILGRIMS-0009402788         31
 Emails/Attachments   PILGRIMS-0009402790         PILGRIMS-0009402812         15


                                    Page 256 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 280 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009402814         PILGRIMS-0009402935         95
 Emails/Attachments   PILGRIMS-0009402967         PILGRIMS-0009403277         300
 Emails/Attachments   PILGRIMS-0009403281         PILGRIMS-0009403292         12
 Emails/Attachments   PILGRIMS-0009403294         PILGRIMS-0009403309         16
 Emails/Attachments   PILGRIMS-0009403311         PILGRIMS-0009403311          1
 Emails/Attachments   PILGRIMS-0009403314         PILGRIMS-0009403314          1
 Emails/Attachments   PILGRIMS-0009403316         PILGRIMS-0009403317          2
 Emails/Attachments   PILGRIMS-0009403319         PILGRIMS-0009403321          3
 Emails/Attachments   PILGRIMS-0009403323         PILGRIMS-0009403511         180
 Emails/Attachments   PILGRIMS-0009403513         PILGRIMS-0009403515          3
 Emails/Attachments   PILGRIMS-0009403517         PILGRIMS-0009403524          8
 Emails/Attachments   PILGRIMS-0009403526         PILGRIMS-0009403531          6
 Emails/Attachments   PILGRIMS-0009403533         PILGRIMS-0009403533          1
 Emails/Attachments   PILGRIMS-0009403535         PILGRIMS-0009403601         61
 Emails/Attachments   PILGRIMS-0009403607         PILGRIMS-0009403620         12
 Emails/Attachments   PILGRIMS-0009403622         PILGRIMS-0009403632         10
 Emails/Attachments   PILGRIMS-0009403635         PILGRIMS-0009403645         11
 Emails/Attachments   PILGRIMS-0009403651         PILGRIMS-0009403662         12
 Emails/Attachments   PILGRIMS-0009403665         PILGRIMS-0009403684         20
 Emails/Attachments   PILGRIMS-0009403686         PILGRIMS-0009403699         14
 Emails/Attachments   PILGRIMS-0009403702         PILGRIMS-0009403702          1
 Emails/Attachments   PILGRIMS-0009403706         PILGRIMS-0009403708          3
 Emails/Attachments   PILGRIMS-0009403711         PILGRIMS-0009403895         185
 Emails/Attachments   PILGRIMS-0009403897         PILGRIMS-0009403915         19
 Emails/Attachments   PILGRIMS-0009403917         PILGRIMS-0009403923          7
 Emails/Attachments   PILGRIMS-0009403927         PILGRIMS-0009403936         10
 Emails/Attachments   PILGRIMS-0009403938         PILGRIMS-0009403938          1
 Emails/Attachments   PILGRIMS-0009403941         PILGRIMS-0009403953         13
 Emails/Attachments   PILGRIMS-0009403956         PILGRIMS-0009404018         63
 Emails/Attachments   PILGRIMS-0009404020         PILGRIMS-0009404110         91
 Emails/Attachments   PILGRIMS-0009404113         PILGRIMS-0009404117          5
 Emails/Attachments   PILGRIMS-0009404121         PILGRIMS-0009404139         19
 Emails/Attachments   PILGRIMS-0009404141         PILGRIMS-0009404158         18
 Emails/Attachments   PILGRIMS-0009404162         PILGRIMS-0009404163          2
 Emails/Attachments   PILGRIMS-0009404166         PILGRIMS-0009404166          1
 Emails/Attachments   PILGRIMS-0009404177         PILGRIMS-0009404194         18
 Emails/Attachments   PILGRIMS-0009404199         PILGRIMS-0009404209         11
 Emails/Attachments   PILGRIMS-0009404213         PILGRIMS-0009404230         18
 Emails/Attachments   PILGRIMS-0009404233         PILGRIMS-0009404242         10
 Emails/Attachments   PILGRIMS-0009404246         PILGRIMS-0009404247          2
 Emails/Attachments   PILGRIMS-0009404251         PILGRIMS-0009404252          2
 Emails/Attachments   PILGRIMS-0009404254         PILGRIMS-0009404283         30
 Emails/Attachments   PILGRIMS-0009404286         PILGRIMS-0009404297         12
 Emails/Attachments   PILGRIMS-0009404302         PILGRIMS-0009404303          2
 Emails/Attachments   PILGRIMS-0009404306         PILGRIMS-0009404307          1
 Emails/Attachments   PILGRIMS-0009404309         PILGRIMS-0009404310          2


                                    Page 257 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 281 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009404313         PILGRIMS-0009404314          1
 Emails/Attachments   PILGRIMS-0009404321         PILGRIMS-0009404322          2
 Emails/Attachments   PILGRIMS-0009404324         PILGRIMS-0009404326          2
 Emails/Attachments   PILGRIMS-0009404328         PILGRIMS-0009404334          6
 Emails/Attachments   PILGRIMS-0009404336         PILGRIMS-0009404336          1
 Emails/Attachments   PILGRIMS-0009404338         PILGRIMS-0009404591         58
 Emails/Attachments   PILGRIMS-0009404595         PILGRIMS-0009404595          1
 Emails/Attachments   PILGRIMS-0009404597         PILGRIMS-0009404599          3
 Emails/Attachments   PILGRIMS-0009404603         PILGRIMS-0009404606          3
 Emails/Attachments   PILGRIMS-0009404608         PILGRIMS-0009404610          3
 Emails/Attachments   PILGRIMS-0009404670         PILGRIMS-0009404670          1
 Emails/Attachments   PILGRIMS-0009404672         PILGRIMS-0009404683         12
 Emails/Attachments   PILGRIMS-0009404685         PILGRIMS-0009404687          3
 Emails/Attachments   PILGRIMS-0009404689         PILGRIMS-0009404693          5
 Emails/Attachments   PILGRIMS-0009404701         PILGRIMS-0009404702          2
 Emails/Attachments   PILGRIMS-0009404704         PILGRIMS-0009404705          2
 Emails/Attachments   PILGRIMS-0009404708         PILGRIMS-0009404711          4
 Emails/Attachments   PILGRIMS-0009404713         PILGRIMS-0009404713          1
 Emails/Attachments   PILGRIMS-0009404717         PILGRIMS-0009404718          2
 Emails/Attachments   PILGRIMS-0009404722         PILGRIMS-0009404731         10
 Emails/Attachments   PILGRIMS-0009404736         PILGRIMS-0009404736          1
 Emails/Attachments   PILGRIMS-0009404739         PILGRIMS-0009404740          2
 Emails/Attachments   PILGRIMS-0009404745         PILGRIMS-0009404748          4
 Emails/Attachments   PILGRIMS-0009404750         PILGRIMS-0009404750          1
 Emails/Attachments   PILGRIMS-0009404753         PILGRIMS-0009404754          2
 Emails/Attachments   PILGRIMS-0009404757         PILGRIMS-0009404757          1
 Emails/Attachments   PILGRIMS-0009404759         PILGRIMS-0009404760          2
 Emails/Attachments   PILGRIMS-0009404763         PILGRIMS-0009404763          1
 Emails/Attachments   PILGRIMS-0009404766         PILGRIMS-0009404768          3
 Emails/Attachments   PILGRIMS-0009404777         PILGRIMS-0009404778          2
 Emails/Attachments   PILGRIMS-0009404784         PILGRIMS-0009404784          1
 Emails/Attachments   PILGRIMS-0009404786         PILGRIMS-0009404791          6
 Emails/Attachments   PILGRIMS-0009404795         PILGRIMS-0009404803          9
 Emails/Attachments   PILGRIMS-0009404810         PILGRIMS-0009404810          1
 Emails/Attachments   PILGRIMS-0009404812         PILGRIMS-0009404823         10
 Emails/Attachments   PILGRIMS-0009404825         PILGRIMS-0009404828          4
 Emails/Attachments   PILGRIMS-0009404830         PILGRIMS-0009404830          1
 Emails/Attachments   PILGRIMS-0009404835         PILGRIMS-0009404841          5
 Emails/Attachments   PILGRIMS-0009404846         PILGRIMS-0009404851          6
 Emails/Attachments   PILGRIMS-0009404855         PILGRIMS-0009404859          5
 Emails/Attachments   PILGRIMS-0009404861         PILGRIMS-0009404865          5
 Emails/Attachments   PILGRIMS-0009404867         PILGRIMS-0009404867          1
 Emails/Attachments   PILGRIMS-0009404875         PILGRIMS-0009404887         12
 Emails/Attachments   PILGRIMS-0009404900         PILGRIMS-0009404902          3
 Emails/Attachments   PILGRIMS-0009404904         PILGRIMS-0009404909          6
 Emails/Attachments   PILGRIMS-0009404911         PILGRIMS-0009404919          5


                                    Page 258 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 282 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009404922         PILGRIMS-0009404922          1
 Emails/Attachments   PILGRIMS-0009404925         PILGRIMS-0009404931          7
 Emails/Attachments   PILGRIMS-0009404934         PILGRIMS-0009404934          1
 Emails/Attachments   PILGRIMS-0009404936         PILGRIMS-0009404938          3
 Emails/Attachments   PILGRIMS-0009404941         PILGRIMS-0009404942          2
 Emails/Attachments   PILGRIMS-0009404946         PILGRIMS-0009404956         11
 Emails/Attachments   PILGRIMS-0009404961         PILGRIMS-0009404964          4
 Emails/Attachments   PILGRIMS-0009404966         PILGRIMS-0009404973          8
 Emails/Attachments   PILGRIMS-0009404977         PILGRIMS-0009404977          1
 Emails/Attachments   PILGRIMS-0009404982         PILGRIMS-0009404985          4
 Emails/Attachments   PILGRIMS-0009404988         PILGRIMS-0009404990          3
 Emails/Attachments   PILGRIMS-0009404992         PILGRIMS-0009404992          1
 Emails/Attachments   PILGRIMS-0009404994         PILGRIMS-0009404994          1
 Emails/Attachments   PILGRIMS-0009404996         PILGRIMS-0009404996          1
 Emails/Attachments   PILGRIMS-0009404999         PILGRIMS-0009404999          1
 Emails/Attachments   PILGRIMS-0009405002         PILGRIMS-0009405005          4
 Emails/Attachments   PILGRIMS-0009405012         PILGRIMS-0009405018          6
 Emails/Attachments   PILGRIMS-0009405021         PILGRIMS-0009405021          1
 Emails/Attachments   PILGRIMS-0009405026         PILGRIMS-0009405029          4
 Emails/Attachments   PILGRIMS-0009405034         PILGRIMS-0009405043         10
 Emails/Attachments   PILGRIMS-0009405048         PILGRIMS-0009405051          4
 Emails/Attachments   PILGRIMS-0009405053         PILGRIMS-0009405063          9
 Emails/Attachments   PILGRIMS-0009405066         PILGRIMS-0009405067          2
 Emails/Attachments   PILGRIMS-0009405071         PILGRIMS-0009405073          3
 Emails/Attachments   PILGRIMS-0009405077         PILGRIMS-0009405089         13
 Emails/Attachments   PILGRIMS-0009405091         PILGRIMS-0009405094          4
 Emails/Attachments   PILGRIMS-0009405098         PILGRIMS-0009405102          5
 Emails/Attachments   PILGRIMS-0009405106         PILGRIMS-0009405106          1
 Emails/Attachments   PILGRIMS-0009405110         PILGRIMS-0009405114          5
 Emails/Attachments   PILGRIMS-0009405119         PILGRIMS-0009405123          4
 Emails/Attachments   PILGRIMS-0009405129         PILGRIMS-0009405129          1
 Emails/Attachments   PILGRIMS-0009405131         PILGRIMS-0009405132          2
 Emails/Attachments   PILGRIMS-0009405134         PILGRIMS-0009405141          8
 Emails/Attachments   PILGRIMS-0009405145         PILGRIMS-0009405149          5
 Emails/Attachments   PILGRIMS-0009405153         PILGRIMS-0009405164         12
 Emails/Attachments   PILGRIMS-0009405174         PILGRIMS-0009405175          2
 Emails/Attachments   PILGRIMS-0009405177         PILGRIMS-0009405177          1
 Emails/Attachments   PILGRIMS-0009405181         PILGRIMS-0009405183          3
 Emails/Attachments   PILGRIMS-0009405186         PILGRIMS-0009405193          8
 Emails/Attachments   PILGRIMS-0009405197         PILGRIMS-0009405198          2
 Emails/Attachments   PILGRIMS-0009405200         PILGRIMS-0009405200          1
 Emails/Attachments   PILGRIMS-0009405202         PILGRIMS-0009405210          9
 Emails/Attachments   PILGRIMS-0009405212         PILGRIMS-0009405213          2
 Emails/Attachments   PILGRIMS-0009405215         PILGRIMS-0009405224          8
 Emails/Attachments   PILGRIMS-0009405226         PILGRIMS-0009405229          4
 Emails/Attachments   PILGRIMS-0009405236         PILGRIMS-0009405243          8


                                    Page 259 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 283 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009405247         PILGRIMS-0009405247           1
 Emails/Attachments   PILGRIMS-0009405249         PILGRIMS-0009405265          17
 Emails/Attachments   PILGRIMS-0009405267         PILGRIMS-0009406762        1,297
 Emails/Attachments   PILGRIMS-0009406764         PILGRIMS-0009406785          15
 Emails/Attachments   PILGRIMS-0009406787         PILGRIMS-0009406790           3
 Emails/Attachments   PILGRIMS-0009406797         PILGRIMS-0009406801           2
 Emails/Attachments   PILGRIMS-0009406803         PILGRIMS-0009406804           2
 Emails/Attachments   PILGRIMS-0009406807         PILGRIMS-0009406807           1
 Emails/Attachments   PILGRIMS-0009406810         PILGRIMS-0009406810           1
 Emails/Attachments   PILGRIMS-0009406812         PILGRIMS-0009406812           1
 Emails/Attachments   PILGRIMS-0009406814         PILGRIMS-0009406815           2
 Emails/Attachments   PILGRIMS-0009406819         PILGRIMS-0009406827           8
 Emails/Attachments   PILGRIMS-0009406829         PILGRIMS-0009406831           3
 Emails/Attachments   PILGRIMS-0009406833         PILGRIMS-0009406833           1
 Emails/Attachments   PILGRIMS-0009406835         PILGRIMS-0009406836           2
 Emails/Attachments   PILGRIMS-0009406838         PILGRIMS-0009406838           1
 Emails/Attachments   PILGRIMS-0009406841         PILGRIMS-0009406842           1
 Emails/Attachments   PILGRIMS-0009406845         PILGRIMS-0009406846           1
 Emails/Attachments   PILGRIMS-0009406849         PILGRIMS-0009406852           3
 Emails/Attachments   PILGRIMS-0009406855         PILGRIMS-0009406856           2
 Emails/Attachments   PILGRIMS-0009406858         PILGRIMS-0009406858           1
 Emails/Attachments   PILGRIMS-0009406860         PILGRIMS-0009406860           1
 Emails/Attachments   PILGRIMS-0009406862         PILGRIMS-0009406864           2
 Emails/Attachments   PILGRIMS-0009406867         PILGRIMS-0009406867           1
 Emails/Attachments   PILGRIMS-0009406870         PILGRIMS-0009406870           1
 Emails/Attachments   PILGRIMS-0009406872         PILGRIMS-0009406872           1
 Emails/Attachments   PILGRIMS-0009406874         PILGRIMS-0009406875           2
 Emails/Attachments   PILGRIMS-0009406878         PILGRIMS-0009406879           2
 Emails/Attachments   PILGRIMS-0009406882         PILGRIMS-0009406895           6
 Emails/Attachments   PILGRIMS-0009406898         PILGRIMS-0009406901           2
 Emails/Attachments   PILGRIMS-0009406907         PILGRIMS-0009406909           2
 Emails/Attachments   PILGRIMS-0009406913         PILGRIMS-0009406913           1
 Emails/Attachments   PILGRIMS-0009406919         PILGRIMS-0009406928           9
 Emails/Attachments   PILGRIMS-0009406931         PILGRIMS-0009406932           2
 Emails/Attachments   PILGRIMS-0009406934         PILGRIMS-0009406947          11
 Emails/Attachments   PILGRIMS-0009406951         PILGRIMS-0009406951           1
 Emails/Attachments   PILGRIMS-0009406953         PILGRIMS-0009406983          13
 Emails/Attachments   PILGRIMS-0009406985         PILGRIMS-0009409076         699
 Emails/Attachments   PILGRIMS-0009409080         PILGRIMS-0009409090           5
 Emails/Attachments   PILGRIMS-0009409093         PILGRIMS-0009409094           2
 Emails/Attachments   PILGRIMS-0009409096         PILGRIMS-0009409096           1
 Emails/Attachments   PILGRIMS-0009409099         PILGRIMS-0009409103           5
 Emails/Attachments   PILGRIMS-0009409105         PILGRIMS-0009409105           1
 Emails/Attachments   PILGRIMS-0009409107         PILGRIMS-0009409108           2
 Emails/Attachments   PILGRIMS-0009409110         PILGRIMS-0009409110           1
 Emails/Attachments   PILGRIMS-0009409113         PILGRIMS-0009409114           2


                                    Page 260 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 284 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009409116         PILGRIMS-0009409136         11
 Emails/Attachments   PILGRIMS-0009409139         PILGRIMS-0009409139          1
 Emails/Attachments   PILGRIMS-0009409141         PILGRIMS-0009409142          2
 Emails/Attachments   PILGRIMS-0009409144         PILGRIMS-0009409144          1
 Emails/Attachments   PILGRIMS-0009409147         PILGRIMS-0009409148          2
 Emails/Attachments   PILGRIMS-0009409150         PILGRIMS-0009409154          3
 Emails/Attachments   PILGRIMS-0009409156         PILGRIMS-0009409156          1
 Emails/Attachments   PILGRIMS-0009409158         PILGRIMS-0009409160          2
 Emails/Attachments   PILGRIMS-0009409164         PILGRIMS-0009409164          1
 Emails/Attachments   PILGRIMS-0009409166         PILGRIMS-0009409166          1
 Emails/Attachments   PILGRIMS-0009409168         PILGRIMS-0009409181          6
 Emails/Attachments   PILGRIMS-0009409183         PILGRIMS-0009409183          1
 Emails/Attachments   PILGRIMS-0009409185         PILGRIMS-0009409186          1
 Emails/Attachments   PILGRIMS-0009409189         PILGRIMS-0009409196          8
 Emails/Attachments   PILGRIMS-0009409198         PILGRIMS-0009409200          2
 Emails/Attachments   PILGRIMS-0009409203         PILGRIMS-0009409203          1
 Emails/Attachments   PILGRIMS-0009409205         PILGRIMS-0009409205          1
 Emails/Attachments   PILGRIMS-0009409207         PILGRIMS-0009409208          1
 Emails/Attachments   PILGRIMS-0009409210         PILGRIMS-0009409212          3
 Emails/Attachments   PILGRIMS-0009409214         PILGRIMS-0009409214          1
 Emails/Attachments   PILGRIMS-0009409216         PILGRIMS-0009409217          2
 Emails/Attachments   PILGRIMS-0009409220         PILGRIMS-0009409220          1
 Emails/Attachments   PILGRIMS-0009409222         PILGRIMS-0009409224          3
 Emails/Attachments   PILGRIMS-0009409227         PILGRIMS-0009409230          4
 Emails/Attachments   PILGRIMS-0009409239         PILGRIMS-0009409251         10
 Emails/Attachments   PILGRIMS-0009409254         PILGRIMS-0009409255          2
 Emails/Attachments   PILGRIMS-0009409259         PILGRIMS-0009409260          1
 Emails/Attachments   PILGRIMS-0009409292         PILGRIMS-0009409324          4
 Emails/Attachments   PILGRIMS-0009409327         PILGRIMS-0009409327          1
 Emails/Attachments   PILGRIMS-0009409329         PILGRIMS-0009409330          2
 Emails/Attachments   PILGRIMS-0009409332         PILGRIMS-0009409332          1
 Emails/Attachments   PILGRIMS-0009409334         PILGRIMS-0009409334          1
 Emails/Attachments   PILGRIMS-0009409337         PILGRIMS-0009409337          1
 Emails/Attachments   PILGRIMS-0009409339         PILGRIMS-0009409341          3
 Emails/Attachments   PILGRIMS-0009409343         PILGRIMS-0009409343          1
 Emails/Attachments   PILGRIMS-0009409345         PILGRIMS-0009409351          7
 Emails/Attachments   PILGRIMS-0009409353         PILGRIMS-0009409353          1
 Emails/Attachments   PILGRIMS-0009409357         PILGRIMS-0009409410          6
 Emails/Attachments   PILGRIMS-0009409412         PILGRIMS-0009409412          1
 Emails/Attachments   PILGRIMS-0009409414         PILGRIMS-0009409414          1
 Emails/Attachments   PILGRIMS-0009409416         PILGRIMS-0009409416          1
 Emails/Attachments   PILGRIMS-0009409419         PILGRIMS-0009409419          1
 Emails/Attachments   PILGRIMS-0009409423         PILGRIMS-0009409424          2
 Emails/Attachments   PILGRIMS-0009409426         PILGRIMS-0009409491          9
 Emails/Attachments   PILGRIMS-0009409493         PILGRIMS-0009409493          1
 Emails/Attachments   PILGRIMS-0009409495         PILGRIMS-0009409496          2


                                    Page 261 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 285 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009409499         PILGRIMS-0009409500          2
 Emails/Attachments   PILGRIMS-0009409503         PILGRIMS-0009409503          1
 Emails/Attachments   PILGRIMS-0009409505         PILGRIMS-0009409505          1
 Emails/Attachments   PILGRIMS-0009409509         PILGRIMS-0009409510          2
 Emails/Attachments   PILGRIMS-0009409512         PILGRIMS-0009409516          4
 Emails/Attachments   PILGRIMS-0009409519         PILGRIMS-0009409519          1
 Emails/Attachments   PILGRIMS-0009409521         PILGRIMS-0009409521          1
 Emails/Attachments   PILGRIMS-0009409523         PILGRIMS-0009409524          2
 Emails/Attachments   PILGRIMS-0009409526         PILGRIMS-0009409530          5
 Emails/Attachments   PILGRIMS-0009409532         PILGRIMS-0009409532          1
 Emails/Attachments   PILGRIMS-0009409534         PILGRIMS-0009409536          2
 Emails/Attachments   PILGRIMS-0009409538         PILGRIMS-0009409538          1
 Emails/Attachments   PILGRIMS-0009409540         PILGRIMS-0009409541          2
 Emails/Attachments   PILGRIMS-0009409544         PILGRIMS-0009409545          1
 Emails/Attachments   PILGRIMS-0009409548         PILGRIMS-0009409549          2
 Emails/Attachments   PILGRIMS-0009409551         PILGRIMS-0009409552          2
 Emails/Attachments   PILGRIMS-0009409556         PILGRIMS-0009409564          9
 Emails/Attachments   PILGRIMS-0009409566         PILGRIMS-0009409568          3
 Emails/Attachments   PILGRIMS-0009409570         PILGRIMS-0009409572          2
 Emails/Attachments   PILGRIMS-0009409575         PILGRIMS-0009409587         12
 Emails/Attachments   PILGRIMS-0009409589         PILGRIMS-0009409612         20
 Emails/Attachments   PILGRIMS-0009409614         PILGRIMS-0009409614          1
 Emails/Attachments   PILGRIMS-0009409618         PILGRIMS-0009409618          1
 Emails/Attachments   PILGRIMS-0009409621         PILGRIMS-0009409621          1
 Emails/Attachments   PILGRIMS-0009409623         PILGRIMS-0009409624          2
 Emails/Attachments   PILGRIMS-0009409627         PILGRIMS-0009409627          1
 Emails/Attachments   PILGRIMS-0009409629         PILGRIMS-0009409630          2
 Emails/Attachments   PILGRIMS-0009409632         PILGRIMS-0009409632          1
 Emails/Attachments   PILGRIMS-0009409635         PILGRIMS-0009409635          1
 Emails/Attachments   PILGRIMS-0009409637         PILGRIMS-0009409638          2
 Emails/Attachments   PILGRIMS-0009409640         PILGRIMS-0009409640          1
 Emails/Attachments   PILGRIMS-0009409643         PILGRIMS-0009409645          3
 Emails/Attachments   PILGRIMS-0009409647         PILGRIMS-0009409647          1
 Emails/Attachments   PILGRIMS-0009409650         PILGRIMS-0009409651          2
 Emails/Attachments   PILGRIMS-0009409653         PILGRIMS-0009409653          1
 Emails/Attachments   PILGRIMS-0009409655         PILGRIMS-0009409655          1
 Emails/Attachments   PILGRIMS-0009409657         PILGRIMS-0009409658          2
 Emails/Attachments   PILGRIMS-0009409662         PILGRIMS-0009409664          3
 Emails/Attachments   PILGRIMS-0009409666         PILGRIMS-0009409666          1
 Emails/Attachments   PILGRIMS-0009409668         PILGRIMS-0009409676          4
 Emails/Attachments   PILGRIMS-0009409678         PILGRIMS-0009409680          2
 Emails/Attachments   PILGRIMS-0009409682         PILGRIMS-0009409683          2
 Emails/Attachments   PILGRIMS-0009409685         PILGRIMS-0009409685          1
 Emails/Attachments   PILGRIMS-0009409688         PILGRIMS-0009409688          1
 Emails/Attachments   PILGRIMS-0009409690         PILGRIMS-0009409690          1
 Emails/Attachments   PILGRIMS-0009409692         PILGRIMS-0009409696          5


                                    Page 262 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 286 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009409698         PILGRIMS-0009409698          1
 Emails/Attachments   PILGRIMS-0009409702         PILGRIMS-0009409705          3
 Emails/Attachments   PILGRIMS-0009409707         PILGRIMS-0009409707          1
 Emails/Attachments   PILGRIMS-0009409711         PILGRIMS-0009409715          5
 Emails/Attachments   PILGRIMS-0009409718         PILGRIMS-0009409718          1
 Emails/Attachments   PILGRIMS-0009409721         PILGRIMS-0009409724          4
 Emails/Attachments   PILGRIMS-0009409727         PILGRIMS-0009409728          2
 Emails/Attachments   PILGRIMS-0009409733         PILGRIMS-0009409734          2
 Emails/Attachments   PILGRIMS-0009409736         PILGRIMS-0009409750         14
 Emails/Attachments   PILGRIMS-0009409752         PILGRIMS-0009409754          3
 Emails/Attachments   PILGRIMS-0009409756         PILGRIMS-0009409757          2
 Emails/Attachments   PILGRIMS-0009409759         PILGRIMS-0009409764          6
 Emails/Attachments   PILGRIMS-0009409767         PILGRIMS-0009409767          1
 Emails/Attachments   PILGRIMS-0009409770         PILGRIMS-0009409788         19
 Emails/Attachments   PILGRIMS-0009409790         PILGRIMS-0009409791          2
 Emails/Attachments   PILGRIMS-0009409794         PILGRIMS-0009409804         11
 Emails/Attachments   PILGRIMS-0009409806         PILGRIMS-0009409808          3
 Emails/Attachments   PILGRIMS-0009409811         PILGRIMS-0009409811          1
 Emails/Attachments   PILGRIMS-0009409814         PILGRIMS-0009409839         23
 Emails/Attachments   PILGRIMS-0009409842         PILGRIMS-0009409844          1
 Emails/Attachments   PILGRIMS-0009409846         PILGRIMS-0009409851          6
 Emails/Attachments   PILGRIMS-0009409853         PILGRIMS-0009409865          8
 Emails/Attachments   PILGRIMS-0009409868         PILGRIMS-0009409875          6
 Emails/Attachments   PILGRIMS-0009409878         PILGRIMS-0009409879          1
 Emails/Attachments   PILGRIMS-0009409883         PILGRIMS-0009409883          1
 Emails/Attachments   PILGRIMS-0009409886         PILGRIMS-0009409887          1
 Emails/Attachments   PILGRIMS-0009409890         PILGRIMS-0009409896          6
 Emails/Attachments   PILGRIMS-0009409899         PILGRIMS-0009409904          1
 Emails/Attachments   PILGRIMS-0009409906         PILGRIMS-0009409908          2
 Emails/Attachments   PILGRIMS-0009409911         PILGRIMS-0009409916          5
 Emails/Attachments   PILGRIMS-0009409918         PILGRIMS-0009409918          1
 Emails/Attachments   PILGRIMS-0009409928         PILGRIMS-0009409934          7
 Emails/Attachments   PILGRIMS-0009409936         PILGRIMS-0009409940          3
 Emails/Attachments   PILGRIMS-0009409942         PILGRIMS-0009409968         27
 Emails/Attachments   PILGRIMS-0009409970         PILGRIMS-0009409990         20
 Emails/Attachments   PILGRIMS-0009409992         PILGRIMS-0009410028         18
 Emails/Attachments   PILGRIMS-0009410030         PILGRIMS-0009410072         42
 Emails/Attachments   PILGRIMS-0009410074         PILGRIMS-0009410089         16
 Emails/Attachments   PILGRIMS-0009410091         PILGRIMS-0009410100         10
 Emails/Attachments   PILGRIMS-0009410102         PILGRIMS-0009410103          2
 Emails/Attachments   PILGRIMS-0009410106         PILGRIMS-0009410107          2
 Emails/Attachments   PILGRIMS-0009410109         PILGRIMS-0009410114          6
 Emails/Attachments   PILGRIMS-0009410116         PILGRIMS-0009410116          1
 Emails/Attachments   PILGRIMS-0009410119         PILGRIMS-0009410123          5
 Emails/Attachments   PILGRIMS-0009410126         PILGRIMS-0009410127          2
 Emails/Attachments   PILGRIMS-0009410129         PILGRIMS-0009410130          2


                                    Page 263 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 287 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009410133         PILGRIMS-0009410133           1
 Emails/Attachments   PILGRIMS-0009410182         PILGRIMS-0009410182           1
 Emails/Attachments   PILGRIMS-0009410188         PILGRIMS-0009410189           2
 Emails/Attachments   PILGRIMS-0009410194         PILGRIMS-0009410194           1
 Emails/Attachments   PILGRIMS-0009410205         PILGRIMS-0009410205           1
 Emails/Attachments   PILGRIMS-0009410223         PILGRIMS-0009410223           1
 Emails/Attachments   PILGRIMS-0009410228         PILGRIMS-0009410231           4
 Emails/Attachments   PILGRIMS-0009410233         PILGRIMS-0009410238           6
 Emails/Attachments   PILGRIMS-0009410263         PILGRIMS-0009410263           1
 Emails/Attachments   PILGRIMS-0009410290         PILGRIMS-0009410294           4
 Emails/Attachments   PILGRIMS-0009410300         PILGRIMS-0009410300           1
 Emails/Attachments   PILGRIMS-0009410316         PILGRIMS-0009410316           1
 Emails/Attachments   PILGRIMS-0009410329         PILGRIMS-0009410330           1
 Emails/Attachments   PILGRIMS-0009410332         PILGRIMS-0009410335           2
 Emails/Attachments   PILGRIMS-0009410379         PILGRIMS-0009410380           2
 Emails/Attachments   PILGRIMS-0009410391         PILGRIMS-0009410392           2
 Emails/Attachments   PILGRIMS-0009410403         PILGRIMS-0009410408           5
 Emails/Attachments   PILGRIMS-0009410439         PILGRIMS-0009410439           1
 Emails/Attachments   PILGRIMS-0009410441         PILGRIMS-0009410441           1
 Emails/Attachments   PILGRIMS-0009410477         PILGRIMS-0009410477           1
 Emails/Attachments   PILGRIMS-0009410480         PILGRIMS-0009410486           4
 Emails/Attachments   PILGRIMS-0009410490         PILGRIMS-0009410498           5
 Emails/Attachments   PILGRIMS-0009410500         PILGRIMS-0009410502           3
 Emails/Attachments   PILGRIMS-0009410504         PILGRIMS-0009410515           9
 Emails/Attachments   PILGRIMS-0009410517         PILGRIMS-0009410518           2
 Emails/Attachments   PILGRIMS-0009410523         PILGRIMS-0009410524           2
 Emails/Attachments   PILGRIMS-0009410527         PILGRIMS-0009410528           2
 Emails/Attachments   PILGRIMS-0009410530         PILGRIMS-0009410554          11
 Emails/Attachments   PILGRIMS-0009410556         PILGRIMS-0009410571           6
 Emails/Attachments   PILGRIMS-0009410574         PILGRIMS-0009410583           9
 Emails/Attachments   PILGRIMS-0009410585         PILGRIMS-0009410585           1
 Emails/Attachments   PILGRIMS-0009410587         PILGRIMS-0009412243        1,340
 Emails/Attachments   PILGRIMS-0009412248         PILGRIMS-0009412305          58
 Emails/Attachments   PILGRIMS-0009412308         PILGRIMS-0009412365          58
 Emails/Attachments   PILGRIMS-0009412367         PILGRIMS-0009412384          15
 Emails/Attachments   PILGRIMS-0009412386         PILGRIMS-0009412491          72
 Emails/Attachments   PILGRIMS-0009412493         PILGRIMS-0009412619         112
 Emails/Attachments   PILGRIMS-0009412621         PILGRIMS-0009412649          24
 Emails/Attachments   PILGRIMS-0009412652         PILGRIMS-0009416747        2,991
 Emails/Attachments   PILGRIMS-0009758795         PILGRIMS-0009759663         233
 Emails/Attachments   PILGRIMS-0009761110         PILGRIMS-0009761111           1
 Emails/Attachments   PILGRIMS-0009767382         PILGRIMS-0009767383           1
 Emails/Attachments   PILGRIMS-0009767478         PILGRIMS-0009770228         409
 Emails/Attachments   PILGRIMS-0009772307         PILGRIMS-0009772343          29
 Emails/Attachments   PILGRIMS-0009772346         PILGRIMS-0009773150         365
 Emails/Attachments   PILGRIMS-0009773175         PILGRIMS-0009773187           7


                                    Page 264 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 288 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009773304         PILGRIMS-0009776335         923
 Emails/Attachments   PILGRIMS-0009776346         PILGRIMS-0009776434           3
 Emails/Attachments   PILGRIMS-0009776480         PILGRIMS-0009776522           8
 Emails/Attachments   PILGRIMS-0009776943         PILGRIMS-0009777060          53
 Emails/Attachments   PILGRIMS-0009777063         PILGRIMS-0009777064           2
 Emails/Attachments   PILGRIMS-0009777077         PILGRIMS-0009777136          30
 Emails/Attachments   PILGRIMS-0009777139         PILGRIMS-0009782350        2,199
 Emails/Attachments   PILGRIMS-0009782477         PILGRIMS-0009785063         553
 Emails/Attachments   PILGRIMS-0009785065         PILGRIMS-0009786302         330
 Emails/Attachments   PILGRIMS-0009786429         PILGRIMS-0009786671          39
 Emails/Attachments   PILGRIMS-0009786823         PILGRIMS-0009787060          53
 Emails/Attachments   PILGRIMS-0009787105         PILGRIMS-0009794219         993
 Emails/Attachments   PILGRIMS-0009794250         PILGRIMS-0009794841         165
 Emails/Attachments   PILGRIMS-0009794848         PILGRIMS-0009795035          61
 Emails/Attachments   PILGRIMS-0009795048         PILGRIMS-0009795184          67
 Emails/Attachments   PILGRIMS-0009795198         PILGRIMS-0009795893         149
 Emails/Attachments   PILGRIMS-0009795970         PILGRIMS-0009798256         293
 Emails/Attachments   PILGRIMS-0009798260         PILGRIMS-0009806582        1,185
 Emails/Attachments   PILGRIMS-0009806584         PILGRIMS-0009808361        1,142
 Emails/Attachments   PILGRIMS-0009808769         PILGRIMS-0009808785          12
 Emails/Attachments   PILGRIMS-0009809013         PILGRIMS-0009836410         117
 Emails/Attachments   PILGRIMS-0009836457         PILGRIMS-0009836672          54
 Emails/Attachments   PILGRIMS-0009836674         PILGRIMS-0009836710          10
 Emails/Attachments   PILGRIMS-0009836789         PILGRIMS-0009837300         121
 Emails/Attachments   PILGRIMS-0009866447         PILGRIMS-0009866612           2
 Emails/Attachments   PILGRIMS-0009866662         PILGRIMS-0009866742           2
 Emails/Attachments   PILGRIMS-0009866811         PILGRIMS-0009866846          12
 Emails/Attachments   PILGRIMS-0009867289         PILGRIMS-0009867312           6
 Emails/Attachments   PILGRIMS-0009867563         PILGRIMS-0009867646           2
 Emails/Attachments   PILGRIMS-0009867983         PILGRIMS-0009868237           6
 Emails/Attachments   PILGRIMS-0009868520         PILGRIMS-0009868882          36
 Emails/Attachments   PILGRIMS-0009868968         PILGRIMS-0009869133          38
 Emails/Attachments   PILGRIMS-0009870088         PILGRIMS-0009870246           3
 Emails/Attachments   PILGRIMS-0009870670         PILGRIMS-0009870916           7
 Emails/Attachments   PILGRIMS-0009871884         PILGRIMS-0009871925           3
 Emails/Attachments   PILGRIMS-0009871938         PILGRIMS-0009871951           3
 Emails/Attachments   PILGRIMS-0009872188         PILGRIMS-0009872212          18
 Emails/Attachments   PILGRIMS-0009872840         PILGRIMS-0009872864           2
 Emails/Attachments   PILGRIMS-0009873438         PILGRIMS-0009873471          22
 Emails/Attachments   PILGRIMS-0009873476         PILGRIMS-0009873480           4
 Emails/Attachments   PILGRIMS-0009873484         PILGRIMS-0009873489           6
 Emails/Attachments   PILGRIMS-0009873670         PILGRIMS-0009873675           6
 Emails/Attachments   PILGRIMS-0009874132         PILGRIMS-0009874319           4
 Emails/Attachments   PILGRIMS-0009874790         PILGRIMS-0009874816          23
 Emails/Attachments   PILGRIMS-0009874911         PILGRIMS-0009875030           7
 Emails/Attachments   PILGRIMS-0009876106         PILGRIMS-0009876120           2


                                    Page 265 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 289 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                   Last Bates         # of Documents
 Emails/Attachments   PILGRIMS-0009876429           PILGRIMS-0009876694           10
 Emails/Attachments   PILGRIMS-0009876839           PILGRIMS-0009876876           38
 Emails/Attachments   PILGRIMS-0009876924           PILGRIMS-0009876939            2
 Emails/Attachments   PILGRIMS-0009876991           PILGRIMS-0009877114            5
 Emails/Attachments   PILGRIMS-0009877118           PILGRIMS-0009877129            6
 Emails/Attachments   PILGRIMS-0009877190           PILGRIMS-0009877195            2
 Emails/Attachments   PILGRIMS-0009877200           PILGRIMS-0009878121           64
 Emails/Attachments   PILGRIMS-0009878288           PILGRIMS-0009878340            2
 Emails/Attachments   PILGRIMS-0009878985           PILGRIMS-0009879060            8
 Emails/Attachments   PILGRIMS-0009879341           PILGRIMS-0009879514            3
 Emails/Attachments   PILGRIMS-0009880848           PILGRIMS-0009880872           21
 Emails/Attachments   PILGRIMS-0009880878           PILGRIMS-0009880879            2
 Emails/Attachments   PILGRIMS-0009880903           PILGRIMS-0009880916            6
 Emails/Attachments   PILGRIMS-0009881024           PILGRIMS-0009881083            4
 Emails/Attachments   PILGRIMS-0009881089           PILGRIMS-0009881205           14
 Emails/Attachments   PILGRIMS-0009881227           PILGRIMS-0009881230            2
 Emails/Attachments   PILGRIMS-0009881285           PILGRIMS-0009881289            4
 Emails/Attachments   PILGRIMS-0009881351           PILGRIMS-0009881481           25
 Emails/Attachments   PILGRIMS-0009881507           PILGRIMS-0009881592           19
 Emails/Attachments   PILGRIMS-0009881600           PILGRIMS-0009881716           17
 Emails/Attachments   PILGRIMS-0009881824           PILGRIMS-0009881826            3
 Emails/Attachments   PILGRIMS-0009882050           PILGRIMS-0009882390            8
 Emails/Attachments   PILGRIMS-0009882831           PILGRIMS-0009882833            3
 Emails/Attachments   PILGRIMS-0009882837           PILGRIMS-0009882838            2
 Emails/Attachments   PILGRIMS-0009882930           PILGRIMS-0009883018           14
 Emails/Attachments   PILGRIMS-0009883022           PILGRIMS-0009883024            2
 Emails/Attachments   PILGRIMS-0009883028           PILGRIMS-0009883038            6
 Emails/Attachments   PILGRIMS-0009883262           PILGRIMS-0009883269            3
 Emails/Attachments   PILGRIMS-0009883366           PILGRIMS-0009883480            8
 Emails/Attachments   PILGRIMS-0009883485           PILGRIMS-0009883497            5
 Emails/Attachments   PILGRIMS-0009883588           PILGRIMS-0009883611           12
 Emails/Attachments   PILGRIMS-0009883613           PILGRIMS-0009884267           42
 Emails/Attachments   PILGRIMS-0009884315           PILGRIMS-0009884354           22
 Emails/Attachments   PILGRIMS-0009884369           PILGRIMS-0009884459           22
 Emails/Attachments   PILGRIMS-0009884463           PILGRIMS-0009884910           24
 Emails/Attachments   PILGRIMS-0009885049           PILGRIMS-0009885073           17
 Emails/Attachments   PILGRIMS-0009885132           PILGRIMS-0009885185            4
 Emails/Attachments   PILGRIMS-0009885242           PILGRIMS-0009885425           27
 Emails/Attachments   PILGRIMS-0009885805         PILGRIMS-0009886310_013         89
 Emails/Attachments   PILGRIMS-0009886311         PILGRIMS-0009886314_013          4
 Emails/Attachments   PILGRIMS-0009886315         PILGRIMS-0009886460_011         39
 Emails/Attachments   PILGRIMS-0009886461         PILGRIMS-0009886464_013          4
 Emails/Attachments   PILGRIMS-0009886465           PILGRIMS-0009889122           498
 Emails/Attachments   PILGRIMS-0009889125           PILGRIMS-0009889128            1
 Emails/Attachments   PILGRIMS-0009889436           PILGRIMS-0009889498           61
 Emails/Attachments   PILGRIMS-0009889500           PILGRIMS-0009889539           20


                                    Page 266 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 290 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                   Last Bates         # of Documents
 Emails/Attachments   PILGRIMS-0009889541           PILGRIMS-0009889545             5
 Emails/Attachments   PILGRIMS-0009889547           PILGRIMS-0009891025           209
 Emails/Attachments   PILGRIMS-0009891088           PILGRIMS-0009919434          2,255
 Emails/Attachments   PILGRIMS-0009919514           PILGRIMS-0009920969           465
 Emails/Attachments   PILGRIMS-0009921761         PILGRIMS-0009922060_009          45
 Emails/Attachments   PILGRIMS-0009922061         PILGRIMS-0009922064_011           4
 Emails/Attachments   PILGRIMS-0009922065           PILGRIMS-0009924521           340
 Emails/Attachments   PILGRIMS-0009924835           PILGRIMS-0009924846             2
 Emails/Attachments   PILGRIMS-0009925160           PILGRIMS-0009926105           175
 Emails/Attachments   PILGRIMS-0009926108           PILGRIMS-0009926485            36
 Emails/Attachments   PILGRIMS-0009926524           PILGRIMS-0009927713            81
 Emails/Attachments   PILGRIMS-0009927720           PILGRIMS-0009929562            65
 Emails/Attachments   PILGRIMS-0009929567           PILGRIMS-0009929592             5
 Emails/Attachments   PILGRIMS-0009929596           PILGRIMS-0009929717             5
 Emails/Attachments   PILGRIMS-0009929721           PILGRIMS-0009929735            14
 Emails/Attachments   PILGRIMS-0009929790           PILGRIMS-0009930001            20
 Emails/Attachments   PILGRIMS-0009930050           PILGRIMS-0009930725           204
 Emails/Attachments   PILGRIMS-0009930728           PILGRIMS-0009930840            54
 Emails/Attachments   PILGRIMS-0009930926           PILGRIMS-0009932143           254
 Emails/Attachments   PILGRIMS-0009932158           PILGRIMS-0009932312            45
 Emails/Attachments   PILGRIMS-0009932329           PILGRIMS-0009932642            86
 Emails/Attachments   PILGRIMS-0009932651           PILGRIMS-0009932693            13
 Emails/Attachments   PILGRIMS-0009932709           PILGRIMS-0009933020            74
 Emails/Attachments   PILGRIMS-0009933026           PILGRIMS-0009933777            93
 Emails/Attachments   PILGRIMS-0009933794           PILGRIMS-0009937007           767
 Emails/Attachments   PILGRIMS-0009937012           PILGRIMS-0009938210            80
 Emails/Attachments   PILGRIMS-0009938213           PILGRIMS-0009938648            68
 Emails/Attachments   PILGRIMS-0009939089           PILGRIMS-0009939091             2
 Emails/Attachments   PILGRIMS-0009939102           PILGRIMS-0009939200            26
 Emails/Attachments   PILGRIMS-0009939241           PILGRIMS-0009939374            46
 Emails/Attachments   PILGRIMS-0009939377           PILGRIMS-0009939415            10
 Emails/Attachments   PILGRIMS-0009957063           PILGRIMS-0009957065             3
 Emails/Attachments   PILGRIMS-0009957734           PILGRIMS-0009961058           214
 Emails/Attachments   PILGRIMS-0009961388           PILGRIMS-0009961514           115
 Emails/Attachments   PILGRIMS-0009962062           PILGRIMS-0009962098            34
 Emails/Attachments   PILGRIMS-0009962102           PILGRIMS-0009962833           436
 Emails/Attachments   PILGRIMS-0009962940           PILGRIMS-0009963660           111
 Emails/Attachments   PILGRIMS-0009963664           PILGRIMS-0009963666             3
 Emails/Attachments   PILGRIMS-0009963669           PILGRIMS-0009963671             2
 Emails/Attachments   PILGRIMS-0009963758           PILGRIMS-0009963947            22
 Emails/Attachments   PILGRIMS-0009963953           PILGRIMS-0009963966            12
 Emails/Attachments   PILGRIMS-0009964042           PILGRIMS-0009964042             1
 Emails/Attachments   PILGRIMS-0009964044           PILGRIMS-0009964337           139
 Emails/Attachments   PILGRIMS-0009964339           PILGRIMS-0009964358            12
 Emails/Attachments   PILGRIMS-0009964424           PILGRIMS-0009964425             2
 Emails/Attachments   PILGRIMS-0009964429           PILGRIMS-0009964555            59


                                    Page 267 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 291 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0009964566         PILGRIMS-0009964856         176
 Emails/Attachments   PILGRIMS-0009964904         PILGRIMS-0009964904          1
 Emails/Attachments   PILGRIMS-0009964906         PILGRIMS-0009964921         11
 Emails/Attachments   PILGRIMS-0009964923         PILGRIMS-0009964936         10
 Emails/Attachments   PILGRIMS-0009964939         PILGRIMS-0009964964         18
 Emails/Attachments   PILGRIMS-0009965007         PILGRIMS-0009965157         37
 Emails/Attachments   PILGRIMS-0009968153         PILGRIMS-0009968167          8
 Emails/Attachments   PILGRIMS-0009968177         PILGRIMS-0009969970         359
 Emails/Attachments   PILGRIMS-0009969994         PILGRIMS-0009970878         80
 Emails/Attachments   PILGRIMS-0009970931         PILGRIMS-0009971114         18
 Emails/Attachments   PILGRIMS-0009971117         PILGRIMS-0009971281         11
 Emails/Attachments   PILGRIMS-0009971360         PILGRIMS-0009971716         14
 Emails/Attachments   PILGRIMS-0009971852         PILGRIMS-0009971853          2
 Emails/Attachments   PILGRIMS-0009971855         PILGRIMS-0009973048         228
 Emails/Attachments   PILGRIMS-0009973795         PILGRIMS-0009973936         52
 Emails/Attachments   PILGRIMS-0010007551         PILGRIMS-0010007555          1
 Emails/Attachments   PILGRIMS-0010007583         PILGRIMS-0010007590          1
 Emails/Attachments   PILGRIMS-0010007594         PILGRIMS-0010007597          1
 Emails/Attachments   PILGRIMS-0010007600         PILGRIMS-0010007634         20
 Emails/Attachments   PILGRIMS-0010007697         PILGRIMS-0010007706          4
 Emails/Attachments   PILGRIMS-0010007708         PILGRIMS-0010007716          1
 Emails/Attachments   PILGRIMS-0010007745         PILGRIMS-0010007753          6
 Emails/Attachments   PILGRIMS-0010007756         PILGRIMS-0010007767          8
 Emails/Attachments   PILGRIMS-0010007769         PILGRIMS-0010007900         22
 Emails/Attachments   PILGRIMS-0010007902         PILGRIMS-0010007904          3
 Emails/Attachments   PILGRIMS-0010007918         PILGRIMS-0010008318         77
 Emails/Attachments   PILGRIMS-0010008339         PILGRIMS-0010008358          5
 Emails/Attachments   PILGRIMS-0010008424         PILGRIMS-0010008983         52
 Emails/Attachments   PILGRIMS-0010009231         PILGRIMS-0010009842         119
 Emails/Attachments   PILGRIMS-0010010236         PILGRIMS-0010010652         102
 Emails/Attachments   PILGRIMS-0010010654         PILGRIMS-0010010780         43
 Emails/Attachments   PILGRIMS-0010010782         PILGRIMS-0010011169         74
 Emails/Attachments   PILGRIMS-0010011172         PILGRIMS-0010011277         15
 Emails/Attachments   PILGRIMS-0010011279         PILGRIMS-0010011707         70
 Emails/Attachments   PILGRIMS-0010011709         PILGRIMS-0010012302         208
 Emails/Attachments   PILGRIMS-0010012304         PILGRIMS-0010012736         107
 Emails/Attachments   PILGRIMS-0010012738         PILGRIMS-0010012811         14
 Emails/Attachments   PILGRIMS-0010012833         PILGRIMS-0010013335         101
 Emails/Attachments   PILGRIMS-0010013342         PILGRIMS-0010013960         108
 Emails/Attachments   PILGRIMS-0010013993         PILGRIMS-0010014229         43
 Emails/Attachments   PILGRIMS-0010014234         PILGRIMS-0010014641         117
 Emails/Attachments   PILGRIMS-0010014643         PILGRIMS-0010014982         85
 Emails/Attachments   PILGRIMS-0010014984         PILGRIMS-0010015410         70
 Emails/Attachments   PILGRIMS-0010015464         PILGRIMS-0010015658         172
 Emails/Attachments   PILGRIMS-0010016029         PILGRIMS-0010016236         116
 Emails/Attachments   PILGRIMS-0010016829         PILGRIMS-0010016888          8


                                    Page 268 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 292 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010016895         PILGRIMS-0010017949         996
 Emails/Attachments   PILGRIMS-0010017951         PILGRIMS-0010023582        4,912
 Emails/Attachments   PILGRIMS-0010278760         PILGRIMS-0010279291         141
 Emails/Attachments   PILGRIMS-0010279337         PILGRIMS-0010279530          42
 Emails/Attachments   PILGRIMS-0010279577         PILGRIMS-0010279780          53
 Emails/Attachments   PILGRIMS-0010280158         PILGRIMS-0010280277          14
 Emails/Attachments   PILGRIMS-0010280921         PILGRIMS-0010285840        1,673
 Emails/Attachments   PILGRIMS-0010285867         PILGRIMS-0010285878          12
 Emails/Attachments   PILGRIMS-0010285881         PILGRIMS-0010286166         257
 Emails/Attachments   PILGRIMS-0010286168         PILGRIMS-0010286246          61
 Emails/Attachments   PILGRIMS-0010286250         PILGRIMS-0010286344          36
 Emails/Attachments   PILGRIMS-0010286347         PILGRIMS-0010286352           2
 Emails/Attachments   PILGRIMS-0010286354         PILGRIMS-0010286637          89
 Emails/Attachments   PILGRIMS-0010286640         PILGRIMS-0010286848          88
 Emails/Attachments   PILGRIMS-0010286850         PILGRIMS-0010287567         506
 Emails/Attachments   PILGRIMS-0010287569         PILGRIMS-0010287570           2
 Emails/Attachments   PILGRIMS-0010287572         PILGRIMS-0010287672          79
 Emails/Attachments   PILGRIMS-0010287674         PILGRIMS-0010289774        1,234
 Emails/Attachments   PILGRIMS-0010289776         PILGRIMS-0010289778           3
 Emails/Attachments   PILGRIMS-0010289839         PILGRIMS-0010289943          88
 Emails/Attachments   PILGRIMS-0010289948         PILGRIMS-0010289977          28
 Emails/Attachments   PILGRIMS-0010289982         PILGRIMS-0010290291         255
 Emails/Attachments   PILGRIMS-0010290296         PILGRIMS-0010290302           5
 Emails/Attachments   PILGRIMS-0010290316         PILGRIMS-0010290378          48
 Emails/Attachments   PILGRIMS-0010290380         PILGRIMS-0010290406          23
 Emails/Attachments   PILGRIMS-0010290913         PILGRIMS-0010290936          23
 Emails/Attachments   PILGRIMS-0010290938         PILGRIMS-0010290958          19
 Emails/Attachments   PILGRIMS-0010290960         PILGRIMS-0010291144         113
 Emails/Attachments   PILGRIMS-0010291146         PILGRIMS-0010291335          88
 Emails/Attachments   PILGRIMS-0010291339         PILGRIMS-0010291407          69
 Emails/Attachments   PILGRIMS-0010291409         PILGRIMS-0010291477          49
 Emails/Attachments   PILGRIMS-0010291479         PILGRIMS-0010291593         109
 Emails/Attachments   PILGRIMS-0010291595         PILGRIMS-0010291661          52
 Emails/Attachments   PILGRIMS-0010291667         PILGRIMS-0010291983         179
 Emails/Attachments   PILGRIMS-0010291985         PILGRIMS-0010292289          21
 Emails/Attachments   PILGRIMS-0010292292         PILGRIMS-0010292313          21
 Emails/Attachments   PILGRIMS-0010292315         PILGRIMS-0010292555         106
 Emails/Attachments   PILGRIMS-0010292557         PILGRIMS-0010293147         266
 Emails/Attachments   PILGRIMS-0010293149         PILGRIMS-0010293174          22
 Emails/Attachments   PILGRIMS-0010293176         PILGRIMS-0010293518          87
 Emails/Attachments   PILGRIMS-0010293520         PILGRIMS-0010293595          50
 Emails/Attachments   PILGRIMS-0010293597         PILGRIMS-0010293816          90
 Emails/Attachments   PILGRIMS-0010293838         PILGRIMS-0010294057         144
 Emails/Attachments   PILGRIMS-0010294059         PILGRIMS-0010294120          18
 Emails/Attachments   PILGRIMS-0010294122         PILGRIMS-0010294129           7
 Emails/Attachments   PILGRIMS-0010294131         PILGRIMS-0010294305          24


                                    Page 269 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 293 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010294343         PILGRIMS-0010294418         68
 Emails/Attachments   PILGRIMS-0010294420         PILGRIMS-0010294421          2
 Emails/Attachments   PILGRIMS-0010294423         PILGRIMS-0010294424          2
 Emails/Attachments   PILGRIMS-0010294426         PILGRIMS-0010294496         23
 Emails/Attachments   PILGRIMS-0010294498         PILGRIMS-0010294548         20
 Emails/Attachments   PILGRIMS-0010294550         PILGRIMS-0010294553          4
 Emails/Attachments   PILGRIMS-0010294555         PILGRIMS-0010294556          2
 Emails/Attachments   PILGRIMS-0010294559         PILGRIMS-0010294579         21
 Emails/Attachments   PILGRIMS-0010294582         PILGRIMS-0010294608         26
 Emails/Attachments   PILGRIMS-0010294610         PILGRIMS-0010294691         14
 Emails/Attachments   PILGRIMS-0010294693         PILGRIMS-0010294712          9
 Emails/Attachments   PILGRIMS-0010294714         PILGRIMS-0010294774         47
 Emails/Attachments   PILGRIMS-0010294776         PILGRIMS-0010294790         13
 Emails/Attachments   PILGRIMS-0010294792         PILGRIMS-0010294864         63
 Emails/Attachments   PILGRIMS-0010294866         PILGRIMS-0010295081         110
 Emails/Attachments   PILGRIMS-0010295083         PILGRIMS-0010295086          4
 Emails/Attachments   PILGRIMS-0010295088         PILGRIMS-0010295097          9
 Emails/Attachments   PILGRIMS-0010295099         PILGRIMS-0010295174         18
 Emails/Attachments   PILGRIMS-0010295176         PILGRIMS-0010295484         146
 Emails/Attachments   PILGRIMS-0010295486         PILGRIMS-0010295517         26
 Emails/Attachments   PILGRIMS-0010295519         PILGRIMS-0010295604         18
 Emails/Attachments   PILGRIMS-0010295606         PILGRIMS-0010295672         65
 Emails/Attachments   PILGRIMS-0010295674         PILGRIMS-0010295886         126
 Emails/Attachments   PILGRIMS-0010295888         PILGRIMS-0010296041         26
 Emails/Attachments   PILGRIMS-0010296043         PILGRIMS-0010296888         359
 Emails/Attachments   PILGRIMS-0010296890         PILGRIMS-0010297040         75
 Emails/Attachments   PILGRIMS-0010297042         PILGRIMS-0010297103         31
 Emails/Attachments   PILGRIMS-0010297105         PILGRIMS-0010297120         16
 Emails/Attachments   PILGRIMS-0010297122         PILGRIMS-0010297143         22
 Emails/Attachments   PILGRIMS-0010297145         PILGRIMS-0010297167         21
 Emails/Attachments   PILGRIMS-0010297169         PILGRIMS-0010297467         187
 Emails/Attachments   PILGRIMS-0010297471         PILGRIMS-0010297831         193
 Emails/Attachments   PILGRIMS-0010297834         PILGRIMS-0010297942         17
 Emails/Attachments   PILGRIMS-0010297945         PILGRIMS-0010297960         15
 Emails/Attachments   PILGRIMS-0010297971         PILGRIMS-0010297993         19
 Emails/Attachments   PILGRIMS-0010297998         PILGRIMS-0010298033         32
 Emails/Attachments   PILGRIMS-0010298039         PILGRIMS-0010298132         43
 Emails/Attachments   PILGRIMS-0010298136         PILGRIMS-0010298208         15
 Emails/Attachments   PILGRIMS-0010298258         PILGRIMS-0010298268         10
 Emails/Attachments   PILGRIMS-0010298271         PILGRIMS-0010298272          2
 Emails/Attachments   PILGRIMS-0010298276         PILGRIMS-0010298279          4
 Emails/Attachments   PILGRIMS-0010298284         PILGRIMS-0010298306         20
 Emails/Attachments   PILGRIMS-0010298356         PILGRIMS-0010298361          5
 Emails/Attachments   PILGRIMS-0010298364         PILGRIMS-0010298375         11
 Emails/Attachments   PILGRIMS-0010298379         PILGRIMS-0010298507         76
 Emails/Attachments   PILGRIMS-0010298510         PILGRIMS-0010298514          5


                                    Page 270 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 294 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010298520         PILGRIMS-0010298521          2
 Emails/Attachments   PILGRIMS-0010298523         PILGRIMS-0010298524          2
 Emails/Attachments   PILGRIMS-0010298528         PILGRIMS-0010298541         12
 Emails/Attachments   PILGRIMS-0010298544         PILGRIMS-0010298553          8
 Emails/Attachments   PILGRIMS-0010298598         PILGRIMS-0010298633         16
 Emails/Attachments   PILGRIMS-0010298638         PILGRIMS-0010298727         48
 Emails/Attachments   PILGRIMS-0010298730         PILGRIMS-0010298739         10
 Emails/Attachments   PILGRIMS-0010298745         PILGRIMS-0010298782         10
 Emails/Attachments   PILGRIMS-0010298787         PILGRIMS-0010298814         20
 Emails/Attachments   PILGRIMS-0010298819         PILGRIMS-0010298835         15
 Emails/Attachments   PILGRIMS-0010298843         PILGRIMS-0010298849          5
 Emails/Attachments   PILGRIMS-0010298852         PILGRIMS-0010298864         11
 Emails/Attachments   PILGRIMS-0010298867         PILGRIMS-0010299010         27
 Emails/Attachments   PILGRIMS-0010299014         PILGRIMS-0010299062         34
 Emails/Attachments   PILGRIMS-0010299065         PILGRIMS-0010299075          7
 Emails/Attachments   PILGRIMS-0010299083         PILGRIMS-0010299101          8
 Emails/Attachments   PILGRIMS-0010299105         PILGRIMS-0010299140          9
 Emails/Attachments   PILGRIMS-0010299143         PILGRIMS-0010299150          7
 Emails/Attachments   PILGRIMS-0010299154         PILGRIMS-0010299184         23
 Emails/Attachments   PILGRIMS-0010299187         PILGRIMS-0010299192          6
 Emails/Attachments   PILGRIMS-0010299195         PILGRIMS-0010299615         34
 Emails/Attachments   PILGRIMS-0010299617         PILGRIMS-0010299671         19
 Emails/Attachments   PILGRIMS-0010299683         PILGRIMS-0010299728         19
 Emails/Attachments   PILGRIMS-0010299731         PILGRIMS-0010299759         16
 Emails/Attachments   PILGRIMS-0010299762         PILGRIMS-0010299772         11
 Emails/Attachments   PILGRIMS-0010299775         PILGRIMS-0010299794         19
 Emails/Attachments   PILGRIMS-0010299807         PILGRIMS-0010299814          6
 Emails/Attachments   PILGRIMS-0010299819         PILGRIMS-0010299867         21
 Emails/Attachments   PILGRIMS-0010299870         PILGRIMS-0010299883         12
 Emails/Attachments   PILGRIMS-0010299885         PILGRIMS-0010299893          7
 Emails/Attachments   PILGRIMS-0010299896         PILGRIMS-0010299903          7
 Emails/Attachments   PILGRIMS-0010299907         PILGRIMS-0010300649         110
 Emails/Attachments   PILGRIMS-0010300651         PILGRIMS-0010301399         42
 Emails/Attachments   PILGRIMS-0010301401         PILGRIMS-0010301459         21
 Emails/Attachments   PILGRIMS-0010301461         PILGRIMS-0010301475         11
 Emails/Attachments   PILGRIMS-0010301480         PILGRIMS-0010301569         66
 Emails/Attachments   PILGRIMS-0010301571         PILGRIMS-0010301716         118
 Emails/Attachments   PILGRIMS-0010301718         PILGRIMS-0010301851         78
 Emails/Attachments   PILGRIMS-0010301853         PILGRIMS-0010301939         57
 Emails/Attachments   PILGRIMS-0010301941         PILGRIMS-0010302055         76
 Emails/Attachments   PILGRIMS-0010302058         PILGRIMS-0010302237         146
 Emails/Attachments   PILGRIMS-0010302239         PILGRIMS-0010302372         77
 Emails/Attachments   PILGRIMS-0010302374         PILGRIMS-0010302409         34
 Emails/Attachments   PILGRIMS-0010302412         PILGRIMS-0010302494         34
 Emails/Attachments   PILGRIMS-0010302501         PILGRIMS-0010302514          4
 Emails/Attachments   PILGRIMS-0010302517         PILGRIMS-0010302518          2


                                    Page 271 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 295 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010302521         PILGRIMS-0010302535         13
 Emails/Attachments   PILGRIMS-0010302538         PILGRIMS-0010302544          2
 Emails/Attachments   PILGRIMS-0010302557         PILGRIMS-0010302603         25
 Emails/Attachments   PILGRIMS-0010302606         PILGRIMS-0010302758         96
 Emails/Attachments   PILGRIMS-0010302766         PILGRIMS-0010302781         16
 Emails/Attachments   PILGRIMS-0010302785         PILGRIMS-0010302811         24
 Emails/Attachments   PILGRIMS-0010302814         PILGRIMS-0010302865         37
 Emails/Attachments   PILGRIMS-0010302868         PILGRIMS-0010302922         48
 Emails/Attachments   PILGRIMS-0010302924         PILGRIMS-0010303076         148
 Emails/Attachments   PILGRIMS-0010303079         PILGRIMS-0010303216         83
 Emails/Attachments   PILGRIMS-0010303221         PILGRIMS-0010303224          2
 Emails/Attachments   PILGRIMS-0010303247         PILGRIMS-0010303249          2
 Emails/Attachments   PILGRIMS-0010303253         PILGRIMS-0010304381         945
 Emails/Attachments   PILGRIMS-0010304383         PILGRIMS-0010304755         192
 Emails/Attachments   PILGRIMS-0010304757         PILGRIMS-0010304994         226
 Emails/Attachments   PILGRIMS-0010304996         PILGRIMS-0010305463         256
 Emails/Attachments   PILGRIMS-0010305596         PILGRIMS-0010305601          4
 Emails/Attachments   PILGRIMS-0010305630         PILGRIMS-0010305632          1
 Emails/Attachments   PILGRIMS-0010305827         PILGRIMS-0010305828          1
 Emails/Attachments   PILGRIMS-0010305958         PILGRIMS-0010305987          4
 Emails/Attachments   PILGRIMS-0010305991         PILGRIMS-0010306026          7
 Emails/Attachments   PILGRIMS-0010306052         PILGRIMS-0010306065          3
 Emails/Attachments   PILGRIMS-0010306068         PILGRIMS-0010306120         41
 Emails/Attachments   PILGRIMS-0010306122         PILGRIMS-0010306223         80
 Emails/Attachments   PILGRIMS-0010306227         PILGRIMS-0010306283         48
 Emails/Attachments   PILGRIMS-0010306286         PILGRIMS-0010306355         64
 Emails/Attachments   PILGRIMS-0010306357         PILGRIMS-0010306367         11
 Emails/Attachments   PILGRIMS-0010306371         PILGRIMS-0010306444         61
 Emails/Attachments   PILGRIMS-0010306446         PILGRIMS-0010306682         178
 Emails/Attachments   PILGRIMS-0010306720         PILGRIMS-0010306919         85
 Emails/Attachments   PILGRIMS-0010306986         PILGRIMS-0010307105         91
 Emails/Attachments   PILGRIMS-0010307107         PILGRIMS-0010307163         44
 Emails/Attachments   PILGRIMS-0010307166         PILGRIMS-0010307225         40
 Emails/Attachments   PILGRIMS-0010307227         PILGRIMS-0010307289         45
 Emails/Attachments   PILGRIMS-0010307291         PILGRIMS-0010307297          7
 Emails/Attachments   PILGRIMS-0010307299         PILGRIMS-0010307352         39
 Emails/Attachments   PILGRIMS-0010307355         PILGRIMS-0010307580         119
 Emails/Attachments   PILGRIMS-0010307582         PILGRIMS-0010307676         38
 Emails/Attachments   PILGRIMS-0010307716         PILGRIMS-0010307819         71
 Emails/Attachments   PILGRIMS-0010307821         PILGRIMS-0010307890         47
 Emails/Attachments   PILGRIMS-0010307980         PILGRIMS-0010308014          9
 Emails/Attachments   PILGRIMS-0010308052         PILGRIMS-0010308155         43
 Emails/Attachments   PILGRIMS-0010308157         PILGRIMS-0010308244         87
 Emails/Attachments   PILGRIMS-0010308246         PILGRIMS-0010308296         51
 Emails/Attachments   PILGRIMS-0010308298         PILGRIMS-0010308536         157
 Emails/Attachments   PILGRIMS-0010308538         PILGRIMS-0010308584         18


                                    Page 272 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 296 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010308587         PILGRIMS-0010309068         159
 Emails/Attachments   PILGRIMS-0010309070         PILGRIMS-0010309254         72
 Emails/Attachments   PILGRIMS-0010309256         PILGRIMS-0010309398         74
 Emails/Attachments   PILGRIMS-0010309400         PILGRIMS-0010309428         13
 Emails/Attachments   PILGRIMS-0010309430         PILGRIMS-0010309447          4
 Emails/Attachments   PILGRIMS-0010309477         PILGRIMS-0010309492          3
 Emails/Attachments   PILGRIMS-0010309525         PILGRIMS-0010309540          8
 Emails/Attachments   PILGRIMS-0010309542         PILGRIMS-0010309602         50
 Emails/Attachments   PILGRIMS-0010309604         PILGRIMS-0010309628         15
 Emails/Attachments   PILGRIMS-0010309630         PILGRIMS-0010309681         25
 Emails/Attachments   PILGRIMS-0010309690         PILGRIMS-0010309693          2
 Emails/Attachments   PILGRIMS-0010309697         PILGRIMS-0010309813         59
 Emails/Attachments   PILGRIMS-0010309819         PILGRIMS-0010309848         19
 Emails/Attachments   PILGRIMS-0010309850         PILGRIMS-0010309864         14
 Emails/Attachments   PILGRIMS-0010309866         PILGRIMS-0010309873          7
 Emails/Attachments   PILGRIMS-0010309890         PILGRIMS-0010309892          3
 Emails/Attachments   PILGRIMS-0010309894         PILGRIMS-0010309897          4
 Emails/Attachments   PILGRIMS-0010309899         PILGRIMS-0010309906          7
 Emails/Attachments   PILGRIMS-0010309908         PILGRIMS-0010309960         33
 Emails/Attachments   PILGRIMS-0010309962         PILGRIMS-0010309972         10
 Emails/Attachments   PILGRIMS-0010309974         PILGRIMS-0010310014         22
 Emails/Attachments   PILGRIMS-0010310016         PILGRIMS-0010310033          9
 Emails/Attachments   PILGRIMS-0010310035         PILGRIMS-0010310036          2
 Emails/Attachments   PILGRIMS-0010310057         PILGRIMS-0010310060          3
 Emails/Attachments   PILGRIMS-0010310062         PILGRIMS-0010310065          4
 Emails/Attachments   PILGRIMS-0010310067         PILGRIMS-0010310070          4
 Emails/Attachments   PILGRIMS-0010310072         PILGRIMS-0010310129         33
 Emails/Attachments   PILGRIMS-0010310131         PILGRIMS-0010310185         50
 Emails/Attachments   PILGRIMS-0010310187         PILGRIMS-0010310189          3
 Emails/Attachments   PILGRIMS-0010310191         PILGRIMS-0010310201          7
 Emails/Attachments   PILGRIMS-0010310203         PILGRIMS-0010310227         16
 Emails/Attachments   PILGRIMS-0010310229         PILGRIMS-0010310235          4
 Emails/Attachments   PILGRIMS-0010310237         PILGRIMS-0010310238          2
 Emails/Attachments   PILGRIMS-0010310240         PILGRIMS-0010310252         13
 Emails/Attachments   PILGRIMS-0010310254         PILGRIMS-0010310258          5
 Emails/Attachments   PILGRIMS-0010310260         PILGRIMS-0010310274         15
 Emails/Attachments   PILGRIMS-0010310276         PILGRIMS-0010310418         117
 Emails/Attachments   PILGRIMS-0010310420         PILGRIMS-0010310421          2
 Emails/Attachments   PILGRIMS-0010310423         PILGRIMS-0010310439         14
 Emails/Attachments   PILGRIMS-0010310442         PILGRIMS-0010310524         44
 Emails/Attachments   PILGRIMS-0010310527         PILGRIMS-0010310603         36
 Emails/Attachments   PILGRIMS-0010310605         PILGRIMS-0010310649         41
 Emails/Attachments   PILGRIMS-0010310651         PILGRIMS-0010310686         22
 Emails/Attachments   PILGRIMS-0010310688         PILGRIMS-0010310690          3
 Emails/Attachments   PILGRIMS-0010310702         PILGRIMS-0010310989         90
 Emails/Attachments   PILGRIMS-0010310998         PILGRIMS-0010311074         49


                                    Page 273 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 297 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010311080         PILGRIMS-0010311087          4
 Emails/Attachments   PILGRIMS-0010311089         PILGRIMS-0010311095          7
 Emails/Attachments   PILGRIMS-0010311099         PILGRIMS-0010311106          7
 Emails/Attachments   PILGRIMS-0010311108         PILGRIMS-0010311139         15
 Emails/Attachments   PILGRIMS-0010311142         PILGRIMS-0010311144          3
 Emails/Attachments   PILGRIMS-0010311147         PILGRIMS-0010311239         36
 Emails/Attachments   PILGRIMS-0010311251         PILGRIMS-0010311284         22
 Emails/Attachments   PILGRIMS-0010311286         PILGRIMS-0010311312         16
 Emails/Attachments   PILGRIMS-0010311314         PILGRIMS-0010311338         20
 Emails/Attachments   PILGRIMS-0010311340         PILGRIMS-0010311357         15
 Emails/Attachments   PILGRIMS-0010311359         PILGRIMS-0010311367          7
 Emails/Attachments   PILGRIMS-0010311371         PILGRIMS-0010311372          2
 Emails/Attachments   PILGRIMS-0010311374         PILGRIMS-0010311380          3
 Emails/Attachments   PILGRIMS-0010311382         PILGRIMS-0010311441         31
 Emails/Attachments   PILGRIMS-0010311443         PILGRIMS-0010311522         63
 Emails/Attachments   PILGRIMS-0010311525         PILGRIMS-0010311590         53
 Emails/Attachments   PILGRIMS-0010311592         PILGRIMS-0010311595          4
 Emails/Attachments   PILGRIMS-0010311597         PILGRIMS-0010311601          5
 Emails/Attachments   PILGRIMS-0010311603         PILGRIMS-0010311690         67
 Emails/Attachments   PILGRIMS-0010311692         PILGRIMS-0010311694          2
 Emails/Attachments   PILGRIMS-0010311696         PILGRIMS-0010311719         16
 Emails/Attachments   PILGRIMS-0010311721         PILGRIMS-0010311750         25
 Emails/Attachments   PILGRIMS-0010311753         PILGRIMS-0010311756          3
 Emails/Attachments   PILGRIMS-0010311758         PILGRIMS-0010311766          8
 Emails/Attachments   PILGRIMS-0010311768         PILGRIMS-0010311780          3
 Emails/Attachments   PILGRIMS-0010311782         PILGRIMS-0010311843         46
 Emails/Attachments   PILGRIMS-0010311860         PILGRIMS-0010311887         11
 Emails/Attachments   PILGRIMS-0010311891         PILGRIMS-0010311896          5
 Emails/Attachments   PILGRIMS-0010311900         PILGRIMS-0010311905          6
 Emails/Attachments   PILGRIMS-0010311907         PILGRIMS-0010311971         38
 Emails/Attachments   PILGRIMS-0010311973         PILGRIMS-0010311980          7
 Emails/Attachments   PILGRIMS-0010311982         PILGRIMS-0010312002         16
 Emails/Attachments   PILGRIMS-0010312004         PILGRIMS-0010312006          3
 Emails/Attachments   PILGRIMS-0010312008         PILGRIMS-0010312011          4
 Emails/Attachments   PILGRIMS-0010312014         PILGRIMS-0010312057         31
 Emails/Attachments   PILGRIMS-0010312059         PILGRIMS-0010312124         51
 Emails/Attachments   PILGRIMS-0010312126         PILGRIMS-0010312131          6
 Emails/Attachments   PILGRIMS-0010312133         PILGRIMS-0010312176         40
 Emails/Attachments   PILGRIMS-0010312178         PILGRIMS-0010312244         38
 Emails/Attachments   PILGRIMS-0010312270         PILGRIMS-0010312271          1
 Emails/Attachments   PILGRIMS-0010312274         PILGRIMS-0010312279          6
 Emails/Attachments   PILGRIMS-0010312282         PILGRIMS-0010312286          5
 Emails/Attachments   PILGRIMS-0010312288         PILGRIMS-0010312293          6
 Emails/Attachments   PILGRIMS-0010312295         PILGRIMS-0010312317         17
 Emails/Attachments   PILGRIMS-0010312324         PILGRIMS-0010312327          4
 Emails/Attachments   PILGRIMS-0010312329         PILGRIMS-0010312348         19


                                    Page 274 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 298 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010312350         PILGRIMS-0010312352          1
 Emails/Attachments   PILGRIMS-0010312357         PILGRIMS-0010312387         15
 Emails/Attachments   PILGRIMS-0010312389         PILGRIMS-0010312394          6
 Emails/Attachments   PILGRIMS-0010312396         PILGRIMS-0010312427          8
 Emails/Attachments   PILGRIMS-0010312453         PILGRIMS-0010312455          3
 Emails/Attachments   PILGRIMS-0010312457         PILGRIMS-0010312470         11
 Emails/Attachments   PILGRIMS-0010312472         PILGRIMS-0010312485         14
 Emails/Attachments   PILGRIMS-0010312489         PILGRIMS-0010312491          2
 Emails/Attachments   PILGRIMS-0010312493         PILGRIMS-0010312494          2
 Emails/Attachments   PILGRIMS-0010312496         PILGRIMS-0010312501          6
 Emails/Attachments   PILGRIMS-0010312503         PILGRIMS-0010312504          2
 Emails/Attachments   PILGRIMS-0010312506         PILGRIMS-0010312574         56
 Emails/Attachments   PILGRIMS-0010312576         PILGRIMS-0010312617         24
 Emails/Attachments   PILGRIMS-0010312619         PILGRIMS-0010312665         28
 Emails/Attachments   PILGRIMS-0010312667         PILGRIMS-0010312671          5
 Emails/Attachments   PILGRIMS-0010312673         PILGRIMS-0010312677          5
 Emails/Attachments   PILGRIMS-0010312679         PILGRIMS-0010312748         25
 Emails/Attachments   PILGRIMS-0010312775         PILGRIMS-0010312802         20
 Emails/Attachments   PILGRIMS-0010312804         PILGRIMS-0010312818         10
 Emails/Attachments   PILGRIMS-0010312820         PILGRIMS-0010312823          4
 Emails/Attachments   PILGRIMS-0010312829         PILGRIMS-0010312852         13
 Emails/Attachments   PILGRIMS-0010312854         PILGRIMS-0010312890         19
 Emails/Attachments   PILGRIMS-0010312892         PILGRIMS-0010312900          8
 Emails/Attachments   PILGRIMS-0010312902         PILGRIMS-0010312908          6
 Emails/Attachments   PILGRIMS-0010312910         PILGRIMS-0010312913          4
 Emails/Attachments   PILGRIMS-0010312915         PILGRIMS-0010313016         14
 Emails/Attachments   PILGRIMS-0010313018         PILGRIMS-0010313019          2
 Emails/Attachments   PILGRIMS-0010313050         PILGRIMS-0010313053          3
 Emails/Attachments   PILGRIMS-0010313055         PILGRIMS-0010313063          6
 Emails/Attachments   PILGRIMS-0010313065         PILGRIMS-0010313068          4
 Emails/Attachments   PILGRIMS-0010313098         PILGRIMS-0010313156         47
 Emails/Attachments   PILGRIMS-0010313158         PILGRIMS-0010313203         30
 Emails/Attachments   PILGRIMS-0010313205         PILGRIMS-0010313250         22
 Emails/Attachments   PILGRIMS-0010313254         PILGRIMS-0010313256          1
 Emails/Attachments   PILGRIMS-0010313265         PILGRIMS-0010313310         31
 Emails/Attachments   PILGRIMS-0010313312         PILGRIMS-0010313358         24
 Emails/Attachments   PILGRIMS-0010313360         PILGRIMS-0010313368          8
 Emails/Attachments   PILGRIMS-0010313430         PILGRIMS-0010313463          8
 Emails/Attachments   PILGRIMS-0010313466         PILGRIMS-0010313502         13
 Emails/Attachments   PILGRIMS-0010313504         PILGRIMS-0010313515          8
 Emails/Attachments   PILGRIMS-0010313517         PILGRIMS-0010313554         13
 Emails/Attachments   PILGRIMS-0010313556         PILGRIMS-0010313637         27
 Emails/Attachments   PILGRIMS-0010313639         PILGRIMS-0010313644          6
 Emails/Attachments   PILGRIMS-0010313646         PILGRIMS-0010313671         10
 Emails/Attachments   PILGRIMS-0010313676         PILGRIMS-0010313810         40
 Emails/Attachments   PILGRIMS-0010313823         PILGRIMS-0010313848         16


                                    Page 275 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 299 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010313850         PILGRIMS-0010313895         21
 Emails/Attachments   PILGRIMS-0010313897         PILGRIMS-0010314545         77
 Emails/Attachments   PILGRIMS-0010314547         PILGRIMS-0010314574         19
 Emails/Attachments   PILGRIMS-0010314576         PILGRIMS-0010314577          2
 Emails/Attachments   PILGRIMS-0010314579         PILGRIMS-0010314623         19
 Emails/Attachments   PILGRIMS-0010314625         PILGRIMS-0010314637         12
 Emails/Attachments   PILGRIMS-0010314733         PILGRIMS-0010314765         15
 Emails/Attachments   PILGRIMS-0010314767         PILGRIMS-0010314807         36
 Emails/Attachments   PILGRIMS-0010314809         PILGRIMS-0010314866         41
 Emails/Attachments   PILGRIMS-0010314868         PILGRIMS-0010314873          3
 Emails/Attachments   PILGRIMS-0010314875         PILGRIMS-0010314882          5
 Emails/Attachments   PILGRIMS-0010314884         PILGRIMS-0010314906         20
 Emails/Attachments   PILGRIMS-0010314908         PILGRIMS-0010314913          6
 Emails/Attachments   PILGRIMS-0010314915         PILGRIMS-0010314927          9
 Emails/Attachments   PILGRIMS-0010314929         PILGRIMS-0010314964         32
 Emails/Attachments   PILGRIMS-0010314966         PILGRIMS-0010314981          9
 Emails/Attachments   PILGRIMS-0010314983         PILGRIMS-0010315005         14
 Emails/Attachments   PILGRIMS-0010315007         PILGRIMS-0010315064         39
 Emails/Attachments   PILGRIMS-0010315066         PILGRIMS-0010315134         26
 Emails/Attachments   PILGRIMS-0010315137         PILGRIMS-0010315168         19
 Emails/Attachments   PILGRIMS-0010315170         PILGRIMS-0010315404         56
 Emails/Attachments   PILGRIMS-0010315406         PILGRIMS-0010315408          3
 Emails/Attachments   PILGRIMS-0010315410         PILGRIMS-0010315422          9
 Emails/Attachments   PILGRIMS-0010315425         PILGRIMS-0010315427          2
 Emails/Attachments   PILGRIMS-0010315429         PILGRIMS-0010315433          5
 Emails/Attachments   PILGRIMS-0010315435         PILGRIMS-0010315444          9
 Emails/Attachments   PILGRIMS-0010315446         PILGRIMS-0010315493         28
 Emails/Attachments   PILGRIMS-0010315495         PILGRIMS-0010315521         23
 Emails/Attachments   PILGRIMS-0010315524         PILGRIMS-0010315582         26
 Emails/Attachments   PILGRIMS-0010315599         PILGRIMS-0010315618         14
 Emails/Attachments   PILGRIMS-0010315620         PILGRIMS-0010315621          2
 Emails/Attachments   PILGRIMS-0010315623         PILGRIMS-0010315625          3
 Emails/Attachments   PILGRIMS-0010315627         PILGRIMS-0010315647          9
 Emails/Attachments   PILGRIMS-0010315649         PILGRIMS-0010315725         22
 Emails/Attachments   PILGRIMS-0010315728         PILGRIMS-0010315816         39
 Emails/Attachments   PILGRIMS-0010315818         PILGRIMS-0010315827          7
 Emails/Attachments   PILGRIMS-0010315829         PILGRIMS-0010315847         12
 Emails/Attachments   PILGRIMS-0010315849         PILGRIMS-0010315853          4
 Emails/Attachments   PILGRIMS-0010315861         PILGRIMS-0010316047         75
 Emails/Attachments   PILGRIMS-0010316049         PILGRIMS-0010316067         14
 Emails/Attachments   PILGRIMS-0010316069         PILGRIMS-0010316158         57
 Emails/Attachments   PILGRIMS-0010316160         PILGRIMS-0010316181         11
 Emails/Attachments   PILGRIMS-0010316183         PILGRIMS-0010316194         12
 Emails/Attachments   PILGRIMS-0010316197         PILGRIMS-0010316223         13
 Emails/Attachments   PILGRIMS-0010316226         PILGRIMS-0010316267         32
 Emails/Attachments   PILGRIMS-0010316269         PILGRIMS-0010316270          1


                                    Page 276 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 300 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010316272         PILGRIMS-0010316276          2
 Emails/Attachments   PILGRIMS-0010316278         PILGRIMS-0010316405         91
 Emails/Attachments   PILGRIMS-0010316407         PILGRIMS-0010316490         55
 Emails/Attachments   PILGRIMS-0010316492         PILGRIMS-0010316495          4
 Emails/Attachments   PILGRIMS-0010316497         PILGRIMS-0010316507         11
 Emails/Attachments   PILGRIMS-0010316509         PILGRIMS-0010316534         19
 Emails/Attachments   PILGRIMS-0010316536         PILGRIMS-0010316569         29
 Emails/Attachments   PILGRIMS-0010316571         PILGRIMS-0010316574          3
 Emails/Attachments   PILGRIMS-0010316576         PILGRIMS-0010316766         142
 Emails/Attachments   PILGRIMS-0010316768         PILGRIMS-0010316800         26
 Emails/Attachments   PILGRIMS-0010316802         PILGRIMS-0010316846         27
 Emails/Attachments   PILGRIMS-0010316855         PILGRIMS-0010316930         57
 Emails/Attachments   PILGRIMS-0010316933         PILGRIMS-0010317042         63
 Emails/Attachments   PILGRIMS-0010317044         PILGRIMS-0010317148         35
 Emails/Attachments   PILGRIMS-0010317151         PILGRIMS-0010317164         14
 Emails/Attachments   PILGRIMS-0010317166         PILGRIMS-0010317169          4
 Emails/Attachments   PILGRIMS-0010317171         PILGRIMS-0010317174          4
 Emails/Attachments   PILGRIMS-0010317176         PILGRIMS-0010317194         19
 Emails/Attachments   PILGRIMS-0010317196         PILGRIMS-0010317207         10
 Emails/Attachments   PILGRIMS-0010317209         PILGRIMS-0010317214          6
 Emails/Attachments   PILGRIMS-0010317218         PILGRIMS-0010317254         24
 Emails/Attachments   PILGRIMS-0010317257         PILGRIMS-0010317278         19
 Emails/Attachments   PILGRIMS-0010317282         PILGRIMS-0010317294          9
 Emails/Attachments   PILGRIMS-0010317296         PILGRIMS-0010317305          8
 Emails/Attachments   PILGRIMS-0010317308         PILGRIMS-0010317309          2
 Emails/Attachments   PILGRIMS-0010317312         PILGRIMS-0010317350         31
 Emails/Attachments   PILGRIMS-0010317352         PILGRIMS-0010317405         34
 Emails/Attachments   PILGRIMS-0010317407         PILGRIMS-0010317410          2
 Emails/Attachments   PILGRIMS-0010317412         PILGRIMS-0010317517         61
 Emails/Attachments   PILGRIMS-0010317519         PILGRIMS-0010317551         22
 Emails/Attachments   PILGRIMS-0010317553         PILGRIMS-0010317594         34
 Emails/Attachments   PILGRIMS-0010317596         PILGRIMS-0010317621         22
 Emails/Attachments   PILGRIMS-0010317623         PILGRIMS-0010317628          4
 Emails/Attachments   PILGRIMS-0010317630         PILGRIMS-0010317635          6
 Emails/Attachments   PILGRIMS-0010317637         PILGRIMS-0010317644          6
 Emails/Attachments   PILGRIMS-0010317646         PILGRIMS-0010317690         31
 Emails/Attachments   PILGRIMS-0010317692         PILGRIMS-0010317781         43
 Emails/Attachments   PILGRIMS-0010317789         PILGRIMS-0010317847         26
 Emails/Attachments   PILGRIMS-0010317849         PILGRIMS-0010317968         33
 Emails/Attachments   PILGRIMS-0010317970         PILGRIMS-0010317974          4
 Emails/Attachments   PILGRIMS-0010317976         PILGRIMS-0010319132         715
 Emails/Attachments   PILGRIMS-0010319136         PILGRIMS-0010320241         550
 Emails/Attachments   PILGRIMS-0010320243         PILGRIMS-0010320541         166
 Emails/Attachments   PILGRIMS-0010320543         PILGRIMS-0010320813         96
 Emails/Attachments   PILGRIMS-0010320816         PILGRIMS-0010320846         20
 Emails/Attachments   PILGRIMS-0010320848         PILGRIMS-0010320884         19


                                    Page 277 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 301 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010321052         PILGRIMS-0010321052          1
 Emails/Attachments   PILGRIMS-0010321071         PILGRIMS-0010321071          1
 Emails/Attachments   PILGRIMS-0010321131         PILGRIMS-0010321135          5
 Emails/Attachments   PILGRIMS-0010321137         PILGRIMS-0010321140          4
 Emails/Attachments   PILGRIMS-0010321142         PILGRIMS-0010321184         43
 Emails/Attachments   PILGRIMS-0010321186         PILGRIMS-0010321329         87
 Emails/Attachments   PILGRIMS-0010321331         PILGRIMS-0010321395         39
 Emails/Attachments   PILGRIMS-0010321397         PILGRIMS-0010321459         42
 Emails/Attachments   PILGRIMS-0010321461         PILGRIMS-0010321545         62
 Emails/Attachments   PILGRIMS-0010321547         PILGRIMS-0010321609         60
 Emails/Attachments   PILGRIMS-0010321611         PILGRIMS-0010321679         66
 Emails/Attachments   PILGRIMS-0010321681         PILGRIMS-0010321716         21
 Emails/Attachments   PILGRIMS-0010321718         PILGRIMS-0010321888         123
 Emails/Attachments   PILGRIMS-0010321890         PILGRIMS-0010321985         90
 Emails/Attachments   PILGRIMS-0010321987         PILGRIMS-0010322084         50
 Emails/Attachments   PILGRIMS-0010322086         PILGRIMS-0010322144         59
 Emails/Attachments   PILGRIMS-0010322146         PILGRIMS-0010322187         42
 Emails/Attachments   PILGRIMS-0010322189         PILGRIMS-0010322241         41
 Emails/Attachments   PILGRIMS-0010322243         PILGRIMS-0010322273         31
 Emails/Attachments   PILGRIMS-0010322275         PILGRIMS-0010322353         74
 Emails/Attachments   PILGRIMS-0010322355         PILGRIMS-0010322389         35
 Emails/Attachments   PILGRIMS-0010322391         PILGRIMS-0010322418         28
 Emails/Attachments   PILGRIMS-0010322420         PILGRIMS-0010322454         35
 Emails/Attachments   PILGRIMS-0010322456         PILGRIMS-0010322476         21
 Emails/Attachments   PILGRIMS-0010322478         PILGRIMS-0010322494         17
 Emails/Attachments   PILGRIMS-0010322496         PILGRIMS-0010322568         73
 Emails/Attachments   PILGRIMS-0010322571         PILGRIMS-0010322669         84
 Emails/Attachments   PILGRIMS-0010322671         PILGRIMS-0010322726         56
 Emails/Attachments   PILGRIMS-0010322728         PILGRIMS-0010322762         35
 Emails/Attachments   PILGRIMS-0010322764         PILGRIMS-0010322829         66
 Emails/Attachments   PILGRIMS-0010322831         PILGRIMS-0010322891         49
 Emails/Attachments   PILGRIMS-0010322893         PILGRIMS-0010322976         54
 Emails/Attachments   PILGRIMS-0010322978         PILGRIMS-0010323105         92
 Emails/Attachments   PILGRIMS-0010323107         PILGRIMS-0010323230         94
 Emails/Attachments   PILGRIMS-0010323232         PILGRIMS-0010323259         28
 Emails/Attachments   PILGRIMS-0010323261         PILGRIMS-0010323293         33
 Emails/Attachments   PILGRIMS-0010323296         PILGRIMS-0010323348         22
 Emails/Attachments   PILGRIMS-0010323350         PILGRIMS-0010323390         36
 Emails/Attachments   PILGRIMS-0010323392         PILGRIMS-0010323414         23
 Emails/Attachments   PILGRIMS-0010323416         PILGRIMS-0010323418          3
 Emails/Attachments   PILGRIMS-0010323420         PILGRIMS-0010323423          3
 Emails/Attachments   PILGRIMS-0010323425         PILGRIMS-0010323428          4
 Emails/Attachments   PILGRIMS-0010323430         PILGRIMS-0010323449         17
 Emails/Attachments   PILGRIMS-0010323451         PILGRIMS-0010323463         13
 Emails/Attachments   PILGRIMS-0010323465         PILGRIMS-0010323466          2
 Emails/Attachments   PILGRIMS-0010323468         PILGRIMS-0010323490         23


                                    Page 278 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 302 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010323492         PILGRIMS-0010323507         15
 Emails/Attachments   PILGRIMS-0010323509         PILGRIMS-0010323530         22
 Emails/Attachments   PILGRIMS-0010323532         PILGRIMS-0010323574         40
 Emails/Attachments   PILGRIMS-0010323576         PILGRIMS-0010323589         14
 Emails/Attachments   PILGRIMS-0010323591         PILGRIMS-0010323603         13
 Emails/Attachments   PILGRIMS-0010323605         PILGRIMS-0010323618         14
 Emails/Attachments   PILGRIMS-0010323620         PILGRIMS-0010323637         18
 Emails/Attachments   PILGRIMS-0010323639         PILGRIMS-0010323674         34
 Emails/Attachments   PILGRIMS-0010323676         PILGRIMS-0010323717         36
 Emails/Attachments   PILGRIMS-0010323719         PILGRIMS-0010323720          2
 Emails/Attachments   PILGRIMS-0010323722         PILGRIMS-0010323733         12
 Emails/Attachments   PILGRIMS-0010323735         PILGRIMS-0010323763         28
 Emails/Attachments   PILGRIMS-0010323765         PILGRIMS-0010323782         17
 Emails/Attachments   PILGRIMS-0010323784         PILGRIMS-0010323812         22
 Emails/Attachments   PILGRIMS-0010323814         PILGRIMS-0010323856         37
 Emails/Attachments   PILGRIMS-0010323858         PILGRIMS-0010323885         19
 Emails/Attachments   PILGRIMS-0010323887         PILGRIMS-0010323888          2
 Emails/Attachments   PILGRIMS-0010323890         PILGRIMS-0010323893          4
 Emails/Attachments   PILGRIMS-0010323895         PILGRIMS-0010323898          4
 Emails/Attachments   PILGRIMS-0010323900         PILGRIMS-0010323903          3
 Emails/Attachments   PILGRIMS-0010323905         PILGRIMS-0010323911          7
 Emails/Attachments   PILGRIMS-0010323913         PILGRIMS-0010323923         10
 Emails/Attachments   PILGRIMS-0010323925         PILGRIMS-0010323939         13
 Emails/Attachments   PILGRIMS-0010323941         PILGRIMS-0010323960         15
 Emails/Attachments   PILGRIMS-0010323962         PILGRIMS-0010323968          7
 Emails/Attachments   PILGRIMS-0010323970         PILGRIMS-0010323973          4
 Emails/Attachments   PILGRIMS-0010323975         PILGRIMS-0010323999         25
 Emails/Attachments   PILGRIMS-0010324001         PILGRIMS-0010324030         29
 Emails/Attachments   PILGRIMS-0010324032         PILGRIMS-0010324039          8
 Emails/Attachments   PILGRIMS-0010324041         PILGRIMS-0010324042          2
 Emails/Attachments   PILGRIMS-0010324044         PILGRIMS-0010324051          8
 Emails/Attachments   PILGRIMS-0010324053         PILGRIMS-0010324056          4
 Emails/Attachments   PILGRIMS-0010324058         PILGRIMS-0010324075         17
 Emails/Attachments   PILGRIMS-0010324077         PILGRIMS-0010324093         16
 Emails/Attachments   PILGRIMS-0010324095         PILGRIMS-0010324146         34
 Emails/Attachments   PILGRIMS-0010324148         PILGRIMS-0010324156          9
 Emails/Attachments   PILGRIMS-0010324158         PILGRIMS-0010324165          8
 Emails/Attachments   PILGRIMS-0010324168         PILGRIMS-0010324189         22
 Emails/Attachments   PILGRIMS-0010324191         PILGRIMS-0010324194          4
 Emails/Attachments   PILGRIMS-0010324196         PILGRIMS-0010324203          8
 Emails/Attachments   PILGRIMS-0010324205         PILGRIMS-0010324215         11
 Emails/Attachments   PILGRIMS-0010324218         PILGRIMS-0010324227         10
 Emails/Attachments   PILGRIMS-0010324229         PILGRIMS-0010324232          4
 Emails/Attachments   PILGRIMS-0010324236         PILGRIMS-0010324256         21
 Emails/Attachments   PILGRIMS-0010324258         PILGRIMS-0010324273         16
 Emails/Attachments   PILGRIMS-0010324275         PILGRIMS-0010324293         18


                                    Page 279 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 303 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010324295         PILGRIMS-0010324305         11
 Emails/Attachments   PILGRIMS-0010324307         PILGRIMS-0010324310          4
 Emails/Attachments   PILGRIMS-0010324312         PILGRIMS-0010324325         14
 Emails/Attachments   PILGRIMS-0010324327         PILGRIMS-0010324328          2
 Emails/Attachments   PILGRIMS-0010324330         PILGRIMS-0010324331          2
 Emails/Attachments   PILGRIMS-0010324333         PILGRIMS-0010324336          4
 Emails/Attachments   PILGRIMS-0010324338         PILGRIMS-0010324349         12
 Emails/Attachments   PILGRIMS-0010324351         PILGRIMS-0010324359          9
 Emails/Attachments   PILGRIMS-0010324361         PILGRIMS-0010324362          2
 Emails/Attachments   PILGRIMS-0010324364         PILGRIMS-0010324368          4
 Emails/Attachments   PILGRIMS-0010324370         PILGRIMS-0010324375          6
 Emails/Attachments   PILGRIMS-0010324378         PILGRIMS-0010324462         15
 Emails/Attachments   PILGRIMS-0010324464         PILGRIMS-0010324513         15
 Emails/Attachments   PILGRIMS-0010324515         PILGRIMS-0010324531         17
 Emails/Attachments   PILGRIMS-0010324533         PILGRIMS-0010324538          6
 Emails/Attachments   PILGRIMS-0010324540         PILGRIMS-0010324545          6
 Emails/Attachments   PILGRIMS-0010324547         PILGRIMS-0010324558         10
 Emails/Attachments   PILGRIMS-0010324560         PILGRIMS-0010324563          4
 Emails/Attachments   PILGRIMS-0010324565         PILGRIMS-0010324578         14
 Emails/Attachments   PILGRIMS-0010324580         PILGRIMS-0010324585          6
 Emails/Attachments   PILGRIMS-0010324587         PILGRIMS-0010324590          4
 Emails/Attachments   PILGRIMS-0010324592         PILGRIMS-0010324595          4
 Emails/Attachments   PILGRIMS-0010324597         PILGRIMS-0010324600          4
 Emails/Attachments   PILGRIMS-0010324602         PILGRIMS-0010324609          8
 Emails/Attachments   PILGRIMS-0010324611         PILGRIMS-0010324630         20
 Emails/Attachments   PILGRIMS-0010324632         PILGRIMS-0010324654          5
 Emails/Attachments   PILGRIMS-0010324656         PILGRIMS-0010324659          4
 Emails/Attachments   PILGRIMS-0010324661         PILGRIMS-0010324721         12
 Emails/Attachments   PILGRIMS-0010324723         PILGRIMS-0010324724          2
 Emails/Attachments   PILGRIMS-0010324727         PILGRIMS-0010324728          2
 Emails/Attachments   PILGRIMS-0010324730         PILGRIMS-0010324733          3
 Emails/Attachments   PILGRIMS-0010324735         PILGRIMS-0010324743          8
 Emails/Attachments   PILGRIMS-0010324745         PILGRIMS-0010324758         14
 Emails/Attachments   PILGRIMS-0010324760         PILGRIMS-0010324763          4
 Emails/Attachments   PILGRIMS-0010324765         PILGRIMS-0010324768          4
 Emails/Attachments   PILGRIMS-0010324770         PILGRIMS-0010324777          8
 Emails/Attachments   PILGRIMS-0010324779         PILGRIMS-0010324784          6
 Emails/Attachments   PILGRIMS-0010324786         PILGRIMS-0010324791          6
 Emails/Attachments   PILGRIMS-0010324793         PILGRIMS-0010324804         12
 Emails/Attachments   PILGRIMS-0010324806         PILGRIMS-0010324809          4
 Emails/Attachments   PILGRIMS-0010324811         PILGRIMS-0010324814          4
 Emails/Attachments   PILGRIMS-0010324816         PILGRIMS-0010324829         11
 Emails/Attachments   PILGRIMS-0010324831         PILGRIMS-0010324834          4
 Emails/Attachments   PILGRIMS-0010324836         PILGRIMS-0010324837          2
 Emails/Attachments   PILGRIMS-0010324839         PILGRIMS-0010324844          6
 Emails/Attachments   PILGRIMS-0010324846         PILGRIMS-0010324875          8


                                    Page 280 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 304 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010324877         PILGRIMS-0010325020          8
 Emails/Attachments   PILGRIMS-0010325022         PILGRIMS-0010325029          8
 Emails/Attachments   PILGRIMS-0010325031         PILGRIMS-0010325034          4
 Emails/Attachments   PILGRIMS-0010325036         PILGRIMS-0010325049         14
 Emails/Attachments   PILGRIMS-0010325051         PILGRIMS-0010325078         25
 Emails/Attachments   PILGRIMS-0010325080         PILGRIMS-0010325085          6
 Emails/Attachments   PILGRIMS-0010325087         PILGRIMS-0010325090          4
 Emails/Attachments   PILGRIMS-0010325092         PILGRIMS-0010325107         15
 Emails/Attachments   PILGRIMS-0010325109         PILGRIMS-0010325114          6
 Emails/Attachments   PILGRIMS-0010325116         PILGRIMS-0010325125         10
 Emails/Attachments   PILGRIMS-0010325127         PILGRIMS-0010325132          6
 Emails/Attachments   PILGRIMS-0010325134         PILGRIMS-0010325135          2
 Emails/Attachments   PILGRIMS-0010325137         PILGRIMS-0010325144          5
 Emails/Attachments   PILGRIMS-0010325147         PILGRIMS-0010325161         14
 Emails/Attachments   PILGRIMS-0010325163         PILGRIMS-0010325168          6
 Emails/Attachments   PILGRIMS-0010325170         PILGRIMS-0010325181         12
 Emails/Attachments   PILGRIMS-0010325183         PILGRIMS-0010325186          4
 Emails/Attachments   PILGRIMS-0010325188         PILGRIMS-0010325191          4
 Emails/Attachments   PILGRIMS-0010325193         PILGRIMS-0010325205         13
 Emails/Attachments   PILGRIMS-0010325207         PILGRIMS-0010325210          4
 Emails/Attachments   PILGRIMS-0010325212         PILGRIMS-0010325235         22
 Emails/Attachments   PILGRIMS-0010325237         PILGRIMS-0010325240          4
 Emails/Attachments   PILGRIMS-0010325242         PILGRIMS-0010325393         28
 Emails/Attachments   PILGRIMS-0010325395         PILGRIMS-0010325396          2
 Emails/Attachments   PILGRIMS-0010325398         PILGRIMS-0010325403          6
 Emails/Attachments   PILGRIMS-0010325405         PILGRIMS-0010325413          9
 Emails/Attachments   PILGRIMS-0010325415         PILGRIMS-0010325424         10
 Emails/Attachments   PILGRIMS-0010325426         PILGRIMS-0010325431          6
 Emails/Attachments   PILGRIMS-0010325433         PILGRIMS-0010325436          4
 Emails/Attachments   PILGRIMS-0010325438         PILGRIMS-0010325445          8
 Emails/Attachments   PILGRIMS-0010325447         PILGRIMS-0010325453          6
 Emails/Attachments   PILGRIMS-0010325455         PILGRIMS-0010325466         12
 Emails/Attachments   PILGRIMS-0010325468         PILGRIMS-0010325471          4
 Emails/Attachments   PILGRIMS-0010325473         PILGRIMS-0010325482         10
 Emails/Attachments   PILGRIMS-0010325485         PILGRIMS-0010325493          8
 Emails/Attachments   PILGRIMS-0010325495         PILGRIMS-0010325550         10
 Emails/Attachments   PILGRIMS-0010325552         PILGRIMS-0010325561         10
 Emails/Attachments   PILGRIMS-0010325588         PILGRIMS-0010325595          8
 Emails/Attachments   PILGRIMS-0010325597         PILGRIMS-0010325598          2
 Emails/Attachments   PILGRIMS-0010325600         PILGRIMS-0010325617          6
 Emails/Attachments   PILGRIMS-0010325619         PILGRIMS-0010325622          4
 Emails/Attachments   PILGRIMS-0010325624         PILGRIMS-0010325627          4
 Emails/Attachments   PILGRIMS-0010325629         PILGRIMS-0010325632          4
 Emails/Attachments   PILGRIMS-0010325634         PILGRIMS-0010325637          4
 Emails/Attachments   PILGRIMS-0010325639         PILGRIMS-0010325654         16
 Emails/Attachments   PILGRIMS-0010325656         PILGRIMS-0010325672         16


                                    Page 281 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 305 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010325674         PILGRIMS-0010325683         10
 Emails/Attachments   PILGRIMS-0010325686         PILGRIMS-0010325691          6
 Emails/Attachments   PILGRIMS-0010325693         PILGRIMS-0010325702         10
 Emails/Attachments   PILGRIMS-0010325704         PILGRIMS-0010325711          8
 Emails/Attachments   PILGRIMS-0010325713         PILGRIMS-0010325726         14
 Emails/Attachments   PILGRIMS-0010325728         PILGRIMS-0010325746          5
 Emails/Attachments   PILGRIMS-0010325748         PILGRIMS-0010325754          6
 Emails/Attachments   PILGRIMS-0010325756         PILGRIMS-0010325759          4
 Emails/Attachments   PILGRIMS-0010325761         PILGRIMS-0010325787         12
 Emails/Attachments   PILGRIMS-0010325789         PILGRIMS-0010325815         27
 Emails/Attachments   PILGRIMS-0010325817         PILGRIMS-0010325845         12
 Emails/Attachments   PILGRIMS-0010325847         PILGRIMS-0010325855          9
 Emails/Attachments   PILGRIMS-0010325857         PILGRIMS-0010325862          6
 Emails/Attachments   PILGRIMS-0010325864         PILGRIMS-0010326012          9
 Emails/Attachments   PILGRIMS-0010326014         PILGRIMS-0010326052         17
 Emails/Attachments   PILGRIMS-0010326054         PILGRIMS-0010326112         21
 Emails/Attachments   PILGRIMS-0010326114         PILGRIMS-0010326117          4
 Emails/Attachments   PILGRIMS-0010326119         PILGRIMS-0010326132          9
 Emails/Attachments   PILGRIMS-0010326134         PILGRIMS-0010326137          4
 Emails/Attachments   PILGRIMS-0010326139         PILGRIMS-0010326144          6
 Emails/Attachments   PILGRIMS-0010326146         PILGRIMS-0010326149          4
 Emails/Attachments   PILGRIMS-0010326151         PILGRIMS-0010326156          6
 Emails/Attachments   PILGRIMS-0010326158         PILGRIMS-0010326159          2
 Emails/Attachments   PILGRIMS-0010326161         PILGRIMS-0010326164          4
 Emails/Attachments   PILGRIMS-0010326166         PILGRIMS-0010326169          4
 Emails/Attachments   PILGRIMS-0010326171         PILGRIMS-0010326174          4
 Emails/Attachments   PILGRIMS-0010326176         PILGRIMS-0010326181          6
 Emails/Attachments   PILGRIMS-0010326183         PILGRIMS-0010326186          4
 Emails/Attachments   PILGRIMS-0010326188         PILGRIMS-0010326191          4
 Emails/Attachments   PILGRIMS-0010326193         PILGRIMS-0010326198          5
 Emails/Attachments   PILGRIMS-0010326200         PILGRIMS-0010326217          8
 Emails/Attachments   PILGRIMS-0010326219         PILGRIMS-0010326268         13
 Emails/Attachments   PILGRIMS-0010326270         PILGRIMS-0010326277          8
 Emails/Attachments   PILGRIMS-0010326279         PILGRIMS-0010326288          8
 Emails/Attachments   PILGRIMS-0010326290         PILGRIMS-0010326313         11
 Emails/Attachments   PILGRIMS-0010326315         PILGRIMS-0010326328         13
 Emails/Attachments   PILGRIMS-0010326330         PILGRIMS-0010326343         13
 Emails/Attachments   PILGRIMS-0010326345         PILGRIMS-0010326348          4
 Emails/Attachments   PILGRIMS-0010326350         PILGRIMS-0010326365         15
 Emails/Attachments   PILGRIMS-0010326367         PILGRIMS-0010326376         10
 Emails/Attachments   PILGRIMS-0010326378         PILGRIMS-0010326398         21
 Emails/Attachments   PILGRIMS-0010326400         PILGRIMS-0010326416         16
 Emails/Attachments   PILGRIMS-0010326419         PILGRIMS-0010326428         10
 Emails/Attachments   PILGRIMS-0010326430         PILGRIMS-0010326497         32
 Emails/Attachments   PILGRIMS-0010326499         PILGRIMS-0010326552         37
 Emails/Attachments   PILGRIMS-0010326554         PILGRIMS-0010326589         35


                                    Page 282 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 306 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010326591         PILGRIMS-0010326596          6
 Emails/Attachments   PILGRIMS-0010326598         PILGRIMS-0010326693         31
 Emails/Attachments   PILGRIMS-0010326695         PILGRIMS-0010326783         16
 Emails/Attachments   PILGRIMS-0010326785         PILGRIMS-0010326856          8
 Emails/Attachments   PILGRIMS-0010326858         PILGRIMS-0010326861          4
 Emails/Attachments   PILGRIMS-0010326863         PILGRIMS-0010326866          4
 Emails/Attachments   PILGRIMS-0010326868         PILGRIMS-0010326871          4
 Emails/Attachments   PILGRIMS-0010326873         PILGRIMS-0010326880          8
 Emails/Attachments   PILGRIMS-0010326883         PILGRIMS-0010326906         17
 Emails/Attachments   PILGRIMS-0010326908         PILGRIMS-0010326917          9
 Emails/Attachments   PILGRIMS-0010326919         PILGRIMS-0010326922          4
 Emails/Attachments   PILGRIMS-0010326924         PILGRIMS-0010326925          2
 Emails/Attachments   PILGRIMS-0010326927         PILGRIMS-0010326928          2
 Emails/Attachments   PILGRIMS-0010326930         PILGRIMS-0010326944         15
 Emails/Attachments   PILGRIMS-0010326946         PILGRIMS-0010326949          4
 Emails/Attachments   PILGRIMS-0010326951         PILGRIMS-0010327028         14
 Emails/Attachments   PILGRIMS-0010327030         PILGRIMS-0010327035          6
 Emails/Attachments   PILGRIMS-0010327037         PILGRIMS-0010327053         17
 Emails/Attachments   PILGRIMS-0010327055         PILGRIMS-0010327072         18
 Emails/Attachments   PILGRIMS-0010327074         PILGRIMS-0010328512         17
 Emails/Attachments   PILGRIMS-0010328514         PILGRIMS-0010328515          2
 Emails/Attachments   PILGRIMS-0010328517         PILGRIMS-0010328520          4
 Emails/Attachments   PILGRIMS-0010328522         PILGRIMS-0010328525          4
 Emails/Attachments   PILGRIMS-0010328527         PILGRIMS-0010328530          4
 Emails/Attachments   PILGRIMS-0010328532         PILGRIMS-0010328673         33
 Emails/Attachments   PILGRIMS-0010328675         PILGRIMS-0010328692         12
 Emails/Attachments   PILGRIMS-0010328694         PILGRIMS-0010328703         10
 Emails/Attachments   PILGRIMS-0010328705         PILGRIMS-0010328744         25
 Emails/Attachments   PILGRIMS-0010328746         PILGRIMS-0010328754          8
 Emails/Attachments   PILGRIMS-0010328756         PILGRIMS-0010328769          8
 Emails/Attachments   PILGRIMS-0010328771         PILGRIMS-0010328812         23
 Emails/Attachments   PILGRIMS-0010328814         PILGRIMS-0010328826         10
 Emails/Attachments   PILGRIMS-0010328828         PILGRIMS-0010328833          6
 Emails/Attachments   PILGRIMS-0010328835         PILGRIMS-0010328842          8
 Emails/Attachments   PILGRIMS-0010328844         PILGRIMS-0010328847          4
 Emails/Attachments   PILGRIMS-0010328849         PILGRIMS-0010328872         12
 Emails/Attachments   PILGRIMS-0010328874         PILGRIMS-0010328890          8
 Emails/Attachments   PILGRIMS-0010328892         PILGRIMS-0010328895          4
 Emails/Attachments   PILGRIMS-0010328897         PILGRIMS-0010328907         10
 Emails/Attachments   PILGRIMS-0010328909         PILGRIMS-0010328912          4
 Emails/Attachments   PILGRIMS-0010328914         PILGRIMS-0010328937         13
 Emails/Attachments   PILGRIMS-0010328939         PILGRIMS-0010329020         32
 Emails/Attachments   PILGRIMS-0010329022         PILGRIMS-0010329025          4
 Emails/Attachments   PILGRIMS-0010329027         PILGRIMS-0010329028          2
 Emails/Attachments   PILGRIMS-0010329030         PILGRIMS-0010329038          9
 Emails/Attachments   PILGRIMS-0010329040         PILGRIMS-0010329049          9


                                    Page 283 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 307 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010329051         PILGRIMS-0010329054           4
 Emails/Attachments   PILGRIMS-0010329056         PILGRIMS-0010329059           4
 Emails/Attachments   PILGRIMS-0010329061         PILGRIMS-0010329095          30
 Emails/Attachments   PILGRIMS-0010329097         PILGRIMS-0010329100           4
 Emails/Attachments   PILGRIMS-0010329102         PILGRIMS-0010332028        1,573
 Emails/Attachments   PILGRIMS-0010332087         PILGRIMS-0010332087           1
 Emails/Attachments   PILGRIMS-0010332155         PILGRIMS-0010333123         862
 Emails/Attachments   PILGRIMS-0010333150         PILGRIMS-0010333154           5
 Emails/Attachments   PILGRIMS-0010333185         PILGRIMS-0010333186           2
 Emails/Attachments   PILGRIMS-0010333189         PILGRIMS-0010333193           5
 Emails/Attachments   PILGRIMS-0010333196         PILGRIMS-0010333219           5
 Emails/Attachments   PILGRIMS-0010333222         PILGRIMS-0010333223           2
 Emails/Attachments   PILGRIMS-0010333226         PILGRIMS-0010333228           3
 Emails/Attachments   PILGRIMS-0010333250         PILGRIMS-0010333251           2
 Emails/Attachments   PILGRIMS-0010333269         PILGRIMS-0010333271           3
 Emails/Attachments   PILGRIMS-0010333293         PILGRIMS-0010333294           2
 Emails/Attachments   PILGRIMS-0010333297         PILGRIMS-0010333299           3
 Emails/Attachments   PILGRIMS-0010333319         PILGRIMS-0010333322           4
 Emails/Attachments   PILGRIMS-0010333348         PILGRIMS-0010333352           5
 Emails/Attachments   PILGRIMS-0010333368         PILGRIMS-0010333393          11
 Emails/Attachments   PILGRIMS-0010333413         PILGRIMS-0010334336         339
 Emails/Attachments   PILGRIMS-0010334339         PILGRIMS-0010334430          48
 Emails/Attachments   PILGRIMS-0010334435         PILGRIMS-0010334501          19
 Emails/Attachments   PILGRIMS-0010334504         PILGRIMS-0010334564          21
 Emails/Attachments   PILGRIMS-0010334584         PILGRIMS-0010334586           1
 Emails/Attachments   PILGRIMS-0010334589         PILGRIMS-0010335741         448
 Emails/Attachments   PILGRIMS-0010335748         PILGRIMS-0010335845          36
 Emails/Attachments   PILGRIMS-0010335848         PILGRIMS-0010335902          11
 Emails/Attachments   PILGRIMS-0010335911         PILGRIMS-0010335950          22
 Emails/Attachments   PILGRIMS-0010335955         PILGRIMS-0010335976          15
 Emails/Attachments   PILGRIMS-0010335980         PILGRIMS-0010336085          47
 Emails/Attachments   PILGRIMS-0010336111         PILGRIMS-0010336148          17
 Emails/Attachments   PILGRIMS-0010336151         PILGRIMS-0010336162           9
 Emails/Attachments   PILGRIMS-0010336166         PILGRIMS-0010336188          15
 Emails/Attachments   PILGRIMS-0010336191         PILGRIMS-0010336245          23
 Emails/Attachments   PILGRIMS-0010336248         PILGRIMS-0010338387        1,157
 Emails/Attachments   PILGRIMS-0010338391         PILGRIMS-0010338393           2
 Emails/Attachments   PILGRIMS-0010338398         PILGRIMS-0010338399           2
 Emails/Attachments   PILGRIMS-0010338402         PILGRIMS-0010338408           6
 Emails/Attachments   PILGRIMS-0010338420         PILGRIMS-0010338422           2
 Emails/Attachments   PILGRIMS-0010338425         PILGRIMS-0010338430           3
 Emails/Attachments   PILGRIMS-0010338444         PILGRIMS-0010338445           2
 Emails/Attachments   PILGRIMS-0010338451         PILGRIMS-0010338462           8
 Emails/Attachments   PILGRIMS-0010338467         PILGRIMS-0010338655          45
 Emails/Attachments   PILGRIMS-0010338974         PILGRIMS-0010338976           1
 Emails/Attachments   PILGRIMS-0010338997         PILGRIMS-0010339002           5


                                    Page 284 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 308 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010339012         PILGRIMS-0010339012          1
 Emails/Attachments   PILGRIMS-0010339056         PILGRIMS-0010339059          4
 Emails/Attachments   PILGRIMS-0010339061         PILGRIMS-0010339062          2
 Emails/Attachments   PILGRIMS-0010339064         PILGRIMS-0010339152         36
 Emails/Attachments   PILGRIMS-0010339156         PILGRIMS-0010339178          6
 Emails/Attachments   PILGRIMS-0010339183         PILGRIMS-0010339234         12
 Emails/Attachments   PILGRIMS-0010339237         PILGRIMS-0010339405         90
 Emails/Attachments   PILGRIMS-0010339410         PILGRIMS-0010339411          2
 Emails/Attachments   PILGRIMS-0010339414         PILGRIMS-0010339462         12
 Emails/Attachments   PILGRIMS-0010339465         PILGRIMS-0010339470          3
 Emails/Attachments   PILGRIMS-0010339474         PILGRIMS-0010339476          1
 Emails/Attachments   PILGRIMS-0010339480         PILGRIMS-0010339482          1
 Emails/Attachments   PILGRIMS-0010339485         PILGRIMS-0010339485          1
 Emails/Attachments   PILGRIMS-0010339487         PILGRIMS-0010339487          1
 Emails/Attachments   PILGRIMS-0010339490         PILGRIMS-0010339493          2
 Emails/Attachments   PILGRIMS-0010339496         PILGRIMS-0010339497          1
 Emails/Attachments   PILGRIMS-0010339500         PILGRIMS-0010339501          1
 Emails/Attachments   PILGRIMS-0010339504         PILGRIMS-0010339505          1
 Emails/Attachments   PILGRIMS-0010339510         PILGRIMS-0010339513          2
 Emails/Attachments   PILGRIMS-0010339516         PILGRIMS-0010339517          1
 Emails/Attachments   PILGRIMS-0010339522         PILGRIMS-0010339548          7
 Emails/Attachments   PILGRIMS-0010339552         PILGRIMS-0010339554          1
 Emails/Attachments   PILGRIMS-0010339556         PILGRIMS-0010339556          1
 Emails/Attachments   PILGRIMS-0010339560         PILGRIMS-0010339561          1
 Emails/Attachments   PILGRIMS-0010339564         PILGRIMS-0010339565          1
 Emails/Attachments   PILGRIMS-0010339567         PILGRIMS-0010339570          4
 Emails/Attachments   PILGRIMS-0010339574         PILGRIMS-0010339588          5
 Emails/Attachments   PILGRIMS-0010339590         PILGRIMS-0010339678         19
 Emails/Attachments   PILGRIMS-0010339685         PILGRIMS-0010339690          1
 Emails/Attachments   PILGRIMS-0010339695         PILGRIMS-0010339698          1
 Emails/Attachments   PILGRIMS-0010339700         PILGRIMS-0010339721         15
 Emails/Attachments   PILGRIMS-0010339725         PILGRIMS-0010339731          4
 Emails/Attachments   PILGRIMS-0010339734         PILGRIMS-0010339737          2
 Emails/Attachments   PILGRIMS-0010339740         PILGRIMS-0010339743          2
 Emails/Attachments   PILGRIMS-0010339746         PILGRIMS-0010339757          6
 Emails/Attachments   PILGRIMS-0010339761         PILGRIMS-0010339777          6
 Emails/Attachments   PILGRIMS-0010339781         PILGRIMS-0010339793          6
 Emails/Attachments   PILGRIMS-0010339797         PILGRIMS-0010339805          4
 Emails/Attachments   PILGRIMS-0010339809         PILGRIMS-0010339821          4
 Emails/Attachments   PILGRIMS-0010339824         PILGRIMS-0010339825          2
 Emails/Attachments   PILGRIMS-0010339831         PILGRIMS-0010339891         17
 Emails/Attachments   PILGRIMS-0010339897         PILGRIMS-0010339901          1
 Emails/Attachments   PILGRIMS-0010339909         PILGRIMS-0010339912          4
 Emails/Attachments   PILGRIMS-0010339915         PILGRIMS-0010339916          1
 Emails/Attachments   PILGRIMS-0010339922         PILGRIMS-0010339930          4
 Emails/Attachments   PILGRIMS-0010339935         PILGRIMS-0010339938          1


                                    Page 285 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 309 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010339942         PILGRIMS-0010339946          2
 Emails/Attachments   PILGRIMS-0010339951         PILGRIMS-0010339952          1
 Emails/Attachments   PILGRIMS-0010339956         PILGRIMS-0010339971          8
 Emails/Attachments   PILGRIMS-0010339974         PILGRIMS-0010339999         12
 Emails/Attachments   PILGRIMS-0010340003         PILGRIMS-0010340011          3
 Emails/Attachments   PILGRIMS-0010340015         PILGRIMS-0010340017          1
 Emails/Attachments   PILGRIMS-0010340022         PILGRIMS-0010340025          4
 Emails/Attachments   PILGRIMS-0010340028         PILGRIMS-0010340029          1
 Emails/Attachments   PILGRIMS-0010340068         PILGRIMS-0010340069          2
 Emails/Attachments   PILGRIMS-0010340191         PILGRIMS-0010340445         227
 Emails/Attachments   PILGRIMS-0010340447         PILGRIMS-0010340820         320
 Emails/Attachments   PILGRIMS-0010340822         PILGRIMS-0010340911         78
 Emails/Attachments   PILGRIMS-0010340917         PILGRIMS-0010341035         75
 Emails/Attachments   PILGRIMS-0010341037         PILGRIMS-0010341053         16
 Emails/Attachments   PILGRIMS-0010341055         PILGRIMS-0010341091         26
 Emails/Attachments   PILGRIMS-0010341093         PILGRIMS-0010341489         319
 Emails/Attachments   PILGRIMS-0010341491         PILGRIMS-0010342182         594
 Emails/Attachments   PILGRIMS-0010342198         PILGRIMS-0010342237         38
 Emails/Attachments   PILGRIMS-0010342241         PILGRIMS-0010342628         261
 Emails/Attachments   PILGRIMS-0010342633         PILGRIMS-0010342647         15
 Emails/Attachments   PILGRIMS-0010342650         PILGRIMS-0010342764         91
 Emails/Attachments   PILGRIMS-0010342766         PILGRIMS-0010342773          7
 Emails/Attachments   PILGRIMS-0010342777         PILGRIMS-0010342797         19
 Emails/Attachments   PILGRIMS-0010342800         PILGRIMS-0010342803          4
 Emails/Attachments   PILGRIMS-0010342806         PILGRIMS-0010342859         30
 Emails/Attachments   PILGRIMS-0010342863         PILGRIMS-0010342872         10
 Emails/Attachments   PILGRIMS-0010342874         PILGRIMS-0010342875          2
 Emails/Attachments   PILGRIMS-0010342877         PILGRIMS-0010342891         15
 Emails/Attachments   PILGRIMS-0010342894         PILGRIMS-0010342900          7
 Emails/Attachments   PILGRIMS-0010342904         PILGRIMS-0010342915         12
 Emails/Attachments   PILGRIMS-0010342917         PILGRIMS-0010342926          9
 Emails/Attachments   PILGRIMS-0010342929         PILGRIMS-0010342942         13
 Emails/Attachments   PILGRIMS-0010342944         PILGRIMS-0010342957         14
 Emails/Attachments   PILGRIMS-0010342961         PILGRIMS-0010342963          3
 Emails/Attachments   PILGRIMS-0010342966         PILGRIMS-0010342982         16
 Emails/Attachments   PILGRIMS-0010342984         PILGRIMS-0010342986          3
 Emails/Attachments   PILGRIMS-0010342989         PILGRIMS-0010342994          4
 Emails/Attachments   PILGRIMS-0010342998         PILGRIMS-0010343002          5
 Emails/Attachments   PILGRIMS-0010343006         PILGRIMS-0010343006          1
 Emails/Attachments   PILGRIMS-0010343014         PILGRIMS-0010343030         12
 Emails/Attachments   PILGRIMS-0010343032         PILGRIMS-0010343044          8
 Emails/Attachments   PILGRIMS-0010343046         PILGRIMS-0010343052          6
 Emails/Attachments   PILGRIMS-0010343071         PILGRIMS-0010343074          4
 Emails/Attachments   PILGRIMS-0010343076         PILGRIMS-0010343083          8
 Emails/Attachments   PILGRIMS-0010343085         PILGRIMS-0010343094         10
 Emails/Attachments   PILGRIMS-0010343096         PILGRIMS-0010343117         22


                                    Page 286 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 310 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010343121         PILGRIMS-0010343143         23
 Emails/Attachments   PILGRIMS-0010343146         PILGRIMS-0010343153          7
 Emails/Attachments   PILGRIMS-0010343165         PILGRIMS-0010343181         16
 Emails/Attachments   PILGRIMS-0010343184         PILGRIMS-0010343191          8
 Emails/Attachments   PILGRIMS-0010343201         PILGRIMS-0010343213          7
 Emails/Attachments   PILGRIMS-0010343225         PILGRIMS-0010343244         13
 Emails/Attachments   PILGRIMS-0010343246         PILGRIMS-0010343278         33
 Emails/Attachments   PILGRIMS-0010343280         PILGRIMS-0010343292         13
 Emails/Attachments   PILGRIMS-0010343295         PILGRIMS-0010343303          9
 Emails/Attachments   PILGRIMS-0010343305         PILGRIMS-0010343305          1
 Emails/Attachments   PILGRIMS-0010343307         PILGRIMS-0010343319         13
 Emails/Attachments   PILGRIMS-0010343322         PILGRIMS-0010343324          3
 Emails/Attachments   PILGRIMS-0010343329         PILGRIMS-0010343371         40
 Emails/Attachments   PILGRIMS-0010343374         PILGRIMS-0010343383          8
 Emails/Attachments   PILGRIMS-0010343386         PILGRIMS-0010343399         12
 Emails/Attachments   PILGRIMS-0010343404         PILGRIMS-0010343413          6
 Emails/Attachments   PILGRIMS-0010343420         PILGRIMS-0010343431          8
 Emails/Attachments   PILGRIMS-0010343433         PILGRIMS-0010343438          6
 Emails/Attachments   PILGRIMS-0010343441         PILGRIMS-0010343451         11
 Emails/Attachments   PILGRIMS-0010343453         PILGRIMS-0010343458          6
 Emails/Attachments   PILGRIMS-0010343462         PILGRIMS-0010343477         16
 Emails/Attachments   PILGRIMS-0010343491         PILGRIMS-0010343541         41
 Emails/Attachments   PILGRIMS-0010343543         PILGRIMS-0010343549          7
 Emails/Attachments   PILGRIMS-0010343552         PILGRIMS-0010343556          5
 Emails/Attachments   PILGRIMS-0010343560         PILGRIMS-0010343564          5
 Emails/Attachments   PILGRIMS-0010343568         PILGRIMS-0010343578          7
 Emails/Attachments   PILGRIMS-0010343584         PILGRIMS-0010343593          8
 Emails/Attachments   PILGRIMS-0010343595         PILGRIMS-0010343595          1
 Emails/Attachments   PILGRIMS-0010343598         PILGRIMS-0010343611         12
 Emails/Attachments   PILGRIMS-0010343614         PILGRIMS-0010343617          3
 Emails/Attachments   PILGRIMS-0010343621         PILGRIMS-0010343639         11
 Emails/Attachments   PILGRIMS-0010343646         PILGRIMS-0010343657          6
 Emails/Attachments   PILGRIMS-0010343663         PILGRIMS-0010343688         21
 Emails/Attachments   PILGRIMS-0010343691         PILGRIMS-0010343695          4
 Emails/Attachments   PILGRIMS-0010343697         PILGRIMS-0010343698          2
 Emails/Attachments   PILGRIMS-0010343700         PILGRIMS-0010343712         13
 Emails/Attachments   PILGRIMS-0010343715         PILGRIMS-0010343727         12
 Emails/Attachments   PILGRIMS-0010343731         PILGRIMS-0010343748         17
 Emails/Attachments   PILGRIMS-0010343751         PILGRIMS-0010343761          9
 Emails/Attachments   PILGRIMS-0010343764         PILGRIMS-0010343795         29
 Emails/Attachments   PILGRIMS-0010343799         PILGRIMS-0010343836         22
 Emails/Attachments   PILGRIMS-0010343838         PILGRIMS-0010343851         12
 Emails/Attachments   PILGRIMS-0010343854         PILGRIMS-0010343856          3
 Emails/Attachments   PILGRIMS-0010343864         PILGRIMS-0010343869          3
 Emails/Attachments   PILGRIMS-0010343872         PILGRIMS-0010343978         99
 Emails/Attachments   PILGRIMS-0010343982         PILGRIMS-0010343997         13


                                    Page 287 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 311 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010344002         PILGRIMS-0010344030         25
 Emails/Attachments   PILGRIMS-0010344033         PILGRIMS-0010344040          7
 Emails/Attachments   PILGRIMS-0010344050         PILGRIMS-0010344066         11
 Emails/Attachments   PILGRIMS-0010344069         PILGRIMS-0010344072          4
 Emails/Attachments   PILGRIMS-0010344078         PILGRIMS-0010344087         10
 Emails/Attachments   PILGRIMS-0010344090         PILGRIMS-0010344099         10
 Emails/Attachments   PILGRIMS-0010344102         PILGRIMS-0010344115         14
 Emails/Attachments   PILGRIMS-0010344120         PILGRIMS-0010344129          6
 Emails/Attachments   PILGRIMS-0010344133         PILGRIMS-0010344139          3
 Emails/Attachments   PILGRIMS-0010344143         PILGRIMS-0010344150          5
 Emails/Attachments   PILGRIMS-0010344154         PILGRIMS-0010344155          1
 Emails/Attachments   PILGRIMS-0010344159         PILGRIMS-0010344160          1
 Emails/Attachments   PILGRIMS-0010344170         PILGRIMS-0010344190         10
 Emails/Attachments   PILGRIMS-0010344193         PILGRIMS-0010344195          3
 Emails/Attachments   PILGRIMS-0010344198         PILGRIMS-0010344206          8
 Emails/Attachments   PILGRIMS-0010344209         PILGRIMS-0010344236         17
 Emails/Attachments   PILGRIMS-0010344240         PILGRIMS-0010344256         16
 Emails/Attachments   PILGRIMS-0010344259         PILGRIMS-0010344263          5
 Emails/Attachments   PILGRIMS-0010344265         PILGRIMS-0010344265          1
 Emails/Attachments   PILGRIMS-0010344268         PILGRIMS-0010344287         15
 Emails/Attachments   PILGRIMS-0010344290         PILGRIMS-0010344308         15
 Emails/Attachments   PILGRIMS-0010344311         PILGRIMS-0010344320          8
 Emails/Attachments   PILGRIMS-0010344325         PILGRIMS-0010344329          3
 Emails/Attachments   PILGRIMS-0010344333         PILGRIMS-0010344335          3
 Emails/Attachments   PILGRIMS-0010344337         PILGRIMS-0010344337          1
 Emails/Attachments   PILGRIMS-0010344341         PILGRIMS-0010344350          9
 Emails/Attachments   PILGRIMS-0010344355         PILGRIMS-0010344369         10
 Emails/Attachments   PILGRIMS-0010344372         PILGRIMS-0010344375          4
 Emails/Attachments   PILGRIMS-0010344378         PILGRIMS-0010344402         25
 Emails/Attachments   PILGRIMS-0010344406         PILGRIMS-0010344409          3
 Emails/Attachments   PILGRIMS-0010344411         PILGRIMS-0010344421         10
 Emails/Attachments   PILGRIMS-0010344424         PILGRIMS-0010344441         15
 Emails/Attachments   PILGRIMS-0010344444         PILGRIMS-0010344446          3
 Emails/Attachments   PILGRIMS-0010344448         PILGRIMS-0010344450          3
 Emails/Attachments   PILGRIMS-0010344452         PILGRIMS-0010344457          6
 Emails/Attachments   PILGRIMS-0010344460         PILGRIMS-0010344469          9
 Emails/Attachments   PILGRIMS-0010344472         PILGRIMS-0010344477          5
 Emails/Attachments   PILGRIMS-0010344479         PILGRIMS-0010344480          2
 Emails/Attachments   PILGRIMS-0010344482         PILGRIMS-0010344483          2
 Emails/Attachments   PILGRIMS-0010344485         PILGRIMS-0010344487          2
 Emails/Attachments   PILGRIMS-0010344491         PILGRIMS-0010344494          2
 Emails/Attachments   PILGRIMS-0010344499         PILGRIMS-0010344507          7
 Emails/Attachments   PILGRIMS-0010344511         PILGRIMS-0010344517          4
 Emails/Attachments   PILGRIMS-0010344520         PILGRIMS-0010344523          2
 Emails/Attachments   PILGRIMS-0010344526         PILGRIMS-0010344536          5
 Emails/Attachments   PILGRIMS-0010344540         PILGRIMS-0010344547          8


                                    Page 288 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 312 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010344549         PILGRIMS-0010344550          2
 Emails/Attachments   PILGRIMS-0010344552         PILGRIMS-0010344552          1
 Emails/Attachments   PILGRIMS-0010344555         PILGRIMS-0010344560          5
 Emails/Attachments   PILGRIMS-0010344562         PILGRIMS-0010344562          1
 Emails/Attachments   PILGRIMS-0010344565         PILGRIMS-0010344566          1
 Emails/Attachments   PILGRIMS-0010344569         PILGRIMS-0010344582         10
 Emails/Attachments   PILGRIMS-0010344585         PILGRIMS-0010344589          4
 Emails/Attachments   PILGRIMS-0010344591         PILGRIMS-0010344594          3
 Emails/Attachments   PILGRIMS-0010344597         PILGRIMS-0010344601          4
 Emails/Attachments   PILGRIMS-0010344606         PILGRIMS-0010344608          2
 Emails/Attachments   PILGRIMS-0010344612         PILGRIMS-0010344617          5
 Emails/Attachments   PILGRIMS-0010344620         PILGRIMS-0010344633         12
 Emails/Attachments   PILGRIMS-0010344637         PILGRIMS-0010344637          1
 Emails/Attachments   PILGRIMS-0010344640         PILGRIMS-0010344645          6
 Emails/Attachments   PILGRIMS-0010344648         PILGRIMS-0010344648          1
 Emails/Attachments   PILGRIMS-0010344650         PILGRIMS-0010344653          4
 Emails/Attachments   PILGRIMS-0010344655         PILGRIMS-0010344662          7
 Emails/Attachments   PILGRIMS-0010344665         PILGRIMS-0010344672          6
 Emails/Attachments   PILGRIMS-0010344675         PILGRIMS-0010344686          9
 Emails/Attachments   PILGRIMS-0010344689         PILGRIMS-0010344706         12
 Emails/Attachments   PILGRIMS-0010344710         PILGRIMS-0010344750         18
 Emails/Attachments   PILGRIMS-0010344756         PILGRIMS-0010344760          2
 Emails/Attachments   PILGRIMS-0010344766         PILGRIMS-0010344777         10
 Emails/Attachments   PILGRIMS-0010344780         PILGRIMS-0010344785          3
 Emails/Attachments   PILGRIMS-0010344790         PILGRIMS-0010344793          4
 Emails/Attachments   PILGRIMS-0010344795         PILGRIMS-0010344800          6
 Emails/Attachments   PILGRIMS-0010344802         PILGRIMS-0010344804          3
 Emails/Attachments   PILGRIMS-0010344806         PILGRIMS-0010344813          8
 Emails/Attachments   PILGRIMS-0010344815         PILGRIMS-0010344817          3
 Emails/Attachments   PILGRIMS-0010344821         PILGRIMS-0010344823          3
 Emails/Attachments   PILGRIMS-0010344826         PILGRIMS-0010344828          3
 Emails/Attachments   PILGRIMS-0010344831         PILGRIMS-0010344840         10
 Emails/Attachments   PILGRIMS-0010344842         PILGRIMS-0010344844          3
 Emails/Attachments   PILGRIMS-0010344846         PILGRIMS-0010344851          6
 Emails/Attachments   PILGRIMS-0010344853         PILGRIMS-0010344856          3
 Emails/Attachments   PILGRIMS-0010344859         PILGRIMS-0010344873         12
 Emails/Attachments   PILGRIMS-0010344877         PILGRIMS-0010344901         18
 Emails/Attachments   PILGRIMS-0010344904         PILGRIMS-0010344906          3
 Emails/Attachments   PILGRIMS-0010344909         PILGRIMS-0010344916          6
 Emails/Attachments   PILGRIMS-0010344920         PILGRIMS-0010344920          1
 Emails/Attachments   PILGRIMS-0010344922         PILGRIMS-0010344922          1
 Emails/Attachments   PILGRIMS-0010344925         PILGRIMS-0010344936          7
 Emails/Attachments   PILGRIMS-0010344942         PILGRIMS-0010344942          1
 Emails/Attachments   PILGRIMS-0010344945         PILGRIMS-0010344953          9
 Emails/Attachments   PILGRIMS-0010344956         PILGRIMS-0010344957          1
 Emails/Attachments   PILGRIMS-0010344960         PILGRIMS-0010344965          3


                                    Page 289 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 313 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010344969         PILGRIMS-0010344971          3
 Emails/Attachments   PILGRIMS-0010344974         PILGRIMS-0010344979          6
 Emails/Attachments   PILGRIMS-0010344981         PILGRIMS-0010344983          3
 Emails/Attachments   PILGRIMS-0010344985         PILGRIMS-0010344990          5
 Emails/Attachments   PILGRIMS-0010344992         PILGRIMS-0010344995          4
 Emails/Attachments   PILGRIMS-0010344997         PILGRIMS-0010344999          3
 Emails/Attachments   PILGRIMS-0010345001         PILGRIMS-0010345001          1
 Emails/Attachments   PILGRIMS-0010345004         PILGRIMS-0010345011          5
 Emails/Attachments   PILGRIMS-0010345014         PILGRIMS-0010345021          4
 Emails/Attachments   PILGRIMS-0010345025         PILGRIMS-0010345031          6
 Emails/Attachments   PILGRIMS-0010345034         PILGRIMS-0010345043          8
 Emails/Attachments   PILGRIMS-0010345046         PILGRIMS-0010345053          5
 Emails/Attachments   PILGRIMS-0010345057         PILGRIMS-0010345061          4
 Emails/Attachments   PILGRIMS-0010345064         PILGRIMS-0010345065          1
 Emails/Attachments   PILGRIMS-0010345068         PILGRIMS-0010345069          2
 Emails/Attachments   PILGRIMS-0010345072         PILGRIMS-0010345074          2
 Emails/Attachments   PILGRIMS-0010345079         PILGRIMS-0010345081          3
 Emails/Attachments   PILGRIMS-0010345084         PILGRIMS-0010345087          4
 Emails/Attachments   PILGRIMS-0010345089         PILGRIMS-0010345096          8
 Emails/Attachments   PILGRIMS-0010345101         PILGRIMS-0010345103          3
 Emails/Attachments   PILGRIMS-0010345106         PILGRIMS-0010345108          3
 Emails/Attachments   PILGRIMS-0010345110         PILGRIMS-0010345110          1
 Emails/Attachments   PILGRIMS-0010345112         PILGRIMS-0010345117          6
 Emails/Attachments   PILGRIMS-0010345120         PILGRIMS-0010345128          5
 Emails/Attachments   PILGRIMS-0010345131         PILGRIMS-0010345136          6
 Emails/Attachments   PILGRIMS-0010345138         PILGRIMS-0010345140          3
 Emails/Attachments   PILGRIMS-0010345143         PILGRIMS-0010345151          9
 Emails/Attachments   PILGRIMS-0010345153         PILGRIMS-0010345153          1
 Emails/Attachments   PILGRIMS-0010345155         PILGRIMS-0010345158          4
 Emails/Attachments   PILGRIMS-0010345161         PILGRIMS-0010345177          9
 Emails/Attachments   PILGRIMS-0010345183         PILGRIMS-0010345186          2
 Emails/Attachments   PILGRIMS-0010345188         PILGRIMS-0010345200         11
 Emails/Attachments   PILGRIMS-0010345209         PILGRIMS-0010345216          7
 Emails/Attachments   PILGRIMS-0010345219         PILGRIMS-0010345232         13
 Emails/Attachments   PILGRIMS-0010345234         PILGRIMS-0010345244          7
 Emails/Attachments   PILGRIMS-0010345248         PILGRIMS-0010345253          4
 Emails/Attachments   PILGRIMS-0010345257         PILGRIMS-0010345257          1
 Emails/Attachments   PILGRIMS-0010345259         PILGRIMS-0010345262          2
 Emails/Attachments   PILGRIMS-0010345265         PILGRIMS-0010345268          3
 Emails/Attachments   PILGRIMS-0010345271         PILGRIMS-0010345274          2
 Emails/Attachments   PILGRIMS-0010345277         PILGRIMS-0010345280          2
 Emails/Attachments   PILGRIMS-0010345283         PILGRIMS-0010345284          1
 Emails/Attachments   PILGRIMS-0010345288         PILGRIMS-0010345297          9
 Emails/Attachments   PILGRIMS-0010345299         PILGRIMS-0010345344         20
 Emails/Attachments   PILGRIMS-0010345349         PILGRIMS-0010345356          2
 Emails/Attachments   PILGRIMS-0010345359         PILGRIMS-0010345373          6


                                    Page 290 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 314 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010345378         PILGRIMS-0010345385          2
 Emails/Attachments   PILGRIMS-0010345390         PILGRIMS-0010345397          2
 Emails/Attachments   PILGRIMS-0010345406         PILGRIMS-0010345415          7
 Emails/Attachments   PILGRIMS-0010345417         PILGRIMS-0010345431         12
 Emails/Attachments   PILGRIMS-0010345434         PILGRIMS-0010345439          3
 Emails/Attachments   PILGRIMS-0010345442         PILGRIMS-0010345443          1
 Emails/Attachments   PILGRIMS-0010345447         PILGRIMS-0010345456          7
 Emails/Attachments   PILGRIMS-0010345459         PILGRIMS-0010345460          2
 Emails/Attachments   PILGRIMS-0010345463         PILGRIMS-0010345474         12
 Emails/Attachments   PILGRIMS-0010345476         PILGRIMS-0010345490         12
 Emails/Attachments   PILGRIMS-0010345493         PILGRIMS-0010345494          2
 Emails/Attachments   PILGRIMS-0010345496         PILGRIMS-0010345498          3
 Emails/Attachments   PILGRIMS-0010345501         PILGRIMS-0010345502          2
 Emails/Attachments   PILGRIMS-0010345505         PILGRIMS-0010345505          1
 Emails/Attachments   PILGRIMS-0010345507         PILGRIMS-0010345513          7
 Emails/Attachments   PILGRIMS-0010345519         PILGRIMS-0010345521          3
 Emails/Attachments   PILGRIMS-0010345523         PILGRIMS-0010345528          6
 Emails/Attachments   PILGRIMS-0010345531         PILGRIMS-0010345538          8
 Emails/Attachments   PILGRIMS-0010345540         PILGRIMS-0010345542          3
 Emails/Attachments   PILGRIMS-0010345549         PILGRIMS-0010345574         15
 Emails/Attachments   PILGRIMS-0010345582         PILGRIMS-0010345606         12
 Emails/Attachments   PILGRIMS-0010345613         PILGRIMS-0010345616          4
 Emails/Attachments   PILGRIMS-0010345618         PILGRIMS-0010345626          6
 Emails/Attachments   PILGRIMS-0010345629         PILGRIMS-0010345630          2
 Emails/Attachments   PILGRIMS-0010345633         PILGRIMS-0010345633          1
 Emails/Attachments   PILGRIMS-0010345635         PILGRIMS-0010345642          8
 Emails/Attachments   PILGRIMS-0010345644         PILGRIMS-0010345646          3
 Emails/Attachments   PILGRIMS-0010345648         PILGRIMS-0010345664         15
 Emails/Attachments   PILGRIMS-0010345667         PILGRIMS-0010345684         14
 Emails/Attachments   PILGRIMS-0010345687         PILGRIMS-0010345688          1
 Emails/Attachments   PILGRIMS-0010345690         PILGRIMS-0010345693          4
 Emails/Attachments   PILGRIMS-0010345695         PILGRIMS-0010345696          2
 Emails/Attachments   PILGRIMS-0010345699         PILGRIMS-0010345720         17
 Emails/Attachments   PILGRIMS-0010345726         PILGRIMS-0010345737         12
 Emails/Attachments   PILGRIMS-0010345740         PILGRIMS-0010345745          6
 Emails/Attachments   PILGRIMS-0010345748         PILGRIMS-0010345750          3
 Emails/Attachments   PILGRIMS-0010345752         PILGRIMS-0010345752          1
 Emails/Attachments   PILGRIMS-0010345755         PILGRIMS-0010345774         15
 Emails/Attachments   PILGRIMS-0010345778         PILGRIMS-0010345787          9
 Emails/Attachments   PILGRIMS-0010345789         PILGRIMS-0010345798          9
 Emails/Attachments   PILGRIMS-0010345801         PILGRIMS-0010345803          3
 Emails/Attachments   PILGRIMS-0010345808         PILGRIMS-0010345811          4
 Emails/Attachments   PILGRIMS-0010345815         PILGRIMS-0010345824         10
 Emails/Attachments   PILGRIMS-0010345826         PILGRIMS-0010345837         11
 Emails/Attachments   PILGRIMS-0010345840         PILGRIMS-0010345842          3
 Emails/Attachments   PILGRIMS-0010345844         PILGRIMS-0010345846          3


                                    Page 291 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 315 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010345848         PILGRIMS-0010345850          2
 Emails/Attachments   PILGRIMS-0010345856         PILGRIMS-0010345865          8
 Emails/Attachments   PILGRIMS-0010345870         PILGRIMS-0010345878          9
 Emails/Attachments   PILGRIMS-0010345880         PILGRIMS-0010345884          5
 Emails/Attachments   PILGRIMS-0010345886         PILGRIMS-0010345892          7
 Emails/Attachments   PILGRIMS-0010345895         PILGRIMS-0010345906          9
 Emails/Attachments   PILGRIMS-0010345909         PILGRIMS-0010345910          2
 Emails/Attachments   PILGRIMS-0010345915         PILGRIMS-0010345918          4
 Emails/Attachments   PILGRIMS-0010345920         PILGRIMS-0010345921          2
 Emails/Attachments   PILGRIMS-0010345923         PILGRIMS-0010345926          4
 Emails/Attachments   PILGRIMS-0010345928         PILGRIMS-0010345935          8
 Emails/Attachments   PILGRIMS-0010345937         PILGRIMS-0010345940          4
 Emails/Attachments   PILGRIMS-0010345942         PILGRIMS-0010345963         20
 Emails/Attachments   PILGRIMS-0010345966         PILGRIMS-0010345968          3
 Emails/Attachments   PILGRIMS-0010345971         PILGRIMS-0010345978          8
 Emails/Attachments   PILGRIMS-0010345981         PILGRIMS-0010345984          4
 Emails/Attachments   PILGRIMS-0010345990         PILGRIMS-0010345991          2
 Emails/Attachments   PILGRIMS-0010346018         PILGRIMS-0010346021          3
 Emails/Attachments   PILGRIMS-0010346024         PILGRIMS-0010346041         12
 Emails/Attachments   PILGRIMS-0010346052         PILGRIMS-0010346055          3
 Emails/Attachments   PILGRIMS-0010346073         PILGRIMS-0010346073          1
 Emails/Attachments   PILGRIMS-0010346085         PILGRIMS-0010346093          9
 Emails/Attachments   PILGRIMS-0010346096         PILGRIMS-0010346100          4
 Emails/Attachments   PILGRIMS-0010346103         PILGRIMS-0010346112          5
 Emails/Attachments   PILGRIMS-0010346116         PILGRIMS-0010346119          2
 Emails/Attachments   PILGRIMS-0010346122         PILGRIMS-0010346145         15
 Emails/Attachments   PILGRIMS-0010346148         PILGRIMS-0010346153          2
 Emails/Attachments   PILGRIMS-0010346158         PILGRIMS-0010346160          3
 Emails/Attachments   PILGRIMS-0010346163         PILGRIMS-0010346170          7
 Emails/Attachments   PILGRIMS-0010346173         PILGRIMS-0010346192         19
 Emails/Attachments   PILGRIMS-0010346197         PILGRIMS-0010346202          6
 Emails/Attachments   PILGRIMS-0010346205         PILGRIMS-0010346214          9
 Emails/Attachments   PILGRIMS-0010346217         PILGRIMS-0010346234         18
 Emails/Attachments   PILGRIMS-0010346236         PILGRIMS-0010346238          3
 Emails/Attachments   PILGRIMS-0010346241         PILGRIMS-0010346247          6
 Emails/Attachments   PILGRIMS-0010346250         PILGRIMS-0010346254          5
 Emails/Attachments   PILGRIMS-0010346256         PILGRIMS-0010346261          6
 Emails/Attachments   PILGRIMS-0010346263         PILGRIMS-0010346293         24
 Emails/Attachments   PILGRIMS-0010346296         PILGRIMS-0010346299          3
 Emails/Attachments   PILGRIMS-0010346303         PILGRIMS-0010346306          3
 Emails/Attachments   PILGRIMS-0010346309         PILGRIMS-0010346316          7
 Emails/Attachments   PILGRIMS-0010346322         PILGRIMS-0010346327          4
 Emails/Attachments   PILGRIMS-0010346330         PILGRIMS-0010346339         10
 Emails/Attachments   PILGRIMS-0010346341         PILGRIMS-0010346352         12
 Emails/Attachments   PILGRIMS-0010346354         PILGRIMS-0010346366         13
 Emails/Attachments   PILGRIMS-0010346371         PILGRIMS-0010346373          3


                                    Page 292 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 316 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010346375         PILGRIMS-0010346385           9
 Emails/Attachments   PILGRIMS-0010346388         PILGRIMS-0010346400          12
 Emails/Attachments   PILGRIMS-0010346402         PILGRIMS-0010346407           6
 Emails/Attachments   PILGRIMS-0010346409         PILGRIMS-0010346409           1
 Emails/Attachments   PILGRIMS-0010346412         PILGRIMS-0010346414           3
 Emails/Attachments   PILGRIMS-0010346416         PILGRIMS-0010346423           8
 Emails/Attachments   PILGRIMS-0010346425         PILGRIMS-0010346430           5
 Emails/Attachments   PILGRIMS-0010346432         PILGRIMS-0010346443          10
 Emails/Attachments   PILGRIMS-0010346446         PILGRIMS-0010346466          14
 Emails/Attachments   PILGRIMS-0010346469         PILGRIMS-0010346472           3
 Emails/Attachments   PILGRIMS-0010346475         PILGRIMS-0010346475           1
 Emails/Attachments   PILGRIMS-0010346477         PILGRIMS-0010346503          26
 Emails/Attachments   PILGRIMS-0010346506         PILGRIMS-0010346508           3
 Emails/Attachments   PILGRIMS-0010346510         PILGRIMS-0010346512           3
 Emails/Attachments   PILGRIMS-0010346515         PILGRIMS-0010346528          10
 Emails/Attachments   PILGRIMS-0010346533         PILGRIMS-0010346548           9
 Emails/Attachments   PILGRIMS-0010346553         PILGRIMS-0010346557           3
 Emails/Attachments   PILGRIMS-0010346562         PILGRIMS-0010346582          16
 Emails/Attachments   PILGRIMS-0010346586         PILGRIMS-0010346588           2
 Emails/Attachments   PILGRIMS-0010346594         PILGRIMS-0010346630          26
 Emails/Attachments   PILGRIMS-0010346636         PILGRIMS-0010346661          16
 Emails/Attachments   PILGRIMS-0010346667         PILGRIMS-0010346675           6
 Emails/Attachments   PILGRIMS-0010346679         PILGRIMS-0010346689           9
 Emails/Attachments   PILGRIMS-0010346693         PILGRIMS-0010346715          22
 Emails/Attachments   PILGRIMS-0010346717         PILGRIMS-0010346737          19
 Emails/Attachments   PILGRIMS-0010346739         PILGRIMS-0010346741           3
 Emails/Attachments   PILGRIMS-0010346744         PILGRIMS-0010346752           9
 Emails/Attachments   PILGRIMS-0010346755         PILGRIMS-0010346772          15
 Emails/Attachments   PILGRIMS-0010346775         PILGRIMS-0010346776           2
 Emails/Attachments   PILGRIMS-0010346779         PILGRIMS-0010348424        1,367
 Emails/Attachments   PILGRIMS-0010348426         PILGRIMS-0010351108        1,068
 Emails/Attachments   PILGRIMS-0010351245         PILGRIMS-0010351378          30
 Emails/Attachments   PILGRIMS-0010351385         PILGRIMS-0010351686         105
 Emails/Attachments   PILGRIMS-0010351789         PILGRIMS-0010351790           2
 Emails/Attachments   PILGRIMS-0010351793         PILGRIMS-0010351848          39
 Emails/Attachments   PILGRIMS-0010351863         PILGRIMS-0010351952          69
 Emails/Attachments   PILGRIMS-0010351954         PILGRIMS-0010352042          82
 Emails/Attachments   PILGRIMS-0010352051         PILGRIMS-0010352058           7
 Emails/Attachments   PILGRIMS-0010352062         PILGRIMS-0010352072           8
 Emails/Attachments   PILGRIMS-0010352075         PILGRIMS-0010352092          16
 Emails/Attachments   PILGRIMS-0010352095         PILGRIMS-0010352101           6
 Emails/Attachments   PILGRIMS-0010352105         PILGRIMS-0010352118           9
 Emails/Attachments   PILGRIMS-0010352125         PILGRIMS-0010352198          50
 Emails/Attachments   PILGRIMS-0010352202         PILGRIMS-0010352571         140
 Emails/Attachments   PILGRIMS-0010352573         PILGRIMS-0010352574           2
 Emails/Attachments   PILGRIMS-0010352576         PILGRIMS-0010386229        10,092


                                    Page 293 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 317 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010386231         PILGRIMS-0010386270          23
 Emails/Attachments   PILGRIMS-0010386272         PILGRIMS-0010386387          20
 Emails/Attachments   PILGRIMS-0010386389         PILGRIMS-0010386390           2
 Emails/Attachments   PILGRIMS-0010386392         PILGRIMS-0010386393           2
 Emails/Attachments   PILGRIMS-0010386490         PILGRIMS-0010386624          11
 Emails/Attachments   PILGRIMS-0010386657         PILGRIMS-0010386661           3
 Emails/Attachments   PILGRIMS-0010386665         PILGRIMS-0010386730          16
 Emails/Attachments   PILGRIMS-0010386732         PILGRIMS-0010386813          53
 Emails/Attachments   PILGRIMS-0010386815         PILGRIMS-0010389986        1,123
 Emails/Attachments   PILGRIMS-0010390006         PILGRIMS-0010390018          11
 Emails/Attachments   PILGRIMS-0010390034         PILGRIMS-0010390035           1
 Emails/Attachments   PILGRIMS-0010390040         PILGRIMS-0010390052          11
 Emails/Attachments   PILGRIMS-0010390055         PILGRIMS-0010390055           1
 Emails/Attachments   PILGRIMS-0010390057         PILGRIMS-0010390057           1
 Emails/Attachments   PILGRIMS-0010390060         PILGRIMS-0010390067           7
 Emails/Attachments   PILGRIMS-0010390070         PILGRIMS-0010390082           8
 Emails/Attachments   PILGRIMS-0010390084         PILGRIMS-0010390092           7
 Emails/Attachments   PILGRIMS-0010390095         PILGRIMS-0010390099           4
 Emails/Attachments   PILGRIMS-0010390104         PILGRIMS-0010390107           2
 Emails/Attachments   PILGRIMS-0010390112         PILGRIMS-0010390115           2
 Emails/Attachments   PILGRIMS-0010390119         PILGRIMS-0010390127           3
 Emails/Attachments   PILGRIMS-0010390131         PILGRIMS-0010390136           2
 Emails/Attachments   PILGRIMS-0010390139         PILGRIMS-0010390143           3
 Emails/Attachments   PILGRIMS-0010390146         PILGRIMS-0010390151           3
 Emails/Attachments   PILGRIMS-0010390154         PILGRIMS-0010390164           7
 Emails/Attachments   PILGRIMS-0010390167         PILGRIMS-0010390172           3
 Emails/Attachments   PILGRIMS-0010390175         PILGRIMS-0010390178           2
 Emails/Attachments   PILGRIMS-0010390181         PILGRIMS-0010390188           6
 Emails/Attachments   PILGRIMS-0010390193         PILGRIMS-0010390203           5
 Emails/Attachments   PILGRIMS-0010390206         PILGRIMS-0010390231          16
 Emails/Attachments   PILGRIMS-0010390236         PILGRIMS-0010390239           2
 Emails/Attachments   PILGRIMS-0010390242         PILGRIMS-0010390247           3
 Emails/Attachments   PILGRIMS-0010390251         PILGRIMS-0010390260           4
 Emails/Attachments   PILGRIMS-0010390263         PILGRIMS-0010390264           1
 Emails/Attachments   PILGRIMS-0010390267         PILGRIMS-0010390272           3
 Emails/Attachments   PILGRIMS-0010390275         PILGRIMS-0010390276           1
 Emails/Attachments   PILGRIMS-0010390279         PILGRIMS-0010390282           2
 Emails/Attachments   PILGRIMS-0010390285         PILGRIMS-0010390289           2
 Emails/Attachments   PILGRIMS-0010390293         PILGRIMS-0010390298           2
 Emails/Attachments   PILGRIMS-0010390302         PILGRIMS-0010390304           1
 Emails/Attachments   PILGRIMS-0010390308         PILGRIMS-0010390310           1
 Emails/Attachments   PILGRIMS-0010390313         PILGRIMS-0010390353          23
 Emails/Attachments   PILGRIMS-0010390358         PILGRIMS-0010390369           3
 Emails/Attachments   PILGRIMS-0010390375         PILGRIMS-0010390432          22
 Emails/Attachments   PILGRIMS-0010390436         PILGRIMS-0010390441           2
 Emails/Attachments   PILGRIMS-0010390446         PILGRIMS-0010390453           2


                                    Page 294 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 318 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010390458         PILGRIMS-0010390465           2
 Emails/Attachments   PILGRIMS-0010390470         PILGRIMS-0010390480           3
 Emails/Attachments   PILGRIMS-0010390490         PILGRIMS-0010390520          21
 Emails/Attachments   PILGRIMS-0010390526         PILGRIMS-0010390537           4
 Emails/Attachments   PILGRIMS-0010390541         PILGRIMS-0010390698          87
 Emails/Attachments   PILGRIMS-0010390700         PILGRIMS-0010391389         160
 Emails/Attachments   PILGRIMS-0010391391         PILGRIMS-0010391539          63
 Emails/Attachments   PILGRIMS-0010391541         PILGRIMS-0010391609          27
 Emails/Attachments   PILGRIMS-0010391611         PILGRIMS-0010391614           4
 Emails/Attachments   PILGRIMS-0010391616         PILGRIMS-0010391628           5
 Emails/Attachments   PILGRIMS-0010391630         PILGRIMS-0010391694          29
 Emails/Attachments   PILGRIMS-0010391696         PILGRIMS-0010391697           2
 Emails/Attachments   PILGRIMS-0010391701         PILGRIMS-0010391715           5
 Emails/Attachments   PILGRIMS-0010391719         PILGRIMS-0010391736          14
 Emails/Attachments   PILGRIMS-0010391738         PILGRIMS-0010391767          23
 Emails/Attachments   PILGRIMS-0010391769         PILGRIMS-0010391793          20
 Emails/Attachments   PILGRIMS-0010391796         PILGRIMS-0010391811          10
 Emails/Attachments   PILGRIMS-0010391813         PILGRIMS-0010391829           7
 Emails/Attachments   PILGRIMS-0010391831         PILGRIMS-0010391835           4
 Emails/Attachments   PILGRIMS-0010391837         PILGRIMS-0010392023          65
 Emails/Attachments   PILGRIMS-0010392025         PILGRIMS-0010392041          13
 Emails/Attachments   PILGRIMS-0010392043         PILGRIMS-0010392047           4
 Emails/Attachments   PILGRIMS-0010392050         PILGRIMS-0010392053           4
 Emails/Attachments   PILGRIMS-0010392055         PILGRIMS-0010392080          14
 Emails/Attachments   PILGRIMS-0010392082         PILGRIMS-0010392089           6
 Emails/Attachments   PILGRIMS-0010392091         PILGRIMS-0010392101           8
 Emails/Attachments   PILGRIMS-0010392103         PILGRIMS-0010393596         694
 Emails/Attachments   PILGRIMS-0010393607         PILGRIMS-0010397559        1,668
 Emails/Attachments   PILGRIMS-0010397561         PILGRIMS-0010397799         124
 Emails/Attachments   PILGRIMS-0010397805         PILGRIMS-0010399498         258
 Emails/Attachments   PILGRIMS-0010399501         PILGRIMS-0010399508           8
 Emails/Attachments   PILGRIMS-0010399510         PILGRIMS-0010399931         156
 Emails/Attachments   PILGRIMS-0010399934         PILGRIMS-0010400697         288
 Emails/Attachments   PILGRIMS-0010400699         PILGRIMS-0010400736          22
 Emails/Attachments   PILGRIMS-0010400738         PILGRIMS-0010400839          53
 Emails/Attachments   PILGRIMS-0010400842         PILGRIMS-0010400848           4
 Emails/Attachments   PILGRIMS-0010400854         PILGRIMS-0010400870          12
 Emails/Attachments   PILGRIMS-0010400872         PILGRIMS-0010400875           4
 Emails/Attachments   PILGRIMS-0010400877         PILGRIMS-0010400936          43
 Emails/Attachments   PILGRIMS-0010400938         PILGRIMS-0010400972          25
 Emails/Attachments   PILGRIMS-0010400974         PILGRIMS-0010401009          36
 Emails/Attachments   PILGRIMS-0010401011         PILGRIMS-0010401071          46
 Emails/Attachments   PILGRIMS-0010401073         PILGRIMS-0010401119          43
 Emails/Attachments   PILGRIMS-0010401360         PILGRIMS-0010401361           2
 Emails/Attachments   PILGRIMS-0010401369         PILGRIMS-0010401384          16
 Emails/Attachments   PILGRIMS-0010401393         PILGRIMS-0010401398           6


                                    Page 295 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 319 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010401512         PILGRIMS-0010401513          2
 Emails/Attachments   PILGRIMS-0010401516         PILGRIMS-0010401517          1
 Emails/Attachments   PILGRIMS-0010401523         PILGRIMS-0010401524          2
 Emails/Attachments   PILGRIMS-0010401701         PILGRIMS-0010401715          2
 Emails/Attachments   PILGRIMS-0010401858         PILGRIMS-0010401859          2
 Emails/Attachments   PILGRIMS-0010401874         PILGRIMS-0010401952         34
 Emails/Attachments   PILGRIMS-0010401954         PILGRIMS-0010401971         14
 Emails/Attachments   PILGRIMS-0010401975         PILGRIMS-0010402026         24
 Emails/Attachments   PILGRIMS-0010402031         PILGRIMS-0010402051         21
 Emails/Attachments   PILGRIMS-0010402054         PILGRIMS-0010402087         25
 Emails/Attachments   PILGRIMS-0010402092         PILGRIMS-0010402157         46
 Emails/Attachments   PILGRIMS-0010402159         PILGRIMS-0010402172         14
 Emails/Attachments   PILGRIMS-0010402175         PILGRIMS-0010402213         36
 Emails/Attachments   PILGRIMS-0010402216         PILGRIMS-0010402337         81
 Emails/Attachments   PILGRIMS-0010402340         PILGRIMS-0010402389         23
 Emails/Attachments   PILGRIMS-0010402394         PILGRIMS-0010402487         55
 Emails/Attachments   PILGRIMS-0010402490         PILGRIMS-0010402545         53
 Emails/Attachments   PILGRIMS-0010402550         PILGRIMS-0010402857         197
 Emails/Attachments   PILGRIMS-0010402865         PILGRIMS-0010403278         273
 Emails/Attachments   PILGRIMS-0010403281         PILGRIMS-0010403318         32
 Emails/Attachments   PILGRIMS-0010403321         PILGRIMS-0010403357         37
 Emails/Attachments   PILGRIMS-0010403363         PILGRIMS-0010403392         24
 Emails/Attachments   PILGRIMS-0010403396         PILGRIMS-0010403463         53
 Emails/Attachments   PILGRIMS-0010403466         PILGRIMS-0010403468          2
 Emails/Attachments   PILGRIMS-0010403474         PILGRIMS-0010403520         38
 Emails/Attachments   PILGRIMS-0010403523         PILGRIMS-0010403596         44
 Emails/Attachments   PILGRIMS-0010403600         PILGRIMS-0010403675         49
 Emails/Attachments   PILGRIMS-0010403678         PILGRIMS-0010403698         21
 Emails/Attachments   PILGRIMS-0010403701         PILGRIMS-0010403728         28
 Emails/Attachments   PILGRIMS-0010403731         PILGRIMS-0010403737          7
 Emails/Attachments   PILGRIMS-0010403740         PILGRIMS-0010403781         30
 Emails/Attachments   PILGRIMS-0010403784         PILGRIMS-0010403914         52
 Emails/Attachments   PILGRIMS-0010403917         PILGRIMS-0010404071         71
 Emails/Attachments   PILGRIMS-0010404075         PILGRIMS-0010404081          7
 Emails/Attachments   PILGRIMS-0010404086         PILGRIMS-0010404256         97
 Emails/Attachments   PILGRIMS-0010404259         PILGRIMS-0010404315         57
 Emails/Attachments   PILGRIMS-0010404320         PILGRIMS-0010404364         42
 Emails/Attachments   PILGRIMS-0010404366         PILGRIMS-0010404372          7
 Emails/Attachments   PILGRIMS-0010404374         PILGRIMS-0010404581         150
 Emails/Attachments   PILGRIMS-0010404585         PILGRIMS-0010404759         91
 Emails/Attachments   PILGRIMS-0010404762         PILGRIMS-0010404950         123
 Emails/Attachments   PILGRIMS-0010404952         PILGRIMS-0010405343         205
 Emails/Attachments   PILGRIMS-0010405346         PILGRIMS-0010405584         183
 Emails/Attachments   PILGRIMS-0010405586         PILGRIMS-0010405746         112
 Emails/Attachments   PILGRIMS-0010405750         PILGRIMS-0010405890         55
 Emails/Attachments   PILGRIMS-0010405900         PILGRIMS-0010405917          6


                                    Page 296 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 320 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010405920         PILGRIMS-0010406647         164
 Emails/Attachments   PILGRIMS-0010406653         PILGRIMS-0010406748         75
 Emails/Attachments   PILGRIMS-0010406751         PILGRIMS-0010406825         16
 Emails/Attachments   PILGRIMS-0010406829         PILGRIMS-0010406847         11
 Emails/Attachments   PILGRIMS-0010406849         PILGRIMS-0010407075         65
 Emails/Attachments   PILGRIMS-0010407079         PILGRIMS-0010407125         28
 Emails/Attachments   PILGRIMS-0010407128         PILGRIMS-0010407507         91
 Emails/Attachments   PILGRIMS-0010407509         PILGRIMS-0010407521         11
 Emails/Attachments   PILGRIMS-0010407524         PILGRIMS-0010407645         45
 Emails/Attachments   PILGRIMS-0010407648         PILGRIMS-0010407856         45
 Emails/Attachments   PILGRIMS-0010407862         PILGRIMS-0010407884         16
 Emails/Attachments   PILGRIMS-0010407888         PILGRIMS-0010408942         24
 Emails/Attachments   PILGRIMS-0010408944         PILGRIMS-0010409034         54
 Emails/Attachments   PILGRIMS-0010409036         PILGRIMS-0010409496         75
 Emails/Attachments   PILGRIMS-0010409499         PILGRIMS-0010409502          2
 Emails/Attachments   PILGRIMS-0010409504         PILGRIMS-0010410323         313
 Emails/Attachments   PILGRIMS-0010410325         PILGRIMS-0010410527         99
 Emails/Attachments   PILGRIMS-0010410529         PILGRIMS-0010410737         113
 Emails/Attachments   PILGRIMS-0010410739         PILGRIMS-0010410911         112
 Emails/Attachments   PILGRIMS-0010410913         PILGRIMS-0010410916          4
 Emails/Attachments   PILGRIMS-0010410918         PILGRIMS-0010410928          8
 Emails/Attachments   PILGRIMS-0010410933         PILGRIMS-0010410943         11
 Emails/Attachments   PILGRIMS-0010410946         PILGRIMS-0010410948          2
 Emails/Attachments   PILGRIMS-0010410950         PILGRIMS-0010410976         15
 Emails/Attachments   PILGRIMS-0010410979         PILGRIMS-0010410985          6
 Emails/Attachments   PILGRIMS-0010410988         PILGRIMS-0010410990          2
 Emails/Attachments   PILGRIMS-0010410992         PILGRIMS-0010410999          5
 Emails/Attachments   PILGRIMS-0010411001         PILGRIMS-0010411055         13
 Emails/Attachments   PILGRIMS-0010411057         PILGRIMS-0010411068         12
 Emails/Attachments   PILGRIMS-0010411073         PILGRIMS-0010411080          6
 Emails/Attachments   PILGRIMS-0010411084         PILGRIMS-0010411095          8
 Emails/Attachments   PILGRIMS-0010411097         PILGRIMS-0010411174         45
 Emails/Attachments   PILGRIMS-0010411177         PILGRIMS-0010411220         29
 Emails/Attachments   PILGRIMS-0010411223         PILGRIMS-0010411272         29
 Emails/Attachments   PILGRIMS-0010411275         PILGRIMS-0010411450         86
 Emails/Attachments   PILGRIMS-0010411454         PILGRIMS-0010411720         125
 Emails/Attachments   PILGRIMS-0010411722         PILGRIMS-0010412070         135
 Emails/Attachments   PILGRIMS-0010412073         PILGRIMS-0010412123         22
 Emails/Attachments   PILGRIMS-0010412127         PILGRIMS-0010412878         188
 Emails/Attachments   PILGRIMS-0010412880         PILGRIMS-0010414111         440
 Emails/Attachments   PILGRIMS-0010414113         PILGRIMS-0010414958         38
 Emails/Attachments   PILGRIMS-0010414960         PILGRIMS-0010415827         99
 Emails/Attachments   PILGRIMS-0010415830         PILGRIMS-0010416122         139
 Emails/Attachments   PILGRIMS-0010416126         PILGRIMS-0010416522         28
 Emails/Attachments   PILGRIMS-0010416533         PILGRIMS-0010417057         50
 Emails/Attachments   PILGRIMS-0010417062         PILGRIMS-0010417337         94


                                    Page 297 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 321 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010417341         PILGRIMS-0010417610         167
 Emails/Attachments   PILGRIMS-0010417613         PILGRIMS-0010417621          9
 Emails/Attachments   PILGRIMS-0010417624         PILGRIMS-0010417817         124
 Emails/Attachments   PILGRIMS-0010417847         PILGRIMS-0010417996         77
 Emails/Attachments   PILGRIMS-0010417998         PILGRIMS-0010418110         59
 Emails/Attachments   PILGRIMS-0010418117         PILGRIMS-0010418221         64
 Emails/Attachments   PILGRIMS-0010418224         PILGRIMS-0010418288         47
 Emails/Attachments   PILGRIMS-0010418300         PILGRIMS-0010418301          2
 Emails/Attachments   PILGRIMS-0010418304         PILGRIMS-0010418305          2
 Emails/Attachments   PILGRIMS-0010418310         PILGRIMS-0010418448         53
 Emails/Attachments   PILGRIMS-0010418451         PILGRIMS-0010418689         126
 Emails/Attachments   PILGRIMS-0010418692         PILGRIMS-0010418791         66
 Emails/Attachments   PILGRIMS-0010418794         PILGRIMS-0010418816         11
 Emails/Attachments   PILGRIMS-0010418820         PILGRIMS-0010418830          7
 Emails/Attachments   PILGRIMS-0010418834         PILGRIMS-0010419006         82
 Emails/Attachments   PILGRIMS-0010419449         PILGRIMS-0010419581         34
 Emails/Attachments   PILGRIMS-0010419584         PILGRIMS-0010419608          2
 Emails/Attachments   PILGRIMS-0010419611         PILGRIMS-0010419765         40
 Emails/Attachments   PILGRIMS-0010419768         PILGRIMS-0010421611         60
 Emails/Attachments   PILGRIMS-0010422049         PILGRIMS-0010422696         12
 Emails/Attachments   PILGRIMS-0010422701         PILGRIMS-0010422734         29
 Emails/Attachments   PILGRIMS-0010422737         PILGRIMS-0010422957         123
 Emails/Attachments   PILGRIMS-0010422960         PILGRIMS-0010423460         238
 Emails/Attachments   PILGRIMS-0010423463         PILGRIMS-0010425523         522
 Emails/Attachments   PILGRIMS-0010425528         PILGRIMS-0010425935         197
 Emails/Attachments   PILGRIMS-0010425944         PILGRIMS-0010426230         131
 Emails/Attachments   PILGRIMS-0010426236         PILGRIMS-0010426287         29
 Emails/Attachments   PILGRIMS-0010426292         PILGRIMS-0010426506         110
 Emails/Attachments   PILGRIMS-0010426509         PILGRIMS-0010426709         110
 Emails/Attachments   PILGRIMS-0010426713         PILGRIMS-0010427272         315
 Emails/Attachments   PILGRIMS-0010427280         PILGRIMS-0010428909         884
 Emails/Attachments   PILGRIMS-0010428912         PILGRIMS-0010429106         97
 Emails/Attachments   PILGRIMS-0010429110         PILGRIMS-0010429410         209
 Emails/Attachments   PILGRIMS-0010429415         PILGRIMS-0010430040         358
 Emails/Attachments   PILGRIMS-0010430068         PILGRIMS-0010430104         24
 Emails/Attachments   PILGRIMS-0010430107         PILGRIMS-0010430470         154
 Emails/Attachments   PILGRIMS-0010430485         PILGRIMS-0010430509          8
 Emails/Attachments   PILGRIMS-0010430512         PILGRIMS-0010431334         295
 Emails/Attachments   PILGRIMS-0010431336         PILGRIMS-0010432158         370
 Emails/Attachments   PILGRIMS-0010432160         PILGRIMS-0010432537         111
 Emails/Attachments   PILGRIMS-0010432541         PILGRIMS-0010432546          5
 Emails/Attachments   PILGRIMS-0010432549         PILGRIMS-0010432563          5
 Emails/Attachments   PILGRIMS-0010432568         PILGRIMS-0010432675         63
 Emails/Attachments   PILGRIMS-0010432678         PILGRIMS-0010432738         27
 Emails/Attachments   PILGRIMS-0010432743         PILGRIMS-0010432748          4
 Emails/Attachments   PILGRIMS-0010432751         PILGRIMS-0010433051         150


                                    Page 298 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 322 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010433054         PILGRIMS-0010433138          37
 Emails/Attachments   PILGRIMS-0010433143         PILGRIMS-0010433215          28
 Emails/Attachments   PILGRIMS-0010433217         PILGRIMS-0010433251          14
 Emails/Attachments   PILGRIMS-0010433260         PILGRIMS-0010433462          75
 Emails/Attachments   PILGRIMS-0010433488         PILGRIMS-0010433491           1
 Emails/Attachments   PILGRIMS-0010433494         PILGRIMS-0010433771         119
 Emails/Attachments   PILGRIMS-0010433782         PILGRIMS-0010433907          28
 Emails/Attachments   PILGRIMS-0010433910         PILGRIMS-0010434423         222
 Emails/Attachments   PILGRIMS-0010434427         PILGRIMS-0010434791         162
 Emails/Attachments   PILGRIMS-0010434795         PILGRIMS-0010434867          35
 Emails/Attachments   PILGRIMS-0010434870         PILGRIMS-0010434967          41
 Emails/Attachments   PILGRIMS-0010434969         PILGRIMS-0010434976           6
 Emails/Attachments   PILGRIMS-0010434978         PILGRIMS-0010435121          65
 Emails/Attachments   PILGRIMS-0010435125         PILGRIMS-0010435349         106
 Emails/Attachments   PILGRIMS-0010435353         PILGRIMS-0010435489          57
 Emails/Attachments   PILGRIMS-0010435492         PILGRIMS-0010436316         311
 Emails/Attachments   PILGRIMS-0010436318         PILGRIMS-0010436623         127
 Emails/Attachments   PILGRIMS-0010436625         PILGRIMS-0010437096         212
 Emails/Attachments   PILGRIMS-0010437109         PILGRIMS-0010437680         213
 Emails/Attachments   PILGRIMS-0010437735         PILGRIMS-0010438526         342
 Emails/Attachments   PILGRIMS-0010438533         PILGRIMS-0010439994         531
 Emails/Attachments   PILGRIMS-0010440006         PILGRIMS-0010440046          24
 Emails/Attachments   PILGRIMS-0010440049         PILGRIMS-0010440395         196
 Emails/Attachments   PILGRIMS-0010440402         PILGRIMS-0010441902         592
 Emails/Attachments   PILGRIMS-0010441907         PILGRIMS-0010443135         612
 Emails/Attachments   PILGRIMS-0010443141         PILGRIMS-0010443328         101
 Emails/Attachments   PILGRIMS-0010443330         PILGRIMS-0010443332           1
 Emails/Attachments   PILGRIMS-0010443350         PILGRIMS-0010443361          11
 Emails/Attachments   PILGRIMS-0010443365         PILGRIMS-0010443656          83
 Emails/Attachments   PILGRIMS-0010443660         PILGRIMS-0010444090         209
 Emails/Attachments   PILGRIMS-0010444092         PILGRIMS-0010444358         152
 Emails/Attachments   PILGRIMS-0010444361         PILGRIMS-0010444865         241
 Emails/Attachments   PILGRIMS-0010444873         PILGRIMS-0010446884        1,048
 Emails/Attachments   PILGRIMS-0010446915         PILGRIMS-0010448217         383
 Emails/Attachments   PILGRIMS-0010448220         PILGRIMS-0010452405        1,496
 Emails/Attachments   PILGRIMS-0010452422         PILGRIMS-0010457035        1,890
 Emails/Attachments   PILGRIMS-0010457037         PILGRIMS-0010466862        4,408
 Emails/Attachments   PILGRIMS-0010468217         PILGRIMS-0010470242         652
 Emails/Attachments   PILGRIMS-0010470490         PILGRIMS-0010470842          30
 Emails/Attachments   PILGRIMS-0010470844         PILGRIMS-0010471247         226
 Emails/Attachments   PILGRIMS-0010471265         PILGRIMS-0010471285          21
 Emails/Attachments   PILGRIMS-0010471287         PILGRIMS-0010471323          28
 Emails/Attachments   PILGRIMS-0010471325         PILGRIMS-0010471331           7
 Emails/Attachments   PILGRIMS-0010471333         PILGRIMS-0010471339           7
 Emails/Attachments   PILGRIMS-0010471355         PILGRIMS-0010471430          43
 Emails/Attachments   PILGRIMS-0010471433         PILGRIMS-0010471890         271


                                    Page 299 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 323 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010471892         PILGRIMS-0010471902         11
 Emails/Attachments   PILGRIMS-0010471915         PILGRIMS-0010471930          6
 Emails/Attachments   PILGRIMS-0010471934         PILGRIMS-0010472360         180
 Emails/Attachments   PILGRIMS-0010472403         PILGRIMS-0010472424         20
 Emails/Attachments   PILGRIMS-0010472442         PILGRIMS-0010472502         36
 Emails/Attachments   PILGRIMS-0010472504         PILGRIMS-0010472718         107
 Emails/Attachments   PILGRIMS-0010472720         PILGRIMS-0010472740         10
 Emails/Attachments   PILGRIMS-0010472742         PILGRIMS-0010472747          6
 Emails/Attachments   PILGRIMS-0010472770         PILGRIMS-0010472985         134
 Emails/Attachments   PILGRIMS-0010472997         PILGRIMS-0010473318         72
 Emails/Attachments   PILGRIMS-0010473320         PILGRIMS-0010473939         146
 Emails/Attachments   PILGRIMS-0010473941         PILGRIMS-0010473953         12
 Emails/Attachments   PILGRIMS-0010473955         PILGRIMS-0010473958          4
 Emails/Attachments   PILGRIMS-0010473960         PILGRIMS-0010473971         10
 Emails/Attachments   PILGRIMS-0010473973         PILGRIMS-0010473974          2
 Emails/Attachments   PILGRIMS-0010473997         PILGRIMS-0010474001          5
 Emails/Attachments   PILGRIMS-0010474003         PILGRIMS-0010474513         365
 Emails/Attachments   PILGRIMS-0010474519         PILGRIMS-0010474624         81
 Emails/Attachments   PILGRIMS-0010474626         PILGRIMS-0010474652         12
 Emails/Attachments   PILGRIMS-0010474655         PILGRIMS-0010474661          7
 Emails/Attachments   PILGRIMS-0010474664         PILGRIMS-0010474682         18
 Emails/Attachments   PILGRIMS-0010474685         PILGRIMS-0010474697         12
 Emails/Attachments   PILGRIMS-0010474700         PILGRIMS-0010474708          9
 Emails/Attachments   PILGRIMS-0010474714         PILGRIMS-0010474715          2
 Emails/Attachments   PILGRIMS-0010474718         PILGRIMS-0010474720          3
 Emails/Attachments   PILGRIMS-0010474759         PILGRIMS-0010474772         12
 Emails/Attachments   PILGRIMS-0010474774         PILGRIMS-0010474775          2
 Emails/Attachments   PILGRIMS-0010474778         PILGRIMS-0010474792          7
 Emails/Attachments   PILGRIMS-0010474826         PILGRIMS-0010474829          4
 Emails/Attachments   PILGRIMS-0010474832         PILGRIMS-0010474838          7
 Emails/Attachments   PILGRIMS-0010474841         PILGRIMS-0010474843          3
 Emails/Attachments   PILGRIMS-0010474848         PILGRIMS-0010474849          2
 Emails/Attachments   PILGRIMS-0010474852         PILGRIMS-0010474858          7
 Emails/Attachments   PILGRIMS-0010474861         PILGRIMS-0010474871         11
 Emails/Attachments   PILGRIMS-0010474873         PILGRIMS-0010474875          3
 Emails/Attachments   PILGRIMS-0010474877         PILGRIMS-0010474958         23
 Emails/Attachments   PILGRIMS-0010474961         PILGRIMS-0010474973         10
 Emails/Attachments   PILGRIMS-0010474976         PILGRIMS-0010475061         68
 Emails/Attachments   PILGRIMS-0010475064         PILGRIMS-0010475073          9
 Emails/Attachments   PILGRIMS-0010475075         PILGRIMS-0010475086         11
 Emails/Attachments   PILGRIMS-0010475089         PILGRIMS-0010475106         17
 Emails/Attachments   PILGRIMS-0010475109         PILGRIMS-0010475210         41
 Emails/Attachments   PILGRIMS-0010475213         PILGRIMS-0010475245         11
 Emails/Attachments   PILGRIMS-0010475248         PILGRIMS-0010475256          9
 Emails/Attachments   PILGRIMS-0010475258         PILGRIMS-0010475268          6
 Emails/Attachments   PILGRIMS-0010475271         PILGRIMS-0010475273          3


                                    Page 300 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 324 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010475398         PILGRIMS-0010475403          6
 Emails/Attachments   PILGRIMS-0010475406         PILGRIMS-0010475413          6
 Emails/Attachments   PILGRIMS-0010475417         PILGRIMS-0010475427          7
 Emails/Attachments   PILGRIMS-0010475540         PILGRIMS-0010475569         19
 Emails/Attachments   PILGRIMS-0010475572         PILGRIMS-0010475576          5
 Emails/Attachments   PILGRIMS-0010475593         PILGRIMS-0010475594          2
 Emails/Attachments   PILGRIMS-0010475597         PILGRIMS-0010475642         13
 Emails/Attachments   PILGRIMS-0010475645         PILGRIMS-0010475679         11
 Emails/Attachments   PILGRIMS-0010475682         PILGRIMS-0010475684          3
 Emails/Attachments   PILGRIMS-0010475686         PILGRIMS-0010475691          6
 Emails/Attachments   PILGRIMS-0010475694         PILGRIMS-0010475730         35
 Emails/Attachments   PILGRIMS-0010475733         PILGRIMS-0010475767         31
 Emails/Attachments   PILGRIMS-0010475770         PILGRIMS-0010475795         26
 Emails/Attachments   PILGRIMS-0010475798         PILGRIMS-0010475800          3
 Emails/Attachments   PILGRIMS-0010475802         PILGRIMS-0010475807          6
 Emails/Attachments   PILGRIMS-0010475810         PILGRIMS-0010475830         19
 Emails/Attachments   PILGRIMS-0010475833         PILGRIMS-0010475837          5
 Emails/Attachments   PILGRIMS-0010475840         PILGRIMS-0010475854         14
 Emails/Attachments   PILGRIMS-0010475857         PILGRIMS-0010475864          8
 Emails/Attachments   PILGRIMS-0010475867         PILGRIMS-0010475885         17
 Emails/Attachments   PILGRIMS-0010475887         PILGRIMS-0010475888          2
 Emails/Attachments   PILGRIMS-0010475891         PILGRIMS-0010475904         14
 Emails/Attachments   PILGRIMS-0010475907         PILGRIMS-0010475921         15
 Emails/Attachments   PILGRIMS-0010475924         PILGRIMS-0010475953         28
 Emails/Attachments   PILGRIMS-0010475956         PILGRIMS-0010475968         12
 Emails/Attachments   PILGRIMS-0010475973         PILGRIMS-0010475999         21
 Emails/Attachments   PILGRIMS-0010476004         PILGRIMS-0010476015         12
 Emails/Attachments   PILGRIMS-0010476019         PILGRIMS-0010476027          9
 Emails/Attachments   PILGRIMS-0010476030         PILGRIMS-0010476038          9
 Emails/Attachments   PILGRIMS-0010476041         PILGRIMS-0010476052         12
 Emails/Attachments   PILGRIMS-0010476055         PILGRIMS-0010476117         20
 Emails/Attachments   PILGRIMS-0010476208         PILGRIMS-0010476257         35
 Emails/Attachments   PILGRIMS-0010476260         PILGRIMS-0010476298         34
 Emails/Attachments   PILGRIMS-0010476301         PILGRIMS-0010476305          5
 Emails/Attachments   PILGRIMS-0010476308         PILGRIMS-0010476313          6
 Emails/Attachments   PILGRIMS-0010476315         PILGRIMS-0010476316          2
 Emails/Attachments   PILGRIMS-0010476319         PILGRIMS-0010476328         10
 Emails/Attachments   PILGRIMS-0010476330         PILGRIMS-0010476331          2
 Emails/Attachments   PILGRIMS-0010476334         PILGRIMS-0010476372         36
 Emails/Attachments   PILGRIMS-0010476375         PILGRIMS-0010476403         13
 Emails/Attachments   PILGRIMS-0010476406         PILGRIMS-0010476428         23
 Emails/Attachments   PILGRIMS-0010476430         PILGRIMS-0010476431          2
 Emails/Attachments   PILGRIMS-0010476434         PILGRIMS-0010476440          7
 Emails/Attachments   PILGRIMS-0010476442         PILGRIMS-0010476448          7
 Emails/Attachments   PILGRIMS-0010476450         PILGRIMS-0010476621         62
 Emails/Attachments   PILGRIMS-0010476624         PILGRIMS-0010476971         69


                                    Page 301 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 325 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010477001         PILGRIMS-0010477410         107
 Emails/Attachments   PILGRIMS-0010477414         PILGRIMS-0010477458         15
 Emails/Attachments   PILGRIMS-0010477486         PILGRIMS-0010477541          8
 Emails/Attachments   PILGRIMS-0010477569         PILGRIMS-0010477628         12
 Emails/Attachments   PILGRIMS-0010477656         PILGRIMS-0010477723         11
 Emails/Attachments   PILGRIMS-0010477751         PILGRIMS-0010477886         95
 Emails/Attachments   PILGRIMS-0010477889         PILGRIMS-0010478010         101
 Emails/Attachments   PILGRIMS-0010478013         PILGRIMS-0010478023         11
 Emails/Attachments   PILGRIMS-0010478126         PILGRIMS-0010478163         36
 Emails/Attachments   PILGRIMS-0010478193         PILGRIMS-0010478196          4
 Emails/Attachments   PILGRIMS-0010478198         PILGRIMS-0010478199          2
 Emails/Attachments   PILGRIMS-0010478218         PILGRIMS-0010478273          8
 Emails/Attachments   PILGRIMS-0010478301         PILGRIMS-0010478302          2
 Emails/Attachments   PILGRIMS-0010478416         PILGRIMS-0010478477         12
 Emails/Attachments   PILGRIMS-0010478480         PILGRIMS-0010478486          7
 Emails/Attachments   PILGRIMS-0010478489         PILGRIMS-0010478490          2
 Emails/Attachments   PILGRIMS-0010478492         PILGRIMS-0010478493          2
 Emails/Attachments   PILGRIMS-0010478495         PILGRIMS-0010478525          6
 Emails/Attachments   PILGRIMS-0010478528         PILGRIMS-0010478648         24
 Emails/Attachments   PILGRIMS-0010478676         PILGRIMS-0010478735         12
 Emails/Attachments   PILGRIMS-0010478790         PILGRIMS-0010478855         16
 Emails/Attachments   PILGRIMS-0010478883         PILGRIMS-0010478944         13
 Emails/Attachments   PILGRIMS-0010478947         PILGRIMS-0010479128         32
 Emails/Attachments   PILGRIMS-0010479156         PILGRIMS-0010479241         12
 Emails/Attachments   PILGRIMS-0010479244         PILGRIMS-0010479324         20
 Emails/Attachments   PILGRIMS-0010479328         PILGRIMS-0010479332          5
 Emails/Attachments   PILGRIMS-0010479335         PILGRIMS-0010479364         11
 Emails/Attachments   PILGRIMS-0010479367         PILGRIMS-0010479443         40
 Emails/Attachments   PILGRIMS-0010479471         PILGRIMS-0010479552         24
 Emails/Attachments   PILGRIMS-0010479555         PILGRIMS-0010479710         30
 Emails/Attachments   PILGRIMS-0010479738         PILGRIMS-0010479760          5
 Emails/Attachments   PILGRIMS-0010479763         PILGRIMS-0010479796         10
 Emails/Attachments   PILGRIMS-0010479803         PILGRIMS-0010479916         18
 Emails/Attachments   PILGRIMS-0010479944         PILGRIMS-0010480008         17
 Emails/Attachments   PILGRIMS-0010480011         PILGRIMS-0010480073         15
 Emails/Attachments   PILGRIMS-0010480101         PILGRIMS-0010480136         11
 Emails/Attachments   PILGRIMS-0010480139         PILGRIMS-0010480148          9
 Emails/Attachments   PILGRIMS-0010480151         PILGRIMS-0010480196         19
 Emails/Attachments   PILGRIMS-0010480199         PILGRIMS-0010480210         12
 Emails/Attachments   PILGRIMS-0010480212         PILGRIMS-0010480219          6
 Emails/Attachments   PILGRIMS-0010480222         PILGRIMS-0010480232          8
 Emails/Attachments   PILGRIMS-0010480234         PILGRIMS-0010480286         49
 Emails/Attachments   PILGRIMS-0010480289         PILGRIMS-0010480302         14
 Emails/Attachments   PILGRIMS-0010480304         PILGRIMS-0010480317         11
 Emails/Attachments   PILGRIMS-0010480319         PILGRIMS-0010480331          9
 Emails/Attachments   PILGRIMS-0010480333         PILGRIMS-0010480340          5


                                    Page 302 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 326 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010480343         PILGRIMS-0010480368         22
 Emails/Attachments   PILGRIMS-0010480371         PILGRIMS-0010480386         16
 Emails/Attachments   PILGRIMS-0010480398         PILGRIMS-0010480410          2
 Emails/Attachments   PILGRIMS-0010480413         PILGRIMS-0010480442          9
 Emails/Attachments   PILGRIMS-0010480464         PILGRIMS-0010480579         16
 Emails/Attachments   PILGRIMS-0010480582         PILGRIMS-0010480588          7
 Emails/Attachments   PILGRIMS-0010480592         PILGRIMS-0010480596          5
 Emails/Attachments   PILGRIMS-0010480599         PILGRIMS-0010480637         18
 Emails/Attachments   PILGRIMS-0010480640         PILGRIMS-0010480674         18
 Emails/Attachments   PILGRIMS-0010480677         PILGRIMS-0010480700         22
 Emails/Attachments   PILGRIMS-0010480703         PILGRIMS-0010480715         10
 Emails/Attachments   PILGRIMS-0010480717         PILGRIMS-0010480743         16
 Emails/Attachments   PILGRIMS-0010480745         PILGRIMS-0010480784         16
 Emails/Attachments   PILGRIMS-0010480814         PILGRIMS-0010480820          7
 Emails/Attachments   PILGRIMS-0010480823         PILGRIMS-0010480837         15
 Emails/Attachments   PILGRIMS-0010480840         PILGRIMS-0010480860         21
 Emails/Attachments   PILGRIMS-0010480863         PILGRIMS-0010480892         24
 Emails/Attachments   PILGRIMS-0010480896         PILGRIMS-0010480919         12
 Emails/Attachments   PILGRIMS-0010480922         PILGRIMS-0010480945         11
 Emails/Attachments   PILGRIMS-0010480948         PILGRIMS-0010480985         31
 Emails/Attachments   PILGRIMS-0010480988         PILGRIMS-0010480990          3
 Emails/Attachments   PILGRIMS-0010480992         PILGRIMS-0010481027         28
 Emails/Attachments   PILGRIMS-0010481029         PILGRIMS-0010481062         23
 Emails/Attachments   PILGRIMS-0010481065         PILGRIMS-0010481087         16
 Emails/Attachments   PILGRIMS-0010481090         PILGRIMS-0010481112         21
 Emails/Attachments   PILGRIMS-0010481115         PILGRIMS-0010481132         17
 Emails/Attachments   PILGRIMS-0010481134         PILGRIMS-0010481135          2
 Emails/Attachments   PILGRIMS-0010481138         PILGRIMS-0010481146          9
 Emails/Attachments   PILGRIMS-0010481149         PILGRIMS-0010481153          5
 Emails/Attachments   PILGRIMS-0010481155         PILGRIMS-0010481159          4
 Emails/Attachments   PILGRIMS-0010481162         PILGRIMS-0010481163          2
 Emails/Attachments   PILGRIMS-0010481165         PILGRIMS-0010481167          2
 Emails/Attachments   PILGRIMS-0010481170         PILGRIMS-0010481199         16
 Emails/Attachments   PILGRIMS-0010481202         PILGRIMS-0010481256         32
 Emails/Attachments   PILGRIMS-0010481259         PILGRIMS-0010481263          5
 Emails/Attachments   PILGRIMS-0010481270         PILGRIMS-0010481321         14
 Emails/Attachments   PILGRIMS-0010481324         PILGRIMS-0010481334         11
 Emails/Attachments   PILGRIMS-0010481337         PILGRIMS-0010481342          6
 Emails/Attachments   PILGRIMS-0010481346         PILGRIMS-0010481361         13
 Emails/Attachments   PILGRIMS-0010481366         PILGRIMS-0010481370          2
 Emails/Attachments   PILGRIMS-0010481372         PILGRIMS-0010481377          2
 Emails/Attachments   PILGRIMS-0010481379         PILGRIMS-0010481387          6
 Emails/Attachments   PILGRIMS-0010481389         PILGRIMS-0010481396          8
 Emails/Attachments   PILGRIMS-0010481399         PILGRIMS-0010481404          6
 Emails/Attachments   PILGRIMS-0010481409         PILGRIMS-0010481444         17
 Emails/Attachments   PILGRIMS-0010481447         PILGRIMS-0010481514         33


                                    Page 303 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 327 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010481517         PILGRIMS-0010481530         11
 Emails/Attachments   PILGRIMS-0010481535         PILGRIMS-0010481542          3
 Emails/Attachments   PILGRIMS-0010481545         PILGRIMS-0010481569         14
 Emails/Attachments   PILGRIMS-0010481572         PILGRIMS-0010481589          9
 Emails/Attachments   PILGRIMS-0010481591         PILGRIMS-0010481623          8
 Emails/Attachments   PILGRIMS-0010481625         PILGRIMS-0010481721         47
 Emails/Attachments   PILGRIMS-0010481724         PILGRIMS-0010481738         11
 Emails/Attachments   PILGRIMS-0010481741         PILGRIMS-0010481904         51
 Emails/Attachments   PILGRIMS-0010481907         PILGRIMS-0010481918         12
 Emails/Attachments   PILGRIMS-0010481920         PILGRIMS-0010481933          8
 Emails/Attachments   PILGRIMS-0010481937         PILGRIMS-0010481951         15
 Emails/Attachments   PILGRIMS-0010481954         PILGRIMS-0010482000         26
 Emails/Attachments   PILGRIMS-0010482003         PILGRIMS-0010482070         24
 Emails/Attachments   PILGRIMS-0010482073         PILGRIMS-0010482102         22
 Emails/Attachments   PILGRIMS-0010482105         PILGRIMS-0010482149         17
 Emails/Attachments   PILGRIMS-0010482176         PILGRIMS-0010482207          4
 Emails/Attachments   PILGRIMS-0010482210         PILGRIMS-0010482240         21
 Emails/Attachments   PILGRIMS-0010482243         PILGRIMS-0010482261         11
 Emails/Attachments   PILGRIMS-0010482264         PILGRIMS-0010482388         38
 Emails/Attachments   PILGRIMS-0010482391         PILGRIMS-0010482479         26
 Emails/Attachments   PILGRIMS-0010482535         PILGRIMS-0010482738         25
 Emails/Attachments   PILGRIMS-0010482741         PILGRIMS-0010482840         19
 Emails/Attachments   PILGRIMS-0010482856         PILGRIMS-0010482857          2
 Emails/Attachments   PILGRIMS-0010482906         PILGRIMS-0010483030         13
 Emails/Attachments   PILGRIMS-0010483033         PILGRIMS-0010483076         26
 Emails/Attachments   PILGRIMS-0010483079         PILGRIMS-0010483096         14
 Emails/Attachments   PILGRIMS-0010483099         PILGRIMS-0010483143         19
 Emails/Attachments   PILGRIMS-0010483146         PILGRIMS-0010483178         22
 Emails/Attachments   PILGRIMS-0010483181         PILGRIMS-0010483187          7
 Emails/Attachments   PILGRIMS-0010483190         PILGRIMS-0010483234         12
 Emails/Attachments   PILGRIMS-0010483237         PILGRIMS-0010483238          2
 Emails/Attachments   PILGRIMS-0010483241         PILGRIMS-0010483249          9
 Emails/Attachments   PILGRIMS-0010483252         PILGRIMS-0010483260          9
 Emails/Attachments   PILGRIMS-0010483263         PILGRIMS-0010483271          5
 Emails/Attachments   PILGRIMS-0010483273         PILGRIMS-0010483283          9
 Emails/Attachments   PILGRIMS-0010483286         PILGRIMS-0010483402         31
 Emails/Attachments   PILGRIMS-0010483404         PILGRIMS-0010483418         15
 Emails/Attachments   PILGRIMS-0010483446         PILGRIMS-0010483453          6
 Emails/Attachments   PILGRIMS-0010483456         PILGRIMS-0010483462          7
 Emails/Attachments   PILGRIMS-0010483465         PILGRIMS-0010483469          5
 Emails/Attachments   PILGRIMS-0010483472         PILGRIMS-0010483474          3
 Emails/Attachments   PILGRIMS-0010483476         PILGRIMS-0010483477          2
 Emails/Attachments   PILGRIMS-0010483480         PILGRIMS-0010483491          8
 Emails/Attachments   PILGRIMS-0010483494         PILGRIMS-0010483505         12
 Emails/Attachments   PILGRIMS-0010483590         PILGRIMS-0010483622          6
 Emails/Attachments   PILGRIMS-0010483655         PILGRIMS-0010483661          7


                                    Page 304 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 328 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010483664         PILGRIMS-0010483747         25
 Emails/Attachments   PILGRIMS-0010483750         PILGRIMS-0010483752          3
 Emails/Attachments   PILGRIMS-0010483755         PILGRIMS-0010483756          2
 Emails/Attachments   PILGRIMS-0010483758         PILGRIMS-0010483763          6
 Emails/Attachments   PILGRIMS-0010483765         PILGRIMS-0010483768          4
 Emails/Attachments   PILGRIMS-0010483800         PILGRIMS-0010483812          8
 Emails/Attachments   PILGRIMS-0010483843         PILGRIMS-0010483871         13
 Emails/Attachments   PILGRIMS-0010483874         PILGRIMS-0010483884         10
 Emails/Attachments   PILGRIMS-0010483888         PILGRIMS-0010483890          3
 Emails/Attachments   PILGRIMS-0010483892         PILGRIMS-0010483897          3
 Emails/Attachments   PILGRIMS-0010483900         PILGRIMS-0010483904          5
 Emails/Attachments   PILGRIMS-0010483907         PILGRIMS-0010483922         15
 Emails/Attachments   PILGRIMS-0010483925         PILGRIMS-0010483931          7
 Emails/Attachments   PILGRIMS-0010483934         PILGRIMS-0010483938          5
 Emails/Attachments   PILGRIMS-0010483941         PILGRIMS-0010483951          9
 Emails/Attachments   PILGRIMS-0010483954         PILGRIMS-0010483966         10
 Emails/Attachments   PILGRIMS-0010483968         PILGRIMS-0010483969          2
 Emails/Attachments   PILGRIMS-0010483972         PILGRIMS-0010483976          5
 Emails/Attachments   PILGRIMS-0010483978         PILGRIMS-0010483982          3
 Emails/Attachments   PILGRIMS-0010483985         PILGRIMS-0010483989          5
 Emails/Attachments   PILGRIMS-0010483992         PILGRIMS-0010483996          5
 Emails/Attachments   PILGRIMS-0010483999         PILGRIMS-0010484006          5
 Emails/Attachments   PILGRIMS-0010484008         PILGRIMS-0010484017          7
 Emails/Attachments   PILGRIMS-0010484020         PILGRIMS-0010484026          7
 Emails/Attachments   PILGRIMS-0010484029         PILGRIMS-0010484052         15
 Emails/Attachments   PILGRIMS-0010484055         PILGRIMS-0010484059          5
 Emails/Attachments   PILGRIMS-0010484062         PILGRIMS-0010484066          5
 Emails/Attachments   PILGRIMS-0010484069         PILGRIMS-0010484073          5
 Emails/Attachments   PILGRIMS-0010484076         PILGRIMS-0010484084          6
 Emails/Attachments   PILGRIMS-0010484087         PILGRIMS-0010484104         11
 Emails/Attachments   PILGRIMS-0010484107         PILGRIMS-0010484118          9
 Emails/Attachments   PILGRIMS-0010484121         PILGRIMS-0010484129          9
 Emails/Attachments   PILGRIMS-0010484132         PILGRIMS-0010484136          5
 Emails/Attachments   PILGRIMS-0010484139         PILGRIMS-0010484143          5
 Emails/Attachments   PILGRIMS-0010484145         PILGRIMS-0010484168          7
 Emails/Attachments   PILGRIMS-0010484171         PILGRIMS-0010484178          6
 Emails/Attachments   PILGRIMS-0010484181         PILGRIMS-0010484232         14
 Emails/Attachments   PILGRIMS-0010484234         PILGRIMS-0010484243         10
 Emails/Attachments   PILGRIMS-0010484246         PILGRIMS-0010484256          9
 Emails/Attachments   PILGRIMS-0010484259         PILGRIMS-0010484263          5
 Emails/Attachments   PILGRIMS-0010484266         PILGRIMS-0010484273          8
 Emails/Attachments   PILGRIMS-0010484275         PILGRIMS-0010484276          2
 Emails/Attachments   PILGRIMS-0010484279         PILGRIMS-0010484281          3
 Emails/Attachments   PILGRIMS-0010484326         PILGRIMS-0010484327          2
 Emails/Attachments   PILGRIMS-0010484330         PILGRIMS-0010484364         11
 Emails/Attachments   PILGRIMS-0010484367         PILGRIMS-0010484375          9


                                    Page 305 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 329 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010484378         PILGRIMS-0010484395         18
 Emails/Attachments   PILGRIMS-0010484397         PILGRIMS-0010484405          9
 Emails/Attachments   PILGRIMS-0010484408         PILGRIMS-0010484409          2
 Emails/Attachments   PILGRIMS-0010484411         PILGRIMS-0010484415          5
 Emails/Attachments   PILGRIMS-0010484417         PILGRIMS-0010484418          2
 Emails/Attachments   PILGRIMS-0010484421         PILGRIMS-0010484429          9
 Emails/Attachments   PILGRIMS-0010484432         PILGRIMS-0010484438          7
 Emails/Attachments   PILGRIMS-0010484441         PILGRIMS-0010484465         15
 Emails/Attachments   PILGRIMS-0010484468         PILGRIMS-0010484478          7
 Emails/Attachments   PILGRIMS-0010484481         PILGRIMS-0010484485          5
 Emails/Attachments   PILGRIMS-0010484488         PILGRIMS-0010484492          5
 Emails/Attachments   PILGRIMS-0010484495         PILGRIMS-0010484499          5
 Emails/Attachments   PILGRIMS-0010484502         PILGRIMS-0010484509          8
 Emails/Attachments   PILGRIMS-0010484512         PILGRIMS-0010484554         19
 Emails/Attachments   PILGRIMS-0010484557         PILGRIMS-0010484572         14
 Emails/Attachments   PILGRIMS-0010484575         PILGRIMS-0010484584          8
 Emails/Attachments   PILGRIMS-0010484586         PILGRIMS-0010484589          4
 Emails/Attachments   PILGRIMS-0010484593         PILGRIMS-0010484595          3
 Emails/Attachments   PILGRIMS-0010484597         PILGRIMS-0010484615         17
 Emails/Attachments   PILGRIMS-0010484618         PILGRIMS-0010484620          3
 Emails/Attachments   PILGRIMS-0010484623         PILGRIMS-0010484624          2
 Emails/Attachments   PILGRIMS-0010484626         PILGRIMS-0010484660         30
 Emails/Attachments   PILGRIMS-0010484663         PILGRIMS-0010484678         11
 Emails/Attachments   PILGRIMS-0010484682         PILGRIMS-0010484710         23
 Emails/Attachments   PILGRIMS-0010484714         PILGRIMS-0010484728          9
 Emails/Attachments   PILGRIMS-0010484733         PILGRIMS-0010484735          3
 Emails/Attachments   PILGRIMS-0010484739         PILGRIMS-0010484763         20
 Emails/Attachments   PILGRIMS-0010484766         PILGRIMS-0010484789         18
 Emails/Attachments   PILGRIMS-0010484795         PILGRIMS-0010484802          6
 Emails/Attachments   PILGRIMS-0010484806         PILGRIMS-0010484807          1
 Emails/Attachments   PILGRIMS-0010484810         PILGRIMS-0010484813          3
 Emails/Attachments   PILGRIMS-0010484815         PILGRIMS-0010484855         33
 Emails/Attachments   PILGRIMS-0010484857         PILGRIMS-0010484869         12
 Emails/Attachments   PILGRIMS-0010484872         PILGRIMS-0010484889         15
 Emails/Attachments   PILGRIMS-0010484896         PILGRIMS-0010484914         15
 Emails/Attachments   PILGRIMS-0010484918         PILGRIMS-0010484932         11
 Emails/Attachments   PILGRIMS-0010484935         PILGRIMS-0010484964         24
 Emails/Attachments   PILGRIMS-0010484967         PILGRIMS-0010484969          3
 Emails/Attachments   PILGRIMS-0010484971         PILGRIMS-0010485005         32
 Emails/Attachments   PILGRIMS-0010485007         PILGRIMS-0010485055         39
 Emails/Attachments   PILGRIMS-0010485059         PILGRIMS-0010485062          3
 Emails/Attachments   PILGRIMS-0010485066         PILGRIMS-0010485073          6
 Emails/Attachments   PILGRIMS-0010485077         PILGRIMS-0010485082          5
 Emails/Attachments   PILGRIMS-0010485086         PILGRIMS-0010485092          7
 Emails/Attachments   PILGRIMS-0010485095         PILGRIMS-0010485103          9
 Emails/Attachments   PILGRIMS-0010485106         PILGRIMS-0010485116         11


                                    Page 306 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 330 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010485119         PILGRIMS-0010485139         13
 Emails/Attachments   PILGRIMS-0010485142         PILGRIMS-0010485152          9
 Emails/Attachments   PILGRIMS-0010485157         PILGRIMS-0010485166          7
 Emails/Attachments   PILGRIMS-0010485169         PILGRIMS-0010485177          4
 Emails/Attachments   PILGRIMS-0010485181         PILGRIMS-0010485186          2
 Emails/Attachments   PILGRIMS-0010485191         PILGRIMS-0010485208          8
 Emails/Attachments   PILGRIMS-0010485213         PILGRIMS-0010485253         20
 Emails/Attachments   PILGRIMS-0010485259         PILGRIMS-0010485286         19
 Emails/Attachments   PILGRIMS-0010485291         PILGRIMS-0010485315         15
 Emails/Attachments   PILGRIMS-0010485324         PILGRIMS-0010485353         16
 Emails/Attachments   PILGRIMS-0010485362         PILGRIMS-0010485373          3
 Emails/Attachments   PILGRIMS-0010485378         PILGRIMS-0010485388          5
 Emails/Attachments   PILGRIMS-0010485392         PILGRIMS-0010485401          6
 Emails/Attachments   PILGRIMS-0010485404         PILGRIMS-0010485430         24
 Emails/Attachments   PILGRIMS-0010485433         PILGRIMS-0010485443          7
 Emails/Attachments   PILGRIMS-0010485446         PILGRIMS-0010485455          7
 Emails/Attachments   PILGRIMS-0010485459         PILGRIMS-0010485478         10
 Emails/Attachments   PILGRIMS-0010485485         PILGRIMS-0010485504         13
 Emails/Attachments   PILGRIMS-0010485509         PILGRIMS-0010485528         17
 Emails/Attachments   PILGRIMS-0010485531         PILGRIMS-0010485541          9
 Emails/Attachments   PILGRIMS-0010485546         PILGRIMS-0010485549          3
 Emails/Attachments   PILGRIMS-0010485553         PILGRIMS-0010485581         19
 Emails/Attachments   PILGRIMS-0010485587         PILGRIMS-0010485607          9
 Emails/Attachments   PILGRIMS-0010485609         PILGRIMS-0010485611          3
 Emails/Attachments   PILGRIMS-0010485614         PILGRIMS-0010485617          3
 Emails/Attachments   PILGRIMS-0010485620         PILGRIMS-0010485637         13
 Emails/Attachments   PILGRIMS-0010485641         PILGRIMS-0010485645          4
 Emails/Attachments   PILGRIMS-0010485648         PILGRIMS-0010485671         18
 Emails/Attachments   PILGRIMS-0010485677         PILGRIMS-0010485712         24
 Emails/Attachments   PILGRIMS-0010485722         PILGRIMS-0010485756         26
 Emails/Attachments   PILGRIMS-0010485767         PILGRIMS-0010485778          9
 Emails/Attachments   PILGRIMS-0010485782         PILGRIMS-0010485811         21
 Emails/Attachments   PILGRIMS-0010485817         PILGRIMS-0010485823          5
 Emails/Attachments   PILGRIMS-0010485830         PILGRIMS-0010485851         16
 Emails/Attachments   PILGRIMS-0010485854         PILGRIMS-0010485855          1
 Emails/Attachments   PILGRIMS-0010485858         PILGRIMS-0010485881         17
 Emails/Attachments   PILGRIMS-0010485885         PILGRIMS-0010485925         34
 Emails/Attachments   PILGRIMS-0010485928         PILGRIMS-0010485949         20
 Emails/Attachments   PILGRIMS-0010485952         PILGRIMS-0010485965         12
 Emails/Attachments   PILGRIMS-0010485970         PILGRIMS-0010485991         21
 Emails/Attachments   PILGRIMS-0010485995         PILGRIMS-0010485997          3
 Emails/Attachments   PILGRIMS-0010486000         PILGRIMS-0010486007          6
 Emails/Attachments   PILGRIMS-0010486010         PILGRIMS-0010486017          6
 Emails/Attachments   PILGRIMS-0010486020         PILGRIMS-0010486025          6
 Emails/Attachments   PILGRIMS-0010486027         PILGRIMS-0010486035          8
 Emails/Attachments   PILGRIMS-0010486040         PILGRIMS-0010486043          4


                                    Page 307 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 331 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010486047         PILGRIMS-0010486084         27
 Emails/Attachments   PILGRIMS-0010486088         PILGRIMS-0010486103         13
 Emails/Attachments   PILGRIMS-0010486105         PILGRIMS-0010486113          9
 Emails/Attachments   PILGRIMS-0010486118         PILGRIMS-0010486122          5
 Emails/Attachments   PILGRIMS-0010486125         PILGRIMS-0010486132          6
 Emails/Attachments   PILGRIMS-0010486136         PILGRIMS-0010486152         15
 Emails/Attachments   PILGRIMS-0010486156         PILGRIMS-0010486158          3
 Emails/Attachments   PILGRIMS-0010486160         PILGRIMS-0010486163          4
 Emails/Attachments   PILGRIMS-0010486165         PILGRIMS-0010486168          3
 Emails/Attachments   PILGRIMS-0010486171         PILGRIMS-0010486174          3
 Emails/Attachments   PILGRIMS-0010486179         PILGRIMS-0010486194         12
 Emails/Attachments   PILGRIMS-0010486200         PILGRIMS-0010486203          3
 Emails/Attachments   PILGRIMS-0010486206         PILGRIMS-0010486208          3
 Emails/Attachments   PILGRIMS-0010486212         PILGRIMS-0010486231         15
 Emails/Attachments   PILGRIMS-0010486234         PILGRIMS-0010486241          6
 Emails/Attachments   PILGRIMS-0010486246         PILGRIMS-0010486249          2
 Emails/Attachments   PILGRIMS-0010486251         PILGRIMS-0010486255          4
 Emails/Attachments   PILGRIMS-0010486258         PILGRIMS-0010486269          9
 Emails/Attachments   PILGRIMS-0010486273         PILGRIMS-0010486290         14
 Emails/Attachments   PILGRIMS-0010486293         PILGRIMS-0010486296          3
 Emails/Attachments   PILGRIMS-0010486299         PILGRIMS-0010486302          3
 Emails/Attachments   PILGRIMS-0010486305         PILGRIMS-0010486310          5
 Emails/Attachments   PILGRIMS-0010486313         PILGRIMS-0010486320          6
 Emails/Attachments   PILGRIMS-0010486323         PILGRIMS-0010486326          3
 Emails/Attachments   PILGRIMS-0010486329         PILGRIMS-0010486330          2
 Emails/Attachments   PILGRIMS-0010486332         PILGRIMS-0010486340          6
 Emails/Attachments   PILGRIMS-0010486345         PILGRIMS-0010486353          7
 Emails/Attachments   PILGRIMS-0010486356         PILGRIMS-0010486359          3
 Emails/Attachments   PILGRIMS-0010486364         PILGRIMS-0010486453         54
 Emails/Attachments   PILGRIMS-0010486461         PILGRIMS-0010488510         740
 Emails/Attachments   PILGRIMS-0010488515         PILGRIMS-0010488572         43
 Emails/Attachments   PILGRIMS-0010488574         PILGRIMS-0010488762         134
 Emails/Attachments   PILGRIMS-0010488764         PILGRIMS-0010488781         11
 Emails/Attachments   PILGRIMS-0010488783         PILGRIMS-0010489080         244
 Emails/Attachments   PILGRIMS-0010489093         PILGRIMS-0010489147         31
 Emails/Attachments   PILGRIMS-0010489150         PILGRIMS-0010489151          2
 Emails/Attachments   PILGRIMS-0010489154         PILGRIMS-0010489155          2
 Emails/Attachments   PILGRIMS-0010489162         PILGRIMS-0010489179         10
 Emails/Attachments   PILGRIMS-0010489182         PILGRIMS-0010489187          3
 Emails/Attachments   PILGRIMS-0010489190         PILGRIMS-0010489195          4
 Emails/Attachments   PILGRIMS-0010489198         PILGRIMS-0010489235         20
 Emails/Attachments   PILGRIMS-0010489238         PILGRIMS-0010489246          5
 Emails/Attachments   PILGRIMS-0010489250         PILGRIMS-0010489274         13
 Emails/Attachments   PILGRIMS-0010489276         PILGRIMS-0010489280          3
 Emails/Attachments   PILGRIMS-0010489284         PILGRIMS-0010489295          3
 Emails/Attachments   PILGRIMS-0010489299         PILGRIMS-0010489332         22


                                    Page 308 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 332 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010489334         PILGRIMS-0010489363         15
 Emails/Attachments   PILGRIMS-0010489369         PILGRIMS-0010489397         14
 Emails/Attachments   PILGRIMS-0010489399         PILGRIMS-0010489402          4
 Emails/Attachments   PILGRIMS-0010489404         PILGRIMS-0010489449         27
 Emails/Attachments   PILGRIMS-0010489451         PILGRIMS-0010489546         70
 Emails/Attachments   PILGRIMS-0010489549         PILGRIMS-0010489550          2
 Emails/Attachments   PILGRIMS-0010489552         PILGRIMS-0010489558          4
 Emails/Attachments   PILGRIMS-0010489560         PILGRIMS-0010489570          5
 Emails/Attachments   PILGRIMS-0010489573         PILGRIMS-0010489708         94
 Emails/Attachments   PILGRIMS-0010489712         PILGRIMS-0010489724         10
 Emails/Attachments   PILGRIMS-0010489727         PILGRIMS-0010489921         99
 Emails/Attachments   PILGRIMS-0010489924         PILGRIMS-0010489927          2
 Emails/Attachments   PILGRIMS-0010489930         PILGRIMS-0010490169         19
 Emails/Attachments   PILGRIMS-0010490171         PILGRIMS-0010490244         51
 Emails/Attachments   PILGRIMS-0010490247         PILGRIMS-0010490248          1
 Emails/Attachments   PILGRIMS-0010490251         PILGRIMS-0010490265          5
 Emails/Attachments   PILGRIMS-0010490269         PILGRIMS-0010490279          3
 Emails/Attachments   PILGRIMS-0010490284         PILGRIMS-0010490301         11
 Emails/Attachments   PILGRIMS-0010490303         PILGRIMS-0010490303          1
 Emails/Attachments   PILGRIMS-0010490306         PILGRIMS-0010490313          7
 Emails/Attachments   PILGRIMS-0010490316         PILGRIMS-0010490363         33
 Emails/Attachments   PILGRIMS-0010490365         PILGRIMS-0010490385         12
 Emails/Attachments   PILGRIMS-0010490387         PILGRIMS-0010490443         45
 Emails/Attachments   PILGRIMS-0010490448         PILGRIMS-0010490505         16
 Emails/Attachments   PILGRIMS-0010490518         PILGRIMS-0010491064         398
 Emails/Attachments   PILGRIMS-0010491066         PILGRIMS-0010491140         45
 Emails/Attachments   PILGRIMS-0010491142         PILGRIMS-0010491146          5
 Emails/Attachments   PILGRIMS-0010491148         PILGRIMS-0010491160         12
 Emails/Attachments   PILGRIMS-0010491162         PILGRIMS-0010491182         21
 Emails/Attachments   PILGRIMS-0010491184         PILGRIMS-0010491344         95
 Emails/Attachments   PILGRIMS-0010491346         PILGRIMS-0010491351          6
 Emails/Attachments   PILGRIMS-0010491353         PILGRIMS-0010491601         24
 Emails/Attachments   PILGRIMS-0010491603         PILGRIMS-0010491604          2
 Emails/Attachments   PILGRIMS-0010491608         PILGRIMS-0010491664          2
 Emails/Attachments   PILGRIMS-0010491666         PILGRIMS-0010491727          3
 Emails/Attachments   PILGRIMS-0010491729         PILGRIMS-0010491775          5
 Emails/Attachments   PILGRIMS-0010491778         PILGRIMS-0010491786          9
 Emails/Attachments   PILGRIMS-0010491788         PILGRIMS-0010491970         16
 Emails/Attachments   PILGRIMS-0010491972         PILGRIMS-0010492042          7
 Emails/Attachments   PILGRIMS-0010492044         PILGRIMS-0010492291         16
 Emails/Attachments   PILGRIMS-0010492293         PILGRIMS-0010492392          7
 Emails/Attachments   PILGRIMS-0010492394         PILGRIMS-0010492654         125
 Emails/Attachments   PILGRIMS-0010492656         PILGRIMS-0010492718         27
 Emails/Attachments   PILGRIMS-0010492720         PILGRIMS-0010492726          5
 Emails/Attachments   PILGRIMS-0010492731         PILGRIMS-0010492741          4
 Emails/Attachments   PILGRIMS-0010492743         PILGRIMS-0010492751          9


                                    Page 309 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 333 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010492754         PILGRIMS-0010492759          6
 Emails/Attachments   PILGRIMS-0010492761         PILGRIMS-0010492792         30
 Emails/Attachments   PILGRIMS-0010492794         PILGRIMS-0010492916         32
 Emails/Attachments   PILGRIMS-0010492918         PILGRIMS-0010493010         19
 Emails/Attachments   PILGRIMS-0010493013         PILGRIMS-0010493095         47
 Emails/Attachments   PILGRIMS-0010493098         PILGRIMS-0010493170         20
 Emails/Attachments   PILGRIMS-0010493172         PILGRIMS-0010493219         39
 Emails/Attachments   PILGRIMS-0010493221         PILGRIMS-0010493236         15
 Emails/Attachments   PILGRIMS-0010493238         PILGRIMS-0010493314         72
 Emails/Attachments   PILGRIMS-0010493316         PILGRIMS-0010493400         35
 Emails/Attachments   PILGRIMS-0010493475         PILGRIMS-0010493503         29
 Emails/Attachments   PILGRIMS-0010493506         PILGRIMS-0010493511          6
 Emails/Attachments   PILGRIMS-0010493514         PILGRIMS-0010493543         30
 Emails/Attachments   PILGRIMS-0010493546         PILGRIMS-0010493567         22
 Emails/Attachments   PILGRIMS-0010493572         PILGRIMS-0010493593         22
 Emails/Attachments   PILGRIMS-0010493596         PILGRIMS-0010493613         18
 Emails/Attachments   PILGRIMS-0010493616         PILGRIMS-0010493621          6
 Emails/Attachments   PILGRIMS-0010493645         PILGRIMS-0010493650          6
 Emails/Attachments   PILGRIMS-0010493655         PILGRIMS-0010493658          4
 Emails/Attachments   PILGRIMS-0010493663         PILGRIMS-0010493680         18
 Emails/Attachments   PILGRIMS-0010493683         PILGRIMS-0010493690          8
 Emails/Attachments   PILGRIMS-0010493693         PILGRIMS-0010493702         10
 Emails/Attachments   PILGRIMS-0010493705         PILGRIMS-0010493706          2
 Emails/Attachments   PILGRIMS-0010493717         PILGRIMS-0010493718          2
 Emails/Attachments   PILGRIMS-0010493721         PILGRIMS-0010493728          8
 Emails/Attachments   PILGRIMS-0010493739         PILGRIMS-0010493744          6
 Emails/Attachments   PILGRIMS-0010493747         PILGRIMS-0010493752          6
 Emails/Attachments   PILGRIMS-0010493755         PILGRIMS-0010493760          6
 Emails/Attachments   PILGRIMS-0010493769         PILGRIMS-0010493772          4
 Emails/Attachments   PILGRIMS-0010493775         PILGRIMS-0010493784         10
 Emails/Attachments   PILGRIMS-0010493955         PILGRIMS-0010493960          1
 Emails/Attachments   PILGRIMS-0010493966         PILGRIMS-0010493977          2
 Emails/Attachments   PILGRIMS-0010494053         PILGRIMS-0010494102         32
 Emails/Attachments   PILGRIMS-0010494105         PILGRIMS-0010494790         378
 Emails/Attachments   PILGRIMS-0010494792         PILGRIMS-0010495104         192
 Emails/Attachments   PILGRIMS-0010495117         PILGRIMS-0010495120          3
 Emails/Attachments   PILGRIMS-0010495625         PILGRIMS-0010495898         190
 Emails/Attachments   PILGRIMS-0010495901         PILGRIMS-0010496067         145
 Emails/Attachments   PILGRIMS-0010496069         PILGRIMS-0010496897         211
 Emails/Attachments   PILGRIMS-0010500191         PILGRIMS-0010500266         59
 Emails/Attachments   PILGRIMS-0010500268         PILGRIMS-0010500288         21
 Emails/Attachments   PILGRIMS-0010500290         PILGRIMS-0010500323         25
 Emails/Attachments   PILGRIMS-0010500326         PILGRIMS-0010500332          4
 Emails/Attachments   PILGRIMS-0010500334         PILGRIMS-0010500340          7
 Emails/Attachments   PILGRIMS-0010500342         PILGRIMS-0010500348          7
 Emails/Attachments   PILGRIMS-0010500357         PILGRIMS-0010500408         33


                                    Page 310 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 334 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010500416         PILGRIMS-0010500450         35
 Emails/Attachments   PILGRIMS-0010500453         PILGRIMS-0010500473         21
 Emails/Attachments   PILGRIMS-0010500479         PILGRIMS-0010500520         39
 Emails/Attachments   PILGRIMS-0010500524         PILGRIMS-0010500564         26
 Emails/Attachments   PILGRIMS-0010500573         PILGRIMS-0010500600          7
 Emails/Attachments   PILGRIMS-0010500602         PILGRIMS-0010500926         53
 Emails/Attachments   PILGRIMS-0010500928         PILGRIMS-0010500967         36
 Emails/Attachments   PILGRIMS-0010500969         PILGRIMS-0010501029         52
 Emails/Attachments   PILGRIMS-0010501031         PILGRIMS-0010501149         48
 Emails/Attachments   PILGRIMS-0010501151         PILGRIMS-0010501204         45
 Emails/Attachments   PILGRIMS-0010501206         PILGRIMS-0010501385         103
 Emails/Attachments   PILGRIMS-0010501387         PILGRIMS-0010501679         153
 Emails/Attachments   PILGRIMS-0010501681         PILGRIMS-0010501770         73
 Emails/Attachments   PILGRIMS-0010501772         PILGRIMS-0010501792         17
 Emails/Attachments   PILGRIMS-0010501794         PILGRIMS-0010501895         84
 Emails/Attachments   PILGRIMS-0010501897         PILGRIMS-0010501945         36
 Emails/Attachments   PILGRIMS-0010501947         PILGRIMS-0010501950          4
 Emails/Attachments   PILGRIMS-0010501952         PILGRIMS-0010501975         23
 Emails/Attachments   PILGRIMS-0010501977         PILGRIMS-0010502008         32
 Emails/Attachments   PILGRIMS-0010502010         PILGRIMS-0010502013          4
 Emails/Attachments   PILGRIMS-0010502015         PILGRIMS-0010502046         29
 Emails/Attachments   PILGRIMS-0010502048         PILGRIMS-0010502077         28
 Emails/Attachments   PILGRIMS-0010502079         PILGRIMS-0010502091         13
 Emails/Attachments   PILGRIMS-0010502094         PILGRIMS-0010502098          4
 Emails/Attachments   PILGRIMS-0010502100         PILGRIMS-0010502126         17
 Emails/Attachments   PILGRIMS-0010502128         PILGRIMS-0010502129          2
 Emails/Attachments   PILGRIMS-0010502147         PILGRIMS-0010502206         52
 Emails/Attachments   PILGRIMS-0010502208         PILGRIMS-0010502209          2
 Emails/Attachments   PILGRIMS-0010502211         PILGRIMS-0010502279         34
 Emails/Attachments   PILGRIMS-0010502282         PILGRIMS-0010502288          7
 Emails/Attachments   PILGRIMS-0010502290         PILGRIMS-0010502342         42
 Emails/Attachments   PILGRIMS-0010502344         PILGRIMS-0010502357         14
 Emails/Attachments   PILGRIMS-0010502359         PILGRIMS-0010502411         51
 Emails/Attachments   PILGRIMS-0010502413         PILGRIMS-0010502418          6
 Emails/Attachments   PILGRIMS-0010502420         PILGRIMS-0010502425          6
 Emails/Attachments   PILGRIMS-0010502427         PILGRIMS-0010502444         16
 Emails/Attachments   PILGRIMS-0010502446         PILGRIMS-0010502560         59
 Emails/Attachments   PILGRIMS-0010502604         PILGRIMS-0010502722         66
 Emails/Attachments   PILGRIMS-0010502726         PILGRIMS-0010502739         14
 Emails/Attachments   PILGRIMS-0010502743         PILGRIMS-0010502787         39
 Emails/Attachments   PILGRIMS-0010502791         PILGRIMS-0010502984         177
 Emails/Attachments   PILGRIMS-0010502987         PILGRIMS-0010503009         23
 Emails/Attachments   PILGRIMS-0010503011         PILGRIMS-0010503032         20
 Emails/Attachments   PILGRIMS-0010503035         PILGRIMS-0010503054         20
 Emails/Attachments   PILGRIMS-0010503057         PILGRIMS-0010503075         18
 Emails/Attachments   PILGRIMS-0010503078         PILGRIMS-0010503103         26


                                    Page 311 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 335 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010503105         PILGRIMS-0010503108          4
 Emails/Attachments   PILGRIMS-0010503111         PILGRIMS-0010503140         29
 Emails/Attachments   PILGRIMS-0010503323         PILGRIMS-0010503324          2
 Emails/Attachments   PILGRIMS-0010503327         PILGRIMS-0010503348         12
 Emails/Attachments   PILGRIMS-0010503351         PILGRIMS-0010503415         19
 Emails/Attachments   PILGRIMS-0010503417         PILGRIMS-0010503434         16
 Emails/Attachments   PILGRIMS-0010503437         PILGRIMS-0010503465         20
 Emails/Attachments   PILGRIMS-0010503468         PILGRIMS-0010503495         20
 Emails/Attachments   PILGRIMS-0010503498         PILGRIMS-0010503525         20
 Emails/Attachments   PILGRIMS-0010503528         PILGRIMS-0010503531          4
 Emails/Attachments   PILGRIMS-0010503533         PILGRIMS-0010503534          2
 Emails/Attachments   PILGRIMS-0010503541         PILGRIMS-0010503563         15
 Emails/Attachments   PILGRIMS-0010503565         PILGRIMS-0010503581          9
 Emails/Attachments   PILGRIMS-0010503583         PILGRIMS-0010503594         12
 Emails/Attachments   PILGRIMS-0010503597         PILGRIMS-0010503617         13
 Emails/Attachments   PILGRIMS-0010503620         PILGRIMS-0010503655         28
 Emails/Attachments   PILGRIMS-0010503658         PILGRIMS-0010503682         15
 Emails/Attachments   PILGRIMS-0010503684         PILGRIMS-0010503713         22
 Emails/Attachments   PILGRIMS-0010503717         PILGRIMS-0010503718          2
 Emails/Attachments   PILGRIMS-0010503720         PILGRIMS-0010503746         18
 Emails/Attachments   PILGRIMS-0010503750         PILGRIMS-0010503770         13
 Emails/Attachments   PILGRIMS-0010503773         PILGRIMS-0010503796         16
 Emails/Attachments   PILGRIMS-0010503799         PILGRIMS-0010503823         17
 Emails/Attachments   PILGRIMS-0010503827         PILGRIMS-0010503854         20
 Emails/Attachments   PILGRIMS-0010503859         PILGRIMS-0010503879         13
 Emails/Attachments   PILGRIMS-0010503882         PILGRIMS-0010503919         31
 Emails/Attachments   PILGRIMS-0010503923         PILGRIMS-0010503926          4
 Emails/Attachments   PILGRIMS-0010503929         PILGRIMS-0010503961         24
 Emails/Attachments   PILGRIMS-0010503965         PILGRIMS-0010503996         23
 Emails/Attachments   PILGRIMS-0010503999         PILGRIMS-0010504042         31
 Emails/Attachments   PILGRIMS-0010504044         PILGRIMS-0010504074         21
 Emails/Attachments   PILGRIMS-0010504076         PILGRIMS-0010504081          6
 Emails/Attachments   PILGRIMS-0010504084         PILGRIMS-0010504142         43
 Emails/Attachments   PILGRIMS-0010504144         PILGRIMS-0010504147          4
 Emails/Attachments   PILGRIMS-0010504150         PILGRIMS-0010504162         11
 Emails/Attachments   PILGRIMS-0010504165         PILGRIMS-0010504233         58
 Emails/Attachments   PILGRIMS-0010504238         PILGRIMS-0010504239          2
 Emails/Attachments   PILGRIMS-0010504242         PILGRIMS-0010504258          9
 Emails/Attachments   PILGRIMS-0010504260         PILGRIMS-0010504272         12
 Emails/Attachments   PILGRIMS-0010504278         PILGRIMS-0010504287          5
 Emails/Attachments   PILGRIMS-0010504289         PILGRIMS-0010504318         21
 Emails/Attachments   PILGRIMS-0010504320         PILGRIMS-0010504356         24
 Emails/Attachments   PILGRIMS-0010504389         PILGRIMS-0010504394          2
 Emails/Attachments   PILGRIMS-0010504399         PILGRIMS-0010504417         11
 Emails/Attachments   PILGRIMS-0010504423         PILGRIMS-0010504431          8
 Emails/Attachments   PILGRIMS-0010504433         PILGRIMS-0010504436          4


                                    Page 312 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 336 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010504444         PILGRIMS-0010504465         14
 Emails/Attachments   PILGRIMS-0010504471         PILGRIMS-0010504472          2
 Emails/Attachments   PILGRIMS-0010504475         PILGRIMS-0010504497         22
 Emails/Attachments   PILGRIMS-0010504501         PILGRIMS-0010504515          7
 Emails/Attachments   PILGRIMS-0010504518         PILGRIMS-0010504536         16
 Emails/Attachments   PILGRIMS-0010504539         PILGRIMS-0010504544          6
 Emails/Attachments   PILGRIMS-0010504550         PILGRIMS-0010504551          2
 Emails/Attachments   PILGRIMS-0010504584         PILGRIMS-0010504600          9
 Emails/Attachments   PILGRIMS-0010504606         PILGRIMS-0010504631         16
 Emails/Attachments   PILGRIMS-0010504634         PILGRIMS-0010504637          4
 Emails/Attachments   PILGRIMS-0010504646         PILGRIMS-0010504647          2
 Emails/Attachments   PILGRIMS-0010504655         PILGRIMS-0010504656          2
 Emails/Attachments   PILGRIMS-0010504688         PILGRIMS-0010504722         27
 Emails/Attachments   PILGRIMS-0010504728         PILGRIMS-0010504735          8
 Emails/Attachments   PILGRIMS-0010504739         PILGRIMS-0010504755          3
 Emails/Attachments   PILGRIMS-0010504761         PILGRIMS-0010504765          2
 Emails/Attachments   PILGRIMS-0010504771         PILGRIMS-0010504772          2
 Emails/Attachments   PILGRIMS-0010504775         PILGRIMS-0010504791          9
 Emails/Attachments   PILGRIMS-0010504797         PILGRIMS-0010504812          7
 Emails/Attachments   PILGRIMS-0010504821         PILGRIMS-0010504824          4
 Emails/Attachments   PILGRIMS-0010504827         PILGRIMS-0010504833          4
 Emails/Attachments   PILGRIMS-0010504835         PILGRIMS-0010504836          2
 Emails/Attachments   PILGRIMS-0010504846         PILGRIMS-0010504854          8
 Emails/Attachments   PILGRIMS-0010504859         PILGRIMS-0010504862          2
 Emails/Attachments   PILGRIMS-0010504864         PILGRIMS-0010504867          4
 Emails/Attachments   PILGRIMS-0010504870         PILGRIMS-0010504871          2
 Emails/Attachments   PILGRIMS-0010504894         PILGRIMS-0010504897          4
 Emails/Attachments   PILGRIMS-0010504910         PILGRIMS-0010504911          2
 Emails/Attachments   PILGRIMS-0010504914         PILGRIMS-0010504915          2
 Emails/Attachments   PILGRIMS-0010504924         PILGRIMS-0010504928          4
 Emails/Attachments   PILGRIMS-0010504932         PILGRIMS-0010504937          6
 Emails/Attachments   PILGRIMS-0010504959         PILGRIMS-0010504963          5
 Emails/Attachments   PILGRIMS-0010504966         PILGRIMS-0010504967          2
 Emails/Attachments   PILGRIMS-0010504972         PILGRIMS-0010505019         25
 Emails/Attachments   PILGRIMS-0010505055         PILGRIMS-0010505056          2
 Emails/Attachments   PILGRIMS-0010505058         PILGRIMS-0010505075          8
 Emails/Attachments   PILGRIMS-0010505079         PILGRIMS-0010505104          6
 Emails/Attachments   PILGRIMS-0010505107         PILGRIMS-0010505110          4
 Emails/Attachments   PILGRIMS-0010505116         PILGRIMS-0010505117          2
 Emails/Attachments   PILGRIMS-0010505122         PILGRIMS-0010505123          2
 Emails/Attachments   PILGRIMS-0010505129         PILGRIMS-0010505136          8
 Emails/Attachments   PILGRIMS-0010505146         PILGRIMS-0010505147          2
 Emails/Attachments   PILGRIMS-0010505150         PILGRIMS-0010505157          5
 Emails/Attachments   PILGRIMS-0010505161         PILGRIMS-0010505162          2
 Emails/Attachments   PILGRIMS-0010505170         PILGRIMS-0010505173          4
 Emails/Attachments   PILGRIMS-0010505176         PILGRIMS-0010505178          2


                                    Page 313 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 337 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010505181         PILGRIMS-0010505182          2
 Emails/Attachments   PILGRIMS-0010505187         PILGRIMS-0010505203          9
 Emails/Attachments   PILGRIMS-0010505209         PILGRIMS-0010505243         10
 Emails/Attachments   PILGRIMS-0010505246         PILGRIMS-0010505247          2
 Emails/Attachments   PILGRIMS-0010505254         PILGRIMS-0010505257          4
 Emails/Attachments   PILGRIMS-0010505266         PILGRIMS-0010505276         10
 Emails/Attachments   PILGRIMS-0010505279         PILGRIMS-0010505280          2
 Emails/Attachments   PILGRIMS-0010505282         PILGRIMS-0010505291          8
 Emails/Attachments   PILGRIMS-0010505299         PILGRIMS-0010505302          3
 Emails/Attachments   PILGRIMS-0010505307         PILGRIMS-0010505308          2
 Emails/Attachments   PILGRIMS-0010505313         PILGRIMS-0010505369         46
 Emails/Attachments   PILGRIMS-0010505372         PILGRIMS-0010505384         13
 Emails/Attachments   PILGRIMS-0010505386         PILGRIMS-0010505404         18
 Emails/Attachments   PILGRIMS-0010505409         PILGRIMS-0010505433         24
 Emails/Attachments   PILGRIMS-0010505436         PILGRIMS-0010505459         24
 Emails/Attachments   PILGRIMS-0010505462         PILGRIMS-0010505474         12
 Emails/Attachments   PILGRIMS-0010505478         PILGRIMS-0010505494         17
 Emails/Attachments   PILGRIMS-0010505496         PILGRIMS-0010505497          2
 Emails/Attachments   PILGRIMS-0010505499         PILGRIMS-0010505539         32
 Emails/Attachments   PILGRIMS-0010505541         PILGRIMS-0010505549          9
 Emails/Attachments   PILGRIMS-0010505552         PILGRIMS-0010505652         75
 Emails/Attachments   PILGRIMS-0010505656         PILGRIMS-0010505947         260
 Emails/Attachments   PILGRIMS-0010505951         PILGRIMS-0010505970         16
 Emails/Attachments   PILGRIMS-0010505984         PILGRIMS-0010506081         83
 Emails/Attachments   PILGRIMS-0010506085         PILGRIMS-0010506101         16
 Emails/Attachments   PILGRIMS-0010506105         PILGRIMS-0010506121         16
 Emails/Attachments   PILGRIMS-0010506125         PILGRIMS-0010506133          8
 Emails/Attachments   PILGRIMS-0010506137         PILGRIMS-0010506165         22
 Emails/Attachments   PILGRIMS-0010506169         PILGRIMS-0010506188         15
 Emails/Attachments   PILGRIMS-0010506192         PILGRIMS-0010506204          8
 Emails/Attachments   PILGRIMS-0010506208         PILGRIMS-0010506225         18
 Emails/Attachments   PILGRIMS-0010506229         PILGRIMS-0010506232          4
 Emails/Attachments   PILGRIMS-0010506234         PILGRIMS-0010506334         30
 Emails/Attachments   PILGRIMS-0010506338         PILGRIMS-0010506347         10
 Emails/Attachments   PILGRIMS-0010506351         PILGRIMS-0010506427         77
 Emails/Attachments   PILGRIMS-0010506442         PILGRIMS-0010506497         49
 Emails/Attachments   PILGRIMS-0010506501         PILGRIMS-0010507475         294
 Emails/Attachments   PILGRIMS-0010507491         PILGRIMS-0010507591         55
 Emails/Attachments   PILGRIMS-0010507593         PILGRIMS-0010507685         45
 Emails/Attachments   PILGRIMS-0010507695         PILGRIMS-0010507719         14
 Emails/Attachments   PILGRIMS-0010507721         PILGRIMS-0010507743         19
 Emails/Attachments   PILGRIMS-0010507745         PILGRIMS-0010507766         10
 Emails/Attachments   PILGRIMS-0010507775         PILGRIMS-0010507781          3
 Emails/Attachments   PILGRIMS-0010507788         PILGRIMS-0010507827         22
 Emails/Attachments   PILGRIMS-0010507829         PILGRIMS-0010507892         62
 Emails/Attachments   PILGRIMS-0010507967         PILGRIMS-0010507993         25


                                    Page 314 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 338 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010507995         PILGRIMS-0010508038          42
 Emails/Attachments   PILGRIMS-0010508041         PILGRIMS-0010508912         364
 Emails/Attachments   PILGRIMS-0010513684         PILGRIMS-0010514092          23
 Emails/Attachments   PILGRIMS-0010514096         PILGRIMS-0010514291          12
 Emails/Attachments   PILGRIMS-0010514317         PILGRIMS-0010514697          24
 Emails/Attachments   PILGRIMS-0010514700         PILGRIMS-0010514903          13
 Emails/Attachments   PILGRIMS-0010514907         PILGRIMS-0010515096          13
 Emails/Attachments   PILGRIMS-0010515100         PILGRIMS-0010515294          12
 Emails/Attachments   PILGRIMS-0010515299         PILGRIMS-0010515450          12
 Emails/Attachments   PILGRIMS-0010515692         PILGRIMS-0010515815          11
 Emails/Attachments   PILGRIMS-0010516029         PILGRIMS-0010516183          27
 Emails/Attachments   PILGRIMS-0010517217         PILGRIMS-0010521026        1,287
 Emails/Attachments   PILGRIMS-0010521028         PILGRIMS-0010521258          85
 Emails/Attachments   PILGRIMS-0010521267         PILGRIMS-0010521304          13
 Emails/Attachments   PILGRIMS-0010521312         PILGRIMS-0010521382          52
 Emails/Attachments   PILGRIMS-0010521385         PILGRIMS-0010521530         117
 Emails/Attachments   PILGRIMS-0010521533         PILGRIMS-0010521883         184
 Emails/Attachments   PILGRIMS-0010521890         PILGRIMS-0010521898           4
 Emails/Attachments   PILGRIMS-0010521903         PILGRIMS-0010521944          30
 Emails/Attachments   PILGRIMS-0010521946         PILGRIMS-0010521980          35
 Emails/Attachments   PILGRIMS-0010522064         PILGRIMS-0010522115          51
 Emails/Attachments   PILGRIMS-0010522117         PILGRIMS-0010522137          21
 Emails/Attachments   PILGRIMS-0010522139         PILGRIMS-0010522298          63
 Emails/Attachments   PILGRIMS-0010522300         PILGRIMS-0010522489         129
 Emails/Attachments   PILGRIMS-0010522491         PILGRIMS-0010522497           7
 Emails/Attachments   PILGRIMS-0010522499         PILGRIMS-0010522511          11
 Emails/Attachments   PILGRIMS-0010522513         PILGRIMS-0010522563          33
 Emails/Attachments   PILGRIMS-0010522565         PILGRIMS-0010522575           7
 Emails/Attachments   PILGRIMS-0010522577         PILGRIMS-0010522625          24
 Emails/Attachments   PILGRIMS-0010522627         PILGRIMS-0010522632           6
 Emails/Attachments   PILGRIMS-0010522634         PILGRIMS-0010522660          13
 Emails/Attachments   PILGRIMS-0010522662         PILGRIMS-0010522670           6
 Emails/Attachments   PILGRIMS-0010522672         PILGRIMS-0010522703           9
 Emails/Attachments   PILGRIMS-0010522705         PILGRIMS-0010522711           6
 Emails/Attachments   PILGRIMS-0010522713         PILGRIMS-0010522748          15
 Emails/Attachments   PILGRIMS-0010522750         PILGRIMS-0010522753           3
 Emails/Attachments   PILGRIMS-0010522755         PILGRIMS-0010522759           4
 Emails/Attachments   PILGRIMS-0010522761         PILGRIMS-0010522786           4
 Emails/Attachments   PILGRIMS-0010522797         PILGRIMS-0010522826           5
 Emails/Attachments   PILGRIMS-0010522828         PILGRIMS-0010522833           4
 Emails/Attachments   PILGRIMS-0010522835         PILGRIMS-0010522838           4
 Emails/Attachments   PILGRIMS-0010522840         PILGRIMS-0010522848           9
 Emails/Attachments   PILGRIMS-0010522850         PILGRIMS-0010522871          16
 Emails/Attachments   PILGRIMS-0010522873         PILGRIMS-0010522880           5
 Emails/Attachments   PILGRIMS-0010522883         PILGRIMS-0010522904          16
 Emails/Attachments   PILGRIMS-0010522906         PILGRIMS-0010522908           2


                                    Page 315 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 339 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010522911         PILGRIMS-0010522915          4
 Emails/Attachments   PILGRIMS-0010522917         PILGRIMS-0010522929         12
 Emails/Attachments   PILGRIMS-0010522931         PILGRIMS-0010522938          4
 Emails/Attachments   PILGRIMS-0010522940         PILGRIMS-0010522943          3
 Emails/Attachments   PILGRIMS-0010522945         PILGRIMS-0010522953          8
 Emails/Attachments   PILGRIMS-0010522955         PILGRIMS-0010523010         53
 Emails/Attachments   PILGRIMS-0010523029         PILGRIMS-0010523049          4
 Emails/Attachments   PILGRIMS-0010523051         PILGRIMS-0010523066          2
 Emails/Attachments   PILGRIMS-0010523084         PILGRIMS-0010523100          2
 Emails/Attachments   PILGRIMS-0010523112         PILGRIMS-0010523123          2
 Emails/Attachments   PILGRIMS-0010523135         PILGRIMS-0010523144          9
 Emails/Attachments   PILGRIMS-0010523146         PILGRIMS-0010523159         10
 Emails/Attachments   PILGRIMS-0010523161         PILGRIMS-0010523188         12
 Emails/Attachments   PILGRIMS-0010523190         PILGRIMS-0010523246         25
 Emails/Attachments   PILGRIMS-0010523248         PILGRIMS-0010523315         28
 Emails/Attachments   PILGRIMS-0010523318         PILGRIMS-0010523321          4
 Emails/Attachments   PILGRIMS-0010523323         PILGRIMS-0010523330          5
 Emails/Attachments   PILGRIMS-0010523332         PILGRIMS-0010523333          2
 Emails/Attachments   PILGRIMS-0010523335         PILGRIMS-0010523352         10
 Emails/Attachments   PILGRIMS-0010523354         PILGRIMS-0010523384         13
 Emails/Attachments   PILGRIMS-0010523387         PILGRIMS-0010523412         16
 Emails/Attachments   PILGRIMS-0010523414         PILGRIMS-0010523421          7
 Emails/Attachments   PILGRIMS-0010523424         PILGRIMS-0010523440          9
 Emails/Attachments   PILGRIMS-0010523442         PILGRIMS-0010523452          6
 Emails/Attachments   PILGRIMS-0010523455         PILGRIMS-0010523480         19
 Emails/Attachments   PILGRIMS-0010523482         PILGRIMS-0010523483          2
 Emails/Attachments   PILGRIMS-0010523486         PILGRIMS-0010523541         22
 Emails/Attachments   PILGRIMS-0010523543         PILGRIMS-0010523589         28
 Emails/Attachments   PILGRIMS-0010523592         PILGRIMS-0010523691         32
 Emails/Attachments   PILGRIMS-0010523694         PILGRIMS-0010523753         26
 Emails/Attachments   PILGRIMS-0010523755         PILGRIMS-0010523849         34
 Emails/Attachments   PILGRIMS-0010523851         PILGRIMS-0010523869          9
 Emails/Attachments   PILGRIMS-0010523872         PILGRIMS-0010523914         15
 Emails/Attachments   PILGRIMS-0010523916         PILGRIMS-0010523962         16
 Emails/Attachments   PILGRIMS-0010523964         PILGRIMS-0010523974          8
 Emails/Attachments   PILGRIMS-0010523976         PILGRIMS-0010523977          2
 Emails/Attachments   PILGRIMS-0010523980         PILGRIMS-0010524060         24
 Emails/Attachments   PILGRIMS-0010524062         PILGRIMS-0010524062          1
 Emails/Attachments   PILGRIMS-0010524082         PILGRIMS-0010524101          2
 Emails/Attachments   PILGRIMS-0010524103         PILGRIMS-0010524166         27
 Emails/Attachments   PILGRIMS-0010524168         PILGRIMS-0010524173          4
 Emails/Attachments   PILGRIMS-0010524176         PILGRIMS-0010524214          6
 Emails/Attachments   PILGRIMS-0010524218         PILGRIMS-0010524247         13
 Emails/Attachments   PILGRIMS-0010524250         PILGRIMS-0010524252          2
 Emails/Attachments   PILGRIMS-0010524254         PILGRIMS-0010524255          2
 Emails/Attachments   PILGRIMS-0010524257         PILGRIMS-0010524275          2


                                    Page 316 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 340 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010524277         PILGRIMS-0010524280          4
 Emails/Attachments   PILGRIMS-0010524282         PILGRIMS-0010524309         17
 Emails/Attachments   PILGRIMS-0010524311         PILGRIMS-0010524362         20
 Emails/Attachments   PILGRIMS-0010524364         PILGRIMS-0010524378         12
 Emails/Attachments   PILGRIMS-0010524380         PILGRIMS-0010524435         40
 Emails/Attachments   PILGRIMS-0010524437         PILGRIMS-0010524438          2
 Emails/Attachments   PILGRIMS-0010524440         PILGRIMS-0010524515         28
 Emails/Attachments   PILGRIMS-0010524519         PILGRIMS-0010524521          2
 Emails/Attachments   PILGRIMS-0010524523         PILGRIMS-0010524538         16
 Emails/Attachments   PILGRIMS-0010524540         PILGRIMS-0010524596         36
 Emails/Attachments   PILGRIMS-0010524598         PILGRIMS-0010524612         11
 Emails/Attachments   PILGRIMS-0010524614         PILGRIMS-0010524629         12
 Emails/Attachments   PILGRIMS-0010524633         PILGRIMS-0010524641          4
 Emails/Attachments   PILGRIMS-0010524643         PILGRIMS-0010524666         14
 Emails/Attachments   PILGRIMS-0010524668         PILGRIMS-0010524676          6
 Emails/Attachments   PILGRIMS-0010524679         PILGRIMS-0010524687          7
 Emails/Attachments   PILGRIMS-0010524689         PILGRIMS-0010524722         21
 Emails/Attachments   PILGRIMS-0010524724         PILGRIMS-0010524741         12
 Emails/Attachments   PILGRIMS-0010524743         PILGRIMS-0010524759         10
 Emails/Attachments   PILGRIMS-0010524763         PILGRIMS-0010524825         32
 Emails/Attachments   PILGRIMS-0010524829         PILGRIMS-0010524862         24
 Emails/Attachments   PILGRIMS-0010524864         PILGRIMS-0010524875         11
 Emails/Attachments   PILGRIMS-0010524877         PILGRIMS-0010524878          2
 Emails/Attachments   PILGRIMS-0010524881         PILGRIMS-0010524887          6
 Emails/Attachments   PILGRIMS-0010524889         PILGRIMS-0010524914          8
 Emails/Attachments   PILGRIMS-0010524916         PILGRIMS-0010524938          5
 Emails/Attachments   PILGRIMS-0010524940         PILGRIMS-0010524953          7
 Emails/Attachments   PILGRIMS-0010524955         PILGRIMS-0010524969          7
 Emails/Attachments   PILGRIMS-0010524971         PILGRIMS-0010524989         14
 Emails/Attachments   PILGRIMS-0010524992         PILGRIMS-0010525008          8
 Emails/Attachments   PILGRIMS-0010525010         PILGRIMS-0010525015          6
 Emails/Attachments   PILGRIMS-0010525017         PILGRIMS-0010525047         22
 Emails/Attachments   PILGRIMS-0010525049         PILGRIMS-0010525086         15
 Emails/Attachments   PILGRIMS-0010525088         PILGRIMS-0010525106         16
 Emails/Attachments   PILGRIMS-0010525110         PILGRIMS-0010525208         48
 Emails/Attachments   PILGRIMS-0010525210         PILGRIMS-0010525215          6
 Emails/Attachments   PILGRIMS-0010525217         PILGRIMS-0010525222          6
 Emails/Attachments   PILGRIMS-0010525224         PILGRIMS-0010525312         47
 Emails/Attachments   PILGRIMS-0010525314         PILGRIMS-0010525315          2
 Emails/Attachments   PILGRIMS-0010525318         PILGRIMS-0010525342         20
 Emails/Attachments   PILGRIMS-0010525345         PILGRIMS-0010525370         12
 Emails/Attachments   PILGRIMS-0010525372         PILGRIMS-0010525379          2
 Emails/Attachments   PILGRIMS-0010525381         PILGRIMS-0010525432         35
 Emails/Attachments   PILGRIMS-0010525434         PILGRIMS-0010525435          2
 Emails/Attachments   PILGRIMS-0010525438         PILGRIMS-0010525468         20
 Emails/Attachments   PILGRIMS-0010525471         PILGRIMS-0010525478          5


                                    Page 317 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 341 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010525480         PILGRIMS-0010525481          2
 Emails/Attachments   PILGRIMS-0010525484         PILGRIMS-0010525500          9
 Emails/Attachments   PILGRIMS-0010525502         PILGRIMS-0010525528         15
 Emails/Attachments   PILGRIMS-0010525531         PILGRIMS-0010525533          2
 Emails/Attachments   PILGRIMS-0010525535         PILGRIMS-0010525563         15
 Emails/Attachments   PILGRIMS-0010525566         PILGRIMS-0010525610         23
 Emails/Attachments   PILGRIMS-0010525612         PILGRIMS-0010525623          8
 Emails/Attachments   PILGRIMS-0010525625         PILGRIMS-0010525626          2
 Emails/Attachments   PILGRIMS-0010525629         PILGRIMS-0010525637          6
 Emails/Attachments   PILGRIMS-0010525639         PILGRIMS-0010525656         12
 Emails/Attachments   PILGRIMS-0010525660         PILGRIMS-0010525677          9
 Emails/Attachments   PILGRIMS-0010525679         PILGRIMS-0010525683          5
 Emails/Attachments   PILGRIMS-0010525685         PILGRIMS-0010525688          4
 Emails/Attachments   PILGRIMS-0010525709         PILGRIMS-0010525712          3
 Emails/Attachments   PILGRIMS-0010525714         PILGRIMS-0010525771         16
 Emails/Attachments   PILGRIMS-0010525773         PILGRIMS-0010525792          8
 Emails/Attachments   PILGRIMS-0010525794         PILGRIMS-0010525795          2
 Emails/Attachments   PILGRIMS-0010525797         PILGRIMS-0010525802          5
 Emails/Attachments   PILGRIMS-0010525805         PILGRIMS-0010525809          4
 Emails/Attachments   PILGRIMS-0010525811         PILGRIMS-0010525834         10
 Emails/Attachments   PILGRIMS-0010525836         PILGRIMS-0010525849          8
 Emails/Attachments   PILGRIMS-0010525851         PILGRIMS-0010525869         17
 Emails/Attachments   PILGRIMS-0010525871         PILGRIMS-0010525925         14
 Emails/Attachments   PILGRIMS-0010525927         PILGRIMS-0010525928          2
 Emails/Attachments   PILGRIMS-0010525930         PILGRIMS-0010525973         32
 Emails/Attachments   PILGRIMS-0010525975         PILGRIMS-0010525978          3
 Emails/Attachments   PILGRIMS-0010525980         PILGRIMS-0010525994         13
 Emails/Attachments   PILGRIMS-0010525996         PILGRIMS-0010526004          9
 Emails/Attachments   PILGRIMS-0010526009         PILGRIMS-0010526033         12
 Emails/Attachments   PILGRIMS-0010526035         PILGRIMS-0010526042          5
 Emails/Attachments   PILGRIMS-0010526044         PILGRIMS-0010526047          3
 Emails/Attachments   PILGRIMS-0010526049         PILGRIMS-0010526056          6
 Emails/Attachments   PILGRIMS-0010526060         PILGRIMS-0010526061          1
 Emails/Attachments   PILGRIMS-0010526063         PILGRIMS-0010526067          4
 Emails/Attachments   PILGRIMS-0010526069         PILGRIMS-0010526071          3
 Emails/Attachments   PILGRIMS-0010526073         PILGRIMS-0010526091         14
 Emails/Attachments   PILGRIMS-0010526093         PILGRIMS-0010526118         16
 Emails/Attachments   PILGRIMS-0010526120         PILGRIMS-0010526147         16
 Emails/Attachments   PILGRIMS-0010526150         PILGRIMS-0010526152          3
 Emails/Attachments   PILGRIMS-0010526154         PILGRIMS-0010526181         17
 Emails/Attachments   PILGRIMS-0010526183         PILGRIMS-0010526198          9
 Emails/Attachments   PILGRIMS-0010526200         PILGRIMS-0010526215          8
 Emails/Attachments   PILGRIMS-0010526218         PILGRIMS-0010526232          9
 Emails/Attachments   PILGRIMS-0010526235         PILGRIMS-0010526239          4
 Emails/Attachments   PILGRIMS-0010526242         PILGRIMS-0010526259          9
 Emails/Attachments   PILGRIMS-0010526261         PILGRIMS-0010526266          5


                                    Page 318 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 342 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010526268         PILGRIMS-0010526278          5
 Emails/Attachments   PILGRIMS-0010526280         PILGRIMS-0010526281          2
 Emails/Attachments   PILGRIMS-0010526283         PILGRIMS-0010526284          2
 Emails/Attachments   PILGRIMS-0010526286         PILGRIMS-0010526303         13
 Emails/Attachments   PILGRIMS-0010526305         PILGRIMS-0010526344         23
 Emails/Attachments   PILGRIMS-0010526346         PILGRIMS-0010526373         16
 Emails/Attachments   PILGRIMS-0010526375         PILGRIMS-0010526397         14
 Emails/Attachments   PILGRIMS-0010526399         PILGRIMS-0010526406          5
 Emails/Attachments   PILGRIMS-0010526408         PILGRIMS-0010526415          7
 Emails/Attachments   PILGRIMS-0010526417         PILGRIMS-0010526437          7
 Emails/Attachments   PILGRIMS-0010526440         PILGRIMS-0010526477          9
 Emails/Attachments   PILGRIMS-0010526479         PILGRIMS-0010526480          2
 Emails/Attachments   PILGRIMS-0010526482         PILGRIMS-0010526484          3
 Emails/Attachments   PILGRIMS-0010526487         PILGRIMS-0010526489          2
 Emails/Attachments   PILGRIMS-0010526491         PILGRIMS-0010526492          2
 Emails/Attachments   PILGRIMS-0010526494         PILGRIMS-0010526495          2
 Emails/Attachments   PILGRIMS-0010526505         PILGRIMS-0010526519         10
 Emails/Attachments   PILGRIMS-0010526528         PILGRIMS-0010526533          6
 Emails/Attachments   PILGRIMS-0010526535         PILGRIMS-0010526542          7
 Emails/Attachments   PILGRIMS-0010526544         PILGRIMS-0010526547          3
 Emails/Attachments   PILGRIMS-0010526549         PILGRIMS-0010526561          8
 Emails/Attachments   PILGRIMS-0010526563         PILGRIMS-0010526566          4
 Emails/Attachments   PILGRIMS-0010526568         PILGRIMS-0010526571          4
 Emails/Attachments   PILGRIMS-0010526573         PILGRIMS-0010526591          3
 Emails/Attachments   PILGRIMS-0010526593         PILGRIMS-0010526596          4
 Emails/Attachments   PILGRIMS-0010526599         PILGRIMS-0010526605          7
 Emails/Attachments   PILGRIMS-0010526607         PILGRIMS-0010526608          2
 Emails/Attachments   PILGRIMS-0010526610         PILGRIMS-0010526629         17
 Emails/Attachments   PILGRIMS-0010526631         PILGRIMS-0010526632          2
 Emails/Attachments   PILGRIMS-0010526634         PILGRIMS-0010526645         10
 Emails/Attachments   PILGRIMS-0010526647         PILGRIMS-0010526648          2
 Emails/Attachments   PILGRIMS-0010526650         PILGRIMS-0010526653          4
 Emails/Attachments   PILGRIMS-0010526655         PILGRIMS-0010526660          6
 Emails/Attachments   PILGRIMS-0010526706         PILGRIMS-0010526798         43
 Emails/Attachments   PILGRIMS-0010526800         PILGRIMS-0010526805          5
 Emails/Attachments   PILGRIMS-0010526808         PILGRIMS-0010526820          7
 Emails/Attachments   PILGRIMS-0010526822         PILGRIMS-0010526861         17
 Emails/Attachments   PILGRIMS-0010526864         PILGRIMS-0010526896         23
 Emails/Attachments   PILGRIMS-0010526898         PILGRIMS-0010526946         40
 Emails/Attachments   PILGRIMS-0010526948         PILGRIMS-0010526979         30
 Emails/Attachments   PILGRIMS-0010526981         PILGRIMS-0010526983          3
 Emails/Attachments   PILGRIMS-0010526986         PILGRIMS-0010526990          4
 Emails/Attachments   PILGRIMS-0010526993         PILGRIMS-0010527005         10
 Emails/Attachments   PILGRIMS-0010527007         PILGRIMS-0010527018          9
 Emails/Attachments   PILGRIMS-0010527021         PILGRIMS-0010527023          3
 Emails/Attachments   PILGRIMS-0010527028         PILGRIMS-0010527051         10


                                    Page 319 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 343 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010527053         PILGRIMS-0010527059          6
 Emails/Attachments   PILGRIMS-0010527061         PILGRIMS-0010527145         44
 Emails/Attachments   PILGRIMS-0010527170         PILGRIMS-0010527197         12
 Emails/Attachments   PILGRIMS-0010527199         PILGRIMS-0010527200          2
 Emails/Attachments   PILGRIMS-0010527202         PILGRIMS-0010527203          2
 Emails/Attachments   PILGRIMS-0010527205         PILGRIMS-0010527807         319
 Emails/Attachments   PILGRIMS-0010527845         PILGRIMS-0010527854          7
 Emails/Attachments   PILGRIMS-0010528145         PILGRIMS-0010528147          2
 Emails/Attachments   PILGRIMS-0010528149         PILGRIMS-0010528181          9
 Emails/Attachments   PILGRIMS-0010528202         PILGRIMS-0010528204          3
 Emails/Attachments   PILGRIMS-0010528219         PILGRIMS-0010528224          4
 Emails/Attachments   PILGRIMS-0010528240         PILGRIMS-0010528245          4
 Emails/Attachments   PILGRIMS-0010528255         PILGRIMS-0010528268          8
 Emails/Attachments   PILGRIMS-0010528273         PILGRIMS-0010528277          4
 Emails/Attachments   PILGRIMS-0010528280         PILGRIMS-0010528311         24
 Emails/Attachments   PILGRIMS-0010528330         PILGRIMS-0010528338          6
 Emails/Attachments   PILGRIMS-0010528340         PILGRIMS-0010528355          7
 Emails/Attachments   PILGRIMS-0010528358         PILGRIMS-0010528361          4
 Emails/Attachments   PILGRIMS-0010528377         PILGRIMS-0010528436          4
 Emails/Attachments   PILGRIMS-0010528464         PILGRIMS-0010528491          2
 Emails/Attachments   PILGRIMS-0010528494         PILGRIMS-0010528612         74
 Emails/Attachments   PILGRIMS-0010528614         PILGRIMS-0010528734         66
 Emails/Attachments   PILGRIMS-0010528736         PILGRIMS-0010528804         41
 Emails/Attachments   PILGRIMS-0010528806         PILGRIMS-0010529192         273
 Emails/Attachments   PILGRIMS-0010529195         PILGRIMS-0010529366         164
 Emails/Attachments   PILGRIMS-0010529368         PILGRIMS-0010530356         529
 Emails/Attachments   PILGRIMS-0010530359         PILGRIMS-0010531081         431
 Emails/Attachments   PILGRIMS-0010531090         PILGRIMS-0010531590         274
 Emails/Attachments   PILGRIMS-0010531597         PILGRIMS-0010531656         42
 Emails/Attachments   PILGRIMS-0010531658         PILGRIMS-0010532293         394
 Emails/Attachments   PILGRIMS-0010532299         PILGRIMS-0010532738         286
 Emails/Attachments   PILGRIMS-0010532741         PILGRIMS-0010532922         141
 Emails/Attachments   PILGRIMS-0010532924         PILGRIMS-0010533079         69
 Emails/Attachments   PILGRIMS-0010533082         PILGRIMS-0010533272         120
 Emails/Attachments   PILGRIMS-0010533276         PILGRIMS-0010533506         138
 Emails/Attachments   PILGRIMS-0010533509         PILGRIMS-0010533563         40
 Emails/Attachments   PILGRIMS-0010533566         PILGRIMS-0010533587         19
 Emails/Attachments   PILGRIMS-0010533590         PILGRIMS-0010533593          4
 Emails/Attachments   PILGRIMS-0010533596         PILGRIMS-0010533900         162
 Emails/Attachments   PILGRIMS-0010533925         PILGRIMS-0010534005         18
 Emails/Attachments   PILGRIMS-0010534014         PILGRIMS-0010534548         391
 Emails/Attachments   PILGRIMS-0010534552         PILGRIMS-0010534668         71
 Emails/Attachments   PILGRIMS-0010534670         PILGRIMS-0010534975         211
 Emails/Attachments   PILGRIMS-0010534979         PILGRIMS-0010535170         120
 Emails/Attachments   PILGRIMS-0010535173         PILGRIMS-0010535931         331
 Emails/Attachments   PILGRIMS-0010535934         PILGRIMS-0010536440         240


                                    Page 320 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 344 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010536453         PILGRIMS-0010536617         109
 Emails/Attachments   PILGRIMS-0010536621         PILGRIMS-0010537179         347
 Emails/Attachments   PILGRIMS-0010537182         PILGRIMS-0010537427         134
 Emails/Attachments   PILGRIMS-0010537430         PILGRIMS-0010537844         259
 Emails/Attachments   PILGRIMS-0010537847         PILGRIMS-0010537853          7
 Emails/Attachments   PILGRIMS-0010537856         PILGRIMS-0010538249         231
 Emails/Attachments   PILGRIMS-0010538252         PILGRIMS-0010538258          7
 Emails/Attachments   PILGRIMS-0010538260         PILGRIMS-0010538273         14
 Emails/Attachments   PILGRIMS-0010538276         PILGRIMS-0010538611         189
 Emails/Attachments   PILGRIMS-0010538614         PILGRIMS-0010538930         130
 Emails/Attachments   PILGRIMS-0010538935         PILGRIMS-0010538967         33
 Emails/Attachments   PILGRIMS-0010538970         PILGRIMS-0010539086         81
 Emails/Attachments   PILGRIMS-0010539090         PILGRIMS-0010539223         43
 Emails/Attachments   PILGRIMS-0010539226         PILGRIMS-0010539421         148
 Emails/Attachments   PILGRIMS-0010539423         PILGRIMS-0010539697         155
 Emails/Attachments   PILGRIMS-0010539701         PILGRIMS-0010539872         97
 Emails/Attachments   PILGRIMS-0010539874         PILGRIMS-0010539884         11
 Emails/Attachments   PILGRIMS-0010539887         PILGRIMS-0010539925         24
 Emails/Attachments   PILGRIMS-0010539927         PILGRIMS-0010540234         153
 Emails/Attachments   PILGRIMS-0010540242         PILGRIMS-0010540302         22
 Emails/Attachments   PILGRIMS-0010540305         PILGRIMS-0010540327         23
 Emails/Attachments   PILGRIMS-0010540329         PILGRIMS-0010540356         28
 Emails/Attachments   PILGRIMS-0010540359         PILGRIMS-0010540646         162
 Emails/Attachments   PILGRIMS-0010540649         PILGRIMS-0010540974         212
 Emails/Attachments   PILGRIMS-0010540977         PILGRIMS-0010541432         180
 Emails/Attachments   PILGRIMS-0010541435         PILGRIMS-0010541614         102
 Emails/Attachments   PILGRIMS-0010541619         PILGRIMS-0010541718         88
 Emails/Attachments   PILGRIMS-0010541721         PILGRIMS-0010542054         196
 Emails/Attachments   PILGRIMS-0010542058         PILGRIMS-0010542584         233
 Emails/Attachments   PILGRIMS-0010542587         PILGRIMS-0010542678         48
 Emails/Attachments   PILGRIMS-0010542686         PILGRIMS-0010542710         25
 Emails/Attachments   PILGRIMS-0010542721         PILGRIMS-0010542847         28
 Emails/Attachments   PILGRIMS-0010542850         PILGRIMS-0010542907         26
 Emails/Attachments   PILGRIMS-0010542917         PILGRIMS-0010542923          2
 Emails/Attachments   PILGRIMS-0010542929         PILGRIMS-0010542932          4
 Emails/Attachments   PILGRIMS-0010542936         PILGRIMS-0010543059         100
 Emails/Attachments   PILGRIMS-0010543061         PILGRIMS-0010543067          7
 Emails/Attachments   PILGRIMS-0010543071         PILGRIMS-0010543168         87
 Emails/Attachments   PILGRIMS-0010543171         PILGRIMS-0010543297         70
 Emails/Attachments   PILGRIMS-0010543313         PILGRIMS-0010543656         203
 Emails/Attachments   PILGRIMS-0010543661         PILGRIMS-0010543719         45
 Emails/Attachments   PILGRIMS-0010543721         PILGRIMS-0010543872         65
 Emails/Attachments   PILGRIMS-0010543874         PILGRIMS-0010544248         175
 Emails/Attachments   PILGRIMS-0010544250         PILGRIMS-0010544347         50
 Emails/Attachments   PILGRIMS-0010544349         PILGRIMS-0010544421         64
 Emails/Attachments   PILGRIMS-0010544423         PILGRIMS-0010544433         11


                                    Page 321 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 345 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010544435         PILGRIMS-0010544462         19
 Emails/Attachments   PILGRIMS-0010544464         PILGRIMS-0010544538         60
 Emails/Attachments   PILGRIMS-0010544541         PILGRIMS-0010544547          4
 Emails/Attachments   PILGRIMS-0010544549         PILGRIMS-0010544802         143
 Emails/Attachments   PILGRIMS-0010544804         PILGRIMS-0010545508         353
 Emails/Attachments   PILGRIMS-0010545511         PILGRIMS-0010545531         21
 Emails/Attachments   PILGRIMS-0010545533         PILGRIMS-0010545539          7
 Emails/Attachments   PILGRIMS-0010545544         PILGRIMS-0010545588         33
 Emails/Attachments   PILGRIMS-0010545591         PILGRIMS-0010545636         21
 Emails/Attachments   PILGRIMS-0010545643         PILGRIMS-0010545697         40
 Emails/Attachments   PILGRIMS-0010545699         PILGRIMS-0010545763         35
 Emails/Attachments   PILGRIMS-0010545767         PILGRIMS-0010545802         26
 Emails/Attachments   PILGRIMS-0010545807         PILGRIMS-0010545817          2
 Emails/Attachments   PILGRIMS-0010545819         PILGRIMS-0010545856         15
 Emails/Attachments   PILGRIMS-0010545859         PILGRIMS-0010545926         34
 Emails/Attachments   PILGRIMS-0010545928         PILGRIMS-0010545951         10
 Emails/Attachments   PILGRIMS-0010545954         PILGRIMS-0010546007         16
 Emails/Attachments   PILGRIMS-0010546009         PILGRIMS-0010546010          2
 Emails/Attachments   PILGRIMS-0010546012         PILGRIMS-0010546018          5
 Emails/Attachments   PILGRIMS-0010546022         PILGRIMS-0010546028          4
 Emails/Attachments   PILGRIMS-0010546033         PILGRIMS-0010546093         38
 Emails/Attachments   PILGRIMS-0010546095         PILGRIMS-0010546140         23
 Emails/Attachments   PILGRIMS-0010546143         PILGRIMS-0010546441         155
 Emails/Attachments   PILGRIMS-0010546443         PILGRIMS-0010546502         41
 Emails/Attachments   PILGRIMS-0010546505         PILGRIMS-0010546571         40
 Emails/Attachments   PILGRIMS-0010546574         PILGRIMS-0010546576          2
 Emails/Attachments   PILGRIMS-0010546585         PILGRIMS-0010546672         64
 Emails/Attachments   PILGRIMS-0010546677         PILGRIMS-0010546737         34
 Emails/Attachments   PILGRIMS-0010546740         PILGRIMS-0010546779         20
 Emails/Attachments   PILGRIMS-0010546783         PILGRIMS-0010546798         11
 Emails/Attachments   PILGRIMS-0010546801         PILGRIMS-0010546995         52
 Emails/Attachments   PILGRIMS-0010547001         PILGRIMS-0010547035         11
 Emails/Attachments   PILGRIMS-0010547037         PILGRIMS-0010547310         148
 Emails/Attachments   PILGRIMS-0010547318         PILGRIMS-0010547382         43
 Emails/Attachments   PILGRIMS-0010547388         PILGRIMS-0010547446         25
 Emails/Attachments   PILGRIMS-0010547457         PILGRIMS-0010547589         59
 Emails/Attachments   PILGRIMS-0010547592         PILGRIMS-0010547593          2
 Emails/Attachments   PILGRIMS-0010547597         PILGRIMS-0010547598          2
 Emails/Attachments   PILGRIMS-0010547604         PILGRIMS-0010547616          9
 Emails/Attachments   PILGRIMS-0010547619         PILGRIMS-0010547659         29
 Emails/Attachments   PILGRIMS-0010547661         PILGRIMS-0010547662          2
 Emails/Attachments   PILGRIMS-0010547664         PILGRIMS-0010547771         38
 Emails/Attachments   PILGRIMS-0010547774         PILGRIMS-0010547881         48
 Emails/Attachments   PILGRIMS-0010547883         PILGRIMS-0010548469         241
 Emails/Attachments   PILGRIMS-0010548472         PILGRIMS-0010548613         44
 Emails/Attachments   PILGRIMS-0010548621         PILGRIMS-0010548843         111


                                    Page 322 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 346 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010548845         PILGRIMS-0010548846          2
 Emails/Attachments   PILGRIMS-0010548849         PILGRIMS-0010548959         26
 Emails/Attachments   PILGRIMS-0010548965         PILGRIMS-0010549430         214
 Emails/Attachments   PILGRIMS-0010549433         PILGRIMS-0010549475         35
 Emails/Attachments   PILGRIMS-0010549477         PILGRIMS-0010549481          5
 Emails/Attachments   PILGRIMS-0010549483         PILGRIMS-0010549619         54
 Emails/Attachments   PILGRIMS-0010549621         PILGRIMS-0010549636         15
 Emails/Attachments   PILGRIMS-0010549638         PILGRIMS-0010549948         121
 Emails/Attachments   PILGRIMS-0010549950         PILGRIMS-0010550141         77
 Emails/Attachments   PILGRIMS-0010550144         PILGRIMS-0010550149          5
 Emails/Attachments   PILGRIMS-0010550152         PILGRIMS-0010550199         10
 Emails/Attachments   PILGRIMS-0010550202         PILGRIMS-0010550231          5
 Emails/Attachments   PILGRIMS-0010550234         PILGRIMS-0010550344         55
 Emails/Attachments   PILGRIMS-0010550346         PILGRIMS-0010550732         135
 Emails/Attachments   PILGRIMS-0010550736         PILGRIMS-0010550750          5
 Emails/Attachments   PILGRIMS-0010550756         PILGRIMS-0010551196         87
 Emails/Attachments   PILGRIMS-0010551199         PILGRIMS-0010551240         21
 Emails/Attachments   PILGRIMS-0010551244         PILGRIMS-0010551252          5
 Emails/Attachments   PILGRIMS-0010551255         PILGRIMS-0010551379         26
 Emails/Attachments   PILGRIMS-0010551381         PILGRIMS-0010551398         15
 Emails/Attachments   PILGRIMS-0010551405         PILGRIMS-0010551541         26
 Emails/Attachments   PILGRIMS-0010551547         PILGRIMS-0010551557          6
 Emails/Attachments   PILGRIMS-0010551560         PILGRIMS-0010551725         67
 Emails/Attachments   PILGRIMS-0010551734         PILGRIMS-0010552027         116
 Emails/Attachments   PILGRIMS-0010552029         PILGRIMS-0010552221         83
 Emails/Attachments   PILGRIMS-0010552225         PILGRIMS-0010552241          3
 Emails/Attachments   PILGRIMS-0010552245         PILGRIMS-0010552259          7
 Emails/Attachments   PILGRIMS-0010552261         PILGRIMS-0010552517         82
 Emails/Attachments   PILGRIMS-0010552519         PILGRIMS-0010552561         19
 Emails/Attachments   PILGRIMS-0010552572         PILGRIMS-0010552585         12
 Emails/Attachments   PILGRIMS-0010552589         PILGRIMS-0010552629         19
 Emails/Attachments   PILGRIMS-0010552632         PILGRIMS-0010552697         18
 Emails/Attachments   PILGRIMS-0010552704         PILGRIMS-0010552714          8
 Emails/Attachments   PILGRIMS-0010552721         PILGRIMS-0010552847         48
 Emails/Attachments   PILGRIMS-0010552854         PILGRIMS-0010552926         35
 Emails/Attachments   PILGRIMS-0010552929         PILGRIMS-0010552936          3
 Emails/Attachments   PILGRIMS-0010552940         PILGRIMS-0010552959         12
 Emails/Attachments   PILGRIMS-0010552962         PILGRIMS-0010552989          9
 Emails/Attachments   PILGRIMS-0010552992         PILGRIMS-0010553034         14
 Emails/Attachments   PILGRIMS-0010553036         PILGRIMS-0010553056         14
 Emails/Attachments   PILGRIMS-0010553059         PILGRIMS-0010553060          2
 Emails/Attachments   PILGRIMS-0010553062         PILGRIMS-0010553063          2
 Emails/Attachments   PILGRIMS-0010553071         PILGRIMS-0010553072          1
 Emails/Attachments   PILGRIMS-0010553075         PILGRIMS-0010553078          4
 Emails/Attachments   PILGRIMS-0010553080         PILGRIMS-0010553087          6
 Emails/Attachments   PILGRIMS-0010553089         PILGRIMS-0010553094          6


                                    Page 323 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 347 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010553097         PILGRIMS-0010553107         11
 Emails/Attachments   PILGRIMS-0010553109         PILGRIMS-0010553116          8
 Emails/Attachments   PILGRIMS-0010553118         PILGRIMS-0010553231         42
 Emails/Attachments   PILGRIMS-0010553233         PILGRIMS-0010553323         32
 Emails/Attachments   PILGRIMS-0010553326         PILGRIMS-0010553367          2
 Emails/Attachments   PILGRIMS-0010553371         PILGRIMS-0010553551         38
 Emails/Attachments   PILGRIMS-0010553555         PILGRIMS-0010553677         38
 Emails/Attachments   PILGRIMS-0010553681         PILGRIMS-0010553737         18
 Emails/Attachments   PILGRIMS-0010553740         PILGRIMS-0010553850         38
 Emails/Attachments   PILGRIMS-0010553852         PILGRIMS-0010553855          4
 Emails/Attachments   PILGRIMS-0010553861         PILGRIMS-0010553879         17
 Emails/Attachments   PILGRIMS-0010553882         PILGRIMS-0010554022         20
 Emails/Attachments   PILGRIMS-0010554028         PILGRIMS-0010554033          6
 Emails/Attachments   PILGRIMS-0010554039         PILGRIMS-0010554062          4
 Emails/Attachments   PILGRIMS-0010554067         PILGRIMS-0010554155         34
 Emails/Attachments   PILGRIMS-0010554164         PILGRIMS-0010554211          9
 Emails/Attachments   PILGRIMS-0010554214         PILGRIMS-0010554215          1
 Emails/Attachments   PILGRIMS-0010554218         PILGRIMS-0010554237          2
 Emails/Attachments   PILGRIMS-0010554240         PILGRIMS-0010554249         10
 Emails/Attachments   PILGRIMS-0010554252         PILGRIMS-0010554290         16
 Emails/Attachments   PILGRIMS-0010554294         PILGRIMS-0010554304          4
 Emails/Attachments   PILGRIMS-0010554307         PILGRIMS-0010554336         24
 Emails/Attachments   PILGRIMS-0010554340         PILGRIMS-0010554342          3
 Emails/Attachments   PILGRIMS-0010554344         PILGRIMS-0010554367          5
 Emails/Attachments   PILGRIMS-0010554369         PILGRIMS-0010554370          2
 Emails/Attachments   PILGRIMS-0010554372         PILGRIMS-0010554375          2
 Emails/Attachments   PILGRIMS-0010554378         PILGRIMS-0010554760         159
 Emails/Attachments   PILGRIMS-0010554764         PILGRIMS-0010554814         37
 Emails/Attachments   PILGRIMS-0010554817         PILGRIMS-0010554870         30
 Emails/Attachments   PILGRIMS-0010554872         PILGRIMS-0010555056         42
 Emails/Attachments   PILGRIMS-0010555059         PILGRIMS-0010555078         13
 Emails/Attachments   PILGRIMS-0010555084         PILGRIMS-0010555088          4
 Emails/Attachments   PILGRIMS-0010555090         PILGRIMS-0010555199         49
 Emails/Attachments   PILGRIMS-0010555202         PILGRIMS-0010555212          7
 Emails/Attachments   PILGRIMS-0010555217         PILGRIMS-0010555258         29
 Emails/Attachments   PILGRIMS-0010555262         PILGRIMS-0010555451         86
 Emails/Attachments   PILGRIMS-0010555457         PILGRIMS-0010555768         96
 Emails/Attachments   PILGRIMS-0010555783         PILGRIMS-0010555793          7
 Emails/Attachments   PILGRIMS-0010555797         PILGRIMS-0010555822          3
 Emails/Attachments   PILGRIMS-0010555826         PILGRIMS-0010556029         83
 Emails/Attachments   PILGRIMS-0010556032         PILGRIMS-0010556076         13
 Emails/Attachments   PILGRIMS-0010556080         PILGRIMS-0010556163         37
 Emails/Attachments   PILGRIMS-0010556166         PILGRIMS-0010556677         186
 Emails/Attachments   PILGRIMS-0010556680         PILGRIMS-0010556748         18
 Emails/Attachments   PILGRIMS-0010556751         PILGRIMS-0010556792         23
 Emails/Attachments   PILGRIMS-0010556800         PILGRIMS-0010557018         113


                                    Page 324 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 348 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010557025         PILGRIMS-0010557335         192
 Emails/Attachments   PILGRIMS-0010557347         PILGRIMS-0010557894         169
 Emails/Attachments   PILGRIMS-0010557924         PILGRIMS-0010558459         129
 Emails/Attachments   PILGRIMS-0010558464         PILGRIMS-0010558520         31
 Emails/Attachments   PILGRIMS-0010558532         PILGRIMS-0010558676         46
 Emails/Attachments   PILGRIMS-0010558680         PILGRIMS-0010558994         101
 Emails/Attachments   PILGRIMS-0010558999         PILGRIMS-0010559088         49
 Emails/Attachments   PILGRIMS-0010559097         PILGRIMS-0010559338         76
 Emails/Attachments   PILGRIMS-0010559341         PILGRIMS-0010559614         74
 Emails/Attachments   PILGRIMS-0010559616         PILGRIMS-0010559888         122
 Emails/Attachments   PILGRIMS-0010559890         PILGRIMS-0010559935         18
 Emails/Attachments   PILGRIMS-0010559937         PILGRIMS-0010559942          3
 Emails/Attachments   PILGRIMS-0010559944         PILGRIMS-0010560224         71
 Emails/Attachments   PILGRIMS-0010560227         PILGRIMS-0010560228          2
 Emails/Attachments   PILGRIMS-0010560232         PILGRIMS-0010560235          4
 Emails/Attachments   PILGRIMS-0010560238         PILGRIMS-0010560242          5
 Emails/Attachments   PILGRIMS-0010560244         PILGRIMS-0010560437         73
 Emails/Attachments   PILGRIMS-0010560439         PILGRIMS-0010560466         18
 Emails/Attachments   PILGRIMS-0010560469         PILGRIMS-0010560952         179
 Emails/Attachments   PILGRIMS-0010560957         PILGRIMS-0010560976         15
 Emails/Attachments   PILGRIMS-0010560979         PILGRIMS-0010561233         107
 Emails/Attachments   PILGRIMS-0010561238         PILGRIMS-0010561327         36
 Emails/Attachments   PILGRIMS-0010561334         PILGRIMS-0010561385         23
 Emails/Attachments   PILGRIMS-0010561388         PILGRIMS-0010561616         106
 Emails/Attachments   PILGRIMS-0010561626         PILGRIMS-0010561711         45
 Emails/Attachments   PILGRIMS-0010561716         PILGRIMS-0010561733         12
 Emails/Attachments   PILGRIMS-0010561737         PILGRIMS-0010561742          6
 Emails/Attachments   PILGRIMS-0010561744         PILGRIMS-0010561843         50
 Emails/Attachments   PILGRIMS-0010561845         PILGRIMS-0010561864         13
 Emails/Attachments   PILGRIMS-0010561866         PILGRIMS-0010561873          8
 Emails/Attachments   PILGRIMS-0010561876         PILGRIMS-0010561883          7
 Emails/Attachments   PILGRIMS-0010561888         PILGRIMS-0010561889          2
 Emails/Attachments   PILGRIMS-0010561895         PILGRIMS-0010562028         34
 Emails/Attachments   PILGRIMS-0010562030         PILGRIMS-0010562039          8
 Emails/Attachments   PILGRIMS-0010562041         PILGRIMS-0010562084         13
 Emails/Attachments   PILGRIMS-0010562088         PILGRIMS-0010562103          6
 Emails/Attachments   PILGRIMS-0010562105         PILGRIMS-0010562374         87
 Emails/Attachments   PILGRIMS-0010562378         PILGRIMS-0010562385          4
 Emails/Attachments   PILGRIMS-0010562387         PILGRIMS-0010562438         23
 Emails/Attachments   PILGRIMS-0010562440         PILGRIMS-0010562515         32
 Emails/Attachments   PILGRIMS-0010562528         PILGRIMS-0010562592         18
 Emails/Attachments   PILGRIMS-0010562595         PILGRIMS-0010562596          2
 Emails/Attachments   PILGRIMS-0010562598         PILGRIMS-0010562599          2
 Emails/Attachments   PILGRIMS-0010562601         PILGRIMS-0010563069         185
 Emails/Attachments   PILGRIMS-0010563071         PILGRIMS-0010563264         89
 Emails/Attachments   PILGRIMS-0010563269         PILGRIMS-0010564047         226


                                    Page 325 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 349 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010564052         PILGRIMS-0010564076         11
 Emails/Attachments   PILGRIMS-0010564080         PILGRIMS-0010564105         13
 Emails/Attachments   PILGRIMS-0010564109         PILGRIMS-0010564141         10
 Emails/Attachments   PILGRIMS-0010564143         PILGRIMS-0010564669         245
 Emails/Attachments   PILGRIMS-0010564674         PILGRIMS-0010564789         33
 Emails/Attachments   PILGRIMS-0010564792         PILGRIMS-0010565027         136
 Emails/Attachments   PILGRIMS-0010565029         PILGRIMS-0010565976         187
 Emails/Attachments   PILGRIMS-0010565978         PILGRIMS-0010565984          3
 Emails/Attachments   PILGRIMS-0010566005         PILGRIMS-0010566006          2
 Emails/Attachments   PILGRIMS-0010566072         PILGRIMS-0010566073          1
 Emails/Attachments   PILGRIMS-0010566078         PILGRIMS-0010566079          1
 Emails/Attachments   PILGRIMS-0010566139         PILGRIMS-0010566143          1
 Emails/Attachments   PILGRIMS-0010566158         PILGRIMS-0010566158          1
 Emails/Attachments   PILGRIMS-0010566164         PILGRIMS-0010566173         10
 Emails/Attachments   PILGRIMS-0010566206         PILGRIMS-0010566239          8
 Emails/Attachments   PILGRIMS-0010566249         PILGRIMS-0010566251          2
 Emails/Attachments   PILGRIMS-0010566275         PILGRIMS-0010566302          2
 Emails/Attachments   PILGRIMS-0010566321         PILGRIMS-0010566338          7
 Emails/Attachments   PILGRIMS-0010566360         PILGRIMS-0010566371          8
 Emails/Attachments   PILGRIMS-0010566437         PILGRIMS-0010566439          2
 Emails/Attachments   PILGRIMS-0010566450         PILGRIMS-0010566455          3
 Emails/Attachments   PILGRIMS-0010566471         PILGRIMS-0010566473          2
 Emails/Attachments   PILGRIMS-0010566480         PILGRIMS-0010566491          9
 Emails/Attachments   PILGRIMS-0010566496         PILGRIMS-0010566510          7
 Emails/Attachments   PILGRIMS-0010566512         PILGRIMS-0010566515          2
 Emails/Attachments   PILGRIMS-0010566517         PILGRIMS-0010566536          6
 Emails/Attachments   PILGRIMS-0010566557         PILGRIMS-0010566560          2
 Emails/Attachments   PILGRIMS-0010566563         PILGRIMS-0010566566          2
 Emails/Attachments   PILGRIMS-0010566578         PILGRIMS-0010566581          2
 Emails/Attachments   PILGRIMS-0010566609         PILGRIMS-0010566616          4
 Emails/Attachments   PILGRIMS-0010566619         PILGRIMS-0010566626          4
 Emails/Attachments   PILGRIMS-0010566629         PILGRIMS-0010566668         23
 Emails/Attachments   PILGRIMS-0010566683         PILGRIMS-0010566686          2
 Emails/Attachments   PILGRIMS-0010566694         PILGRIMS-0010566722         18
 Emails/Attachments   PILGRIMS-0010566725         PILGRIMS-0010566736          6
 Emails/Attachments   PILGRIMS-0010566740         PILGRIMS-0010566802         24
 Emails/Attachments   PILGRIMS-0010566807         PILGRIMS-0010566854         22
 Emails/Attachments   PILGRIMS-0010566857         PILGRIMS-0010566875          7
 Emails/Attachments   PILGRIMS-0010566877         PILGRIMS-0010566884          7
 Emails/Attachments   PILGRIMS-0010566889         PILGRIMS-0010566917         13
 Emails/Attachments   PILGRIMS-0010566923         PILGRIMS-0010566948         12
 Emails/Attachments   PILGRIMS-0010566951         PILGRIMS-0010566997         19
 Emails/Attachments   PILGRIMS-0010566999         PILGRIMS-0010567007          8
 Emails/Attachments   PILGRIMS-0010567009         PILGRIMS-0010567010          2
 Emails/Attachments   PILGRIMS-0010567012         PILGRIMS-0010567172         79
 Emails/Attachments   PILGRIMS-0010567175         PILGRIMS-0010567190         14


                                    Page 326 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 350 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010567192         PILGRIMS-0010567222          12
 Emails/Attachments   PILGRIMS-0010567224         PILGRIMS-0010567246          15
 Emails/Attachments   PILGRIMS-0010567250         PILGRIMS-0010567257           4
 Emails/Attachments   PILGRIMS-0010567259         PILGRIMS-0010567260           2
 Emails/Attachments   PILGRIMS-0010567262         PILGRIMS-0010567267           4
 Emails/Attachments   PILGRIMS-0010567269         PILGRIMS-0010567467         100
 Emails/Attachments   PILGRIMS-0010567469         PILGRIMS-0010567495          17
 Emails/Attachments   PILGRIMS-0010567497         PILGRIMS-0010567498           2
 Emails/Attachments   PILGRIMS-0010567500         PILGRIMS-0010567501           2
 Emails/Attachments   PILGRIMS-0010567503         PILGRIMS-0010567540          20
 Emails/Attachments   PILGRIMS-0010567545         PILGRIMS-0010567946         194
 Emails/Attachments   PILGRIMS-0010567948         PILGRIMS-0010568217         146
 Emails/Attachments   PILGRIMS-0010568219         PILGRIMS-0010568262          31
 Emails/Attachments   PILGRIMS-0010568264         PILGRIMS-0010568364          63
 Emails/Attachments   PILGRIMS-0010568415         PILGRIMS-0010568600         127
 Emails/Attachments   PILGRIMS-0010568608         PILGRIMS-0010568641          17
 Emails/Attachments   PILGRIMS-0010568665         PILGRIMS-0010569294         292
 Emails/Attachments   PILGRIMS-0010569297         PILGRIMS-0010569305           5
 Emails/Attachments   PILGRIMS-0010569308         PILGRIMS-0010569446          99
 Emails/Attachments   PILGRIMS-0010569470         PILGRIMS-0010569553          43
 Emails/Attachments   PILGRIMS-0010569555         PILGRIMS-0010569657          71
 Emails/Attachments   PILGRIMS-0010569660         PILGRIMS-0010569774          67
 Emails/Attachments   PILGRIMS-0010569776         PILGRIMS-0010569843          29
 Emails/Attachments   PILGRIMS-0010569849         PILGRIMS-0010569996          57
 Emails/Attachments   PILGRIMS-0010570023         PILGRIMS-0010570024           1
 Emails/Attachments   PILGRIMS-0010570030         PILGRIMS-0010570031           2
 Emails/Attachments   PILGRIMS-0010570041         PILGRIMS-0010570043           1
 Emails/Attachments   PILGRIMS-0010570066         PILGRIMS-0010570186          47
 Emails/Attachments   PILGRIMS-0010570188         PILGRIMS-0010570839         484
 Emails/Attachments   PILGRIMS-0010571065         PILGRIMS-0010571250         141
 Emails/Attachments   PILGRIMS-0010571280         PILGRIMS-0010572039         163
 Emails/Attachments   PILGRIMS-0010572042         PILGRIMS-0010577870        2,152
 Emails/Attachments   PILGRIMS-0010578305         PILGRIMS-0010578306           2
 Emails/Attachments   PILGRIMS-0010578330         PILGRIMS-0010578335           3
 Emails/Attachments   PILGRIMS-0010578380         PILGRIMS-0010578390           7
 Emails/Attachments   PILGRIMS-0010578417         PILGRIMS-0010578420           2
 Emails/Attachments   PILGRIMS-0010578425         PILGRIMS-0010578426           1
 Emails/Attachments   PILGRIMS-0010578567         PILGRIMS-0010578767          34
 Emails/Attachments   PILGRIMS-0010578774         PILGRIMS-0010579041         129
 Emails/Attachments   PILGRIMS-0010579043         PILGRIMS-0010579044           2
 Emails/Attachments   PILGRIMS-0010579048         PILGRIMS-0010579295         119
 Emails/Attachments   PILGRIMS-0010579301         PILGRIMS-0010579474          76
 Emails/Attachments   PILGRIMS-0010579479         PILGRIMS-0010579519          15
 Emails/Attachments   PILGRIMS-0010579524         PILGRIMS-0010579573          24
 Emails/Attachments   PILGRIMS-0010579577         PILGRIMS-0010579901         157
 Emails/Attachments   PILGRIMS-0010579909         PILGRIMS-0010580167         126


                                    Page 327 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 351 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010580170         PILGRIMS-0010580171          1
 Emails/Attachments   PILGRIMS-0010580175         PILGRIMS-0010580219         22
 Emails/Attachments   PILGRIMS-0010580227         PILGRIMS-0010580291         24
 Emails/Attachments   PILGRIMS-0010580322         PILGRIMS-0010580650         145
 Emails/Attachments   PILGRIMS-0010580654         PILGRIMS-0010580662          3
 Emails/Attachments   PILGRIMS-0010580667         PILGRIMS-0010580670          3
 Emails/Attachments   PILGRIMS-0010580673         PILGRIMS-0010580798         43
 Emails/Attachments   PILGRIMS-0010580808         PILGRIMS-0010580925         45
 Emails/Attachments   PILGRIMS-0010580936         PILGRIMS-0010581027         37
 Emails/Attachments   PILGRIMS-0010581030         PILGRIMS-0010581069         21
 Emails/Attachments   PILGRIMS-0010581088         PILGRIMS-0010581089          2
 Emails/Attachments   PILGRIMS-0010581096         PILGRIMS-0010581107          2
 Emails/Attachments   PILGRIMS-0010581115         PILGRIMS-0010581116          1
 Emails/Attachments   PILGRIMS-0010581119         PILGRIMS-0010581132          7
 Emails/Attachments   PILGRIMS-0010581146         PILGRIMS-0010581197         27
 Emails/Attachments   PILGRIMS-0010581200         PILGRIMS-0010581213          9
 Emails/Attachments   PILGRIMS-0010581219         PILGRIMS-0010581227          5
 Emails/Attachments   PILGRIMS-0010581234         PILGRIMS-0010581243          3
 Emails/Attachments   PILGRIMS-0010581260         PILGRIMS-0010581264          3
 Emails/Attachments   PILGRIMS-0010581273         PILGRIMS-0010581303          9
 Emails/Attachments   PILGRIMS-0010581308         PILGRIMS-0010581315          3
 Emails/Attachments   PILGRIMS-0010581320         PILGRIMS-0010581327          5
 Emails/Attachments   PILGRIMS-0010581337         PILGRIMS-0010581405         38
 Emails/Attachments   PILGRIMS-0010581416         PILGRIMS-0010581429         11
 Emails/Attachments   PILGRIMS-0010581432         PILGRIMS-0010581459         15
 Emails/Attachments   PILGRIMS-0010581471         PILGRIMS-0010581540         15
 Emails/Attachments   PILGRIMS-0010581551         PILGRIMS-0010581645         43
 Emails/Attachments   PILGRIMS-0010581651         PILGRIMS-0010581671         16
 Emails/Attachments   PILGRIMS-0010581675         PILGRIMS-0010581751         35
 Emails/Attachments   PILGRIMS-0010581757         PILGRIMS-0010581919         68
 Emails/Attachments   PILGRIMS-0010581924         PILGRIMS-0010582135         101
 Emails/Attachments   PILGRIMS-0010582142         PILGRIMS-0010582149          2
 Emails/Attachments   PILGRIMS-0010582167         PILGRIMS-0010582224         26
 Emails/Attachments   PILGRIMS-0010582235         PILGRIMS-0010582303         42
 Emails/Attachments   PILGRIMS-0010582306         PILGRIMS-0010582354         20
 Emails/Attachments   PILGRIMS-0010582379         PILGRIMS-0010582380          2
 Emails/Attachments   PILGRIMS-0010582386         PILGRIMS-0010582418         23
 Emails/Attachments   PILGRIMS-0010582422         PILGRIMS-0010582457         24
 Emails/Attachments   PILGRIMS-0010582462         PILGRIMS-0010582846         223
 Emails/Attachments   PILGRIMS-0010582875         PILGRIMS-0010583211         194
 Emails/Attachments   PILGRIMS-0010583220         PILGRIMS-0010583295         43
 Emails/Attachments   PILGRIMS-0010583298         PILGRIMS-0010583357         37
 Emails/Attachments   PILGRIMS-0010583362         PILGRIMS-0010583390         13
 Emails/Attachments   PILGRIMS-0010583393         PILGRIMS-0010583436         29
 Emails/Attachments   PILGRIMS-0010583438         PILGRIMS-0010583515         47
 Emails/Attachments   PILGRIMS-0010583528         PILGRIMS-0010583544          9


                                    Page 328 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 352 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010583560         PILGRIMS-0010583605          31
 Emails/Attachments   PILGRIMS-0010583611         PILGRIMS-0010583666          37
 Emails/Attachments   PILGRIMS-0010583672         PILGRIMS-0010583744          37
 Emails/Attachments   PILGRIMS-0010583750         PILGRIMS-0010583751           1
 Emails/Attachments   PILGRIMS-0010583765         PILGRIMS-0010583767           1
 Emails/Attachments   PILGRIMS-0010583780         PILGRIMS-0010583787           5
 Emails/Attachments   PILGRIMS-0010583794         PILGRIMS-0010583799           6
 Emails/Attachments   PILGRIMS-0010583803         PILGRIMS-0010584659         408
 Emails/Attachments   PILGRIMS-0010584673         PILGRIMS-0010584737           6
 Emails/Attachments   PILGRIMS-0010584742         PILGRIMS-0010584745           3
 Emails/Attachments   PILGRIMS-0010584754         PILGRIMS-0010584795          42
 Emails/Attachments   PILGRIMS-0010584799         PILGRIMS-0010584813          15
 Emails/Attachments   PILGRIMS-0010584815         PILGRIMS-0010584832          18
 Emails/Attachments   PILGRIMS-0010584838         PILGRIMS-0010584856          19
 Emails/Attachments   PILGRIMS-0010584858         PILGRIMS-0010584892          35
 Emails/Attachments   PILGRIMS-0010584895         PILGRIMS-0010584898           4
 Emails/Attachments   PILGRIMS-0010584910         PILGRIMS-0010585184         137
 Emails/Attachments   PILGRIMS-0010585188         PILGRIMS-0010585202           3
 Emails/Attachments   PILGRIMS-0010585209         PILGRIMS-0010585214           1
 Emails/Attachments   PILGRIMS-0010585221         PILGRIMS-0010585227           4
 Emails/Attachments   PILGRIMS-0010585231         PILGRIMS-0010585252          21
 Emails/Attachments   PILGRIMS-0010585254         PILGRIMS-0010590217         211
 Emails/Attachments   PILGRIMS-0010590220         PILGRIMS-0010590223           2
 Emails/Attachments   PILGRIMS-0010590230         PILGRIMS-0010595080        1,859
 Emails/Attachments   PILGRIMS-0010595092         PILGRIMS-0010595197          59
 Emails/Attachments   PILGRIMS-0010595199         PILGRIMS-0010595221          21
 Emails/Attachments   PILGRIMS-0010595226         PILGRIMS-0010595373          10
 Emails/Attachments   PILGRIMS-0010595376         PILGRIMS-0010595377           1
 Emails/Attachments   PILGRIMS-0010595379         PILGRIMS-0010595402          24
 Emails/Attachments   PILGRIMS-0010595404         PILGRIMS-0010595405           2
 Emails/Attachments   PILGRIMS-0010595407         PILGRIMS-0010595412           6
 Emails/Attachments   PILGRIMS-0010595414         PILGRIMS-0010595543          56
 Emails/Attachments   PILGRIMS-0010595547         PILGRIMS-0010595552           6
 Emails/Attachments   PILGRIMS-0010595555         PILGRIMS-0010595563           6
 Emails/Attachments   PILGRIMS-0010595565         PILGRIMS-0010595575           8
 Emails/Attachments   PILGRIMS-0010595577         PILGRIMS-0010595583           7
 Emails/Attachments   PILGRIMS-0010595585         PILGRIMS-0010595591           7
 Emails/Attachments   PILGRIMS-0010595593         PILGRIMS-0010595599           7
 Emails/Attachments   PILGRIMS-0010595601         PILGRIMS-0010595618          12
 Emails/Attachments   PILGRIMS-0010595622         PILGRIMS-0010595630           9
 Emails/Attachments   PILGRIMS-0010595637         PILGRIMS-0010595643           7
 Emails/Attachments   PILGRIMS-0010595646         PILGRIMS-0010595652           7
 Emails/Attachments   PILGRIMS-0010595654         PILGRIMS-0010595660           7
 Emails/Attachments   PILGRIMS-0010595664         PILGRIMS-0010595666           3
 Emails/Attachments   PILGRIMS-0010595671         PILGRIMS-0010595672           2
 Emails/Attachments   PILGRIMS-0010595676         PILGRIMS-0010595676           1


                                    Page 329 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 353 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010595678         PILGRIMS-0010595682          4
 Emails/Attachments   PILGRIMS-0010595684         PILGRIMS-0010595685          2
 Emails/Attachments   PILGRIMS-0010595687         PILGRIMS-0010595690          4
 Emails/Attachments   PILGRIMS-0010595692         PILGRIMS-0010595699          8
 Emails/Attachments   PILGRIMS-0010595701         PILGRIMS-0010595716         12
 Emails/Attachments   PILGRIMS-0010595718         PILGRIMS-0010595747         30
 Emails/Attachments   PILGRIMS-0010595749         PILGRIMS-0010595761          6
 Emails/Attachments   PILGRIMS-0010595763         PILGRIMS-0010595766          4
 Emails/Attachments   PILGRIMS-0010595770         PILGRIMS-0010595777          8
 Emails/Attachments   PILGRIMS-0010595780         PILGRIMS-0010595785          5
 Emails/Attachments   PILGRIMS-0010595787         PILGRIMS-0010595790          4
 Emails/Attachments   PILGRIMS-0010595793         PILGRIMS-0010595794          2
 Emails/Attachments   PILGRIMS-0010595799         PILGRIMS-0010595801          3
 Emails/Attachments   PILGRIMS-0010595804         PILGRIMS-0010595804          1
 Emails/Attachments   PILGRIMS-0010595806         PILGRIMS-0010595809          4
 Emails/Attachments   PILGRIMS-0010595811         PILGRIMS-0010595815          5
 Emails/Attachments   PILGRIMS-0010595817         PILGRIMS-0010595827         11
 Emails/Attachments   PILGRIMS-0010595829         PILGRIMS-0010595830          2
 Emails/Attachments   PILGRIMS-0010595832         PILGRIMS-0010595837          6
 Emails/Attachments   PILGRIMS-0010595839         PILGRIMS-0010595840          2
 Emails/Attachments   PILGRIMS-0010595842         PILGRIMS-0010595845          4
 Emails/Attachments   PILGRIMS-0010595849         PILGRIMS-0010595885         27
 Emails/Attachments   PILGRIMS-0010595889         PILGRIMS-0010595892          4
 Emails/Attachments   PILGRIMS-0010595894         PILGRIMS-0010595895          2
 Emails/Attachments   PILGRIMS-0010595897         PILGRIMS-0010595913          8
 Emails/Attachments   PILGRIMS-0010595917         PILGRIMS-0010595918          2
 Emails/Attachments   PILGRIMS-0010595926         PILGRIMS-0010595927          2
 Emails/Attachments   PILGRIMS-0010595931         PILGRIMS-0010595932          2
 Emails/Attachments   PILGRIMS-0010595936         PILGRIMS-0010595937          2
 Emails/Attachments   PILGRIMS-0010595944         PILGRIMS-0010595945          2
 Emails/Attachments   PILGRIMS-0010596118         PILGRIMS-0010597067         517
 Emails/Attachments   PILGRIMS-0010597069         PILGRIMS-0010597096          3
 Emails/Attachments   PILGRIMS-0010597101         PILGRIMS-0010597369         33
 Emails/Attachments   PILGRIMS-0010597374         PILGRIMS-0010597375          2
 Emails/Attachments   PILGRIMS-0010597377         PILGRIMS-0010598732         527
 Emails/Attachments   PILGRIMS-0010600608         PILGRIMS-0010600726         59
 Emails/Attachments   PILGRIMS-0010606492         PILGRIMS-0010606505         13
 Emails/Attachments   PILGRIMS-0010606510         PILGRIMS-0010606516          4
 Emails/Attachments   PILGRIMS-0010606518         PILGRIMS-0010606688         160
 Emails/Attachments   PILGRIMS-0010606692         PILGRIMS-0010606806         56
 Emails/Attachments   PILGRIMS-0010606810         PILGRIMS-0010606899         23
 Emails/Attachments   PILGRIMS-0010609842         PILGRIMS-0010609944         16
 Emails/Attachments   PILGRIMS-0010609946         PILGRIMS-0010610212         37
 Emails/Attachments   PILGRIMS-0010610214         PILGRIMS-0010610238         16
 Emails/Attachments   PILGRIMS-0010610241         PILGRIMS-0010610268         14
 Emails/Attachments   PILGRIMS-0010610270         PILGRIMS-0010610279          5


                                    Page 330 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 354 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010610290         PILGRIMS-0010610397         58
 Emails/Attachments   PILGRIMS-0010610399         PILGRIMS-0010610418         10
 Emails/Attachments   PILGRIMS-0010610422         PILGRIMS-0010610431          5
 Emails/Attachments   PILGRIMS-0010610435         PILGRIMS-0010610468         19
 Emails/Attachments   PILGRIMS-0010610476         PILGRIMS-0010610495         10
 Emails/Attachments   PILGRIMS-0010610501         PILGRIMS-0010610553         27
 Emails/Attachments   PILGRIMS-0010610555         PILGRIMS-0010610567          7
 Emails/Attachments   PILGRIMS-0010610572         PILGRIMS-0010610585          8
 Emails/Attachments   PILGRIMS-0010610587         PILGRIMS-0010610600          8
 Emails/Attachments   PILGRIMS-0010610607         PILGRIMS-0010610617          5
 Emails/Attachments   PILGRIMS-0010610633         PILGRIMS-0010610643          5
 Emails/Attachments   PILGRIMS-0010610662         PILGRIMS-0010610665          4
 Emails/Attachments   PILGRIMS-0010610669         PILGRIMS-0010610684         10
 Emails/Attachments   PILGRIMS-0010610687         PILGRIMS-0010610697          5
 Emails/Attachments   PILGRIMS-0010610702         PILGRIMS-0010610703          2
 Emails/Attachments   PILGRIMS-0010610708         PILGRIMS-0010610718          5
 Emails/Attachments   PILGRIMS-0010610720         PILGRIMS-0010610721          2
 Emails/Attachments   PILGRIMS-0010610724         PILGRIMS-0010610734          5
 Emails/Attachments   PILGRIMS-0010610736         PILGRIMS-0010610737          2
 Emails/Attachments   PILGRIMS-0010610739         PILGRIMS-0010610740          2
 Emails/Attachments   PILGRIMS-0010610747         PILGRIMS-0010610748          2
 Emails/Attachments   PILGRIMS-0010610750         PILGRIMS-0010610760          5
 Emails/Attachments   PILGRIMS-0010610762         PILGRIMS-0010610764          3
 Emails/Attachments   PILGRIMS-0010610770         PILGRIMS-0010610771          2
 Emails/Attachments   PILGRIMS-0010610777         PILGRIMS-0010610778          2
 Emails/Attachments   PILGRIMS-0010610783         PILGRIMS-0010610813         31
 Emails/Attachments   PILGRIMS-0010610823         PILGRIMS-0010610827          2
 Emails/Attachments   PILGRIMS-0010610832         PILGRIMS-0010610833          2
 Emails/Attachments   PILGRIMS-0010610836         PILGRIMS-0010610846         11
 Emails/Attachments   PILGRIMS-0010611513         PILGRIMS-0010611514          2
 Emails/Attachments   PILGRIMS-0010611550         PILGRIMS-0010611551          2
 Emails/Attachments   PILGRIMS-0010611558         PILGRIMS-0010611559          2
 Emails/Attachments   PILGRIMS-0010611575         PILGRIMS-0010611576          2
 Emails/Attachments   PILGRIMS-0010611583         PILGRIMS-0010611584          2
 Emails/Attachments   PILGRIMS-0010611831         PILGRIMS-0010611855         14
 Emails/Attachments   PILGRIMS-0010611858         PILGRIMS-0010611863          4
 Emails/Attachments   PILGRIMS-0010612682         PILGRIMS-0010612774         12
 Emails/Attachments   PILGRIMS-0010612835         PILGRIMS-0010612869         11
 Emails/Attachments   PILGRIMS-0010613013         PILGRIMS-0010613028         13
 Emails/Attachments   PILGRIMS-0010613030         PILGRIMS-0010613041         10
 Emails/Attachments   PILGRIMS-0010613043         PILGRIMS-0010613334         178
 Emails/Attachments   PILGRIMS-0010613348         PILGRIMS-0010613398         22
 Emails/Attachments   PILGRIMS-0010613508         PILGRIMS-0010613535         22
 Emails/Attachments   PILGRIMS-0010613545         PILGRIMS-0010613640         78
 Emails/Attachments   PILGRIMS-0010613652         PILGRIMS-0010613715         35
 Emails/Attachments   PILGRIMS-0010613717         PILGRIMS-0010613733          8


                                    Page 331 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 355 of
                                      485
                                      EXHIBIT A

  Document Type            First Bates                 Last Bates       # of Documents
 Emails/Attachments   PILGRIMS-0010613790         PILGRIMS-0010613805         13
 Emails/Attachments   PILGRIMS-0010613807         PILGRIMS-0010613811          4
 Emails/Attachments   PILGRIMS-0010613855         PILGRIMS-0010613855          1
 Emails/Attachments   PILGRIMS-0010613860         PILGRIMS-0010613861          1
 Emails/Attachments   PILGRIMS-0010613865         PILGRIMS-0010613869          4
 Emails/Attachments   PILGRIMS-0010613871         PILGRIMS-0010613908         24
 Emails/Attachments   PILGRIMS-0010613918         PILGRIMS-0010613919          2
 Emails/Attachments   PILGRIMS-0010613924         PILGRIMS-0010613928          3
 Emails/Attachments   PILGRIMS-0010613952         PILGRIMS-0010613953          2
 Emails/Attachments   PILGRIMS-0010613955         PILGRIMS-0010613959          3
 Emails/Attachments   PILGRIMS-0010613980         PILGRIMS-0010614009         17
 Emails/Attachments   PILGRIMS-0010614012         PILGRIMS-0010614031         13
 Emails/Attachments   PILGRIMS-0010614074         PILGRIMS-0010614085         10
 Emails/Attachments   PILGRIMS-0010614087         PILGRIMS-0010614130         33
 Emails/Attachments   PILGRIMS-0010614132         PILGRIMS-0010614368         40
 Emails/Attachments   PILGRIMS-0010614370         PILGRIMS-0010614371          1
 Emails/Attachments   PILGRIMS-0010614373         PILGRIMS-0010614379          7
 Emails/Attachments   PILGRIMS-0010614381         PILGRIMS-0010614381          1
 Emails/Attachments   PILGRIMS-0010614383         PILGRIMS-0010614395          7
 Emails/Attachments   PILGRIMS-0010614397         PILGRIMS-0010614398          2
 Emails/Attachments   PILGRIMS-0010614401         PILGRIMS-0010614404          2
 Emails/Attachments   PILGRIMS-0010614423         PILGRIMS-0010614440          6
 Emails/Attachments   PILGRIMS-0010614443         PILGRIMS-0010614468         10
                                                         Total:             924,083




                                    Page 332 of 332
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 356 of
                                      485




               Exhibit 4-2
               (Revised)
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 357 of
                                      485
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 358 of
                                       485




                                         EXHIBIT A

 Document Type              First Bates               Last Bates         Number of Documents
Emails/Attachments   PILGRIMS-DOJ-0000021208   PILGRIMS-DOJ-0000021601            97
Emails/Attachments   PILGRIMS-DOJ-0000021618   PILGRIMS-DOJ-0000021753            23
Emails/Attachments   PILGRIMS-DOJ-0000021847   PILGRIMS-DOJ-0000021872             3
Emails/Attachments   PILGRIMS-DOJ-0000021917   PILGRIMS-DOJ-0000022666           144
Emails/Attachments   PILGRIMS-DOJ-0000022793   PILGRIMS-DOJ-0000023859           160
Emails/Attachments   PILGRIMS-DOJ-0000023865   PILGRIMS-DOJ-0000023962            24
Emails/Attachments   PILGRIMS-DOJ-0000024107   PILGRIMS-DOJ-0000024110             2
Emails/Attachments   PILGRIMS-DOJ-0000024128   PILGRIMS-DOJ-0000024999           178
Emails/Attachments   PILGRIMS-DOJ-0000025084   PILGRIMS-DOJ-0000025170             2
Emails/Attachments   PILGRIMS-DOJ-0000025218   PILGRIMS-DOJ-0000025338            15
Emails/Attachments   PILGRIMS-DOJ-0000025485   PILGRIMS-DOJ-0000025648            38
Emails/Attachments   PILGRIMS-DOJ-0000025875   PILGRIMS-DOJ-0000035569          1,790
Emails/Attachments   PILGRIMS-DOJ-0000035572   PILGRIMS-DOJ-0000045937          1,295
Emails/Attachments   PILGRIMS-DOJ-0000045996   PILGRIMS-DOJ-0000046526            50
Emails/Attachments   PILGRIMS-DOJ-0000046533   PILGRIMS-DOJ-0000046747            68
Emails/Attachments   PILGRIMS-DOJ-0000046749   PILGRIMS-DOJ-0000047154            52
Emails/Attachments   PILGRIMS-DOJ-0000047156   PILGRIMS-DOJ-0000048992           428
Emails/Attachments   PILGRIMS-DOJ-0000049021   PILGRIMS-DOJ-0000050382           274
Emails/Attachments   PILGRIMS-DOJ-0000050386   PILGRIMS-DOJ-0000053737           713
Emails/Attachments   PILGRIMS-DOJ-0000053746   PILGRIMS-DOJ-0000053947            26
Emails/Attachments   PILGRIMS-DOJ-0000053957   PILGRIMS-DOJ-0000054191            30
Emails/Attachments   PILGRIMS-DOJ-0000054221   PILGRIMS-DOJ-0000054468            25
Emails/Attachments   PILGRIMS-DOJ-0000054470   PILGRIMS-DOJ-0000055814           276
Emails/Attachments   PILGRIMS-DOJ-0000055818   PILGRIMS-DOJ-0000056102           112
Emails/Attachments   PILGRIMS-DOJ-0000056104   PILGRIMS-DOJ-0000056827           179
Emails/Attachments   PILGRIMS-DOJ-0000056832   PILGRIMS-DOJ-0000057232           150
Emails/Attachments   PILGRIMS-DOJ-0000057239   PILGRIMS-DOJ-0000057614           138
Emails/Attachments   PILGRIMS-DOJ-0000057620   PILGRIMS-DOJ-0000057671            31
Emails/Attachments   PILGRIMS-DOJ-0000057675   PILGRIMS-DOJ-0000057830            74
Emails/Attachments   PILGRIMS-DOJ-0000057836   PILGRIMS-DOJ-0000057940            58
Emails/Attachments   PILGRIMS-DOJ-0000057954   PILGRIMS-DOJ-0000062309           640
Emails/Attachments   PILGRIMS-DOJ-0000062311   PILGRIMS-DOJ-0000074980          1,933
Emails/Attachments   PILGRIMS-DOJ-0000075050   PILGRIMS-DOJ-0000099829          4,858
Emails/Attachments   PILGRIMS-DOJ-0000104501   PILGRIMS-DOJ-0000380615         80,698
Emails/Attachments   PILGRIMS-DOJ-0000380634   PILGRIMS-DOJ-0000484592         36,410
Emails/Attachments   PILGRIMS-DOJ-0000502272   PILGRIMS-DOJ-0000508328          1,288
Emails/Attachments   PILGRIMS-DOJ-0000509284   PILGRIMS-DOJ-0000509328            34
Emails/Attachments   PILGRIMS-DOJ-0000509330   PILGRIMS-DOJ-0000509368            31
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 359 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0000513391   PILGRIMS-DOJ-0000513909      361
Emails/Attachments   PILGRIMS-DOJ-0000529522   PILGRIMS-DOJ-0000529689       43
Emails/Attachments   PILGRIMS-DOJ-0000530293   PILGRIMS-DOJ-0000592607    20,823
Emails/Attachments   PILGRIMS-DOJ-0000592614   PILGRIMS-DOJ-0000593128      153
Emails/Attachments   PILGRIMS-DOJ-0000593178   PILGRIMS-DOJ-0000911769    61,311
Emails/Attachments   PILGRIMS-DOJ-0000934433   PILGRIMS-DOJ-0001110867    52,964
Emails/Attachments   PILGRIMS-DOJ-0001111762   PILGRIMS-DOJ-0001132205     8,945
Emails/Attachments   PILGRIMS-DOJ-0001132207   PILGRIMS-DOJ-0001525288   142,739
Emails/Attachments   PILGRIMS-DOJ-0001525308   PILGRIMS-DOJ-0001610028    29,323
Emails/Attachments   PILGRIMS-DOJ-0001610095   PILGRIMS-DOJ-0001610101        6
Emails/Attachments   PILGRIMS-DOJ-0001610105   PILGRIMS-DOJ-0001610183       19
Emails/Attachments   PILGRIMS-DOJ-0001610185   PILGRIMS-DOJ-0001610189        3
Emails/Attachments   PILGRIMS-DOJ-0001610202   PILGRIMS-DOJ-0001610216        6
Emails/Attachments   PILGRIMS-DOJ-0001610218   PILGRIMS-DOJ-0001610229        9
Emails/Attachments   PILGRIMS-DOJ-0001610250   PILGRIMS-DOJ-0001610263        8
Emails/Attachments   PILGRIMS-DOJ-0001610267   PILGRIMS-DOJ-0001610270        2
Emails/Attachments   PILGRIMS-DOJ-0001610282   PILGRIMS-DOJ-0001610308        7
Emails/Attachments   PILGRIMS-DOJ-0001610316   PILGRIMS-DOJ-0001610324        9
Emails/Attachments   PILGRIMS-DOJ-0001610342   PILGRIMS-DOJ-0001610452       50
Emails/Attachments   PILGRIMS-DOJ-0001610454   PILGRIMS-DOJ-0001610459        3
Emails/Attachments   PILGRIMS-DOJ-0001610462   PILGRIMS-DOJ-0001610475       13
Emails/Attachments   PILGRIMS-DOJ-0001610478   PILGRIMS-DOJ-0001610557       58
Emails/Attachments   PILGRIMS-DOJ-0001610559   PILGRIMS-DOJ-0001610560        1
Emails/Attachments   PILGRIMS-DOJ-0001610562   PILGRIMS-DOJ-0001610578        7
Emails/Attachments   PILGRIMS-DOJ-0001610580   PILGRIMS-DOJ-0001610584        4
Emails/Attachments   PILGRIMS-DOJ-0001610587   PILGRIMS-DOJ-0001610590        4
Emails/Attachments   PILGRIMS-DOJ-0001610597   PILGRIMS-DOJ-0001610600        4
Emails/Attachments   PILGRIMS-DOJ-0001610602   PILGRIMS-DOJ-0001610606        5
Emails/Attachments   PILGRIMS-DOJ-0001610609   PILGRIMS-DOJ-0001610669       55
Emails/Attachments   PILGRIMS-DOJ-0001610671   PILGRIMS-DOJ-0001610707       19
Emails/Attachments   PILGRIMS-DOJ-0001610709   PILGRIMS-DOJ-0001610972       55
Emails/Attachments   PILGRIMS-DOJ-0001610974   PILGRIMS-DOJ-0001611104       37
Emails/Attachments   PILGRIMS-DOJ-0001611112   PILGRIMS-DOJ-0001611179       35
Emails/Attachments   PILGRIMS-DOJ-0001611181   PILGRIMS-DOJ-0001618016     4,336
Emails/Attachments   PILGRIMS-DOJ-0001618019   PILGRIMS-DOJ-0001618130       81
Emails/Attachments   PILGRIMS-DOJ-0001618134   PILGRIMS-DOJ-0001618194       37
Emails/Attachments   PILGRIMS-DOJ-0001618197   PILGRIMS-DOJ-0001618284       37
Emails/Attachments   PILGRIMS-DOJ-0001618288   PILGRIMS-DOJ-0001620291     1,118
Emails/Attachments   PILGRIMS-DOJ-0001620293   PILGRIMS-DOJ-0001621043      417
Emails/Attachments   PILGRIMS-DOJ-0001621066   PILGRIMS-DOJ-0001621202       87
Emails/Attachments   PILGRIMS-DOJ-0001621207   PILGRIMS-DOJ-0001621391      111
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 360 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001621454   PILGRIMS-DOJ-0001621455      2
Emails/Attachments   PILGRIMS-DOJ-0001621544   PILGRIMS-DOJ-0001622881    405
Emails/Attachments   PILGRIMS-DOJ-0001622883   PILGRIMS-DOJ-0001623746    348
Emails/Attachments   PILGRIMS-DOJ-0001623750   PILGRIMS-DOJ-0001627427   1,436
Emails/Attachments   PILGRIMS-DOJ-0001627436   PILGRIMS-DOJ-0001644036   7,258
Emails/Attachments   PILGRIMS-DOJ-0001644150   PILGRIMS-DOJ-0001644157      4
Emails/Attachments   PILGRIMS-DOJ-0001644347   PILGRIMS-DOJ-0001645031    173
Emails/Attachments   PILGRIMS-DOJ-0001645043   PILGRIMS-DOJ-0001645043      1
Emails/Attachments   PILGRIMS-DOJ-0001645120   PILGRIMS-DOJ-0001645121      2
Emails/Attachments   PILGRIMS-DOJ-0001645126   PILGRIMS-DOJ-0001645128      3
Emails/Attachments   PILGRIMS-DOJ-0001645184   PILGRIMS-DOJ-0001645185      2
Emails/Attachments   PILGRIMS-DOJ-0001645344   PILGRIMS-DOJ-0001645345      2
Emails/Attachments   PILGRIMS-DOJ-0001645423   PILGRIMS-DOJ-0001645424      2
Emails/Attachments   PILGRIMS-DOJ-0001645684   PILGRIMS-DOJ-0001645684      1
Emails/Attachments   PILGRIMS-DOJ-0001645691   PILGRIMS-DOJ-0001645694      4
Emails/Attachments   PILGRIMS-DOJ-0001645729   PILGRIMS-DOJ-0001645761     16
Emails/Attachments   PILGRIMS-DOJ-0001645763   PILGRIMS-DOJ-0001645763      1
Emails/Attachments   PILGRIMS-DOJ-0001645765   PILGRIMS-DOJ-0001645776      6
Emails/Attachments   PILGRIMS-DOJ-0001645779   PILGRIMS-DOJ-0001645784      4
Emails/Attachments   PILGRIMS-DOJ-0001645786   PILGRIMS-DOJ-0001645818     19
Emails/Attachments   PILGRIMS-DOJ-0001645827   PILGRIMS-DOJ-0001645844     14
Emails/Attachments   PILGRIMS-DOJ-0001645847   PILGRIMS-DOJ-0001645848      2
Emails/Attachments   PILGRIMS-DOJ-0001645856   PILGRIMS-DOJ-0001645863      7
Emails/Attachments   PILGRIMS-DOJ-0001645865   PILGRIMS-DOJ-0001645900     19
Emails/Attachments   PILGRIMS-DOJ-0001645902   PILGRIMS-DOJ-0001645933     18
Emails/Attachments   PILGRIMS-DOJ-0001645940   PILGRIMS-DOJ-0001645941      2
Emails/Attachments   PILGRIMS-DOJ-0001645944   PILGRIMS-DOJ-0001645957     12
Emails/Attachments   PILGRIMS-DOJ-0001645964   PILGRIMS-DOJ-0001645977      5
Emails/Attachments   PILGRIMS-DOJ-0001645979   PILGRIMS-DOJ-0001646030     18
Emails/Attachments   PILGRIMS-DOJ-0001646034   PILGRIMS-DOJ-0001646050     10
Emails/Attachments   PILGRIMS-DOJ-0001646054   PILGRIMS-DOJ-0001646061      5
Emails/Attachments   PILGRIMS-DOJ-0001646064   PILGRIMS-DOJ-0001646089     17
Emails/Attachments   PILGRIMS-DOJ-0001646093   PILGRIMS-DOJ-0001646108     11
Emails/Attachments   PILGRIMS-DOJ-0001646110   PILGRIMS-DOJ-0001646122      6
Emails/Attachments   PILGRIMS-DOJ-0001646124   PILGRIMS-DOJ-0001646130      2
Emails/Attachments   PILGRIMS-DOJ-0001646132   PILGRIMS-DOJ-0001646136      3
Emails/Attachments   PILGRIMS-DOJ-0001646140   PILGRIMS-DOJ-0001646238     26
Emails/Attachments   PILGRIMS-DOJ-0001646240   PILGRIMS-DOJ-0001646284     19
Emails/Attachments   PILGRIMS-DOJ-0001646286   PILGRIMS-DOJ-0001646380     26
Emails/Attachments   PILGRIMS-DOJ-0001646382   PILGRIMS-DOJ-0001646436     30
Emails/Attachments   PILGRIMS-DOJ-0001646462   PILGRIMS-DOJ-0001646472      9
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 361 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001646474   PILGRIMS-DOJ-0001646522   25
Emails/Attachments   PILGRIMS-DOJ-0001646527   PILGRIMS-DOJ-0001646691   61
Emails/Attachments   PILGRIMS-DOJ-0001646693   PILGRIMS-DOJ-0001646696    3
Emails/Attachments   PILGRIMS-DOJ-0001646698   PILGRIMS-DOJ-0001646789   62
Emails/Attachments   PILGRIMS-DOJ-0001646792   PILGRIMS-DOJ-0001646832   21
Emails/Attachments   PILGRIMS-DOJ-0001646834   PILGRIMS-DOJ-0001646836    2
Emails/Attachments   PILGRIMS-DOJ-0001646838   PILGRIMS-DOJ-0001646941   51
Emails/Attachments   PILGRIMS-DOJ-0001646946   PILGRIMS-DOJ-0001646980   20
Emails/Attachments   PILGRIMS-DOJ-0001646982   PILGRIMS-DOJ-0001646988    4
Emails/Attachments   PILGRIMS-DOJ-0001646990   PILGRIMS-DOJ-0001647009    4
Emails/Attachments   PILGRIMS-DOJ-0001647011   PILGRIMS-DOJ-0001647027   13
Emails/Attachments   PILGRIMS-DOJ-0001647048   PILGRIMS-DOJ-0001647338   64
Emails/Attachments   PILGRIMS-DOJ-0001647346   PILGRIMS-DOJ-0001647355    5
Emails/Attachments   PILGRIMS-DOJ-0001647362   PILGRIMS-DOJ-0001647371    5
Emails/Attachments   PILGRIMS-DOJ-0001647373   PILGRIMS-DOJ-0001647390    9
Emails/Attachments   PILGRIMS-DOJ-0001647392   PILGRIMS-DOJ-0001647397    5
Emails/Attachments   PILGRIMS-DOJ-0001647399   PILGRIMS-DOJ-0001647444   21
Emails/Attachments   PILGRIMS-DOJ-0001647446   PILGRIMS-DOJ-0001647453    6
Emails/Attachments   PILGRIMS-DOJ-0001647455   PILGRIMS-DOJ-0001647569   58
Emails/Attachments   PILGRIMS-DOJ-0001647571   PILGRIMS-DOJ-0001647582    3
Emails/Attachments   PILGRIMS-DOJ-0001647602   PILGRIMS-DOJ-0001647655   13
Emails/Attachments   PILGRIMS-DOJ-0001647657   PILGRIMS-DOJ-0001647658    2
Emails/Attachments   PILGRIMS-DOJ-0001647660   PILGRIMS-DOJ-0001647660    1
Emails/Attachments   PILGRIMS-DOJ-0001647662   PILGRIMS-DOJ-0001647697   15
Emails/Attachments   PILGRIMS-DOJ-0001647699   PILGRIMS-DOJ-0001647737   17
Emails/Attachments   PILGRIMS-DOJ-0001647739   PILGRIMS-DOJ-0001647744    2
Emails/Attachments   PILGRIMS-DOJ-0001647746   PILGRIMS-DOJ-0001647799   18
Emails/Attachments   PILGRIMS-DOJ-0001647801   PILGRIMS-DOJ-0001647816    3
Emails/Attachments   PILGRIMS-DOJ-0001647819   PILGRIMS-DOJ-0001647848   12
Emails/Attachments   PILGRIMS-DOJ-0001647856   PILGRIMS-DOJ-0001647959   34
Emails/Attachments   PILGRIMS-DOJ-0001647966   PILGRIMS-DOJ-0001648039   26
Emails/Attachments   PILGRIMS-DOJ-0001648041   PILGRIMS-DOJ-0001648117   30
Emails/Attachments   PILGRIMS-DOJ-0001648124   PILGRIMS-DOJ-0001648152   11
Emails/Attachments   PILGRIMS-DOJ-0001648155   PILGRIMS-DOJ-0001648165    7
Emails/Attachments   PILGRIMS-DOJ-0001648167   PILGRIMS-DOJ-0001648177    6
Emails/Attachments   PILGRIMS-DOJ-0001648181   PILGRIMS-DOJ-0001648191    6
Emails/Attachments   PILGRIMS-DOJ-0001648193   PILGRIMS-DOJ-0001648743   53
Emails/Attachments   PILGRIMS-DOJ-0001648745   PILGRIMS-DOJ-0001648760    9
Emails/Attachments   PILGRIMS-DOJ-0001648762   PILGRIMS-DOJ-0001648885   54
Emails/Attachments   PILGRIMS-DOJ-0001648890   PILGRIMS-DOJ-0001648916   15
Emails/Attachments   PILGRIMS-DOJ-0001648919   PILGRIMS-DOJ-0001649012   35
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 362 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001649016   PILGRIMS-DOJ-0001649071   20
Emails/Attachments   PILGRIMS-DOJ-0001649073   PILGRIMS-DOJ-0001649083    5
Emails/Attachments   PILGRIMS-DOJ-0001649085   PILGRIMS-DOJ-0001649085    1
Emails/Attachments   PILGRIMS-DOJ-0001649090   PILGRIMS-DOJ-0001649090    1
Emails/Attachments   PILGRIMS-DOJ-0001649099   PILGRIMS-DOJ-0001649101    1
Emails/Attachments   PILGRIMS-DOJ-0001649105   PILGRIMS-DOJ-0001649159   15
Emails/Attachments   PILGRIMS-DOJ-0001649161   PILGRIMS-DOJ-0001649183   12
Emails/Attachments   PILGRIMS-DOJ-0001649185   PILGRIMS-DOJ-0001649206   10
Emails/Attachments   PILGRIMS-DOJ-0001649210   PILGRIMS-DOJ-0001649214    5
Emails/Attachments   PILGRIMS-DOJ-0001649217   PILGRIMS-DOJ-0001649344   45
Emails/Attachments   PILGRIMS-DOJ-0001649363   PILGRIMS-DOJ-0001649369    6
Emails/Attachments   PILGRIMS-DOJ-0001649377   PILGRIMS-DOJ-0001649422   16
Emails/Attachments   PILGRIMS-DOJ-0001649425   PILGRIMS-DOJ-0001649461   12
Emails/Attachments   PILGRIMS-DOJ-0001649463   PILGRIMS-DOJ-0001649466    3
Emails/Attachments   PILGRIMS-DOJ-0001649472   PILGRIMS-DOJ-0001649577   30
Emails/Attachments   PILGRIMS-DOJ-0001649582   PILGRIMS-DOJ-0001649601    5
Emails/Attachments   PILGRIMS-DOJ-0001649603   PILGRIMS-DOJ-0001649658   29
Emails/Attachments   PILGRIMS-DOJ-0001649660   PILGRIMS-DOJ-0001649689   10
Emails/Attachments   PILGRIMS-DOJ-0001649692   PILGRIMS-DOJ-0001649716    5
Emails/Attachments   PILGRIMS-DOJ-0001649718   PILGRIMS-DOJ-0001649749   12
Emails/Attachments   PILGRIMS-DOJ-0001649756   PILGRIMS-DOJ-0001649820   28
Emails/Attachments   PILGRIMS-DOJ-0001649823   PILGRIMS-DOJ-0001649830    6
Emails/Attachments   PILGRIMS-DOJ-0001649832   PILGRIMS-DOJ-0001649833    2
Emails/Attachments   PILGRIMS-DOJ-0001649835   PILGRIMS-DOJ-0001649866    2
Emails/Attachments   PILGRIMS-DOJ-0001649871   PILGRIMS-DOJ-0001649919   22
Emails/Attachments   PILGRIMS-DOJ-0001649921   PILGRIMS-DOJ-0001650009   20
Emails/Attachments   PILGRIMS-DOJ-0001650012   PILGRIMS-DOJ-0001650026    7
Emails/Attachments   PILGRIMS-DOJ-0001650029   PILGRIMS-DOJ-0001650030    1
Emails/Attachments   PILGRIMS-DOJ-0001650032   PILGRIMS-DOJ-0001650053   10
Emails/Attachments   PILGRIMS-DOJ-0001650055   PILGRIMS-DOJ-0001650172   53
Emails/Attachments   PILGRIMS-DOJ-0001650175   PILGRIMS-DOJ-0001650229   29
Emails/Attachments   PILGRIMS-DOJ-0001650231   PILGRIMS-DOJ-0001650241    9
Emails/Attachments   PILGRIMS-DOJ-0001650243   PILGRIMS-DOJ-0001650319   42
Emails/Attachments   PILGRIMS-DOJ-0001650324   PILGRIMS-DOJ-0001650536   97
Emails/Attachments   PILGRIMS-DOJ-0001650538   PILGRIMS-DOJ-0001650577   19
Emails/Attachments   PILGRIMS-DOJ-0001650585   PILGRIMS-DOJ-0001650648   33
Emails/Attachments   PILGRIMS-DOJ-0001650650   PILGRIMS-DOJ-0001650682   19
Emails/Attachments   PILGRIMS-DOJ-0001650684   PILGRIMS-DOJ-0001650730   20
Emails/Attachments   PILGRIMS-DOJ-0001650732   PILGRIMS-DOJ-0001650735    2
Emails/Attachments   PILGRIMS-DOJ-0001650737   PILGRIMS-DOJ-0001650810   33
Emails/Attachments   PILGRIMS-DOJ-0001650818   PILGRIMS-DOJ-0001650847   17
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 363 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001650850   PILGRIMS-DOJ-0001650883   18
Emails/Attachments   PILGRIMS-DOJ-0001650885   PILGRIMS-DOJ-0001651037   75
Emails/Attachments   PILGRIMS-DOJ-0001651046   PILGRIMS-DOJ-0001651066   11
Emails/Attachments   PILGRIMS-DOJ-0001651074   PILGRIMS-DOJ-0001651080    2
Emails/Attachments   PILGRIMS-DOJ-0001651084   PILGRIMS-DOJ-0001651086    2
Emails/Attachments   PILGRIMS-DOJ-0001651098   PILGRIMS-DOJ-0001651127   10
Emails/Attachments   PILGRIMS-DOJ-0001651129   PILGRIMS-DOJ-0001651133    3
Emails/Attachments   PILGRIMS-DOJ-0001651135   PILGRIMS-DOJ-0001651144    6
Emails/Attachments   PILGRIMS-DOJ-0001651146   PILGRIMS-DOJ-0001651239   41
Emails/Attachments   PILGRIMS-DOJ-0001651241   PILGRIMS-DOJ-0001651292   28
Emails/Attachments   PILGRIMS-DOJ-0001651300   PILGRIMS-DOJ-0001651316   10
Emails/Attachments   PILGRIMS-DOJ-0001651322   PILGRIMS-DOJ-0001651328    3
Emails/Attachments   PILGRIMS-DOJ-0001651330   PILGRIMS-DOJ-0001651342    8
Emails/Attachments   PILGRIMS-DOJ-0001651344   PILGRIMS-DOJ-0001651353    9
Emails/Attachments   PILGRIMS-DOJ-0001651358   PILGRIMS-DOJ-0001651399   12
Emails/Attachments   PILGRIMS-DOJ-0001651401   PILGRIMS-DOJ-0001651656   70
Emails/Attachments   PILGRIMS-DOJ-0001651658   PILGRIMS-DOJ-0001651668    3
Emails/Attachments   PILGRIMS-DOJ-0001651673   PILGRIMS-DOJ-0001651837   78
Emails/Attachments   PILGRIMS-DOJ-0001651839   PILGRIMS-DOJ-0001651868   12
Emails/Attachments   PILGRIMS-DOJ-0001651870   PILGRIMS-DOJ-0001651941   25
Emails/Attachments   PILGRIMS-DOJ-0001651943   PILGRIMS-DOJ-0001651944    1
Emails/Attachments   PILGRIMS-DOJ-0001651946   PILGRIMS-DOJ-0001652000   20
Emails/Attachments   PILGRIMS-DOJ-0001652002   PILGRIMS-DOJ-0001652008    1
Emails/Attachments   PILGRIMS-DOJ-0001652013   PILGRIMS-DOJ-0001652033   10
Emails/Attachments   PILGRIMS-DOJ-0001652035   PILGRIMS-DOJ-0001652040    4
Emails/Attachments   PILGRIMS-DOJ-0001652042   PILGRIMS-DOJ-0001652112   23
Emails/Attachments   PILGRIMS-DOJ-0001652114   PILGRIMS-DOJ-0001652119    1
Emails/Attachments   PILGRIMS-DOJ-0001652122   PILGRIMS-DOJ-0001652123    2
Emails/Attachments   PILGRIMS-DOJ-0001652137   PILGRIMS-DOJ-0001652148    3
Emails/Attachments   PILGRIMS-DOJ-0001652151   PILGRIMS-DOJ-0001652163    5
Emails/Attachments   PILGRIMS-DOJ-0001652166   PILGRIMS-DOJ-0001652167    2
Emails/Attachments   PILGRIMS-DOJ-0001652169   PILGRIMS-DOJ-0001652171    3
Emails/Attachments   PILGRIMS-DOJ-0001652174   PILGRIMS-DOJ-0001652177    2
Emails/Attachments   PILGRIMS-DOJ-0001652223   PILGRIMS-DOJ-0001652224    1
Emails/Attachments   PILGRIMS-DOJ-0001652232   PILGRIMS-DOJ-0001652234    3
Emails/Attachments   PILGRIMS-DOJ-0001652240   PILGRIMS-DOJ-0001652253    8
Emails/Attachments   PILGRIMS-DOJ-0001652255   PILGRIMS-DOJ-0001652255    1
Emails/Attachments   PILGRIMS-DOJ-0001652259   PILGRIMS-DOJ-0001652265    4
Emails/Attachments   PILGRIMS-DOJ-0001652267   PILGRIMS-DOJ-0001652309   17
Emails/Attachments   PILGRIMS-DOJ-0001652318   PILGRIMS-DOJ-0001652319    2
Emails/Attachments   PILGRIMS-DOJ-0001652321   PILGRIMS-DOJ-0001652335    9
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 364 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001652338   PILGRIMS-DOJ-0001652345    8
Emails/Attachments   PILGRIMS-DOJ-0001652347   PILGRIMS-DOJ-0001652351    4
Emails/Attachments   PILGRIMS-DOJ-0001652353   PILGRIMS-DOJ-0001652370   11
Emails/Attachments   PILGRIMS-DOJ-0001652377   PILGRIMS-DOJ-0001652417   16
Emails/Attachments   PILGRIMS-DOJ-0001652423   PILGRIMS-DOJ-0001652428    2
Emails/Attachments   PILGRIMS-DOJ-0001652438   PILGRIMS-DOJ-0001652520   34
Emails/Attachments   PILGRIMS-DOJ-0001652522   PILGRIMS-DOJ-0001652525    4
Emails/Attachments   PILGRIMS-DOJ-0001652527   PILGRIMS-DOJ-0001652647   22
Emails/Attachments   PILGRIMS-DOJ-0001652650   PILGRIMS-DOJ-0001652655    3
Emails/Attachments   PILGRIMS-DOJ-0001652657   PILGRIMS-DOJ-0001652657    1
Emails/Attachments   PILGRIMS-DOJ-0001652663   PILGRIMS-DOJ-0001652692   16
Emails/Attachments   PILGRIMS-DOJ-0001652694   PILGRIMS-DOJ-0001652724   17
Emails/Attachments   PILGRIMS-DOJ-0001652726   PILGRIMS-DOJ-0001652890   63
Emails/Attachments   PILGRIMS-DOJ-0001652895   PILGRIMS-DOJ-0001652901    2
Emails/Attachments   PILGRIMS-DOJ-0001652904   PILGRIMS-DOJ-0001652917    7
Emails/Attachments   PILGRIMS-DOJ-0001652922   PILGRIMS-DOJ-0001652924    3
Emails/Attachments   PILGRIMS-DOJ-0001652926   PILGRIMS-DOJ-0001652976   18
Emails/Attachments   PILGRIMS-DOJ-0001652980   PILGRIMS-DOJ-0001652992    5
Emails/Attachments   PILGRIMS-DOJ-0001652994   PILGRIMS-DOJ-0001653035   19
Emails/Attachments   PILGRIMS-DOJ-0001653040   PILGRIMS-DOJ-0001653040    1
Emails/Attachments   PILGRIMS-DOJ-0001653042   PILGRIMS-DOJ-0001653063   10
Emails/Attachments   PILGRIMS-DOJ-0001653065   PILGRIMS-DOJ-0001653072    2
Emails/Attachments   PILGRIMS-DOJ-0001653074   PILGRIMS-DOJ-0001653130   21
Emails/Attachments   PILGRIMS-DOJ-0001653132   PILGRIMS-DOJ-0001653133    2
Emails/Attachments   PILGRIMS-DOJ-0001653135   PILGRIMS-DOJ-0001653151   12
Emails/Attachments   PILGRIMS-DOJ-0001653157   PILGRIMS-DOJ-0001653185   13
Emails/Attachments   PILGRIMS-DOJ-0001653187   PILGRIMS-DOJ-0001653254   33
Emails/Attachments   PILGRIMS-DOJ-0001653256   PILGRIMS-DOJ-0001653270    5
Emails/Attachments   PILGRIMS-DOJ-0001653273   PILGRIMS-DOJ-0001653496   57
Emails/Attachments   PILGRIMS-DOJ-0001653500   PILGRIMS-DOJ-0001653512    3
Emails/Attachments   PILGRIMS-DOJ-0001653514   PILGRIMS-DOJ-0001653516    1
Emails/Attachments   PILGRIMS-DOJ-0001653518   PILGRIMS-DOJ-0001653521    2
Emails/Attachments   PILGRIMS-DOJ-0001653523   PILGRIMS-DOJ-0001653532    8
Emails/Attachments   PILGRIMS-DOJ-0001653534   PILGRIMS-DOJ-0001653564   16
Emails/Attachments   PILGRIMS-DOJ-0001653566   PILGRIMS-DOJ-0001653604   17
Emails/Attachments   PILGRIMS-DOJ-0001653607   PILGRIMS-DOJ-0001653644   19
Emails/Attachments   PILGRIMS-DOJ-0001653646   PILGRIMS-DOJ-0001653666    8
Emails/Attachments   PILGRIMS-DOJ-0001653669   PILGRIMS-DOJ-0001653671    3
Emails/Attachments   PILGRIMS-DOJ-0001653676   PILGRIMS-DOJ-0001653708   11
Emails/Attachments   PILGRIMS-DOJ-0001653710   PILGRIMS-DOJ-0001653710    1
Emails/Attachments   PILGRIMS-DOJ-0001653716   PILGRIMS-DOJ-0001653777   31
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 365 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001653779   PILGRIMS-DOJ-0001653779     1
Emails/Attachments   PILGRIMS-DOJ-0001653781   PILGRIMS-DOJ-0001653784     3
Emails/Attachments   PILGRIMS-DOJ-0001653786   PILGRIMS-DOJ-0001653787     2
Emails/Attachments   PILGRIMS-DOJ-0001653791   PILGRIMS-DOJ-0001654069   156
Emails/Attachments   PILGRIMS-DOJ-0001654071   PILGRIMS-DOJ-0001654297    90
Emails/Attachments   PILGRIMS-DOJ-0001654299   PILGRIMS-DOJ-0001654349    18
Emails/Attachments   PILGRIMS-DOJ-0001654352   PILGRIMS-DOJ-0001654405    25
Emails/Attachments   PILGRIMS-DOJ-0001654407   PILGRIMS-DOJ-0001654469    33
Emails/Attachments   PILGRIMS-DOJ-0001654479   PILGRIMS-DOJ-0001654513    25
Emails/Attachments   PILGRIMS-DOJ-0001654515   PILGRIMS-DOJ-0001654527    12
Emails/Attachments   PILGRIMS-DOJ-0001654529   PILGRIMS-DOJ-0001654532     4
Emails/Attachments   PILGRIMS-DOJ-0001654535   PILGRIMS-DOJ-0001654538     4
Emails/Attachments   PILGRIMS-DOJ-0001654540   PILGRIMS-DOJ-0001654541     2
Emails/Attachments   PILGRIMS-DOJ-0001654543   PILGRIMS-DOJ-0001654722   134
Emails/Attachments   PILGRIMS-DOJ-0001654724   PILGRIMS-DOJ-0001655147   269
Emails/Attachments   PILGRIMS-DOJ-0001655149   PILGRIMS-DOJ-0001655434   142
Emails/Attachments   PILGRIMS-DOJ-0001655441   PILGRIMS-DOJ-0001655873   337
Emails/Attachments   PILGRIMS-DOJ-0001655875   PILGRIMS-DOJ-0001656598   371
Emails/Attachments   PILGRIMS-DOJ-0001656600   PILGRIMS-DOJ-0001656690    87
Emails/Attachments   PILGRIMS-DOJ-0001656693   PILGRIMS-DOJ-0001656719    27
Emails/Attachments   PILGRIMS-DOJ-0001656721   PILGRIMS-DOJ-0001656738    18
Emails/Attachments   PILGRIMS-DOJ-0001656741   PILGRIMS-DOJ-0001656758    18
Emails/Attachments   PILGRIMS-DOJ-0001656760   PILGRIMS-DOJ-0001656825    18
Emails/Attachments   PILGRIMS-DOJ-0001656828   PILGRIMS-DOJ-0001657790   572
Emails/Attachments   PILGRIMS-DOJ-0001657792   PILGRIMS-DOJ-0001658768   526
Emails/Attachments   PILGRIMS-DOJ-0001658770   PILGRIMS-DOJ-0001658799    28
Emails/Attachments   PILGRIMS-DOJ-0001658801   PILGRIMS-DOJ-0001659231   207
Emails/Attachments   PILGRIMS-DOJ-0001659233   PILGRIMS-DOJ-0001659370   108
Emails/Attachments   PILGRIMS-DOJ-0001659374   PILGRIMS-DOJ-0001659465    80
Emails/Attachments   PILGRIMS-DOJ-0001659469   PILGRIMS-DOJ-0001659698   177
Emails/Attachments   PILGRIMS-DOJ-0001659704   PILGRIMS-DOJ-0001659894   141
Emails/Attachments   PILGRIMS-DOJ-0001659896   PILGRIMS-DOJ-0001660599   512
Emails/Attachments   PILGRIMS-DOJ-0001660601   PILGRIMS-DOJ-0001661806   571
Emails/Attachments   PILGRIMS-DOJ-0001661808   PILGRIMS-DOJ-0001661847    37
Emails/Attachments   PILGRIMS-DOJ-0001661849   PILGRIMS-DOJ-0001662290   294
Emails/Attachments   PILGRIMS-DOJ-0001662292   PILGRIMS-DOJ-0001662300     9
Emails/Attachments   PILGRIMS-DOJ-0001662304   PILGRIMS-DOJ-0001662342    27
Emails/Attachments   PILGRIMS-DOJ-0001662344   PILGRIMS-DOJ-0001662884   384
Emails/Attachments   PILGRIMS-DOJ-0001662886   PILGRIMS-DOJ-0001663054   118
Emails/Attachments   PILGRIMS-DOJ-0001663056   PILGRIMS-DOJ-0001663221    73
Emails/Attachments   PILGRIMS-DOJ-0001663223   PILGRIMS-DOJ-0001663228     6
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 366 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001663231   PILGRIMS-DOJ-0001663239     9
Emails/Attachments   PILGRIMS-DOJ-0001663242   PILGRIMS-DOJ-0001663250     9
Emails/Attachments   PILGRIMS-DOJ-0001663252   PILGRIMS-DOJ-0001663451   176
Emails/Attachments   PILGRIMS-DOJ-0001663453   PILGRIMS-DOJ-0001663512    51
Emails/Attachments   PILGRIMS-DOJ-0001663514   PILGRIMS-DOJ-0001663598    82
Emails/Attachments   PILGRIMS-DOJ-0001663600   PILGRIMS-DOJ-0001663671    51
Emails/Attachments   PILGRIMS-DOJ-0001663676   PILGRIMS-DOJ-0001663684     9
Emails/Attachments   PILGRIMS-DOJ-0001663688   PILGRIMS-DOJ-0001664004   246
Emails/Attachments   PILGRIMS-DOJ-0001664006   PILGRIMS-DOJ-0001664672   420
Emails/Attachments   PILGRIMS-DOJ-0001664674   PILGRIMS-DOJ-0001664703    15
Emails/Attachments   PILGRIMS-DOJ-0001664706   PILGRIMS-DOJ-0001664760    29
Emails/Attachments   PILGRIMS-DOJ-0001664763   PILGRIMS-DOJ-0001664781    13
Emails/Attachments   PILGRIMS-DOJ-0001664784   PILGRIMS-DOJ-0001664819    36
Emails/Attachments   PILGRIMS-DOJ-0001664821   PILGRIMS-DOJ-0001664829     9
Emails/Attachments   PILGRIMS-DOJ-0001664831   PILGRIMS-DOJ-0001664848    18
Emails/Attachments   PILGRIMS-DOJ-0001664852   PILGRIMS-DOJ-0001664898    40
Emails/Attachments   PILGRIMS-DOJ-0001664902   PILGRIMS-DOJ-0001664905     1
Emails/Attachments   PILGRIMS-DOJ-0001664909   PILGRIMS-DOJ-0001665217   139
Emails/Attachments   PILGRIMS-DOJ-0001665219   PILGRIMS-DOJ-0001665260    18
Emails/Attachments   PILGRIMS-DOJ-0001665262   PILGRIMS-DOJ-0001665300    24
Emails/Attachments   PILGRIMS-DOJ-0001665302   PILGRIMS-DOJ-0001665343    42
Emails/Attachments   PILGRIMS-DOJ-0001665345   PILGRIMS-DOJ-0001665938   362
Emails/Attachments   PILGRIMS-DOJ-0001665941   PILGRIMS-DOJ-0001666056    51
Emails/Attachments   PILGRIMS-DOJ-0001666060   PILGRIMS-DOJ-0001666068     9
Emails/Attachments   PILGRIMS-DOJ-0001666071   PILGRIMS-DOJ-0001666316   186
Emails/Attachments   PILGRIMS-DOJ-0001666322   PILGRIMS-DOJ-0001667253   567
Emails/Attachments   PILGRIMS-DOJ-0001667257   PILGRIMS-DOJ-0001667260     4
Emails/Attachments   PILGRIMS-DOJ-0001667263   PILGRIMS-DOJ-0001667283    18
Emails/Attachments   PILGRIMS-DOJ-0001667285   PILGRIMS-DOJ-0001667614    53
Emails/Attachments   PILGRIMS-DOJ-0001667624   PILGRIMS-DOJ-0001668018    80
Emails/Attachments   PILGRIMS-DOJ-0001668022   PILGRIMS-DOJ-0001668024     1
Emails/Attachments   PILGRIMS-DOJ-0001668026   PILGRIMS-DOJ-0001668066    34
Emails/Attachments   PILGRIMS-DOJ-0001668073   PILGRIMS-DOJ-0001668120    10
Emails/Attachments   PILGRIMS-DOJ-0001668122   PILGRIMS-DOJ-0001668236    58
Emails/Attachments   PILGRIMS-DOJ-0001668238   PILGRIMS-DOJ-0001668242     3
Emails/Attachments   PILGRIMS-DOJ-0001668249   PILGRIMS-DOJ-0001668262    12
Emails/Attachments   PILGRIMS-DOJ-0001668264   PILGRIMS-DOJ-0001668291    20
Emails/Attachments   PILGRIMS-DOJ-0001668293   PILGRIMS-DOJ-0001668302     8
Emails/Attachments   PILGRIMS-DOJ-0001668304   PILGRIMS-DOJ-0001668312     5
Emails/Attachments   PILGRIMS-DOJ-0001668314   PILGRIMS-DOJ-0001668314     1
Emails/Attachments   PILGRIMS-DOJ-0001668317   PILGRIMS-DOJ-0001668334     5
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 367 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001668352   PILGRIMS-DOJ-0001668352    1
Emails/Attachments   PILGRIMS-DOJ-0001668356   PILGRIMS-DOJ-0001668363    4
Emails/Attachments   PILGRIMS-DOJ-0001668365   PILGRIMS-DOJ-0001668411   29
Emails/Attachments   PILGRIMS-DOJ-0001668413   PILGRIMS-DOJ-0001668522   58
Emails/Attachments   PILGRIMS-DOJ-0001668524   PILGRIMS-DOJ-0001668533    8
Emails/Attachments   PILGRIMS-DOJ-0001668882   PILGRIMS-DOJ-0001668893    7
Emails/Attachments   PILGRIMS-DOJ-0001668895   PILGRIMS-DOJ-0001668897    2
Emails/Attachments   PILGRIMS-DOJ-0001668900   PILGRIMS-DOJ-0001668904    3
Emails/Attachments   PILGRIMS-DOJ-0001668906   PILGRIMS-DOJ-0001669042   70
Emails/Attachments   PILGRIMS-DOJ-0001669050   PILGRIMS-DOJ-0001669050    1
Emails/Attachments   PILGRIMS-DOJ-0001669052   PILGRIMS-DOJ-0001669053    2
Emails/Attachments   PILGRIMS-DOJ-0001669055   PILGRIMS-DOJ-0001669060    4
Emails/Attachments   PILGRIMS-DOJ-0001669062   PILGRIMS-DOJ-0001669145   55
Emails/Attachments   PILGRIMS-DOJ-0001669147   PILGRIMS-DOJ-0001669207   13
Emails/Attachments   PILGRIMS-DOJ-0001669224   PILGRIMS-DOJ-0001669230    4
Emails/Attachments   PILGRIMS-DOJ-0001669232   PILGRIMS-DOJ-0001669232    1
Emails/Attachments   PILGRIMS-DOJ-0001669234   PILGRIMS-DOJ-0001669237    1
Emails/Attachments   PILGRIMS-DOJ-0001669262   PILGRIMS-DOJ-0001669307   12
Emails/Attachments   PILGRIMS-DOJ-0001669309   PILGRIMS-DOJ-0001669311    3
Emails/Attachments   PILGRIMS-DOJ-0001669313   PILGRIMS-DOJ-0001669343    9
Emails/Attachments   PILGRIMS-DOJ-0001669350   PILGRIMS-DOJ-0001669380   20
Emails/Attachments   PILGRIMS-DOJ-0001669382   PILGRIMS-DOJ-0001669445   36
Emails/Attachments   PILGRIMS-DOJ-0001669452   PILGRIMS-DOJ-0001669452    1
Emails/Attachments   PILGRIMS-DOJ-0001669459   PILGRIMS-DOJ-0001669493   12
Emails/Attachments   PILGRIMS-DOJ-0001669495   PILGRIMS-DOJ-0001669496    2
Emails/Attachments   PILGRIMS-DOJ-0001669498   PILGRIMS-DOJ-0001669501    4
Emails/Attachments   PILGRIMS-DOJ-0001669503   PILGRIMS-DOJ-0001669505    1
Emails/Attachments   PILGRIMS-DOJ-0001669507   PILGRIMS-DOJ-0001669508    1
Emails/Attachments   PILGRIMS-DOJ-0001669510   PILGRIMS-DOJ-0001669511    2
Emails/Attachments   PILGRIMS-DOJ-0001669515   PILGRIMS-DOJ-0001669522    5
Emails/Attachments   PILGRIMS-DOJ-0001669524   PILGRIMS-DOJ-0001669558   11
Emails/Attachments   PILGRIMS-DOJ-0001669562   PILGRIMS-DOJ-0001669698   57
Emails/Attachments   PILGRIMS-DOJ-0001669700   PILGRIMS-DOJ-0001669735   20
Emails/Attachments   PILGRIMS-DOJ-0001669737   PILGRIMS-DOJ-0001669738    2
Emails/Attachments   PILGRIMS-DOJ-0001669740   PILGRIMS-DOJ-0001669749    4
Emails/Attachments   PILGRIMS-DOJ-0001669754   PILGRIMS-DOJ-0001669756    1
Emails/Attachments   PILGRIMS-DOJ-0001669759   PILGRIMS-DOJ-0001669861   41
Emails/Attachments   PILGRIMS-DOJ-0001669879   PILGRIMS-DOJ-0001669934   24
Emails/Attachments   PILGRIMS-DOJ-0001669936   PILGRIMS-DOJ-0001669986   10
Emails/Attachments   PILGRIMS-DOJ-0001669991   PILGRIMS-DOJ-0001669991    1
Emails/Attachments   PILGRIMS-DOJ-0001669993   PILGRIMS-DOJ-0001670167   67
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 368 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001670169   PILGRIMS-DOJ-0001670185    6
Emails/Attachments   PILGRIMS-DOJ-0001670196   PILGRIMS-DOJ-0001670265    5
Emails/Attachments   PILGRIMS-DOJ-0001670267   PILGRIMS-DOJ-0001670272    6
Emails/Attachments   PILGRIMS-DOJ-0001670274   PILGRIMS-DOJ-0001670274    1
Emails/Attachments   PILGRIMS-DOJ-0001670277   PILGRIMS-DOJ-0001670361   22
Emails/Attachments   PILGRIMS-DOJ-0001670363   PILGRIMS-DOJ-0001670363    1
Emails/Attachments   PILGRIMS-DOJ-0001670386   PILGRIMS-DOJ-0001670415   15
Emails/Attachments   PILGRIMS-DOJ-0001670417   PILGRIMS-DOJ-0001670428   10
Emails/Attachments   PILGRIMS-DOJ-0001670430   PILGRIMS-DOJ-0001670439    6
Emails/Attachments   PILGRIMS-DOJ-0001670445   PILGRIMS-DOJ-0001670452    5
Emails/Attachments   PILGRIMS-DOJ-0001670454   PILGRIMS-DOJ-0001670468    9
Emails/Attachments   PILGRIMS-DOJ-0001670499   PILGRIMS-DOJ-0001670511    7
Emails/Attachments   PILGRIMS-DOJ-0001670518   PILGRIMS-DOJ-0001670520    2
Emails/Attachments   PILGRIMS-DOJ-0001670527   PILGRIMS-DOJ-0001670541    9
Emails/Attachments   PILGRIMS-DOJ-0001670543   PILGRIMS-DOJ-0001670552    6
Emails/Attachments   PILGRIMS-DOJ-0001670556   PILGRIMS-DOJ-0001670581   19
Emails/Attachments   PILGRIMS-DOJ-0001670583   PILGRIMS-DOJ-0001670587    3
Emails/Attachments   PILGRIMS-DOJ-0001670599   PILGRIMS-DOJ-0001670600    1
Emails/Attachments   PILGRIMS-DOJ-0001670602   PILGRIMS-DOJ-0001670650   29
Emails/Attachments   PILGRIMS-DOJ-0001670654   PILGRIMS-DOJ-0001670655    2
Emails/Attachments   PILGRIMS-DOJ-0001670657   PILGRIMS-DOJ-0001670665    7
Emails/Attachments   PILGRIMS-DOJ-0001670676   PILGRIMS-DOJ-0001670677    1
Emails/Attachments   PILGRIMS-DOJ-0001670682   PILGRIMS-DOJ-0001670705   20
Emails/Attachments   PILGRIMS-DOJ-0001670707   PILGRIMS-DOJ-0001670715    3
Emails/Attachments   PILGRIMS-DOJ-0001670718   PILGRIMS-DOJ-0001670719    2
Emails/Attachments   PILGRIMS-DOJ-0001670721   PILGRIMS-DOJ-0001670741   18
Emails/Attachments   PILGRIMS-DOJ-0001670743   PILGRIMS-DOJ-0001670752    7
Emails/Attachments   PILGRIMS-DOJ-0001670756   PILGRIMS-DOJ-0001670757    2
Emails/Attachments   PILGRIMS-DOJ-0001670759   PILGRIMS-DOJ-0001670783   21
Emails/Attachments   PILGRIMS-DOJ-0001670785   PILGRIMS-DOJ-0001670798   12
Emails/Attachments   PILGRIMS-DOJ-0001670802   PILGRIMS-DOJ-0001670804    2
Emails/Attachments   PILGRIMS-DOJ-0001670806   PILGRIMS-DOJ-0001670807    1
Emails/Attachments   PILGRIMS-DOJ-0001670810   PILGRIMS-DOJ-0001670824   10
Emails/Attachments   PILGRIMS-DOJ-0001670826   PILGRIMS-DOJ-0001670834    3
Emails/Attachments   PILGRIMS-DOJ-0001670836   PILGRIMS-DOJ-0001670860   15
Emails/Attachments   PILGRIMS-DOJ-0001670862   PILGRIMS-DOJ-0001670888   10
Emails/Attachments   PILGRIMS-DOJ-0001670893   PILGRIMS-DOJ-0001670934   32
Emails/Attachments   PILGRIMS-DOJ-0001670936   PILGRIMS-DOJ-0001671028   33
Emails/Attachments   PILGRIMS-DOJ-0001671030   PILGRIMS-DOJ-0001671063   27
Emails/Attachments   PILGRIMS-DOJ-0001671079   PILGRIMS-DOJ-0001671097   13
Emails/Attachments   PILGRIMS-DOJ-0001671099   PILGRIMS-DOJ-0001671111    9
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 369 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001671116   PILGRIMS-DOJ-0001671116    1
Emails/Attachments   PILGRIMS-DOJ-0001671121   PILGRIMS-DOJ-0001671137   11
Emails/Attachments   PILGRIMS-DOJ-0001671166   PILGRIMS-DOJ-0001671170    4
Emails/Attachments   PILGRIMS-DOJ-0001671206   PILGRIMS-DOJ-0001671212    1
Emails/Attachments   PILGRIMS-DOJ-0001671226   PILGRIMS-DOJ-0001671239   13
Emails/Attachments   PILGRIMS-DOJ-0001671267   PILGRIMS-DOJ-0001671267    1
Emails/Attachments   PILGRIMS-DOJ-0001671271   PILGRIMS-DOJ-0001671289   12
Emails/Attachments   PILGRIMS-DOJ-0001671297   PILGRIMS-DOJ-0001671299    2
Emails/Attachments   PILGRIMS-DOJ-0001671349   PILGRIMS-DOJ-0001671351    3
Emails/Attachments   PILGRIMS-DOJ-0001671353   PILGRIMS-DOJ-0001671380   17
Emails/Attachments   PILGRIMS-DOJ-0001671383   PILGRIMS-DOJ-0001671388    6
Emails/Attachments   PILGRIMS-DOJ-0001671395   PILGRIMS-DOJ-0001671399    3
Emails/Attachments   PILGRIMS-DOJ-0001671408   PILGRIMS-DOJ-0001671410    3
Emails/Attachments   PILGRIMS-DOJ-0001671418   PILGRIMS-DOJ-0001671421    3
Emails/Attachments   PILGRIMS-DOJ-0001671434   PILGRIMS-DOJ-0001671457   24
Emails/Attachments   PILGRIMS-DOJ-0001671465   PILGRIMS-DOJ-0001671473    3
Emails/Attachments   PILGRIMS-DOJ-0001671498   PILGRIMS-DOJ-0001671500    3
Emails/Attachments   PILGRIMS-DOJ-0001671502   PILGRIMS-DOJ-0001671522    9
Emails/Attachments   PILGRIMS-DOJ-0001671524   PILGRIMS-DOJ-0001671585   45
Emails/Attachments   PILGRIMS-DOJ-0001671588   PILGRIMS-DOJ-0001671590    3
Emails/Attachments   PILGRIMS-DOJ-0001671594   PILGRIMS-DOJ-0001671596    3
Emails/Attachments   PILGRIMS-DOJ-0001671598   PILGRIMS-DOJ-0001671622   15
Emails/Attachments   PILGRIMS-DOJ-0001671624   PILGRIMS-DOJ-0001671634    8
Emails/Attachments   PILGRIMS-DOJ-0001671653   PILGRIMS-DOJ-0001671654    1
Emails/Attachments   PILGRIMS-DOJ-0001671688   PILGRIMS-DOJ-0001671698   11
Emails/Attachments   PILGRIMS-DOJ-0001671731   PILGRIMS-DOJ-0001671734    2
Emails/Attachments   PILGRIMS-DOJ-0001671772   PILGRIMS-DOJ-0001671805   22
Emails/Attachments   PILGRIMS-DOJ-0001671807   PILGRIMS-DOJ-0001671813    6
Emails/Attachments   PILGRIMS-DOJ-0001671815   PILGRIMS-DOJ-0001671835   15
Emails/Attachments   PILGRIMS-DOJ-0001671866   PILGRIMS-DOJ-0001671866    1
Emails/Attachments   PILGRIMS-DOJ-0001671895   PILGRIMS-DOJ-0001671897    1
Emails/Attachments   PILGRIMS-DOJ-0001671911   PILGRIMS-DOJ-0001671929   16
Emails/Attachments   PILGRIMS-DOJ-0001671931   PILGRIMS-DOJ-0001671938    5
Emails/Attachments   PILGRIMS-DOJ-0001671941   PILGRIMS-DOJ-0001671947    3
Emails/Attachments   PILGRIMS-DOJ-0001671954   PILGRIMS-DOJ-0001671955    1
Emails/Attachments   PILGRIMS-DOJ-0001671957   PILGRIMS-DOJ-0001671976   12
Emails/Attachments   PILGRIMS-DOJ-0001671978   PILGRIMS-DOJ-0001672014    8
Emails/Attachments   PILGRIMS-DOJ-0001672023   PILGRIMS-DOJ-0001672026    3
Emails/Attachments   PILGRIMS-DOJ-0001672028   PILGRIMS-DOJ-0001672029    2
Emails/Attachments   PILGRIMS-DOJ-0001672036   PILGRIMS-DOJ-0001672040    5
Emails/Attachments   PILGRIMS-DOJ-0001672043   PILGRIMS-DOJ-0001672050    6
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 370 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001672052   PILGRIMS-DOJ-0001672055    2
Emails/Attachments   PILGRIMS-DOJ-0001672058   PILGRIMS-DOJ-0001672059    2
Emails/Attachments   PILGRIMS-DOJ-0001672061   PILGRIMS-DOJ-0001672065    1
Emails/Attachments   PILGRIMS-DOJ-0001672087   PILGRIMS-DOJ-0001672091    5
Emails/Attachments   PILGRIMS-DOJ-0001672093   PILGRIMS-DOJ-0001672094    2
Emails/Attachments   PILGRIMS-DOJ-0001672096   PILGRIMS-DOJ-0001672099    4
Emails/Attachments   PILGRIMS-DOJ-0001672101   PILGRIMS-DOJ-0001672104    3
Emails/Attachments   PILGRIMS-DOJ-0001672129   PILGRIMS-DOJ-0001672129    1
Emails/Attachments   PILGRIMS-DOJ-0001672199   PILGRIMS-DOJ-0001672204    3
Emails/Attachments   PILGRIMS-DOJ-0001672236   PILGRIMS-DOJ-0001672239    2
Emails/Attachments   PILGRIMS-DOJ-0001672241   PILGRIMS-DOJ-0001672241    1
Emails/Attachments   PILGRIMS-DOJ-0001672243   PILGRIMS-DOJ-0001672243    1
Emails/Attachments   PILGRIMS-DOJ-0001672245   PILGRIMS-DOJ-0001672245    1
Emails/Attachments   PILGRIMS-DOJ-0001672270   PILGRIMS-DOJ-0001672271    2
Emails/Attachments   PILGRIMS-DOJ-0001672274   PILGRIMS-DOJ-0001672287    4
Emails/Attachments   PILGRIMS-DOJ-0001672289   PILGRIMS-DOJ-0001672296    8
Emails/Attachments   PILGRIMS-DOJ-0001672298   PILGRIMS-DOJ-0001672298    1
Emails/Attachments   PILGRIMS-DOJ-0001672300   PILGRIMS-DOJ-0001672301    1
Emails/Attachments   PILGRIMS-DOJ-0001672303   PILGRIMS-DOJ-0001672309    5
Emails/Attachments   PILGRIMS-DOJ-0001672311   PILGRIMS-DOJ-0001672487   29
Emails/Attachments   PILGRIMS-DOJ-0001672494   PILGRIMS-DOJ-0001672511   13
Emails/Attachments   PILGRIMS-DOJ-0001672519   PILGRIMS-DOJ-0001672519    1
Emails/Attachments   PILGRIMS-DOJ-0001672550   PILGRIMS-DOJ-0001672551    2
Emails/Attachments   PILGRIMS-DOJ-0001672564   PILGRIMS-DOJ-0001672574    3
Emails/Attachments   PILGRIMS-DOJ-0001672601   PILGRIMS-DOJ-0001672613    8
Emails/Attachments   PILGRIMS-DOJ-0001672615   PILGRIMS-DOJ-0001672622    7
Emails/Attachments   PILGRIMS-DOJ-0001672624   PILGRIMS-DOJ-0001672635    4
Emails/Attachments   PILGRIMS-DOJ-0001672640   PILGRIMS-DOJ-0001672650    9
Emails/Attachments   PILGRIMS-DOJ-0001672662   PILGRIMS-DOJ-0001672664    2
Emails/Attachments   PILGRIMS-DOJ-0001672668   PILGRIMS-DOJ-0001672674    4
Emails/Attachments   PILGRIMS-DOJ-0001672679   PILGRIMS-DOJ-0001672685    4
Emails/Attachments   PILGRIMS-DOJ-0001672690   PILGRIMS-DOJ-0001672690    1
Emails/Attachments   PILGRIMS-DOJ-0001672695   PILGRIMS-DOJ-0001672704   10
Emails/Attachments   PILGRIMS-DOJ-0001672706   PILGRIMS-DOJ-0001672709    3
Emails/Attachments   PILGRIMS-DOJ-0001672730   PILGRIMS-DOJ-0001672762   25
Emails/Attachments   PILGRIMS-DOJ-0001672764   PILGRIMS-DOJ-0001672764    1
Emails/Attachments   PILGRIMS-DOJ-0001672767   PILGRIMS-DOJ-0001672768    2
Emails/Attachments   PILGRIMS-DOJ-0001672771   PILGRIMS-DOJ-0001672773    2
Emails/Attachments   PILGRIMS-DOJ-0001672775   PILGRIMS-DOJ-0001672778    3
Emails/Attachments   PILGRIMS-DOJ-0001672782   PILGRIMS-DOJ-0001672787    5
Emails/Attachments   PILGRIMS-DOJ-0001672790   PILGRIMS-DOJ-0001672791    2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 371 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001672794   PILGRIMS-DOJ-0001672794    1
Emails/Attachments   PILGRIMS-DOJ-0001672797   PILGRIMS-DOJ-0001672807    8
Emails/Attachments   PILGRIMS-DOJ-0001672809   PILGRIMS-DOJ-0001672809    1
Emails/Attachments   PILGRIMS-DOJ-0001672812   PILGRIMS-DOJ-0001672820    8
Emails/Attachments   PILGRIMS-DOJ-0001672822   PILGRIMS-DOJ-0001672839   15
Emails/Attachments   PILGRIMS-DOJ-0001672847   PILGRIMS-DOJ-0001672889   28
Emails/Attachments   PILGRIMS-DOJ-0001672893   PILGRIMS-DOJ-0001672905    9
Emails/Attachments   PILGRIMS-DOJ-0001672907   PILGRIMS-DOJ-0001672918    7
Emails/Attachments   PILGRIMS-DOJ-0001672921   PILGRIMS-DOJ-0001672924    1
Emails/Attachments   PILGRIMS-DOJ-0001672932   PILGRIMS-DOJ-0001672948   14
Emails/Attachments   PILGRIMS-DOJ-0001672953   PILGRIMS-DOJ-0001672955    3
Emails/Attachments   PILGRIMS-DOJ-0001672958   PILGRIMS-DOJ-0001672974   14
Emails/Attachments   PILGRIMS-DOJ-0001672976   PILGRIMS-DOJ-0001672977    2
Emails/Attachments   PILGRIMS-DOJ-0001672986   PILGRIMS-DOJ-0001672986    1
Emails/Attachments   PILGRIMS-DOJ-0001672988   PILGRIMS-DOJ-0001672990    3
Emails/Attachments   PILGRIMS-DOJ-0001672993   PILGRIMS-DOJ-0001672997    5
Emails/Attachments   PILGRIMS-DOJ-0001672999   PILGRIMS-DOJ-0001672999    1
Emails/Attachments   PILGRIMS-DOJ-0001673001   PILGRIMS-DOJ-0001673001    1
Emails/Attachments   PILGRIMS-DOJ-0001673003   PILGRIMS-DOJ-0001673007    5
Emails/Attachments   PILGRIMS-DOJ-0001673014   PILGRIMS-DOJ-0001673018    4
Emails/Attachments   PILGRIMS-DOJ-0001673027   PILGRIMS-DOJ-0001673032    3
Emails/Attachments   PILGRIMS-DOJ-0001673034   PILGRIMS-DOJ-0001673042    3
Emails/Attachments   PILGRIMS-DOJ-0001673053   PILGRIMS-DOJ-0001673053    1
Emails/Attachments   PILGRIMS-DOJ-0001673056   PILGRIMS-DOJ-0001673065    7
Emails/Attachments   PILGRIMS-DOJ-0001673106   PILGRIMS-DOJ-0001673108    2
Emails/Attachments   PILGRIMS-DOJ-0001673111   PILGRIMS-DOJ-0001673115    2
Emails/Attachments   PILGRIMS-DOJ-0001673117   PILGRIMS-DOJ-0001673120    1
Emails/Attachments   PILGRIMS-DOJ-0001673168   PILGRIMS-DOJ-0001673168    1
Emails/Attachments   PILGRIMS-DOJ-0001673170   PILGRIMS-DOJ-0001673175    3
Emails/Attachments   PILGRIMS-DOJ-0001673183   PILGRIMS-DOJ-0001673189    1
Emails/Attachments   PILGRIMS-DOJ-0001673238   PILGRIMS-DOJ-0001673246    3
Emails/Attachments   PILGRIMS-DOJ-0001673248   PILGRIMS-DOJ-0001673277   13
Emails/Attachments   PILGRIMS-DOJ-0001673279   PILGRIMS-DOJ-0001673294   12
Emails/Attachments   PILGRIMS-DOJ-0001673296   PILGRIMS-DOJ-0001673303    8
Emails/Attachments   PILGRIMS-DOJ-0001673306   PILGRIMS-DOJ-0001673315    7
Emails/Attachments   PILGRIMS-DOJ-0001673318   PILGRIMS-DOJ-0001673318    1
Emails/Attachments   PILGRIMS-DOJ-0001673321   PILGRIMS-DOJ-0001673328    2
Emails/Attachments   PILGRIMS-DOJ-0001673330   PILGRIMS-DOJ-0001673368   37
Emails/Attachments   PILGRIMS-DOJ-0001673398   PILGRIMS-DOJ-0001673430    4
Emails/Attachments   PILGRIMS-DOJ-0001673445   PILGRIMS-DOJ-0001673471   12
Emails/Attachments   PILGRIMS-DOJ-0001673473   PILGRIMS-DOJ-0001673581   69
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 372 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001673583   PILGRIMS-DOJ-0001673607   20
Emails/Attachments   PILGRIMS-DOJ-0001673610   PILGRIMS-DOJ-0001673611    2
Emails/Attachments   PILGRIMS-DOJ-0001673614   PILGRIMS-DOJ-0001673614    1
Emails/Attachments   PILGRIMS-DOJ-0001673616   PILGRIMS-DOJ-0001673649   22
Emails/Attachments   PILGRIMS-DOJ-0001673651   PILGRIMS-DOJ-0001673704   16
Emails/Attachments   PILGRIMS-DOJ-0001673706   PILGRIMS-DOJ-0001673706    1
Emails/Attachments   PILGRIMS-DOJ-0001673708   PILGRIMS-DOJ-0001673709    2
Emails/Attachments   PILGRIMS-DOJ-0001673711   PILGRIMS-DOJ-0001673712    1
Emails/Attachments   PILGRIMS-DOJ-0001673714   PILGRIMS-DOJ-0001673736    5
Emails/Attachments   PILGRIMS-DOJ-0001673738   PILGRIMS-DOJ-0001673746    2
Emails/Attachments   PILGRIMS-DOJ-0001673748   PILGRIMS-DOJ-0001673749    1
Emails/Attachments   PILGRIMS-DOJ-0001673767   PILGRIMS-DOJ-0001673794    9
Emails/Attachments   PILGRIMS-DOJ-0001673796   PILGRIMS-DOJ-0001673797    2
Emails/Attachments   PILGRIMS-DOJ-0001673799   PILGRIMS-DOJ-0001673802    4
Emails/Attachments   PILGRIMS-DOJ-0001673804   PILGRIMS-DOJ-0001673809    5
Emails/Attachments   PILGRIMS-DOJ-0001673811   PILGRIMS-DOJ-0001673814    4
Emails/Attachments   PILGRIMS-DOJ-0001673818   PILGRIMS-DOJ-0001673819    1
Emails/Attachments   PILGRIMS-DOJ-0001673821   PILGRIMS-DOJ-0001673829    7
Emails/Attachments   PILGRIMS-DOJ-0001673832   PILGRIMS-DOJ-0001673849   18
Emails/Attachments   PILGRIMS-DOJ-0001673851   PILGRIMS-DOJ-0001673875   18
Emails/Attachments   PILGRIMS-DOJ-0001673879   PILGRIMS-DOJ-0001673882    3
Emails/Attachments   PILGRIMS-DOJ-0001673885   PILGRIMS-DOJ-0001673898   12
Emails/Attachments   PILGRIMS-DOJ-0001673900   PILGRIMS-DOJ-0001673911    8
Emails/Attachments   PILGRIMS-DOJ-0001673913   PILGRIMS-DOJ-0001673958   31
Emails/Attachments   PILGRIMS-DOJ-0001673960   PILGRIMS-DOJ-0001673981   14
Emails/Attachments   PILGRIMS-DOJ-0001673983   PILGRIMS-DOJ-0001674056   59
Emails/Attachments   PILGRIMS-DOJ-0001674058   PILGRIMS-DOJ-0001674101   29
Emails/Attachments   PILGRIMS-DOJ-0001674104   PILGRIMS-DOJ-0001674126   20
Emails/Attachments   PILGRIMS-DOJ-0001674128   PILGRIMS-DOJ-0001674129    2
Emails/Attachments   PILGRIMS-DOJ-0001674131   PILGRIMS-DOJ-0001674137    6
Emails/Attachments   PILGRIMS-DOJ-0001674139   PILGRIMS-DOJ-0001674144    3
Emails/Attachments   PILGRIMS-DOJ-0001674146   PILGRIMS-DOJ-0001674156    6
Emails/Attachments   PILGRIMS-DOJ-0001674158   PILGRIMS-DOJ-0001674158    1
Emails/Attachments   PILGRIMS-DOJ-0001674160   PILGRIMS-DOJ-0001674181   18
Emails/Attachments   PILGRIMS-DOJ-0001674183   PILGRIMS-DOJ-0001674186    4
Emails/Attachments   PILGRIMS-DOJ-0001674188   PILGRIMS-DOJ-0001674191    3
Emails/Attachments   PILGRIMS-DOJ-0001674193   PILGRIMS-DOJ-0001674197    3
Emails/Attachments   PILGRIMS-DOJ-0001674199   PILGRIMS-DOJ-0001674200    2
Emails/Attachments   PILGRIMS-DOJ-0001674202   PILGRIMS-DOJ-0001674241   19
Emails/Attachments   PILGRIMS-DOJ-0001674243   PILGRIMS-DOJ-0001674247    4
Emails/Attachments   PILGRIMS-DOJ-0001674249   PILGRIMS-DOJ-0001674317   40
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 373 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001674319   PILGRIMS-DOJ-0001674345   17
Emails/Attachments   PILGRIMS-DOJ-0001674347   PILGRIMS-DOJ-0001674361   11
Emails/Attachments   PILGRIMS-DOJ-0001674363   PILGRIMS-DOJ-0001674364    2
Emails/Attachments   PILGRIMS-DOJ-0001674366   PILGRIMS-DOJ-0001674387   15
Emails/Attachments   PILGRIMS-DOJ-0001674390   PILGRIMS-DOJ-0001674400    7
Emails/Attachments   PILGRIMS-DOJ-0001674403   PILGRIMS-DOJ-0001674406    3
Emails/Attachments   PILGRIMS-DOJ-0001674408   PILGRIMS-DOJ-0001674412    5
Emails/Attachments   PILGRIMS-DOJ-0001674416   PILGRIMS-DOJ-0001674446   18
Emails/Attachments   PILGRIMS-DOJ-0001674450   PILGRIMS-DOJ-0001674471   18
Emails/Attachments   PILGRIMS-DOJ-0001674480   PILGRIMS-DOJ-0001674493    7
Emails/Attachments   PILGRIMS-DOJ-0001674496   PILGRIMS-DOJ-0001674499    2
Emails/Attachments   PILGRIMS-DOJ-0001674501   PILGRIMS-DOJ-0001674520   18
Emails/Attachments   PILGRIMS-DOJ-0001674522   PILGRIMS-DOJ-0001674575   35
Emails/Attachments   PILGRIMS-DOJ-0001674579   PILGRIMS-DOJ-0001674586    7
Emails/Attachments   PILGRIMS-DOJ-0001674590   PILGRIMS-DOJ-0001674623   21
Emails/Attachments   PILGRIMS-DOJ-0001674625   PILGRIMS-DOJ-0001674628    3
Emails/Attachments   PILGRIMS-DOJ-0001674630   PILGRIMS-DOJ-0001674651   16
Emails/Attachments   PILGRIMS-DOJ-0001674654   PILGRIMS-DOJ-0001674661    8
Emails/Attachments   PILGRIMS-DOJ-0001674663   PILGRIMS-DOJ-0001674665    3
Emails/Attachments   PILGRIMS-DOJ-0001674668   PILGRIMS-DOJ-0001674671    3
Emails/Attachments   PILGRIMS-DOJ-0001674674   PILGRIMS-DOJ-0001674719   41
Emails/Attachments   PILGRIMS-DOJ-0001674721   PILGRIMS-DOJ-0001674724    4
Emails/Attachments   PILGRIMS-DOJ-0001674726   PILGRIMS-DOJ-0001674731    3
Emails/Attachments   PILGRIMS-DOJ-0001674733   PILGRIMS-DOJ-0001674748   15
Emails/Attachments   PILGRIMS-DOJ-0001674751   PILGRIMS-DOJ-0001674756    4
Emails/Attachments   PILGRIMS-DOJ-0001674764   PILGRIMS-DOJ-0001674809   34
Emails/Attachments   PILGRIMS-DOJ-0001674811   PILGRIMS-DOJ-0001674854   25
Emails/Attachments   PILGRIMS-DOJ-0001674857   PILGRIMS-DOJ-0001674874   11
Emails/Attachments   PILGRIMS-DOJ-0001674877   PILGRIMS-DOJ-0001674880    4
Emails/Attachments   PILGRIMS-DOJ-0001674882   PILGRIMS-DOJ-0001674925   36
Emails/Attachments   PILGRIMS-DOJ-0001674928   PILGRIMS-DOJ-0001674931    3
Emails/Attachments   PILGRIMS-DOJ-0001674935   PILGRIMS-DOJ-0001674949    8
Emails/Attachments   PILGRIMS-DOJ-0001674952   PILGRIMS-DOJ-0001674953    2
Emails/Attachments   PILGRIMS-DOJ-0001674955   PILGRIMS-DOJ-0001674960    4
Emails/Attachments   PILGRIMS-DOJ-0001674962   PILGRIMS-DOJ-0001674971    4
Emails/Attachments   PILGRIMS-DOJ-0001674976   PILGRIMS-DOJ-0001674976    1
Emails/Attachments   PILGRIMS-DOJ-0001674978   PILGRIMS-DOJ-0001675011   23
Emails/Attachments   PILGRIMS-DOJ-0001675014   PILGRIMS-DOJ-0001675014    1
Emails/Attachments   PILGRIMS-DOJ-0001675016   PILGRIMS-DOJ-0001675034   15
Emails/Attachments   PILGRIMS-DOJ-0001675036   PILGRIMS-DOJ-0001675036    1
Emails/Attachments   PILGRIMS-DOJ-0001675038   PILGRIMS-DOJ-0001675052   10
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 374 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001675055   PILGRIMS-DOJ-0001675098   24
Emails/Attachments   PILGRIMS-DOJ-0001675100   PILGRIMS-DOJ-0001675102    1
Emails/Attachments   PILGRIMS-DOJ-0001675106   PILGRIMS-DOJ-0001675115    8
Emails/Attachments   PILGRIMS-DOJ-0001675121   PILGRIMS-DOJ-0001675121    1
Emails/Attachments   PILGRIMS-DOJ-0001675125   PILGRIMS-DOJ-0001675137    9
Emails/Attachments   PILGRIMS-DOJ-0001675156   PILGRIMS-DOJ-0001675189   10
Emails/Attachments   PILGRIMS-DOJ-0001675191   PILGRIMS-DOJ-0001675192    2
Emails/Attachments   PILGRIMS-DOJ-0001675197   PILGRIMS-DOJ-0001675250   16
Emails/Attachments   PILGRIMS-DOJ-0001675252   PILGRIMS-DOJ-0001675299   23
Emails/Attachments   PILGRIMS-DOJ-0001675301   PILGRIMS-DOJ-0001675307    5
Emails/Attachments   PILGRIMS-DOJ-0001675309   PILGRIMS-DOJ-0001675317    6
Emails/Attachments   PILGRIMS-DOJ-0001675320   PILGRIMS-DOJ-0001675328    5
Emails/Attachments   PILGRIMS-DOJ-0001675331   PILGRIMS-DOJ-0001675331    1
Emails/Attachments   PILGRIMS-DOJ-0001675337   PILGRIMS-DOJ-0001675344    6
Emails/Attachments   PILGRIMS-DOJ-0001675347   PILGRIMS-DOJ-0001675356    5
Emails/Attachments   PILGRIMS-DOJ-0001675358   PILGRIMS-DOJ-0001675367    5
Emails/Attachments   PILGRIMS-DOJ-0001675369   PILGRIMS-DOJ-0001675410   18
Emails/Attachments   PILGRIMS-DOJ-0001675412   PILGRIMS-DOJ-0001675415    4
Emails/Attachments   PILGRIMS-DOJ-0001675418   PILGRIMS-DOJ-0001675430    9
Emails/Attachments   PILGRIMS-DOJ-0001675461   PILGRIMS-DOJ-0001675468    7
Emails/Attachments   PILGRIMS-DOJ-0001675496   PILGRIMS-DOJ-0001675516    8
Emails/Attachments   PILGRIMS-DOJ-0001675518   PILGRIMS-DOJ-0001675520    2
Emails/Attachments   PILGRIMS-DOJ-0001675554   PILGRIMS-DOJ-0001675568    7
Emails/Attachments   PILGRIMS-DOJ-0001675617   PILGRIMS-DOJ-0001675621    3
Emails/Attachments   PILGRIMS-DOJ-0001675624   PILGRIMS-DOJ-0001675625    2
Emails/Attachments   PILGRIMS-DOJ-0001675628   PILGRIMS-DOJ-0001675717   39
Emails/Attachments   PILGRIMS-DOJ-0001675719   PILGRIMS-DOJ-0001675779   43
Emails/Attachments   PILGRIMS-DOJ-0001675781   PILGRIMS-DOJ-0001675784    2
Emails/Attachments   PILGRIMS-DOJ-0001675788   PILGRIMS-DOJ-0001675795    4
Emails/Attachments   PILGRIMS-DOJ-0001675798   PILGRIMS-DOJ-0001675912   41
Emails/Attachments   PILGRIMS-DOJ-0001675917   PILGRIMS-DOJ-0001675919    3
Emails/Attachments   PILGRIMS-DOJ-0001675949   PILGRIMS-DOJ-0001675964    9
Emails/Attachments   PILGRIMS-DOJ-0001675966   PILGRIMS-DOJ-0001675977    2
Emails/Attachments   PILGRIMS-DOJ-0001675980   PILGRIMS-DOJ-0001675980    1
Emails/Attachments   PILGRIMS-DOJ-0001675983   PILGRIMS-DOJ-0001676047   42
Emails/Attachments   PILGRIMS-DOJ-0001676058   PILGRIMS-DOJ-0001676067    6
Emails/Attachments   PILGRIMS-DOJ-0001676072   PILGRIMS-DOJ-0001676109   20
Emails/Attachments   PILGRIMS-DOJ-0001676111   PILGRIMS-DOJ-0001676115    4
Emails/Attachments   PILGRIMS-DOJ-0001676118   PILGRIMS-DOJ-0001676123    4
Emails/Attachments   PILGRIMS-DOJ-0001676128   PILGRIMS-DOJ-0001676133    5
Emails/Attachments   PILGRIMS-DOJ-0001676136   PILGRIMS-DOJ-0001676140    4
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 375 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001676142   PILGRIMS-DOJ-0001676152    5
Emails/Attachments   PILGRIMS-DOJ-0001676154   PILGRIMS-DOJ-0001676189   14
Emails/Attachments   PILGRIMS-DOJ-0001676191   PILGRIMS-DOJ-0001676191    1
Emails/Attachments   PILGRIMS-DOJ-0001676194   PILGRIMS-DOJ-0001676196    3
Emails/Attachments   PILGRIMS-DOJ-0001676199   PILGRIMS-DOJ-0001676217    9
Emails/Attachments   PILGRIMS-DOJ-0001676220   PILGRIMS-DOJ-0001676241    8
Emails/Attachments   PILGRIMS-DOJ-0001676245   PILGRIMS-DOJ-0001676258    8
Emails/Attachments   PILGRIMS-DOJ-0001676266   PILGRIMS-DOJ-0001676281    9
Emails/Attachments   PILGRIMS-DOJ-0001676283   PILGRIMS-DOJ-0001676301   10
Emails/Attachments   PILGRIMS-DOJ-0001676303   PILGRIMS-DOJ-0001676317    9
Emails/Attachments   PILGRIMS-DOJ-0001676320   PILGRIMS-DOJ-0001676325    4
Emails/Attachments   PILGRIMS-DOJ-0001676327   PILGRIMS-DOJ-0001676351   16
Emails/Attachments   PILGRIMS-DOJ-0001676354   PILGRIMS-DOJ-0001676390   22
Emails/Attachments   PILGRIMS-DOJ-0001676395   PILGRIMS-DOJ-0001676397    2
Emails/Attachments   PILGRIMS-DOJ-0001676399   PILGRIMS-DOJ-0001676403    2
Emails/Attachments   PILGRIMS-DOJ-0001676405   PILGRIMS-DOJ-0001676409    3
Emails/Attachments   PILGRIMS-DOJ-0001676417   PILGRIMS-DOJ-0001676418    1
Emails/Attachments   PILGRIMS-DOJ-0001676420   PILGRIMS-DOJ-0001676437    8
Emails/Attachments   PILGRIMS-DOJ-0001676443   PILGRIMS-DOJ-0001676449    3
Emails/Attachments   PILGRIMS-DOJ-0001676451   PILGRIMS-DOJ-0001676464    7
Emails/Attachments   PILGRIMS-DOJ-0001676468   PILGRIMS-DOJ-0001676471    2
Emails/Attachments   PILGRIMS-DOJ-0001676473   PILGRIMS-DOJ-0001676473    1
Emails/Attachments   PILGRIMS-DOJ-0001676475   PILGRIMS-DOJ-0001676480    3
Emails/Attachments   PILGRIMS-DOJ-0001676483   PILGRIMS-DOJ-0001676484    2
Emails/Attachments   PILGRIMS-DOJ-0001676498   PILGRIMS-DOJ-0001676507    5
Emails/Attachments   PILGRIMS-DOJ-0001676509   PILGRIMS-DOJ-0001676538   22
Emails/Attachments   PILGRIMS-DOJ-0001676543   PILGRIMS-DOJ-0001676550    3
Emails/Attachments   PILGRIMS-DOJ-0001676554   PILGRIMS-DOJ-0001676560    5
Emails/Attachments   PILGRIMS-DOJ-0001676562   PILGRIMS-DOJ-0001676565    3
Emails/Attachments   PILGRIMS-DOJ-0001676570   PILGRIMS-DOJ-0001676576    6
Emails/Attachments   PILGRIMS-DOJ-0001676579   PILGRIMS-DOJ-0001676579    1
Emails/Attachments   PILGRIMS-DOJ-0001676581   PILGRIMS-DOJ-0001676653   40
Emails/Attachments   PILGRIMS-DOJ-0001676655   PILGRIMS-DOJ-0001676665    4
Emails/Attachments   PILGRIMS-DOJ-0001676667   PILGRIMS-DOJ-0001676687   11
Emails/Attachments   PILGRIMS-DOJ-0001676689   PILGRIMS-DOJ-0001676690    2
Emails/Attachments   PILGRIMS-DOJ-0001676692   PILGRIMS-DOJ-0001676709    9
Emails/Attachments   PILGRIMS-DOJ-0001676714   PILGRIMS-DOJ-0001676725    8
Emails/Attachments   PILGRIMS-DOJ-0001676731   PILGRIMS-DOJ-0001676738    5
Emails/Attachments   PILGRIMS-DOJ-0001676740   PILGRIMS-DOJ-0001676762   13
Emails/Attachments   PILGRIMS-DOJ-0001676764   PILGRIMS-DOJ-0001676769    6
Emails/Attachments   PILGRIMS-DOJ-0001676773   PILGRIMS-DOJ-0001676776    2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 376 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001676778   PILGRIMS-DOJ-0001676781     3
Emails/Attachments   PILGRIMS-DOJ-0001676796   PILGRIMS-DOJ-0001676804     4
Emails/Attachments   PILGRIMS-DOJ-0001676807   PILGRIMS-DOJ-0001676836    13
Emails/Attachments   PILGRIMS-DOJ-0001676838   PILGRIMS-DOJ-0001676838     1
Emails/Attachments   PILGRIMS-DOJ-0001676840   PILGRIMS-DOJ-0001676885    20
Emails/Attachments   PILGRIMS-DOJ-0001676887   PILGRIMS-DOJ-0001676897     8
Emails/Attachments   PILGRIMS-DOJ-0001676899   PILGRIMS-DOJ-0001677043    35
Emails/Attachments   PILGRIMS-DOJ-0001677045   PILGRIMS-DOJ-0001677058     8
Emails/Attachments   PILGRIMS-DOJ-0001677060   PILGRIMS-DOJ-0001677062     2
Emails/Attachments   PILGRIMS-DOJ-0001677064   PILGRIMS-DOJ-0001677070     6
Emails/Attachments   PILGRIMS-DOJ-0001677072   PILGRIMS-DOJ-0001677073     2
Emails/Attachments   PILGRIMS-DOJ-0001677076   PILGRIMS-DOJ-0001677111    26
Emails/Attachments   PILGRIMS-DOJ-0001677131   PILGRIMS-DOJ-0001677291    54
Emails/Attachments   PILGRIMS-DOJ-0001677293   PILGRIMS-DOJ-0001677652   144
Emails/Attachments   PILGRIMS-DOJ-0001677655   PILGRIMS-DOJ-0001677681    13
Emails/Attachments   PILGRIMS-DOJ-0001677683   PILGRIMS-DOJ-0001677737    26
Emails/Attachments   PILGRIMS-DOJ-0001677739   PILGRIMS-DOJ-0001677742     2
Emails/Attachments   PILGRIMS-DOJ-0001677744   PILGRIMS-DOJ-0001677747     4
Emails/Attachments   PILGRIMS-DOJ-0001677749   PILGRIMS-DOJ-0001677806    40
Emails/Attachments   PILGRIMS-DOJ-0001677808   PILGRIMS-DOJ-0001677810     1
Emails/Attachments   PILGRIMS-DOJ-0001677812   PILGRIMS-DOJ-0001677817     2
Emails/Attachments   PILGRIMS-DOJ-0001677819   PILGRIMS-DOJ-0001677868    30
Emails/Attachments   PILGRIMS-DOJ-0001677870   PILGRIMS-DOJ-0001677888     7
Emails/Attachments   PILGRIMS-DOJ-0001677890   PILGRIMS-DOJ-0001677917    13
Emails/Attachments   PILGRIMS-DOJ-0001677921   PILGRIMS-DOJ-0001677946    14
Emails/Attachments   PILGRIMS-DOJ-0001677948   PILGRIMS-DOJ-0001677960    10
Emails/Attachments   PILGRIMS-DOJ-0001677964   PILGRIMS-DOJ-0001677967     3
Emails/Attachments   PILGRIMS-DOJ-0001677970   PILGRIMS-DOJ-0001677997     9
Emails/Attachments   PILGRIMS-DOJ-0001678013   PILGRIMS-DOJ-0001678112    41
Emails/Attachments   PILGRIMS-DOJ-0001678114   PILGRIMS-DOJ-0001678116     1
Emails/Attachments   PILGRIMS-DOJ-0001678121   PILGRIMS-DOJ-0001678291   105
Emails/Attachments   PILGRIMS-DOJ-0001678294   PILGRIMS-DOJ-0001678590   141
Emails/Attachments   PILGRIMS-DOJ-0001678592   PILGRIMS-DOJ-0001678793    82
Emails/Attachments   PILGRIMS-DOJ-0001678810   PILGRIMS-DOJ-0001678849    32
Emails/Attachments   PILGRIMS-DOJ-0001678853   PILGRIMS-DOJ-0001678902    30
Emails/Attachments   PILGRIMS-DOJ-0001678904   PILGRIMS-DOJ-0001678917     8
Emails/Attachments   PILGRIMS-DOJ-0001678919   PILGRIMS-DOJ-0001679079    46
Emails/Attachments   PILGRIMS-DOJ-0001679082   PILGRIMS-DOJ-0001679152    26
Emails/Attachments   PILGRIMS-DOJ-0001679154   PILGRIMS-DOJ-0001679338    53
Emails/Attachments   PILGRIMS-DOJ-0001679340   PILGRIMS-DOJ-0001679517    86
Emails/Attachments   PILGRIMS-DOJ-0001679519   PILGRIMS-DOJ-0001679587    31
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 377 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001679589   PILGRIMS-DOJ-0001679609     7
Emails/Attachments   PILGRIMS-DOJ-0001679617   PILGRIMS-DOJ-0001679672    32
Emails/Attachments   PILGRIMS-DOJ-0001679674   PILGRIMS-DOJ-0001679676     1
Emails/Attachments   PILGRIMS-DOJ-0001679678   PILGRIMS-DOJ-0001679681     4
Emails/Attachments   PILGRIMS-DOJ-0001679684   PILGRIMS-DOJ-0001679829    39
Emails/Attachments   PILGRIMS-DOJ-0001679886   PILGRIMS-DOJ-0001680024    22
Emails/Attachments   PILGRIMS-DOJ-0001680027   PILGRIMS-DOJ-0001680078     4
Emails/Attachments   PILGRIMS-DOJ-0001680082   PILGRIMS-DOJ-0001680414    87
Emails/Attachments   PILGRIMS-DOJ-0001680418   PILGRIMS-DOJ-0001680496    40
Emails/Attachments   PILGRIMS-DOJ-0001680498   PILGRIMS-DOJ-0001680514    13
Emails/Attachments   PILGRIMS-DOJ-0001680517   PILGRIMS-DOJ-0001680585    37
Emails/Attachments   PILGRIMS-DOJ-0001680587   PILGRIMS-DOJ-0001680617    15
Emails/Attachments   PILGRIMS-DOJ-0001680619   PILGRIMS-DOJ-0001681143   202
Emails/Attachments   PILGRIMS-DOJ-0001681145   PILGRIMS-DOJ-0001681172    10
Emails/Attachments   PILGRIMS-DOJ-0001681175   PILGRIMS-DOJ-0001681203    10
Emails/Attachments   PILGRIMS-DOJ-0001681205   PILGRIMS-DOJ-0001681282    29
Emails/Attachments   PILGRIMS-DOJ-0001681294   PILGRIMS-DOJ-0001681331    24
Emails/Attachments   PILGRIMS-DOJ-0001681335   PILGRIMS-DOJ-0001681358     7
Emails/Attachments   PILGRIMS-DOJ-0001681360   PILGRIMS-DOJ-0001681363     1
Emails/Attachments   PILGRIMS-DOJ-0001681366   PILGRIMS-DOJ-0001681400    15
Emails/Attachments   PILGRIMS-DOJ-0001681402   PILGRIMS-DOJ-0001681937   146
Emails/Attachments   PILGRIMS-DOJ-0001681939   PILGRIMS-DOJ-0001681962     9
Emails/Attachments   PILGRIMS-DOJ-0001681964   PILGRIMS-DOJ-0001681983     7
Emails/Attachments   PILGRIMS-DOJ-0001681986   PILGRIMS-DOJ-0001682151    60
Emails/Attachments   PILGRIMS-DOJ-0001682153   PILGRIMS-DOJ-0001682160     4
Emails/Attachments   PILGRIMS-DOJ-0001682162   PILGRIMS-DOJ-0001682166     2
Emails/Attachments   PILGRIMS-DOJ-0001682168   PILGRIMS-DOJ-0001682263    73
Emails/Attachments   PILGRIMS-DOJ-0001682267   PILGRIMS-DOJ-0001682302    20
Emails/Attachments   PILGRIMS-DOJ-0001682304   PILGRIMS-DOJ-0001682309     2
Emails/Attachments   PILGRIMS-DOJ-0001682311   PILGRIMS-DOJ-0001682342    23
Emails/Attachments   PILGRIMS-DOJ-0001682344   PILGRIMS-DOJ-0001682549    84
Emails/Attachments   PILGRIMS-DOJ-0001682553   PILGRIMS-DOJ-0001682786   111
Emails/Attachments   PILGRIMS-DOJ-0001682788   PILGRIMS-DOJ-0001682818    21
Emails/Attachments   PILGRIMS-DOJ-0001682820   PILGRIMS-DOJ-0001682895    26
Emails/Attachments   PILGRIMS-DOJ-0001682902   PILGRIMS-DOJ-0001682992    34
Emails/Attachments   PILGRIMS-DOJ-0001682995   PILGRIMS-DOJ-0001683035    23
Emails/Attachments   PILGRIMS-DOJ-0001683037   PILGRIMS-DOJ-0001683039     3
Emails/Attachments   PILGRIMS-DOJ-0001683052   PILGRIMS-DOJ-0001683153    50
Emails/Attachments   PILGRIMS-DOJ-0001683155   PILGRIMS-DOJ-0001683379   104
Emails/Attachments   PILGRIMS-DOJ-0001683381   PILGRIMS-DOJ-0001684280   361
Emails/Attachments   PILGRIMS-DOJ-0001684282   PILGRIMS-DOJ-0001684468    98
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 378 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001684472   PILGRIMS-DOJ-0001684977   302
Emails/Attachments   PILGRIMS-DOJ-0001684979   PILGRIMS-DOJ-0001685004    14
Emails/Attachments   PILGRIMS-DOJ-0001685010   PILGRIMS-DOJ-0001685389   253
Emails/Attachments   PILGRIMS-DOJ-0001685391   PILGRIMS-DOJ-0001685796   219
Emails/Attachments   PILGRIMS-DOJ-0001685798   PILGRIMS-DOJ-0001685801     2
Emails/Attachments   PILGRIMS-DOJ-0001685803   PILGRIMS-DOJ-0001685806     1
Emails/Attachments   PILGRIMS-DOJ-0001685808   PILGRIMS-DOJ-0001685818     8
Emails/Attachments   PILGRIMS-DOJ-0001685825   PILGRIMS-DOJ-0001685900    58
Emails/Attachments   PILGRIMS-DOJ-0001685903   PILGRIMS-DOJ-0001685919    16
Emails/Attachments   PILGRIMS-DOJ-0001685922   PILGRIMS-DOJ-0001685934     7
Emails/Attachments   PILGRIMS-DOJ-0001685941   PILGRIMS-DOJ-0001686304   205
Emails/Attachments   PILGRIMS-DOJ-0001686313   PILGRIMS-DOJ-0001686441    67
Emails/Attachments   PILGRIMS-DOJ-0001686443   PILGRIMS-DOJ-0001686472    18
Emails/Attachments   PILGRIMS-DOJ-0001686474   PILGRIMS-DOJ-0001686510    21
Emails/Attachments   PILGRIMS-DOJ-0001686512   PILGRIMS-DOJ-0001686528    11
Emails/Attachments   PILGRIMS-DOJ-0001686531   PILGRIMS-DOJ-0001686657    69
Emails/Attachments   PILGRIMS-DOJ-0001686660   PILGRIMS-DOJ-0001686716    28
Emails/Attachments   PILGRIMS-DOJ-0001686718   PILGRIMS-DOJ-0001686886    43
Emails/Attachments   PILGRIMS-DOJ-0001686894   PILGRIMS-DOJ-0001686895     2
Emails/Attachments   PILGRIMS-DOJ-0001686898   PILGRIMS-DOJ-0001687008    33
Emails/Attachments   PILGRIMS-DOJ-0001687010   PILGRIMS-DOJ-0001687027     6
Emails/Attachments   PILGRIMS-DOJ-0001687031   PILGRIMS-DOJ-0001687061    10
Emails/Attachments   PILGRIMS-DOJ-0001687063   PILGRIMS-DOJ-0001687116    23
Emails/Attachments   PILGRIMS-DOJ-0001687118   PILGRIMS-DOJ-0001687289   110
Emails/Attachments   PILGRIMS-DOJ-0001687300   PILGRIMS-DOJ-0001687405    79
Emails/Attachments   PILGRIMS-DOJ-0001687410   PILGRIMS-DOJ-0001687441    23
Emails/Attachments   PILGRIMS-DOJ-0001687467   PILGRIMS-DOJ-0001687490    10
Emails/Attachments   PILGRIMS-DOJ-0001687492   PILGRIMS-DOJ-0001687528    23
Emails/Attachments   PILGRIMS-DOJ-0001687530   PILGRIMS-DOJ-0001687531     2
Emails/Attachments   PILGRIMS-DOJ-0001687552   PILGRIMS-DOJ-0001687670    55
Emails/Attachments   PILGRIMS-DOJ-0001687685   PILGRIMS-DOJ-0001687693     8
Emails/Attachments   PILGRIMS-DOJ-0001687722   PILGRIMS-DOJ-0001687735    12
Emails/Attachments   PILGRIMS-DOJ-0001687750   PILGRIMS-DOJ-0001687759     3
Emails/Attachments   PILGRIMS-DOJ-0001687763   PILGRIMS-DOJ-0001687873    60
Emails/Attachments   PILGRIMS-DOJ-0001687875   PILGRIMS-DOJ-0001687916    34
Emails/Attachments   PILGRIMS-DOJ-0001687918   PILGRIMS-DOJ-0001687918     1
Emails/Attachments   PILGRIMS-DOJ-0001687920   PILGRIMS-DOJ-0001688543   212
Emails/Attachments   PILGRIMS-DOJ-0001688558   PILGRIMS-DOJ-0001688577     4
Emails/Attachments   PILGRIMS-DOJ-0001688579   PILGRIMS-DOJ-0001688582     3
Emails/Attachments   PILGRIMS-DOJ-0001688584   PILGRIMS-DOJ-0001688664    37
Emails/Attachments   PILGRIMS-DOJ-0001688666   PILGRIMS-DOJ-0001688702     9
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 379 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001688704   PILGRIMS-DOJ-0001688709     4
Emails/Attachments   PILGRIMS-DOJ-0001688711   PILGRIMS-DOJ-0001688786    47
Emails/Attachments   PILGRIMS-DOJ-0001688789   PILGRIMS-DOJ-0001688846    31
Emails/Attachments   PILGRIMS-DOJ-0001688851   PILGRIMS-DOJ-0001688863     8
Emails/Attachments   PILGRIMS-DOJ-0001688865   PILGRIMS-DOJ-0001688876     6
Emails/Attachments   PILGRIMS-DOJ-0001688878   PILGRIMS-DOJ-0001688879     2
Emails/Attachments   PILGRIMS-DOJ-0001688896   PILGRIMS-DOJ-0001688897     1
Emails/Attachments   PILGRIMS-DOJ-0001688899   PILGRIMS-DOJ-0001688962    35
Emails/Attachments   PILGRIMS-DOJ-0001688965   PILGRIMS-DOJ-0001689018    28
Emails/Attachments   PILGRIMS-DOJ-0001689022   PILGRIMS-DOJ-0001689101    37
Emails/Attachments   PILGRIMS-DOJ-0001689104   PILGRIMS-DOJ-0001689153    18
Emails/Attachments   PILGRIMS-DOJ-0001689164   PILGRIMS-DOJ-0001689329    55
Emails/Attachments   PILGRIMS-DOJ-0001689332   PILGRIMS-DOJ-0001689332     1
Emails/Attachments   PILGRIMS-DOJ-0001689335   PILGRIMS-DOJ-0001689405    27
Emails/Attachments   PILGRIMS-DOJ-0001689408   PILGRIMS-DOJ-0001689467    25
Emails/Attachments   PILGRIMS-DOJ-0001689472   PILGRIMS-DOJ-0001689503    11
Emails/Attachments   PILGRIMS-DOJ-0001689506   PILGRIMS-DOJ-0001689563    24
Emails/Attachments   PILGRIMS-DOJ-0001689565   PILGRIMS-DOJ-0001689590     7
Emails/Attachments   PILGRIMS-DOJ-0001689608   PILGRIMS-DOJ-0001689654    21
Emails/Attachments   PILGRIMS-DOJ-0001689656   PILGRIMS-DOJ-0001689669    11
Emails/Attachments   PILGRIMS-DOJ-0001689671   PILGRIMS-DOJ-0001690044   150
Emails/Attachments   PILGRIMS-DOJ-0001690048   PILGRIMS-DOJ-0001690126    15
Emails/Attachments   PILGRIMS-DOJ-0001690131   PILGRIMS-DOJ-0001690151     8
Emails/Attachments   PILGRIMS-DOJ-0001690154   PILGRIMS-DOJ-0001690304    58
Emails/Attachments   PILGRIMS-DOJ-0001690306   PILGRIMS-DOJ-0001690357    19
Emails/Attachments   PILGRIMS-DOJ-0001690359   PILGRIMS-DOJ-0001690361     2
Emails/Attachments   PILGRIMS-DOJ-0001690363   PILGRIMS-DOJ-0001690392    13
Emails/Attachments   PILGRIMS-DOJ-0001690394   PILGRIMS-DOJ-0001690395     1
Emails/Attachments   PILGRIMS-DOJ-0001690412   PILGRIMS-DOJ-0001690444    11
Emails/Attachments   PILGRIMS-DOJ-0001690446   PILGRIMS-DOJ-0001690473    14
Emails/Attachments   PILGRIMS-DOJ-0001690475   PILGRIMS-DOJ-0001690485     6
Emails/Attachments   PILGRIMS-DOJ-0001690487   PILGRIMS-DOJ-0001690492     4
Emails/Attachments   PILGRIMS-DOJ-0001690494   PILGRIMS-DOJ-0001690574    25
Emails/Attachments   PILGRIMS-DOJ-0001690576   PILGRIMS-DOJ-0001690639    11
Emails/Attachments   PILGRIMS-DOJ-0001690642   PILGRIMS-DOJ-0001690779    73
Emails/Attachments   PILGRIMS-DOJ-0001690781   PILGRIMS-DOJ-0001690961    66
Emails/Attachments   PILGRIMS-DOJ-0001690963   PILGRIMS-DOJ-0001691011    19
Emails/Attachments   PILGRIMS-DOJ-0001691026   PILGRIMS-DOJ-0001691152    38
Emails/Attachments   PILGRIMS-DOJ-0001691154   PILGRIMS-DOJ-0001691182     5
Emails/Attachments   PILGRIMS-DOJ-0001691184   PILGRIMS-DOJ-0001691319    95
Emails/Attachments   PILGRIMS-DOJ-0001691321   PILGRIMS-DOJ-0001691322     1
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 380 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001691345   PILGRIMS-DOJ-0001691462    22
Emails/Attachments   PILGRIMS-DOJ-0001691464   PILGRIMS-DOJ-0001691616    37
Emails/Attachments   PILGRIMS-DOJ-0001691620   PILGRIMS-DOJ-0001691743    68
Emails/Attachments   PILGRIMS-DOJ-0001691745   PILGRIMS-DOJ-0001691749     4
Emails/Attachments   PILGRIMS-DOJ-0001691760   PILGRIMS-DOJ-0001691807    20
Emails/Attachments   PILGRIMS-DOJ-0001691811   PILGRIMS-DOJ-0001691815     2
Emails/Attachments   PILGRIMS-DOJ-0001691821   PILGRIMS-DOJ-0001691910    34
Emails/Attachments   PILGRIMS-DOJ-0001691912   PILGRIMS-DOJ-0001692028    41
Emails/Attachments   PILGRIMS-DOJ-0001692030   PILGRIMS-DOJ-0001692175    33
Emails/Attachments   PILGRIMS-DOJ-0001692177   PILGRIMS-DOJ-0001692327    77
Emails/Attachments   PILGRIMS-DOJ-0001692354   PILGRIMS-DOJ-0001692886   195
Emails/Attachments   PILGRIMS-DOJ-0001692890   PILGRIMS-DOJ-0001692978    60
Emails/Attachments   PILGRIMS-DOJ-0001692980   PILGRIMS-DOJ-0001692982     1
Emails/Attachments   PILGRIMS-DOJ-0001692984   PILGRIMS-DOJ-0001692991     5
Emails/Attachments   PILGRIMS-DOJ-0001692994   PILGRIMS-DOJ-0001693033    26
Emails/Attachments   PILGRIMS-DOJ-0001693035   PILGRIMS-DOJ-0001693131    33
Emails/Attachments   PILGRIMS-DOJ-0001693136   PILGRIMS-DOJ-0001693183     9
Emails/Attachments   PILGRIMS-DOJ-0001693185   PILGRIMS-DOJ-0001693261    31
Emails/Attachments   PILGRIMS-DOJ-0001693263   PILGRIMS-DOJ-0001693330    11
Emails/Attachments   PILGRIMS-DOJ-0001693337   PILGRIMS-DOJ-0001693509    63
Emails/Attachments   PILGRIMS-DOJ-0001693511   PILGRIMS-DOJ-0001693512     1
Emails/Attachments   PILGRIMS-DOJ-0001693515   PILGRIMS-DOJ-0001693594    36
Emails/Attachments   PILGRIMS-DOJ-0001693598   PILGRIMS-DOJ-0001693677    28
Emails/Attachments   PILGRIMS-DOJ-0001693692   PILGRIMS-DOJ-0001693786    24
Emails/Attachments   PILGRIMS-DOJ-0001693789   PILGRIMS-DOJ-0001693836    24
Emails/Attachments   PILGRIMS-DOJ-0001693839   PILGRIMS-DOJ-0001693872    18
Emails/Attachments   PILGRIMS-DOJ-0001693874   PILGRIMS-DOJ-0001693937    24
Emails/Attachments   PILGRIMS-DOJ-0001693939   PILGRIMS-DOJ-0001693948     9
Emails/Attachments   PILGRIMS-DOJ-0001693950   PILGRIMS-DOJ-0001693953     3
Emails/Attachments   PILGRIMS-DOJ-0001693957   PILGRIMS-DOJ-0001693988    13
Emails/Attachments   PILGRIMS-DOJ-0001693990   PILGRIMS-DOJ-0001694032    24
Emails/Attachments   PILGRIMS-DOJ-0001694034   PILGRIMS-DOJ-0001694207    21
Emails/Attachments   PILGRIMS-DOJ-0001694209   PILGRIMS-DOJ-0001694375    14
Emails/Attachments   PILGRIMS-DOJ-0001694379   PILGRIMS-DOJ-0001694513     8
Emails/Attachments   PILGRIMS-DOJ-0001694516   PILGRIMS-DOJ-0001694517     1
Emails/Attachments   PILGRIMS-DOJ-0001694520   PILGRIMS-DOJ-0001694554    20
Emails/Attachments   PILGRIMS-DOJ-0001694556   PILGRIMS-DOJ-0001694615    33
Emails/Attachments   PILGRIMS-DOJ-0001694617   PILGRIMS-DOJ-0001694653    14
Emails/Attachments   PILGRIMS-DOJ-0001694661   PILGRIMS-DOJ-0001694689    10
Emails/Attachments   PILGRIMS-DOJ-0001694693   PILGRIMS-DOJ-0001694820    51
Emails/Attachments   PILGRIMS-DOJ-0001694822   PILGRIMS-DOJ-0001694826     1
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 381 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001694828   PILGRIMS-DOJ-0001694833    3
Emails/Attachments   PILGRIMS-DOJ-0001694835   PILGRIMS-DOJ-0001694876   11
Emails/Attachments   PILGRIMS-DOJ-0001694899   PILGRIMS-DOJ-0001694947   16
Emails/Attachments   PILGRIMS-DOJ-0001694952   PILGRIMS-DOJ-0001694979   15
Emails/Attachments   PILGRIMS-DOJ-0001694981   PILGRIMS-DOJ-0001695138   31
Emails/Attachments   PILGRIMS-DOJ-0001695140   PILGRIMS-DOJ-0001695304   20
Emails/Attachments   PILGRIMS-DOJ-0001695306   PILGRIMS-DOJ-0001695324    3
Emails/Attachments   PILGRIMS-DOJ-0001695326   PILGRIMS-DOJ-0001695347    3
Emails/Attachments   PILGRIMS-DOJ-0001695352   PILGRIMS-DOJ-0001695370    2
Emails/Attachments   PILGRIMS-DOJ-0001695382   PILGRIMS-DOJ-0001695517   37
Emails/Attachments   PILGRIMS-DOJ-0001695519   PILGRIMS-DOJ-0001695548   11
Emails/Attachments   PILGRIMS-DOJ-0001695551   PILGRIMS-DOJ-0001695593   21
Emails/Attachments   PILGRIMS-DOJ-0001695595   PILGRIMS-DOJ-0001695804   47
Emails/Attachments   PILGRIMS-DOJ-0001695829   PILGRIMS-DOJ-0001695853    2
Emails/Attachments   PILGRIMS-DOJ-0001695878   PILGRIMS-DOJ-0001695911    8
Emails/Attachments   PILGRIMS-DOJ-0001695913   PILGRIMS-DOJ-0001696138   84
Emails/Attachments   PILGRIMS-DOJ-0001696140   PILGRIMS-DOJ-0001696168    6
Emails/Attachments   PILGRIMS-DOJ-0001696170   PILGRIMS-DOJ-0001696173    1
Emails/Attachments   PILGRIMS-DOJ-0001696175   PILGRIMS-DOJ-0001696175    1
Emails/Attachments   PILGRIMS-DOJ-0001696177   PILGRIMS-DOJ-0001696178    2
Emails/Attachments   PILGRIMS-DOJ-0001696180   PILGRIMS-DOJ-0001696184    3
Emails/Attachments   PILGRIMS-DOJ-0001696207   PILGRIMS-DOJ-0001696228    2
Emails/Attachments   PILGRIMS-DOJ-0001696230   PILGRIMS-DOJ-0001696285   23
Emails/Attachments   PILGRIMS-DOJ-0001696294   PILGRIMS-DOJ-0001696354   30
Emails/Attachments   PILGRIMS-DOJ-0001696361   PILGRIMS-DOJ-0001696387   16
Emails/Attachments   PILGRIMS-DOJ-0001696390   PILGRIMS-DOJ-0001696402    5
Emails/Attachments   PILGRIMS-DOJ-0001696404   PILGRIMS-DOJ-0001696405    1
Emails/Attachments   PILGRIMS-DOJ-0001696407   PILGRIMS-DOJ-0001696433   15
Emails/Attachments   PILGRIMS-DOJ-0001696435   PILGRIMS-DOJ-0001696574   45
Emails/Attachments   PILGRIMS-DOJ-0001696578   PILGRIMS-DOJ-0001696642   27
Emails/Attachments   PILGRIMS-DOJ-0001696677   PILGRIMS-DOJ-0001696702   10
Emails/Attachments   PILGRIMS-DOJ-0001696704   PILGRIMS-DOJ-0001696786   49
Emails/Attachments   PILGRIMS-DOJ-0001696788   PILGRIMS-DOJ-0001696794    4
Emails/Attachments   PILGRIMS-DOJ-0001696813   PILGRIMS-DOJ-0001696889   44
Emails/Attachments   PILGRIMS-DOJ-0001696891   PILGRIMS-DOJ-0001696901    4
Emails/Attachments   PILGRIMS-DOJ-0001696903   PILGRIMS-DOJ-0001696927    6
Emails/Attachments   PILGRIMS-DOJ-0001696929   PILGRIMS-DOJ-0001696931    1
Emails/Attachments   PILGRIMS-DOJ-0001696933   PILGRIMS-DOJ-0001696941    1
Emails/Attachments   PILGRIMS-DOJ-0001696943   PILGRIMS-DOJ-0001696973    9
Emails/Attachments   PILGRIMS-DOJ-0001696975   PILGRIMS-DOJ-0001697051   19
Emails/Attachments   PILGRIMS-DOJ-0001697053   PILGRIMS-DOJ-0001697204   62
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 382 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001697206   PILGRIMS-DOJ-0001697615   134
Emails/Attachments   PILGRIMS-DOJ-0001697617   PILGRIMS-DOJ-0001697622     3
Emails/Attachments   PILGRIMS-DOJ-0001697624   PILGRIMS-DOJ-0001697729    29
Emails/Attachments   PILGRIMS-DOJ-0001697731   PILGRIMS-DOJ-0001697732     1
Emails/Attachments   PILGRIMS-DOJ-0001697734   PILGRIMS-DOJ-0001697737     2
Emails/Attachments   PILGRIMS-DOJ-0001697739   PILGRIMS-DOJ-0001697838    49
Emails/Attachments   PILGRIMS-DOJ-0001697840   PILGRIMS-DOJ-0001697849     5
Emails/Attachments   PILGRIMS-DOJ-0001697851   PILGRIMS-DOJ-0001698054    67
Emails/Attachments   PILGRIMS-DOJ-0001698056   PILGRIMS-DOJ-0001698122    32
Emails/Attachments   PILGRIMS-DOJ-0001698132   PILGRIMS-DOJ-0001698137     2
Emails/Attachments   PILGRIMS-DOJ-0001698141   PILGRIMS-DOJ-0001698268    47
Emails/Attachments   PILGRIMS-DOJ-0001698270   PILGRIMS-DOJ-0001698805   108
Emails/Attachments   PILGRIMS-DOJ-0001698807   PILGRIMS-DOJ-0001698846    12
Emails/Attachments   PILGRIMS-DOJ-0001698877   PILGRIMS-DOJ-0001699379    56
Emails/Attachments   PILGRIMS-DOJ-0001699381   PILGRIMS-DOJ-0001699392     3
Emails/Attachments   PILGRIMS-DOJ-0001699394   PILGRIMS-DOJ-0001699492    40
Emails/Attachments   PILGRIMS-DOJ-0001699494   PILGRIMS-DOJ-0001699521    16
Emails/Attachments   PILGRIMS-DOJ-0001699525   PILGRIMS-DOJ-0001699632    46
Emails/Attachments   PILGRIMS-DOJ-0001699634   PILGRIMS-DOJ-0001699709    17
Emails/Attachments   PILGRIMS-DOJ-0001699711   PILGRIMS-DOJ-0001699723     6
Emails/Attachments   PILGRIMS-DOJ-0001699725   PILGRIMS-DOJ-0001699924    78
Emails/Attachments   PILGRIMS-DOJ-0001699926   PILGRIMS-DOJ-0001700257    94
Emails/Attachments   PILGRIMS-DOJ-0001700259   PILGRIMS-DOJ-0001700334    23
Emails/Attachments   PILGRIMS-DOJ-0001700338   PILGRIMS-DOJ-0001700372    12
Emails/Attachments   PILGRIMS-DOJ-0001700375   PILGRIMS-DOJ-0001700383     3
Emails/Attachments   PILGRIMS-DOJ-0001700385   PILGRIMS-DOJ-0001700389     3
Emails/Attachments   PILGRIMS-DOJ-0001700391   PILGRIMS-DOJ-0001700419    15
Emails/Attachments   PILGRIMS-DOJ-0001700421   PILGRIMS-DOJ-0001700650    90
Emails/Attachments   PILGRIMS-DOJ-0001700653   PILGRIMS-DOJ-0001700815    50
Emails/Attachments   PILGRIMS-DOJ-0001700818   PILGRIMS-DOJ-0001700820     1
Emails/Attachments   PILGRIMS-DOJ-0001700822   PILGRIMS-DOJ-0001700840     7
Emails/Attachments   PILGRIMS-DOJ-0001700843   PILGRIMS-DOJ-0001700853     2
Emails/Attachments   PILGRIMS-DOJ-0001700855   PILGRIMS-DOJ-0001701105   109
Emails/Attachments   PILGRIMS-DOJ-0001701107   PILGRIMS-DOJ-0001701121     9
Emails/Attachments   PILGRIMS-DOJ-0001701124   PILGRIMS-DOJ-0001701136     9
Emails/Attachments   PILGRIMS-DOJ-0001701140   PILGRIMS-DOJ-0001701255    46
Emails/Attachments   PILGRIMS-DOJ-0001701257   PILGRIMS-DOJ-0001701301    16
Emails/Attachments   PILGRIMS-DOJ-0001701304   PILGRIMS-DOJ-0001701358    20
Emails/Attachments   PILGRIMS-DOJ-0001701362   PILGRIMS-DOJ-0001701457    38
Emails/Attachments   PILGRIMS-DOJ-0001701482   PILGRIMS-DOJ-0001701542    13
Emails/Attachments   PILGRIMS-DOJ-0001701544   PILGRIMS-DOJ-0001701575     8
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 383 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001701577   PILGRIMS-DOJ-0001701582     3
Emails/Attachments   PILGRIMS-DOJ-0001701584   PILGRIMS-DOJ-0001701598     8
Emails/Attachments   PILGRIMS-DOJ-0001701600   PILGRIMS-DOJ-0001701706    41
Emails/Attachments   PILGRIMS-DOJ-0001701708   PILGRIMS-DOJ-0001701733    15
Emails/Attachments   PILGRIMS-DOJ-0001701735   PILGRIMS-DOJ-0001701738     1
Emails/Attachments   PILGRIMS-DOJ-0001701740   PILGRIMS-DOJ-0001701816    33
Emails/Attachments   PILGRIMS-DOJ-0001701818   PILGRIMS-DOJ-0001701825     4
Emails/Attachments   PILGRIMS-DOJ-0001701827   PILGRIMS-DOJ-0001701861    13
Emails/Attachments   PILGRIMS-DOJ-0001701864   PILGRIMS-DOJ-0001701988    74
Emails/Attachments   PILGRIMS-DOJ-0001702016   PILGRIMS-DOJ-0001702064    25
Emails/Attachments   PILGRIMS-DOJ-0001702066   PILGRIMS-DOJ-0001702079    10
Emails/Attachments   PILGRIMS-DOJ-0001702081   PILGRIMS-DOJ-0001702093    12
Emails/Attachments   PILGRIMS-DOJ-0001702095   PILGRIMS-DOJ-0001702100     5
Emails/Attachments   PILGRIMS-DOJ-0001702105   PILGRIMS-DOJ-0001702320    50
Emails/Attachments   PILGRIMS-DOJ-0001702324   PILGRIMS-DOJ-0001702356    14
Emails/Attachments   PILGRIMS-DOJ-0001702359   PILGRIMS-DOJ-0001702363     2
Emails/Attachments   PILGRIMS-DOJ-0001702365   PILGRIMS-DOJ-0001702372     3
Emails/Attachments   PILGRIMS-DOJ-0001702374   PILGRIMS-DOJ-0001702665    23
Emails/Attachments   PILGRIMS-DOJ-0001702668   PILGRIMS-DOJ-0001702678     3
Emails/Attachments   PILGRIMS-DOJ-0001702680   PILGRIMS-DOJ-0001702720    20
Emails/Attachments   PILGRIMS-DOJ-0001702722   PILGRIMS-DOJ-0001702749    25
Emails/Attachments   PILGRIMS-DOJ-0001702753   PILGRIMS-DOJ-0001702783    21
Emails/Attachments   PILGRIMS-DOJ-0001702798   PILGRIMS-DOJ-0001702880    24
Emails/Attachments   PILGRIMS-DOJ-0001702883   PILGRIMS-DOJ-0001702888     4
Emails/Attachments   PILGRIMS-DOJ-0001702890   PILGRIMS-DOJ-0001702916    15
Emails/Attachments   PILGRIMS-DOJ-0001702922   PILGRIMS-DOJ-0001702939    11
Emails/Attachments   PILGRIMS-DOJ-0001702941   PILGRIMS-DOJ-0001702961    14
Emails/Attachments   PILGRIMS-DOJ-0001702963   PILGRIMS-DOJ-0001702966     2
Emails/Attachments   PILGRIMS-DOJ-0001702968   PILGRIMS-DOJ-0001702975     6
Emails/Attachments   PILGRIMS-DOJ-0001702977   PILGRIMS-DOJ-0001703016    24
Emails/Attachments   PILGRIMS-DOJ-0001703018   PILGRIMS-DOJ-0001703022     3
Emails/Attachments   PILGRIMS-DOJ-0001703024   PILGRIMS-DOJ-0001703027     2
Emails/Attachments   PILGRIMS-DOJ-0001703047   PILGRIMS-DOJ-0001703100    29
Emails/Attachments   PILGRIMS-DOJ-0001703115   PILGRIMS-DOJ-0001703123     8
Emails/Attachments   PILGRIMS-DOJ-0001703125   PILGRIMS-DOJ-0001703378   110
Emails/Attachments   PILGRIMS-DOJ-0001703381   PILGRIMS-DOJ-0001703549    70
Emails/Attachments   PILGRIMS-DOJ-0001703566   PILGRIMS-DOJ-0001703588    10
Emails/Attachments   PILGRIMS-DOJ-0001703590   PILGRIMS-DOJ-0001703719    77
Emails/Attachments   PILGRIMS-DOJ-0001703721   PILGRIMS-DOJ-0001703750    16
Emails/Attachments   PILGRIMS-DOJ-0001703752   PILGRIMS-DOJ-0001703998   123
Emails/Attachments   PILGRIMS-DOJ-0001704000   PILGRIMS-DOJ-0001704044    22
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 384 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001704046   PILGRIMS-DOJ-0001704048     2
Emails/Attachments   PILGRIMS-DOJ-0001704050   PILGRIMS-DOJ-0001704182    70
Emails/Attachments   PILGRIMS-DOJ-0001704184   PILGRIMS-DOJ-0001704207    14
Emails/Attachments   PILGRIMS-DOJ-0001704212   PILGRIMS-DOJ-0001704283    38
Emails/Attachments   PILGRIMS-DOJ-0001704285   PILGRIMS-DOJ-0001704304    13
Emails/Attachments   PILGRIMS-DOJ-0001704306   PILGRIMS-DOJ-0001704399    63
Emails/Attachments   PILGRIMS-DOJ-0001704402   PILGRIMS-DOJ-0001704420    14
Emails/Attachments   PILGRIMS-DOJ-0001704422   PILGRIMS-DOJ-0001704475    26
Emails/Attachments   PILGRIMS-DOJ-0001704477   PILGRIMS-DOJ-0001704774   156
Emails/Attachments   PILGRIMS-DOJ-0001704776   PILGRIMS-DOJ-0001704852    33
Emails/Attachments   PILGRIMS-DOJ-0001704854   PILGRIMS-DOJ-0001704857     3
Emails/Attachments   PILGRIMS-DOJ-0001704861   PILGRIMS-DOJ-0001704907    33
Emails/Attachments   PILGRIMS-DOJ-0001704909   PILGRIMS-DOJ-0001704938    21
Emails/Attachments   PILGRIMS-DOJ-0001704940   PILGRIMS-DOJ-0001704953     9
Emails/Attachments   PILGRIMS-DOJ-0001704957   PILGRIMS-DOJ-0001704977     9
Emails/Attachments   PILGRIMS-DOJ-0001704979   PILGRIMS-DOJ-0001704990     7
Emails/Attachments   PILGRIMS-DOJ-0001704992   PILGRIMS-DOJ-0001704996     3
Emails/Attachments   PILGRIMS-DOJ-0001705001   PILGRIMS-DOJ-0001705083    42
Emails/Attachments   PILGRIMS-DOJ-0001705085   PILGRIMS-DOJ-0001705095     6
Emails/Attachments   PILGRIMS-DOJ-0001705097   PILGRIMS-DOJ-0001705135    20
Emails/Attachments   PILGRIMS-DOJ-0001705137   PILGRIMS-DOJ-0001705139     3
Emails/Attachments   PILGRIMS-DOJ-0001705141   PILGRIMS-DOJ-0001705171    14
Emails/Attachments   PILGRIMS-DOJ-0001705173   PILGRIMS-DOJ-0001705210    16
Emails/Attachments   PILGRIMS-DOJ-0001705212   PILGRIMS-DOJ-0001705213     2
Emails/Attachments   PILGRIMS-DOJ-0001705215   PILGRIMS-DOJ-0001705219     5
Emails/Attachments   PILGRIMS-DOJ-0001705283   PILGRIMS-DOJ-0001705285     2
Emails/Attachments   PILGRIMS-DOJ-0001705289   PILGRIMS-DOJ-0001705294     2
Emails/Attachments   PILGRIMS-DOJ-0001705309   PILGRIMS-DOJ-0001705318    10
Emails/Attachments   PILGRIMS-DOJ-0001705331   PILGRIMS-DOJ-0001705331     1
Emails/Attachments   PILGRIMS-DOJ-0001705456   PILGRIMS-DOJ-0001705458     3
Emails/Attachments   PILGRIMS-DOJ-0001705461   PILGRIMS-DOJ-0001705465     4
Emails/Attachments   PILGRIMS-DOJ-0001705513   PILGRIMS-DOJ-0001705514     1
Emails/Attachments   PILGRIMS-DOJ-0001705696   PILGRIMS-DOJ-0001705767    37
Emails/Attachments   PILGRIMS-DOJ-0001705769   PILGRIMS-DOJ-0001705774     5
Emails/Attachments   PILGRIMS-DOJ-0001705776   PILGRIMS-DOJ-0001705805    24
Emails/Attachments   PILGRIMS-DOJ-0001705807   PILGRIMS-DOJ-0001705891    50
Emails/Attachments   PILGRIMS-DOJ-0001705897   PILGRIMS-DOJ-0001706044    78
Emails/Attachments   PILGRIMS-DOJ-0001706047   PILGRIMS-DOJ-0001706100    39
Emails/Attachments   PILGRIMS-DOJ-0001706118   PILGRIMS-DOJ-0001706150    10
Emails/Attachments   PILGRIMS-DOJ-0001706152   PILGRIMS-DOJ-0001706186    14
Emails/Attachments   PILGRIMS-DOJ-0001706188   PILGRIMS-DOJ-0001706205    14
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 385 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001706207   PILGRIMS-DOJ-0001706212     3
Emails/Attachments   PILGRIMS-DOJ-0001706214   PILGRIMS-DOJ-0001706240    18
Emails/Attachments   PILGRIMS-DOJ-0001706248   PILGRIMS-DOJ-0001706474   118
Emails/Attachments   PILGRIMS-DOJ-0001706505   PILGRIMS-DOJ-0001706604    62
Emails/Attachments   PILGRIMS-DOJ-0001706606   PILGRIMS-DOJ-0001706685    55
Emails/Attachments   PILGRIMS-DOJ-0001706914   PILGRIMS-DOJ-0001706947    20
Emails/Attachments   PILGRIMS-DOJ-0001706951   PILGRIMS-DOJ-0001706994    31
Emails/Attachments   PILGRIMS-DOJ-0001706996   PILGRIMS-DOJ-0001707012     8
Emails/Attachments   PILGRIMS-DOJ-0001707014   PILGRIMS-DOJ-0001707313   166
Emails/Attachments   PILGRIMS-DOJ-0001707315   PILGRIMS-DOJ-0001707316     2
Emails/Attachments   PILGRIMS-DOJ-0001707355   PILGRIMS-DOJ-0001707362     4
Emails/Attachments   PILGRIMS-DOJ-0001707364   PILGRIMS-DOJ-0001707461    42
Emails/Attachments   PILGRIMS-DOJ-0001707482   PILGRIMS-DOJ-0001707696    73
Emails/Attachments   PILGRIMS-DOJ-0001707797   PILGRIMS-DOJ-0001707837    20
Emails/Attachments   PILGRIMS-DOJ-0001707879   PILGRIMS-DOJ-0001707900    12
Emails/Attachments   PILGRIMS-DOJ-0001707902   PILGRIMS-DOJ-0001707918     6
Emails/Attachments   PILGRIMS-DOJ-0001708014   PILGRIMS-DOJ-0001708114    50
Emails/Attachments   PILGRIMS-DOJ-0001708227   PILGRIMS-DOJ-0001708236     5
Emails/Attachments   PILGRIMS-DOJ-0001708311   PILGRIMS-DOJ-0001708455    75
Emails/Attachments   PILGRIMS-DOJ-0001708457   PILGRIMS-DOJ-0001708527    33
Emails/Attachments   PILGRIMS-DOJ-0001708529   PILGRIMS-DOJ-0001708530     2
Emails/Attachments   PILGRIMS-DOJ-0001708532   PILGRIMS-DOJ-0001708545     8
Emails/Attachments   PILGRIMS-DOJ-0001708547   PILGRIMS-DOJ-0001708567    17
Emails/Attachments   PILGRIMS-DOJ-0001708570   PILGRIMS-DOJ-0001708583     8
Emails/Attachments   PILGRIMS-DOJ-0001708585   PILGRIMS-DOJ-0001708592     7
Emails/Attachments   PILGRIMS-DOJ-0001708594   PILGRIMS-DOJ-0001708677    55
Emails/Attachments   PILGRIMS-DOJ-0001708679   PILGRIMS-DOJ-0001708681     3
Emails/Attachments   PILGRIMS-DOJ-0001708683   PILGRIMS-DOJ-0001708693     5
Emails/Attachments   PILGRIMS-DOJ-0001708695   PILGRIMS-DOJ-0001708752    42
Emails/Attachments   PILGRIMS-DOJ-0001708755   PILGRIMS-DOJ-0001708772    11
Emails/Attachments   PILGRIMS-DOJ-0001708774   PILGRIMS-DOJ-0001708777     2
Emails/Attachments   PILGRIMS-DOJ-0001708779   PILGRIMS-DOJ-0001708790     6
Emails/Attachments   PILGRIMS-DOJ-0001708792   PILGRIMS-DOJ-0001708861    35
Emails/Attachments   PILGRIMS-DOJ-0001708913   PILGRIMS-DOJ-0001708956    18
Emails/Attachments   PILGRIMS-DOJ-0001708989   PILGRIMS-DOJ-0001708998     8
Emails/Attachments   PILGRIMS-DOJ-0001709000   PILGRIMS-DOJ-0001709119    67
Emails/Attachments   PILGRIMS-DOJ-0001709121   PILGRIMS-DOJ-0001709157    16
Emails/Attachments   PILGRIMS-DOJ-0001709159   PILGRIMS-DOJ-0001709377    79
Emails/Attachments   PILGRIMS-DOJ-0001709380   PILGRIMS-DOJ-0001709455    47
Emails/Attachments   PILGRIMS-DOJ-0001709457   PILGRIMS-DOJ-0001709577    57
Emails/Attachments   PILGRIMS-DOJ-0001709579   PILGRIMS-DOJ-0001709896   155
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 386 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001709898   PILGRIMS-DOJ-0001709912      5
Emails/Attachments   PILGRIMS-DOJ-0001709914   PILGRIMS-DOJ-0001710110     72
Emails/Attachments   PILGRIMS-DOJ-0001710112   PILGRIMS-DOJ-0001710559    206
Emails/Attachments   PILGRIMS-DOJ-0001710561   PILGRIMS-DOJ-0001710830     85
Emails/Attachments   PILGRIMS-DOJ-0001710833   PILGRIMS-DOJ-0001710911     29
Emails/Attachments   PILGRIMS-DOJ-0001710914   PILGRIMS-DOJ-0001711317    155
Emails/Attachments   PILGRIMS-DOJ-0001711320   PILGRIMS-DOJ-0001711677    193
Emails/Attachments   PILGRIMS-DOJ-0001711680   PILGRIMS-DOJ-0001711761     53
Emails/Attachments   PILGRIMS-DOJ-0001711763   PILGRIMS-DOJ-0001711784     10
Emails/Attachments   PILGRIMS-DOJ-0001711810   PILGRIMS-DOJ-0001711921     58
Emails/Attachments   PILGRIMS-DOJ-0001711923   PILGRIMS-DOJ-0001711971     22
Emails/Attachments   PILGRIMS-DOJ-0001711973   PILGRIMS-DOJ-0001712048     35
Emails/Attachments   PILGRIMS-DOJ-0001712050   PILGRIMS-DOJ-0001715888   1,817
Emails/Attachments   PILGRIMS-DOJ-0001715930   PILGRIMS-DOJ-0001716037     31
Emails/Attachments   PILGRIMS-DOJ-0001716043   PILGRIMS-DOJ-0001716886    324
Emails/Attachments   PILGRIMS-DOJ-0001716888   PILGRIMS-DOJ-0001718330    496
Emails/Attachments   PILGRIMS-DOJ-0001718334   PILGRIMS-DOJ-0001718500     88
Emails/Attachments   PILGRIMS-DOJ-0001718505   PILGRIMS-DOJ-0001718506      1
Emails/Attachments   PILGRIMS-DOJ-0001718513   PILGRIMS-DOJ-0001718524      5
Emails/Attachments   PILGRIMS-DOJ-0001718527   PILGRIMS-DOJ-0001718528      1
Emails/Attachments   PILGRIMS-DOJ-0001718531   PILGRIMS-DOJ-0001718533      1
Emails/Attachments   PILGRIMS-DOJ-0001718540   PILGRIMS-DOJ-0001729063   2,803
Emails/Attachments   PILGRIMS-DOJ-0001729070   PILGRIMS-DOJ-0001731455    871
Emails/Attachments   PILGRIMS-DOJ-0001731502   PILGRIMS-DOJ-0001733269    730
Emails/Attachments   PILGRIMS-DOJ-0001733276   PILGRIMS-DOJ-0001736224   1,497
Emails/Attachments   PILGRIMS-DOJ-0001736238   PILGRIMS-DOJ-0001736345     36
Emails/Attachments   PILGRIMS-DOJ-0001736390   PILGRIMS-DOJ-0001738657   1,648
Emails/Attachments   PILGRIMS-DOJ-0001738660   PILGRIMS-DOJ-0001739512    525
Emails/Attachments   PILGRIMS-DOJ-0001739522   PILGRIMS-DOJ-0001739745    142
Emails/Attachments   PILGRIMS-DOJ-0001739748   PILGRIMS-DOJ-0001740534    419
Emails/Attachments   PILGRIMS-DOJ-0001740536   PILGRIMS-DOJ-0001740911    222
Emails/Attachments   PILGRIMS-DOJ-0001740913   PILGRIMS-DOJ-0001741874    512
Emails/Attachments   PILGRIMS-DOJ-0001741877   PILGRIMS-DOJ-0001741904     18
Emails/Attachments   PILGRIMS-DOJ-0001741907   PILGRIMS-DOJ-0001742020     62
Emails/Attachments   PILGRIMS-DOJ-0001742023   PILGRIMS-DOJ-0001742845    475
Emails/Attachments   PILGRIMS-DOJ-0001742848   PILGRIMS-DOJ-0001742963     50
Emails/Attachments   PILGRIMS-DOJ-0001742966   PILGRIMS-DOJ-0001743560    295
Emails/Attachments   PILGRIMS-DOJ-0001743564   PILGRIMS-DOJ-0001743603     22
Emails/Attachments   PILGRIMS-DOJ-0001743606   PILGRIMS-DOJ-0001744099    238
Emails/Attachments   PILGRIMS-DOJ-0001744104   PILGRIMS-DOJ-0001744118      7
Emails/Attachments   PILGRIMS-DOJ-0001744121   PILGRIMS-DOJ-0001744136     12
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 387 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001744139   PILGRIMS-DOJ-0001744335   102
Emails/Attachments   PILGRIMS-DOJ-0001744337   PILGRIMS-DOJ-0001744392    28
Emails/Attachments   PILGRIMS-DOJ-0001744394   PILGRIMS-DOJ-0001744410    14
Emails/Attachments   PILGRIMS-DOJ-0001744412   PILGRIMS-DOJ-0001744550    77
Emails/Attachments   PILGRIMS-DOJ-0001744556   PILGRIMS-DOJ-0001744630    44
Emails/Attachments   PILGRIMS-DOJ-0001744632   PILGRIMS-DOJ-0001744667    19
Emails/Attachments   PILGRIMS-DOJ-0001744671   PILGRIMS-DOJ-0001744685     9
Emails/Attachments   PILGRIMS-DOJ-0001744687   PILGRIMS-DOJ-0001744696     2
Emails/Attachments   PILGRIMS-DOJ-0001744702   PILGRIMS-DOJ-0001744735    10
Emails/Attachments   PILGRIMS-DOJ-0001744742   PILGRIMS-DOJ-0001745304   164
Emails/Attachments   PILGRIMS-DOJ-0001745311   PILGRIMS-DOJ-0001745661   198
Emails/Attachments   PILGRIMS-DOJ-0001745663   PILGRIMS-DOJ-0001745683    12
Emails/Attachments   PILGRIMS-DOJ-0001745686   PILGRIMS-DOJ-0001745693     5
Emails/Attachments   PILGRIMS-DOJ-0001745695   PILGRIMS-DOJ-0001745709    12
Emails/Attachments   PILGRIMS-DOJ-0001745711   PILGRIMS-DOJ-0001745753    21
Emails/Attachments   PILGRIMS-DOJ-0001745755   PILGRIMS-DOJ-0001746221   138
Emails/Attachments   PILGRIMS-DOJ-0001746223   PILGRIMS-DOJ-0001746620   108
Emails/Attachments   PILGRIMS-DOJ-0001746622   PILGRIMS-DOJ-0001746648    11
Emails/Attachments   PILGRIMS-DOJ-0001746651   PILGRIMS-DOJ-0001746754    42
Emails/Attachments   PILGRIMS-DOJ-0001746757   PILGRIMS-DOJ-0001746783    11
Emails/Attachments   PILGRIMS-DOJ-0001746785   PILGRIMS-DOJ-0001746895    43
Emails/Attachments   PILGRIMS-DOJ-0001746897   PILGRIMS-DOJ-0001746936    22
Emails/Attachments   PILGRIMS-DOJ-0001746940   PILGRIMS-DOJ-0001747056    45
Emails/Attachments   PILGRIMS-DOJ-0001747058   PILGRIMS-DOJ-0001747059     2
Emails/Attachments   PILGRIMS-DOJ-0001747061   PILGRIMS-DOJ-0001747250    83
Emails/Attachments   PILGRIMS-DOJ-0001747252   PILGRIMS-DOJ-0001747253     2
Emails/Attachments   PILGRIMS-DOJ-0001747265   PILGRIMS-DOJ-0001747313    17
Emails/Attachments   PILGRIMS-DOJ-0001747327   PILGRIMS-DOJ-0001747559    95
Emails/Attachments   PILGRIMS-DOJ-0001747565   PILGRIMS-DOJ-0001747577     4
Emails/Attachments   PILGRIMS-DOJ-0001747579   PILGRIMS-DOJ-0001747591     6
Emails/Attachments   PILGRIMS-DOJ-0001747593   PILGRIMS-DOJ-0001747607    10
Emails/Attachments   PILGRIMS-DOJ-0001747609   PILGRIMS-DOJ-0001747610     2
Emails/Attachments   PILGRIMS-DOJ-0001747613   PILGRIMS-DOJ-0001747618     4
Emails/Attachments   PILGRIMS-DOJ-0001747620   PILGRIMS-DOJ-0001747691    23
Emails/Attachments   PILGRIMS-DOJ-0001747693   PILGRIMS-DOJ-0001747745    28
Emails/Attachments   PILGRIMS-DOJ-0001747752   PILGRIMS-DOJ-0001747765     4
Emails/Attachments   PILGRIMS-DOJ-0001747767   PILGRIMS-DOJ-0001747792     8
Emails/Attachments   PILGRIMS-DOJ-0001747799   PILGRIMS-DOJ-0001747817     5
Emails/Attachments   PILGRIMS-DOJ-0001747820   PILGRIMS-DOJ-0001747837     6
Emails/Attachments   PILGRIMS-DOJ-0001747839   PILGRIMS-DOJ-0001747927    35
Emails/Attachments   PILGRIMS-DOJ-0001747929   PILGRIMS-DOJ-0001747940     7
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 388 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001747942   PILGRIMS-DOJ-0001747995   24
Emails/Attachments   PILGRIMS-DOJ-0001748004   PILGRIMS-DOJ-0001748043   11
Emails/Attachments   PILGRIMS-DOJ-0001748049   PILGRIMS-DOJ-0001748088   23
Emails/Attachments   PILGRIMS-DOJ-0001748090   PILGRIMS-DOJ-0001748110   14
Emails/Attachments   PILGRIMS-DOJ-0001748112   PILGRIMS-DOJ-0001748148   16
Emails/Attachments   PILGRIMS-DOJ-0001748152   PILGRIMS-DOJ-0001748155    2
Emails/Attachments   PILGRIMS-DOJ-0001748157   PILGRIMS-DOJ-0001748166    7
Emails/Attachments   PILGRIMS-DOJ-0001748168   PILGRIMS-DOJ-0001748177    5
Emails/Attachments   PILGRIMS-DOJ-0001748179   PILGRIMS-DOJ-0001748206   16
Emails/Attachments   PILGRIMS-DOJ-0001748228   PILGRIMS-DOJ-0001748232    1
Emails/Attachments   PILGRIMS-DOJ-0001748234   PILGRIMS-DOJ-0001748239    4
Emails/Attachments   PILGRIMS-DOJ-0001748245   PILGRIMS-DOJ-0001748246    1
Emails/Attachments   PILGRIMS-DOJ-0001748253   PILGRIMS-DOJ-0001748263    6
Emails/Attachments   PILGRIMS-DOJ-0001748265   PILGRIMS-DOJ-0001748269    2
Emails/Attachments   PILGRIMS-DOJ-0001748273   PILGRIMS-DOJ-0001748273    1
Emails/Attachments   PILGRIMS-DOJ-0001748279   PILGRIMS-DOJ-0001748281    3
Emails/Attachments   PILGRIMS-DOJ-0001748290   PILGRIMS-DOJ-0001748291    2
Emails/Attachments   PILGRIMS-DOJ-0001748294   PILGRIMS-DOJ-0001748309    8
Emails/Attachments   PILGRIMS-DOJ-0001748311   PILGRIMS-DOJ-0001748354   26
Emails/Attachments   PILGRIMS-DOJ-0001748356   PILGRIMS-DOJ-0001748463   67
Emails/Attachments   PILGRIMS-DOJ-0001748465   PILGRIMS-DOJ-0001748472    4
Emails/Attachments   PILGRIMS-DOJ-0001748474   PILGRIMS-DOJ-0001748478    3
Emails/Attachments   PILGRIMS-DOJ-0001748482   PILGRIMS-DOJ-0001748501   13
Emails/Attachments   PILGRIMS-DOJ-0001748503   PILGRIMS-DOJ-0001748540   13
Emails/Attachments   PILGRIMS-DOJ-0001748549   PILGRIMS-DOJ-0001748555    5
Emails/Attachments   PILGRIMS-DOJ-0001748567   PILGRIMS-DOJ-0001748568    1
Emails/Attachments   PILGRIMS-DOJ-0001748571   PILGRIMS-DOJ-0001748575    4
Emails/Attachments   PILGRIMS-DOJ-0001748577   PILGRIMS-DOJ-0001748589    2
Emails/Attachments   PILGRIMS-DOJ-0001748617   PILGRIMS-DOJ-0001748618    1
Emails/Attachments   PILGRIMS-DOJ-0001748621   PILGRIMS-DOJ-0001748635   12
Emails/Attachments   PILGRIMS-DOJ-0001748637   PILGRIMS-DOJ-0001748641    3
Emails/Attachments   PILGRIMS-DOJ-0001748644   PILGRIMS-DOJ-0001748649    2
Emails/Attachments   PILGRIMS-DOJ-0001748651   PILGRIMS-DOJ-0001748747   48
Emails/Attachments   PILGRIMS-DOJ-0001748749   PILGRIMS-DOJ-0001749075   12
Emails/Attachments   PILGRIMS-DOJ-0001749101   PILGRIMS-DOJ-0001749112    9
Emails/Attachments   PILGRIMS-DOJ-0001749115   PILGRIMS-DOJ-0001749137   12
Emails/Attachments   PILGRIMS-DOJ-0001749140   PILGRIMS-DOJ-0001749261   32
Emails/Attachments   PILGRIMS-DOJ-0001749264   PILGRIMS-DOJ-0001749276    8
Emails/Attachments   PILGRIMS-DOJ-0001749278   PILGRIMS-DOJ-0001749326   38
Emails/Attachments   PILGRIMS-DOJ-0001749328   PILGRIMS-DOJ-0001749355   16
Emails/Attachments   PILGRIMS-DOJ-0001749360   PILGRIMS-DOJ-0001749385   16
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 389 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001749387   PILGRIMS-DOJ-0001749404    15
Emails/Attachments   PILGRIMS-DOJ-0001749407   PILGRIMS-DOJ-0001749452    28
Emails/Attachments   PILGRIMS-DOJ-0001749455   PILGRIMS-DOJ-0001749456     1
Emails/Attachments   PILGRIMS-DOJ-0001749459   PILGRIMS-DOJ-0001749459     1
Emails/Attachments   PILGRIMS-DOJ-0001749461   PILGRIMS-DOJ-0001749465     3
Emails/Attachments   PILGRIMS-DOJ-0001749475   PILGRIMS-DOJ-0001749488    11
Emails/Attachments   PILGRIMS-DOJ-0001749490   PILGRIMS-DOJ-0001749509    12
Emails/Attachments   PILGRIMS-DOJ-0001749511   PILGRIMS-DOJ-0001749512     2
Emails/Attachments   PILGRIMS-DOJ-0001749514   PILGRIMS-DOJ-0001749517     3
Emails/Attachments   PILGRIMS-DOJ-0001749536   PILGRIMS-DOJ-0001749734   114
Emails/Attachments   PILGRIMS-DOJ-0001749736   PILGRIMS-DOJ-0001749796    15
Emails/Attachments   PILGRIMS-DOJ-0001749799   PILGRIMS-DOJ-0001749810     8
Emails/Attachments   PILGRIMS-DOJ-0001749813   PILGRIMS-DOJ-0001750364   148
Emails/Attachments   PILGRIMS-DOJ-0001750366   PILGRIMS-DOJ-0001750473    47
Emails/Attachments   PILGRIMS-DOJ-0001750477   PILGRIMS-DOJ-0001750485     6
Emails/Attachments   PILGRIMS-DOJ-0001750488   PILGRIMS-DOJ-0001750595    66
Emails/Attachments   PILGRIMS-DOJ-0001750597   PILGRIMS-DOJ-0001750618    17
Emails/Attachments   PILGRIMS-DOJ-0001750647   PILGRIMS-DOJ-0001750807   110
Emails/Attachments   PILGRIMS-DOJ-0001750810   PILGRIMS-DOJ-0001751142   194
Emails/Attachments   PILGRIMS-DOJ-0001751144   PILGRIMS-DOJ-0001751535   212
Emails/Attachments   PILGRIMS-DOJ-0001751537   PILGRIMS-DOJ-0001751563    18
Emails/Attachments   PILGRIMS-DOJ-0001751565   PILGRIMS-DOJ-0001751604    24
Emails/Attachments   PILGRIMS-DOJ-0001751606   PILGRIMS-DOJ-0001751625    13
Emails/Attachments   PILGRIMS-DOJ-0001751630   PILGRIMS-DOJ-0001751673    26
Emails/Attachments   PILGRIMS-DOJ-0001751676   PILGRIMS-DOJ-0001751798    56
Emails/Attachments   PILGRIMS-DOJ-0001751801   PILGRIMS-DOJ-0001751944    59
Emails/Attachments   PILGRIMS-DOJ-0001751946   PILGRIMS-DOJ-0001751957    11
Emails/Attachments   PILGRIMS-DOJ-0001751959   PILGRIMS-DOJ-0001751963     2
Emails/Attachments   PILGRIMS-DOJ-0001751965   PILGRIMS-DOJ-0001752024    38
Emails/Attachments   PILGRIMS-DOJ-0001752026   PILGRIMS-DOJ-0001752130    23
Emails/Attachments   PILGRIMS-DOJ-0001752144   PILGRIMS-DOJ-0001752386   120
Emails/Attachments   PILGRIMS-DOJ-0001752388   PILGRIMS-DOJ-0001752488    45
Emails/Attachments   PILGRIMS-DOJ-0001752491   PILGRIMS-DOJ-0001752815   134
Emails/Attachments   PILGRIMS-DOJ-0001752817   PILGRIMS-DOJ-0001753079   151
Emails/Attachments   PILGRIMS-DOJ-0001753081   PILGRIMS-DOJ-0001753146    26
Emails/Attachments   PILGRIMS-DOJ-0001753148   PILGRIMS-DOJ-0001753709   270
Emails/Attachments   PILGRIMS-DOJ-0001753711   PILGRIMS-DOJ-0001753737    20
Emails/Attachments   PILGRIMS-DOJ-0001753743   PILGRIMS-DOJ-0001753770    11
Emails/Attachments   PILGRIMS-DOJ-0001753787   PILGRIMS-DOJ-0001753927    84
Emails/Attachments   PILGRIMS-DOJ-0001753929   PILGRIMS-DOJ-0001755200   385
Emails/Attachments   PILGRIMS-DOJ-0001755214   PILGRIMS-DOJ-0001755246    17
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 390 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001755309   PILGRIMS-DOJ-0001755338    11
Emails/Attachments   PILGRIMS-DOJ-0001755350   PILGRIMS-DOJ-0001755370    15
Emails/Attachments   PILGRIMS-DOJ-0001755373   PILGRIMS-DOJ-0001755374     2
Emails/Attachments   PILGRIMS-DOJ-0001755499   PILGRIMS-DOJ-0001755512     9
Emails/Attachments   PILGRIMS-DOJ-0001755519   PILGRIMS-DOJ-0001755521     2
Emails/Attachments   PILGRIMS-DOJ-0001755534   PILGRIMS-DOJ-0001755601    47
Emails/Attachments   PILGRIMS-DOJ-0001755603   PILGRIMS-DOJ-0001755603     1
Emails/Attachments   PILGRIMS-DOJ-0001755613   PILGRIMS-DOJ-0001755628     5
Emails/Attachments   PILGRIMS-DOJ-0001755632   PILGRIMS-DOJ-0001755646    11
Emails/Attachments   PILGRIMS-DOJ-0001755652   PILGRIMS-DOJ-0001755761    68
Emails/Attachments   PILGRIMS-DOJ-0001755768   PILGRIMS-DOJ-0001755832    48
Emails/Attachments   PILGRIMS-DOJ-0001755835   PILGRIMS-DOJ-0001755871    17
Emails/Attachments   PILGRIMS-DOJ-0001755875   PILGRIMS-DOJ-0001755886     9
Emails/Attachments   PILGRIMS-DOJ-0001755888   PILGRIMS-DOJ-0001755894     4
Emails/Attachments   PILGRIMS-DOJ-0001755905   PILGRIMS-DOJ-0001755922    13
Emails/Attachments   PILGRIMS-DOJ-0001755924   PILGRIMS-DOJ-0001756298   152
Emails/Attachments   PILGRIMS-DOJ-0001756300   PILGRIMS-DOJ-0001756361    54
Emails/Attachments   PILGRIMS-DOJ-0001756395   PILGRIMS-DOJ-0001756436    24
Emails/Attachments   PILGRIMS-DOJ-0001756438   PILGRIMS-DOJ-0001756461    23
Emails/Attachments   PILGRIMS-DOJ-0001756463   PILGRIMS-DOJ-0001756594    82
Emails/Attachments   PILGRIMS-DOJ-0001756596   PILGRIMS-DOJ-0001756636    28
Emails/Attachments   PILGRIMS-DOJ-0001756638   PILGRIMS-DOJ-0001756677    24
Emails/Attachments   PILGRIMS-DOJ-0001756755   PILGRIMS-DOJ-0001756782    16
Emails/Attachments   PILGRIMS-DOJ-0001756821   PILGRIMS-DOJ-0001756929    60
Emails/Attachments   PILGRIMS-DOJ-0001756968   PILGRIMS-DOJ-0001756994    22
Emails/Attachments   PILGRIMS-DOJ-0001757033   PILGRIMS-DOJ-0001757055    18
Emails/Attachments   PILGRIMS-DOJ-0001757057   PILGRIMS-DOJ-0001757087    19
Emails/Attachments   PILGRIMS-DOJ-0001757089   PILGRIMS-DOJ-0001757098     9
Emails/Attachments   PILGRIMS-DOJ-0001757100   PILGRIMS-DOJ-0001757104     5
Emails/Attachments   PILGRIMS-DOJ-0001757143   PILGRIMS-DOJ-0001757331    91
Emails/Attachments   PILGRIMS-DOJ-0001757333   PILGRIMS-DOJ-0001757488   103
Emails/Attachments   PILGRIMS-DOJ-0001757491   PILGRIMS-DOJ-0001757515    18
Emails/Attachments   PILGRIMS-DOJ-0001757519   PILGRIMS-DOJ-0001757569    34
Emails/Attachments   PILGRIMS-DOJ-0001757571   PILGRIMS-DOJ-0001757597     3
Emails/Attachments   PILGRIMS-DOJ-0001757599   PILGRIMS-DOJ-0001757615    14
Emails/Attachments   PILGRIMS-DOJ-0001757618   PILGRIMS-DOJ-0001757619     2
Emails/Attachments   PILGRIMS-DOJ-0001757622   PILGRIMS-DOJ-0001757646    12
Emails/Attachments   PILGRIMS-DOJ-0001757651   PILGRIMS-DOJ-0001757653     2
Emails/Attachments   PILGRIMS-DOJ-0001757657   PILGRIMS-DOJ-0001757715    42
Emails/Attachments   PILGRIMS-DOJ-0001757717   PILGRIMS-DOJ-0001757773    38
Emails/Attachments   PILGRIMS-DOJ-0001757775   PILGRIMS-DOJ-0001758067   155
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 391 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001758070   PILGRIMS-DOJ-0001758302     96
Emails/Attachments   PILGRIMS-DOJ-0001758304   PILGRIMS-DOJ-0001758422     26
Emails/Attachments   PILGRIMS-DOJ-0001758424   PILGRIMS-DOJ-0001758496     54
Emails/Attachments   PILGRIMS-DOJ-0001758499   PILGRIMS-DOJ-0001758541     35
Emails/Attachments   PILGRIMS-DOJ-0001758545   PILGRIMS-DOJ-0001758584     31
Emails/Attachments   PILGRIMS-DOJ-0001758587   PILGRIMS-DOJ-0001758600     10
Emails/Attachments   PILGRIMS-DOJ-0001758602   PILGRIMS-DOJ-0001758615     12
Emails/Attachments   PILGRIMS-DOJ-0001758617   PILGRIMS-DOJ-0001758713     55
Emails/Attachments   PILGRIMS-DOJ-0001758715   PILGRIMS-DOJ-0001758887     91
Emails/Attachments   PILGRIMS-DOJ-0001758890   PILGRIMS-DOJ-0001758990     75
Emails/Attachments   PILGRIMS-DOJ-0001758992   PILGRIMS-DOJ-0001759042     36
Emails/Attachments   PILGRIMS-DOJ-0001759044   PILGRIMS-DOJ-0001759113     45
Emails/Attachments   PILGRIMS-DOJ-0001759121   PILGRIMS-DOJ-0001759159     26
Emails/Attachments   PILGRIMS-DOJ-0001759161   PILGRIMS-DOJ-0001759229     45
Emails/Attachments   PILGRIMS-DOJ-0001759233   PILGRIMS-DOJ-0001759270     19
Emails/Attachments   PILGRIMS-DOJ-0001759272   PILGRIMS-DOJ-0001759276      5
Emails/Attachments   PILGRIMS-DOJ-0001759278   PILGRIMS-DOJ-0001759282      4
Emails/Attachments   PILGRIMS-DOJ-0001759284   PILGRIMS-DOJ-0001759286      2
Emails/Attachments   PILGRIMS-DOJ-0001759313   PILGRIMS-DOJ-0001759352     17
Emails/Attachments   PILGRIMS-DOJ-0001759358   PILGRIMS-DOJ-0001759423     27
Emails/Attachments   PILGRIMS-DOJ-0001759452   PILGRIMS-DOJ-0001759766    218
Emails/Attachments   PILGRIMS-DOJ-0001759769   PILGRIMS-DOJ-0001759796      7
Emails/Attachments   PILGRIMS-DOJ-0001759798   PILGRIMS-DOJ-0001759807      8
Emails/Attachments   PILGRIMS-DOJ-0001759810   PILGRIMS-DOJ-0001760151    179
Emails/Attachments   PILGRIMS-DOJ-0001760156   PILGRIMS-DOJ-0001760353    125
Emails/Attachments   PILGRIMS-DOJ-0001760374   PILGRIMS-DOJ-0001760590     90
Emails/Attachments   PILGRIMS-DOJ-0001760593   PILGRIMS-DOJ-0001760634     26
Emails/Attachments   PILGRIMS-DOJ-0001760636   PILGRIMS-DOJ-0001760689     33
Emails/Attachments   PILGRIMS-DOJ-0001760691   PILGRIMS-DOJ-0001760926    106
Emails/Attachments   PILGRIMS-DOJ-0001760931   PILGRIMS-DOJ-0001760959     23
Emails/Attachments   PILGRIMS-DOJ-0001760964   PILGRIMS-DOJ-0001761166    133
Emails/Attachments   PILGRIMS-DOJ-0001761172   PILGRIMS-DOJ-0001761215     27
Emails/Attachments   PILGRIMS-DOJ-0001761217   PILGRIMS-DOJ-0001761472    145
Emails/Attachments   PILGRIMS-DOJ-0001761486   PILGRIMS-DOJ-0001761512     18
Emails/Attachments   PILGRIMS-DOJ-0001761516   PILGRIMS-DOJ-0001761564     27
Emails/Attachments   PILGRIMS-DOJ-0001761566   PILGRIMS-DOJ-0001761703     90
Emails/Attachments   PILGRIMS-DOJ-0001761725   PILGRIMS-DOJ-0001775939   7,930
Emails/Attachments   PILGRIMS-DOJ-0001775941   PILGRIMS-DOJ-0001775996     38
Emails/Attachments   PILGRIMS-DOJ-0001775998   PILGRIMS-DOJ-0001776559    250
Emails/Attachments   PILGRIMS-DOJ-0001776564   PILGRIMS-DOJ-0001777101    331
Emails/Attachments   PILGRIMS-DOJ-0001777109   PILGRIMS-DOJ-0001777514     57
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 392 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001777517   PILGRIMS-DOJ-0001779928   1,106
Emails/Attachments   PILGRIMS-DOJ-0001779942   PILGRIMS-DOJ-0001780145     63
Emails/Attachments   PILGRIMS-DOJ-0001780148   PILGRIMS-DOJ-0001780152      2
Emails/Attachments   PILGRIMS-DOJ-0001780154   PILGRIMS-DOJ-0001780363    135
Emails/Attachments   PILGRIMS-DOJ-0001780373   PILGRIMS-DOJ-0001780390      9
Emails/Attachments   PILGRIMS-DOJ-0001780395   PILGRIMS-DOJ-0001780461     31
Emails/Attachments   PILGRIMS-DOJ-0001780491   PILGRIMS-DOJ-0001780692    105
Emails/Attachments   PILGRIMS-DOJ-0001780727   PILGRIMS-DOJ-0001780732      5
Emails/Attachments   PILGRIMS-DOJ-0001780734   PILGRIMS-DOJ-0001780960    134
Emails/Attachments   PILGRIMS-DOJ-0001781059   PILGRIMS-DOJ-0001781064      5
Emails/Attachments   PILGRIMS-DOJ-0001781067   PILGRIMS-DOJ-0001781325    186
Emails/Attachments   PILGRIMS-DOJ-0001781327   PILGRIMS-DOJ-0001781592    161
Emails/Attachments   PILGRIMS-DOJ-0001781597   PILGRIMS-DOJ-0001781902    185
Emails/Attachments   PILGRIMS-DOJ-0001781904   PILGRIMS-DOJ-0001781953     34
Emails/Attachments   PILGRIMS-DOJ-0001781955   PILGRIMS-DOJ-0001782091     90
Emails/Attachments   PILGRIMS-DOJ-0001782094   PILGRIMS-DOJ-0001782219    104
Emails/Attachments   PILGRIMS-DOJ-0001782227   PILGRIMS-DOJ-0001782588    255
Emails/Attachments   PILGRIMS-DOJ-0001782599   PILGRIMS-DOJ-0001782604      3
Emails/Attachments   PILGRIMS-DOJ-0001782695   PILGRIMS-DOJ-0001782881    106
Emails/Attachments   PILGRIMS-DOJ-0001782888   PILGRIMS-DOJ-0001782958     66
Emails/Attachments   PILGRIMS-DOJ-0001782967   PILGRIMS-DOJ-0001783014     13
Emails/Attachments   PILGRIMS-DOJ-0001783016   PILGRIMS-DOJ-0001783041     18
Emails/Attachments   PILGRIMS-DOJ-0001783043   PILGRIMS-DOJ-0001783782    320
Emails/Attachments   PILGRIMS-DOJ-0001783784   PILGRIMS-DOJ-0001784181    205
Emails/Attachments   PILGRIMS-DOJ-0001784183   PILGRIMS-DOJ-0001784287     52
Emails/Attachments   PILGRIMS-DOJ-0001784290   PILGRIMS-DOJ-0001784577    179
Emails/Attachments   PILGRIMS-DOJ-0001784579   PILGRIMS-DOJ-0001784734     97
Emails/Attachments   PILGRIMS-DOJ-0001784738   PILGRIMS-DOJ-0001784866     96
Emails/Attachments   PILGRIMS-DOJ-0001784873   PILGRIMS-DOJ-0001784875      1
Emails/Attachments   PILGRIMS-DOJ-0001785372   PILGRIMS-DOJ-0001785697    227
Emails/Attachments   PILGRIMS-DOJ-0001785699   PILGRIMS-DOJ-0001785834     80
Emails/Attachments   PILGRIMS-DOJ-0001785836   PILGRIMS-DOJ-0001786010    111
Emails/Attachments   PILGRIMS-DOJ-0001786013   PILGRIMS-DOJ-0001786369    228
Emails/Attachments   PILGRIMS-DOJ-0001786372   PILGRIMS-DOJ-0001786390     10
Emails/Attachments   PILGRIMS-DOJ-0001786395   PILGRIMS-DOJ-0001786398      3
Emails/Attachments   PILGRIMS-DOJ-0001786401   PILGRIMS-DOJ-0001786627    141
Emails/Attachments   PILGRIMS-DOJ-0001786629   PILGRIMS-DOJ-0001786723     54
Emails/Attachments   PILGRIMS-DOJ-0001786725   PILGRIMS-DOJ-0001786735      7
Emails/Attachments   PILGRIMS-DOJ-0001786742   PILGRIMS-DOJ-0001786810     51
Emails/Attachments   PILGRIMS-DOJ-0001786812   PILGRIMS-DOJ-0001786940    104
Emails/Attachments   PILGRIMS-DOJ-0001786964   PILGRIMS-DOJ-0001787070     79
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 393 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001787072   PILGRIMS-DOJ-0001787289   128
Emails/Attachments   PILGRIMS-DOJ-0001787291   PILGRIMS-DOJ-0001787550   183
Emails/Attachments   PILGRIMS-DOJ-0001787553   PILGRIMS-DOJ-0001787567     7
Emails/Attachments   PILGRIMS-DOJ-0001787569   PILGRIMS-DOJ-0001787948   205
Emails/Attachments   PILGRIMS-DOJ-0001787950   PILGRIMS-DOJ-0001788073    88
Emails/Attachments   PILGRIMS-DOJ-0001788075   PILGRIMS-DOJ-0001788578   348
Emails/Attachments   PILGRIMS-DOJ-0001788580   PILGRIMS-DOJ-0001788611    22
Emails/Attachments   PILGRIMS-DOJ-0001788613   PILGRIMS-DOJ-0001789264   403
Emails/Attachments   PILGRIMS-DOJ-0001789266   PILGRIMS-DOJ-0001789427    79
Emails/Attachments   PILGRIMS-DOJ-0001789429   PILGRIMS-DOJ-0001789529    65
Emails/Attachments   PILGRIMS-DOJ-0001789531   PILGRIMS-DOJ-0001789670    82
Emails/Attachments   PILGRIMS-DOJ-0001789672   PILGRIMS-DOJ-0001789673     2
Emails/Attachments   PILGRIMS-DOJ-0001789675   PILGRIMS-DOJ-0001789683     8
Emails/Attachments   PILGRIMS-DOJ-0001789685   PILGRIMS-DOJ-0001789764    36
Emails/Attachments   PILGRIMS-DOJ-0001789766   PILGRIMS-DOJ-0001789900    78
Emails/Attachments   PILGRIMS-DOJ-0001789905   PILGRIMS-DOJ-0001790107   125
Emails/Attachments   PILGRIMS-DOJ-0001790109   PILGRIMS-DOJ-0001790232    81
Emails/Attachments   PILGRIMS-DOJ-0001790234   PILGRIMS-DOJ-0001790410   100
Emails/Attachments   PILGRIMS-DOJ-0001790412   PILGRIMS-DOJ-0001790488    51
Emails/Attachments   PILGRIMS-DOJ-0001790490   PILGRIMS-DOJ-0001790803   170
Emails/Attachments   PILGRIMS-DOJ-0001790806   PILGRIMS-DOJ-0001790940    81
Emails/Attachments   PILGRIMS-DOJ-0001790942   PILGRIMS-DOJ-0001791226   172
Emails/Attachments   PILGRIMS-DOJ-0001791228   PILGRIMS-DOJ-0001791575   236
Emails/Attachments   PILGRIMS-DOJ-0001791578   PILGRIMS-DOJ-0001791651    45
Emails/Attachments   PILGRIMS-DOJ-0001791653   PILGRIMS-DOJ-0001791812   114
Emails/Attachments   PILGRIMS-DOJ-0001791814   PILGRIMS-DOJ-0001791817     3
Emails/Attachments   PILGRIMS-DOJ-0001791819   PILGRIMS-DOJ-0001791845    13
Emails/Attachments   PILGRIMS-DOJ-0001791847   PILGRIMS-DOJ-0001791885    27
Emails/Attachments   PILGRIMS-DOJ-0001791898   PILGRIMS-DOJ-0001792092   108
Emails/Attachments   PILGRIMS-DOJ-0001792094   PILGRIMS-DOJ-0001792415   174
Emails/Attachments   PILGRIMS-DOJ-0001792417   PILGRIMS-DOJ-0001792799   193
Emails/Attachments   PILGRIMS-DOJ-0001792801   PILGRIMS-DOJ-0001792812     7
Emails/Attachments   PILGRIMS-DOJ-0001792819   PILGRIMS-DOJ-0001792826     3
Emails/Attachments   PILGRIMS-DOJ-0001792829   PILGRIMS-DOJ-0001792895    33
Emails/Attachments   PILGRIMS-DOJ-0001792897   PILGRIMS-DOJ-0001793015    88
Emails/Attachments   PILGRIMS-DOJ-0001793017   PILGRIMS-DOJ-0001793065    19
Emails/Attachments   PILGRIMS-DOJ-0001793068   PILGRIMS-DOJ-0001793096    24
Emails/Attachments   PILGRIMS-DOJ-0001793113   PILGRIMS-DOJ-0001793136     6
Emails/Attachments   PILGRIMS-DOJ-0001793164   PILGRIMS-DOJ-0001793166     2
Emails/Attachments   PILGRIMS-DOJ-0001793169   PILGRIMS-DOJ-0001793180     8
Emails/Attachments   PILGRIMS-DOJ-0001793183   PILGRIMS-DOJ-0001793212    19
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 394 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001793214   PILGRIMS-DOJ-0001793225     3
Emails/Attachments   PILGRIMS-DOJ-0001793227   PILGRIMS-DOJ-0001793344    63
Emails/Attachments   PILGRIMS-DOJ-0001793348   PILGRIMS-DOJ-0001793354     4
Emails/Attachments   PILGRIMS-DOJ-0001793356   PILGRIMS-DOJ-0001793407    21
Emails/Attachments   PILGRIMS-DOJ-0001793409   PILGRIMS-DOJ-0001793510    61
Emails/Attachments   PILGRIMS-DOJ-0001793512   PILGRIMS-DOJ-0001793609    67
Emails/Attachments   PILGRIMS-DOJ-0001793611   PILGRIMS-DOJ-0001793835   156
Emails/Attachments   PILGRIMS-DOJ-0001793837   PILGRIMS-DOJ-0001794603   526
Emails/Attachments   PILGRIMS-DOJ-0001794609   PILGRIMS-DOJ-0001794621     3
Emails/Attachments   PILGRIMS-DOJ-0001794624   PILGRIMS-DOJ-0001794625     2
Emails/Attachments   PILGRIMS-DOJ-0001794627   PILGRIMS-DOJ-0001794664    31
Emails/Attachments   PILGRIMS-DOJ-0001794666   PILGRIMS-DOJ-0001794726    47
Emails/Attachments   PILGRIMS-DOJ-0001794728   PILGRIMS-DOJ-0001794752    16
Emails/Attachments   PILGRIMS-DOJ-0001794754   PILGRIMS-DOJ-0001794760     4
Emails/Attachments   PILGRIMS-DOJ-0001794763   PILGRIMS-DOJ-0001794766     4
Emails/Attachments   PILGRIMS-DOJ-0001794776   PILGRIMS-DOJ-0001794779     3
Emails/Attachments   PILGRIMS-DOJ-0001794781   PILGRIMS-DOJ-0001794859    64
Emails/Attachments   PILGRIMS-DOJ-0001794862   PILGRIMS-DOJ-0001795012   101
Emails/Attachments   PILGRIMS-DOJ-0001795015   PILGRIMS-DOJ-0001795226   134
Emails/Attachments   PILGRIMS-DOJ-0001795234   PILGRIMS-DOJ-0001795262    26
Emails/Attachments   PILGRIMS-DOJ-0001795264   PILGRIMS-DOJ-0001795502   170
Emails/Attachments   PILGRIMS-DOJ-0001795504   PILGRIMS-DOJ-0001795506     3
Emails/Attachments   PILGRIMS-DOJ-0001795508   PILGRIMS-DOJ-0001795548    20
Emails/Attachments   PILGRIMS-DOJ-0001795574   PILGRIMS-DOJ-0001795618    22
Emails/Attachments   PILGRIMS-DOJ-0001795620   PILGRIMS-DOJ-0001795842   132
Emails/Attachments   PILGRIMS-DOJ-0001795845   PILGRIMS-DOJ-0001796173   210
Emails/Attachments   PILGRIMS-DOJ-0001796187   PILGRIMS-DOJ-0001796377    85
Emails/Attachments   PILGRIMS-DOJ-0001796467   PILGRIMS-DOJ-0001796649    79
Emails/Attachments   PILGRIMS-DOJ-0001796651   PILGRIMS-DOJ-0001796691    16
Emails/Attachments   PILGRIMS-DOJ-0001796698   PILGRIMS-DOJ-0001796843    56
Emails/Attachments   PILGRIMS-DOJ-0001796847   PILGRIMS-DOJ-0001796882    25
Emails/Attachments   PILGRIMS-DOJ-0001796884   PILGRIMS-DOJ-0001796968    39
Emails/Attachments   PILGRIMS-DOJ-0001796970   PILGRIMS-DOJ-0001797064    57
Emails/Attachments   PILGRIMS-DOJ-0001797066   PILGRIMS-DOJ-0001797071     5
Emails/Attachments   PILGRIMS-DOJ-0001797073   PILGRIMS-DOJ-0001797114    35
Emails/Attachments   PILGRIMS-DOJ-0001797125   PILGRIMS-DOJ-0001797141    15
Emails/Attachments   PILGRIMS-DOJ-0001797147   PILGRIMS-DOJ-0001797148     2
Emails/Attachments   PILGRIMS-DOJ-0001797152   PILGRIMS-DOJ-0001797195    17
Emails/Attachments   PILGRIMS-DOJ-0001797232   PILGRIMS-DOJ-0001797361    74
Emails/Attachments   PILGRIMS-DOJ-0001797364   PILGRIMS-DOJ-0001797371     6
Emails/Attachments   PILGRIMS-DOJ-0001797373   PILGRIMS-DOJ-0001797499    44
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 395 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001797501   PILGRIMS-DOJ-0001797512     8
Emails/Attachments   PILGRIMS-DOJ-0001797541   PILGRIMS-DOJ-0001797583    14
Emails/Attachments   PILGRIMS-DOJ-0001797594   PILGRIMS-DOJ-0001797641    33
Emails/Attachments   PILGRIMS-DOJ-0001797658   PILGRIMS-DOJ-0001797676    16
Emails/Attachments   PILGRIMS-DOJ-0001797678   PILGRIMS-DOJ-0001797700    10
Emails/Attachments   PILGRIMS-DOJ-0001797702   PILGRIMS-DOJ-0001797738    10
Emails/Attachments   PILGRIMS-DOJ-0001797749   PILGRIMS-DOJ-0001797884    77
Emails/Attachments   PILGRIMS-DOJ-0001797886   PILGRIMS-DOJ-0001797888     1
Emails/Attachments   PILGRIMS-DOJ-0001797891   PILGRIMS-DOJ-0001797905     6
Emails/Attachments   PILGRIMS-DOJ-0001797907   PILGRIMS-DOJ-0001798044    44
Emails/Attachments   PILGRIMS-DOJ-0001798046   PILGRIMS-DOJ-0001798177    58
Emails/Attachments   PILGRIMS-DOJ-0001798179   PILGRIMS-DOJ-0001798181     3
Emails/Attachments   PILGRIMS-DOJ-0001798183   PILGRIMS-DOJ-0001798202    10
Emails/Attachments   PILGRIMS-DOJ-0001798204   PILGRIMS-DOJ-0001798554   117
Emails/Attachments   PILGRIMS-DOJ-0001798567   PILGRIMS-DOJ-0001798597    13
Emails/Attachments   PILGRIMS-DOJ-0001798600   PILGRIMS-DOJ-0001798623    16
Emails/Attachments   PILGRIMS-DOJ-0001798625   PILGRIMS-DOJ-0001798654    19
Emails/Attachments   PILGRIMS-DOJ-0001798656   PILGRIMS-DOJ-0001798692    13
Emails/Attachments   PILGRIMS-DOJ-0001798699   PILGRIMS-DOJ-0001798777    51
Emails/Attachments   PILGRIMS-DOJ-0001798780   PILGRIMS-DOJ-0001798921    57
Emails/Attachments   PILGRIMS-DOJ-0001798960   PILGRIMS-DOJ-0001798963     3
Emails/Attachments   PILGRIMS-DOJ-0001798965   PILGRIMS-DOJ-0001799277   125
Emails/Attachments   PILGRIMS-DOJ-0001799280   PILGRIMS-DOJ-0001799286     6
Emails/Attachments   PILGRIMS-DOJ-0001799288   PILGRIMS-DOJ-0001799363    30
Emails/Attachments   PILGRIMS-DOJ-0001799378   PILGRIMS-DOJ-0001799390     2
Emails/Attachments   PILGRIMS-DOJ-0001799393   PILGRIMS-DOJ-0001799406     7
Emails/Attachments   PILGRIMS-DOJ-0001799408   PILGRIMS-DOJ-0001799417     5
Emails/Attachments   PILGRIMS-DOJ-0001799419   PILGRIMS-DOJ-0001799608    83
Emails/Attachments   PILGRIMS-DOJ-0001799610   PILGRIMS-DOJ-0001799613     1
Emails/Attachments   PILGRIMS-DOJ-0001799616   PILGRIMS-DOJ-0001799617     1
Emails/Attachments   PILGRIMS-DOJ-0001799620   PILGRIMS-DOJ-0001799967   181
Emails/Attachments   PILGRIMS-DOJ-0001799969   PILGRIMS-DOJ-0001799996    23
Emails/Attachments   PILGRIMS-DOJ-0001800016   PILGRIMS-DOJ-0001800091    12
Emails/Attachments   PILGRIMS-DOJ-0001800096   PILGRIMS-DOJ-0001800148    27
Emails/Attachments   PILGRIMS-DOJ-0001800150   PILGRIMS-DOJ-0001800245    46
Emails/Attachments   PILGRIMS-DOJ-0001800247   PILGRIMS-DOJ-0001800333    38
Emails/Attachments   PILGRIMS-DOJ-0001800335   PILGRIMS-DOJ-0001800367    20
Emails/Attachments   PILGRIMS-DOJ-0001800369   PILGRIMS-DOJ-0001800456    47
Emails/Attachments   PILGRIMS-DOJ-0001800459   PILGRIMS-DOJ-0001800578    61
Emails/Attachments   PILGRIMS-DOJ-0001800580   PILGRIMS-DOJ-0001800635    34
Emails/Attachments   PILGRIMS-DOJ-0001800638   PILGRIMS-DOJ-0001800777    70
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 396 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001800791   PILGRIMS-DOJ-0001800841   30
Emails/Attachments   PILGRIMS-DOJ-0001800852   PILGRIMS-DOJ-0001801014   78
Emails/Attachments   PILGRIMS-DOJ-0001801016   PILGRIMS-DOJ-0001801043   21
Emails/Attachments   PILGRIMS-DOJ-0001801045   PILGRIMS-DOJ-0001801085   24
Emails/Attachments   PILGRIMS-DOJ-0001801088   PILGRIMS-DOJ-0001801112   19
Emails/Attachments   PILGRIMS-DOJ-0001801126   PILGRIMS-DOJ-0001801129    3
Emails/Attachments   PILGRIMS-DOJ-0001801131   PILGRIMS-DOJ-0001801163   21
Emails/Attachments   PILGRIMS-DOJ-0001801165   PILGRIMS-DOJ-0001801277   34
Emails/Attachments   PILGRIMS-DOJ-0001801438   PILGRIMS-DOJ-0001801575   62
Emails/Attachments   PILGRIMS-DOJ-0001801577   PILGRIMS-DOJ-0001801604   10
Emails/Attachments   PILGRIMS-DOJ-0001801607   PILGRIMS-DOJ-0001801686   47
Emails/Attachments   PILGRIMS-DOJ-0001801693   PILGRIMS-DOJ-0001801718   19
Emails/Attachments   PILGRIMS-DOJ-0001801720   PILGRIMS-DOJ-0001801738   17
Emails/Attachments   PILGRIMS-DOJ-0001801741   PILGRIMS-DOJ-0001801768   25
Emails/Attachments   PILGRIMS-DOJ-0001801770   PILGRIMS-DOJ-0001801816   26
Emails/Attachments   PILGRIMS-DOJ-0001801818   PILGRIMS-DOJ-0001801825    4
Emails/Attachments   PILGRIMS-DOJ-0001801863   PILGRIMS-DOJ-0001801938   50
Emails/Attachments   PILGRIMS-DOJ-0001801941   PILGRIMS-DOJ-0001801945    5
Emails/Attachments   PILGRIMS-DOJ-0001801947   PILGRIMS-DOJ-0001802041   64
Emails/Attachments   PILGRIMS-DOJ-0001802043   PILGRIMS-DOJ-0001803516   57
Emails/Attachments   PILGRIMS-DOJ-0001803518   PILGRIMS-DOJ-0001803552    4
Emails/Attachments   PILGRIMS-DOJ-0001803554   PILGRIMS-DOJ-0001803558    1
Emails/Attachments   PILGRIMS-DOJ-0001803582   PILGRIMS-DOJ-0001803602   10
Emails/Attachments   PILGRIMS-DOJ-0001803604   PILGRIMS-DOJ-0001803605    2
Emails/Attachments   PILGRIMS-DOJ-0001803607   PILGRIMS-DOJ-0001803749   33
Emails/Attachments   PILGRIMS-DOJ-0001803751   PILGRIMS-DOJ-0001803891   95
Emails/Attachments   PILGRIMS-DOJ-0001803906   PILGRIMS-DOJ-0001803907    2
Emails/Attachments   PILGRIMS-DOJ-0001803922   PILGRIMS-DOJ-0001804022   16
Emails/Attachments   PILGRIMS-DOJ-0001804024   PILGRIMS-DOJ-0001804172   40
Emails/Attachments   PILGRIMS-DOJ-0001804174   PILGRIMS-DOJ-0001804286   54
Emails/Attachments   PILGRIMS-DOJ-0001804302   PILGRIMS-DOJ-0001804312    9
Emails/Attachments   PILGRIMS-DOJ-0001804314   PILGRIMS-DOJ-0001804417   17
Emails/Attachments   PILGRIMS-DOJ-0001804468   PILGRIMS-DOJ-0001804471    3
Emails/Attachments   PILGRIMS-DOJ-0001804473   PILGRIMS-DOJ-0001804531   40
Emails/Attachments   PILGRIMS-DOJ-0001804534   PILGRIMS-DOJ-0001804603   37
Emails/Attachments   PILGRIMS-DOJ-0001804605   PILGRIMS-DOJ-0001804613    8
Emails/Attachments   PILGRIMS-DOJ-0001804616   PILGRIMS-DOJ-0001804696   23
Emails/Attachments   PILGRIMS-DOJ-0001804734   PILGRIMS-DOJ-0001804850   82
Emails/Attachments   PILGRIMS-DOJ-0001804854   PILGRIMS-DOJ-0001804863   10
Emails/Attachments   PILGRIMS-DOJ-0001804866   PILGRIMS-DOJ-0001804869    3
Emails/Attachments   PILGRIMS-DOJ-0001804871   PILGRIMS-DOJ-0001805020   32
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 397 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001805022   PILGRIMS-DOJ-0001805024     2
Emails/Attachments   PILGRIMS-DOJ-0001805027   PILGRIMS-DOJ-0001805040    13
Emails/Attachments   PILGRIMS-DOJ-0001805042   PILGRIMS-DOJ-0001805104    28
Emails/Attachments   PILGRIMS-DOJ-0001805106   PILGRIMS-DOJ-0001805107     2
Emails/Attachments   PILGRIMS-DOJ-0001805109   PILGRIMS-DOJ-0001805286    24
Emails/Attachments   PILGRIMS-DOJ-0001805288   PILGRIMS-DOJ-0001805291     2
Emails/Attachments   PILGRIMS-DOJ-0001805293   PILGRIMS-DOJ-0001805453    85
Emails/Attachments   PILGRIMS-DOJ-0001805462   PILGRIMS-DOJ-0001805488     9
Emails/Attachments   PILGRIMS-DOJ-0001805497   PILGRIMS-DOJ-0001805521    20
Emails/Attachments   PILGRIMS-DOJ-0001805523   PILGRIMS-DOJ-0001805593    28
Emails/Attachments   PILGRIMS-DOJ-0001805595   PILGRIMS-DOJ-0001805665    44
Emails/Attachments   PILGRIMS-DOJ-0001805668   PILGRIMS-DOJ-0001805680    10
Emails/Attachments   PILGRIMS-DOJ-0001805683   PILGRIMS-DOJ-0001805898   114
Emails/Attachments   PILGRIMS-DOJ-0001805901   PILGRIMS-DOJ-0001806765   432
Emails/Attachments   PILGRIMS-DOJ-0001806767   PILGRIMS-DOJ-0001807976   410
Emails/Attachments   PILGRIMS-DOJ-0001807978   PILGRIMS-DOJ-0001808003     7
Emails/Attachments   PILGRIMS-DOJ-0001808015   PILGRIMS-DOJ-0001808326   126
Emails/Attachments   PILGRIMS-DOJ-0001808331   PILGRIMS-DOJ-0001808337     2
Emails/Attachments   PILGRIMS-DOJ-0001808348   PILGRIMS-DOJ-0001808800    73
Emails/Attachments   PILGRIMS-DOJ-0001808847   PILGRIMS-DOJ-0001808880    16
Emails/Attachments   PILGRIMS-DOJ-0001808882   PILGRIMS-DOJ-0001808886     3
Emails/Attachments   PILGRIMS-DOJ-0001808891   PILGRIMS-DOJ-0001808893     1
Emails/Attachments   PILGRIMS-DOJ-0001808945   PILGRIMS-DOJ-0001808954     4
Emails/Attachments   PILGRIMS-DOJ-0001809005   PILGRIMS-DOJ-0001809026    10
Emails/Attachments   PILGRIMS-DOJ-0001809028   PILGRIMS-DOJ-0001809079    30
Emails/Attachments   PILGRIMS-DOJ-0001809129   PILGRIMS-DOJ-0001809199    45
Emails/Attachments   PILGRIMS-DOJ-0001809201   PILGRIMS-DOJ-0001809375   110
Emails/Attachments   PILGRIMS-DOJ-0001809434   PILGRIMS-DOJ-0001809443     5
Emails/Attachments   PILGRIMS-DOJ-0001809446   PILGRIMS-DOJ-0001809464    10
Emails/Attachments   PILGRIMS-DOJ-0001809466   PILGRIMS-DOJ-0001809466     1
Emails/Attachments   PILGRIMS-DOJ-0001809597   PILGRIMS-DOJ-0001809669    56
Emails/Attachments   PILGRIMS-DOJ-0001809671   PILGRIMS-DOJ-0001809681     8
Emails/Attachments   PILGRIMS-DOJ-0001809683   PILGRIMS-DOJ-0001810090   236
Emails/Attachments   PILGRIMS-DOJ-0001810150   PILGRIMS-DOJ-0001810181    23
Emails/Attachments   PILGRIMS-DOJ-0001810216   PILGRIMS-DOJ-0001810318    55
Emails/Attachments   PILGRIMS-DOJ-0001810336   PILGRIMS-DOJ-0001810349     7
Emails/Attachments   PILGRIMS-DOJ-0001810351   PILGRIMS-DOJ-0001810379    11
Emails/Attachments   PILGRIMS-DOJ-0001810382   PILGRIMS-DOJ-0001810401    10
Emails/Attachments   PILGRIMS-DOJ-0001810404   PILGRIMS-DOJ-0001810438     8
Emails/Attachments   PILGRIMS-DOJ-0001810489   PILGRIMS-DOJ-0001810503     8
Emails/Attachments   PILGRIMS-DOJ-0001810505   PILGRIMS-DOJ-0001810713    62
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 398 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001810715   PILGRIMS-DOJ-0001811090   212
Emails/Attachments   PILGRIMS-DOJ-0001811096   PILGRIMS-DOJ-0001811298   104
Emails/Attachments   PILGRIMS-DOJ-0001811303   PILGRIMS-DOJ-0001811582   114
Emails/Attachments   PILGRIMS-DOJ-0001811596   PILGRIMS-DOJ-0001811682    53
Emails/Attachments   PILGRIMS-DOJ-0001811685   PILGRIMS-DOJ-0001811834    83
Emails/Attachments   PILGRIMS-DOJ-0001811837   PILGRIMS-DOJ-0001811896    29
Emails/Attachments   PILGRIMS-DOJ-0001811898   PILGRIMS-DOJ-0001811935    33
Emails/Attachments   PILGRIMS-DOJ-0001811938   PILGRIMS-DOJ-0001811982    29
Emails/Attachments   PILGRIMS-DOJ-0001812091   PILGRIMS-DOJ-0001812112    12
Emails/Attachments   PILGRIMS-DOJ-0001812115   PILGRIMS-DOJ-0001812150    21
Emails/Attachments   PILGRIMS-DOJ-0001812152   PILGRIMS-DOJ-0001812182    20
Emails/Attachments   PILGRIMS-DOJ-0001812184   PILGRIMS-DOJ-0001812187     1
Emails/Attachments   PILGRIMS-DOJ-0001812193   PILGRIMS-DOJ-0001812193     1
Emails/Attachments   PILGRIMS-DOJ-0001812195   PILGRIMS-DOJ-0001812277    46
Emails/Attachments   PILGRIMS-DOJ-0001812279   PILGRIMS-DOJ-0001812374    46
Emails/Attachments   PILGRIMS-DOJ-0001812376   PILGRIMS-DOJ-0001812377     1
Emails/Attachments   PILGRIMS-DOJ-0001812475   PILGRIMS-DOJ-0001812513    15
Emails/Attachments   PILGRIMS-DOJ-0001812515   PILGRIMS-DOJ-0001812519     3
Emails/Attachments   PILGRIMS-DOJ-0001812530   PILGRIMS-DOJ-0001812538     4
Emails/Attachments   PILGRIMS-DOJ-0001812540   PILGRIMS-DOJ-0001812548     5
Emails/Attachments   PILGRIMS-DOJ-0001813443   PILGRIMS-DOJ-0001813494    29
Emails/Attachments   PILGRIMS-DOJ-0001813496   PILGRIMS-DOJ-0001813507    10
Emails/Attachments   PILGRIMS-DOJ-0001813509   PILGRIMS-DOJ-0001813531    17
Emails/Attachments   PILGRIMS-DOJ-0001813533   PILGRIMS-DOJ-0001813595    32
Emails/Attachments   PILGRIMS-DOJ-0001813597   PILGRIMS-DOJ-0001814078   259
Emails/Attachments   PILGRIMS-DOJ-0001814367   PILGRIMS-DOJ-0001814373     6
Emails/Attachments   PILGRIMS-DOJ-0001814482   PILGRIMS-DOJ-0001814559    52
Emails/Attachments   PILGRIMS-DOJ-0001814561   PILGRIMS-DOJ-0001814600    27
Emails/Attachments   PILGRIMS-DOJ-0001814749   PILGRIMS-DOJ-0001814762    12
Emails/Attachments   PILGRIMS-DOJ-0001814764   PILGRIMS-DOJ-0001814962   114
Emails/Attachments   PILGRIMS-DOJ-0001814964   PILGRIMS-DOJ-0001815199    99
Emails/Attachments   PILGRIMS-DOJ-0001815201   PILGRIMS-DOJ-0001815552   228
Emails/Attachments   PILGRIMS-DOJ-0001815554   PILGRIMS-DOJ-0001815609    27
Emails/Attachments   PILGRIMS-DOJ-0001815670   PILGRIMS-DOJ-0001815752    40
Emails/Attachments   PILGRIMS-DOJ-0001815755   PILGRIMS-DOJ-0001815783    17
Emails/Attachments   PILGRIMS-DOJ-0001815815   PILGRIMS-DOJ-0001815867    33
Emails/Attachments   PILGRIMS-DOJ-0001815875   PILGRIMS-DOJ-0001815882     7
Emails/Attachments   PILGRIMS-DOJ-0001815885   PILGRIMS-DOJ-0001816017    74
Emails/Attachments   PILGRIMS-DOJ-0001816298   PILGRIMS-DOJ-0001816307     4
Emails/Attachments   PILGRIMS-DOJ-0001816322   PILGRIMS-DOJ-0001816328     4
Emails/Attachments   PILGRIMS-DOJ-0001816331   PILGRIMS-DOJ-0001816331     1
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 399 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001816346   PILGRIMS-DOJ-0001816375    14
Emails/Attachments   PILGRIMS-DOJ-0001816390   PILGRIMS-DOJ-0001816459    33
Emails/Attachments   PILGRIMS-DOJ-0001816474   PILGRIMS-DOJ-0001816514    25
Emails/Attachments   PILGRIMS-DOJ-0001816616   PILGRIMS-DOJ-0001816630     7
Emails/Attachments   PILGRIMS-DOJ-0001816633   PILGRIMS-DOJ-0001816637     2
Emails/Attachments   PILGRIMS-DOJ-0001816650   PILGRIMS-DOJ-0001816653     1
Emails/Attachments   PILGRIMS-DOJ-0001816667   PILGRIMS-DOJ-0001816669     3
Emails/Attachments   PILGRIMS-DOJ-0001816687   PILGRIMS-DOJ-0001816691     2
Emails/Attachments   PILGRIMS-DOJ-0001816707   PILGRIMS-DOJ-0001816772    22
Emails/Attachments   PILGRIMS-DOJ-0001816776   PILGRIMS-DOJ-0001817068   148
Emails/Attachments   PILGRIMS-DOJ-0001817070   PILGRIMS-DOJ-0001817237    91
Emails/Attachments   PILGRIMS-DOJ-0001817304   PILGRIMS-DOJ-0001817537   107
Emails/Attachments   PILGRIMS-DOJ-0001817539   PILGRIMS-DOJ-0001817670    64
Emails/Attachments   PILGRIMS-DOJ-0001817698   PILGRIMS-DOJ-0001817699     1
Emails/Attachments   PILGRIMS-DOJ-0001817715   PILGRIMS-DOJ-0001817719     5
Emails/Attachments   PILGRIMS-DOJ-0001817735   PILGRIMS-DOJ-0001817897    65
Emails/Attachments   PILGRIMS-DOJ-0001817899   PILGRIMS-DOJ-0001818110    75
Emails/Attachments   PILGRIMS-DOJ-0001818112   PILGRIMS-DOJ-0001818253    77
Emails/Attachments   PILGRIMS-DOJ-0001818257   PILGRIMS-DOJ-0001818261     2
Emails/Attachments   PILGRIMS-DOJ-0001818265   PILGRIMS-DOJ-0001818418    72
Emails/Attachments   PILGRIMS-DOJ-0001818432   PILGRIMS-DOJ-0001818630    40
Emails/Attachments   PILGRIMS-DOJ-0001818634   PILGRIMS-DOJ-0001818677    14
Emails/Attachments   PILGRIMS-DOJ-0001818680   PILGRIMS-DOJ-0001818927    98
Emails/Attachments   PILGRIMS-DOJ-0001818929   PILGRIMS-DOJ-0001818977    23
Emails/Attachments   PILGRIMS-DOJ-0001819038   PILGRIMS-DOJ-0001819160    53
Emails/Attachments   PILGRIMS-DOJ-0001819164   PILGRIMS-DOJ-0001819196    16
Emails/Attachments   PILGRIMS-DOJ-0001819198   PILGRIMS-DOJ-0001819288    34
Emails/Attachments   PILGRIMS-DOJ-0001819340   PILGRIMS-DOJ-0001819495    84
Emails/Attachments   PILGRIMS-DOJ-0001819865   PILGRIMS-DOJ-0001820916   463
Emails/Attachments   PILGRIMS-DOJ-0001820949   PILGRIMS-DOJ-0001821009    29
Emails/Attachments   PILGRIMS-DOJ-0001821011   PILGRIMS-DOJ-0001821028     7
Emails/Attachments   PILGRIMS-DOJ-0001821037   PILGRIMS-DOJ-0001821106    30
Emails/Attachments   PILGRIMS-DOJ-0001821108   PILGRIMS-DOJ-0001821124     7
Emails/Attachments   PILGRIMS-DOJ-0001821126   PILGRIMS-DOJ-0001821159    20
Emails/Attachments   PILGRIMS-DOJ-0001821162   PILGRIMS-DOJ-0001821330    85
Emails/Attachments   PILGRIMS-DOJ-0001821334   PILGRIMS-DOJ-0001821343     4
Emails/Attachments   PILGRIMS-DOJ-0001821345   PILGRIMS-DOJ-0001821455    51
Emails/Attachments   PILGRIMS-DOJ-0001821458   PILGRIMS-DOJ-0001821460     1
Emails/Attachments   PILGRIMS-DOJ-0001821462   PILGRIMS-DOJ-0001821669   100
Emails/Attachments   PILGRIMS-DOJ-0001821672   PILGRIMS-DOJ-0001821715    24
Emails/Attachments   PILGRIMS-DOJ-0001821717   PILGRIMS-DOJ-0001821765    18
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 400 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001821767   PILGRIMS-DOJ-0001821840    36
Emails/Attachments   PILGRIMS-DOJ-0001821860   PILGRIMS-DOJ-0001821895    16
Emails/Attachments   PILGRIMS-DOJ-0001821897   PILGRIMS-DOJ-0001821900     1
Emails/Attachments   PILGRIMS-DOJ-0001821902   PILGRIMS-DOJ-0001821907     2
Emails/Attachments   PILGRIMS-DOJ-0001821909   PILGRIMS-DOJ-0001821964    26
Emails/Attachments   PILGRIMS-DOJ-0001821968   PILGRIMS-DOJ-0001822207   127
Emails/Attachments   PILGRIMS-DOJ-0001822209   PILGRIMS-DOJ-0001822253    20
Emails/Attachments   PILGRIMS-DOJ-0001822256   PILGRIMS-DOJ-0001822274    14
Emails/Attachments   PILGRIMS-DOJ-0001822276   PILGRIMS-DOJ-0001822397    61
Emails/Attachments   PILGRIMS-DOJ-0001822399   PILGRIMS-DOJ-0001822415     7
Emails/Attachments   PILGRIMS-DOJ-0001822420   PILGRIMS-DOJ-0001822502    37
Emails/Attachments   PILGRIMS-DOJ-0001822505   PILGRIMS-DOJ-0001822530     8
Emails/Attachments   PILGRIMS-DOJ-0001822540   PILGRIMS-DOJ-0001823278    91
Emails/Attachments   PILGRIMS-DOJ-0001823283   PILGRIMS-DOJ-0001823368    33
Emails/Attachments   PILGRIMS-DOJ-0001823380   PILGRIMS-DOJ-0001823430    33
Emails/Attachments   PILGRIMS-DOJ-0001823440   PILGRIMS-DOJ-0001823638    96
Emails/Attachments   PILGRIMS-DOJ-0001823640   PILGRIMS-DOJ-0001823655     9
Emails/Attachments   PILGRIMS-DOJ-0001823658   PILGRIMS-DOJ-0001823694    14
Emails/Attachments   PILGRIMS-DOJ-0001823696   PILGRIMS-DOJ-0001823697     1
Emails/Attachments   PILGRIMS-DOJ-0001823700   PILGRIMS-DOJ-0001823718    17
Emails/Attachments   PILGRIMS-DOJ-0001823720   PILGRIMS-DOJ-0001823756    21
Emails/Attachments   PILGRIMS-DOJ-0001823767   PILGRIMS-DOJ-0001823949   106
Emails/Attachments   PILGRIMS-DOJ-0001823957   PILGRIMS-DOJ-0001824025    35
Emails/Attachments   PILGRIMS-DOJ-0001824027   PILGRIMS-DOJ-0001824187    84
Emails/Attachments   PILGRIMS-DOJ-0001824189   PILGRIMS-DOJ-0001824189     1
Emails/Attachments   PILGRIMS-DOJ-0001824191   PILGRIMS-DOJ-0001824219    17
Emails/Attachments   PILGRIMS-DOJ-0001824221   PILGRIMS-DOJ-0001824634   160
Emails/Attachments   PILGRIMS-DOJ-0001824636   PILGRIMS-DOJ-0001824760    60
Emails/Attachments   PILGRIMS-DOJ-0001824764   PILGRIMS-DOJ-0001824771     3
Emails/Attachments   PILGRIMS-DOJ-0001824782   PILGRIMS-DOJ-0001824923    72
Emails/Attachments   PILGRIMS-DOJ-0001824934   PILGRIMS-DOJ-0001824945     4
Emails/Attachments   PILGRIMS-DOJ-0001824947   PILGRIMS-DOJ-0001824948     2
Emails/Attachments   PILGRIMS-DOJ-0001824954   PILGRIMS-DOJ-0001825057    56
Emails/Attachments   PILGRIMS-DOJ-0001825063   PILGRIMS-DOJ-0001825070     5
Emails/Attachments   PILGRIMS-DOJ-0001825101   PILGRIMS-DOJ-0001825102     1
Emails/Attachments   PILGRIMS-DOJ-0001825118   PILGRIMS-DOJ-0001825121     3
Emails/Attachments   PILGRIMS-DOJ-0001825131   PILGRIMS-DOJ-0001825183    40
Emails/Attachments   PILGRIMS-DOJ-0001825185   PILGRIMS-DOJ-0001825220    19
Emails/Attachments   PILGRIMS-DOJ-0001825230   PILGRIMS-DOJ-0001825761   295
Emails/Attachments   PILGRIMS-DOJ-0001825767   PILGRIMS-DOJ-0001825789     4
Emails/Attachments   PILGRIMS-DOJ-0001825791   PILGRIMS-DOJ-0001825802     8
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 401 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001825804   PILGRIMS-DOJ-0001825895     57
Emails/Attachments   PILGRIMS-DOJ-0001825905   PILGRIMS-DOJ-0001826394    197
Emails/Attachments   PILGRIMS-DOJ-0001826400   PILGRIMS-DOJ-0001826512     54
Emails/Attachments   PILGRIMS-DOJ-0001826520   PILGRIMS-DOJ-0001826585     29
Emails/Attachments   PILGRIMS-DOJ-0001826605   PILGRIMS-DOJ-0001826743     49
Emails/Attachments   PILGRIMS-DOJ-0001826751   PILGRIMS-DOJ-0001826920     77
Emails/Attachments   PILGRIMS-DOJ-0001826946   PILGRIMS-DOJ-0001826982     23
Emails/Attachments   PILGRIMS-DOJ-0001826992   PILGRIMS-DOJ-0001827062     41
Emails/Attachments   PILGRIMS-DOJ-0001827077   PILGRIMS-DOJ-0001827112     15
Emails/Attachments   PILGRIMS-DOJ-0001827120   PILGRIMS-DOJ-0001827144     14
Emails/Attachments   PILGRIMS-DOJ-0001827146   PILGRIMS-DOJ-0001827148      1
Emails/Attachments   PILGRIMS-DOJ-0001827151   PILGRIMS-DOJ-0001827174     13
Emails/Attachments   PILGRIMS-DOJ-0001827185   PILGRIMS-DOJ-0001827226     27
Emails/Attachments   PILGRIMS-DOJ-0001827245   PILGRIMS-DOJ-0001827247      3
Emails/Attachments   PILGRIMS-DOJ-0001827268   PILGRIMS-DOJ-0001827293     12
Emails/Attachments   PILGRIMS-DOJ-0001827295   PILGRIMS-DOJ-0001827873    292
Emails/Attachments   PILGRIMS-DOJ-0001827892   PILGRIMS-DOJ-0001827901      7
Emails/Attachments   PILGRIMS-DOJ-0001827903   PILGRIMS-DOJ-0001827905      3
Emails/Attachments   PILGRIMS-DOJ-0001827924   PILGRIMS-DOJ-0001836596   3,478
Emails/Attachments   PILGRIMS-DOJ-0001836598   PILGRIMS-DOJ-0001836643     11
Emails/Attachments   PILGRIMS-DOJ-0001836645   PILGRIMS-DOJ-0001836813     75
Emails/Attachments   PILGRIMS-DOJ-0001836816   PILGRIMS-DOJ-0001840880   1,847
Emails/Attachments   PILGRIMS-DOJ-0001840882   PILGRIMS-DOJ-0001841283    154
Emails/Attachments   PILGRIMS-DOJ-0001841285   PILGRIMS-DOJ-0001841589    133
Emails/Attachments   PILGRIMS-DOJ-0001841591   PILGRIMS-DOJ-0001845270   1,199
Emails/Attachments   PILGRIMS-DOJ-0001845273   PILGRIMS-DOJ-0001845613    146
Emails/Attachments   PILGRIMS-DOJ-0001845615   PILGRIMS-DOJ-0001849044   1,583
Emails/Attachments   PILGRIMS-DOJ-0001849086   PILGRIMS-DOJ-0001849095      4
Emails/Attachments   PILGRIMS-DOJ-0001849118   PILGRIMS-DOJ-0001850014    293
Emails/Attachments   PILGRIMS-DOJ-0001850040   PILGRIMS-DOJ-0001851111    432
Emails/Attachments   PILGRIMS-DOJ-0001851113   PILGRIMS-DOJ-0001851142      3
Emails/Attachments   PILGRIMS-DOJ-0001851169   PILGRIMS-DOJ-0001851708    168
Emails/Attachments   PILGRIMS-DOJ-0001851710   PILGRIMS-DOJ-0001851745     11
Emails/Attachments   PILGRIMS-DOJ-0001851756   PILGRIMS-DOJ-0001852148    182
Emails/Attachments   PILGRIMS-DOJ-0001852155   PILGRIMS-DOJ-0001853201    407
Emails/Attachments   PILGRIMS-DOJ-0001853212   PILGRIMS-DOJ-0001853448     89
Emails/Attachments   PILGRIMS-DOJ-0001853453   PILGRIMS-DOJ-0001854009    252
Emails/Attachments   PILGRIMS-DOJ-0001854020   PILGRIMS-DOJ-0001854956    437
Emails/Attachments   PILGRIMS-DOJ-0001854958   PILGRIMS-DOJ-0001854958      1
Emails/Attachments   PILGRIMS-DOJ-0001854960   PILGRIMS-DOJ-0001854961      1
Emails/Attachments   PILGRIMS-DOJ-0001854965   PILGRIMS-DOJ-0001855067     52
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 402 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001855074   PILGRIMS-DOJ-0001855092     12
Emails/Attachments   PILGRIMS-DOJ-0001855094   PILGRIMS-DOJ-0001855103      6
Emails/Attachments   PILGRIMS-DOJ-0001855105   PILGRIMS-DOJ-0001855105      1
Emails/Attachments   PILGRIMS-DOJ-0001855107   PILGRIMS-DOJ-0001855114      5
Emails/Attachments   PILGRIMS-DOJ-0001855116   PILGRIMS-DOJ-0001855155     20
Emails/Attachments   PILGRIMS-DOJ-0001855157   PILGRIMS-DOJ-0001855190     15
Emails/Attachments   PILGRIMS-DOJ-0001855193   PILGRIMS-DOJ-0001857403   1,132
Emails/Attachments   PILGRIMS-DOJ-0001857405   PILGRIMS-DOJ-0001857797    190
Emails/Attachments   PILGRIMS-DOJ-0001857850   PILGRIMS-DOJ-0001859981    962
Emails/Attachments   PILGRIMS-DOJ-0001860010   PILGRIMS-DOJ-0001860695    348
Emails/Attachments   PILGRIMS-DOJ-0001860704   PILGRIMS-DOJ-0001862370    622
Emails/Attachments   PILGRIMS-DOJ-0001862372   PILGRIMS-DOJ-0001863918    572
Emails/Attachments   PILGRIMS-DOJ-0001863920   PILGRIMS-DOJ-0001866203    947
Emails/Attachments   PILGRIMS-DOJ-0001866205   PILGRIMS-DOJ-0001866209      2
Emails/Attachments   PILGRIMS-DOJ-0001866211   PILGRIMS-DOJ-0001868732   1,256
Emails/Attachments   PILGRIMS-DOJ-0001868734   PILGRIMS-DOJ-0001869700    406
Emails/Attachments   PILGRIMS-DOJ-0001869703   PILGRIMS-DOJ-0001870510    344
Emails/Attachments   PILGRIMS-DOJ-0001870516   PILGRIMS-DOJ-0001870731     77
Emails/Attachments   PILGRIMS-DOJ-0001870733   PILGRIMS-DOJ-0001870936     67
Emails/Attachments   PILGRIMS-DOJ-0001870943   PILGRIMS-DOJ-0001871429    191
Emails/Attachments   PILGRIMS-DOJ-0001871434   PILGRIMS-DOJ-0001873974   1,303
Emails/Attachments   PILGRIMS-DOJ-0001873976   PILGRIMS-DOJ-0001878281   2,741
Emails/Attachments   PILGRIMS-DOJ-0001878283   PILGRIMS-DOJ-0001879583    758
Emails/Attachments   PILGRIMS-DOJ-0001879585   PILGRIMS-DOJ-0001879675     54
Emails/Attachments   PILGRIMS-DOJ-0001879678   PILGRIMS-DOJ-0001882083   1,360
Emails/Attachments   PILGRIMS-DOJ-0001882086   PILGRIMS-DOJ-0001882449    230
Emails/Attachments   PILGRIMS-DOJ-0001882452   PILGRIMS-DOJ-0001882997    355
Emails/Attachments   PILGRIMS-DOJ-0001883000   PILGRIMS-DOJ-0001884554    954
Emails/Attachments   PILGRIMS-DOJ-0001884556   PILGRIMS-DOJ-0001884687     88
Emails/Attachments   PILGRIMS-DOJ-0001884690   PILGRIMS-DOJ-0001886732   1,121
Emails/Attachments   PILGRIMS-DOJ-0001886734   PILGRIMS-DOJ-0001887802    319
Emails/Attachments   PILGRIMS-DOJ-0001887804   PILGRIMS-DOJ-0001889370    781
Emails/Attachments   PILGRIMS-DOJ-0001889373   PILGRIMS-DOJ-0001889496     56
Emails/Attachments   PILGRIMS-DOJ-0001889498   PILGRIMS-DOJ-0001889505      6
Emails/Attachments   PILGRIMS-DOJ-0001889508   PILGRIMS-DOJ-0001889517      5
Emails/Attachments   PILGRIMS-DOJ-0001889522   PILGRIMS-DOJ-0001889526      5
Emails/Attachments   PILGRIMS-DOJ-0001889528   PILGRIMS-DOJ-0001889537      7
Emails/Attachments   PILGRIMS-DOJ-0001889541   PILGRIMS-DOJ-0001889542      1
Emails/Attachments   PILGRIMS-DOJ-0001889545   PILGRIMS-DOJ-0001889546      1
Emails/Attachments   PILGRIMS-DOJ-0001889553   PILGRIMS-DOJ-0001889555      1
Emails/Attachments   PILGRIMS-DOJ-0001889558   PILGRIMS-DOJ-0001889561      4
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 403 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001889563   PILGRIMS-DOJ-0001889564      2
Emails/Attachments   PILGRIMS-DOJ-0001889573   PILGRIMS-DOJ-0001889579      5
Emails/Attachments   PILGRIMS-DOJ-0001889581   PILGRIMS-DOJ-0001889582      1
Emails/Attachments   PILGRIMS-DOJ-0001889585   PILGRIMS-DOJ-0001889604      4
Emails/Attachments   PILGRIMS-DOJ-0001889609   PILGRIMS-DOJ-0001889614      4
Emails/Attachments   PILGRIMS-DOJ-0001889620   PILGRIMS-DOJ-0001889623      2
Emails/Attachments   PILGRIMS-DOJ-0001889625   PILGRIMS-DOJ-0001889634      5
Emails/Attachments   PILGRIMS-DOJ-0001889638   PILGRIMS-DOJ-0001889644      7
Emails/Attachments   PILGRIMS-DOJ-0001889648   PILGRIMS-DOJ-0001889663      7
Emails/Attachments   PILGRIMS-DOJ-0001889665   PILGRIMS-DOJ-0001889688     15
Emails/Attachments   PILGRIMS-DOJ-0001889690   PILGRIMS-DOJ-0001889704      5
Emails/Attachments   PILGRIMS-DOJ-0001889706   PILGRIMS-DOJ-0001889721     10
Emails/Attachments   PILGRIMS-DOJ-0001889723   PILGRIMS-DOJ-0001889748     18
Emails/Attachments   PILGRIMS-DOJ-0001889750   PILGRIMS-DOJ-0001889752      2
Emails/Attachments   PILGRIMS-DOJ-0001889755   PILGRIMS-DOJ-0001889758      4
Emails/Attachments   PILGRIMS-DOJ-0001889760   PILGRIMS-DOJ-0001889771      8
Emails/Attachments   PILGRIMS-DOJ-0001889773   PILGRIMS-DOJ-0001889776      3
Emails/Attachments   PILGRIMS-DOJ-0001889781   PILGRIMS-DOJ-0001889789      6
Emails/Attachments   PILGRIMS-DOJ-0001889794   PILGRIMS-DOJ-0001889800      3
Emails/Attachments   PILGRIMS-DOJ-0001889808   PILGRIMS-DOJ-0001889825     18
Emails/Attachments   PILGRIMS-DOJ-0001889844   PILGRIMS-DOJ-0001889909     51
Emails/Attachments   PILGRIMS-DOJ-0001889911   PILGRIMS-DOJ-0001890112     97
Emails/Attachments   PILGRIMS-DOJ-0001890116   PILGRIMS-DOJ-0001890635    311
Emails/Attachments   PILGRIMS-DOJ-0001890637   PILGRIMS-DOJ-0001891314    375
Emails/Attachments   PILGRIMS-DOJ-0001891335   PILGRIMS-DOJ-0001897064   2,675
Emails/Attachments   PILGRIMS-DOJ-0001897431   PILGRIMS-DOJ-0001897853    228
Emails/Attachments   PILGRIMS-DOJ-0001897856   PILGRIMS-DOJ-0001903248   2,640
Emails/Attachments   PILGRIMS-DOJ-0001903250   PILGRIMS-DOJ-0001906146   1,537
Emails/Attachments   PILGRIMS-DOJ-0001906157   PILGRIMS-DOJ-0001906338    109
Emails/Attachments   PILGRIMS-DOJ-0001906363   PILGRIMS-DOJ-0001909463   1,754
Emails/Attachments   PILGRIMS-DOJ-0001909465   PILGRIMS-DOJ-0001911382   1,108
Emails/Attachments   PILGRIMS-DOJ-0001911384   PILGRIMS-DOJ-0001912149    473
Emails/Attachments   PILGRIMS-DOJ-0001912182   PILGRIMS-DOJ-0001913510    805
Emails/Attachments   PILGRIMS-DOJ-0001913530   PILGRIMS-DOJ-0001914299    374
Emails/Attachments   PILGRIMS-DOJ-0001914319   PILGRIMS-DOJ-0001915080    383
Emails/Attachments   PILGRIMS-DOJ-0001915091   PILGRIMS-DOJ-0001915817    359
Emails/Attachments   PILGRIMS-DOJ-0001915825   PILGRIMS-DOJ-0001917115    635
Emails/Attachments   PILGRIMS-DOJ-0001917119   PILGRIMS-DOJ-0001917241     60
Emails/Attachments   PILGRIMS-DOJ-0001917244   PILGRIMS-DOJ-0001917330     41
Emails/Attachments   PILGRIMS-DOJ-0001917333   PILGRIMS-DOJ-0001917335      2
Emails/Attachments   PILGRIMS-DOJ-0001917338   PILGRIMS-DOJ-0001919902   1,170
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 404 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001919928   PILGRIMS-DOJ-0001920022     38
Emails/Attachments   PILGRIMS-DOJ-0001920049   PILGRIMS-DOJ-0001920517    220
Emails/Attachments   PILGRIMS-DOJ-0001920519   PILGRIMS-DOJ-0001921612    543
Emails/Attachments   PILGRIMS-DOJ-0001921615   PILGRIMS-DOJ-0001925687   1,840
Emails/Attachments   PILGRIMS-DOJ-0001925690   PILGRIMS-DOJ-0001926119    207
Emails/Attachments   PILGRIMS-DOJ-0001926123   PILGRIMS-DOJ-0001926402    181
Emails/Attachments   PILGRIMS-DOJ-0001926404   PILGRIMS-DOJ-0001926408      4
Emails/Attachments   PILGRIMS-DOJ-0001926410   PILGRIMS-DOJ-0001928818   1,224
Emails/Attachments   PILGRIMS-DOJ-0001928820   PILGRIMS-DOJ-0001930761    822
Emails/Attachments   PILGRIMS-DOJ-0001930763   PILGRIMS-DOJ-0001930981     19
Emails/Attachments   PILGRIMS-DOJ-0001931005   PILGRIMS-DOJ-0001931207     92
Emails/Attachments   PILGRIMS-DOJ-0001931209   PILGRIMS-DOJ-0001931211      2
Emails/Attachments   PILGRIMS-DOJ-0001931214   PILGRIMS-DOJ-0001932205    487
Emails/Attachments   PILGRIMS-DOJ-0001932238   PILGRIMS-DOJ-0001935877   1,535
Emails/Attachments   PILGRIMS-DOJ-0001935880   PILGRIMS-DOJ-0001936102    125
Emails/Attachments   PILGRIMS-DOJ-0001936111   PILGRIMS-DOJ-0001936732    177
Emails/Attachments   PILGRIMS-DOJ-0001936735   PILGRIMS-DOJ-0001936846     18
Emails/Attachments   PILGRIMS-DOJ-0001936848   PILGRIMS-DOJ-0001936850      1
Emails/Attachments   PILGRIMS-DOJ-0001936852   PILGRIMS-DOJ-0001936912     17
Emails/Attachments   PILGRIMS-DOJ-0001936915   PILGRIMS-DOJ-0001936928      3
Emails/Attachments   PILGRIMS-DOJ-0001936930   PILGRIMS-DOJ-0001938718    851
Emails/Attachments   PILGRIMS-DOJ-0001938720   PILGRIMS-DOJ-0001940531    526
Emails/Attachments   PILGRIMS-DOJ-0001940606   PILGRIMS-DOJ-0001941157    251
Emails/Attachments   PILGRIMS-DOJ-0001941208   PILGRIMS-DOJ-0001941388    100
Emails/Attachments   PILGRIMS-DOJ-0001941391   PILGRIMS-DOJ-0001941545     32
Emails/Attachments   PILGRIMS-DOJ-0001941547   PILGRIMS-DOJ-0001942061    139
Emails/Attachments   PILGRIMS-DOJ-0001942064   PILGRIMS-DOJ-0001943225    412
Emails/Attachments   PILGRIMS-DOJ-0001943229   PILGRIMS-DOJ-0001943484     92
Emails/Attachments   PILGRIMS-DOJ-0001943488   PILGRIMS-DOJ-0001944347    222
Emails/Attachments   PILGRIMS-DOJ-0001944352   PILGRIMS-DOJ-0001944515     60
Emails/Attachments   PILGRIMS-DOJ-0001944537   PILGRIMS-DOJ-0001944816    109
Emails/Attachments   PILGRIMS-DOJ-0001944822   PILGRIMS-DOJ-0001945718    223
Emails/Attachments   PILGRIMS-DOJ-0001945720   PILGRIMS-DOJ-0001945978    117
Emails/Attachments   PILGRIMS-DOJ-0001945983   PILGRIMS-DOJ-0001946593    209
Emails/Attachments   PILGRIMS-DOJ-0001946598   PILGRIMS-DOJ-0001947255    172
Emails/Attachments   PILGRIMS-DOJ-0001947257   PILGRIMS-DOJ-0001947672    170
Emails/Attachments   PILGRIMS-DOJ-0001947674   PILGRIMS-DOJ-0001949380    470
Emails/Attachments   PILGRIMS-DOJ-0001949382   PILGRIMS-DOJ-0001949442     31
Emails/Attachments   PILGRIMS-DOJ-0001949449   PILGRIMS-DOJ-0001950247    212
Emails/Attachments   PILGRIMS-DOJ-0001950259   PILGRIMS-DOJ-0001950447     63
Emails/Attachments   PILGRIMS-DOJ-0001950450   PILGRIMS-DOJ-0001951461    321
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 405 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0001951466   PILGRIMS-DOJ-0001953663    627
Emails/Attachments   PILGRIMS-DOJ-0001953668   PILGRIMS-DOJ-0001956822    845
Emails/Attachments   PILGRIMS-DOJ-0001956827   PILGRIMS-DOJ-0001958246    268
Emails/Attachments   PILGRIMS-DOJ-0001958266   PILGRIMS-DOJ-0001959203    181
Emails/Attachments   PILGRIMS-DOJ-0001959224   PILGRIMS-DOJ-0001960457    303
Emails/Attachments   PILGRIMS-DOJ-0001960462   PILGRIMS-DOJ-0001960730    122
Emails/Attachments   PILGRIMS-DOJ-0001960734   PILGRIMS-DOJ-0001961312    224
Emails/Attachments   PILGRIMS-DOJ-0001961320   PILGRIMS-DOJ-0001961690    116
Emails/Attachments   PILGRIMS-DOJ-0001961694   PILGRIMS-DOJ-0001961740     37
Emails/Attachments   PILGRIMS-DOJ-0001961743   PILGRIMS-DOJ-0001961762     17
Emails/Attachments   PILGRIMS-DOJ-0001961764   PILGRIMS-DOJ-0001962103     96
Emails/Attachments   PILGRIMS-DOJ-0001962108   PILGRIMS-DOJ-0001965657   1,749
Emails/Attachments   PILGRIMS-DOJ-0001965662   PILGRIMS-DOJ-0001965666      3
Emails/Attachments   PILGRIMS-DOJ-0001965671   PILGRIMS-DOJ-0001965757     49
Emails/Attachments   PILGRIMS-DOJ-0001965759   PILGRIMS-DOJ-0001965856     22
Emails/Attachments   PILGRIMS-DOJ-0001965861   PILGRIMS-DOJ-0001966055     82
Emails/Attachments   PILGRIMS-DOJ-0001966058   PILGRIMS-DOJ-0001966292     84
Emails/Attachments   PILGRIMS-DOJ-0001966298   PILGRIMS-DOJ-0001974047   2,406
Emails/Attachments   PILGRIMS-DOJ-0001974074   PILGRIMS-DOJ-0001975067    409
Emails/Attachments   PILGRIMS-DOJ-0001975072   PILGRIMS-DOJ-0001976577    549
Emails/Attachments   PILGRIMS-DOJ-0001976579   PILGRIMS-DOJ-0001978110    633
Emails/Attachments   PILGRIMS-DOJ-0001978114   PILGRIMS-DOJ-0001978512    166
Emails/Attachments   PILGRIMS-DOJ-0001978514   PILGRIMS-DOJ-0001978746     68
Emails/Attachments   PILGRIMS-DOJ-0001978751   PILGRIMS-DOJ-0001980710    749
Emails/Attachments   PILGRIMS-DOJ-0001980733   PILGRIMS-DOJ-0001982273    678
Emails/Attachments   PILGRIMS-DOJ-0001982278   PILGRIMS-DOJ-0001982462     97
Emails/Attachments   PILGRIMS-DOJ-0001982466   PILGRIMS-DOJ-0001986834   1,809
Emails/Attachments   PILGRIMS-DOJ-0001986837   PILGRIMS-DOJ-0001986916     38
Emails/Attachments   PILGRIMS-DOJ-0001986919   PILGRIMS-DOJ-0001987549    322
Emails/Attachments   PILGRIMS-DOJ-0001987553   PILGRIMS-DOJ-0001989165    804
Emails/Attachments   PILGRIMS-DOJ-0001989168   PILGRIMS-DOJ-0001989446    205
Emails/Attachments   PILGRIMS-DOJ-0001989448   PILGRIMS-DOJ-0001990235    515
Emails/Attachments   PILGRIMS-DOJ-0001990241   PILGRIMS-DOJ-0001990617    212
Emails/Attachments   PILGRIMS-DOJ-0001990620   PILGRIMS-DOJ-0001993205   1,167
Emails/Attachments   PILGRIMS-DOJ-0001993207   PILGRIMS-DOJ-0001993304     34
Emails/Attachments   PILGRIMS-DOJ-0001993308   PILGRIMS-DOJ-0001997225   2,236
Emails/Attachments   PILGRIMS-DOJ-0001997227   PILGRIMS-DOJ-0001998381    394
Emails/Attachments   PILGRIMS-DOJ-0001998391   PILGRIMS-DOJ-0001999588    510
Emails/Attachments   PILGRIMS-DOJ-0001999590   PILGRIMS-DOJ-0002000121    298
Emails/Attachments   PILGRIMS-DOJ-0002000126   PILGRIMS-DOJ-0002000675    222
Emails/Attachments   PILGRIMS-DOJ-0002000698   PILGRIMS-DOJ-0002003234   1,059
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 406 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002003255   PILGRIMS-DOJ-0002003260       4
Emails/Attachments   PILGRIMS-DOJ-0002003283   PILGRIMS-DOJ-0002003383      34
Emails/Attachments   PILGRIMS-DOJ-0002003393   PILGRIMS-DOJ-0002003554      66
Emails/Attachments   PILGRIMS-DOJ-0002003556   PILGRIMS-DOJ-0002003580      13
Emails/Attachments   PILGRIMS-DOJ-0002003583   PILGRIMS-DOJ-0002004412     346
Emails/Attachments   PILGRIMS-DOJ-0002004419   PILGRIMS-DOJ-0002005375     535
Emails/Attachments   PILGRIMS-DOJ-0002005378   PILGRIMS-DOJ-0002006577     619
Emails/Attachments   PILGRIMS-DOJ-0002006580   PILGRIMS-DOJ-0002006824     148
Emails/Attachments   PILGRIMS-DOJ-0002006827   PILGRIMS-DOJ-0002007758     468
Emails/Attachments   PILGRIMS-DOJ-0002007763   PILGRIMS-DOJ-0002008160     251
Emails/Attachments   PILGRIMS-DOJ-0002008172   PILGRIMS-DOJ-0002008619     224
Emails/Attachments   PILGRIMS-DOJ-0002008622   PILGRIMS-DOJ-0002029059   11,210
Emails/Attachments   PILGRIMS-DOJ-0002029061   PILGRIMS-DOJ-0002037159    3,381
Emails/Attachments   PILGRIMS-DOJ-0002037162   PILGRIMS-DOJ-0002041445    2,165
Emails/Attachments   PILGRIMS-DOJ-0002041469   PILGRIMS-DOJ-0002041545      53
Emails/Attachments   PILGRIMS-DOJ-0002041547   PILGRIMS-DOJ-0002047567    3,409
Emails/Attachments   PILGRIMS-DOJ-0002047577   PILGRIMS-DOJ-0002047903     293
Emails/Attachments   PILGRIMS-DOJ-0002047917   PILGRIMS-DOJ-0002047924       8
Emails/Attachments   PILGRIMS-DOJ-0002047937   PILGRIMS-DOJ-0002047940       2
Emails/Attachments   PILGRIMS-DOJ-0002047942   PILGRIMS-DOJ-0002048019      25
Emails/Attachments   PILGRIMS-DOJ-0002048021   PILGRIMS-DOJ-0002048024       2
Emails/Attachments   PILGRIMS-DOJ-0002048026   PILGRIMS-DOJ-0002048033       7
Emails/Attachments   PILGRIMS-DOJ-0002048035   PILGRIMS-DOJ-0002048282     116
Emails/Attachments   PILGRIMS-DOJ-0002048287   PILGRIMS-DOJ-0002048289       3
Emails/Attachments   PILGRIMS-DOJ-0002048291   PILGRIMS-DOJ-0002048520     111
Emails/Attachments   PILGRIMS-DOJ-0002048523   PILGRIMS-DOJ-0002048526       4
Emails/Attachments   PILGRIMS-DOJ-0002048528   PILGRIMS-DOJ-0002048555      12
Emails/Attachments   PILGRIMS-DOJ-0002048569   PILGRIMS-DOJ-0002048829     200
Emails/Attachments   PILGRIMS-DOJ-0002048831   PILGRIMS-DOJ-0002049072     144
Emails/Attachments   PILGRIMS-DOJ-0002049074   PILGRIMS-DOJ-0002049170      93
Emails/Attachments   PILGRIMS-DOJ-0002049172   PILGRIMS-DOJ-0002049174       3
Emails/Attachments   PILGRIMS-DOJ-0002049183   PILGRIMS-DOJ-0002049187       3
Emails/Attachments   PILGRIMS-DOJ-0002049189   PILGRIMS-DOJ-0002049207      18
Emails/Attachments   PILGRIMS-DOJ-0002049213   PILGRIMS-DOJ-0002049277      58
Emails/Attachments   PILGRIMS-DOJ-0002049291   PILGRIMS-DOJ-0002049355      58
Emails/Attachments   PILGRIMS-DOJ-0002049357   PILGRIMS-DOJ-0002049358       1
Emails/Attachments   PILGRIMS-DOJ-0002049360   PILGRIMS-DOJ-0002049370      11
Emails/Attachments   PILGRIMS-DOJ-0002049372   PILGRIMS-DOJ-0002049372       1
Emails/Attachments   PILGRIMS-DOJ-0002049377   PILGRIMS-DOJ-0002049378       1
Emails/Attachments   PILGRIMS-DOJ-0002049387   PILGRIMS-DOJ-0002049395       8
Emails/Attachments   PILGRIMS-DOJ-0002049407   PILGRIMS-DOJ-0002049428      15
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 407 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002049430   PILGRIMS-DOJ-0002049463    19
Emails/Attachments   PILGRIMS-DOJ-0002049465   PILGRIMS-DOJ-0002049471     3
Emails/Attachments   PILGRIMS-DOJ-0002049474   PILGRIMS-DOJ-0002049495    10
Emails/Attachments   PILGRIMS-DOJ-0002049497   PILGRIMS-DOJ-0002049501     4
Emails/Attachments   PILGRIMS-DOJ-0002049508   PILGRIMS-DOJ-0002049508     1
Emails/Attachments   PILGRIMS-DOJ-0002049511   PILGRIMS-DOJ-0002049523    10
Emails/Attachments   PILGRIMS-DOJ-0002049526   PILGRIMS-DOJ-0002049544    10
Emails/Attachments   PILGRIMS-DOJ-0002049547   PILGRIMS-DOJ-0002049565     8
Emails/Attachments   PILGRIMS-DOJ-0002049567   PILGRIMS-DOJ-0002049592    19
Emails/Attachments   PILGRIMS-DOJ-0002049594   PILGRIMS-DOJ-0002049600     4
Emails/Attachments   PILGRIMS-DOJ-0002049603   PILGRIMS-DOJ-0002049605     2
Emails/Attachments   PILGRIMS-DOJ-0002049607   PILGRIMS-DOJ-0002049660    52
Emails/Attachments   PILGRIMS-DOJ-0002049670   PILGRIMS-DOJ-0002049678     9
Emails/Attachments   PILGRIMS-DOJ-0002049680   PILGRIMS-DOJ-0002049708    24
Emails/Attachments   PILGRIMS-DOJ-0002049711   PILGRIMS-DOJ-0002049730    18
Emails/Attachments   PILGRIMS-DOJ-0002049733   PILGRIMS-DOJ-0002049776    38
Emails/Attachments   PILGRIMS-DOJ-0002049778   PILGRIMS-DOJ-0002049934   132
Emails/Attachments   PILGRIMS-DOJ-0002049936   PILGRIMS-DOJ-0002049976    38
Emails/Attachments   PILGRIMS-DOJ-0002049978   PILGRIMS-DOJ-0002049986     9
Emails/Attachments   PILGRIMS-DOJ-0002049990   PILGRIMS-DOJ-0002050015    18
Emails/Attachments   PILGRIMS-DOJ-0002050022   PILGRIMS-DOJ-0002050060    35
Emails/Attachments   PILGRIMS-DOJ-0002050064   PILGRIMS-DOJ-0002050072     9
Emails/Attachments   PILGRIMS-DOJ-0002050074   PILGRIMS-DOJ-0002050074     1
Emails/Attachments   PILGRIMS-DOJ-0002050076   PILGRIMS-DOJ-0002050385   214
Emails/Attachments   PILGRIMS-DOJ-0002050387   PILGRIMS-DOJ-0002050447    35
Emails/Attachments   PILGRIMS-DOJ-0002050458   PILGRIMS-DOJ-0002050476     5
Emails/Attachments   PILGRIMS-DOJ-0002050479   PILGRIMS-DOJ-0002050565    75
Emails/Attachments   PILGRIMS-DOJ-0002050567   PILGRIMS-DOJ-0002050644    73
Emails/Attachments   PILGRIMS-DOJ-0002050646   PILGRIMS-DOJ-0002050646     1
Emails/Attachments   PILGRIMS-DOJ-0002050655   PILGRIMS-DOJ-0002050692    34
Emails/Attachments   PILGRIMS-DOJ-0002050695   PILGRIMS-DOJ-0002050813    61
Emails/Attachments   PILGRIMS-DOJ-0002050815   PILGRIMS-DOJ-0002050902    59
Emails/Attachments   PILGRIMS-DOJ-0002050904   PILGRIMS-DOJ-0002050915    12
Emails/Attachments   PILGRIMS-DOJ-0002050917   PILGRIMS-DOJ-0002050937    17
Emails/Attachments   PILGRIMS-DOJ-0002050939   PILGRIMS-DOJ-0002050964    20
Emails/Attachments   PILGRIMS-DOJ-0002050967   PILGRIMS-DOJ-0002050975     7
Emails/Attachments   PILGRIMS-DOJ-0002050987   PILGRIMS-DOJ-0002051074    52
Emails/Attachments   PILGRIMS-DOJ-0002051076   PILGRIMS-DOJ-0002051078     3
Emails/Attachments   PILGRIMS-DOJ-0002051091   PILGRIMS-DOJ-0002051376   142
Emails/Attachments   PILGRIMS-DOJ-0002051378   PILGRIMS-DOJ-0002051472    57
Emails/Attachments   PILGRIMS-DOJ-0002051474   PILGRIMS-DOJ-0002051480     5
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 408 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002051483   PILGRIMS-DOJ-0002051491    4
Emails/Attachments   PILGRIMS-DOJ-0002051502   PILGRIMS-DOJ-0002051625   91
Emails/Attachments   PILGRIMS-DOJ-0002051627   PILGRIMS-DOJ-0002051677   28
Emails/Attachments   PILGRIMS-DOJ-0002051679   PILGRIMS-DOJ-0002051706   23
Emails/Attachments   PILGRIMS-DOJ-0002051708   PILGRIMS-DOJ-0002051725   10
Emails/Attachments   PILGRIMS-DOJ-0002051739   PILGRIMS-DOJ-0002051815   51
Emails/Attachments   PILGRIMS-DOJ-0002051818   PILGRIMS-DOJ-0002051824    6
Emails/Attachments   PILGRIMS-DOJ-0002051830   PILGRIMS-DOJ-0002051847    8
Emails/Attachments   PILGRIMS-DOJ-0002051851   PILGRIMS-DOJ-0002051869   14
Emails/Attachments   PILGRIMS-DOJ-0002051871   PILGRIMS-DOJ-0002051895   19
Emails/Attachments   PILGRIMS-DOJ-0002051897   PILGRIMS-DOJ-0002051913   12
Emails/Attachments   PILGRIMS-DOJ-0002051915   PILGRIMS-DOJ-0002051916    2
Emails/Attachments   PILGRIMS-DOJ-0002051921   PILGRIMS-DOJ-0002051926    4
Emails/Attachments   PILGRIMS-DOJ-0002051929   PILGRIMS-DOJ-0002051931    3
Emails/Attachments   PILGRIMS-DOJ-0002051938   PILGRIMS-DOJ-0002052023    9
Emails/Attachments   PILGRIMS-DOJ-0002052025   PILGRIMS-DOJ-0002052033    5
Emails/Attachments   PILGRIMS-DOJ-0002052037   PILGRIMS-DOJ-0002052038    1
Emails/Attachments   PILGRIMS-DOJ-0002052040   PILGRIMS-DOJ-0002052051    6
Emails/Attachments   PILGRIMS-DOJ-0002052066   PILGRIMS-DOJ-0002052087   14
Emails/Attachments   PILGRIMS-DOJ-0002052089   PILGRIMS-DOJ-0002052096    1
Emails/Attachments   PILGRIMS-DOJ-0002052101   PILGRIMS-DOJ-0002052101    1
Emails/Attachments   PILGRIMS-DOJ-0002052103   PILGRIMS-DOJ-0002052104    2
Emails/Attachments   PILGRIMS-DOJ-0002052117   PILGRIMS-DOJ-0002052123    6
Emails/Attachments   PILGRIMS-DOJ-0002052125   PILGRIMS-DOJ-0002052127    3
Emails/Attachments   PILGRIMS-DOJ-0002052129   PILGRIMS-DOJ-0002052130    1
Emails/Attachments   PILGRIMS-DOJ-0002052225   PILGRIMS-DOJ-0002052385   87
Emails/Attachments   PILGRIMS-DOJ-0002052388   PILGRIMS-DOJ-0002052395    6
Emails/Attachments   PILGRIMS-DOJ-0002052397   PILGRIMS-DOJ-0002052399    3
Emails/Attachments   PILGRIMS-DOJ-0002052406   PILGRIMS-DOJ-0002052410    4
Emails/Attachments   PILGRIMS-DOJ-0002052415   PILGRIMS-DOJ-0002052423    8
Emails/Attachments   PILGRIMS-DOJ-0002052443   PILGRIMS-DOJ-0002052446    2
Emails/Attachments   PILGRIMS-DOJ-0002052448   PILGRIMS-DOJ-0002052458    9
Emails/Attachments   PILGRIMS-DOJ-0002052557   PILGRIMS-DOJ-0002052575   12
Emails/Attachments   PILGRIMS-DOJ-0002052577   PILGRIMS-DOJ-0002052579    2
Emails/Attachments   PILGRIMS-DOJ-0002052614   PILGRIMS-DOJ-0002052616    1
Emails/Attachments   PILGRIMS-DOJ-0002052672   PILGRIMS-DOJ-0002052674    3
Emails/Attachments   PILGRIMS-DOJ-0002052681   PILGRIMS-DOJ-0002052685    3
Emails/Attachments   PILGRIMS-DOJ-0002052923   PILGRIMS-DOJ-0002052929    3
Emails/Attachments   PILGRIMS-DOJ-0002052933   PILGRIMS-DOJ-0002052937    3
Emails/Attachments   PILGRIMS-DOJ-0002052963   PILGRIMS-DOJ-0002052964    1
Emails/Attachments   PILGRIMS-DOJ-0002052974   PILGRIMS-DOJ-0002052983    3
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 409 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002053081   PILGRIMS-DOJ-0002053083     3
Emails/Attachments   PILGRIMS-DOJ-0002053090   PILGRIMS-DOJ-0002053103     8
Emails/Attachments   PILGRIMS-DOJ-0002053114   PILGRIMS-DOJ-0002053114     1
Emails/Attachments   PILGRIMS-DOJ-0002053116   PILGRIMS-DOJ-0002053116     1
Emails/Attachments   PILGRIMS-DOJ-0002053189   PILGRIMS-DOJ-0002053190     1
Emails/Attachments   PILGRIMS-DOJ-0002053195   PILGRIMS-DOJ-0002053198     2
Emails/Attachments   PILGRIMS-DOJ-0002053201   PILGRIMS-DOJ-0002053221     4
Emails/Attachments   PILGRIMS-DOJ-0002053238   PILGRIMS-DOJ-0002053241     2
Emails/Attachments   PILGRIMS-DOJ-0002053245   PILGRIMS-DOJ-0002053297    17
Emails/Attachments   PILGRIMS-DOJ-0002053300   PILGRIMS-DOJ-0002053373    31
Emails/Attachments   PILGRIMS-DOJ-0002053387   PILGRIMS-DOJ-0002053408     8
Emails/Attachments   PILGRIMS-DOJ-0002053411   PILGRIMS-DOJ-0002053473    16
Emails/Attachments   PILGRIMS-DOJ-0002053488   PILGRIMS-DOJ-0002053589    32
Emails/Attachments   PILGRIMS-DOJ-0002053592   PILGRIMS-DOJ-0002053644    22
Emails/Attachments   PILGRIMS-DOJ-0002053646   PILGRIMS-DOJ-0002053658     3
Emails/Attachments   PILGRIMS-DOJ-0002053671   PILGRIMS-DOJ-0002053737    39
Emails/Attachments   PILGRIMS-DOJ-0002053773   PILGRIMS-DOJ-0002053773     1
Emails/Attachments   PILGRIMS-DOJ-0002053775   PILGRIMS-DOJ-0002053793     8
Emails/Attachments   PILGRIMS-DOJ-0002053795   PILGRIMS-DOJ-0002053833    20
Emails/Attachments   PILGRIMS-DOJ-0002053836   PILGRIMS-DOJ-0002053859    16
Emails/Attachments   PILGRIMS-DOJ-0002053872   PILGRIMS-DOJ-0002053976    54
Emails/Attachments   PILGRIMS-DOJ-0002053978   PILGRIMS-DOJ-0002054027    28
Emails/Attachments   PILGRIMS-DOJ-0002054079   PILGRIMS-DOJ-0002054192    68
Emails/Attachments   PILGRIMS-DOJ-0002054195   PILGRIMS-DOJ-0002054205     6
Emails/Attachments   PILGRIMS-DOJ-0002054218   PILGRIMS-DOJ-0002054406   100
Emails/Attachments   PILGRIMS-DOJ-0002054408   PILGRIMS-DOJ-0002054507    68
Emails/Attachments   PILGRIMS-DOJ-0002054509   PILGRIMS-DOJ-0002054522     7
Emails/Attachments   PILGRIMS-DOJ-0002054524   PILGRIMS-DOJ-0002054555    18
Emails/Attachments   PILGRIMS-DOJ-0002054558   PILGRIMS-DOJ-0002054592    14
Emails/Attachments   PILGRIMS-DOJ-0002054597   PILGRIMS-DOJ-0002054600     1
Emails/Attachments   PILGRIMS-DOJ-0002054602   PILGRIMS-DOJ-0002054607     4
Emails/Attachments   PILGRIMS-DOJ-0002054611   PILGRIMS-DOJ-0002054612     1
Emails/Attachments   PILGRIMS-DOJ-0002054616   PILGRIMS-DOJ-0002054722    53
Emails/Attachments   PILGRIMS-DOJ-0002054724   PILGRIMS-DOJ-0002054781    36
Emails/Attachments   PILGRIMS-DOJ-0002054783   PILGRIMS-DOJ-0002055039    56
Emails/Attachments   PILGRIMS-DOJ-0002055041   PILGRIMS-DOJ-0002055070    14
Emails/Attachments   PILGRIMS-DOJ-0002055078   PILGRIMS-DOJ-0002055088     4
Emails/Attachments   PILGRIMS-DOJ-0002055091   PILGRIMS-DOJ-0002055135    21
Emails/Attachments   PILGRIMS-DOJ-0002055137   PILGRIMS-DOJ-0002055678   276
Emails/Attachments   PILGRIMS-DOJ-0002055682   PILGRIMS-DOJ-0002055985   128
Emails/Attachments   PILGRIMS-DOJ-0002055987   PILGRIMS-DOJ-0002056040     8
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 410 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002056046   PILGRIMS-DOJ-0002056070     7
Emails/Attachments   PILGRIMS-DOJ-0002056073   PILGRIMS-DOJ-0002056083     9
Emails/Attachments   PILGRIMS-DOJ-0002056087   PILGRIMS-DOJ-0002056094     4
Emails/Attachments   PILGRIMS-DOJ-0002056096   PILGRIMS-DOJ-0002056125    19
Emails/Attachments   PILGRIMS-DOJ-0002056127   PILGRIMS-DOJ-0002056394   109
Emails/Attachments   PILGRIMS-DOJ-0002056396   PILGRIMS-DOJ-0002056406     4
Emails/Attachments   PILGRIMS-DOJ-0002056415   PILGRIMS-DOJ-0002056416     2
Emails/Attachments   PILGRIMS-DOJ-0002056418   PILGRIMS-DOJ-0002056439    14
Emails/Attachments   PILGRIMS-DOJ-0002056442   PILGRIMS-DOJ-0002056452     7
Emails/Attachments   PILGRIMS-DOJ-0002056455   PILGRIMS-DOJ-0002056574    62
Emails/Attachments   PILGRIMS-DOJ-0002056576   PILGRIMS-DOJ-0002056760    68
Emails/Attachments   PILGRIMS-DOJ-0002056762   PILGRIMS-DOJ-0002056764     1
Emails/Attachments   PILGRIMS-DOJ-0002056766   PILGRIMS-DOJ-0002056796     6
Emails/Attachments   PILGRIMS-DOJ-0002056799   PILGRIMS-DOJ-0002056813     1
Emails/Attachments   PILGRIMS-DOJ-0002056823   PILGRIMS-DOJ-0002056874     5
Emails/Attachments   PILGRIMS-DOJ-0002056877   PILGRIMS-DOJ-0002056893     6
Emails/Attachments   PILGRIMS-DOJ-0002056895   PILGRIMS-DOJ-0002056950    28
Emails/Attachments   PILGRIMS-DOJ-0002056952   PILGRIMS-DOJ-0002057081    58
Emails/Attachments   PILGRIMS-DOJ-0002057083   PILGRIMS-DOJ-0002057086     2
Emails/Attachments   PILGRIMS-DOJ-0002057088   PILGRIMS-DOJ-0002057115    17
Emails/Attachments   PILGRIMS-DOJ-0002057119   PILGRIMS-DOJ-0002057160    11
Emails/Attachments   PILGRIMS-DOJ-0002057183   PILGRIMS-DOJ-0002057197     8
Emails/Attachments   PILGRIMS-DOJ-0002057199   PILGRIMS-DOJ-0002057201     1
Emails/Attachments   PILGRIMS-DOJ-0002057208   PILGRIMS-DOJ-0002057268    15
Emails/Attachments   PILGRIMS-DOJ-0002057270   PILGRIMS-DOJ-0002057284     6
Emails/Attachments   PILGRIMS-DOJ-0002057286   PILGRIMS-DOJ-0002057303     4
Emails/Attachments   PILGRIMS-DOJ-0002057307   PILGRIMS-DOJ-0002057308     1
Emails/Attachments   PILGRIMS-DOJ-0002057312   PILGRIMS-DOJ-0002057318     1
Emails/Attachments   PILGRIMS-DOJ-0002057323   PILGRIMS-DOJ-0002057328     1
Emails/Attachments   PILGRIMS-DOJ-0002057330   PILGRIMS-DOJ-0002057345     2
Emails/Attachments   PILGRIMS-DOJ-0002057348   PILGRIMS-DOJ-0002057446    27
Emails/Attachments   PILGRIMS-DOJ-0002057448   PILGRIMS-DOJ-0002057457     4
Emails/Attachments   PILGRIMS-DOJ-0002057459   PILGRIMS-DOJ-0002057466     5
Emails/Attachments   PILGRIMS-DOJ-0002057468   PILGRIMS-DOJ-0002057503    22
Emails/Attachments   PILGRIMS-DOJ-0002057505   PILGRIMS-DOJ-0002057513     4
Emails/Attachments   PILGRIMS-DOJ-0002057515   PILGRIMS-DOJ-0002057530    11
Emails/Attachments   PILGRIMS-DOJ-0002057532   PILGRIMS-DOJ-0002057537     6
Emails/Attachments   PILGRIMS-DOJ-0002057539   PILGRIMS-DOJ-0002057542     1
Emails/Attachments   PILGRIMS-DOJ-0002057549   PILGRIMS-DOJ-0002057571    12
Emails/Attachments   PILGRIMS-DOJ-0002057575   PILGRIMS-DOJ-0002057632    46
Emails/Attachments   PILGRIMS-DOJ-0002057634   PILGRIMS-DOJ-0002057684    27
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 411 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002057687   PILGRIMS-DOJ-0002057726    23
Emails/Attachments   PILGRIMS-DOJ-0002057730   PILGRIMS-DOJ-0002057754     8
Emails/Attachments   PILGRIMS-DOJ-0002057762   PILGRIMS-DOJ-0002057989    72
Emails/Attachments   PILGRIMS-DOJ-0002057991   PILGRIMS-DOJ-0002058032    21
Emails/Attachments   PILGRIMS-DOJ-0002058034   PILGRIMS-DOJ-0002058061    15
Emails/Attachments   PILGRIMS-DOJ-0002058063   PILGRIMS-DOJ-0002058068     1
Emails/Attachments   PILGRIMS-DOJ-0002058075   PILGRIMS-DOJ-0002058075     1
Emails/Attachments   PILGRIMS-DOJ-0002058077   PILGRIMS-DOJ-0002058164    56
Emails/Attachments   PILGRIMS-DOJ-0002058166   PILGRIMS-DOJ-0002058168     2
Emails/Attachments   PILGRIMS-DOJ-0002058171   PILGRIMS-DOJ-0002058174     1
Emails/Attachments   PILGRIMS-DOJ-0002058183   PILGRIMS-DOJ-0002058199    11
Emails/Attachments   PILGRIMS-DOJ-0002058202   PILGRIMS-DOJ-0002058207     5
Emails/Attachments   PILGRIMS-DOJ-0002058209   PILGRIMS-DOJ-0002058253    18
Emails/Attachments   PILGRIMS-DOJ-0002058255   PILGRIMS-DOJ-0002058274    13
Emails/Attachments   PILGRIMS-DOJ-0002058277   PILGRIMS-DOJ-0002058362    47
Emails/Attachments   PILGRIMS-DOJ-0002058364   PILGRIMS-DOJ-0002058375     7
Emails/Attachments   PILGRIMS-DOJ-0002058377   PILGRIMS-DOJ-0002058382     5
Emails/Attachments   PILGRIMS-DOJ-0002058387   PILGRIMS-DOJ-0002058392     4
Emails/Attachments   PILGRIMS-DOJ-0002058395   PILGRIMS-DOJ-0002058412     9
Emails/Attachments   PILGRIMS-DOJ-0002058414   PILGRIMS-DOJ-0002058616   108
Emails/Attachments   PILGRIMS-DOJ-0002058618   PILGRIMS-DOJ-0002058621     2
Emails/Attachments   PILGRIMS-DOJ-0002058624   PILGRIMS-DOJ-0002058630     7
Emails/Attachments   PILGRIMS-DOJ-0002058633   PILGRIMS-DOJ-0002058639     2
Emails/Attachments   PILGRIMS-DOJ-0002058641   PILGRIMS-DOJ-0002058655     9
Emails/Attachments   PILGRIMS-DOJ-0002058660   PILGRIMS-DOJ-0002058670     7
Emails/Attachments   PILGRIMS-DOJ-0002058672   PILGRIMS-DOJ-0002058773    62
Emails/Attachments   PILGRIMS-DOJ-0002058818   PILGRIMS-DOJ-0002058875    23
Emails/Attachments   PILGRIMS-DOJ-0002058877   PILGRIMS-DOJ-0002058937    36
Emails/Attachments   PILGRIMS-DOJ-0002058942   PILGRIMS-DOJ-0002058983    20
Emails/Attachments   PILGRIMS-DOJ-0002058985   PILGRIMS-DOJ-0002059041    21
Emails/Attachments   PILGRIMS-DOJ-0002059043   PILGRIMS-DOJ-0002059148    54
Emails/Attachments   PILGRIMS-DOJ-0002059150   PILGRIMS-DOJ-0002059165     9
Emails/Attachments   PILGRIMS-DOJ-0002059167   PILGRIMS-DOJ-0002059289    54
Emails/Attachments   PILGRIMS-DOJ-0002059291   PILGRIMS-DOJ-0002059298     6
Emails/Attachments   PILGRIMS-DOJ-0002059301   PILGRIMS-DOJ-0002059302     1
Emails/Attachments   PILGRIMS-DOJ-0002059306   PILGRIMS-DOJ-0002059546    56
Emails/Attachments   PILGRIMS-DOJ-0002059548   PILGRIMS-DOJ-0002059847    89
Emails/Attachments   PILGRIMS-DOJ-0002059849   PILGRIMS-DOJ-0002059993    38
Emails/Attachments   PILGRIMS-DOJ-0002060005   PILGRIMS-DOJ-0002060085    25
Emails/Attachments   PILGRIMS-DOJ-0002060087   PILGRIMS-DOJ-0002060196    21
Emails/Attachments   PILGRIMS-DOJ-0002060202   PILGRIMS-DOJ-0002060211     7
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 412 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002060213   PILGRIMS-DOJ-0002060240    12
Emails/Attachments   PILGRIMS-DOJ-0002060243   PILGRIMS-DOJ-0002060265     6
Emails/Attachments   PILGRIMS-DOJ-0002060269   PILGRIMS-DOJ-0002060597   169
Emails/Attachments   PILGRIMS-DOJ-0002060604   PILGRIMS-DOJ-0002060903   175
Emails/Attachments   PILGRIMS-DOJ-0002060905   PILGRIMS-DOJ-0002060911     3
Emails/Attachments   PILGRIMS-DOJ-0002060914   PILGRIMS-DOJ-0002061004    73
Emails/Attachments   PILGRIMS-DOJ-0002061007   PILGRIMS-DOJ-0002061083    38
Emails/Attachments   PILGRIMS-DOJ-0002061086   PILGRIMS-DOJ-0002061223    65
Emails/Attachments   PILGRIMS-DOJ-0002061238   PILGRIMS-DOJ-0002061303    28
Emails/Attachments   PILGRIMS-DOJ-0002061319   PILGRIMS-DOJ-0002061365    20
Emails/Attachments   PILGRIMS-DOJ-0002061367   PILGRIMS-DOJ-0002061487    41
Emails/Attachments   PILGRIMS-DOJ-0002061489   PILGRIMS-DOJ-0002061554    25
Emails/Attachments   PILGRIMS-DOJ-0002061556   PILGRIMS-DOJ-0002061601    20
Emails/Attachments   PILGRIMS-DOJ-0002061605   PILGRIMS-DOJ-0002061611     2
Emails/Attachments   PILGRIMS-DOJ-0002061615   PILGRIMS-DOJ-0002062011   151
Emails/Attachments   PILGRIMS-DOJ-0002062014   PILGRIMS-DOJ-0002062205    80
Emails/Attachments   PILGRIMS-DOJ-0002062207   PILGRIMS-DOJ-0002062231    11
Emails/Attachments   PILGRIMS-DOJ-0002062233   PILGRIMS-DOJ-0002062242     5
Emails/Attachments   PILGRIMS-DOJ-0002062244   PILGRIMS-DOJ-0002062288    29
Emails/Attachments   PILGRIMS-DOJ-0002062290   PILGRIMS-DOJ-0002062317    20
Emails/Attachments   PILGRIMS-DOJ-0002062319   PILGRIMS-DOJ-0002062369    34
Emails/Attachments   PILGRIMS-DOJ-0002062372   PILGRIMS-DOJ-0002062372     1
Emails/Attachments   PILGRIMS-DOJ-0002062374   PILGRIMS-DOJ-0002062374     1
Emails/Attachments   PILGRIMS-DOJ-0002062378   PILGRIMS-DOJ-0002062733   179
Emails/Attachments   PILGRIMS-DOJ-0002062737   PILGRIMS-DOJ-0002062756    13
Emails/Attachments   PILGRIMS-DOJ-0002062762   PILGRIMS-DOJ-0002062933    80
Emails/Attachments   PILGRIMS-DOJ-0002062938   PILGRIMS-DOJ-0002062965    11
Emails/Attachments   PILGRIMS-DOJ-0002062968   PILGRIMS-DOJ-0002063537   183
Emails/Attachments   PILGRIMS-DOJ-0002063539   PILGRIMS-DOJ-0002063559     9
Emails/Attachments   PILGRIMS-DOJ-0002063561   PILGRIMS-DOJ-0002063568     5
Emails/Attachments   PILGRIMS-DOJ-0002063570   PILGRIMS-DOJ-0002063624    38
Emails/Attachments   PILGRIMS-DOJ-0002063628   PILGRIMS-DOJ-0002063675    20
Emails/Attachments   PILGRIMS-DOJ-0002063678   PILGRIMS-DOJ-0002063681     4
Emails/Attachments   PILGRIMS-DOJ-0002063683   PILGRIMS-DOJ-0002063949   105
Emails/Attachments   PILGRIMS-DOJ-0002063951   PILGRIMS-DOJ-0002064026    20
Emails/Attachments   PILGRIMS-DOJ-0002064029   PILGRIMS-DOJ-0002064031     2
Emails/Attachments   PILGRIMS-DOJ-0002064037   PILGRIMS-DOJ-0002064149    60
Emails/Attachments   PILGRIMS-DOJ-0002064151   PILGRIMS-DOJ-0002064156     3
Emails/Attachments   PILGRIMS-DOJ-0002064158   PILGRIMS-DOJ-0002064162     3
Emails/Attachments   PILGRIMS-DOJ-0002064168   PILGRIMS-DOJ-0002064204    13
Emails/Attachments   PILGRIMS-DOJ-0002064206   PILGRIMS-DOJ-0002064316    52
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 413 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002064321   PILGRIMS-DOJ-0002064336     8
Emails/Attachments   PILGRIMS-DOJ-0002064343   PILGRIMS-DOJ-0002064361     5
Emails/Attachments   PILGRIMS-DOJ-0002064365   PILGRIMS-DOJ-0002064388    13
Emails/Attachments   PILGRIMS-DOJ-0002064390   PILGRIMS-DOJ-0002064438    26
Emails/Attachments   PILGRIMS-DOJ-0002064440   PILGRIMS-DOJ-0002064495    25
Emails/Attachments   PILGRIMS-DOJ-0002064497   PILGRIMS-DOJ-0002064498     1
Emails/Attachments   PILGRIMS-DOJ-0002064523   PILGRIMS-DOJ-0002064596    24
Emails/Attachments   PILGRIMS-DOJ-0002064604   PILGRIMS-DOJ-0002064633    20
Emails/Attachments   PILGRIMS-DOJ-0002064637   PILGRIMS-DOJ-0002064984   163
Emails/Attachments   PILGRIMS-DOJ-0002064986   PILGRIMS-DOJ-0002065028    12
Emails/Attachments   PILGRIMS-DOJ-0002065033   PILGRIMS-DOJ-0002065042     6
Emails/Attachments   PILGRIMS-DOJ-0002065045   PILGRIMS-DOJ-0002065130    21
Emails/Attachments   PILGRIMS-DOJ-0002065221   PILGRIMS-DOJ-0002065223     3
Emails/Attachments   PILGRIMS-DOJ-0002065225   PILGRIMS-DOJ-0002065255    22
Emails/Attachments   PILGRIMS-DOJ-0002065257   PILGRIMS-DOJ-0002065280    13
Emails/Attachments   PILGRIMS-DOJ-0002065311   PILGRIMS-DOJ-0002065364    34
Emails/Attachments   PILGRIMS-DOJ-0002065366   PILGRIMS-DOJ-0002065396    15
Emails/Attachments   PILGRIMS-DOJ-0002065399   PILGRIMS-DOJ-0002065426    18
Emails/Attachments   PILGRIMS-DOJ-0002065431   PILGRIMS-DOJ-0002065451    11
Emails/Attachments   PILGRIMS-DOJ-0002065454   PILGRIMS-DOJ-0002065512    33
Emails/Attachments   PILGRIMS-DOJ-0002065514   PILGRIMS-DOJ-0002065659    74
Emails/Attachments   PILGRIMS-DOJ-0002065661   PILGRIMS-DOJ-0002065730    41
Emails/Attachments   PILGRIMS-DOJ-0002065732   PILGRIMS-DOJ-0002065747     9
Emails/Attachments   PILGRIMS-DOJ-0002065749   PILGRIMS-DOJ-0002065767    12
Emails/Attachments   PILGRIMS-DOJ-0002065772   PILGRIMS-DOJ-0002065791     7
Emails/Attachments   PILGRIMS-DOJ-0002065793   PILGRIMS-DOJ-0002065871    28
Emails/Attachments   PILGRIMS-DOJ-0002065873   PILGRIMS-DOJ-0002065874     1
Emails/Attachments   PILGRIMS-DOJ-0002065876   PILGRIMS-DOJ-0002065876     1
Emails/Attachments   PILGRIMS-DOJ-0002065878   PILGRIMS-DOJ-0002066204   119
Emails/Attachments   PILGRIMS-DOJ-0002066206   PILGRIMS-DOJ-0002066322    56
Emails/Attachments   PILGRIMS-DOJ-0002066324   PILGRIMS-DOJ-0002066329     2
Emails/Attachments   PILGRIMS-DOJ-0002066341   PILGRIMS-DOJ-0002066341     1
Emails/Attachments   PILGRIMS-DOJ-0002066343   PILGRIMS-DOJ-0002066358     7
Emails/Attachments   PILGRIMS-DOJ-0002066360   PILGRIMS-DOJ-0002066408    23
Emails/Attachments   PILGRIMS-DOJ-0002066415   PILGRIMS-DOJ-0002066421     3
Emails/Attachments   PILGRIMS-DOJ-0002066423   PILGRIMS-DOJ-0002066789   110
Emails/Attachments   PILGRIMS-DOJ-0002066791   PILGRIMS-DOJ-0002066949    82
Emails/Attachments   PILGRIMS-DOJ-0002066951   PILGRIMS-DOJ-0002067011    33
Emails/Attachments   PILGRIMS-DOJ-0002067013   PILGRIMS-DOJ-0002067021     6
Emails/Attachments   PILGRIMS-DOJ-0002067025   PILGRIMS-DOJ-0002067026     1
Emails/Attachments   PILGRIMS-DOJ-0002067030   PILGRIMS-DOJ-0002067102    41
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 414 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002067104   PILGRIMS-DOJ-0002067130    12
Emails/Attachments   PILGRIMS-DOJ-0002067132   PILGRIMS-DOJ-0002067435   139
Emails/Attachments   PILGRIMS-DOJ-0002067437   PILGRIMS-DOJ-0002067559    49
Emails/Attachments   PILGRIMS-DOJ-0002067561   PILGRIMS-DOJ-0002067589    12
Emails/Attachments   PILGRIMS-DOJ-0002067591   PILGRIMS-DOJ-0002067683    39
Emails/Attachments   PILGRIMS-DOJ-0002067686   PILGRIMS-DOJ-0002067688     1
Emails/Attachments   PILGRIMS-DOJ-0002067692   PILGRIMS-DOJ-0002067697     2
Emails/Attachments   PILGRIMS-DOJ-0002067699   PILGRIMS-DOJ-0002067899    90
Emails/Attachments   PILGRIMS-DOJ-0002067901   PILGRIMS-DOJ-0002068041    79
Emails/Attachments   PILGRIMS-DOJ-0002068043   PILGRIMS-DOJ-0002068264   129
Emails/Attachments   PILGRIMS-DOJ-0002068268   PILGRIMS-DOJ-0002068367    51
Emails/Attachments   PILGRIMS-DOJ-0002068370   PILGRIMS-DOJ-0002068457    54
Emails/Attachments   PILGRIMS-DOJ-0002068460   PILGRIMS-DOJ-0002068577    68
Emails/Attachments   PILGRIMS-DOJ-0002068579   PILGRIMS-DOJ-0002068728    84
Emails/Attachments   PILGRIMS-DOJ-0002068730   PILGRIMS-DOJ-0002068836    60
Emails/Attachments   PILGRIMS-DOJ-0002068838   PILGRIMS-DOJ-0002068844     5
Emails/Attachments   PILGRIMS-DOJ-0002068848   PILGRIMS-DOJ-0002068917    46
Emails/Attachments   PILGRIMS-DOJ-0002068919   PILGRIMS-DOJ-0002068920     1
Emails/Attachments   PILGRIMS-DOJ-0002068922   PILGRIMS-DOJ-0002068978    45
Emails/Attachments   PILGRIMS-DOJ-0002068980   PILGRIMS-DOJ-0002069059    35
Emails/Attachments   PILGRIMS-DOJ-0002069061   PILGRIMS-DOJ-0002069244    94
Emails/Attachments   PILGRIMS-DOJ-0002069246   PILGRIMS-DOJ-0002069303    35
Emails/Attachments   PILGRIMS-DOJ-0002069305   PILGRIMS-DOJ-0002069341    24
Emails/Attachments   PILGRIMS-DOJ-0002069344   PILGRIMS-DOJ-0002069364    17
Emails/Attachments   PILGRIMS-DOJ-0002069366   PILGRIMS-DOJ-0002069530    90
Emails/Attachments   PILGRIMS-DOJ-0002069533   PILGRIMS-DOJ-0002069534     1
Emails/Attachments   PILGRIMS-DOJ-0002069536   PILGRIMS-DOJ-0002069685    67
Emails/Attachments   PILGRIMS-DOJ-0002069687   PILGRIMS-DOJ-0002069688     1
Emails/Attachments   PILGRIMS-DOJ-0002069690   PILGRIMS-DOJ-0002069705     3
Emails/Attachments   PILGRIMS-DOJ-0002069711   PILGRIMS-DOJ-0002069826    59
Emails/Attachments   PILGRIMS-DOJ-0002069829   PILGRIMS-DOJ-0002069838     5
Emails/Attachments   PILGRIMS-DOJ-0002069841   PILGRIMS-DOJ-0002070113   153
Emails/Attachments   PILGRIMS-DOJ-0002070130   PILGRIMS-DOJ-0002070136     4
Emails/Attachments   PILGRIMS-DOJ-0002070138   PILGRIMS-DOJ-0002070160    10
Emails/Attachments   PILGRIMS-DOJ-0002070162   PILGRIMS-DOJ-0002070297    79
Emails/Attachments   PILGRIMS-DOJ-0002070299   PILGRIMS-DOJ-0002070662   186
Emails/Attachments   PILGRIMS-DOJ-0002070665   PILGRIMS-DOJ-0002070702    22
Emails/Attachments   PILGRIMS-DOJ-0002070715   PILGRIMS-DOJ-0002070731    13
Emails/Attachments   PILGRIMS-DOJ-0002070745   PILGRIMS-DOJ-0002070974   146
Emails/Attachments   PILGRIMS-DOJ-0002070976   PILGRIMS-DOJ-0002070986     5
Emails/Attachments   PILGRIMS-DOJ-0002070988   PILGRIMS-DOJ-0002070990     2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 415 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002071021   PILGRIMS-DOJ-0002071026     6
Emails/Attachments   PILGRIMS-DOJ-0002071060   PILGRIMS-DOJ-0002071195    81
Emails/Attachments   PILGRIMS-DOJ-0002071197   PILGRIMS-DOJ-0002071227    28
Emails/Attachments   PILGRIMS-DOJ-0002071229   PILGRIMS-DOJ-0002071377    46
Emails/Attachments   PILGRIMS-DOJ-0002071381   PILGRIMS-DOJ-0002071384     1
Emails/Attachments   PILGRIMS-DOJ-0002071386   PILGRIMS-DOJ-0002071683   189
Emails/Attachments   PILGRIMS-DOJ-0002071685   PILGRIMS-DOJ-0002071690     4
Emails/Attachments   PILGRIMS-DOJ-0002071692   PILGRIMS-DOJ-0002071722    23
Emails/Attachments   PILGRIMS-DOJ-0002071724   PILGRIMS-DOJ-0002071736     8
Emails/Attachments   PILGRIMS-DOJ-0002071739   PILGRIMS-DOJ-0002071749     7
Emails/Attachments   PILGRIMS-DOJ-0002071752   PILGRIMS-DOJ-0002071778    13
Emails/Attachments   PILGRIMS-DOJ-0002071781   PILGRIMS-DOJ-0002071848    40
Emails/Attachments   PILGRIMS-DOJ-0002071850   PILGRIMS-DOJ-0002071942    60
Emails/Attachments   PILGRIMS-DOJ-0002071944   PILGRIMS-DOJ-0002072276   191
Emails/Attachments   PILGRIMS-DOJ-0002072278   PILGRIMS-DOJ-0002072282     3
Emails/Attachments   PILGRIMS-DOJ-0002072284   PILGRIMS-DOJ-0002072284     1
Emails/Attachments   PILGRIMS-DOJ-0002072286   PILGRIMS-DOJ-0002072457    96
Emails/Attachments   PILGRIMS-DOJ-0002072462   PILGRIMS-DOJ-0002072494    18
Emails/Attachments   PILGRIMS-DOJ-0002072496   PILGRIMS-DOJ-0002072563    46
Emails/Attachments   PILGRIMS-DOJ-0002072565   PILGRIMS-DOJ-0002072646    27
Emails/Attachments   PILGRIMS-DOJ-0002072648   PILGRIMS-DOJ-0002072831    99
Emails/Attachments   PILGRIMS-DOJ-0002072833   PILGRIMS-DOJ-0002072923    48
Emails/Attachments   PILGRIMS-DOJ-0002072925   PILGRIMS-DOJ-0002072953    18
Emails/Attachments   PILGRIMS-DOJ-0002072955   PILGRIMS-DOJ-0002072961     6
Emails/Attachments   PILGRIMS-DOJ-0002072963   PILGRIMS-DOJ-0002073206   120
Emails/Attachments   PILGRIMS-DOJ-0002073208   PILGRIMS-DOJ-0002073836   355
Emails/Attachments   PILGRIMS-DOJ-0002073838   PILGRIMS-DOJ-0002073840     3
Emails/Attachments   PILGRIMS-DOJ-0002073842   PILGRIMS-DOJ-0002073857     9
Emails/Attachments   PILGRIMS-DOJ-0002073859   PILGRIMS-DOJ-0002073989    53
Emails/Attachments   PILGRIMS-DOJ-0002073991   PILGRIMS-DOJ-0002073996     2
Emails/Attachments   PILGRIMS-DOJ-0002073998   PILGRIMS-DOJ-0002074011     4
Emails/Attachments   PILGRIMS-DOJ-0002074013   PILGRIMS-DOJ-0002074019     7
Emails/Attachments   PILGRIMS-DOJ-0002074021   PILGRIMS-DOJ-0002074072    31
Emails/Attachments   PILGRIMS-DOJ-0002074074   PILGRIMS-DOJ-0002074076     3
Emails/Attachments   PILGRIMS-DOJ-0002074078   PILGRIMS-DOJ-0002074402   142
Emails/Attachments   PILGRIMS-DOJ-0002074404   PILGRIMS-DOJ-0002074470    21
Emails/Attachments   PILGRIMS-DOJ-0002074472   PILGRIMS-DOJ-0002074503    21
Emails/Attachments   PILGRIMS-DOJ-0002074523   PILGRIMS-DOJ-0002074530     2
Emails/Attachments   PILGRIMS-DOJ-0002074533   PILGRIMS-DOJ-0002074877   187
Emails/Attachments   PILGRIMS-DOJ-0002074893   PILGRIMS-DOJ-0002074938    27
Emails/Attachments   PILGRIMS-DOJ-0002074940   PILGRIMS-DOJ-0002074941     1
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 416 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002074944   PILGRIMS-DOJ-0002075247   135
Emails/Attachments   PILGRIMS-DOJ-0002075249   PILGRIMS-DOJ-0002075458    97
Emails/Attachments   PILGRIMS-DOJ-0002075460   PILGRIMS-DOJ-0002075465     3
Emails/Attachments   PILGRIMS-DOJ-0002075479   PILGRIMS-DOJ-0002075484     5
Emails/Attachments   PILGRIMS-DOJ-0002075486   PILGRIMS-DOJ-0002075654   106
Emails/Attachments   PILGRIMS-DOJ-0002075656   PILGRIMS-DOJ-0002075660     5
Emails/Attachments   PILGRIMS-DOJ-0002075663   PILGRIMS-DOJ-0002075868   132
Emails/Attachments   PILGRIMS-DOJ-0002075870   PILGRIMS-DOJ-0002076016    45
Emails/Attachments   PILGRIMS-DOJ-0002076018   PILGRIMS-DOJ-0002076021     4
Emails/Attachments   PILGRIMS-DOJ-0002076023   PILGRIMS-DOJ-0002076083    34
Emails/Attachments   PILGRIMS-DOJ-0002076085   PILGRIMS-DOJ-0002076086     1
Emails/Attachments   PILGRIMS-DOJ-0002076088   PILGRIMS-DOJ-0002076302   139
Emails/Attachments   PILGRIMS-DOJ-0002076304   PILGRIMS-DOJ-0002076509   110
Emails/Attachments   PILGRIMS-DOJ-0002076511   PILGRIMS-DOJ-0002076543    22
Emails/Attachments   PILGRIMS-DOJ-0002076546   PILGRIMS-DOJ-0002076652    53
Emails/Attachments   PILGRIMS-DOJ-0002076654   PILGRIMS-DOJ-0002077018   160
Emails/Attachments   PILGRIMS-DOJ-0002077020   PILGRIMS-DOJ-0002077142    28
Emails/Attachments   PILGRIMS-DOJ-0002077144   PILGRIMS-DOJ-0002077156    10
Emails/Attachments   PILGRIMS-DOJ-0002077158   PILGRIMS-DOJ-0002077205    30
Emails/Attachments   PILGRIMS-DOJ-0002077207   PILGRIMS-DOJ-0002077210     4
Emails/Attachments   PILGRIMS-DOJ-0002077212   PILGRIMS-DOJ-0002077281    39
Emails/Attachments   PILGRIMS-DOJ-0002077283   PILGRIMS-DOJ-0002077522   129
Emails/Attachments   PILGRIMS-DOJ-0002077524   PILGRIMS-DOJ-0002077571    36
Emails/Attachments   PILGRIMS-DOJ-0002077573   PILGRIMS-DOJ-0002077670    67
Emails/Attachments   PILGRIMS-DOJ-0002077672   PILGRIMS-DOJ-0002078130   273
Emails/Attachments   PILGRIMS-DOJ-0002078132   PILGRIMS-DOJ-0002078213    53
Emails/Attachments   PILGRIMS-DOJ-0002078215   PILGRIMS-DOJ-0002078271    42
Emails/Attachments   PILGRIMS-DOJ-0002078273   PILGRIMS-DOJ-0002078444   122
Emails/Attachments   PILGRIMS-DOJ-0002078446   PILGRIMS-DOJ-0002078476    16
Emails/Attachments   PILGRIMS-DOJ-0002078478   PILGRIMS-DOJ-0002078531    32
Emails/Attachments   PILGRIMS-DOJ-0002078534   PILGRIMS-DOJ-0002078607    39
Emails/Attachments   PILGRIMS-DOJ-0002078609   PILGRIMS-DOJ-0002078687    52
Emails/Attachments   PILGRIMS-DOJ-0002078689   PILGRIMS-DOJ-0002079075   188
Emails/Attachments   PILGRIMS-DOJ-0002079077   PILGRIMS-DOJ-0002079551   235
Emails/Attachments   PILGRIMS-DOJ-0002079553   PILGRIMS-DOJ-0002079569    12
Emails/Attachments   PILGRIMS-DOJ-0002079571   PILGRIMS-DOJ-0002079752   104
Emails/Attachments   PILGRIMS-DOJ-0002079754   PILGRIMS-DOJ-0002079781    13
Emails/Attachments   PILGRIMS-DOJ-0002079783   PILGRIMS-DOJ-0002079815    17
Emails/Attachments   PILGRIMS-DOJ-0002079832   PILGRIMS-DOJ-0002079849    11
Emails/Attachments   PILGRIMS-DOJ-0002079851   PILGRIMS-DOJ-0002080107   116
Emails/Attachments   PILGRIMS-DOJ-0002080109   PILGRIMS-DOJ-0002080791   408
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 417 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002080802   PILGRIMS-DOJ-0002080832    23
Emails/Attachments   PILGRIMS-DOJ-0002080834   PILGRIMS-DOJ-0002080856    19
Emails/Attachments   PILGRIMS-DOJ-0002080858   PILGRIMS-DOJ-0002080871    13
Emails/Attachments   PILGRIMS-DOJ-0002080873   PILGRIMS-DOJ-0002080885    11
Emails/Attachments   PILGRIMS-DOJ-0002080887   PILGRIMS-DOJ-0002081231   199
Emails/Attachments   PILGRIMS-DOJ-0002081233   PILGRIMS-DOJ-0002081284    37
Emails/Attachments   PILGRIMS-DOJ-0002081286   PILGRIMS-DOJ-0002081447    78
Emails/Attachments   PILGRIMS-DOJ-0002081449   PILGRIMS-DOJ-0002081699   141
Emails/Attachments   PILGRIMS-DOJ-0002081701   PILGRIMS-DOJ-0002081779    46
Emails/Attachments   PILGRIMS-DOJ-0002081781   PILGRIMS-DOJ-0002081883    39
Emails/Attachments   PILGRIMS-DOJ-0002081885   PILGRIMS-DOJ-0002082238   211
Emails/Attachments   PILGRIMS-DOJ-0002082240   PILGRIMS-DOJ-0002082525   181
Emails/Attachments   PILGRIMS-DOJ-0002082528   PILGRIMS-DOJ-0002082532     5
Emails/Attachments   PILGRIMS-DOJ-0002082534   PILGRIMS-DOJ-0002082705   108
Emails/Attachments   PILGRIMS-DOJ-0002082707   PILGRIMS-DOJ-0002082740    16
Emails/Attachments   PILGRIMS-DOJ-0002082744   PILGRIMS-DOJ-0002082760     9
Emails/Attachments   PILGRIMS-DOJ-0002082762   PILGRIMS-DOJ-0002082777     7
Emails/Attachments   PILGRIMS-DOJ-0002082779   PILGRIMS-DOJ-0002083004   139
Emails/Attachments   PILGRIMS-DOJ-0002083006   PILGRIMS-DOJ-0002083137    87
Emails/Attachments   PILGRIMS-DOJ-0002083139   PILGRIMS-DOJ-0002083140     2
Emails/Attachments   PILGRIMS-DOJ-0002083142   PILGRIMS-DOJ-0002083158     8
Emails/Attachments   PILGRIMS-DOJ-0002083160   PILGRIMS-DOJ-0002083498   150
Emails/Attachments   PILGRIMS-DOJ-0002083500   PILGRIMS-DOJ-0002083847   195
Emails/Attachments   PILGRIMS-DOJ-0002083849   PILGRIMS-DOJ-0002084135   152
Emails/Attachments   PILGRIMS-DOJ-0002084137   PILGRIMS-DOJ-0002084143     7
Emails/Attachments   PILGRIMS-DOJ-0002084145   PILGRIMS-DOJ-0002084170    22
Emails/Attachments   PILGRIMS-DOJ-0002084172   PILGRIMS-DOJ-0002084443   136
Emails/Attachments   PILGRIMS-DOJ-0002084445   PILGRIMS-DOJ-0002084492    27
Emails/Attachments   PILGRIMS-DOJ-0002084497   PILGRIMS-DOJ-0002084563    26
Emails/Attachments   PILGRIMS-DOJ-0002084565   PILGRIMS-DOJ-0002084632    42
Emails/Attachments   PILGRIMS-DOJ-0002084634   PILGRIMS-DOJ-0002084686    29
Emails/Attachments   PILGRIMS-DOJ-0002084688   PILGRIMS-DOJ-0002084756    43
Emails/Attachments   PILGRIMS-DOJ-0002084758   PILGRIMS-DOJ-0002084771     4
Emails/Attachments   PILGRIMS-DOJ-0002084774   PILGRIMS-DOJ-0002084776     3
Emails/Attachments   PILGRIMS-DOJ-0002084779   PILGRIMS-DOJ-0002084854    58
Emails/Attachments   PILGRIMS-DOJ-0002084856   PILGRIMS-DOJ-0002085009   111
Emails/Attachments   PILGRIMS-DOJ-0002085014   PILGRIMS-DOJ-0002085082    55
Emails/Attachments   PILGRIMS-DOJ-0002085084   PILGRIMS-DOJ-0002085257    99
Emails/Attachments   PILGRIMS-DOJ-0002085259   PILGRIMS-DOJ-0002085368    61
Emails/Attachments   PILGRIMS-DOJ-0002085370   PILGRIMS-DOJ-0002085395    20
Emails/Attachments   PILGRIMS-DOJ-0002085397   PILGRIMS-DOJ-0002085433    27
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 418 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002085435   PILGRIMS-DOJ-0002085474    28
Emails/Attachments   PILGRIMS-DOJ-0002085491   PILGRIMS-DOJ-0002085561    42
Emails/Attachments   PILGRIMS-DOJ-0002085563   PILGRIMS-DOJ-0002085738   101
Emails/Attachments   PILGRIMS-DOJ-0002085740   PILGRIMS-DOJ-0002085820    53
Emails/Attachments   PILGRIMS-DOJ-0002085830   PILGRIMS-DOJ-0002085834     5
Emails/Attachments   PILGRIMS-DOJ-0002085836   PILGRIMS-DOJ-0002085858    14
Emails/Attachments   PILGRIMS-DOJ-0002085861   PILGRIMS-DOJ-0002086307   269
Emails/Attachments   PILGRIMS-DOJ-0002086310   PILGRIMS-DOJ-0002086641   102
Emails/Attachments   PILGRIMS-DOJ-0002086656   PILGRIMS-DOJ-0002086658     3
Emails/Attachments   PILGRIMS-DOJ-0002086661   PILGRIMS-DOJ-0002086775    67
Emails/Attachments   PILGRIMS-DOJ-0002086777   PILGRIMS-DOJ-0002086811    17
Emails/Attachments   PILGRIMS-DOJ-0002086813   PILGRIMS-DOJ-0002086843    23
Emails/Attachments   PILGRIMS-DOJ-0002086845   PILGRIMS-DOJ-0002086884    21
Emails/Attachments   PILGRIMS-DOJ-0002086886   PILGRIMS-DOJ-0002086902    13
Emails/Attachments   PILGRIMS-DOJ-0002086904   PILGRIMS-DOJ-0002087007    57
Emails/Attachments   PILGRIMS-DOJ-0002087009   PILGRIMS-DOJ-0002087047    26
Emails/Attachments   PILGRIMS-DOJ-0002087052   PILGRIMS-DOJ-0002087155    68
Emails/Attachments   PILGRIMS-DOJ-0002087157   PILGRIMS-DOJ-0002087496   131
Emails/Attachments   PILGRIMS-DOJ-0002087499   PILGRIMS-DOJ-0002087505     7
Emails/Attachments   PILGRIMS-DOJ-0002087507   PILGRIMS-DOJ-0002087510     3
Emails/Attachments   PILGRIMS-DOJ-0002087512   PILGRIMS-DOJ-0002087517     5
Emails/Attachments   PILGRIMS-DOJ-0002087519   PILGRIMS-DOJ-0002087576    44
Emails/Attachments   PILGRIMS-DOJ-0002087578   PILGRIMS-DOJ-0002087628    32
Emails/Attachments   PILGRIMS-DOJ-0002087630   PILGRIMS-DOJ-0002087696    30
Emails/Attachments   PILGRIMS-DOJ-0002087698   PILGRIMS-DOJ-0002087706     5
Emails/Attachments   PILGRIMS-DOJ-0002087708   PILGRIMS-DOJ-0002087721    12
Emails/Attachments   PILGRIMS-DOJ-0002087723   PILGRIMS-DOJ-0002087738    11
Emails/Attachments   PILGRIMS-DOJ-0002087740   PILGRIMS-DOJ-0002087910    95
Emails/Attachments   PILGRIMS-DOJ-0002087912   PILGRIMS-DOJ-0002088189   153
Emails/Attachments   PILGRIMS-DOJ-0002088191   PILGRIMS-DOJ-0002088299    52
Emails/Attachments   PILGRIMS-DOJ-0002088301   PILGRIMS-DOJ-0002088316    15
Emails/Attachments   PILGRIMS-DOJ-0002088318   PILGRIMS-DOJ-0002088450    91
Emails/Attachments   PILGRIMS-DOJ-0002088452   PILGRIMS-DOJ-0002088487    23
Emails/Attachments   PILGRIMS-DOJ-0002088489   PILGRIMS-DOJ-0002088521    22
Emails/Attachments   PILGRIMS-DOJ-0002088523   PILGRIMS-DOJ-0002088575    35
Emails/Attachments   PILGRIMS-DOJ-0002088577   PILGRIMS-DOJ-0002088628    32
Emails/Attachments   PILGRIMS-DOJ-0002088630   PILGRIMS-DOJ-0002088785   100
Emails/Attachments   PILGRIMS-DOJ-0002088787   PILGRIMS-DOJ-0002088846    39
Emails/Attachments   PILGRIMS-DOJ-0002088848   PILGRIMS-DOJ-0002089020   106
Emails/Attachments   PILGRIMS-DOJ-0002089022   PILGRIMS-DOJ-0002089134    80
Emails/Attachments   PILGRIMS-DOJ-0002089136   PILGRIMS-DOJ-0002089157    12
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 419 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002089159   PILGRIMS-DOJ-0002089189    25
Emails/Attachments   PILGRIMS-DOJ-0002089191   PILGRIMS-DOJ-0002089193     2
Emails/Attachments   PILGRIMS-DOJ-0002089195   PILGRIMS-DOJ-0002089481   172
Emails/Attachments   PILGRIMS-DOJ-0002089514   PILGRIMS-DOJ-0002089528    10
Emails/Attachments   PILGRIMS-DOJ-0002089530   PILGRIMS-DOJ-0002089748   126
Emails/Attachments   PILGRIMS-DOJ-0002089750   PILGRIMS-DOJ-0002090207   263
Emails/Attachments   PILGRIMS-DOJ-0002090209   PILGRIMS-DOJ-0002090257    38
Emails/Attachments   PILGRIMS-DOJ-0002090260   PILGRIMS-DOJ-0002090309    11
Emails/Attachments   PILGRIMS-DOJ-0002090311   PILGRIMS-DOJ-0002090344    26
Emails/Attachments   PILGRIMS-DOJ-0002090346   PILGRIMS-DOJ-0002090564   102
Emails/Attachments   PILGRIMS-DOJ-0002090567   PILGRIMS-DOJ-0002091381   238
Emails/Attachments   PILGRIMS-DOJ-0002091383   PILGRIMS-DOJ-0002091389     5
Emails/Attachments   PILGRIMS-DOJ-0002091391   PILGRIMS-DOJ-0002091406     6
Emails/Attachments   PILGRIMS-DOJ-0002091408   PILGRIMS-DOJ-0002091547    85
Emails/Attachments   PILGRIMS-DOJ-0002091549   PILGRIMS-DOJ-0002091747   105
Emails/Attachments   PILGRIMS-DOJ-0002091749   PILGRIMS-DOJ-0002091771    16
Emails/Attachments   PILGRIMS-DOJ-0002091773   PILGRIMS-DOJ-0002091898    86
Emails/Attachments   PILGRIMS-DOJ-0002091900   PILGRIMS-DOJ-0002091930    21
Emails/Attachments   PILGRIMS-DOJ-0002091932   PILGRIMS-DOJ-0002092125   108
Emails/Attachments   PILGRIMS-DOJ-0002092128   PILGRIMS-DOJ-0002092453   210
Emails/Attachments   PILGRIMS-DOJ-0002092458   PILGRIMS-DOJ-0002092724   149
Emails/Attachments   PILGRIMS-DOJ-0002092728   PILGRIMS-DOJ-0002092906   113
Emails/Attachments   PILGRIMS-DOJ-0002092908   PILGRIMS-DOJ-0002093039    86
Emails/Attachments   PILGRIMS-DOJ-0002093041   PILGRIMS-DOJ-0002093044     3
Emails/Attachments   PILGRIMS-DOJ-0002093047   PILGRIMS-DOJ-0002093140    63
Emails/Attachments   PILGRIMS-DOJ-0002093142   PILGRIMS-DOJ-0002093233     7
Emails/Attachments   PILGRIMS-DOJ-0002093235   PILGRIMS-DOJ-0002093434   122
Emails/Attachments   PILGRIMS-DOJ-0002093436   PILGRIMS-DOJ-0002093586   104
Emails/Attachments   PILGRIMS-DOJ-0002093588   PILGRIMS-DOJ-0002093784   113
Emails/Attachments   PILGRIMS-DOJ-0002093786   PILGRIMS-DOJ-0002093805    12
Emails/Attachments   PILGRIMS-DOJ-0002093807   PILGRIMS-DOJ-0002094228   263
Emails/Attachments   PILGRIMS-DOJ-0002094230   PILGRIMS-DOJ-0002094240     8
Emails/Attachments   PILGRIMS-DOJ-0002094242   PILGRIMS-DOJ-0002094462   146
Emails/Attachments   PILGRIMS-DOJ-0002094465   PILGRIMS-DOJ-0002094626   117
Emails/Attachments   PILGRIMS-DOJ-0002094628   PILGRIMS-DOJ-0002094913   181
Emails/Attachments   PILGRIMS-DOJ-0002094915   PILGRIMS-DOJ-0002094936    17
Emails/Attachments   PILGRIMS-DOJ-0002094938   PILGRIMS-DOJ-0002095103    69
Emails/Attachments   PILGRIMS-DOJ-0002095105   PILGRIMS-DOJ-0002095171    39
Emails/Attachments   PILGRIMS-DOJ-0002095173   PILGRIMS-DOJ-0002095205    22
Emails/Attachments   PILGRIMS-DOJ-0002095207   PILGRIMS-DOJ-0002095408    65
Emails/Attachments   PILGRIMS-DOJ-0002095410   PILGRIMS-DOJ-0002095498    39
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 420 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002095558   PILGRIMS-DOJ-0002095588     24
Emails/Attachments   PILGRIMS-DOJ-0002095590   PILGRIMS-DOJ-0002095592      2
Emails/Attachments   PILGRIMS-DOJ-0002095594   PILGRIMS-DOJ-0002095610     10
Emails/Attachments   PILGRIMS-DOJ-0002095613   PILGRIMS-DOJ-0002095666     20
Emails/Attachments   PILGRIMS-DOJ-0002095712   PILGRIMS-DOJ-0002095804     61
Emails/Attachments   PILGRIMS-DOJ-0002095806   PILGRIMS-DOJ-0002096068    126
Emails/Attachments   PILGRIMS-DOJ-0002096070   PILGRIMS-DOJ-0002096111     20
Emails/Attachments   PILGRIMS-DOJ-0002096115   PILGRIMS-DOJ-0002096208     54
Emails/Attachments   PILGRIMS-DOJ-0002096210   PILGRIMS-DOJ-0002096218      1
Emails/Attachments   PILGRIMS-DOJ-0002096220   PILGRIMS-DOJ-0002096222      3
Emails/Attachments   PILGRIMS-DOJ-0002096224   PILGRIMS-DOJ-0002096432     93
Emails/Attachments   PILGRIMS-DOJ-0002096442   PILGRIMS-DOJ-0002096443      2
Emails/Attachments   PILGRIMS-DOJ-0002096445   PILGRIMS-DOJ-0002096902    147
Emails/Attachments   PILGRIMS-DOJ-0002096904   PILGRIMS-DOJ-0002096925      8
Emails/Attachments   PILGRIMS-DOJ-0002097201   PILGRIMS-DOJ-0002097762    189
Emails/Attachments   PILGRIMS-DOJ-0002097764   PILGRIMS-DOJ-0002097911     48
Emails/Attachments   PILGRIMS-DOJ-0002097913   PILGRIMS-DOJ-0002100183   1,067
Emails/Attachments   PILGRIMS-DOJ-0002100194   PILGRIMS-DOJ-0002100369     65
Emails/Attachments   PILGRIMS-DOJ-0002100374   PILGRIMS-DOJ-0002100597    104
Emails/Attachments   PILGRIMS-DOJ-0002100606   PILGRIMS-DOJ-0002101018    202
Emails/Attachments   PILGRIMS-DOJ-0002101039   PILGRIMS-DOJ-0002101095     11
Emails/Attachments   PILGRIMS-DOJ-0002101100   PILGRIMS-DOJ-0002101810    128
Emails/Attachments   PILGRIMS-DOJ-0002101817   PILGRIMS-DOJ-0002101838      5
Emails/Attachments   PILGRIMS-DOJ-0002101856   PILGRIMS-DOJ-0002111688   5,379
Emails/Attachments   PILGRIMS-DOJ-0002111690   PILGRIMS-DOJ-0002118460   4,507
Emails/Attachments   PILGRIMS-DOJ-0002118462   PILGRIMS-DOJ-0002118462      1
Emails/Attachments   PILGRIMS-DOJ-0002118465   PILGRIMS-DOJ-0002118470      3
Emails/Attachments   PILGRIMS-DOJ-0002118472   PILGRIMS-DOJ-0002118473      2
Emails/Attachments   PILGRIMS-DOJ-0002118476   PILGRIMS-DOJ-0002118476      1
Emails/Attachments   PILGRIMS-DOJ-0002118480   PILGRIMS-DOJ-0002118824    255
Emails/Attachments   PILGRIMS-DOJ-0002118828   PILGRIMS-DOJ-0002124218   3,764
Emails/Attachments   PILGRIMS-DOJ-0002124231   PILGRIMS-DOJ-0002124882    480
Emails/Attachments   PILGRIMS-DOJ-0002124884   PILGRIMS-DOJ-0002125226    215
Emails/Attachments   PILGRIMS-DOJ-0002125232   PILGRIMS-DOJ-0002127848   1,742
Emails/Attachments   PILGRIMS-DOJ-0002127851   PILGRIMS-DOJ-0002128551    380
Emails/Attachments   PILGRIMS-DOJ-0002128553   PILGRIMS-DOJ-0002129008    325
Emails/Attachments   PILGRIMS-DOJ-0002129010   PILGRIMS-DOJ-0002129861    604
Emails/Attachments   PILGRIMS-DOJ-0002129866   PILGRIMS-DOJ-0002131200    867
Emails/Attachments   PILGRIMS-DOJ-0002131203   PILGRIMS-DOJ-0002131322     90
Emails/Attachments   PILGRIMS-DOJ-0002131325   PILGRIMS-DOJ-0002131719    302
Emails/Attachments   PILGRIMS-DOJ-0002131722   PILGRIMS-DOJ-0002131725      3
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 421 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002131728   PILGRIMS-DOJ-0002131819       66
Emails/Attachments   PILGRIMS-DOJ-0002131835   PILGRIMS-DOJ-0002131865       18
Emails/Attachments   PILGRIMS-DOJ-0002131875   PILGRIMS-DOJ-0002131911       31
Emails/Attachments   PILGRIMS-DOJ-0002131913   PILGRIMS-DOJ-0002131914        2
Emails/Attachments   PILGRIMS-DOJ-0002131917   PILGRIMS-DOJ-0002132096      135
Emails/Attachments   PILGRIMS-DOJ-0002132098   PILGRIMS-DOJ-0002132465      230
Emails/Attachments   PILGRIMS-DOJ-0002132467   PILGRIMS-DOJ-0002132798      188
Emails/Attachments   PILGRIMS-DOJ-0002132806   PILGRIMS-DOJ-0002133037      116
Emails/Attachments   PILGRIMS-DOJ-0002133057   PILGRIMS-DOJ-0002133197      109
Emails/Attachments   PILGRIMS-DOJ-0002133199   PILGRIMS-DOJ-0002133220       17
Emails/Attachments   PILGRIMS-DOJ-0002133252   PILGRIMS-DOJ-0002133333       50
Emails/Attachments   PILGRIMS-DOJ-0002133344   PILGRIMS-DOJ-0002133532       86
Emails/Attachments   PILGRIMS-DOJ-0002133538   PILGRIMS-DOJ-0002135547     1,113
Emails/Attachments   PILGRIMS-DOJ-0002135550   PILGRIMS-DOJ-0002136209      410
Emails/Attachments   PILGRIMS-DOJ-0002136222   PILGRIMS-DOJ-0002137783      823
Emails/Attachments   PILGRIMS-DOJ-0002137786   PILGRIMS-DOJ-0002149340     5,428
Emails/Attachments   PILGRIMS-DOJ-0002149343   PILGRIMS-DOJ-0002149980      343
Emails/Attachments   PILGRIMS-DOJ-0002149984   PILGRIMS-DOJ-0002154988     2,711
Emails/Attachments   PILGRIMS-DOJ-0002154999   PILGRIMS-DOJ-0002164955     5,857
Emails/Attachments   PILGRIMS-DOJ-0002164958   PILGRIMS-DOJ-0002164976        9
Emails/Attachments   PILGRIMS-DOJ-0002164981   PILGRIMS-DOJ-0002184649    12,287
Emails/Attachments   PILGRIMS-DOJ-0002184657   PILGRIMS-DOJ-0002185376      365
Emails/Attachments   PILGRIMS-DOJ-0002185379   PILGRIMS-DOJ-0002186314      495
Emails/Attachments   PILGRIMS-DOJ-0002186321   PILGRIMS-DOJ-0002193400     4,536
Emails/Attachments   PILGRIMS-DOJ-0002193403   PILGRIMS-DOJ-0002642780   185,372
Emails/Attachments   PILGRIMS-DOJ-0002642787   PILGRIMS-DOJ-0002645446     1,391
Emails/Attachments   PILGRIMS-DOJ-0002645459   PILGRIMS-DOJ-0002645667       88
Emails/Attachments   PILGRIMS-DOJ-0002645678   PILGRIMS-DOJ-0002681767    10,129
Emails/Attachments   PILGRIMS-DOJ-0002681779   PILGRIMS-DOJ-0002683451     1,047
Emails/Attachments   PILGRIMS-DOJ-0002683453   PILGRIMS-DOJ-0002683462        6
Emails/Attachments   PILGRIMS-DOJ-0002683483   PILGRIMS-DOJ-0002683547        9
Emails/Attachments   PILGRIMS-DOJ-0002684323   PILGRIMS-DOJ-0002684327        4
Emails/Attachments   PILGRIMS-DOJ-0002684423   PILGRIMS-DOJ-0002684429        2
Emails/Attachments   PILGRIMS-DOJ-0002684865   PILGRIMS-DOJ-0002684866        2
Emails/Attachments   PILGRIMS-DOJ-0002685111   PILGRIMS-DOJ-0002686723      135
Emails/Attachments   PILGRIMS-DOJ-0002686725   PILGRIMS-DOJ-0002687299      154
Emails/Attachments   PILGRIMS-DOJ-0002687301   PILGRIMS-DOJ-0002687591       72
Emails/Attachments   PILGRIMS-DOJ-0002687594   PILGRIMS-DOJ-0002688721      318
Emails/Attachments   PILGRIMS-DOJ-0002688760   PILGRIMS-DOJ-0002689951      351
Emails/Attachments   PILGRIMS-DOJ-0002689953   PILGRIMS-DOJ-0002691065      247
Emails/Attachments   PILGRIMS-DOJ-0002691105   PILGRIMS-DOJ-0002691463      177
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 422 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002691491   PILGRIMS-DOJ-0002693011    409
Emails/Attachments   PILGRIMS-DOJ-0002693038   PILGRIMS-DOJ-0002693399    167
Emails/Attachments   PILGRIMS-DOJ-0002693401   PILGRIMS-DOJ-0002695704    117
Emails/Attachments   PILGRIMS-DOJ-0002695706   PILGRIMS-DOJ-0002698801    264
Emails/Attachments   PILGRIMS-DOJ-0002698803   PILGRIMS-DOJ-0002700233    376
Emails/Attachments   PILGRIMS-DOJ-0002701041   PILGRIMS-DOJ-0002701055      3
Emails/Attachments   PILGRIMS-DOJ-0002701533   PILGRIMS-DOJ-0002701595      3
Emails/Attachments   PILGRIMS-DOJ-0002709253   PILGRIMS-DOJ-0002709255      1
Emails/Attachments   PILGRIMS-DOJ-0002713571   PILGRIMS-DOJ-0002713881    116
Emails/Attachments   PILGRIMS-DOJ-0002713884   PILGRIMS-DOJ-0002713930     12
Emails/Attachments   PILGRIMS-DOJ-0002713936   PILGRIMS-DOJ-0002713943      2
Emails/Attachments   PILGRIMS-DOJ-0002713948   PILGRIMS-DOJ-0002714229     86
Emails/Attachments   PILGRIMS-DOJ-0002714231   PILGRIMS-DOJ-0002714382     93
Emails/Attachments   PILGRIMS-DOJ-0002714384   PILGRIMS-DOJ-0002714515     24
Emails/Attachments   PILGRIMS-DOJ-0002714517   PILGRIMS-DOJ-0002714636     61
Emails/Attachments   PILGRIMS-DOJ-0002714638   PILGRIMS-DOJ-0002714890    145
Emails/Attachments   PILGRIMS-DOJ-0002714893   PILGRIMS-DOJ-0002714896      3
Emails/Attachments   PILGRIMS-DOJ-0002714910   PILGRIMS-DOJ-0002715953    439
Emails/Attachments   PILGRIMS-DOJ-0002715955   PILGRIMS-DOJ-0002716119     34
Emails/Attachments   PILGRIMS-DOJ-0002716122   PILGRIMS-DOJ-0002724392    220
Emails/Attachments   PILGRIMS-DOJ-0002724394   PILGRIMS-DOJ-0002724435     15
Emails/Attachments   PILGRIMS-DOJ-0002724437   PILGRIMS-DOJ-0002724633     69
Emails/Attachments   PILGRIMS-DOJ-0002724635   PILGRIMS-DOJ-0002724962     66
Emails/Attachments   PILGRIMS-DOJ-0002725002   PILGRIMS-DOJ-0002726123    203
Emails/Attachments   PILGRIMS-DOJ-0002726126   PILGRIMS-DOJ-0002726138     11
Emails/Attachments   PILGRIMS-DOJ-0002726140   PILGRIMS-DOJ-0002726141      2
Emails/Attachments   PILGRIMS-DOJ-0002726143   PILGRIMS-DOJ-0002726383    120
Emails/Attachments   PILGRIMS-DOJ-0002726385   PILGRIMS-DOJ-0002726393      5
Emails/Attachments   PILGRIMS-DOJ-0002726395   PILGRIMS-DOJ-0002732911   2,669
Emails/Attachments   PILGRIMS-DOJ-0002732913   PILGRIMS-DOJ-0002733833    286
Emails/Attachments   PILGRIMS-DOJ-0002733836   PILGRIMS-DOJ-0002737667    968
Emails/Attachments   PILGRIMS-DOJ-0002737671   PILGRIMS-DOJ-0002737737     39
Emails/Attachments   PILGRIMS-DOJ-0002737740   PILGRIMS-DOJ-0002737778     12
Emails/Attachments   PILGRIMS-DOJ-0002737785   PILGRIMS-DOJ-0002739681    205
Emails/Attachments   PILGRIMS-DOJ-0002739699   PILGRIMS-DOJ-0002739717      3
Emails/Attachments   PILGRIMS-DOJ-0002739746   PILGRIMS-DOJ-0002739847     27
Emails/Attachments   PILGRIMS-DOJ-0002739851   PILGRIMS-DOJ-0002739909     34
Emails/Attachments   PILGRIMS-DOJ-0002739958   PILGRIMS-DOJ-0002740642    355
Emails/Attachments   PILGRIMS-DOJ-0002740739   PILGRIMS-DOJ-0002740996     75
Emails/Attachments   PILGRIMS-DOJ-0002740998   PILGRIMS-DOJ-0002741011     13
Emails/Attachments   PILGRIMS-DOJ-0002741013   PILGRIMS-DOJ-0002741151     84
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 423 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002741154   PILGRIMS-DOJ-0002741162     8
Emails/Attachments   PILGRIMS-DOJ-0002741164   PILGRIMS-DOJ-0002741433    65
Emails/Attachments   PILGRIMS-DOJ-0002741435   PILGRIMS-DOJ-0002743389   433
Emails/Attachments   PILGRIMS-DOJ-0002743465   PILGRIMS-DOJ-0002744042   528
Emails/Attachments   PILGRIMS-DOJ-0002744044   PILGRIMS-DOJ-0002744416   333
Emails/Attachments   PILGRIMS-DOJ-0002744418   PILGRIMS-DOJ-0002744971   436
Emails/Attachments   PILGRIMS-DOJ-0002744992   PILGRIMS-DOJ-0002745405   396
Emails/Attachments   PILGRIMS-DOJ-0002745407   PILGRIMS-DOJ-0002745495    79
Emails/Attachments   PILGRIMS-DOJ-0002745506   PILGRIMS-DOJ-0002745519    14
Emails/Attachments   PILGRIMS-DOJ-0002745559   PILGRIMS-DOJ-0002745599    41
Emails/Attachments   PILGRIMS-DOJ-0002745602   PILGRIMS-DOJ-0002746418   744
Emails/Attachments   PILGRIMS-DOJ-0002746420   PILGRIMS-DOJ-0002746901   478
Emails/Attachments   PILGRIMS-DOJ-0002746904   PILGRIMS-DOJ-0002747274   360
Emails/Attachments   PILGRIMS-DOJ-0002747277   PILGRIMS-DOJ-0002747396   114
Emails/Attachments   PILGRIMS-DOJ-0002747398   PILGRIMS-DOJ-0002747429    30
Emails/Attachments   PILGRIMS-DOJ-0002747431   PILGRIMS-DOJ-0002747452    22
Emails/Attachments   PILGRIMS-DOJ-0002747465   PILGRIMS-DOJ-0002747506    40
Emails/Attachments   PILGRIMS-DOJ-0002747508   PILGRIMS-DOJ-0002747610    96
Emails/Attachments   PILGRIMS-DOJ-0002747612   PILGRIMS-DOJ-0002747617     6
Emails/Attachments   PILGRIMS-DOJ-0002747624   PILGRIMS-DOJ-0002747625     2
Emails/Attachments   PILGRIMS-DOJ-0002747627   PILGRIMS-DOJ-0002747628     2
Emails/Attachments   PILGRIMS-DOJ-0002747630   PILGRIMS-DOJ-0002747657    13
Emails/Attachments   PILGRIMS-DOJ-0002747659   PILGRIMS-DOJ-0002747661     3
Emails/Attachments   PILGRIMS-DOJ-0002747664   PILGRIMS-DOJ-0002747665     2
Emails/Attachments   PILGRIMS-DOJ-0002747668   PILGRIMS-DOJ-0002747671     4
Emails/Attachments   PILGRIMS-DOJ-0002747676   PILGRIMS-DOJ-0002747679     4
Emails/Attachments   PILGRIMS-DOJ-0002747682   PILGRIMS-DOJ-0002747683     2
Emails/Attachments   PILGRIMS-DOJ-0002747685   PILGRIMS-DOJ-0002747691     6
Emails/Attachments   PILGRIMS-DOJ-0002747695   PILGRIMS-DOJ-0002747699     4
Emails/Attachments   PILGRIMS-DOJ-0002747703   PILGRIMS-DOJ-0002747705     2
Emails/Attachments   PILGRIMS-DOJ-0002747714   PILGRIMS-DOJ-0002747721     8
Emails/Attachments   PILGRIMS-DOJ-0002747729   PILGRIMS-DOJ-0002747731     2
Emails/Attachments   PILGRIMS-DOJ-0002747736   PILGRIMS-DOJ-0002747739     4
Emails/Attachments   PILGRIMS-DOJ-0002747743   PILGRIMS-DOJ-0002747746     4
Emails/Attachments   PILGRIMS-DOJ-0002747748   PILGRIMS-DOJ-0002747749     2
Emails/Attachments   PILGRIMS-DOJ-0002747751   PILGRIMS-DOJ-0002747754     4
Emails/Attachments   PILGRIMS-DOJ-0002747758   PILGRIMS-DOJ-0002747765     6
Emails/Attachments   PILGRIMS-DOJ-0002747767   PILGRIMS-DOJ-0002747768     2
Emails/Attachments   PILGRIMS-DOJ-0002747771   PILGRIMS-DOJ-0002747780     8
Emails/Attachments   PILGRIMS-DOJ-0002747788   PILGRIMS-DOJ-0002747793     6
Emails/Attachments   PILGRIMS-DOJ-0002747801   PILGRIMS-DOJ-0002747802     2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 424 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002747810   PILGRIMS-DOJ-0002747812    2
Emails/Attachments   PILGRIMS-DOJ-0002747814   PILGRIMS-DOJ-0002747819    6
Emails/Attachments   PILGRIMS-DOJ-0002747836   PILGRIMS-DOJ-0002747843    6
Emails/Attachments   PILGRIMS-DOJ-0002747845   PILGRIMS-DOJ-0002747848    4
Emails/Attachments   PILGRIMS-DOJ-0002747852   PILGRIMS-DOJ-0002747857    6
Emails/Attachments   PILGRIMS-DOJ-0002747867   PILGRIMS-DOJ-0002747870    4
Emails/Attachments   PILGRIMS-DOJ-0002747876   PILGRIMS-DOJ-0002747877    2
Emails/Attachments   PILGRIMS-DOJ-0002747879   PILGRIMS-DOJ-0002747880    2
Emails/Attachments   PILGRIMS-DOJ-0002747885   PILGRIMS-DOJ-0002747892    8
Emails/Attachments   PILGRIMS-DOJ-0002747901   PILGRIMS-DOJ-0002747913   13
Emails/Attachments   PILGRIMS-DOJ-0002747915   PILGRIMS-DOJ-0002747921    6
Emails/Attachments   PILGRIMS-DOJ-0002747930   PILGRIMS-DOJ-0002747931    2
Emails/Attachments   PILGRIMS-DOJ-0002747934   PILGRIMS-DOJ-0002747935    2
Emails/Attachments   PILGRIMS-DOJ-0002747938   PILGRIMS-DOJ-0002747978   31
Emails/Attachments   PILGRIMS-DOJ-0002747988   PILGRIMS-DOJ-0002747991    4
Emails/Attachments   PILGRIMS-DOJ-0002748035   PILGRIMS-DOJ-0002748036    2
Emails/Attachments   PILGRIMS-DOJ-0002748038   PILGRIMS-DOJ-0002748040    2
Emails/Attachments   PILGRIMS-DOJ-0002748044   PILGRIMS-DOJ-0002748045    2
Emails/Attachments   PILGRIMS-DOJ-0002748047   PILGRIMS-DOJ-0002748050    4
Emails/Attachments   PILGRIMS-DOJ-0002748052   PILGRIMS-DOJ-0002748055    4
Emails/Attachments   PILGRIMS-DOJ-0002748057   PILGRIMS-DOJ-0002748070   14
Emails/Attachments   PILGRIMS-DOJ-0002748075   PILGRIMS-DOJ-0002748081    6
Emails/Attachments   PILGRIMS-DOJ-0002748083   PILGRIMS-DOJ-0002748084    2
Emails/Attachments   PILGRIMS-DOJ-0002748086   PILGRIMS-DOJ-0002748088    2
Emails/Attachments   PILGRIMS-DOJ-0002748092   PILGRIMS-DOJ-0002748093    2
Emails/Attachments   PILGRIMS-DOJ-0002748095   PILGRIMS-DOJ-0002748105   10
Emails/Attachments   PILGRIMS-DOJ-0002748107   PILGRIMS-DOJ-0002748124   18
Emails/Attachments   PILGRIMS-DOJ-0002748126   PILGRIMS-DOJ-0002748132    4
Emails/Attachments   PILGRIMS-DOJ-0002748145   PILGRIMS-DOJ-0002748146    2
Emails/Attachments   PILGRIMS-DOJ-0002748149   PILGRIMS-DOJ-0002748171   22
Emails/Attachments   PILGRIMS-DOJ-0002748173   PILGRIMS-DOJ-0002748176    4
Emails/Attachments   PILGRIMS-DOJ-0002748180   PILGRIMS-DOJ-0002748183    4
Emails/Attachments   PILGRIMS-DOJ-0002748185   PILGRIMS-DOJ-0002748188    4
Emails/Attachments   PILGRIMS-DOJ-0002748192   PILGRIMS-DOJ-0002748199    8
Emails/Attachments   PILGRIMS-DOJ-0002748203   PILGRIMS-DOJ-0002748215   10
Emails/Attachments   PILGRIMS-DOJ-0002748217   PILGRIMS-DOJ-0002748224    6
Emails/Attachments   PILGRIMS-DOJ-0002748226   PILGRIMS-DOJ-0002748229    4
Emails/Attachments   PILGRIMS-DOJ-0002748231   PILGRIMS-DOJ-0002748238    6
Emails/Attachments   PILGRIMS-DOJ-0002748240   PILGRIMS-DOJ-0002748243    4
Emails/Attachments   PILGRIMS-DOJ-0002748245   PILGRIMS-DOJ-0002748250    6
Emails/Attachments   PILGRIMS-DOJ-0002748253   PILGRIMS-DOJ-0002748257    4
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 425 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0002748260   PILGRIMS-DOJ-0002748271      10
Emails/Attachments   PILGRIMS-DOJ-0002748275   PILGRIMS-DOJ-0002748276       2
Emails/Attachments   PILGRIMS-DOJ-0002748278   PILGRIMS-DOJ-0002748301      21
Emails/Attachments   PILGRIMS-DOJ-0002748303   PILGRIMS-DOJ-0002748315      11
Emails/Attachments   PILGRIMS-DOJ-0002748318   PILGRIMS-DOJ-0002748337      19
Emails/Attachments   PILGRIMS-DOJ-0002748339   PILGRIMS-DOJ-0002748345       6
Emails/Attachments   PILGRIMS-DOJ-0002748351   PILGRIMS-DOJ-0002748380      26
Emails/Attachments   PILGRIMS-DOJ-0002748382   PILGRIMS-DOJ-0002748388       6
Emails/Attachments   PILGRIMS-DOJ-0002748391   PILGRIMS-DOJ-0002748406      16
Emails/Attachments   PILGRIMS-DOJ-0002748408   PILGRIMS-DOJ-0002748416       8
Emails/Attachments   PILGRIMS-DOJ-0002748418   PILGRIMS-DOJ-0002748423       6
Emails/Attachments   PILGRIMS-DOJ-0002748425   PILGRIMS-DOJ-0002748444      17
Emails/Attachments   PILGRIMS-DOJ-0002748446   PILGRIMS-DOJ-0002748456       8
Emails/Attachments   PILGRIMS-DOJ-0002748459   PILGRIMS-DOJ-0002748475      14
Emails/Attachments   PILGRIMS-DOJ-0002748477   PILGRIMS-DOJ-0002748488      10
Emails/Attachments   PILGRIMS-DOJ-0002748491   PILGRIMS-DOJ-0002748500       8
Emails/Attachments   PILGRIMS-DOJ-0002748502   PILGRIMS-DOJ-0002748525      20
Emails/Attachments   PILGRIMS-DOJ-0002748527   PILGRIMS-DOJ-0002748528       2
Emails/Attachments   PILGRIMS-DOJ-0002748532   PILGRIMS-DOJ-0002748557      24
Emails/Attachments   PILGRIMS-DOJ-0002748559   PILGRIMS-DOJ-0002748598      38
Emails/Attachments   PILGRIMS-DOJ-0002748600   PILGRIMS-DOJ-0002748616      15
Emails/Attachments   PILGRIMS-DOJ-0002748618   PILGRIMS-DOJ-0002748641      22
Emails/Attachments   PILGRIMS-DOJ-0002748643   PILGRIMS-DOJ-0002748658      14
Emails/Attachments   PILGRIMS-DOJ-0002748660   PILGRIMS-DOJ-0002748729      36
Emails/Attachments   PILGRIMS-DOJ-0002748731   PILGRIMS-DOJ-0003113354    76,715
Emails/Attachments   PILGRIMS-DOJ-0003113405   PILGRIMS-DOJ-0003380241   122,892
Emails/Attachments   PILGRIMS-DOJ-0003380243   PILGRIMS-DOJ-0003380243       1
Emails/Attachments   PILGRIMS-DOJ-0003380467   PILGRIMS-DOJ-0003386598     2,573
Emails/Attachments   PILGRIMS-DOJ-0003389638   PILGRIMS-DOJ-0003461850    20,046
Emails/Attachments   PILGRIMS-DOJ-0003462497   PILGRIMS-DOJ-0003462513      17
Emails/Attachments   PILGRIMS-DOJ-0003464258   PILGRIMS-DOJ-0003464273      16
Emails/Attachments   PILGRIMS-DOJ-0003464662   PILGRIMS-DOJ-0003464664       2
Emails/Attachments   PILGRIMS-DOJ-0003465727   PILGRIMS-DOJ-0003465733       4
Emails/Attachments   PILGRIMS-DOJ-0003465744   PILGRIMS-DOJ-0003465745       2
Emails/Attachments   PILGRIMS-DOJ-0003465749   PILGRIMS-DOJ-0003465752       4
Emails/Attachments   PILGRIMS-DOJ-0003465761   PILGRIMS-DOJ-0003465764       2
Emails/Attachments   PILGRIMS-DOJ-0003465772   PILGRIMS-DOJ-0003465773       1
Emails/Attachments   PILGRIMS-DOJ-0003465776   PILGRIMS-DOJ-0003465784       5
Emails/Attachments   PILGRIMS-DOJ-0003465796   PILGRIMS-DOJ-0003465798       3
Emails/Attachments   PILGRIMS-DOJ-0003465818   PILGRIMS-DOJ-0003465819       2
Emails/Attachments   PILGRIMS-DOJ-0003465904   PILGRIMS-DOJ-0003465905       1
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 426 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0003465936   PILGRIMS-DOJ-0003465937   1
Emails/Attachments   PILGRIMS-DOJ-0003465944   PILGRIMS-DOJ-0003465945   2
Emails/Attachments   PILGRIMS-DOJ-0003465949   PILGRIMS-DOJ-0003465950   1
Emails/Attachments   PILGRIMS-DOJ-0003465971   PILGRIMS-DOJ-0003465972   1
Emails/Attachments   PILGRIMS-DOJ-0003465980   PILGRIMS-DOJ-0003465981   2
Emails/Attachments   PILGRIMS-DOJ-0003466044   PILGRIMS-DOJ-0003466045   1
Emails/Attachments   PILGRIMS-DOJ-0003466047   PILGRIMS-DOJ-0003466050   4
Emails/Attachments   PILGRIMS-DOJ-0003466070   PILGRIMS-DOJ-0003466072   2
Emails/Attachments   PILGRIMS-DOJ-0003466091   PILGRIMS-DOJ-0003466092   2
Emails/Attachments   PILGRIMS-DOJ-0003466111   PILGRIMS-DOJ-0003466112   1
Emails/Attachments   PILGRIMS-DOJ-0003466114   PILGRIMS-DOJ-0003466115   2
Emails/Attachments   PILGRIMS-DOJ-0003466117   PILGRIMS-DOJ-0003466118   2
Emails/Attachments   PILGRIMS-DOJ-0003466140   PILGRIMS-DOJ-0003466142   2
Emails/Attachments   PILGRIMS-DOJ-0003466149   PILGRIMS-DOJ-0003466149   1
Emails/Attachments   PILGRIMS-DOJ-0003466151   PILGRIMS-DOJ-0003466152   2
Emails/Attachments   PILGRIMS-DOJ-0003466155   PILGRIMS-DOJ-0003466157   2
Emails/Attachments   PILGRIMS-DOJ-0003466748   PILGRIMS-DOJ-0003466749   2
Emails/Attachments   PILGRIMS-DOJ-0003466758   PILGRIMS-DOJ-0003466761   3
Emails/Attachments   PILGRIMS-DOJ-0003466764   PILGRIMS-DOJ-0003466766   2
Emails/Attachments   PILGRIMS-DOJ-0003466777   PILGRIMS-DOJ-0003466778   2
Emails/Attachments   PILGRIMS-DOJ-0003466781   PILGRIMS-DOJ-0003466783   2
Emails/Attachments   PILGRIMS-DOJ-0003466786   PILGRIMS-DOJ-0003466794   4
Emails/Attachments   PILGRIMS-DOJ-0003466797   PILGRIMS-DOJ-0003466798   2
Emails/Attachments   PILGRIMS-DOJ-0003466808   PILGRIMS-DOJ-0003466809   2
Emails/Attachments   PILGRIMS-DOJ-0003466826   PILGRIMS-DOJ-0003466827   2
Emails/Attachments   PILGRIMS-DOJ-0003466829   PILGRIMS-DOJ-0003466835   2
Emails/Attachments   PILGRIMS-DOJ-0003466841   PILGRIMS-DOJ-0003466842   1
Emails/Attachments   PILGRIMS-DOJ-0003466846   PILGRIMS-DOJ-0003466855   6
Emails/Attachments   PILGRIMS-DOJ-0003466857   PILGRIMS-DOJ-0003466860   2
Emails/Attachments   PILGRIMS-DOJ-0003466865   PILGRIMS-DOJ-0003466867   2
Emails/Attachments   PILGRIMS-DOJ-0003466869   PILGRIMS-DOJ-0003466870   2
Emails/Attachments   PILGRIMS-DOJ-0003466872   PILGRIMS-DOJ-0003466878   2
Emails/Attachments   PILGRIMS-DOJ-0003466881   PILGRIMS-DOJ-0003466882   1
Emails/Attachments   PILGRIMS-DOJ-0003466884   PILGRIMS-DOJ-0003466893   6
Emails/Attachments   PILGRIMS-DOJ-0003466897   PILGRIMS-DOJ-0003466899   2
Emails/Attachments   PILGRIMS-DOJ-0003466901   PILGRIMS-DOJ-0003466903   3
Emails/Attachments   PILGRIMS-DOJ-0003466905   PILGRIMS-DOJ-0003466911   2
Emails/Attachments   PILGRIMS-DOJ-0003466916   PILGRIMS-DOJ-0003466918   2
Emails/Attachments   PILGRIMS-DOJ-0003466921   PILGRIMS-DOJ-0003466926   4
Emails/Attachments   PILGRIMS-DOJ-0003466928   PILGRIMS-DOJ-0003466929   2
Emails/Attachments   PILGRIMS-DOJ-0003466940   PILGRIMS-DOJ-0003466942   2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 427 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0003466944   PILGRIMS-DOJ-0003466950   4
Emails/Attachments   PILGRIMS-DOJ-0003466955   PILGRIMS-DOJ-0003466961   2
Emails/Attachments   PILGRIMS-DOJ-0003466963   PILGRIMS-DOJ-0003466965   2
Emails/Attachments   PILGRIMS-DOJ-0003466967   PILGRIMS-DOJ-0003466970   4
Emails/Attachments   PILGRIMS-DOJ-0003466974   PILGRIMS-DOJ-0003466976   2
Emails/Attachments   PILGRIMS-DOJ-0003466978   PILGRIMS-DOJ-0003466986   4
Emails/Attachments   PILGRIMS-DOJ-0003466988   PILGRIMS-DOJ-0003466989   2
Emails/Attachments   PILGRIMS-DOJ-0003466991   PILGRIMS-DOJ-0003466998   2
Emails/Attachments   PILGRIMS-DOJ-0003467002   PILGRIMS-DOJ-0003467004   3
Emails/Attachments   PILGRIMS-DOJ-0003467007   PILGRIMS-DOJ-0003467013   6
Emails/Attachments   PILGRIMS-DOJ-0003467018   PILGRIMS-DOJ-0003467025   2
Emails/Attachments   PILGRIMS-DOJ-0003467030   PILGRIMS-DOJ-0003467031   1
Emails/Attachments   PILGRIMS-DOJ-0003467033   PILGRIMS-DOJ-0003467041   8
Emails/Attachments   PILGRIMS-DOJ-0003467043   PILGRIMS-DOJ-0003467052   4
Emails/Attachments   PILGRIMS-DOJ-0003467054   PILGRIMS-DOJ-0003467054   1
Emails/Attachments   PILGRIMS-DOJ-0003467056   PILGRIMS-DOJ-0003467057   2
Emails/Attachments   PILGRIMS-DOJ-0003467069   PILGRIMS-DOJ-0003467070   2
Emails/Attachments   PILGRIMS-DOJ-0003467078   PILGRIMS-DOJ-0003467081   4
Emails/Attachments   PILGRIMS-DOJ-0003467120   PILGRIMS-DOJ-0003467121   1
Emails/Attachments   PILGRIMS-DOJ-0003467123   PILGRIMS-DOJ-0003467135   8
Emails/Attachments   PILGRIMS-DOJ-0003467137   PILGRIMS-DOJ-0003467139   2
Emails/Attachments   PILGRIMS-DOJ-0003467145   PILGRIMS-DOJ-0003467146   1
Emails/Attachments   PILGRIMS-DOJ-0003467148   PILGRIMS-DOJ-0003467149   2
Emails/Attachments   PILGRIMS-DOJ-0003467163   PILGRIMS-DOJ-0003467164   2
Emails/Attachments   PILGRIMS-DOJ-0003467166   PILGRIMS-DOJ-0003467167   2
Emails/Attachments   PILGRIMS-DOJ-0003467190   PILGRIMS-DOJ-0003467191   2
Emails/Attachments   PILGRIMS-DOJ-0003467193   PILGRIMS-DOJ-0003467194   2
Emails/Attachments   PILGRIMS-DOJ-0003467231   PILGRIMS-DOJ-0003467231   1
Emails/Attachments   PILGRIMS-DOJ-0003467334   PILGRIMS-DOJ-0003467338   4
Emails/Attachments   PILGRIMS-DOJ-0003467343   PILGRIMS-DOJ-0003467344   2
Emails/Attachments   PILGRIMS-DOJ-0003467346   PILGRIMS-DOJ-0003467353   5
Emails/Attachments   PILGRIMS-DOJ-0003467363   PILGRIMS-DOJ-0003467364   2
Emails/Attachments   PILGRIMS-DOJ-0003467367   PILGRIMS-DOJ-0003467368   1
Emails/Attachments   PILGRIMS-DOJ-0003467378   PILGRIMS-DOJ-0003467379   2
Emails/Attachments   PILGRIMS-DOJ-0003500068   PILGRIMS-DOJ-0003500073   2
Emails/Attachments   PILGRIMS-DOJ-0003507751   PILGRIMS-DOJ-0003507817   2
Emails/Attachments   PILGRIMS-DOJ-0003511831   PILGRIMS-DOJ-0003511835   2
Emails/Attachments   PILGRIMS-DOJ-0003511908   PILGRIMS-DOJ-0003511913   2
Emails/Attachments   PILGRIMS-DOJ-0003511942   PILGRIMS-DOJ-0003512007   5
Emails/Attachments   PILGRIMS-DOJ-0003512011   PILGRIMS-DOJ-0003512015   5
Emails/Attachments   PILGRIMS-DOJ-0003512080   PILGRIMS-DOJ-0003512081   2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 428 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0003512094   PILGRIMS-DOJ-0003512098    5
Emails/Attachments   PILGRIMS-DOJ-0003512113   PILGRIMS-DOJ-0003512120    6
Emails/Attachments   PILGRIMS-DOJ-0003512137   PILGRIMS-DOJ-0003512177   23
Emails/Attachments   PILGRIMS-DOJ-0003512916   PILGRIMS-DOJ-0003512919    4
Emails/Attachments   PILGRIMS-DOJ-0003513621   PILGRIMS-DOJ-0003513622    2
Emails/Attachments   PILGRIMS-DOJ-0003513989   PILGRIMS-DOJ-0003513993    5
Emails/Attachments   PILGRIMS-DOJ-0003514668   PILGRIMS-DOJ-0003514684   17
Emails/Attachments   PILGRIMS-DOJ-0003516429   PILGRIMS-DOJ-0003516444   16
Emails/Attachments   PILGRIMS-DOJ-0003516833   PILGRIMS-DOJ-0003516835    2
Emails/Attachments   PILGRIMS-DOJ-0003517898   PILGRIMS-DOJ-0003517904    4
Emails/Attachments   PILGRIMS-DOJ-0003517915   PILGRIMS-DOJ-0003517916    2
Emails/Attachments   PILGRIMS-DOJ-0003517920   PILGRIMS-DOJ-0003517923    4
Emails/Attachments   PILGRIMS-DOJ-0003517932   PILGRIMS-DOJ-0003517935    2
Emails/Attachments   PILGRIMS-DOJ-0003517943   PILGRIMS-DOJ-0003517944    1
Emails/Attachments   PILGRIMS-DOJ-0003517947   PILGRIMS-DOJ-0003517955    5
Emails/Attachments   PILGRIMS-DOJ-0003517967   PILGRIMS-DOJ-0003517969    3
Emails/Attachments   PILGRIMS-DOJ-0003517989   PILGRIMS-DOJ-0003517990    2
Emails/Attachments   PILGRIMS-DOJ-0003518075   PILGRIMS-DOJ-0003518076    1
Emails/Attachments   PILGRIMS-DOJ-0003518107   PILGRIMS-DOJ-0003518108    1
Emails/Attachments   PILGRIMS-DOJ-0003518115   PILGRIMS-DOJ-0003518116    2
Emails/Attachments   PILGRIMS-DOJ-0003518120   PILGRIMS-DOJ-0003518121    1
Emails/Attachments   PILGRIMS-DOJ-0003518142   PILGRIMS-DOJ-0003518143    1
Emails/Attachments   PILGRIMS-DOJ-0003518151   PILGRIMS-DOJ-0003518152    2
Emails/Attachments   PILGRIMS-DOJ-0003518215   PILGRIMS-DOJ-0003518216    1
Emails/Attachments   PILGRIMS-DOJ-0003518218   PILGRIMS-DOJ-0003518221    4
Emails/Attachments   PILGRIMS-DOJ-0003518241   PILGRIMS-DOJ-0003518243    2
Emails/Attachments   PILGRIMS-DOJ-0003518262   PILGRIMS-DOJ-0003518263    2
Emails/Attachments   PILGRIMS-DOJ-0003518282   PILGRIMS-DOJ-0003518283    1
Emails/Attachments   PILGRIMS-DOJ-0003518285   PILGRIMS-DOJ-0003518286    2
Emails/Attachments   PILGRIMS-DOJ-0003518288   PILGRIMS-DOJ-0003518289    2
Emails/Attachments   PILGRIMS-DOJ-0003518311   PILGRIMS-DOJ-0003518313    2
Emails/Attachments   PILGRIMS-DOJ-0003518320   PILGRIMS-DOJ-0003518320    1
Emails/Attachments   PILGRIMS-DOJ-0003518322   PILGRIMS-DOJ-0003518323    2
Emails/Attachments   PILGRIMS-DOJ-0003518326   PILGRIMS-DOJ-0003518328    2
Emails/Attachments   PILGRIMS-DOJ-0003518919   PILGRIMS-DOJ-0003518920    2
Emails/Attachments   PILGRIMS-DOJ-0003518929   PILGRIMS-DOJ-0003518932    3
Emails/Attachments   PILGRIMS-DOJ-0003518935   PILGRIMS-DOJ-0003518937    2
Emails/Attachments   PILGRIMS-DOJ-0003518948   PILGRIMS-DOJ-0003518949    2
Emails/Attachments   PILGRIMS-DOJ-0003518952   PILGRIMS-DOJ-0003518954    2
Emails/Attachments   PILGRIMS-DOJ-0003518957   PILGRIMS-DOJ-0003518965    4
Emails/Attachments   PILGRIMS-DOJ-0003518968   PILGRIMS-DOJ-0003518969    2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 429 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0003518979   PILGRIMS-DOJ-0003518980   2
Emails/Attachments   PILGRIMS-DOJ-0003518997   PILGRIMS-DOJ-0003518998   2
Emails/Attachments   PILGRIMS-DOJ-0003519000   PILGRIMS-DOJ-0003519006   2
Emails/Attachments   PILGRIMS-DOJ-0003519012   PILGRIMS-DOJ-0003519013   1
Emails/Attachments   PILGRIMS-DOJ-0003519017   PILGRIMS-DOJ-0003519026   6
Emails/Attachments   PILGRIMS-DOJ-0003519028   PILGRIMS-DOJ-0003519031   2
Emails/Attachments   PILGRIMS-DOJ-0003519036   PILGRIMS-DOJ-0003519038   2
Emails/Attachments   PILGRIMS-DOJ-0003519040   PILGRIMS-DOJ-0003519041   2
Emails/Attachments   PILGRIMS-DOJ-0003519043   PILGRIMS-DOJ-0003519049   2
Emails/Attachments   PILGRIMS-DOJ-0003519052   PILGRIMS-DOJ-0003519053   1
Emails/Attachments   PILGRIMS-DOJ-0003519055   PILGRIMS-DOJ-0003519064   6
Emails/Attachments   PILGRIMS-DOJ-0003519068   PILGRIMS-DOJ-0003519070   2
Emails/Attachments   PILGRIMS-DOJ-0003519072   PILGRIMS-DOJ-0003519074   3
Emails/Attachments   PILGRIMS-DOJ-0003519076   PILGRIMS-DOJ-0003519082   2
Emails/Attachments   PILGRIMS-DOJ-0003519087   PILGRIMS-DOJ-0003519089   2
Emails/Attachments   PILGRIMS-DOJ-0003519092   PILGRIMS-DOJ-0003519097   4
Emails/Attachments   PILGRIMS-DOJ-0003519099   PILGRIMS-DOJ-0003519100   2
Emails/Attachments   PILGRIMS-DOJ-0003519111   PILGRIMS-DOJ-0003519113   2
Emails/Attachments   PILGRIMS-DOJ-0003519115   PILGRIMS-DOJ-0003519121   4
Emails/Attachments   PILGRIMS-DOJ-0003519126   PILGRIMS-DOJ-0003519132   2
Emails/Attachments   PILGRIMS-DOJ-0003519134   PILGRIMS-DOJ-0003519136   2
Emails/Attachments   PILGRIMS-DOJ-0003519138   PILGRIMS-DOJ-0003519141   4
Emails/Attachments   PILGRIMS-DOJ-0003519145   PILGRIMS-DOJ-0003519147   2
Emails/Attachments   PILGRIMS-DOJ-0003519149   PILGRIMS-DOJ-0003519157   4
Emails/Attachments   PILGRIMS-DOJ-0003519159   PILGRIMS-DOJ-0003519160   2
Emails/Attachments   PILGRIMS-DOJ-0003519162   PILGRIMS-DOJ-0003519169   2
Emails/Attachments   PILGRIMS-DOJ-0003519173   PILGRIMS-DOJ-0003519175   3
Emails/Attachments   PILGRIMS-DOJ-0003519178   PILGRIMS-DOJ-0003519184   6
Emails/Attachments   PILGRIMS-DOJ-0003519189   PILGRIMS-DOJ-0003519196   2
Emails/Attachments   PILGRIMS-DOJ-0003519201   PILGRIMS-DOJ-0003519202   1
Emails/Attachments   PILGRIMS-DOJ-0003519204   PILGRIMS-DOJ-0003519212   8
Emails/Attachments   PILGRIMS-DOJ-0003519214   PILGRIMS-DOJ-0003519223   4
Emails/Attachments   PILGRIMS-DOJ-0003519225   PILGRIMS-DOJ-0003519225   1
Emails/Attachments   PILGRIMS-DOJ-0003519227   PILGRIMS-DOJ-0003519228   2
Emails/Attachments   PILGRIMS-DOJ-0003519240   PILGRIMS-DOJ-0003519241   2
Emails/Attachments   PILGRIMS-DOJ-0003519249   PILGRIMS-DOJ-0003519252   4
Emails/Attachments   PILGRIMS-DOJ-0003519291   PILGRIMS-DOJ-0003519292   1
Emails/Attachments   PILGRIMS-DOJ-0003519294   PILGRIMS-DOJ-0003519306   8
Emails/Attachments   PILGRIMS-DOJ-0003519308   PILGRIMS-DOJ-0003519310   2
Emails/Attachments   PILGRIMS-DOJ-0003519316   PILGRIMS-DOJ-0003519317   1
Emails/Attachments   PILGRIMS-DOJ-0003519319   PILGRIMS-DOJ-0003519320   2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 430 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0003519334   PILGRIMS-DOJ-0003519335       2
Emails/Attachments   PILGRIMS-DOJ-0003519337   PILGRIMS-DOJ-0003519338       2
Emails/Attachments   PILGRIMS-DOJ-0003519361   PILGRIMS-DOJ-0003519362       2
Emails/Attachments   PILGRIMS-DOJ-0003519364   PILGRIMS-DOJ-0003519365       2
Emails/Attachments   PILGRIMS-DOJ-0003519402   PILGRIMS-DOJ-0003519402       1
Emails/Attachments   PILGRIMS-DOJ-0003519505   PILGRIMS-DOJ-0003519509       4
Emails/Attachments   PILGRIMS-DOJ-0003519514   PILGRIMS-DOJ-0003519515       2
Emails/Attachments   PILGRIMS-DOJ-0003519517   PILGRIMS-DOJ-0003519524       5
Emails/Attachments   PILGRIMS-DOJ-0003519534   PILGRIMS-DOJ-0003519535       2
Emails/Attachments   PILGRIMS-DOJ-0003519538   PILGRIMS-DOJ-0003519539       1
Emails/Attachments   PILGRIMS-DOJ-0003519549   PILGRIMS-DOJ-0003519550       2
Emails/Attachments   PILGRIMS-DOJ-0003552239   PILGRIMS-DOJ-0003552244       2
Emails/Attachments   PILGRIMS-DOJ-0003559922   PILGRIMS-DOJ-0003559988       2
Emails/Attachments   PILGRIMS-DOJ-0003564002   PILGRIMS-DOJ-0003564006       2
Emails/Attachments   PILGRIMS-DOJ-0003564077   PILGRIMS-DOJ-0003564082       2
Emails/Attachments   PILGRIMS-DOJ-0003564112   PILGRIMS-DOJ-0003564177       5
Emails/Attachments   PILGRIMS-DOJ-0003564181   PILGRIMS-DOJ-0003564185       5
Emails/Attachments   PILGRIMS-DOJ-0003564250   PILGRIMS-DOJ-0003564251       2
Emails/Attachments   PILGRIMS-DOJ-0003564264   PILGRIMS-DOJ-0003564268       5
Emails/Attachments   PILGRIMS-DOJ-0003564283   PILGRIMS-DOJ-0003564290       6
Emails/Attachments   PILGRIMS-DOJ-0003564307   PILGRIMS-DOJ-0003564347      23
Emails/Attachments   PILGRIMS-DOJ-0003565085   PILGRIMS-DOJ-0003565088       4
Emails/Attachments   PILGRIMS-DOJ-0003565785   PILGRIMS-DOJ-0003565786       2
Emails/Attachments   PILGRIMS-DOJ-0003565848   PILGRIMS-DOJ-0003908654    122,676
Emails/Attachments   PILGRIMS-DOJ-0003914239   PILGRIMS-DOJ-0004210454-   107,604
                                                        0006
Emails/Attachments   PILGRIMS-DOJ-0004210455   PILGRIMS-DOJ-0004210821-    250
                                                        0030
Emails/Attachments   PILGRIMS-DOJ-0004210822   PILGRIMS-DOJ-0004393134    26,619
Emails/Attachments   PILGRIMS-DOJ-0004393137   PILGRIMS-DOJ-0004393137       1
Emails/Attachments   PILGRIMS-DOJ-0004393166   PILGRIMS-DOJ-0004393300      34
Emails/Attachments   PILGRIMS-DOJ-0004393303   PILGRIMS-DOJ-0004393320      12
Emails/Attachments   PILGRIMS-DOJ-0004393353   PILGRIMS-DOJ-0004393632      76
Emails/Attachments   PILGRIMS-DOJ-0004393636   PILGRIMS-DOJ-0004393671      22
Emails/Attachments   PILGRIMS-DOJ-0004393673   PILGRIMS-DOJ-0004393724       8
Emails/Attachments   PILGRIMS-DOJ-0004393726   PILGRIMS-DOJ-0004393735       8
Emails/Attachments   PILGRIMS-DOJ-0004393745   PILGRIMS-DOJ-0004393873      61
Emails/Attachments   PILGRIMS-DOJ-0004393875   PILGRIMS-DOJ-0004393875       1
Emails/Attachments   PILGRIMS-DOJ-0004393880   PILGRIMS-DOJ-0004393893      11
Emails/Attachments   PILGRIMS-DOJ-0004393900   PILGRIMS-DOJ-0004394243     106
Emails/Attachments   PILGRIMS-DOJ-0004394245   PILGRIMS-DOJ-0004394248       1
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 431 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004394250   PILGRIMS-DOJ-0004394282    23
Emails/Attachments   PILGRIMS-DOJ-0004394284   PILGRIMS-DOJ-0004394365    16
Emails/Attachments   PILGRIMS-DOJ-0004394369   PILGRIMS-DOJ-0004394476    17
Emails/Attachments   PILGRIMS-DOJ-0004394504   PILGRIMS-DOJ-0004394525     2
Emails/Attachments   PILGRIMS-DOJ-0004394535   PILGRIMS-DOJ-0004394637    59
Emails/Attachments   PILGRIMS-DOJ-0004394639   PILGRIMS-DOJ-0004394817    90
Emails/Attachments   PILGRIMS-DOJ-0004394819   PILGRIMS-DOJ-0004394988    69
Emails/Attachments   PILGRIMS-DOJ-0004394997   PILGRIMS-DOJ-0004395003     2
Emails/Attachments   PILGRIMS-DOJ-0004395009   PILGRIMS-DOJ-0004395091    29
Emails/Attachments   PILGRIMS-DOJ-0004395102   PILGRIMS-DOJ-0004395214    52
Emails/Attachments   PILGRIMS-DOJ-0004395217   PILGRIMS-DOJ-0004395260    38
Emails/Attachments   PILGRIMS-DOJ-0004395262   PILGRIMS-DOJ-0004395279    13
Emails/Attachments   PILGRIMS-DOJ-0004395282   PILGRIMS-DOJ-0004395407   108
Emails/Attachments   PILGRIMS-DOJ-0004395416   PILGRIMS-DOJ-0004395453    13
Emails/Attachments   PILGRIMS-DOJ-0004395455   PILGRIMS-DOJ-0004395690    42
Emails/Attachments   PILGRIMS-DOJ-0004395692   PILGRIMS-DOJ-0004395744    34
Emails/Attachments   PILGRIMS-DOJ-0004395746   PILGRIMS-DOJ-0004395879    36
Emails/Attachments   PILGRIMS-DOJ-0004395882   PILGRIMS-DOJ-0004396653   181
Emails/Attachments   PILGRIMS-DOJ-0004396660   PILGRIMS-DOJ-0004396668     6
Emails/Attachments   PILGRIMS-DOJ-0004396671   PILGRIMS-DOJ-0004396704    13
Emails/Attachments   PILGRIMS-DOJ-0004396706   PILGRIMS-DOJ-0004396730     7
Emails/Attachments   PILGRIMS-DOJ-0004396740   PILGRIMS-DOJ-0004396792    14
Emails/Attachments   PILGRIMS-DOJ-0004396890   PILGRIMS-DOJ-0004396920     8
Emails/Attachments   PILGRIMS-DOJ-0004396939   PILGRIMS-DOJ-0004397109    83
Emails/Attachments   PILGRIMS-DOJ-0004397113   PILGRIMS-DOJ-0004397187    16
Emails/Attachments   PILGRIMS-DOJ-0004397220   PILGRIMS-DOJ-0004397577    61
Emails/Attachments   PILGRIMS-DOJ-0004397590   PILGRIMS-DOJ-0004397596     7
Emails/Attachments   PILGRIMS-DOJ-0004397662   PILGRIMS-DOJ-0004397737    41
Emails/Attachments   PILGRIMS-DOJ-0004397743   PILGRIMS-DOJ-0004397913    34
Emails/Attachments   PILGRIMS-DOJ-0004397915   PILGRIMS-DOJ-0004398206    62
Emails/Attachments   PILGRIMS-DOJ-0004398259   PILGRIMS-DOJ-0004398372    21
Emails/Attachments   PILGRIMS-DOJ-0004398374   PILGRIMS-DOJ-0004398401    20
Emails/Attachments   PILGRIMS-DOJ-0004398404   PILGRIMS-DOJ-0004398435     6
Emails/Attachments   PILGRIMS-DOJ-0004398438   PILGRIMS-DOJ-0004398438     1
Emails/Attachments   PILGRIMS-DOJ-0004398444   PILGRIMS-DOJ-0004398631    43
Emails/Attachments   PILGRIMS-DOJ-0004398639   PILGRIMS-DOJ-0004398658     2
Emails/Attachments   PILGRIMS-DOJ-0004398660   PILGRIMS-DOJ-0004398763    44
Emails/Attachments   PILGRIMS-DOJ-0004398766   PILGRIMS-DOJ-0004398787     4
Emails/Attachments   PILGRIMS-DOJ-0004398804   PILGRIMS-DOJ-0004398855    27
Emails/Attachments   PILGRIMS-DOJ-0004398858   PILGRIMS-DOJ-0004398920    28
Emails/Attachments   PILGRIMS-DOJ-0004398936   PILGRIMS-DOJ-0004399007    23
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 432 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004399020   PILGRIMS-DOJ-0004399077    25
Emails/Attachments   PILGRIMS-DOJ-0004399081   PILGRIMS-DOJ-0004399107     2
Emails/Attachments   PILGRIMS-DOJ-0004399110   PILGRIMS-DOJ-0004399208    43
Emails/Attachments   PILGRIMS-DOJ-0004399211   PILGRIMS-DOJ-0004399212     1
Emails/Attachments   PILGRIMS-DOJ-0004399214   PILGRIMS-DOJ-0004399604   124
Emails/Attachments   PILGRIMS-DOJ-0004399608   PILGRIMS-DOJ-0004399613     5
Emails/Attachments   PILGRIMS-DOJ-0004399966   PILGRIMS-DOJ-0004399967     2
Emails/Attachments   PILGRIMS-DOJ-0004399976   PILGRIMS-DOJ-0004399978     3
Emails/Attachments   PILGRIMS-DOJ-0004399980   PILGRIMS-DOJ-0004399981     2
Emails/Attachments   PILGRIMS-DOJ-0004399984   PILGRIMS-DOJ-0004399984     1
Emails/Attachments   PILGRIMS-DOJ-0004399990   PILGRIMS-DOJ-0004399990     1
Emails/Attachments   PILGRIMS-DOJ-0004399992   PILGRIMS-DOJ-0004399995     4
Emails/Attachments   PILGRIMS-DOJ-0004399999   PILGRIMS-DOJ-0004400002     4
Emails/Attachments   PILGRIMS-DOJ-0004400006   PILGRIMS-DOJ-0004400017    12
Emails/Attachments   PILGRIMS-DOJ-0004400019   PILGRIMS-DOJ-0004400026     8
Emails/Attachments   PILGRIMS-DOJ-0004400040   PILGRIMS-DOJ-0004400041     2
Emails/Attachments   PILGRIMS-DOJ-0004400056   PILGRIMS-DOJ-0004400057     1
Emails/Attachments   PILGRIMS-DOJ-0004400060   PILGRIMS-DOJ-0004400093    30
Emails/Attachments   PILGRIMS-DOJ-0004400096   PILGRIMS-DOJ-0004400119    11
Emails/Attachments   PILGRIMS-DOJ-0004400125   PILGRIMS-DOJ-0004400128     4
Emails/Attachments   PILGRIMS-DOJ-0004400144   PILGRIMS-DOJ-0004400147     4
Emails/Attachments   PILGRIMS-DOJ-0004400152   PILGRIMS-DOJ-0004400155     4
Emails/Attachments   PILGRIMS-DOJ-0004400159   PILGRIMS-DOJ-0004400162     4
Emails/Attachments   PILGRIMS-DOJ-0004400165   PILGRIMS-DOJ-0004400168     4
Emails/Attachments   PILGRIMS-DOJ-0004400171   PILGRIMS-DOJ-0004400174     4
Emails/Attachments   PILGRIMS-DOJ-0004400179   PILGRIMS-DOJ-0004400182     4
Emails/Attachments   PILGRIMS-DOJ-0004400186   PILGRIMS-DOJ-0004400189     4
Emails/Attachments   PILGRIMS-DOJ-0004400202   PILGRIMS-DOJ-0004400212     9
Emails/Attachments   PILGRIMS-DOJ-0004400214   PILGRIMS-DOJ-0004400215     2
Emails/Attachments   PILGRIMS-DOJ-0004400228   PILGRIMS-DOJ-0004400235     5
Emails/Attachments   PILGRIMS-DOJ-0004400239   PILGRIMS-DOJ-0004400244     6
Emails/Attachments   PILGRIMS-DOJ-0004400254   PILGRIMS-DOJ-0004400256     3
Emails/Attachments   PILGRIMS-DOJ-0004400258   PILGRIMS-DOJ-0004400268     5
Emails/Attachments   PILGRIMS-DOJ-0004400276   PILGRIMS-DOJ-0004400276     1
Emails/Attachments   PILGRIMS-DOJ-0004400278   PILGRIMS-DOJ-0004400278     1
Emails/Attachments   PILGRIMS-DOJ-0004400280   PILGRIMS-DOJ-0004400282     3
Emails/Attachments   PILGRIMS-DOJ-0004400287   PILGRIMS-DOJ-0004400288     2
Emails/Attachments   PILGRIMS-DOJ-0004400292   PILGRIMS-DOJ-0004400295     3
Emails/Attachments   PILGRIMS-DOJ-0004400298   PILGRIMS-DOJ-0004400320    10
Emails/Attachments   PILGRIMS-DOJ-0004400324   PILGRIMS-DOJ-0004400325     2
Emails/Attachments   PILGRIMS-DOJ-0004400329   PILGRIMS-DOJ-0004400331     3
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 433 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004400354   PILGRIMS-DOJ-0004400357    4
Emails/Attachments   PILGRIMS-DOJ-0004400359   PILGRIMS-DOJ-0004400360    2
Emails/Attachments   PILGRIMS-DOJ-0004400373   PILGRIMS-DOJ-0004400373    1
Emails/Attachments   PILGRIMS-DOJ-0004400377   PILGRIMS-DOJ-0004400380    3
Emails/Attachments   PILGRIMS-DOJ-0004400383   PILGRIMS-DOJ-0004400385    3
Emails/Attachments   PILGRIMS-DOJ-0004400465   PILGRIMS-DOJ-0004400468    4
Emails/Attachments   PILGRIMS-DOJ-0004400475   PILGRIMS-DOJ-0004400476    2
Emails/Attachments   PILGRIMS-DOJ-0004400481   PILGRIMS-DOJ-0004400485    5
Emails/Attachments   PILGRIMS-DOJ-0004400487   PILGRIMS-DOJ-0004400487    1
Emails/Attachments   PILGRIMS-DOJ-0004400490   PILGRIMS-DOJ-0004400504   14
Emails/Attachments   PILGRIMS-DOJ-0004400554   PILGRIMS-DOJ-0004400559    6
Emails/Attachments   PILGRIMS-DOJ-0004400561   PILGRIMS-DOJ-0004400569    8
Emails/Attachments   PILGRIMS-DOJ-0004400721   PILGRIMS-DOJ-0004400723    2
Emails/Attachments   PILGRIMS-DOJ-0004400729   PILGRIMS-DOJ-0004400731    3
Emails/Attachments   PILGRIMS-DOJ-0004400734   PILGRIMS-DOJ-0004400737    3
Emails/Attachments   PILGRIMS-DOJ-0004400740   PILGRIMS-DOJ-0004400742    3
Emails/Attachments   PILGRIMS-DOJ-0004400749   PILGRIMS-DOJ-0004400774    8
Emails/Attachments   PILGRIMS-DOJ-0004400776   PILGRIMS-DOJ-0004400787    9
Emails/Attachments   PILGRIMS-DOJ-0004400791   PILGRIMS-DOJ-0004400796    4
Emails/Attachments   PILGRIMS-DOJ-0004400799   PILGRIMS-DOJ-0004400801    3
Emails/Attachments   PILGRIMS-DOJ-0004400805   PILGRIMS-DOJ-0004400812    5
Emails/Attachments   PILGRIMS-DOJ-0004400834   PILGRIMS-DOJ-0004400834    1
Emails/Attachments   PILGRIMS-DOJ-0004400836   PILGRIMS-DOJ-0004400840    4
Emails/Attachments   PILGRIMS-DOJ-0004400844   PILGRIMS-DOJ-0004400849    6
Emails/Attachments   PILGRIMS-DOJ-0004400853   PILGRIMS-DOJ-0004400853    1
Emails/Attachments   PILGRIMS-DOJ-0004400855   PILGRIMS-DOJ-0004400856    1
Emails/Attachments   PILGRIMS-DOJ-0004400858   PILGRIMS-DOJ-0004400882    9
Emails/Attachments   PILGRIMS-DOJ-0004400885   PILGRIMS-DOJ-0004400887    3
Emails/Attachments   PILGRIMS-DOJ-0004400889   PILGRIMS-DOJ-0004400898    5
Emails/Attachments   PILGRIMS-DOJ-0004400964   PILGRIMS-DOJ-0004400986   14
Emails/Attachments   PILGRIMS-DOJ-0004401056   PILGRIMS-DOJ-0004401057    2
Emails/Attachments   PILGRIMS-DOJ-0004401107   PILGRIMS-DOJ-0004401114    5
Emails/Attachments   PILGRIMS-DOJ-0004401117   PILGRIMS-DOJ-0004401120    3
Emails/Attachments   PILGRIMS-DOJ-0004401124   PILGRIMS-DOJ-0004401125    1
Emails/Attachments   PILGRIMS-DOJ-0004401127   PILGRIMS-DOJ-0004401127    1
Emails/Attachments   PILGRIMS-DOJ-0004401142   PILGRIMS-DOJ-0004401144    2
Emails/Attachments   PILGRIMS-DOJ-0004401147   PILGRIMS-DOJ-0004401148    2
Emails/Attachments   PILGRIMS-DOJ-0004401151   PILGRIMS-DOJ-0004401154    3
Emails/Attachments   PILGRIMS-DOJ-0004401156   PILGRIMS-DOJ-0004401158    3
Emails/Attachments   PILGRIMS-DOJ-0004401160   PILGRIMS-DOJ-0004401166    4
Emails/Attachments   PILGRIMS-DOJ-0004401168   PILGRIMS-DOJ-0004401206   17
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 434 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004401216   PILGRIMS-DOJ-0004401216    1
Emails/Attachments   PILGRIMS-DOJ-0004401219   PILGRIMS-DOJ-0004401234   15
Emails/Attachments   PILGRIMS-DOJ-0004401236   PILGRIMS-DOJ-0004401251   10
Emails/Attachments   PILGRIMS-DOJ-0004401253   PILGRIMS-DOJ-0004401261    8
Emails/Attachments   PILGRIMS-DOJ-0004401263   PILGRIMS-DOJ-0004401409   18
Emails/Attachments   PILGRIMS-DOJ-0004401411   PILGRIMS-DOJ-0004401414    4
Emails/Attachments   PILGRIMS-DOJ-0004401506   PILGRIMS-DOJ-0004401506    1
Emails/Attachments   PILGRIMS-DOJ-0004401508   PILGRIMS-DOJ-0004401570   10
Emails/Attachments   PILGRIMS-DOJ-0004401579   PILGRIMS-DOJ-0004401586    7
Emails/Attachments   PILGRIMS-DOJ-0004401589   PILGRIMS-DOJ-0004401926   59
Emails/Attachments   PILGRIMS-DOJ-0004401928   PILGRIMS-DOJ-0004401931    4
Emails/Attachments   PILGRIMS-DOJ-0004401933   PILGRIMS-DOJ-0004401934    2
Emails/Attachments   PILGRIMS-DOJ-0004401936   PILGRIMS-DOJ-0004401937    2
Emails/Attachments   PILGRIMS-DOJ-0004401939   PILGRIMS-DOJ-0004401951   11
Emails/Attachments   PILGRIMS-DOJ-0004401955   PILGRIMS-DOJ-0004401973   18
Emails/Attachments   PILGRIMS-DOJ-0004401976   PILGRIMS-DOJ-0004401978    2
Emails/Attachments   PILGRIMS-DOJ-0004401981   PILGRIMS-DOJ-0004402098    5
Emails/Attachments   PILGRIMS-DOJ-0004402104   PILGRIMS-DOJ-0004402118   12
Emails/Attachments   PILGRIMS-DOJ-0004402217   PILGRIMS-DOJ-0004402224    5
Emails/Attachments   PILGRIMS-DOJ-0004402251   PILGRIMS-DOJ-0004402262   10
Emails/Attachments   PILGRIMS-DOJ-0004402265   PILGRIMS-DOJ-0004402272    6
Emails/Attachments   PILGRIMS-DOJ-0004402274   PILGRIMS-DOJ-0004402277    4
Emails/Attachments   PILGRIMS-DOJ-0004402279   PILGRIMS-DOJ-0004402281    3
Emails/Attachments   PILGRIMS-DOJ-0004402284   PILGRIMS-DOJ-0004402295    3
Emails/Attachments   PILGRIMS-DOJ-0004402297   PILGRIMS-DOJ-0004402301    4
Emails/Attachments   PILGRIMS-DOJ-0004402307   PILGRIMS-DOJ-0004402311    2
Emails/Attachments   PILGRIMS-DOJ-0004402313   PILGRIMS-DOJ-0004402316    3
Emails/Attachments   PILGRIMS-DOJ-0004402320   PILGRIMS-DOJ-0004402337   16
Emails/Attachments   PILGRIMS-DOJ-0004402340   PILGRIMS-DOJ-0004402365   10
Emails/Attachments   PILGRIMS-DOJ-0004402367   PILGRIMS-DOJ-0004402383   14
Emails/Attachments   PILGRIMS-DOJ-0004402386   PILGRIMS-DOJ-0004402401   14
Emails/Attachments   PILGRIMS-DOJ-0004402405   PILGRIMS-DOJ-0004402425   19
Emails/Attachments   PILGRIMS-DOJ-0004402427   PILGRIMS-DOJ-0004402431    5
Emails/Attachments   PILGRIMS-DOJ-0004402500   PILGRIMS-DOJ-0004402501    1
Emails/Attachments   PILGRIMS-DOJ-0004402503   PILGRIMS-DOJ-0004402508    6
Emails/Attachments   PILGRIMS-DOJ-0004402510   PILGRIMS-DOJ-0004402558   14
Emails/Attachments   PILGRIMS-DOJ-0004402560   PILGRIMS-DOJ-0004402563    4
Emails/Attachments   PILGRIMS-DOJ-0004402566   PILGRIMS-DOJ-0004402568    3
Emails/Attachments   PILGRIMS-DOJ-0004402571   PILGRIMS-DOJ-0004402601   23
Emails/Attachments   PILGRIMS-DOJ-0004402604   PILGRIMS-DOJ-0004402613    8
Emails/Attachments   PILGRIMS-DOJ-0004402615   PILGRIMS-DOJ-0004402621    4
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 435 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004402623   PILGRIMS-DOJ-0004402639   10
Emails/Attachments   PILGRIMS-DOJ-0004402641   PILGRIMS-DOJ-0004402682   36
Emails/Attachments   PILGRIMS-DOJ-0004402684   PILGRIMS-DOJ-0004402694   10
Emails/Attachments   PILGRIMS-DOJ-0004402696   PILGRIMS-DOJ-0004402701    3
Emails/Attachments   PILGRIMS-DOJ-0004402704   PILGRIMS-DOJ-0004402736   29
Emails/Attachments   PILGRIMS-DOJ-0004402738   PILGRIMS-DOJ-0004402749   11
Emails/Attachments   PILGRIMS-DOJ-0004402753   PILGRIMS-DOJ-0004402762    7
Emails/Attachments   PILGRIMS-DOJ-0004402764   PILGRIMS-DOJ-0004402774    9
Emails/Attachments   PILGRIMS-DOJ-0004402778   PILGRIMS-DOJ-0004402785    7
Emails/Attachments   PILGRIMS-DOJ-0004402787   PILGRIMS-DOJ-0004402788    2
Emails/Attachments   PILGRIMS-DOJ-0004402790   PILGRIMS-DOJ-0004402800   10
Emails/Attachments   PILGRIMS-DOJ-0004402820   PILGRIMS-DOJ-0004402838    8
Emails/Attachments   PILGRIMS-DOJ-0004402918   PILGRIMS-DOJ-0004403075   16
Emails/Attachments   PILGRIMS-DOJ-0004403077   PILGRIMS-DOJ-0004403081    5
Emails/Attachments   PILGRIMS-DOJ-0004403083   PILGRIMS-DOJ-0004403128    6
Emails/Attachments   PILGRIMS-DOJ-0004403134   PILGRIMS-DOJ-0004403137    4
Emails/Attachments   PILGRIMS-DOJ-0004403139   PILGRIMS-DOJ-0004403153   15
Emails/Attachments   PILGRIMS-DOJ-0004403155   PILGRIMS-DOJ-0004403165    5
Emails/Attachments   PILGRIMS-DOJ-0004403167   PILGRIMS-DOJ-0004403191   14
Emails/Attachments   PILGRIMS-DOJ-0004403194   PILGRIMS-DOJ-0004403200    7
Emails/Attachments   PILGRIMS-DOJ-0004403202   PILGRIMS-DOJ-0004403211    9
Emails/Attachments   PILGRIMS-DOJ-0004403213   PILGRIMS-DOJ-0004403235   14
Emails/Attachments   PILGRIMS-DOJ-0004403243   PILGRIMS-DOJ-0004403243    1
Emails/Attachments   PILGRIMS-DOJ-0004403245   PILGRIMS-DOJ-0004403261   13
Emails/Attachments   PILGRIMS-DOJ-0004403294   PILGRIMS-DOJ-0004403296    1
Emails/Attachments   PILGRIMS-DOJ-0004403299   PILGRIMS-DOJ-0004403314    6
Emails/Attachments   PILGRIMS-DOJ-0004403317   PILGRIMS-DOJ-0004403354    4
Emails/Attachments   PILGRIMS-DOJ-0004403356   PILGRIMS-DOJ-0004403358    3
Emails/Attachments   PILGRIMS-DOJ-0004403361   PILGRIMS-DOJ-0004403380   18
Emails/Attachments   PILGRIMS-DOJ-0004403382   PILGRIMS-DOJ-0004403386    3
Emails/Attachments   PILGRIMS-DOJ-0004403388   PILGRIMS-DOJ-0004403388    1
Emails/Attachments   PILGRIMS-DOJ-0004403390   PILGRIMS-DOJ-0004403395    4
Emails/Attachments   PILGRIMS-DOJ-0004403397   PILGRIMS-DOJ-0004403410    5
Emails/Attachments   PILGRIMS-DOJ-0004403412   PILGRIMS-DOJ-0004403419    5
Emails/Attachments   PILGRIMS-DOJ-0004403421   PILGRIMS-DOJ-0004403435    8
Emails/Attachments   PILGRIMS-DOJ-0004403437   PILGRIMS-DOJ-0004403437    1
Emails/Attachments   PILGRIMS-DOJ-0004403532   PILGRIMS-DOJ-0004403535    4
Emails/Attachments   PILGRIMS-DOJ-0004403537   PILGRIMS-DOJ-0004403584   36
Emails/Attachments   PILGRIMS-DOJ-0004403590   PILGRIMS-DOJ-0004403591    2
Emails/Attachments   PILGRIMS-DOJ-0004403593   PILGRIMS-DOJ-0004403607    5
Emails/Attachments   PILGRIMS-DOJ-0004403610   PILGRIMS-DOJ-0004403613    4
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 436 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004403615   PILGRIMS-DOJ-0004403690     8
Emails/Attachments   PILGRIMS-DOJ-0004403692   PILGRIMS-DOJ-0004403693     2
Emails/Attachments   PILGRIMS-DOJ-0004403697   PILGRIMS-DOJ-0004403732    26
Emails/Attachments   PILGRIMS-DOJ-0004403740   PILGRIMS-DOJ-0004403741     2
Emails/Attachments   PILGRIMS-DOJ-0004403743   PILGRIMS-DOJ-0004403745     2
Emails/Attachments   PILGRIMS-DOJ-0004403748   PILGRIMS-DOJ-0004403751     3
Emails/Attachments   PILGRIMS-DOJ-0004403760   PILGRIMS-DOJ-0004403764     4
Emails/Attachments   PILGRIMS-DOJ-0004403767   PILGRIMS-DOJ-0004403781     9
Emails/Attachments   PILGRIMS-DOJ-0004403786   PILGRIMS-DOJ-0004403789     3
Emails/Attachments   PILGRIMS-DOJ-0004403791   PILGRIMS-DOJ-0004403793     3
Emails/Attachments   PILGRIMS-DOJ-0004403901   PILGRIMS-DOJ-0004403909     5
Emails/Attachments   PILGRIMS-DOJ-0004403921   PILGRIMS-DOJ-0004403981    43
Emails/Attachments   PILGRIMS-DOJ-0004403983   PILGRIMS-DOJ-0004404016    14
Emails/Attachments   PILGRIMS-DOJ-0004404021   PILGRIMS-DOJ-0004404036    16
Emails/Attachments   PILGRIMS-DOJ-0004404044   PILGRIMS-DOJ-0004404046     3
Emails/Attachments   PILGRIMS-DOJ-0004404048   PILGRIMS-DOJ-0004404188    60
Emails/Attachments   PILGRIMS-DOJ-0004404201   PILGRIMS-DOJ-0004404202     2
Emails/Attachments   PILGRIMS-DOJ-0004404205   PILGRIMS-DOJ-0004404225    11
Emails/Attachments   PILGRIMS-DOJ-0004404227   PILGRIMS-DOJ-0004404286    27
Emails/Attachments   PILGRIMS-DOJ-0004404299   PILGRIMS-DOJ-0004404318    11
Emails/Attachments   PILGRIMS-DOJ-0004404321   PILGRIMS-DOJ-0004404324     2
Emails/Attachments   PILGRIMS-DOJ-0004404326   PILGRIMS-DOJ-0004404398    43
Emails/Attachments   PILGRIMS-DOJ-0004404427   PILGRIMS-DOJ-0004404438     7
Emails/Attachments   PILGRIMS-DOJ-0004404604   PILGRIMS-DOJ-0004404624    10
Emails/Attachments   PILGRIMS-DOJ-0004404626   PILGRIMS-DOJ-0004404644     9
Emails/Attachments   PILGRIMS-DOJ-0004404646   PILGRIMS-DOJ-0004404657     9
Emails/Attachments   PILGRIMS-DOJ-0004404659   PILGRIMS-DOJ-0004405132   121
Emails/Attachments   PILGRIMS-DOJ-0004405135   PILGRIMS-DOJ-0004405525   159
Emails/Attachments   PILGRIMS-DOJ-0004405527   PILGRIMS-DOJ-0004405611    24
Emails/Attachments   PILGRIMS-DOJ-0004405613   PILGRIMS-DOJ-0004405705    55
Emails/Attachments   PILGRIMS-DOJ-0004405725   PILGRIMS-DOJ-0004405755     3
Emails/Attachments   PILGRIMS-DOJ-0004405777   PILGRIMS-DOJ-0004405791     5
Emails/Attachments   PILGRIMS-DOJ-0004405811   PILGRIMS-DOJ-0004405813     2
Emails/Attachments   PILGRIMS-DOJ-0004405815   PILGRIMS-DOJ-0004405873     5
Emails/Attachments   PILGRIMS-DOJ-0004405881   PILGRIMS-DOJ-0004405888     3
Emails/Attachments   PILGRIMS-DOJ-0004405890   PILGRIMS-DOJ-0004406045    15
Emails/Attachments   PILGRIMS-DOJ-0004406084   PILGRIMS-DOJ-0004406107    16
Emails/Attachments   PILGRIMS-DOJ-0004406165   PILGRIMS-DOJ-0004406189    13
Emails/Attachments   PILGRIMS-DOJ-0004406202   PILGRIMS-DOJ-0004406257    54
Emails/Attachments   PILGRIMS-DOJ-0004406260   PILGRIMS-DOJ-0004406263     4
Emails/Attachments   PILGRIMS-DOJ-0004406265   PILGRIMS-DOJ-0004406268     4
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 437 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004406271   PILGRIMS-DOJ-0004406274     4
Emails/Attachments   PILGRIMS-DOJ-0004406277   PILGRIMS-DOJ-0004406279     3
Emails/Attachments   PILGRIMS-DOJ-0004406281   PILGRIMS-DOJ-0004406287     7
Emails/Attachments   PILGRIMS-DOJ-0004406291   PILGRIMS-DOJ-0004406292     1
Emails/Attachments   PILGRIMS-DOJ-0004406294   PILGRIMS-DOJ-0004406295     2
Emails/Attachments   PILGRIMS-DOJ-0004406297   PILGRIMS-DOJ-0004406302     4
Emails/Attachments   PILGRIMS-DOJ-0004406305   PILGRIMS-DOJ-0004406414    27
Emails/Attachments   PILGRIMS-DOJ-0004406426   PILGRIMS-DOJ-0004406472    17
Emails/Attachments   PILGRIMS-DOJ-0004406493   PILGRIMS-DOJ-0004406591    40
Emails/Attachments   PILGRIMS-DOJ-0004406599   PILGRIMS-DOJ-0004406624    13
Emails/Attachments   PILGRIMS-DOJ-0004406636   PILGRIMS-DOJ-0004406659    14
Emails/Attachments   PILGRIMS-DOJ-0004406661   PILGRIMS-DOJ-0004406672     5
Emails/Attachments   PILGRIMS-DOJ-0004406678   PILGRIMS-DOJ-0004406711    11
Emails/Attachments   PILGRIMS-DOJ-0004406713   PILGRIMS-DOJ-0004406782    23
Emails/Attachments   PILGRIMS-DOJ-0004406796   PILGRIMS-DOJ-0004406842    31
Emails/Attachments   PILGRIMS-DOJ-0004406844   PILGRIMS-DOJ-0004406844     1
Emails/Attachments   PILGRIMS-DOJ-0004406846   PILGRIMS-DOJ-0004406920     6
Emails/Attachments   PILGRIMS-DOJ-0004406923   PILGRIMS-DOJ-0004406930     6
Emails/Attachments   PILGRIMS-DOJ-0004406938   PILGRIMS-DOJ-0004406955    13
Emails/Attachments   PILGRIMS-DOJ-0004406957   PILGRIMS-DOJ-0004406966     6
Emails/Attachments   PILGRIMS-DOJ-0004406982   PILGRIMS-DOJ-0004406984     3
Emails/Attachments   PILGRIMS-DOJ-0004406986   PILGRIMS-DOJ-0004407003     3
Emails/Attachments   PILGRIMS-DOJ-0004407014   PILGRIMS-DOJ-0004407099    32
Emails/Attachments   PILGRIMS-DOJ-0004407101   PILGRIMS-DOJ-0004407103     2
Emails/Attachments   PILGRIMS-DOJ-0004407111   PILGRIMS-DOJ-0004407111     1
Emails/Attachments   PILGRIMS-DOJ-0004407121   PILGRIMS-DOJ-0004407365    27
Emails/Attachments   PILGRIMS-DOJ-0004407368   PILGRIMS-DOJ-0004407470    38
Emails/Attachments   PILGRIMS-DOJ-0004407499   PILGRIMS-DOJ-0004407518     5
Emails/Attachments   PILGRIMS-DOJ-0004407520   PILGRIMS-DOJ-0004407534    11
Emails/Attachments   PILGRIMS-DOJ-0004407537   PILGRIMS-DOJ-0004407563    22
Emails/Attachments   PILGRIMS-DOJ-0004407570   PILGRIMS-DOJ-0004407606    28
Emails/Attachments   PILGRIMS-DOJ-0004407608   PILGRIMS-DOJ-0004407880   231
Emails/Attachments   PILGRIMS-DOJ-0004407884   PILGRIMS-DOJ-0004407894    10
Emails/Attachments   PILGRIMS-DOJ-0004407896   PILGRIMS-DOJ-0004407897     2
Emails/Attachments   PILGRIMS-DOJ-0004407900   PILGRIMS-DOJ-0004407933    31
Emails/Attachments   PILGRIMS-DOJ-0004407943   PILGRIMS-DOJ-0004408015    29
Emails/Attachments   PILGRIMS-DOJ-0004408017   PILGRIMS-DOJ-0004408054    30
Emails/Attachments   PILGRIMS-DOJ-0004408057   PILGRIMS-DOJ-0004408137    47
Emails/Attachments   PILGRIMS-DOJ-0004408139   PILGRIMS-DOJ-0004408202    53
Emails/Attachments   PILGRIMS-DOJ-0004408205   PILGRIMS-DOJ-0004408424   102
Emails/Attachments   PILGRIMS-DOJ-0004408426   PILGRIMS-DOJ-0004408433     6
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 438 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004408436   PILGRIMS-DOJ-0004408450     9
Emails/Attachments   PILGRIMS-DOJ-0004408464   PILGRIMS-DOJ-0004408464     1
Emails/Attachments   PILGRIMS-DOJ-0004408466   PILGRIMS-DOJ-0004408496    24
Emails/Attachments   PILGRIMS-DOJ-0004408534   PILGRIMS-DOJ-0004408543     7
Emails/Attachments   PILGRIMS-DOJ-0004408547   PILGRIMS-DOJ-0004408796   147
Emails/Attachments   PILGRIMS-DOJ-0004408800   PILGRIMS-DOJ-0004408942    27
Emails/Attachments   PILGRIMS-DOJ-0004408944   PILGRIMS-DOJ-0004408982    16
Emails/Attachments   PILGRIMS-DOJ-0004408985   PILGRIMS-DOJ-0004409001    13
Emails/Attachments   PILGRIMS-DOJ-0004409018   PILGRIMS-DOJ-0004409094    23
Emails/Attachments   PILGRIMS-DOJ-0004409096   PILGRIMS-DOJ-0004409168    26
Emails/Attachments   PILGRIMS-DOJ-0004409173   PILGRIMS-DOJ-0004409215     6
Emails/Attachments   PILGRIMS-DOJ-0004409217   PILGRIMS-DOJ-0004409225     2
Emails/Attachments   PILGRIMS-DOJ-0004409240   PILGRIMS-DOJ-0004409424    27
Emails/Attachments   PILGRIMS-DOJ-0004409426   PILGRIMS-DOJ-0004409449    10
Emails/Attachments   PILGRIMS-DOJ-0004409556   PILGRIMS-DOJ-0004409681     6
Emails/Attachments   PILGRIMS-DOJ-0004409685   PILGRIMS-DOJ-0004409691     5
Emails/Attachments   PILGRIMS-DOJ-0004409699   PILGRIMS-DOJ-0004409722     3
Emails/Attachments   PILGRIMS-DOJ-0004409818   PILGRIMS-DOJ-0004409839     2
Emails/Attachments   PILGRIMS-DOJ-0004409855   PILGRIMS-DOJ-0004409859     2
Emails/Attachments   PILGRIMS-DOJ-0004409911   PILGRIMS-DOJ-0004410108    49
Emails/Attachments   PILGRIMS-DOJ-0004410110   PILGRIMS-DOJ-0004410159    35
Emails/Attachments   PILGRIMS-DOJ-0004410161   PILGRIMS-DOJ-0004410179    13
Emails/Attachments   PILGRIMS-DOJ-0004410182   PILGRIMS-DOJ-0004410201     5
Emails/Attachments   PILGRIMS-DOJ-0004410239   PILGRIMS-DOJ-0004410351    59
Emails/Attachments   PILGRIMS-DOJ-0004410354   PILGRIMS-DOJ-0004410553    71
Emails/Attachments   PILGRIMS-DOJ-0004410556   PILGRIMS-DOJ-0004410558     2
Emails/Attachments   PILGRIMS-DOJ-0004410562   PILGRIMS-DOJ-0004410564     2
Emails/Attachments   PILGRIMS-DOJ-0004410595   PILGRIMS-DOJ-0004410642    17
Emails/Attachments   PILGRIMS-DOJ-0004410648   PILGRIMS-DOJ-0004410848    80
Emails/Attachments   PILGRIMS-DOJ-0004410858   PILGRIMS-DOJ-0004410897    21
Emails/Attachments   PILGRIMS-DOJ-0004410899   PILGRIMS-DOJ-0004410899     1
Emails/Attachments   PILGRIMS-DOJ-0004410926   PILGRIMS-DOJ-0004410926     1
Emails/Attachments   PILGRIMS-DOJ-0004410928   PILGRIMS-DOJ-0004411186    34
Emails/Attachments   PILGRIMS-DOJ-0004411610   PILGRIMS-DOJ-0004411673    63
Emails/Attachments   PILGRIMS-DOJ-0004411675   PILGRIMS-DOJ-0004411678     4
Emails/Attachments   PILGRIMS-DOJ-0004411683   PILGRIMS-DOJ-0004411684     2
Emails/Attachments   PILGRIMS-DOJ-0004411687   PILGRIMS-DOJ-0004411692     6
Emails/Attachments   PILGRIMS-DOJ-0004411773   PILGRIMS-DOJ-0004411784    12
Emails/Attachments   PILGRIMS-DOJ-0004411786   PILGRIMS-DOJ-0004411793     5
Emails/Attachments   PILGRIMS-DOJ-0004411799   PILGRIMS-DOJ-0004411829    31
Emails/Attachments   PILGRIMS-DOJ-0004411838   PILGRIMS-DOJ-0004411840     3
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 439 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004411846   PILGRIMS-DOJ-0004411847     2
Emails/Attachments   PILGRIMS-DOJ-0004411861   PILGRIMS-DOJ-0004411923    30
Emails/Attachments   PILGRIMS-DOJ-0004411945   PILGRIMS-DOJ-0004411960     2
Emails/Attachments   PILGRIMS-DOJ-0004411986   PILGRIMS-DOJ-0004411990     3
Emails/Attachments   PILGRIMS-DOJ-0004412008   PILGRIMS-DOJ-0004412029    18
Emails/Attachments   PILGRIMS-DOJ-0004412033   PILGRIMS-DOJ-0004412036     4
Emails/Attachments   PILGRIMS-DOJ-0004412039   PILGRIMS-DOJ-0004412039     1
Emails/Attachments   PILGRIMS-DOJ-0004412041   PILGRIMS-DOJ-0004412053     6
Emails/Attachments   PILGRIMS-DOJ-0004412055   PILGRIMS-DOJ-0004412056     2
Emails/Attachments   PILGRIMS-DOJ-0004412067   PILGRIMS-DOJ-0004412111    18
Emails/Attachments   PILGRIMS-DOJ-0004412113   PILGRIMS-DOJ-0004412224    11
Emails/Attachments   PILGRIMS-DOJ-0004412681   PILGRIMS-DOJ-0004412759     2
Emails/Attachments   PILGRIMS-DOJ-0004412794   PILGRIMS-DOJ-0004412929     4
Emails/Attachments   PILGRIMS-DOJ-0004412962   PILGRIMS-DOJ-0004413180     6
Emails/Attachments   PILGRIMS-DOJ-0004413550   PILGRIMS-DOJ-0004413634     2
Emails/Attachments   PILGRIMS-DOJ-0004413816   PILGRIMS-DOJ-0004413848     2
Emails/Attachments   PILGRIMS-DOJ-0004413879   PILGRIMS-DOJ-0004413939     2
Emails/Attachments   PILGRIMS-DOJ-0004413970   PILGRIMS-DOJ-0004414117     3
Emails/Attachments   PILGRIMS-DOJ-0004414179   PILGRIMS-DOJ-0004414192     4
Emails/Attachments   PILGRIMS-DOJ-0004414194   PILGRIMS-DOJ-0004414561   123
Emails/Attachments   PILGRIMS-DOJ-0004414572   PILGRIMS-DOJ-0004414573     1
Emails/Attachments   PILGRIMS-DOJ-0004414628   PILGRIMS-DOJ-0004414632     2
Emails/Attachments   PILGRIMS-DOJ-0004414636   PILGRIMS-DOJ-0004414637     2
Emails/Attachments   PILGRIMS-DOJ-0004414639   PILGRIMS-DOJ-0004414642     4
Emails/Attachments   PILGRIMS-DOJ-0004414644   PILGRIMS-DOJ-0004414812    41
Emails/Attachments   PILGRIMS-DOJ-0004414859   PILGRIMS-DOJ-0004415373   159
Emails/Attachments   PILGRIMS-DOJ-0004415382   PILGRIMS-DOJ-0004415395    11
Emails/Attachments   PILGRIMS-DOJ-0004415418   PILGRIMS-DOJ-0004415438    12
Emails/Attachments   PILGRIMS-DOJ-0004415442   PILGRIMS-DOJ-0004415509    11
Emails/Attachments   PILGRIMS-DOJ-0004415511   PILGRIMS-DOJ-0004415682    61
Emails/Attachments   PILGRIMS-DOJ-0004415837   PILGRIMS-DOJ-0004415839     2
Emails/Attachments   PILGRIMS-DOJ-0004415861   PILGRIMS-DOJ-0004415877     4
Emails/Attachments   PILGRIMS-DOJ-0004415879   PILGRIMS-DOJ-0004415902    12
Emails/Attachments   PILGRIMS-DOJ-0004415913   PILGRIMS-DOJ-0004415924     2
Emails/Attachments   PILGRIMS-DOJ-0004415940   PILGRIMS-DOJ-0004415953     2
Emails/Attachments   PILGRIMS-DOJ-0004415967   PILGRIMS-DOJ-0004415974     5
Emails/Attachments   PILGRIMS-DOJ-0004415976   PILGRIMS-DOJ-0004415994     9
Emails/Attachments   PILGRIMS-DOJ-0004419909   PILGRIMS-DOJ-0004419909     1
Emails/Attachments   PILGRIMS-DOJ-0004420335   PILGRIMS-DOJ-0004420463    52
Emails/Attachments   PILGRIMS-DOJ-0004420467   PILGRIMS-DOJ-0004420469     2
Emails/Attachments   PILGRIMS-DOJ-0004420474   PILGRIMS-DOJ-0004420537    24
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 440 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004420540   PILGRIMS-DOJ-0004420555   15
Emails/Attachments   PILGRIMS-DOJ-0004420559   PILGRIMS-DOJ-0004420569    4
Emails/Attachments   PILGRIMS-DOJ-0004420593   PILGRIMS-DOJ-0004420594    1
Emails/Attachments   PILGRIMS-DOJ-0004420597   PILGRIMS-DOJ-0004420610   10
Emails/Attachments   PILGRIMS-DOJ-0004420624   PILGRIMS-DOJ-0004421003    9
Emails/Attachments   PILGRIMS-DOJ-0004421006   PILGRIMS-DOJ-0004421007    2
Emails/Attachments   PILGRIMS-DOJ-0004421012   PILGRIMS-DOJ-0004421014    1
Emails/Attachments   PILGRIMS-DOJ-0004421050   PILGRIMS-DOJ-0004421051    2
Emails/Attachments   PILGRIMS-DOJ-0004421123   PILGRIMS-DOJ-0004421130    1
Emails/Attachments   PILGRIMS-DOJ-0004421174   PILGRIMS-DOJ-0004421175    1
Emails/Attachments   PILGRIMS-DOJ-0004425239   PILGRIMS-DOJ-0004425241    2
Emails/Attachments   PILGRIMS-DOJ-0004425321   PILGRIMS-DOJ-0004425335    2
Emails/Attachments   PILGRIMS-DOJ-0004425337   PILGRIMS-DOJ-0004425338    2
Emails/Attachments   PILGRIMS-DOJ-0004425340   PILGRIMS-DOJ-0004425341    2
Emails/Attachments   PILGRIMS-DOJ-0004425345   PILGRIMS-DOJ-0004425347    3
Emails/Attachments   PILGRIMS-DOJ-0004425358   PILGRIMS-DOJ-0004425667   27
Emails/Attachments   PILGRIMS-DOJ-0004425694   PILGRIMS-DOJ-0004425700    3
Emails/Attachments   PILGRIMS-DOJ-0004425738   PILGRIMS-DOJ-0004425755    2
Emails/Attachments   PILGRIMS-DOJ-0004425768   PILGRIMS-DOJ-0004425771    3
Emails/Attachments   PILGRIMS-DOJ-0004425773   PILGRIMS-DOJ-0004425776    3
Emails/Attachments   PILGRIMS-DOJ-0004425803   PILGRIMS-DOJ-0004425803    1
Emails/Attachments   PILGRIMS-DOJ-0004425806   PILGRIMS-DOJ-0004425952   11
Emails/Attachments   PILGRIMS-DOJ-0004425954   PILGRIMS-DOJ-0004425968    5
Emails/Attachments   PILGRIMS-DOJ-0004425981   PILGRIMS-DOJ-0004425981    1
Emails/Attachments   PILGRIMS-DOJ-0004426140   PILGRIMS-DOJ-0004426163    4
Emails/Attachments   PILGRIMS-DOJ-0004426243   PILGRIMS-DOJ-0004426244    2
Emails/Attachments   PILGRIMS-DOJ-0004426254   PILGRIMS-DOJ-0004426257    4
Emails/Attachments   PILGRIMS-DOJ-0004426426   PILGRIMS-DOJ-0004426426    1
Emails/Attachments   PILGRIMS-DOJ-0004426549   PILGRIMS-DOJ-0004426549    1
Emails/Attachments   PILGRIMS-DOJ-0004426552   PILGRIMS-DOJ-0004426552    1
Emails/Attachments   PILGRIMS-DOJ-0004426570   PILGRIMS-DOJ-0004426639   51
Emails/Attachments   PILGRIMS-DOJ-0004426648   PILGRIMS-DOJ-0004426685   13
Emails/Attachments   PILGRIMS-DOJ-0004426687   PILGRIMS-DOJ-0004426924   43
Emails/Attachments   PILGRIMS-DOJ-0004426926   PILGRIMS-DOJ-0004426930    3
Emails/Attachments   PILGRIMS-DOJ-0004427330   PILGRIMS-DOJ-0004427330    1
Emails/Attachments   PILGRIMS-DOJ-0004427534   PILGRIMS-DOJ-0004427538    5
Emails/Attachments   PILGRIMS-DOJ-0004427547   PILGRIMS-DOJ-0004427551    2
Emails/Attachments   PILGRIMS-DOJ-0004427555   PILGRIMS-DOJ-0004427564    9
Emails/Attachments   PILGRIMS-DOJ-0004427569   PILGRIMS-DOJ-0004427570    1
Emails/Attachments   PILGRIMS-DOJ-0004427574   PILGRIMS-DOJ-0004427577    4
Emails/Attachments   PILGRIMS-DOJ-0004427591   PILGRIMS-DOJ-0004427593    2
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 441 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004427731   PILGRIMS-DOJ-0004427733     2
Emails/Attachments   PILGRIMS-DOJ-0004427813   PILGRIMS-DOJ-0004427827     2
Emails/Attachments   PILGRIMS-DOJ-0004427829   PILGRIMS-DOJ-0004427830     2
Emails/Attachments   PILGRIMS-DOJ-0004427832   PILGRIMS-DOJ-0004427833     2
Emails/Attachments   PILGRIMS-DOJ-0004427837   PILGRIMS-DOJ-0004427839     3
Emails/Attachments   PILGRIMS-DOJ-0004427850   PILGRIMS-DOJ-0004428159    27
Emails/Attachments   PILGRIMS-DOJ-0004428197   PILGRIMS-DOJ-0004428200     3
Emails/Attachments   PILGRIMS-DOJ-0004428202   PILGRIMS-DOJ-0004428205     3
Emails/Attachments   PILGRIMS-DOJ-0004428232   PILGRIMS-DOJ-0004428377    10
Emails/Attachments   PILGRIMS-DOJ-0004428379   PILGRIMS-DOJ-0004428393     5
Emails/Attachments   PILGRIMS-DOJ-0004428395   PILGRIMS-DOJ-0004428395     1
Emails/Attachments   PILGRIMS-DOJ-0004428932   PILGRIMS-DOJ-0004428955     4
Emails/Attachments   PILGRIMS-DOJ-0004429018   PILGRIMS-DOJ-0004429080    44
Emails/Attachments   PILGRIMS-DOJ-0004429089   PILGRIMS-DOJ-0004429126    13
Emails/Attachments   PILGRIMS-DOJ-0004429128   PILGRIMS-DOJ-0004429362    41
Emails/Attachments   PILGRIMS-DOJ-0004429364   PILGRIMS-DOJ-0004429368     3
Emails/Attachments   PILGRIMS-DOJ-0004429457   PILGRIMS-DOJ-0004429458     2
Emails/Attachments   PILGRIMS-DOJ-0004429471   PILGRIMS-DOJ-0004429474     4
Emails/Attachments   PILGRIMS-DOJ-0004429647   PILGRIMS-DOJ-0004429647     1
Emails/Attachments   PILGRIMS-DOJ-0004429765   PILGRIMS-DOJ-0004429765     1
Emails/Attachments   PILGRIMS-DOJ-0004429768   PILGRIMS-DOJ-0004429768     1
Emails/Attachments   PILGRIMS-DOJ-0004430282   PILGRIMS-DOJ-0004430282     1
Emails/Attachments   PILGRIMS-DOJ-0004431657   PILGRIMS-DOJ-0004431661     5
Emails/Attachments   PILGRIMS-DOJ-0004431672   PILGRIMS-DOJ-0004431683    10
Emails/Attachments   PILGRIMS-DOJ-0004431687   PILGRIMS-DOJ-0004431690     4
Emails/Attachments   PILGRIMS-DOJ-0004431704   PILGRIMS-DOJ-0004431706     2
Emails/Attachments   PILGRIMS-DOJ-0004464262   PILGRIMS-DOJ-0004464263     2
Emails/Attachments   PILGRIMS-DOJ-0004464874   PILGRIMS-DOJ-0004464879     6
Emails/Attachments   PILGRIMS-DOJ-0004466193   PILGRIMS-DOJ-0004466812   249
Emails/Attachments   PILGRIMS-DOJ-0004466814   PILGRIMS-DOJ-0004466828     6
Emails/Attachments   PILGRIMS-DOJ-0004466830   PILGRIMS-DOJ-0004467267   176
Emails/Attachments   PILGRIMS-DOJ-0004467351   PILGRIMS-DOJ-0004467355     4
Emails/Attachments   PILGRIMS-DOJ-0004476327   PILGRIMS-DOJ-0004476328     2
Emails/Attachments   PILGRIMS-DOJ-0004476334   PILGRIMS-DOJ-0004476336     3
Emails/Attachments   PILGRIMS-DOJ-0004476338   PILGRIMS-DOJ-0004476385    14
Emails/Attachments   PILGRIMS-DOJ-0004476397   PILGRIMS-DOJ-0004476978   206
Emails/Attachments   PILGRIMS-DOJ-0004477047   PILGRIMS-DOJ-0004477592   299
Emails/Attachments   PILGRIMS-DOJ-0004477594   PILGRIMS-DOJ-0004477611    16
Emails/Attachments   PILGRIMS-DOJ-0004477613   PILGRIMS-DOJ-0004478227   324
Emails/Attachments   PILGRIMS-DOJ-0004478229   PILGRIMS-DOJ-0004478253    21
Emails/Attachments   PILGRIMS-DOJ-0004478265   PILGRIMS-DOJ-0004478373    64
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 442 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004478389   PILGRIMS-DOJ-0004478753   127
Emails/Attachments   PILGRIMS-DOJ-0004478757   PILGRIMS-DOJ-0004478923   109
Emails/Attachments   PILGRIMS-DOJ-0004478925   PILGRIMS-DOJ-0004478932     4
Emails/Attachments   PILGRIMS-DOJ-0004478934   PILGRIMS-DOJ-0004479903   653
Emails/Attachments   PILGRIMS-DOJ-0004479905   PILGRIMS-DOJ-0004480316   107
Emails/Attachments   PILGRIMS-DOJ-0004480318   PILGRIMS-DOJ-0004480438    89
Emails/Attachments   PILGRIMS-DOJ-0004480441   PILGRIMS-DOJ-0004480448     7
Emails/Attachments   PILGRIMS-DOJ-0004480481   PILGRIMS-DOJ-0004480499     8
Emails/Attachments   PILGRIMS-DOJ-0004480501   PILGRIMS-DOJ-0004480561    10
Emails/Attachments   PILGRIMS-DOJ-0004480571   PILGRIMS-DOJ-0004480614     5
Emails/Attachments   PILGRIMS-DOJ-0004480646   PILGRIMS-DOJ-0004480764    16
Emails/Attachments   PILGRIMS-DOJ-0004480802   PILGRIMS-DOJ-0004480994    45
Emails/Attachments   PILGRIMS-DOJ-0004481036   PILGRIMS-DOJ-0004481085     6
Emails/Attachments   PILGRIMS-DOJ-0004481099   PILGRIMS-DOJ-0004481575   236
Emails/Attachments   PILGRIMS-DOJ-0004481577   PILGRIMS-DOJ-0004481707    30
Emails/Attachments   PILGRIMS-DOJ-0004481746   PILGRIMS-DOJ-0004482143    93
Emails/Attachments   PILGRIMS-DOJ-0004482146   PILGRIMS-DOJ-0004482240    26
Emails/Attachments   PILGRIMS-DOJ-0004482242   PILGRIMS-DOJ-0004482243     1
Emails/Attachments   PILGRIMS-DOJ-0004482249   PILGRIMS-DOJ-0004482252     3
Emails/Attachments   PILGRIMS-DOJ-0004482254   PILGRIMS-DOJ-0004482255     2
Emails/Attachments   PILGRIMS-DOJ-0004482258   PILGRIMS-DOJ-0004482320    49
Emails/Attachments   PILGRIMS-DOJ-0004482322   PILGRIMS-DOJ-0004482332     5
Emails/Attachments   PILGRIMS-DOJ-0004482334   PILGRIMS-DOJ-0004482340     4
Emails/Attachments   PILGRIMS-DOJ-0004482342   PILGRIMS-DOJ-0004482361     5
Emails/Attachments   PILGRIMS-DOJ-0004482363   PILGRIMS-DOJ-0004483042   250
Emails/Attachments   PILGRIMS-DOJ-0004483092   PILGRIMS-DOJ-0004485042   653
Emails/Attachments   PILGRIMS-DOJ-0004485045   PILGRIMS-DOJ-0004485049     4
Emails/Attachments   PILGRIMS-DOJ-0004485051   PILGRIMS-DOJ-0004485121    43
Emails/Attachments   PILGRIMS-DOJ-0004485126   PILGRIMS-DOJ-0004485133     6
Emails/Attachments   PILGRIMS-DOJ-0004485150   PILGRIMS-DOJ-0004485294    36
Emails/Attachments   PILGRIMS-DOJ-0004491140   PILGRIMS-DOJ-0004491338    59
Emails/Attachments   PILGRIMS-DOJ-0004491340   PILGRIMS-DOJ-0004491349     2
Emails/Attachments   PILGRIMS-DOJ-0004491536   PILGRIMS-DOJ-0004491569     2
Emails/Attachments   PILGRIMS-DOJ-0004492365   PILGRIMS-DOJ-0004492366     1
Emails/Attachments   PILGRIMS-DOJ-0004492689   PILGRIMS-DOJ-0004492690     1
Emails/Attachments   PILGRIMS-DOJ-0004492981   PILGRIMS-DOJ-0004493000     8
Emails/Attachments   PILGRIMS-DOJ-0004493006   PILGRIMS-DOJ-0004493007     1
Emails/Attachments   PILGRIMS-DOJ-0004499506   PILGRIMS-DOJ-0004499640    23
Emails/Attachments   PILGRIMS-DOJ-0004499645   PILGRIMS-DOJ-0004499652     3
Emails/Attachments   PILGRIMS-DOJ-0004499658   PILGRIMS-DOJ-0004499658     1
Emails/Attachments   PILGRIMS-DOJ-0004499695   PILGRIMS-DOJ-0004499705    11
 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 443 of
                                       485




Emails/Attachments   PILGRIMS-DOJ-0004499749   PILGRIMS-DOJ-0004499753        3
Emails/Attachments   PILGRIMS-DOJ-0004499755   PILGRIMS-DOJ-0004499776        9
Emails/Attachments   PILGRIMS-DOJ-0004499779   PILGRIMS-DOJ-0004499786        4
Emails/Attachments   PILGRIMS-DOJ-0004499790   PILGRIMS-DOJ-0004499791        2
Emails/Attachments   PILGRIMS-DOJ-0004499893   PILGRIMS-DOJ-0004499896        3
Emails/Attachments   PILGRIMS-DOJ-0004499911   PILGRIMS-DOJ-0004500025       21
Emails/Attachments   PILGRIMS-DOJ-0004500169   PILGRIMS-DOJ-0004500171        3
Emails/Attachments   PILGRIMS-DOJ-0004500204   PILGRIMS-DOJ-0004500485       12
Emails/Attachments   PILGRIMS-DOJ-0004500602   PILGRIMS-DOJ-0004500602        1
Emails/Attachments   PILGRIMS-DOJ-0004500667   PILGRIMS-DOJ-0004500705        8
Emails/Attachments   PILGRIMS-DOJ-0004505397   PILGRIMS-DOJ-0004505401        2
Emails/Attachments   PILGRIMS-DOJ-0004541711   PILGRIMS-DOJ-0004635013     42,350
Emails/Attachments   PILGRIMS-DOJ-0004635015   PILGRIMS-DOJ-0004644777      2,308
Emails/Attachments   PILGRIMS-DOJ-0004655899   PILGRIMS-DOJ-0004818297     19,188
                                                       Total:            1,492,868
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 444 of
                                      485




               Exhibit 5-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 445 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 446 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 447 of
                                      485




               Exhibit 6-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 448 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 449 of
                                      485




               Exhibit 6-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 450 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 451 of
                                      485




               Exhibit 7-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 452 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 453 of
                                      485




               Exhibit 7-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 454 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 455 of
                                      485




               Exhibit 7-3
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 456 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 457 of
                                      485




               Exhibit 8-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 458 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 459 of
                                      485




               Exhibit 9-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 460 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 461 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 462 of
                                      485




               Exhibit 9-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 463 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 464 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 465 of
                                      485




            Exhibit 10-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 466 of
                                      485




           CFA_0000001-CFA_0017756
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 467 of
                                      485




            Exhibit 10-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 468 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 469 of
                                      485




            Exhibit 11-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 470 of
                                      485


                CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
              PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

         I,               Craig S. Prusher                                  , attest, under penalties of perjury by the laws
                                   Name

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by                           Cajun Operating Company
                                                                                                   Entity

(hereinafter “the entity”), and my title is                     EVP, Chief Legal Officer                    . I am qualified
                                                                                    Title

to authenticate the records attached hereto because I am familiar with how the records were created,

managed, stored, and retrieved. I state that the records attached hereto are true duplicates of the

original records in the custody of the provider. The attached records are labeled as Bates numbers,
                              CHURCH-ATR001-00000001
                                                                                                                           .

         I further state that all records listed in this certificate were generated by an electronic
                        Cajun Operating Company
 process or system of ________________________________ that produces an accurate result from
                                       List Entity that Generated Records
 records made at or near the time of the occurrence of the matter set forth by, or from information

 transmitted by, a person with knowledge of those matters, and that those records were kept in the

 ordinary course of the regularly conducted business activity of the entity and were made by the

 entity as a regular practice, to wit:

                    1.          the records were copied from electronic device(s), storage medium(s), or

 file(s) in the custody of the entity in a manner to ensure that they are true duplicates of the original

 records; and

                         2.       the process or system is regularly verified by the entity, and at all times

 pertinent to the records certified here the process and system functioned properly and normally.

          I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the

 Federal Rules of Evidence.



              July 17, 2020
  Date                                             Signature
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 471 of
                                      485




             Exhibit 11-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 472 of
                                      485


             CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
           PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

I, Craig S. Prusher, attest, under penalties of perjury by the laws
 of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

                 this certification is true and correct. I am employed by Cajun Operating Company
                                                                                Entity

 (hereinafter “the entity”), and my title is EVP, Chief Legal Officer. I am qualified
                                                                        Title

 to authenticate the records attached hereto because I am familiar with how the records were created,

 managed, stored, and retrieved. I state that the records attached hereto are true duplicates of the

 original records in the custody of the provider. The attached records are labeled as Bates numbers,

 CHURCHS0000093-CHURCHS0013558.


          I further state that all records listed in this certificate were generated by an electronic

 process or system of Cajun Operating Company that produces an accurate result from
                                   List Entity that Generated Records
 records made at or near the time of the occurrence of the matter set forth by, or from information

 transmitted by, a person with knowledge of those matters, and that those records were kept in the

 ordinary course of the regularly conducted business activity of the entity and were made by the
 entity as a regular practice, to wit:

                  1.        the records were copied from electronic device(s), storage medium(s), or

 file(s) in the custody of the entity in a manner to ensure that they are true duplicates of the original

 records; and

                       2.     the process or system is regularly verified by the entity, and at all times

  pertinent to the records certified here the process and system functioned properly and normally.

          I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the

 Federal Rules of Evidence.




       9/27/21


   Date
                                               Signature
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 473 of
                                      485




            Exhibit 12-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 474 of
                                      485
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 475 of
                                      485




            Exhibit 12-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 476 of
                                      485


            CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
          PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

        I, Telly Smith                                                 , attest, under penalties of perjury by the laws
                              Name

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by Golden Corral Corporation
                                                                                              Entity

(hereinafter “the entity”), and my title is VP Purchasing and Distribution                             . I am qualified
                                                                               Title

to authenticate the records attached hereto because I am familiar with how the records were created,

managed, stored, and retrieved. I state that the records attached hereto are true duplicates of the

original records in the custody of the provider. The attached records are labeled as Bates numbers,

[see attached chart]                                                                                                      .


         I further state that all records listed in this certificate were generated by an electronic
                      Golden Corral Corporation
 process or system of ________________________________ that produces an accurate result from
                                  List Entity that Generated Records
 records made at or near the time of the occurrence of the matter set forth by, or from information

 transmitted by, a person with knowledge of those matters, and that those records were kept in the

 ordinary course of the regularly conducted business activity of the entity and were made by the

 entity as a regular practice, to wit:

                 1.        the records were copied from electronic device(s), storage medium(s), or

 file(s) in the custody of the entity in a manner to ensure that they are true duplicates of the original

 records; and

                      2.     the process or system is regularly verified by the entity, and at all times

 pertinent to the records certified here the process and system functioned properly and normally.

         I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the

 Federal Rules of Evidence.




  October 5th, 2021
  Date                                        Signature
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 477 of
                                      485




 Bates Numbers

 GC-0000001389—GC-0000001395

 GC-0000337800—GC-0000337806

 GC-0000000016—GC-0000000025

 GC-0000336516

 GC-0000111255—GC-0000111256

 GC-0000001689

 GC-0000084471—GC-0000084476

 GC-0000279304—GC-0000279308

 GC-0000070794—GC-0000070795

 GC-0000002064—GC-0000002065

 GC-0000012773—GC-0000012774

 GC-0000291467—GC-0000291470

 GC-0000290536—GC-0000290538

 GC-0000291861

 GC-0000043478—GC-0000043479

 GC-0000134932

 GC-0000043480—GC-0000043481

 GC-0000013492—GC-0000013494

 GC-0000043809-GC-0000043811
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 478 of
                                      485




            Exhibit 13-1
                 Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 479 of
                                                       485




RSCS000001 - RSCS030053




                            RSCS
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 480 of
                                      485




            Exhibit 14-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 481 of
                                      485




   SMS-0001-SMS-0684 and SMS-00000685-SMS-00052142
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 482 of
                                      485




            Exhibit 15-1
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 483 of
                                      485


                CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
              PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

         I,                                                             , attest, under penalties of perjury by the laws
                               Name

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by
                                                                                               Entity

(hereinafter “the entity”), and my title is                                                             . I am qualified
                                                                                Title

to authenticate the records attached hereto because I am familiar with how the records were created,

managed, stored, and retrieved. I state that the records attached hereto are true duplicates of the

original records in the custody of the provider. The attached records are labeled as Bates numbers,

                                                                                                                           .


         I further state that all records listed in this certificate were

                                   List Entity that Generated Records




                  1.        the records were copied from electronic device(s), storage medium(s), or

 file(s) in the custody of the entity in a manner to ensure that they are true duplicates of the original

 records; and

                       2.     the process or system is regularly verified by the entity, and at all times

 pertinent to the records certified here the process and system functioned properly and normally.

          I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the

 Federal Rules of Evidence.




  Date                                         Signature
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 484 of
                                      485




            Exhibit 15-2
Case No. 1:20-cr-00152-PAB Document 622-1 filed 10/11/21 USDC Colorado pg 485 of
                                      485


                CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
              PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

         I,                                                             , attest, under penalties of perjury by the laws
                               Name

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by
                                                                                               Entity

(hereinafter “the entity”), and my title is                                                             . I am qualified
                                                                                Title

to authenticate the records attached hereto because I am familiar with how the records were created,

managed, stored, and retrieved. I state that the records attached hereto are true duplicates of the

original records in the custody of the provider. The attached records are labeled as Bates numbers,

                                                                                                                           .


         I further state that all records listed in this certificate were

                                   List Entity that Generated Records




                  1.        the records were copied from electronic device(s), storage medium(s), or

 file(s) in the custody of the entity in a manner to ensure that they are true duplicates of the original

 records; and

                       2.     the process or system is regularly verified by the entity, and at all times

 pertinent to the records certified here the process and system functioned properly and normally.

          I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the

 Federal Rules of Evidence.




  Date                                         Signature
